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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE



             In re                                                          Chapter 11

             TRUE VALUE COMPANY, L.L.C., et al.,                            Case No. 24-12337 (KBO)

                              Debtors.1                                     (Jointly Administered)

                                                                            Related Docket Nos. 301 & 317



                NOTICE OF (I) AMENDMENT TO SCHEDULE G OF DEBTOR TRUE VALUE
                    COMPANY, L.L.C. AND (II) AMENDED SCHEDULES BAR DATE

                   On October 14, 2024, True Value Company, L.L.C. (“True Value Company”) and certain
         of its affiliates (collectively, the “Debtors”) each commenced a case by filing a petition for relief
         under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

                 On November 5, 2024, True Value Company filed the Schedules of Assets and Liabilities
         for True Value Company, L.L.C. (Case No. 24-12337 (KBO)) [Unredacted Docket No. 301,
         Redacted Docket No. 317] (the “Schedules”).

                                                   SCHEDULES AMENDMENT

                The Debtors hereby amend True Value Company’s Schedule G to update the addresses of
         various parties and incorporate additional executory contracts and unexpired leases that were
         discovered after the Schedules were filed. True Value Company’s revised Schedule G is attached
         hereto as Exhibit 1 (the “Schedules Amendment”). Except for the Schedules Amendment, no
         changes have been made to the Schedules. The Debtors reserve all rights to further amend the
         Schedules, including the Schedules Amendment.

                                             AMENDED SCHEDULES BAR DATE

                On November 1, 2024, the Court entered an order [Docket No. 262] (the “Bar Date
         Order”),2 which established certain bar dates in the Debtors’ chapter 11 cases. On
         November 5, 2024, the Debtor filed the Notice of Deadlines for the Filing of Proofs of Claim,

         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
               are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV
               GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value
               Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’ corporate
               headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
         2
               Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Bar
               Date Order.

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         Including Requests for Payment Pursuant to Section 503(b)(9) of the Bankruptcy Code [Docket
         No. 333] and the Notice of General Bar Date for Filing Proofs of Claim Against the Debtors in
         the Chapter 11 Cases [Docket No. 334] (the “Bar Date Notices”).

                 To the extent that the parties affected by the Schedules Amendment (each, an “Affected
         Party”) wish to file a proof of claim in the Debtors’ chapter 11 cases with respect to the Schedules
         Amendment, such Affected Party must do so by no later than 11:59 p.m. (ET) on
         December 17, 2024 (the “Amended Schedules Bar Date”).

                An Affected Party need not submit a duplicate proof of claim if such Affected Party has
         already filed a valid proof of claim prior to the applicable bar date.

                 If you have any questions about this notice, the Schedules Amendment, or how to fill out
         or submit a proof of claim, you may contact the Debtors’ claims agent, Omni Agent Solutions,
         Inc., by phone at: (866) 771-0561 (U.S. & Canada) or +1 (818) 356-8633 (international), or by
         email at TrueValueInquiries@OmniAgnt.com.

                                   [Remainder of Page Intentionally Left Blank]




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         Dated: November 26, 2024

         YOUNG CONAWAY STARGATT                        SKADDEN, ARPS, SLATE, MEAGHER
         & TAYLOR, LLP                                 & FLOM LLP

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                                                       - and -

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                                                       Counsel to Debtors and
                                                       Debtors in Possession




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                                     EXHIBIT 1

                 Amendment to True Value Company. L.L.C.’s Schedule G




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  Fill in this information to identify the case:
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 Debtor name: True Value Company, L.L.C.
                                                                                                                                                                                                ✔
 United States Bankruptcy Court for the Division, District of Delaware                                                                                                                                 Check if this is an amended filing
 Case number (If known): 24-12337


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
    ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
  2. List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


          State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 4 9 )                      1 0 1 Ma r k e t , 8 9 8 0 Qu a n t r e l l e Av e Ne , Ot s e g o , M N 5 5 3 0 1 - 0 0 0 1
   2.1
          nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Su n g a r d A S Ma s t e r Se r v i c e s Ag r e e m e n t           1 1 : 1 1 Sy s t e m s , In c . ( Wa s Su n g a r d ) , 6 9 5 Ro u t e 4 6 , Su i t e 3 0 1 ,
   2.2                                                                                                                                                                    Fa i r f i e l d , N J 0 7 0 0 4
          nature of the debtor's interest
          State the term remaining                          06/09/2021 - 06/08/2026

          List the contract number of any government
          contract
          State what the contract or lease is for and the   Cr e d i t Do c u m e n t a t i o n , Su b s t i t u t e In s u r a n c e Co l l a t e r a l Fa c i l i t y   1 9 7 0 Gr o u p , In c . , 1 0 0 Je r i c h o Qu a d r a n g l e , Su i t e 3 0 0 , Je r i c h o ,
   2.3                                                                                                                                                                    NY 11753
          nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                          11/02/2022

          List the contract number of any government
          contract
          State what the contract or lease is for and the   Cr e d i t Do c u m e n t a t i o n , Am e n d e d a n d Re s t a t e d Su b s t i t u t e                    1 9 7 0 Gr o u p , In c . , 1 0 0 Je r i c h o Qu a d r a n g l e , Su i t e 3 0 0 , Je r i c h o ,
   2.4                                                                                                                                                                    NY 11753
          nature of the debtor's interest                   In s u r a n c e Co l l a t e r a l Fa c i l i t y Ag r e e m e n t

          State the term remaining                          09/25/2024

          List the contract number of any government
          contract
          State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                                     1 In 6 Sn a c k s , 5 2 0 5 Hi l l s b o r o u g h St , Ra l e i g h , N C 2 7 6 0 6
   2.5
          nature of the debtor's interest
          State the term remaining                          01/01/2019

          List the contract number of any government
          contract
          State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , 2 1 6 Di g i t a l In c . - M S A                                2 1 6 Di g i t a l In c . , 2 2 0 8 E. En t e r p r i s e Pa r k w a y. , Tw i n s b u r g , O H
   2.6                                                                                                                                                                    44087
          nature of the debtor's interest
          State the term remaining                          08/01/2024 - 07/31/2029

          List the contract number of any government
          contract
Official Form 206G                                                     Schedule G: Executory Contracts and Unexpired Leases                                                                                                       Page 1 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 6 )               2 1 s t Ce n t u r y Pa i n t s , 7 6 1 5 Ai r p o r t Hw y, Ho l l a n d , O H 4 3 5 2 8
  2.7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 0 )               2 2 2 Ha r d w a r e , 1 4 4 E 8 t h St , Co z a d , N E 6 9 1 3 0 - 0 0 0 1
  2.8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 8 3 )               2 2 7 Re n t , 1 9 8 9 7 He b r o n Ro a d - St e G, Re h o b o t h Be a c h , D E
  2.9                                                                                                                                                             19971-1253
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 6 1 )               2 5 6 Su p p l y Tr u e Va l u e Ha r d w a r e , 3 3 0 W Ma i n St , Au s t i n , I N
  2.10                                                                                                                                                            47102-1644
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 6 0 El e c t r i c a l , 1 9 3 5 E Vi n e St , Su i t e 3 6 0 , Sa l t La k e Ci t y, U T
  2.11                                                                                                                                                            84121
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              3 B In t ' l L L C, 3 B In t e r n a t i o n a l L L C, 1 0 0 Bo m o n t Pl a c e ,
  2.12                                                                                                                                                            To t o w a , N J 0 7 5 1 2
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t                                     3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.13                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest
         State the term remaining                          01/18/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.14                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 2 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.15                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.16                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.17                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.18                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.19                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.20                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   3 M Co m p a n y, 3 M No t i c e Ad m i n i s t r a t o r , 1 6 5 0 Ar c h St r e e t , Su i t e
  2.21                                                                                                                                                            2 2 1 0 , Ph i l a d e l p h i a , PA 1 9 1 0 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   4 Se a s o n s Gl o b a l In c , 2 7 5 0 W Gr a n d Av e , Ch i c a g o , I L 6 0 6 1 2
  2.22
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 2 9 )        4 1 5 Pr o Ha r d w a r e , 3 1 0 1 Me m o r i a l Hi g h w a y, Da l l a s , PA 1 8 6 1 2 -
  2.23                                                                                                                                                     0001
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 1 1 2 7 5 E. 4 0 t h Av e n u e De n v e r , C O 8 0 2 3 9     4 6 2 Th o m a s Fa m i l y Pr o p e r t i e s L. P. , 8 3 3 3 Do u g l a s Av e , Da l l a s ,
  2.24                                                                                                                                                     TX 75225
         nature of the debtor's interest
         State the term remaining                          02/01/2022 - 01/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 1 0 7 0 7 E. 4 0 t h Av e n u e De n v e r , C O 8 0 2 3 9     4 6 2 Th o m a s Fa m i l y Pr o p e r t i e s L. P. , 8 3 3 3 Do u g l a s Av e , Da l l a s ,
  2.25                                                                                                                                                     TX 75225
         nature of the debtor's interest
         State the term remaining                          02/01/2022 - 01/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , 4 8 Fo r t y Pa l l e t Se r v i c e s   4 8 Fo r t y So l u t i o n s , 3 6 5 0 Ma n s e l l Ro a d , Su i t e 1 0 0 , Al p h a r e t t a ,
  2.26                                                                                                                                                     GA 30022
         nature of the debtor's interest                   Am e n d m e n t 2 0 2 4

         State the term remaining                          03/22/2024 - 03/21/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 7 )        5 Ac r e s La w n Ga r d e n & Pe t , 2 6 0 0 St a t e Ro u t 1 0 3 , Br a d f o r d ,
  2.27                                                                                                                                                     NH 03221
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 6 )        8 1 4 Ho m e & Ha r d w a r e , 1 1 9 Ea s t Ma i n St r e e t , Sy k e s v i l l e , PA
  2.28                                                                                                                                                     15865-1107
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 1 7 )        8 8 - B. c . Bu i l d i n g Su p p l i e s In c . , 8 8 - B. c . Bu i l d i n g Su p p l i e s
  2.29                                                                                                                                                     In , 1 6 5 St a t e Hi g h w a y 7 , Ni n e v e h , N Y 1 3 8 1 3 - 0 0 3 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                       A & E Ha n d To o l s In c . , 5 5 0 1 2 1 St St r e e t , Po Bo x 1 6 1 6 , Ra c i n e ,
  2.30                                                                                                                                                     WI 53406
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 1 )   A & E Pa i n t Ce n t e r s , 2 1 6 0 El Jo b e a n Rd , Po r t Ch a r l o t t e , F L
  2.31                                                                                                                                                33948-1118
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 1 8 )   A & G Tr u e Va l u e Ha r d w a r e , A & G Ha r d w a r e In c , 1 9 2 7 W
  2.32                                                                                                                                                Au b u r n Rd , Ro c h e s t e r Hi l l s , M I 4 8 3 0 9 - 3 8 6 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 7 )     A & M In d u s t r i a l Su p p l y, 3 2 2 Ha l f Ac r e Rd , Cr a n b u r y, N J
  2.33                                                                                                                                                08512-3254
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 0 8 )   A & R Bu i l d i n g Su p p l y, 2 0 1 Ch u r c h Rd , Mo u n t a i n To p , PA
  2.34                                                                                                                                                18707-2342
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  A & W Pr o d u c t s In c , Po Bo x B, 1 4 Ga r d n e r St r e e t , Po r t Je r v i s ,
  2.35                                                                                                                                                NY 12771
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 5 0 )   A C Ho y t Ha r d w a r e In c , 3 Ea s t St , Ed m e s t o n , N Y 1 3 3 3 5 - 2 4 2 8
  2.36
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 2 5 6 )   A G Hu n g e r f o r d & So n In c , 1 2 1 6 5 Ro c k Po i n t Rd , Ne w b u r g ,
  2.37                                                                                                                                                MD 20664-2406
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 3 1 )   A I D, Bl u e Hi l l Rd , Na s s a u , Ba h a m a s
  2.38
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                   A Ma z e N Pr o d u c t s In c , 1 9 3 2 Sh a w n e e Rd , Ea g a n , M N 5 5 1 2 2
  2.39
         nature of the debtor's interest
         State the term remaining                          06/28/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                   A R No r t h Am e r i c a In c , 1 4 0 8 1 St Av e Ne , Fr i d l e y, M N 5 5 4 3 2
  2.40
         nature of the debtor's interest
         State the term remaining                          06/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )   A R No r t h Am e r i c a In c , 1 4 0 8 1 St Av e Ne , Fr i d l e y, M N 5 5 4 3 2
  2.41
         nature of the debtor's interest
         State the term remaining                          01/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                   A R No r t h Am e r i c a In c , 1 4 0 8 1 St Av e Ne , Fr i d l e y, M N 5 5 4 3 2
  2.42
         nature of the debtor's interest
         State the term remaining                          10/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 3 0 )    A Th o m a s & So n s In c H& g s , 1 2 4 0 Ra n d o l p h Av e , Mi l t o n , M A
  2.43                                                                                                                                                 02186-5236
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 0 )    A To Z Ha r d w a r e , 7 7 7 We s t Pi n e St r e e t , P. o . Bo x 9 3 6 ,
  2.44                                                                                                                                                 Pi n e d a l e , W Y 8 2 9 4 1 - 0 9 3 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 2 )    A To Z Ho m e Ce n t e r , 8 0 9 Te n n e s s e e Av e , Da l h a r t , T X 7 9 0 2 2
  2.45
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 2 3 )      A To u c h Of Gr e e n , 1 2 7 2 0 W 1 5 9 t h St , Ho m e r Gl e n , I L 6 0 4 9 1 -
  2.46                                                                                                                                                 8379
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                               Page 6 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 7 3 )              A W Ba l d w i n , A W Ba l d w i n Tr u e Va l u e , 2 Ce n t e r St , We s t
  2.47                                                                                                                                                           St o c k b r i d g e , M A 0 1 2 6 6 - 9 8 0 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                             A- Z In d u s t r i e s In c , 3 6 5 1 Co m m e r c i a l Av e , No r t h b r o o k , I L
  2.48                                                                                                                                                           60062
         nature of the debtor's interest
         State the term remaining                          03/03/2009

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , A Du i Py l e - Tr a n s p o r t a t i o n Ag r e e m e n t s   A. Du i Py l e , 6 5 0 We s t t o w n Ro a d P. O. Bo x 5 6 4 , We s t Ch e s t e r ,
  2.49                                                                                                                                                           PA 1 9 3 8 1 - 0 5 6 4
         nature of the debtor's interest                   LT L

         State the term remaining                          07/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 2 3 )              A. Ha r t z , 8 0 Po n d f i e l d Rd St e A, Br o n x v i l l e , N Y 1 0 7 0 8 - 3 8 0 1
  2.50
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 4 )              A. d . Mo y e r , 8 0 Wi l l o w St . , Ku t z t o w n , PA 1 9 5 3 0
  2.51
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 2 )              A. d . Mo y e r Lu m b e r , 4 5 1 4 Ea s t o n Av e n u e , Be t h l e h e m , PA
  2.52                                                                                                                                                           18020-9760
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 0 )              A. i . d . , Bl u e Hi l l Ro a d , P. o . Bo x N4 8 1 4 , Na s s a u , Ba h a m a s
  2.53
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 2 9 )              A. i . d . , Ma l l At Ma r a t h o n , Ma r a t h o n Ro a d P. o . Bo x N- 4 8 1 4 ,
  2.54                                                                                                                                                           Na s s a u , Ba h a m a s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 7 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , A. N. We b b e r , In c . Ca r r i e r   A. N. We b b e r , In c . , 2 1 5 0 So u t h Ro u t e 4 5 / 5 2 , Ka n k a k e e , I L
  2.55                                                                                                                                                     60901
         nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                          12/12/2016 - 12/11/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 7 8 )          A. p . m . Tr u e Va l u e Ho m e Ce n t e r , 4 6 Ge t t y s b u r g St ,
  2.56                                                                                                                                                     Ar e n d t s v i l l e , PA 1 7 3 0 3 - 9 9 9 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 7 3 )        A. w. Br o w n Pe t & Ga r d e n , 1 4 4 Sh a k e r Rd , Ea s t Lo n g Me a d o w,
  2.57                                                                                                                                                     MA 01028-1111
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 7 1 3 )          A& b Ha r d w a r e Tr u e Va l u e , A & B Ha r d w a r e Tr u e Va l u e , 2 6 5 2
  2.58                                                                                                                                                     N. W. 2 9 t h St r e e t , Mi a m i , F L 3 3 1 4 2 - 6 5 3 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                       A& E Ba t h & Sh o w e r , 9 1 8 1 Bo i v i n , La s a l l e , Q C H8 R 2 E8 ,
  2.59                                                                                                                                                     Ca n a d a
         nature of the debtor's interest
         State the term remaining                          02/01/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 6 )        A1 Re n t It , 7 2 8 Ra i l r o a d Dr i v e Nw, El k Ri v e r , M N 5 5 3 3 0
  2.60
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 4 )        A A Re n t s & Su p p l y, 1 4 1 9 W. 1 1 t h St r e e t , Ma r i o n , I N 4 6 9 5 3
  2.61
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                       Aa Wi n d o w Pa r t s & Ha r d w a r e , 2 9 9 0 Je r o m e Av e , Br o n x , N Y
  2.62                                                                                                                                                     10468
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 2 )               Aa a Fu l t o n Su p p l y In c , 7 4 Fu l t o n St r e e t , Ne w Yo r k , N Y 1 0 0 3 8
  2.63
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 8 )               Aa a Pa i n t & Su p p l y, 1 4 2 5 E Un i v e r s i t y Dr i v e , Te m p e , A Z
  2.64                                                                                                                                                            85281
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.65
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.66
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.67
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.68
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.69
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.70
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aa f / Fl a n d e r s , 5 3 1 Fl a n d e r s Fi l t e r s Rd , Wa s h i n g t o n , N C 2 7 8 8 9
  2.71
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Ab In i t i o Ma s t e r So f t w a r e Li c e n s e a n d Su p p o r t               Ab In i t i o So f t w a r e L L C, 2 0 1 Sp r i n g St r e e t , Le x i n g t o n , K Y
  2.72                                                                                                                                                            02421
         nature of the debtor's interest                   $235K

         State the term remaining                          12/18/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Ab a l t a Te c h n o l o g i e s In c . Tr u e Va l u e Tr a d e m a r k             Ab a l t a Te c h n o l o g i e s In c , 1 3 5 0 Ba y s h o r e Hi g h w a y, Su i t e 3 4 5 ,
  2.73                                                                                                                                                            Bu r l i n g a m e , C A 9 4 0 1 0
         nature of the debtor's interest                   Li c e n s e s Ag r e e m e n t – Am e n d m e n t

         State the term remaining                          04/21/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab a t r o n , In c . , 5 5 0 1 9 5 Th Av e , Ke n o s h a , W I 5 3 1 4 4
  2.74
         nature of the debtor's interest
         State the term remaining                          07/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab b In s t a l l a t i o n Pr o d u c t s , 8 6 0 Ri d g e La k e Bl v d , Me m p h i s , T N
  2.75                                                                                                                                                            38120
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 0 9 )               Ab b e y Re n t - a l l , 3 0 1 s Br o a d w a y, Hi c k s v i l l e , N Y 1 1 8 0 1 - 5 0 0 5
  2.76
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 6 )               Ab b o t t Pa i n t & Ca r p e t In c . , 2 2 2 3 4 t h St r e e t , Wh i t e Be a r La k e ,
  2.77                                                                                                                                                            MN 55110
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.78
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.79
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.80
         nature of the debtor's interest
         State the term remaining                          08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.81
         nature of the debtor's interest
         State the term remaining                          12/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.82
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.83
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ab b o t t Ru b b e r Co In c , 1 3 1 1 Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
  2.84
         nature of the debtor's interest
         State the term remaining                          09/01/2022 - 08/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab b o t t Ru b b e r Co m p a n y, In c . , Ab b o t t Ru b b e r Co In c , 1 3 1 1
  2.85                                                                                                                                                            Me a c h a m Rd , It a s c a , I L 6 0 1 4 3
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 5 )               A B C Ha r d w a r e & Re n t a l , 3 3 3 6 Ba i l e y Av e , Bu f f a l o , N Y 1 4 2 1 5
  2.86
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 1 9 )               A B C Re n t a l Ce n t e r Ea s t In c , 5 2 0 4 Wa r r e n s v i l l e Ce n t e r Rd ,
  2.87                                                                                                                                                            Ma p l e He i g h t s , O H 4 4 1 3 7 - 1 9 0 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 2 2 )               A B C Re n t a l Su p p l y, 7 5 3 Br o a d w a y St , Bu f f a l o , N Y 1 4 2 1 2 -
  2.88                                                                                                                                                            1103
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.89
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.90
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.91
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.92
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.93
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 t h Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.94
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 Th Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.95
         nature of the debtor's interest
         State the term remaining                          03/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 Th Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.96
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 Th Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.97
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ab c o Pr o d u c t s , 6 8 0 0 N W 3 6 Th Av e n u e , Mi a m i , F L 3 3 1 4 7
  2.98
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 4 )               Ab i n g t o n Ph a r m a c y, 2 5 1 2 Ea s t Cl e a r f i e l d St . , Ph i l a d e l p h i a , PA
  2.99                                                                                                                                                            19134
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 9 1 )               Ab o r n Tr u e Va l u e Ha r d w a r e , 4 3 8 Ha r v a r d St r e e t , Br o o k l i n e ,
 2.100                                                                                                                                                            MA 02446-2437
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ab s o l u t e Co a t i n g s Gr o u p , 1 9 9 9 El i z a b e t h St , No r t h Br u n s w i c k ,
 2.101                                                                                                                                                            NJ 08902
         nature of the debtor's interest
         State the term remaining                          01/01/2012

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 0 )               Ac Ge n e r a l St o r e , 1 6 9 2 2 Ge o r g e Wa s h i n g t o n Hi g h w a y, Mo u n t
 2.102                                                                                                                                                            St o r m , W V 2 6 7 3 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                Ac a d e m y Br o a d w a y Co r p , 6 0 0 Ke l l w o o d Pa r k w a y, Ma i l s t o p 2 0 ,
 2.103                                                                                                                                              Ch e s t e r f i e l d , M O 6 3 0 1 7
         nature of the debtor's interest
         State the term remaining                          02/12/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 9 2 5 )   Ac a d i a n Tr u e Va l u e Ha r d w a r e , 1 7 3 3 N Ac a d i a n Th r u w a y W,
 2.104                                                                                                                                              Ba t o n Ro u g e , L A 7 0 8 0 2 - 1 6 6 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 8 8 )   Ac a d i a n Tr u e Va l u e Hd w e , 7 3 5 0 Sc e n i c Hw y, Ba t o n Ro u g e , L A
 2.105                                                                                                                                              70807-5850
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                Ac c e n t De c o r , 5 3 7 6 Ne w Pe a c h t r e e Ro a d , Ch a m b l e e , G A 3 0 3 4 1
 2.106
         nature of the debtor's interest
         State the term remaining                          04/05/2012

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                Ac c e s s Ma r k e t i n g , 8 0 0 Fa r r o l l Ro a d , Gr o v e r Be a c h , C A 9 3 4 3 3
 2.107
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                Ac c e s s Ma r k e t i n g , 8 0 0 Fa r r o l l Ro a d , Gr o v e r Be a c h , C A 9 3 4 3 3
 2.108
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                Ac c o Br a n d s In c , Fo u r Co r p o r a t e Dr i v e , La k e Zu r i c h , I L 6 0 0 4 7
 2.109
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                Ac c o Br a n d s In c , Fo u r Co r p o r a t e Dr i v e , La k e Zu r i c h , I L 6 0 0 4 7
 2.110
         nature of the debtor's interest
         State the term remaining                          08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac c o Br a n d s In c , Fo u r Co r p o r a t e Dr i v e , La k e Zu r i c h , I L 6 0 0 4 7
 2.111
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac c o / Me a d , Fo u r Co r p o r a t e Dr i v e , La k e Zu r i c h , I L 6 0 0 4 7
 2.112
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ac c o / Me a d , Fo u r Co r p o r a t e Dr i v e , La k e Zu r i c h , I L 6 0 0 4 7
 2.113
         nature of the debtor's interest
         State the term remaining                          08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac c u f l e x In d u s t r i a l Ho s e Lt d , 4 1 9 6 5 Ec o r s e Ro a d , Su i t e 3 0 0 ,
 2.114                                                                                                                                                            Be l l e v i l l e , M I 4 8 1 1 1
         nature of the debtor's interest
         State the term remaining                          02/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac c u m e t r i c L L C, Ac c u m e t r i c L L C, 2 6 4 1 9 Th St Nw, 2 3 1 7 ,
 2.115                                                                                                                                                            At l a n t a , G A 3 0 3 6 3
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac c u t e c Bl a d e s In c , On e Ra z o r Bl a d e La n e , Po Bo x 9 7 9 ,
 2.116                                                                                                                                                            Ve r o n a , VA 2 4 4 8 2
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac d Di s t r i b u t i o n L L C, 3 1 2 9 De m i n g Wa y, Mi d d l e t o n , W I
 2.117                                                                                                                                                            53562
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac e Cr e t e Pr o d u c t s In c . , 4 Ri t a St r e e t , Sy o s s e t , N Y 1 1 7 9 1
 2.118
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 6 9 )   Ac e Ha r d w a r e , 1 0 5 0 Ma p l e Dr , Mo r g a n t o w n , W V 2 6 5 0 5 - 2 8 1 5
 2.119
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 5 1 )   Ac e Ha r d w a r e & Ho m e Ce n t e r , 1 3 0 0 So u t h Av e n u e D, Po r t a l e s ,
 2.120                                                                                                                                                NM 88130-6836
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 6 )   Ac e Ha r d w a r e & Lu m b e r Of Br a d f o r d , 2 0 0 W Wa s h i n g t o n St ,
 2.121                                                                                                                                                Br a d f o r d , PA 1 6 7 0 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 4 )   Ac e Ha r d w a r e Ba r r i n g t o n , 9 0 6 S No r t h w e s t Hw y, Ba r r i n g t o n ,
 2.122                                                                                                                                                IL 60010
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 9 )   Ac e Ha r d w a r e La k e Zu r i c h , 1 0 0 S. Ol d Ra n d , La k e Zu r i c h , I L
 2.123                                                                                                                                                60047
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 1 )   Ac e Ha r d w a r e St . Ch a r l e s , 2 6 5 0 E. Ma i n St . , St . Ch a r l e s , I L
 2.124                                                                                                                                                60174
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 0 )   Ac e Ha r d w a r e Tw i n La k e s , 4 7 0 N La k e Av e , Tw i n La k e s , W I
 2.125                                                                                                                                                53181
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 2 9 )   Ac e No r t h e a s t Ha r d w a r e , 2 3 0 9 No r t h Tr i p h a m m e r Ro a d , It h a c a ,
 2.126                                                                                                                                                NY 14850-3305
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac e Pr o d u c t s Gr o u p , 3 9 2 0 Cy p r e s s Dr , Su i t e B, Pe t a l u m a , C A
 2.127                                                                                                                                                            94954
         nature of the debtor's interest
         State the term remaining                          08/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac h Fo o d Co m p a n i e s In c , On e Pa r k v i e w Pl a z a , Su i t e 5 0 0 , Oa k
 2.128                                                                                                                                                            Br o o k Te r r , I L 6 0 1 8 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac h Fo o d Co m p a n i e s In c , On e Pa r k v i e w Pl a z a , Su i t e 5 0 0 , Oa k
 2.129                                                                                                                                                            Br o o k Te r r , I L 6 0 1 8 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac h Fo o d Co m p a n i e s In c , On e Pa r k v i e w Pl a z a , Su i t e 5 0 0 , Oa k
 2.130                                                                                                                                                            Br o o k Te r r , I L 6 0 1 8 1
         nature of the debtor's interest
         State the term remaining                          01/01/2012

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac h l a De s i g n s , 6 5 Ar b o r Wa y, Fi t c h b u r g , M A 0 1 4 2 0
 2.131
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac h l a De s i g n s , 6 5 Ar b o r Wa y, Fi t c h b u r g , M A 0 1 4 2 0
 2.132
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , A. C. I. Co m m e r i c a l Ro o f e r s        Ac i Co m m e r c i a l Ro o f e r s , L L C, 3 7 2 3 No r t h Va n Rd , On l e y, I L
 2.133                                                                                                                                                            62450
         nature of the debtor's interest                   Ag r e e m e n t _ Ka n s a s Ci t y Ro o f Re p l a c e m e n t 2 0 2 3

         State the term remaining                          05/22/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 9 6 )                 Ac k e r m a n Tr u e Va l u e Hd w, Ac k e r m a n Tr u e Va l u e Ha r d w a r e &
 2.134                                                                                                                                                            V& s , 3 1 4 7 Us Hw y 2 4 , Be l o i t , K S 6 7 4 2 0 - 1 5 7 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                           Case
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 1 5 )     Ac k e r m a n Tr u e Va l u e Su p p l y, 1 1 1 9 W Us Hi g h w a y 2 4 ,
 2.135                                                                                                                                                Os b o r n e , K S 6 7 4 7 3 - 1 7 3 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 9 )   Ac k l e y Bu i l d i n g Ce n t e r - Ft Mo r g a n , Tr u e Va l u e Ha r d w a r e ,
 2.136                                                                                                                                                1 0 0 0 E Pl a t t e Av e n u e , Fo r t Mo r g a n , C O 8 0 7 0 1 - 2 9 6 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 2 )   Ac k l e y Bu i l d i n g Ce n t e r - St e r l i n g , 1 3 5 0 We s t Ma i n St r e e t ,
 2.137                                                                                                                                                St e r l i n g , C O 8 0 7 5 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 1 )   Ac k t i f y / g a t z i e s / p r o m a x , 1 4 2 Fr a n k l i n , Me l r o s e , M A 0 2 1 7 6
 2.138
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 1 7 )   Ac k t i f y / g a t z i e s / p r o m a x , 1 4 2 Fr a n k l i n St r e e t , Me l r o s e , M A
 2.139                                                                                                                                                02176-5226
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 9 2 )   Ac k t i f y / g a t z i e s / p r o m a x , 1 4 2 Fr a n k l i n St r e e t , Me l r o s e , M A
 2.140                                                                                                                                                02176-5226
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 9 )   Ac k t i f y / g a t z i e s / p r o m a x , 1 4 2 Fr a n k l i n St r e e t , Me l r o s e , M A
 2.141                                                                                                                                                02176-1821
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 3 )   Ac k t i f y / g a t z i e s / p r o m a x , 6 8 0 In d u s t r i a l Dr i v e Un i t 1 , Ca r y, I L
 2.142                                                                                                                                                60013-0001
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 4 6 )               Ac k t i f y / g a t z i e s / p r o m a x , 7 0 5 0 Li n d e l l Rd , St e 1 6 0 , La s Ve g a s ,
 2.143                                                                                                                                                            NV 89118-4702
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac m e Sp o n g e & Ch a m o i s Co , 8 5 5 E Pi n e St r e e t , Po Bo x 3 3 9 ,
 2.144                                                                                                                                                            Ta r p o n Sp r i n g , F L 3 4 6 8 8
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac m e Sp o n g e & Ch a m o i s Co , 8 5 5 E Pi n e St r e e t , Po Bo x 3 3 9 ,
 2.145                                                                                                                                                            Ta r p o n Sp r i n g , F L 3 4 6 8 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l Dr i v e , Ma r l b o r o u g h , M A
 2.146                                                                                                                                                            01752
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l Dr i v e , Ma r l b o r o u g h , M A
 2.147                                                                                                                                                            01752
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l Dr i v e , Ma r l b o r o u g h , M A
 2.148                                                                                                                                                            01752
         nature of the debtor's interest
         State the term remaining                          09/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac m e Un i t e d Co r p o r a t i o n , Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l
 2.149                                                                                                                                                            Dr i v e , Ma r l b o r o u g h , M A 0 1 7 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac m e Un i t e d Co r p o r a t i o n , Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l
 2.150                                                                                                                                                            Dr i v e , Ma r l b o r o u g h , M A 0 1 7 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ac m e Un i t e d Co r p o r a t i o n , Ac m e Un i t e d , 8 5 Ha y e s Me m o r i a l
 2.151                                                                                                                                                            Dr i v e , Ma r l b o r o u g h , M A 0 1 7 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 0 0 3 )               Ac o n , 1 1 3 3 Co n n e c t i c u t Nw, Su i t e 7 0 0 , Wa s h i n g t o n , D C 2 0 0 3 6
 2.152
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ac o u s t i c I C A Ad d e n d u m t o t h e “ I B M          Ac o u s t i c L. P. , 3 Ea s t 2 8 Th St r e e t , , 4 Th Fl o o r , Ne w Yo r k , N Y
 2.153                                                                                                                                                            10016-7408
         nature of the debtor's interest                   Cu s t o m e r Ag r e e m e n t ”

         State the term remaining                          01/06/2020 - 01/05/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 2 4 )               Ac t i o n Tr u e Va l u e , 1 0 2 2 3 Be a u m o n t Av e . , Ch e r r y Va l l e y, C A
 2.154                                                                                                                                                            92223-4423
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac t u a t o r Sy s t e m s L L C, 2 0 8 Su n s e t Vi e w Dr , Da v e n p o r t , F L
 2.155                                                                                                                                                            33837
         nature of the debtor's interest
         State the term remaining                          12/03/2009

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ac u d o r Pr o d u c t s , In c . , Ac u d o r Pr o d u c t s , In c , 8 0 Li t t l e Fa l l s
 2.156                                                                                                                                                            Ro a d , Fa i r f i e l d , N J 0 7 0 0 4
         nature of the debtor's interest
         State the term remaining                          01/01/2009

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 9 4 )                 Ad a m Tr u e Va l u e Hd w e & Ag Sp l y, 1 1 1 2 S Ge o r g e Ni g h Ex p y,
 2.157                                                                                                                                                            Mc a l e s t e r , O K 7 4 5 0 1 - 7 1 9 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 5 2 )               Ad a m s Fa i r a c r e Fa r m In c , 1 2 4 0 Rt 3 0 0 , Ne w b u r g h , N Y 1 2 5 5 0 -
 2.158                                                                                                                                                            5006
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 8 )               Ad a m s Fa i r a c r e Fa r m s , 6 3 6 Rt . 2 1 1 Ea s t , Mi d d l e t o w n , N Y
 2.159                                                                                                                                                            10941
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 5 0 )               Ad a m s Fa i r a c r e Fa r m s H& g s , 1 5 6 0 Ul s t e r Av e , La k e Ka t r i n e ,
 2.160                                                                                                                                                            NY 12449-5407
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 8 0 )               Ad a m s Fa i r a c r e Fa r m s H& g s , 1 6 0 Ol d Po s t Ro a d , Wa p p i n g e r s
 2.161                                                                                                                                                            Fa l l s , N Y 1 2 5 9 0 - 4 9 2 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 6 5 )               Ad a m s Fa i r a c r e Fa r m s H& g s , 7 6 5 Du t c h e s s Tp k e ,
 2.162                                                                                                                                                            Po u g h k e e p s i e , N Y 1 2 6 0 3 - 2 0 5 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.163                                                                                                                                                            16051
         nature of the debtor's interest
         State the term remaining                          01/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.164                                                                                                                                                            16051
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.165                                                                                                                                                            16051
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.166                                                                                                                                                            16051
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.167                                                                                                                                                16051
         nature of the debtor's interest
         State the term remaining                          03/15/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ad a m s Mf g Co , Ad a m s Mf g , 1 0 9 W Pa r k Ro a d , Po r t e r s v i l l e , PA
 2.168                                                                                                                                                16051
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 2 9 )   Ad d Lu m b e r Tr u e Va l u e , 1 4 8 Wi l l o w Rd , Du n k i r k , N Y 1 4 0 4 8 -
 2.169                                                                                                                                                9647
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 9 0 )   Ad d Lu m b e r Tr u e Va l u e , 7 5 8 7 E Ma i n St r e e t , We s t f i e l d , N Y
 2.170                                                                                                                                                14787-1045
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 7 4 )   Ad d Lu m b e r Tr u e Va l u e , Ro u t e 5 & 2 0 , Ir v i n g , N Y 1 4 0 8 1 - 9 7 6 7
 2.171
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 1 )       Ad d i s o n Bu i l d i n g Ma t e r i a l s , Ad d i s o n Tr u e Va l u e Ha r d w a r e
 2.172                                                                                                                                                Ma r t , 3 2 0 1 Bu s s e Rd , Ar l i n g t o n He i g h t s , I L 6 0 0 0 5 - 4 6 1 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 3 )   Ad d i s o n Wa r e h o u s e , 9 0 1 S. Ro h l w i n g Rd . Su i t e M, Ad d i s o n , I L
 2.173                                                                                                                                                60101
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 6 )   Ad e l a i d e ' s Pa i n t , 1 0 1 Pa l m e t t o St r e e t , St . Si m o n s Is l a n d , G A
 2.174                                                                                                                                                31522
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad e m c o In c , 1 9 8 5 Do u g l a s Dr i v e No r t h , Go l d e n Va l l e y, M N
 2.175                                                                                                                                                            55422
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad e m c o In c , 1 9 8 5 Do u g l a s Dr i v e No r t h , Go l d e n Va l l e y, M N
 2.176                                                                                                                                                            55422
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad e m c o In c , 1 9 8 5 Do u g l a s Dr i v e No r t h , Go l d e n Va l l e y, M N
 2.177                                                                                                                                                            55422
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad e m c o In c , 1 9 8 5 Do u g l a s Dr i v e No r t h , Go l d e n Va l l e y, M N
 2.178                                                                                                                                                            55422
         nature of the debtor's interest
         State the term remaining                          08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad e m c o In c , 1 9 8 5 Do u g l a s Dr i v e No r t h , Go l d e n Va l l e y, M N
 2.179                                                                                                                                                            55422
         nature of the debtor's interest
         State the term remaining                          01/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad e m c o In c . , 3 9 0 1 Li b e r t y St r e e t Ro a d , Au r o r a , I L 6 0 5 0 4
 2.180
         nature of the debtor's interest
         State the term remaining                          09/01/2024 - 08/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 1 )               Ad i r o n d a c k Ha r d w a r e , 1 6 9 8 Fr o n t St , Ke e s e v i l l e , N Y 1 2 9 4 4 -
 2.181                                                                                                                                                            3616
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad j Pr o d u c t s L L C, 6 1 2 2 S Ea s t e r n Av e , Lo s An g e l e s , C A 9 0 0 4 0
 2.182
         nature of the debtor's interest
         State the term remaining                          02/01/2012

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 7 1 )               Ad k i n s Tr u e Va l u e Ho m e Ce n t e r , 2 5 0 Ch e a t Va l l e y Hi g h w a y -
 2.183                                                                                                                                                            Rt 7 2 N, Pa r s o n s , W V 2 6 2 8 7 - 9 9 9 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.184
         nature of the debtor's interest
         State the term remaining                          01/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.185
         nature of the debtor's interest
         State the term remaining                          09/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.186
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.187
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.188
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad m An i m a l Nu t r i t i o n , 1 0 0 0 N 3 0 Th St , Qu i n c y, I L 6 2 3 0 1
 2.189
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Ad o b e Ma s t e r Ag r e e m e n t 2 0 1 5                                          Ad o b e Sy s t e m s In c o r p o r a t e d , 3 4 5 Pa r k Av e n u e , Su i t e 1 5 0 , Sa n
 2.190                                                                                                                                                            Jo s e , C A 9 5 1 1 0
         nature of the debtor's interest
         State the term remaining                          08/27/2015

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   So f t w a r e , Ad o b e In c . Ca m p a i g n Ma n a g e d Se r v i c e s - Re n e w a l             Ad o b e Sy s t e m s In c o r p o r a t e d , 3 4 5 Pa r k Av e n u e , Su i t e 1 5 0 , Sa n
 2.191                                                                                                                                                            Jo s e , C A 9 5 1 1 0
         nature of the debtor's interest                   2024

         State the term remaining                          08/01/2024 - 07/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad o b e a i r / Co o l e r s , 1 1 4 0 W Pr i n c e Rd , Tu c s o n , A Z 8 5 7 0 5
 2.192
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 3 )               Ad r Ha r d w a r e , 2 3 7 N. Ap a c h e Tr l , Ap a c h e Ju n c t i o n , A Z 8 5 1 2 0 -
 2.193                                                                                                                                                            3916
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , A D T Se c u r i t y Sy s t e m s               Ad t L L C, 1 1 1 Wi n d s o r Dr i v e , Oa k Br o o k , I L 6 0 5 2 3
 2.194
         nature of the debtor's interest                   Ag r e e m e n t AT L 2 0 2 2

         State the term remaining                          09/01/2022 - 08/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad v a n c e Eq u i p m e n t Mf g Co , 4 6 1 5 W Ch i c a g o Av e , Ch i c a g o , I L
 2.195                                                                                                                                                            60651
         nature of the debtor's interest
         State the term remaining                          09/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad v a n c e Eq u i p m e n t Mf g Co , 4 6 1 5 W Ch i c a g o Av e , Ch i c a g o , I L
 2.196                                                                                                                                                            60651
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad v a n c e Eq u i p m e n t Mf g Co , 4 6 1 5 W Ch i c a g o Av e , Ch i c a g o , I L
 2.197                                                                                                                                                            60651
         nature of the debtor's interest
         State the term remaining                          07/01/2024 - 06/30/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 7 )                 Ad v a n c e Pa p e r & Ma i n t e n a n c e Su p p l y, Ad v a n c e Pa p e r &
 2.198                                                                                                                                                            Ma i n t e n a n c e , 1 1 3 5 N Mc q u e e n Rd 1 4 3 , Gi l b e r t , A Z 8 5 2 3 3 - 3 0 4 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad v a n c e d Dr a i n a g e Sy s t e m s , 2 8 8 La f a y e t t e St r e e t , Lo n d o n , O H
 2.199                                                                                                                                                            43140
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad v a n c e d Dr a i n a g e Sy s t e m s , 2 8 8 La f a y e t t e St r e e t , Lo n d o n , O H
 2.200                                                                                                                                                            43140
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad v a n c e d Dr a i n a g e Sy s t e m s , 2 8 8 La f a y e t t e St r e e t , Lo n d o n , O H
 2.201                                                                                                                                                            43140
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ad v a n c e d Dr a i n a g e Sy s t e m s , 2 8 8 La f a y e t t e St r e e t , Lo n d o n , O H
 2.202                                                                                                                                                            43140
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ad v a n c e d Dr a i n a g e Sy s t e m s , 2 8 8 La f a y e t t e St r e e t , Lo n d o n , O H
 2.203                                                                                                                                                            43140
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ad v a n c e d Te c h n o l o g y - Ga l i l e o En d Us e r   Ad v a n c e d Te c h n o l o g y Se r v i c e s Gr o u p , 1 2 0 0 At w a t e r Dr i v e ,
 2.204                                                                                                                                                            Su i t e 1 7 0 , Ma l v e r n , PA 1 9 3 5 5
         nature of the debtor's interest                   MSA

         State the term remaining                          02/06/2019 - 02/05/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ad v a n c e d Te c h n o l o g y - Ga l i l e o Sa a S          Ad v a n c e d Te c h n o l o g y Se r v i c e s Gr o u p , 1 2 0 0 At w a t e r Dr i v e ,
 2.205                                                                                                                                                            Su i t e 1 7 0 , Ma l v e r n , PA 1 9 3 5 5
         nature of the debtor's interest                   Su b s c r i p t i o n Re n e w a l 2 0 2 4

         State the term remaining                          02/05/2024 - 02/04/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ad v a n c e d Wi r e l e s s Ac c e s s Po i n t              Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.206                                                                                                                                                            53132
         nature of the debtor's interest                   Re p l a c e m e n t - Ma n k a t o

         State the term remaining                          05/24/2024 - 05/23/2029

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ad v a n c e d Wi r e l e s s Ac c e s s Po i n t s -           Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.207                                                                                                                                                             53132
         nature of the debtor's interest                   At l a n t a

         State the term remaining                          05/24/2024 - 05/23/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ad v a n c e d Wi r e l e s s Ex t r e m e Ma i n t A P3 1 0    Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.208                                                                                                                                                             53132
         nature of the debtor's interest                   Ac c e s s Po i n t s - Sp r i n g f i e l d

         State the term remaining                          10/01/2024 - 09/30/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Sw i t c h Co n t r o l l e r Ha r d w a r e             Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.209                                                                                                                                                             53132
         nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l - Ki n g m a n 2 0 2 3

         State the term remaining                          11/27/2023 - 11/26/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Sw i t c h Co n t r o l l e r Ha r d w a r e             Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.210                                                                                                                                                             53132
         nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l - Ma n c h e s t e r 2 0 2 3

         State the term remaining                          11/27/2023 - 11/26/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ha r d w a r e , So f t w a r e , Ma i n t e n a n c e   Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.211                                                                                                                                                             53132
         nature of the debtor's interest                   a n d Su p p o r t - Ce n t r a l Sh i p

         State the term remaining                          05/01/2022 - 04/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ha r d w a r e , So f t w a r e , Ma i n t e n a n c e   Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.212                                                                                                                                                             53132
         nature of the debtor's interest                   a n d Su p p o r t - Ha r v a r d

         State the term remaining                          05/01/2022 - 04/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ha r d w a r e , So f t w a r e , Ma i n t e n a n c e   Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.213                                                                                                                                                             53132
         nature of the debtor's interest                   a n d Su p p o r t - At l a n t a

         State the term remaining                          05/01/2022 - 04/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ha r d w a r e , So f t w a r e , Ma i n t e n a n c e   Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.214                                                                                                                                                             53132
         nature of the debtor's interest                   a n d Su p p o r t - Cl e v e l a n d

         State the term remaining                          05/01/2022 - 04/30/2027

         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ce i l i n g Sw i t c h Pr o j e c t - Ka n s a s     Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.215                                                                                                                                                          53132
         nature of the debtor's interest                   Ci t y

         State the term remaining                          07/01/2022 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ce i l i n g Sw i t c h Pr o j e c t - Ma n k a t o   Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.216                                                                                                                                                          53132
         nature of the debtor's interest
         State the term remaining                          07/01/2022 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ce i l i n g Sw i t c h Pr o j e c t -                Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.217                                                                                                                                                          53132
         nature of the debtor's interest                   Co r s i c a n a

         State the term remaining                          07/01/2022 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s Ce i l i n g Sw i t c h Pr o j e c t -                Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.218                                                                                                                                                          53132
         nature of the debtor's interest                   Sp r i n g f i e l d

         State the term remaining                          07/01/2022 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e , Ad v a n c e d Wi r e l e s s So f t w a r e Re n e w a l f o r S O T I             Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.219                                                                                                                                                          53132
         nature of the debtor's interest                   R D C' s 2 0 2 4

         State the term remaining                          08/01/2024 - 07/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Ad v a n c e d Wi r e l e s s Ex t r e m e So f t w a r e      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.220                                                                                                                                                          53132
         nature of the debtor's interest                   a n d Ha r d w a r e Ma i n t e n a n c e Re n e w a l Cl e v e l a n d 2 0 2 3

         State the term remaining                          10/29/2023 - 10/28/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Ad v a n c e d Wi r e l e s s Ex t r e m e So f t w a r e      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.221                                                                                                                                                          53132
         nature of the debtor's interest                   a n d Ha r d w a r e Ma i n t e n a n c e - Wo o d l a n d 2 0 2 3

         State the term remaining                          09/30/2023 - 02/04/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Ad v a n c e d Wi r e l e s s Ex t r e m e Ha r d w a r e      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.222                                                                                                                                                          53132
         nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l R S C 2 0 2 4

         State the term remaining                          04/22/2024 - 04/21/2025

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                           Page 28 of 1687
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Ad v a n c e d Wi r e l e s s Ex t r e m e Ha r d w a r e        Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.223                                                                                                                                                            53132
         nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l - De n v e r 2 0 2 4

         State the term remaining                          05/04/2024 - 05/03/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Ad v a n c e d Wi r e l e s s Ex t r e m e So f t w a r e &      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.224                                                                                                                                                            53132
         nature of the debtor's interest                   Ha r d w a r e Ma i n t e n a n c e Re n e w a l Cl e v e l a n d 2 0 2 4

         State the term remaining                          10/29/2024 - 10/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Sa a S, Ad v a n c e Wi r e l e s s Ac c e s s Po i n t Up g r a d e f o r R S C                       Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.225                                                                                                                                                            53132
         nature of the debtor's interest
         State the term remaining                          12/20/2022 - 12/19/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Sa a S, Ad v a n c e d Wi r e l e s s Ac c e s s Po i n t Up g r a d e f o r Ca r y                    Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.226                                                                                                                                                            53132
         nature of the debtor's interest
         State the term remaining                          02/22/2023 - 02/21/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Ad v a n c e d Wi r e l e s s Ex t r e m e So f t w a r e Ma i n t e n a n c e -      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.227                                                                                                                                                            53132
         nature of the debtor's interest                   Ma n c h e s t e r 2 0 2 4

         State the term remaining                          02/28/2024 - 02/27/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Ad v a n c e d Wi r e l e s s Ex t r e m e So f t w a r e Ma i n t e n a n c e -      Ad v a n c e d Wi r e l e s s , In c . , 5 0 1 2 F W As h l a n d Wa y, Fr a n k l i n , W I
 2.228                                                                                                                                                            53132
         nature of the debtor's interest                   Ki n g m a n 2 0 2 4 - 2 0 2 5

         State the term remaining                          10/01/2024 - 09/30/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 3 8 )               Ad v a n t a g e Lu m b e r , 9 2 3 Ma r k e t St r e e t , Pa t e r s o n , N J 0 7 5 1 3 -
 2.229                                                                                                                                                            1128
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ad v a n t a g e Pr o d u c t Co r p , 1 1 5 5 9 Gr o o m s Rd , Ci n c i n n a t i , O H
 2.230                                                                                                                                                            45242
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 29 of 1687
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 9 )               Ad v a n t a g e Wh o l e s a l e Su p p l y Ll c , 7 0 8 Ea s t 1 3 3 r d St r e e t ,
 2.231                                                                                                                                                            Br o n x , N Y 1 0 4 5 4
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ad v a n t a g e Wo r k f o r c e So l u t i o n s        Ad v a n t a g e Wo r k f o r c e Se r v i c e s , L L C, 5 4 8 Ma r k e t St Pm b
 2.232                                                                                                                                                            6 3 1 5 2 , Sa n Fr a n c i s c o , C A 9 4 1 0 4 - 5 4 0 1
         nature of the debtor's interest                   MSA + SOW

         State the term remaining                          01/26/2024 - 01/25/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ae r o St r e a m L L C, W3 0 0 N7 7 0 6 Ch r i s t i n e La n e , Ha r t l a n d , W I
 2.233                                                                                                                                                            53029
         nature of the debtor's interest
         State the term remaining                          11/01/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ae r o g r o w In t ' l In c , Ae r o g r o w In t e r n a t i o n a l In c , 6 0 7 5 Lo n g b o w
 2.234                                                                                                                                                            Dr i v e # 2 0 0 , Bo u l d e r , C O 8 0 3 0 1
         nature of the debtor's interest
         State the term remaining                          09/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ae r o g r o w In t ' l In c , Ae r o g r o w In t e r n a t i o n a l In c , 6 0 7 5 Lo n g b o w
 2.235                                                                                                                                                            Dr i v e # 2 0 0 , Bo u l d e r , C O 8 0 3 0 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ae r o g r o w In t ' l In c , Ae r o g r o w In t e r n a t i o n a l In c , 6 0 7 5 Lo n g b o w
 2.236                                                                                                                                                            Dr i v e # 2 0 0 , Bo u l d e r , C O 8 0 3 0 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Af c Ca b l e Sy s t e m s , 2 7 2 Du c h a i n e Bl v d , Ne w Be d f o r d , M A
 2.237                                                                                                                                                            02745
         nature of the debtor's interest
         State the term remaining                          01/01/2008

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Af c Ca b l e Sy s t e m s , 2 7 2 Du c h a i n e Bl v d , Ne w Be d f o r d , M A
 2.238                                                                                                                                                            02745
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 2 )   Af c o Di s t r i b u t i o n Bu r l i n g t o n Wa r e h o u s e # 2 , Af c o Di s t r i b u t i o n
 2.239                                                                                                                                                Bu r l i n g t o n W, 1 8 3 3 Pa r k La n e , Bu r l i n g t o n , WA 9 8 2 3 3 - 3 3 1 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 2 )   Af c o Di s t r i b u t i o n Sp o k a n e Wa r e h o u s e # 1 , Af c o Di s t r i b u t i o n
 2.240                                                                                                                                                Sp o k a n e Wa r e , 1 1 0 1 6 Ea s t Mo n t g o m e r y Av e . , Sp o k a n e Va l l e y,
         nature of the debtor's interest
                                                                                                                                                      WA 9 9 2 0 6 - 6 1 4 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Af f i n i t y To o l Wo r k s L L C, 1 1 6 1 Ra n k i n , Tr o y, M I 4 8 0 8 3
 2.241
         nature of the debtor's interest
         State the term remaining                          08/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Af u l a En t e r p r i s e s In c , 1 6 5 Wi l l i a m s Av e , Br o o k l y n , N Y 1 1 2 0 7
 2.242
         nature of the debtor's interest
         State the term remaining                          11/22/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Af x l i g h t i n g , 2 3 4 5 N Er n i e Kr u e g e r , Ci r c l e , Wa u k e g a n , I L
 2.243                                                                                                                                                60079
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 4 4 )   A G In d u s t r i a l Su p p l y, 2 9 1 Wo l f Ro a d , La t h a m , N Y 1 2 1 1 0 - 4 8 0 6
 2.244
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 7 )   A G Su p p l y Co m p a n y Of We n a t c h e e , 1 1 1 5 N We n a t c h e e Av e ,
 2.245                                                                                                                                                We n a t c h e e , WA 9 8 8 0 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 0 )   Ag b a y a n i Co n s t r u c t i o n Co r p o r a t i o n , 5 4 2 We s t Ro u t e 8 ,
 2.246                                                                                                                                                Ba r r i g a d a , G U
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 1 8 )               Ag e n c i a La Mu n d i a l , S. A. De C. V. , Ag e n c i a La Mu n d i a l Sa De
 2.247                                                                                                                                                            Cv, Bl v d De l Su r Se c t o r La Pu e r t a , R. t . n . 0 5 0 1 9 0 0 3 0 7 6 1 3 9 , Sa n
         nature of the debtor's interest
                                                                                                                                                                  Pe d r o Su l a Co r t e , Ho n d u r a s
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 8 6 0 0 We s t Br y n Ma w r Av e Ch i c a g o , I L                  Ag g Pr e s i d e n t s Ow n e r L L C, c / o Gl e n St a r As s e t Ma n a g e m e n t ,
 2.248                                                                                                                                                            L L C, At t n : Ra n d A Di a m o n d , 5 5 E Mo n r o e St , St e 3 2 5 0 ,
         nature of the debtor's interest                   60631
                                                                                                                                                                  Ch i c a g o , I L 6 0 6 0 3
         State the term remaining                          12/31/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ag o n o w, L L C, 1 3 0 3 5 Ea s t 5 9 Th St r e e t , Tu l s a , O K 7 4 1 3 4
 2.249
         nature of the debtor's interest
         State the term remaining                          07/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 5 )               Ag p r o Fa r m & Ho m e Ll c , 4 6 7 5 Pa - 5 4 , Tu r b o t v i l l e , PA 1 7 7 7 2
 2.250
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ag r i - Fa b In c o r p o r a t e d , 8 1 1 So u t h Ha m i l t o n , Su l l i v a n , I L
 2.251                                                                                                                                                            61951
         nature of the debtor's interest
         State the term remaining                          08/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ag r i - Fa b In c o r p o r a t e d , 8 1 1 So u t h Ha m i l t o n , Su l l i v a n , I L
 2.252                                                                                                                                                            61951
         nature of the debtor's interest
         State the term remaining                          08/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag r i - Fa b In c o r p o r a t e d , 8 1 1 So u t h Ha m i l t o n , Su l l i v a n , I L
 2.253                                                                                                                                                            61951
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag r i - Fa b In c o r p o r a t e d , 8 1 1 So u t h Ha m i l t o n , Su l l i v a n , I L
 2.254                                                                                                                                                            61951
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 2.255
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.256                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.257                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest
         State the term remaining                          07/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.258                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.259                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.260                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.261                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest
         State the term remaining                          07/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.262                                                                                                                                                            7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ag s Co m p a n y Au t o m o t i v e So l u t i o n s , 2 6 5 1 Ho y t St r e e t , Po Bo x
 2.263                                                                                                                                                7 2 9 , Mu s k e g o n , M I 4 9 4 4 3
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 1 )   Ag w a y Of Ca p e Co d , 6 8 6 Ro u t e 1 3 4 , So u t h De n n i s , M A 0 2 6 6 0 -
 2.264                                                                                                                                                3055
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 4 4 )   Ag w a y Of Ca p e Co d - Ch a t h a m , 1 0 0 5 Ma i n St r e e t , Ch a t h a m ,
 2.265                                                                                                                                                MA 02633-2723
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 9 8 )   Ag w a y Of Ca p e Co d - Ya r m o u t h , 3 7 3 Wh i t e s Pa t h , So u t h
 2.266                                                                                                                                                Ya r m o u t h , M A 0 2 6 6 4 - 1 2 1 4
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 8 )   Ag w a y Of Or l e a n s , 2 0 Lo t s Ho l l o w Ro a d , Or l e a n s , M A 0 2 6 5 3 -
 2.267                                                                                                                                                3329
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 2 )   Ag w a y Of Po r t Je f f e r s o n , 2 9 5 Ro u t e 2 5 a , Mo u n t Si n a i , N Y
 2.268                                                                                                                                                11766
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 7 8 )   Ag w a y / t r u e Va l u e Of Ba l l s t o n Sp a , 2 2 5 Ch u r c h Av e - r t 5 0 ,
 2.269                                                                                                                                                Ba l l s t o n Sp a , N Y 1 2 0 2 0 - 3 6 1 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ah s Li g h t i n g , 1 7 Ri d g e w a t e r Dr i v e , Ca r t e r s v i l l e , G A 3 0 1 2 1
 2.270
         nature of the debtor's interest
         State the term remaining                          11/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 2 3 )               Ai d Tr u e Va l u e , No 2 2 6 Wu l f f Rd , Na s s a u , Ba h a m a s
 2.271
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Wo r k e r s ' Co m p e n s a t i o n - Po l i c y Nu m b e r ( s ) :     Ai g / Na t i o n a l Un i o n Fi r e In s . Co . , 1 7 5 Wa t e r St , Ne w Yo r k ,
 2.272                                                                                                                                                            NY 10038
         nature of the debtor's interest                   W C0 8 0 8 8 0 7 0 9

         State the term remaining                          01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Wo r k e r s ' Co m p e n s a t i o n - Po l i c y Nu m b e r ( s ) :     Ai g / Na t i o n a l Un i o n Fi r e In s . Co . , 1 7 5 Wa t e r St , Ne w Yo r k ,
 2.273                                                                                                                                                            NY 10038
         nature of the debtor's interest                   W C0 8 0 8 8 0 7 1 0

         State the term remaining                          01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Wo r k e r s ' Co m p e n s a t i o n - Po l i c y Nu m b e r ( s ) :     Ai g / Na t i o n a l Un i o n Fi r e In s . Co . , 1 7 5 Wa t e r St , Ne w Yo r k ,
 2.274                                                                                                                                                            NY 10038
         nature of the debtor's interest                   W C0 8 0 8 8 0 7 1 1

         State the term remaining                          01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Wo r k e r s ' Co m p e n s a t i o n - Po l i c y Nu m b e r ( s ) :     Ai g / Na t i o n a l Un i o n Fi r e In s . Co . , 1 7 5 Wa t e r St , Ne w Yo r k ,
 2.275                                                                                                                                                            NY 10038
         nature of the debtor's interest                   X W C3 3 3 2 2 7 5

         State the term remaining                          01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ai k e n Ch e m i c a l Co m p a n y In c , Po Bo x 2 7 1 4 7 , Gr e e n v i l l e , S C
 2.276                                                                                                                                                            29616
         nature of the debtor's interest
         State the term remaining                          07/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ai k e n Ch e m i c a l Co m p a n y In c , Po Bo x 2 7 1 4 7 , Gr e e n v i l l e , S C
 2.277                                                                                                                                                            29616
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ai k e n Ch e m i c a l Co m p a n y In c , Po Bo x 2 7 1 4 7 , Gr e e n v i l l e , S C
 2.278                                                                                                                                                            29616
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                            Page 35 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Lo y a l i t y Da t a Mi g r a t i o n a n d Op e r a t i o n a l   Ai m i a , 1 4 0 Xe n i u m La n e , Po Bo x 5 9 1 5 9 , Pl y m o u t h , M N 5 5 4 4 1
 2.279
         nature of the debtor's interest                   services

         State the term remaining                          12/11/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Lo y a l i t y Op e r a t i o n a l Su p p o r t                    Ai m i a , 1 4 0 Xe n i u m La n e , Po Bo x 5 9 1 5 9 , Pl y m o u t h , M N 5 5 4 4 1
 2.280
         nature of the debtor's interest
         State the term remaining                          12/11/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a t e m e n t o f Wo r k , A I M L E A P Co m p e t i t o r Pr i c i n g Da t a Sc r a p e               Ai m l e a p Pv t . Lt d . , Ma n y a t a Em b a s s y Te c h Pa r k , Gr o u n d Fl o o r ,
 2.281                                                                                                                                                                 Be e c h , E- 1 , Ba n g a l o r e , Ka r n a t a k a , In d i a
         nature of the debtor's interest
         State the term remaining                          10/19/2023 - 10/18/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                   Ai r Cy c l e Co r p o r a t i o n , 2 2 0 0 Og d e n Av e , Su i t e 1 0 0 , Li s l e , I L
 2.282                                                                                                                                                                 60532
         nature of the debtor's interest
         State the term remaining                          10/01/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                   Ai r Ve n t In c . , 4 1 1 7 Pi n n a c l e Po i n t , Da l l a s , T X 7 5 2 1 1
 2.283
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                   Ai r Ve n t In c . , 4 1 1 7 Pi n n a c l e Po i n t , Da l l a s , T X 7 5 2 1 1
 2.284
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                   Ai r g a s Sa f e t y, 2 2 2 5 Wo r k m a n Mi l l Ro a d , Wh i t t i e r , C A 9 0 6 0 1
 2.285
         nature of the debtor's interest
         State the term remaining                          01/01/2009

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Go o d s Pu r c h a s e , Ai r Ga s T V M Ag r e e m e n t Re n e w                                         Ai r g a s Us a L L C, 2 5 9 Ra d n o r Ch e s t e r Ro a d , Su i t e 1 0 0 , Ra d n o r ,
 2.286                                                                                                                                                                 PA 1 9 0 8 7
         nature of the debtor's interest
         State the term remaining                          06/04/2022 - 06/03/2028

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                         Ai r j e t In c , Ai r j e t Te c h n o l o g i e s In c , Po Bo x 5 1 1 , 1 1 Fo r e s t St ,
 2.287                                                                                                                                                       Gl o v e r s v i l l e , N Y 1 2 0 7 8
         nature of the debtor's interest
         State the term remaining                          02/08/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 9 3 )          Ai r m a t i c , In c . , Ai r m a t i c In c . , 2 8 4 Th r e e Tu n Rd , Ma l v e r n , PA
 2.288                                                                                                                                                       19355-3981
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                         Ai r m a x In c Db a Cr y s t a l c l e a r , 7 7 0 4 E 3 8 Th St , Tu l s a , O K
 2.289                                                                                                                                                       74145
         nature of the debtor's interest
         State the term remaining                          09/01/2012

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 0 4 )          Ai s In d u s t r i a l & Co n s t r u c t i o n Su p p l y, Ai s In d u s t r i a l &
 2.290                                                                                                                                                       Co n s t r u c t i o n , 3 9 0 0 Ul s t e r St , De n v e r , C O 8 0 2 0 7 - 1 7 2 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , 3 Si x t y Ho l d i n g s ( A I S N) Ho s t i n g a n d   Ai s Ne t w o r k s Db a 3 6 0 Ho l d i n g s L L C, 9 1 9 E. Ma i n St . , Su i t e
 2.291                                                                                                                                                       1 0 0 0 , Ri c h m o n d , VA 2 3 2 1 9
         nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t

         State the term remaining                          06/01/2020 - 05/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , A I S Ne t w o r k Sw i t c h Ro u t i n g Se r v i c e   Ai s Ne t w o r k s Db a 3 6 0 Ho l d i n g s L L C, 9 1 9 E. Ma i n St . , Su i t e
 2.292                                                                                                                                                       1 0 0 0 , Ri c h m o n d , VA 2 3 2 1 9
         nature of the debtor's interest                   2023

         State the term remaining                          02/24/2023 - 02/23/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )                         Ak r o Mi l s In c , 1 2 9 3 S Ma i n St r e e t , Po Bo x 9 8 9 , Ak r o n , O H
 2.293                                                                                                                                                       44309
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 1 )          Al a b a m a In d u s t r i a l In d u s e r v e , 4 3 Sh e r m a n Dr , Ox f o r d , A L
 2.294                                                                                                                                                       36203-6070
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 2 )   Al a m o Pa i n t & De c o r a t i n g , 5 5 6 3 De Za v a l a Rd , Su i t e 1 7 0 , Sa n
 2.295                                                                                                                                                An t o n i o , T X 7 8 2 4 9 - 1 7 3 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 1 )   Al a m o Pa i n t & De c o r a t i n g , 5 6 1 6 I- 1 0 We s t Su i t e 1 0 5 , Sa n
 2.296                                                                                                                                                An t o n i o , T X 7 8 2 0 1 - 2 8 6 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 6 5 )   Al a m o Su p p l y, 3 0 8 Ho u s t o n , Ma u d , T X 7 5 5 6 7 - 4 5 7 4
 2.297
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 1 7 )     Al a s k y s Tr u e Va l u e Ct r. , Al a s k y s Tr u e Va l u e Ct r , 3 3 6 9 Hu s k y
 2.298                                                                                                                                                Hi g h w a y, Fa r m i n g t o n , W V 2 6 5 7 1 - 8 0 2 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al b a n e s e Co n f e c t i o n e r y Gr o u p , 5 4 4 1 E Li n c o l n Hw y,
 2.299                                                                                                                                                Me r r i l l v i l l e , I N 4 6 4 1 0
         nature of the debtor's interest
         State the term remaining                          05/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                  Al b a n e s e Co n f e c t i o n e r y Gr o u p , 5 4 4 1 E Li n c o l n Hw y,
 2.300                                                                                                                                                Me r r i l l v i l l e , I N 4 6 4 1 0
         nature of the debtor's interest
         State the term remaining                          09/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 3 9 )   Al b i a Tr u e Va l u e Ha r d w a r e , 1 2 3 1 4 t h Av e n u e W, Al b i a , I A
 2.301                                                                                                                                                52531-2614
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al d e n Co r p o r a t i o n , P. O. Bo x 6 2 6 2 , Wo l c o t t , C T 0 6 7 1 6
 2.302
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 7 )               Al d e n Lu m b e r , 1 0 7 1 6 Co y St , Al d e n , M I 4 9 6 1 2
 2.303
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al d i k Ar t i f i c i a l Fl o w e r Co . , 7 0 9 Sc i e n c e Dr i v e , Mo o r p a r k , C A
 2.304                                                                                                                                                            93201
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al e r t St a m p i n g & Mf g , Al e r t St a m p i n g & Mf g - Im p o r t , 2 4 5 0 0
 2.305                                                                                                                                                            So l o n Rd , Be d f o r d He i g h t s , O H 4 4 1 4 6
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al e r t St a m p i n g & Mf g , Al e r t St a m p i n g & Mf g - Im p o r t , 2 4 5 0 0
 2.306                                                                                                                                                            So l o n Rd , Be d f o r d He i g h t s , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al e r t St a m p i n g & Mf g - Im p o r t , 2 4 5 0 0 So l o n Rd , Be d f o r d
 2.307                                                                                                                                                            He i g h t s , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al e r t St a m p i n g & Mf g - Im p o r t , 2 4 5 0 0 So l o n Rd , Be d f o r d
 2.308                                                                                                                                                            He i g h t s , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al e r t St a m p i n g & Mf g - Im p o r t , 2 4 5 0 0 So l o n Rd , Be d f o r d
 2.309                                                                                                                                                            He i g h t s , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 6 )               Al e r t - o - l i t e Tr u e Va l u e , 2 4 3 6 Fo u n d r y Pa r k Av e n u e , Fr e s n o , C A
 2.310                                                                                                                                                            93706-4531
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al e x R Ma s s o n Wh o l e s a l e Gr o w e r , 1 2 8 1 9 1 9 8 Th St , Li n w o o d ,
 2.311                                                                                                                                                            KS 66052
         nature of the debtor's interest
         State the term remaining                          04/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 5 5 )               Al e x a n d e r Tr u e Va l u e Ha r d w a r e , 2 2 1 0 4 Fa r m i n g t o n Rd , Un i t
 2.312                                                                                                                                                            1 1 2 6 0 1 , Fa r m i n g t o n , M I 4 8 3 3 6 - 4 4 1 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 6 2 6 )                 Al e x a n d e r Tr u e Va l u e Ha r d w a r e , Al e x a n d e r Tr u e Va l u e , 8 0 3
 2.313                                                                                                                                                            Hi l l St , El l i s v i l l e , M S 3 9 4 3 7 - 2 4 1 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 3 4 )                 Al e x a n d e r Tr u e Va l u e Ha r d w a r e , Al e x a n d e r Tr u e Va l u e Hd w e ,
 2.314                                                                                                                                                            2 4 8 8 Hi g h w a y 1 5 So u t h , Ba y Sp r i n g s , M S 3 9 4 2 2 - 0 5 0 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al e x a n d r i a Mo u l d i n g In c , 1 0 1 Gr a n t Wa y, Po Bo x 1 6 9 , Mo x e e ,
 2.315                                                                                                                                                            WA 9 8 9 3 6
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al e x a n d r i a Mo u l d i n g In c , 1 0 1 Gr a n t Wa y, Po Bo x 1 6 9 , Mo x e e ,
 2.316                                                                                                                                                            WA 9 8 9 3 6
         nature of the debtor's interest
         State the term remaining                          06/10/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al e x a n d r i a Mo u l d i n g In c , 1 0 1 Gr a n t Wa y, Po Bo x 1 6 9 , Mo x e e ,
 2.317                                                                                                                                                            WA 9 8 9 3 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 4 7 )               Al e x s o n Gr a n d Tr u e Va l u e Re n t a l , Al e x s o n Gr a n d Tr u e Va l u e
 2.318                                                                                                                                                            Re n t a , 3 Pa s t u s z e k Bl v d , Li n w o o d , PA 1 9 0 6 1 - 4 3 6 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                   Al f r e s c o Ho m e L L C, 1 0 0 0 Ar m a n d Ha m m e r Bl v d , Po t t s t o w n ,
 2.319                                                                                                                                                 PA 1 9 4 6 4
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )   Al i In d u s t r i e s , 6 1 1 Ye l l o w Sp r i n g s , P. O. Bo x 1 6 7 7 , Fa i r b o r n ,
 2.320                                                                                                                                                 OH 45324
         nature of the debtor's interest
         State the term remaining                          01/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                   Al i In d u s t r i e s , 6 1 1 Ye l l o w Sp r i n g s , P. O. Bo x 1 6 7 7 , Fa i r b o r n ,
 2.321                                                                                                                                                 OH 45324
         nature of the debtor's interest
         State the term remaining                          09/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                   Al i In d u s t r i e s , 6 1 1 Ye l l o w Sp r i n g s , P. O. Bo x 1 6 7 7 , Fa i r b o r n ,
 2.322                                                                                                                                                 OH 45324
         nature of the debtor's interest
         State the term remaining                          04/15/2024 - 06/30/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                   Al i In d u s t r i e s , 6 1 1 Ye l l o w Sp r i n g s , P. O. Bo x 1 6 7 7 , Fa i r b o r n ,
 2.323                                                                                                                                                 OH 45324
         nature of the debtor's interest
         State the term remaining                          08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                   Al i In d u s t r i e s , 6 1 1 Ye l l o w Sp r i n g s , P. O. Bo x 1 6 7 7 , Fa i r b o r n ,
 2.324                                                                                                                                                 OH 45324
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 3 0 )      Al i x s Tr u e Va l u e , 6 0 7 5 St a t e Rt e 1 1 , Ch a t e a u g a y, N Y 1 2 9 2 0 -
 2.325                                                                                                                                                 3212
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 0 7 )    Al l Am e r i c a n Ha r d w a r e , 6 7 8 Mo t o r Pk w y 2 , Ha u p p a u g e , N Y
 2.326                                                                                                                                                 11788-5179
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 2 )   Al l Co l o r Pa i n t , 5 6 5 0 W. Mi s s i o n Bu l d , On t a r i o , C A 9 1 7 6 2
 2.327
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 6 )   Al l In d o o r Fa r m St o r e , 1 2 1 5 Ke n t u c k y Av e Se , No r t o n , VA
 2.328                                                                                                                                                24273-0001
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 4 2 )   Al l Se a s o n s Ho m e & Ga r d e n Sh o w p l a c e , Al l Se a s o n s Ho m e &
 2.329                                                                                                                                                Ga r d e n Sh o w, 2 9 7 4 Jo h n s t o n St r e e t , La f a y e t t e , L A 7 0 5 0 3 - 3 2 4 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 5 4 )     Al l Se a s o n s Tr u e Va l u e , 2 8 7 6 Ma y b a n k Hw y, Jo h n s Is l a n d , S C
 2.330                                                                                                                                                29455-4807
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 2 )     Al l Se a s o n s Tr u e Va l u e , 8 6 6 Fo l l y Rd , Ch a r l e s t o n , S C 2 9 4 1 2 -
 2.331                                                                                                                                                3452
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al l Sp o r t s Ma r k e t i n g In c , 9 1 6 Fi r s t St , Ba t a v i a , I L 6 0 5 1 0
 2.332
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 7 )     Al l St a t e Fa s t e n e r Co r p o r a t i o n , 1 7 0 3 Wh a l e y St , Lo n g v i e w, T X
 2.333                                                                                                                                                75601
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al l St a t e s Ag Pa r t s L L C, 1 2 0 0 Cr e s t Vi e w Dr i v e # 1 , Hu d s o n ,
 2.334                                                                                                                                                WI 54016
         nature of the debtor's interest
         State the term remaining                          08/01/2023

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al l Tr o p i c a l s In c , Po Bo x 7 4 0 3 0 7 , Bo y n t o n Be a c h , F L 3 3 4 7 4
 2.335
         nature of the debtor's interest
         State the term remaining                          03/04/2012

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al l We a t h e r Wo o d , Po Bo x 2 2 7 , Wa s h o u g a l , WA 9 8 6 7 1
 2.336
         nature of the debtor's interest
         State the term remaining                          10/01/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 )         Al l b r i g h t ' s Tr u e Va l u e Ha r d w a r e , Al l b r i g h t ` s Tr u e Va l u e
 2.337                                                                                                                                                Ha r d w a r , 2 1 5 S Ma i n , Lu s k , W Y 8 2 2 2 5 - 0 7 7 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 )       Al l e g a n Tr u e Va l u e , 1 5 2 7 Li n c o l n Rr 6 m 4 0 n , Al l e g a n , M I
 2.338                                                                                                                                                49010-8197
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 7 7 )   Al l e m o n ' s La n d s c a p e Ce n t e r Ho m e & Ga r d e n Sh o w p l a c e ,
 2.339                                                                                                                                                Al l e m o n s La n d s c a p e Ct r H& g s , 1 7 7 2 7 Ma c k Av e , De t r o i t , M I
         nature of the debtor's interest
                                                                                                                                                      48224-1467
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 0 )   Al l e n & Pa l m e r Tr u e Va l u e , 1 1 2 N Ma i n St , No r t h v i l l e , N Y
 2.340                                                                                                                                                12134
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Al l e n Co m p a n y, Po Bo x 4 4 5 , 5 2 5 Bu r b a n k St r e e t , Br o o m f i e l d ,
 2.341                                                                                                                                                CO 80020
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                  Al l e n Co m p a n y, Po Bo x 4 4 5 , 5 2 5 Bu r b a n k St r e e t , Br o o m f i e l d ,
 2.342                                                                                                                                                CO 80020
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l e n Co m p a n y, Po Bo x 4 4 5 , 5 2 5 Bu r b a n k St r e e t , Br o o m f i e l d ,
 2.343                                                                                                                                                            CO 80020
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l e n Co m p a n y, Po Bo x 4 4 5 , 5 2 5 Bu r b a n k St r e e t , Br o o m f i e l d ,
 2.344                                                                                                                                                            CO 80020
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l e n Gr o u p In t l In c , 3 7 7 S Le m o n Av e , Su i t e A, Wa l n u t , C A
 2.345                                                                                                                                                            91789
         nature of the debtor's interest
         State the term remaining                          09/01/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l e n Gr o u p In t l In c , 3 7 7 S Le m o n Av e , Su i t e A, Wa l n u t , C A
 2.346                                                                                                                                                            91789
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l e n Gr o u p In t l In c , 3 7 7 S Le m o n Av e , Su i t e A, Wa l n u t , C A
 2.347                                                                                                                                                            91789
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 8 8 5 )                 Al l e n ' s Au t o Pa r t s , 3 2 1 W Ma i n St r e e t , Im m o k a l e e , F L 3 4 1 4 2 -
 2.348                                                                                                                                                            3930
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 2 )                   Al l e n d a l e Tr u e Va l u e , 5 4 2 5 La k e Mi c h i g a n Dr , Al l e n d a l e , M I
 2.349                                                                                                                                                            49401-9149
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 1 3 )               Al l e n s v i l l e Pl a n i n g Mi l l , 1 0 3 8 1 Fa i r g r o u n d s Rd , Hu n t i n g d o n ,
 2.350                                                                                                                                                            PA 1 6 6 5 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 1 0 )                  Al l e n s v i l l e Pl a n i n g Mi l l , 1 0 8 E. Ma i n St , Al l e n s v i l l e , PA 1 7 0 0 2
 2.351
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 1 1 )                  Al l e n s v i l l e Tr u e Va l u e Pl a n i n g Mi l l , 9 1 1 El e c t r i c Av e Re a r ,
 2.352                                                                                                                                                               Le w i s t o w n , PA 1 7 0 4 4
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Au d i o Vi s u a l p r e v e n t i v e m a i n t e n e n a c e   Al l e n v i s u a l , 1 4 0 5 Bu s c h Pk w y, Bu f f a l o Gr o v e , I L 6 0 0 8 9
 2.353
         nature of the debtor's interest
         State the term remaining                          03/19/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 6 2 )                  Al l e r s Tr u e Va l u e Lu m b e r , 2 1 7 W Mo n t a u k Hw y, Li n d e n h u r s t ,
 2.354                                                                                                                                                               NY 11757-5654
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 9 )                  Al l i a n c e Ho m e Im p r o v e m e n t Ce n t e r , Al l i a n c e Lu m b e r , 1 5 0 5 W
 2.355                                                                                                                                                               Wh i s p e r i n g Wi n d Dr , St e 1 0 3 , Ph o e n i x , A Z 8 5 0 8 5 - 0 6 2 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                 Al l i a n c e Ho r t Be r r y Nu r s e r i e s , 1 6 1 2 4 Co p p e r Ri d g e Ct ,
 2.356                                                                                                                                                               Wi l d w o o d , M O 6 3 0 4 0
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                 Al l i a n c e Ho r t i c u l t u r e , Po Bo x 2 1 7 , Wi l d w o o d , M O 6 3 0 4 0
 2.357
         nature of the debtor's interest
         State the term remaining                          07/30/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                                 Al l i a n c e Sp o r t s Gr o u p , 3 0 2 5 N Gr e a t So u t h w e s t Pk w y, Gr a n d
 2.358                                                                                                                                                               Pr a i r i e , T X 7 5 0 5 0
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                                   Page 45 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) :         Al l i a n z Gl o b a l Ri s k s Us In s u r a n c e Co , 2 2 5 We s t Wa s h i n g t o n
 2.359                                                                                                                                                            St r e e t , Su i t e 1 8 0 0 , Ch i c a g o , I L 6 0 6 0 6
         nature of the debtor's interest                   U S F0 5 2 8 0 6 2 3

         State the term remaining                          11/30/2023 - 11/30/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Al l i e d Se c u r i t y Se r v i c e s        Al l i e d Ba r t o n Se c u r i t y Se r v i c e s , 1 6 1 Wa s h i n g t o n St r e e t Ei g h t
 2.360                                                                                                                                                            To w e r Br i d g e , Su i t e 6 0 0 , Co n s h o h o c k e n , PA 1 9 4 2 8
         nature of the debtor's interest                   Am e n d m e n t 2 0 2 5

         State the term remaining                          03/18/2024 - 03/17/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Al l i e d - C O V I D Ad d e n d u m 2 0 2 1                    Al l i e d Ba r t o n Se c u r i t y Se r v i c e s , 1 6 1 Wa s h i n g t o n St r e e t Ei g h t
 2.361                                                                                                                                                            To w e r Br i d g e , Su i t e 6 0 0 , Co n s h o h o c k e n , PA 1 9 4 2 8
         nature of the debtor's interest
         State the term remaining                          11/30/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l i e d Na t i o n a l , In c , 1 3 2 7 0 Ca p i t a l Av e , Oa k Pa r k , M I 4 8 2 3 7
 2.362
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l i e d Pr e c i s i o n In d , 1 4 5 0 W 1 3 Th St , Gl e n c o e , M N 5 5 3 3 6
 2.363
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l i e d Tu b e & Co n d u i t , 1 6 1 0 0 S La t h r o p Av e , Ha r v e y, I L
 2.364                                                                                                                                                            60426
         nature of the debtor's interest
         State the term remaining                          01/01/2008

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l i e d Tu b e & Co n d u i t , 1 6 1 0 0 S La t h r o p Av e , Ha r v e y, I L
 2.365                                                                                                                                                            60426
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l i e d Tu b e & Co n d u i t , 1 6 1 0 0 S La t h r o p Av e , Ha r v e y, I L
 2.366                                                                                                                                                            60426
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Po l l u t i o n - Po l i c y Nu m b e r ( s ) : 0 3 1 4 1 6 0 7          Al l i e d Wo r l d As s u r a n c e Co ( Us ) In c . , 5 5 0 S Ho p e St , St e 1 8 2 5 ,
 2.367                                                                                                                                                            Lo s An g e l e s , C A 9 0 0 7 1
         nature of the debtor's interest
         State the term remaining                          02/01/2024 - 02/01/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   In s u r a n c e Po l i c y, Cy b e r - Po l i c y Nu m b e r ( s ) : 3 1 3 8 1 4 9                    Al l i e d Wo r l d Sp e c i a l t y In s u r a n c e Co , 5 5 0 S Ho p e St , St e 1 8 2 5 ,
 2.368                                                                                                                                                            Lo s An g e l e s , C A 9 0 0 7 1
         nature of the debtor's interest
         State the term remaining                          05/01/2024 - 05/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l m a n d Br o s . In c . , W Hw y 2 3 Po Bo x 8 8 8 , Ho l d r e g e , N E
 2.369                                                                                                                                                            68949
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Al l o Co m m u n i c a t i o n s L L C M S A             Al l o Co m m u n i c a t i o n s L L C, 6 1 0 Br o a d w a y St r e e t Im p e r i a l , Ne
 2.370                                                                                                                                                            6 9 0 3 3 , Li n c o l n , N E 6 9 0 3 3
         nature of the debtor's interest
         State the term remaining                          05/20/2024 - 05/19/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , A L L O Co m m u n i c a t i o n s - D I A 3 0 0 Mb p s        Al l o Co m m u n i c a t i o n s L L C, 6 1 0 Br o a d w a y St r e e t Im p e r i a l , Ne
 2.371                                                                                                                                                            6 9 0 3 3 , Li n c o l n , N E 6 9 0 3 3
         nature of the debtor's interest                   Ci r c u i t – Ki n g m a n

         State the term remaining                          07/01/2024 - 06/30/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 5 )               Al l p r o Co r p o r a t i o n , 4 9 4 6 Jo a n n e Ke a r n e y Bl v d , Ta m p a , F L
 2.372                                                                                                                                                            33619
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s o p In c , Po Bo x 2 3 , Be l l i n g h a m , WA 9 8 2 2 6
 2.373
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l s o p In c , Po Bo x 2 3 , Be l l i n g h a m , WA 9 8 2 2 6
 2.374
         nature of the debtor's interest
         State the term remaining                          04/16/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.375                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.376                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.377                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.378                                                                                                                                                            10532
         nature of the debtor's interest
         State the term remaining                          06/10/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.379                                                                                                                                                            10532
         nature of the debtor's interest
         State the term remaining                          03/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.380                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.381                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.382                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l s t a r Ma r k e t i n g Gr o u p L L C, 2 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.383                                                                                                                                                            10532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l s t a r Pr o d u c t s Gr o u p L L C, 4 Sk y l i n e Dr i v e , Ha w t h o r n e , N Y
 2.384                                                                                                                                                            10532
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l s t a t e Fl o r a l & Cr a f t , 1 4 0 3 8 Pa r k Pl a c e , Ce r r i t o s , C A 9 0 7 0 3
 2.385
         nature of the debtor's interest
         State the term remaining                          03/16/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al l t r a d e To o l s , 1 4 3 1 Vi a Pl a t a , Lo n g Be a c h , C A 9 0 8 1 0
 2.386
         nature of the debtor's interest
         State the term remaining                          07/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l t r a d e To o l s , 1 4 3 1 Vi a Pl a t a , Lo n g Be a c h , C A 9 0 8 1 0
 2.387
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y 1 0 4 6 2
 2.388
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y 1 0 4 6 2
 2.389
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.390                                                                                                                                                            10462
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.391                                                                                                                                                            10462
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.392                                                                                                                                                            10462
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.393                                                                                                                                                            10462
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.394                                                                                                                                                            10462
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.395                                                                                                                                                            10462
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al l w a y To o l s In c . , Al l w a y To o l In c , 1 2 5 5 Se a b u r y, Br o n x , N Y
 2.396                                                                                                                                                            10462
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 7 8 )               Al m a Sa s , Z I De Pu b l i c , St Ba r t h e l e m y, Gu a d e l o u p e
 2.397
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 6 )                 Al m a Tr u e Va l u e Ha r d w a r e , 1 0 2 W Su p e r i o r St , Al m a , M I
 2.398                                                                                                                                                            48801-1643
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al m o Di s t r i b u t i n g Wi s c o n s i n In c , 2 7 0 9 Co m m e r c e Wa y,
 2.399                                                                                                                                                            Ph i l a d e l p h i a , PA 1 9 1 5 4
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 6 8 )               Al p e n a Su p p l y Co m p a n y, 4 1 0 S El e v e n t h St , Al p e n a , M I 4 9 7 0 7 -
 2.400                                                                                                                                                            2640
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 8 6 )                 Al p e r s Tr u e Va l u e Hd w e , 8 1 Ma i n St , Po r t Wa s h i n g t o n , N Y
 2.401                                                                                                                                                            11050-2822
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p h a As s e m b l y So l u t i o n s In c , Co n s u m e r Pr o d u c t s Di v, 4 1 0 0
 2.402                                                                                                                                                            Si x t h Av e , Al t o o n a , PA 1 6 6 0 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al p h a As s e m b l y So l u t i o n s In c , Co n s u m e r Pr o d u c t s Di v, 4 1 0 0
 2.403                                                                                                                                                            Si x t h Av e , Al t o o n a , PA 1 6 6 0 2
         nature of the debtor's interest
         State the term remaining                          06/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al p h a As s e m b l y So l u t i o n s In c , Co n s u m e r Pr o d u c t s Di v, 4 1 0 0
 2.404                                                                                                                                                            Si x t h Av e , Al t o o n a , PA 1 6 6 0 2
         nature of the debtor's interest
         State the term remaining                          07/01/2023 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al p h a As s e m b l y So l u t i o n s In c , Co n s u m e r Pr o d u c t s Di v, 4 1 0 0
 2.405                                                                                                                                                            Si x t h Av e , Al t o o n a , PA 1 6 6 0 2
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Al p h a As s e m b l y So l u t i o n s In c , Co n s u m e r Pr o d u c t s Di v, 4 1 0 0
 2.406                                                                                                                                                            Si x t h Av e , Al t o o n a , PA 1 6 6 0 2
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al p h a Pr o t e c h En g i n e e r e d Pr o d u c t s I, 3 0 1 S Bl a n c h a r d St ,
 2.407                                                                                                                                                            Va l d o s t a , G A 3 1 6 0 1
         nature of the debtor's interest
         State the term remaining                          01/01/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Al p h a b e t I N C ( Go o g l e Pa r e n t ) - G C P         Al p h a b e t In c ( Go o g l e Pa r e n t ) , 1 6 0 0 Am p h i t h e a t e r Pa r k w a y,
 2.408                                                                                                                                                            Mo u n t a i n Vi e w, C A 9 4 0 4 3
         nature of the debtor's interest                   Ex t e n d e d Su p p o r t 2 0 2 4 - 2 0 2 5

         State the term remaining                          03/01/2024 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 2 )               Al p h a v e t s In c , 1 5 - a Li b e r t y St . E, Yo r k , S C 2 9 7 4 5
 2.409
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.410
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.411
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.412
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.413
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.414
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.415
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.416
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.417
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.418
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Al p i n e Co r p o r a t i o n , 4 9 0 1 Za m b r a n o St , Co m m e r c e , C A 9 0 0 4 0
 2.419
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 1 6 )               Al s 5 & 1 0 , 2 5 4 0 5 Pe r d i d o Be a c h Bl v d - Un i t 3 , Or a n g e Be a c h ,
 2.420                                                                                                                                                            AL 36561-3132
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 4 6 )               Al s 5 & 1 0 , 4 3 5 8 Ol d Sh e l l Rd , Mo b i l e , A L 3 6 6 0 8 - 2 0 5 0
 2.421
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 3 5 )               Al s i p Ho m e & Nu r s e r y H& g s , 1 0 2 5 5 Wi c k e r Av e , Sa i n t Jo h n ,
 2.422                                                                                                                                                            IN 46373-9439
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 3 2 )      Al s i p Ho m e & Nu r s e r y H& g s , 2 0 6 0 1 S Ro u t e 4 5 , Fr a n k f o r t , I L
 2.423                                                                                                                                                   60423-1390
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                     Al s o n s Co r p , 3 0 1 0 W Me c h a n i c St , Hi l l s d a l e , M I 4 9 2 4 2
 2.424
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Al t a 3 6 0 Re s e a r c h - My s t e r y Sh o p p i n g   Al t a 3 6 0 Re s e a r c h , 1 6 9 0 Wo o d l a n d s Dr , Su i t e 1 0 3 , Ma u m e e ,
 2.425                                                                                                                                                   OH 43537
         nature of the debtor's interest                   Ag r e e m e n t 2 0 1 8

         State the term remaining                          11/07/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                     Al t a In d u s t r i e s , Po Bo x 2 7 6 4 , 1 4 6 0 Ca d e r La n e , Pe t a l u m a , C A
 2.426                                                                                                                                                   94955
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 1 0 )      Al t a d e n a Ha r d w a r e , 8 4 9 E Ma r i p o s a St , Al t a d e n a , C A 9 1 0 0 1 -
 2.427                                                                                                                                                   2420
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 6 5 )      Al t a m o n t Co u n t r y Va l u e s , 1 0 6 Pr o s p e c t Te r r a c e , Al t a m o n t , N Y
 2.428                                                                                                                                                   12009
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                     Al t e r r a To o l s Lt d - Im p o r t , Ro o m s 1 2 1 4 - 1 2 1 5 , 1 2 F, Ne w
 2.429                                                                                                                                                   Ma n d a r i n Pl a z a , To w e r A, Ts i m Sh a t s u i Ea s t
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Or d e r Fo r m , Al t e r y x Se r v e r & Us e r Li c e n s e Re n e w a l 2 0 2 4          Al t e r y x , In c . , 1 7 2 0 0 La g u n a Ca n y o n Ro a d , Su i t e 2 5 0 , Ir v i n e ,
 2.430                                                                                                                                                   CA 92618
         nature of the debtor's interest
         State the term remaining                          12/31/2023 - 12/30/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   So f t w a r e , Al t e r y x De s i g n e r Li c e n s e s                                 Al t e r y x , In c . , 1 7 2 0 0 La g u n a Ca n y o n Ro a d , Su i t e 2 5 0 , Ir v i n e ,
 2.431                                                                                                                                                 CA 92618
         nature of the debtor's interest
         State the term remaining                          06/16/2022 - 06/15/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 5 )    Al t h o f f Ha r d w a r e & Ap p l i a n c e , 1 2 8 4 t h St N, Ca n n o n Fa l l s ,
 2.432                                                                                                                                                 MN 55009
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                   Al t m a n Pl a n t s , Po Bo x 5 0 1 1 , Ri c h m o n d , C A 9 4 8 0 5
 2.433
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                   Al t o n In t l En t e r p r i s e s Li m i t e d , 1 7 / F Ka m Sa n g Bl d g , 2 5 5 - 2 5 7
 2.434                                                                                                                                                 De s Vo e u x Rd Ce n t r a l , Sh e u n g Wa n , Ho n g Ko n g
         nature of the debtor's interest
         State the term remaining                          08/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )   Al t o n In t l En t e r p r i s e s Li m i t e d , 1 7 / F Ka m Sa n g Bl d g , 2 5 5 - 2 5 7
 2.435                                                                                                                                                 De s Vo e u x Rd Ce n t r a l , Sh e u n g Wa n , Ho n g Ko n g
         nature of the debtor's interest
         State the term remaining                          01/26/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 5 5 )      Al t o n Tr u e Va l u e & Co u n t r y Sp l y, Al t o n Tr u e Va l u e & Co u n t r y
 2.436                                                                                                                                                 Sp l , Mo n u m e n t Sq - Ma i n St , Al t o n , N H 0 3 8 0 9 - 4 6 2 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 7 )    Am a f h a En t e r p r i s e In c . , 1 3 9 0 0 S. Va n Dy k e Rd Un i t 1 1 0 ,
 2.437                                                                                                                                                 Pl a i n f i e l d , I L 6 0 5 4 4
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 0 9 )    Am a g a n s e t t Tr u e Va l u e , 1 5 1 Ma i n St , Am a g a n s e t t , N Y 1 1 9 3 0 -
 2.438                                                                                                                                                 2140
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                          Am a n a To o l Co . , 1 2 0 Ca r o l y n Bl v d , Fa r m i n g d a l e , N Y 1 1 7 3 5
 2.439
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 5 6 2 )           Am a n d u s D Mo y e r Lb r , 1 2 0 2 E Ph i l a St , Gi l b e r t s v i l l e , PA
 2.440                                                                                                                                                        19525-9998
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 8 4 )           Am a n d u s D Mo y e r Lb r In c , 3 0 0 Ar m a n d Ha m m e r Bl v d ,
 2.441                                                                                                                                                        Po t t s t o w n , PA 1 9 4 6 4 - 5 0 8 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                          Am a n o Pi o n e e r Ec l i p s e Co r p , Po Bo x 9 0 9 , 1 Ec l i p s e Rd ,
 2.442                                                                                                                                                        Sp a r t a , N C 2 8 6 7 5
         nature of the debtor's interest
         State the term remaining                          04/01/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Am a r o k Se c u r i t y Se r v i c e s    Am a r o k Se c u r i t y, 5 5 0 As s e m b l y St r e e t , Fi f t h Fl o o r , Co l u m b i a ,
 2.443                                                                                                                                                        SC 29201
         nature of the debtor's interest                   Ag r e e m e n t AT L R D C 2 0 2 4

         State the term remaining                          02/09/2024 - 02/08/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                          Am a x In c o r p o r a t e d , 1 5 7 5 S Co u n t y Tr a i l , Ea s t Gr e e n w i c h , R I
 2.444                                                                                                                                                        02818
         nature of the debtor's interest
         State the term remaining                          01/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ho s t i n g , Am a z o n We b Se r v i c e s – Ho s t i n g Se r v i c e s f o r                  Am a z o n Se r v i c e s , 4 1 0 Te r r y Av e n u e , No r t h Se a t t l e , WA 9 8 1 0 9
 2.445
         nature of the debtor's interest                   Ne t w a r e h o u s e 2 0 2 3

         State the term remaining                          09/01/2024 - 08/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ho s t i n g , Am a z o n We b Se r v i c e s – Ho s t i n g Se r v i c e s f o r Bu s i n e s s   Am a z o n Se r v i c e s , 4 1 0 Te r r y Av e n u e , No r t h Se a t t l e , WA 9 8 1 0 9
 2.446
         nature of the debtor's interest                   Pr o j e c t s a n d R H A I 2 0 2 4

         State the term remaining                          09/01/2024 - 08/31/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , A W S En t e r p r i s e Ag r e e m e n t                        Am a z o n Se r v i c e s , 4 1 0 Te r r y Av e n u e , No r t h Se a t t l e , WA 9 8 1 0 9
 2.447
         nature of the debtor's interest
         State the term remaining                          03/13/2020 - 03/12/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 1 0 )                 Am b r i d g e Lu m b e r Co . , 2 7 0 0 Du s s Av e , Am b r i d g e , PA 1 5 0 0 3 -
 2.448                                                                                                                                                              1427
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                                Am e r i c a n Ai r Fi l t e r Co , 9 9 2 0 Co r p o r a t e Ca m p u s Dr , Su i t e
 2.449                                                                                                                                                              2 2 0 0 , Lo u i s v i l l e , K Y 4 0 2 2 3
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t     Am e r i c a n Be v e r a g e Ma r k e t e r s , 8 1 0 Pr o g r e s s Bl v d , Ne w Al b a n y,
 2.450                                                                                                                                                              IN 47150
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Bi o p h y s i c s Co r p , 1 4 0 Fr e n c h t o w n Rd , No r t h
 2.451                                                                                                                                                              Ki n g s t o w n , R I 0 2 8 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Am e r i c a n Ce n t r a l Tr a n s p o r t In c . Ca r r i e r   Am e r i c a n Ce n t r a l Tr a n s p o r t In c . , 1 7 0 0 Ol d 2 1 0 Hi g h w a y,
 2.452                                                                                                                                                              Li b e r t y, M O 6 4 0 6 8
         nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                          12/12/2016 - 12/11/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                                Am e r i c a n Co v e r s In c , 1 0 2 W 1 2 2 0 0 So u t h , Dr a p e r , U T 8 4 0 2 0
 2.453
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                                Am e r i c a n Co v e r s In c , 1 0 2 W 1 2 2 0 0 So u t h , Dr a p e r , U T 8 4 0 2 0
 2.454
         nature of the debtor's interest
         State the term remaining                          07/01/2022 - 06/30/2024

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r i c a n Co v e r s In c , 1 0 2 W 1 2 2 0 0 So u t h , Dr a p e r , U T 8 4 0 2 0
 2.455
         nature of the debtor's interest
         State the term remaining                          08/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Co v e r s In c , 1 0 2 W 1 2 2 0 0 So u t h , Dr a p e r , U T 8 4 0 2 0
 2.456
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n De e r Pr o o f i n g In c , P. O. Bo x 7 1 8 , 5 6 7 Li b e r t y La n e ,
 2.457                                                                                                                                                            We s t Ki n g s t o n , R I 0 2 8 9 2
         nature of the debtor's interest
         State the term remaining                          11/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.458                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.459                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest
         State the term remaining                          01/03/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.460                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.461                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.462                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Di s t r i b u t i o n & Mf g Co , 7 9 0 0 9 7 Th St So u t h , Co t t a g e
 2.463                                                                                                                                                            Gr o v e , M N 5 5 0 1 6
         nature of the debtor's interest
         State the term remaining                          09/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Ga r d e n w o r k s In c , 2 0 5 We s t Ma u z y St , Bo s w e l l , I N
 2.464                                                                                                                                                            47921
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Ga r d e n w o r k s In c , 2 0 5 We s t Ma u z y St , Bo s w e l l , I N
 2.465                                                                                                                                                            47921
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Gy p s u m Ma r k e t i n g Co , 3 8 1 1 Tu r t l e Cr e e k Bl v d
 2.466                                                                                                                                                            # 1 2 0 0 , Da l l a s , T X 7 5 2 1 9
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 9 0 )               Am e r i c a n Ha r d w a r e , 3 5 0 9 1 s t Av e Sw, Hi c k o r y, N C 2 8 6 0 2 - 1 6 0 3
 2.467
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 2 )               Am e r i c a n Ha y & Me r c a n t i l e Co , 1 0 1 W Sh o r t St , Oa k Vi e w, C A
 2.468                                                                                                                                                            93022-9700
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 1 5 )               Am e r i c a n Hd w Of La k e s i d e , 2 0 Bo w l i n g Gr e e n Pk w y, La k e
 2.469                                                                                                                                                            Ho p a t c o n g , N J 0 7 8 4 9 - 2 2 5 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Ho m e Fo o d s , 3 Co r p o r a t e Dr i v e , Su i t e 2 0 5 , Sh e l t o n ,
 2.470                                                                                                                                                            CT 06484
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )     Am e r i c a n Ho m e Fo o d s , 3 Co r p o r a t e Dr i v e , Su i t e 2 0 5 , Sh e l t o n ,
 2.471                                                                                                                                   CT 06484
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )     Am e r i c a n Ho m e Fo o d s , 3 Co r p o r a t e Dr i v e , Su i t e 2 0 5 , Sh e l t o n ,
 2.472                                                                                                                                   CT 06484
         nature of the debtor's interest
         State the term remaining                          01/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )     Am e r i c a n Ho n d a Mo t o r Co m p a n y In c . , 4 9 0 0 Ma r c o n i Dr i v e ,
 2.473                                                                                                                                   Al p h a r e t t a , G A 3 0 0 0 5
         nature of the debtor's interest
         State the term remaining                          09/01/2010

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )     Am e r i c a n Me t a l Pr o d u c t s , 8 6 0 1 Ha c k s Cr o s s Ro a d , Ol i v e
 2.474                                                                                                                                   Br a n c h , M S 3 8 6 5 4
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )     Am e r i c a n Me t a l Pr o d u c t s , 8 6 0 1 Ha c k s Cr o s s Ro a d , Ol i v e
 2.475                                                                                                                                   Br a n c h , M S 3 8 6 5 4
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )     Am e r i c a n Me t a l Pr o d u c t s , 8 6 0 1 Ha c k s Cr o s s Ro a d , Ol i v e
 2.476                                                                                                                                   Br a n c h , M S 3 8 6 5 4
         nature of the debtor's interest
         State the term remaining                          08/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )     Am e r i c a n Me t a l Pr o d u c t s , 8 6 0 1 Ha c k s Cr o s s Ro a d , Ol i v e
 2.477                                                                                                                                   Br a n c h , M S 3 8 6 5 4
         nature of the debtor's interest
         State the term remaining                          08/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )     Am e r i c a n Mo d a , 1 2 1 2 S Na p e r Bl v d , Su i t e 1 1 9 - 1 3 6 ,
 2.478                                                                                                                                   Na p e r v i l l e , I L 6 0 5 4 0
         nature of the debtor's interest
         State the term remaining                          09/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r i c a n Ou t d o o r Br a n d s Pr o d u c t s Co , 7 7 2 0 Ph i l l i p s Hi g h w a y,
 2.479                                                                                                                                                            Ja c k s o n v i l l e , F L 3 2 2 5 6
         nature of the debtor's interest
         State the term remaining                          06/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Ou t d o o r Br a n d s Pr o d u c t s Co , 7 7 2 0 Ph i l l i p s Hi g h w a y,
 2.480                                                                                                                                                            Ja c k s o n v i l l e , F L 3 2 2 5 6
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Pn e u m a t i c To o l , 9 9 4 9 Ta b o r Pl a c e , Sa n t a Fe Sp r i n g s ,
 2.481                                                                                                                                                            CA 90670
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Po w e r Pu l l , 5 5 0 W Li n f o o t St , Wa u s e o n , O H 4 3 5 6 7
 2.482
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r i c a n Po w e r Pu l l , 5 5 0 W Li n f o o t St , Wa u s e o n , O H 4 3 5 6 7
 2.483
         nature of the debtor's interest
         State the term remaining                          08/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Po w e r Pu l l , 5 5 0 W Li n f o o t St , Wa u s e o n , O H 4 3 5 6 7
 2.484
         nature of the debtor's interest
         State the term remaining                          06/15/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , A R I N An n u a l Fe e f o r Re g i s t r a t i o n      Am e r i c a n Re g i s t r y Fo r In t e r n e t Nu m b e r s ( Ar i n ) , Po Bo x
 2.485                                                                                                                                                            2 3 2 2 9 0 , Ce n t r e v i l l e , VA 2 0 1 2 0
         nature of the debtor's interest                   Se r v i c e s Pl a n 2 0 2 4

         State the term remaining                          01/04/2024 - 01/03/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Am e r i c a n Re n t a l As s o c i a t i o n A R A           Am e r i c a n Re n t a l As s o c i a t i o n Ar a , 1 9 0 0 1 9 Th St . , Mo l i n e , I L
 2.486                                                                                                                                                            61265
         nature of the debtor's interest                   Me m b e r s h i p Ag r e e m e n t

         State the term remaining                          12/20/2021 - 12/19/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Ro d & Gu n , Po Bo x 2 8 2 0 , 2 5 0 0 E Ke a r n e y,
 2.487                                                                                                                                                            Sp r i n g f i e l d , M O 6 5 8 0 1
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 5 8 )               Am e r i c a n Ro y a l Ha r d w a r e , 2 5 1 Pa r k St , Up p e r Mo n t c l a i r , N J
 2.488                                                                                                                                                            07043-0001
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.489                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.490                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.491                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.492                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.493                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 6 - M S C Pr o g r a m Ag r e e m e n t ( s )                            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.494                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 1 - Co n v e r s i o n Ag r e e m e n t ( s )                            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.495                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 1 - Co n v e r s i o n Ag r e e m e n t ( s )                            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.496                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 5 - Co n v e r s i o n Ag r e e m e n t ( s )                            Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.497                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest
         State the term remaining                          05/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.498                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.499                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i c a n Sa w & Mf g Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.500                                                                                                                                                            Hu n t e r s v i l l e , N C 2 8 0 7 8
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Sp e c i a l t y Mf g , 5 0 5 0 As h l e e Wa y, Er d a , U T 8 4 0 7 4
 2.501
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i c a n Sp o r t w o r k s , 7 6 2 5 Di s a l l e Bl v d , Fo r t Wa y n e , I N
 2.502                                                                                                                                                            46825
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Am e r i c a n St a n d a r d Br a n d s , 3 0 Kn i g h t s Br i d g e Rd , Pi s c a t a w a y,
 2.503                                                                                                                                                NJ 08855
         nature of the debtor's interest
         State the term remaining                          05/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Am e r i c a n St a n d a r d Br a n d s , 3 0 Kn i g h t s Br i d g e Rd , Pi s c a t a w a y,
 2.504                                                                                                                                                NJ 08855
         nature of the debtor's interest
         State the term remaining                          05/01/2024 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                  Am e r i c a n St a n d a r d Br a n d s , 3 0 Kn i g h t s Br i d g e Rd , Pi s c a t a w a y,
 2.505                                                                                                                                                NJ 08855
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Am e r i c a n St a n d a r d Br a n d s , 3 0 Kn i g h t s Br i d g e Rd , Pi s c a t a w a y,
 2.506                                                                                                                                                NJ 08855
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 2 3 )     Am e r i c a n Tr e e H& g s , 3 9 0 3 Va n Dy k e Rd , Al m o n t , M I 4 8 0 0 3 -
 2.507                                                                                                                                                8048
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 2 )   Am e r i c a n Tr u e Va l u e Re n t a l , 3 2 8 S Ma i n St r e e t , Ja c k s o n v i l l e ,
 2.508                                                                                                                                                IL 62650-2507
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Am e r i c a n Wo o d Fi b e r s , 9 7 4 0 Pa t u x e n t Wo o d s Dr i v e , Su i t e 5 0 0 ,
 2.509                                                                                                                                                Co l u m b i a , M D 2 1 0 4 6
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Am e r i c a n Wo o d Mo u l d i n g , 8 1 8 0 In d u s t r i a l Pa r k w a y,
 2.510                                                                                                                                                Sa c r a m e n t o , C A 9 5 8 2 4
         nature of the debtor's interest
         State the term remaining                          01/01/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i g a s Pr o p a n e Bu l k , 4 6 0 N Gu l p h Rd , Ki n g Of Pr u s s i a , PA
 2.511                                                                                                                                                            19406
         nature of the debtor's interest
         State the term remaining                          01/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i g a s Pr o p a n e L. P. , 4 6 0 N Gu l p h Ro a d , Ki n g Of Pr u s s i a ,
 2.512                                                                                                                                                            PA 1 9 4 0 6
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.513                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.514                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.515                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.516                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest
         State the term remaining                          01/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.517                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.518                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.519                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest
         State the term remaining                          01/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.520                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.521                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r i m a x Ho m e Pr o d u c t s , Po Bo x 4 5 1 5 , 4 5 0 Ri c h a r d s o n
 2.522                                                                                                                                                            Dr i v e , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r o c k , 1 1 6 Ex m o r e Ro a d , Mo o r e s v i l l e , N C 2 8 1 1 7
 2.523
         nature of the debtor's interest
         State the term remaining                          01/26/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r o c k , 1 1 6 Ex m o r e Ro a d , Mo o r e s v i l l e , N C 2 8 1 1 7
 2.524
         nature of the debtor's interest
         State the term remaining                          01/26/2023 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Am e r t a c - We s t e k , 1 2 7 4 5 W. Ca p i t a l Dr i v e , Su i t e 2 0 5 ,
 2.525                                                                                                                                                            Br o o k f i e l d , W I 5 3 0 0 5
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r t a c - We s t e k , 1 2 7 4 5 W. Ca p i t a l Dr i v e , Su i t e 2 0 5 ,
 2.526                                                                                                                                                            Br o o k f i e l d , W I 5 3 0 0 5
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e r t a c - We s t e k , 1 2 7 4 5 W. Ca p i t a l Dr i v e , Su i t e 2 0 5 ,
 2.527                                                                                                                                                            Br o o k f i e l d , W I 5 3 0 0 5
         nature of the debtor's interest
         State the term remaining                          08/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e r t a c - We s t e k , 1 2 7 4 5 W. Ca p i t a l Dr i v e , Su i t e 2 0 5 ,
 2.528                                                                                                                                                            Br o o k f i e l d , W I 5 3 0 0 5
         nature of the debtor's interest
         State the term remaining                          09/01/2024 - 08/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t                                     Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.529
         nature of the debtor's interest
         State the term remaining                          04/07/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.530
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.531
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.532
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.533
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.534
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 67 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


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 2.535
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.536
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
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 2.537
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.538
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
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         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.539
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.540
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.541
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.542
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                          Page 68 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 2.543
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.544
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.545
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.546
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
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         nature of the debtor's interest                   Ag r e e m e n t ( s )

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 2.548
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.549
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.550
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                          Page 69 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.551
         nature of the debtor's interest
         State the term remaining                          08/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.552
         nature of the debtor's interest
         State the term remaining                          10/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e - Im p o r t , 4 6 5 Ra i l r o a d Av e n u e , Ca m p
 2.553                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e - Im p o r t , 4 6 5 Ra i l r o a d Av e n u e , Ca m p
 2.554                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e - Im p o r t , 4 6 5 Ra i l r o a d Av e n u e , Ca m p
 2.555                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
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         contract
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 2.556                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e - Im p o r t , 4 6 5 Ra i l r o a d Av e n u e , Ca m p
 2.557                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e - Im p o r t , 4 6 5 Ra i l r o a d Av e n u e , Ca m p
 2.558                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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 2.559                                                                                                                                                            Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e / Sn o w To o l s , Am e s Co m p a n i e s , Th e , 4 6 5
 2.560                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest
         State the term remaining                          03/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am e s Co m p a n i e s , Th e / Sn o w To o l s , Am e s Co m p a n i e s , Th e , 4 6 5
 2.561                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am e s Co m p a n i e s , Th e / Sn o w To o l s , Am e s Co m p a n i e s , Th e , 4 6 5
 2.562                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
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 2.563                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

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 2.564                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

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 2.565                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

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 2.566                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 2.567                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

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 2.568                                                                                                                                                            Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e s Re s e a r c h La b o r a t o r i e s , 1 8 9 1 1 6 Th St Se , Sa l e m , O R
 2.569                                                                                                                                                            97302
         nature of the debtor's interest
         State the term remaining                          10/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am e s Tr u e Te m p e r , 4 6 5 Ra i l r o a d Av e , Ca m p Hi l l , PA 1 7 0 1 1
 2.570
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 4 6 )                 Am e s Tr u e Va l u e Ha r d w a r e & Su p p l y, 4 4 7 Ba t h Ro a d ,
 2.571                                                                                                                                                            Wi s c a s s e t , M E 0 4 5 7 8 - 4 6 2 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am i t h a Ve r m a , 1 2 0 0 Bl a l o c k , Su i t e 2 1 0 , Ho u s t o n , T X 7 7 0 5 5
 2.572
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am m e x Co r p o r a t i o n , Po Bo x 3 5 1 4 3 - Lb 1 1 3 7 , Se a t t l e , WA
 2.573                                                                                                                                                            98124
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am m e x Co r p o r a t i o n , Po Bo x 3 5 1 4 3 - Lb 1 1 3 7 , Se a t t l e , WA
 2.574                                                                                                                                                            98124
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
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 2.575
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.576
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.577
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.578
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.579
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.580
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am p a c L. L. C. , 1 2 0 2 5 Tr i c o n Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
 2.581
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am p a c Mo b i l e Ho l d i n g s L L C, Am p a c L L C , 1 2 0 2 5 Tr i c o n
 2.582                                                                                                                                                            Ro a d , Ci n c i n n a t i , O H 4 5 2 4 6
         nature of the debtor's interest
         State the term remaining                          11/01/2008

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am p l i v o x So u n d Sy s t e m s , 6 5 0 An t h o n y Tr a i l , Su i t e D,
 2.583                                                                                                                                                            No r t h b r o o k , I L 6 0 0 6 2
         nature of the debtor's interest
         State the term remaining                          05/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am s c a n , 8 0 Gr a s s l a n d s Rd , El m s f o r d , N Y 1 0 5 2 3
 2.584
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am t u r f , L L C, 1 3 9 6 3 We s t s i d e La n e S, Je f f e r s o n , O R 9 7 3 5 2
 2.585
         nature of the debtor's interest
         State the term remaining                          08/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Am y Ho w a r d At Ho m e , 4 7 8 N Ho l l y w o o d , Me m p h i s , T N 3 8 1 1 2
 2.586
         nature of the debtor's interest
         State the term remaining                          07/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Bu s i n e s s An a l y s t w o r k o n t h e Cu s t o m e r   An a Ce c i l i a Mo r a l e s , Ad d r e s s Re d a c t e d
 2.587
         nature of the debtor's interest                   Fo c u s Vi s i o n p r o g r a m . Th e w o r k c o v e r e d i n t h i s S O W i n c l u d e s
                                                           documenting the business process flows.

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An a h e i m Ma n u f a c t u r i n g Co . , 4 2 4 0 E La Pa l m a Av e , An a h e i m ,
 2.588                                                                                                                                                            CA 92807
         nature of the debtor's interest
         State the term remaining                          01/01/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 3 )               An a n d a Lt d , 1 2 3 8 Le e w a r d Hi g h w a y, Pr o v i d e n c i a l e s , Tu r k s
 2.589                                                                                                                                                            An d Ca i c o s Is l a n d s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 8 9 )               An a n d a Lt d , Fc - Pr o v o - Kb Ho m e Ce n t e r St o r e 1 - f c , Fi v e Ca y s ,
 2.590                                                                                                                                                            Pr o v i d e n c i a l e s , Tu r k s An d Ca i c o s Is l a n d s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 74 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 0 )   An a n d a Lt d , Gt - g r a n d Tu r k - k b Ho m e Ce n t e r 3 g t , Ai r p o r t Ro a d ,
 2.591                                                                                                                                                Gr a n d Tu r k , Tu r k s An d Ca i c o s Is l a n d s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 1 )   An a n d a Lt d , H2 - p r o v o - k b Ho m e Ce n t e r 5 - h 2 , 1 1 5 8 Le e w a r d
 2.592                                                                                                                                                Hi g h w a y, Pr o v i d e n c i a l e s , Tu r k s An d Ca i c o s Is l a n d s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 3 6 )     An a w a l t Tr u e Va l u e Lu m b e r , 1 1 0 0 0 Bu r b a n k Bl v d , No r t h
 2.593                                                                                                                                                Ho l l y w o o d , C A 9 1 6 0 1 - 2 4 3 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  An c h o r Au d i o In c . , 5 9 3 1 Da r w i n Ct , Ca r l s b a d , C A 9 2 0 0 8
 2.594
         nature of the debtor's interest
         State the term remaining                          04/01/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  An c h o r Ho c k i n g Op e r a t i n g Co , 3 1 1 5 N Wi l k e Ro a d , Su i t e S,
 2.595                                                                                                                                                Ar l i n g t o n Hg h t s , I L 6 0 0 0 4
         nature of the debtor's interest
         State the term remaining                          02/23/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  An c h o r In d u s t r i e s , In c , 7 7 0 1 Hi g h w a y 4 1 N, Ev a n s v i l l e , I N
 2.596                                                                                                                                                47725
         nature of the debtor's interest
         State the term remaining                          01/01/2010

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  An c h o r Si g n In c , 2 2 0 0 Di s c h e r Av e , Ch a r l e s t o n , S C 2 0 4 0 5
 2.597
         nature of the debtor's interest
         State the term remaining                          06/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  An c h o r Wi r e / Hi l l m a n Gr o u p , 4 2 5 Ch u r c h St r e e t ,
 2.598                                                                                                                                                Go o d l e t t s v i l l e , T N 3 7 0 7 2
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                               An c i e n t Gr a f f i t i , 3 0 0 Ea s t Rt e 2 2 , La k e Zu r i c h , I L 6 0 0 4 7
 2.599
         nature of the debtor's interest
         State the term remaining                          07/18/2008

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , An d e r s e n Mu t u a l N D A 2 0 2 4          An d e r s e n Ma t e r i a l Ha n d l i n g , 1 9 6 0 Su m m i t Co m m e r c e Pa r k ,
 2.600                                                                                                                                                             Tw i n s b u r g , O H 4 4 0 8 7
         nature of the debtor's interest
         State the term remaining                          04/24/2024 - 04/23/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , An d e r s e n Ha n d l i n g Ma t e r i a l s   An d e r s e n Ma t e r i a l Ha n d l i n g , 1 9 6 0 Su m m i t Co m m e r c e Pa r k ,
 2.601                                                                                                                                                             Tw i n s b u r g , O H 4 4 0 8 7
         nature of the debtor's interest                   Ma i n t e n a n c e - Cl e v e l a n d R D C 2 0 2 4

         State the term remaining                          07/01/2024 - 06/30/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 8 9 )                An d e r s o n Fe e d & Ha r d w a r e , 8 8 Mi l l i e s Pl a c e , Da h l o n e g a , G A
 2.602                                                                                                                                                             30533-4048
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 1 1 )                An d e r s o n Ha r d w a r e & Su p p l y, 3 8 4 5 Hi g h w a y 2 1 , Id a h o Ci t y, I D
 2.603                                                                                                                                                             83631
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                               An d e r s o n Me t a l s Co r p , Po Bo x 3 4 2 0 0 , Ka n s a s Ci t y, M O 6 4 1 2 0
 2.604
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                               An d e r s o n Me t a l s Co r p , Po Bo x 3 4 2 0 0 , Ka n s a s Ci t y, M O 6 4 1 2 0
 2.605
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 5 7 )                An d e r s o n ' s , An d e r s o n ` s , 1 9 2 5 Fi s h e r Ar c h , Vi r g i n i a Be a c h , VA
 2.606                                                                                                                                                             23456-1234
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 5 9 )               An d e r s o n ' s Gr n h o u s e s In c H& g s , An d e r s o n ` s Gr n h o u s e s In c
 2.607                                                                                                                                                            H& g s , 1 1 2 5 0 Je f f e r s o n Av e , Ne w p o r t Ne w s , VA 2 3 6 0 1 - 2 2 0 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 6 )                 An d e r s o n ' s Tr u e Va l u e , An d e r s o n ' s Tr u e Va l u e Of Ce n t r a l i a ,
 2.608                                                                                                                                                            2 2 0 No r t h To w e r , Ce n t r a l i a , WA 9 8 5 3 1 - 4 3 2 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 8 8 )                 An d r e & So n Tr u e Va l u e , 1 7 1 5 0 St a t e Ro u t e 7 0 6 , Mo n t r o s e , PA
 2.609                                                                                                                                                            18801-9771
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 4 )               An d y ' s Ha r d w a r e , 1 0 4 1 1 So u t h Sa n Pe d r o St , Lo s An g e l e s , C A
 2.610                                                                                                                                                            90003-0411
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 8 1 )               An d y ' s Ta y l o r Tr u e Va l u e Re n t a l , An d y ` s Ta y l o r Tr u e Va l u e
 2.611                                                                                                                                                            Re n t a , 1 0 0 5 Po p e Rd , Sa i n t Au g u s t i n e , F L 3 2 0 8 0 - 5 9 9 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An g e l a ' S Ga r d e n , 2 0 3 Pi n o l a Dr , Ma g e e , M S 3 9 1 1 1
 2.612
         nature of the debtor's interest
         State the term remaining                          11/14/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 4 1 )                 An g e l o Tr u e Va l u e Pa i n t & Hd w e , 1 4 8 - 2 7 Hi l l s i d e Av e n u e ,
 2.613                                                                                                                                                            Ja m a i c a , N Y 1 1 4 3 5 - 3 3 3 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   An i m a l He a l t h In t ' l , An i m a l He a l t h In t e r n a t i o n a l , 8 2 2 7 Th St ,
 2.614                                                                                                                                                            Su i t e 7 4 0 , Gr e e l e y, C O 8 0 6 3 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   An i m a l He a l t h In t ' l , An i m a l He a l t h In t e r n a t i o n a l , 8 2 2 7 Th St ,
 2.615                                                                                                                                                            Su i t e 7 4 0 , Gr e e l e y, C O 8 0 6 3 1
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An n e Ta i n t o r In c , 1 3 7 Mo n t a g u e St , Br o o k l y n , N Y 1 1 2 0 1
 2.616
         nature of the debtor's interest
         State the term remaining                          05/16/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An n i n Fl a g m a k e r s , 1 0 5 Ei s e n h o w e r Pa r k w a y, 2 Nd Fl o o r - Su i t e
 2.617                                                                                                                                                            2 0 3 , Ro s e l a n d , N J 0 7 0 6 8
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An t i Se i z e Te c h n o l o g y, 2 3 4 5 N 1 7 Th Av e , Fr a n k l i n Pa r k , I L
 2.618                                                                                                                                                            60131
         nature of the debtor's interest
         State the term remaining                          01/01/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 8 5 )               An t l e r s Ro o f Tr u s s & Bu i l d i n g Su p , An t l e r s Ro o f Tr u s s &
 2.619                                                                                                                                                            Bu i l d i n g , 1 0 1 0 N E 5 t h , An t l e r s , O K 7 4 5 2 3 - 2 8 0 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An v i l In t ' l In c , An v i l In t e r n a t i o n a l In c , 2 6 0 0 W Co m p a s s Rd ,
 2.620                                                                                                                                                            Gl e n v i e w, I L 6 0 0 2 5
         nature of the debtor's interest
         State the term remaining                          01/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              An v i z Bi o m e t r i c In c , 3 2 9 2 0 Al v a r a d o - Ni l e s Rd St e 2 2 0 , Un i o n
 2.621                                                                                                                                                            Ci t y, C A 9 4 5 8 7
         nature of the debtor's interest
         State the term remaining                          12/07/2010

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 7 5 )               An z a Tr u e Va l u e , 2 4 4 1 1 9 0 t h St , Re d o n d o Be a c h , C A 9 0 2 7 8 -
 2.622                                                                                                                                                            5031
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 78 of 1687
Debtor                           Case
                   True Value Company,    24-12337-KBO
                                       L.L.C.                                         Doc 623                       Filed 11/26/24         Page 24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 8 )               An z a Va l l e y Tr u e Va l u e , 5 6 3 5 0 Hw y 3 7 1 , An z a , C A 9 2 5 3 9 - 0 0 0 1
 2.623
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.624
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.625
         nature of the debtor's interest
         State the term remaining                          06/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.626
         nature of the debtor's interest
         State the term remaining                          08/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.627
         nature of the debtor's interest
         State the term remaining                          11/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.628
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.629
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.630
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                           Page 79 of 1687
Debtor                           Case
                   True Value Company,    24-12337-KBO
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.631
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.632
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.633
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.634
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap & G Co In c , 1 7 0 5 3 Rd St , Br o o k l y n , N Y 1 1 2 3 2
 2.635
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap a c h e Ho s e & Be l t i n g In c , Po Bo x 7 4 5 9 3 2 , At l a n t a , G A 3 0 3 7 4
 2.636
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ap e x Pe s t Co n t r o l Cl e v e l a n d     Ap e x Pe s t Co n t r o l , 2 6 1 1 8 Br o a d w a y Av e n u e , Un i t 5 , Oa k w o o d
 2.637                                                                                                                                                            Vi l l a g e , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t 2 0 2 3

         State the term remaining                          07/19/2023 - 07/18/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ap e x Pe s t Co n t r o l Se r v i c e s       Ap e x Pe s t Co n t r o l , 2 6 1 1 8 Br o a d w a y Av e n u e , Un i t 5 , Oa k w o o d
 2.638                                                                                                                                                            Vi l l a g e , O H 4 4 1 4 6
         nature of the debtor's interest                   At l a n t a 2 0 2 4

         State the term remaining                          03/15/2024 - 03/14/2027

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                            Page 80 of 1687
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                   True Value Company,    24-12337-KBO
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ap e x Pe s t Co n t r o l Co r s i c a n a     Ap e x Pe s t Co n t r o l , 2 6 1 1 8 Br o a d w a y Av e n u e , Un i t 5 , Oa k w o o d
 2.639                                                                                                                                                            Vi l l a g e , O H 4 4 1 4 6
         nature of the debtor's interest                   Ag r e e m e n t 2 0 2 3

         State the term remaining                          10/23/2023 - 10/22/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x Pr o d u c t s L L C, 8 0 Re m i n g t o n Rd , Sc h a u m b u r g , I L 6 0 1 7 3
 2.640
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x Pr o d u c t s L L C, 8 0 Re m i n g t o n Rd , Sc h a u m b u r g , I L 6 0 1 7 3
 2.641
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t                                     Ap e x To o l Gr o u p , 6 0 6 9 N Ba y Ri d g e Av e , Wh i t e f i s h Ba y, W I
 2.642                                                                                                                                                            53217
         nature of the debtor's interest
         State the term remaining                          03/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p , 6 0 6 9 N Ba y Ri d g e Av e , Wh i t e f i s h Ba y, W I
 2.643                                                                                                                                                            53217
         nature of the debtor's interest
         State the term remaining                          09/01/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.644                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.645                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.646                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.647                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.648                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p L L C, Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.649                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.650                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.651                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.652                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.653                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest
         State the term remaining                          01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.654                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                          Page 82 of 1687
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                   True Value Company,    24-12337-KBO
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.655                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l Gr o u p - As i a , Ap e x To o l Gr o u p Hq , 9 1 0 Ri d g e b r o o k
 2.656                                                                                                                                                            Ro a d , Su i t e 2 0 0 , Sp a r k s , M D 2 1 1 5 2
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.657
         nature of the debtor's interest
         State the term remaining                          04/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.658
         nature of the debtor's interest
         State the term remaining                          01/01/2013

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.659
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.660
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.661
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap e x To o l s Gr o u p L L C, 1 1 8 2 Sp r i n g St , Yo r k v i l l e , I L 6 0 5 6 0
 2.662
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
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                   True Value Company,    24-12337-KBO
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 2 2 )                       Ap e x Tr u e Va l u e Ha r d w a r e , 6 0 0 Gr e e n e St , Ma r i e t t a , O H
 2.663                                                                                                                                                                  45750-3203
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                                    Ap g r Gr e e n In c , Po Bo x 9 8 2 5 , Fa y e t t e v i l l e , A R 7 2 7 0 3
 2.664
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , A P I Wi z a r d - Ma i n t e n a n c e f o r Ap p l i c a t i o n   Ap i Wi z a r d , L L C, Ap i Wi z a r d , L L C, 1 1 2 7 Hi g h Ri d g e Ro a d ,
 2.665                                                                                                                                                                  2 3 8 , St a m f o r d , C T 0 6 9 0 5
         nature of the debtor's interest                   b u i l d Fo r Or a c l e A P 2 0 2 4

         State the term remaining                          07/20/2024 - 07/19/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ap i s e r o Ma s t e r Se r v i c e s Ag r e e m e n t 2 0 2 0      Ap i s e r o , In c . , 1 3 5 1 N Al m a Sc h o o l Rd . , Su i t e 1 5 0 , Ch a n d l e r ,
 2.666                                                                                                                                                                  AZ 85224
         nature of the debtor's interest
         State the term remaining                          12/21/2020 - 12/20/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                                    Ap o l l o Ex p o r t s In t l In c , 2 4 1 6 Wy e c r o f t Rd , Un i t 5 , Oa k v i l l e ,
 2.667                                                                                                                                                                  O N L6 L 6 M6 , Ca n a d a
         nature of the debtor's interest
         State the term remaining                          06/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 0 7 )                     Ap p a l a c h i a n Eq u i p & Sp l y Of Va , 6 0 0 N Ma i n St ,
 2.668                                                                                                                                                                  Ha r r i s o n b u r g , VA 2 2 8 0 2 - 4 6 2 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 3 )                     Ap p a l a c h i a n Ha r d w a r e Co . , 3 2 9 0 Su s q u a h a n n a Tr a i l ,
 2.669                                                                                                                                                                  Du n c a n n o n , PA 1 7 0 2 0 - 0 0 0 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Ap p l e De v e l o p e r Pr o g r a m -            Ap p l e , On e Ap p l e Pa r k Wa y, Cu p e r t i n o , C A 9 5 0 1 4
 2.670
         nature of the debtor's interest                   Me m b e r s h i p f o r o n e y e a r

         State the term remaining                          04/29/2024 - 04/28/2025

         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                                      Page 84 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 8 3 7 )                 Ap p l e In d u s t r i a l Su p p l y Co . , 5 9 0 0 Or a n g e Av e , Fo r t Pi e r c e , F L
 2.671                                                                                                                                                            34947-1550
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l e In d u s t r i e s In c , 2 0 0 Fo r e s t Dr i v e , Bl d g 8 , Gr e e n v a l e , N Y
 2.672                                                                                                                                                            11548
         nature of the debtor's interest
         State the term remaining                          05/03/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 1 6 )                 Ap p l e Me a d o w Tr u e Va l u e , 1 0 El m St P O Bo x 5 5 3 , To w n s e n d ,
 2.673                                                                                                                                                            MA 01469-1277
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l e g a t e Li v e s t o c k Eq u i p m e n t , Po Bo x 3 1 0 , 9 0 2 S St a t e Rd
 2.674                                                                                                                                                            3 2 , Un i o n Ci t y, I N 4 7 3 9 0
         nature of the debtor's interest
         State the term remaining                          05/02/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l e t o n Su p p l y Co m p a n y, 1 9 0 5 W Ha s k e l l St , Ap p l e t o n , W I
 2.675                                                                                                                                                            54914
         nature of the debtor's interest
         State the term remaining                          11/01/2010

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l i c a / Sp e c t r u m Br a n d s , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I
 2.676                                                                                                                                                            53744
         nature of the debtor's interest
         State the term remaining                          01/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l i c a / Sp e c t r u m Br a n d s , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I
 2.677                                                                                                                                                            53744
         nature of the debtor's interest
         State the term remaining                          07/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ap p l i c a / Sp e c t r u m Br a n d s , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I
 2.678                                                                                                                                                            53744
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ap p l i c a / Sp e c t r u m Br a n d s , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I
 2.679                                                                                                                                                            53744
         nature of the debtor's interest
         State the term remaining                          07/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 9 4 )                 Ap p o m a t t o x Tr u e Va l u e , 7 1 9 4 Ri c h m o n d Hw y, Ap p o m a t t o x , VA
 2.680                                                                                                                                                            24522-8675
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ap p s I T Ag e n c y & Re c r u i t i n g Ag r e e m e n t    Ap p s It Am e r i c a L L C, 1 0 0 So u t h Fi f t h St r e e t , # 1 9 7 3 ,
 2.681                                                                                                                                                            Mi n n e a p o l i s , M N 5 5 4 0 2
         nature of the debtor's interest
         State the term remaining                          12/15/2019 - 12/14/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 8 3 )               Ap t e x , W 2 2 7 N 6 7 8 We s t m o u n d Dr i v e , Wa u k e s h a , W I 5 3 1 8 6 -
 2.682                                                                                                                                                            0407
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ap t i t i v e Co r p M S A                                    Ap t i t i v e Co r p , 2 0 No r t h Wa c k e r Dr i v e , Su i t e 4 0 0 , Ch i c a g o , I L
 2.683                                                                                                                                                            60606
         nature of the debtor's interest
         State the term remaining                          12/02/2020 - 12/01/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Aq u a Le i s u r e In d In c , 5 2 5 Bo d w e l l St r e e t , Av o n , M A 0 2 3 2 2
 2.684
         nature of the debtor's interest
         State the term remaining                          06/10/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Aq u a Le i s u r e In d In c , 5 2 5 Bo d w e l l St r e e t , Av o n , M A 0 2 3 2 2
 2.685
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aq u a Le i s u r e In d In c , 5 2 5 Bo d w e l l St r e e t , Av o n , M A 0 2 3 2 2
 2.686
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 86 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Aq u a Le i s u r e In d In c , 5 2 5 Bo d w e l l St r e e t , Av o n , M A 0 2 3 2 2
 2.687
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Aq u a Le i s u r e In d In c , 5 2 5 Bo d w e l l St r e e t , Av o n , M A 0 2 3 2 2
 2.688
         nature of the debtor's interest
         State the term remaining                          08/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Aq u a Ti t e In n o v a t i v e So l u t i o n s , On e Li b e r t y La n e Ea s t , Su i t e
 2.689                                                                                                                                                            2 1 2 , Ha m p t o n , N H 0 3 8 4 2
         nature of the debtor's interest
         State the term remaining                          10/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Aq u a m o r L L C, 4 2 1 8 8 Ri o Ne d o , Te m e c u l a , C A 9 2 5 9 0
 2.690
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Aq u a m o r L L C, 4 2 1 8 8 Ri o Ne d o , Te m e c u l a , C A 9 2 5 9 0
 2.691
         nature of the debtor's interest
         State the term remaining                          09/01/2022 - 08/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Aq u a m o r L L C, 4 2 1 8 8 Ri o Ne d o , Te m e c u l a , C A 9 2 5 9 0
 2.692
         nature of the debtor's interest
         State the term remaining                          08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 7 7 )               A R Cl e a r i n g Ac c o u n t , Ga b r i e l Br o t h e r s In c , 5 5 Sc o t t Av e ,
 2.693                                                                                                                                                            Mo r g a n t o w n , W V 2 6 5 0 8 - 8 8 5 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   H R Se r v i c e s , A R A G - Gr o u p Li f e Le g a l Ex p e n s e In s u r a n c e                  Ar a g In s u r a n c e Co m p a n y, 4 0 0 Lo c u s t St . , Su i t e 4 8 0 , De s
 2.694                                                                                                                                                            Mo i n e s , I A 5 0 3 0 9
         nature of the debtor's interest                   Po l i c y

         State the term remaining                          01/01/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 4 6 )                Ar a n o f f Tr u e Va l u e , 8 2 3 5 S Co t t a g e Gr o v e , Ch i c a g o , I L 6 0 6 1 9 -
 2.695                                                                                                                                                             5399
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ar b o r So l u t i o n s M S A                            Ar b o r So l u t i o n s , 1 3 4 5 Mo n r o e Nw, Su i t e 3 0 9 , Gr a n d Ra p i d s ,
 2.696                                                                                                                                                             MI 49505
         nature of the debtor's interest
         State the term remaining                          05/01/2023 - 04/30/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ar b o r So l u t i o n s S O W 1 Sh u r l i n e Su p p o r t   Ar b o r So l u t i o n s , 1 3 4 5 Mo n r o e Nw, Su i t e 3 0 9 , Gr a n d Ra p i d s ,
 2.697                                                                                                                                                             MI 49505
         nature of the debtor's interest                   Se r v i c e s

         State the term remaining                          04/01/2023 - 12/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ar b o r So l u t i o n s Sh u r l i n e I B M 8 2 0 2 S W        Ar b o r So l u t i o n s , 1 3 4 5 Mo n r o e Nw, Su i t e 3 0 9 , Gr a n d Ra p i d s ,
 2.698                                                                                                                                                             MI 49505
         nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l f o r Ca r y

         State the term remaining                          12/28/2023 - 12/27/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 0 8 )                Ar b o r d a l e Nu r s e r y In c H& g s , 1 1 3 9 0 Tr a n s i t Rd , Ea s t Am h e r s t ,
 2.699                                                                                                                                                             NY 14051
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Eq u i p m e n t Le a s e , A R C Eq u i p m e n t Fi n a n c e - Le a s i n g Re f r e s h             Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.700
         nature of the debtor's interest                   Su r f a c e Pr o ' s a n d i 7 La p t o p s

         State the term remaining                          02/01/2022 - 01/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                                                                    Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.701
         nature of the debtor's interest
         State the term remaining                          10/01/2021 - 09/30/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                                                                    Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.702
         nature of the debtor's interest
         State the term remaining                          06/01/2021 - 05/31/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.703
         nature of the debtor's interest
         State the term remaining                          08/01/2021 - 07/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.704
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.705
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.706
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.707
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.708
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.709
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.710
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.711
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.712
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.713
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.714
         nature of the debtor's interest
         State the term remaining                          09/01/2021 - 02/28/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.715
         nature of the debtor's interest
         State the term remaining                          03/01/2022 - 02/28/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.716
         nature of the debtor's interest
         State the term remaining                          02/01/2022 - 01/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.717
         nature of the debtor's interest
         State the term remaining                          01/01/2022 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e                            Ar c Eq u i p m e n t Fi n a n c e , 6 6 0 Mi d w e s t Rd . , Vi l l a Pa r k , I L 6 0 1 8 1
 2.718
         nature of the debtor's interest
         State the term remaining                          10/01/2022 - 09/30/2027

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar c h Ch e m i c a l , 5 0 1 Me r r i t t Se v e n , Po Bo x 5 2 0 4 , No r w a l k , C T
 2.719                                                                                                                                                            06856
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar c h Ch e m i c a l , 5 0 1 Me r r i t t Se v e n , Po Bo x 5 2 0 4 , No r w a l k , C T
 2.720                                                                                                                                                            06856
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar c h Ch e m i c a l , 5 0 1 Me r r i t t Se v e n , Po Bo x 5 2 0 4 , No r w a l k , C T
 2.721                                                                                                                                                            06856
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar c h i t e c t u r a l Ma i l b o x e s , 4 1 1 7 Pi n n a c l e Pt , Da l l a s , T X 7 5 2 1 1
 2.722
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar c h i t e c t u r a l Ma i l b o x e s , 4 1 1 7 Pi n n a c l e Pt , Da l l a s , T X 7 5 2 1 1
 2.723
         nature of the debtor's interest
         State the term remaining                          07/05/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar c h i t e c t u r a l Ma i l b o x e s , 4 1 1 7 Pi n n a c l e Pt , Da l l a s , T X 7 5 2 1 1
 2.724
         nature of the debtor's interest
         State the term remaining                          07/05/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar c h i t e c t u r a l Ma i l b o x e s , 4 1 1 7 Pi n n a c l e Pt , Da l l a s , T X 7 5 2 1 1
 2.725
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar d e x Lp , 4 0 0 Ar d e x Pa r k Dr i v e , Al i q u i p p a , PA 1 5 0 0 1
 2.726
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                   Schedule G: Executory Contracts and Unexpired Leases                                                                                                 Page 91 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar d e x Lp , 4 0 0 Ar d e x Pa r k Dr i v e , Al i q u i p p a , PA 1 5 0 0 1
 2.727
         nature of the debtor's interest
         State the term remaining                          05/24/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar d i s a m , 1 3 6 0 1 St Av e n u e , Cu m b e r l a n d , W I 5 4 8 2 9
 2.728
         nature of the debtor's interest
         State the term remaining                          01/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 9 )               Ar e c i b o Lu m b e r Ya r d Ll c , Ca r r. 2 Km 6 5 . 9 , Ar e c i b o , P R 0 0 6 1 2
 2.729
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 )                 Ar g y l e Tr u e Va l u e Ha r d w a r e , 5 0 0 9 Ub l y Ro a d , Ar g y l e , M I
 2.730                                                                                                                                                            48410-7703
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.731
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.732
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.733
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.734
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.735
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.736
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.737
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e n s Co m p a n y, 6 5 5 W Ry a n St , Br i l l i o n , W I 5 4 1 1 0
 2.738
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar i e s Mf g , 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.739
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar i e s Mf g , 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.740
         nature of the debtor's interest
         State the term remaining                          06/10/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar i e s Mf g , 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.741
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar i e s Mf g , 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.742
         nature of the debtor's interest
         State the term remaining                          07/31/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Co n s u l t i n g Fi r m , Ar i s a n t N D A 2 0 2 1 1 1 0 4                                   Ar i s a n t L L C, 3 8 3 In v e r n e s s Pa r k w a y, Su i t e 1 7 5 , En g l e w o o d ,
 2.743                                                                                                                                                      CO 80112
         nature of the debtor's interest
         State the term remaining                          11/05/2021 - 11/04/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ar i s a n t M S A 2 0 2 2                          Ar i s a n t L L C, 3 8 3 In v e r n e s s Pa r k w a y, Su i t e 1 7 5 , En g l e w o o d ,
 2.744                                                                                                                                                      CO 80112
         nature of the debtor's interest
         State the term remaining                          05/19/2022 - 05/18/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                        Ar i z o n a Ea s t L L C, Ar i z o n a Ea s t L L C, P. O. Bo x 5 6 9 , 1 0 1 6 W
 2.745                                                                                                                                                      Su m m e r Av e , Mi n o t o l a , N J 0 8 3 4 1
         nature of the debtor's interest
         State the term remaining                          02/08/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 3 0 )         Ar k a n s a s Va l l e y Lu m b e r & Su p p l y, Ar k a n s a s Va l l e y Lu m b e r &
 2.746                                                                                                                                                      Su p p l , 2 0 3 6 3 Hw y. 5 0 , Ro c k y Fo r d , C O 8 1 0 6 7 - 9 4 8 4
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Am e n d m e n t , Ar k e m a Co n f i d e n t i a l Di s c l o s u r e Ad d e n d u m 2 0 2 3   Ar k e m a In c . , 9 0 0 Fi r s t Av e n u e , Ki n g Of Pr u s s i a , PA 1 9 4 0 6
 2.747
         nature of the debtor's interest
         State the term remaining                          04/04/2023 - 04/03/2035

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                        Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.748                                                                                                                                                      MI 48390
         nature of the debtor's interest
         State the term remaining                          08/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                        Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.749                                                                                                                                                      MI 48390
         nature of the debtor's interest
         State the term remaining                          01/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                        Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.750                                                                                                                                                      MI 48390
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.751                                                                                                                                                            MI 48390
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.752                                                                                                                                                            MI 48390
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.753                                                                                                                                                            MI 48390
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.754                                                                                                                                                            MI 48390
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.755                                                                                                                                                            MI 48390
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.756                                                                                                                                                            MI 48390
         nature of the debtor's interest
         State the term remaining                          08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar m a l y Br a n d s , Po Bo x 6 1 1 , 1 9 0 0 Ea s y St r e e t , Wa l l e d La k e ,
 2.757                                                                                                                                                            MI 48390
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar m o r Co n c e p t s L L C, Ar m o r Co n c e p t s , 9 3 0 A Re p Jo h n Lo u i s
 2.758                                                                                                                                                            Wa y, Na s h v i l l e , T N 3 7 2 0 3
         nature of the debtor's interest
         State the term remaining                          10/10/2010

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.759                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest
         State the term remaining                          01/01/2021

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.760                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest
         State the term remaining                          08/01/2022 - 08/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.761                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.762                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.763                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar m o r e d Au t o Gr o u p Sa l e s In c , 4 4 Ol d Ri d g e b u r y Ro a d ,
 2.764                                                                                                                                                            Da n b u r y, C T 0 6 8 1 0
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar m s t r o n g Wo r l d In d u s t r i e s , 1 5 0 N. Qu e e n St . Ls - 4 , P. O. Bo x
 2.765                                                                                                                                                            3 2 3 3 , La n c a s t e r , PA 1 7 6 0 4
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t                                     Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.766                                                                                                                                                            44280
         nature of the debtor's interest
         State the term remaining                          03/27/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.767                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.768                                                                                                                                                            44280
         nature of the debtor's interest
         State the term remaining                          01/01/2009

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.769                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.770                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.771                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.772                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.773                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.774                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.775                                                                                                                                                            44280
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.776                                                                                                                                                            44280
         nature of the debtor's interest
         State the term remaining                          01/01/2014

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar n o l d , 6 1 4 Li v e r p o o l Dr i v e , In d u s t r i a l Bl v d , Va l l e y Ci t y, O H
 2.777                                                                                                                                                            44280
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 3 0 )                 Ar n o l d Tr u e Va l u e Hd w Ra n c h & h o m e , Ar n o l d Tr u e Va l u e Hd w
 2.778                                                                                                                                                            Ra n c h & h o , 6 1 5 S Ma i n St , El l e n s b u r g , WA 9 8 9 2 6 - 3 6 3 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 9 )               Ar o o s t o o k Mi l l i n g Co . , Ar o o s t o o k m i l l i n g Co . , 1 5 Hi l l Vi e w
 2.779                                                                                                                                                            Av e , Ho u l t o n , M E 0 4 7 3 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t                                     Ar r o w Fa s t e n e r Co Ll c , 2 7 1 Ma y h i l l St , Sa d d l e Br o o k , N J
 2.780                                                                                                                                                            07663
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.781                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.782                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest
         State the term remaining                          06/01/2022

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.783                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.784                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest
         State the term remaining                          01/01/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.785                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest
         State the term remaining                          09/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.786                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.787                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest
         State the term remaining                          09/01/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )                              Ar r o w Fa s t e n e r Co L L C, Ar r o w Fa s t e n e r Co L L C, 2 7 1 Ma y h i l l
 2.788                                                                                                                                                            St r e e t , Sa d d l e Br o o k , N J 0 7 6 6 3
         nature of the debtor's interest
         State the term remaining                          Un d e t e r m i n e d - 0 6 / 3 0 / 2 0 2 8

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar r o w Ho m e Pr o d u c t s Co , 7 0 1 Ea s t De v o n Av e n u e , El k Gr o v e ,
 2.789                                                                                                                                                            IL 60007
         nature of the debtor's interest
         State the term remaining                          06/10/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Ar r o w Ho m e Pr o d u c t s Co , 7 0 1 Ea s t De v o n Av e n u e , El k Gr o v e ,
 2.790                                                                                                                                                            IL 60007
         nature of the debtor's interest
         State the term remaining                          01/01/2010

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar r o w Sh e d L L C, 8 1 1 8 Sa n c t u a r y Bl v d , Ri v e r d a l e , N J 0 7 4 5 7
 2.791
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 0 5 )   Ar r o w Sh k , 4 8 5 Ma r s c h a l l Ro a d , Sh a k o p e e , M N 5 5 3 7 9 - 2 6 1 0
 2.792
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 0 6 )   Ar r o w St c , 2 0 0 6 Ve t e r a n s Dr i v e , Sa i n t Cl o u d , M N 5 6 3 0 3 - 3 2 2 0
 2.793
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 0 0 )   Ar r o w St p , 2 0 1 S Mi n n e s o t a Av e n u e , Sa i n t Pe t e r , M N 5 6 0 8 2 -
 2.794                                                                                                                                                2521
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 9 )   Ar r o w W Wh s e , 2 0 1 S Mi n n e s o t a Av e n u e , Sa i n t Pe t e r , M N
 2.795                                                                                                                                                56082-2521
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar r o w h e a d Br a s s & Pl u m b i n g , 5 1 4 7 Al h a m b r a Av e , Lo s
 2.796                                                                                                                                                An g e l e s , C A 9 0 0 3 2
         nature of the debtor's interest
         State the term remaining                          04/01/2024 - 03/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                  Ar r o w h e a d Br a s s & Pl u m b i n g , 5 1 4 7 Al h a m b r a Av e , Lo s
 2.797                                                                                                                                                An g e l e s , C A 9 0 0 3 2
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar r o w h e a d Br a s s & Pl u m b i n g , 5 1 4 7 Al h a m b r a Av e , Lo s
 2.798                                                                                                                                                An g e l e s , C A 9 0 0 3 2
         nature of the debtor's interest
         State the term remaining                          02/01/2008

         List the contract number of any government
         contract
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 2.799                                                                                                                                                An g e l e s , C A 9 0 0 3 2
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 3 )   Ar r o w h e a d Bu i l d e r s Su p p l y, 5 1 5 9 Hw y 8 4 No , Lo n g v i l l e , M N
 2.800                                                                                                                                                56655-3183
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 7 )   Ar r o y o Gr a n d e Ho m e & Ga r d e n , 1 5 7 8 W Br a n c h St , Ar r o y o
 2.801                                                                                                                                                Gr a n d e , C A 9 3 4 2 0 - 1 8 1 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar t Li n e In c , 6 2 2 0 W 7 3 Rd St , Be d f o r d Pa r k , I L 6 0 6 3 8
 2.802
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar t Su p p l y En t e r p r i s e s In c , 2 9 3 5 Sh a w n e e In d u s t r i a l Wa y, 1 0 0 ,
 2.803                                                                                                                                                Su w a n e e , G A 3 0 0 2 4
         nature of the debtor's interest
         State the term remaining                          05/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 9 4 )   Ar t h u r J He n r y Lb r Co , 3 8 4 6 Pa r k Av e , Ne f f s , PA 1 8 0 6 5 - 7 7 0 2
 2.804
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 4 )   Ar t h u r J. Yo u n g & So n In c , Ar t h u r J. Yo u n g & So n In c . , 1
 2.805                                                                                                                                                Wa s h i n g t o n St r e e t Ex t , Pr a t t s v i l l e , N Y 1 2 4 6 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 5 2 )   Ar t h u r s Tr u e Va l u e Ha r d w a r e , 6 4 7 1 W Qu a k e r St , Or c h a r d
 2.806                                                                                                                                                Pa r k , N Y 1 4 1 2 7 - 2 3 9 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   So f t w a r e , Ar t i c u l a t e 3 6 0 Te a m s Pl a n Re n e w a l 2 0 2 4             Ar t i c u l a t e , 2 4 4 5 Th Av e , Su i t e 2 9 6 0 , Ne w Yo r k , N Y 1 0 0 0 1
 2.807
         nature of the debtor's interest
         State the term remaining                          01/18/2024 - 01/17/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar t i f i c i a l Tu r f Su p p l y L L C, 2 2 0 5 Fa r a d a y Av e , Su i t e J,
 2.808                                                                                                                                                Ca r l s b a d , C A 9 2 0 0 8
         nature of the debtor's interest
         State the term remaining                          02/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar t s c a p e In c , Po Bo x 1 0 1 6 5 , 3 4 8 7 Nw Ye o n , Po r t l a n d , O R
 2.809                                                                                                                                                97210
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Ar t u Us a In c , 3 3 0 Fi e l d s Dr i v e , Ab e r d e e n , N C 2 8 3 1 5
 2.810
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 5 )   Ar v a d a Ac e Ha r d w a r e , 1 0 0 0 0 Ra l s t o n Ro a d , Ar v a d a , C O 8 0 0 0 4
 2.811
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                  As c En g i n e e r e d So l u t i o n s , 2 6 0 0 W Co m p a s s Rd , Gl e n v i e w, I L
 2.812                                                                                                                                                60025
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , As c e n L L C d b a Th e Mo m b a Gr o u p        As c e n L L C Db a Th e Mo m b a Gr o u p , As c e n L L C Db a Th e
 2.813                                                                                                                                                Mo m b a Gr o u p , 5 4 8 Ma r k e t St , 2 8 6 5 6 , Sa n Fr a n c i s c o , C A
         nature of the debtor's interest
                                                                                                                                                      94104
         State the term remaining                          06/04/2024 - 06/03/2029

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 4 )     As h Gr o v e Tr u e Va l u e , 3 0 7 Pe r r y m a n , As h Gr o v e , M O 6 5 6 0 4 -
 2.814                                                                                                                                                8721
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 5 0 )               As h b u r n h a m Tr u e Va l u e Ha r d w a r e , 4 1 Ma i n St r e e t ,
 2.815                                                                                                                                                            As h b u r n h a m , M A 0 1 4 3 0 - 1 2 4 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 2 8 )               As h l a n d Fe e d St o r e , 1 2 0 Th o m p s o n St . , As h l a n d , VA 2 3 0 0 5
 2.816
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   As h l a n d Wa t e r Gr o u p , 1 1 9 1 Co m m e r c e Pa r k w a y, As h l a n d , O H
 2.817                                                                                                                                                            44805
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )                              As h l a n d Wa t e r Gr o u p , 1 1 9 1 Co m m e r c e Pa r k w a y, As h l a n d , O H
 2.818                                                                                                                                                            44805
         nature of the debtor's interest
         State the term remaining                          08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              As h l a n d Wa t e r Gr o u p , 1 1 9 1 Co m m e r c e Pa r k w a y, As h l a n d , O H
 2.819                                                                                                                                                            44805
         nature of the debtor's interest
         State the term remaining                          04/01/2024

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              As h l a n d Wa t e r Gr o u p , 1 1 9 1 Co m m e r c e Pa r k w a y, As h l a n d , O H
 2.820                                                                                                                                                            44805
         nature of the debtor's interest
         State the term remaining                          01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 0 2 )                 As h l e y Tr u e Va l u e Ha r d w a r e , 4 0 Ca m b r i d g e Av e , Pu e b l o , C O
 2.821                                                                                                                                                            81005-2008
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              As p e n , 4 2 3 1 Cl e a r y Bl v d , Ka n s a s Ci t y, M O 6 4 1 3 0
 2.822
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
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                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , As p i r i t e c h M S A 2 0 2 2                           As p i r i t e c h , Nf p , 9 3 9 Ch i c a g o Av e , Ev a n s t o n , I L 6 0 2 0 2
 2.823
         nature of the debtor's interest
         State the term remaining                          05/18/2022 - 05/17/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , As s e t Pa n d a - Tr a c k i n g a n d Ma n a g e As s e t s 2 0 2 4            As s e t Pa n d a L L C, 5 7 2 9 Le b a n o n Rd , St e 1 4 4 - 2 6 9 , Fr i s c o , T X
 2.824                                                                                                                                                        75034
         nature of the debtor's interest
         State the term remaining                          09/13/2024 - 09/12/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                          As s o c i a t e d En e r g y Sy s t e m s , 8 6 2 1 S 1 8 0 Th St , Ke n t , WA 9 8 0 3 2
 2.825
         nature of the debtor's interest
         State the term remaining                          01/24/2018

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Eq u i p m e n t Re p a i r , As s o c i a t e d - Ma i n t e n a n c e a g r e e m e n t          As s o c i a t e d Ma t e r i a l Ha n d l i n g In d u s t r i e s , In c , 1 3 3 N. Sw i f t
 2.826                                                                                                                                                        Ro a d , Ad d i s o n , I L 6 0 1 0 1
         nature of the debtor's interest                   Ma n k a t o 2 0 2 0

         State the term remaining                          10/15/2020

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , As t o n Ca r t e r Re c r u i t i n g      As t o n Ca r t e r In c , 7 3 1 7 Pa r k w a y Dr i v e , Ha n o v e r , PA 2 1 0 7 6
 2.827
         nature of the debtor's interest                   Ag r e e m e n t R S C

         State the term remaining                          07/05/2022 - 07/04/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 5 6 )           As t r o Re n t s , 9 3 3 Us Hi g h w a y 2 2 , No r t h Pl a i n f i e l d , N J 0 7 0 6 0 -
 2.828                                                                                                                                                        3624
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , AT& T Ma s t e r Ag r e e m e n t                     At & T Co r p . , 1 2 8 5 1 Ma n c h e s t e r Rd , Su i t e 3 - E- 2 5 6 , De s Pe r e s ,
 2.829                                                                                                                                                        MO 63131
         nature of the debtor's interest
         State the term remaining                          04/01/2023 - 03/31/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Te l e c o m m u n i c a t i o n s , Lo c a l Te l e c o m Se r v c i e s Fo r Ka n s a s Ci t y   At & T In c . , 2 0 8 So u t h Ak a r d St r e e t , Wh i t a c r e To w e r , Da l l a s ,
 2.830                                                                                                                                                        TX 75202
         nature of the debtor's interest                   RDC

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Te l e c o m m u n i c a t i o n s , AT& T P R I f o r R S C e x t e n s i o n - Co n t r a c t   At & T In c . , 2 0 8 So u t h Ak a r d St r e e t , Wh i t a c r e To w e r , Da l l a s ,
 2.831                                                                                                                                                       TX 75202
         nature of the debtor's interest                   20130509-3121

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 4 )          At a s c a d e r o Ha y & Fe e d , 6 1 5 5 Vi a Av e n u e , At a s c a d e r o , C A
 2.832                                                                                                                                                       93422
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 6 )          At h e n s Ha r d w a r e , At h e n s Ha r d w a r e Co m p a n y In d u s e r v e , 1 0 8 0
 2.833                                                                                                                                                       Us Hi g h w a y 2 9 N, At h e n s , G A 3 0 6 0 1 - 2 6 0 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                         At h e n s St o n e c a s t i n g In c , 1 9 1 Ri c h m a r Ro a d , At h e n s , G A 3 0 6 0 7
 2.834
         nature of the debtor's interest
         State the term remaining                          10/05/2010

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 3 3 )          At k i n s o n s Ma r k e t , 9 3 Ea s t Cr o y St , Ha i l e y, I D 8 3 3 3 3 - 8 4 0 7
 2.835
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                         At l a n t a Sp e c i a l Pr o d u c t s In c , Po Bo x 3 5 9 , 4 N9 4 4 Ol d La f o x
 2.836                                                                                                                                                       Ro a d , Wa s c o , I L 6 0 1 8 3
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 4 )          At l a n t i c Ga r d e n i n g Co m p a n y, 5 2 1 7 At l a n t i c Av e , Ra l e i g h , N C
 2.837                                                                                                                                                       27616-1871
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , At l a n t i s Va l l e y Fo o d s Se r v i c e      At l a n t i s Va l l e y Fo o d s L L C, 3 0 0 Co m m e r c e Pk w y, Co t t a g e
 2.838                                                                                                                                                       Gr o v e , I L 5 3 5 2 7
         nature of the debtor's interest                   Ag r e e m e n t 2 0 2 2

         State the term remaining                          08/09/2022 - 08/08/2025

         List the contract number of any government
         contract
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                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.839
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.840
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.841
         nature of the debtor's interest
         State the term remaining                          06/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.842
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.843
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.844
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.845
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              At l a s Ch e m i c a l Co r p , Po Bo x 1 4 1 , Ce d a r Ra p i d s , I A 5 2 4 0 6
 2.846
         nature of the debtor's interest
         State the term remaining                          01/01/2016

         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                           At l a s Ho m e w a r e s , 1 3 1 0 Cy p r e s s Av e n u e , Lo s An g e l e s , C A
 2.847                                                                                                                                                         90065
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 2 0 )            At l a s Mi n i n g & Ma n u f a c t u r i n g , 7 8 5 W Us Hi g h w a y 6 0 ,
 2.848                                                                                                                                                         Su p e r i o r , A Z 8 5 1 7 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                           At l a s To y o t a Ma t e r i a l , 5 0 5 0 N Ri v e r Ro a d , Sc h i l l e r Pa r k , I L
 2.849                                                                                                                                                         60176
         nature of the debtor's interest
         State the term remaining                          04/15/2008

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 8 9 )              At l a s Tr u e Va l u e Ha r d w a r e , 1 8 7 1 Ce n t r e St , We s t Ro x b u r y, M A
 2.850                                                                                                                                                         02132-1947
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , At l a s s i a n So f t w a r e Su b s c r i p t i o n 2 0 2 4                     At l a s s i a n , In c . , 3 5 0 Bu s h St r e e t , Fl o o r 1 3 , Sa n Fr a n c i s c o , C A
 2.851                                                                                                                                                         94104
         nature of the debtor's interest
         State the term remaining                          03/09/2024 - 03/08/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , Do g w o o d La b s , In c . At l a s s i a n St a t u s Pa g e Pu b l i c         At l a s s i a n , In c . , 3 5 0 Bu s h St r e e t , Fl o o r 1 3 , Sa n Fr a n c i s c o , C A
 2.852                                                                                                                                                         94104
         nature of the debtor's interest                   Bu s i n e s s Se r v i c e Re n e w a l 2 0 2 4

         State the term remaining                          01/28/2024 - 01/27/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 9 )            At l e y Ll c , 1 3 1 No r t h Fu q u a y Av e n u e , Fu q u a y Va r i n a , N C 2 7 5 2 6
 2.853
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , AT S, In c . Ca r r i e r Ag r e e m e n t   At s , In c . , 7 2 5 Op p o r t u n i t y Dr. , St Cl o u d , M N 5 6 3 0 1
 2.854
         nature of the debtor's interest
         State the term remaining                          12/01/2016 - 11/30/2024

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.855
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.856
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.857
         nature of the debtor's interest
         State the term remaining                          07/01/2023

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.858
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.859
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.860
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              At t So u t h e r n In c , 3 3 0 Ma r i e t t a St , At l a n t a , G A 3 0 3 1 3
 2.861
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e , At t e n t i v e Mo b i l e Or d e r Fo r m                                           At t e n t i v e Mo b i l e In c . , 2 2 1 Ri v e r St r e e t , Su i t e 9 0 4 7 , Ho b o k e n ,
 2.862                                                                                                                                                            NJ 07030
         nature of the debtor's interest
         State the term remaining                          03/01/2021

         List the contract number of any government
         contract
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                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 7 )     At t i c a Lu m b e r & t r u e Va l u e Hd w. , At t i c a Lu m b e r & Tr u e Va l u e
 2.863                                                                                                                                                Hd w, 4 0 6 E Ti f f i n St , At t i c a , O H 4 4 8 0 7 - 9 7 5 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 9 )   At t l e b o r o - r e h o b o t h Bu i l d i n g Su p p l i e s In c . , 4 4 Pa r k St r e e t ,
 2.864                                                                                                                                                Re h o b o t h , M A 0 2 7 6 9
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 5 )   At w o o d Ha r d w a r e & Lu m b e r , 1 0 1 7 9 Us 3 1 , El l s w o r t h , M I
 2.865                                                                                                                                                49729
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 7 )   Au b u c h o n Ha r d w a r e # 0 6 3 , Au b u c h o n Ha r d w a r e 0 6 3 , 8 5 9 Ro u t e
 2.866                                                                                                                                                7 S, Mi d d l e b u r y, V T 0 5 7 5 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 5 )   Au b u c h o n Ha r d w a r e # 1 0 1 , Au b u c h o n Ha r d w a r e , 3 0 Wa r w i c k Rd
 2.867                                                                                                                                                St e 7 , Wi n c h e s t e r , N H 0 3 4 7 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 5 )   Au b u c h o n Ha r d w a r e # 2 0 1 , Au b u c h o n Ha r d w a r e , 3 6 2 6 Vt Ro u t e
 2.868                                                                                                                                                1 4 , So u t h Ro y a l t o n , V T 0 5 0 6 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 8 )   Au b u c h o n Ha r d w a r e 0 0 1 , 8 4 Fr a n k l i n Ro a d , Fi t c h b u r g , M A
 2.869                                                                                                                                                01420
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 9 )   Au b u c h o n Ha r d w a r e 0 0 3 , 3 8 Nh Ro u t e 2 5 , Me r e d i t h , N H 0 3 2 5 3
 2.870
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 1 )   Au b u c h o n Ha r d w a r e 0 0 4 , 3 4 Pe a r s o n Bo u l e v a r d , Ga r d n e r , M A
 2.871                                                                                                                                                01440-3910
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 0 )   Au b u c h o n Ha r d w a r e 0 0 6 , 3 4 9 Wh i t t i e r Hi g h w a y, Mo u l t o n b o r o ,
 2.872                                                                                                                                                NH 03254
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 1 )   Au b u c h o n Ha r d w a r e 0 0 7 , 1 7 7 7 Ma i n St r e e t , Te w k s b u r y, M A
 2.873                                                                                                                                                01876
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 2 )   Au b u c h o n Ha r d w a r e 0 0 8 , 2 6 Hi g h St r e e t , Cl i n t o n , M A 0 1 5 1 0
 2.874
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 2 )   Au b u c h o n Ha r d w a r e 0 1 0 , 2 Go r m a n Wa y, Pe r u , N Y 1 2 9 7 2 - 3 0 6 1
 2.875
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 3 )   Au b u c h o n Ha r d w a r e 0 1 6 , 1 3 8 Ma i n St r e e t , No r w a y, M E 0 4 2 6 8
 2.876
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 4 )   Au b u c h o n Ha r d w a r e 0 1 7 , 2 0 0 Av e n u e A, Tu r n e r s Fa l l s , M A
 2.877                                                                                                                                                01376
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 5 )   Au b u c h o n Ha r d w a r e 0 1 8 , 3 5 1 Mo h a w k Tr a i l , Sh e l b u r n e Fa l l s ,
 2.878                                                                                                                                                MA 01370
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 6 )   Au b u c h o n Ha r d w a r e 0 2 2 , 1 6 5 Ma i n St r e e t , Li n c o l n , N H 0 3 2 5 1
 2.879
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 7 )   Au b u c h o n Ha r d w a r e 0 2 5 , 2 2 2 Ha s t i n g s Hi l l , Sa i n t Jo h n s b u r y,
 2.880                                                                                                                                                VT 05819
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 8 )   Au b u c h o n Ha r d w a r e 0 3 2 , 2 6 5 Ea s t Ce n t r a l St r e e t , Fr a n k l i n ,
 2.881                                                                                                                                                MA 02038
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 9 9 )   Au b u c h o n Ha r d w a r e 0 3 3 , 7 0 0 Ma i n St r e e t St e 6 , Gr e a t
 2.882                                                                                                                                                Ba r r i n g t o n , M A 0 1 2 3 0
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 0 )   Au b u c h o n Ha r d w a r e 0 3 4 , 3 9 We s t St a f f o r d Ro a d St e H,
 2.883                                                                                                                                                St a f f o r d Sp r i n g s , C T 0 6 0 7 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 1 )   Au b u c h o n Ha r d w a r e 0 3 7 , 1 1 8 Ea s t Ma i n St r e e t St e 7 , We b s t e r ,
 2.884                                                                                                                                                MA 01570
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 2 )   Au b u c h o n Ha r d w a r e 0 3 9 , 2 7 4 5 Us Ro u t e 5 N, Wi n d s o r , V T
 2.885                                                                                                                                                05089
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 2 )   Au b u c h o n Ha r d w a r e 0 4 0 , 4 8 4 Wi l s o n St . , Br e w e r , M E 0 4 4 1 2 -
 2.886                                                                                                                                                1481
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 3 )   Au b u c h o n Ha r d w a r e 0 4 2 , 1 4 2 Ma i n St r e e t , Lu d l o w, V T 0 5 1 4 9
 2.887
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 4 )   Au b u c h o n Ha r d w a r e 0 4 4 , 5 9 3 Wh i t c o m b Ro a d , Wa l p o l e , N H
 2.888                                                                                                                                                03608
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 5 )   Au b u c h o n Ha r d w a r e 0 4 5 , 4 0 Ma i n St r e e t , Mo n t p e l i e r , V T
 2.889                                                                                                                                                05602
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 3 )   Au b u c h o n Ha r d w a r e 0 4 9 , 8 5 So u t h Ma i n St r e e t , Ba r r e , V T
 2.890                                                                                                                                                05641-4867
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 6 )   Au b u c h o n Ha r d w a r e 0 5 1 , 1 6 Ma s o n Dr i v e St e 2 , Wa t e r b u r y, V T
 2.891                                                                                                                                                05676
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 7 )   Au b u c h o n Ha r d w a r e 0 5 5 , 3 6 Jo h n St a r k Hi g h w a y, Ne w p o r t , N H
 2.892                                                                                                                                                03773
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 9 )   Au b u c h o n Ha r d w a r e 0 5 6 , 4 8 6 St i l l w a t e r Av e . , Ol d To w n , M E
 2.893                                                                                                                                                04468-2190
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 8 )   Au b u c h o n Ha r d w a r e 0 5 7 , 9 2 5 Br o o k l y n St r e e t , Mo r r i s v i l l e , V T
 2.894                                                                                                                                                05661
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 0 9 )   Au b u c h o n Ha r d w a r e 0 6 0 , 3 2 Cl i n t o n St r e e t , Go u v e r n e u r , N Y
 2.895                                                                                                                                                13642
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 0 )   Au b u c h o n Ha r d w a r e 0 6 2 , 2 2 2 Ju n c t i o n Ro a d , Ha r d w i c k , V T
 2.896                                                                                                                                                05843
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 1 )   Au b u c h o n Ha r d w a r e 0 6 4 , 1 0 Ba n g o r St r e e t , Au g u s t a , M E 0 4 3 3 0
 2.897
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 2 )   Au b u c h o n Ha r d w a r e 0 6 5 , 2 2 2 Gr e a t Ro a d St e 1 4 , Li t t l e t o n , M A
 2.898                                                                                                                                                01460
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 3 )   Au b u c h o n Ha r d w a r e 0 6 9 , 6 5 Ma s s a c h u s e t t s Av e n u e , Lu n e n b e r g ,
 2.899                                                                                                                                                MA 01462
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 4 )   Au b u c h o n Ha r d w a r e 0 7 0 , 2 0 9 Ke n n e d y Dr i v e , Pu t n a m , C T
 2.900                                                                                                                                                06260
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 5 )   Au b u c h o n Ha r d w a r e 0 7 4 , 1 6 8 No r t h a m p t o n St r e e t ,
 2.901                                                                                                                                                Ea s t h a m p t o n , M A 0 1 0 2 7
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 6 )   Au b u c h o n Ha r d w a r e 0 7 5 , 7 5 7 2 Co u r t St r e e t St e 1 ,
 2.902                                                                                                                                                El i z a b e t h t o w n , N Y 1 2 9 3 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 7 )   Au b u c h o n Ha r d w a r e 0 7 6 , 1 4 5 1 s t St r e e t , Sw a n t o n , V T 0 5 4 8 8
 2.903
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 8 )   Au b u c h o n Ha r d w a r e 0 7 9 , Sh a w ' s Pl a z a Ro u t e 2 2 a , Fa i r Ha v e n ,
 2.904                                                                                                                                                VT 05743
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 1 9 )   Au b u c h o n Ha r d w a r e 0 8 0 , 7 7 Tu r n p i k e St r e e t , Al l e n s t o w n , N H
 2.905                                                                                                                                                03275
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 0 )   Au b u c h o n Ha r d w a r e 0 8 3 , 1 1 3 Mo n k t o n Ro a d Un i t F,
 2.906                                                                                                                                                Ve r g e n n e s , V T 0 5 4 9 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 1 )   Au b u c h o n Ha r d w a r e 0 8 4 , 1 3 1 Mo n t c a l m St r e e t St e 2 ,
 2.907                                                                                                                                                Ti c o n d e r o g a , N Y 1 2 8 8 3
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 2 )   Au b u c h o n Ha r d w a r e 0 8 9 , 1 3 7 Ma r i o n Ro a d , Wa r e h a m , M A
 2.908                                                                                                                                                02571
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 3 )   Au b u c h o n Ha r d w a r e 0 9 0 , 1 1 6 5 Po s t Ro a d , We l l s , M E 0 4 0 9 0
 2.909
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 4 )   Au b u c h o n Ha r d w a r e 0 9 1 , 1 1 3 1 De p o t St r e e t , Ma n c h e s t e r
 2.910                                                                                                                                                Ce n t e r , V T 0 5 2 5 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 2.911
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 6 )   Au b u c h o n Ha r d w a r e 0 9 4 , 6 0 0 Ma i n St r e e t , Wi l l i a m s t o w n , M A
 2.912                                                                                                                                                01267
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 7 )   Au b u c h o n Ha r d w a r e 0 9 6 , 4 1 Un i o n St r e e t , No r t h Ad a m s , M A
 2.913                                                                                                                                                01247
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 8 )   Au b u c h o n Ha r d w a r e 0 9 7 , 5 7 2 Li s b o n St r e e t , Li s b o n Fa l l s , M E
 2.914                                                                                                                                                04252
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 9 )   Au b u c h o n Ha r d w a r e 1 0 0 , 1 9 9 Ro u t e 7 S, Mi l t o n , V T 0 5 4 6 8
 2.915
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 0 )   Au b u c h o n Ha r d w a r e 1 0 3 , 6 5 Fa l m o u t h St r e e t , Ru m f o r d , M E
 2.916                                                                                                                                                04276
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 1 )   Au b u c h o n Ha r d w a r e 1 0 4 , 4 8 7 Ea s t Ma i n St r e e t , So u t h b r i d g e ,
 2.917                                                                                                                                                MA 01550
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 2 )   Au b u c h o n Ha r d w a r e 1 0 6 , 2 4 5 We s t Br o a d w a y, Li n c o l n , M E
 2.918                                                                                                                                                04457
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 3 )   Au b u c h o n Ha r d w a r e 1 0 7 , 7 7 7 Ro o s e v e l t Tr a i l , Wi n d h a m , M E
 2.919                                                                                                                                                04062
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 4 )   Au b u c h o n Ha r d w a r e 1 0 8 , 5 2 8 Wi l t o n Ro a d , Fa r m i n g t o n , M E
 2.920                                                                                                                                                04938
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 5 )   Au b u c h o n Ha r d w a r e 1 1 3 , 6 5 La k e St r e e t , Tu p p e r La k e , N Y
 2.921                                                                                                                                                12986
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 6 )   Au b u c h o n Ha r d w a r e 1 1 8 , 2 1 3 Fe d e r a l St r e e t , Gr e e n f i e l d , M A
 2.922                                                                                                                                                01301
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 7 )   Au b u c h o n Ha r d w a r e 1 2 0 , 3 8 Sk y w a y Sh o p p i n g Ce n t e r ,
 2.923                                                                                                                                                Pl a t t s b u r g h , N Y 1 2 9 0 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 0 )   Au b u c h o n Ha r d w a r e 1 2 4 , 8 3 Mo o s e h e a d Tr a i l , Ne w p o r t , M E
 2.924                                                                                                                                                04953-4104
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 8 )   Au b u c h o n Ha r d w a r e 1 3 2 , 5 1 1 St a t e Ro u t e 2 9 , Gr e e n w i c h , N Y
 2.925                                                                                                                                                12834
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 1 )   Au b u c h o n Ha r d w a r e 1 3 3 , 4 8 5 Ke n n e d y Me m o r i a l Dr i v e ,
 2.926                                                                                                                                                Wa t e r v i l l e , M E 0 4 9 0 1 - 4 5 2 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 3 9 )   Au b u c h o n Ha r d w a r e 1 3 5 , 4 9 9 Ro o s e v e l t Tr a i l , Na p l e s , M E
 2.927                                                                                                                                                04055
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 0 )   Au b u c h o n Ha r d w a r e 1 3 6 , 2 0 1 0 Sa r a n a c Av e n u e , La k e Pl a c i d ,
 2.928                                                                                                                                                NY 12946
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 1 )   Au b u c h o n Ha r d w a r e 1 4 0 , 6 6 Hi g h St r e e t , Ca r t h a g e , N Y 1 3 6 1 9
 2.929
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 2 )   Au b u c h o n Ha r d w a r e 1 4 1 , 8 0 So u t h Ma i n St r e e t , Co n c o r d , N H
 2.930                                                                                                                                                03301
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 3 )   Au b u c h o n Ha r d w a r e 1 4 4 , 2 3 3 Li n c o l n Av e n u e , Ha v e r h i l l , M A
 2.931                                                                                                                                                01830
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 4 )   Au b u c h o n Ha r d w a r e 1 4 8 , 6 1 Pa r k St r e e t , Ay e r , M A 0 1 4 3 2
 2.932
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 5 )   Au b u c h o n Ha r d w a r e 1 5 1 , 1 0 Me r c h a n t s Wa y St e C,
 2.933                                                                                                                                                Mi d d l e b o r o , M A 0 2 3 4 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 6 )   Au b u c h o n Ha r d w a r e 1 5 2 , 2 Mo n t e l l o St r e e t , Ca r v e r , M A 0 2 3 3 0
 2.934
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 7 )   Au b u c h o n Ha r d w a r e 1 5 3 , 1 8 2 Su m m e r St r e e t , Ki n g s t o n , M A
 2.935                                                                                                                                                02364
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 8 )   Au b u c h o n Ha r d w a r e 1 5 5 , 6 5 Ro u t e 6 a , Sa n d w i c h , M A 0 2 5 6 3
 2.936
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 9 )   Au b u c h o n Ha r d w a r e 1 5 6 , 1 5 Au b u c h o n La n e , Sa n d w i c h , M A
 2.937                                                                                                                                                02563
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 0 )   Au b u c h o n Ha r d w a r e 1 5 8 , 4 Ba r l o w s La n d i n g Ro a d , Po c a s s e t ,
 2.938                                                                                                                                                MA 02559
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 1 )   Au b u c h o n Ha r d w a r e 1 5 9 , 3 8 7 2 Ro u t e 2 8 , Ma r s t o n s Mi l l s , M A
 2.939                                                                                                                                                02648
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 2 )   Au b u c h o n Ha r d w a r e 1 6 1 , 4 8 7 9 Vt Ro u t e 1 5 , Je f f e r s o n v i l l e , V T
 2.940                                                                                                                                                05464
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 4 )   Au b u c h o n Ha r d w a r e 1 6 3 , 2 4 Ni c h o l s Mi l l La n e , Wa r n e r , N H
 2.941                                                                                                                                                03278-4141
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 3 )   Au b u c h o n Ha r d w a r e 1 6 4 , 4 0 0 Na r r a g a n s e t t Tr a i l , Bu x t o n , M E
 2.942                                                                                                                                                04093
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 2.943
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 5 )   Au b u c h o n Ha r d w a r e 1 6 8 , 2 4 8 We s t Ma i n St r e e t , Hi l l s b o r o , N H
 2.944                                                                                                                                                03244
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 6 )   Au b u c h o n Ha r d w a r e 1 7 1 , 2 3 1 No r t h p o r t Av e n u e , Be l f a s t , M E
 2.945                                                                                                                                                04915
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 6 )   Au b u c h o n Ha r d w a r e 1 7 2 , 6 4 3 Te a t i c k e t Hi g h w a y, Te a t i c k e t ,
 2.946                                                                                                                                                MA 02536
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 7 )   Au b u c h o n Ha r d w a r e 1 7 3 , 5 0 Sh e l b u r n e Sh o p p i n g Pa r k ,
 2.947                                                                                                                                                Sh e l b u r n e , V T 0 5 4 8 2
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 3 )   Au b u c h o n Ha r d w a r e 1 7 5 , 4 1 Co n c o r d Ro a d , Le e , N H 0 3 8 6 1 -
 2.948                                                                                                                                                6701
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 8 )   Au b u c h o n Ha r d w a r e 1 7 6 , 1 a No r t h Ma i n St r e e t , Ne w m a r k e t ,
 2.949                                                                                                                                                NH 03857
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 5 9 )   Au b u c h o n Ha r d w a r e 1 7 7 , 1 2 9 Ma i n St r e e t , Ri c h f i e l d Sp r i n g s ,
 2.950                                                                                                                                                NY 13439
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 0 )   Au b u c h o n Ha r d w a r e 1 7 8 , 1 2 5 Wa s h i n g t o n St r e e t , Do v e r , N H
 2.951                                                                                                                                                03820
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 1 )   Au b u c h o n Ha r d w a r e 1 8 1 , 5 2 9 St a t e Ro a d , Pl y m o u t h , M A 0 2 3 6 0
 2.952
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 2 )   Au b u c h o n Ha r d w a r e 1 8 2 , 8 2 8 Ch i e f Ju s t i c e Cu s h i n g Hi g h w a y,
 2.953                                                                                                                                                Co h a s s e t , M A 0 2 0 2 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 3 )   Au b u c h o n Ha r d w a r e 1 8 3 , 2 2 Co m m e r c e St r e e t , Hi n e s b u r g , V T
 2.954                                                                                                                                                05461
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 4 )   Au b u c h o n Ha r d w a r e 1 8 7 , 1 5 Br i d g e St r e e t , La n c a s t e r , N H
 2.955                                                                                                                                                03584
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 5 )   Au b u c h o n Ha r d w a r e 1 8 8 , 1 1 7 Gr e a t Ro a d , St o w, M A 0 1 7 7 5
 2.956
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 6 )   Au b u c h o n Ha r d w a r e 1 8 9 , 1 6 5 5 Ro u t e 1 6 , Ce n t e r Os s i p e e , N H
 2.957                                                                                                                                                03814
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 7 )   Au b u c h o n Ha r d w a r e 1 9 0 , 1 1 4 Co u n t y Ro a d , Ip s w i c h , M A
 2.958                                                                                                                                                01938
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 5 )        Au b u c h o n Ha r d w a r e 1 9 1 , 8 3 8 La k e St r e e t , Br i s t o l , N H 0 3 2 2 2 -
 2.959                                                                                                                                                     4507
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 8 )        Au b u c h o n Ha r d w a r e 1 9 3 , 5 0 5 Bo s t o n Po s t Ro a d , Su d b u r y, M A
 2.960                                                                                                                                                     01776
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 6 9 )        Au b u c h o n Ha r d w a r e 1 9 4 , 5 9 0 Ma i n St r e e t , Mo n r o e , C T 0 6 4 6 8
 2.961
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 7 )        Au b u c h o n Ha r d w a r e 2 0 8 , 3 8 0 1 Sa n d y Sp r i n g Ro a d ,
 2.962                                                                                                                                                     Bu r t o n s v i l l e , M D 2 0 8 6 6
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 3 )        Au b u c h o n Ha r d w a r e - 1 9 2 , Au b u c h o n Ha r d w a r e , 5 0 En o n St r e e t ,
 2.963                                                                                                                                                     Be v e r l y, M A 0 1 9 1 5
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 7 )        Au c u t t ' s Pa i n t St o r e , Au c u t t s Pa i n t St o r e , 2 0 0 0 Mi t c h e l l St ,
 2.964                                                                                                                                                     Cl o v i s , N M 8 8 1 0 1
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Au d i o Ey e Co n s u l t i n g a n d Sc a n n i n g f o r   Au d i o e y e , In c . , 5 2 1 0 E. Wi l l i a m s Ci r c l e , Su i t e 7 5 0 , Tu c s o n , A Z
 2.965                                                                                                                                                     85711
         nature of the debtor's interest                   A D A Co m p l i a n c e

         State the term remaining                          08/24/2024 - 08/23/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Au d i o Ey e In c . Ma s t e r Te r m s o f       Au d i o e y e , In c . , 5 2 1 0 E. Wi l l i a m s Ci r c l e , Su i t e 7 5 0 , Tu c s o n , A Z
 2.966                                                                                                                                                     85711
         nature of the debtor's interest                   Se r v i c e

         State the term remaining                          08/29/2024 - 08/28/2029

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )              Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.967
         nature of the debtor's interest
         State the term remaining                          01/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.968
         nature of the debtor's interest
         State the term remaining                          09/01/2022

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.969
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )                              Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.970
         nature of the debtor's interest
         State the term remaining                          11/01/2023 - 10/31/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.971
         nature of the debtor's interest
         State the term remaining                          01/01/2019

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Au d i o v o x , 1 8 0 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.972
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au d i o v o x Co r p o r a t i o n , 1 5 0 Ma r c u s Bl v d , Ha u p p a g e , N Y 1 1 7 8 8
 2.973
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au d i o v o x Co r p o r a t i o n , 1 5 0 Ma r c u s Bl v d , Ha u p p a g e , N Y 1 1 7 8 8
 2.974
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 2 6 )   Au d u b o n Ha r d w a r e & Su p p l y Co . , 1 0 6 Ch e s t n u t St , Au d u b o n ,
 2.975                                                                                                                                                NJ 08106-1510
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 0 7 )   Au g u s t a Ha r d w a r e , 1 2 8 W Li n c o l n St , Au g u s t a , W I 5 4 7 2 2 - 9 1 5 2
 2.976
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 0 1 )   Au g u s t a Tr u e Va l u e , 1 2 0 5 b Ri c h m o n d Ro a d , St a u n t o n , VA
 2.977                                                                                                                                                24401-5060
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 6 )   Au g u s t a Tr u e Va l u e , 1 8 De p o t La n e , We y e r s Ca v e , VA 2 4 4 8 6 -
 2.978                                                                                                                                                2302
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 5 0 )   Au g u s t a Tr u e Va l u e , 5 7 8 8 N. Le e Hi g h w a y, Fa i r f i e l d , VA
 2.979                                                                                                                                                24435-0131
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Au n t Fa n n i e In c , 4 0 3 3 Se Ha w t h o r n e Bl v d , Su i t e 1 , Po r t l a n d ,
 2.980                                                                                                                                                OR 97214
         nature of the debtor's interest
         State the term remaining                          10/01/2017

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Au n t Ji l l Ea r t h y Pr o d u c t s , 7 1 0 E Je r i c h o Tu r n p i k e ,
 2.981                                                                                                                                                Hu n g t i n g t o n St a t i o n , N Y 1 1 7 4 6
         nature of the debtor's interest
         State the term remaining                          03/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 0 )   Au s t i n Bu i l d e r s Su p p l y, 2 0 6 1 0 t h St r e e t Ne , Au s t i n , M N 5 5 9 1 2
 2.982
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au s t r a m In c , 1 4 0 1 Br i c k e l l Av e , Su i t e 5 4 0 , Mi a m i , F L 3 3 1 3 1
 2.983
         nature of the debtor's interest
         State the term remaining                          01/01/2008

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au s t r a m In c , 1 4 0 1 Br i c k e l l Av e , Su i t e 5 4 0 , Mi a m i , F L 3 3 1 3 1
 2.984
         nature of the debtor's interest
         State the term remaining                          01/01/2007

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Au t o Ex p r e s s i o n s L L C, 5 0 5 E Eu c l i d Av e , Co m p t o n , C A 9 0 2 2 4
 2.985
         nature of the debtor's interest
         State the term remaining                          01/01/2011

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t   Au t o Ex p r e s s i o n s L L C, 5 0 5 E Eu c l i d Av e , Co m p t o n , C A 9 0 2 2 4
 2.986
         nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Au t o m a t i o n An y w h e r e Cl o u d                Au t o m a t i o n An y w h e r e , In c , 6 3 3 Ri v e r Oa k s Pa r k w a y, Sa n Jo s e ,
 2.987                                                                                                                                                            CA 95134
         nature of the debtor's interest                   Au t o m a t i o n M A S T E R Ag r e e m e n t

         State the term remaining                          07/18/2022 - 07/17/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Or d e r Fo r m , Au t o m a t i o n An y w h e r e B O T S W Su p p o r t Re n e w a l                Au t o m a t i o n An y w h e r e , In c , 6 3 3 Ri v e r Oa k s Pa r k w a y, Sa n Jo s e ,
 2.988                                                                                                                                                            CA 95134
         nature of the debtor's interest                   2024

         State the term remaining                          08/01/2024 - 07/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su b s c r i p t i o n Se r v i c e , Au t o m a t i o n 3 6 0 Pu r e Cl o u d - Bo t Ru n n e r       Au t o m a t i o n An y w h e r e , In c , 6 3 3 Ri v e r Oa k s Pa r k w a y, Sa n Jo s e ,
 2.989                                                                                                                                                            CA 95134
         nature of the debtor's interest                   Un a t t e n d e d

         State the term remaining                          02/01/2023 - 07/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su b s c r i p t i o n Se r v i c e , Au t o m a t i o n 3 6 0 Pu r e Cl o u d - Ad d i t i o n a l    Au t o m a t i o n An y w h e r e , In c , 6 3 3 Ri v e r Oa k s Pa r k w a y, Sa n Jo s e ,
 2.990                                                                                                                                                            CA 95134
         nature of the debtor's interest                   Bo t Ru n n e r Un a t t e n d e d Li c e n s e s

         State the term remaining                          07/24/2023 - 07/31/2025

         List the contract number of any government
         contract
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                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 2 9 )   Au t o m o t i v e & In d Di s t Lt d , Do n Ma c k a y Bl v d P. o . Bo x 4 0 7 ,
 2.991                                                                                                                                                Ma r s h Ha r b o u r Ab a c o , Ba h a m a s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 5 7 )   Au t o m o t i v e & In d Di s t Lt d , Ma l l & Qu e e n s Hw y - P. o . Bo x
 2.992                                                                                                                                                F2 4 0 8 , Fr e e p o r t Gr a n d Ba h a m a , Ba h a m a s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 2 2 )   Au t o m o t i v e & In d Di s t Lt d , P. o . Bo x 2 3 0 0 8 Ni c o l l s To w n ,
 2.993                                                                                                                                                An d r o s , Gr e e c e
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 9 3 )   Au t o m o t i v e & In d Di s t Lt d , P. o . Bo x El 2 6 0 7 2 Ro c k So u n d ,
 2.994                                                                                                                                                El u t h e r a , Ba h a m a s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 6 9 )   Au t o m o t i v e & In d Di s t Lt d , P. o . Bo x Ex 2 9 1 8 1 Ge o r g e To w n ,
 2.995                                                                                                                                                Ex u m a , Ba h a m a s
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Av a n i Sa l e s L L C, Av a n i Sa l e s L L C, P. O. Bo x 2 9 9 , 5 2 Al f r e d
 2.996                                                                                                                                                Dr i v e , Co l c h e s t e r , C T 0 6 4 1 5
         nature of the debtor's interest
         State the term remaining                          04/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )                  Av a n t i Pr o d u c t s , 3 2 6 5 Me r i d i a n Pa r k w a y, Su i t e 1 1 4 , We s t o n ,
 2.997                                                                                                                                                FL 33331
         nature of the debtor's interest
         State the term remaining                          01/01/2015

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 0 )   Av e n u e C Ha r d w a r e , 1 0 8 5 Av e n u e C, Ba y o n n e , N J 0 7 0 0 2
 2.998
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


          State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )                              Av e n u e In n o v a t i o n s In c , Av e n u e In n o v a t i o n s In c , 6 7 8 1 6 Ea s t
 2.999                                                                                                                                                             Sa a n i c h Ro a d , Sa a n i c h t o n , B C V8 M 2 B3 , Ca n a d a
          nature of the debtor's interest
          State the term remaining                          01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Av e r a Ho m e Go o d s L L C, 3 2 3 5 Fo r t u n e Dr. , No r t h Ch a r l e s t o n ,
 2.1000 State what the contract or lease is for and the
                                                            Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                   SC 29418
        nature of the debtor's interest
          State the term remaining                          01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                   Av e r a Ho m e Go o d s L L C, 3 2 3 5 Fo r t u n e Dr. , No r t h Ch a r l e s t o n ,
 2.1001 State what the contract or lease is for and the     Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   SC 29418
        nature of the debtor's interest
          State the term remaining                          09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                   Av e r a Ho m e Go o d s L L C, 3 2 3 5 Fo r t u n e Dr. , No r t h Ch a r l e s t o n ,
 2.1002 State what the contract or lease is for and the
                                                            Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            SC 29418

          State the term remaining                          07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                   Av e r y Pr o d u c t s Co r p o r a t i o n , 5 0 Po i n t e Dr i v e , Br e a , C A 9 2 8 2 1
 2.1003 State what the contract or lease is for and the
                                                            Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                          01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Av e r y Pr o d u c t s Co r p o r a t i o n , 5 0 Po i n t e Dr i v e , Br e a , C A 9 2 8 2 1
 2.1004 State what the contract or lease is for and the     Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                     Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Av e r y Pr o d u c t s Co r p o r a t i o n , 5 0 Po i n t e Dr i v e , Br e a , C A 9 2 8 2 1
 2.1005 State what the contract or lease is for and the     Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                     Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Av i a Tr u e Va l u e , 3 7 0 1 Du r a n d Av e , Ra c i n e , W I 5 3 4 0 5
 2.1006 State what the contract or lease is for and the
                                                            Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Av i a t r i x Sy s t e m s , In c , 2 9 0 1 Ta s m a n Dr i v e # 1 0 9 , , Sa n t a Cl a r a ,
 2.1007 State what the contract or lease is for and the   So f t w a r e , Av i a t r i x L L C N D A
                                                                                                                                                                 CA 95054
        nature of the debtor's interest
          State the term remaining                        01/27/2022 - 01/26/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Av i s Bu i l d i n g Su p p l y, 3 2 6 5 Wo o d w a r d Av e , Av i s , PA 1 7 7 2 1
 2.1008 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Av i v a In s u r a n c e Lt d ( 5 % ) , 1 St He l e n ' S, Lo n d o n , Ec 3 P 3 Dq ,
 2.1009 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Pr o p e r t y - Po l i c y Nu m b e r ( s ) : P T N A M2 4 1 2 9 6 5
                                                                                                                                                                 Un i t e d Ki n g d o m
        nature of the debtor's interest
          State the term remaining                        06/01/2024 - 06/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Av o n Tr u e Va l u e & Au t o , 2 7 5 E Ma i n St 2 , Av o n , N Y 1 4 4 1 4 -
 2.1010 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 0 1 )
                                                                                                                                                                 1427
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Av w / Ma x Pr o f e s s i o n a l , Po Bo x 9 9 6 2 , 4 4 1 So u t h St a t e Ro a d 7 ,
 2.1011 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Fo r t La u d e r d a l e , F L 3 3 3 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ax i o m Pr o d u c t s , Po Bo x 5 7 6 , 2 9 7 5 1 Us Hw y 7 1 , Re d w o o d
 2.1012 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fa l l s , M N 5 6 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ax i o m Pr o d u c t s , Po Bo x 5 7 6 , 2 9 7 5 1 Us Hw y 7 1 , Re d w o o d
 2.1013 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Fa l l s , M N 5 6 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ax i o s Co a t i n g s , 1 4 8 Lo w e r Ma i n St r e e t , Ab e r d e e n , N J 0 7 7 4 7
 2.1014 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ax m e n , 7 6 5 5 Hw y 1 0 W, Mi s s o u l a , M T 5 9 8 0 8
 2.1015 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ax o n Us Co r p . , 1 0 0 - 1 9 9 1 s t Av e , Ri c h m o n d Hi l l , N Y 1 1 4 1 8
 2.1016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ay d t Tr u e Va l u e Hd w, 1 1 6 E Ma r k e t St , Mc Le a n s b o r o , I L
 2.1017 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 1 9 )
                                                                                                                                                                 62859-1317
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ay e r s Tr u e Va l u e Hd w, 5 8 5 3 N Wa s h i n g t o n Bl v d , Ar l i n g t o n , VA
 2.1018 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 7 5 1 )
                                                                                                                                                                 22205-2923
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ay p , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y, Ch a r l o t t e , N C 2 8 2 6 7
 2.1019 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ay p , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y, Ch a r l o t t e , N C 2 8 2 6 7
 2.1020 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ay r e s Tr u e Va l u e Hd w e , 2 2 W Co l u m b i a St r e e t , Fl o r a , I N
 2.1021 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 4 7 )
        nature of the debtor's interest                                                                                                                          46929-1328

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Az t e c Te n t s , 2 6 6 5 Co l u m b i a St r e e t , To r r e n c e , C A 9 0 5 0 3
 2.1022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 B & B Be d d i n g In c , 2 2 4 5 2 7 5 Th St , Os k a l o o s a , I A 5 2 5 7 7
 2.1023 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 B & B Ha r d w a r e & Re n t a l , 1 3 2 2 2 We s t Ma i n St r e e t , La r o s e ,
 2.1024 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 3 0 )
                                                                                                                                                                 LA 70373-2404
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B & C Mo r t e n s e n , 1 2 3 8 E Hi g h w a y # 2 , Ol d t o w n , I D 8 3 8 2 2
 2.1025 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/22/2010

          List the contract number of any government
          contract
                                                                                                                                                                 B & G Lu m b e r , 2 1 2 W Hi g h St . , El i z a b e t h t o w n , PA 1 7 0 2 2 - 3 0 0 0
 2.1026 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B & K/ Mu e l l e r In d s ( Im p o r t ) , 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 ,
 2.1027 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co l l i e r v i l l e , T N 3 8 0 1 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B & K/ Mu e l l e r In d s ( Im p o r t ) , 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 ,
 2.1028 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Co l l i e r v i l l e , T N 3 8 0 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B & K/ Mu e l l e r In d s ( Im p o r t ) , 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 ,
 2.1029 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co l l i e r v i l l e , T N 3 8 0 1 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B & K/ Mu e l l e r In d s ( Im p o r t ) , 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 ,
 2.1030 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co l l i e r v i l l e , T N 3 8 0 1 7
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     B & S Ha r d w a r e , 1 1 2 N Gr e e r Bl v d , Pi t t s b u r g , T X 7 5 6 8 6
 2.1031 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     B & S Ha r d w a r e , 3 0 9 W Ty l e r , Gi l m e r , T X 7 5 6 4 4
 2.1032 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     B B Ba r n s Ho m e & Ga r d e n Su p p l y, 3 3 7 7 Sw e e t e n Cr e e k Rd ,
 2.1033 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 3 3 )
        nature of the debtor's interest                                                                                                              Ar d e n , N C 2 8 7 0 4 - 2 5 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     B Er i c k s o n Mf g Lt d , Er i c k s o n Mf g , 6 3 1 7 Ki n g Ro a d , Ma r i n e
 2.1034 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ci t y, M I 4 8 0 3 9
        nature of the debtor's interest
          State the term remaining                        03/29/2010

          List the contract number of any government
          contract
                                                                                                                                                     B. Er i c k s o n Ma n u f a c t u r i n g Lt d , Er i c k s o n Mf g , 6 3 1 7 Ki n g
 2.1035 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ro a d , Ma r i n e Ci t y, M I 4 8 0 3 9
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     B. b . Ba r n s , 1 0 6 7 Wo o d l e y s Wa y, Co l u m b i a , S C 2 9 2 2 3
 2.1036 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     B' v i l l e Su p p l y Tr u e Va l u e , B` v i l l e Su p p l y Tr u e Va l u e , 8 2 E
 2.1037 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 9 )
                                                                                                                                                     Ge n e s e e St , Ba l d w i n s v i l l e , N Y 1 3 0 2 7 - 2 6 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     B& b Tr u e Va l u e Hd w e , 6 1 1 St a t e Rd , Cr o y d o n , PA 1 9 0 2 1 - 7 4 4 4
 2.1038 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 6 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 B& d Tr u e Va l u e Ha r d w a r e , 1 1 4 Ka o l i n Rd , Sa n d e r s v i l l e , G A
 2.1039 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 0 6 )
                                                                                                                                                                 31082-6900
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& G Eq u i p m e n t , 1 3 5 Re g i o n So u t h Dr i v e , Ja c k s o n , G A 3 0 2 3 3
 2.1040 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2003

          List the contract number of any government
          contract
                                                                                                                                                                 B& G Fo o d s In c , 4 Ga t e h a l l Dr i v e , Su i t e 1 1 0 , Pa r s i p p a n y, N J
 2.1041 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 07054
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 B& G Fo o d s In c , 4 Ga t e h a l l Dr i v e , Su i t e 1 1 0 , Pa r s i p p a n y, N J
 2.1042 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 07054
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 B& G Fo o d s In c , 4 Ga t e h a l l Dr i v e , Su i t e 1 1 0 , Pa r s i p p a n y, N J
 2.1043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07054
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& G Fo o d s In c , 4 Ga t e h a l l Dr i v e , Su i t e 1 1 0 , Pa r s i p p a n y, N J
 2.1044 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07054
        nature of the debtor's interest
          State the term remaining                        08/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1045 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38017
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1046 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 38017

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1047 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 38017
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1048 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          38017

          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1049 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38017
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1050 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38017
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1051 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38017
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1052 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 38017

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1053 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38017
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1054 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38017
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1055 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38017
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1056 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38017
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1057 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 38017
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 B& K L L C, 1 5 0 Sc h i l l i n g Bl v d , Su i t e 1 0 0 , Co l l i e r v i l l e , T N
 2.1058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 38017
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 B3 C Fu e l So l u t i o n s In c , 1 0 8 Da y t o n a St , Co n w a y, S C 2 9 5 2 6
 2.1059 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 B3 C Fu e l So l u t i o n s In c , 1 0 8 Da y t o n a St , Co n w a y, S C 2 9 5 2 6
 2.1060 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B3 C Fu e l So l u t i o n s In c , 1 0 8 Da y t o n a St , Co n w a y, S C 2 9 5 2 6
 2.1061 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 B3 C Fu e l So l u t i o n s In c , 1 0 8 Da y t o n a St , Co n w a y, S C 2 9 5 2 6
 2.1062 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 B4 Ad v e n t u r e , 4 0 1 0 Ho l l y St , Un i t 1 6 , De n v e r , C O 8 0 2 1 6
 2.1063 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ba b y l o n Tr u e Va l u e Ha r d w a r e , 1 2 8 9 De e r Pa r k Av e , No r t h
 2.1064 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 8 8 )
                                                                                                                                                                 Ba b y l o n , N Y 1 1 7 0 3 - 2 7 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba c In d u s t r i e s In c , 1 5 0 6 7 Sp r u c e Hi l l Pa r k Rd Ne , Mi l t o n a ,
 2.1065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MN 56354
        nature of the debtor's interest
          State the term remaining                        01/15/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c Sa l e s In c , 1 8 7 1 Ro u t e 9 H, Hu d s o n , N Y 1 2 5 3 4
 2.1066 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/25/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c c u s Gl o b a l L L C Im p , 1 N Fe d e r a l Hw y, Su i t e 2 0 0 , Bo c a
 2.1067 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ra t o n , F L 3 3 4 3 2

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c c u s Gl o b a l L L C Im p , 1 N Fe d e r a l Hw y, Su i t e 2 0 0 , Bo c a
 2.1068 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra t o n , F L 3 3 4 3 2
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c c u s Gl o b a l , L L C, 2 2 5 Ne Mi z n e r Bl v d , Su i t e 3 0 1 , Bo c a
 2.1069 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Ra t o n , F L 3 3 4 3 2
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c c u s Gl o b a l , L L C, 2 2 5 Ne Mi z n e r Bl v d , Su i t e 3 0 1 , Bo c a
 2.1070 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ra t o n , F L 3 3 4 3 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba c h m a n ' s Fl o r a l , Ho m e & Ga r d e n , Ba c h m a n ` s Fl o r a l Ho m e &
 2.1071 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 0 1 )
                                                                                                                                                                 Ga r d e n , 6 0 1 0 Ly n d a l e Av e n u e So u t h , Mi n n e a p o l i s , M N 5 5 4 1 9 -
        nature of the debtor's interest
                                                                                                                                                                 2289
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba c k To Ba s i c s Tr u e Va l u e , 3 1 Ma i n St , Te r r y v i l l e , C T 0 6 7 8 6 -
 2.1072 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 9 )
                                                                                                                                                                 5101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba c k To Th e Ro o t s , 4 2 4 2 Nd St , Oa k l a n d , C A 9 4 6 0 8
 2.1073 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c k y a r d Na t u r e Pr o d u c t s , 4 7 7 Vo g t La n e , Ch i l t o n , W I 5 3 0 1 4
 2.1074 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c k y a r d Xs c a p e s In c , 1 0 8 3 5 So r r e n t o Va l l e y Rd , Sa n Di e g o ,
 2.1075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92121
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c o v a Gu i l d , 1 0 0 0 Co m m e r c e Ce n t e r Dr i v e , Co v i n g t o n , VA
 2.1076 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 24426
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c o v a Gu i l d , 1 0 0 0 Co m m e r c e Ce n t e r Dr i v e , Co v i n g t o n , VA
 2.1077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 24426
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ba c o v a Gu i l d , 1 0 0 0 Co m m e r c e Ce n t e r Dr i v e , Co v i n g t o n , VA
 2.1078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 24426
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba c t r o n i x Co r p , 5 3 0 Li n d b e r g h Dr i v e , Ca r n o t Mo o n , PA
 2.1079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ba i l e y In t ' l L L C, Ba i l e y In t e r n a t i o n a l L L C, 2 5 2 7 We s t c o t t
 2.1080 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Bl v d , Kn o x v i l l e , T N 3 7 9 3 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba i l e y Nu r s e r i e s , In c . , 1 3 2 5 Ba i l e y Ro a d , St Pa u l , M N 5 5 1 1 9
 2.1081 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ba i n b r i d g e Mf g In c , P. O. Bo x 4 8 7 , 2 3 7 W 3 r d St , Wa t e r v i l l e ,
 2.1082 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WA 9 8 8 5 8
        nature of the debtor's interest
          State the term remaining                        02/18/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Ba i s d e n Br o s In c , 3 4 0 Ri v e r v i e w Av e , Lo g a n , W V 2 5 6 0 1 - 3 4 2 8
 2.1083 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba k e r Ha r d w a r e , Ba k e r Ha r d w a r e In c , 6 5 5 0 Ha m i l t o n Sc i p i o
 2.1084 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 9 1 )
                                                                                                                                                                 Rd , Ok e a n a , O H 4 5 0 5 3 - 9 7 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba k e r Nu r s e r y Gd n s In c H& g s , 2 7 3 3 S Un i v e r s i t y Dr , Fa r g o ,
 2.1085 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 6 2 )
                                                                                                                                                                 ND 58103-6027
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba k e r s Tr u e Va l u e Hd w, Ba k e r s Tr u e Va l u e Ha r d w a r e , 1 0 8 W
 2.1086 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 2 2 )
        nature of the debtor's interest                                                                                                                          Ma i n St , Ma y s v i l l e , M O 6 4 4 6 9 - 0 1 9 7

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba k e r s t o n e In t e r n a t i o n a l L L C, 3 6 Ve s t a Dr i v e , To r o n t o , O N
 2.1087 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 M5 P 2 Z5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ba l d w i n s Hd w e & Gi f t Sh o p , 1 1 Tr o y St , Ca n t o n , PA 1 7 7 2 4 -
 2.1088 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 5 9 )
                                                                                                                                                                 1403
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba l l Ho r t i c u l t u r a l Co m p a n y, 6 2 2 To w n Rd , We s t Ch i c a g o , I L
 2.1089 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60185
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ba l l Pa c k a g i n g , L L C, 9 3 0 0 W 1 0 8 Th Ci r c l e , Br o o m f i e l d , C O
 2.1090 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80021
        nature of the debtor's interest
          State the term remaining                        12/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ba n d e r a Tr u e Va l u e Ha r d w a r e , 1 0 0 2 Ma i n St , Ba n d e r a , T X
 2.1091 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 8 7 6 )
                                                                                                                                                                 78003-3571
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1092 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 97389

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 97389
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1094 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 97389
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1095 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 97389
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1096 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 97389
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1097 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 97389
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1098 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 97389

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1099 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 97389
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1100 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 97389
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ba r e n b r u g Us a , Po Bo x 2 3 9 , 3 3 4 7 7 Hw y 9 9 E, Ta n g e n t , O R
 2.1101 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 97389
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ba r g a i n De p o t , Tr u e Va l u e Ba r g a i n De p o t , 2 1 1 1 Gr e e n w o o d ,
 2.1102 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 2 6 )
                                                                                                                                                                 Pr e s c o t t , M I 4 8 7 5 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Ba r g a i n Hu n t , 3 8 1 5 Lo g i s t i c s Wa y, An t i o c h , T N 3 7 0 1 3 - 2 4 1 8
 2.1103 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ba r g a i n Hu n t , 4 5 5 In d u s t r i a l Bo u l e v a r d , La Ve r g n e , T N 3 7 0 8 6
 2.1104 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ba r g a i n Hu n t Te r m s o f Sa l e
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        12/22/2023 - 12/21/2028

          List the contract number of any government
          contract
                                                                                                                                                            Ba r k a t Co n s u l t i n g In c . , 1 4 0 4 4 W Pe t r o n e l l a Dr i v e Un i t 2 ,
 2.1105 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ba r k a t Co n s u l t i n g Ma s t e r Se r v i c e s
                                                          Ag r e e m e n t                                                                                  Li b e r t y v i l l e , I L 6 0 0 4 8
        nature of the debtor's interest
          State the term remaining                        11/11/2019 - 11/10/2024

          List the contract number of any government
          contract
                                                                                                                                                            Ba r k a t Co n s u l t i n g In c . , 1 4 0 4 4 W Pe t r o n e l l a Dr i v e Un i t 2 ,
 2.1106 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ba r k a t Co n s u l t i n g S O W 2 2 - Ne t w o r k
                                                                                                                                                            Li b e r t y v i l l e , I L 6 0 0 4 8
        nature of the debtor's interest                   Su p p o r t

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                            Ba r k a t Co n s u l t i n g In c . , 1 4 0 4 4 W Pe t r o n e l l a Dr i v e Un i t 2 ,
 2.1107 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ba r k a t Co n s u l t i n g S O W 2 2 C O 1 - Ne t w o r k
                                                                                                                                                            Li b e r t y v i l l e , I L 6 0 0 4 8
        nature of the debtor's interest                   Su p p o r t

          State the term remaining                        02/15/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                            Ba r k e r Ha r d w a r e , 2 1 2 Sm o o t Av e , Da n v i l l e , W V 2 5 0 5 3 - 9 9 9 8
 2.1108 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ba r n e l In t ' l , Ba r n e l In t e r n a t i o n a l , 1 5 2 2 0 Nw La i d l a w Rd , Su i t e
 2.1109 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            2 0 0 , Po r t l a n d , O R 9 7 2 2 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                            Ba r n e s Tr u e Va l u e Lu m b e r , 3 1 8 W Li n c o l n St , Ha r r i s b u r g , I L
 2.1110 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 9 2 )
                                                                                                                                                            62946-2008
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ba r n e y ' s Ha r d w a r e Sp o k a n e , Ba r n e y ` s Ha r d w a r e Sp o k a n e ,
 2.1111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 2 5 )
                                                                                                                                                     1 1 2 0 5 E Di s h m a n Mi c a Rd A, Sp o k a n e , WA 9 9 2 0 6 - 8 6 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ba r n e y ' s Tr u e Va l u e , 3 3 7 5 Da y t o n Xe n i a Rd , Be a v e r c r e e k , O H
 2.1112 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 8 1 )
                                                                                                                                                     45432-2791
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ba r n e y ' s Tr u e Va l u e , Ba r n e y ` s Tr u e Va l u e , 1 1 7 No r t h Di v i s i o n
 2.1113 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 9 6 )
        nature of the debtor's interest                                                                                                              St r e e t , Pi n e h u r s t , I D 8 3 8 5 0 - 8 7 1 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ba r r Ev e r g r e e n s o f No r t h Ca r o l i n a L, Po Bo x 3 , Cr u m p l e r , N C
 2.1114 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     28617
        nature of the debtor's interest
          State the term remaining                        11/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ba r r ' s Tr u e Va l u e Ha r d w a r e , Ba r r ` s Tr u e Va l u e Ha r d w a r e , 1 2 5 4
 2.1115 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 9 )
                                                                                                                                                     W 4 t h St r e e t , Wi l l i a m s p o r t , PA 1 7 7 0 1 - 5 7 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ba r r e n Sp o t Ll c , 3 0 4 a & A1 Ba r r e n Sp o t , Ch r i s t i a n s t e d , V I
 2.1116 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 5 )
                                                                                                                                                     00820
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ba r r e t o Ma n u f a c t u r i n g In c . , 6 6 4 9 8 Hw y 2 0 3 , La Gr a n d e , O R
 2.1117 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              97850

          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ba r r e t t s Sh o w p l a c e Ga r d e n s , 1 0 3 3 W Be e c h e r St , Ad r i a n , M I
 2.1118 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 4 )
                                                                                                                                                     49221
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba r t o n ' s Re n t a l s , 2 0 6 8 9 Su s s e x Hi g h w a y, Se a f o r d , D E 1 9 9 7 3
 2.1119 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 3 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba s a l i t e Co n c r e t e Pr o d u c t s In c , 6 0 5 In d u s t r i a l Wa y, Di x o n , C A
 2.1120 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95620
        nature of the debtor's interest
          State the term remaining                        05/29/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ba s c h Ge o r g e Co In c , Po Bo x 1 8 8 , 1 9 Ha n s e Av e , Fr e e p o r t , N Y
 2.1121 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 11520
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba s c h Ge o r g e Co In c , Po Bo x 1 8 8 , 1 9 Ha n s e Av e , Fr e e p o r t , N Y
 2.1122 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11520
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ba s i c Am e r i c a n Su p p l y, 3 0 N Ce n t r a l St , Co l o r a d o Ci t y, A Z
 2.1123 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 0 1 )
        nature of the debtor's interest                                                                                                                          86021-6134

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba t e s Fa r m & Ho m e , 1 7 4 De p o t St , En o s b u r g Fa l l s , V T 0 5 4 5 0 -
 2.1124 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 2 7 )
                                                                                                                                                                 9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba t e s So n s & Da u g h t e r s In c , 8 1 Ba t e s Rd , La k e Pl a c i d , F L
 2.1125 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33852
        nature of the debtor's interest
          State the term remaining                        03/05/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ba t h Ga r d e n Ce n t e r , 2 0 0 0 E Pr o s p e c t Ro a d , Ft Co l l i n s , C O
 2.1126 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 7 )
                                                                                                                                                                 80525-1313
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba t t e n In d u s t r i e s In c , 2 4 5 5 Do l l a r t o n Hw y, Un i t 1 1 4 , No r t h
 2.1127 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Va n c o u v e r ,
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ba u m Tr u e Va l u e St o r e , 4 6 3 8 4 St a t e Rt e 2 4 8 , Ch e s t e r , O H
 2.1128 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 3 9 )
                                                                                                                                                                 45720-0067
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba w c o m Su p p l y, 1 3 0 6 8 t h St r e e t , We l l i n g t o n , T X 7 9 0 9 5
 2.1129 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y Ba b y Pr o d u c e In c , Po Bo x 2 0 1 0 , 2 0 0 E Wa s h i n g t o n Av e ,
 2.1130 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bu r l i n g t o n , WA 9 8 2 3 3
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ba y Ha y & Fe e d , 1 0 3 5 5 Ne Va l l e y Rd , Ba i n b r i d g e Is l a n d , WA
 2.1131 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 7 )
                                                                                                                                                                 98110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y Tr a d e r s Tr u e Va l u e , 1 3 0 3 4 t h Av e , Se w a r d , A K 9 9 6 6 4 - 9 8 0 0
 2.1132 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y c o Pr o d u c t In c , 6 4 0 S Sa n d e n Bl v d , Wy l i e , T X 7 5 0 9 8
 2.1133 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y c o Pr o d u c t In c , 6 4 0 S Sa n d e n Bl v d , Wy l i e , T X 7 5 0 9 8
 2.1134 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ba y c o Pr o d u c t In c , 6 4 0 S Sa n d e n Bl v d , Wy l i e , T X 7 5 0 9 8
 2.1135 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y c o Pr o d u c t In c , 6 4 0 S Sa n d e n Bl v d , Wy l i e , T X 7 5 0 9 8
 2.1136 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ba y c o Pr o d u c t In c , 6 4 0 S Sa n d e n Bl v d , Wy l i e , T X 7 5 0 9 8
 2.1137 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 10/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ba y l e s Ga r d e n Ce n t e r , 8 8 S Ba y l e s Av e , Po r t Wa s h i n g t o n , N Y
 2.1138 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 9 2 )
        nature of the debtor's interest                                                                                                                          11050-3729

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y l e y Lu m b e r & Ha r d w a r e , 2 0 0 Tu l e Cr e e k Rd , Ha y f o r k , C A
 2.1139 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 )
                                                                                                                                                                 96041-9997
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y p o r t Fl o w e r Ho u s e s , In c . , Ba y p o r t Fl o w e r Ho u s e s In c . ,
 2.1140 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 4 8 )
                                                                                                                                                                 At t n : Ka r l Au w a e r t e r , 9 4 0 Mo n t a u k Hw y, Ba y p o r t , N Y 1 1 7 0 5 -
        nature of the debtor's interest
                                                                                                                                                                 1612
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y s i d e Ga r d e n Ce n t e r , 4 0 0 E Br o w n De e r Ro a d , Mi l w a u k e e ,
 2.1141 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 7 8 )
                                                                                                                                                                 WI 53217-2339
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ba y s i d e Ho m e Ce n t e r , In c . , 4 0 4 0 Cr i s f i e l d Hi g h w a y, Cr i s f i e l d ,
 2.1142 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 7 )
        nature of the debtor's interest                                                                                                                          MD 21817-2481

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Ba z a a r v o i c e , In c . , 3 9 0 0 N. Ca p i t a l Of Te x a s Hi g h w a y, Su i t
 2.1143 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Ba z a a r Vo i c e In c . - Se r v i c e Re n e w a l 2 0 2 3
                                                                                                                                                             3 0 0 , Au s t i n , T X 7 8 7 4 6
        nature of the debtor's interest
          State the term remaining                        10/26/2023 - 10/25/2025

          List the contract number of any government
          contract
                                                                                                                                                             Bb De s i g n s Us a L L C, 1 9 8 5 0 No r d h o f f Pl a c e , Ch a t s w o r t h , C A
 2.1144 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      91311

          State the term remaining                        08/01/2017

          List the contract number of any government
          contract
                                                                                                                                                             Bc s In t ' l In c . , Bc s In t e r n a t i o n a l In c , 1 5 1 0 Br o o k f i e l d Av e ,
 2.1145 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                             Gr e e n Ba y, W I 5 4 3 1 3
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2024

          List the contract number of any government
          contract
                                                                                                                                                             Bd i , 8 0 0 0 Hu b Pk w y, Cl e v e l a n d , O H 4 4 1 2 5
 2.1146 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bd o Us a , L L P, 3 3 0 No r t h Wa b a s h , Su i t e 3 2 0 0 , Ch i c a g o , I L
 2.1147 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , B D O U S A, L L P - M S A
                                                                                                                                                             60611
        nature of the debtor's interest
          State the term remaining                        03/16/2023 - 03/15/2026

          List the contract number of any government
          contract
                                                                                                                                                             Be Em p o w e r e d In t ' l L L C, Be Em p o w e r e d In t e r n a t i o n a l L L C,
 2.1148 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             7 8 5 2 Sp r i n g Cr e e k Dr , We s t Pa l m Be a c h , F L 3 3 4 1 1
        nature of the debtor's interest
          State the term remaining                        05/08/2013

          List the contract number of any government
          contract
                                                                                                                                                             Be a c o n Ha r d w a r e , 5 1 3 Ch u r c h St . , Ne w Be d f o r d , M A 0 2 7 4 5 -
 2.1149 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 6 )
                                                                                                                                                             5106
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Be a r Do w n Br a n d s L L C, 2 8 0 3 S Ya l e St , Sa n t a An a , C A 9 2 7 0 4
 2.1150 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2020

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be a r Ha r d w a r e , 7 5 We s t Ch e s t n u t , Na s h v i l l e , I N 4 7 4 4 8 - 7 6 0 6
 2.1151 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a r Hi l l Tr u e Va l u e Ha r d w a r e , 1 6 3 Je f f e r s o n St , Wa l d o b o r o ,
 2.1152 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 6 8 )
                                                                                                                                                                 ME 04572-6011
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a r d s t o w n Tr u e Va l u e Ha r d w a r e , 1 3 5 1 Gr a n d Av e n u e ,
 2.1153 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 5 0 )
                                                                                                                                                                 Be a r d s t o w n , I L 6 2 6 1 8 - 8 0 9 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a r t o o t h Tr u e Va l u e Ha r d w a r e , 1 5 0 So u t h g a t e Dr , P. o . Bo x
 2.1154 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 5 9 )
                                                                                                                                                                 3 5 4 , Ai t k i n , M N 5 6 4 3 1 - 7 4 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a u m o n t Pr o d u c t s , In c . , 1 5 6 0 Bi g Sh a n t y Ro a d , Ke n n e s a w,
 2.1155 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 GA 30144
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a v e r Ag w a y, 1 4 4 0 Sh a r o n Ro a d , Be a v e r , PA 1 5 0 0 9
 2.1156 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a v e r Ha r d w a r e & Lu m b e r , 3 0 1 Do u g l a s Av e , Be a v e r , O K
 2.1157 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 5 )
        nature of the debtor's interest                                                                                                                          73932

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be a z l e y In s u r a n c e Co m p a n y In c , 6 Co n c o u r s e Pk w y, St e 2 8 0 0 ,
 2.1158 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Cr i m e - Po l i c y Nu m b e r ( s ) : V3 6 3 4 5 2 3 0 1 0 1
                                                                                                                                                                 At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Be c k ' s Ha r d w a r e & Ga r d e n , 7 4 Mi l l p o n d Pa r k w a y, Mo n r o e , N Y
 2.1159 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 0 )
                                                                                                                                                     10950
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be c k ' s Ho m e & Ha r d w a r e , Be c k ` s Ho m e & Ha r d w a r e , 4 Ch e r r y
 2.1160 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 5 )
                                                                                                                                                     Hi l l Ro a d , Ne w Pa l t z , N Y 1 2 5 6 1 - 2 2 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be c k e r Tr u e Va l u e Ha r d w a r e , 1 3 3 5 0 1 s t St , Be c k e r , M N 5 5 3 0 8 -
 2.1161 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 8 5 )
                                                                                                                                                     8567
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be c k e t t Co r p , 4 0 0 Ea s t Ro y a l La n e # 2 9 0 , Ir v i n g , T X 7 5 0 3 9
 2.1162 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Be c k e t t Co r p , 4 0 0 Ea s t Ro y a l La n e # 2 9 0 , Ir v i n g , T X 7 5 0 3 9
 2.1163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Be c k e t t Co r p o r a t i o n , 3 3 2 1 E Pr i n c e s s An n e Rd , No r f o l k , VA
 2.1164 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     23502
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Be d f o r d Fi e l d s H& g s , 3 3 1 Ro u t e 1 0 1 , Be d f o r d , N H 0 3 1 1 0 - 5 1 0 4
 2.1165 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be d f o r d Tr u e Va l u e , 6 4 8 Ea s t Pe n n St , Be d f o r d , PA 1 5 5 2 2 - 9 7 6 5
 2.1166 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Be e Co n t e n t De s i g n , In c . , 4 5 0 To w n s e n d St . , 1 St Fl o o r , Sa n
 2.1167 State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Be e Co n t e n t De s i g n , In c . -
                                                                                                                                                             Fr a n c i s c o , C A 9 4 1 0 7
        nature of the debtor's interest                   So f t w a r e Su b s c r i p t i o n

          State the term remaining                        05/17/2024 - 05/16/2025

          List the contract number of any government
          contract
                                                                                                                                                             Be e c k e r L. L. C. , 2 2 0 3 Ti m b e r l o c h Pl a c e , Su i t e 1 3 0 , Th e
 2.1168 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Be e c k e r L. L. C Ma s t e r Se r v i c e s
                                                                                                                                                             Wo o d l a n d s , T X 7 7 3 8 0
        nature of the debtor's interest                   Ag r e e m e n t .

          State the term remaining                        06/01/2023 - 05/31/2028

          List the contract number of any government
          contract
                                                                                                                                                             Be e c k e r L. L. C. , 2 2 0 3 Ti m b e r l o c h Pl a c e , Su i t e 1 3 0 , Th e
 2.1169 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Be e c k e r L L C S O W 1 Ve n d o r In q u i r y
        nature of the debtor's interest                   Au t o m a t i o n                                                                                 Wo o d l a n d s , T X 7 7 3 8 0

          State the term remaining                        06/05/2023 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                             Be e c k e r L. L. C. , 2 2 0 3 Ti m b e r l o c h Pl a c e , Su i t e 1 3 0 , Th e
 2.1170 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Be e c k e r S O W 2 Cu s t o m e r In q u i r y
                                                          Au t o m a t i o n                                                                                 Wo o d l a n d s , T X 7 7 3 8 0
        nature of the debtor's interest
          State the term remaining                        08/28/2023 - 11/10/2026

          List the contract number of any government
          contract
                                                                                                                                                             Be e m u n ' s Va r i e t y & Tr u e Va l u e , 3 5 2 7 7 Ke n a i Sp u r Rd ,
 2.1171 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 5 5 )
                                                                                                                                                             So l d o t n a , A K 9 9 6 6 9 - 7 6 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Be g i c k Nu r s e r y & Ga r d e n Ce n t e r , 5 9 9 3 W Si d e Sa g i n a w Rd ,
 2.1172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 0 3 )
                                                                                                                                                             Ba y Ci t y, M I 4 8 7 0 6 - 3 4 5 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Be h l e n Co u n t r y, Po Bo x 5 6 9 , 4 0 2 5 E 2 3 Rd St r e e t , Co l u m b u s ,
 2.1173 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                             NE 68602
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                             Be h l e n Co u n t r y, Po Bo x 5 6 9 , 4 0 2 5 E 2 3 Rd St r e e t , Co l u m b u s ,
 2.1174 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             NE 68602
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be h l e n Co u n t r y, Po Bo x 5 6 9 , 4 0 2 5 E 2 3 Rd St r e e t , Co l u m b u s ,
 2.1175 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NE 68602
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1176 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1177 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1178 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1179 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1180 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1181 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1182 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1183 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1184 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1185 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1186 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1187 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Be h r e n s In c , Po Bo x 1 8 7 , Wi n o n a , M N 5 5 9 8 7
 2.1188 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be i s t l e Co . , Th e , Po Bo x 1 0 , 1 Be i s t l e Pl a z a , Sh i p p e n s b u r g , PA
 2.1189 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 17257
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Be k a e r t Co r p o r a t i o n , 1 3 9 5 S Ma r i e t t a Pa r k w a y, Bl d g 5 0 0 , Su i t e
 2.1190 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 1 0 0 , Ma r i e t t a , G A 3 0 0 6 7
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be l d i n g Ho m e t o w n Ha r d w a r e , 9 3 0 W St a t e St , Be l d i n g , M I
 2.1191 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 6 )
                                                                                                                                                                 48809
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l g r a d e Ac e Ha r d w a r e , 6 2 8 0 Ja c k r a b b i t La n e , Be l g r a d e , M T
 2.1192 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 4 )
                                                                                                                                                                 59714-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l k i n Co m p o n e n t s , 5 0 1 We s t Wa l n u t St r e e t , Bi p i n Ho n g a l ,
 2.1193 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co m p t o n , C A 9 0 2 2 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be l k i n In t ' l , Be l k i n In t e r n a t i o n a l , 1 2 0 4 5 E Wa t e r f r o n t Dr ,
 2.1194 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pl a y a Vi s t a , C A 9 0 0 9 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l k i n In t l / Li n k s y s , 1 2 0 4 5 E Wa t e r f r o n t Dr i v e , Pl a y a Vi s t a ,
 2.1195 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 90094
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l l Sp o r t s In c , 6 2 2 5 N St a t e Hw y 1 6 1 , Su i t e 3 0 0 , Ir v i n g , T X
 2.1196 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75038
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Be l l Sp o r t s In c , 6 2 2 5 N St a t e Hw y 1 6 1 , Su i t e 3 0 0 , Ir v i n g , T X
 2.1197 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75038
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l l Sp o r t s In c , 6 2 2 5 N St a t e Hw y 1 6 1 , Su i t e 3 0 0 , Ir v i n g , T X
 2.1198 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 75038
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Be l l a i r e Ha r d w a r e , 1 0 1 So u t h Br i d g e St r e e t , Be l l a i r e , M I
 2.1199 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 0 9 )
                                                                                                                                                     49615
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be l l e f o n t e Bu i l d i n g Su p p l y, 1 0 7 6 E. Bi s h o p St r e e t , Be l l e f o n t e ,
 2.1200 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 6 )
                                                                                                                                                     PA 1 6 8 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be l l e v i l l e Ho m e t o w n Lu m b e r , 2 4 0 9 Us 8 1 Hw y, Be l l e v i l l e , K S
 2.1201 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 6 3 )
                                                                                                                                                     66935-8098
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be l m o n t Nu r s e r y, 7 7 3 0 E Be l m o n t Av e , Fr e s n o , C A 9 3 7 3 7
 2.1202 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/11/2014

          List the contract number of any government
          contract
                                                                                                                                                     Be l m o n t Tr u e Va l u e Ha r d w a r e , 9 4 1 6 Hw y 6 1 , Ca r y, M S 3 9 0 5 4 -
 2.1203 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 0 2 )
        nature of the debtor's interest                                                                                                              9998

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be l m o n t Tr u e Va l u e Hd w e , 1 2 Sc h u y l e r St , Be l m o n t , N Y
 2.1204 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 9 6 9 )
                                                                                                                                                     14813-1015
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be l s t r a Mi l l i n g Co m p a n y, 4 2 4 1 5 Th St . Se , De m o t t e , I N 4 6 3 1 0
 2.1205 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Be l s t r a Mi l l i n g Co m p a n y, 4 2 4 1 5 Th St . Se , De m o t t e , I N 4 6 3 1 0
 2.1206 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be l w i t h Pr o d u c t s L L C, 3 1 0 0 Br o a d w a y Av e n u e Sw, Gr a n d v i l l e ,
 2.1207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MI 49418
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be l w i t h Pr o d u c t s L L C, 3 1 0 0 Br o a d w a y Av e n u e Sw, Gr a n d v i l l e ,
 2.1208 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MI 49418
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be l w i t h Pr o d u c t s L L C, 3 1 0 0 Br o a d w a y Av e n u e Sw, Gr a n d v i l l e ,
 2.1209 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 MI 49418

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be m a n Tr u e Va l u e Hd w. , 2 0 Ha r t f o r d Av e , Gr a n b y, C T 0 6 0 3 5 -
 2.1210 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 7 8 )
                                                                                                                                                                 2304
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be m i d j i Ce n e x Tr u e Va l u e Hd w e , 3 2 0 3 r d St Nw, Be m i d j i , M N
 2.1211 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 7 1 )
                                                                                                                                                                 56601-3113
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be m i s Mf g Co , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1212 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Be m i s Mf g . Co . , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1213 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be m i s Mf g . Co . , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1214 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be m i s Mf g . Co . , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Be m i s Mf g . Co . , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be m i s Mf g . Co . , 3 0 0 Mi l l St r e e t , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5
 2.1217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Be n ' s Su p e r c e n t e r , 4 4 3 6 Ma i n St , Br o w n Ci t y, M I 4 8 4 1 6 - 9 7 0 1
 2.1218 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n ' s Su p e r c e n t e r , Be n ` s Su p e r c e n t e r , 6 5 4 1 Pl a z a Dr , Ma r l e t t e ,
 2.1219 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 7 7 )
                                                                                                                                                                 MI 48453-1299
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n ' s Su p e r c e n t e r , Be n ` s Su p e r c e n t e r , 6 2 3 3 Ch u r c h St , Ca s s
 2.1220 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 7 5 )
                                                                                                                                                                 Ci t y, M I 4 8 7 2 6 - 1 1 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n c h Sy s t e m L. L. C. , Be n c h Sy s t e m L L C , 2 1 Fi r e s l a t e
 2.1221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pl a c e , Le w i s t o n , M E 0 4 2 4 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be n e d i c t Th r i f t w a y Tr u e Va l u e , 1 0 8 0 No r t h Hi g h w a y 4 1 4 ,
 2.1222 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 9 8 )
        nature of the debtor's interest                                                                                                                          Mo u n t a i n Vi e w, W Y 8 2 9 3 9 - 9 9 9 9

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be n e d i c t ' s Ho m e & Ga r d e n , Be n e d i c t ` s Ho m e & Ga r d e n , 4 8 0
 2.1223 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 4 0 )
                                                                                                                                                                 Pu r d y Hi l l Rd , Mo n r o e , C T 0 6 4 6 8 - 1 6 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n e f a s t , 2 3 3 0 De f o o r Hi l l s Ro a d Nw, At l a n t a , G A 3 0 3 1 8
 2.1224 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n e f a s t , 2 6 3 3 Po w e l l Av e , Na s h v i l l e , T N 3 7 2 0 4
 2.1225 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n e f a s t , 5 0 0 S. Be l t Li n e Rd . , Su i t e 5 0 8 , Ir v i n g , T X 7 5 0 6 0
 2.1226 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n e f i t e d L L C, 1 2 1 S 1 3 Th St . , Su i t e 1 0 0 , Li n c o l n , N E 6 8 5 0 8
 2.1227 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Be n e f i t E D Pr o f e s s i o n a l Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        08/01/2022 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Be n g a l Ch e m i c a l In c , 1 3 7 3 9 Ai r l i n e Hi g h w a y, Ba t o n Ro u g e , L A
 2.1228 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 70817

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be n g a l Ch e m i c a l In c , 1 3 7 3 9 Ai r l i n e Hi g h w a y, Ba t o n Ro u g e , L A
 2.1229 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 70817
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Be n g a l Ch e m i c a l In c , 1 3 7 3 9 Ai r l i n e Hi g h w a y, Ba t o n Ro u g e , L A
 2.1230 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 70817
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Be n g a l Ch e m i c a l In c , 1 3 7 3 9 Ai r l i n e Hi g h w a y, Ba t o n Ro u g e , L A
 2.1231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     70817
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                     Be n j a m i n Br o t h e r s T V Hd w e , Be n j a m i n Br o s Tr u e Va l u e
 2.1232 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 3 2 )
                                                                                                                                                     Ha r d w a r e , 1 2 1 N Su m m i t St , Te n a f l y, N J 0 7 6 7 0 - 1 0 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n j a m i n Mo o r e - In . s i d e . o u t Pa i n t Ce n t e r s , 1 0 7 3 1 Al p h a r e t t a
 2.1233 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 3 )
                                                                                                                                                     Hw y, Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n n e t t ' s Pa i n t Of Lo g a n , 1 9 6 2 N Ma i n , No r t h Lo g a n , U T
 2.1234 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 1 )
        nature of the debtor's interest                                                                                                              84341

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n s o n Tr u e Va l u e Bu i l d i n g Ce n t e r , Be n s o n Tr u e Va l u e
 2.1235 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 5 2 )
                                                                                                                                                     Bu i l d i n g Ce n , 5 5 6 N Sa g i n a w St , Po n t i a c , M I 4 8 3 4 2 - 1 4 6 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n s o n Tr u e Va l u e Ha r d w a r e , 1 0 2 S Wo o d y Gu t h r i e St ,
 2.1236 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 0 5 )
                                                                                                                                                     Ok e m a h , O K 7 4 8 5 9 - 4 0 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n t l e y ' s Ha r d w a r e , Be n t l e y ` s Ha r d w a r e , 3 8 1 Ma i n St , So u t h
 2.1237 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 9 0 )
                                                                                                                                                     Sh o r e , K Y 4 1 1 7 5 - 9 5 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Be n t o n v i l l e Tr u e Va l u e , Tb d ( p o s t Of f i c e Ha s No t Is s u e d Ye ,
 2.1238 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 6 )
                                                                                                                                                     1 1 8 0 1 La k e n h e a t h Dr i v e , Be n t o n v i l l e , A R 7 2 7 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be p l a t Ha r d w a r e Tr u e Va l u e , 1 5 0 0 1 Ro o s e v e l t Av e , Fl u s h i n g ,
 2.1239 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 2 3 )
                                                                                                                                                                 NY 11354-4935
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1240 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 55317

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 55317
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 55317
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1243 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 55317
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55317
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be r c o m In c , 2 4 6 0 Ga l p i n Co u r t , Su i t e 1 1 0 , Ch a n h a s s e n , M N
 2.1245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55317
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Be r k o f f - f o x Su p p l y So u r c e , 6 0 0 Ut i c a Av e , Br o o k l y n , N Y
 2.1246 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 4 3 )
                                                                                                                                                                 11203
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be r k s h i r e Ha t h a w a y Sp e c i a l t y In s u r a n c e Co , 1 0 0 Fe d e r a l
 2.1247 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) : 4 7 -
                                                          E M C- 3 2 5 6 9 0 - 0 2                                                                               St r e e t , Bo s t o n , M A 0 2 1 1 0
        nature of the debtor's interest
          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Be r k s h i r e Ha t h a w a y Sp e c i a l t y In s u r a n c e Co , 1 0 0 Fe d e r a l
 2.1248 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) : 4 7 -
                                                                                                                                                                 St r e e t , Bo s t o n , M A 0 2 1 1 0
        nature of the debtor's interest                   E M C- 3 3 2 3 2 4 - 0 1

          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Be r l i n Lu m b e r Co m p a n y, 2 9 8 8 Be r l i n Pl a n k Ro a d , Be r l i n , PA
 2.1249 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 0 1 )
        nature of the debtor's interest                                                                                                                          15530-7006

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r n a l i l l o Fe e d & Co n o c o Se r v i c e In c . , 6 5 6 Ca m i n o De l
 2.1250 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 4 )
                                                                                                                                                                 Pu e b l o , Be r n a l i l l o , N M 8 7 0 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r n a r d Tr u e Va l u e Lb r & Hd w, 2 0 1 S Mi l l e r St , Sw e e t Sp r i n g s ,
 2.1251 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 2 3 )
                                                                                                                                                                 MO 65351-1361
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r n e c k e r ' S Nu r s e r y, In c . , 1 6 9 0 0 Sw 2 1 6 St , Go u l d s , F L 3 3 1 7 0
 2.1252 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be r o c k e t , Ne w Bo u l e v a r d 7 / 3 9 , Zh y t o m y r , Zh y t o m y r s ’ Ka
 2.1253 State what the contract or lease is for and the
                                                          So f t w a r e , Be Ro c k e t Pl u g i n s A J A X Pr o d u c t s Fi l t e r 3
        nature of the debtor's interest                                                                                                                          Ob l a s t 1 0 0 1 4 , Uk r a i n e

          State the term remaining                        12/27/2023 - 12/26/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1254 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1255 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1256 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1257 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1258 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1260 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1261 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1262 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1263 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1264 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1265 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1267 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Gl o b a l , 2 5 Fo r g e Pa r k w a y, Fr a n k l i n , M A 0 2 0 3 8
 2.1269 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1270 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 56444
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 56444
        nature of the debtor's interest
          State the term remaining                        10/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1272 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 56444
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1273 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 56444
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 56444

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1275 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 56444
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1276 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 56444
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 56444
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y Pl a s t i c s Co r p , 1 5 8 3 3 Bl u e b e r r y Hi l l Rd , De e r w o o d , M N
 2.1278 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          56444

          State the term remaining                        08/01/2022 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be r r y Tr u e Va l u e Ha r d w a r e & Lu m b e r , Be r r y Tr u e Va l u e
 2.1279 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 3 9 )
                                                                                                                                                                 Ha r d w a r e An d , 2 0 6 E Ro y a l l Bl v d , Ma l a k o f f , T X 7 5 1 4 8 - 6 2 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y ' s Tr u e Va l u e , Be r r y ` s Tr u e Va l u e , 1 2 0 Hw y 6 5 N, Du m a s ,
 2.1280 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 2 )
        nature of the debtor's interest                                                                                                                          AR 71639-2329

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r r y v i l l e Tr u e Va l u e Ha r d w a r e , 6 0 0 Ea s t Ma i n St , Be r r y v i l l e ,
 2.1281 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 6 1 )
                                                                                                                                                                 VA 2 2 6 1 1 - 1 5 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r w i c k Of f r a y L L C, 2 0 1 5 W Fr o n t St , Po Bo x 4 2 8 , Be r w i c k ,
 2.1282 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 8 6 0 3
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Be r w i c k Of f r a y L L C, 2 0 1 5 W Fr o n t St , Po Bo x 4 2 8 , Be r w i c k ,
 2.1283 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 8 6 0 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r w i c k Of f r a y L L C, 2 0 1 5 W Fr o n t St , Po Bo x 4 2 8 , Be r w i c k ,
 2.1284 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 PA 1 8 6 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be r w y n , 6 3 1 8 Og d e n Av e . , Be r w y n , I L 6 0 4 0 2
 2.1285 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1288 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1289 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1290 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1291 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s s e y To o l s In c , 1 5 5 5 Bi s h o p St N, Un i t 6 , Ca m b r i d g e , O N
 2.1292 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 N1 R 7 J4 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Be s t Be e Br o t h e r s , 1 2 7 4 5 W To w n s e n d St r e e t , Br o o k f i e l d , W I
 2.1293 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53151

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Be s t Bu y s Tr u e Va l u e , 2 2 5 5 8 6 t h St r e e t , Br o o k l y n , N Y 1 1 2 1 4 -
 2.1294 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 6 )
                                                                                                                                                                 4107
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Be s t Ha r d w a r e Tr u e Va l u e , 2 0 3 Bl o u n t St . , Fa y e t t e v i l l e , N C
 2.1295 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 0 )
                                                                                                                                                        28301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Be s t Tr u e Va l u e , 1 3 1 2 N Ma r t i n Lu t h e r Ki n g Hw y, La k e
 2.1296 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 0 )
                                                                                                                                                        Ch a r l e s , L A 7 0 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Be t h e l Fa r m s , Ll l p , 8 7 8 0 Nw Be t h e l Fa r m s Rd , Ar c a d i a , F L
 2.1297 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        34266
        nature of the debtor's interest
          State the term remaining                        06/15/2021

          List the contract number of any government
          contract
                                                                                                                                                        Be t t e r Bi l t Pr o d u c t s In c , 9 0 0 S Ka y Av e , Ad d i s o n , I L 6 0 1 0 1
 2.1298 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                        Be t t e r c l o u d , In c . , 3 3 0 Se v e n t h Av e n u e , 1 4 Th Fl o o r , Ne w Yo r k ,
 2.1299 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Be t t e r Cl o u d Ma s t e r Su b s c r i p t i o n
        nature of the debtor's interest                   Ag r e e m e n t                                                                              NY 10001

          State the term remaining                        03/01/2022 - 02/28/2027

          List the contract number of any government
          contract
                                                                                                                                                        Be y e r s Tr u e Va l u e , W6 1 n 2 7 8 Wa s h i n g t o n Av e , Ce d a r b u r g , W I
 2.1300 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 4 )
                                                                                                                                                        53012
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Be y o n d Pa i n t , 2 6 5 5 Ul m e r t o n Rd , Un i t 1 6 2 , St Pe t e r s b u r g , F L
 2.1301 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        33716
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                        Bf Jo h n s t o n e Su p p l y, 1 3 5 Sc h m i t t Bl v d , Fa r m i n g d a l e , N Y
 2.1302 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 2 )
                                                                                                                                                        11735-1403
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bf s Fa r m & Ho m e , 2 8 Sp r i n g s Rd , Gr a n t s v i l l e , M D 2 1 5 3 6
 2.1303 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi - m a r t , 3 4 0 0 W 1 s t Av e n u e , Eu g e n e , O R 9 7 4 0 2 - 0 0 0 1
 2.1304 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi a Co r d o n Bl e u In c , 1 0 0 En t e r p r i s e Ct , Ga l t , C A 9 5 6 3 2
 2.1305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Bi c Co r p o r a t i o n , 5 0 0 Bi c Dr i v e , Mi l f o r d , C T 0 6 4 6 0
 2.1306 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Bi c k n e l l Bu i l d i n g Sp l y, Po t s d a m Ca n t o n Rd , Po t s d a m , N Y
 2.1307 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 4 5 )
                                                                                                                                                     13676-3586
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi d d e f o r d Ta y l o r Tr u e Va l u e Re n t a l , 6 Co m m e r c i a l St r e e t ,
 2.1308 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 2 )
                                                                                                                                                     Bi d d e f o r d , M E 0 4 0 0 5 - 4 4 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi d f t a . c o m , 8 4 8 5 Br o a d w e l l Ro a d , Ci n c i n n a t i , O H 4 5 2 4 4
 2.1309 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi e b e l ' s Tr u e Va l u e , Bi e b e l ` s Tr u e Va l u e , 5 8 0 Ha r t b r o o k Dr i v e ,
 2.1310 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 1 1 )
                                                                                                                                                     Ha r t l a n d , W I 5 3 0 2 9 - 1 4 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bi g Ar t Gr a p h i c s L L C, 6 2 1 Ma y v i e w Dr , Ch a r l o t t e , N C 2 8 2 0 5
 2.1311 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/29/2010

          List the contract number of any government
          contract
                                                                                                                                                     Bi g Bl u e Ki n s t o n , 7 0 1 N Mc l e w e a n St , Ki n s t o n , N C 2 8 5 0 1 -
 2.1312 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 4 4 )
                                                                                                                                                     4437
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi g Bl u e St o r e Of El i z a b e t h t o w n , 1 7 0 0 Me r c e r Mi l l Rd ,
 2.1313 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 8 )
                                                                                                                                                     El i z a b e t h t o w n , N C 2 8 3 3 7 - 5 6 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi g Bl u e St o r e Tr u e Va l u e , Bi g Bl u e St o r e Of Cl i n t o n , 1 4 9
 2.1314 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 3 7 )
                                                                                                                                                     Ma r t i n Lu t h e r Ki n g Jr Bl v d , Cl i n t o n , N C 2 8 3 2 8 - 4 6 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi g E' s Fe e d & Se e d , 1 5 He r k i m e r St , Fo r t Pl a i n , N Y 1 3 3 3 9
 2.1315 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi g Gr e e n Eg g In c , 3 7 8 6 De k a l b Te c h n o l o g y, At l a n t a , G A
 2.1316 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                     30340
        nature of the debtor's interest
          State the term remaining                        08/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Bi g Jo Tr u e Va l u e Ha r d w a r e , 1 3 1 1 Si l e r Rd , Sa n t a Fe , N M
 2.1317 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 5 2 )
                                                                                                                                                     87507-3151
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bi g Jo h n Pr o d u c t s In c , 8 5 3 3 Ca n o g a Av e n u e , Su i t e D, Ca n o g a
 2.1318 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Pa r k , C A 9 1 3 0 4

          State the term remaining                        07/21/2010

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi g Ro c k Sp o r t s L L C, 1 1 2 4 5 Se Hi g h w a y 2 1 2 , Cl a c k a m a s , O R
 2.1319 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 97015
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ro c k Sp o r t s L L C, 1 1 2 4 5 Se Hi g h w a y 2 1 2 , Cl a c k a m a s , O R
 2.1320 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 97015

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ro c k Sp o r t s L L C, 1 1 2 4 5 Se Hi g h w a y 2 1 2 , Cl a c k a m a s , O R
 2.1321 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 97015
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1322 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1323 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1324 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k , O H 4 5 2 4 0

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1325 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1326 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1327 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1328 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1329 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1330 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1332 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1333 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1335 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1338 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k , O H 4 5 2 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi g Ti m e Pr o d u c t s L L C, 1 2 8 0 Ke m p e r Me a d o w Dr i v e , Fo r e s t
 2.1339 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k , O H 4 5 2 4 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi l - Ja x , 1 2 5 Ta y l o r Pa r k w a y, Ar c h b o l d , O H 4 3 5 0 2
 2.1340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Bi l l Na p l e t o n Na t i o n a l Fl e e t Sa l e s , 1 0 4 0 0 W Hi g g i n s Rd , Su i t e
 2.1341 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 5 , Ro s e m o n t , I L 6 0 0 1 8
        nature of the debtor's interest
          State the term remaining                        04/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Bi l l m a n ' s Tr u e Va l u e Ha r d w a r e , Bi l l m a n ` s Tr u e Va l u e
 2.1342 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 0 4 )
                                                                                                                                                                 Ha r d w a r e , 1 3 3 W Ra i l r o a d St , Cu t Ba n k , M T 5 9 4 2 7 - 2 9 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi l l y Bo b Te e t h , In c , 6 7 9 St a t e Hw y 1 0 0 , Ha r d i n , I L 6 2 0 4 7
 2.1343 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Bi l l y Go a t In d . In c . , 1 8 0 3 Sw Je f f e r s o n , Le e ' S Su m m i t , M O
 2.1344 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 64063
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bi n c l a w In c . , 6 7 6 Ba l l i o l St , To r o n t o , O N M4 S 1 E7 , Ca n a d a
 2.1345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Bi n g h a m t o n Ag w a y, 1 4 5 Br o a d Av e , Bi n g h a m t o n , N Y 1 3 9 0 4 -
 2.1346 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 4 )
                                                                                                                                                                 1054
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi o Cl e a n Pr o d u c t s , 4 0 8 3 La s Pa s a s Wa y, Sa c r a m e n t o , C A
 2.1347 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95864
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Bi o Cl e a n Pr o d u c t s , 4 0 8 3 La s Pa s a s Wa y, Sa c r a m e n t o , C A
 2.1348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 95864
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bi o l i t e In c , 6 5 Ja y St , 4 Th Fl o o r , Br o o k l y n , N Y 1 1 2 0 1
 2.1349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi o n i c Pr o d u c t s o f Am e r i c a , 3 0 3 0 Co m m e r c i a l Av e ,
 2.1350 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 No r t h b r o o k , I L 6 0 0 6 2
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi o z Ag r i Pr o d u c t s In c , Bi o z Ag r i Pr o d u c t s , In c . , Rr # 1 , S. 4 0 ,
 2.1351 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          C. 1 7 , Ol i v e r , B C V0 H 1 T0 , Ca n a d a

          State the term remaining                        07/31/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bi r c h w o o d Tr u e Va l u e , 1 0 1 S Ma i n St , Bi r c h w o o d , W I 5 4 8 1 7
 2.1352 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1353 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1354 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1355 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1356 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1357 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1358 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1359 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1360 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d B Go n e In c , Po Bo x 1 1 2 0 9 , Sa n t a An a , C A 9 2 7 1 1
 2.1361 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d Br a i n In c , 5 2 Ea s t Cr o s s St r e e t , Yp s i l a n t i , M I 4 8 1 9 7
 2.1362 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d Br a i n , In c . , 5 2 E Cr o s s St r e e t , Yp s i l a n t i , M I 4 8 1 9 8
 2.1363 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d - X, 3 0 0 N Oa k l e y Bl v d , Ch i c a g o , I L 6 0 6 1 2
 2.1364 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Bi r d o l a Pr o d u c t s , 1 6 5 0 Br o a d w a y N W, Gr a n d Ra p i d s , M I
 2.1365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49504
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s c o , 5 4 5 N Cl o v e r d a l e , Bo i s e , I D 8 3 7 1 3 - 8 9 1 2
 2.1366 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 1 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi s c o - Id a h o Fa l l s , 5 1 5 So u t h Ut a h Av e , Id a h o Fa l l s , I D
 2.1367 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 8 9 )
                                                                                                                                                                 83402-3379
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi s c o - Or e m , 4 5 S 1 5 0 0 We s t , Or e m , U T 8 4 0 5 8 - 5 1 3 2
 2.1368 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s Lu m b e r Co In c , 5 2 3 So m e r s e t Av e , Ta u n t o n , M A 0 2 7 8 0 -
 2.1369 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 6 3 )
                                                                                                                                                                 4862
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1370 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1371 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest
          State the term remaining                        04/01/2024 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1372 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1373 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1374 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Ho m e c a r e In t ' l , Bi s s e l l Ho m e c a r e In t e r n a t i o n a l , 2 3 4 5
 2.1376 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s s e l l Re n t a l L L C, 2 3 4 5 Wa l k e r Av e Nw, Gr a n d Ra p i d s , M I
 2.1377 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49544
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Bi s t r o Sy s t e m s L L C, 6 4 0 5 1 0 1 St Av e No r t h , Br o o k l y n Pa r k ,
 2.1378 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MN 55445

          State the term remaining                        04/09/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Bi t e Li t e L L C, Bi t e Li t e L L C, 2 1 1 Gr e e n w o o d Av e , Bl d g 2 - 2
 2.1379 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su i t e 1 0 2 , Be t h e l , C T 0 6 8 0 1
        nature of the debtor's interest
          State the term remaining                        09/10/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & Co Tr u e Va l u e Hd w e , 2 5 3 4 Lo c u s t St r e e t , Qu i n c y, I L
 2.1380 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 1 3 )
                                                                                                                                                                 62301-3328
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r , 4 1 4 0 Sw 2 8 Th Wa y, Ft La u d e r d a l e , F L 3 3 3 1 2
 2.1381 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r , 4 1 4 0 Sw 2 8 Th Wa y, Ft La u d e r d a l e , F L 3 3 3 1 2
 2.1382 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl a c k & De c k e r , 4 1 4 0 Sw 2 8 Th Wa y, Ft La u d e r d a l e , F L 3 3 3 1 2
 2.1383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r , 4 1 4 0 Sw 2 8 Th Wa y, Ft La u d e r d a l e , F L 3 3 3 1 2
 2.1384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r , 4 1 4 0 Sw 2 8 Th Wa y, Ft La u d e r d a l e , F L 3 3 3 1 2
 2.1385 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1386 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 21031
        nature of the debtor's interest
          State the term remaining                        11/10/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1387 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 21031

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1388 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 21031
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1389 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 21031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1390 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 21031

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 21031
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 21031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 21031

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1394 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 21031
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1395 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 21031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1396 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 21031

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g Ro a d , Hu n t Va l l e y, M D
 2.1397 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 21031
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k Di a m o n d Ch a r w o o d , 2 7 Gl e n Rd , Ne w t o w n , C T 0 6 4 8 2
 2.1398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl a c k Di a m o n d Ch a r w o o d , 2 7 Gl e n Rd , Ne w t o w n , C T 0 6 4 8 2
 2.1399 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k Di a m o n d Ch a r w o o d , 2 7 Gl e n Rd , Ne w t o w n , C T 0 6 4 8 2
 2.1400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k Go l d Co m p o s t Co , Po Bo x 1 9 0 , Ox f o r d , F L 3 4 4 8 4
 2.1401 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k Ri f l e Co f f e e Co m p a n y, 1 1 4 4 5 0 0 W, Sa l t La k e Ci t y, U T
 2.1402 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          84101

          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k l i n e , 2 1 3 0 0 Vi c t o r y Bl v d . , 1 2 Th Fl o o r , Wo o d l a n d Hi l l s ,
 2.1403 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Bl a c k l i n e M S A
                                                                                                                                                                 CA 91367
        nature of the debtor's interest
          State the term remaining                        08/22/2022 - 08/21/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k s b u r g Tr u e Va l u e , 1 4 6 0 S Ma i n St r e e t , Bl a c k s b u r g , VA
 2.1404 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 9 )
        nature of the debtor's interest                                                                                                                          24060-5567

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a c k w e l l Tr u e Va l u e Ha r d w a r e St o r e & Bu i l d i n g Su p , 1 2 7 9
 2.1405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 8 )
        nature of the debtor's interest                                                                                                                          Ye a m a n ' s Ha l l Rd , Ha n a h a n , S C 2 9 4 1 0 - 2 7 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a d e s & Wi l l i a m s Li m i t e d , Tw e e d s i d e Ro a d , St Mi c h a e l ,
 2.1406 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 8 2 )
        nature of the debtor's interest                                                                                                                          Ba r b a d o s

          State the term remaining
          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl a k e s Tr u e Va l u e Hd w e , 1 7 0 1 Ri v e r s i d e Av e , Pa s o Ro b l e s , C A
 2.1407 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 1 8 )
                                                                                                                                                                 93446-1747
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a k l a d e r L L C, 6 3 1 1 Po r t e r Rd , Un i t 1 , Sa r a s o t a , F L 3 4 2 4 0
 2.1408 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a s t e r Ch e m i c a l Co m p a n y, 8 5 0 0 Sw e e t Va l l e y Dr i v e , Va l l e y
 2.1409 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Vi e w, O H 4 4 1 2 5
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a s t e r Ch e m i c a l Co m p a n y, 8 5 0 0 Sw e e t Va l l e y Dr i v e , Va l l e y
 2.1410 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Vi e w, O H 4 4 1 2 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl a s t e r Ch e m i c a l Co m p a n y, 8 5 0 0 Sw e e t Va l l e y Dr i v e , Va l l e y
 2.1411 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Vi e w, O H 4 4 1 2 5

          State the term remaining                        02/20/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bl a s t e r Ch e m i c a l Co m p a n y, 8 5 0 0 Sw e e t Va l l e y Dr i v e , Va l l e y
 2.1412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Vi e w, O H 4 4 1 2 5

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Bl i t z U S A, Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.1413 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Bl o c k h o u s e Ba r r i e r Sy s t e m s , 3 2 8 5 Fa r m t r a i l Rd , Yo r k , PA
 2.1414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 17406
        nature of the debtor's interest
          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1416 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1417 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1418 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1421 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1422 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Bl o e m L L C, Po Bo x 5 8 3 , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.1425 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Bl o n d e r Co m p a n y, Th e , 3 9 5 0 Pr o s p e c t Av e , Cl e v e l a n d , O H
 2.1426 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44115
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Bl o o m Pa d No r t h Am e r i c a , 9 0 Gr a c e Dr i v e , Su i t e B, Po w e l l ,
 2.1427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     OH 43065
        nature of the debtor's interest
          State the term remaining                        09/14/2015

          List the contract number of any government
          contract
                                                                                                                                                     Bl o o m e r s Ed u t a i n m e n t L L C, 2 3 0 Gr e a t Ci r c l e Rd , Su i t e 2 0 0 ,
 2.1428 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Na s h v i l l e , T N 3 7 2 2 8

          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Bl o o m f i e l d Tr u e Va l u e , 2 1 1 We a v e r Ro a d , Bl o o m f i e l d , I A
 2.1429 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 5 )
                                                                                                                                                     52537-8185
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl o o m i n g t o n Ha r d w a r e , Bl o o m i n g t o n Tr u e Va l u e Hd w e , 2 7 0 0 E
 2.1430 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 3 7 3 )
                                                                                                                                                     Co v e n a n t e r Dr , Bl o o m i n g t o n , I N 4 7 4 0 1 - 5 4 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bl o o m i n g v i l l e Us , 6 0 0 0 Fr e e p o r t Av e , Su i t e 1 0 1 , Me m p h i s , T N
 2.1431 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              38141

          State the term remaining                        05/08/2019

          List the contract number of any government
          contract
                                                                                                                                                     Bl o s s Ha r d w a r e , 2 1 8 Ma i n St r e e t , Bl o s s b u r g , PA 1 6 9 1 2 - 0 0 0 1
 2.1432 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl o s s o m Tr u e Va l u e Ha r d w a r e , 1 2 9 7 W El Ca m i n o Re a l ,
 2.1433 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 5 5 )
        nature of the debtor's interest                                                                                                              Mo u n t a i n Vi e w, C A 9 4 0 4 0 - 2 4 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u b a n d o o In c , Po Bo x 7 4 4 4 5 , Sa n Cl e m e n t e , C A 9 2 6 7 3
 2.1434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/25/2009

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Be l l Tr u e Va l u e ( # 1 9 6 ) , Bl u e Be l l Tr u e Va l u e 1 9 6 , 1 7 2 6
 2.1435 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 4 )
                                                                                                                                                     De k a l b Pi k e , Bl u e Be l l , PA 1 9 4 2 2 - 3 3 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u e La n c e , 4 1 0 Pi e r c e St , Ho u s t o n , T X 7 7 0 0 2
 2.1436 State what the contract or lease is for and the   So f t w a r e , Bl u e La n c e LT A U D I T O R So f t w a r e Li c e n s e
        nature of the debtor's interest                   Ag r e e m e n t Re n e w a l 2 0 2 4

          State the term remaining                        02/22/2024 - 02/21/2025

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              CA 95215

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1438 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     CA 95215
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 95215

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 95215

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 95215
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1442 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 95215
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ma g i c In c , Po Bo x 4 1 7 5 , 4 4 4 5 E Fr e e m o n t St , St o c k t o n ,
 2.1443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CA 95215

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Mo u n t a i n Ar t s In c , Po Bo x 4 5 4 9 , 2 9 0 5 Wi l d e r n e s s Pl a c e ,
 2.1444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo u l d e r , C O 8 0 3 0 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Pl a n e t Ea r t h , 5 5 Me r c h a n t St , Ho n o l u l u , H I 9 6 8 1 3
 2.1445 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Bl u e Pl a n e t Ea r t h Wo o d l a n d
        nature of the debtor's interest                   L E D Re p l a c e m e n t Ag r e e m e n t

          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Q, 1 0 3 Ha w t h o r n e Av e , Pi t t s f i e l d , M A 0 1 2 0 1
 2.1446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl u e Rh i n o Co r p o r a t i o n , 5 6 2 0 Un i v e r s i t y Pa r k w a y, Su i t e 3 0 0 ,
 2.1447 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Wi n s t o n Sa l e m , N C 2 7 1 0 5
        nature of the debtor's interest
          State the term remaining                        02/04/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g , 1 0 Hu b Dr i v e , Su i t e 1 0 1 ,
 2.1448 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Me l v i l l e , N Y 1 1 7 4 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g , 1 0 Hu b Dr i v e , Su i t e 1 0 1 ,
 2.1449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Me l v i l l e , N Y 1 1 7 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g , 1 0 Hu b Dr i v e , Su i t e 1 0 1 ,
 2.1450 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Me l v i l l e , N Y 1 1 7 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g , 1 0 Hu b Dr i v e , Su i t e 1 0 1 ,
 2.1451 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Me l v i l l e , N Y 1 1 7 4 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g , 1 0 Hu b Dr i v e , Su i t e 1 0 1 ,
 2.1452 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Me l v i l l e , N Y 1 1 7 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Rh i n o Gl o b a l So u r c i n g In c , 4 7 0 W Ha n e s Mi l l Rd , Su i t e
 2.1453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 2 0 0 , Wi n s t o n - Sa l e m , N C 2 7 1 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ri b b o n Pr o d u c t s In c , Po Bo x 7 8 1 0 4 3 , In d i a n a p o l i s , I N
 2.1454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46278
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bl u e Ri b b o n Pr o d u c t s In c , Po Bo x 7 8 1 0 4 3 , In d i a n a p o l i s , I N
 2.1455 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 46278

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ri d g e Bu i l d e r s Su p p l y, 5 2 2 1 Ro c k f i s h Ga p Tu r n p i k e ,
 2.1456 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 2 )
                                                                                                                                                                 Ch a r l o t t e s v i l l e , VA 2 2 9 0 3 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ri d g e Fi s h Ha t c h e r y In c , 4 5 3 6 Ke r n e r s v i l l e Rd ,
 2.1457 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Ri v e r Fa r m Su p p l y In c . , 1 4 4 8 5 Gr e e n e St Ne , Pa l m y r a , I N
 2.1458 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 2 )
        nature of the debtor's interest                                                                                                                          47164

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Se a l Bo w, 5 2 0 Ha l l St , Bo w, N H 0 3 3 0 4
 2.1459 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Se a l Br a t t l e b o r o , 1 2 7 7 Pu t n e y Rd , Br a t t l e b o r o , N H 0 5 3 0 1
 2.1460 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Se a l Hi l l s b o r o , 1 9 1 He n n i k e r St , Hi l l s b o r o , N H 0 3 2 4 4
 2.1461 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bl u e Se a l Ke e n e , 8 0 Ma r t e l l Ct , Ke e n e , N H 0 3 4 3 1
 2.1462 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bl u e Se a l Mi l f o r d - We s t , Bl u e Se a l Mi l f o r d We s t , 3 5 1 El m
 2.1463 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 1 )
                                                                                                                                                     St r e e t , Mi l f o r d , N H 0 3 0 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Se a l Mi l f o r d Mi l f o r d , Bl u e Se a l Mi l f o r d , 2 7 4 El m St ,
 2.1464 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 2 )
        nature of the debtor's interest                                                                                                              Mi l f o r d , N H 0 3 0 5 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Se a l Pe t e r b o r o u g h , 6 5 Ja f f e r y Rd , Pe t e r b o r o u g h , N H
 2.1465 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 7 )
                                                                                                                                                     03458
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Se a l Wa l p o l e , 3 3 4 Ma i n St , Wa l p o l e , N H 0 3 6 0 8
 2.1466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Sk y Cl a y w o r k s , 1 2 2 8 5 Co l o n y Av e , Ch i n o , C A 9 1 7 1 0
 2.1467 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1468 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Bl u e Yo n d e r M S A Am e n d m e n t
                                                          Ma i n t e n a n c e                                                                       Sc o t t s d a l e , A Z 8 5 2 5 4
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1469 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , J D A So f t w a r e - 2 0 1 3 S O W
        nature of the debtor's interest                                                                                                              Sc o t t s d a l e , A Z 8 5 2 5 4

          State the term remaining                        09/23/2002 - 09/22/2052

          List the contract number of any government
          contract
                                                                                                                                                     Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1470 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , J D A So f t w a r e - 2 0 1 3 S O W
        nature of the debtor's interest                                                                                                              Sc o t t s d a l e , A Z 8 5 2 5 4

          State the term remaining                        09/23/2002 - 09/22/2052

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1471 State what the contract or lease is for and the
                                                          Sa a S, Bl u e Yo n d e r Pl a n o g r a m Sp a c e Pl a n n i n g Cl o u d Sa a S
                                                          Pl a t f o r m Su b s c r i p t i o n                                                                 Sc o t t s d a l e , A Z 8 5 2 5 4
        nature of the debtor's interest
          State the term remaining                        04/01/2023 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1472 State what the contract or lease is for and the   Sa a S, Bl u e Yo n d e r Ma s t e r S A A S A N D P R O F E S S I O N A L
                                                                                                                                                                Sc o t t s d a l e , A Z 8 5 2 5 4
        nature of the debtor's interest                   SERVICES AGREEMENT

          State the term remaining                        04/01/2023 - 03/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1473 State what the contract or lease is for and the
                                                          So f t w a r e , J D A So f t w a r e , In c In i t i a l So f t w a r e a n d Ma i n t e n a n c e
        nature of the debtor's interest                   Sc h e d u l e                                                                                        Sc o t t s d a l e , A Z 8 5 2 5 4

          State the term remaining                        09/23/2002 - 09/22/2052

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1474 State what the contract or lease is for and the
                                                          So f t w a r e , Bl u e Yo n d e r / J D A An n u a l Ma i n t e n a n c e Re n e w a l 2 0 2 4
                                                                                                                                                                Sc o t t s d a l e , A Z 8 5 2 5 4
        nature of the debtor's interest
          State the term remaining                        01/26/2024 - 01/25/2025

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e Yo n d e r , In c . , 1 5 0 5 9 N. Sc o t t s d a l e Rd , Su i t e 4 0 0 ,
 2.1475 State what the contract or lease is for and the
                                                          So f t w a r e , Pu r c h a s e o f E3 Sy s t e m ( J D A So f t w a r e Gr o u p , In c . )
        nature of the debtor's interest                                                                                                                         Sc o t t s d a l e , A Z 8 5 2 5 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Bl u e b i r d Tu r f Pr o d u c t s , 6 8 S Sq u i r r e l Rd , Au b u r n Hi l l s , M I
 2.1476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                         48326

          State the term remaining                        04/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e l i n x Co r p o r a t i o n , 1 9 5 0 Sp e c t r u m Ci r c l e , Ma r i e t t a , G A
 2.1477 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                         30067

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                Bl u e m k e s Hd w e , Bl u e m k e s Tr u e Va l u e Hd w e , 1 0 1 W Di v i s i o n
 2.1478 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 6 )
        nature of the debtor's interest                                                                                                                         St , Ro s e n d a l e , W I 5 4 9 7 4 - 9 8 0 0

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Bl u e s Ho g , L L C, 4 7 7 Ww In d u s t r i a l Pa r k Dr i v e , Wa s h i n g t o n ,
 2.1479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                  MO 63090

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Bl u e s Ho g , L L C, 4 7 7 Ww In d u s t r i a l Pa r k Dr i v e , Wa s h i n g t o n ,
 2.1480 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                  MO 63090
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                  Bl u f i x x 3 D Sy s t e m s , 4 6 4 N Ve n t u r a Av e , Ve n t u r a , C A 9 3 0 0 1
 2.1481 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/25/2018

          List the contract number of any government
          contract
                                                                                                                                                                  Bl u m e n g a r t e n Gr e e n h o u s e s In c , 3 1 0 S Gr e e n a c r e s Rd ,
 2.1482 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           Gr e e n a c r e s , WA 9 9 0 1 6

          State the term remaining                        02/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                  Bl u m e n t h a l Br a n d s In t e g r a t e d , 6 0 0 Ra d i a t o r Rd , In d i a n Tr a i l ,
 2.1483 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           NC 28079

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                  Bl u m e n t h a l Br a n d s In t e g r a t e d , 6 0 0 Ra d i a t o r Rd , In d i a n Tr a i l ,
 2.1484 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           NC 28079

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                  Bm c So f t w a r e , 2 1 0 1 Ci t y We s t Bl v d . , Ho u s t o n , T X 7 7 0 4 2
 2.1485 State what the contract or lease is for and the
                                                          So f t w a r e , B M C Tr a c k i t Re n e w a l 2 0 2 3
        nature of the debtor's interest
          State the term remaining                        12/04/2023 - 12/03/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1486 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Ma t e r i a l Ha n d l i n g Eq u i p m e n t f r o m As s o c i a t e d
                                                                                                                                                                  Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest                   (CER 2017-50-001) in the amount of $155,550.90

          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1487 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , M H E e q u i p m e n t ( p a r t o f C E R 2 0 1 7 - 5 0 - 0 0 4 )
                                                                                                                                                               Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest                   in the amount of $534,196.24

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1488 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ma t e r i a l Ha n d l i n g Eq u i p m e n t ( C E R 2 0 1 7 - 5 0 -
        nature of the debtor's interest                   001) in the amount of $400,341.08                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        11/15/2017 - 11/14/2024

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1489 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Va r i o u s Ma t e r i a l Ha n d l i n g Eq u i p m e n t ( Pa r t 2
                                                          of CER 2018-50-004) in the amount of $760,017.28                                                     Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1490 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                                        Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1491 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                                               Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1492 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                                               Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1493 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                                        Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                               Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1494 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                                               Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1495 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1496 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1497 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1498 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1499 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1500 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1501 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1502 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1503 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1504 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1505 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1506 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1507 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1508 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1509 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/01/2018 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                           Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1510 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/01/2018 - 09/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1511 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        10/01/2018 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1512 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1513 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1514 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1515 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1516 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1517 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                    Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1518 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1519 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                                     Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                                     Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1520 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                              Mi l w a u k e e , W I 5 3 2 0 2

          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                                     Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1521 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                                     Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                                     Bm o Ha r r i s Eq u i p m e n t Fi n a n c e , 7 7 0 N. Wa t e r St r e e t ,
 2.1522 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                                     Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/08/2019 - 10/07/2027

          List the contract number of any government
          contract
                                                                                                                                                     Bm p Am e r i c a In c , 1 1 6 2 5 Ma p l e Ri d g e Ro a d , Me d i n a , N Y
 2.1523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              14103

          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Bn c Lo g i s t i c s & Se r v i c e s L L C, Po Bo x 5 1 0 9 2 4 , Pu n t a Go r d a ,
 2.1524 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     FL 33951
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Bo b ' s Tr u e Va l u e , Bo b ` s Tr u e Va l u e , 1 6 0 1 Pl u m Cr e e k Pa r k w a y,
 2.1525 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 7 1 )
                                                                                                                                                     Le x i n g t o n , N E 6 8 8 5 0 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo b ' s Va r i e t y, Co a s t To Co a s t , 1 3 5 8 3 W Ca m i n o De l So l , Su n
 2.1526 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 8 )
        nature of the debtor's interest                                                                                                              Ci t y We s t , A Z 8 5 3 7 5 - 4 4 1 6

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo b b i Pa n t e r Pe t Pr o d u c t s , 3 3 1 9 N El s t o n Av e , Ch i c a g o , I L
 2.1527 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60618
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo b b i Pa n t e r Pe t Pr o d u c t s , 3 3 1 9 N El s t o n Av e , Ch i c a g o , I L
 2.1528 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60618
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo b c a t Co m p a n y, 2 5 0 E Be a t o n Dr i v e , We s t Fa r g o , N D 5 8 0 7 8
 2.1529 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bo b s Ga r d e n Ce n t e r H& g s , 6 6 1 0 Bl a c k Ho r s e Pi k e , Eg g Ha r b o r
 2.1530 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 8 7 )
                                                                                                                                                                 To w n s h i p , N J 0 8 2 3 4 - 4 5 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo b s Hd w e , Bo b s Tr u e Va l u e Hd w e , 1 1 1 1 Hu d s o n St ,
 2.1531 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 1 3 7 )
                                                                                                                                                                 Lo n g v i e w, WA 9 8 6 3 2 - 3 1 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo b s Tr u e Va l u e , 1 2 5 W Al l e g a n St . , Ot s e g o , M I 4 9 0 7 8
 2.1532 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo b s Tr u e Va l u e Ha r d w a r e , 4 8 0 5 S Sa l i n a St , Sy r a c u s e , N Y
 2.1533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 8 1 )
                                                                                                                                                                 13205-2704
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo c h s l e r Tr u e Va l u e Hd w e , 1 1 5 E Ch a r l e s St , Mo u n t An g e l , O R
 2.1534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 5 6 )
        nature of the debtor's interest                                                                                                                          97362-9633

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo d u m , In c . , Bo d u m , In c , 6 0 1 W 2 6 Th St , 1 2 5 0 , Ne w Yo r k ,
 2.1535 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 10001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo e Me d i a Ll c , 4 6 We s t Ta y l o r Av e , Ha m i l t o n , N J 0 8 6 1 0
 2.1536 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo j o b o L L C, Po Bo x 8 3 6 , Pr o s p e r , T X 7 5 0 7 8
 2.1537 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Bo j o b o L L C, Po Bo x 8 3 6 , Pr o s p e r , T X 7 5 0 7 8
 2.1538 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo j o b o L L C, Po Bo x 8 3 6 , Pr o s p e r , T X 7 5 0 7 8
 2.1539 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo l e m a Tr u e Va l u e Bu i l d i n g Su p p l i e s , Bo l e m a Tr u e Va l u e
 2.1540 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 2 )
        nature of the debtor's interest                                                                                                                          Bu i l d i n g Su p , 1 2 3 0 E La k e t o n Av e , Mu s k e g o n , M I 4 9 4 4 2 - 6 0 5 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo l s t e r Am e r i c a In c , P. O. Bo x 8 4 1 , Fo r t Fa i r f i e l d , M E 0 4 7 4 2
 2.1541 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bo m g a a r s , 1 8 0 5 Ze n i t h Dr. , Si o u x Ci t y, I A 5 1 1 0 3
 2.1542 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo m g a a r s # 9 9 4 , Bo m g a a r s 9 9 4 , 1 5 1 5 Om a r Br a d l e y Dr. ,
 2.1543 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 0 )
                                                                                                                                                                 Mo b e r l y, M O 6 5 2 7 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n To o l Co , 4 4 3 0 Gi b s o n i a Ro a d , Gi b s o n i a , PA 1 5 0 4 4
 2.1544 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n a Ke m i Us a In c , 2 4 In v e r n e s s Pl a c e E, Su i t e 1 0 0 ,
 2.1545 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 En g l e w o o d , C O 8 0 1 1 2
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n a Ke m i Us a In c , 2 4 In v e r n e s s Pl a c e E, Su i t e 1 0 0 ,
 2.1546 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 En g l e w o o d , C O 8 0 1 1 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n a Ke m i Us a In c , 2 4 In v e r n e s s Pl a c e E, Su i t e 1 0 0 ,
 2.1547 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          En g l e w o o d , C O 8 0 1 1 2

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n a Ke m i Us a In c , 2 4 In v e r n e s s Pl a c e E, Su i t e 1 0 0 ,
 2.1548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 En g l e w o o d , C O 8 0 1 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n a Ke m i Us a In c , 2 4 In v e r n e s s Pl a c e E, Su i t e 1 0 0 ,
 2.1549 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          En g l e w o o d , C O 8 0 1 1 2

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e Ro b e r t s Ci r , Su i t e H3 ,
 2.1550 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 An t i o c h , C A 9 4 5 0 9
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e Ro b e r t s Ci r , Su i t e H3 ,
 2.1551 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 An t i o c h , C A 9 4 5 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e Ro b e r t s Ci r , Su i t e H3 ,
 2.1552 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 An t i o c h , C A 9 4 5 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e Ro b e r t s Ci r , Su i t e H3 ,
 2.1553 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 An t i o c h , C A 9 4 5 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co m p a n y, 1 7 0 0 W 4 Th St , An t i o c h , C A
 2.1554 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          94509

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Ma n u f a c t u r i n g Co m p a n y, 1 7 0 0 W 4 Th St , An t i o c h , C A
 2.1555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 94509

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Mf g Co m p a n y, Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e
 2.1556 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ro b e r t s Ci r , Su i t e H3 , An t i o c h , C A 9 4 5 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d Mf g Co m p a n y, Bo n d Ma n u f a c t u r i n g Co , 2 5 1 6 We r n e
 2.1557 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro b e r t s Ci r , Su i t e H3 , An t i o c h , C A 9 4 5 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n d h u s Co r p o r a t i o n , 1 4 0 0 E Br o a d w a y, Po Bo x 6 6 0 ,
 2.1558 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mo n t i c e l l o , M N 5 5 3 6 2

          State the term remaining                        09/01/2011

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo n e c o No r t h Am e r i c a Co r p , 1 8 0 1 N Mi l l St , Su i t e A,
 2.1559 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n f i r e Pr o d u c t i o n Co r p , 2 0 0 0 A S Gr o v e Av e , Su i t e 1 0 5 ,
 2.1560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest
          State the term remaining                        06/23/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n h a m Bu i l d i n g Su p p l y, 2 4 3 0 N Ce n t e r St , Bo n h a m , T X
 2.1561 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 9 1 )
        nature of the debtor's interest                                                                                                                          75418-2131

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1562 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1563 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1564 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1565 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1566 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1567 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1570 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1572 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1574 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1578 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1579 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1581 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1582 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1584 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1585 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1587 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1588 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n i d e Pr o d u c t s In c , 6 3 0 1 Su t l i f f Rd , Or i s k a n y, N Y 1 3 4 2 4
 2.1589 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bo n n i e Pl a n t s In c , 1 7 2 7 Hw y 2 2 3 , Un i o n Sp r i n g s , A L 3 6 0 8 9
 2.1590 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/21/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bo o k c l i f f Ga r d e n s , 7 5 5 2 6 Ro a d , Gr a n d Ju n c t i o n , C O 8 1 5 0 6 -
 2.1591 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 5 )
        nature of the debtor's interest                                                                                                              1432

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo o k c l i f f Sa l e s , 2 0 2 8 Su n s e t Dr , Ro c k Sp r i n g s , W Y 8 2 9 0 1 -
 2.1592 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 2 )
                                                                                                                                                     7027
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo o k c l i f f Sa l e s In c . In d u s e r v e , Bo o k c l i f f Sa l e s In c In d u s e r v e ,
 2.1593 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 4 8 )
                                                                                                                                                     4 2 So u t h Ca r b o n Av e , Pr i c e , U T 8 4 5 0 1 - 2 8 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo o n e Pa i n t & In t e r i o r s In c . , 1 8 5 2 Hi g h w a y 1 0 5 St e 1 , Bo o n e ,
 2.1594 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 0 )
        nature of the debtor's interest                                                                                                              NC 28607

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo o t j a c k Lu m b e r & Su p p l y, 3 8 8 3 Hi g h w a y 4 9 S, Ma r i p o s a , C A
 2.1595 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 4 4 )
                                                                                                                                                     95338-9714
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo o t z In d u s t r i e s , 1 4 0 0 Pa r k St , Ev a n s v i l l e , I N 4 7 7 1 9
 2.1596 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Bo o t z In d u s t r i e s , 1 4 0 0 Pa r k St , Ev a n s v i l l e , I N 4 7 7 1 9
 2.1597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Bo o t z In d u s t r i e s , 1 4 0 0 Pa r k St , Ev a n s v i l l e , I N 4 7 7 1 9
 2.1598 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1599 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28226
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1600 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 28226

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 28226
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1602 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 28226
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1603 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 28226

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo r d e r Co n c e p t s , 7 6 2 1 Li t t l e Av e , Su i t e 4 2 6 , Ch a r l o t t e , N C
 2.1604 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28226
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s c h Au t o m o t i v e Se r v i c e So l u t i o n s , 1 4 0 4 8 Pe t r o n e l l Dr i v e ,
 2.1605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Li b e r t y v i l l e , I L 6 0 0 4 8

          State the term remaining                        07/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s c h Th e r m o t e c h n o l o g y Co r p o r a t i o n , P. O. Bo x 7 4 1 0 3 9 3 ,
 2.1606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch i c a g o , I L 6 0 6 7 4

          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo s m e r e In c . , Po Bo x 2 2 6 7 , Sa l i s b u r y, N C 2 8 1 4 5
 2.1607 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s q u e Pr o d u c t s L L C, 4 3 0 0 W Wa c o Dr , Su i t e B2 - 3 0 5 , Wa c o ,
 2.1608 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TX 76710
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s s Mf g Co m p a n y, 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.1609 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s s Mf g Co m p a n y, 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.1610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s s Mf g Co m p a n y, 1 2 2 1 Pa g e St , Ke w a n e e , I L 6 1 4 4 3
 2.1611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo s s Pe t Pr o d u c t s , Po Bo x 2 5 6 2 9 , Ga r f i e l d He i g h t , O H 4 4 1 2 5
 2.1612 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Bo s t o n Rd Bu i l d i n g Ma t e r i a l s In c , 2 9 4 1 Bo s t o n Ro a d , Br o n x ,
 2.1613 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 5 )
        nature of the debtor's interest                                                                                                                          NY 10469

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bo s t w i c k Tr u e Va l u e Hd w e , 1 5 5 Ce n t e r St , El m e r , N J 0 8 3 1 8 -
 2.1614 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 5 3 )
        nature of the debtor's interest                                                                                                                          2262

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bo t a n i c a l In t e r e s t s , In c . , 6 6 0 Co m p t o n St r e e t , Br o o m f i e l d , C O
 2.1615 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              80020

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Bo t a n y La n e Gr e e n h o u s e , 1 6 6 1 E 7 7 Th Av e , De n v e r , C O 8 0 2 2 9
 2.1616 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/30/2017

          List the contract number of any government
          contract
                                                                                                                                                     Bo u g a i n v i l l e a Gr o w e r s In t ' l , Bo u g a i n v i l l e a Gr o w e r s
 2.1617 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     In t e r n a t i o n a l , 7 4 0 1 St r i n g f e l l o w Rd , St Ja m e s Ci t y, F L 3 3 9 5 6
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Bo u l d e r In n o v a t i o n s , Po Bo x 3 1 9 , 3 7 8 E 3 0 0 So u t h , Bi c k n e l l ,
 2.1618 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              UT 84715

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Bo u r b o n Tr u e Va l u e , 1 4 0 W Pi n e St , Bo u r b o n , M O 6 5 4 4 1
 2.1619 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo u r g e t Br o s . Bu i l d i n g Ma t e r i a l s , Bo u r g e t Br o s Bu i l d i n g
 2.1620 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 3 1 )
        nature of the debtor's interest                                                                                                              Ma t e r i a l s , 1 6 3 6 1 1 t h St , Sa n t a Mo n i c a , C A 9 0 4 0 4 - 3 7 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bo v e n s Qu a l i t y Pl a n t s In c , 8 5 0 0 Ea s t H Av e , Ka l a m a z o o , M I
 2.1621 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     49048
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Bo x El d e r Tr u e Va l u e , 5 4 0 N El l s w o r t h Ro a d , P. o . Bo x 1 0 7 5 ,
 2.1622 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 2 )
                                                                                                                                                     Bo x El d e r , S D 5 7 7 1 9 - 9 9 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bo y n e Co - o p Tr u e Va l u e , 1 1 3 S. Pa r k St r e e t , Bo y n e Ci t y, M I
 2.1623 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 0 )
                                                                                                                                                                 49712-1222
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bp Lu b r i c a n t s Us a In c , 1 5 0 0 Va l l e y Ro a d , Wa y n e , N J 0 7 4 7 0
 2.1624 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bp Lu b r i c a n t s Us a In c , 1 5 0 0 Va l l e y Ro a d , Wa y n e , N J 0 7 4 7 0
 2.1625 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bp Lu b r i c a n t s Us a In c , 1 5 0 0 Va l l e y Ro a d , Wa y n e , N J 0 7 4 7 0
 2.1626 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Bp Lu b r i c a n t s Us a In c , 1 5 0 0 Va l l e y Ro a d , Wa y n e , N J 0 7 4 7 0
 2.1627 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Br a c k e n s , 5 9 1 E Ma i n , En t e r p r i s e , U T 8 4 7 2 5
 2.1628 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a c k i n Pa i n t & Su p p l y, 7 2 5 So u t h Oa t e s St , Do t h a n , A L 3 6 3 0 1
 2.1629 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a d l e y Sm o k e r Us a In c , 6 4 4 En t e r p r i s e Av e , Ga l e s b u r g , I L
 2.1630 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 61401
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Br a d s Tr u e Va l u e , 5 3 0 E Mt Ve r n o n Bl v d , Mt . Ve r n o n , M O
 2.1631 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 5 )
                                                                                                                                                      65712
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Br a d s h a w In t ' l , Br a d s h a w In t e r n a t i o n a l , 9 4 0 9 Bu f f a l o Av e ,
 2.1632 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Ra n c h o Cu c a m o n g a , C A 9 1 7 3 0

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Br a d s h a w In t ' l , Br a d s h a w In t e r n a t i o n a l , 9 4 0 9 Bu f f a l o Av e ,
 2.1633 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      Ra n c h o Cu c a m o n g a , C A 9 1 7 3 0
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Br a d s h a w In t ' l , Br a d s h a w In t e r n a t i o n a l , 9 4 0 9 Bu f f a l o Av e ,
 2.1634 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Ra n c h o Cu c a m o n g a , C A 9 1 7 3 0

          State the term remaining                        02/01/2020

          List the contract number of any government
          contract
                                                                                                                                                      Br a d y ' s We s t , Br a d y ` s Ga r d e n & Sp a , 7 1 2 1 Co u n t y Ro a d 1 0 7 ,
 2.1635 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 7 5 )
        nature of the debtor's interest                                                                                                               Sa l i d a , C O 8 1 2 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Br a d y s Th i s Is It Tr u e Va l u e , 5 3 0 6 W 2 5 t h Av e , Ga r y, I N
 2.1636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 5 )
                                                                                                                                                      46406-3216
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Br a e n Su p p l y, In c . , Br a e n Su p p l y In c . , 1 4 3 4 Ri n g w o o d Av e n u e ,
 2.1637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 0 7 )
                                                                                                                                                      Ha s k e l l , N J 0 7 4 2 0 - 1 5 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Br a i n c h i l d In c , 4 5 4 8 Mc e w e n Rd , Da l l a s , T X 7 5 2 4 4
 2.1638 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/04/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1639 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining                        08/15/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1640 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1641 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1642 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
        nature of the debtor's interest
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1643 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
        nature of the debtor's interest                   Ag r e e m e n t ( s )
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1644 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d Mf g Co / Li b e r t y Hd w, Br a i n e r d Mf g Co / Li b e r t y
 2.1645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hd w _ 1 6 3 9 4 , 1 4 0 Bu s i n e s s Pa r k Dr i v e , A/ R De p t , Wi n s t o n -
        nature of the debtor's interest
                                                                                                                                                                 Sa l e m , N C 2 7 1 0 7
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Br a i n e r d To o l s & Mo r e , 5 3 5 9 Bi r c h d a l e Rd , Br a i n e r d , M N
 2.1646 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 4 8 )
                                                                                                                                                                 56401
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Br a m l i t t ' s Pl u m b i n g & El e c t r i c , 1 1 0 N Hw y 1 9 , Pa l a t k a , F L
 2.1647 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 2 9 )
        nature of the debtor's interest                                                                                                                       32177-2442

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Br a n d Bu z z Co n s u m e r Pr o d u c t s L L C, Br a n d Bu z z Co n s u m e r
 2.1648 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              Pr o d u c t s L L C, 1 1 5 Ke n n e d y Dr i v e , Sa y r e v i l l e , N J 0 8 8 7 2
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                              Br a n d No d e In c , 1 2 2 5 Nw Mu r r a y Rd , Su i t e 2 0 7 , Po r t l a n d , O R
 2.1649 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              97229
        nature of the debtor's interest
          State the term remaining                        05/30/2013

          List the contract number of any government
          contract
                                                                                                                                                              Br a n d i f y, 2 2 2 So u t h Ha r b o r Bo u l e v a r d , Su i t e 6 0 0 , An a h e i m ,
 2.1650 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Br a n d i f y Ma s t e r Se r v i c e s Ag r e e m e n t
        nature of the debtor's interest                   Am e n d m e n t 1                                                                                  CA 92805

          State the term remaining                        02/09/2021 - 02/08/2026

          List the contract number of any government
          contract
                                                                                                                                                              Br a n n e k y Tr u e Va l u e Hd w e , Br a n n e k y Tr u e Va l u e , 1 1 4 0 3 Sa i n t
 2.1651 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 8 3 )
                                                                                                                                                              Ch a r l e s Ro c k Rd , Br i d g e t o n , M O 6 3 0 4 4 - 2 7 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Br a n t l e y Nu r s e r i e s , 1 9 3 1 W La k e Br a n t l e y Rd , Lo n g w o o d , F L
 2.1652 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              32779
        nature of the debtor's interest
          State the term remaining                        02/01/2016

          List the contract number of any government
          contract
                                                                                                                                                              Br a s s Ba r o n , 7 7 0 In d u s t r i a l Dr i v e , Un i t A, Ca r u , I L 6 0 0 1 3
 2.1653 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/30/2007

          List the contract number of any government
          contract
                                                                                                                                                              Br a s s Cr a f t , 3 9 6 0 0 Or c h a r d Hi l l Pl a c e , No v i , M I 4 8 3 7 5
 2.1654 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/12/2008

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1655 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 48375
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1656 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          48375

          State the term remaining                        05/02/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1657 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 48375
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1658 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48375
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 48375

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 48375
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s Cr a f t Se r v i c e Pa r t s , 3 9 6 0 0 Or c h a r d Mi l l Pl a c e , No v i , M I
 2.1661 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48375
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Br a s s e u x ' s Ha r d w a r e , Br a s s e u x ` s Ha r d w a r e , 3 0 0 So u t h St a t e
 2.1662 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 2 1 )
        nature of the debtor's interest                                                                                                                          St r e e t , Ab b e v i l l e , L A 7 0 5 1 0 - 5 9 2 0

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Br a s s e u x ' s Ha r d w a r e In c , Br a s s e u x ` s Ha r d w a r e In c , 9 6 1 1
 2.1663 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 7 3 )
                                                                                                                                                            Ma u r i c e Av e , Su i t e 3 , Ma u r i c e , L A 7 0 5 5 5 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Br a u n Ho r t i c u l t u r e , In c . , 3 3 0 2 Hi g h l a n d Av e n u e , Ni a g a r a Fa l l s ,
 2.1664 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            NY 14305
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                            Br a v e Pr o d u c t s In c . , 1 7 0 5 N Sh a b b o n a St , St r e a t o r , I L 6 1 3 6 4
 2.1665 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                            Br a y d e n ' s Ha r d w a r e & Re n t a l , 1 9 4 0 N Ma i n St r e e t , Ju n c t i o n ,
 2.1666 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 9 )
                                                                                                                                                            TX 76849
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Br e a k t h r o u g h f u e l L L C, 1 1 7 5 Lo m b a r d i Av e n u e Su i t e 5 0 0 ,
 2.1667 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Br e a k t h r o u g h Ma s t e r Ag r e e m e n t
                                                                                                                                                            Gr e e n Ba y, W I 5 4 3 0 4
        nature of the debtor's interest
          State the term remaining                        04/17/2023 - 04/16/2028

          List the contract number of any government
          contract
                                                                                                                                                            Br e a k t h r o u g h f u e l L L C, 1 1 7 5 Lo m b a r d i Av e n u e Su i t e 5 0 0 ,
 2.1668 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Br e a k t h r o u g h S O W Fu e l Re c o v e r y Pr o g r a m
        nature of the debtor's interest                                                                                                                     Gr e e n Ba y, W I 5 4 3 0 4

          State the term remaining                        04/17/2023 - 04/16/2026

          List the contract number of any government
          contract
                                                                                                                                                            Br e a u x Br i d g e Tr u e Va l u e Hr d w, 2 1 9 S Ma i n St , Br e a u x Br i d g e ,
 2.1669 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 8 )
                                                                                                                                                            LA 70517
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Br e d f i e l d s Ha r d w a r e , Br e d f i e l d s Tr u e Va l u e Ha r d w a r e , 1 0 2
 2.1670 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 2 4 )
        nature of the debtor's interest                                                                                                                     Co w l i t z St We s t , Ca s t l e Ro c k , WA 9 8 6 1 1 - 8 9 9 8

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Br e e d i n g Tr u e Va l u e Hd w, 1 3 1 7 N Jo h n Wa y n e Dr , Wi n t e r s e t ,
 2.1671 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 2 8 )
        nature of the debtor's interest                                                                                                              IA 50273-2400

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e e z y Po i n t Tr u e Va l u e , 2 0 2 3 4 Ro c k a w a y Po i n t Bl v d , Br e e z y
 2.1672 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 0 4 )
                                                                                                                                                     Po i n t , N Y 1 1 6 9 7 - 1 1 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e m o n d Tr u e Va l u e , Br e m o n d Ho m e & Au t o , 2 1 9 S Ma i n ,
 2.1673 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 1 )
                                                                                                                                                     Br e m o n d , T X 7 6 6 2 9 - 5 2 9 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e t t ' s Tr u e Va l u e , 3 0 8 1 Ny 2 2 , Do v e r Pl a i n s , N Y 1 2 5 2 2
 2.1674 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e t t ' s Tr u e Va l u e , Br e t t ` s Tr u e Va l u e , 5 9 N Pl a n k Ro a d ,
 2.1675 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 9 )
                                                                                                                                                     Ne w b u r g h , N Y 1 2 5 5 0 - 9 9 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e t t ' s Tr u e Va l u e , Br e t t ` s Tr u e Va l u e , 1 8 We s t Ma i n St ,
 2.1676 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 5 )
        nature of the debtor's interest                                                                                                              Be a c o n , N Y 1 2 5 0 8 - 2 5 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e t t ' s Tr u e Va l u e , Br e t t ` s Tr u e Va l u e , 1 1 5 Te m p l e Hi l l Ro a d ,
 2.1677 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 2 6 )
        nature of the debtor's interest                                                                                                              Ne w Wi n d s o r , N Y 1 2 5 5 3 - 6 8 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br e w s t e r Ho m e Fa s h i o n s , 6 7 Pa c e l l a Pa r k Dr , Ra n d o l p h , M A
 2.1678 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              02368

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Br i a n Fa r m Se r v i c e Tr u e Va l u e , 3 3 Ea s t 3 0 0 So u t h , Lo a , U T
 2.1679 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 4 9 )
                                                                                                                                                     84747-8001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i a r g r o v e Ph a r m a c y, 6 4 3 5 Sa n Fe l i p e St . , Ho u s t o n , T X 7 7 0 5 7
 2.1680 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i c k e n m o r e , 9 Th o m p s o n Rd , Ea s t Wi n d s o r , C T 0 6 0 8 8
 2.1681 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/29/2014

          List the contract number of any government
          contract
                                                                                                                                                     Br i c o De c o S. a . , Br i c o De c o Sa , 1 9 4 Av e n u e Pr i n c e Hi n o i ,
 2.1682 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 9 2 )
                                                                                                                                                     Pa p e e t e , Fr e n c h Po l y n e s i a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i d g e p o r t , 3 1 4 5 So u t h As h l a n d Av e , Ch i c a g o , I L 6 0 6 0 8
 2.1683 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i d g e s Tr u e Va l u e Ha r d w a r e , 3 0 1 W Ki n g St r e e t , Ki n g s
 2.1684 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 2 0 )
        nature of the debtor's interest                                                                                                              Mo u n t a i n , N C 2 8 0 8 6 - 3 3 0 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i d g f o r d Ma r k e t i n g Co m p a n y, 1 4 1 5 W 4 4 Th St , Ch i c a g o , I L
 2.1685 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              60609

          State the term remaining                        11/30/2020

          List the contract number of any government
          contract
                                                                                                                                                     Br i d g f o r d Ma r k e t i n g Co m p a n y, 1 4 1 5 W 4 4 Th St , Ch i c a g o , I L
 2.1686 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     60609
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br i d o n Co r d a g e L L C, 9 0 9 1 6 Th St , Al b e r t Le a , M N 5 6 0 0 7
 2.1687 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Br i g g s & St r a t t o n Po w e r Pr o d , 1 2 3 0 1 W Wi r t h St , Wa u w a t o s a ,
 2.1688 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 53222
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Br i g g s & St r a t t o n Po w e r Pr o d , 1 2 3 0 1 W Wi r t h St , Wa u w a t o s a ,
 2.1689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WI 53222

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Br i g g s Nu r s e r y In c H& g s , 2 9 5 Fr a n c i s J Ke l l y Bl v d , No r t h
 2.1690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 3 1 )
        nature of the debtor's interest                                                                                                                          At t l e b o r o , M A 0 2 7 6 0 - 4 1 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Gr e e n Us a , Po Bo x 7 0 5 , Ha r t l a n d , M I 4 8 3 5 3
 2.1691 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/07/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1692 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 91746
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 91746
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1694 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 91746

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1695 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 91746

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1696 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 91746
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t Ve n t u r e In c , 6 5 7 S 6 Th Av e , Ci t y Of In d u s t r y, C A
 2.1697 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 91746

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t s t a r Us In c , 6 0 0 No r t h Us Hw y 4 5 , Su i t e 1 0 0 W,
 2.1698 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Li b e r t y v i l l e , I L 6 0 0 4 8
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Br i g h t z Lt d , 8 0 0 0 Ya n k e e Rd , Su i t e 2 2 5 , Ot t a w a La k e , M I
 2.1699 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          49267

          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Br i l l i a n t Te c h n o l o g y, 1 2 5 S Wa c k e r Dr i v e , Su i t e 1 1 5 0 ,
 2.1700 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Br i l l i a n t Pa r t n e r s - Ag e n c y a n d Re c r u i t i n g
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 0                                                                               Ch i c a g o , I L 6 0 6 0 6

          State the term remaining                        10/21/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Br i l o n g , 2 1 0 1 Co u c h Dr , Su i t e 1 0 0 , Mc k i n n e y, T X 7 5 0 6 9
 2.1701 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Br i n k m a n n Co r p o r a t i o n , 4 2 1 5 Mc e w e n Ro a d , Da l l a s , T X 7 5 2 4 4
 2.1702 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Br i n k m a n n ' s - Bl u e Po i n t , Br i n k m a n n ` s - Bl u e Po i n t , 1 2 5
 2.1703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 3 9 )
        nature of the debtor's interest                                                                                                              Mo n t a u k Hw y, Bl u e Po i n t , N Y 1 1 7 1 5 - 1 1 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n k m a n n ' s - Gl e n Co v e , 7 7 Fo r e s t Av e n u e , Gl e n Co v e , N Y
 2.1704 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 1 8 )
        nature of the debtor's interest                                                                                                              11542

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n k m a n n ' s - Ho l b r o o k , Br i n k m a n n ` s - Ho l b r o o k , 1 0 3 6 Ma i n
 2.1705 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 2 4 )
        nature of the debtor's interest                                                                                                              St r e e t , Ho l b r o o k , N Y 1 1 7 4 1 - 1 6 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n k m a n n ' s - Ja m e s p o r t , Br i n k m a n n ` s - Ja m e s p o r t , 1 6 0 6 Ma i n
 2.1706 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 8 )
        nature of the debtor's interest                                                                                                              Ro a d , Ja m e s p o r t , N Y 1 1 9 4 7 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n k m a n n ' s - Mi l l e r Pl a c e , Br i n k m a n n ` s - Mi l l e r Pl a c e , 9 0 0
 2.1707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 6 4 )
                                                                                                                                                     Ro u t e 2 5 a , Mi l l e r Pl a c e , N Y 1 1 7 6 4 - 2 7 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n k m a n n ' s - Sa y v i l l e , Br i n k m a n n ` s - Sa y v i l l e , 2 2 6 Ra i l r o a d
 2.1708 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 5 1 )
                                                                                                                                                     Av e , Sa y v i l l e , N Y 1 1 7 8 2 - 2 7 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br i n l y Ha r d y Co m p a n y, 3 2 3 0 In d u s t r i a l Pa r k w a y,
 2.1709 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Je f f e r s o n v i l l e , I N 4 7 1 3 0

          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Br i n s e a Pr o d u c t s In c , 7 0 4 N Di x i e Av e , Ti t u s v i l l e , F L 3 2 7 9 6
 2.1710 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br i o t i x He a l t h , 9 0 0 0 E. Ni c h o l s Av e n u e , Su i t e 1 0 4 , Ce n t e n n i a l ,
 2.1711 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Br i o t i x He a l t h M S A
        nature of the debtor's interest                                                                                                                          CO 80112

          State the term remaining                        07/15/2024 - 07/14/2029

          List the contract number of any government
          contract
                                                                                                                                                                 Br i o t i x He a l t h , 9 0 0 0 E. Ni c h o l s Av e n u e , Su i t e 1 0 4 , Ce n t e n n i a l ,
 2.1712 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Br i o t i x Er g o - Pl u s So f t w a r e + Su p p o r t
        nature of the debtor's interest                   Wi l k e s Ba r r e 2 0 2 4                                                                            CO 80112

          State the term remaining                        09/30/2024 - 09/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Br i s c o ' s Tr u e Va l u e & Lu m b e r Mi l l , Br i s c o ` s Tr u e Va l u e &
 2.1713 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 3 4 )
                                                                                                                                                                 Lu m b e r M, 1 0 0 5 El Ca m i n o Re a l , Ar r o y o Gr a n d e , C A 9 3 4 2 0 -
        nature of the debtor's interest
                                                                                                                                                                 2518
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i s k h e a t Co r p o r a t i o n , 4 8 0 0 Hi l t o n Co r p o r a t e Dr , Co l u m b u s ,
 2.1714 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 43201
        nature of the debtor's interest
          State the term remaining                        07/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Br i t Sy n d i c a t e s ( Lo n d o n ) , 1 2 2 Le a d e n h a l l St r e e t , Lo n d o n ,
 2.1715 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   X S1 1 2 5 7 2 4                                                                                       Ec 3 V 4 Ab , Un i t e d Ki n g d o m

          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Br i t e St a r Ma n u f a c t u r i n g , 2 9 0 0 S 2 0 Th St r e e t , Ph i l a d e l p h i a , PA
 2.1716 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19145
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Br i t e St a r Ma n u f a c t u r i n g Co , 2 9 0 0 S 2 0 Th St , Ph i l a d e l p h i a , PA
 2.1717 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 19145
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br i t e St a r Ma n u f a c t u r i n g Co , 2 9 0 0 S 2 0 Th St , Ph i l a d e l p h i a , PA
 2.1718 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 19145

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br o a d c o m Ca , In c . , 1 3 2 0 Ri d d e r Pa r k Dr i v e , Sa n Jo s e , C A
 2.1719 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Br o a d c o m / C A Ma s t e r Li c e n s i n g
                                                          Ag r e e m e n t                                                                                       95131
        nature of the debtor's interest
          State the term remaining                        04/01/2006 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Br o a d c o m Ca , In c . , 1 3 2 0 Ri d d e r Pa r k Dr i v e , Sa n Jo s e , C A
 2.1720 State what the contract or lease is for and the   So f t w a r e , Br o a d c o m - Un i v e r s a l Jo b Mg m t & Au t o m i c On e
                                                                                                                                                                 95131
        nature of the debtor's interest                   So f t w a r e Su b s c r i p t i o n Re n e w a l 2 0 2 4

          State the term remaining                        01/31/2024 - 01/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Br o a d v i e w Tr u e Va l u e , 1 8 1 5 W Ro o s e v e l t Rd , Br o a d v i e w, I L
 2.1721 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 1 9 )
        nature of the debtor's interest                                                                                                                          60155-2923

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1722 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1723 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1724 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1725 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1726 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1727 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Br o a n - Nu t o n e L L C, 9 2 6 W St a t e St , Ha r t f o r d , W I 5 3 0 2 7
 2.1730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Br o c k Fa r m s H& g s , 3 7 5 Ro u t e 3 4 , Co l t s Ne c k , N J 0 7 7 2 2 - 2 5 1 5
 2.1731 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o c k Fa r m s In c H& g s , 4 1 8 9 Rt 9 , Fr e e h o l d , N J 0 7 7 2 8 - 4 2 1 4
 2.1732 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 3 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o c k w a y Tr u e Va l u e , 7 6 4 9 Ro u t e 2 1 9 , Br o c k w a y, PA 1 5 8 2 4
 2.1733 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o d i e Tr u e Va l u e , 1 6 Re g e n t St / P. o . Bo x 3 6 5 , Be l i z e Ci t y,
 2.1734 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 6 4 )
                                                                                                                                                     Be l i z e
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Br o m e Bi r d Ca r e In c , 3 3 1 Kn o w l t o n Rd , Kn o w l t o n , Q C J0 E
 2.1735 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     1 V0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        02/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Br o n s o n Tr u e Va l u e Ha r d w a r e , 1 2 9 Be a c h Po n d Rd , Vo l u n t o w n ,
 2.1736 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 5 0 )
        nature of the debtor's interest                                                                                                              CT 06384-1805

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o o k e & Dy l a n L L C, Br o o k e & Dy l a n L L C, 8 5 0 0 Nw 1 7 Th St ,
 2.1737 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Mi a m i , F L 3 3 1 8 6
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Br o o k s Br o s . , 7 3 Ma i n St r e e t , Be t h e l , M E 0 4 2 1 7 - 4 0 1 6
 2.1738 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 0 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o o k s Tr u e Va l u e Hd w e , 5 0 5 0 Br o o k l a k e Rd Ne , Sa l e m , O R
 2.1739 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 5 9 )
        nature of the debtor's interest                                                                                                              97305-9691

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o o k s v i l l e Fa r m Su p p l y, 6 2 3 Br o o k s v i l l e Po w e r s v i l l e Rd ,
 2.1740 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 2 )
                                                                                                                                                     Br o o k s v i l l e , K Y 4 1 0 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o u g h t o n Tr u e Va l u e Hd w e , 3 4 3 7 Ve r m o n t - r t e 2 2 a , Br i d p o r t ,
 2.1741 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 8 5 )
        nature of the debtor's interest                                                                                                              VT 05734-4416

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Br o w e r v i l l e Ha r d w a r e In c . , 5 3 1 Ma i n St S, Br o w e r v i l l e , M N
 2.1742 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 5 )
        nature of the debtor's interest                                                                                                              56438

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Br o w n Tr u e Va l u e , 2 2 1 S Br i d g e St , Wi n n e m u c c a , N V 8 9 4 4 5 -
 2.1743 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 1 2 )
                                                                                                                                                         3108
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Br o w n ' s Tr u e Va l u e , Br o w n ` s Tr u e Va l u e , 4 1 1 Ma i n St ,
 2.1744 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 8 1 )
                                                                                                                                                         At w o o d , K S 6 7 7 3 0 - 1 8 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Br o w n i e Br i t t l e L L C, 2 2 5 3 Vi s t a Pa r k w a y, Su i t e 8 , We s t Pa l m
 2.1745 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  Be a c h , F L 3 3 4 1 1

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                         Br o w n s Om a h a Pl a n t Fa r m s In c , 1 1 0 Mc l e a n Av e n u e , Po Bo x
 2.1746 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         7 8 7 , Om a h a , T X 7 5 5 7 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                         Br o w s e r s t a c k , In c , 4 5 1 2 Le g a c y Dr i v e , Pl a n o , T X 7 5 0 2 4
 2.1747 State what the contract or lease is for and the
                                                          So f t w a r e , Br o w s e r St a c k Re n e w a l Au t o m a t e Mo b i l e Re n e w a l 3
        nature of the debtor's interest                   Ye a r

          State the term remaining                        10/14/2023 - 10/13/2026

          List the contract number of any government
          contract
                                                                                                                                                         Br u b a k e r Gr a i n Ea t o n , 4 1 2 So u t h Fr a n k l i n St r e e t , Ea t o n , O H
 2.1748 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 6 )
        nature of the debtor's interest                                                                                                                  45320

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Br u b a k e r Gr a i n Fa r m s v i l l e , 3 0 7 We s t Ce n t e r St r e e t ,
 2.1749 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 7 )
        nature of the debtor's interest                                                                                                                  Fa r m e r s v i l l e , O H 4 5 3 2 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Br u c k m a n n s Tr u e Va l u e Hd w. , 1 7 9 S Br o a d w a y, La w r e n c e , M A
 2.1750 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 6 4 )
        nature of the debtor's interest                                                                                                                  01843-1426

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br u d e r To y s Am e r i c a In c , 4 9 5 0 W 1 4 5 Th St , Ha w t h o r n e , C A
 2.1751 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 90250

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br u n n e r & La y, In c . , Po Bo x 1 1 9 0 , 1 5 1 0 N Ol d Mi s s o u r i Rd ,
 2.1752 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sp r i n g d a l e , A R 7 2 7 6 5
        nature of the debtor's interest
          State the term remaining                        09/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Br u n s w i c k Tr u e Va l u e , 1 8 4 4 Pe a r l Rd , Br u n s w i c k , O H 4 4 2 1 2 -
 2.1753 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 4 )
                                                                                                                                                                 3252
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br y a n t & l a w r e n c e Hd w. , Br y a n t & La w r e n c e Ha r d w a r e , 2 6 8
 2.1754 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 1 7 )
        nature of the debtor's interest                                                                                                                          Ma i n St , Ti l t o n , N H 0 3 2 7 6 - 5 1 1 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br y s o n In d u s t r i e s In c , 4 1 6 Al b e r t s o n Rd , Th o m a s v i l l e , N C
 2.1755 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27360

          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Br y s o n In d u s t r i e s In c , 4 1 6 Al b e r t s o n Rd , Th o m a s v i l l e , N C
 2.1756 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27360

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br y s o n In d u s t r i e s In c , 4 1 6 Al b e r t s o n Rd , Th o m a s v i l l e , N C
 2.1757 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27360
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Br y s o n In d u s t r i e s In c , 4 1 6 Al b e r t s o n Rd , Th o m a s v i l l e , N C
 2.1758 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27360
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Br y s o n In d u s t r i e s In c , 4 1 6 Al b e r t s o n Rd , Th o m a s v i l l e , N C
 2.1759 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 27360
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bt & F L L C, 1 2 4 4 1 Be c k l e y St , Su i t e 8 , Gr a n g e r , I N 4 6 5 3 0
 2.1760 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bt i To o l s , 9 5 2 5 Pa t h w a y St , Sa n t e e , C A 9 2 0 7 1
 2.1761 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bt i To o l s , 9 5 2 5 Pa t h w a y St , Sa n t e e , C A 9 2 0 7 1
 2.1762 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bt i To o l s , 9 5 2 5 Pa t h w a y St , Sa n t e e , C A 9 2 0 7 1
 2.1763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bt m Eq u i p m e n t In c , P. O. Bo x 3 2 9 , 3 3 0 Sa u l p e a u x
 2.1764 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cr e s e n t ( R3 J3 T2 ) , Wi n n i p e g , M B R3 H 0 Z5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bt p , Ll c , Bt p Ll c , 8 3 0 Ri v e r St r e e t , Be t h e l , A K 9 9 5 5 9 - 0 0 0 1
 2.1765 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t En t e r p r i s e s In c , 3 3 Pc r 5 4 0 , Pe r r y v i l l e , M O 6 3 7 7 5
 2.1766 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu c h h e i t Me t a l s # 3 0 , Bu c h h e i t Me t a l s 3 0 , 3 5 0 3 1 St a t e Hw y 2 5 ,
 2.1767 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 5 )
                                                                                                                                                     Ad v a n c e , M O 6 3 7 3 0 - 9 0 8 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Me t a l s # 3 0 Ev e n t , Bu c h h e i t Me t a l s 3 0 Ev e n t , 3 5 0 3 1
 2.1768 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 6 )
        nature of the debtor's interest                                                                                                              St a t e Hw y 2 5 , Ad v a n c e , M O 6 3 7 3 0 - 9 0 8 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Be a t r i c e # 2 6 , Bu c h h e i t Of Be a t r i c e 2 6 , 2 4 1 5 N 6 t h
 2.1769 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 0 )
                                                                                                                                                     St , Be a t r i c e , N E 6 8 3 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Bl u e Sp r i n g s # 1 7 , Bu c h h e i t Of Bl u e Sp r i n g s 1 7 ,
 2.1770 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 2 )
        nature of the debtor's interest                                                                                                              1 1 0 0 Mo - 7 1 , Bl u e Sp r i n g s , M O 6 4 0 1 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ce n t r a l i a # 1 5 , Bu c h h e i t Of Ce n t r a l i a 1 5 , 1 3 4 0
 2.1771 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 4 )
        nature of the debtor's interest                                                                                                              We s t Mc c o r d St r e e t , Ce n t r a l i a , I L 6 2 8 0 1 - 5 3 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ce n t r a l i a # 1 5 - Ev e n t # 2 0 1 8 4 , Bu c h h e i t Of
 2.1772 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 7 )
                                                                                                                                                     Ce n t r a l i a 1 5 - Ev, 1 3 4 0 We s t Mc c o r d , Ce n t r a l i a , I L 6 2 8 0 1 -
        nature of the debtor's interest
                                                                                                                                                     5309
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Co l u m b i a No r t h , 3 3 0 0 Pa r i s Rd , Co l u m b i a , M O
 2.1773 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 4 )
                                                                                                                                                     65202
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Co l u m b i a So u t h # 2 1 , Bu c h h e i t Of Co l u m b i a So u t h
 2.1774 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 7 )
        nature of the debtor's interest                                                                                                              2 1 , 3 9 1 0 S Pr o v i d e n c e Rd , Co l u m b i a , M O 6 5 2 0 3

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu c h h e i t Of Fu l t o n # 1 9 , Bu c h h e i t Of Fu l t o n 1 9 , 1 3 1 0 S
 2.1775 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 8 )
        nature of the debtor's interest                                                                                                              Bu s i n e s s 5 4 , So u t h Fu l t o n , M O 6 5 2 5 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Gr e e n v i l l e # 1 1 , Bu c h h e i t Of Gr e e n v i l l e 1 1 , 1 4 0 0
 2.1776 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 2 7 )
        nature of the debtor's interest                                                                                                              E Ci t y Ro u t e 4 0 , Gr e e n v i l l e , I L 6 2 2 4 6 - 2 1 5 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Gr e e n v i l l e # 1 1 - Ev e n t # 1 8 5 2 7 , Bu c h h e i t Of
 2.1777 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 6 )
        nature of the debtor's interest                                                                                                              Gr e e n v i l l e 1 1 - E, 1 4 0 0 E Ci t y Ro u t e 4 0 , Gr e e n v i l l e , I L 6 2 2 4 6 -
                                                                                                                                                     2150
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of He r c u l a n e u m # 8 , Bu c h h e i t Of He r c u l a n e u m 8 , 2 0 0
 2.1778 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 9 2 )
                                                                                                                                                     Ri v e r v i e w Dr , He r c u l a n e u m , M O 6 3 0 4 8 - 1 3 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of He r c u l a n e u m # 8 - Ev e n t # 7 0 9 2 , Bu c h h e i t Of
 2.1779 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 2 )
                                                                                                                                                     He r c u l a n e u m 8 - E, 2 0 0 Ri v e r v i e w Dr , He r c u l a n e u m , M O
        nature of the debtor's interest
                                                                                                                                                     63048-1314
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ho u s e Sp r i n g s # 1 4 , Bu c h h e i t Of Ho u s e Sp r i n g s 1 4 ,
 2.1780 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 7 6 )
        nature of the debtor's interest                                                                                                              4 5 5 0 Gr a v i o s Rd , Ho u s e Sp r i n g s , M O 6 3 0 5 1 - 4 3 1 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ho u s e Sp r i n g s # 1 4 - Ev e n t # 1 9 1 7 6 , Bu c h h e i t Of
 2.1781 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 3 )
                                                                                                                                                     Ho u s e Sp r i n g s 1 4 , 4 5 5 0 Gr a v i o s Rd , Ho u s e Sp r i n g s , M O
        nature of the debtor's interest
                                                                                                                                                     63051-4319
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ja c k s o n # 1 0 , Bu c h h e i t Of Ja c k s o n 1 0 , 2 8 0 1 S Ol d
 2.1782 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 3 6 )
                                                                                                                                                     Or c h a r d , Ja c k s o n , M O 6 3 7 5 5 - 3 8 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu c h h e i t Of Ja c k s o n # 1 0 - Ev e n t # 7 4 3 6 , Bu c h h e i t Of Ja c k s o n
 2.1783 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 0 )
        nature of the debtor's interest                                                                                                              1 0 - Ev e n , 2 8 0 1 Ol d Or c h a r d , Ja c k s o n , M O 6 3 7 5 5 - 3 8 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ja c k s o n v i l l e # 9 , Bu c h h e i t Of Ja c k s o n v i l l e 9 , 2 2 0 0
 2.1784 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 7 5 )
                                                                                                                                                     W Mo r t o n Av e , Ja c k s o n v i l l e , I L 6 2 6 5 0 - 2 6 7 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ja c k s o n v i l l e # 9 - Ev e n t # 1 1 1 7 5 , Bu c h h e i t Of
 2.1785 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 4 )
                                                                                                                                                     Ja c k s o n v i l l e 9 - , 2 2 0 0 W Mo r t o n Av e , Ja c k s o n v i l l e , I L 6 2 6 5 0 -
        nature of the debtor's interest
                                                                                                                                                     2671
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Je f f e r s o n Ci t y # 1 6 , Bu c h h e i t Of Je f f e r s o n Ci t y 1 6 ,
 2.1786 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 9 )
        nature of the debtor's interest                                                                                                              2 3 0 4 Mi s s o u r i Bl v d , Je f f e r s o n Ci t y, M O 6 5 1 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Jo n e s b o r o # 2 2 , Bu c h h e i t Of Jo n e s b o r o 2 2 , 1 8 1 7 E
 2.1787 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 6 )
                                                                                                                                                     Pa r k e r Rd , Jo n e s b o r o , A R 7 2 4 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Ki r k s v i l l e # 1 8 , Bu c h h e i t Of Ki r k s v i l l e 1 8 , 2 3 0 2 S
 2.1788 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 7 )
                                                                                                                                                     Ba l t i m o r e St , Ki r k s v i l l e , M O 6 3 5 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of Mu r r a y # 2 5 , Bu c h h e i t Of Mu r r a y 2 5 , 7 0 0 A N.
 2.1789 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 3 )
        nature of the debtor's interest                                                                                                              1 2 t h St , Mu r r a y, K Y 4 2 0 7 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu c h h e i t Of No r t h Pl a t t e # 2 7 , Bu c h h e i t Of No r t h Pl a t t e 2 7 ,
 2.1790 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 5 )
                                                                                                                                                     2 5 0 1 E 4 t h St r e e t , No r t h Pl a t t e , N E 6 9 1 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu c h h e i t Of Pa r a g o u l d # 2 3 , Bu c h h e i t Of Pa r a g o u l d 2 3 , 4 2 0
 2.1791 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 3 1 )
                                                                                                                                                                 Hw y 4 9 No r t h , Pa r a g o u l d , A R 7 2 4 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t Of Pe r r y v i l l e # 7 , Bu c h h e i t Of Pe r r y v i l l e 7 , 1 0 1 1 S
 2.1792 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 8 1 )
        nature of the debtor's interest                                                                                                                          Pe r r y v i l l e Bl v d , Hw y 5 1 , Pe r r y v i l l e , M O 6 3 7 7 5 - 2 8 6 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t Of Pe r r y v i l l e # 7 - Ev e n t # 3 6 8 1 , Bu c h h e i t Of
 2.1793 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 1 )
                                                                                                                                                                 Pe r r y v i l l e 7 - Ev, 1 0 1 1 S Pe r r y v i l l e Bl v d , Pe r r y v i l l e , M O
        nature of the debtor's interest
                                                                                                                                                                 63775-2868
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t Of Po c a h o n t a s # 2 4 , Bu c h h e i t Of Po c a h o n t a s 2 4 , 1 9 6 6
 2.1794 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 8 )
                                                                                                                                                                 Hw y 6 2 We s t , Po c a h o n t a s , A R 7 2 4 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t Of Sp a r t a # 6 , Bu c h h e i t Of Sp a r t a 6 , 1 8 1 7 N Ma r k e t
 2.1795 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 8 8 )
        nature of the debtor's interest                                                                                                                          St , Sp a r t a , I L 6 2 2 8 6 - 1 0 7 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c h h e i t Of Sp a r t a # 6 - Ev e n t # 1 1 1 8 8 , Bu c h h e i t Of Sp a r t a 6 -
 2.1796 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 5 )
                                                                                                                                                                 Ev e n t , 1 8 1 7 N Ma r k e t St , Sp a r t a , I L 6 2 2 8 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c k Bo m b , 1 6 1 2 Pr o f e s s i o n a l Bl v d , Su i t e G, Cr o f t o n , M D
 2.1797 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 21114
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bu c k Bo m b , 1 6 1 2 Pr o f e s s i o n a l Bl v d , Su i t e G, Cr o f t o n , M D
 2.1798 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 21114

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu c k ' s Ha r d w a r e , Bu c k s Ha r d w a r e , 4 0 0 b Hu n t i n g d o n Pi k e ,
 2.1799 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 0 7 )
                                                                                                                                                                 Ro c k l e d g e , PA 1 9 0 4 6 - 4 4 4 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu c k e d Up , 8 1 5 W Un i v e r s i t y Pk w y, Or e m , U T 8 4 0 5 8
 2.1800 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d e e z In c , 1 1 0 6 Cr o s s w i n d s Ct , We n t z v i l l e , M O 6 3 3 8 5
 2.1801 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d e e z In c , 1 1 0 6 Cr o s s w i n d s Ct , We n t z v i l l e , M O 6 3 3 8 5
 2.1802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d e e z In c , 1 1 0 6 Cr o s s w i n d s Ct , We n t z v i l l e , M O 6 3 3 8 5
 2.1803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d e e z In c , 1 1 0 6 Cr o s s w i n d s Ct , We n t z v i l l e , M O 6 3 3 8 5
 2.1804 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d e e z In c , 1 1 0 6 Cr o s s w i n d s Ct , We n t z v i l l e , M O 6 3 3 8 5
 2.1805 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Bu d d y Pr o d , 1 3 5 0 S Le a v i t t St r e e t , Ch i c a g o , I L 6 0 6 0 8
 2.1806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu d g e In d u s t r i e s L L C, 1 6 9 0 Su m n e y t o w n Pi k e , Su i t e 2 5 0 ,
 2.1807 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 La n s d a l e , PA 1 9 4 4 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu d g e t Bu i l d Ho m e Ce n t e r , 2 2 0 4 E. e . w a l l a c e Bl v d . , Fe r r i d a y,
 2.1808 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 6 6 )
                                                                                                                                                                 LA 71334-2230
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu d s & Bl o o m s Nu r s e r y, 7 5 0 1 Us Hw y 2 9 No r t h , Br o w n
 2.1809 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su m m i t , N C 2 7 2 1 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bu e n a Vi s t a , Bu e n a Vi s t a Tr u e Va l u e , 2 9 7 8 5 Us Hw y 2 4 n ,
 2.1810 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 9 5 )
        nature of the debtor's interest                                                                                                                          Bu e n a Vi s t a , C O 8 1 2 1 1 - 2 0 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu f f a l o Ba t t & Fe l t , 3 3 0 7 Wa l d e n Av e n u e , De p e w, N Y 1 4 0 4 3
 2.1811 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bu g g Pr o d u c t s L L C, 1 4 5 0 5 - 2 1 St Av e N, Su i t e 2 1 4 , Pl y m o u t h ,
 2.1812 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MN 55447

          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d e r ' s Ch o i c e Su p p l y, Bu i l d e r ` s Ch o i c e Su p p l y, 8 7 5 So u t h
 2.1813 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 2 )
        nature of the debtor's interest                                                                                                                          El m St r e e t , La b e l l e , F L 3 3 9 3 5 - 4 4 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d e r s Ed g e In c , Bu i l d e r s Ed g e , 2 9 7 9 7 Be c k Rd , Wi x o m , M I
 2.1814 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          48393

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu i l d e r s Ma r t Tr u e Va l u e Hd w e , 1 2 3 0 1 Hi g h w a y 1 7 8 , La k e
 2.1815 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 0 0 )
                                                                                                                                                                 Is a b e l l a , C A 9 3 2 4 0 - 9 1 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d e r s Su p p l y & Ho m e Ce n t e r , 1 1 5 5 S Ly o n s Rd , Ai r w a y
 2.1816 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 6 )
        nature of the debtor's interest                                                                                                                          He i g h t s , WA 9 9 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d e r s Wa r e h o u s e , 4 6 0 0 2 n d Av e , Ke a r n e y, N E 6 8 8 4 7 - 2 4 1 6
 2.1817 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d e r s Wa r e h o u s e , 8 2 4 S We b b Rd , Gr a n d Is l a n d , N E 6 8 8 0 3 -
 2.1818 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 6 )
                                                                                                                                                                 5123
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu i l d i n g f i x e r In c , Bu i l d i n g - Fi x e r , In c , Po Bo x 9 9 6 6 6 , Ta c o m a ,
 2.1819 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WA 9 8 4 9 6

          State the term remaining                        01/21/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Bu l l s e y e En t e r p r i s e s , 4 1 9 5 Ch i n o Hi l l s Pa r k w a y, Su i t e 5 8 2 ,
 2.1820 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i n o Hi l l s , C A 9 1 7 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu l l s e y e En t e r p r i s e s , 4 1 9 5 Ch i n o Hi l l s Pa r k w a y, Su i t e 5 8 2 ,
 2.1821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i n o Hi l l s , C A 9 1 7 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu l l y To o l s , 1 4 Te c h n o l o g y Dr , St e u b e n v i l l e , O H 4 3 9 5 2
 2.1822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Bu l l y To o l s , 1 4 Te c h n o l o g y Dr , St e u b e n v i l l e , O H 4 3 9 5 2
 2.1823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                      Bu l l y To o l s , 1 4 Te c h n o l o g y Dr , St e u b e n v i l l e , O H 4 3 9 5 2
 2.1824 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                      Bu n c h e r s Tr u e Va l u e Ha r d w a r e , 3 2 0 Mi l l b u r n Av e , Mi l l b u r n ,
 2.1825 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 0 9 )
        nature of the debtor's interest                                                                                                                               NJ 07041-1621

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Bu n e k Tr u e Va l u e Ha r d w a r e , 4 2 2 Ma i n St r e e t , La k e Le e l a n a u ,
 2.1826 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 1 2 )
        nature of the debtor's interest                                                                                                                               MI 49653-9740

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Bu n n - O- Ma t i c , 5 0 2 0 As h Gr o v e Dr i v e , Sp r i n g f i e l d , I L 6 2 7 1 1
 2.1827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                      Bu n n - O- Ma t i c , 5 0 2 0 As h Gr o v e Dr i v e , Sp r i n g f i e l d , I L 6 2 7 1 1
 2.1828 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                      Bu n n - O- Ma t i c , 5 0 2 0 As h Gr o v e Dr i v e , Sp r i n g f i e l d , I L 6 2 7 1 1
 2.1829 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                      Bu n t j e r ' S Cl e a n i n g Se r v i c e , 2 0 3 1 6 Co u n t y Ro a d 1 3 , Ne w Ul m ,
 2.1830 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Bu n t j e r ' s Cl e a n i n g Ja n i t o r i a l
        nature of the debtor's interest                   Se r v i c e s Am e n d m e n t Ma n k a t o 2 0 2 4                                                        MN 56073

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Bu r c a m Pu m p s In c , P. O. Bo x 5 2 6 , Wi l l i s t o n , V T 0 5 4 9 5
 2.1831 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                              Bu r e a u o f In t e r n e t Ac c e s s i b i l i t y, In c . , Bu r e a u Of In t e r n e t
 2.1832 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , Bu r e a u o f In t e r n e t Ac c e s s i b i l i t y - S O W3
                                                                                                                                                              Ac c e s s i b i l i t y, In c , 5 6 0 0 Po s t Ro a d , 1 1 4 - 2 7 4 , Ea s t Gr e e n w i c h ,
        nature of the debtor's interest
                                                                                                                                                              RI 02818
          State the term remaining                        09/29/2020

          List the contract number of any government
          contract
                                                                                                                                                              Bu r h i l l Tr u e Va l u e Ha r d w a r e , 5 2 6 Bu r m o n t Rd , Dr e x e l Hi l l , PA
 2.1833 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 1 4 )
        nature of the debtor's interest                                                                                                                       19026-3723

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Bu r k e Tr u e Va l u e , 9 0 6 Ma i n St , Bu r k e , S D 5 7 5 2 3 - 2 0 0 6
 2.1834 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Bu r k e Tr u e Va l u e Hd w, 1 2 0 7 St Fr a n c i s St , Ke n n e t t , M O
 2.1835 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 1 0 )
        nature of the debtor's interest                                                                                                                       63857-1513

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Bu r k e ' s Ho m e Ce n t e r , 1 0 7 7 Mi l l i o n Do l l a r Hw y, Sa i n t Ma r y s ,
 2.1836 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 5 )
        nature of the debtor's interest                                                                                                                       PA 1 5 8 5 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Bu r k s Ha r d w a r e , 1 0 2 E Ma i n St r e e t , Fr a n k s t o n , T X 7 5 7 6 3 - 0 0 0 1
 2.1837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Bu r l e y Cl a y Pr o d u c t s , 4 5 5 Go r d o n St , Po Bo x 3 5 , Ro s e v i l l e ,
 2.1838 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              OH 43777
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu r n e t t Co - o p Tr u e Va l u e , 1 1 6 7 9 St a t e Ro a d 7 0 , Gr a n t s b u r g ,
 2.1839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 8 4 )
        nature of the debtor's interest                                                                                                              WI 54840-7135

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu r n e y Tr u e Va l u e Ha r d w a r e , 1 1 8 6 5 Hw y 1 5 - 5 0 1 s , Ab e r d e e n ,
 2.1840 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 0 6 )
        nature of the debtor's interest                                                                                                              NC 28315-2763

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu r n e y Tr u e Va l u e Ha r d w a r e Of Se v e n La k e s , 2 7 0 Tr a d e St r e e t ,
 2.1841 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 7 )
        nature of the debtor's interest                                                                                                              Se v e n La k e s , N C 2 7 3 7 6 - 9 3 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu r p e e Ga r d e n Pr o d u c t s , 3 0 0 Pa r k Av e , Wa r m i n s t e r , PA 1 8 9 7 4
 2.1842 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Bu r r Di s t r i b u t i o n L L C, Bu r r Di s t r i b u t i o n L L C, 5 2 1 Mo u n t
 2.1843 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ho p e St , No r t h At t l e b o r o , M A 0 2 7 6 0
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Bu r r o Cr e a t i v e So l u t i o n s L L C, 5 7 0 0 A Ge n e r a l Wa s h i n g t o n Dr ,
 2.1844 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Su i t e A, Al e x a n d r i a , VA 2 2 3 1 2
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Bu r t o n & Bu r t o n , 3 2 5 Cl e v e l a n d Rd , Bo g a r t , G A 3 0 6 2 2
 2.1845 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Bu r t o n & Bu r t o n , 3 2 5 Cl e v e l a n d Rd , Bo g a r t , G A 3 0 6 2 2
 2.1846 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Bu r w e l l In d u s t r i e s In c , 6 8 9 0 S Em p o r i a St , Ce n t e n n i a l , C O
 2.1847 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      80112

          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1848 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e Au d i o Co d e s Me d i a Pa c k Se r i e s
        nature of the debtor's interest                   Su p p o r t a n d Ma i n t e n a n c e - R S C                                                    Hi l l s , I L 6 0 0 6 1

          State the term remaining                        05/17/2022 - 05/16/2026

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1849 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e Au d i o Co d e s Me d i a Pa c k Se r i e s
                                                          Su p p o r t a n d Ma i n t e n a n c e - R S C                                                    Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest
          State the term remaining                        05/17/2022 - 05/16/2026

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1850 State what the contract or lease is for and the   Ha r d w a r e , Bu s i n e s s I T So u r c e Au d i o Co d e s Me d i a Pa c k Se r i e s
                                                                                                                                                             Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest                   Su p p o r t a n d Ma i n t e n a n c e

          State the term remaining                        06/22/2022 - 06/21/2026

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1851 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e Au d i o Co d e s Me d i a Pa c k Se r i e s
        nature of the debtor's interest                   Su p p o r t a n d Ma i n t e n a n c e Sp r i n g f i e l d                                       Hi l l s , I L 6 0 0 6 1

          State the term remaining                        10/01/2022 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1852 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e Au d i o Co d e s Me d i a Pa c k Se r i e s
                                                          Su p p o r t a n d Ma i n t e n a n c e R S C                                                      Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest
          State the term remaining                        06/19/2023 - 06/18/2027

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1853 State what the contract or lease is for and the   Ha r d w a r e , Bu s i n e s s I T So u r c e - Ci s c o Ca t a l y s t C1 0 0 0 Et h e r n e t
                                                                                                                                                             Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest                   Sw i t c h e s - Co r s i c a n a

          State the term remaining                        10/18/2023 - 10/17/2024

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1854 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e - Ci s c o Ca t a l y s t C1 0 0 0 Et h e r n e t
        nature of the debtor's interest                   Sw i t c h e s - Sp r i n g f i e l d                                                              Hi l l s , I L 6 0 0 6 1

          State the term remaining                        10/18/2023 - 10/17/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Bu s i n e s s It So u r c e ( Bi t s ) , 9 5 4 Co r p o r a t e Wo o d s Pk w, Ve r n o n
 2.1855 State what the contract or lease is for and the
                                                          Ha r d w a r e , Bu s i n e s s I T So u r c e - Ci s c o Ca t a l y s t C1 0 0 0 Et h e r n e t
                                                          Sw i t c h e s - Ha r v a r d                                                                      Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest
          State the term remaining                        10/18/2023 - 10/17/2024

          List the contract number of any government
          contract
                                                                                                                                                             Bu s i n e s s o l v e r. Co m , In c . , 1 0 2 5 As h w o r t h Ro a d , Su i t e 4 0 3 , We s t
 2.1856 State what the contract or lease is for and the   H R Se r v i c e s , Bu i s n e s s o l v e r - Se r v i c e Ag r e e m e n t
                                                                                                                                                             De s Mo i n e s , I A 5 0 2 6 5
        nature of the debtor's interest
          State the term remaining                        12/16/2010

          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 0 7 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 0 )
        nature of the debtor's interest                                                                                                                      0 , 1 0 1 Ta r e n t u m Br i d g e Ro a d , Ne w Ke n s i n g t o n , PA 1 5 0 6 8 - 4 6 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 1 9 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1858 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 1 )
                                                                                                                                                             1 9 , 1 2 8 1 We s t Ch e s t n u t St r e e t , Wa s h i n g t o n , PA 1 5 3 0 1 - 5 4 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 2 9 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 6 )
                                                                                                                                                             2 9 , 3 1 3 0 Wi l l i a m Pi t t Wa y, U- p a r c Bu i l d i n g B1 0 , Pi t t s b u r g h ,
        nature of the debtor's interest
                                                                                                                                                             PA 1 5 2 3 8 - 1 3 6 0
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 3 7 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1860 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 2 )
        nature of the debtor's interest                                                                                                                      3 7 , 8 8 0 0 No r w i n Av e n u e , Ir w i n , PA 1 5 6 4 2 - 2 7 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 0 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1861 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 3 )
                                                                                                                                                             5 0 , 2 0 0 1 Li n c o l n Wa y, Wh i t e Oa k , PA 1 5 1 3 1 - 2 4 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 1 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1862 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 4 )
                                                                                                                                                             5 1 , 2 9 4 0 Li b r a r y Ro a d , Pi t t s b u r g h , PA 1 5 2 3 4 - 2 6 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 2 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1863 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 5 )
        nature of the debtor's interest                                                                                                              5 2 , 2 9 0 Th r e e Sp r i n g s Dr i v e , We i r t o n , W V 2 6 0 6 2 - 3 8 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 3 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1864 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 6 )
                                                                                                                                                     5 3 , 8 8 We s t St e u b e n St r e e t , Pi t t s b u r g h , PA 1 5 2 0 5 - 2 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 5 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1865 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 7 )
                                                                                                                                                     5 5 , 1 7 Hi l l t o p Pl a z a , Ki t t a n n i n g , PA 1 6 2 0 1 - 8 9 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 5 8 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1866 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 0 8 )
        nature of the debtor's interest                                                                                                              5 8 , 3 9 6 Co u n t r y s i d e Pl a z a , Mo u n t Pl e a s a n t , PA 1 5 6 6 6 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 6 2 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1867 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 2 )
                                                                                                                                                     6 2 , 2 6 5 El l w o o d - z e l i o n o p l e Ro a d , El l w o o d Ci t y, PA 1 6 1 1 7 -
        nature of the debtor's interest
                                                                                                                                                     1360
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 6 3 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1868 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 3 )
                                                                                                                                                     6 3 , 3 0 3 La f a y e t t e Av e n u e , Mo u n d s v i l l e , W V 2 6 0 4 1 - 1 0 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 6 5 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1869 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 4 )
        nature of the debtor's interest                                                                                                              6 5 , 4 7 4 3 Pl u m m e r St r e e t , Pi t t s b u r g h , PA 1 5 2 0 1 - 2 9 1 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 6 6 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1870 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 5 )
                                                                                                                                                     6 6 , 2 1 5 Ma r i o n Sq u a r e , Fa i r m o n t , W V 2 6 5 5 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 6 8 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1871 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 2 9 )
                                                                                                                                                     6 8 , 7 3 1 Be v e r l y Pi k e , El k i n s , W V 2 6 2 4 1 - 5 5 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 7 0 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1872 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 7 9 )
        nature of the debtor's interest                                                                                                              7 0 , 1 1 Pi n e Gr o v e Sq u a r e , Gr o v e Ci t y, PA 1 6 1 2 7 - 4 4 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 7 1 , Bu s y Be a v e r Bu i l l d i n g
 2.1873 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 0 )
                                                                                                                                                     Ce n t e r 7 1 , 1 0 0 Ha d l e y Ro a d , Gr e e n v i l l e , PA 1 6 1 2 5 - 9 7 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 7 2 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1874 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 7 )
                                                                                                                                                     7 2 , 2 6 4 0 El l w o o d Ro a d , Ne w Ca s t l e , PA 1 6 1 0 1 - 6 2 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 7 4 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 8 )
        nature of the debtor's interest                                                                                                              7 4 , 1 5 8 9 1 St a t e Ro u t e 1 7 0 , Ea s t Li v e r p o o l , O H 4 3 9 2 0 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu s y Be a v e r Bu i l d i n g Ce n t e r # 7 7 , Bu s y Be a v e r Bu i l d i n g Ce n t e r
 2.1876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 3 )
                                                                                                                                                     7 7 , 4 0 1 Vi n e St r e e t , De l m o n t , PA 1 5 6 2 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu t c h e r ' s Tr u e Va l u e Hd w e . , Bu t c h e r ' s Tr u e Va l u e Hd w e , 4 1 8 6 0
 2.1877 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 7 2 )
        nature of the debtor's interest                                                                                                              Bi g Be a r Bl v d , Bi g Be a r La k e , C A 9 2 3 1 5 - 1 5 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Bu t l e r Ag w a y, 5 0 0 Ev a n s Ci t y Rd , Bu t l e r , PA 1 6 0 0 1 - 8 6 0 8
 2.1878 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 2 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu t l e r Ho m e Pr o d u c t s L L C, Bu t l e r Ho m e Pr o d u c t s L L C, 2 3 7
 2.1879 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ce d a r Hi l l St , Ma r l b o r o u g h , M A 0 1 7 5 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Bu t l e r Ho m e Pr o d u c t s L L C, Bu t l e r Ho m e Pr o d u c t s L L C, 2 3 7
 2.1880 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ce d a r Hi l l St , Ma r l b o r o u g h , M A 0 1 7 5 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu t t e Tr u e Va l u e , 1 3 0 1 Ha r r i s o n Av e , Bu t t e , M T 5 9 7 0 1 - 4 8 0 1
 2.1881 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu t t e r f i e l d Ha r d w a r e , 1 1 6 2 n d St . N, Bu t t e r f i e l d , M N 5 6 1 2 0 -
 2.1882 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 3 8 )
                                                                                                                                                                 5022
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu y Lo w Tr u e Va l u e Ha r d w a r e , 3 0 8 Na t h a n De a n Pa r k w a y,
 2.1883 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 0 9 )
                                                                                                                                                                 Ro c k m a r t , G A 3 0 1 5 3 - 1 6 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu y Su p p l y Co r p . , 3 8 8 So u t h Av e n u e , Ri c h m o n d , N Y 1 0 3 0 3 -
 2.1884 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 0 )
        nature of the debtor's interest                                                                                                                          1411

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu y e a s Tr u e Va l u e , Bu y e a s Tr u e Va l u e & v & s , 1 3 1 Al b a n y St ,
 2.1885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 8 1 )
        nature of the debtor's interest                                                                                                                          Ca z e n o v i a , N Y 1 3 0 3 5 - 1 2 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu y e r s Ch o i c e , 3 6 0 Ro u t e 2 1 1 E, Mi d d l e t o w n , N Y 1 0 9 4 0
 2.1886 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Bu y e r s Di r e c t In c , Po Bo x 8 2 0 6 , 2 3 1 7 Wi l c o Bl v d S, Wi l s o n ,
 2.1887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NC 27893

          State the term remaining                        01/22/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Bu z z y In c , 1 2 1 Pr o g r e s s Av e , Su i t e 3 0 0 , Po t t s v i l l e , PA 1 7 9 0 1
 2.1888 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Bu z z y In c , 1 2 1 Pr o g r e s s Av e , Su i t e 3 0 0 , Po t t s v i l l e , PA 1 7 9 0 1
 2.1889 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bu z z y In c , 1 2 1 Pr o g r e s s Av e , Su i t e 3 0 0 , Po t t s v i l l e , PA 1 7 9 0 1
 2.1890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bw Cr e a t i v e Wo o d In d In t l , 2 3 2 8 2 Ri v e r Ro a d , Ma p l e Ri d g e ,
 2.1891 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          B C V2 W 1 B6 , Ca n a d a

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Bw f En t e r p r i s e s In c , 1 4 1 Ly o n s Rd , En n i s , T X 7 5 1 1 9
 2.1892 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bw t In c , 1 2 5 0 Fe e h a n v i l l e Dr , Mo u n t Pr o s p e c t , I L 6 0 0 5 6
 2.1893 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Bw t In c , 1 2 5 0 Fe e h a n v i l l e Dr , Mo u n t Pr o s p e c t , I L 6 0 0 5 6
 2.1894 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Bw t In c , 1 2 5 0 Fe e h a n v i l l e Dr , Mo u n t Pr o s p e c t , I L 6 0 0 5 6
 2.1895 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     By e By e Fr u i t Fl y, 4 7 3 3 4 8 Th Av e Ne , Se a t t l e , WA 9 8 1 0 5
 2.1896 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     By l a n d s Nu r s e r i e s Lt d , 1 6 0 0 By l a n d Rd , We s t Ke l o w n a , B C
 2.1897 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     V1 Z 1 H6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        03/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     By r n e Pa i n t Co m p a n y In c . , 2 1 4 Ol i v e r St r e e t , To l e d o , O H
 2.1898 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 9 )
        nature of the debtor's interest                                                                                                              43604

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     By r u m Tr u e Va l u e Hd w e , 3 1 4 S Br o a d St , Ed e n t o n , N C 2 7 9 3 2 -
 2.1899 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 2 4 )
                                                                                                                                                     1934
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C & C Bo l i v a r Mo , 3 2 6 0 S. Sp r i n g f i e l d Av e , Bo l i v a r , M O
 2.1900 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 9 )
                                                                                                                                                     65613
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C & C Fa r m & Ho m e Su p p l y # 1 5 0 , C & C Fa r m & Ho m e Su p p l y
 2.1901 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 0 )
        nature of the debtor's interest                                                                                                              1 5 0 , 1 6 8 0 W El m St , Le b a n o n , M O 6 5 5 3 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C & S Pa i n t , 6 Do r i s Av e E, Ja c k s o n v i l l e , N C 2 8 5 4 0 - 5 1 4 8
 2.1902 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 C & S Pr o d u c t s Co In c , Po Bo x 8 4 8 , 1 5 2 8 Ca r d i n a l , Ft Do d g e ,
 2.1903 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 IA 50501
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 C & S Pr o d u c t s Co In c , Po Bo x 8 4 8 , 1 5 2 8 Ca r d i n a l , Ft Do d g e ,
 2.1904 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IA 50501

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 C & S Tr u e Va l u e Ha r d w a r e , 7 8 8 Am s t e r d a m Av e , Ne w Yo r k ,
 2.1905 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 4 7 )
                                                                                                                                                                 NY 10025-5736
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 C & W Ha r d w a r e , 1 6 Mo o n s h i n e r s Wa y, Da w s o n v i l l e , G A
 2.1906 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 9 )
        nature of the debtor's interest                                                                                                                          30534-8353

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 C C Al l i s & So n s In c , 1 6 6 2 Cc Al l i s Ro a d - Sr 1 0 1 0 , Wy a l u s i n g ,
 2.1907 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 7 2 )
        nature of the debtor's interest                                                                                                                          PA 1 8 8 5 3 - 8 9 5 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 C D Fo r d & So n s In c , P O Bo x 3 0 0 , 1 6 2 4 3 Fo r d Rd . , Ge n e s e o ,
 2.1908 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 61254
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 C D Fo r d & So n s In c , P O Bo x 3 0 0 , 1 6 2 4 3 Fo r d Rd . , Ge n e s e o ,
 2.1909 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 61254
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 C F En t e r p r i s e s L L C, 3 1 Su n n e n Dr i v e , Su i t e 4 0 1 , St Lo u i s ,
 2.1910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MO 63143

          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C J In d u s t r i a l Su p p l y In c , 1 5 3 2 6 Wa t e r l o o Rd , Cl e v e l a n d , O H
 2.1911 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 4 2 )
        nature of the debtor's interest                                                                                                              44110-1723

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C R Pl a s t i c Pr o d u c t s In c , 1 1 7 2 Er i e St , St r a t f o r d , O N N4 Z 0 A1 ,
 2.1912 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ca n a d a

          State the term remaining                        05/02/2018

          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h La y t o n La y t o n , 8 8 S Fa i r f i e l d , La y t o n , U T 8 4 0 4 1 -
 2.1913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 7 1 )
        nature of the debtor's interest                                                                                                              4440

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s , 3 3 4 0 E An d y De v i n e Av e n u e 1 0 1 ,
 2.1914 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 2 )
                                                                                                                                                     Ki n g m a n , A Z 8 6 4 0 1 - 3 7 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s , 7 0 1 Gr e a t Ba s i n Bl v d , El y, N V 8 9 3 0 1 - 2 0 6 9
 2.1915 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s - Am m o n , C- a - l Ra n c h St o r e s , At t n : Do u g
 2.1916 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 0 6 )
        nature of the debtor's interest                                                                                                              Cr a i g , 1 0 2 7 S 2 5 E, Am m o n , I D 8 3 4 0 6 - 5 7 6 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s - Bo u n t i f u l , 5 3 5 S Ma i n St , Bo u n t i f u l , U T
 2.1917 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 1 )
                                                                                                                                                     84010-6322
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s - Dr a p e r , 1 0 5 5 E Dr a p e r Pa r k w a y, Dr a p e r ,
 2.1918 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 1 )
                                                                                                                                                     UT 84020-9094
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C- a - l Ra n c h St o r e s 9 7 E- c o m m , 4 7 7 7 a We s t 1 0 4 0 0 S, Pa y s o n ,
 2.1919 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 6 )
        nature of the debtor's interest                                                                                                              UT 84651-4639

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Am e r i c a n Fo r k , 1 7 5 N We s t St a t e Rd ,
 2.1920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 0 8 )
                                                                                                                                                     Am e r i c a n Fo r k , U T 8 4 0 0 3 - 1 4 8 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Bl a c k f o o t , 2 5 0 N Me r i d i a n St , Bl a c k f o o t ,
 2.1921 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 0 9 )
                                                                                                                                                     ID 83221-1623
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Bu r l e y, 2 2 6 Ov e r l a n d Av e , Bu r l e y, I D
 2.1922 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 0 )
        nature of the debtor's interest                                                                                                              83318-1023

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Ca s a Gr a n d e , 1 1 1 6 Ea s t Fl o r e n c e Bl v d ,
 2.1923 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 1 6 )
                                                                                                                                                     Ca s a Gr a n d e , A Z 8 5 1 2 2 - 4 2 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Ce d a r Ci t y, 7 5 0 S Ma i n St , Ce d a r Ci t y, U T
 2.1924 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 1 )
                                                                                                                                                     84720-3558
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Ch u b b u c k , 4 2 1 5 Ye l l o w s t o n e Av e ,
 2.1925 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 4 )
        nature of the debtor's interest                                                                                                              Ch u b b u c k , I D 8 3 2 0 2 - 2 4 2 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s El k o , 2 4 3 0 Mo u n t a i n Ci t y Hi g h w a y, El k o ,
 2.1926 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 3 0 )
                                                                                                                                                     NV 89801-4601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C- a - l Ra n c h St o r e s Fa r r We s t , 9 5 5 N 2 0 0 0 W, Fa r r We s t , U T
 2.1927 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 2 )
                                                                                                                                                     84404-9558
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Fl a g s t a f f , 2 5 3 0 N 4 t h St r e e t , Fl a g s t a f f , A Z
 2.1928 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 9 6 )
        nature of the debtor's interest                                                                                                              86004-3705

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Go o d y e a r , 2 0 7 5 N. Pe b b l e Cr e e k Pk w y,
 2.1929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 5 )
                                                                                                                                                     Go o d y e a r , A Z 8 5 3 9 5 - 2 5 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s La s Ve g a s , 2 3 2 N Jo n e s Bl v d , La s Ve g a s ,
 2.1930 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 3 4 )
                                                                                                                                                     NV 89107-1111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Lo g a n , 1 7 5 0 N Ma i n St , Lo g a n , U T 8 4 3 4 1 -
 2.1931 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 3 )
        nature of the debtor's interest                                                                                                              6899

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Pr e s c o t t , 1 0 4 8 Wi l l o w Cr e e k Rd , Pr e s c o t t ,
 2.1932 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 0 3 )
                                                                                                                                                     AZ 86301-1642
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Pr e s c o t t Va l l e y, 5 7 5 7 Ea s y St a t e Ro u t e 6 9 ,
 2.1933 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 6 )
                                                                                                                                                     Pr e s c o t t Va l l e y, A Z 8 6 3 1 4 - 2 8 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Re n o , 3 4 0 0 Ki e t z k e La n e , Re n o , N V 8 9 5 0 2 -
 2.1934 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 1 )
        nature of the debtor's interest                                                                                                              4733

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C- a - l Ra n c h St o r e s Re x b u r g , 5 3 0 N 2 n d Ea s t Su i t e 2 , Re x b u r g ,
 2.1935 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 5 )
                                                                                                                                                     ID 83440-1608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Sh o w Lo w, 7 5 0 W De u c e Of Cl u b s Rd ,
 2.1936 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 5 8 )
                                                                                                                                                     Sh o w Lo w, A Z 8 5 9 0 1 - 4 8 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Si e r r a Vi s t a , 6 7 3 N Hi g h w a y 9 0 By p , Si e r r a
 2.1937 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 1 )
        nature of the debtor's interest                                                                                                              Vi s t a , A Z 8 5 6 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Sp a n i s h Fo r k , 9 5 0 N Ma i n St , Sp a n i s h Fo r k ,
 2.1938 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 6 )
                                                                                                                                                     UT 84660-1151
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Sp e c Or d s , 6 6 5 a E An d e r s o n , Id a h o Fa l l s ,
 2.1939 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 4 )
                                                                                                                                                     ID 83401-2020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s St Ge o r g e , 2 8 4 9 Ea s t 8 5 0 No r t h , St Ge o r g e ,
 2.1940 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 4 0 )
        nature of the debtor's interest                                                                                                              UT 84790-5841

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s To o e l e , 8 6 2 N Ma i n St , To o e l e , U T 8 4 0 7 4 -
 2.1941 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 0 7 )
                                                                                                                                                     1614
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Ve r n a l , 1 1 8 0 W Hi g h w a y 4 0 , Ve r n a l , U T
 2.1942 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 3 6 )
        nature of the debtor's interest                                                                                                              84078-2922

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C- a - l Ra n c h St o r e s We s t Jo r d a n , 2 7 3 5 We s t 7 8 0 0 So u t h , We s t
 2.1943 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 4 5 )
        nature of the debtor's interest                                                                                                              Jo r d a n , U T 8 4 0 8 8 - 3 7 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s Yu m a , 5 2 9 W 3 2 n d St , Yu m a , A Z 8 5 3 6 4
 2.1944 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s ( d i s t Ct r ) Pa y s o n , 8 7 3 W Ut a h Av e , Pa y s o n ,
 2.1945 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 8 4 )
                                                                                                                                                     UT 84651
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C- a - l Ra n c h St o r e s c a r s o n Ci t y, C- a - l Ra n c h St o r e s Ca r s o n Ci t y,
 2.1946 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 6 )
        nature of the debtor's interest                                                                                                              2 0 3 5 N Ca r s o n St , Ca r s o n Ci t y, N V 8 9 7 0 1 - 2 7 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C. W. Li n t Co m p a n y, Po Bo x 8 1 5 3 , El b u r n , I L 6 0 1 1 9
 2.1947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     C& h Tr u e Va l u e Ha r d w a r e , 1 4 0 3 Fr u i t v a l e Bl v d , Ya k i m a , WA
 2.1948 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 9 6 )
        nature of the debtor's interest                                                                                                              98902-1926

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C& i Tr u e Va l u e Hd w, 2 4 8 1 Br o d h e a d Rd , Al i q u i p p a , PA 1 5 0 0 1 -
 2.1949 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 )
        nature of the debtor's interest                                                                                                              4268

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     C& s Su p p l y Tr u e Va l u e , 1 9 5 1 N Ri v e r f r o n t Dr , Ma n k a t o , M N
 2.1950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 2 4 )
        nature of the debtor's interest                                                                                                              56001-3129

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     C& w Ha r d w a r e , 1 1 0 So u t h Ma i n St r e e t Us a , Ma r c e l i n e , M O
 2.1951 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 0 8 )
                                                                                                                                                     64658-1214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca Aq u i s i t i o n L L C, Ch i c a g o Ae r o s o l , 8 4 0 7 S 7 7 Th Av e ,
 2.1952 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Br i d g e v i e w, I L 6 0 4 5 5

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca a n Fl o r a l & Gr e e n h o u s e s , 4 4 2 2 S 1 2 t h St r e e t , Sh e b o y g a n , W I
 2.1953 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 5 0 )
                                                                                                                                                     53081-7810
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca b o t / Va l s p a r Co r p , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d , O H
 2.1954 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44115
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ca b o t / Va l s p a r Co r p , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d , O H
 2.1955 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44115

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ca b o t / Va l s p a r Co r p , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d , O H
 2.1956 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44115

          State the term remaining                        03/17/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ca b o t / Va l s p a r Co r p , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d , O H
 2.1957 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44115

          State the term remaining                        08/01/2022 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                     Ca d d o Pa i n t Co m p a n y In c , 4 8 0 E Be r t s Kn o w n s , Sh r e v e p o r t ,
 2.1958 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 4 )
                                                                                                                                                     LA 71106
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                  Page 245 of 1687
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca d d y s h a c k Go l f Co In c , 1 4 8 8 N 3 Rd St , Ja c k s o n v i l l e , F L
 2.1959 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     32250
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca d e t Ma n u f a c t u r i n g Co , 2 5 0 0 We s t Fo u r t h Pl a i n Bl v d , Po Bo x
 2.1960 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     1 6 7 5 , Va n c o u v e r , WA 9 8 6 6 8
        nature of the debtor's interest
          State the term remaining                        12/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ca d i l l a c Tr u e Va l u e Ha r d w a r e , 2 4 7 9 W Da v i s o n , De t r o i t , M I
 2.1961 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 8 )
        nature of the debtor's interest                                                                                                              48238-3545

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca f f c o In t ' l , Ca f f c o In t e r n a t i o n a l , P. O. Bo x 3 5 0 8 , 3 6 0 1
 2.1962 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              We t u m p k a Hw y, Mo n t g o m e r y, A L 3 6 1 0 9

          State the term remaining                        07/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Ca i n Tr u e Va l u e Ha r d w a r e , 2 2 4 S Sh e l b y St , Ca r t h a g e , T X
 2.1963 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 1 )
        nature of the debtor's interest                                                                                                              75663

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca i r n s Fa r m & Ho m e Se r v i c e In c . , 1 0 2 5 Gr e e n St r e e t ,
 2.1964 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 2 )
                                                                                                                                                     Gr e e n s b u r g , PA 1 5 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca j u n Tr u e Va l u e Ha r d w a r e , 6 0 7 E 1 s t St , Ka p l a n , L A 7 0 5 4 8 -
 2.1965 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 8 2 )
                                                                                                                                                     5101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca l Co l o r Gr o w e r s L L C, 4 0 0 Pe e b l e s Av e , Po Bo x 5 5 0 , Mo r g a n
 2.1966 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Hi l l , C A 9 5 0 3 8

          State the term remaining                        03/01/2016

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca l Tr u e Va l u e , 2 6 1 0 0 Ne w p o r t Ro a d 3 4 - a , Me n i f e e , C A
 2.1967 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 4 )
        nature of the debtor's interest                                                                                                              92584-9009

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca l - Te r m Pr o d u c t s In c , 6 1 0 0 N Ba k e r Ro a d , Mi l w a u k e e , W I
 2.1968 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     53209
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca l - Va n To o l s , 4 3 0 0 Wa t e r l e a f Co u r t , Gr e e n s b o r o , N C 2 7 4 1 0
 2.1969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ca l - Va n To o l s , 4 3 0 0 Wa t e r l e a f Co u r t , Gr e e n s b o r o , N C 2 7 4 1 0
 2.1970 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca l c u l a t e d In d u s t r i e s In c , 4 8 4 0 Hy t e c h Dr i v e , Ca r s o n Ci t y, N V
 2.1971 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              89706

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca l d w e l l Tr u e Va l u e , 2 3 2 1 Cl e v e l a n d Bl v d , Ca l d w e l l , I D
 2.1972 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 9 1 )
        nature of the debtor's interest                                                                                                              83605-4423

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca l e d o n i a Tr u e Va l u e , 5 2 0 Ol d Hi g h w a y Dr , Ca l e d o n i a , M N
 2.1973 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 9 2 )
                                                                                                                                                     55921-1317
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca l i Ba m b o o L L C, 6 6 7 5 Me s a Ri d g e Rd , Sa n Di e g o , C A 9 2 1 2 1
 2.1974 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1975 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1976 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1977 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1978 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1979 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Br a n d s , 2 0 5 5 S Ha v e n Av e , On t a r i o , C A 9 1 7 6 1
 2.1980 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i c o Co t t a g e In c , 2 1 0 Ne w Hi g h w a y, Am i t y v i l l e , N Y 1 1 7 0 1
 2.1981 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i d a d To t a l En Ce r a m i c a Sa p i d e c v, 3 5 0 An t Ca m i n o A La
 2.1982 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Hu a s t e c a , Zo n e In d u s t r i a l El Le c h u g a l , Sa n t a Ca t a r i n a , N L
        nature of the debtor's interest
                                                                                                                                                                 6 6 3 5 0 , Me x i c o
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca l i d a d To t a l En Ce r a m i c a Sa p i d e c v, 3 5 0 An t Ca m i n o A La
 2.1983 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hu a s t e c a , Zo n e In d u s t r i a l El Le c h u g a l , Sa n t a Ca t a r i n a , N L
                                                                                                                                                                 6 6 3 5 0 , Me x i c o
          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Ai r To o l s , 8 5 6 0 Si e m p r e Vi v a Rd , Sa n Di e g o , C A
 2.1984 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92154

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Ai r To o l s , 8 5 6 0 Si e m p r e Vi v a Rd , Sa n Di e g o , C A
 2.1985 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92154
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Ho t Wo o d In c , 5 9 2 0 E Li v e Oa k Rd , Lo d i , C A 9 5 2 4 0
 2.1986 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Sc e n t s , 1 8 8 5 0 Vo n Ka r m a n Av e , Ir v i n e , C A 9 2 6 1 2
 2.1987 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Sc e n t s , 1 8 8 5 0 Vo n Ka r m a n Av e , Ir v i n e , C A 9 2 6 1 2
 2.1988 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022 - 06/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l i f o r n i a Sc e n t s , 1 8 8 5 0 Vo n Ka r m a n Av e , Ir v i n e , C A 9 2 6 1 2
 2.1989 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l l a h a n Ha r d w a r e , 1 3 9 S We s t e r n Av e , Lo s An g e l e s , C A
 2.1990 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 0 )
        nature of the debtor's interest                                                                                                                          90004-4101

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca l l a h a n s T V Ge n e r a l St o r e , 5 0 1 Hw y 1 8 3 So u t h , Au s t i n , T X
 2.1991 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 6 0 )
                                                                                                                                                                 78741-3601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l l a w a y Tr u e Va l u e , 1 0 5 E Ki m b a l l St , Ca l l a w a y, N E 6 8 8 2 5 -
 2.1992 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 5 )
                                                                                                                                                                 2599
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l l i c o o n Tr u e Va l u e , 3 0 Vi a d u c t Ro a d , Ca l l i c o o n , N Y 1 2 7 2 3
 2.1993 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l u m e t Br a n d e d Pr o d u c t s , L L C, 2 7 8 0 Wa t e r f r o n t Pa r k w a y E
 2.1994 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr , In d i a n a p o l i s , I N 4 6 2 1 4
        nature of the debtor's interest
          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ca l u m e t Br a n d e d Pr o d u c t s , L L C, 2 7 8 0 Wa t e r f r o n t Pa r k w a y E
 2.1995 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Dr , In d i a n a p o l i s , I N 4 6 2 1 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca l u m e t Br a n d e d Pr o d u c t s , L L C, 2 7 8 0 Wa t e r f r o n t Pa r k w a y E
 2.1996 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Dr , In d i a n a p o l i s , I N 4 6 2 1 4

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m To o Ca m e l l i a Nu r s e r y In c , 8 0 5 Oa k b u r y Ct , Gr e e n s b o r o ,
 2.1997 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NC 27455
        nature of the debtor's interest
          State the term remaining                        01/25/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m a s Cr e e k Co u n t r y St o r e , 1 1 3 Us Hw y 2 0 We s t , P. o . Bo x
 2.1998 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 6 3 )
                                                                                                                                                                 1 0 4 , Fa i r f i e l d , I D 8 3 3 2 7 - 5 5 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca m b r i a Ag w a y, 4 6 4 S Ce n t e r St r e e t , Eb e n s b u r g , PA 1 5 9 3 1
 2.1999 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m b r i a Tr u e Va l u e , 2 3 4 5 B Vi l l a g e Ln , Ca m b r i a , C A 9 3 4 2 8 -
 2.2000 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 1 9 )
                                                                                                                                                                 3430
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m b r i d g e , 1 1 5 As h l a n d St N, Ca m b r i d g e , M N 5 5 0 0 8 - 1 1 5 2
 2.2001 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m b r i d g e Ta y l o r Re n t a l , Ta y l o r Re n t a l , 3 5 2 Mc g r a t h
 2.2002 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 7 2 )
        nature of the debtor's interest                                                                                                                          Hi g h w a y, So m e r v i l l e , M A 0 2 1 4 3 - 2 1 1 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m b r i d g e - w i l l c a l l Ac c o u n t , 3 5 5 Ga r f i e l d St So u t h ,
 2.2003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 1 )
                                                                                                                                                                 Ca m b r i d g e , M N 5 5 0 0 8 - 1 3 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2004 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2005 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2006 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2007 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2008 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2009 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2010 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2011 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2012 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2013 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca m c o Mf g , 1 2 1 La n d m a r k Dr i v e , Gr e e n s b o r o , N C 2 7 4 0 9
 2.2015 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m e l o t Ga r d e n s , Ca m e l o t Ga r d e n s H& g s , 1 6 6 1 2 S To w n s e n d
 2.2016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 2 1 )
                                                                                                                                                                 Av e , Mo n t r o s e , C O 8 1 4 0 1 - 5 4 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m e r o n ' s Ha r d w a r e & Su p p l y, 2 1 9 5 Ba l t i m o r e Pi k e , Ox f o r d ,
 2.2017 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 6 )
        nature of the debtor's interest                                                                                                                          PA 1 9 3 6 3 - 4 0 1 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p Ab b o t Ac e Ha r d w a r e , 5 6 8 2 0 Ve n t u r e La n e , Su n r i v e r , O R
 2.2018 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 4 9 )
                                                                                                                                                                 97707-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p Ch e f , 3 9 8 5 No r t h 7 5 We s t , Hy d e Pa r k , U T 8 4 3 1 8
 2.2019 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p a n i a In t e r n a t i o n a l In c . , 2 4 5 2 Qu a k e r t o w n Ro a d , Su i t e
 2.2020 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          1 0 0 , Pe n n s b u r g , PA 1 8 0 7 3

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l Ha u s f e l d , 6 7 0 0 Wi l d l i f e Wa y, , Lo n g Gr o v e , I L 6 0 0 4 7
 2.2021 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l Ha u s f e l d , 6 7 0 0 Wi l d l i f e Wa y, , Lo n g Gr o v e , I L 6 0 0 4 7
 2.2022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca m p b e l l Ha u s f e l d , 6 7 0 0 Wi l d l i f e Wa y, , Lo n g Gr o v e , I L 6 0 0 4 7
 2.2023 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l ' s Ha r d w a r e # 2 0 4 , Ca m b e l l ' s Ha r d w a r e 2 0 4 , 6 6 Ma i n
 2.2024 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 8 )
                                                                                                                                                                 St , Ma d i s o n , M E 0 4 9 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l ' s Ha r d w a r e # 2 0 5 , Ca m b e l l ' s Ha r d w a r e 2 0 5 , 3 9 8
 2.2025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 9 )
                                                                                                                                                                 Ma d i s o n Av e n u e , Sk o w h e g a n , M E 0 4 9 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l ' s Ha r d w a r e # 2 0 6 , Ca m p b e l l ' s Ha r d w a r d 2 0 6 , 3 0
 2.2026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 0 )
        nature of the debtor's interest                                                                                                                          Ga r l a n d Ro a d , Wi n s l o w, M E 0 4 9 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l ' s Ha r d w a r e # 2 0 7 , Ca m p b e l l ' s Ha r d w a r e 2 0 7 , 5 3 5
 2.2027 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 1 )
        nature of the debtor's interest                                                                                                                          Ma i n e Av e , Fa r m i n g d a l e , M E 0 4 3 4 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p b e l l s p o r t Tr u e Va l u e , 1 3 1 E Ma i n St , Ca m p b e l l s p o r t , W I
 2.2028 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 6 1 )
        nature of the debtor's interest                                                                                                                          53010-0910

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p i o n i Tr u e Va l u e , 1 0 4 St e p h e n s o n Av e , Ir o n Mo u n t a i n , M I
 2.2029 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 6 9 )
                                                                                                                                                                 49801-2934
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p i o n i Tr u e Va l u e , 2 5 6 6 4 Co p p e r Ki n g Wa y, Ca l u m e t , M I
 2.2030 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 3 )
                                                                                                                                                                 49913-2558
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca m p s Tr u e Va l u e Ha r d w a r e , 1 0 7 0 E Po w e l l Bl v d , Gr e s h a m ,
 2.2031 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 6 3 1 )
                                                                                                                                                                 OR 97030-8030
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca m p u s Pr o d u c t s In c , 2 8 7 1 Br i g h t o n Rd , Oa k v i l l e , O N L6 H
 2.2032 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          6 C9 , Ca n a d a

          State the term remaining                        06/11/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ca n - Am Pe p p e r Co m p a n y Li m i t e d , 5 2 9 9 9 Jo h n Wi s e Li n e ,
 2.2033 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ay l m e r , O N N5 H 2 R5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        04/04/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ca n a i m a Ou t d o o r s In c , 5 2 7 7 Ma n h a t t a n Ci r c l e , Su i t e 2 0 0 ,
 2.2034 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo u l d e r , C O 8 0 3 0 3

          State the term remaining                        12/04/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ca n b y Tr u e Va l u e , 2 0 4 Sa i n t Ol a f Av e N, Ca n b y, M N 5 6 2 2 0 -
 2.2035 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 8 )
                                                                                                                                                                 1374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca n d l e La m p Co , 1 8 8 0 Co m p t o n Av e , Co r o n a , C A 9 2 8 8 1
 2.2036 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ca n d l e Li t e , 1 0 5 2 1 Mi l l i n g t o n , Po Bo x 4 2 3 6 4 , Ci n c i n n a t i , O H
 2.2037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45242

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca n d l e Li t e , 1 0 5 2 1 Mi l l i n g t o n , Po Bo x 4 2 3 6 4 , Ci n c i n n a t i , O H
 2.2038 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45242
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca n d l e Li t e , 1 0 5 2 1 Mi l l i n g t o n , Po Bo x 4 2 3 6 4 , Ci n c i n n a t i , O H
 2.2039 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     45242
        nature of the debtor's interest
          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ca n d l e Li t e , 1 0 5 2 1 Mi l l i n g t o n , Po Bo x 4 2 3 6 4 , Ci n c i n n a t i , O H
 2.2040 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              45242

          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ca n d l e Wa r m e r s Et c , 1 2 3 9 7 S 3 0 0 E, Ea s t Su i t e 4 0 0 , Dr a p e r ,
 2.2041 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     UT 84020
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ca n d l e Wa r m e r s Et c , 1 2 3 9 7 S 3 0 0 E, Ea s t Su i t e 4 0 0 , Dr a p e r ,
 2.2042 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              UT 84020

          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ca n i n e Ha r d w a r e In c , Po Bo x 8 8 3 3 9 , Se a t t l e , WA 9 8 1 3 8
 2.2043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/18/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ca n n o n Fa l l s Ac e , 3 1 2 6 2 6 4 t h Av e Pa t h , Ca n n o n Fa l l s , M N
 2.2044 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 6 3 )
                                                                                                                                                     55009-7162
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca n t e l m i ' s Ha r d w a r e , 5 2 1 - 5 2 9 E 4 t h St . , Be t h l e h e m , PA 1 8 0 1 5
 2.2045 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca n t e r b u r y En t e r p r i s e s , 1 7 0 Va n d e r St r e e t , Su i t e A, Co r o n a , C A
 2.2046 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              92880

          State the term remaining                        02/01/2013

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca n t e x In d u s t r i e s , 3 0 1 Co m m e r c e St r e e t , Su i t e 2 7 0 0 , Fo r t
 2.2047 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wo r t h , T X 7 6 1 0 2

          State the term remaining                        06/11/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ca n v a Us , In c . , 2 0 0 E. 6 Th St , Au s t i n , T X 7 8 7 0 1
 2.2048 State what the contract or lease is for and the
                                                          So f t w a r e , Ca n v a U S A, In c . - Ma r k e t i n g
        nature of the debtor's interest
          State the term remaining                        05/24/2024 - 05/23/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ca p e Co d Po l i s h Co . , In c . , Ca p e Co d Po l i s h Co , In c , P. O. Bo x
 2.2049 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 2 0 3 9 , 3 4 8 Ho k u m Ro c k Rd , De n n i s , M A 0 2 6 3 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca p g e m i n i Am e r i c a , In c . , 7 9 Fi f t h Av e , 3 Rd Fl o o r , Ne w Yo r k ,
 2.2050 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ca p Ge m i n i Ma s t e r Se r v i c e Ag r e e m e n t
                                                                                                                                                                 NY 10003
        nature of the debtor's interest
          State the term remaining                        06/30/2020 - 06/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ca p i t a l Ag w a y, 1 3 3 3 Ny Ro u t e 7 , Tr o y, N Y 1 2 1 8 0 - 9 9 9 8
 2.2051 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca p i t a l Lb r Tr u e Va l u e Hd w e , 1 2 2 2 Du n n Av e , Ch e y e n n e , W Y
 2.2052 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 0 )
        nature of the debtor's interest                                                                                                                          82001-4837

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca p i t a l Lb r Tr u e Va l u e Hd w e , Ca p i t a l Lb r Tr u e Va l u e , 3 1 0 5 W
 2.2053 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 3 1 )
                                                                                                                                                                 St a t e St , Bo i s e , I D 8 3 7 0 3 - 5 8 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca p i t a l Pa i n t & Tr u e Va l u e Ha r d w a r e , 3 1 5 5 Am b o y Ro a d ,
 2.2054 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 3 )
                                                                                                                                                                 St a t e n Is l a n d , N Y 1 0 3 0 6 - 2 7 9 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Be l t , 1 2 3 4 0 Co n w a y Ro a d , Be l t s v i l l e ,
 2.2055 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 1 )
        nature of the debtor's interest                                                                                                              MD 20705-1305

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Ha g e , 1 2 2 5 Ma r y l a n d Av e ,
 2.2056 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 7 )
                                                                                                                                                     Ha g e r s t o w n , M D 2 1 7 4 0 - 7 2 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Je s s , 8 2 0 5 Pa t u x e n t Ra n g e Ro a d ,
 2.2057 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 9 )
                                                                                                                                                     Je s s u p , M D 2 0 7 9 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Ma n a , 8 4 2 9 Eu c l i d Av e . , Ma n a s s a s
 2.2058 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 6 )
        nature of the debtor's interest                                                                                                              Pa r k , VA 2 0 1 1 1 - 2 3 7 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Ph i l , 2 0 3 5 Ri c h m o n d St r e e t ,
 2.2059 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 0 )
                                                                                                                                                     Ph i l a d e l p h i a , PA 1 9 1 2 5 - 4 3 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Bu i l d i n g Su p p l y Sp r g , 7 6 2 2 Ba c k l i c k Rd . , Sp r i n g f i e l d ,
 2.2060 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 8 )
                                                                                                                                                     VA 2 2 1 5 0 - 2 2 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Ea r t h Ru g s , 8 0 0 1 As s e m b l y Co u r t # 2 3 , Li t t l e Ro c k , A R
 2.2061 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              72209

          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ca p i t o l Pi p e & Su p p l y, 4 0 3 8 0 Me a d o w Vi s t a Dr , Oa k h u r s t , C A
 2.2062 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 0 )
                                                                                                                                                     93644
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca p p Us a , 2 0 1 Ma r p l e Av e n u e , Cl i f t o n He i g h t s , PA 1 9 0 1 8 - 2 4 9 8
 2.2063 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r Fr e s h n e r Co r p , 2 1 2 0 5 Li t t l e Tr e e Dr i v e , Po Bo x 7 1 9 ,
 2.2064 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wa t e r t o w n , N Y 1 3 6 0 1

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ca r Fr e s h n e r Co r p , 2 1 2 0 5 Li t t l e Tr e e Dr i v e , Po Bo x 7 1 9 ,
 2.2065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Wa t e r t o w n , N Y 1 3 6 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ca r Fr e s h n e r Co r p , 2 1 2 0 5 Li t t l e Tr e e Dr i v e , Po Bo x 7 1 9 ,
 2.2066 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Wa t e r t o w n , N Y 1 3 6 0 1
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ca r Fr e s h n e r Co r p , 2 1 2 0 5 Li t t l e Tr e e Dr i v e , Po Bo x 7 1 9 ,
 2.2067 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wa t e r t o w n , N Y 1 3 6 0 1

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ca r a v a n In t ' l , Ca r a v a n In t e r n a t i o n a l , 2 8 3 9 E El Pr e s i d i o St ,
 2.2068 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ca r s o n , C A 9 0 8 1 0
        nature of the debtor's interest
          State the term remaining                        08/02/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ca r d ' s Tr u e Va l u e , 3 0 7 S Ma i n St , Ca m d e n , M I 4 9 2 3 2
 2.2069 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r e Su p p l y, 8 8 8 El m Hi l l Pi k e , Na s h v i l l e , T N 3 7 2 1 0 - 4 1 5 0
 2.2070 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Ca r e e r b u i l d e r , L L C, 2 0 0 No r t h La s a l l e St r e e t , Su i t e 1 1 0 0 ,
 2.2071 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Ca r e e r Bu i l d e r M S A - Hu m a n Re s o u r c e s
                                                                                                                                                           Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest
          State the term remaining                        01/05/2016 - 01/04/2026

          List the contract number of any government
          contract
                                                                                                                                                           Ca r e e r b u i l d e r , L L C, 2 0 0 No r t h La s a l l e St r e e t , Su i t e 1 1 0 0 ,
 2.2072 State what the contract or lease is for and the   H R Se r v i c e s , Ca r e e r Bu i l d e r Or d e r f o r m Re n e w a l f o r H R 2 0 2 4 -
                                                                                                                                                           Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest                   2026

          State the term remaining                        03/31/2024 - 03/30/2026

          List the contract number of any government
          contract
                                                                                                                                                           Ca r e n Pr o d u c t s L L C, 3 0 8 0 No r t h f i e l d Pl a c e , Su i t e 1 0 6 ,
 2.2073 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    Ro s w e l l , G A 3 0 0 7 6

          State the term remaining                        02/02/2007

          List the contract number of any government
          contract
                                                                                                                                                           Ca r g i l l In c , P. O. Bo x 9 3 0 0 , Mi n n e a p o l i s , M N 5 5 4 4 0
 2.2074 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Ca r g i l l In c , Po Bo x 9 3 0 0 , Mi n n e a p o l i s , M N 5 5 4 4 0
 2.2075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                           Ca r g o So l u t i o n Ex p r e s s In c . , 1 4 5 8 7 Va l l e y Bl v d , Fo n t a n a , C A
 2.2076 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ca r g o So l u t i o n Ex p r e s s In c . Ca r r i e r
        nature of the debtor's interest                   Ag r e e m e n t                                                                                 92335

          State the term remaining                        05/01/2018 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                           Ca r h a r t t In c , 5 7 5 0 Me r c u r y Dr i v e , De a r b o r n , M I 4 8 1 2 6
 2.2077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        01/03/2011

          List the contract number of any government
          contract
                                                                                                                                                           Ca r l Jo h n s o n Hd w e , 3 9 5 0 Ja c o b s Av e , Eu r e k a , C A 9 5 5 0 1 - 0 9 1 3
 2.2078 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                       Ca r l i s l e Ca r r i e r Co r p , 1 5 1 3 E. Co m m e r c e , Me c h a n i c s b u r g , PA
 2.2079 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ca r l i s l e Ca r r i e r Co r p Ca r r i e r Ag r e e m e n t
        nature of the debtor's interest                                                                                                                                17055

          State the term remaining                        12/12/2016 - 12/11/2024

          List the contract number of any government
          contract
                                                                                                                                                                       Ca r l i s l e Co u n t r y Li v i n g , 5 2 0 E No r t h St . , Ca r l i s l e , PA 1 7 0 1 3
 2.2080 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                       Ca r l i s l e En t e r p r i s e s In c , 2 3 7 Da t o Dr i v e , St r e a m w o o d , I L
 2.2081 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Pr o v i d e m a i n t e n a n c e a n d r e p a i r s f o r 1 0 4
                                                                                                                                                                       60631
        nature of the debtor's interest                   H P Pr i n t e r s a t R S C.

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                       Ca r l i s l e Fo o d s e r v i c e Pr o d u c t , 8 0 5 W Ra n d o l p h , Ch i c a g o , I L
 2.2082 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                60607

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                       Ca r l s Tr u e Va l u e Hd w. , 7 8 N El m St , To r r i n g t o n , C T 0 6 7 9 0 -
 2.2083 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 1 5 )
                                                                                                                                                                       4603
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                       Ca r m i c h a e l ' s Ha r d w a r e , 8 1 5 0 Fa l l s Av e S E, Sn o q u a l m i e , WA
 2.2084 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 0 2 )
        nature of the debtor's interest                                                                                                                                98065-9677

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                       Ca r o l i n a Ha n d l i n g , 4 8 3 5 Si r o n a Dr , Su i t e 1 0 0 , Ch a r l o t t e , N C
 2.2085 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Jo n e s b o r o Fl e e t Se r v i c e
        nature of the debtor's interest                   Ma i n t e n a n c e Ag r e e m e n t                                                                        28273

          State the term remaining                        03/15/2022 - 03/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Ca r o l i n a No r t h Mf g In c , 1 3 2 5 So u t h Pa r k Dr , Ke r n e r s v i l l e , N C
 2.2086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                27284

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ca r o l i n a Tr u e Va l u e , 2 1 8 W 2 n d Lo o p Rd , Fl o r e n c e , S C 2 9 5 0 5 -
 2.2087 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 3 5 )
                                                                                                                                                     2810
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r p e t De p o t Ho m e Ce n t e r , 1 2 7 5 6 Du n n i n g s Hw y. , St e 3 ,
 2.2088 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 5 )
        nature of the debtor's interest                                                                                                              Cl a y s b u r g , PA 1 6 6 2 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r Ha r d w a r e , 1 7 9 St a t e Ro a d , No r t h Ad a m s , M A 0 1 2 4 7 - 3 9 2 7
 2.2089 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r Ha r d w a r e , 2 5 6 Ma i n St , Gr e a t Ba r r i n g t o n , M A 0 1 2 3 0 -
 2.2090 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 7 )
                                                                                                                                                     1607
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r Ha r d w a r e , 3 2 0 We s t Ma i n St r e e t , Av o n , C T 0 6 0 0 1 - 3 6 3 9
 2.2091 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r Ha r d w a r e , 4 9 5 Pi t t s f i e l d Ro a d , Le n o x , M A 0 1 2 4 0 - 2 1 3 2
 2.2092 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r Ha r d w a r e , 5 4 7 No r t h St , Pi t t s f i e l d , M A 0 1 2 0 1 - 4 1 0 1
 2.2093 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 4 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ca r r ' s Ho m e Ce n t e r - Mo u n t a i n Ho m e , Ca r r ' s Ho m e Ce n t e r , 1 2 0
 2.2094 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 4 )
                                                                                                                                                     S 3 r d E, Mo u n t a i n Ho m e , I D 8 3 6 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Ca r r o l l Co u n t y Tr u e Va l u e , 1 2 7 3 Al c o Wa y s , De l p h i , I N 4 6 9 2 3 -
 2.2095 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 2 )
                                                                                                                                                            9309
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ca r r o l l Co u n t y Tr u e Va l u e , 4 0 0 1 Ho u c k Av e , Ha m p s t e a d , M D
 2.2096 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 7 1 )
                                                                                                                                                            21074-1868
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ca r r o l l Fu l m e r Lo g i s t i c s Co r p o r a t i o n , 8 3 4 0 Am e r i c a n Wa y,
 2.2097 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ca r r o l l Fu l m e r Lo g i s t i c s
        nature of the debtor's interest                   Ca r r i e r Ag r e e m e n t                                                                     Gr o v e l a n d , F L 3 4 7 3 6

          State the term remaining                        03/01/2019 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                            Ca r r o l l Fu l m e r Lo g i s t i c s Co r p o r a t i o n , 8 3 4 0 Am e r i c a n Wa y,
 2.2098 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ca r r o l l Fu l m e r Lo g i s t i c s
                                                          Ca r r i e r Am e n d m e n t 2 0 2 5                                                             Gr o v e l a n d , F L 3 4 7 3 6
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 02/01/2025

          List the contract number of any government
          contract
                                                                                                                                                            Ca r r o l l Is l a n d Tr u e Va l u e Ha r d w a r e , Ca r r o l l Is l a n d Tr u e Va l u e
 2.2099 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 8 9 )
        nature of the debtor's interest                                                                                                                     Ha r d , 1 2 4 Ca r r o l l Is l a n d Rd , Ba l t i m o r e , M D 2 1 2 2 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ca r r o l l t o n Tr u e Va l u e Ha r d w a r e , 3 4 2 0 Ca r r o l l t o n Rd ,
 2.2100 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 5 8 )
                                                                                                                                                            Ca r r o l l t o n , M I 4 8 7 2 4 - 5 0 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ca r r y - On Tr a i l e r , In c . , Po Bo x 5 4 2 , 1 0 1 Jo e Ha r v e y St r e e t ,
 2.2101 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            La v o n i a , G A 3 0 5 5 3
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                            Ca r s n e r Tr u e Va l u e Ha r d w a r e , 1 1 7 W Ma i n St , Ca r d i n g t o n , O H
 2.2102 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 9 3 )
        nature of the debtor's interest                                                                                                                     43315-1008

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ca r s o n , 3 1 2 5 Nw 3 5 Th Av e , Po r t l a n d , O R 9 7 2 1 0
 2.2103 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ca r s o n Bu l k Fu e l Re n e w a l 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                      Ca r s o n Ci t y Tr u e Va l u e , 1 3 2 W Ma i n St , Ca r s o n Ci t y, M I
 2.2104 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 0 )
                                                                                                                                                      48811-9756
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ca r t e r Ho f f m a n n L L C, 1 5 5 1 Mc c o r m i c k Bl v d , Mu n d e l e i n , I L
 2.2105 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               60060

          State the term remaining                        08/30/2012

          List the contract number of any government
          contract
                                                                                                                                                      Ca r t e r s Ge n e r a l St o r e s , 1 0 & 1 1 Hi g h St , Br i d g e t o w n , St
 2.2106 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 8 3 )
                                                                                                                                                      Mi c h a e l , Ba r b a d o s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ca r t h a g e Ha r d w a r e , 1 1 9 E 3 r d St r e e t , Ca r t h a g e , M O 6 4 8 3 6 -
 2.2107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 3 )
        nature of the debtor's interest                                                                                                               6483

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ca r y St o r e , 2 0 3 Ja n d u s Rd Do c 4 2 , Ca r y, I L 6 0 0 1 3 - 2 8 6 1
 2.2108 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 5 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ca s c a d e Ha r d w a r e , 7 2 0 S Ma i n St r e e t , Ca s c a d e , I D 8 3 6 1 1 - 0 0 0 1
 2.2109 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ca s c a d e Pa i n t & Su p p l y, 1 2 2 0 Ca l i f o r n i a St , Re d d i n g , C A
 2.2110 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 8 )
                                                                                                                                                      96001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ca s e v i l l e Tr u e Va l u e Ha r d w a r e , 6 9 6 7 Ma i n St r e e t , P O Bo x
 2.2111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 4 )
        nature of the debtor's interest                                                                                                                          1 0 9 6 , Ca s e v i l l e , M I 4 8 7 2 5 - 5 1 1 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca s h & Ca r r y Lu m b e r , 2 0 3 1 s t St S, Ne w Ro c k f o r d , N D 5 8 3 5 6
 2.2112 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca s s e l t o n Ha r d w a r e Ha n k , 7 1 4 Fr o n t St r e e t , P. o . Bo x 8 2 1 ,
 2.2113 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 6 5 )
        nature of the debtor's interest                                                                                                                          Ca s s e l t o n , N D 5 8 0 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca t Fo o t w e a r , 9 3 4 1 Co u r t l a n d Dr , Ro c k f o r d , M I 4 9 3 5 1
 2.2114 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca t Fo o t w e a r , 9 3 4 1 Co u r t l a n d Dr , Ro c k f o r d , M I 4 9 3 5 1
 2.2115 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca u d e l l Tr u e Va l u e Lu m b e r , 1 6 2 Sh e e k St , Mo c k s v i l l e , N C
 2.2116 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 7 6 )
                                                                                                                                                                 27028-2246
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ca u l k Sa v e r s / Pm Mo l d i n g / Sa v e r Pr o d , 8 0 0 Es t e s Av e ,
 2.2117 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sc h a u m b u r g , I L 6 0 1 9 3

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ca v e Cr e e k Bu i l d i n g Su p p l y, 6 9 4 8 E Ca v e Cr e e k Rd , Ca v e
 2.2118 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 9 0 )
                                                                                                                                                                 Cr e e k , A Z 8 5 3 3 1 - 8 6 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Ca y a n , 1 Fe d e r a l St r e e t , 2 Nd Fl o o r , Bo s t o n , M A 0 2 1 1 0
 2.2119 State what the contract or lease is for and the
                                                          So f t w a r e , M S A f o r Li c e n s e , Su p p o r t & Ma i n t f o r P O S c r e d i t
        nature of the debtor's interest                   c a r d s y s t e m f o r r e t a i l s t o r e s . In c l u d e s a Pl a t f o r m a g r e e m e n t
                                                          ( t e m p l a t e ) b e t w e e n Ca y a n & Re t a i l St o r e s . Ca y a n t o p a y T V
                                                          1 5 % c o m m i s s i o n o f Ne t Re v e n u e g e n e r a t e d b y Me m b e r s .

          State the term remaining                        12/01/2017 - 11/30/2020

          List the contract number of any government
          contract
                                                                                                                                                                  Cb i g Re c r u i t i n g & St a f f i n g , 2 8 2 1 S Fa i r f i e l d Av e , Su i t e F,
 2.2120 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , C F V- C D I- C B I G Ex t e n s i o n 2 - C D W
        nature of the debtor's interest                   In t e r f a c e s . Ex t e n s i o n f o r C D W Co n s u l t a n t Ex t e n s i o n f o r 5           Lo m b a r d , I L 6 0 1 4 8
                                                          We e k s t o c o m p l e t e d e v e l o p m e n t a n d Un i t t e s t i n g o f 6 , 1 1 , 1 7 a ,
                                                          2 3 a n d I C0 0 2 b y Ju n e 6 t h e x a c d a t e s a r e T B D

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Cb k Gl o b a l En t e r p r i s e s In c , 1 7 5 0 N Wa s h i n g t o n St , Su i t e 1 2 0 ,
 2.2121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                  Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Cb s Tr a n s l a t i o n , 7 7 0 N. La Sa l l e Dr. , Su i t e 7 0 0 , Ch i c a g o , I L
 2.2122 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , C B S Tr a n s l a t i o n N D A
                                                                                                                                                                  60654
        nature of the debtor's interest
          State the term remaining                        03/09/2022 - 03/08/2027

          List the contract number of any government
          contract
                                                                                                                                                                  Cc 3 So l u t i o n s C/ O At & T, 1 3 0 7 5 Ma n c h e s t e r Rd . , St Lo u i s , M O
 2.2123 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , AT& T De d i c a t e d In t e r n e t -
        nature of the debtor's interest                   CARY                                                                                                    63131

          State the term remaining                        05/01/2023 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Cc p f , Pu b l i c , Is l Of Ba r t h e l e m y, St Ba r t h , Gu a d e l o u p e
 2.2124 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cc p f Ar t s - Me n a g e r s , Cc p f , Cc p f Ar t s - m e n a g e r s , Pu b l i c , Is l Of
 2.2125 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 3 )
                                                                                                                                                     Ba r t h e l e m y, St Ba r t h , Gu a d e l o u p e
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cc p f De p o t - Ba s , Cc p f , Cc p f De p o t , Pu b l i c , Is l Of Ba r t h e l e m y,
 2.2126 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 1 )
                                                                                                                                                     St Ba r t h , Gu a d e l o u p e
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cc p f De p o t Ha u t St b , Cc p f De p o t Ha u t St b , Pu b l i c , Is l Of
 2.2127 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 1 )
        nature of the debtor's interest                                                                                                              Ba r t h e l e m y, St Ba r t h , Gu a d e l o u p e

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cc p f Qu i n c a i l l e r i e , Cc p f , Cc p f Qu i n c a i l l e r i e , Pu b l i c , Is l Of
 2.2128 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 0 )
                                                                                                                                                     Ba r t h e l e m y, St Ba r t h , Gu a d e l o u p e
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cc s i In t e r n a t i o n a l In c , 8 6 4 2 Us - 2 0 , Ga r d e n Pr a i r i e , I L 6 1 0 3 8
 2.2129 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/02/2018

          List the contract number of any government
          contract
                                                                                                                                                     Cd c Os b o r n Dr u g s , 1 1 We s t Ce n t r a l , Mi a m i , O K 7 4 3 5 4 - 6 8 1 5
 2.2130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 5 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a , 4 3 1 5 7 W Ni n e Mi l e Rd , No v i , M I 4 8 3 7 5 - 4 1 1 7
 2.2131 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 4 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a B & W Ph a r m a c y In c , Di e t z Sh o p p i n g Ce n t e r , Be v e r l y,
 2.2132 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 8 0 )
                                                                                                                                                     OH 45715-8901
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cd m a Br i g h t o n Eg g e r t Ph a r m a c y In c , 9 3 5 Br i g h t o n Rd ,
 2.2133 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 5 2 )
        nature of the debtor's interest                                                                                                              To n a w a n d a , N Y 1 4 1 5 0 - 8 1 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Da l - h e r n Ph a r m a c y, 4 3 7 2 St a t e Ro u t e 1 4 7 , He r n d o n , PA
 2.2134 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 7 7 )
                                                                                                                                                     17830-7439
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Da v i d s o n Dr u g s , 6 5 9 5 Mi d n i g h t Pa s s Ro a d , Sa r a s o t a , F L
 2.2135 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 8 8 )
                                                                                                                                                     34242-2506
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Di s c o u n t Em p o r i u m # 1 , Cd m a Di s c o u n t Em p o r i u m 1 , 3
 2.2136 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 0 6 )
        nature of the debtor's interest                                                                                                              Ma l l Rd , Ba r b o u r s v i l l e , W V 2 5 5 0 4 - 1 8 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Di s c o u n t Em p o r i u m # 2 , Cd m a Di s c o u n t Em p o r i u m 2 ,
 2.2137 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 0 7 )
                                                                                                                                                     1 6 0 3 Ka n a w h a Bl v d We s t , Ch a r l e s t o n , W V 2 5 3 8 7 - 2 5 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Di s c o u n t Em p o r i u m # 3 , Cd m a Di s c o u n t Em p o r i u m 3 ,
 2.2138 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 0 8 )
                                                                                                                                                     5 1 0 1 Ma c c o r k l e Av e Sw, Ch a r l e s t o n , W V 2 5 3 0 4 - 1 1 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Dr u g Em p o r i u m , 1 6 0 4 4 t h Av e , Ch a r l e s t o n , W V 2 5 3 8 7 -
 2.2139 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 0 5 )
        nature of the debtor's interest                                                                                                              2414

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Dw a y n e ' s Fr i e n d l y Ph a r m a c y & Ha l l m a r k Sh o p , 6 4 4 W
 2.2140 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 7 4 )
                                                                                                                                                     Li n e St r e e t , Bi s h o p , C A 9 3 5 1 4 - 3 3 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cd m a Fr a n k l i n Ph a r m a c y, 1 7 3 2 Yo u n g s t o w n Rd , Wa r r e n , O H
 2.2141 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 2 5 )
                                                                                                                                                     44484-4254
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Lo u i s v i l l e Ph a r m a c y, 7 0 0 W Ma i n , Lo u i s v i l l e , O H
 2.2142 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 4 8 )
        nature of the debtor's interest                                                                                                              44641-1338

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Sa v Mo r Ca r l e t o n Dr u g s , 2 0 1 Me d i c a l Ce n t e r Dr. ,
 2.2143 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 9 )
                                                                                                                                                     Ca r l e t o n , M I 4 8 1 1 7 - 9 4 8 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Sa v e m a r t , 2 4 1 W Ro s e v i l l e Rd , La n c a s t e r , PA 1 7 6 0 1 -
 2.2144 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 1 0 )
                                                                                                                                                     3100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Th o m p s o n Ph a r m a c y, 6 0 0 E Ch e s t n u t Av e , Al t o o n a , PA
 2.2145 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 7 6 )
        nature of the debtor's interest                                                                                                              16601-5216

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a To w n v i l l e In c , 2 1 9 5 St a t e Ro u t e 4 4 2 , Mu n c y, PA 1 7 7 5 6 -
 2.2146 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 9 5 )
                                                                                                                                                     7600
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Va l u a b l e Dr u g s , 4 4 4 Sa w Mi l l Ri v e r Rd , C/ o Sa f e h a v e n ,
 2.2147 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 5 )
        nature of the debtor's interest                                                                                                              El m s f o r d , N Y 1 0 5 2 3 - 1 0 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cd m a Va l u e Dr u g , 1 9 5 Th e a t e r Dr i v e , Du n c a n s v i l l e , PA 1 6 6 3 5 -
 2.2148 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 6 9 )
        nature of the debtor's interest                                                                                                              7144

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Cd m a Zi t o m e r Ph a r m a c y, 9 6 9 Ma d i s o n Av e , Ne w Yo r k , N Y
 2.2149 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 6 7 )
                                                                                                                                                             10021-2763
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Cd w Di r e c t L L C, 2 0 0 N. Mi l w a u k e e Av e . , , Ve r n o n Hi l l s , I L
 2.2150 State what the contract or lease is for and the   Ha r d w a r e , Ha r v a r d + Ce n t r a l Sh i p Ce i l i n g Sw i t c h Re p l a c e m e n t
                                                                                                                                                             60061
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                             Cd w Di r e c t L L C, 2 0 0 N. Mi l w a u k e e Av e . , , Ve r n o n Hi l l s , I L
 2.2151 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , C D W M S P S A Am e n d m e n t
        nature of the debtor's interest                                                                                                                      60061

          State the term remaining                        02/02/2024 - 02/01/2027

          List the contract number of any government
          contract
                                                                                                                                                             Cd w Di r e c t L L C, 2 0 0 N. Mi l w a u k e e Av e . , , Ve r n o n Hi l l s , I L
 2.2152 State what the contract or lease is for and the
                                                          So f t w a r e , C D W Ca m t a s i a Sn a g i t Bu n d l e Li c e n s e a n d Ma i n t
                                                          2023                                                                                               60061
        nature of the debtor's interest
          State the term remaining                        10/11/2023 - 11/09/2024

          List the contract number of any government
          contract
                                                                                                                                                             Ce b u At l a n t i c Ha r d w a r e , In c , Ce b u At l a n t i c Ha r d w a r e i n c , 6 6 7 2
 2.2153 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 9 )
                                                                                                                                                             B Ar a n a s St Sa n Ni c o l a s Pr o p e r , Ce b u , Ph i l i p p i n e s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ce d a r La k e Tr u e Va l u e Ha r d w a r e , 9 7 0 8 W Li n c o l n Pl a z a , Ce d a r
 2.2154 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 5 )
        nature of the debtor's interest                                                                                                                      La k e , I N 4 6 3 0 3 - 8 7 9 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ce d a r Mo u n t a i n Tr u e Va l u e , 7 6 Mo v i e Ra n c h Rd , Du c k Cr e e k
 2.2155 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 4 5 )
        nature of the debtor's interest                                                                                                                      Vi l l a g e , U T 8 4 7 6 2 - 8 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ce i , 2 9 0 2 W 3 7 t h St r e e t , Br o o k l y n , N Y 1 1 2 2 4 - 1 4 1 2
 2.2156 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ce n t e r Gr e e n h o u s e In c , 1 5 5 0 E 7 3 Rd Av e , De n v e r , C O 8 0 2 2 9
 2.2157 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/10/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t e r Ha r d w a r e , 1 2 7 2 Fa r m i n g t o n Av e , Be r l i n , C T 0 6 0 3 7 -
 2.2158 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 5 0 )
                                                                                                                                                                 2358
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t e r e a c h Tr u e Va l u e Ha r d w a r e , 1 4 0 8 Mi d d l e Co u n t r y Rd ,
 2.2159 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 2 4 )
                                                                                                                                                                 Ce n t e r e a c h , N Y 1 1 7 2 0 - 3 5 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n & Pe t Co , 1 3 4 0 Tr e a t Bl v d , Su i t e 6 0 0 , Wa l n u t
 2.2160 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cr e e k , C A 9 4 5 9 7

          State the term remaining                        10/01/2023 - 09/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n & Pe t Co , 1 3 4 0 Tr e a t Bl v d , Su i t e 6 0 0 , Wa l n u t
 2.2161 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Cr e e k , C A 9 4 5 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n & Pe t Co , 1 3 4 0 Tr e a t Bl v d , Su i t e 6 0 0 , Wa l n u t
 2.2162 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Cr e e k , C A 9 4 5 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2164 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2165 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2166 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2167 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2168 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2169 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2170 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2171 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t r a l Ga r d e n Br a n d s , Po Bo x 2 7 7 7 4 3 , At l a n t a , G A 3 0 3 8 4
 2.2172 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ce n t r a l La k e Ha r d w a r e & Lu m b e r , 7 8 9 1 Ma p l e St , Ce n t r a l
 2.2173 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 8 )
                                                                                                                                                     La k e , M I 4 9 6 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l Li f e Sc i e n c e , 1 5 0 1 E Wo o d f i e l d Ro a d , Su i t e 2 0 0 We s t ,
 2.2174 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l Li f e Sc i e n c e , 1 5 0 1 E Wo o d f i e l d Ro a d , Su i t e 2 0 0 We s t ,
 2.2175 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l Pa i n t & Tr u e Va l u e , 1 2 0 6 Ri v e r St r e e t , Hy d e Pa r k , M A
 2.2176 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 7 )
        nature of the debtor's interest                                                                                                              02136-2906

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l Po w e r Di s t r i b u t o r s , 3 8 0 1 Th u r s t o n Av e , An o k a , M N
 2.2177 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              55303

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l St a t e s Di s t r i b u t i o n # 4 - Ev e n t # 7 1 5 3 , Ce n t r a l St a t e s
 2.2178 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 7 8 )
                                                                                                                                                     Di s t r i b u t i o n 4 , 3 3 Pc r 5 4 0 , Pe r r y v i l l e , M O 6 3 7 7 5 - 8 7 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l St a t e s Di s t r i b u t i o n Ce n t e r # 4 , Ce n t r a l St a t e s
 2.2179 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 5 3 )
                                                                                                                                                     Di s t r i b u t i o n Ce , 2 0 0 Bl a i n St , Sa i n t e Ge n e v i e v e , M O 6 3 6 7 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ce n t r a l Tr u e Va l u e , 3 0 8 G St , Ce n t r a l Ci t y, N E 6 8 8 2 6 - 1 7 3 2
 2.2180 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 6 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Ce n t r e Mi l l w o r k & t r u e Va l u e , 6 6 9 Lo n g Be a c h Bl v d , Lo n g
 2.2181 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 8 4 )
        nature of the debtor's interest                                                                                                                               Be a c h , N Y 1 1 5 6 1 - 2 2 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r i o n In c , 1 4 0 4 7 Pe t r o n e l l a Dr , Su i t e 1 0 1 , Li b e r t y v i l l e , I L
 2.2182 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               60048

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r i o n In c , 1 4 0 4 7 Pe t r o n e l l a Dr , Su i t e 1 0 1 , Li b e r t y v i l l e , I L
 2.2183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               60048

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r y Di s t r i b u t i o n Sy s t e m s , In c . , 4 8 6 0 Co x Ro a d , Su i t e 2 1 0 ,
 2.2184 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ce n t u r y Di s t r i b u t i o n Sy s t e m s - Ma s t e r
                                                          Lo g i s t i c s Ag r e e m e n t + Ra t e Ca r d 2 0 2 4 - 2 0 2 8                                         Gl e n Al l e n , VA 2 3 0 6 0
        nature of the debtor's interest
          State the term remaining                        02/01/2024 - 01/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r y Dr i l l & To o l Co In c , 1 1 6 0 Co n t r a c t Dr i v e , Gr e e n Ba y,
 2.2185 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      WI 12767
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r y Dr i l l & To o l Co In c , 1 1 6 0 Co n t r a c t Dr i v e , Gr e e n Ba y,
 2.2186 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               WI 12767

          State the term remaining                        09/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r y Dr i l l & To o l Co In c , 1 1 6 0 Co n t r a c t Dr i v e , Gr e e n Ba y,
 2.2187 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      WI 12767
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                      Ce n t u r y Gr o u p In c , Po Bo x 2 2 8 , Su l p h u r , L A 7 0 6 6 4
 2.2188 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ce n t u r y Ha r d w a r e , 4 3 0 9 Br o a d w a y, Ne w Yo r k , N Y 1 0 0 3 3 - 3 7 2 9
 2.2189 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Sp r i n g Co r p , 2 2 2 E 1 6 Th St , Lo s An g e l e s , C A 9 0 0 1 5
 2.2190 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Sp r i n g Co r p , 2 2 2 E 1 6 Th St , Lo s An g e l e s , C A 9 0 0 1 5
 2.2191 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Sp r i n g Co r p , 2 2 2 E 1 6 Th St , Lo s An g e l e s , C A 9 0 0 1 5
 2.2192 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Sp r i n g Co r p , 2 2 2 E 1 6 Th St , Lo s An g e l e s , C A 9 0 0 1 5
 2.2193 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Tr u e Va l u e , 2 7 5 E Su n r i s e Hw y, Li n d e n h u r s t , N Y
 2.2194 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 2 9 )
                                                                                                                                                                 11757-2513
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce n t u r y Wi r e & Ca b l e , 7 4 0 0 E Sl a u s o n Av e , Co m m e r c e , C A
 2.2195 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          90040

          State the term remaining                        08/01/2024 - 10/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r a m o Co m p a n y In c , Po Bo x 4 8 5 , 2 3 1 W Ja c k s o n Bl v d ,
 2.2196 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ja c k s o n , M O 6 3 7 5 5
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ce r a m o Co m p a n y In c , Po Bo x 4 8 5 , 2 3 1 W Ja c k s o n Bl v d ,
 2.2197 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ja c k s o n , M O 6 3 7 5 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce r a m o Co m p a n y In c , Po Bo x 4 8 5 , 2 3 1 W Ja c k s o n Bl v d ,
 2.2198 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ja c k s o n , M O 6 3 7 5 5

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r r o Fl o w Pr o d u c t s L L C, Po Bo x 6 6 8 0 0 , St Lo u i s , M O 6 3 1 6 6
 2.2199 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/24/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r r o Fl o w Pr o d u c t s L L C, Po Bo x 6 6 8 0 0 , St Lo u i s , M O 6 3 1 6 6
 2.2200 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r r o Fl o w Pr o d u c t s L L C, Po Bo x 6 6 8 0 0 , St Lo u i s , M O 6 3 1 6 6
 2.2201 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ce r r o Fl o w Pr o d u c t s L L C, Po Bo x 6 6 8 0 0 , St Lo u i s , M O 6 3 1 6 6
 2.2202 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r t a i n t e e d , 7 5 0 E Sw e d e s f o r d Ro a d , Po Bo x 8 6 0 , Va l l e y
 2.2203 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fo r g e , PA 1 9 4 8 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ce r t a i n t e e d , 7 5 0 E Sw e d e s f o r d Ro a d , Po Bo x 8 6 0 , Va l l e y
 2.2204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Fo r g e , PA 1 9 4 8 2

          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Ce r t a i n t e e d Gy p s u m , 4 3 0 0 W Cy p r e s s St , Su i t e 5 0 0 , Ta m p a , F L
 2.2205 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   33607
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Ce r t a p r o Pa i n t e r s , 9 Ch e s t n t Pa s t u r e Ro a d , Co n c o r d , N H 0 3 3 0 1
 2.2206 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ce r t a Pr o Pa i n t e r s Pe d e s t r i a n
        nature of the debtor's interest                   Wa l k _ Ma n c h e s t e r 2 0 2 3

          State the term remaining                        04/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                   Ce r t i f i e d Ro s e Gr o w e r s , P O Bo x 4 4 0 0 , Ty l e r , T X 7 5 7 1 2
 2.2207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Ce r t o l In t e r n a t i o n a l L L C, Mi c r o c a r e Ll c , 4 7 4 4 Fo r e s t St r e e t ,
 2.2208 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                   Un i t Q, De n v e r , C O 8 0 2 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Ce r t o l In t e r n a t i o n a l L L C, Mi c r o c a r e Ll c , 4 7 4 4 Fo r e s t St r e e t ,
 2.2209 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   Un i t Q, De n v e r , C O 8 0 2 1 6
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                   Ce s t u s l i n e In c , 1 3 8 1 8 Ne Ai r p o r t Wa y, Po r t l a n d , O R 9 7 2 3 0
 2.2210 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                   Cf o So l u t i o n s L L C. , 6 Un i v e r s i t y Av e , Su i t e 2 0 6 - 2 0 9 , Am h e r s t ,
 2.2211 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , C F O So l u t i o n s M S A
                                                                                                                                                                   MA 01002
        nature of the debtor's interest
          State the term remaining                        03/14/2022 - 03/13/2027

          List the contract number of any government
          contract
                                                                                                                                                                   Cf o So l u t i o n s L L C. , 6 Un i v e r s i t y Av e , Su i t e 2 0 6 - 2 0 9 , Am h e r s t ,
 2.2212 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , C F O So l u t i o n s C O 3 Or a c l e Co n n e c t i o n
        nature of the debtor's interest                   t o Ho s t                                                                                               MA 01002

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Ch a b y In t ' l In c , Ch a b y In t e r n a t i o n a l In c , 1 0 9 8 1 De c a t u r Rd ,
 2.2213 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                      Un i t 2 , Ph i l a d e l p h i a , PA 1 9 1 5 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ch a i n St o r e Gu i d e , 3 7 1 0 Co r p o r e x Pa r k Dr i v e , Ta m p a , F L
 2.2214 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Ch a i n St o r e Gu i d e 2 0 2 4
                                                                                                                                                                      33619
        nature of the debtor's interest
          State the term remaining                        04/22/2024 - 04/21/2025

          List the contract number of any government
          contract
                                                                                                                                                                      Ch a l e t Nu r s e r y & Gd n Sh o p H& g s , 3 1 3 2 La k e St , Wi l m e t t e , I L
 2.2215 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 0 0 )
                                                                                                                                                                      60091-1184
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ch a l l e n g e r , Gr a y & Ch r i s t m a s , In c . , 1 5 0 So u t h Wa c k e r Dr i v e ,
 2.2216 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ch a l l e n g e r , Gr a y & Ch r i s t m a s Co n s u l t i n g
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t                                                                             Su i t e 2 8 0 0 , Ch i c a g o , I L 6 0 6 0 6

          State the term remaining                        08/14/2023 - 08/13/2026

          List the contract number of any government
          contract
                                                                                                                                                                      Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2217 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2218 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                      Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m b e r l a i n Co r p , 3 0 0 Wi n d s o r Dr , Oa k Br o o k , I L 6 0 5 2 3
 2.2222 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p a g n e Tr u e Va l u e Lu m b e r & Ha r d w a r e , Ch a m p a g n e Tr u e
 2.2223 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 2 3 )
                                                                                                                                                                 Va l u e Lu m b e r & , 5 Ch a m p a g n e Dr , Ja c k m a n , M E 0 4 9 4 5 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Co o l e r , 5 8 0 0 Mu r r a y St , Li t t l e Ro c k , A R 7 2 2 0 9
 2.2224 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Co o l e r , 5 8 0 0 Mu r r a y St , Li t t l e Ro c k , A R 7 2 2 0 9
 2.2225 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Ir r i g Di v Ar r o w h e a d Br a s s , Ar r o w h e a d Br a s s &
 2.2226 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pl u m b i n g , 5 1 4 7 Al h a m b r a Av e , Lo s An g e l e s , C A 9 0 0 3 2

          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Ir r i g Di v Ar r o w h e a d Br a s s , Ar r o w h e a d Br a s s &
 2.2227 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pl u m b i n g , 5 1 4 7 Al h a m b r a Av e , Lo s An g e l e s , C A 9 0 0 3 2

          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Pa c k a g i n g & Di s t r i b u t i o n , 1 8 4 0 In t e r n a t i o n a l e
 2.2228 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Wo o d r i d g e , I L 6 0 5 1 7
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a m p i o n Tr u e Va l u e , 4 3 1 9 Ma h o n i n g Av e Nw, Wa r r e n , O H
 2.2229 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 4 8 9 )
                                                                                                                                                                 44483-1930
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n Tr u e Va l u e Ho m e Ce n t e r , Ch a m p i o n Tr u e Va l u e
 2.2230 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 1 9 )
                                                                                                                                                                 Ho m e Ce n t e , 1 6 7 2 0 Ch a m p i o n Fo r e s t Dr i v e , Sp r i n g , T X 7 7 3 7 9 -
        nature of the debtor's interest
                                                                                                                                                                 7024
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a m p i o n - A Ga r d n e r De n v e r Co , 1 3 0 1 N Eu c l i d Av e ,
 2.2231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pr i n c e t o n , I L 6 1 3 5 6

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n c e ' s Ha r d w a r e , 6 0 7 Wa t e r v l i e t Sh a k e r Rd , La t h a m , N Y
 2.2232 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 0 )
                                                                                                                                                                 12110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n e y In s t r u m e n t Co , 9 6 5 We l l s St , La k e Ge n e v a , W I 5 3 1 4 7
 2.2233 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n e y In s t r u m e n t Co , 9 6 5 We l l s St , La k e Ge n e v a , W I 5 3 1 4 7
 2.2234 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n g z h o u Pe n g s h e n g Yi d a To o l s Co . , No 8 Lo n g t i n g
 2.2235 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , Wu j i n , Ch a n g z h o u , Ch i n a
        nature of the debtor's interest
          State the term remaining                        02/07/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n n e l Ma s t e r , 1 7 2 5 E Ge r m a n n Rd , St e 3 1 , Ch a n d l e r , A Z
 2.2236 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          85286

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a n n e l l o c k In c , 1 3 0 6 S Ma i n St r e e t , Me a d v i l l e , PA 1 6 3 3 5
 2.2237 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n n e l l o c k In c , 1 3 0 6 S Ma i n St r e e t , Me a d v i l l e , PA 1 6 3 3 5
 2.2238 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a n t Ki t c h e n Eq u i p m e n t Lt d , Su i t e 7 0 6 , Ri g h t f u l Ce n t r e , 1 1 -
 2.2239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          1 2 Ta k Hi n g St , Jo r d a n , Ko w l o o n , Ho n g Ko n g

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a p i n R E Mf g Wo r k s , 7 0 0 El l i c o t t St , Ba t a v i a , N Y 1 4 0 2 1
 2.2240 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a p i n R E Mf g Wo r k s , 7 0 0 El l i c o t t St , Ba t a v i a , N Y 1 4 0 2 1
 2.2241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a p i n R E Mf g Wo r k s , 7 0 0 El l i c o t t St , Ba t a v i a , N Y 1 4 0 2 1
 2.2242 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a p i n R E Mf g Wo r k s , 7 0 0 El l i c o t t St , Ba t a v i a , N Y 1 4 0 2 1
 2.2243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2244 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 31902
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          31902

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          31902

          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2247 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          31902

          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2248 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          31902

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2249 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 31902
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2250 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 31902
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2251 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 31902

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l , Po Bo x 1 2 4 0 , 1 4 4 2 Be l f a s t Av e , Co l u m b u s , G A
 2.2252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 31902
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a r - Br o i l / Ne w Br a u n f e l s , Ch a r - Br o i l , 5 6 5 0 Do l l y Av e , Bu e n a
 2.2253 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k , C A 9 0 6 2 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r - Br o i l / Ne w Br a u n f e l s , Ch a r - Br o i l , 5 6 5 0 Do l l y Av e , Bu e n a
 2.2254 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k , C A 9 0 6 2 0

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r i t o n Tr u e Va l u e , 1 0 1 8 Br a d e n Av e n u e , Ch a r i t o n , I A 5 0 0 4 9 -
 2.2255 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 )
                                                                                                                                                                 1288
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l e s Jo h n s Tr u e Va l u e , 1 1 1 El m La k e Ro a d , Sp e c u l a t o r , N Y
 2.2256 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 8 3 )
                                                                                                                                                                 12164-5000
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l i e ' s Fa r m & Ho m e Tr u e Va l u e , 1 5 8 3 W Pe a r c e Bl v d ,
 2.2257 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 1 8 )
        nature of the debtor's interest                                                                                                                          We n t z v i l l e , M O 6 3 3 8 5 - 3 4 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2258 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2259 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2260 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2262 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2263 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a r l o t t e Pi p e & Fo u n d r y Co . , 2 1 0 9 Ra n d o l p h Ro a d , Po Bo x
 2.2267 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 5 4 3 0 , Ch a r l o t t e , N C 2 8 2 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch a s e Pr o d u c t s Co , 2 7 2 7 Ga r d n e r Rd , Br o a d v i e w, I L 6 0 1 5 5
 2.2268 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ch a s e Pr o d u c t s Co , 2 7 2 7 Ga r d n e r Rd , Br o a d v i e w, I L 6 0 1 5 5
 2.2269 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ch a t e a u Bo d y w e a r Us a In c , 2 1 5 St Zo t i q u e We s t , Mo n t r e a l ,
 2.2270 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Q C H2 V 1 A2 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ch a t e a u Dr u g , 4 t h An d Le a d v i l l e - Gi a c o b b i Sq u a r e , Ke t c h u m ,
 2.2271 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 6 0 )
                                                                                                                                                     ID 83340-2197
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch a t f i e l d Tr u e Va l u e Ha r d w a r e , 1 9 0 Ma i n St So u t h , So u t h b u r y,
 2.2272 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 4 6 )
        nature of the debtor's interest                                                                                                              CT 06488-2299

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e c k e r b o a r d Lt d , 2 1 6 W Bo y l s t o n St , We s t Bo y l s t o n , M A
 2.2273 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     01583
        nature of the debtor's interest
          State the term remaining                        06/28/2013

          List the contract number of any government
          contract
                                                                                                                                                     Ch e c o t a h Tr u e Va l u e Ha r d w a r e , 6 0 2 En t e r p r i s e Av e , Ch e c o t a h ,
 2.2274 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 4 )
                                                                                                                                                     OK 74426-2026
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e n e v e r t Tr u e Va l u e Hd w # 3 , Ch e n e v e r t Tr u e Va l u e Hd w 3 ,
 2.2275 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 8 1 )
        nature of the debtor's interest                                                                                                              2 9 8 9 Mo n t e r r e y Dr , Ba t o n Ro u g e , L A 7 0 8 1 4 - 4 1 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e r o k e e Dr u g Sh o p p e , 6 4 3 9 Ta y l o r Mi l l Rd , In d e p e n d e n c e ,
 2.2276 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 7 9 )
                                                                                                                                                     KY 41051-9343
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ch e r r y f i e l d Se e d & Fe e d , 4 8 Ch e r r y f i e l d St r e t c h , Mi l b r i d g e ,
 2.2277 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 2 )
                                                                                                                                                     ME 04658
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e r r y h i l l Mf g Co r p , 3 2 3 1 La u r e l Ru n Rd , Cl y m e r , PA 1 5 7 2 8
 2.2278 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Ch e r v o n Na / Sk i l , 1 2 0 3 E Wa r r e n v i l l e Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.2279 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ch e s a p e a k e Ba y Ca n d l e , 5 5 1 5 Se c u r i t y La n e , Su i t e 1 1 0 0 ,
 2.2280 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ro c k v i l l e , M D 2 0 8 5 2
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ch e s a p e a k e Ha r d w a r e , 5 5 7 0 - c Sh a d y Si d e Ro a d , Ch u r c h t o n ,
 2.2281 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 5 1 )
        nature of the debtor's interest                                                                                                              MD 20733-9639

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e s a p e a k e Se e d & Fe e d , 1 0 Ce d a r St r e e t , Ca m b r i d g e , M D
 2.2282 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 6 )
                                                                                                                                                     21613
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch e v y Ch a s e Ha r d w a r e , 8 8 3 E. Hi g h St r e e t , Le x i n g t o n , K Y
 2.2283 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 6 )
        nature of the debtor's interest                                                                                                              40502

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Co a s t Tr u e Va l u e , 6 9 4 2 N We s t e r n Av e 4 4 , Ch i c a g o ,
 2.2284 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 0 )
        nature of the debtor's interest                                                                                                              IL 60645-4711

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ch i c a g o Di e Ca s t i n g , 1 4 4 0 W La r k In d u s t r i a l Pk , Fe n t o n , M O
 2.2285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     63026
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Hd w e & Fi x t u r e , 9 1 0 0 Pa r k Av e n u e , Fr a n k l i n Pa r k , I L
 2.2286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60131
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Hd w e & Fi x t u r e Co , 9 1 0 0 Pa r k l a n e Av e n u e , Fr a n k l i n
 2.2287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Pa r k , I L 6 0 1 3 1

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o He i g h t s St e e l , 2 1 1 E Ma i n St , Ch i c a g o He i g h t s , I L
 2.2288 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60417
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Pn e u m a t i c , 1 8 0 0 Ov e r v i e w Dr , Ro c k Hi l l , S C 2 9 7 3 0
 2.2289 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Tr u e Va l u e Ha r d w a r e , 3 1 1 1 W 1 1 1 t h St , Ch i c a g o , I L
 2.2290 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 8 )
        nature of the debtor's interest                                                                                                              60655-2205

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i c a g o Wi c k e r & Tr a d i n g Co , 1 4 1 1 En t e r p r i s e Dr ,
 2.2291 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ro m e o v i l l e , I L 6 0 4 4 6

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c k ' s So u t h o l d Ag w a y, 1 7 0 5 Yo u n g ' s Av e , So u t h o l d , N Y
 2.2292 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 0 )
        nature of the debtor's interest                                                                                                              11971

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ch i c k e n Po o p , Ch i c k e n Po o p Ll c , 5 2 4 S Co m m e r c e , Wi c h i t a ,
 2.2293 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              KS 67202

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ch i c o Tr u e Va l u e , 9 3 6 Ma n g r o v e Av e , Ch i c o , C A 9 5 9 2 6 - 3 9 5 0
 2.2294 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i l l i n ' Pr o d u c t s , In c . , 1 0 3 9 Ra i l r o a d St r e e t , Ro c k d a l e , I L
 2.2295 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60436
        nature of the debtor's interest
          State the term remaining                        10/06/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ch i l t o n Tu r f Ce n t e r , 2 4 7 5 Br a n s f o r d Av e n u e , Na s h v i l l e , T N
 2.2296 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 7 )
        nature of the debtor's interest                                                                                                              37204-2809

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i n a t o w n Lu m b e r Co In c , 1 2 7 Di v i s i o n St , Ne w Yo r k , N Y
 2.2297 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 4 3 )
        nature of the debtor's interest                                                                                                              10002-6103

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i o d o ' s 2 3 1 Ex p r e s s Ma r k e t , 1 7 9 4 1 Hi g h w a y 2 3 1 , Fo u n t a i n ,
 2.2298 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 7 )
        nature of the debtor's interest                                                                                                              FL 32438

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i p l e y Ha r d w a r e , 1 1 6 3 E Ja c k s o n Av e . , Ch i p l e y, F L 3 2 4 2 8
 2.2299 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch i s a g o Tr u e Va l u e , 1 0 6 8 0 So u t h Av e St e A, Ch i s a g o Ci t y, M N
 2.2300 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 8 7 )
                                                                                                                                                     55013-9577
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch o i c e Pa r t y Li n e n s In c , 1 2 0 0 Pe n n s y l v a n i a Av e , Mo o r e
 2.2301 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St a t i o n In d u s t r i a l Pa r k , Pr o s p e c t Pa r k , PA 1 9 0 7 6
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ch o p t a n k Su p p l y In c , 8 0 2 Cr y s t a l Av e n u e , De n t o n , M D 2 1 6 2 9 -
 2.2302 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 2 6 )
        nature of the debtor's interest                                                                                                                          1190

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s Ke m p a , Ad d r e s s Re d a c t e d
 2.2303 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Ch r i s Ke m p a
        nature of the debtor's interest
          State the term remaining                        11/11/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s m a n Tr u e Va l u e , 1 1 2 5 N 4 t h St , Bu r l i n g t o n , K S 6 6 8 3 9 -
 2.2304 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 3 5 )
        nature of the debtor's interest                                                                                                                          2608

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t i a n Br a n d s In c , 5 2 2 6 S 3 1 St Pl a c e , Ph o e n i x , A Z 8 5 0 4 0
 2.2305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t m a s By Kr e b s , 8 3 2 4 St e r l i n g St , Ir v i n g , T X 7 5 0 6 3
 2.2306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t m a s By Kr e b s , 8 3 2 4 St e r l i n g St , Ir v i n g , T X 7 5 0 6 3
 2.2307 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t m a s Ho u s e Ta i w a n Co Lt d , 6 F, No 1 8 - 1 , La n e 1 4 Ji Li n
 2.2308 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Rd , Ta i p e i , Ta i w a n
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch r i s t m a s Ho u s e Ta i w a n Co Lt d , 6 F, No 1 8 - 1 , La n e 1 4 Ji Li n
 2.2309 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Rd , Ta i p e i , Ta i w a n
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t o p h e r s Gl e n Ec h o Hd w e , 7 3 0 1 Mc a r t h u r Bl v d , Be t h e s d a ,
 2.2310 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 0 4 )
        nature of the debtor's interest                                                                                                                          MD 20816-1036

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r i s t o p h e r s Ha r d w a r e , 5 0 0 Ol n e y Sa n d y Sp r i n g Ro a d , Sa n d y
 2.2311 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 1 )
        nature of the debtor's interest                                                                                                                          Sp r i n g , M D 2 0 8 6 0 - 1 0 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch r o n i c l e St o r e , 6 3 6 4 Gr e e l e y Hi l l Ro a d , Co u l t e r v i l l e , C A
 2.2312 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 1 )
        nature of the debtor's interest                                                                                                                          95311-9572

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Be l l i n g h a m , 3 5 0 0 Me r i d i a n St , Be l l i n g h a m , WA 9 8 2 2 5 -
 2.2313 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 6 9 )
        nature of the debtor's interest                                                                                                                          1731

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Ch i m a c u m , 9 3 1 5 Rh o d y Dr , Ch i m a c u m , WA 9 8 3 2 5 - 9 8 0 0
 2.2314 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Fe r n d a l e , 1 7 2 0 La b o u n t y Dr , Fe r n d a l e , WA 9 8 2 4 8 - 9 4 4 4
 2.2315 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Ka l i s p e l l , 7 0 0 Ra i l Pa r k Dr i v e , Ka l i s p e l l , M T 5 9 9 0 1
 2.2316 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ch s Ly n d e n , 4 1 5 De p o t Ro a d , Ly n d e n , WA 9 8 2 6 4 - 1 4 4 9
 2.2317 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s Mi s s o u l a , 4 5 7 0 N Re s e r v e St , Mi s s o u l a , M T 5 9 8 0 8
 2.2318 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s No o k s a c k , 1 0 2 No o k s a c k Av e , Ev e r s o n , WA 9 8 2 4 7 - 0 0 0 1
 2.2319 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s No r t h w e s t Au b u r n , 2 3 8 8 t h St Se , Au b u r n , WA 9 8 0 0 2 - 6 0 0 8
 2.2320 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 4 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s No r t h w e s t Ch e h a l i s , 1 5 3 Nw St a t e Av e , Ch e h a l i s , WA
 2.2321 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 9 )
                                                                                                                                                     98532-1538
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s No r t h w e s t Fa i r w a y Tr u e Va l u e , Ch s No r t h w e s t Fa i r w a y
 2.2322 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 8 )
        nature of the debtor's interest                                                                                                              Tr u e Va l , 1 1 9 1 7 t h St , Ly n d e n , WA 9 8 2 6 4 - 1 2 1 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s Nu t r i t i o n , 8 1 5 S. 2 n d St r e e t , Ha r r i s b u r g , O R 9 7 4 4 6 - 0 0 0 1
 2.2323 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ch s Po u l s b o , 2 0 3 7 0 Vi k i n g Av e Nw, Pa u l s b o , WA 9 8 3 7 0 - 0 2 7 5
 2.2324 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch s Pr i m e l a n d , 0 1 5 E Ma i n St , Cr a i g m o n t , I D 8 3 5 2 3
 2.2325 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Pr i m e l a n d , 1 0 0 1 N A St , Gr a n g e v i l l e , I D 8 3 5 3 0
 2.2326 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Pr i m e l a n d , 1 2 0 0 Sn a k e Ri v e r Av e . , Le w i s t o n , I D 8 3 5 0 1
 2.2327 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Ro n a n , 6 3 9 3 2 Hw y 9 3 So . , Ro n a n , M T 5 9 9 0 1
 2.2328 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch s Wa r e h o u s e , 4 0 2 Ma i n St r e e t , Ly n d e n , WA 9 8 2 6 4 - 0 6 1 1
 2.2329 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch u c k Ha f n e r s Fa r m e r s Mk t , 7 2 6 5 Bu c k l e y Rd , No r t h
 2.2330 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 8 9 )
                                                                                                                                                                 Sy r a c u s e , N Y 1 3 2 1 2 - 2 6 4 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch u m s Lt d . , 1 0 2 S Ma i n , Hu r r i c a n e , U T 8 4 7 3 7
 2.2331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t , 5 4 3 Wa s h i n g t o n Bl v d , Wh i t e La k e , M I
 2.2332 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 48386
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch u r c h & Dw i g h t , 5 4 3 Wa s h i n g t o n Bl v d , Wh i t e La k e , M I
 2.2333 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 48386
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t , 5 4 3 Wa s h i n g t o n Bl v d , Wh i t e La k e , M I
 2.2334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 48386

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t , 5 4 3 Wa s h i n g t o n Bl v d , Wh i t e La k e , M I
 2.2335 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48386
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t , 5 4 3 Wa s h i n g t o n Bl v d , Wh i t e La k e , M I
 2.2336 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48386
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t Co m p a n y, Ch u r c h & Dw i g h t Co , In c ,
 2.2337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pr i n c e t o n So u t h Co r p o r a t e Ce n t e r , , 5 0 0 Ch a r l e s Ew i n g
                                                                                                                                                                 Bo u l e v a r d , Ew i n g , N J 0 8 6 2 8
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t Co m p a n y, Ch u r c h & Dw i g h t Co , In c ,
 2.2338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pr i n c e t o n So u t h Co r p o r a t e Ce n t e r , , 5 0 0 Ch a r l e s Ew i n g
        nature of the debtor's interest
                                                                                                                                                                 Bo u l e v a r d , Ew i n g , N J 0 8 6 2 8
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t Co m p a n y, Ch u r c h & Dw i g h t Co , In c ,
 2.2339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pr i n c e t o n So u t h Co r p o r a t e Ce n t e r , , 5 0 0 Ch a r l e s Ew i n g
        nature of the debtor's interest
                                                                                                                                                                 Bo u l e v a r d , Ew i n g , N J 0 8 6 2 8
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ch u r c h & Dw i g h t Co m p a n y, Ch u r c h & Dw i g h t Co , In c ,
 2.2340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pr i n c e t o n So u t h Co r p o r a t e Ce n t e r , , 5 0 0 Ch a r l e s Ew i n g
                                                                                                                                                                 Bo u l e v a r d , Ew i n g , N J 0 8 6 2 8
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ch u r c h & Dw i g h t Co m p a n y, Ch u r c h & Dw i g h t Co , In c ,
 2.2341 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pr i n c e t o n So u t h Co r p o r a t e Ce n t e r , , 5 0 0 Ch a r l e s Ew i n g
        nature of the debtor's interest
                                                                                                                                                                 Bo u l e v a r d , Ew i n g , N J 0 8 6 2 8
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci a o Im p o r t s , 2 8 0 5 N Co m m e r c e Pa r k w a y, Mi r a m a r , F L 3 3 0 2 5
 2.2342 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ci n c i n n a t i Co l o r Co m p a n y, 1 0 2 7 Da l t o n Av e . , Ci n c i n n a t i , O H
 2.2343 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 6 )
        nature of the debtor's interest                                                                                                                          45203

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci n c o Pl a s t i c s In c , 7 1 5 5 Ol d Ka t y Ro a d , Ho u s t o n , T X 7 7 0 2 4
 2.2344 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ci n c o Pl a s t i c s In c , 7 1 5 5 Ol d Ka t y Ro a d , Ho u s t o n , T X 7 7 0 2 4
 2.2345 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci n s a Us a , 1 7 2 3 N Lo o p 1 6 0 4 E, St e 2 1 0 , Sa n An t o n i o , T X
 2.2346 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          78232

          State the term remaining                        04/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ci n s a Us a , 1 7 2 3 N Lo o p 1 6 0 4 E, St e 2 1 0 , Sa n An t o n i o , T X
 2.2347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 78232
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ci n t a s , 6 8 0 0 Ci n t a s Bl v d , Ci n c i n n a t i , O H 4 5 2 6 2
 2.2348 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ci n t a s Lo c a l Ag r e e m e n t
        nature of the debtor's interest                   Ki n g m a n 2 0 2 2

          State the term remaining                        12/15/2022 - 12/14/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Ci n t a s , 6 8 0 0 Ci n t a s Bl v d , Ci n c i n n a t i , O H 4 5 2 6 2
 2.2349 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ci n t a s Na t i o n a l Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        06/09/2020 - 06/08/2025

          List the contract number of any government
          contract
                                                                                                                                                              Ci r c l e A Ha r d w a r e , 2 9 1 8 7 La - 4 3 , Al b a n y, L A 7 0 7 1 1 - 4 3 0 7
 2.2350 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ci r c l e Su p p l y, 1 7 2 5 W St a t e Rd 2 8 , Fr a n k f o r t , I N 4 6 0 4 1 - 9 1 4 7
 2.2351 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ci r c l e Su p p l y, 8 3 1 4 W St a t e Rd 1 1 4 , Re n s s e l a e r , I N 4 7 9 7 8
 2.2352 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ci r c l e Tr u e Va l u e Ha r d w a r e , 2 2 2 W Ma i n , Ci r c l e , M T 5 9 2 1 5 -
 2.2353 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 7 9 )
                                                                                                                                                              0624
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ci s c o Sy s t e m s Ca p i t a l Co r p o r a t i o n , 1 1 1 1 Ol d Ea g l e Sc h o o l Rd . ,
 2.2354 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ci s c o Sy s t e m s Ca p i t a l Le a s e f o r R D C
        nature of the debtor's interest                   Eq u i p m e n t 2 0 2 3 - 2 0 2 6                                                                  Wa y n e , PA 1 9 0 8 7

          State the term remaining                        06/30/2023 - 06/29/2026

          List the contract number of any government
          contract
                                                                                                                                                              Ci s c o Sy s t e m s Ca p i t a l Co r p o r a t i o n , 1 1 1 1 Ol d Ea g l e Sc h o o l Rd . ,
 2.2355 State what the contract or lease is for and the
                                                          Ha r d w a r e , Ci s c o Sy s t e m s Ca p i t a l Le a s e f o r Ce i l i n g Sw i t c h e s -
        nature of the debtor's interest                   Ki n g m a n                                                                                        Wa y n e , PA 1 9 0 8 7

          State the term remaining                        01/01/2024 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                              Ci s c o Sy s t e m s Ca p i t a l Co r p o r a t i o n , 1 1 1 1 Ol d Ea g l e Sc h o o l Rd . ,
 2.2356 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                                       Wa y n e , PA 1 9 0 8 7

          State the term remaining                        06/29/2023 - 06/28/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ci s c o Sy s t e m s Ca p i t a l Co r p o r a t i o n , 1 1 1 1 Ol d Ea g l e Sc h o o l Rd . ,
 2.2357 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
                                                                                                                                                                 Wa y n e , PA 1 9 0 8 7
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ci s c o Sy s t e m s , In c . , 1 7 0 We s t Ta s m a n Dr. , Sa n Jo s e , C A 9 5 1 3 4
 2.2358 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ci s c o En t e r p r i s e Ag r e e m e n t -
        nature of the debtor's interest                   Sw i t c h i n g

          State the term remaining                        05/04/2022 - 05/03/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ci s c o Sy s t e m s , In c . , 1 7 0 We s t Ta s m a n Dr. , Sa n Jo s e , C A 9 5 1 3 4
 2.2359 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ci s c o En t e r p r i s e Ag r e e m e n t -
        nature of the debtor's interest                   Sw i t c h i n g Am e n d m e n t 1

          State the term remaining                        08/19/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ci s c o Sy s t e m s , In c . , 1 7 0 We s t Ta s m a n Dr. , Sa n Jo s e , C A 9 5 1 3 4
 2.2360 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ci s c o E U I F E A 2 0 2 1 0 7 2 7
        nature of the debtor's interest
          State the term remaining                        10/01/2021 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ci s c o Sy s t e m s , In c . , 1 7 0 We s t Ta s m a n Dr. , Sa n Jo s e , C A 9 5 1 3 4
 2.2361 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ci s c o Bu s i n e s s Do w n t u r n Le t t e r
        nature of the debtor's interest                   2 0 2 1 . 0 7 . 2 3 We b Ex Ca l l i n g In i t i a t i v e

          State the term remaining                        10/01/2021 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ci t , 7 6 7 Do u g l a s Hi l l Rd , Li t h i a Sp r i n g s , G A 3 0 1 2 2
 2.2362 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci t Ba n k , Po Bo x 7 0 5 6 , Pa s a d e n a , C A 9 1 1 0 9
 2.2363 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        11/01/2019 - 10/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ci t Ba n k , Po Bo x 7 0 5 6 , Pa s a d e n a , C A 9 1 1 0 9
 2.2364 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        10/01/2019 - 09/30/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ci t g o Pe t r o l e u m Co r p o r a t i o n , 1 2 9 3 El d r i d g e Pa r k w a y, Ho u s t o n ,
 2.2365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 77077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i Ta l e n t Lt d , Un i t 7 0 8 , 7 / F Ha r b o u r Ce n t r e , To w e r 1 ,
 2.2366 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n g h o m , , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i Ta l e n t Lt d , Un i t 7 0 8 , 7 / F Ha r b o u r Ce n t r e , To w e r 1 ,
 2.2367 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n g h o m , , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i Ta l e n t Lt d , Un i t 7 0 8 , 7 / F Ha r b o u r Ce n t r e , To w e r 1 ,
 2.2368 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n g h o m , , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i Ta l e n t Lt d , Un i t 7 0 8 , 7 / F Ha r b o u r Ce n t r e , To w e r 1 ,
 2.2369 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n g h o m , , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2370 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Pa i n t Eq u i p m e n t f r o m C E Rs 2 0 1 6 - 2 2 a n d
                                                          2016-33 in the amount of $44,590.00                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2371 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Ae r o s o l Ti p p e r s a n d Co n v e y o r ( p a i n t C E R
                                                                                                                                                                 02284-5682
        nature of the debtor's interest                   2017-44) in the amount of $265,997.64

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2372 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ra c k i n g a n d La b e l i n g Ma c h i n e ( C E R # 2 0 1 6 -
        nature of the debtor's interest                   12-001) in the amount of $141,222.90                                                                   02284-5682

          State the term remaining                        07/01/2017 - 06/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2373 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2374 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2375 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2376 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2377 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2378 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2379 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2380 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2381 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2382 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2383 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2384 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2385 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2386 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2387 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2388 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2389 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2390 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        03/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2391 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2392 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2393 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2394 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2395 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                           Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2396 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    02284-5682

          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2397 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2398 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        08/01/2017 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2399 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             02284-5682

          State the term remaining                        07/01/2017 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2400 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        07/01/2017 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2401 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2402 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             02284-5682

          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2403 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        06/01/2018 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2404 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2405 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             02284-5682

          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2406 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2407 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2408 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             02284-5682

          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2409 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2410 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2411 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             02284-5682

          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                    Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2412 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ci t i z e n s As s e t Fi n a n c e , In c . , P. O. Bo x 8 4 5 6 8 2 , Bo s t o n , M A
 2.2413 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                                     02284-5682
        nature of the debtor's interest
          State the term remaining                        02/15/2024 - 09/15/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ci t r a So l v L L C, 9 9 2 7 Lo s t Cr e e k Dr i v e , Wi n t e r Ga r d e n , F L
 2.2414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              34787

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ci t r a So l v L L C, 9 9 2 7 Lo s t Cr e e k Dr i v e , Wi n t e r Ga r d e n , F L
 2.2415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     34787
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ci t y Fl o r a l Gr e e n h o u s e & Ga r d e n Ce n t e r , Ci t y Fl o r a l
 2.2416 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 0 0 )
                                                                                                                                                     Gr e e n h o u s e & Ga r d e , 1 4 4 0 Ke a r n e y St , De n v e r , C O 8 0 2 2 0 - 2 7 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ci t y Ha r d w a r e , 1 2 9 Wo o s t e r St , Lo d i , O H 4 4 2 5 4 - 1 3 9 3
 2.2417 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 1 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ci t y Mi l l Co m p a n y, 6 6 0 N Ni m i t z Hw y, Ho n o l u l u , H I 9 6 8 1 7
 2.2418 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ci t y Mi l l Di s t r i b u t i o n Ce n t e r , 6 6 0 N. Ni m i t z Hw y. , Ho n o l u l u ,
 2.2419 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 8 )
        nature of the debtor's interest                                                                                                              HI 96817

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ci t y Mi l l Ew a Be a c h , 9 1 - 1 0 6 1 Ke a u n u i Dr i v e , Ew a Be a c h , H I
 2.2420 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 9 )
        nature of the debtor's interest                                                                                                              96706

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Ci t y Mi l l Ha w a i i Ka i , 3 3 3 Ke a h o l e St r e e t , Ho n o l u l u , H I 9 6 8 2 5
 2.2421 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Mi l l Ka i m u k i , 3 0 8 6 Wa i a l a e Av e n u e , Ho n o l u l u , H I 9 6 8 1 6
 2.2422 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Mi l l Ka n e o h e , 4 6 - 2 0 9 Ka h u h i p a St r e e t , Ka n e o h e , H I
 2.2423 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 4 )
        nature of the debtor's interest                                                                                                                        96744

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Mi l l Mi l i l a n i , 9 5 - 4 5 5 Ma k a ' i m o ' i m o St r e e t , Mi l i l a n i , H I
 2.2424 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 2 )
                                                                                                                                                               96789
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Mi l l Pe a r l Ci t y, 9 8 - 1 2 7 7 Ka a h u m a n u St 1 4 5 , Ai e a , H I
 2.2425 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 1 )
                                                                                                                                                               96701
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Mi l l Wa i a n a e , 8 6 1 2 0 Fa r r i n g t o n Hw y, Wa i a n a e , H I 9 6 7 9 2
 2.2426 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ci t y o f Ch i c a g o De p t . o f Fi n a n c e , 4 0 0 W. Su p e r i o r St r e e t , 1 St
 2.2427 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ch i c a g o De p a r t m e n t o f Fi n a n c e Ta x
        nature of the debtor's interest                   Ce r t i f i c a t e                                                                                 Fl o o r , Ch i c a g o , I L 6 0 6 5 4

          State the term remaining                        10/01/2022 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ci t y Pe o p l e ' s Sa n d p o i n t Tr u e Va l u e , Ci t y Pe o p l e ' s Sa n d p o i n t
 2.2428 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 3 )
        nature of the debtor's interest                                                                                                                        Tr u e Va l , 5 4 4 0 Sa n d p o i n t Wa y Ne , Se a t t l e , WA 9 8 1 0 5 - 2 1 6 7

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                        Ci t y Tr u e Va l u e , 1 2 5 Ch u r c h St , Ch e s t e r , S C 2 9 7 0 6 - 2 9 0 3
 2.2429 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Ci t y Tr u e Va l u e , 7 5 0 Fa r m i n g t o n Av e , Br i s t o l , C T 0 6 0 1 0 - 3 9 1 5
 2.2430 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 2 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Cl a b e r , In c . , 9 0 0 N Ar l i n g t o n He i g h t s Rd . , Su i t e 3 0 5 , It a s c a , I L
 2.2431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                        60143
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                        Cl a l l a m Tr u e Va l u e Hd w e , Cl a l l a m Tr u e Va l u e Ha r d w a r e , 2 1 6 E
 2.2432 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 7 0 )
        nature of the debtor's interest                                                                                                                                 Wa s h i n g t o n , Se q u i m , WA 9 8 3 8 2 - 3 4 8 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Cl a m Co r p o r a t i o n , 1 2 1 3 5 Br o c k t o n La n e No r t h , Ro g e r s , M N
 2.2433 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                 55369

          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                        Cl a r i t y So l u t i o n Gr o u p , 1 5 0 S. Wa c k e r Dr i v e , Su i t e 2 7 5 0 ,
 2.2434 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , a d a t a w a r e h o u s e c o n s u l t a n c y w i t h e x p e r t i s e i n
        nature of the debtor's interest                   Te r a d a t a                                                                                                Ch i c a g o , I L 6 0 6 0 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Cl a r k Fa r m & Ho m e St o r e Tr u e Va l u e , 4 t h & Co t t o n w o o d ,
 2.2435 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 8 1 )
                                                                                                                                                                        St r o n g Ci t y, K S 6 6 8 6 9 - 9 6 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Cl a r k In d u s t r i a l Su p p l y, 3 0 1 We s t Hi g h St r e e t , Po t t s t o w n , PA
 2.2436 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 7 8 )
                                                                                                                                                                        19464-6313
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl a r k Sa l e s & Se r v i c e , 1 6 0 7 Wh i t e f o r d Ro a d , Da r l i n g t o n , M D
 2.2437 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 2 2 )
                                                                                                                                                                 21034-1099
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a r k Se c u r i t y Pr o d u c t s , 7 5 2 0 Mi s s i o n Va l l e y Ro a d , Sa n Di e g o ,
 2.2438 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 92108

          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a r k ' s Gr a i n St o r e , 2 7 1 Su n c o o k Va l l e y Rd , Ch i c h e s t e r , N H
 2.2439 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 1 )
                                                                                                                                                                 03258
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a r k e , 1 4 6 0 0 2 1 St Av e n u e No r t h , Pl y m o u t h , M N 5 5 4 4 7
 2.2440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Ac c e s s o r i e s , 2 2 6 4 0 6 8 Th Av e So u t h , Ke n t , WA 9 8 0 3 2
 2.2441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Ba l u s t e r L L C, 4 7 7 4 S 1 0 0 0 E, Br a z i l , I N 4 7 8 3 4
 2.2442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Br a n d s L L C, 3 6 0 0 S Yo s e m i t e St , Su i t e 1 0 0 , De n v e r ,
 2.2443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CO 80237

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Br a n d s L L C, 3 6 0 0 S Yo s e m i t e St , Su i t e 1 0 0 , De n v e r ,
 2.2444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 CO 80237
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl a s s i c Br a n d s L L C, 3 6 0 0 S Yo s e m i t e St , Su i t e 1 0 0 , De n v e r ,
 2.2445 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CO 80237
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Br a n d s L L C, 3 6 0 0 S Yo s e m i t e St , Su i t e 1 0 0 , De n v e r ,
 2.2446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CO 80237

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Br a n d s L L C, 3 6 0 0 S Yo s e m i t e St , Su i t e 1 0 0 , De n v e r ,
 2.2447 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CO 80237

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a s s i c Ho m e & Ga r d e n , 4 9 0 Pe p p e r St , Mo n r o e , C T 0 6 4 6 8
 2.2448 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cl a u s i n g Fe e d Ce n t e r Ll c , 1 4 4 0 We s t Wr a n g l e r Bl v d , Se m i n o l e ,
 2.2449 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 1 )
        nature of the debtor's interest                                                                                                                          OK 74868

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a y Co u n t y Fa r m & Ho m e Su p p l y, Cl a y Co u n t y Fa r m & Ho m e
 2.2450 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 9 8 )
                                                                                                                                                                 Su p p , 4 0 8 Br o w n St r e e t , Ce l i n a , T N 3 8 5 5 1 - 4 0 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl a y t o n Tr u e Va l u e Sp l y, 1 3 8 1 Ma i n St , Tu n i c a , M S 3 8 6 7 6 -
 2.2451 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 1 3 )
                                                                                                                                                                 9177
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl e a n Co n t r o l Co r p o r a t i o n , 1 0 4 0 Bo o t h Rd , Wa r n e r Ro b b i n s ,
 2.2452 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          GA 31088

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Cl e a n Co n t r o l Co r p o r a t i o n , 1 0 4 0 Bo o t h Rd , Wa r n e r Ro b b i n s ,
 2.2453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       GA 31088

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n Ea r t h En v i r o n m e n t a l Se r v i c e s , 1 8 6 3 Ne 5 4 Th Av e
 2.2454 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Cl e a n Ea r t h Ha z Wa s t e
        nature of the debtor's interest                   Am e n d m e n t 3                                                                                  Bu i l d i n g 8 , De s Mo i n e s , I A 5 0 3 1 3

          State the term remaining                        06/06/2024 - 06/05/2026

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n Ea r t h En v i r o n m e n t a l Se r v i c e s , 1 8 6 3 Ne 5 4 Th Av e
 2.2455 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Cl e a n Ea r t h En v i r o n m e n t a l Se r v i c e s -
        nature of the debtor's interest                   Ad d e n d u m 2 0 2 0                                                                              Bu i l d i n g 8 , De s Mo i n e s , I A 5 0 3 1 3

          State the term remaining                        11/23/2020

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n To o l s In c , 1 0 Pl a z a Dr i v e , We s t m o n t , I L 6 0 5 5 9
 2.2456 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n To o l s In c , 1 0 Pl a z a Dr i v e , We s t m o n t , I L 6 0 5 5 9
 2.2457 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n To o l s In c , 1 0 Pl a z a Dr i v e , We s t m o n t , I L 6 0 5 5 9
 2.2458 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a n Wa t e r Se r v i c e s , 2 5 5 0 Sw Hi l l s b o r o r Hi g h w a y, Hi l l s b o r o ,
 2.2459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              OR 97123
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                              Cl e a r La k e Tr u e Va l u e , 5 3 0 3 r d Av e Nw, Cl e a r La k e , W I 5 4 0 0 5 -
 2.2460 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 )
                                                                                                                                                              0417
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Cl e a r Ri d g e Ha r d w a r e , 6 1 2 2 W 6 3 r d St r e e t , Ch i c a g o , I L 6 0 6 3 8 -
 2.2461 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 5 4 )
        nature of the debtor's interest                                                                                                                 4302

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e a r v i e w Tr u e Va l u e Hd w e , 1 6 5 1 0 St a t e Ro u t e 9 Se B,
 2.2462 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 7 2 )
                                                                                                                                                        Sn o h o m i s h , WA 9 8 2 9 6 - 8 3 7 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e a r w a t e r En t e r p r i s e s , 5 6 3 7 N Cl a s s e n Bl v d , Ok l a h o m a Ci t y,
 2.2463 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Cl e a r w a t e r Na t u r a l Ga s
                                                                                                                                                        OK 73118
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 4 - Ka n s a s Ci t y

          State the term remaining                        08/01/2024 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                        Cl e a v e r Fa r m & Ho m e Tr u e Va l u e , 2 1 0 3 S Sa n t a Fe , Ch a n u t e ,
 2.2464 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 9 8 )
        nature of the debtor's interest                                                                                                                 KS 66720-3201

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e g g ' s Nu r s e r y - De n h a m Sp r i n g s , 3 1 2 7 5 La Hi g h w a y 1 6 ,
 2.2465 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 5 )
                                                                                                                                                        De n h a m Sp r i n g s , L A 7 0 7 2 6 - 8 9 3 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e g g ' s Nu r s e r y - Gr e e n w e l l Sp r i n g s , 1 0 6 4 5 Gr e e n w e l l Sp r i n g s
 2.2466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 4 )
                                                                                                                                                        Ro a d , Ba t o n Ro u g e , L A 7 0 8 1 4 - 5 0 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e g g ' s Nu r s e r y - Si e g e n La n e , 5 6 9 6 Si e g e n La n e , Ba t o n
 2.2467 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 3 )
        nature of the debtor's interest                                                                                                                 Ro u g e , L A 7 0 8 0 9 - 4 1 4 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Cl e g g ' s Nu r s e r y Do n m o o r Av e , 2 7 4 N Do n m o o r Av e , Ba t o n
 2.2468 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 2 )
                                                                                                                                                        Ro u g e , L A 7 0 8 0 6 - 2 8 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl e o Wr a p , 4 0 2 5 Vi s c o u n t , Po Bo x 1 8 5 2 0 , Me m p h i s , T N 3 8 1 1 8
 2.2469 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a Ho n g Ko n g , 1 4 / F Ja v a Co m m e r c i a l Ce Nt r e , 1 2 8 Ja v a Rd
 2.2470 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 No r t h Po i n t Hk , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a Ho n g Ko n g Li m i t e d , 1 4 / F Ja v a Co m m e r c i a l Ce Nt r e , 1 2 8
 2.2471 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ja v a Rd No r t h Po i n t Hk , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a In t ' L Tr a d i n g Lt d , 1 8 / F, Na m Wo Ho n g Bu i l d i n g , 1 4 8
 2.2472 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Wi n g Lo k St r e e t , Sh e u n g Wa n , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a In t ' L Tr a d i n g Lt d , 1 8 / F, Na m Wo Ho n g Bu i l d i n g , 1 4 8
 2.2473 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wi n g Lo k St r e e t , Sh e u n g Wa n , Ho n g Ko n g

          State the term remaining                        08/01/2023 - 08/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a In t e r n a t i o n a l Tr a d i n g Lt d , 1 8 / F, Na m Wo Ho n g
 2.2474 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Bu i l d i n g , 1 4 8 Wi n g Lo k St r e e t , Sh e u n g Wa n , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a No r t h Am e r i c a In c , 6 0 1 Re g e n t Pa r k Ct , Gr e e n v i l l e , S C
 2.2475 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 29607
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cl e v a No r t h Am e r i c a , In c . , 6 0 1 Re g e n t Pa r k Co u r t , Gr e e n v i l l e ,
 2.2476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          SC 29607

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Cl e v e l a n d Tu b i n g In c , 7 9 9 In d u s t r i a l Dr Sw, Cl e v e l a n d , T N
 2.2477 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                37311
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                Cl e v e r b r i d g e , In c . , 3 5 0 N. Cl a r k St . , Su i t e 7 0 0 , Ch i c a g o , I L
 2.2478 State what the contract or lease is for and the   So f t w a r e , Cl e v e r b r i d g e In c . - Pa r a l l e l s To o l b o x f o r Ma c 2 0 2 4
                                                                                                                                                                60654
        nature of the debtor's interest
          State the term remaining                        01/24/2024 - 01/23/2025

          List the contract number of any government
          contract
                                                                                                                                                                Cl e v e r b r i d g e , In c . , 3 5 0 N. Cl a r k St . , Su i t e 7 0 0 , Ch i c a g o , I L
 2.2479 State what the contract or lease is for and the
                                                          So f t w a r e , Cl e v e r b r i d g e Ul t r a Ed i t Su b s c r i p t i o n Re n e w a l 2 0 2 4
        nature of the debtor's interest                                                                                                                         60654

          State the term remaining                        03/17/2024 - 03/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                Cl e v e r m a d e L L C, 2 5 5 6 Ga t e w a y Rd , Ca r l s b a d , C A 9 2 0 0 9
 2.2480 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                Cl e v e r m a d e L L C, 2 5 5 6 Ga t e w a y Rd , Ca r l s b a d , C A 9 2 0 0 9
 2.2481 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                Cl e v e r m a d e L L C, 2 5 5 6 Ga t e w a y Rd , Ca r l s b a d , C A 9 2 0 0 9
 2.2482 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                Cl i f f Av e Gr e e n h o u s e H& g s , 2 1 0 1 E 2 6 t h St , Si o u x Fa l l s , S D
 2.2483 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 0 8 )
                                                                                                                                                                57105-3261
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Cl i f t o n Sp r i n g s Ha r d w a r e In c , 6 W Ma i n St , Cl i f t o n Sp r i n g s ,
 2.2484 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 4 7 )
        nature of the debtor's interest                                                                                                                         NY 14432-1031

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl i n t o n Hi l l Ha r d w a r e , 4 5 2 My r t l e Av e n u e A, Br o o k l y n , N Y
 2.2485 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 9 2 )
        nature of the debtor's interest                                                                                                                          11205-2425

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl i n t o n Ho m e Ce n t e r , 1 3 0 J D Ya r n e l l In d Pa r k w a y, Cl i n t o n ,
 2.2486 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 1 )
                                                                                                                                                                 TN 37716-3911
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl i n t o n Tr u e Va l u e , 2 0 0 Ea s t Ca r o l i n a Av e n u e , Cl i n t o n , S C
 2.2487 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 9 6 )
                                                                                                                                                                 29325-2523
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl i n t o n Tr u e Va l u e , 2 7 4 7 Hi c k o r y St , Cl i n t o n , O H 4 4 2 1 6 - 9 1 0 4
 2.2488 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2489 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2491 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2492 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2493 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2494 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2495 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2496 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2497 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2498 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2500 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2501 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2502 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2503 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2504 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2505 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2506 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2507 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E Di e h l Ro a d , Su i t e # 4 0 2 ,
 2.2510 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        12/31/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a Di v, Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E
 2.2511 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Di e h l Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a Di v, Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E
 2.2512 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Di e h l Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a Di v, Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E
 2.2513 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Di e h l Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o r o x Sa l e s Co Br i t a Di v, Cl o r o x Sa l e s Co Br i t a , 1 2 5 0 E
 2.2514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Di e h l Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o s e Tr u e Va l u e Lu m b e r Co . Wi l l i a m s , Cl o s e Tr u e Va l u e
 2.2515 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 6 5 )
                                                                                                                                                                 Lu m b e r Co Wi l l i a m s , 3 3 3 6 t h St , Wi l l i a m s , C A 9 5 9 8 7 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o s e Tr u e Va l u e Lu m b e r Co m p a n y, 1 6 0 0 Ac a c i a Av e , Su t t e r ,
 2.2516 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 0 6 )
                                                                                                                                                                 CA 95982-9327
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl o s e Tr u e Va l u e Yu b a Ci t y, 3 0 5 1 In d u s t r i a l Dr , Yu b a Ci t y, C A
 2.2517 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 4 6 )
        nature of the debtor's interest                                                                                                                          95993-9207

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o s e t m a i d , 6 5 0 Sw 2 7 Th Av e , Oc a l a , F L 3 4 4 7 1
 2.2518 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o s e t m a i d , 6 5 0 Sw 2 7 Th Av e , Oc a l a , F L 3 4 4 7 1
 2.2519 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/15/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o s e t m a i d , 6 5 0 Sw 2 7 Th Av e , Oc a l a , F L 3 4 4 7 1
 2.2520 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o v e r El e c t r o n i c s , 1 6 0 0 0 Ca r m e n i t a Rd , Ce r r i t o s , C A 9 0 7 0 3
 2.2521 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/12/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Cl o v e r l a n d Tr u e Va l u e Ha r d w a r e , 3 8 3 1 So u t h Co u r t St r e e t ,
 2.2522 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 8 8 )
                                                                                                                                                                 Mo n t g o m e r y, A L 3 6 1 0 5 - 2 5 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl o v i s Tr u e Va l u e , 1 8 9 0 Sh a w Av e n u e , Cl o v i s , C A 9 3 6 1 1 - 4 0 0 0
 2.2523 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 0 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cl y d e ' s Fe e d & Fa r m , 3 5 1 Un i o n St , Ha m b u r g , N Y 1 4 0 7 5
 2.2524 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cl y d e ' s Fe e d & Fa r m , 3 9 7 2 Lo c k p o r t Ol c o t t Rd , Lo c k p o r t , N Y
 2.2525 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 1 )
        nature of the debtor's interest                                                                                                                          14094

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cm Na t i o n a l In c , 1 9 5 9 Bl a k e Av e , Un i t L, Lo s An g e l e s , C A
 2.2526 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 90039

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cm d Pr o d u c t s In c , 1 4 1 0 Fl i g h t l i n e Dr , Su i t e D, Li n c o l n , C A
 2.2527 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95648
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cm d Pr o d u c t s In c , 1 4 1 0 Fl i g h t l i n e Dr , Su i t e D, Li n c o l n , C A
 2.2528 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 95648
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cm i In c o r p o r a t e d , 8 2 2 0 N Ki m b a l l Av e , Sk o k i e , I L 6 0 0 7 6
 2.2529 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cm t Us a , 7 6 0 9 D Be n t l e y, Gr e e n s b o r o , N C 2 7 4 0 9
 2.2530 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cm t Us a , 7 6 0 9 D Be n t l e y, Gr e e n s b o r o , N C 2 7 4 0 9
 2.2531 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cn h Co n s t r u c t i o n , 6 2 1 St a t e St r e e t , Ra c i n e , W I 5 3 4 0 2
 2.2532 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2010

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cn y Ra n c h Su p p l y & Fe e d , 8 0 5 S 4 t h St r e e t , Fu l t o n , N Y 1 3 0 6 9
 2.2533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cn y Ra n c h Su p p l y & Fe e d , 8 2 8 3 St a t e Ro u t e 1 0 4 , Os w e g o , N Y
 2.2534 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 8 )
                                                                                                                                                     13126
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co - o p Su p p l y, 8 3 2 3 St a t e Av e , Ma r y s v i l l e , WA 9 8 2 7 0
 2.2535 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co - o p Su p p l y Ar l i n g t o n , 1 2 1 S. Ol y m p i c Av e , Ar l i n g t o n , WA
 2.2536 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 1 )
                                                                                                                                                     98223
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co - o p Su p p l y Ev e r e t t , 2 9 0 1 St a t e St . , Ev e r e t t , WA 9 8 2 0 1
 2.2537 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co - o p Su p p l y La k e St e v e n s , 8 3 2 9 S. r. 9 2 , La k e St e v e n s , WA
 2.2538 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 8 )
        nature of the debtor's interest                                                                                                              98258

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a c h ' S Ce d a r Cr e e k Fa r m , 1 1 1 Do u g By r d Rd , Lu c e d a l e , M S
 2.2539 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     39452
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co a s t Cu t l e r y, 8 0 3 3 Ne Ho l m a n St , Po r t l a n d , O R 9 7 2 1 8
 2.2540 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co a s t Cu t l e r y, 8 0 3 3 Ne Ho l m a n St , Po r t l a n d , O R 9 7 2 1 8
 2.2541 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Co a s t Ha r d w a r e & Ra d i o Sh a c k , 3 0 0 N Ma i n St r e e t , Fo r t Br a g g ,
 2.2542 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 8 )
                                                                                                                                                     CA 95437-3406
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t Ha r d w a r e Tr u e Va l u e , 1 0 1 E. Ba r b a r a La n e , Wi l l i t s , C A
 2.2543 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 0 7 )
                                                                                                                                                     95490-3929
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t o f Ma i n e In c , Co a s t Of Ma i n e In c , 1 4 5 Ne w b u r y St r e e t ,
 2.2544 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Po r t l a n d , M E 0 4 1 0 1

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Co a s t o f Ma i n e In c , Co a s t Of Ma i n e In c , 1 4 5 Ne w b u r y St r e e t ,
 2.2545 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Po r t l a n d , M E 0 4 1 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Co a s t Ta p e Co . , 2 7 0 Bi g Oa k Rd , St Au g u s t i n e , F L 3 2 0 9 5
 2.2546 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co a s t To Co a s t Ho m e & Au t o , 1 0 3 E Ma i n , Ho l d e n v i l l e , O K
 2.2547 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 8 )
        nature of the debtor's interest                                                                                                              74848-3207

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t Tr u e Va l u e , 1 0 8 Ma i n Av e n u e N, Ro s e a u , M N 5 6 7 5 1 -
 2.2548 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 5 6 )
                                                                                                                                                     1154
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co a s t a l Fa r m & Ho m e # 1 , Co a s t a l Fa r m & Ho m e 1 , 1 3 5 5
 2.2549 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 4 5 )
                                                                                                                                                     Go l d f i s h Fa r m Rd Se , Al b a n y, O R 9 7 3 2 2 - 5 1 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # 2 , Co a s t a l Fa r m & Ho m e 2 , 1 5 5 0
 2.2550 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 4 7 )
        nature of the debtor's interest                                                                                                              Mo u n t Ho o d Av e , Wo o d b u r n , O R 9 7 0 7 1 - 9 0 6 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # 3 , Co a s t a l Fa r m & Ho m e 3 , 2 2 0 0 W
 2.2551 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 4 6 )
                                                                                                                                                     6 t h Av e , Eu g e n e , O R 9 7 4 0 2 - 7 6 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # 4 , Co a s t a l Fa r m & Ho m e 4 , 7 8 2 Ne
 2.2552 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 9 )
                                                                                                                                                     Ga r d e n Va l l e y Bl v d , Ro s e b u r g , O R 9 7 4 7 0 - 2 0 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # 7 , Co a s t a l Fa r m & Ho m e 7 , 2 8 6 5 Ne
 2.2553 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 8 2 )
        nature of the debtor's interest                                                                                                              Ho g a n Dr , Gr e s h a m , O R 9 7 0 3 0 - 3 1 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # A, Co a s t a l Fa r m & Ho m e A, 1 9 0 0
 2.2554 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 3 5 )
                                                                                                                                                     Mc l o u g h l i n Bl v d St e 1 2 0 , Or e g o n Ci t y, O R 9 7 0 4 5 - 2 0 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e # E, Co a s t a l Fa r m & Ho m e E, 2 0 2 1
 2.2555 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 8 6 )
        nature of the debtor's interest                                                                                                              Ma r k e t St , Mo u n t Ve r n o n , WA 9 8 2 7 3 - 5 4 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e Co r p . , 1 3 5 5 Go l d f i s h Fa r m Ro a d Se ,
 2.2556 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 7 )
        nature of the debtor's interest                                                                                                              Al b a n y, O R 9 7 3 2 2 - 5 1 5 4

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co a s t a l Fa r m & Ho m e St o r e " k " , Co a s t a l Fa r m & Ho m e St o r e
 2.2557 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 1 )
                                                                                                                                                     K, Bu i l d i n g A Su i t e 1 0 1 , 9 9 0 Ea s t Wa s h i n g t o n St , Se q u i m , WA
        nature of the debtor's interest
                                                                                                                                                     98382-3517
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ho m e St o r e " l " , Co a s t a l Fa r m & Ho m e St o r e L,
 2.2558 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 1 )
                                                                                                                                                     9 6 2 3 St a t e Av e n u e , Ma r y s v i l l e , WA 9 8 2 7 0 - 2 2 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h # D, Co a s t a l Fa r m & Ra n c h D, 3 8 0 5
 2.2559 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 2 9 )
        nature of the debtor's interest                                                                                                              Ba s e l i n e Rd , Co r n e l i u s , O R 9 7 1 1 3 - 8 8 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h # F, Co a s t a l Fa r m & Ra n c h F, 1 4 2 5
 2.2560 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 3 8 )
                                                                                                                                                     Su p e r Ma l l Wa y, Au b u r n , WA 9 8 0 0 1 - 6 5 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h # g , Co a s t a l Fa r m & Ra n c h G, 2 6 0 0 We s t
 2.2561 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 5 3 )
                                                                                                                                                     6 t h St r e e t , Th e Da l l e s , O R 9 7 0 5 8 - 4 1 6 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h St o r e # 6 , Co a s t a l Fa r m & Ra n c h St o r e ,
 2.2562 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 0 2 )
        nature of the debtor's interest                                                                                                              2 1 1 2 S 1 s t St , Ya k i m a , WA 9 8 9 0 3 - 2 2 3 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h St o r e # B, Co a s t a l Fa r m & Ra n c h St o r e
 2.2563 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 4 9 )
        nature of the debtor's interest                                                                                                              , 2 6 0 Hi g h l i n e Dr , Ea s t We n a t c h e e , WA 9 8 8 0 2 - 5 3 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co a s t a l Fa r m & Ra n c h St o r e # H, Co a s t a l Fa r m & Ra n c h St o r e
 2.2564 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 3 1 )
        nature of the debtor's interest                                                                                                              , 1 7 7 6 Av a l o n St , Kl a m a t h Fa l l s , O R 9 7 6 0 3 - 4 6 2 4

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co a s t a l Fa r m & Ra n c h St o r e # I, Co a s t a l Fa r m & Ra n c h St o r e ,
 2.2565 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 3 2 )
        nature of the debtor's interest                                                                                                                          3 1 4 1 Hi g h w a y 9 9 , Re d m o n d , O R 9 7 7 5 6 - 8 9 0 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Fa r m & Ra n c h St o r e # J, Co a s t a l Fa r m & Ra n c h St o r e ,
 2.2566 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 3 3 )
                                                                                                                                                                 7 3 0 3 Cr a t e r La k e Hi g h w a y, Wh i t e Ci t y, O R 9 7 5 0 3 - 1 6 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Li v i n g Pa i n t & Ha r d w a r e , Co a s t a l Li v i n g Pa i n t &
 2.2567 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 1 8 )
                                                                                                                                                                 Ha r d w a r , 8 2 La f a y e t t e Ro a d , Ha m p t o n Fa l l s , N H 0 3 8 4 4 - 2 3 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Nu r s e r y, 1 1 7 Ra n c h o Rd , Wa t s o n v i l l e , C A 9 5 0 7 6
 2.2568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Pe t Pr o d u c t s , In c . , 9 1 1 Le a d w a y Av e n u e , Al l i a n c e , O H
 2.2569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44601

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Pe t Pr o d u c t s , In c . , 9 1 1 Le a d w a y Av e n u e , Al l i a n c e , O H
 2.2570 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44601

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Pe t Pr o d u c t s , In c . , 9 1 1 Le a d w a y Av e n u e , Al l i a n c e , O H
 2.2571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44601
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co a s t a l Pe t Pr o d u c t s , In c . , 9 1 1 Le a d w a y Av e n u e , Al l i a n c e , O H
 2.2572 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44601
        nature of the debtor's interest
          State the term remaining                        10/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Co a s t a l St o r e " p " , Co a s t a l St o r e P, 4 0 0 Ne Ci r c l e Bl v d ,
 2.2573 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 3 )
                                                                                                                                                      Co r v a l l i s , O R 9 7 3 3 0 - 4 2 9 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co a s t a l St o r e " q " , Co a s t a l St o r e Q, 5 5 0 0 Ma r t i n Wa y E, La c e y,
 2.2574 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 3 3 )
        nature of the debtor's interest                                                                                                               WA 9 8 5 1 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co a s t a l St o r e M, 1 9 8 8 1 St a t e Ro u t e 2 , Mo n r o e , WA 9 8 2 7 2 -
 2.2575 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 9 )
                                                                                                                                                      2352
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co a s t a l St o r e O, 1 2 3 0 La n c a s t e r Dr. Se , Sa l e m , O R 9 7 3 1 7 - 5 8 0 0
 2.2576 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 4 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co a t i n g s Re s e a r c h Go u p , In c . , Co a t i n g s Re s e a r c h Gr o u p , 1 2 5
 2.2577 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Cl e a n Te a m Ja n i t o r i a l
                                                          Se r v i c e s f o r Cl e v e l a n d Oh i o 2 0 2 2                                        Pe l r e t In d u s t r i a l Pk w y, Be r e a , O H 4 4 0 1 7
        nature of the debtor's interest
          State the term remaining                        03/28/2022 - 03/27/2025

          List the contract number of any government
          contract
                                                                                                                                                      Co b b Ha r d w a r e Co In c , 3 8 0 Ro s w e l l St Se , Ma r i e t t a , G A
 2.2578 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 4 8 )
        nature of the debtor's interest                                                                                                               30060-8208

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co b l e s k i l l Ag w a y, 2 3 9 We s t Ma i n St r e e t , Co b l e s k i l l , N Y
 2.2579 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 0 0 )
        nature of the debtor's interest                                                                                                               12043-9998

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Co b r a An c h o r s Co Lt d , 8 0 5 1 Me t r o p o l i t a n Bl v d Ea s t , Mo n t r e a l ,
 2.2580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Q C H1 J 1 J8 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        07/01/2010

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co b r a Pr o d u c t s Co , 3 9 6 0 0 Or c h a r d Hi l l Pl , No v i , M I 4 8 3 7 5
 2.2581 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co b r a Pr o d u c t s Co , 3 9 6 0 0 Or c h a r d Hi l l Pl , No v i , M I 4 8 3 7 5
 2.2582 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co b r a Pr o d u c t s Co , 3 9 6 0 0 Or c h a r d Hi l l Pl , No v i , M I 4 8 3 7 5
 2.2583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co b r a Pr o d u c t s Co , 3 9 6 0 0 Or c h a r d Hi l l Pl , No v i , M I 4 8 3 7 5
 2.2584 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Co b r a c o Mf g In c , 7 0 N Lo c u s t St , Li t i t z , PA 1 7 5 4 3
 2.2585 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co c a m In t l En t e r p r i s e s , 6 2 4 5 Pr o v i d e n c e Wa y, Ea s t v a l e , C A
 2.2586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92880
        nature of the debtor's interest
          State the term remaining                        05/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Co c h e z Y Ci a , S. a . , Co c h e z Y Ci a S. a . , Ce n t r o Lo g i s t i c o
 2.2587 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 4 )
                                                                                                                                                                 Co c h e z , Vi a To c u m e n Fr e n t e A Pa r q u e Su r. , Pa n a m a , Pa n a m a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co c o Pr o d u c t s L L C, 1 3 4 5 S Pa r k s i d e Pl a c e , On t a r i o , C A 9 1 7 6 1
 2.2588 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co c o Pr o d u c t s L L C, 1 3 4 5 S Pa r k s i d e Pl a c e , On t a r i o , C A 9 1 7 6 1
 2.2589 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co c o Pr o d u c t s L L C, 1 3 4 5 S Pa r k s i d e Pl a c e , On t a r i o , C A 9 1 7 6 1
 2.2590 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co d a Re s o u r c e s Lt d , 9 9 0 E No r t h Av e , Gl e n d a l e He i g h t s , I L
 2.2591 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60148

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Co d a Re s o u r c e s Lt d Im p , 9 9 0 E No r t h Av e , Gl e n d a l e He i g h t s ,
 2.2592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60148
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Co d a Re s o u r c e s Lt d Im p , 9 9 0 E No r t h Av e , Gl e n d a l e He i g h t s ,
 2.2593 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60148
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Co d a l , In c . , 1 1 E. Hu b b a r d St . , Su i t e 6 0 0 , Ch i c a g o , I L 6 0 6 1 1
 2.2594 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Co d a l In c . Ma s t e r Se r v i c e Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        08/10/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Co f a i r Pr o d u c t s In c , 6 1 3 5 Mo n r o e Ct , Mo r t o n Gr o v e , I L 6 0 0 5 3
 2.2595 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 06/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Co f a i r Pr o d u c t s In c , 6 1 3 5 Mo n r o e Ct , Mo r t o n Gr o v e , I L 6 0 0 5 3
 2.2596 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Co f a i r Pr o d u c t s In c , 6 1 3 5 Mo n r o e Ct , Mo r t o n Gr o v e , I L 6 0 0 5 3
 2.2597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                            Co f e r ' s H & G Sh o w p l a c e , 1 1 4 5 Mi t c h e l l Br i d g e Rd , At h e n s ,
 2.2598 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 1 4 )
                                                                                                                                                            GA 30606-6411
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co g e n s i a - 1 1 0 We s t Hi l l c r e s t Bo u l e v a r d , 1 1 0 We s t Hi l l c r e s t
 2.2599 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , S A S Pr o g r a m i n g t o Su p p o r t t h e C F V p r o g r a m
                                                                                                                                                            Bo u l e v a r d , Su i t e 1 0 1 , Sc h a u m b u r g , I L 6 0 1 9 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co g h l a n s Lt d , 1 2 1 Ir e n e St , Wi n n i p e g , M B R3 T 4 C7 , Ca n a d a
 2.2600 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                            Co g h l a n s Lt d , 1 2 1 Ir e n e St , Wi n n i p e g , M B R3 T 4 C7 , Ca n a d a
 2.2601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                            Co i l h o s e Pn e u m a t i c s , 1 9 Ki m b e r l y Rd , Ea s t Br u n s w i c k , N J
 2.2602 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            08816
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                            Co l e m a n Co - Fu e l , Po Bo x 1 3 0 8 , Le w i s t o n , I D 8 3 5 0 1
 2.2603 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2021

          List the contract number of any government
          contract
                                                                                                                                                            Co l e m a n Co - Fu e l , Po Bo x 1 3 0 8 , Le w i s t o n , I D 8 3 5 0 1
 2.2604 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2605 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2607 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2608 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2609 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y, 3 6 0 0 N Hy d r a y l i c , Wi t c h i t a , K S 6 7 2 1 9
 2.2611 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co l e m a n Co m p a n y In c , 3 6 0 0 N Hy d r a u l i c Av e , Wi c h i t a , K S
 2.2612 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          67219

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co l e m a n Po w e r m a t e In c , Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e
 2.2613 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e , 1 3 0 Mu n c y Cr e e k Bo u l e v a r d , Mu n c y, PA
 2.2614 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 7 5 )
                                                                                                                                                     17756-5408
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e , 3 3 3 W 2 n d St , Rt 1 1 So u t h , Be r w i c k , PA
 2.2615 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 6 6 )
        nature of the debtor's interest                                                                                                              18603-4717

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e In c , 1 0 8 9 Co l u m b i a Bl v d , Bl o o m s b u r g , PA
 2.2616 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 5 6 )
                                                                                                                                                     17815-8845
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e In c , 1 1 3 5 3 St a t e Ro u t e 6 1 , Mo u n t Ca r m e l , PA
 2.2617 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 5 6 )
                                                                                                                                                     17851-1060
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e In c , 2 2 5 Ch e s t n u t St , Su n b u r y, PA 1 7 8 0 1 - 2 7 1 0
 2.2618 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 5 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e In c , 2 4 E Ch e s t n u t St , Mi f f l i n b u r g , PA 1 7 8 4 4 -
 2.2619 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 4 9 )
                                                                                                                                                     9672
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l e s Ha r d w a r e In c , 2 5 En t e r p r i s e Dr , Da n v i l l e , PA 1 7 8 2 1 -
 2.2620 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 9 4 )
        nature of the debtor's interest                                                                                                              9628

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co l e s Ha r d w a r e In c , 2 7 0 Ma h o n i n g St r e e t , Mi l t o n , PA 1 7 8 4 7 -
 2.2621 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 6 3 )
        nature of the debtor's interest                                                                                                                          1514

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Ha r d w a r e In c , 4 8 8 Fe r r y St , Da n v i l l e , PA 1 7 8 2 1 - 1 9 8 8
 2.2622 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 5 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Ha r d w a r e In c , 5 2 4 Po i n t To w n s h i p Dr , No r t h u m b e r l a n d ,
 2.2623 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 6 0 )
                                                                                                                                                                 PA 1 7 8 5 7 - 8 7 8 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Ha r d w a r e In c , 5 5 N Se c o n d St , Le w i s b u r g , PA 1 7 8 3 7 -
 2.2624 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 5 8 )
        nature of the debtor's interest                                                                                                                          1566

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Ha r d w a r e In c , 7 0 0 N Br o a d St , Se l i n s g r o v e , PA 1 7 8 7 0 -
 2.2625 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 6 4 )
                                                                                                                                                                 1720
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Ha r d w a r e In c , 8 1 0 0 Ro u t e 5 2 2 , Mi d d l e b u r g , PA 1 7 8 4 2 -
 2.2626 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 6 5 )
        nature of the debtor's interest                                                                                                                          7930

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l e s Wi l d Bi r d Pr o d u c t s In c , 1 3 2 5 - F Co b b In t l Dr , Ke n n e s a w,
 2.2627 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 GA 30152

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l g a t e Pa l m o l i v e Co , 7 Wa r w i c k Ct , La k e In Th e Hi l l s , I L
 2.2628 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60156

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co l g a t e Pa l m o l i v e Co , 7 Wa r w i c k Ct , La k e In Th e Hi l l s , I L
 2.2629 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 60156
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co l g a t e Pa l m o l i v e Co , 7 Wa r w i c k Ct , La k e In Th e Hi l l s , I L
 2.2630 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60156

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Co l g a t e Pa l m o l i v e Co , 7 Wa r w i c k Ct , La k e In Th e Hi l l s , I L
 2.2631 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60156
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l l i e r Mf g . L L C, 1 8 8 Vo l u n t e e r Ct , Ma n c h e s t e r , T N 3 7 3 5 5
 2.2632 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co l l i e r Mf g . L L C, 1 8 8 Vo l u n t e e r Ct , Ma n c h e s t e r , T N 3 7 3 5 5
 2.2633 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 06/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Co l l i e r Mf g . L L C, 1 8 8 Vo l u n t e e r Ct , Ma n c h e s t e r , T N 3 7 3 5 5
 2.2634 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Co l l i e r Mf g . L L C, 1 8 8 Vo l u n t e e r Ct , Ma n c h e s t e r , T N 3 7 3 5 5
 2.2635 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l l i s Tr u e Va l u e Ha r d w a r e , 1 0 4 N Ma i n St , He r k i m e r , N Y
 2.2636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 8 3 )
                                                                                                                                                                 13350-1917
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co l m a r Tr u e Va l u e Ho m e Ce n t e r , 7 S Es s e x Av e , Ma r g a t e Ci t y,
 2.2637 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 1 1 )
                                                                                                                                                     NJ 08402-2714
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l m a r Tr u e Va l u e Ho m e Ce n t e r Of Ca p e Ma y Co u r t h o , 1 1
 2.2638 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 5 )
                                                                                                                                                     Co u r t h o u s e So u t h De n n i s Rd , Ca p e Ma y Co u r t Ho u s e , N J
        nature of the debtor's interest
                                                                                                                                                     08210
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l m a r Tr u e Va l u e Ho m e Ce n t e r Of No r t h Ca p e Ma y, 3 8 4 5
 2.2639 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 6 9 )
        nature of the debtor's interest                                                                                                              Ba y s h o r e Ro a d , No r t h Ca p e Ma y, N J 0 8 2 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o m a Tr u e Va l u e , 2 8 0 Pa w Pa w St , Co l o m a , M I 4 9 0 3 8 - 9 5 8 9
 2.2640 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 7 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e , 1 0 1 We s t l e y Dr i v e , Me c h a n i c s b u r g , PA
 2.2641 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 6 )
        nature of the debtor's interest                                                                                                              17055

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e , 4 2 2 4 Ma r k e t St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 4
 2.2642 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e , 6 3 5 0 Fr a n k f o r d Av e . , Ba l t i m o r e , M D 2 1 2 0 6
 2.2643 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e , 9 9 5 0 Bu s i n e s s Pa r k w a y, La n h a m , M D 2 0 7 0 7
 2.2644 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co l o n y Ha r d w a r e - 7 5 , 5 8 9 Br o a d Av e . , Ri d g e f i e l d , N J 0 7 6 5 7
 2.2645 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Au s t i n , 9 1 0 1 Wa l l St r e e t 1 2 0 0 , Au s t i n , T X
 2.2646 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 2 )
                                                                                                                                                     78754
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Co u n t r y s i d e , 9 5 5 0 We s t 5 5 St , Co u n t r y s i d e ,
 2.2647 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 7 )
        nature of the debtor's interest                                                                                                              IL 60525-3640

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Fo r t Wo r t h , 3 0 2 5 N Gr e a t So u t h w e s t Pk w y,
 2.2648 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 9 )
                                                                                                                                                     Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Ho u s t o n , 7 1 7 0 W. 4 3 r d St . , Ho u s t o n , T X
 2.2649 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 2 )
        nature of the debtor's interest                                                                                                              77092

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Hu n t s v i l l e , 1 1 7 Je t p l e x Ci r c l e , Ma d i s o n , A L
 2.2650 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 3 )
        nature of the debtor's interest                                                                                                              35758

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e - Or l a n d o , 2 4 8 7 Tr a d e p o r t Dr , Or l a n d o , F L
 2.2651 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 9 )
                                                                                                                                                     32824-7067
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co l o n y Ha r d w a r e St . Lo u i s , 1 4 Su n n e n Dr , St e 1 4 2 , St . Lo u i s ,
 2.2652 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 7 )
                                                                                                                                                     MO 63143
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co l o n y Ha r d w a r e Su p p l y In c , 2 6 9 S La m b e r t Ro a d , Or a n g e , C T
 2.2653 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 2 1 )
        nature of the debtor's interest                                                                                                                          06477-3502

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o n y Ha r d w a r e - c l e v e l a n d , 1 8 0 0 Ea s t 3 0 t h St , Cl e v e l a n d , O H
 2.2654 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 0 2 )
        nature of the debtor's interest                                                                                                                          44114-4410

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r Ho u s e In c . , 8 1 9 2 Po s t Ro a d , No r t h Ki n g s t o w n , R I 0 2 8 5 2
 2.2655 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r Pu t t y, P. O. Bo x 7 3 8 , Mo n r o e , W I 5 3 5 6 6
 2.2656 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r Pu t t y, P. O. Bo x 7 3 8 , Mo n r o e , W I 5 3 5 6 6
 2.2657 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r St o r e , 1 8 6 3 Ne 5 4 t h Av e n u e , De s Mo i n e s , I A 5 0 3 1 3
 2.2658 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r a m a Pa i n t & Su p p l y, 5 2 3 2 Ri l e y St r e e t , Sa n Di e g o , C A
 2.2659 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 6 )
        nature of the debtor's interest                                                                                                                          92110

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l o r a m a Pa i n t & Su p p l y, 6 0 3 So u t h Sa n t a Fe , Vi s t a , C A 9 2 0 8 3
 2.2660 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 333 of 1687
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co l u m b i a Ca s u a l t y Co m p a n y ( Cn a ) ( 6 % ) , 3 1 6 5 0 Ox n a r d St , St e
 2.2661 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Pr o p e r t y - Po l i c y Nu m b e r ( s ) : 7 0 3 4 9 6 6 4 8 8
        nature of the debtor's interest                                                                                                                          6 0 0 , Wo o d l a n d Hi l l s , C A 9 1 3 6 7

          State the term remaining                        06/01/2024 - 06/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co l u m b i a Pa i n t & Wa l l c o v e r , 1 1 1 4 Ca r m a c k Bl v d , Co l u m b i a ,
 2.2662 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 6 )
        nature of the debtor's interest                                                                                                                          TN 38401

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l u m b i a n Ho m e Pr o d u c t s , 4 0 4 N Ra n d Rd , No r t h Ba r r i n g t o n ,
 2.2663 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60010
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l u m b i a n Ho m e Pr o d u c t s , 4 0 4 N Ra n d Rd , No r t h Ba r r i n g t o n ,
 2.2664 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60010
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Co l u m b u s Tr u e Va l u e , 3 2 1 E Ma p l e , Co l u m b u s , K S 6 6 7 2 5 - 1 8 0 5
 2.2665 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co l v i l l e Bu i l d e r s , 2 2 8 We s t 5 t h Av e n u e , Co l v i l l e , WA 9 9 1 1 4 -
 2.2666 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 2 )
                                                                                                                                                                 0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m a r c h In c , 9 4 5 0 W Br y n Ma w r Su i t e 3 2 5 , Ro s e m o n t , I L
 2.2667 State what the contract or lease is for and the   So f t w a r e , So f t w a r e Li c e n s e Ag r e e m e n t
                                                                                                                                                                 60631
        nature of the debtor's interest
          State the term remaining                        04/01/2014 - 03/31/2064

          List the contract number of any government
          contract
                                                                                                                                                                 Co m c a s t Bu s i n e s s - En t e r p r i s e Sa l e s , On e Co m c a s t Ce n t e r , 1 7 0 1
 2.2668 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Co m c a s t Se r v i c e Or d e r ( S O A) Ci r c u i t
        nature of the debtor's interest                   Up g r a d e - Ca r y                                                                                  Jf k Bl v d , , Ph i l a d e l p h i a , PA 1 9 1 0 3

          State the term remaining                        09/01/2022 - 08/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m c a s t Bu s i n e s s - En t e r p r i s e Sa l e s , On e Co m c a s t Ce n t e r , 1 7 0 1
 2.2669 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , C O M C A S T f o r t h e S D- WA N c i r c u i t f o r
                                                          t h e Sh u r - Li n e Fr e e p o r t l o c a t i o n .                                                 Jf k Bl v d , , Ph i l a d e l p h i a , PA 1 9 1 0 3
        nature of the debtor's interest
          State the term remaining                        08/15/2023 - 08/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co m c a s t Bu s i n e s s - En t e r p r i s e Sa l e s , On e Co m c a s t Ce n t e r , 1 7 0 1
 2.2670 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co m c a s t Se r v i c e Or d e r ( S O A) Ci r c u i t
                                                                                                                                                                 Jf k Bl v d , , Ph i l a d e l p h i a , PA 1 9 1 0 3
        nature of the debtor's interest                   Up g r a d e - Sp r i n g f i e l d

          State the term remaining                        06/20/2023 - 06/19/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Co m c a s t Bu s i n e s s - En t e r p r i s e Sa l e s , On e Co m c a s t Ce n t e r , 1 7 0 1
 2.2671 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Co m c a s t Se r v i c e Or d e r ( S O A) Ci r c u i t
        nature of the debtor's interest                   Up g r a d e - Cl e v e l a n d                                                                        Jf k Bl v d , , Ph i l a d e l p h i a , PA 1 8 0 3 6

          State the term remaining                        06/15/2021 - 10/14/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Co m d a t a Ne t w o r k In c . , 5 3 0 1 Ma r y l a n d Wa y, Br e n t w o o d , T N
 2.2672 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Co m d a t a Tr a n s p o r t a t i o n Se r v i c e s
                                                          Ag r e e m e n t                                                                                       37027
        nature of the debtor's interest
          State the term remaining                        10/10/2024 - 10/09/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co m e r c i a l Va r g a s In c . , Ca r r. 1 0 9 Km 2 4 . Bo Al t o z a n o , Sa n
 2.2673 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 9 )
                                                                                                                                                                 Se b a s t i a n , P R 0 0 6 8 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m m e r c e & In d u s t r y In s u r a n c e Co ( Ai g ) , 1 2 7 1 Av e n u e Of Th e
 2.2674 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   38178911                                                                                               Am e r i c a s , 3 7 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 2 0

          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co m m e r c i a l Ch r i s t m a s Ha r d w a r e , 6 1 6 E Sl a t o n Rd , Lu b b o c k ,
 2.2675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 79404
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m m e r c i a l Ch r i s t m a s Ha r d w a r e , 6 1 6 E Sl a t o n Rd , Lu b b o c k ,
 2.2676 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 79404
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Co m m e r c i a l Ha r d w a r e , 2 1 1 1 s t St , Gu e y d a n , L A 7 0 5 4 2
 2.2677 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co m m e r c i a l Lu m b e r & Bl d g Sp l y, 1 3 0 Ma i n St , Is l i p , N Y
 2.2678 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 0 0 )
                                                                                                                                                                11751-3417
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co m m e r c i a l Sa l e s , 1 0 8 Ha m m o n d La n e , Pl a t t s b u r g h , N Y
 2.2679 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 5 1 )
                                                                                                                                                                12901-2020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co m m o d o r e Mf g , 4 3 1 2 Se c o n d St , Br o o k l y n , N Y 1 1 2 3 2
 2.2680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                Co m m o n Ce n t s Di s t r i b u t o r s , 1 1 4 Cl i n t o n Rd , Fa i r f i e l d , N J
 2.2681 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 3 )
                                                                                                                                                                07004-3307
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co m m o n w e a l t h Bu i l d i n g Ma t e r i a l s , 1 1 0 6 6 Wa s h i n g t o n Hw y A,
 2.2682 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 9 )
                                                                                                                                                                Gl e n Al l e n , VA 2 3 0 5 9 - 1 9 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co m m o n w e a l t h Wo o d Pr e s e r v e r s , 5 6 0 4 Ci t y Li n e Ro a d ,
 2.2683 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                         Ha m p t o n , VA 2 3 6 6 1

          State the term remaining                        03/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                Co m m u n i q u e Co n f e r e n c i n g , In c . , 8 1 2 0 Wo o d m o n t Av e , Su i t e
 2.2684 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Co m m u n i q u e Co n f e r e n c i n g In c . Ma s t e r
                                                          Se r v i c e a n d Sa a S Ag r e e m e n t                                                            7 5 2 , Be t h e s d a , M D 2 0 8 1 4
        nature of the debtor's interest
          State the term remaining                        06/30/2020 - 06/29/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co m m u n i t y Co f f e e L L C, Co m m u n i t y Co f f e e Co m p a n y, 3 3 3 2
 2.2685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Pa r t r i d g e La n e , Bu i l d i n g A, Ba t o n Ro u g e , L A 7 0 8 0 9
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Co m m u n i t y Ha r d w a r e , 1 0 2 So u t h Ce n t e r St , Pr i n c e t o n , N C
 2.2686 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 8 3 )
        nature of the debtor's interest                                                                                                              27569-7343

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m m u n i t y Tr u e Va l u e Hd w & b l d g Sp l y, Co m m u n i t y Tr u e
 2.2687 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 0 8 )
                                                                                                                                                     Va l u e Hd w & Bl d g Sp l y, 3 0 9 Bo y d St , Mu r t a u g h , I D 8 3 3 4 4 -
        nature of the debtor's interest
                                                                                                                                                     5038
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a c t o r Re n t a l s o f Am e r i c a , L L C, P. O. Bo x 9 0 5 7 8 , , Ph o e n i x ,
 2.2688 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Co m p a c t o r Re n t a l s o f
                                                                                                                                                     AZ 85066
        nature of the debtor's interest                   Am e r i c a Re n t a l Ag r e e m e n t Ha r v a r d 2 0 2 2

          State the term remaining                        09/01/2022 - 08/31/2028

          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De , Av.
 2.2689 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 2 )
        nature of the debtor's interest                                                                                                              Vi c e n t e Gu e r r e r o 3 8 9 , Ci u d a d Ju a r e z , Ch i h u a h u a 3 2 0 2 0 ,
                                                                                                                                                     Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De , Av e
 2.2690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 8 )
                                                                                                                                                     Te c n o l o g i c o 2 7 0 1 Co l o n i a El Ma , Pl a z a Ju a r e z Ma l l Lo c a l Su b
        nature of the debtor's interest
                                                                                                                                                     An c l a M, Ci u d a d Ju a r e z , Ch i h u a h u a 3 2 6 0 7 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De , C.
 2.2691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 4 )
        nature of the debtor's interest                                                                                                              Na v o j o a 3 8 9 4 Lo c a l C, Ci u d a d Ju a r e z , Ch i h u a h u a , Me x i c o

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De , Ca l l e
 2.2692 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 9 )
        nature of the debtor's interest                                                                                                              Pa s e o De La s Fa c u l t a d e s No 1 , Co l o n i a No m b r e De Di o s ,
                                                                                                                                                     Ch i h u a h u a Ch i h , Ch i h u a h u a , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De , Ma n u e l J
 2.2693 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 1 )
                                                                                                                                                     Cl o u t h i e r No . 4 5 0 Su b An c l , Co l . Ri o Gr a n d e , Ci u d a d Ju a r e z ,
        nature of the debtor's interest
                                                                                                                                                     Ch i h u a h u a , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De C, Ca l l e
 2.2694 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 9 )
                                                                                                                                                     Pu e r t o Pa l m a 1 6 5 1 , Ci u d a d Ju a r e z , Ch i h u a h u a 3 2 5 9 9 , Me x i c o
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De C,
 2.2695 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 6 6 )
        nature of the debtor's interest                                                                                                              Co m p a n i a Ma d e r e r a De Ch i h u a h u a , Ca l l e Sa n t i a g o Tr o n c o s o
                                                                                                                                                     No . 8 7 0 - b , Fr a c c . Ha c i e n d a s De l Su r , Ci u d a d Ju a r e z ,
          State the term remaining                                                                                                                   Ch i h u a h u a 3 2 5 7 5 , Me x i c o
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s S. a . De C,
 2.2696 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 6 )
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a , Ca l l e Ch o c h u l t e c a s , Ca s i
        nature of the debtor's interest
                                                                                                                                                     Es q u i n a Ca r l o s Am a y a , Ci u d a d Ju a r e z , Ch i h u a h u a , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Av. 1 6
 2.2697 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 8 )
                                                                                                                                                     De Se p t i e m b r e 4 7 6 0 , Co l o n i a Sa n Fe l i p e De l Re a l , Ci u d a d
        nature of the debtor's interest
                                                                                                                                                     Ju a r e z , Ch i h u a h u a 3 2 1 7 0 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Av.
 2.2698 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 7 )
        nature of the debtor's interest                                                                                                              Fe d o r Mi j a i l o v i c h Do s t o i e v s k i , Ci u d a d Ju a r e z , Ch i h u a h u a ,
                                                                                                                                                     Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Av.
 2.2699 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 7 )
        nature of the debtor's interest                                                                                                              Fr a n c i s c o Vi l l a 8 7 2 7 , Co l o n i a De s a r r o l l o El Sa u c i t o , To r r e o n ,
                                                                                                                                                     Ch i h u a h u a 3 2 1 7 0 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Av. La s
 2.2700 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 4 )
        nature of the debtor's interest                                                                                                              To r r e s 2 7 5 1 - b , Fr a c c . Ha c i e n d a De La s To r r e s , Ci u d a d Ju a r e z ,
                                                                                                                                                     Ch i h u a h u a 3 2 6 9 5 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Bl v d .
 2.2701 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 5 )
        nature of the debtor's interest                                                                                                                          In d e p e n d e n c i a 2 8 1 0 , H Co l . Pr a d e r a s De l Br a v o , Ci u d a d Ju a r e z ,
                                                                                                                                                                 Ch i h u a h u a 3 2 6 9 5 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, Bl v d .
 2.2702 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 6 )
                                                                                                                                                                 Za r a g o z a 6 0 0 8 Lo c a l Ja 0 3 , Pa r q u e In d u s t r i a l Za r a g o z a , Ci u d a d
        nature of the debtor's interest
                                                                                                                                                                 Ju a r e z , Ch i h u a h u a 3 2 6 8 5 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv,
 2.2703 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 3 )
                                                                                                                                                                 Fr a n c i s c o Vi l l a r r e a l To r r e s 2 0 5 0 - a , Lo c a l A Y A2 . Co l . Pa r t i d o
        nature of the debtor's interest
                                                                                                                                                                 Se n e c u , Ci u d a Ju a r e z , Ch i h u a h u a , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv, P T De
 2.2704 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 4 0 )
        nature of the debtor's interest                                                                                                                          La Re p u b l i c a 5 3 5 5 , Ci u d a d Ju a r e z , Ch i h u a h u a 3 2 3 2 0 , Me x i c o

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a n i a Ma d e r e r a De Ch i h u a h u a Su c e s o r e s Sa De Cv,
 2.2705 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 2 )
        nature of the debtor's interest                                                                                                                          Sa n t i a g o Tr o n c o s o 8 7 0 , Fr a c c . Ha c i e n d a s De l Su r , Ci u d a d
                                                                                                                                                                 Ju a r e z , Ch i h u a h u a 3 2 5 7 5 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s He a l t h Br a n d s , 6 7 5 3 En g l e Ro a d , Mi d d l e b u r g
 2.2706 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          He i g h t s , O H 4 4 1 3 0

          State the term remaining                        06/01/2022 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2707 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2708 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2709 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2710 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2711 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2712 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2713 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2714 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2715 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2716 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2717 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2718 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2720 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2721 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2722 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2723 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2724 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2725 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2726 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2727 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2731 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2732 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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                                                                                                                                                24-12337
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2733 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2734 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2735 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2736 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2737 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2738 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ov e r l a n d Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co m p a s s Mi n e r a l s , 9 9 0 0 We s t 1 0 9 Th St r e e t , Su i t e 1 0 0 ,
 2.2739 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 9 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ov e r l a n d Pa r k , K S 6 6 2 1 0

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co m p l e t e Pi p e l i n e Se r v i c e s & Su p p l y, 2 0 3 4 4 4 t h St r e e t Ea s t ,
 2.2740 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 2 4 )
                                                                                                                                                                 Tu s c a l o o s a , A L 3 5 4 0 5 - 4 3 8 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a Av e , 2 W, Ch i c a g o , I L
 2.2741 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  60613
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a Av e , 2 W, Ch i c a g o , I L
 2.2742 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                  60613

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Co n a i r Co r p Po l l e n e x , 1 Cu m m i n g s Po i n t Rd , St a m f o r d , C T
 2.2743 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  06904
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Co n b r a c o In d u s t r i e s In c . , 5 0 0 Ke y s t o n e Av e , Je n k i n s To w n s h i p ,
 2.2744 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  PA 1 8 6 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Co n c o r d Bu i l d i n g Se r v i c e s , 4 Ju g Ci t y Ro a d , Ep s o m , N H 0 3 2 3 4
 2.2745 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Co n c o r d Bu i l d i n g Se r v i c e s -
        nature of the debtor's interest                   Ma n c h e s t e r Se l e c t i v e De m o l i t i o n 2 0 2 1

          State the term remaining                        03/09/2021

          List the contract number of any government
          contract
                                                                                                                                                                  Co n c o r d Us a L L C ( Ev o l y t i c s ) , 1 We s t 1 St St r e e t , Pa r k v i l l e , M O
 2.2746 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , Ev o l y t i c s An a l y t i c s Su p p o r t Re t a i n e r S O W
        nature of the debtor's interest                   2024                                                                                                    64152

          State the term remaining                        01/22/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Co n c u r Te c h n o l o g i e s , In c . , 6 0 1 1 0 8 Th Av e n u e Ne , Su i t e 1 0 0 0 ,
 2.2747 State what the contract or lease is for and the   Sa a S, S A P Co n c u r Se r v i c e s Re n e w a l 2 0 2 4
                                                                                                                                                                  Be l l e v u e , WA 9 8 0 0 4
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Co n d u c t o r , 2 Pa r k Av e n u e , 1 5 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 1 6
 2.2748 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co n d u c t o r M S A a n d o t h e r Se c u r i t y
        nature of the debtor's interest                   documents

          State the term remaining                        01/25/2021 - 01/24/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co n d u c t o r , 2 Pa r k Av e n u e , 1 5 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 1 6
 2.2749 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co n d u c t o r Su b s c r i p t i o n Re n e w a l
        nature of the debtor's interest
          State the term remaining                        01/25/2022 - 03/24/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co n f l u e n c e En e r g y L L C, Po Bo x 1 3 8 7 , 1 8 0 9 Hi g h w a y 9 ,
 2.2750 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Kr e m m l i n g , C O 8 0 4 5 9

          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co n n e c t i c u t El e c / Vi e w - Pa k , 1 8 1 9 W 3 8 Th St , An d e r s o n , I N
 2.2751 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 46013
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co n n e c t i c u t El e c / Vi e w - Pa k , 1 8 1 9 W 3 8 Th St , An d e r s o n , I N
 2.2752 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46013
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Co n n e c t i c u t El e c / Vi e w - Pa k , 1 8 1 9 W 3 8 Th St , An d e r s o n , I N
 2.2753 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          46013

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co n n e c t i c u t Tr a d e Co m p a n y In c , 4 1 9 5 Ca r p i n t e r i a Av e St e 2 ,
 2.2754 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca r p i n t e r i a , C A
        nature of the debtor's interest
          State the term remaining                        06/15/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Co n r a d Fa f a r d In c , 1 Yo r k d a l e Ro a d , Su i t e 6 0 2 , To r o n t o , O N
 2.2755 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 M6 A 3 A1 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        09/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Co n r a d We i s e r Tr u e Va l u e Hd w e , 4 1 1 N 3 r d St , Wo m e l s d o r f ,
 2.2756 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 4 4 )
        nature of the debtor's interest                                                                                                                          PA 1 9 5 6 7 - 9 7 0 1

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Co n s e r v Fs In c . , 1 1 1 0 Mc c o n n e l l Rd . , Wo o d s t o c k , I L 6 0 0 9 8
 2.2757 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Co n s e r v c o Wa t e r Co n s e r v a t i o n , 5 5 0 W Pl u m b La n e , Su i t e B-
 2.2758 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            1 4 7 , Re n o , N V 8 9 5 0 9

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Co n s o l i d a t e d Co m m u n i c a t i o n s , 2 1 1 6 So u t h 1 7 Th St . , Ma t t o o n ,
 2.2759 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co n s o l i d a t e d Co m m u n i c a t i o n s Ci r c u i t
                                                                                                                                                                   IL 61938
        nature of the debtor's interest                   Up g r a d e - Ma n k a t o

          State the term remaining                        07/07/2022 - 07/06/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Co n s o l i d a t e d Co m m u n i c a t i o n s , 2 1 1 6 So u t h 1 7 Th St . , Ma t t o o n ,
 2.2760 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co n s o l i d a t e d Co m m u n i c a t i o n s Ci r c u i t
                                                                                                                                                                   IL 61938
        nature of the debtor's interest                   Up g r a d e - R S C

          State the term remaining                        09/09/2024 - 09/08/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Co n s t r u c t i o n Me t a l s In c , 1 4 5 0 Vi r g i n i a Av e , Ba l d w i n Pa r k , C A
 2.2761 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            91706

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                   Co n s t r u m u n d o , Av La s Am e r i c a s No 9 - 5 3 , Ed i f i c i o
 2.2762 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 3 6 )
                                                                                                                                                                   Co n s t r u m u n d o , Sa n An d r e s Is l a , Co l u m b i a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Co n t e c h En t e r p r i s e s In c , 3 1 4 St r a i g h t Av e S W, Gr a n d Ra p i d s ,
 2.2763 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   MI 49504
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Co n t i c o Mf g Co , Co n t i c o Mf g , 1 1 0 1 Wa r s o n Rd , St Lo u i s , M O
 2.2764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            63132

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co n t i c o Mf g Co , Co n t i c o Mf g , 1 1 0 1 Wa r s o n Rd , St Lo u i s , M O
 2.2765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          63132

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i c o Mf g Co , Co n t i c o Mf g , 1 1 0 1 Wa r s o n Rd , St Lo u i s , M O
 2.2766 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63132
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l , Co n t i n e n t a l Ha r d w a r e , 1 9 0 Fe r r y St , Ne w a r k , N J
 2.2767 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 7 8 )
                                                                                                                                                                 07105-2727
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l Ca s u a l t y Co m p a n y, c / o Ca n , Wi l l i s To w e r s Wa t s o n
 2.2768 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Ex c e s s Fi d u c i a r y - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   768754640                                                                                              No r t h e a s t In c , 2 0 0 Li b e r t y St Fl 6 , Ne w Yo r k , N Y 1 0 2 8 1 - 1 1 1 8

          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l Co m m e r c i a l Pr o d , 1 1 5 1 Re i t La n e , Ar c a d i a , W I
 2.2769 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 54612
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l Co n c e s s i o n Su p p l i e s In c , 4 0 Me l v i l l e Pa r k Rd ,
 2.2770 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Me l v i l l e , N Y 1 1 7 4 7
        nature of the debtor's interest
          State the term remaining                        09/02/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l St u d i o s In c , 1 3 0 0 S Ko s t n e r Av e , Ch i c a g o , I L
 2.2771 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60623

          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Co n t i n e n t a l Tr a d i n g & Hd w e , Co n t i n e n t a l Tr u e Va l u e Tr a d i n g
 2.2772 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 2 2 )
                                                                                                                                                                 & Hd w e , 4 0 0 De l a n c y St , Ne w a r k , N J 0 7 1 0 5 - 3 8 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co n v e n i e n c e Pr o d In c , Co n v e n i e n c e Pr o d . In c . , Po Bo x
 2.2773 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 1 8 6 0 5 M, St Lo u i s , M O 6 3 1 9 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co n v e n i e n c e Pr o d In c , Co n v e n i e n c e Pr o d . In c . , Po Bo x
 2.2774 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 8 6 0 5 M, St Lo u i s , M O 6 3 1 9 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co n v e n i e n c e Pr o d In c , Co n v e n i e n c e Pr o d . In c . , Po Bo x
 2.2775 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 8 6 0 5 M, St Lo u i s , M O 6 3 1 9 5
        nature of the debtor's interest
          State the term remaining                        07/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Co n v e n i e n c e Pr o d In c , Co n v e n i e n c e Pr o d . In c . , Po Bo x
 2.2776 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          1 8 6 0 5 M, St Lo u i s , M O 6 3 1 9 5

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co n w a y Tr u e Va l u e Hd w, 6 0 0 b Ea s t Pi o n e e r St r e e t , Cr a n d o n ,
 2.2777 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 0 4 )
                                                                                                                                                                 WI 54520-1632
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o k ' s Ho m e Au t o & Gi f t , Co o k ` s Ho m e Au t o & Gi f t , 5 9 9 S.
 2.2778 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 2 )
                                                                                                                                                                 Fo s s i l , Ru s s e l l , K S 6 7 6 6 5 - 3 5 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o l Sm o k e L L C, 5 5 1 1 La k e s i d e Av e n u e , He n r i c o , VA 2 3 2 2 8
 2.2779 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/03/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co o l Sm o k e L L C, 5 5 1 1 La k e s i d e Av e n u e , He n r i c o , VA 2 3 2 2 8
 2.2780 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 07/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co o p e r Bu s s m a n n , Po Bo x 1 4 4 6 0 , St Lo u i s , M O 6 3 1 7 8
 2.2781 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Bu s s m a n n , Po Bo x 1 4 4 6 0 , St Lo u i s , M O 6 3 1 7 8
 2.2782 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Bu s s m a n n , Po Bo x 1 4 4 6 0 , St Lo u i s , M O 6 3 1 7 8
 2.2783 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2784 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 30269
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2785 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30269
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30269

          State the term remaining                        09/01/2024 - 08/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2787 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30269
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2788 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30269
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2789 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30269
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4 So u t h , Pe a c h t r e e Ci t y, G A
 2.2790 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30269
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Li g h t i n g / Re g e n t Li g h t , Co o p e r Li g h t i n g , 1 1 2 1 Hw y 7 4
 2.2791 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 So u t h , Pe a c h t r e e Ci t y, G A 3 0 2 6 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r Wi r i n g De v i c e s In c , 1 1 2 1 Hi g h w a y 7 4 So u t h , Pe a c h
 2.2792 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Tr e e Ci t y, G A 3 0 2 6 9
        nature of the debtor's interest
          State the term remaining                        02/06/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r ' s Ha r d w a r e , 1 3 8 7 1 Fo o t h i l l Bl v d , Sy l m a r , C A 9 1 3 4 2 -
 2.2793 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 8 )
                                                                                                                                                                 3013
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r s Tr u e Va l u e Ho m e Ce n t e r , 4 0 7 9 t h St , Ta f t , C A 9 3 2 6 8 -
 2.2794 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 0 )
        nature of the debtor's interest                                                                                                                          2700

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co o p e r s t o w n Tr u e Va l u e , 4 0 1 4 t h St Sw, Co o p e r s t o w n , N D
 2.2795 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 8 1 )
                                                                                                                                                                 58425-7534
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r b i n Tu r f Su p p l y, 1 8 0 1 Ru t h e r f o r d Ro a d , Su i t e 1 0 5 b ,
 2.2796 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 6 )
                                                                                                                                                                 Gr e e n v i l l e , S C 2 9 6 0 9 - 1 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Co r b i t t Ma n u f a c t u r i n g , 1 2 0 0 Jo n e s Rd , Pa r a g o u l d , A R 7 2 4 5 0
 2.2797 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                             Co r c e n t r i c , L L C. , 2 0 0 La k e Dr E, Su i t e 2 0 0 , Ch e r r y Hi l l , N J
 2.2798 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Co r c e n t r i c ( Ve n d o r i n ) El e c t r o n i c
        nature of the debtor's interest                   Pa y m e n t En a b l e m e n t Ag r e e m e n t                                                   08002

          State the term remaining                        11/18/2009 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                             Co r c e n t r i c , L L C. , 2 0 0 La k e Dr E, Su i t e 2 0 0 , Ch e r r y Hi l l , N J
 2.2799 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Co r c e n t r i c ( Ve n d o r i n ) Vi r t u a l Ca r d S O W
                                                                                                                                                             08002
        nature of the debtor's interest
          State the term remaining                        11/18/2019

          List the contract number of any government
          contract
                                                                                                                                                             Co r c o r a n Tr u e Va l u e Ha r d w a r e , 1 1 4 0 Ch i t t e n d e n Av e n u e ,
 2.2800 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 )
                                                                                                                                                             Co r c o r a n , C A 9 3 2 1 2 - 2 6 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Co r e Ho m e , 4 2 We s t 3 9 Th St r e e t , 4 Th Fl o o r , Ne w Yo r k , N Y
 2.2801 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      10018

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                             Co r e Ho m e , 4 2 We s t 3 9 Th St r e e t , 4 Th Fl o o r , Ne w Yo r k , N Y
 2.2802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      10018

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                             Co r e l l e Br a n d s , 3 0 2 5 Hi g h l a n d Pk w y Su i t e 7 0 0 , Do w n e r s
 2.2803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             Gr o v e , I L 6 0 5 1 5
        nature of the debtor's interest
          State the term remaining                        07/01/2022 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                                             Co r n e l l ' s Ha r d w a r e # 2 0 2 , Co r n e l l ' s Ha r d w a r e 2 0 2 , 3 1 0 Wh i t e
 2.2804 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 9 )
        nature of the debtor's interest                                                                                                                      Pl a i n s Ro a d , Ea s t c h e s t e r , N Y 1 0 7 0 9

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Co r n e r Ha r d w a r e , 3 1 1 W Ma i n St , We s t f i e l d , PA 1 6 9 5 0
 2.2805 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Co r n e r Ha r d w a r e , 5 2 7 Ma i n St r e e t , Ul y s s e s , PA 1 6 9 4 8
 2.2806 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Co r n e r s t o n e On d e m a n d , In c . , 1 6 0 1 Cl o v e r f i e l d Bl v d . , Su i t e
 2.2807 State what the contract or lease is for and the   Or d e r Fo r m , Co r n e r s t o n e S O W - S S O + Ed g e Im p l e m e n t a t i o n
                                                                                                                                                           6 0 0 , Sa n t a Mo n i c a , C A 9 0 4 0 4
        nature of the debtor's interest
          State the term remaining                        06/30/2023 - 06/30/2026

          List the contract number of any government
          contract
                                                                                                                                                           Co r n e r s t o n e On d e m a n d , In c . , 1 6 0 1 Cl o v e r f i e l d Bl v d . , Su i t e
 2.2808 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Co r n e r St o n e On De m a n d Re n e w a l 2 0 2 3
                                                                                                                                                           6 0 0 , Sa n t a Mo n i c a , C A 9 0 4 0 4
        nature of the debtor's interest
          State the term remaining                        06/30/2023 - 06/29/2026

          List the contract number of any government
          contract
                                                                                                                                                           Co r n h u s k e r Ki t c h e n , 4 8 5 0 S 1 3 7 St r e e t , Om a h a , N E 6 8 1 3 7
 2.2809 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/16/2022

          List the contract number of any government
          contract
                                                                                                                                                           Co r n i n g Lu m b e r Co m p a n y Tr u e Va l u e , Co r n i n g Lu m b e r
 2.2810 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 6 4 )
                                                                                                                                                           Co m p a n y Tr u e Va , 1 1 1 E La u r e l St , Wi l l o w s , C A 9 5 9 8 8 - 3 0 5 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Co r n i n g Tr u e Va l u e & Lb r , 1 3 1 4 6 t h St , Or l a n d , C A 9 5 9 6 3 -
 2.2811 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 1 7 )
                                                                                                                                                           1641
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Co r n i n g Tr u e Va l u e Hd w e & Lb r , 1 1 0 2 Yo l o St , Co r n i n g , C A
 2.2812 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 3 7 )
        nature of the debtor's interest                                                                                                                    96021-2540

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co r n i s h Ha r d w a r e , 1 3 Ma p l e St , Co r n i s h , M E 0 4 0 2 0 - 3 1 0 1
 2.2813 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 3 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r o b No r t h Am e r i c a In c , 4 9 0 1 - A Gi b b o n Rd , Ch a r l o t t e , N C
 2.2814 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28269
        nature of the debtor's interest
          State the term remaining                        10/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co r o n a Cl i p p e r , 1 5 4 0 E Si x t h St , Co r o n a , C A 9 2 8 7 9
 2.2815 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r o n a Cl i p p e r , 1 5 4 0 E Si x t h St , Co r o n a , C A 9 2 8 7 9
 2.2816 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/25/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Co r o n a Cl i p p e r , 1 5 4 0 E Si x t h St , Co r o n a , C A 9 2 8 7 9
 2.2817 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Co r r a Te c h n o l o g y In c . , 3 4 0 Ma d i s o n Av e , Su i t e 3 A, Ne w Yo r k ,
 2.2818 State what the contract or lease is for and the   So f t w a r e , Co r r a Te c h n o l o g y - To t a l Ca r e T V. Co m Ma g e n t o
                                                                                                                                                                 NY 10173
        nature of the debtor's interest                   2 . 4 . 5 Up g r a d e Sc o p e

          State the term remaining                        04/05/2022 - 04/04/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Co r r a Te c h n o l o g y In c . , 3 4 0 Ma d i s o n Av e , Su i t e 3 A, Ne w Yo r k ,
 2.2819 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Co r r a Te c h n o l o g y - Ma s t e r Ag r e e m e n t
                                                                                                                                                                 NY 10173
        nature of the debtor's interest
          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Co r r a d o ' s Ga r d e n Ce n t e r , 6 0 0 Ge t t y Av e , Cl i f t o n , N J 0 7 0 1 1
 2.2820 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Co r r o s i o n Te c h n o l o g i e s Co r p , Po Bo x 5 5 1 6 2 5 , Da l l a s , T X
 2.2821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          75355

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Co r r o s i o n Te c h n o l o g i e s Co r p , Po Bo x 5 5 1 6 2 5 , Da l l a s , T X
 2.2822 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75355
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co r r o s i o n Te c h n o l o g i e s Co r p , Po Bo x 5 5 1 6 2 5 , Da l l a s , T X
 2.2823 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75355
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r r o s i o n Te c h n o l o g i e s Co r p , Po Bo x 5 5 1 6 2 5 , Da l l a s , T X
 2.2824 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 75355

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r r y Lu m b e r , 6 3 0 Co l u m b u s Av e , Co r r y, PA 1 6 4 0 7
 2.2825 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 7 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r s o s Fl o w e r & Gd n Ct r H& g s , 3 4 0 4 Mi l a n Rd , Sa n d u s k y, O H
 2.2826 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 5 5 )
                                                                                                                                                                 44870-5678
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Co r t i n a Sa f e t y Pr o d u c t s , 1 0 7 0 6 We s t Gr a n d Av e n u e , Fr a n k l i n
 2.2827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k , I L 6 0 1 3 1

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Co r v e l En t e r p r i s e Co m p , In c . , , 1 9 2 0 Ma i n St r e e t , Su i t e 9 0 0 ,
 2.2828 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Co r Ve l En t e r p r i s e Co m p . - Cl a i m s
                                                                                                                                                                 Ir v i n e , C A 9 2 6 1 4
        nature of the debtor's interest                   Ad m i n i s t r a t i o n a n d Ma n a g e d Ca r e Se r v i c e s

          State the term remaining                        01/01/2023 - 12/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co s c o In c , 2 5 2 5 St a t e St , Co l u m b u s , I N 4 7 2 0 1
 2.2829 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co s c o In c , 2 5 2 5 St a t e St , Co l u m b u s , I N 4 7 2 0 1
 2.2830 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co s t e l l o ' s Ac e Ha r d w a r e , 6 1 a Mo u n t a i n Bl v d , Wa r r e n , N J
 2.2831 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 7 )
        nature of the debtor's interest                                                                                                              07059

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co t t a g e Ga r d e n s In c . , Th e , 2 6 1 1 S Wa v e r l y Hw y, La n s i n g , M I
 2.2832 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              48911

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Co t t i n s Ha r d w a r e & Re n t a l , 1 8 3 2 Ma s s a c h u s e t t s St , La w r e n c e ,
 2.2833 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 1 )
                                                                                                                                                     KS 66044-4258
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co t t o n w o o d Bu i l d i n g Ce n t e r , 3 1 Ea s t Ma i n , Co t t o n w o o d , M N
 2.2834 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 8 )
                                                                                                                                                     56229
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y 3 Co r n e r s Tr u e Va l u e , 8 3 3 S St a r k Hw y, We a r e , N H
 2.2835 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 8 7 )
        nature of the debtor's interest                                                                                                              03281-5033

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Cl u b Ha r d w a r e , 1 9 3 9 Co u n t r y Cl u b Bl v d , St o c k t o n ,
 2.2836 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 2 )
                                                                                                                                                     CA 95204
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co u n t r y Cr a f t , 6 1 2 E Ma i n St , Du n d e e , M I 4 8 1 3 1
 2.2837 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Fa r e L L C, Co u n t r y Fa r e L L C, 8 Ca r o l i n e St , De r b y, C T
 2.2838 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     06418
        nature of the debtor's interest
          State the term remaining                        01/14/2013

          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Fa r m Su p p l y, 2 2 9 N Ri v e r s i d e Dr A, Es p a n o l a , N M
 2.2839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 7 )
        nature of the debtor's interest                                                                                                              87532

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Fr e s h Tr u e Va l u e , 4 4 3 5 Re d Ro c k Ro a d , Be n t o n , PA
 2.2840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 9 )
                                                                                                                                                     17814
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Pa i n t & Ha r d w a r e , 2 4 1 0 Fo x o n Rd , No r t h Br a n f o r d ,
 2.2841 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 9 6 )
                                                                                                                                                     CT 06471-1513
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Po w e r Pr o d u c t s In c , 2 3 3 9 St a t e Ro u t e 4 0 , Gr e e n w i c h ,
 2.2842 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 1 6 )
        nature of the debtor's interest                                                                                                              NY 12834-9999

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y Pr i d e Tr u e Va l u e , 1 1 0 0 3 r d Av e , Mo u n t a i n La k e , M N
 2.2843 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 9 4 )
                                                                                                                                                     56159-1594
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Bu r l i n g t o n St o r e # 2 , Co u n t r y St o r e Bu r l i n g t o n
 2.2844 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 9 )
                                                                                                                                                     St o r e , 1 2 7 6 S. Bu r l i n g t o n Bl v d , Bu r l i n g t o n , WA 9 8 2 3 3 - 3 3 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Co u n t r y St o r e Ce n t r a l Sp o k a n e St o r e # 1 5 , Co u n t r y St o r e
 2.2845 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 9 )
                                                                                                                                                     Ce n t r a l Sp o k a n e , 5 6 0 5 E. Sp r a g u e Av e , Sp o k a n e Va l l e y, WA
        nature of the debtor's interest
                                                                                                                                                     99212-0826
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Co l v i l l e St o r e # 1 7 , Co u n t r y St o r e Co l v i l l e St o r e
 2.2846 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 7 1 )
                                                                                                                                                     , 4 6 6 W. 1 s t , Co l v i l l e , WA 9 9 1 1 4 - 2 4 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Fr e e l a n d St o r e # 5 , Co u n t r y St o r e Fr e e l a n d St o r e
 2.2847 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 5 )
        nature of the debtor's interest                                                                                                              , 5 4 6 3 Ca m e r o n Ro a d , Fr e e l a n d , WA 9 8 2 4 9 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Mo u n t Ve r n o n St o r e # 3 , Co u n t r y St o r e Mo u n t
 2.2848 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 3 )
                                                                                                                                                     Ve r n o n St o , 9 0 0 Ri v e r s i d e Dr i v e , Mo u n t Ve r n o n , WA 9 8 2 7 3 -
        nature of the debtor's interest
                                                                                                                                                     2415
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Oa k Ha r b o r St o r e # 4 , Co u n t r y St o r e Oa k Ha r b o r
 2.2849 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 4 )
                                                                                                                                                     St o r e , 3 1 6 8 6 Sr 2 0 , Oa k Ha r b o r , WA 9 8 2 7 7 - 3 1 7 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Or o v i l l e St o r e # 1 4 , Co u n t r y St o r e Or o v i l l e St o r e
 2.2850 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 0 )
        nature of the debtor's interest                                                                                                              , 1 0 0 0 2 3 r d Av e , Or o v i l l e , WA 9 8 8 4 4 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e Se d r o Wo o l l e y St o r e # 6 , Co u n t r y St o r e Se d r o
 2.2851 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 8 )
                                                                                                                                                     Wo o l l e y St , 9 1 5 Mo o r e St r e e t , Se d r o Wo o l l e y, WA 9 8 2 8 4 - 9 4 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Co u n t r y St o r e St a n w o o d St o r e # 7 , Co u n t r y St o r e St a n w o o d
 2.2852 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 6 )
                                                                                                                                                     St o r e , 8 8 1 5 2 7 1 s t St r e e t Nw, St a n w o o d , WA 9 8 2 9 2 - 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Co u n t r y St o r e St e v e n s v i l l e St o r e # 2 1 , Co u n t r y St o r e
 2.2853 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 7 3 )
                                                                                                                                                            St e v e n s v i l l e St o , 3 6 7 3 Ea s t s i d e Hi g h w a y, St e v e n s v i l l e , M T
        nature of the debtor's interest
                                                                                                                                                            59870-6673
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t r y Tr u e Va l u e Hd w. , 2 1 7 N Gr e e n b u s h Rd , Tr o y, N Y
 2.2854 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 6 1 )
        nature of the debtor's interest                                                                                                                     12180-8512

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t r y Tr u e Va l u e Hd w e , 2 Tr o y Rd , Ea s t Gr e e n b u s h , N Y
 2.2855 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 6 6 )
                                                                                                                                                            12061-1608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t y Ag & Tu r f Su p p l y In c . , 7 Do w Si d i n g Rd , Ca r i b o u , M E
 2.2856 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 8 )
                                                                                                                                                            04736
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t y In d u s t r i a l , 1 2 7 2 0 Pe n n b r i d g e Dr , Br i d g e t o n , M O
 2.2857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 3 0 )
        nature of the debtor's interest                                                                                                                     63044-1235

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t y Li n e Tr u e Va l u e Ha r d w a r e , Co u n t y Li n e Tr u e Va l u e
 2.2858 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 3 2 )
                                                                                                                                                            Ha r d w a r , 3 4 1 St u r b r i d g e Rd , Br i m f i e l d , M A 0 1 0 1 0 - 9 6 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u n t y Su p p l y Co r p , 5 8 9 To n a w a n d a St , Bu f f a l o , N Y 1 4 2 0 7 -
 2.2859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 6 7 )
                                                                                                                                                            2111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Co u r t y a r d By Ma r r i o t t Cl e v e l a n d We s t l a k e , 2 5 0 5 0 Sp e r r y
 2.2860 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Co u r t y a r d b y Ma r r i o t t We s t l a k e
        nature of the debtor's interest                   Ho t e l Ag r e e m e n t 2 0 2 4                                                                 Dr i v e , We s t l a k e , O H 4 4 1 4 5

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Co v a n t a En v i o r n m e n t a l So l u t i o n s , Co v a n t a En v i r o n m e n t a l
 2.2861 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Co v a n t a En v i r o n m e n t a l So l u t i o n s
                                                                                                                                                                So l u t i o n s , 3 2 1 6 W Vi l l a r d Av e n u e , Mi l w a u k e e , W I 5 3 2 0 9
        nature of the debtor's interest                   MSA 2023

          State the term remaining                        12/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                Co w b o y He a d q u a r t e r s , 6 4 3 1 St a t e Hi g h w a y 1 9 S St e 2 0 0 ,
 2.2862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 1 )
        nature of the debtor's interest                                                                                                                         At h e n s , T X 7 5 7 5 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co w p e n s Tr u e Va l u e , 1 8 7 Ba t t l e g r o u n d Rd , Co w p e n s , S C
 2.2863 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 0 )
                                                                                                                                                                29330-9519
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co w p o t s L L C, Co w p o t s L L C, P. O. Bo x 6 3 6 , 3 2 4 No r f o l k Rd ,
 2.2864 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                Ea s t Ca n a a n , C T 0 6 0 2 4
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                Co x Tr u e Va l u e Ha r d w a r e & Ap p l i a n c e , Co x Tr u e Va l u e
 2.2865 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 6 1 )
        nature of the debtor's interest                                                                                                                         Ha r d w a r e & Ap p l , 1 0 1 S Gr a n t St , Ho u s t o n , M N 5 5 9 4 3 - 8 4 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co x Tr u e Va l u e Hd w & a u t o , Co x Tr u e Va l u e Hd w & Au t o , 2 1 0
 2.2866 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 4 1 )
                                                                                                                                                                S Ma i n St , Mo r t o n , T X 7 9 3 4 6 - 3 0 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Co y n e s & Co m p a n y, 4 4 2 5 Hi g h w a y 1 6 9 N, Su i t e 1 0 0 ,
 2.2867 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                Pl y m o u t h , M N 5 5 4 4 2
        nature of the debtor's interest
          State the term remaining                        11/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                Cp In d u s t r i e s , 5 6 0 No r t h 5 0 0 We s t , Sa l t La k e Ci t y, U T 8 4 1 1 6
 2.2868 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cp a Po o l Pr o d u c t s In c , 3 1 Bo u l De La Se i g n e u r i e , Su i t e 2 0 6 ,
 2.2869 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Bl a i n v i l l e , Q C J7 C 4 G6 , Ca n a d a

          State the term remaining                        06/26/2017

          List the contract number of any government
          contract
                                                                                                                                                     Cq Pr o d u c t s , 5 0 7 In d u s t r i a l St , Wa v e r l y, I A 5 0 6 7 7
 2.2870 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Cr a b t r e e ' s Lo g a n Sa l e s Co m p a n y, Ll c , 1 2 6 6 W Hu n t e r St ,
 2.2871 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 5 )
                                                                                                                                                     Lo g a n , O H 4 3 1 3 8 - 1 0 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr a f t w a r e , 6 6 0 6 Gr o v e r St , Om a h a , N E 6 8 1 0 6
 2.2872 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Cr a i g El e c t r o n i c s In c , 1 1 6 0 Nw 1 6 3 D Dr , Mi a m i , F L 3 3 1 6 9
 2.2873 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Cr a m e r Eq u i p m e n t & Su p p l y Co , 3 2 5 N Pa r k e r s o n Av e . ,
 2.2874 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 2 3 )
                                                                                                                                                     Cr o w l e y, L A 7 0 5 2 6 - 5 0 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr a m e r Tr u e Va l u e Ha r d w a r e , 8 4 2 8 Vi n e St , Ci n c i n n a t i , O H
 2.2875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 0 0 )
        nature of the debtor's interest                                                                                                              45216-1132

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr a m e r Tr u e Va l u e Hd w e , 1 1 9 2 5 Ha m i l t o n Av e , Ci n c i n n a t i , O H
 2.2876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 3 9 )
        nature of the debtor's interest                                                                                                              45231-1030

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr a n e Co m p o s i t e s In c , 2 3 5 2 5 W Ea m e s St , Ch a n n a h o n , I L
 2.2877 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60410

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cr a n e Us a In c , 1 0 1 5 Ha w t h o r n e Dr , It a s c a , I L 6 0 1 4 3
 2.2878 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cr a n e Us a In c , 1 0 1 5 Ha w t h o r n e Dr , It a s c a , I L 6 0 1 4 3
 2.2879 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a n e Us a In c , 1 0 1 5 Ha w t h o r n e Dr , It a s c a , I L 6 0 1 4 3
 2.2880 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a w f o r d Pr o d u c t s , 4 2 0 0 Da h l b e r g Dr , Su i t e 2 0 0 , Mi n n e a p o l i s ,
 2.2881 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MN 55422
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a w f o r d Pr o d u c t s , 4 2 0 0 Da h l b e r g Dr , Su i t e 2 0 0 , Mi n n e a p o l i s ,
 2.2882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MN 55422
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cr a w f o r d Pr o d u c t s , 4 2 0 0 Da h l b e r g Dr , Su i t e 2 0 0 , Mi n n e a p o l i s ,
 2.2883 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MN 55422

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2884 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18044
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2885 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18044
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2886 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 18044
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 18044

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2888 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 18044

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr a y o l a L L C, 1 1 0 0 Ch u r c h La n e , Po Bo x 4 3 1 , Ea s t o n , PA
 2.2889 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18044
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr c In d u s t r i e s , 8 0 0 En t e r p r i s e Dr , Su i t e 1 0 1 , Ho r s h a m , PA
 2.2890 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18974
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr c In d u s t r i e s , 8 0 0 En t e r p r i s e Dr , Su i t e 1 0 1 , Ho r s h a m , PA
 2.2891 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          18974

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cr c In d u s t r i e s , 8 0 0 En t e r p r i s e Dr , Su i t e 1 0 1 , Ho r s h a m , PA
 2.2892 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18974
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr c In d u s t r i e s , 8 0 0 En t e r p r i s e Dr , Su i t e 1 0 1 , Ho r s h a m , PA
 2.2893 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 18974
        nature of the debtor's interest
          State the term remaining                        12/31/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co Op In c , Po Bo x 7 5 1 5 0 0 , 6 0 0 0 Fr e e p o r t Av e ,
 2.2894 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Me m p h i s , T N 3 8 1 4 1
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co Op In c , Po Bo x 7 5 1 5 0 0 , 6 0 0 0 Fr e e p o r t Av e ,
 2.2895 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Me m p h i s , T N 3 8 1 4 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co Op In c , Po Bo x 7 5 1 5 0 0 , 6 0 0 0 Fr e e p o r t Av e ,
 2.2896 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Me m p h i s , T N 3 8 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co n c e p t s Us a , 5 0 Ha r r i s o n St , Su i t e 1 1 2 , Ho b o k e n , N J
 2.2897 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07030
        nature of the debtor's interest
          State the term remaining                        03/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co n c e p t s Us a , 5 0 Ha r r i s o n St , Su i t e 1 1 2 , Ho b o k e n , N J
 2.2898 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07030

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co n s u m e r Pr o d u c t s In c , 1 9 9 3 Co u n t y Li n e Rd ,
 2.2899 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Wa r r i n g t o n , PA 1 8 9 7 6
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Co n v e r t i n g , 2 5 5 Sp r i n g St , Cl i n t o n v i l l e , W I 5 4 9 2 9
 2.2900 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr e a t i v e Fi n a n c i a l St a f f i n g , On e Mi d Am e r i c a Pl a z a , Oa k b r o o k
 2.2901 State what the contract or lease is for and the   H R Se r v i c e s , Cr e a t i v e Fi n a n c i a l St a f f i n g Ag r e e m e n t
                                                                                                                                                                 Te r r a c e , I L 6 0 1 8 1
        nature of the debtor's interest
          State the term remaining                        01/29/2020 - 01/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Gr o u p , In c . , 2 0 0 No r t h Ma r t i n g a l e , Su i t e 6 0 0 ,
 2.2902 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Cr e a t i v e Gr o u p , In c . - Le t t e r o f
        nature of the debtor's interest                   In t e n t 2 0 2 3 ( L O I)                                                                            Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        04/20/2023 - 04/19/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Gr o u p , In c . , 2 0 0 No r t h Ma r t i n g a l e , Su i t e 6 0 0 ,
 2.2903 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Cr e a t i v e Gr o u p , In c . - M S A
        nature of the debtor's interest                                                                                                                          Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        05/11/2023 - 05/10/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Gr o u p , In c . , 2 0 0 No r t h Ma r t i n g a l e , Su i t e 6 0 0 ,
 2.2904 State what the contract or lease is for and the   Or d e r Fo r m , Cr e a t i v e Gr o u p Re n e w a l Wo r k Or d e r – Mo m e n t u m
                                                                                                                                                                 Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest                   Pr o j e c t

          State the term remaining                        11/02/2023 - 11/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Ou t d o o r Di s t r i b u t o r , 2 5 9 5 4 Co m m e r c e n t r e Dr i v e ,
 2.2905 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La k e Fo r e s t , C A 9 2 6 3 0
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Pa i n t s , 1 0 4 2 Pr o p r i e t o r s Rd . , Wo r t h i n g t o n , O H 4 3 0 8 5
 2.2906 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Pl a s t i c Co n c e p t s L L C, 2 0 6 S Gr i f f i t h St , Sy c a m o r e ,
 2.2907 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OH 44882
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr e a t i v e Pl a s t i c Co n c e p t s L L C, 2 0 6 S Gr i f f i t h St , Sy c a m o r e ,
 2.2908 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44882
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cr e a t i v e Pl a s t i c Co n c e p t s L L C, 2 0 6 S Gr i f f i t h St , Sy c a m o r e ,
 2.2909 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     OH 44882
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Cr e a t i v e Pu b l i s h i n g In t l , 4 0 0 Fi r s t Av e N, Su i t e 4 0 0 ,
 2.2910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Mi n n e a p o l i s , M N 5 5 4 0 1

          State the term remaining                        11/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Cr e a t i v e So l u t i o n s L L C, 2 2 Mi l l b r a n c h Rd , Su i t e 7 1 0 ,
 2.2911 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ha t t i e s b u r g , M S 3 9 4 0 2
        nature of the debtor's interest
          State the term remaining                        01/15/2011

          List the contract number of any government
          contract
                                                                                                                                                     Cr e a t i v e Sp e c i a l t i e s In t ' L. , 2 5 3 0 0 Al Mo e n Dr i v e , N Ol m s t e d ,
 2.2912 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     OH 44070
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Cr e e d e n c e Ho l d i n g s L L C/ Wc n Gr o u p , 1 3 0 1 Ma r i n a Vi l l a g e
 2.2913 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Pa r k w a y, Su i t e 2 0 0 , Al a m e d a , C A 9 4 5 0 1

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Cr e s t Tr u e Va l u e Ha r d w a r e , 5 5 8 Me t r o p o l i t a n Av e , Br o o k l y n ,
 2.2914 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 0 1 )
                                                                                                                                                     NY 11211-3542
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr e s t o n Tr u e Va l u e Ha r d w a r e , 8 0 1 We s t To w n l i n e , Cr e s t o n , I A
 2.2915 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 2 4 )
                                                                                                                                                     50801-1124
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr e t e Cr c r , 4 0 0 Nw 5 6 Th St r e e t , Li n c o l n , N E 6 8 5 2 8
 2.2916 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Cr e t e C R C R Ca r r i e r Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        07/01/2012 - 06/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr i Sa l e s , 1 8 5 St a g g St , St r a t f o r d , C T 0 6 6 1 5
 2.2917 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr i t t e r Co r n , 1 5 4 0 7 2 3 9 Th Av e n u e , Co l u m b u s , N E 6 8 6 0 1
 2.2918 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o c o d i l e Cl o t h , 9 5 0 Cl a y c r a f t Rd , Ga h a n n a , O H 4 3 2 3 0
 2.2919 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o c s In c , 6 3 2 8 Mo n a r c h Pa r k Pl a c e , Ni w o t , C O 8 0 5 0 3
 2.2920 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o f t Me t a l s In c , Po Bo x 8 2 6 , 1 0 7 Ol i v e r Em m e r i c h Dr ,
 2.2921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mc c o m b , M S 3 9 6 4 8

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o i x Va l l e y Fo o d s , 6 5 0 Br a k k e Dr , St e 1 0 1 , Hu d s o n , W I
 2.2922 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 54016
        nature of the debtor's interest
          State the term remaining                        04/29/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o i x Va l l e y Fo o d s , 6 5 0 Br a k k e Dr , St e 1 0 1 , Hu d s o n , W I
 2.2923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 54016
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o i x Va l l e y Fo o d s , 6 5 0 Br a k k e Dr , St e 1 0 1 , Hu d s o n , W I
 2.2924 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 54016

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr o l l , 2 2 7 2 8 St r e e t , Br o o k l y n , N Y 1 1 2 3 2
 2.2925 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr o n k h i t e In d u s t r i e s , 2 2 1 2 Ki c k a p o o Dr i v e , Da n v i l l e , I L 6 1 8 3 4
 2.2926 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o o k & c r o o k Ma r Sp l r s T V, Cr o o k & Cr o o k Ma r Sp l r s T V,
 2.2927 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 1 7 )
                                                                                                                                                                 2 7 9 5 Sw 2 7 t h Av e , Mi a m i , F L 3 3 1 3 3 - 3 0 4 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr o o k s t o n Tr u e Va l u e , 1 1 1 N Ma i n , Cr o o k s t o n , M N 5 6 7 1 6 -
 2.2928 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 7 )
        nature of the debtor's interest                                                                                                                          1740

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr o s l e y Co r p o r a t i o n , 9 5 2 Co p p e r f i e l d Bl v d Ne , Co n c o r d , N C
 2.2929 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28025
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o s m a n Ai r Gu n s , 7 6 2 9 Ro u t e s 5 & 2 0 , Bl o o m f i e l d , N Y 1 4 4 6 9
 2.2930 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cr o s m a n Ai r Gu n s , 7 6 2 9 Ro u t e s 5 & 2 0 , Bl o o m f i e l d , N Y 1 4 4 6 9
 2.2931 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cr o s m a n Ai r Gu n s , 7 6 2 9 Ro u t e s 5 & 2 0 , Bl o o m f i e l d , N Y 1 4 4 6 9
 2.2932 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Cr o s s Co u n t r y In f r a s t r u c t u r e Se r v i c e s , Cr o s s Co u n t r y
 2.2933 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 5 )
        nature of the debtor's interest                                                                                                              In f r a s t r u c t u r e S, 2 2 5 1 Ri f l e St r e e t , Au r o r a , C O 8 0 0 1 1 - 3 5 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr o s s i n g s Tr u e Va l u e , Sa n f o r d Tr u e Va l u e , 1 6 0 6 We s t o v e r Dr ,
 2.2934 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 6 )
                                                                                                                                                     Sa n f o r d , N C 2 7 3 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr o s s n e t L L C, 1 6 8 0 Mi c h i g a n Av e , Su i t e 7 0 0 # 1 1 7 , Mi a m i
 2.2935 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Be a c h , F L 3 3 1 3 9
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Cr o s s o v e r , Cr o s s o v e r Tr u e Va l u e , 1 7 5 6 N Cr o s s o v e r Rd 2 ,
 2.2936 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 1 5 )
        nature of the debtor's interest                                                                                                              Fa y e t t e v i l l e , A R 7 2 7 0 1 - 2 7 2 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr o s s r o a d s Ha r d w a r e , 1 1 1 4 1 Sr 8 0 0 , Ma g n o l i a , O H 4 4 6 4 3 - 8 3 2 1
 2.2937 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr o u s e Mi l l s Tr u e Va l u e St o r e , 1 1 7 8 8 Ma r k e t St Rt e 7 , No r t h
 2.2938 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 5 1 )
                                                                                                                                                     Li m a , O H 4 4 4 5 2 - 9 5 8 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Cr o w n Ma t t i n g Te c h n o l o g i e s , 2 1 0 0 Co m m e r c e Dr i v e , Fr e m o n t ,
 2.2939 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              OH 43420

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Cr o w n Po i n t Tr u e Va l u e , 2 0 0 Fr a n c i s c a n Dr i v e , Cr o w n Po i n t ,
 2.2940 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 8 5 )
                                                                                                                                                     IN 46307-4860
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cr o w n Ve r i t y In c , 3 7 Ad a m s Bl v d , Br a n t f o r d , O N N3 S 7 V8 ,
 2.2941 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Cr u s h p r o o f Tu b i n g , 1 0 0 No r t h St , Mc c o m b , O H 4 5 8 5 8
 2.2942 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Cr w 3 L L C, 1 7 1 0 Wi l l o w Cr e e k Ci r c l e , Eu g e n e , O R 9 7 4 0 2
 2.2943 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Cr y s t a l Sp r i n g s Ha r d w a r e , 3 0 6 E Ra i l r o a d Av e , Cr y s t a l
 2.2944 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 1 )
        nature of the debtor's interest                                                                                                                          Sp r i n g s , M S 3 9 0 5 9 - 0 9 3 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cs s In t ' l In c . , Cs s In t e r n a t i o n a l In c , 1 1 5 Ri v e r La n d i n g Dr i v e
 2.2945 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , C S S In t e r n a t i o n a l M S A & P I I Po l i c y
                                                                                                                                                                 Su i t e 2 0 0 , Ch a r l e s t o n , S C 2 9 4 9 2
        nature of the debtor's interest
          State the term remaining                        10/01/2019 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ct e k Po w e r In c , 9 3 4 7 Ra v e n n a Ro a d , Tw i n s b u r g , O H 4 4 0 8 7
 2.2946 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ct e k Po w e r In c , 9 3 4 7 Ra v e n n a Ro a d , Tw i n s b u r g , O H 4 4 0 8 7
 2.2947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ct g To o l s In t l Co Lt d , No 4 3 5 Yo u n g Pi n g Rd , Na n t u n Di s t r i c t
 2.2948 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 4 0 8 , Ta i c h u n g , 4 0 5 , Ta i w a n
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ct g To o l s In t l Co Lt d , No 4 3 5 Yo u n g Pi n g Rd , Na n t u n Di s t r i c t
 2.2949 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 4 0 8 , Ta i c h u n g , 4 0 5 , Ta i w a n
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu i s i n a r t Co r p , 1 5 0 Mi l l f o r d Ro a d , E. Wi n d s o r , N J 0 8 5 2 0
 2.2950 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cu i s i n a r t Co r p , 1 5 0 Mi l l f o r d Ro a d , E. Wi n d s o r , N J 0 8 5 2 0
 2.2951 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu i s i n a r t Co r p , 1 5 0 Mi l l f o r d Ro a d , E. Wi n d s o r , N J 0 8 5 2 0
 2.2952 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cu i s i n a r t Co r p , 1 5 0 Mi l l f o r d Ro a d , E. Wi n d s o r , N J 0 8 5 2 0
 2.2953 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2954 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60018

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2955 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60018
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2956 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60018
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2957 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60018
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2958 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60018

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu l l i g a n In c , 9 3 9 9 W Hi g g i n s Rd , Su i t e 1 1 0 0 , Ro s e m o n t , I L
 2.2959 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60018

          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Cu p e c o y Ho m e Fa s h i o n In c , 4 8 3 Br o a d w a y, Ne w Yo r k , N Y
 2.2960 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10013
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu r b s i d e In c . , 1 9 5 Pa g e Mi l l Rd . , Pa l o Al t o , C A 9 4 3 0 6
 2.2961 State what the contract or lease is for and the   So f t w a r e , Cu r b s i d e Sa a S Ma s t e r Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        01/30/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Cu r t Ma n u f a c t u r i n g , L L C, 6 2 0 8 In d u s t r i a l Dr i v e , Ea u Cl a i r e ,
 2.2962 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WI 54701

          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Cu r t Ma n u f a c t u r i n g , L L C, 6 2 0 8 In d u s t r i a l Dr i v e , Ea u Cl a i r e ,
 2.2963 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 WI 54701
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Cu r t i s Tr u e Va l u e Ha r d w a r e , W1 7 2 2 0 Ma i n St r e e t , Cu r t i s , M I
 2.2964 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 0 7 )
                                                                                                                                                                 49820-9659
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cu r v Gr o u p L L C, 8 6 0 Bo n n i e La n e , El k Gr o v e Vi l l a g e , I L
 2.2965 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60007
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Cu r v - Ri t e , In c . , 3 6 0 3 N Ma i n St , Wa y l a n d , M I 4 9 3 4 8
 2.2966 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2967 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2968 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2970 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2971 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2972 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cu s t o m Ac c e s s o r i e s , 6 4 4 0 W. Ho w a r d , Ni l e s , I L 6 0 7 1 4
 2.2973 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2974 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2975 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2976 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2977 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hu n t i n g t o n Be a c h , C A 9 2 6 4 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2978 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2979 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2980 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hu n t i n g t o n Be a c h , C A 9 2 6 4 7

          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2981 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2982 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Bl d g Pr o d u c t s , 7 7 1 1 Ce n t e r Av e , 5 Th Fl o o r ,
 2.2983 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t i n g t o n Be a c h , C A 9 2 6 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2984 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 5 )
        nature of the debtor's interest                                                                                                                          & De c o r a t i , 8 8 2 2 Ma r k e t St r e e t , St e . 1 1 0 , Wi l m i n g t o n , N C
                                                                                                                                                                 28411-7976
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2985 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 2 )
                                                                                                                                                                 & De c o r a t i , 6 8 3 4 Ma r k e t St r e e t , Wi l m i n g t o n , N C 2 8 4 0 5 - 9 7 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2986 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 4 )
                                                                                                                                                                 & De c o r a t i , 5 5 5 2 Ca r o l i n a Be a c h Ro a d , Wi l m i n g t o n , N C
        nature of the debtor's interest
                                                                                                                                                                 28412-2787
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2987 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 6 )
        nature of the debtor's interest                                                                                                                          & De c o r a t i , 5 1 3 0 So u t h p o r t - s u p p l y Ro a d , Un i t 1 0 7 Du t c h m a n
                                                                                                                                                                 To w n Ce n t e r , So u t h p o r t , N C 2 8 4 6 1 - 9 2 6 2
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2988 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 3 )
                                                                                                                                                                 & De c o r a t i , 4 2 0 6 Ol e a n d e r Dr i v e , Wi l m i n g t o n , N C 2 8 4 0 3 - 6 8 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Cu s t o m Co l o r s Pa i n t & De c o r a t i n g , In c . , Cu s t o m Co l o r s Pa i n t
 2.2989 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 1 )
        nature of the debtor's interest                                                                                                                          & De c o r a t i , 1 0 8 Vi s i o n Dr i v e , Wi l m i n g t o n , N C 2 8 4 0 3 - 1 8 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cu s t o m Le a t h e r c r a f t , 8 1 1 W 5 8 Th St r e e t , Lo s An g e l e s , C A
 2.2990 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 90037
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Cx Ad v a n c e d So l u t i o n s L L C, , 3 4 5 0 N. Tr i u m p h Bl v d . , Su i t e
 2.2991 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , C X Ad v a n c e d So l u t i o n s L L C - M S A
                                                                                                                                                                 1 0 2 , Le h i , U T 8 4 0 4 3
        nature of the debtor's interest
          State the term remaining                        02/16/2024 - 02/15/2029

          List the contract number of any government
          contract
                                                                                                                                                                 Cx Ad v a n c e d So l u t i o n s L L C, , 3 4 5 0 N. Tr i u m p h Bl v d . , Su i t e
 2.2992 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , C X Ad v a n c e d So l u t i o n s S O W 2 0 2 4 - 0 1
        nature of the debtor's interest                   We b Ex Co n s u l t i n g Se r v i c e s                                                              1 0 2 , Le h i , U T 8 4 0 4 3

          State the term remaining                        03/06/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Cy b e r s o u r c e Co p o r a t i o n , Cy b e r s o u r c e , P. O. Bo x 7 4 2 8 4 2 , Lo s
 2.2993 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Cy b e r s o u r c e Co r p o r a t i o n - Ag r e e m e n t 2 0 1 8
                                                                                                                                                                 An g e l e s , C A 9 0 0 7 4
        nature of the debtor's interest                   To k e n i z a t i o n Re n e w a l

          State the term remaining                        01/24/2021 - 01/23/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Cy c l o In d u s t r i e s In c , 4 0 1 Ma p l e w o o d Dr i v e , Su i t e 1 8 , Ju p i t e r ,
 2.2994 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33458
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Cy r o n In c , 2 1 0 2 9 - C It a s c a St , Ch a t s w o r t h , C A 9 1 3 1 1
 2.2995 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/30/2017

          List the contract number of any government
          contract
                                                                                                                                                                 D & D Co m m o d i t i e s Lt d , Po Bo x 3 5 9 , 3 8 5 5 9 Us Hw y 7 5 Nw,
 2.2996 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 St e p h e n , M N 5 6 7 5 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 D & D Co m m o d i t i e s Lt d , Po Bo x 3 5 9 , 3 8 5 5 9 Us Hw y 7 5 Nw,
 2.2997 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 St e p h e n , M N 5 6 7 5 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D & D Co m m o d i t i e s Lt d , Po Bo x 3 5 9 , 3 8 5 5 9 Us Hw y 7 5 Nw,
 2.2998 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 St e p h e n , M N 5 6 7 5 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D & D Co m m o d i t i e s Lt d , Po Bo x 3 5 9 , 3 8 5 5 9 Us Hw y 7 5 Nw,
 2.2999 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St e p h e n , M N 5 6 7 5 7

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 D & E Ha r d w a r e & Ou t d o o r s , 2 8 0 0 N Us Hi g h w a y 1 , Mi m s , F L
 2.3000 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 8 )
                                                                                                                                                                 32754-4113
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D M I Ho m e Su p p l y Ii , 2 5 4 1 Ha v e r f o r d Rd , Ar d m o r e , PA
 2.3001 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 9 3 )
                                                                                                                                                                 19003-2620
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D- s La w n & Au t o m o t i v e , 7 0 3 W Ma i n , To m b a l l , T X 7 7 3 7 5 -
 2.3002 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 9 )
        nature of the debtor's interest                                                                                                                          5539

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D. a . Ho e r r & So n s , D. A. Ho e r r & So n s , 8 0 2 0 N Sh a d e t r e e
 2.3003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 0 4 )
        nature of the debtor's interest                                                                                                                          Dr i v e , Pe o r i a , I L 6 1 6 1 5 - 9 6 6 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D. c . Fa r m e r s Co - o p , 3 1 7 1 Ne St e p h e n s St , Ro s e b u r g , O R
 2.3004 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 7 2 )
                                                                                                                                                                 97470-6236
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 D. M. Me r c h a n d i s i n g In c , 8 3 5 N Ch u r c h Co u r t , El m h u r s t , I L
 2.3005 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60126
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 D. M. Me r c h a n d i s i n g In c , 8 3 5 N Ch u r c h Co u r t , El m h u r s t , I L
 2.3006 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60126
        nature of the debtor's interest
          State the term remaining                        11/04/2008

          List the contract number of any government
          contract
                                                                                                                                                                 D. M. Me r c h a n d i s i n g In c , 8 3 5 N Ch u r c h Co u r t , El m h u r s t , I L
 2.3007 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60126

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D. M. Me r c h a n d i s i n g In c , 8 3 5 N Ch u r c h Co u r t , El m h u r s t , I L
 2.3008 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60126
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D' Ma r i e In c , 1 6 7 5 8 We s t Pa r k Ci r c l e Dr i v e , Ch a g r i n Fa l l s , O H
 2.3009 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44023
        nature of the debtor's interest
          State the term remaining                        03/11/2020

          List the contract number of any government
          contract
                                                                                                                                                                 D& D Te c h n o l o g i e s ( Us a ) In c , 7 7 3 1 Wo o d w i n d Dr , Hu n t i n g t o n
 2.3010 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Be a c , C A 9 2 6 4 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 D& m Tr u e Va l u e , 4 0 0 W Mo n t g o m e r y St 8 , Wi l l i s , T X 7 7 3 7 8 -
 2.3011 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 1 5 )
                                                                                                                                                                 8602
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da c Gr o u p , 2 9 7 5 We s t c h e s t e r Av e n u e , Su i t e 2 0 3 , Pu r c h a s e , N Y
 2.3012 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , D A C Gr o u p - Ma s t e r Ag r e e m e n t
                                                                                                                                                                 10577
        nature of the debtor's interest
          State the term remaining                        06/04/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da g e s Hi k e s Po i n t Pa i n t , 4 1 1 7 Br o w n s La n e , Lo u i s v i l l e , K Y
 2.3013 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 9 2 )
                                                                                                                                                                 40204
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da i c h Co a t i n g s Co r p o r a t i o n , 3 0 4 Ga g e Av e No r t h , Ha m i l t o n ,
 2.3014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          O N L8 L 7 A7 , Ca n a d a

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Da i d o Co r p o r a t i o n , Po Bo x 7 6 5 9 , 1 0 3 1 Fr e d Wh i t e Bl v d ,
 2.3015 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Po r t l a n d , T N 3 7 1 4 8
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Da i d o Co r p o r a t i o n , Po Bo x 7 6 5 9 , 1 0 3 1 Fr e d Wh i t e Bl v d ,
 2.3016 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Po r t l a n d , T N 3 7 1 4 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da i r y As s o c i a t i o n Co m p a n y In c , Ve r m o n t ' S Or i g i n a l , 9 1
 2.3017 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wi l l i a m s St , Ly n d o n v i l l e , V T 0 5 8 5 1

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da i s y Mf g , Po Bo x 2 2 0 , 4 0 0 W St r i b l i n g Dr i v e , Ro g e r s , A R
 2.3018 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 72756

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da i s y Mf g , Po Bo x 2 2 0 , 4 0 0 W St r i b l i n g Dr i v e , Ro g e r s , A R
 2.3019 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 72756
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da i s y Mf g , Po Bo x 2 2 0 , 4 0 0 W St r i b l i n g Dr i v e , Ro g e r s , A R
 2.3020 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 72756
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da l e Ha r d w a r e , 3 7 0 0 Th o r n t o n Av e , Fr e m o n t , C A 9 4 5 3 6
 2.3021 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 5 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da l e n Pr o d u c t s Co In c , 7 0 0 Da l e n La n e , Kn o x v i l l e , T N 3 7 9 3 2
 2.3022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da l e n Pr o d u c t s Co In c , 7 0 0 Da l e n La n e , Kn o x v i l l e , T N 3 7 9 3 2
 2.3023 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da l e n Pr o d u c t s Co In c , 7 0 0 Da l e n La n e , Kn o x v i l l e , T N 3 7 9 3 2
 2.3024 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Da l t o n En t e r p r i s e s , 1 3 1 Wi l l o w St r e e t , Ch e s h i r e , C T 0 6 4 1 0
 2.3025 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da m m a n n ' s Ga r d e n Co m p a n y, 5 1 2 9 S Em e r s o n Av e ,
 2.3026 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 3 4 )
                                                                                                                                                                 In d i a n a p o l i s , I N 4 6 2 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n Ra y Su p p l y Tr u e Va l u e , 3 0 9 E 1 6 7 t h St , Br o n x , N Y 1 0 4 5 6 -
 2.3027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 9 2 )
                                                                                                                                                                 4005
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n We s t Ga r d e n Ct r H& g s , 4 7 6 3 Po p l a r Av e , Me m p h i s , T N
 2.3028 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 7 4 )
        nature of the debtor's interest                                                                                                                          38117-4401

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da n b u r y Ag w a y, 9 2 Mi l l Pl a i n Ro a d , Da n b u r y, C T 0 6 8 1 1 - 5 1 4 0
 2.3029 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3030 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 19061

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3031 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19061
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3032 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 19061
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3033 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 19061

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3034 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 19061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3035 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 19061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n c o Co m p a n y, 2 3 Cr e e k Ci r c l e , Su i t e 3 0 0 , Bo o t h w y n , PA
 2.3036 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          19061

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da n d o Ch e m i c a l s , 5 5 1 E 1 1 Mi l e Rd , Su i t e 3 B, Ma d i s o n
 2.3037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          He i g h t s , M I 4 8 0 7 1

          State the term remaining                        04/29/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da n e El e c , 1 5 7 7 0 La g u n a Ca n y o n Rd , Su i t e 1 0 0 , Ir v i n e , C A
 2.3038 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92618
        nature of the debtor's interest
          State the term remaining                        04/23/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Da n e El e c , 1 5 7 7 0 La g u n a Ca n y o n Rd , Su i t e 1 0 0 , Ir v i n e , C A
 2.3039 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 92618
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n i e l Sh a f f e r s In c , 2 2 5 Wa t e r St , Ho o v e r s v i l l e , PA 1 5 9 3 6 -
 2.3040 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 3 7 )
        nature of the debtor's interest                                                                                                                          8027

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n i e l s ' Di s c o u n t & Ap p l i a n c e St o r e , 4 7 0 6 Pa 8 , Al l i s o n Pa r k ,
 2.3041 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 9 )
                                                                                                                                                                 PA 1 5 1 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n i e l s ' Di s c o u n t & Ap p l i a n c e St o r e , Da n i e l s ` Di s c o u n t &
 2.3042 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 0 )
                                                                                                                                                                 Ap p l i a n c e , 5 7 2 4 Cu r r y Rd , Pi t t s b u r g h , PA 1 5 2 3 6 - 3 5 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n i s h Im p o r t In c , 7 9 1 5 Ke n s i n g t o n Co u r t , Br i g h t o n , M I
 2.3043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          48116

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Da n n e m i l l e r Tr u e Va l u e Ha r d w a r e & Se r v i c e Ce n t e r , 2 9 9 1 S
 2.3044 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 8 5 )
                                                                                                                                                                 Gr o v e Bl v d , Ba r g e r s v i l l e , I N 4 6 1 0 6 - 9 0 5 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da n n e r Ma n u f a c t u r i n g , 1 6 0 Ov a l Dr i v e , Is l a n d i a , N Y 1 1 7 4 9
 2.3045 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Da n n e r Ma n u f a c t u r i n g , 1 6 0 Ov a l Dr i v e , Is l a n d i a , N Y 1 1 7 4 9
 2.3046 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Da n s b y ' s Ta y l o r Re n t a l Ce n t e r , L. l . c . , Da n s b y ` s Ta y l o r Re n t a l
 2.3047 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 4 3 )
                                                                                                                                                                 Ce n t e r , 2 1 0 2 Fo r s y t h e Av e , Mo n r o e , L A 7 1 2 0 1 - 3 6 5 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n s o n De c o r In c , Wo r k s h o p 2 - 1 1 , 6 Fl , Bl o c k B, 5 - 7 Yu e n
 2.3048 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Sh u n Ci r c u i t , Sh a t i n , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n s o n s In c , 1 4 6 0 8 1 3 4 Th Av e n u e , Ed m o n t o n , A B T5 L 4 T4 ,
 2.3049 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Da n v i l l e Pa i n t & Wa l l p a p e r , 5 3 2 Mo n r o e St r e e t , Da n v i l l e , VA
 2.3050 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 4 )
                                                                                                                                                                 24541
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n v i l l e Tr u e Va l u e Ha r d w a r e , 7 0 2 Ma i n St r e e t , Da n v i l l e , A R
 2.3051 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 3 9 )
        nature of the debtor's interest                                                                                                                          72833-6870

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da n z e In c , 2 5 0 0 In t e r n a t i o n a l e Pa r k w a y, Wo o d r i d g e , I L 6 0 5 1 7
 2.3052 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/23/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da p Gl o b a l In c , 2 4 0 0 Bo s t o n St , Ba l t i m o r e , M D 2 1 2 2 4
 2.3053 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        04/06/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Da p Gl o b a l In c , 2 4 0 0 Bo s t o n St , Ba l t i m o r e , M D 2 1 2 2 4
 2.3054 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Da p Gl o b a l In c , 2 4 0 0 Bo s t o n St , Ba l t i m o r e , M D 2 1 2 2 4
 2.3055 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Da p Gl o b a l In c . ( To u c h N Fo a m ) , 2 4 0 0 Bo s t o n St , Ba l t i m o r e ,
 2.3056 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 MD 21224
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3057 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45401
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45401

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3059 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3060 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3061 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3062 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45401

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3064 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da p In c , Da p / De r u s t o / Wo o d l i f e , Po Bo x 2 7 7 , Da y t o n , O H
 2.3065 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45401
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da r e Pr o d u c t s In c , 8 6 0 Be t t e r l y Ro a d , Sp r i n g f i e l d , M I 4 9 0 3 7
 2.3066 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Da r e Pr o d u c t s In c , 8 6 0 Be t t e r l y Ro a d , Sp r i n g f i e l d , M I 4 9 0 3 7
 2.3067 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Da r e Pr o d u c t s In c , 8 6 0 Be t t e r l y Ro a d , Sp r i n g f i e l d , M I 4 9 0 3 7
 2.3068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da r e Pr o d u c t s In c , 8 6 0 Be t t e r l y Ro a d , Sp r i n g f i e l d , M I 4 9 0 3 7
 2.3069 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da r e x L L C, 2 1 0 E He r s e y, Po Bo x 7 3 0 , As h l a n d , O R 9 7 5 2 0
 2.3070 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Da r t Co n t a i n e r , 5 0 0 Ho g s b a c k Ro a d , Ma s o n , M I 4 8 8 5 4
 2.3071 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da r t Tr a n s p o r t a t i o n , 8 0 0 Lo n e Oa k Ro a d , Ea g a n , M N 5 5 1 2 1
 2.3072 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , D A R T Ca r r i e r Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        05/08/2007 - 05/07/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Da r t Wa r e h o u s e Co r p o r a t i o n , 1 4 3 0 So u t h Ea s t m a n Av e , Lo s
 2.3073 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Da r t Wa r e h o u s e Co r p o r a t i o n
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 3                                                                               An g e l e s , C A 9 0 0 2 3

          State the term remaining                        10/02/2023 - 10/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Da r t s Tr u e Va l u e Ha r d w a r e , 1 2 1 S Ma i n St , Pa y e t t e , I D 8 3 6 6 1 -
 2.3074 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 7 4 )
        nature of the debtor's interest                                                                                                                          2850

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da s Co m p a n i e s In c , 7 2 4 La w n Rd , Pa l m y r a , PA 1 7 0 7 8
 2.3075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/15/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Da t a b a n k - Zc o l o L L C, 4 0 0 So u t h Ak a r d St . , Su i t e 1 0 0 , Da l l a s ,
 2.3076 State what the contract or lease is for and the
                                                          Ho s t i n g , Da t a b a n k z Co l o - Pr o d u c t i o n Da t a Ce n t e r M S A 2 0 2 1 -
        nature of the debtor's interest                   2026                                                                                                   TX 75202

          State the term remaining                        03/15/2021 - 03/14/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da t a m a r s In c , 3 8 0 0 N Ce n t r a l Av e , Su i t e 8 5 0 , Ph o e n i x , A Z
 2.3077 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 85012
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da t a m a r s In c , 3 8 0 0 N Ce n t r a l Av e , Su i t e 8 5 0 , Ph o e n i x , A Z
 2.3078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          85012

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Da t a m a r s In c , 3 8 0 0 N Ce n t r a l Av e , Su i t e 8 5 0 , Ph o e n i x , A Z
 2.3079 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 85012
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da u b y ' s Tr u e Va l u e , Da u b y ` s Tr u e Va l u e , 1 5 2 2 1 0 t h St , Te l l
 2.3080 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 2 2 )
                                                                                                                                                                 Ci t y, I N 4 7 5 8 6 - 1 3 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Da v e & Ma t t s Ch i c k e n St u f f , L L C, Da v e & Ma t t s Ch i c k e n
 2.3081 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St u f f , L L C, 2 6 0 5 He r b e r t s v i l l e Rd , Po i n t Pl e a s a n t , N J 0 8 7 4 2

          State the term remaining                        08/20/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Da v i d ' S Pa t i o Lt d . , 3 0 0 1 Ea s t Hi g h w a y 1 9 9 , Sp r i n g t o w n , T X
 2.3082 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 76082
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Da v i d s o n ' S In c , 6 1 0 0 Wi l k i n s o n Dr i v e , Pr e s c o t t , A Z 8 6 3 0 1
 2.3083 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Da v i e s Ha r d w a r e In c . , 8 0 6 Ma i n St r e e t , Po u g h k e e p s i e , N Y
 2.3084 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 4 )
        nature of the debtor's interest                                                                                                                          12603

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Da v i s Ac e Ha r d w a r e , 6 1 7 E Ma i n St , Sp r i n g e r v i l l e , A Z 8 5 9 3 8 -
 2.3085 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 7 4 )
        nature of the debtor's interest                                                                                                              5214

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Fo o d & Dr u g # 4 , Da v i s Fo o d & Dr u g 4 , 4 9 5 N. St a t e
 2.3086 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 9 )
                                                                                                                                                     St r e e t , La v e r k i n , U T 8 4 7 4 5 - 1 8 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Fo o d & Dr u g - Ro o s e v e l t , 7 5 0 E 2 0 0 N, Ro o s e v e l t , U T
 2.3087 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 6 )
                                                                                                                                                     84066
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Tr u e Va l u e , 7 0 Ne w Cl y d e Hw y, Ca n t o n , N C 2 8 7 1 6 - 4 2 7 2
 2.3088 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Tr u e Va l u e Ha r d w a r e , 2 3 8 Hw y St , Do n i p h a n , M O 6 3 9 3 5 -
 2.3089 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 3 5 )
        nature of the debtor's interest                                                                                                              1024

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Tr u e Va l u e Ha r d w a r e , 2 7 9 E Ma i n St , Or w e l l , O H 4 4 0 7 6 -
 2.3090 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 4 )
                                                                                                                                                     9527
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da v i s Tr u e Va l u e Hd w e & Lb r , 1 0 2 E Sh u r b e t St , Lo c k n e y, T X
 2.3091 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 8 8 )
                                                                                                                                                     79241-9802
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Da y c o n Pr o d u c t s In c , 1 6 0 0 1 Tr a d e Zo n e Av e , Up p e r Ma r l b o r o ,
 2.3092 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 8 0 )
        nature of the debtor's interest                                                                                                              MD 20774-8795

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Da y t o n Fr e i g h t Li n e s In c . , 6 4 5 0 Po e Av e . , Da y t o n , O H 4 5 4 1 4
 2.3093 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Da y t o n Fr e i g h t Li n e s - Ag r e e m e n t s LT L
        nature of the debtor's interest
          State the term remaining                        07/19/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Db a r r o Co m m e r c e Co r p o r a t i o n , 2 6 1 0 6 - I- 4 5 No r t h , Sp r i n g , T X
 2.3094 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 77386
        nature of the debtor's interest
          State the term remaining                        04/05/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Db c So f t w a r e Co n s u l t i n g , L L C, 4 0 4 1 Or c h a r d Wa y, Mi l t o n , G A
 2.3095 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , D B C So f t w a r e Co n s u l t i n g , L L C
                                                                                                                                                                 30004
        nature of the debtor's interest                   MSA

          State the term remaining                        05/01/2023 - 04/30/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Db c So f t w a r e Co n s u l t i n g , L L C, 4 0 4 1 Or c h a r d Wa y, Mi l t o n , G A
 2.3096 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , D B C So f t w a r e Co n s u l t i n g S O W 1 Sh u r l i n e
        nature of the debtor's interest                   Su p p o r t Se r v i c e s - Ca r y 2 0 2 3                                                           30004

          State the term remaining                        05/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 D C Fa r m e r s Co - o p , 8 5 0 Nw Ab r a h a m St , Wi n s t o n , O R 9 7 4 9 6 -
 2.3097 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 6 0 )
                                                                                                                                                                 5621
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 D C Su p p l y Ll c , 1 0 0 0 N. Da l l a s St . , La m e s a , T X 7 9 3 3 1
 2.3098 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dd m e In c , 1 9 2 9 Co r t a Be l l a , La s Ve g a s , N V 8 9 1 3 4
 2.3099 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dd m e In c , 1 9 2 9 Co r t a Be l l a , La s Ve g a s , N V 8 9 1 3 4
 2.3100 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Dd m e In c , 1 9 2 9 Co r t a Be l l a , La s Ve g a s , N V 8 9 1 3 4
 2.3101 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Dd m e In c , 1 9 2 9 Co r t a Be l l a , La s Ve g a s , N V 8 9 1 3 4
 2.3102 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                      Dd m e In c , 1 9 2 9 Co r t a Be l l a , La s Ve g a s , N V 8 9 1 3 4
 2.3103 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                      Dd p Sp e c i a l t y El e c t r o n i c Ma t e r i a l s , 1 7 5 4 N Wa s h i n g t o n , Su i t e
 2.3104 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               1 1 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Dd p Sp e c i a l t y El e c t r o n i c Ma t e r i a l s , 1 7 5 4 N Wa s h i n g t o n , Su i t e
 2.3105 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      1 1 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                      Dd p Sp e c i a l t y El e c t r o n i c Ma t e r i a l s , 1 7 5 4 N Wa s h i n g t o n , Su i t e
 2.3106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      1 1 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      D E Br u y n Se e d Co m p a n y, 1 0 1 Ea s t Wa s h i n g t o n Av e n u e ,
 2.3107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 6 )
        nature of the debtor's interest                                                                                                               Ze e l a n d , M I 4 9 4 6 4 - 1 2 2 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      De Gr o o t In c , 5 5 3 0 Co l o m a No r t h Ro a d , Po Bo x 9 3 4 , Co l o m a ,
 2.3108 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      MI 49038
        nature of the debtor's interest
          State the term remaining                        01/02/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     D E Na u l t ' s Wa r e h o u s e - W, De n a u l t ' s T V Wa r e h o u s e W, 2 3 2 8 1
 2.3109 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 0 0 )
                                                                                                                                                     An t o n i o Pk w y, Ra n c h o Sa n t a Ma r g a r i t a , C A 9 2 6 8 8 - 2 6 5 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     D E Na u l t s Tr u e Va l u e Ha r d w a r e # 7 , De n a u l t ' s Tr u e Va l u e
 2.3110 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 7 2 )
                                                                                                                                                     Ha r d w a r e 7 , 9 7 5 Ca r l s b a d Vi l l a g e Dr , Ca r l s b a d , C A 9 2 0 0 8 -
        nature of the debtor's interest
                                                                                                                                                     1802
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De a k y n e s Tr u e Va l u e Hd w e , 1 7 5 0 7 Mi n n e t o n k a Bl v d ,
 2.3111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 3 2 )
        nature of the debtor's interest                                                                                                              Mi n n e t o n k a , M N 5 5 3 4 5 - 1 0 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De a l z Di s c o u n t Wa r e h o u s e , 2 0 1 5 E Ir e l a n d Rd , So u t h Be n d , I N
 2.3112 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 1 7 )
                                                                                                                                                     46614-2908
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De a r i e n Su p p l y, 1 8 0 2 We s t Ma i n , Mo u n t a i n Vi e w, A R 7 2 5 6 0 -
 2.3113 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 7 )
                                                                                                                                                     8461
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De c a t u r Lu m b e r , De c a t u r Lu m b e r Co m p a n y, 3 1 2 E Sh e r w o o d ,
 2.3114 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 0 9 )
        nature of the debtor's interest                                                                                                              De c a t u r , M I 4 9 0 4 5 - 1 1 4 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De c k e r Ci t y Ha r d w a r e , 1 0 Fo r k s Av e S, Fo r k s , WA 9 8 3 3 1 - 2 0 9 6
 2.3115 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De c k e r Mf g Co m p a n y, 3 1 2 Bl o n d e a u St , P. O. Bo x 3 7 0 , Ke o k u k ,
 2.3116 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     IA 52632
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De c k e r Mf g Co m p a n y, 3 1 2 Bl o n d e a u St , P. O. Bo x 3 7 0 , Ke o k u k ,
 2.3117 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IA 52632
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De c k o Ba t h Pr o d u c t s , 2 3 1 0 Tr a f f i c St Ne , Mi n n e a p o l i s , M N
 2.3118 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55413
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De c k o Ba t h Pr o d u c t s , 2 3 1 0 Tr a f f i c St Ne , Mi n n e a p o l i s , M N
 2.3119 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55413

          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 De c k o Ba t h Pr o d u c t s , 2 3 1 0 Tr a f f i c St Ne , Mi n n e a p o l i s , M N
 2.3120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55413
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 De c k o Ba t h Pr o d u c t s , 2 3 1 0 Tr a f f i c St Ne , Mi n n e a p o l i s , M N
 2.3121 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55413
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 De c o Ar t , Po Bo x 2 9 7 , St a n f o r d , K Y 4 0 4 8 4
 2.3122 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De c o b u s i n e s s In c , 2 6 4 0 W Or a n g e Bl o s s o m Tr a i l , Ap o p k a , F L
 2.3123 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 32712
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 De c o r In t ' l L L C, De c o r In t e r n a t i o n a l L L C, 5 1 6 5 Up l a n d Ct N,
 2.3124 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pl y m o u t h , M N 5 5 4 4 6
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     De c o r a t i v e No v e l t y Co , 7 4 2 0 Th St , Br o o k l y n , N Y 1 1 2 3 2
 2.3125 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     De c o r a t i v e Pa n e l s In t l In c , 2 9 0 0 Hi l l Av e n u e , To l e d o , O H
 2.3126 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              43607

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De e r Cr e e k Ha r d w a r e , 2 2 6 N Ar a p a h o , Hy d r o , O K 7 3 0 4 8 - 8 8 0 1
 2.3127 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 1 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De e r Pa r k Ir o n w o r k s L L C, 4 3 Ne w Pl a n t Co u r t , Ow i n g s Mi l l s ,
 2.3128 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     MD 21117
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     De e r w o o d Tr u e Va l u e , 2 3 6 8 2 Fr o n t St r e e t , De e r w o o d , M N
 2.3129 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 6 )
        nature of the debtor's interest                                                                                                              56444-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De f a , 1 5 Al l s t a t e Pa r k w a y, 6 Th Fl o o r , Ma r k h a m , O N L3 R 5 B4 ,
 2.3130 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/00/1900 - 01/00/1900

          List the contract number of any government
          contract
                                                                                                                                                     De f l e c t - O Co r p o r a t i o n , 7 0 3 5 Ea s t 8 6 Th St , In d i a n a p o l i s , I N
 2.3131 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     46250
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     De f t / Pp g Ar c h i t e c t u r a l Fi n , 1 2 6 3 Ha y m a r k e t Wa y, Hu d s o n , PA
 2.3132 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44236

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     De f t / Pp g Ar c h i t e c t u r a l Fi n , 1 2 6 3 Ha y m a r k e t Wa y, Hu d s o n , PA
 2.3133 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44236
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     De j n o s In c , 5 6 7 0 Gr e e n Ba y Rd , Ke n o s h a , W I 5 3 1 4 4
 2.3134 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/19/2015

          List the contract number of any government
          contract
                                                                                                                                                     De k o r Pr o d u c t s Ii n t l , 4 5 8 1 We s t o n Rd , We s t o n , F L 3 3 3 3 1
 2.3135 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     De l a n o Tr u e Va l u e , 1 0 0 5 Cr o s s i n g s Dr , De l a n o , M N 5 5 3 2 8 -
 2.3136 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 7 5 )
                                                                                                                                                     4625
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De l a v a n Ag Pu m p s In c , 1 2 2 6 Li n d e n Av e , Su i t e 1 2 3 ,
 2.3137 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Mi n n e a p o l i s , M N 5 5 4 0 3

          State the term remaining                        05/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     De l a w a r e Co Tr u e Va l u e Sp l y, 1 0 0 0 Ra n d a l l Av e , Bo o t h w y n , PA
 2.3138 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 7 9 )
                                                                                                                                                     19061-3538
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De l g a d o ' s Ha r d w a r e , De l g a d o ` s Ha r d w a r e , 3 2 4 3 4 N. Wa l n u t St ,
 2.3139 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 1 )
                                                                                                                                                     Wi t t m a n n , A Z 8 5 3 6 1 - 5 0 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De l i In c , W6 5 8 5 Co u n t y Rd , Mi l l s t o n , W I 5 4 6 4 3
 2.3140 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De l m o n t Ag w a y, 3 2 We s t Pi t t s b u r g h St , De l m o n t , PA 1 5 6 2 6
 2.3141 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a As s o c i a t e s , 1 1 1 Mo u n t a i n Br o o k Dr i v e , Su i t e 2 0 4 ,
 2.3142 State what the contract or lease is for and the   H R Se r v i c e s , De l t a As s o c i a t e s - Bu s i n e s s In s i g h t s Wo r k s h o p
                                                                                                                                                                 Ca n t o n , G A 3 0 1 1 5
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Br a n d s , In c . , 1 8 9 0 Pa l m e r Av e , La r c h m o n t , N Y 1 0 5 3 8
 2.3143 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Br a n d s , In c . , 1 8 9 0 Pa l m e r Av e , La r c h m o n t , N Y 1 0 5 3 8
 2.3144 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ca r b o n a Lp , 1 6 Ch a p i n Ro a d , Un i t 9 1 1 , Pi n e Br o o k , N J
 2.3145 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07058

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ca r b o n a Lp , 1 6 Ch a p i n Ro a d , Un i t 9 1 1 , Pi n e Br o o k , N J
 2.3146 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07058
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ca r b o n a Lp , 1 6 Ch a p i n Ro a d , Un i t 9 1 1 , Pi n e Br o o k , N J
 2.3147 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07058

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ca r b o n a Lp , 1 6 Ch a p i n Ro a d , Un i t 9 1 1 , Pi n e Br o o k , N J
 2.3148 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07058

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De l t a Co n s o l i d a t e d In d s In c , Ap e x To o l Gr o u p , 6 0 6 9 N Ba y
 2.3149 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ri d g e Av e , Wh i t e f i s h Ba y, W I 5 3 2 1 7

          State the term remaining                        02/08/2007

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3150 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IN 46280
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3151 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IN 46280
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3152 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IN 46280

          State the term remaining                        06/06/2011

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3153 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IN 46280
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3154 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IN 46280
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Fa u c e t Co , 5 5 E 1 1 1 Th St , P. O. Bo x 4 0 9 8 0 , In d i a n a p o l i s ,
 2.3155 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IN 46280

          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ha r d w a r e , In c . , De l t a Ha r d w a r e In c . , 1 2 1 W. Gu n n i s o n
 2.3156 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 7 )
                                                                                                                                                                 Ri v e r Dr i v e Un i t 1 2 , De l t a , C O 8 1 4 1 6 - 0 1 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De l t a Ma r k e t i n g In t l , 3 Ma t t Av e , Pl a t t s b u r g h , N Y 1 2 9 0 1
 2.3157 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ma r k e t i n g In t l , 3 Ma t t Av e , Pl a t t s b u r g h , N Y 1 2 9 0 1
 2.3158 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ma r k e t i n g In t l , 3 Ma t t Av e , Pl a t t s b u r g h , N Y 1 2 9 0 1
 2.3159 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Ma r k e t i n g In t l , 3 Ma t t Av e , Pl a t t s b u r g h , N Y 1 2 9 0 1
 2.3160 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 De l t a Sp o r t s Pr o d u c t s L L C, 3 0 1 5 1 1 6 0 Th St , Di k e , I A 5 0 6 2 4
 2.3161 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De l t r a n Us a L L C, 8 0 1 Us Hw y 9 2 E, De l a n d , F L 3 2 7 2 4
 2.3162 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022 - 07/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 De l t r a n Us a L L C, 8 0 1 Us Hw y 9 2 E, De l a n d , F L 3 2 7 2 4
 2.3163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 De l t r a n Us a L L C, 8 0 1 Us Hw y 9 2 E, De l a n d , F L 3 2 7 2 4
 2.3164 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     De m a r i s Ha r d w a r e , 3 0 9 W 4 t h St , Sa i n t An s g a r , I A 5 0 4 7 2 - 1 3 1 4
 2.3165 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n a u l t Co m m e r c i a l # 8 , De n a u l t ' s Co m m e r c i a l Tr u e Va l u e 8 ,
 2.3166 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 8 0 )
                                                                                                                                                     2 3 2 8 1 An t o n i o Pk w y, Ra n c h o Sa n t a Ma r g a r i t a , C A 9 2 6 8 8 - 2 6 5 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n a u l t Tr u e Va l u e Ha r d w a r e # 5 , De n a u l t ' s Tr u e Va l u e
 2.3167 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 1 6 )
        nature of the debtor's interest                                                                                                              Ha r d w a r e 5 , 2 6 0 0 6 Ma r g u e r i t e Pk w y, Mi s s i o n Vi e j o , C A
                                                                                                                                                     92692-3262
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n a u l t s Tr u e Va l u e Ha r d w a r e # 2 , De n a u l t ' s Tr u e Va l u e
 2.3168 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 8 7 )
                                                                                                                                                     Ha r d w a r e 2 , 5 3 5 N El Ca m i n o Re a l , Sa n Cl e m e n t e , C A 9 2 6 7 2 -
        nature of the debtor's interest
                                                                                                                                                     4761
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n a u l t s Tr u e Va l u e Hd w # 1 , De n a u l t ' s Tr u e Va l u e Hd w 1 ,
 2.3169 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 9 9 )
                                                                                                                                                     3 1 8 6 2 De l Ob i s p o St , Sa n Ju a n Ca p i s t r a n o , C A 9 2 6 7 5 - 3 2 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n a u l t s Tr u e Va l u e Hd w # 3 , De n a u l t ' s Tr u e Va l u e Hd w 3 ,
 2.3170 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 7 5 )
        nature of the debtor's interest                                                                                                              3 0 0 3 1 To w n Ce n t e r Dr , La g u n a Ni g u e l , C A 9 2 6 7 7 - 2 0 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n m a r k Tr u e Va l u e , 4 8 2 3 Ca r o l i n a Hw y, De n m a r k , S C 2 9 0 4 2
 2.3171 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n n a r d Tr u e Va l u e Hd w e , De n n a r d Tr u e Va l u e Ha r d w a r e &
 2.3172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 2 6 )
                                                                                                                                                     V& s , 7 9 4 Se c o n d St r e e t , So p e r t o n , G A 3 0 4 5 7 - 2 4 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     De n n i s Ea s t In t ' l , De n n i s Ea s t In t e r n a t i o n a l , 1 7 Sh a d Ho l e Rd ,
 2.3173 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     De n n i s p o r t , M A 0 2 6 3 9
        nature of the debtor's interest
          State the term remaining                        11/24/2009

          List the contract number of any government
          contract
                                                                                                                                                     De n t Tr u e Va l u e Ha r d w a r e , 1 2 2 Ge n e v a Ro a d N, Bu e n a Vi s t a ,
 2.3174 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 8 )
        nature of the debtor's interest                                                                                                              GA 31803-1806

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n t i n g e r Fe e d & Se e d , 1 0 2 Wa s h i n g t o n St r e e t Ea s t , Va l e , O R
 2.3175 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 5 2 )
        nature of the debtor's interest                                                                                                              97918-1249

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De n v e r Tr u e Va l u e Hd w e , 6 4 2 0 E Co l f a x Av e , De n v e r , C O
 2.3176 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 5 )
                                                                                                                                                     80220-1604
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De p Bu i l d e r s Su p p l y / d e p He a t i n g & Co o l i n g , De p Bl d r s
 2.3177 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 8 6 )
                                                                                                                                                     Sp l y / h t g & c o o l i , 1 2 5 6 1 Hw y 2 1 , De So t o , M O 6 3 0 2 0 - 3 3 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De p e n d a b l e Lu m b e r , 4 1 5 Se c o n d St r e e t , Pa o n i a , C O 8 1 4 2 8
 2.3178 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De p e r e Ha r d w a r e , 1 0 4 5 No r t h Br o a d w a y Dr i v e , De Pe r e , W I
 2.3179 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 1 )
                                                                                                                                                     54115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De p o t Ho m e Ce n t e r , 5 6 De p o t St r e e t , Ch a r l e s t o w n , N H 0 3 6 0 3 -
 2.3180 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 2 3 )
                                                                                                                                                     4169
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De r o m a , Po Bo x 1 8 3 9 , 4 9 0 1 El y s i a n Fi e l d s , Ma r s h a l l , T X
 2.3181 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75672
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De r o m a , Po Bo x 1 8 3 9 , 4 9 0 1 El y s i a n Fi e l d s , Ma r s h a l l , T X
 2.3182 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 75672

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De r o m a , Po Bo x 1 8 3 9 , 4 9 0 1 El y s i a n Fi e l d s , Ma r s h a l l , T X
 2.3183 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75672
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De r o m a , Po Bo x 1 8 3 9 , 4 9 0 1 El y s i a n Fi e l d s , Ma r s h a l l , T X
 2.3184 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75672
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 De r o n n e Tr u e Va l u e - Ea s t p o i n t e , De r o n n e Tr u e Va l u e -
 2.3185 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 )
        nature of the debtor's interest                                                                                                                          Ea s t p o i n t , 1 8 5 6 1 E 9 Mi l e Rd , Ea s t p o i n t e , M I 4 8 0 2 1 - 1 9 5 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De r o n n e Tr u e Va l u e - Ha r p e r , 2 8 7 0 0 Ha r p e r Av e n u e , St Cl a i r
 2.3186 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 9 5 )
                                                                                                                                                                 Sh o r e s , M I 4 8 0 8 1 - 1 2 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De s c a r t e s Da t a m y n e , 1 2 0 Ra n d a l l Dr i v e , Wa t e r l o o , O N N2 V
 2.3187 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , De s c a r t e s Da t a m y n e , No n - Di s c l o s u r e
                                                                                                                                                                 1 C6 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        01/11/2022 - 01/10/2025

          List the contract number of any government
          contract
                                                                                                                                                                 De s i g n Ho u s e , 5 2 0 5 W Do n g e s Ba y Rd , Me q u o n , W I 5 3 0 9 2
 2.3188 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     De s i g n Mo l d i n g , 3 7 6 1 E. Co l o r a d o Bl v d . , Pa s a d e n a , C A 9 1 1 0 7
 2.3189 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     De s i g n s By Le e , 1 2 9 In t e r l a k e n Rd , St a m f o r d , C T 0 6 9 0 3
 2.3190 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De s o t o To w n & Co u n t r y, 2 3 7 9 Hw y 1 7 1 , St o n e w a l l , L A 7 1 0 7 8 -
 2.3191 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 5 0 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De t e r m i n e , 2 0 0 La k e Dr i v e Ea s t , Su i t e 2 0 0 , Ch e r r y Hi l l , N J
 2.3192 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , De t e r m i n e Fi f t h Am e n d m e n t
                                                                                                                                                     08002
        nature of the debtor's interest                   Su b s c r i p t i o n Te r m Re n e w a l 2 0 2 4

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     De t t w i l l e r Ha r d w a r e , 5 2 2 8 Wa s h i n g t o n Rd , Al b a n y, O H 4 5 7 1 0 -
 2.3193 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 3 )
        nature of the debtor's interest                                                                                                              9400

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De t t w i l l e r Tr u e Va l u e , 6 3 9 0 7 Us Hw y 5 0 , Mc a r t h u r , O H 4 5 6 5 1 -
 2.3194 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 1 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De t t w i l l e r Tr u e Va l u e Lu m b e r , 6 3 4 E Ma i n St , Po m e r o y, O H
 2.3195 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 2 9 )
                                                                                                                                                     45769-1161
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     De v a u l t En t e r p r i s e s , 5 4 3 2 S 1 0 3 Rd E Av e , Tu l s a , O K 7 4 1 4 6
 2.3196 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De v i n e Pa i n t Ce n t e r , 9 7 1 Li n c o l n Av e , Na p a , C A 9 4 5 5 8
 2.3197 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De v r o o m e n Ga r d e n Pr o d u c t s , Po Bo x 1 8 9 , 1 4 8 6 7 W Ru s s e l l Rd ,
 2.3198 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ru s s e l l , I L 6 0 0 7 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3199 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3200 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3201 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3202 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3203 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3205 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3206 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a l t Ac c e s s o r i e s , Bl a c k & De c k e r / De w a l t , 1 0 1 Sh i l l i n g
 2.3207 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w a r Nu r s e r i e s , In c . , 6 2 5 W Ke e n e Rd , Ap o p k a , F L 3 2 7 0 3
 2.3208 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/15/2022 - 09/09/9999

          List the contract number of any government
          contract
                                                                                                                                                                 De w a y n e ' s Ho m e & g a r d e n Sh o w p l a c e , De w a y n e ' s Ho m e &
 2.3209 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 7 5 )
                                                                                                                                                                 Ga r d e n Sh o w p l a c e , 1 5 7 5 In d u s t r i a l Pa r k Dr , Se l m a , N C 2 7 5 7 6 -
        nature of the debtor's interest
                                                                                                                                                                 3435
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3210 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63801
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3211 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          63801

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3212 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63801
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3213 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63801
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3214 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63801
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63801

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y, 9 0 5 So u t h Ki n g s h i g h w a y, Si k e s t o n , M O
 2.3216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63801

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 De w i t t Co m p a n y In c , 9 0 5 S Ki n g s h i g h w a y, Si k e s t o n , M O 6 3 8 0 1
 2.3217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 De x t e r Lu m b e r , 3 5 Je n n i n g s Hi l l Rd , De x t e r , M E 0 4 9 3 0 - 2 6 1 0
 2.3218 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Df p Sa f e t y Co r p o r a t i o n , 2 0 7 1 1 Ho l t Av e , La k e v i l l e , M N 5 5 0 4 4
 2.3219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Df p Sa f e t y Co r p o r a t i o n , 2 0 7 1 1 Ho l t Av e , La k e v i l l e , M N 5 5 0 4 4
 2.3220 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3222 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3223 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3224 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3225 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3226 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3227 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3228 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3229 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                        Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3230 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                        Di a l Co r p o r a t i o n , Di a l Co r p o r a t i o n / Un i t e d St a t , On e Pa r k w a y
 2.3231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                        Di a l In d u s t r i e s In c , 3 6 2 8 No a k e s St , Lo s An g e l e s , C A 9 0 0 2 3
 2.3232 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                        Di a l Mf g In c , 4 3 0 N. 4 7 Th Av e , Ph o e n i x , A Z 8 5 0 4 3
 2.3233 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                        Di a l Mf g In c , 4 3 0 N. 4 7 Th Av e , Ph o e n i x , A Z 8 5 0 4 3
 2.3234 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                        Di a m a b r u s h , 3 2 4 7 0 In d u s t r i a l Dr i v e , Ma d i s o n He i g h t s , M I
 2.3235 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        48071
        nature of the debtor's interest
          State the term remaining                        04/01/2020

          List the contract number of any government
          contract
                                                                                                                                        Di a m a t i c Ma n a g e m e n t Se r v i c e s , 5 2 2 0 Ga i n e s St , Sa n Di e g o , C A
 2.3236 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        92110
        nature of the debtor's interest
          State the term remaining                        02/27/2009

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di a m o n d Fa r r i e r Co , Po Bo x 1 3 4 6 , 3 6 1 Ha v e n Hi l l Rd ,
 2.3237 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Sh e l b y v i l l e , K Y 4 0 0 6 6
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d G Ho m e Ce n t e r & Re n t a l , 2 2 5 El Mo r r o Rd , Gr a n t s ,
 2.3238 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 6 2 )
        nature of the debtor's interest                                                                                                                          NM 87020-3701

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Ki n g Sm o k e r In c , 1 2 6 4 5 Do d d Co u r t , Ro s e m o u n t , M N
 2.3239 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55068
        nature of the debtor's interest
          State the term remaining                        05/22/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Pe t Fo o d s , Po Bo x 1 5 6 , 1 0 3 N Ol i v e , Me t a , M O
 2.3240 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 65058
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Pe t Fo o d s , Po Bo x 1 5 6 , 1 0 3 N Ol i v e , Me t a , M O
 2.3241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 65058

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Pe t Fo o d s , Po Bo x 1 5 6 , 1 0 3 N Ol i v e , Me t a , M O
 2.3242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 65058
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Pe t Fo o d s , Po Bo x 1 5 6 , 1 0 3 N Ol i v e , Me t a , M O
 2.3243 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 65058
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Pr o d u c t s , 3 3 3 Pr o s p e c t St , El y r i a , O H 4 4 0 3 5
 2.3244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di a m o n d Vi s i o n s In c , 4 0 1 W Ma r q u e t t e Av e , Mi l w a u k e e , W I
 2.3245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 53154

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Vi s i o n s In c , 4 0 1 W Ma r q u e t t e Av e , Mi l w a u k e e , W I
 2.3246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53154

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Vi s i o n s In c , 4 0 1 W Ma r q u e t t e Av e , Mi l w a u k e e , W I
 2.3247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53154
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d Vi s i o n s In c , 4 0 1 W Ma r q u e t t e Av e , Mi l w a u k e e , W I
 2.3248 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53154
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Di a m o n d h e a d Tr u e Va l u e , 4 4 0 5 a Al o h a Dr i v e , Di a m o n d h e a d ,
 2.3249 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 5 )
        nature of the debtor's interest                                                                                                                          MS 39525-3303

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di b b l e Tr u e Va l u e Ha r d w a r e , 2 6 2 W Fe r r y St , Bu f f a l o , N Y
 2.3250 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 1 )
                                                                                                                                                                 14213-1815
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k e r s o n Ha r d w a r e , 1 2 0 0 N Ma i n St , Mu l b e r r y, A R 7 2 9 4 7 -
 2.3251 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 8 5 )
                                                                                                                                                                 8541
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k e y Bu b Eu r e k a , 1 0 0 Hi l l t o p Vi l l a g e Ce n t e r Dr i v e , Eu r e k a ,
 2.3252 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 7 5 )
        nature of the debtor's interest                                                                                                                          MO 63025-1107

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di c k e y Bu b Po t o s i , 7 0 8 E Hi g h St r e e t , Po t o s i , M O 6 3 6 6 4 - 1 4 0 8
 2.3253 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 7 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k e y Bu b Ro l l a , 1 0 4 0 Fo r u m Dr , Ro l l a , M O 6 5 4 0 1 - 2 5 0 7
 2.3254 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k e y Bu b Un i o n , 1 Un i o n Vi l l a g e Sh o p p i n g Ct r , Un i o n , M O
 2.3255 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 0 0 )
                                                                                                                                                                 63084-2247
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k i n s o n Tr u e Va l u e , 1 1 1 E Ma i n St , Fe n n v i l l e , M I 4 9 4 0 8 -
 2.3256 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 )
        nature of the debtor's interest                                                                                                                          5114

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k i n s o n Tr u e Va l u e Ho m e Ct r , 1 5 0 0 W Br e i t u n g Av e ,
 2.3257 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 9 9 )
                                                                                                                                                                 Ki n g s f o r d , M I 4 9 8 0 2 - 5 1 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di c k s Tr u e Va l u e Ha r d w a r e , 1 2 2 1 6 Ve n i c e Bl v d , Lo s An g e l e s ,
 2.3258 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 7 6 )
                                                                                                                                                                 CA 90066-3814
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di g Co r p o r a t i o n , 1 2 1 0 Ac t i v i t y Dr i v e , Vi s t a , C A 9 2 0 8 1
 2.3259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di g Co r p o r a t i o n , 1 2 1 0 Ac t i v i t y Dr i v e , Vi s t a , C A 9 2 0 8 1
 2.3260 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2010

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di g g e r s Pr o d u c t De v e l o p m e n t Co , Po Bo x 1 5 5 1 , 3 5 1 0 N Ma i n
 2.3261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St , So q u e l , C A 9 5 0 7 3

          State the term remaining                        06/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Di g i c e r t , In c . , 2 8 0 1 N. Th a n k s g i v i n g Wa y, Su i t e 5 0 0 , Le h i , U T
 2.3262 State what the contract or lease is for and the   So f t w a r e , Di g i c e r t Se c u r i t y Ce r t Re n e w a l f o r Af a r i a P O S
                                                                                                                                                                 84043
        nature of the debtor's interest                   Sy s t e m 2 0 2 3

          State the term remaining                        11/29/2023 - 11/28/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Di l l i o n Tr a n s p o r t a t i o n L L C, 9 7 4 Te n n e s s e e Wa l t z Pa r k w a y,
 2.3263 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Di l l i o n Tr a n s p o r t a t i o n L L C Ca r r i e r
                                                                                                                                                                 As h l a n d Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        05/01/2019 - 04/30/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Di l l o n Gr o u p , 1 2 0 0 Me n d e l s s o h n Av e No r t h , Su i t e 1 0 4 , Go l d e n
 2.3264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Va l l e y, M N 5 5 4 2 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Di m e o Sc h n e i d e r & As s o c i a t e s , 5 0 0 W Ma d i s o n Su i t e 1 7 0 0 ,
 2.3265 State what the contract or lease is for and the   H R Se r v i c e s , Di Me o Sc h n e i d e r & As s o c i a t e s - Tr u e Va l u e
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest                   Co m p a n y Sa v i n g s a n d Co m p e n s a t i o n De f e r r a l Pl a n
                                                          Am m e n d m e n t 2 0 2 0

          State the term remaining                        12/15/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Di m e x L L C, 6 9 We s l e y St , So u t h Ha c k e n s a c k , N J 0 7 6 0 6
 2.3266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Di m p l e x No r t h Am e r i c a , Lt d . , 1 3 6 7 In d u s t r i a l Ro a d ,
 2.3267 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ca m b r i d g e , O N N1 R 7 G8 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di m p l e x No r t h Am e r i c a , Lt d . , 1 3 6 7 In d u s t r i a l Ro a d ,
 2.3268 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ca m b r i d g e , O N N1 R 7 G8 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di n g l e ' s Of Da y t o n Tr u e Va l u e , 1 7 9 E Ma i n St , Da y t o n , WA
 2.3269 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 1 5 )
                                                                                                                                                                 99328-1350
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di o r i o Fo r e s t Pr o d u c t s , 1 1 1 2 9 Ai r Pa r k Rd . , Su i t e A, As h l a n d ,
 2.3270 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 9 )
                                                                                                                                                                 VA 2 3 0 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di p p i n ' Do t s L L C, 5 1 0 1 Ch a r t e r Oa k Dr , Pa d u c a h , K Y 4 2 0 0 1
 2.3271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Di r t Ki l l e r Pr e s s u r e Wa s h e r s , 1 1 4 0 3 Cr o n r i d g e Dr , Ow i n g s
 2.3272 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi l l s , M D 2 1 1 1 7
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Di s p l a y Ad v a n t a g e In c , 1 3 3 6 Sc r i b n e r Av e Nw, Gr a n d Ra p i d s ,
 2.3273 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MI 49504
        nature of the debtor's interest
          State the term remaining                        04/02/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3275 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3276 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3278 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3279 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3280 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3281 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3283 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3284 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3285 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Di s s t o n Co m p a n y, 1 1 6 9 0 Sw 2 4 Th St , Da v i e , F L 3 3 3 2 5
 2.3286 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Di s t r i b u t i o n s Fi l l i o n Ma r q u i s In t e r n a t i o n a l Lt e e , 4 2 0
 2.3287 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 4 )
                                                                                                                                                                 Bo u l . i n d u s t r i e l Lo c a l 1 0 0 , St - Je a n - Su r - Ri c , Q C J3 B 4 S6 ,
        nature of the debtor's interest
                                                                                                                                                                 Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di t c h Wi t c h , Po Bo x 6 6 , Pe r r y, O K 7 3 0 7 7
 2.3288 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Di t e q Co r p , 1 2 5 0 Nw Ma i n St r e e t , Le e ' S Su m m i t , M O 6 4 0 8 6
 2.3289 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3290 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Du l u t h , G A 3 0 0 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Du l u t h , G A 3 0 0 9 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3292 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Du l u t h , G A 3 0 0 9 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                        Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                        Du l u t h , G A 3 0 0 9 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3294 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                        Du l u t h , G A 3 0 0 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3295 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                        Du l u t h , G A 3 0 0 9 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Di v e r s i t e c h Co r p o r a t i o n , 3 0 3 9 Pr e m i e r e Pa r k w a y, Su i t e 6 0 0 ,
 2.3296 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                        Du l u t h , G A 3 0 0 9 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Di v i c o N. v. , Un i o n Rd 1 2 9 , Co l e Ba y, St Ma a r t e n , Du t c h We s t
 2.3297 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 3 2 )
        nature of the debtor's interest                                                                                                                                 In d i e s

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Di v i h n In t e g r a t i o n In c , 2 8 0 0 W. Hi g g i n s Rd , Su i t e 2 4 0 ,
 2.3298 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , Di v i h n Co n s u l t i n g a n d Re c r u i t i n g Ag e n c y
                                                                                                                                                                        Ho f f m a n Es t a t e s , I L 6 0 1 6 9
        nature of the debtor's interest                   Ag r e e m e n t I T P R- 1 2 4 5 9 7 6

          State the term remaining                        11/15/2016 - 03/01/2029

          List the contract number of any government
          contract
                                                                                                                                                                        Di v i h n In t e g r a t i o n In c , 2 8 0 0 W. Hi g g i n s Rd , Su i t e 2 4 0 ,
 2.3299 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , At l a s s i a n Co n f i g u r a t i o n Co n s u l t a n t . Si x
                                                                                                                                                                        Ho f f m a n Es t a t e s , I L 6 0 1 6 9
        nature of the debtor's interest                   w e e k e f f o r t t o c o n f i g u r e t h e At l a s s i a n Ap p l i c a t i o n Li f e c y c l e
                                                          Ma n a g e m e n t ( A L M) To o l Su i t e f o r Tr u e Va l u e . Su i t e i n c l u d e s
                                                          Ji r a , Co n f l u e n c e , Po r f o l i o , Ze p h y r , a n d Te m p o .

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Di x i e Al u m Tr u e Va l u e Hd w e , 8 8 5 0 9 Ov e r s e a s Hw y, Ta v e r n i e r ,
 2.3300 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 6 0 )
        nature of the debtor's interest                                                                                                              FL 33070-2048

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di x i e Di a m o n d Mf g , 5 2 4 2 Ro y a l Wo o d s Pa r k w a y Su i t e 1 0 0 ,
 2.3301 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Tu c k e r , G A 3 0 0 8 4

          State the term remaining                        11/20/2009

          List the contract number of any government
          contract
                                                                                                                                                     Di x o n Pa i n t Co , 3 1 3 We s t 1 s t St r e e t , Di x o n , I L 6 1 0 2 1 - 0 3 1 1
 2.3302 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di x o n Ti c o n d e r o g a Co m p a n y, 2 5 2 5 N Ca s a l o m a Dr , Ap p l e t o n ,
 2.3303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              WI 54913

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di x o n ' s Ha r d w a r e , Di x o n ` s Ha r d w a r e , 3 2 5 N Ma i n St ,
 2.3304 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 3 3 )
        nature of the debtor's interest                                                                                                              Ki n g m a n , K S 6 7 0 6 8 - 1 3 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di x o n d a l e Fa r m s L L C, Po Bo x 1 2 9 , 1 7 0 2 N 1 St , Ca r r i z o
 2.3305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sp r i n g s , T X 7 8 8 3 4
        nature of the debtor's interest
          State the term remaining                        04/04/2014

          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 1 , Di y Ho m e Ce n t e r 1 , 2 6 Ol d Ma m m o t h
 2.3306 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 0 9 )
                                                                                                                                                     Ro a d Su i t e s E An d F, Ma m m o t h La k e s , C A 9 3 5 4 6 - 2 0 5 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 1 1 , Di y Ho m e Ce n t e r 1 1 , 6 3 0 0 Fo o t h i l l
 2.3307 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 0 )
        nature of the debtor's interest                                                                                                              Bl v d . , Tu j u n g a , C A 9 1 0 4 2 - 2 7 0 1

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Di y Ho m e Ce n t e r # 1 3 , Di y Ho m e Ce n t e r 1 3 , 2 8 7 5 0 Ro a d s i d e
 2.3308 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 1 )
        nature of the debtor's interest                                                                                                              Dr i v e , Ag o u r a Hi l l s , C A 9 1 3 0 1 - 3 3 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 2 1 , Di y Ho m e Ce n t e r 2 1 , 1 8 7 5 La k e Ta h o e
 2.3309 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 6 )
                                                                                                                                                     Bl v d . , So u t h La k e Ta h o e , C A 9 6 1 5 0 - 6 3 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 2 2 , Di y Ho m e Ce n t e r 2 2 , 4 2 1 4 6 Bi g Be a r
 2.3310 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 3 )
                                                                                                                                                     Bl v d . , Bi g Be a r La k e , C A 9 2 3 1 5 - 6 9 6 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 2 3 , Di y Ho m e Ce n t e r 2 3 , 1 8 0 6 0 Ch a t s w o r t h
 2.3311 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 7 )
        nature of the debtor's interest                                                                                                              St r e e t , Gr a n a d a Hi l l s , C A 9 1 3 4 4 - 5 6 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 4 , Di y Ho m e Ce n t e r 4 , 3 7 7 5 Th o u s a n d Oa k s
 2.3312 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 2 )
                                                                                                                                                     Bl y d . , Th o u s a n d Oa k s , C A 9 1 3 6 2 - 3 6 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 6 , Di y Ho m e Ce n t e r 6 , 3 2 2 1 W. Ma g n o l i a
 2.3313 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 4 )
                                                                                                                                                     Bl v d . , Bu r b a n k , C A 9 1 5 0 5 - 2 9 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r # 7 , Di y Ho m e Ce n t e r 7 , 2 6 9 5 Co c h r a n St r e e t ,
 2.3314 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 5 )
        nature of the debtor's interest                                                                                                              Si m i Va l l e y, C A 9 3 0 6 5 - 2 6 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Di y Ho m e Ce n t e r Di s t r i b u t i o n Ce n t e r , Di y Ho m e Ce n t e r
 2.3315 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 3 9 )
                                                                                                                                                     Di s t r i b u t i o n C, 1 1 4 8 1 Ha r t St , No r t h Ho l l y w o o d , C A 9 1 6 0 5 -
        nature of the debtor's interest
                                                                                                                                                     6202
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dk Ha r d w a r e , 2 0 8 Nw 6 t h Av e , Ha l l a n d a l e Be a c h , F L 3 3 0 0 9
 2.3316 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dl f , 1 7 5 We s t H St , Ha l s e y, O R 9 7 3 4 8
 2.3317 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Dl f , 1 7 5 We s t H St , Ha l s e y, O R 9 7 3 4 8
 2.3318 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dl k Me d i c a l Te c h n o l o g i e s , In c . , 5 4 4 0 Re d Bi r d Ce n t e r Dr i v e ,
 2.3319 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Da l l a s , T X 7 5 2 3 7

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Dm c Pr o d u c t s In c , Po Bo x 2 4 8 , 4 3 0 Wa l n u t St , Co l u m b i a , PA
 2.3320 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 17512
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Dm d Pr o d u c t s L L C, 9 9 7 3 Fm 5 2 1 Rd , Ro s h a r o n , T X 7 7 5 8 3
 2.3321 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Do b i & As s o c i a t e s In c , 2 8 3 5 Ca m i n o De l Ri o So u t h , Su i t e 2 0 0 ,
 2.3322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sa n Di e g o , C A 9 2 1 0 8

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Do b s o n Tr u e Va l u e Hd w - 2 , 1 4 0 7 Wa d e Ha m p t o n Bl v d , Gr e e r ,
 2.3323 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 7 9 8 )
                                                                                                                                                                 SC 29650-1110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Do c u p r i n t Fo r m s & Si g n s In c , 6 3 Do u g l a s , El g i n , I L 6 0 1 2 0
 2.3324 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/16/2008

          List the contract number of any government
          contract
                                                                                                                                                              Do c u s i g n , 2 2 1 Ma i n St , St e 1 0 0 0 , Sa n Fr a n c i s c o , C A 9 4 1 0 5
 2.3325 State what the contract or lease is for and the   So f t w a r e , Do c u s i g n Ma s t e r Se r v i c e Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        10/31/2018

          List the contract number of any government
          contract
                                                                                                                                                              Do c u s i g n , 2 2 1 Ma i n St , St e 1 0 0 0 , Sa n Fr a n c i s c o , C A 9 4 1 0 5
 2.3326 State what the contract or lease is for and the
                                                          So f t w a r e , Do c u Si g n - El e c t r o n i c Si g n a t u r e s u b s c r i p t i o n
        nature of the debtor's interest                   Re n e w a l ( C R M, I T a n d Bu s a r e a s ) .

          State the term remaining                        10/31/2021 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                              Do c u s i g n , 2 2 1 Ma i n St , St e 1 0 0 0 , Sa n Fr a n c i s c o , C A 9 4 1 0 5
 2.3327 State what the contract or lease is for and the   So f t w a r e , Do c u Si g n - e Si g n Bu s i n e s s Pr o Ag r e e m e n t a n d Su p p o r t
        nature of the debtor's interest                   - Ad d e d 5

          State the term remaining                        04/28/2023 - 10/30/2024

          List the contract number of any government
          contract
                                                                                                                                                              Do c u Si g n , 2 2 1 Ma i n St , St e 1 0 0 0 , Sa n Fr a n c i s c o , C A 9 4 1 0 5
 2.3328 State what the contract or lease is for and the   So f t w a r e , Do c u Si g n - El e c t r o n i c Si g n a t u r e Su b s c r i p t i o n
        nature of the debtor's interest                   Re n e w a l 2 0 2 4

          State the term remaining                        10/31/2024 - 04/29/2025

          List the contract number of any government
          contract
                                                                                                                                                              Do d g e ' s Ag w a y, 1 1 6 La f a y e t t e Rd , Ha m p t o n Fa l l s , N H 0 3 8 4 4
 2.3329 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Do g Is Go o d , 1 0 5 3 1 Hu m b o l t St , Lo s Al a m i t o s , C A 9 0 7 2 0
 2.3330 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/31/2018

          List the contract number of any government
          contract
                                                                                                                                                              Do g Sp e a k , Po Bo x 1 5 3 1 0 , 6 0 0 Wi n d m i l l Wa y # 4 , Wi l m i n g t o n ,
 2.3331 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              NC 28408
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Do j i g g y, 9 4 5 0 Sw Ge m i n i Dr , Be a v e r t o n , O R 9 7 0 0 8 - 7 1 0 5
 2.3332 State what the contract or lease is for and the   So f t w a r e , D O J I G G Y Go l f Pr o So f t w a r e - Ev e n t s a n d Me e t i n g s
        nature of the debtor's interest
          State the term remaining                        03/22/2024 - 03/21/2025

          List the contract number of any government
          contract
                                                                                                                                                        Do l h o f Tr u e Va l u e , 4 0 5 7 Ce n t e r St , Ly o n s Fa l l s , N Y 1 3 3 6 8 -
 2.3333 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 8 1 )
                                                                                                                                                        9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Do l l e Sh e l v i n g L L C, 5 0 1 7 Bo o n e Av e N, Su i t e 2 0 0 ,
 2.3334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 Mi n n e a p o l i s , M N 5 5 4 2 8

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                        Do l l y Pa l & Co , 7 2 5 3 S Ch a s e Wa y, Li t t l e t o n , C O 8 0 1 2 8
 2.3335 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                        Do m e Co m p a n i e s , Th e , 1 0 Ne w En g l a n d Wa y, Wa r w i c k , R I
 2.3336 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        02886
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                        Do m i n a ' s Ag w a y, Do m i n a ` s Ag w a y, 1 3 4 8 E. Ma i n Ro a d ,
 2.3337 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 2 4 )
        nature of the debtor's interest                                                                                                                 Po r t s m o u t h , R I 0 2 8 7 1 - 2 3 0 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Do n ' s Lu m b e r & Tr u e Va l u e Ha r d w a r e , Do n ` s Lu m b e r & Tr u e
 2.3338 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 6 4 3 )
                                                                                                                                                        Va l u e Ha r d , 6 0 3 1 s t St , Ad r i a n , O R 9 7 9 0 1 - 5 0 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Do n a l d A. Wa l s h ( Go n d Tr a i n ) , 1 4 5 Te n n y s o n St , Po Bo x 1 9 5 ,
 2.3339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        Po t o s i , W I 5 3 8 2 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Do n a t o Tr u e Va l u e To o l s & Ha r d w a r e , Do n a t o Tr u e Va l u e To o l s
 2.3340 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 4 0 )
                                                                                                                                                                 & Ha r d , 4 1 Lo s An g e l e s St , Ne w t o n , M A 0 2 4 5 8 - 1 0 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do n n e l l y Ha r d w a r e , 1 6 5 N Ma i n St r e e t , Do n n e l l y, I D 8 3 6 1 5
 2.3341 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do n s Ph a r m a c y, 1 1 5 1 Wa t e r St , Po r t To w n s e n d , WA 9 8 3 6 8 -
 2.3342 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 5 5 )
                                                                                                                                                                 6707
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do o r Co u n t y Co o p - Al g o m a , 5 2 1 4 t h St r e e t , Al g o m a , W I
 2.3343 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 6 )
                                                                                                                                                                 54201-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do o r Co u n t y Co o p - Ri o Cr e e k , E4 3 5 1 Co u n t y Rd . K, Al g o m a ,
 2.3344 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 5 )
        nature of the debtor's interest                                                                                                                          WI 54201-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do o r Co u n t y Co o p e r a t i v e Tr u e Va l u e , 3 1 7 Gr e e n Ba y Rd ,
 2.3345 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 4 6 )
        nature of the debtor's interest                                                                                                                          St u r g e o n Ba y, W I 5 4 2 3 5 - 2 8 3 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do r c y In t ' l , Do r c y In t e r n a t i o n a l , 2 7 0 0 Po r t Ro a d , Co l u m b u s ,
 2.3346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 43217
        nature of the debtor's interest
          State the term remaining                        07/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Do r c y In t ' l , Do r c y In t e r n a t i o n a l , 2 7 0 0 Po r t Ro a d , Co l u m b u s ,
 2.3347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 OH 43217

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Do r c y In t ' l , Do r c y In t e r n a t i o n a l , 2 7 0 0 Po r t Ro a d , Co l u m b u s ,
 2.3348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OH 43217
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do r e l Ho m e Fu r n i s h i n g s , 2 5 2 5 St a t e St r e e t , Co l u m b u s , I N
 2.3349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          47201

          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Do r e l Ho m e Fu r n i s h i n g s , 2 5 2 5 St a t e St r e e t , Co l u m b u s , I N
 2.3350 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 47201
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Do r f m a n Pa c i f i c Co In c , 2 6 1 5 Bo e i n g Wa y, St o c k t o n , C A
 2.3351 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95206
        nature of the debtor's interest
          State the term remaining                        02/11/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Do r n Tr u e Va l u e , 1 1 9 W Ve r o n a Av e , Ve r o n a , W I 5 3 5 9 3
 2.3352 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do r n Tr u e Va l u e Ha r d w a r e , 1 3 1 W Ri c h a r d s Rd , Or e g o n , W I
 2.3353 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 9 )
                                                                                                                                                                 53575-1023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do r n Tr u e Va l u e Hd w, 9 2 6 Wi n d s o r St , Su n Pr a i r i e , W I 5 3 5 9 0 -
 2.3354 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 0 )
                                                                                                                                                                 2023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do s k o , 2 0 1 9 5 S Di a m o n d La k e Rd # 1 0 0 , Ro g e r s , M N 5 5 3 7 4
 2.3355 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Do t c h i L L C Db a Cr e s c e n t Ga r d e n , 6 8 0 7 Bi s c a y n e Bl v d , Mi a m i ,
 2.3356 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          FL 33138

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Do u b l e " w " Tr u e Va l u e Ha r d w a r e , Do u b l e W Tr u e Va l u e
 2.3357 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 8 7 )
                                                                                                                                                                 Ha r d w a r e , 1 0 8 Br u m l e y Ro a d , Du s o n , L A 7 0 5 2 9 - 4 0 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do u b l e Hh Mf g , Po Bo x 1 7 6 , 2 0 7 We s t v i e w Dr , Ro c k Va l l e y,
 2.3358 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IA 51247
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Do u b l e Hh Mf g , Po Bo x 1 7 6 , 2 0 7 We s t v i e w Dr , Ro c k Va l l e y,
 2.3359 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IA 51247

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do u b l e Hh Mf g , Po Bo x 1 7 6 , 2 0 7 We s t v i e w Dr , Ro c k Va l l e y,
 2.3360 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IA 51247

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do u b l e Hh Mf g , Po Bo x 1 7 6 , 2 0 7 We s t v i e w Dr , Ro c k Va l l e y,
 2.3361 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IA 51247
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Do u g s Tr u e Va l u e Hd w e , 9 0 1 Ma i n St , Th o m p s o n Fa l l s , M T
 2.3362 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 8 1 )
                                                                                                                                                                 59873
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Do v e r Tr u e Va l u e Ha r d w a r e , 6 9 Ea s t Ma i n St r e e t , Do v e r
 2.3363 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 5 9 )
        nature of the debtor's interest                                                                                                                          Fo x c r o f t , M E 0 4 4 2 6 - 1 3 2 4

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Do w Ch e m i c a l , 4 9 9 Pa r k Av e , Ne w Yo r k , N Y 1 0 0 6 5
 2.3364 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Do w n Ho m e Ha r d w a r e , 7 3 3 Bo w e n s Mi l l Rd . S. w. , Do u g l a s ,
 2.3365 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 1 )
                                                                                                                                                     GA 31533
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Do w n To Ea r t h Di s t r i b u t o r s In c , 3 0 3 0 Ju d k i n s Rd , Eu g e n e , O R
 2.3366 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     97403
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Do w n e r Tr u e Va l u e Ha r d w a r e , 2 6 2 9 N Do w n e r Av e , Mi l w a u k e e ,
 2.3367 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 6 5 )
        nature of the debtor's interest                                                                                                              WI 53211-4245

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Do w n r i v e r Re f r i g e r a t i o n Su p p l y, 3 8 1 7 0 Ex e c u t i v e Dr N,
 2.3368 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 3 6 )
                                                                                                                                                     We s t l a n d , M I 4 8 1 8 5 - 1 9 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Do w n t o w n Ha r d w a r e , 2 2 0 E Cl a i b o r n e St , Mo n r o e v i l l e , A L
 2.3369 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 9 9 )
                                                                                                                                                     36460-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Do y l e s t o w n Tr u e Va l u e ( # 1 9 7 ) , Do y l e s t o w n Tr u e Va l u e 1 9 7 ,
 2.3370 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 2 )
        nature of the debtor's interest                                                                                                              4 3 7 3 We s t Sw a m p Ro a d , Do y l e s t o w n , PA 1 8 9 0 2 - 1 0 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Dp Lu h r s Tr u e Va l u e Ha r d w a r e , 3 0 0 We s t Ha r f o r d St r e e t ,
 2.3371 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 9 )
                                                                                                                                                     Mi l f o r d , PA 1 8 3 3 7 - 1 1 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dp i In c , 9 0 0 N 2 3 Rd St r e e t , St Lo u i s , M O 6 3 1 0 6
 2.3372 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr Ea r t h In c , 6 3 8 9 By r n e s Rd , Va c a v i l l e , C A 9 5 6 8 7
 2.3373 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr Ea r t h In c , 6 3 8 9 By r n e s Rd , Va c a v i l l e , C A 9 5 6 8 7
 2.3374 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Dr Ea r t h In c , 6 3 8 9 By r n e s Rd , Va c a v i l l e , C A 9 5 6 8 7
 2.3375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr Ik e s Tr u e Va l u e Ho m e Ce n t e r , 4 3 0 Fm 4 9 6 E, Za p a t a , T X
 2.3376 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 8 2 )
                                                                                                                                                                 78076-3545
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr. Br o n n e r ' S, 1 3 3 5 Pa r k Ce n t e r Dr , Vi s t a , C A 9 2 0 8 1
 2.3377 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Dr. Br o n n e r ' S, 1 3 3 5 Pa r k Ce n t e r Dr , Vi s t a , C A 9 2 0 8 1
 2.3378 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Dr. Br o n n e r ' S, 1 3 3 5 Pa r k Ce n t e r Dr , Vi s t a , C A 9 2 0 8 1
 2.3379 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dr. i k e s Tr u e Va l u e Ho m e Ce n t e r , 3 7 1 0 Lo o p 2 0 Bl d g B,
 2.3380 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 5 7 )
                                                                                                                                                                 La r e d o , T X 7 8 0 4 3 - 4 7 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr. i k e s Tr u e Va l u e Ho m e Ce n t e r , 4 2 0 0 In t e r s t a t e Hw y 3 5
 2.3381 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 3 4 )
                                                                                                                                                                 No r t h , La r e d o , T X 7 8 0 4 1 - 4 5 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a c u t Tr u e Va l u e Ha r d w a r e , 1 9 8 2 La k e v i e w Av e , Dr a c u t , M A
 2.3382 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 2 7 )
        nature of the debtor's interest                                                                                                                          01826-3223

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a i n b o , 1 2 7 4 Du p o n t Ct , Ma n t e c a , C A 9 5 3 3 7
 2.3383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/02/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Dr a m m Co m p a n y, Po Bo x 1 9 6 0 , Ma n i t o w o c , W I 5 4 2 2 1
 2.3384 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a m m Co m p a n y, Po Bo x 1 9 6 0 , Ma n i t o w o c , W I 5 4 2 2 1
 2.3385 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a m m Co m p a n y, Po Bo x 1 9 6 0 , Ma n i t o w o c , W I 5 4 2 2 1
 2.3386 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Dr a m m Co m p a n y, Po Bo x 1 9 6 0 , Ma n i t o w o c , W I 5 4 2 2 1
 2.3387 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/25/2022 - 07/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dr a m m Co m p a n y, Po Bo x 1 9 6 0 , Ma n i t o w o c , W I 5 4 2 2 1
 2.3388 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Dr a m m Co r p o r a t i o n , Po Bo x 1 9 6 0 , 2 0 0 0 N 1 8 Th St ,
 2.3389 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma n i t o w o c , W I 5 4 2 2 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a p e r Tr u e Va l u e Hd w, 5 2 7 7 Ma i n St , Mi l l e r t o n , PA 1 6 9 3 6 -
 2.3390 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 4 7 )
        nature of the debtor's interest                                                                                                                          9611

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr a p e r y Ha r d w a r e L L C, 1 1 6 Ex m o r e Rd , Mo o r e s v i l l e , N C
 2.3391 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28117
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Dr e a m Wi t h Co l o r s In c , 3 6 3 5 E So u t h e r n Av e , Ph o e n i x , A Z
 2.3392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85066
        nature of the debtor's interest
          State the term remaining                        09/14/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3394 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3395 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3396 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3397 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr e m e l Mf g Co , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd ,
 2.3398 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Dr e w s Tr u e Va l u e Ha r d w a r e , 1 6 2 9 N Wi s c o n s i n St , Po r t
 2.3399 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 )
                                                                                                                                                                 Wa s h i n g t o n , W I 5 3 0 7 4 - 1 0 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr e y e r ' s Lu m b e r Tr u e Va l u e , 2 0 Wa t c h u n g Av e , Ch a t h a m , N J
 2.3400 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 3 4 )
        nature of the debtor's interest                                                                                                                          07928-2751

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr e y e r ' s Lu m b e r Tr u e Va l u e , Dr e y e r ' s Lu m b e r , 3 4 8 El b e r o n
 2.3401 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 5 )
                                                                                                                                                                 Bl v d , Oa k h u r s t , N J 0 7 7 5 5 - 1 5 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr i f t He r o L L C, 1 6 4 E Ce n t e r St r e e t , No r t h Sa l t La k e , U T
 2.3402 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 84054
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Dr i f t w o o d Gd n Ct r Of Ft My e r s , 2 0 0 7 1 S Ta m i a m i Tr a i l ,
 2.3403 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 9 7 )
        nature of the debtor's interest                                                                                                                          Es t e r o , F L 3 3 9 2 8 - 2 1 1 5

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dr i f t w o o d Nu r s & Ln d s c a p e H& g s , 5 0 5 1 Ta m i a m i Tr a i l N,
 2.3404 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 5 5 )
                                                                                                                                                                 Na p l e s , F L 3 4 1 0 3 - 2 8 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr i l l f o r c e Qi a n j u n Us a L L C, 7 1 7 Br e a Ca n y o n Rd , Su i t e 4 ,
 2.3405 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wa l n u t , C A 9 1 7 8 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr o l l Ya n k e e s In c , 5 5 La t h r o p Rd Ex t , Pl a i n f i e l d , C T 0 6 3 7 4
 2.3406 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr o l l Ya n k e e s In c , 5 5 La t h r o p Rd Ex t , Pl a i n f i e l d , C T 0 6 3 7 4
 2.3407 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr o l l Ya n k e e s In c , 5 5 La t h r o p Rd Ex t , Pl a i n f i e l d , C T 0 6 3 7 4
 2.3408 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Dr o l l Ya n k e e s In c , 5 5 La t h r o p Rd Ex t , Pl a i n f i e l d , C T 0 6 3 7 4
 2.3409 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dr o l l Ya n k e e s In c , 5 5 La t h r o p Rd Ex t , Pl a i n f i e l d , C T 0 6 3 7 4
 2.3410 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/20/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Dr o n c o Am e r i c a , 1 9 9 0 0 Ve r m o n t Av e A, To r r a n c e , C A 9 0 5 0 2
 2.3411 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Dr o p In Th e Bu c k e t In c , 8 4 0 Pa r k v i e w St r e e t , Jo n e s b o r o , A R
 2.3412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                     72401

          State the term remaining                        09/11/2023 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                            Dr o p b o x , In c . , 1 8 0 0 Ow e n s St r e e t , Sa n Fr a n c i s c o , C A 9 4 1 5 8
 2.3413 State what the contract or lease is for and the   So f t w a r e , Dr o p b o x Ad v a n c e d Us e r Li c e n s e Re n e w a l 2 0 2 3
        nature of the debtor's interest
          State the term remaining                        12/20/2023 - 12/20/2024

          List the contract number of any government
          contract
                                                                                                                                                            Dr o u i n Di s t r i b u t i o n Lt d , 2 2 4 1 9 Fi s h e r Rd , Wa t e r t o w n , N Y
 2.3414 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            13601
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                            Dr u e k ' s Tr u e Va l u e , Dr u e k ` s Tr u e Va l u e , 5 1 4 Mo n t a u k Hw y,
 2.3415 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 5 2 )
        nature of the debtor's interest                                                                                                                     Ce n t e r Mo r i c h e s , N Y 1 1 9 3 4 - 2 2 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Ds i Se c u r i t y Se r v i c e s , 3 1 0 0 Lo r n a Ro a d , Su i t e 2 0 0 ,
 2.3416 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , D S I Se c u r i t y Se r v i c e s AT L
        nature of the debtor's interest                   RDC 2024                                                                                          Bi r m i n g h a m , A L 3 5 2 1 6

          State the term remaining                        05/22/2024 - 05/21/2025

          List the contract number of any government
          contract
                                                                                                                                                            Du b l i n Ag w a y, 1 0 W Rt 3 1 3 , P. o . Bo x 5 2 0 , Du b l i n , PA 1 8 9 1 7
 2.3417 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Du g a n ' s Pa i n t & Fl o o r i n g Ce n t e r , 3 1 0 3 Er i k a Av e , Se d a l i a , M O
 2.3418 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 1 )
        nature of the debtor's interest                                                                                                                     65301

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                            Du k e Ca n n o n Su p p l y Co m p a n y, 1 2 3 N 3 Rd St r e e t , Su i t e 1 0 4 ,
 2.3419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                     Mi n n e a p o l i s , M N 5 5 4 0 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Du k e Ca n n o n Su p p l y Co m p a n y, 1 2 3 N 3 Rd St r e e t , Su i t e 1 0 4 ,
 2.3420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mi n n e a p o l i s , M N 5 5 4 0 1

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Du k e Co m p a n y, Po Bo x 5 5 5 , 8 1 4 E Br a m e Av e , We s t Po i n t , M S
 2.3421 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 39773
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Du m b o Tr u e Va l u e , 1 1 5 Fr o n t St , Br o o k l y n , N Y 1 1 2 0 1 - 1 0 0 7
 2.3422 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 2 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du m o n d Ch e m i c a l s , 2 5 3 S Ba i l e y Rd , Do w n i n g t o w n , PA 1 9 3 3 5
 2.3423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du n c a n En t e r p r i s e s , 5 6 7 3 E Sh i e l d s , Fr e s n o , C A 9 3 7 2 7
 2.3424 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Du n c a n Ha r d w a r e , 7 7 6 We s t Si d e Av e , Je r s e y Ci t y, N J 0 7 3 0 6
 2.3425 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du n c a n Lu m b e r In c . , 4 0 9 Fi r s t Av e , Ta z e w e l l , T N 3 7 8 2 5
 2.3426 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du n e c r a f t , Po Bo x 8 0 8 , Ch a g r i n Fa l l s , O H 4 4 0 2 2
 2.3427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Du n n s Tr u e Va l u e , 8 0 4 Hw y 2 3 1 S, Tr o y, A L 3 6 0 8 1 - 3 1 2 1
 2.3428 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du n s m u i r Tr u e Va l u e Ha r d w a r e , 5 8 3 6 Du n s m u i r Av e ,
 2.3429 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 8 )
                                                                                                                                                                 Du n s m u i r , C A 9 6 0 2 5 - 2 3 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du p o n t Gr a n d Re n t a l St a In c , 5 0 5 Pi t t s t o n Av e , Du p o n t , PA
 2.3430 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 7 8 )
        nature of the debtor's interest                                                                                                                          18641-1450

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a b l e Of f i c e Pr o d u c t s , 2 4 7 5 S Wo l f Rd , De s Pl a i n e s , I L
 2.3431 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60018

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3432 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3433 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3435 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3436 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3437 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3438 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3439 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3440 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3442 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3443 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3444 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Du r a c e l l Di s t r i b u t i n g Nc , 1 4 Re s e a r c h Dr , Be t h e l , C T 0 6 8 0 1
 2.3445 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Du r a f l a m e Co w b o y In c , 2 8 9 4 Mo n t e Di a b l o Av e , St o c k t o n , C A
 2.3446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               95203

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Du r a f l a m e Co w b o y In c , 2 8 9 4 Mo n t e Di a b l o Av e , St o c k t o n , C A
 2.3447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      95203
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                      Du r a n t Tr u e Va l u e Lu m b e r , 1 1 5 S 3 r d Av e , Du r a n t , O K 7 4 7 0 1 -
 2.3448 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 6 3 3 )
                                                                                                                                                      5010
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Du r a v e n t , 9 0 2 Al d r i d g e Rd , Va c a v i l l e , C A 9 5 6 8 8
 2.3449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Du r f e e Tr u e Va l u e Ha r d w a r e , 6 5 Ro l f e Sq , Cr a n s t o n , R I 0 2 9 1 0 -
 2.3450 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 7 8 )
                                                                                                                                                      3410
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Du r h a m Do n a l d Co , 2 7 2 8 6 Th Av e , De s Mo i n e s , I A 5 0 3 1 3
 2.3451 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Du r h a m Mf g Co , 2 0 1 Ma i n St , P. O. Bo x 2 3 0 , Du r h a m , C T
 2.3452 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     06422
        nature of the debtor's interest
          State the term remaining                        09/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Du r k i n Co m p a n y, 4 To w e r Fa r m Rd . , Bi l l e r i c a , M A 0 1 8 2 1
 2.3453 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Du r r i e Sa l e s , 1 0 5 1 2 Un i t e d Pk w y, Sc h i l l e r Pa r k , I L 6 0 1 7 6
 2.3454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Du s h o r e Ag w a y, 1 1 2 He a d l e y Av e , Du s h o r e , PA 1 8 6 1 4
 2.3455 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Du t c h Bo y / Pr a t t & La m b e r t , Du t c h Bo y, 1 0 1 W Pr o s p e c t Av e ,
 2.3456 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Cl e v e l a n d , O H 4 4 1 1 5

          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Du t c h m a n Tr e e Fa r m , 9 6 8 9 W Wa l k e r Rd , Ma n t o n , M I 4 9 6 6 3
 2.3457 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/30/2007

          List the contract number of any government
          contract
                                                                                                                                                     Du t r o Co m p a n y, 6 7 5 N 6 0 0 W, Su i t e 2 , Lo g a n , U T 8 4 3 2 1
 2.3458 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Du t t o n - La i n s o n Co , 4 5 1 W 2 Nd St , Ha s t i n g s , N E 6 8 9 0 1
 2.3459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Du t t o n - La i n s o n Co , 4 5 1 W 2 Nd St , Ha s t i n g s , N E 6 8 9 0 1
 2.3460 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Du t t o n - La i n s o n Co , 4 5 1 W 2 Nd St , Ha s t i n g s , N E 6 8 9 0 1
 2.3461 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du v a l L L C, 1 5 9 - 2 9 Ja m a i c a Av e , Ja m a i c a , N Y 1 1 4 3 2
 2.3462 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/10/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Du v a l Pa i n t & De c o r a t i n g , 1 0 2 1 0 Sa n Jo s e Bl v d St e 3 ,
 2.3463 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 9 )
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 5 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du v a l Pa i n t & De c o r a t i n g , 2 8 5 5 Sa i n t Jo h n s Bl u f f Rd S,
 2.3464 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 8 )
        nature of the debtor's interest                                                                                                                          Ja c k s o n v i l l e , F L 3 2 2 4 6 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du v a l Pa i n t & De c o r a t i n g , 9 2 6 3 r d St r e e t S, Ja c k s o n v i l l e
 2.3465 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 7 )
                                                                                                                                                                 Be a c h , F L 3 2 2 5 0 - 6 5 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Du v a l l Ha r d w a r e , Du v a l l Tr u e Va l u e Ha r d w a r e , 1 5 3 2 0 Br o w n
 2.3466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 4 )
                                                                                                                                                                 Av e , Du v a l l , WA 9 8 0 1 9 - 8 4 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy m o Co r p o r a t i o n , 4 4 Co m m e r c e Rd , St a m f o r d , C T 0 6 9 0 2
 2.3467 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/13/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dy n a m i c So l u t i o n s Wo r l d w i d e , 1 2 2 4 7 W Fa i r v i e w Av e ,
 2.3468 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mi l w a u k e e , W I 5 3 2 2 6

          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Dy n a m i c So l u t i o n s Wo r l d w i d e , 1 2 2 4 7 W Fa i r v i e w Av e ,
 2.3469 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 2 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n a m i c So l u t i o n s Wo r l d w i d e , 1 2 2 4 7 W Fa i r v i e w Av e ,
 2.3470 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Dy n a p a c No r t h Am e r i c a L L C, 3 4 2 Pa t r i c i a La n e , Su i t e 1 0 4 ,
 2.3471 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Fo r t Mi l l , S C 2 9 7 0 8

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3472 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3473 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3474 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a c h , F L 3 3 0 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3475 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a c h , F L 3 3 0 6 4

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a c h , F L 3 3 0 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3477 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3478 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a c h , F L 3 3 0 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3480 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3481 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , F L 3 3 0 6 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o Se a s o n a l So l u t i o n s , 1 5 7 1 We s t Co p a n s Rd , Po m p a n o
 2.3482 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a c h , F L 3 3 0 6 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Dy n o m i g h t y De s i g n , 1 8 Br i d g e St , Un i t 4 G, Br o o k l y n , N Y
 2.3483 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11201
        nature of the debtor's interest
          State the term remaining                        05/30/2013

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Dy s o n Co r p o r a t i o n , 6 0 0 W Ch i c a g o Av e , Su i t e 2 7 5 , Ch i c a g o ,
 2.3484 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60654
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E Fi l l i a t e , 1 1 3 2 1 Wh i t e Ro c k Rd , Ra n c h o Co r d o v a , C A 9 5 7 4 2
 2.3485 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E Fi l l i a t e , 1 1 3 2 1 Wh i t e Ro c k Rd , Ra n c h o Co r d o v a , C A 9 5 7 4 2
 2.3486 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 E H Ch a r l e s & Co Lt d , Go o d w i l l Ro a d , Ro s e a u , St Ge o r g e ,
 2.3487 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 8 3 )
                                                                                                                                                                 Do m i n i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E P Mi n e r a l s L L C, 9 7 8 5 Ga t e w a y Dr i v e , Su i t e 1 0 0 0 , Re n o , N V
 2.3488 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 89510
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 E P Mi n e r a l s L L C, 9 7 8 5 Ga t e w a y Dr i v e , Su i t e 1 0 0 0 , Re n o , N V
 2.3489 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          89510

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 E Z Tr u e Va l u e , 1 8 W Ma i n St , We s t Br o o k f i e l d , M A 0 1 5 8 5 -
 2.3490 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 2 0 )
        nature of the debtor's interest                                                                                                                          2817

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E- Cl o t h In c . , E- Cl o t h In c , P. O. Bo x 8 1 2 , Gr e e n l a n d , N H 0 3 8 4 0
 2.3491 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/21/2020

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 E- Cl o t h In c . , E- Cl o t h In c , P. O. Bo x 8 1 2 , Gr e e n l a n d , N H 0 3 8 4 0
 2.3492 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E- Cl o t h In c . , E- Cl o t h In c , P. O. Bo x 8 1 2 , Gr e e n l a n d , N H 0 3 8 4 0
 2.3493 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 E- Cl o t h / Ta d g r e e n In c , Po Bo x 8 1 2 , Gr e e n l a n d , N H 0 3 8 4 0
 2.3494 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E- Z Go Te x t r o n , 1 4 5 1 Ma r v i n Gr i f f i n Rd , Au g u s t a , G A 3 0 9 0 6
 2.3495 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 E- Z Tr e n c h Mf g . Co . In c . , 2 3 1 5 Hi g h w a y 7 0 1 So u t h , Lo r i s , S C
 2.3496 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 29569
        nature of the debtor's interest
          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 E. c . g . c . Di s t r i b u t o r s , Lt d . , E. c . g . c . Di s t r i b u t o r s Lt d . , 3 3 9 Ka r l a
 2.3497 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 7 7 )
        nature of the debtor's interest                                                                                                                          Ci r c l e , Ru s s e l l v i l l e , K Y 4 2 2 7 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E. k . Wo o d Lu m b e r Co m p a n y, 5 6 0 7 5 U. s . Hi g h w a y 1 1 1 ,
 2.3498 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 8 6 )
                                                                                                                                                                 Th e r m a l , C A 9 2 2 7 4 - 9 6 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 E. L. Mu s t e e , 5 4 3 1 W 1 6 4 Th St r e e t , Cl e v e l a n d , O H 4 4 1 4 3
 2.3499 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 E. L. Mu s t e e , 5 4 3 1 W 1 6 4 Th St r e e t , Cl e v e l a n d , O H 4 4 1 4 3
 2.3500 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 E. L. Mu s t e e , 5 4 3 1 W 1 6 4 Th St r e e t , Cl e v e l a n d , O H 4 4 1 4 3
 2.3501 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 E& a Au t o , 2 0 7 E. Ma i n St r e e t , Da v i s , O K 7 3 0 3 0 - 1 9 0 3
 2.3502 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea b To o l Co Us a In c , 5 8 4 Eb u r y Pl a c e , De l t a , B C V3 M 6 M8 ,
 2.3503 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        09/03/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ea b To o l Co Us a In c , 5 8 4 Eb u r y Pl a c e , De l t a , B C V3 M 6 M8 ,
 2.3504 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea b To o l Co Us a In c , 5 8 4 Eb u r y Pl a c e , De l t a , B C V3 M 6 M8 ,
 2.3505 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        09/01/2019 - 09/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ea d s Ha r d w a r e , 2 0 3 Co m m e r c e Dr. , Pa r i s , K Y 4 0 3 6 1 - 0 0 0 1
 2.3506 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea g l e Ey e Ma r k e t i n g Gr o u p In c , 1 1 9 - 6 6 0 Eg l i n t o n Av e E, Su i t e
 2.3507 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 4 1 2 , To r o n t o , O N M4 G 2 K2 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea g l e Mf g Co , 2 4 0 0 Ch a r l e s St , We l l s b u r g , W V 2 6 0 7 0
 2.3508 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ea g l e Mf g Co , 2 4 0 0 Ch a r l e s St , We l l s b u r g , W V 2 6 0 7 0
 2.3509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea g l e Mf g Co , 2 4 0 0 Ch a r l e s St , We l l s b u r g , W V 2 6 0 7 0
 2.3510 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ea g l e Tr u e Va l u e Ha r d w a r e , Ea g l e Ha r d w a r e In c , 1 0 4 Po t t s t o w n
 2.3511 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 9 1 )
                                                                                                                                                                 Pi k e , Uw c h l a n d , PA 1 9 4 8 0 - 0 1 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea g l e Va l l e y Su p p l y, 2 5 7 0 Ea g l e Va l l e y Rd , Yo n c a l l a , O R
 2.3512 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 8 )
        nature of the debtor's interest                                                                                                                          97499-9721

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea r l s Tr u e Va l u e Ha r d w a r e , 3 0 0 Ch a t h a m He i g h t s Rd 1 0 1 ,
 2.3513 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 4 3 )
                                                                                                                                                                 Fr e d e r i c k s b u r g , VA 2 2 4 0 5 - 2 5 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h Fr i e n d l y Pr o d u c t s , 1 1 1 S Ro h l w i n g Rd , Ad d i s o n , I L
 2.3514 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60101
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h Fr i e n d l y Pr o d u c t s , 1 1 1 S Ro h l w i n g Rd , Ad d i s o n , I L
 2.3515 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60101

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea r t h Ki n d In c , 2 9 1 0 Ea s t Br o a d w a y, Wa r e h o u s e # 1 9 ,
 2.3516 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bi s m a r c k , N D 5 8 5 0 1

          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h Ki n d In c , 2 9 1 0 Ea s t Br o a d w a y, Wa r e h o u s e # 1 9 ,
 2.3517 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bi s m a r c k , N D 5 8 5 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h Ki n d In c , 2 9 1 0 Ea s t Br o a d w a y, Wa r e h o u s e # 1 9 ,
 2.3518 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bi s m a r c k , N D 5 8 5 0 1
        nature of the debtor's interest
          State the term remaining                        05/19/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h b o x In c , C/ O No v e l t y Mf g , 1 3 3 0 Lo o p Rd , La n c a s t e r , PA
 2.3519 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 17601
        nature of the debtor's interest
          State the term remaining                        03/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h b o x In c , C/ O No v e l t y Mf g , 1 3 3 0 Lo o p Rd , La n c a s t e r , PA
 2.3520 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 17601

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h l y Wa y In c , Th e , 3 6 8 0 Sw 7 4 Th Av e , Oc a l a , F L 3 3 4 7 4
 2.3521 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/11/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h s t o n e In t ' l , Ea r t h s t o n e In t e r n a t i o n a l , 1 1 9 7 Pa r k w a y Dr i v e ,
 2.3522 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sa n t a Fe , N M 8 7 5 0 7
        nature of the debtor's interest
          State the term remaining                        09/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h t r o n i c s In c , 8 0 0 E El l i s Rd , No r t o n Sh o r e s , M I 4 9 4 4 1
 2.3523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2009

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea r t h w a y Pr o d u c t s In c , Po Bo x 5 4 7 , 1 0 0 9 Ma p l e St , Br i s t o l , I N
 2.3524 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          46507

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h w a y Pr o d u c t s In c , Po Bo x 5 4 7 , 1 0 0 9 Ma p l e St , Br i s t o l , I N
 2.3525 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46507
        nature of the debtor's interest
          State the term remaining                        03/20/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h w a y Pr o d u c t s In c , Po Bo x 5 4 7 , 1 0 0 9 Ma p l e St , Br i s t o l , I N
 2.3526 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 46507
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea r t h w o r m So i l Fa c t o r y, 2 5 5 2 Cl a r k Rd , Bu t t e Va l l e y, C A
 2.3527 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          95965

          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t Ba y Tr u e Va l u e Ha r d w a r e , 1 4 0 9 a Ki n g St r e e t , Ch a r l e s t o n ,
 2.3528 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 1 2 )
                                                                                                                                                                 SC 29403-3008
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t Hi g g i n s La k e Tr u e Va l u e Ha r d w a r e , 9 0 2 5 N Cu t Rd ,
 2.3529 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 0 4 )
                                                                                                                                                                 Ro s c o m m o n , M I 4 8 6 5 3 - 9 3 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t Pe n n Mf g , 8 0 0 - 8 3 4 W Je f f e r s o n St . , Co r y d o n , I A 5 0 0 6 0
 2.3530 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t Ri v e r Nu r s e r y, 5 6 5 9 Da k o t a Av e S, Hu r o n , S D 5 7 3 5 0 - 3 4 5 0
 2.3531 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea s t e r Un l i m i t e d , 8 0 Vo i c e Ro a d , Ca r l e Pl a c e , N Y 1 1 5 1 4
 2.3532 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t e r Un l i m i t e d , 8 0 Vo i c e Ro a d , Ca r l e Pl a c e , N Y 1 1 5 1 4
 2.3533 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t e r Un l i m i t e d , 8 0 Vo i c e Ro a d , Ca r l e Pl a c e , N Y 1 1 5 1 4
 2.3534 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/21/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t e r n Ba g , 2 0 0 Re s e a r c h Dr i v e , Mi l f o r d , C T 0 6 4 6 0
 2.3535 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t e r n Sh o r e Nu r s e r y o f Va . , Po Bo x 4 0 0 , Me l f a , VA 2 3 4 1 0
 2.3536 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t e r s Tr u e Va l u e , 2 0 9 E Ma i n St r e e t , Cl a r i n d a , I A 5 1 6 3 2 -
 2.3537 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 8 1 )
                                                                                                                                                                 2257
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t f o r d Bu i l d i n g Su p p l y Tr u e Va l u e , Ea s t f o r d Bu i l d i n g Su p p l y
 2.3538 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 3 9 )
        nature of the debtor's interest                                                                                                                          Tr u e , 1 8 9 Ea s t f o r d Rd - Rt 1 9 8 , Ea s t f o r d , C T 0 6 2 4 2 - 9 7 5 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s t m a n In d u s t r i e s , 7 0 In g e r s o l l Dr i v e , Po r t l a n d , M E 0 4 1 0 3
 2.3539 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea s t o n Ba s e b a l l / So f t b a l l , 7 8 5 5 Ha s k e l l Av e # 2 0 0 , Va n Nu y s ,
 2.3540 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 91406
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3541 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3542 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3543 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3544 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3545 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3546 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3547 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3548 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3549 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3550 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3551 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3552 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3553 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y Ga r d e n e r In c , 3 3 0 2 Fr a n k i n Av e , Wa c o , T X 7 6 7 1 0
 2.3554 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ea s y He a t In c , 2 Co n n e c t i c u s t So u t h Dr , Ea s t Gr a n b y, C T
 2.3555 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 06026
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Ea s y He a t In c , 2 Co n n e c t i c u s t So u t h Dr , Ea s t Gr a n b y, C T
 2.3556 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                             06026
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                             Ea s y He a t In c , 2 Co n n e c t i c u s t So u t h Dr , Ea s t Gr a n b y, C T
 2.3557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      06026

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                             Ea s y He a t In c , 2 Co n n e c t i c u s t So u t h Dr , Ea s t Gr a n b y, C T
 2.3558 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 8 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                             06026
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                             Ea s y He a t Wo o d Pe l l e t s In c , 1 5 Sp r a g u e Rd , So u t h Ch a r l e s t o n ,
 2.3559 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             OH 45368
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                             Ea s y Tr e e z y L L C, 1 1 6 7 A Nw 1 5 9 Th Dr , Mi a m i Ga r d e n s , F L
 2.3560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      33169

          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                             Ea s y a s k , 1 9 Cr o s b y Dr. , Su i t e 3 1 0 , Be d f o r d , M A 0 1 7 3 0
 2.3561 State what the contract or lease is for and the
                                                          So f t w a r e , Ea s y As k Te c h n o l o g i e s In c . – So f t w a r e Ma i n t e n a n c e
        nature of the debtor's interest                   Re n e w a l 2 0 2 4

          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                             Ea t o n Br o t h e r s Co r p , 3 5 3 0 La k e v i e w Rd , Ha m b u r g , N Y 1 4 0 7 5
 2.3562 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                             Ea t o n Co r p o r a t i o n , 2 1 0 Wi n d y Po i n t Dr i v e , Gl e n d a l e Hg h t s , I L
 2.3563 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             60135
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea t o n Co r p o r a t i o n , 2 1 0 Wi n d y Po i n t Dr i v e , Gl e n d a l e Hg h t s , I L
 2.3564 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60135
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3565 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3566 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3567 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3569 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3570 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea t o n J T, 1 6 5 Ha n s e n Ct - St e 1 0 , Wo o d Da l e , I L 6 0 1 9 1
 2.3573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r , 4 0 0 6 W Be l d e n Av e n u e , Ch i c a g o , I L 6 0 6 3 9
 2.3574 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r Co r p , 4 0 0 6 W Be l d e n Av e , Ch i c a g o , I L 6 0 6 3 9
 2.3575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r Co r p , 4 0 0 6 W Be l d e n Av e , Ch i c a g o , I L 6 0 6 3 9
 2.3576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/13/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r Co r p , 4 0 0 6 W Be l d e n Av e , Ch i c a g o , I L 6 0 6 3 9
 2.3577 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r Co r p , 4 0 0 6 W Be l d e n Av e , Ch i c a g o , I L 6 0 6 3 9
 2.3578 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/29/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ea z y p o w e r Co r p , 4 0 0 6 W Be l d e n Av e , Ch i c a g o , I L 6 0 6 3 9
 2.3579 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Eb e r h a r d Kl e m e n s , 1 0 4 0 0 W. Hi g g i n s Rd , Ro s e m o n t , I L 6 0 0 1 8
 2.3580 State what the contract or lease is for and the
                                                          So f t w a r e , Eb e r h a r d Kl e m e n s Pe r p e t u a l So f t w a r e Li c e n s e
        nature of the debtor's interest                   Ag r e e m e n t & Pr i c i n g Li s t

          State the term remaining                        10/08/2004

          List the contract number of any government
          contract
                                                                                                                                                      Eb s c o Si g n s & De s i g n s , 1 0 Es t e s St r e e t , Ip s w i c h , M A 0 1 9 3 8
 2.3581 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2013

          List the contract number of any government
          contract
                                                                                                                                                      Ec Gr o w In c , 4 9 7 0 Ka n e Ro a d , Ea u Cl a i r e , W I 5 4 7 0 3
 2.3582 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Ec g c - En g l i s h Ga r d e n s # 1 , Ec g c - En g l i s h Ga r d e n s 1 , 2 2 6 5 0
 2.3583 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 7 )
        nature of the debtor's interest                                                                                                               Fo r d Ro a d , De a r b o r n He i g h t s , M I 4 8 1 2 7 - 2 4 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ec g c - En g l i s h Ga r d e n s # 2 , Ec g c - En g l i s h Ga r d e n s 2 , 6 3 7 0
 2.3584 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 8 )
                                                                                                                                                      Or c h a r d La k e Ro a d , We s t Bl o o m f i e l d , M I 4 8 3 2 2 - 2 3 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ec g c - En g l i s h Ga r d e n s # 2 0 , Ec g c - e g En g l i s h Ga r d e n s 2 0 , 2 0
 2.3585 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 0 )
                                                                                                                                                      Co n g r e s s St r e e t , Po n t i a c , M I 4 8 3 4 1 - 2 2 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ec g c - En g l i s h Ga r d e n s # 3 , Ec g c - e n g l i s h Ga r d e n s 3 , 4 4 8 5 0
 2.3586 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 9 )
        nature of the debtor's interest                                                                                                               Ga r f i e l d Ro a d , Cl i n t o n To w n s h i p , M I 4 8 0 3 8 - 1 1 3 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ec g c - En g l i s h Ga r d e n s # 4 , Ec g c - En g l i s h Ga r d e n s 4 , 2 2 5 0 1
 2.3587 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 0 )
                                                                                                                                                      Ke l l y Ro a d , Ea s t p o i n t e , M I 4 8 0 2 1 - 2 4 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ec g c - En g l i s h Ga r d e n s # 5 , Ec g c - En g l i s h Ga r d e n s 5 , 4 9 0 1
 2.3588 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 2 )
        nature of the debtor's interest                                                                                                              Co o l i d g e Hi g h w a y, Ro y a l Oa k , M I 4 8 0 7 3 - 1 0 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c - En g l i s h Ga r d e n s # 7 , Ec g c - En g l i s h Ga r d e n s 7 , 9 9 0 0
 2.3589 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 1 )
                                                                                                                                                     An n Ar b o r Rd W, Pl y m o u t h , M I 4 8 1 7 0 - 5 1 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ag c - Al ' s Ga r d e n Ce n t e r , Ec g c Ag c - Al ` s Ga r d e n Ce n t e r ,
 2.3590 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 8 3 )
                                                                                                                                                     7 5 0 5 Se Ho g a n Ro a d , Gr e s h a m , O R 9 7 0 8 0 - 5 3 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ag c - Al ' s Ga r d e n Ce n t e r , Ec g c Ag c - Al ` s Ga r d e n Ce n t e r ,
 2.3591 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 6 )
        nature of the debtor's interest                                                                                                              3 0 8 5 1 S De e Ja y Wa y, Hu b b a r d , O R 9 7 0 3 2 - 9 7 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ag c - Al ' s Ga r d e n Ce n t e r , Ec g c Ag c - Al ` s Ga r d e n Ce n t e r ,
 2.3592 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 8 4 )
                                                                                                                                                     1 6 9 2 0 Sw Ro y Ro g e r s Ro a d , Sh e r w o o d , O R 9 7 1 4 0 - 9 2 9 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ag c - Al ' s Ga r d e n Ce n t e r , Ec g c Ag c - Al ` s Ga r d e n Ce n t e r ,
 2.3593 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 8 2 )
                                                                                                                                                     1 2 2 0 N Pa c i f i c Hw y, Wo o d b u r n , O R 9 7 0 7 1 - 3 6 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ag c Al ' s Ga r d e n Ce n t e r , Ec g c Ag c Al ` s Ga r d e n Ce n t e r ,
 2.3594 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 3 8 )
        nature of the debtor's interest                                                                                                              2 7 7 5 5 Sw Pa r k w a y Av e , Wi l s o n v i l l e , O R 9 7 0 7 0 - 8 2 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ho m e s t e a d Ga r d e n s , 1 2 3 8 Go v e r n o r s Br i d g e Ro a d ,
 2.3595 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 9 2 )
                                                                                                                                                     Da v i d s o n v i l l e , M D 2 1 0 3 5 - 1 9 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ec g c Ho m e s t e a d Ga r d e n s , 5 2 2 Ri t c h i e Hi g h w a y, Se v e r n a Pa r k ,
 2.3596 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 9 3 )
                                                                                                                                                     MD 21146-2925
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ho m e s t e a d Ga r d e n s , 5 5 8 0 Du p o n t Pk w y, Sm y r n a , D E
 2.3597 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 8 6 )
                                                                                                                                                     19977-9206
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Ho m e s t e a d Ga r d e n s , 7 4 3 W. Ce n t r a l Av e . , Da v i d s o n v i l l e ,
 2.3598 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 9 1 )
        nature of the debtor's interest                                                                                                              MD 21035-1935

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Mc d o n a l d Ga r d e n Ce n t e r , 1 1 3 9 W. Pe m b r o k e Av e . ,
 2.3599 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 8 )
                                                                                                                                                     Ha m p t o n , VA 2 3 6 6 1 - 1 1 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Mc d o n a l d Ga r d e n Ce n t e r , 1 1 4 4 In d e p e n d e n c e Bl v d . ,
 2.3600 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 9 )
                                                                                                                                                     Vi r g i n i a Be a c h , VA 2 3 4 5 5 - 5 5 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec g c Mc d o n a l d Ga r d e n Ce n t e r , 1 2 7 6 No r t h Gr e a t Ne c k Ro a d ,
 2.3601 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 0 )
        nature of the debtor's interest                                                                                                              Vi r g i n i a Be a c h , VA 2 3 4 5 4 - 2 1 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ec h o Gl o b a l Lo g i s t i c s In c . , 6 0 0 We s t Ch i c a g o Av e n u e , Su i t e
 2.3602 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ec h o Gl o b a l Lo g i s t i c s Ca r r i e r
                                                                                                                                                     7 2 5 , Ch i c a g o , I L 6 0 6 5 4
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        02/05/2018 - 02/04/2079

          List the contract number of any government
          contract
                                                                                                                                                     Ec h o Va l l e y, Po Bo x 2 7 4 1 , An n Ar b o r , M I 4 8 1 0 6
 2.3603 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ec h t e r s Gr e e n h o u s e s In c H& g s , 5 1 5 0 Ga r r i s o n St r e e t , Ar v a d a ,
 2.3604 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 0 9 )
                                                                                                                                                                 CO 80002-4246
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec i So f t w a r e So l u t i o n s , In c . , 4 4 0 0 Al l i a n c e Ga t e w a y Fr e e w a y,
 2.3605 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ma r k e t i n g Ag r e e m e n t
                                                                                                                                                                 Su i t e 1 5 4 , Fo r t Wo r t h , T X 7 6 1 7 7
        nature of the debtor's interest
          State the term remaining                        01/01/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ec i So f t w a r e So l u t i o n s , In c . , 4 4 0 0 Al l i a n c e Ga t e w a y Fr e e w a y,
 2.3606 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , S O W - 2 0 2 2 Ma r k e t i n g En h a n c e m e n t s -
        nature of the debtor's interest                   Re c u r r i n g Fe e s Re n e w a l 2 0 2 4                                                           Su i t e 1 5 4 , Fo r t Wo r t h , T X 7 6 1 7 7

          State the term remaining                        03/01/2024 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ec l e c t i c Pr o d u c t s In c , 1 0 1 Di x i e Ma e Dr , Pi n e v i l l e , L A 7 1 3 6 0
 2.3607 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec l e c t i c Pr o d u c t s In c , 1 0 1 Di x i e Ma e Dr , Pi n e v i l l e , L A 7 1 3 6 0
 2.3608 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec l e c t i c Pr o d u c t s In c , 1 0 1 Di x i e Ma e Dr , Pi n e v i l l e , L A 7 1 3 6 0
 2.3609 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ec l e c t i c Pr o d u c t s In c , 1 0 1 Di x i e Ma e Dr , Pi n e v i l l e , L A 7 1 3 6 0
 2.3610 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ec m In d u s t r i e s L L C, N8 5 W1 2 5 4 5 We s t b r o o k Cr o s s i n g ,
 2.3611 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ec m In d u s t r i e s L L C, N8 5 W1 2 5 4 5 We s t b r o o k Cr o s s i n g ,
 2.3612 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o c l e a n So l u t i o n s In c , 5 7 0 Oa k St , Co p i a g u e , N Y 1 1 7 2 6
 2.3613 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o c l e a r Pr o d u c t s In c , 5 5 8 1 Br o a d c a s t , Su i t e 1 0 A, Sa r a s o t a , F L
 2.3614 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 34240
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o c l e a r Pr o d u c t s In c , 5 5 8 1 Br o a d c a s t , Su i t e 1 0 A, Sa r a s o t a , F L
 2.3615 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 34240
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o c l e a r Pr o d u c t s In c , 5 5 8 1 Br o a d c a s t , Su i t e 1 0 A, Sa r a s o t a , F L
 2.3616 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 34240

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o l o g e l So l u t i o n s L L C, 4 0 6 0 Se 4 5 Th Ct , Oc a l a , F L 3 4 4 8 0
 2.3617 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o l o g i c a l Co n c e p t s In c , 4 2 0 Je r i c h o Tu r n p i k e , Su i t e 1 1 0 ,
 2.3618 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Je r i c h o , N Y 1 1 7 5 3
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o l o g i c a l La b o r a t o r i e s , 4 Wa t e r f o r d Rd , Is l a n d Pa r k , N Y
 2.3619 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          11558

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ec o n Ha r d w a r e , 7 2 5 Im p e r i a l Av e , Ca l e x i c o , C A 9 2 2 3 1 - 0 0 0 1
 2.3620 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o n o m a r t Fo o d s Co l u m b u s Ju n c t i o n , Ec o n o m a r t Fo o d s
 2.3621 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 4 )
        nature of the debtor's interest                                                                                                                          Co l u m b u s Ju n c t , 1 1 3 Ea s t Wa l n u t St r e e t , Co l u m b u s Ju n c t i o n ,
                                                                                                                                                                 IA 52738-1014
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o n o m y Tr u e Va l u e , 2 1 9 Ma s s a c h u s e t t s Av e n u e , Bo s t o n , M A
 2.3622 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 8 0 )
                                                                                                                                                                 02115-3530
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o n o m y Tr u e Va l u e Ha r d w a r e , 1 1 1 Do r c h e s t e r St r e e t , So u t h
 2.3623 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 5 )
                                                                                                                                                                 Bo s t o n , M A 0 2 1 2 7 - 2 2 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s c r a p s In c , 4 8 9 W Pa r k l a n d Dr , Sa n d y, U T 8 4 0 7 0
 2.3624 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3625 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3626 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3627 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro s w e l l , G A 3 0 0 7 6

          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3628 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro s w e l l , G A 3 0 0 7 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3629 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3630 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3631 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro s w e l l , G A 3 0 0 7 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3632 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro s w e l l , G A 3 0 0 7 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o s m a r t Te c h n o l o g i e s , 2 0 Ma n s e l l Co u r t E, Su i t e 3 7 5 ,
 2.3633 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ec o t r e n d Co r p o r a t i o n , 2 4 9 2 2 An z a Dr i v e , Un i t A, Sa n t a Cl a r i t a ,
 2.3634 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 91355
        nature of the debtor's interest
          State the term remaining                        10/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ec o w a t e r Sy s t e m s L L C, 1 8 9 0 Wo o d l a n e Dr i v e , Wo o d b u r y, M N
 2.3635 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55125

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ec o w a t e r Sy s t e m s L L C, 1 8 9 0 Wo o d l a n e Dr i v e , Wo o d b u r y, M N
 2.3636 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55125

          State the term remaining                        11/08/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ed Yo u n g s Tr u e Va l u e Ha r d w a r e , Ed Yo u n g s Tv Ha r d w a r e ,
 2.3637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 2 4 )
                                                                                                                                                                 5 6 4 1 Ma i n St , Wi l l i a m s v i l l e , N Y 1 4 2 2 1 - 5 5 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed e n Va l l e y Lb r & Tr u e Va l u e Hd w, 1 8 3 St a t e St , Ed e n Va l l e y,
 2.3638 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 0 )
                                                                                                                                                                 MN 55329
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e a q , L L C, 6 Ca d i l l a c Dr i v e , Su i t e 4 0 5 , Br e n t w o o d , T N
 2.3639 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Gl o b a l Pr o d u c t Cl a s s i c i f a t i o n ( G P C)
        nature of the debtor's interest                   datta mapping to support 12.0 PIM strategic project                                                    37027

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e a q , L L C, 6 Ca d i l l a c Dr i v e , Su i t e 4 0 5 , Br e n t w o o d , T N
 2.3640 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , P I M Pr o d u c t Cl a s s i f i c a t i o n
                                                                                                                                                                 37027
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w a t e r In d u s t r i e s , 1 8 5 7 0 Tr i m b l e Co u r t , Sp r i n g La k e , M I
 2.3641 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 49456
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w a t e r In d u s t r i e s , 1 8 5 7 0 Tr i m b l e Co u r t , Sp r i n g La k e , M I
 2.3642 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          49456

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w a t e r In d u s t r i e s , 1 8 5 7 0 Tr i m b l e Co u r t , Sp r i n g La k e , M I
 2.3643 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 49456
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ed g e w e l l Pe r s o n a l Ca r e L L C, 1 2 0 N Co m m e r c i a l St , Po Bo x
 2.3644 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          5 3 7 , Ne e n a h , W I 5 4 9 5 7

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w e l l Pe r s o n a l Ca r e L L C, 1 2 0 N Co m m e r c i a l St , Po Bo x
 2.3645 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 5 3 7 , Ne e n a h , W I 5 4 9 5 7
        nature of the debtor's interest
          State the term remaining                        01/25/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w e l l Pe r s o n a l Ca r e L L C, 1 2 0 N Co m m e r c i a l St , Po Bo x
 2.3646 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 5 3 7 , Ne e n a h , W I 5 4 9 5 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w e l l Pe r s o n a l Ca r e L L C, 1 2 0 N Co m m e r c i a l St , Po Bo x
 2.3647 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 5 3 7 , Ne e n a h , W I 5 4 9 5 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed g e w e l l Pe r s o n a l Ca r e L L C, 1 2 0 N Co m m e r c i a l St , Po Bo x
 2.3648 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 5 3 7 , Ne e n a h , W I 5 4 9 5 7
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ed i c , 1 7 5 3 Bl a k e Av e n u e , Lo s An g e l e s , C A 9 0 0 3 1
 2.3649 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ed i c , 1 7 5 3 Bl a k e Av e n u e , Lo s An g e l e s , C A 9 0 0 3 1
 2.3650 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ed i s o n Mi l l w o r k & Tr u e Va l u e Hd w, Ed i s o n Mi l l w o r k & Tr u e
 2.3651 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 8 8 )
                                                                                                                                                                 Va l u e H, 9 Ol d Po s t Rd , Ed i s o n , N J 0 8 8 1 7 - 4 5 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Ed m a r Co r p Db a Bi s s e l l Co m m e r c i a l , 1 0 0 Ar m s t r o n g Ro a d ,
 2.3652 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                           Su i t e 1 0 1 , Pl y m o u t h , M A 0 2 3 6 0
        nature of the debtor's interest
          State the term remaining                        02/01/2013

          List the contract number of any government
          contract
                                                                                                                                                           Ed m o r e Tr u e Va l u e Ha r d w a r e , 4 1 8 E Ma i n St , Ed m o r e , M I
 2.3653 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 7 4 )
                                                                                                                                                           48829-9709
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Ed s a l Mf g Co In c , 1 5 5 5 W 4 4 Th St r e e t , Ch i c a g o , I L 6 0 6 0 9
 2.3654 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                           Ed w a r d s Tr u e Va l u e Ha r d w a r e , 2 2 2 1 7 Ma i n St , Co u r t l a n d , VA
 2.3655 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 1 1 )
                                                                                                                                                           23837-1024
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Ef i l e c a b i n e t , 3 3 0 0 N. As h t o n Bl v d , Su i t e 4 0 0 , Le h i , U T 8 4 0 4 3
 2.3656 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , El e c t r o n i c Fi l e So l u t i o n Fo r Hu m a n
        nature of the debtor's interest                   Re s o u r c e s , Be n e f i t s & Pa y r o l l

          State the term remaining                        07/03/2014

          List the contract number of any government
          contract
                                                                                                                                                           Eg s Hi n g e L L C, 5 9 3 3 Be l l a i r e Bl v d , Su i t e 1 1 9 , Ho u s t o n , T X
 2.3657 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    77081

          State the term remaining                        09/12/2010

          List the contract number of any government
          contract
                                                                                                                                                           Ei g h t y Fo u r Ag w a y, 1 0 2 5 Pa 5 1 9 , Ei g h t y Fo u r , PA 1 5 3 3 0
 2.3658 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Ei n f l a t a b l e s , 1 2 4 0 5 Te l e g r a p h Rd , Sa n t a Fe Sp r i n g s , C A 9 0 6 7 0
 2.3659 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2011

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ek l i n d To o l Co , 1 1 0 4 0 Ki n g St r e e t , Fr a n k l i n Pa r k , I L 6 0 1 3 1
 2.3660 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ek l i n d To o l Co , 1 1 0 4 0 Ki n g St r e e t , Fr a n k l i n Pa r k , I L 6 0 1 3 1
 2.3661 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ek l i n d To o l Co , 1 1 0 4 0 Ki n g St r e e t , Fr a n k l i n Pa r k , I L 6 0 1 3 1
 2.3662 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ek o s , In c . , 1 4 1 0 Co m m o n w e a l t h Dr i v e , Su i t e 1 0 1 B,
 2.3663 State what the contract or lease is for and the   Am e n d m e n t , E K O S Li c e n s e Ag r e e m e n t Am e n d m e n t _ In v o i c i n g
                                                                                                                                                                 Wi l m i n g t o n , N C 2 8 4 0 3
        nature of the debtor's interest                   2024

          State the term remaining                        11/01/2023 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 El Ba r r i o Ha r d w a r e Dj In c , 1 8 7 6 3 r d Av e , Ne w Yo r k , N Y
 2.3664 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 1 )
                                                                                                                                                                 10029
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El a n c o Us In c , 1 2 7 0 7 Sh a w n e e Mi s s i o n Pk w y, Sh a w n e e , K S
 2.3665 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          66201

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 El d o r a d o Tr u e Va l u e , 7 Ca l i e n t e Ro a d , Sa n t a Fe , N M 8 7 5 0 8 -
 2.3666 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 4 )
                                                                                                                                                                 3100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El e c t r i c Ee l Mf g Co , 5 0 1 W Le f f e l La n e , Sp r i n g f i e l d , O H
 2.3667 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45501
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 El e c t r o l u x Ho m e c a r e Pr o d u c t s , 1 0 2 0 0 Da v i d Ta y l o r Dr ,
 2.3668 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 6 2
        nature of the debtor's interest
          State the term remaining                        06/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 El e c t r o l u x Ho m e c a r e Pr o d u c t s , 1 0 2 0 0 Da v i d Ta y l o r Dr ,
 2.3669 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 6 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El e g a n t Ga r d e n De s i g n , Po Bo x 8 1 5 , Ba t t l e Gr o u n d , WA 9 8 6 0 4
 2.3670 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/03/2016

          List the contract number of any government
          contract
                                                                                                                                                                 El e m e n t o r Lt d , Tu v a l St 4 0 , Ra m a t Ga n , 5 1 2 6 1 1 2 , Is r a e l
 2.3671 State what the contract or lease is for and the   So f t w a r e , El e m e n t o r LT D - Pr o Ex p e r t So f t w a r e 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        03/13/2024 - 03/12/2025

          List the contract number of any government
          contract
                                                                                                                                                                 El e r y Na u Ha r d w a r e , 9 1 7 Br o a d St , Mo n t o u r s v i l l e , PA 1 7 7 5 4
 2.3672 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El g i n Tr u e Va l u e , 1 0 4 Ma i n , El g i n , N D 5 8 5 3 3 - 7 1 0 6
 2.3673 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El i e t Us a In c , 3 3 6 1 St a f f o r d St , Pi t t s b u r g h , PA 1 5 2 0 4
 2.3674 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 El i o t Sm a l l En g i n e & Ag w a y, 2 6 5 Ha r o l d L Do w Hi g h w a y,
 2.3675 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 6 )
        nature of the debtor's interest                                                                                                                          El i o t , M E 0 3 9 0 3

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 El i z a b e t h Ke i t h De s i g n s , 1 0 8 Wo o d w i n d s In d u s t r i a l Ct , D,
 2.3676 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca r y, N C 2 7 5 1 1
        nature of the debtor's interest
          State the term remaining                        02/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 El k a y Sa l e s In c - Si n k s , 2 2 2 2 Ca m d e n Co u r t , Oa k Br o o k , I L
 2.3677 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60523

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El k a y Sa l e s In c - Si n k s , 2 2 2 2 Ca m d e n Co u r t , Oa k Br o o k , I L
 2.3678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60523
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 El k a y Sa l e s In c - Si n k s , 2 2 2 2 Ca m d e n Co u r t , Oa k Br o o k , I L
 2.3679 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60523
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 El k a y Sa l e s In c - Si n k s , 2 2 2 2 Ca m d e n Co u r t , Oa k Br o o k , I L
 2.3680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60523

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 El k h a r t Tr u e Va l u e Lu m b e r , 8 5 0 We s t St a t e Li n e Rd , El k h a r t ,
 2.3681 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 8 0 )
                                                                                                                                                                 KS 67950-5058
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El k h o r n Ci t y Tr u e Va l u e Ha r d w a r e , 1 8 5 Ma i n St r e e t , El k h o r n
 2.3682 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 7 2 )
                                                                                                                                                                 Ci t y, K Y 4 1 5 2 2 - 9 0 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El l a s Bu b b l e s L L C, 2 1 0 1 S Ca r p e n t e r St , Ch i c a g o , I L 6 0 6 0 8
 2.3683 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/24/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      El l e n d a l e Tr u e Va l u e , 1 3 9 Ma i n St r e e t , El l e n d a l e , N D 5 8 4 3 6
 2.3684 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      El l e r y Ho l d i n g s L L C, 2 9 5 5 Th Av e , Su i t e 1 2 1 2 , Ne w Yo r k , N Y
 2.3685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      10016
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                      El l e t t s v i l l e Tr u e Va l u e , 4 6 1 0 W Ri c h l a n d Pl a z a Dr ,
 2.3686 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 9 )
                                                                                                                                                      Bl o o m i n g t o n , I N 4 7 4 0 4 - 9 7 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      El l i n g t o n Ag w a y, 7 4 We s t Ro a d , El l i n g t o n , C T 0 6 0 2 9 - 3 7 2 2
 2.3687 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      El l i o t t Au t o Su p p l y Co In c , 1 3 8 0 Co r p o r a t e Ce n t e r , Ea g a n , M N
 2.3688 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               55121

          State the term remaining                        06/21/2022

          List the contract number of any government
          contract
                                                                                                                                                      El l i o t t Au t o Su p p l y Co In c , 1 3 8 0 Co r p o r a t e Ce n t e r , Ea g a n , M N
 2.3689 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      55121
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                      El l i o t t Tr u e Va l u e , 1 2 9 7 1 1 t h Av e n u e , Ha l e y v i l l e , A L 3 5 5 6 5 -
 2.3690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 2 4 )
        nature of the debtor's interest                                                                                                               5925

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      El l i s Ho m e & Ga r d e n , 4 8 1 0 Ha z e l Jo n e s Rd . , Bo s s i e r Ci t y, L A
 2.3691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 4 )
        nature of the debtor's interest                                                                                                               71111-5322

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 El l z e y s Tr u e Va l u e Hr d w, El l z e y s Tr u e Va l u e Ha r d w a r e , 4 2 9 9 1
 2.3692 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 4 7 )
        nature of the debtor's interest                                                                                                                          Hw y 2 3 , Ve n i c e , L A 7 0 0 9 1 - 4 2 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El m Cr e e k Lt d , 2 6 0 9 W Su r r e y Ro a d , Fa r w e l l , M I 4 8 6 2 2 - 9 7 5 6
 2.3693 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3694 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3695 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3696 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3697 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3698 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 El m e r ' S Pr o d u c t In c , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3699 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      El m e r ' S Pr o d u c t s , On e Ea s t o n Ov a l , Co l u m b u s , O H 4 3 2 1 9
 2.3700 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      El m o n t Pa i n t & De s i g n Ce n t e r , 1 6 0 4 Du t c h Br o a d w a y, El m o n t ,
 2.3701 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 1 2 )
                                                                                                                                                                      NY 11003
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      El v e r s o n Su p p l y Co In c , 1 0 1 E Ma i n St , El v e r s o n , PA 1 9 5 2 0 -
 2.3702 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 3 0 )
        nature of the debtor's interest                                                                                                                               9386

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      El y s a Us a L L C, 2 9 2 7 E Ma i n St , Ea g l e Pa s s , T X 7 8 8 5 2
 2.3703 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                      Em a i l On Ac i d , L L C, 1 1 2 E Pe c a n St r e e t , Su i t e 1 1 3 5 , Sa n
 2.3704 State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Em a i l On Ac i d Su b s c r i p t i o n
                                                                                                                                                                      An t o n i o , T X 7 8 2 0 5
        nature of the debtor's interest                   Re n e w a l 2 0 2 4

          State the term remaining                        06/20/2024 - 06/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                      Em a i l g i s t i c s Co r p . , Em a i l g i s t i c s Co r p , 3 9 La k e s h o r e Rd , Su i t e
 2.3705 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Em a i l g i s t i c s Co r p . 2 0 2 1 Ma s t e r Se r v i c e s
                                                                                                                                                                      3 0 0 , Mi s s i s s a u g a , O N L5 G 1 C9 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        08/26/2021 - 08/25/2026

          List the contract number of any government
          contract
                                                                                                                                                                      Em b a s s y Su i t e s De n v e r Do w n t o w n , 1 4 2 0 St o u t St r e e t , De n v e r ,
 2.3706 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Em b a s s y Su i t e s De n v e r Ce n t r a l
        nature of the debtor's interest                   Pa r k Ho t e l Ag r e e m e n t                                                                            CO 80202

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                      Em e r a l d Fo r e s t / J& R Fo l i a g e , 2 5 2 0 1 Sw 1 8 9 Th Av e ,
 2.3707 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      Ho m e s t e a d , F L 3 3 0 3 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Em e r g i n g Te c h n o l o g i e s Db a En g a g e So f t w a r e , 1 1 9 3 9
 2.3708 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Em e r g i n g Te c h n o l o g y Gr o u p -
                                                                                                                                                                 Ma n c h e s t e r Rd , Pm b 1 2 0 , St Lo u i s , M O 6 3 1 3 1
        nature of the debtor's interest                   Am e n d m e n t t o 3 r d Pa r t y Se r v i c e Ag r e e m e n t 2 0 2 3

          State the term remaining                        04/04/2023 - 04/03/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r g i n g Te c h n o l o g i e s Db a En g a g e So f t w a r e , 1 1 9 3 9
 2.3709 State what the contract or lease is for and the   So f t w a r e , Em e r g i n g Te c h d b a En g a g e S W - De v Op s Se r v i c e
                                                                                                                                                                 Ma n c h e s t e r Rd , Pm b 1 2 0 , St Lo u i s , M O 6 3 1 3 1
        nature of the debtor's interest                   Ag r e e m e n t Tr u e Si t e s . c o m 2 0 2 4

          State the term remaining                        06/01/2024 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r g i n g Te c h n o l o g i e s Db a En g a g e So f t w a r e , 1 1 9 3 9
 2.3710 State what the contract or lease is for and the
                                                          So f t w a r e , Em e r g i n g Te c h n o l o g i e s Re n e w a l En g a g e D N N Ev o q
        nature of the debtor's interest                                                                                                                          Ma n c h e s t e r Rd , Pm b 1 2 0 , St Lo u i s , M O 6 3 1 3 1

          State the term remaining                        10/17/2021 - 10/16/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r s o n - Wh i t e Ro d g e r s , 9 7 9 7 Re a v i s Ro a d , St Lo u i s , M O
 2.3711 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 63123
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r s o n He a l t h c a r e , 4 0 7 Ea s t La n c a s t e r Av e , Wa y n e , PA 1 9 0 8 7
 2.3712 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r s o n He a l t h c a r e , 4 0 7 Ea s t La n c a s t e r Av e , Wa y n e , PA 1 9 0 8 7
 2.3713 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em e r s o n He a l t h c a r e , 4 0 7 Ea s t La n c a s t e r Av e , Wa y n e , PA 1 9 0 8 7
 2.3714 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Em e r y Tr u e Va l u e Ha r d w a r e , Em e r y Tr u e Va l u e Hd w, 1 3 1
 2.3715 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 9 9 )
                                                                                                                                                                 Is l a n d Dr St e 5 1 0 5 - 5 1 0 6 , Pi g e o n Fo r g e , T N 3 7 8 6 3 - 5 2 8 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Em e r y Vi s t o ' s Im p l e m e n t , 1 0 0 9 S 7 t h St r e e t , Oa k e s , N D 5 8 4 7 4
 2.3716 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Em i Yo s h i In c , 1 2 0 0 Je r s e y Av e , No r t h Br u n s w i c k , N J 0 8 9 0 2
 2.3717 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                  Em p i r e Bl e n d e d Pr o d u c t s In c , 2 5 0 Hi c k o r y La n e , Ba y v i l l e , N J
 2.3718 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           08721

          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                  Em p i r e Ca n d l e Co L L C, 3 1 0 0 Fa i r f a x Tr a f f i c w a y, Ka n s a s Ci t y,
 2.3719 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  KS 66115
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Em p l o y e r So l u t i o n s St a f f i n g Gr o u p L L C, 1 0 0 Ad m i r a l Dr i v e ,
 2.3720 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Em p l o y e r So l u t i o n s St a f f i n g
                                                                                                                                                                  Un i t B, Ha r v a r d , I L 6 0 0 3 3
        nature of the debtor's interest                   Gr o u p Ha r v a r d R D C

          State the term remaining                        03/30/2021 - 03/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Em p l o y m e n t Gr o u p In c . , Em p l o y m e n t Gr o u p In c , 4 6 5 1 W
 2.3721 State what the contract or lease is for and the
                                                          Re c r u i t i n g Se r v i c e s , Em p l o y m e n t Gr o u p In c . Co n t r a c t i n g Gr o u p
        nature of the debtor's interest                   2024-2027                                                                                               Di c k m a n Ro a d , Ba t t l e Cr e e k , M I 4 9 0 3 7

          State the term remaining                        07/01/2024 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                  Em p o r i u m Ac e Ha r d w a r e , 4 6 5 E. 3 r d St r e e t , Em p o r i u m , PA
 2.3722 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 9 )
                                                                                                                                                                  15834
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Em p o r i u m Tr u e Va l u e Hd w, 7 2 Ma i n St , Sa g Ha r b o r , N Y 1 1 9 6 3 -
 2.3723 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 7 2 )
                                                                                                                                                                  3006
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Em p y r a . Co m , In c . , 7 5 1 0 Ma r k e t St . , Su i t e 8 , Bo a r d m a n , O H
 2.3724 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Em p y r a Ma s t e r Se r v i c e s Ag r e e m e n t
                                                                                                                                                                 44512
        nature of the debtor's interest
          State the term remaining                        03/21/2022 - 03/20/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Em s c o Gr o u p , Po Bo x 1 5 1 , Gi r a r d , PA 1 6 4 1 7
 2.3725 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3726 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3727 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 10001

          State the term remaining                        03/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3730 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3731 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 10001

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3732 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3733 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 10001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3734 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Em s o n Di v. o f E. Mi s h o n , 2 3 0 5 Th Av e , Su i t e 5 0 0 , Ne w Yo r k ,
 2.3735 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10001
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3736 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3737 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3738 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3739 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3740 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3741 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3742 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3743 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 En c a p L L C, 3 2 0 N Br o a d w a y, Su i t e 3 4 0 , Gr e e n b a y, W I 5 4 3 0 3
 2.3744 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 En c h a n t e d Ga r d e n s , 3 2 0 0 Hw y 9 2 E, Wa s h i n g t o n , N C 2 7 8 8 9 -
 2.3745 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 2 9 )
                                                                                                                                                                 8613
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c i n a l Tr u e Va l u e Ha r d w a r e , 2 8 0 1 En c i n a l Av e , Al a m e d a , C A
 2.3746 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 1 7 )
        nature of the debtor's interest                                                                                                                          94501-4726

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En c o r e Pl a s t i c s Co r p , Po Bo x 3 2 0 8 , Hu n t i n g t o n Be a c h , C A
 2.3747 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92605

          State the term remaining                        05/16/2008

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En d l e s s Fu n L L C, 6 4 0 1 W 1 0 6 Th St r e e t , Su i t e 1 0 1 ,
 2.3748 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bl o o m i n g t o n , M N 5 5 4 3 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En d o t In d u s t r i e s , 6 0 Gr e e n Po n d Rd , Ro c k a w a y, N J 0 7 8 6 6
 2.3749 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 En d o t In d u s t r i e s , 6 0 Gr e e n Po n d Rd , Ro c k a w a y, N J 0 7 8 6 6
 2.3750 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 En e r g i z e r , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St Lo u i s , M O 6 3 1 4 1
 2.3751 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/17/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 En e r g i z e r , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St Lo u i s , M O 6 3 1 4 1
 2.3752 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En e r g i z e r , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St Lo u i s , M O 6 3 1 4 1
 2.3753 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En e r g i z e r , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St Lo u i s , M O 6 3 1 4 1
 2.3754 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En e r g i z e r Ba t t e r y Co m p a n y, 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St
 2.3755 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En e r g i z e r Ba t t e r y Co m p a n y, 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr , St
 2.3756 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En e r g y Cu r v e Te c h n o l o g y, L L C, 2 0 4 S Ma i n St , Ar c h i e , M O
 2.3757 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 64725
        nature of the debtor's interest
          State the term remaining                        02/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 En e s c o Di v i s i o n s , 5 0 0 Pa r k Bl v d , St e 1 3 0 0 , It a s c a , I L 6 0 1 4 3
 2.3758 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 En e s c o Di v i s i o n s , 5 0 0 Pa r k Bl v d , St e 1 3 0 0 , It a s c a , I L 6 0 1 4 3
 2.3759 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 En f o c u s Bv, Ra y m o n d e De La r o c h e l a a n 1 3 , Ge n t , 9 0 5 1 ,
 2.3760 State what the contract or lease is for and the   So f t w a r e , En f o c u s - Pi t St o p Pr o Ye a r l y Su b s c r i p t i o n
                                                                                                                                                                 Be l g i u m
        nature of the debtor's interest
          State the term remaining                        12/20/2023 - 12/19/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En g i e Re s o u r c e s , 1 3 6 0 Po s t Oa k Bl v d . , Su i t e 4 0 0 , Ho u s t o n , T X
 2.3761 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , En g i e Re s o u r c e s - Fr e e p o r t
        nature of the debtor's interest                   El e c t r i c i t y Ag r e e m e n t 2 0 2 3                                                          77056

          State the term remaining                        10/01/2023 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 En g i e Re s o u r c e s , 1 3 6 0 Po s t Oa k Bl v d . , Su i t e 4 0 0 , Ho u s t o n , T X
 2.3762 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , En g i e Re s o u r c e s - Co r s i c a n a
        nature of the debtor's interest                   El e c t r i c i t y Ag r e e m e n t 2 0 2 4                                                          77056

          State the term remaining                        08/01/2024 - 05/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 En g i e Re s o u r c e s , 1 3 6 0 Po s t Oa k Bl v d . , Su i t e 4 0 0 , Ho u s t o n , T X
 2.3763 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , En g i e Re s o u r c e s - El e c t r i c i t y
                                                                                                                                                                 77056
        nature of the debtor's interest                   I L L I N O I S - Ma s t e r En e r g y Sa l e s Ag r e e m e n t 2 0 2 3

          State the term remaining                        05/01/2023 - 04/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En g i e Re s o u r c e s , 1 3 6 0 Po s t Oa k Bl v d . , Su i t e 4 0 0 , Ho u s t o n , T X
 2.3764 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , En g i e Re s o u r c e s - Wi l k e s Ba r r e
                                                                                                                                                                 77056
        nature of the debtor's interest                   Na t u r a l Ga s Ag r e e m e n t 2 0 2 3

          State the term remaining                        08/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En g i n e e r e d Pr o d u c t s Co , 5 4 0 1 Sm e t a n a Dr i v e , Mi n n e t o n k a , M N
 2.3765 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55343
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 En g l a n d Tr u e Va l u e Hd w. , 6 6 1 Bo s t o n Tp k e - r t 4 4 , Bo l t o n , C T
 2.3766 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 2 3 )
        nature of the debtor's interest                                                                                                                          06043-7401

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En g l a n d ' s St o v e , Po Bo x 2 0 6 , 5 8 9 S Fi v e Fo r k s Rd , Mo n r o e ,
 2.3767 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 VA 2 4 5 7 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 En g l e w o o d Ma r k e t i n g Gr o u p In c , 3 3 E Br o a d w a y, Su i t e 2 8 0 ,
 2.3768 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co l u m b i a , M O 6 5 2 0 3
        nature of the debtor's interest
          State the term remaining                        02/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 En g l e w o o d Ma r k e t i n g Gr o u p In c , 3 3 E Br o a d w a y, Su i t e 2 8 0 ,
 2.3769 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co l u m b i a , M O 6 5 2 0 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En g l e w o o d Ma r k e t i n g Gr o u p In c , 3 3 E Br o a d w a y, Su i t e 2 8 0 ,
 2.3770 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co l u m b i a , M O 6 5 2 0 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En g l e w o o d Ma r k e t i n g Gr o u p In c , 3 3 E Br o a d w a y, Su i t e 2 8 0 ,
 2.3771 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Co l u m b i a , M O 6 5 2 0 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En g l e w o o d Ma r k e t i n g Gr o u p In c , 3 3 E Br o a d w a y, Su i t e 2 8 0 ,
 2.3772 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Co l u m b i a , M O 6 5 2 0 3
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 En n i s Tr u e Va l u e Hd w e , 6 Su n r i s e Lo o p , En n i s , M T 5 9 7 2 9 -
 2.3773 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 4 7 )
        nature of the debtor's interest                                                                                                                          0648

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En r o o t Pr o d u c t s L L C, Po Bo x 4 5 6 , Ne w Ci t y, N Y 1 0 9 5 6
 2.3774 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 En r o o t Pr o d u c t s L L C, Po Bo x 4 5 6 , Ne w Ci t y, N Y 1 0 9 5 6
 2.3775 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En s z Ha r d w a r e , 2 0 5 Ce n t r a l Av e , Gr a n t , N E 6 9 1 4 0
 2.3776 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En t e r p r i s e Gr o u p / Do m t a r Pa p e r Co , 3 5 0 S Ro h l w i n g Rd ,
 2.3777 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ad d i s o n , I L 6 0 1 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En t e r p r i s e Gr o u p / Do m t a r Pa p e r Co , 3 5 0 S Ro h l w i n g Rd ,
 2.3778 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ad d i s o n , I L 6 0 1 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En t e r p r i s e Gr o u p / Do m t a r Pa p e r Co , 3 5 0 S Ro h l w i n g Rd ,
 2.3779 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ad d i s o n , I L 6 0 1 0 1
        nature of the debtor's interest
          State the term remaining                        02/01/2011

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En t e r t a i n m e n t Pu b l i c a t i o n s L L C, 1 3 5 W 5 0 Th St , Ne w Yo r k ,
 2.3780 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 10020
        nature of the debtor's interest
          State the term remaining                        07/15/2010

          List the contract number of any government
          contract
                                                                                                                                                                 En t r u s t Co r p o r a t i o n , Tw o Li n c o l n Ce n t r e , 5 4 2 0 Lb j Fr e e w a y,
 2.3781 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , En t r u s t Ge n e r a l Te r m s ( M S A)
        nature of the debtor's interest                                                                                                                          Da l l a s , T X 7 5 2 4 0

          State the term remaining                        05/18/2019 - 05/17/2027

          List the contract number of any government
          contract
                                                                                                                                                                 En t r u s t Co r p o r a t i o n , Tw o Li n c o l n Ce n t r e , 5 4 2 0 Lb j Fr e e w a y,
 2.3782 State what the contract or lease is for and the   So f t w a r e , En t r u s t Co r p o r a t i o n S S L Se c u r i t y Re n e w a l 2 0 2 3
                                                                                                                                                                 Da l l a s , T X 7 5 2 4 0
        nature of the debtor's interest
          State the term remaining                        05/19/2023 - 05/18/2027

          List the contract number of any government
          contract
                                                                                                                                                                 En t r u s t Co r p o r a t i o n , Tw o Li n c o l n Ce n t r e , 5 4 2 0 Lb j Fr e e w a y,
 2.3783 State what the contract or lease is for and the   So f t w a r e , En t r u s t Co r p o r a t i o n A D D 4 0 S S L Se c u r i t y Re n e w a l +
                                                                                                                                                                 Da l l a s , T X 7 5 2 4 0
        nature of the debtor's interest                   4 Y R Su p p o r t

          State the term remaining                        07/25/2023 - 05/18/2027

          List the contract number of any government
          contract
                                                                                                                                                                 En v a t o El e m e n t s Pt y Lt d , P. O. Bo x 1 6 1 2 2 , Co l l i n s St r e e t We s t ,
 2.3784 State what the contract or lease is for and the
                                                          So f t w a r e , En v a t o El e m e n t s Pt y Lt d - El e m e n t s Te a m s
        nature of the debtor's interest                   Su b s c r i p t i o n 2 0 2 4                                                                         Me l b o u r n e , V I C 8 0 0 7 , Au s t r a l i a

          State the term remaining                        03/01/2024 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o Lo g Ho m e Pr o d u c t s , Po Bo x 1 9 0 , 1 5 1 Gl e n n Ba s s Ro a d ,
 2.3785 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fi t z g e r a l d , G A 3 1 7 5 0
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o Pr o t e c t i o n In d Co In c , 1 7 4 3 Rt 1 1 , Ki r k w o o d , N Y
 2.3786 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 13795
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o Pr o t e c t i o n In d Co In c , 1 7 4 3 Rt 1 1 , Ki r k w o o d , N Y
 2.3787 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          13795

          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En v i r o Pr o t e c t i o n In d Co In c , 1 7 4 3 Rt 1 1 , Ki r k w o o d , N Y
 2.3788 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 13795

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o Pr o t e c t i o n In d Co In c , 1 7 4 3 Rt 1 1 , Ki r k w o o d , N Y
 2.3789 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 13795

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o - Sa f e La b o r a t o r i e s , En v i r o - Sa f e La b o r a t o r i e s , 1 5 7 9
 2.3790 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ba r b e r Ro a d , Sa r a s o t a , WA
        nature of the debtor's interest
          State the term remaining                        09/30/2007

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o c a r e Co r p o r a t i o n , 1 0 Up t o n Dr i v e , Wi l m i n g t o n , M A
 2.3791 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 01887
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o c o l o r , 2 3 1 0 Pe n d l e y Rd , Cu m m i n g , G A 3 0 0 4 1
 2.3792 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o c o n Te c h n o l o g i e s In c , 3 6 0 1 S Co n g r e s s Av e , Su i t e D1 0 0 ,
 2.3793 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Au s t i n , T X 7 8 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o c o n Te c h n o l o g i e s In c , 3 6 0 1 S Co n g r e s s Av e , Su i t e D1 0 0 ,
 2.3794 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Au s t i n , T X 7 8 7 0 4
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o c o n Te c h n o l o g i e s In c , 3 6 0 1 S Co n g r e s s Av e , Su i t e D1 0 0 ,
 2.3795 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Au s t i n , T X 7 8 7 0 4

          State the term remaining                        03/15/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En v i r o h o l d , 8 2 8 6 We s t e r n Wa y Ci r , Ja c k s o n v i l l e , F L 3 2 2 5 6
 2.3796 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o n m e n t a l So l u t i o n s In t l , 1 2 6 1 No r t h Ra d d a n t Ro a d ,
 2.3797 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ba t a v i a , I L 6 0 5 1 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o n m e n t a l Te c h n o l o g y, 1 4 5 8 S 3 5 Th St , Ga l e s b u r g , M I
 2.3798 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49053
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o n m e n t a l Te c h n o l o g y, 1 4 5 8 S 3 5 Th St , Ga l e s b u r g , M I
 2.3799 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 49053

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o n m e n t a l Te c h n o l o g y, 1 4 5 8 S 3 5 Th St , Ga l e s b u r g , M I
 2.3800 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 49053
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o n m e n t a l Te c h n o l o g y, 1 4 5 8 S 3 5 Th St , Ga l e s b u r g , M I
 2.3801 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 49053
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o s c e n t In c , 5 6 0 7 Gl e n r i d g e Dr i v e , Su i t e 1 0 0 , At l a n t a , G A
 2.3802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 30342

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 En v i r o s c e n t In c , 5 6 0 7 Gl e n r i d g e Dr i v e , Su i t e 1 0 0 , At l a n t a , G A
 2.3803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30342
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 En v i r o s c e n t In c , 5 6 0 7 Gl e n r i d g e Dr i v e , Su i t e 1 0 0 , At l a n t a , G A
 2.3804 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 30342

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Eo Pr o d u c t s , 9 0 Wi n d w a r d Wa y, Sa n Ra f a e l , C A 9 4 9 0 1
 2.3805 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Eo Pr o d u c t s , 9 0 Wi n d w a r d Wa y, Sa n Ra f a e l , C A 9 4 9 0 1
 2.3806 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ep a En t e r p r i s e s In c , 2 2 9 Ev e r g r e e n Ho l l o w Rd , Ef f o r t , PA
 2.3807 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          18330

          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ep a r e L L C, 1 7 7 Ne 1 St Av e , Mi a m i , F L 3 3 1 3 2
 2.3808 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ep e s Lo g i s t i c s Se r v i c e s , In c , 5 3 8 N Re g i o n a l Ro a d , Su i t e A,
 2.3809 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ep e s Lo g i s t i c Se r v i c e s Ca r r i e r
                                                                                                                                                                 Gr e e n s b o r o , N C 2 7 4 0 9
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        06/01/2019 - 05/31/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ep i c o r So f t w a r e Co r p o r a t i o n , 4 1 2 0 Du b l i n Bl v d , Su i t e 3 0 0 ,
 2.3810 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ep i c o r - Su p p o r t , Ma i n t e n a n c e a n d
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t                                                                        Du b l i n , C A 9 4 5 6 8

          State the term remaining                        07/17/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ep i r o c No r t h Am e r i c a , 3 7 0 0 E 6 8 Th Av e , Co m m e r c e Ci t y, C O
 2.3811 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80022
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Ep l u s Te c h n o l o g y, In c . , 1 3 5 9 5 Du l l e s Te c h n o l o g y Dr i v e ,
 2.3812 State what the contract or lease is for and the   So f t w a r e , e P L U S M A S T E R S E R V I C E S A G R E E M E N T
                                                                                                                                                       He r n d o n , VA 2 0 1 7 1
        nature of the debtor's interest
          State the term remaining                        10/16/2019 - 10/15/2024

          List the contract number of any government
          contract
                                                                                                                                                       Ep l u s Te c h n o l o g y, In c . , 1 3 5 9 5 Du l l e s Te c h n o l o g y Dr i v e ,
 2.3813 State what the contract or lease is for and the   So f t w a r e , e Pl u s - Ci s c o Um b r e l l a D N S Se c u r i t y Ad v a n t a g e
                                                                                                                                                       He r n d o n , VA 2 0 1 7 1
        nature of the debtor's interest                   Li c e n s e s a n d Su p p o r t 2 0 2 2

          State the term remaining                        12/19/2022 - 12/18/2025

          List the contract number of any government
          contract
                                                                                                                                                       Ep l u s Te c h n o l o g y, In c . , 1 3 5 9 5 Du l l e s Te c h n o l o g y Dr i v e ,
 2.3814 State what the contract or lease is for and the
                                                          So f t w a r e , E Pl u s - Ca r b o n Bl a c k Se c u r i t y Vi r u s Pr o t e c t i o n
        nature of the debtor's interest                   Su b s c r i p t i o n Re n e w a l 2 0 2 3                                                  He r n d o n , VA 2 0 1 7 1

          State the term remaining                        10/27/2023 - 10/26/2024

          List the contract number of any government
          contract
                                                                                                                                                       Ep l u s Te c h n o l o g y, In c . , 1 3 5 9 5 Du l l e s Te c h n o l o g y Dr i v e ,
 2.3815 State what the contract or lease is for and the   So f t w a r e , E Pl u s - Ca r b o n Bl a c k Se c u r i t y Vi r u s Pr o t e c t i o n
                                                                                                                                                       He r n d o n , VA 2 0 1 7 1
        nature of the debtor's interest                   Su b s c r i p t i o n Re n e w a l 2 0 2 4

          State the term remaining                        10/27/2024 - 10/26/2025

          List the contract number of any government
          contract
                                                                                                                                                       Ep o c a In c , 9 3 1 Cl i n t Mo o r e Rd , Bo c a Ra t o n , F L 3 3 4 8 7
 2.3816 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                       Ep o c h De s i g n L L C, 1 7 6 1 7 Ne 6 5 Th St , Su i t e 2 , Re d m o n d , WA
 2.3817 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                98052

          State the term remaining                        09/15/2009

          List the contract number of any government
          contract
                                                                                                                                                       Ep p e s De c o r a t i n g Ce n t e r , 2 2 7 0 Al l e n Ro a d , Ta l l a h a s s e e , F L
 2.3818 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 4 )
        nature of the debtor's interest                                                                                                                32312

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ep p e s De c o r a t i n g Ce n t e r , 3 2 0 1 - a Ap a l a c h e e Pa r k w a y,
 2.3819 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 2 )
                                                                                                                                                       Ta l l a h a s s e e , F L 3 2 3 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Eq u i f a x Wo r k f o r c e So l u t i o n s , 1 1 4 3 2 La c k l a n d Ro a d , St Lo u i s ,
 2.3820 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Eq u i f a x Wo r k f o r c e So l u t i o n s Co n t r a c t s -
                                                                                                                                                                      MO 63146
        nature of the debtor's interest                   HR

          State the term remaining                        05/01/2024 - 04/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3821 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                      29407
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                      29407

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3823 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                      29407
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3824 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                      29407
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3825 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                      29407

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3826 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                      29407
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Eq u i n o x 2 In c , 4 Ca r r i a g e La n e , Su i t e 2 0 8 , Ch a r l e s t o n , S C
 2.3827 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                      29407
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                        Eq u i p m e n t De p o t , 1 8 1 2 Br i t t m o o r e Rd St e 2 0 0 , Ho u s t o n , T X
 2.3828 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Eq u i p m e n t De p o t M N D A
                                                                                                                                                                        77032
        nature of the debtor's interest                   M H E Se r v i c e s

          State the term remaining                        05/25/2024 - 05/24/2025

          List the contract number of any government
          contract
                                                                                                                                                                        Er a Gr o u p , 2 5 0 0 Gu e n e t t e St r e e t , St La u r e n t , Q C H4 R 2 H2 ,
 2.3829 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                 Ca n a d a

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                        Er a Gr o u p , 2 5 0 0 Gu e n e t t e St r e e t , St La u r e n t , Q C H4 R 2 H2 ,
 2.3830 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                        Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Er c Ha r d w a r e Ex p r e s s , 2 3 1 E Bu e n a Vi s t a Av e , De d e d o , G U
 2.3831 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 1 8 )
                                                                                                                                                                        96929
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Er c Tr a d i n g , In c . , Er c Ha r d w a r e Ex p r e s s , 9 7 9 Ar m y Dr i v e
 2.3832 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 4 )
        nature of the debtor's interest                                                                                                                                 Ro u t e 1 6 , Ba r r i g a d a , G U

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Er g St a f f i n g Se r v i c e , L L C, 2 4 3 Ma i n St r e e t , Di c k s o n Ci t y, PA
 2.3833 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , t e m p o r a r y s t a f f i n g f o r w a r e h o u s e l a b o r
        nature of the debtor's interest                                                                                                                                 18519

          State the term remaining                        04/28/2014

          List the contract number of any government
          contract
                                                                                                                                                                        Er g i e s h o v e l L L C, Er g i e s h o v e l L L C, 9 9 Sp r i n g f i e l d Rd ,
 2.3834 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                        We s t f i e l d , M A 0 1 0 8 5
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                        Er i c La n e , Ad d r e s s Re d a c t e d
 2.3835 State what the contract or lease is for and the   Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Er i c La n e
        nature of the debtor's interest
          State the term remaining                        07/11/2017

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Er i c k s o n Tr u e Va l u e & Lu m b e r , 1 7 7 5 2 Us Hi g h w a y 4 1 , La n s e ,
 2.3836 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 2 2 )
                                                                                                                                                     MI 49946-0066
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Er i c o Pr o d u c t s In c . , 3 4 6 0 0 So l o n Ro a d , Cl e v e l a n d , O H 4 4 1 3 9
 2.3837 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Er i c o Pr o d u c t s In c . , 3 4 6 0 0 So l o n Ro a d , Cl e v e l a n d , O H 4 4 1 3 9
 2.3838 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Er m c o , 2 2 2 5 In d u s t r i a l Ro a d , Dy e r s b u r g , T N 3 8 0 2 4
 2.3839 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Er n i e ' s Tr u e Va l u e , 7 1 7 1 St a t e Hi g h w a y 3 , Ha y f o r k , C A 9 6 0 4 1 -
 2.3840 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 3 )
        nature of the debtor's interest                                                                                                              9997

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Er v i n s Tr u e Va l u e Ha r d w a r e , 7 3 5 Sk y l i n e Bl v d , Av e n a l , C A
 2.3841 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 5 5 )
                                                                                                                                                     93204-1816
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Es b e n s h a d e s Gr e e n h o u s e s In c , 5 4 6 A E 2 8 Th Di v Hw y, Li t i t z ,
 2.3842 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     PA 1 7 5 4 3
        nature of the debtor's interest
          State the term remaining                        10/20/2011

          List the contract number of any government
          contract
                                                                                                                                                     Es c a l a d e Sp o r t s , 8 1 7 Ma x w e l l Av e n u e , Ev a n s v i l l e , I N 4 7 7 1 1
 2.3843 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Es c o g o L L C, 9 4 1 Mo n r o e Je r s e y Rd , Mo n r o e , G A 3 0 6 5 5
 2.3844 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es c o n d i d o Lu m b e r & , 3 1 0 S Qu i n c e St , Es c o n d i d o , C A 9 2 0 2 5 -
 2.3845 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 1 1 )
        nature of the debtor's interest                                                                                                                          4047

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es h r a g h i Nu r s e r i e s In c , 2 6 9 8 5 Sw Fa r m i n g t o n Rd , Hi l l s b o r o ,
 2.3846 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OR 97123
        nature of the debtor's interest
          State the term remaining                        09/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3847 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3848 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3849 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3850 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3851 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3852 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3853 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Es p o m a Co m p a n y, 6 Es p o m a Ro a d , Mi l l v i l l e , N J 0 8 3 3 2
 2.3854 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Es s a y Gr o u p L L C, Es s a y Gr o u p L L C, 7 7 7 Te r r a c e Av e , Su i t e
 2.3855 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3 1 3 , Ha s b r o u c k He i g h t s , N J 0 7 6 0 4

          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Es s c h e r t De s i g n Us a L L C, 3 1 B Ap p l e s Ch u r c h Rd , Th u r m o n t ,
 2.3856 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MD 21788
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es s c h e r t De s i g n Us a L L C, 3 1 B Ap p l e s Ch u r c h Rd , Th u r m o n t ,
 2.3857 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MD 21788
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es s c o , 1 9 3 3 Hi g h l a n d Rd , Tw i n s b u r g , O H 4 4 0 8 7
 2.3858 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es s e n d a n t , 1 5 2 5 Ku e b e l St , Ne w Or l e a n s , L A 7 0 1 2 3
 2.3859 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Es s e n t i a l Br a n d In c , 2 Pa r k Av e , St e 1 8 0 1 , Ne w Yo r k , N Y
 2.3860 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          10016

          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Es s e x Si l v e r Li n e Co r p , 1 1 1 8 La k e v i e w Av e n u e , P. O. Bo x 4 0 ,
 2.3861 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr a c u t , M A 0 1 8 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Es s i c k Ai r Pr o d u c t s , 5 8 0 0 Mu r r a y St r e e t , Li t t l e Ro c k , A R
 2.3862 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 72209
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Es s i c k Ai r Pr o d u c t s , 5 8 0 0 Mu r r a y St r e e t , Li t t l e Ro c k , A R
 2.3863 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          72209

          State the term remaining                        01/01/2024 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Es s i c k Ai r Pr o d u c t s , 5 8 0 0 Mu r r a y St r e e t , Li t t l e Ro c k , A R
 2.3864 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 72209
        nature of the debtor's interest
          State the term remaining                        04/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Es s i c k Ai r Pr o d u c t s , 5 8 0 0 Mu r r a y St r e e t , Li t t l e Ro c k , A R
 2.3865 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 72209
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t a c a d a Tr u e Va l u e , 3 1 0 Se Ma i n St , Es t a c a d a , O R 9 7 0 2 3 -
 2.3866 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 2 )
        nature of the debtor's interest                                                                                                                          9006

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t e s Co x Co r p o r a t i o n , 1 2 9 5 H St , Pe n r o s e , C O 8 1 2 4 0
 2.3867 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Es t e s Co x Co r p o r a t i o n , 1 2 9 5 H St , Pe n r o s e , C O 8 1 2 4 0
 2.3868 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t e s Wo r l d w i d e , 2 3 1 1 E To u h y Av e , El k Gr o v e Vi l l i a g e , I L
 2.3869 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Es t e s Wo r l d w i d e Ca r r i e r
                                                                                                                                                                 60007
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        01/01/2019 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3870 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3871 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3872 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3873 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3874 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Es t w i n g Mf g Co , 2 6 4 7 Ei g h t h St , Ro c k f o r d , I L 6 1 1 0 9
 2.3875 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3876 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3877 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3878 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3879 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3880 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3881 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3883 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3884 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et h i c a l Pr o d u c t s In c , 2 7 Fe d e r a l Pl a z a , Bl o o m f i e l d , N J 0 7 0 0 3
 2.3885 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Et i So l i d St a t e Li g h t i n g In c , 7 2 0 Co r p o r a t e Wo o d s Pa r k w a y,
 2.3886 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ve r n o n Hi l l s , I L 6 0 0 6 1
        nature of the debtor's interest
          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Et o n Co r p o r a t i o n , 1 0 1 5 Co r p o r a t i o n Wa y, Pa l o Al t o , C A 9 4 3 0 3
 2.3887 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Et t o r e Pr o d u c t s Co m p a n y, 2 1 0 0 No r t h Lo o p Ro a d , Al a m e d a , C A
 2.3888 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 94502

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et t o r e Pr o d u c t s Co m p a n y, 2 1 0 0 No r t h Lo o p Ro a d , Al a m e d a , C A
 2.3889 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 94502

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Et t o r e Pr o d u c t s Co m p a n y, 2 1 0 0 No r t h Lo o p Ro a d , Al a m e d a , C A
 2.3890 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 94502
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Et t o r e Pr o d u c t s Co m p a n y, 2 1 0 0 No r t h Lo o p Ro a d , Al a m e d a , C A
 2.3891 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          94502

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Eu f a u l a Tr u e Va l u e Ha r d w a r e , 6 2 5 So u t h Ma i n , Eu f a u l a , O K
 2.3892 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 5 6 )
                                                                                                                                                      74432-3301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Eu g e n e Tr u e Va l u e Ha r d w a r e , 2 8 2 5 Wi l l a m e t t e St , Eu g e n e , O R
 2.3893 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 8 5 )
        nature of the debtor's interest                                                                                                               97405-8202

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Eu r o a m e r i c a n Pr o p a g a t o r s , Eu r o a m e r i c a n Pr o p a g a t o r s , 3 2 1 4 9
 2.3894 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Aq u a d u c t Rd , Bo n s a l l , C A 9 2 0 0 3
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                      Eu r o p e a n Ho m e De s i g n s L L C, 1 4 8 Ma d i s o n Av e , 8 Th Fl o o r ,
 2.3895 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      Ne w Yo r k , N Y 1 0 0 1 6
        nature of the debtor's interest
          State the term remaining                        10/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Eu r o p e a n So a p s L L C, 9 2 0 N 1 3 7 Th St , Se a t t l e , WA 9 8 1 3 3
 2.3896 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/02/2011

          List the contract number of any government
          contract
                                                                                                                                                      Ev a k a r e , L L C, 5 0 La k e v i e w Pa r k w a y, Su i t e 1 0 8 , Ve r n o n Hi l l s ,
 2.3897 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      IL 60061
        nature of the debtor's interest
          State the term remaining                        02/01/2020

          List the contract number of any government
          contract
                                                                                                                                                      Ev a n s , 1 1 7 Pi n e St , Sh e b o y g a n Fa l l s , W I 5 3 0 8 5 - 0 1 5 7
 2.3898 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ev a n s Dr u g Co m p a n y, 1 1 0 6 W Wi l l o w Rd , En i d , O K 7 3 7 0 3 -
 2.3899 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 2 8 )
        nature of the debtor's interest                                                                                                               2503

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Ev e r Gr e e n Se a s o n s L L C, P. O. Bo x 1 6 8 , 1 5 4 3 N Us Hw y 4 1 ,
 2.3900 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           Ro c k v i l l e , I N 4 7 8 7 2

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r Re a d y Fi r s t Ai d Me d i c a l Su p p l y, Ev e r Re a d y Fi r s t Ai d
 2.3901 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 1 0 )
                                                                                                                                                                  Me d i c a l S, 8 El k i n s Rd , Ea s t Br u n s w i c k , N J 0 8 8 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r b l o o m Gr o w e r s In c , 2 0 4 5 0 Sw 2 4 8 Th St , Ho m e s t e a d , F L
 2.3902 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  33031
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r b r i t e L L C, 4 9 4 9 S 1 1 0 Th St , Gr e e n f i e l d , W I 5 3 2 2 8
 2.3903 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r c o r Fa c i l i t y Ma n a g e m e n t , 9 0 2 Wy o m i n g Av e , Wy o m i n g ,
 2.3904 State what the contract or lease is for and the
                                                          Am e n d m e n t , Ev e r c o r Sn o w Re m o v a l Wi l k e s Ba r r e
        nature of the debtor's interest                                                                                                                           PA 1 8 6 4 4

          State the term remaining                        08/28/2024 - 08/27/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r c o r Fa c i l i t y Ma n a g e m e n t , 9 0 2 Wy o m i n g Av e , Wy o m i n g ,
 2.3905 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ev e r c o r Fa c i l i t y Ma n a g e m e n t
                                                                                                                                                                  PA 1 8 6 4 4
        nature of the debtor's interest                   Wi l k e s Ba r r e La n d s c a p e

          State the term remaining                        04/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3906 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                  Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3907 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           Lo u i s , M O 6 3 1 4 1

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3908 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Lo u i s , M O 6 3 1 4 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3909 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3910 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3911 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Lo u i s , M O 6 3 1 4 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3912 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3913 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3914 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Lo u i s , M O 6 3 1 4 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3915 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Lo u i s , M O 6 3 1 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ev e r e a d y Ba t t e r y Co , 5 3 3 Ma r y v i l l e Un i v e r s i t y Dr i v e , St
 2.3916 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Lo u i s , M O 6 3 1 4 1

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e s t Na t i o n a l In s u r a n c e Co m p a n y, 4 7 7 Ma r t i n s v i l l e Ro a d Po
 2.3917 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                                 Bo x 8 3 0 , Li b e r t y Co r n e r , N J 0 7 9 3 8 - 0 8 3 0
        nature of the debtor's interest                   P C5 E X0 0 6 8 4 - 2 3 1

          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e s t To y s , 1 4 3 0 Co r m o r a n t Rd , An c a s t e r , O N L9 G 4 V5 ,
 2.3918 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        03/29/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e t t Su p p l y & Tr u e Va l u e Ha r d w a r e , Ev e r e t t Su p p l y & Tr u e
 2.3919 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 1 6 )
        nature of the debtor's interest                                                                                                                          Va l u e Ha , 4 0 3 Ma i n St , Ev e r e t t , M A 0 2 1 4 9 - 5 7 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r e t t Tr u e Va l u e Ha r d w a r e , 1 1 4 E Ma i n St , Ev e r e t t , PA
 2.3920 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 9 2 )
                                                                                                                                                                 15537-1260
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r f l o w In d u s t r i a l Su p p l y, 1 6 F, No 4 0 1 Se c 1 , Ch u n g Sh a n
 2.3921 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Ch a n g Hu a Ci t y, Ch a n g h u a 5 0 0 5 8 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r f l o w In d u s t r i a l Su p p l y, 1 6 F, No 4 0 1 Se c 1 , Ch u n g Sh a n
 2.3922 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Ch a n g Hu a Ci t y, Ch a n g h u a 5 0 0 5 8 , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev e r f l o w In d u s t r i a l Su p p l y, 1 6 F, No 4 0 1 Se c 1 , Ch u n g Sh a n
 2.3923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Ch a n g Hu a Ci t y, Ch a n g h u a 5 0 0 5 8 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Ev e r g r e e n Ho m e & Ga r d e n Sh o w p l a c e , Ev e r g r e e n Ho m e &
 2.3924 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 6 1 )
                                                                                                                                                             Ga r d e n Sh o w p l , 1 8 7 6 Mo r e l a n d Dr i v e , Ki n g s p o r t , T N 3 7 6 6 3 -
        nature of the debtor's interest
                                                                                                                                                             5306
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ev e r g r e e n Li n e , On e Ev e r t r u s t Pl a z a , Je r s e y Ci t y, N J 0 7 3 0 2
 2.3925 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ev e r g r e e n Li n e Jo i n t Oc e a n
        nature of the debtor's interest                   Se r v i c e Ag r e e m e n t 2 0 2 4

          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                             Ev e r g r e e n Re s e a r c h & Ma r k e t i n g L L C, Po Bo x 2 3 1 0 0 2 ,
 2.3926 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      En c i n i t a s , C A 9 2 0 2 3

          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                             Ev e r g r e e n , In c . , Ev e r g r e e n , In c , 5 9 1 5 Mi d l o t h i a n Tu r n p i k e ,
 2.3927 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             Ri c h m o n d , VA 2 3 2 2 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                             Ev e r g r e e n , In c . , Ev e r g r e e n , In c , 5 9 1 5 Mi d l o t h i a n Tu r n p i k e ,
 2.3928 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             Ri c h m o n d , VA 2 3 2 2 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                             Ev e r y d a y s Tr u e Va l u e , 7 9 7 Fo o t e Av e . , Ja m e s t o w n , N Y 1 4 7 0 1 -
 2.3929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 9 )
        nature of the debtor's interest                                                                                                                      9583

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ev e y Tr u e Va l u e Ha r d w a r e , 5 7 7 9 Li b r a r y Rd , Be t h e l Pa r k , PA
 2.3930 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 2 4 )
                                                                                                                                                             15102-3533
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ev o l u t i o n Sa l t Co , 4 4 2 2 Su p p l y Co u r t , Au s t i n , T X 7 8 7 4 4
 2.3931 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ev o l v e Co m p o s i t e s In c , 6 9 5 8 Av i a t i o n Bl v d , Su i t e C, Gl e n
 2.3932 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bu r n i e , M D 2 1 0 6 1
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ev o l v e d In d u s t r i e s , 3 8 4 9 Pl a z a To w e r Dr , Ba t o n Ro u g e , L A
 2.3933 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 70816
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev o l v e d In g e n u i t y, 6 0 2 Fo u n t a i n Pa r k w a y, Gr a n d Pr a i r i e , T X
 2.3934 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 75050

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ev o o r g a n i c , 1 0 3 2 E Ne w Ci r c l e , Le x i n g t o n , K Y 4 0 5 0 5
 2.3935 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/16/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ev r i h o l d e r Pr o d u c t s , In c . , 1 5 3 0 S Le w i s St r e e t , An a h e i m , C A
 2.3936 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92805
        nature of the debtor's interest
          State the term remaining                        02/20/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ex - Ce l l Ho m e Fa s h i o n s , 1 3 3 3 Br o a d w a y, 8 Th Fl o o r , Ne w Yo r k ,
 2.3937 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 10018

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ex - Ce l l Ho m e Fa s h i o n s , 1 3 3 3 Br o a d w a y, 8 Th Fl o o r , Ne w Yo r k ,
 2.3938 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10018
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ex - Ce l l Ho m e Fa s h i o n s , 1 3 3 3 Br o a d w a y, 8 Th Fl o o r , Ne w Yo r k ,
 2.3939 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 10018
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ex c e l l e n c e Ja n i t o r i a l Se r v i c e s , 2 1 0 Di v i s i o n St , Ki n g s t o n , PA
 2.3940 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ex c e l l e n c e Ja n i t o r i a l
                                                                                                                                                                 18704
        nature of the debtor's interest                   Se r v i c e s 2 0 2 3 ( Wi l k e s - Ba r r e Di s t r i b u t i o n Ce n t e r )

          State the term remaining                        01/01/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ex c l a i m , In c . , 2 2 0 N Sm i t h St r e e t , Su i t e 2 0 4 , Pa l a t i n e , I L
 2.3941 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ex c l a i m , In c Ma s t e r Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                   w i t h In s u r a n c e C O I                                                                         60067

          State the term remaining                        07/29/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ex c l u s i v e l y Ex p o , 1 2 2 5 Na p e r v i l l e Dr , Ro m e o v i l l e , I L 6 0 4 4 6
 2.3942 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ex h a r t , 2 0 3 6 4 Pl u m m e r St , Ch a t s w o r t h , C A 9 1 3 1 1
 2.3943 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ex h a r t En v i r o n m e n t a l Sy s t e m s , Ex h a r t , 2 0 3 6 4 Pl u m m e r St ,
 2.3944 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch a t s w o r t h , C A 9 1 3 1 1

          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ex h a r t En v i r o n m e n t a l Sy s t e m s , Ex h a r t , 2 0 3 6 4 Pl u m m e r St ,
 2.3945 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a t s w o r t h , C A 9 1 3 1 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ex h a r t En v i r o n m e n t a l Sy s t e m s , Ex h a r t , 2 0 3 6 4 Pl u m m e r St ,
 2.3946 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a t s w o r t h , C A 9 1 3 1 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ex h a r t En v i r o n m e n t a l Sy s t e m s , Ex h a r t , 2 0 3 6 4 Pl u m m e r St ,
 2.3947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a t s w o r t h , C A 9 1 3 1 1

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ex h a r t En v i r o n m e n t a l Sy s t e m s , Ex h a r t , 2 0 3 6 4 Pl u m m e r St ,
 2.3948 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a t s w o r t h , C A 9 1 3 1 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ex o t a c In c , 2 7 3 0 Fa i t h In d u s t r i a l Dr , Su i t e 2 0 0 , Bu f o r d , G A
 2.3949 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30518

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ex o t a c In c , 2 7 3 0 Fa i t h In d u s t r i a l Dr , Su i t e 2 0 0 , Bu f o r d , G A
 2.3950 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30518
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ex o t i c Pe b b l e s & Ag g r e g a t e s In c , 2 0 4 5 Co r t e De l No g a l ,
 2.3951 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca r l s b a d , C A 9 2 0 1 1
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e d i t o r s In t ' l o f Wa s h i n g t o n , In c , Ex p e d i t o r s In t e r n a t i o n a l
 2.3952 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ex p e d i t o r s In t e r n a t i o n a l o f
        nature of the debtor's interest                   Wa s h i n g t o n Co n f i d e n t i a l Ag r e e m e n t                                             Of Wa s h i n g t o n , In c , 1 0 1 5 Th i r d Av e , 1 2 Th Fl o o r , Se a t t l e , WA
                                                                                                                                                                 98104
          State the term remaining                        02/10/2023 - 02/09/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e d i t o r s In t ' l o f Wa s h i n g t o n , In c , Ex p e d i t o r s In t e r n a t i o n a l
 2.3953 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ex p e d i t o r s Tr a d e f l o w Se r v i c e s
                                                                                                                                                                 Of Wa s h i n g t o n , In c , 1 0 1 5 Th i r d Av e , 1 2 Th Fl o o r , Se a t t l e , WA
        nature of the debtor's interest                   Pr o p o s a l 2 0 2 3
                                                                                                                                                                 98104
          State the term remaining                        03/01/2023 - 02/28/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e d i t o r s In t ' l o f Wa s h i n g t o n , In c , Ex p e d i t o r s In t e r n a t i o n a l
 2.3954 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ex p e d i t o r s Cu s t o m s Br o k e r a g e 2 0 2 3
                                                                                                                                                                 Of Wa s h i n g t o n , In c , 1 0 1 5 Th i r d Av e , 1 2 Th Fl o o r , Se a t t l e , WA
        nature of the debtor's interest
                                                                                                                                                                 98104
          State the term remaining                        01/01/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e r i a n Ma r k e t i n g So l u t i o n s , In c . , 2 0 0 Ex c h a n g e St r e e t ,
 2.3955 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , Ex p e r i a n Ma r k e t i n g So l u t i o n s - An n u a l
        nature of the debtor's interest                   Re n e w a l 2 0 2 4                                                                                   Pr o v i d e n c e , R I 0 2 9 0 3

          State the term remaining                        02/01/2024 - 01/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ex p e r i s Ma n p o w e r Gr o u p , 5 2 5 We s t Mo n r o e St r e e t , Su i t e 1 5 0 0 ,
 2.3956 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ex p e r i s Ma n p o w e r Gr o u p M S A
        nature of the debtor's interest                                                                                                                          Ch i c a g o , I L 6 0 6 6 1

          State the term remaining                        03/14/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e r i s Ma n p o w e r Gr o u p , 5 2 5 We s t Mo n r o e St r e e t , Su i t e 1 5 0 0 ,
 2.3957 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ex p e r i s S O W Fi n a n c e Ma i n t e n a n c e
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest                   Ag r e e m e n t C O 2 0 2 4

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p e r i s Ma n p o w e r Gr o u p , 5 2 5 We s t Mo n r o e St r e e t , Su i t e 1 5 0 0 ,
 2.3958 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ex p e r i s S O W 2 0 2 4 - 1 C O 1 - W M S Pr o j e c t
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest                   Ma n a g e r Ch r i s Ha r c a r

          State the term remaining                        07/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p r e s s Em p l o y m e n t Pr o f e s s i o n a l s , 5 8 0 Ea s t Te r r a Co t t a
 2.3959 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ex p r e s s Em p l o y m e n t
        nature of the debtor's interest                   Pr o f e s s i o n a l Ra t e Ca r d Ha r v a r d                                                      Av e n u e , Cr y s t a l La k e , I L 6 0 0 1 4

          State the term remaining                        12/20/2020 - 12/19/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p r e s s Sc r i p t s In c , 1 Ex p r e s s Wa y, St Lo u i s , M O 6 3 1 2 1
 2.3960 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ex p r e s s Sc r i p t Le t t e r o f
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p r e s s Sc r i p t s In c , 1 Ex p r e s s Wa y, St Lo u i s , M O 6 3 1 2 1
 2.3961 State what the contract or lease is for and the   H R Se r v i c e s , Ex p r e s s Sc r i p t s - Pr e s c r i p t i o n Dr u g Pr o g r a m
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ex p r e s s i v e De s i g n Gr o u p In c , 4 9 Ga r f i e l d St , Ho l y o k e , M A
 2.3962 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 01040

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ex t e n s i s , 6 9 7 5 Sw Sa n d b u r g St r e e t , Su i t e 2 0 0 , Ti g a r d , O R
 2.3963 State what the contract or lease is for and the
                                                          So f t w a r e , Ex t e n s i s So f t w a r e 2 0 2 4 - Ma r k e t i n g
        nature of the debtor's interest                                                                                                                          97233

          State the term remaining                        10/17/2024 - 10/16/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Ex t e n s i s , 6 9 7 5 Sw Sa n d b u r g St r e e t , Su i t e 2 0 0 , Ti g a r d , O R
 2.3964 State what the contract or lease is for and the
                                                          So f t w a r e , Ex t e n s i s So f t w a r e 2 0 2 3 - Ma r k e t i n g
        nature of the debtor's interest                                                                                                 97233

          State the term remaining                        10/17/2023 - 10/16/2024

          List the contract number of any government
          contract
                                                                                                                                        Ex x e l Ou t d o o r s L L C, 6 2 3 5 Lo o k o u t Ro a d , Su i t e G, Bo u l d e r ,
 2.3965 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        CO 80301
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                        Ey e Ca n d y In f l a t a b l e s In c . , 4 3 0 No r t h f i n c h Dr , No r t h Yo r k ,
 2.3966 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        O N M3 N 1 Y4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        02/01/2020

          List the contract number of any government
          contract
                                                                                                                                        Ey e Le v e l Co r p o r a t i o n , 1 Tr e f o i l Dr i v e , Tr u m b u l l , C T 0 6 6 1 1
 2.3967 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/24/2009

          List the contract number of any government
          contract
                                                                                                                                        Ez Fi n i s h e s In c , 1 7 5 0 Hi g h l a n d Rd , Tw i n s b u r g , O H 4 4 0 8 7
 2.3968 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                        Ez Fo i l / Re y n o l d s , 1 5 0 0 So u t h Wo l f Ro a d , Wh e e l i n g , I L 6 0 0 9 0
 2.3969 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                        Ez Fo i l / Re y n o l d s , 1 5 0 0 So u t h Wo l f Ro a d , Wh e e l i n g , I L 6 0 0 9 0
 2.3970 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                        Ez Fo i l / Re y n o l d s , 1 5 0 0 So u t h Wo l f Ro a d , Wh e e l i n g , I L 6 0 0 9 0
 2.3971 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Ez St r e e t Co m p a n y, 1 3 6 1 1 S Di x i e Hw y, Su i t e 4 3 0 , Mi a m i , F L
 2.3972 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                           33176
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                           Ez St r e e t Co m p a n y, 1 3 6 1 1 S Di x i e Hw y, Su i t e 4 3 0 , Mi a m i , F L
 2.3973 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                           33176
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 06/01/2026

          List the contract number of any government
          contract
                                                                                                                                                           Ez St r e e t Co m p a n y, 1 3 6 1 1 S Di x i e Hw y, Su i t e 4 3 0 , Mi a m i , F L
 2.3974 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    33176

          State the term remaining                        03/29/2018

          List the contract number of any government
          contract
                                                                                                                                                           Ez - Ad Tv, 1 9 0 4 0 So l e d a d Ca n y o n Rd . , Su i t e # 2 3 0 , Sa n t a
 2.3975 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , E Z A D- T V
        nature of the debtor's interest                                                                                                                    Cl a r i t a , C A 9 1 3 8 7

          State the term remaining                        10/30/2019 - 10/29/2025

          List the contract number of any government
          contract
                                                                                                                                                           Ez - Ad Tv, 1 9 0 4 0 So l e d a d Ca n y o n Rd . , Su i t e # 2 3 0 , Sa n t a
 2.3976 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , E Z- A D Ec o m m e r c e Ad d e n d u m f o r
                                                                                                                                                           Cl a r i t a , C A 9 1 3 8 7
        nature of the debtor's interest                   Ma r k e t i n g _ 2 0 2 2 - 2 0 3 0

          State the term remaining                        05/24/2022 - 05/23/2030

          List the contract number of any government
          contract
                                                                                                                                                           Ez - Ad Tv, 1 9 0 4 0 So l e d a d Ca n y o n Rd . , Su i t e # 2 3 0 , Sa n t a
 2.3977 State what the contract or lease is for and the   So f t w a r e , E Z A D So f t w a r e Li c e n s e a n d Se r v i c e Ag r e e m e n t M T S
                                                                                                                                                           Cl a r i t a , C A 9 1 3 8 7
        nature of the debtor's interest                   Ad d e n d u m

          State the term remaining                        11/13/2018

          List the contract number of any government
          contract
                                                                                                                                                           Ez - Ad Tv, 1 9 0 4 0 So l e d a d Ca n y o n Rd . , Su i t e # 2 3 0 , Sa n t a
 2.3978 State what the contract or lease is for and the
                                                          So f t w a r e , E Z A D So f t w a r e Li c e n s e a n d Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                   Lo y a l t y Ad d e n d u m 2 0 2 4                                                              Cl a r i t a , C A 9 1 3 8 7

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                           Ez - Ad Tv, 1 9 0 4 0 So l e d a d Ca n y o n Rd . , Su i t e # 2 3 0 , Sa n t a
 2.3979 State what the contract or lease is for and the   So f t w a r e , E Z A D So f t w a r e Li c e n s e a n d Se r v i c e Ag r e e m e n t
                                                                                                                                                           Cl a r i t a , C A 9 1 3 8 7
        nature of the debtor's interest                   Lo y a l t y Ad d e n d u m

          State the term remaining                        01/01/2022 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ez - Sh i m , In c . , Po Bo x 4 8 2 0 , Sa n t a Ba r b a r a , C A 9 3 1 4 0
 2.3980 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ez s m a r t Gu t t e r Cl e a n e r L L C, 1 9 2 9 S 6 1 St Av e , Om a h a , N E
 2.3981 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     68106
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     F & F Ha r d w a r e In c , 1 2 6 0 Oa k Po i n t Av e , Br o n x , N Y 1 0 4 7 4 -
 2.3982 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 7 7 )
        nature of the debtor's interest                                                                                                              6807

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     F M Br o w n s So n s In c , Po Bo x 2 1 1 6 , 2 0 5 Wo o d r o w Av e ,
 2.3983 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Si n k i n g Sp r i n g , PA 1 9 6 0 8
        nature of the debtor's interest
          State the term remaining                        03/29/2018

          List the contract number of any government
          contract
                                                                                                                                                     F. p . m o r g a n Tr u e Va l u e Hd w. , F P Mo r g a n Tr u e Va l u e , 1 0 8 Ma i n
 2.3984 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 7 9 )
                                                                                                                                                     St , Wa t e r v i l l e , N Y 1 3 4 8 0 - 1 1 6 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     F& M To o l & Pl a s t i c s In c , 1 6 3 Pi o n e e r Dr i v e , Le o m i n s t e r , M A
 2.3985 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              01453

          State the term remaining                        06/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     F3 Br a n d s L L C, 2 4 0 0 N W In d u s t r i a l Pa r k w a y, Mi a m i , O K
 2.3986 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     74354
        nature of the debtor's interest
          State the term remaining                        10/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Fa c k l e r Tr u e Va l u e Re n t a l , 2 3 2 6 Ne w a r k - g r a n v i l l e Rd ,
 2.3987 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 4 )
                                                                                                                                                     Gr a n v i l l e , O H 4 3 0 2 3 - 9 2 9 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fa i r Am e r i c a n In s u r a n c e & Re i n s u r a n c e Co , On e Li b e r t y Pl a z a ,
 2.3988 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                                 1 6 5 Br o a d w a y, Ne w Yo r k , N Y 1 0 0 0 6
        nature of the debtor's interest                   M L X- 1 0 0 1 8 0 5 - 0 1

          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r Ha v e n Hd w e In c , Fa i r Ha v e n Hd w e , 7 5 2 Ri v e r Rd , Fa i r
 2.3989 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 7 3 )
        nature of the debtor's interest                                                                                                                          Ha v e n , N J 0 7 7 0 4 - 3 3 9 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r b a n k s Lu m b e r Tr u e Va l u e , 4 5 2 7 Wh i t e Pl a i n s Rd , Br o n x ,
 2.3990 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 7 2 )
        nature of the debtor's interest                                                                                                                          NY 10470-1608

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r c h i l d In d u s t r i e s In c , 4 7 5 Ca p i t a l Dr i v e , La k e Zu r i c h , I L
 2.3991 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60047
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r c h i l d In d u s t r i e s In c , 4 7 5 Ca p i t a l Dr i v e , La k e Zu r i c h , I L
 2.3992 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60047
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r c h i l d In d u s t r i e s In c , 4 7 5 Ca p i t a l Dr i v e , La k e Zu r i c h , I L
 2.3993 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60047

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r c h i l d In d u s t r i e s In c , 4 7 5 Ca p i t a l Dr i v e , La k e Zu r i c h , I L
 2.3994 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60047
        nature of the debtor's interest
          State the term remaining                        08/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Fa i r c h i l d In d u s t r i e s In c , 4 7 5 Ca p i t a l Dr i v e , La k e Zu r i c h , I L
 2.3995 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60047
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                     Fa i r f i e l d Pa i n t Ll c , 3 0 3 2 Co l u m b u s - l a n c a s t e r Rd . Nw,
 2.3996 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 1 )
                                                                                                                                                                     La n c a s t e r , O H 4 3 1 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r f i e l d Tr u e Va l u e , 2 1 0 0 We s t Bu r l i n g t o n Av e n u e , Fa i r f i e l d ,
 2.3997 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 8 7 )
        nature of the debtor's interest                                                                                                                              IA 52556-2644

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r f i e l d Tr u e Va l u e Ha r d w a r e , 6 0 1 Ce n t r a l Av e , Fa i r f i e l d , M T
 2.3998 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 0 1 )
                                                                                                                                                                     59436-0608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r l e s s Hi l l s Ga r d e n Ce n t e r , 6 3 6 Li n c o l n Hw y. , Fa i r l e s s Hi l l s ,
 2.3999 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 5 )
                                                                                                                                                                     PA 1 9 0 3 0 - 1 4 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r m o n t Si g n Co m p a n y, 3 7 5 0 E Ou t e r Dr , De t r o i t , M I 4 8 2 3 4
 2.4000 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r m o u n t Tr u e Va l u e , 2 3 3 5 Fa i r d a l e Rd , He m p h i l l , T X 7 5 9 4 8 -
 2.4001 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 9 )
                                                                                                                                                                     7250
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i r v i e w Ha r d w a r e , 7 2 4 8 W Ri d g e Rd , Fa i r v i e w, PA 1 6 4 1 5 -
 2.4002 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 7 4 )
                                                                                                                                                                     1166
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Fa i t h Te c h n o l o g i e s , 3 1 9 Ya r d Dr i v e , Ve r o n a , W I 5 3 5 9 3
 2.4003 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Fa i t h t e c h n o l o g i e s Ge n e r a t o r
        nature of the debtor's interest                   Pl a n n e d Ma i n t e n a n c e Ag r e e m e n t f o r a l l R D Cs - 3 Y R

          State the term remaining                        04/01/2023 - 04/30/2026

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Fa i t h Te c h n o l o g i e s , 3 1 9 Ya r d Dr i v e , Ve r o n a , W I 5 3 5 9 3
 2.4004 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Fa i t h t e c h n o l o g i e s U P S- Fu l l Se r v i c e
        nature of the debtor's interest                   Ma i n t e n a n c e Ag r e e m e n t f o r a l l R D C- 3 Y R

          State the term remaining                        01/01/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Ce n t e r Of Bo n n e Te r r e , 1 1 5 Fa m i l y Ce n t e r Dr , Bo n n e
 2.4005 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 5 )
        nature of the debtor's interest                                                                                                                       Te r r e , M O 6 3 6 2 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Ce n t e r Of Fa r m i n g t o n , 1 6 5 Wa l k e r Dr , Fa r m i n g t o n , M O
 2.4006 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 4 )
                                                                                                                                                              63640-2501
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Ce n t e r Of Ve r s a i l l e s , 1 3 3 5 9 Hw y 5 2 , Ve r s a i l l e s , M O
 2.4007 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 6 )
                                                                                                                                                              65084-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Fa r e , 1 4 4 4 4 W Ce n t e r Rd , Om a h a , N E 6 8 1 4 4
 2.4008 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Fa r e , 3 0 0 3 N 1 0 8 t h St , Om a h a , N E 6 8 1 6 4
 2.4009 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Fa r e Ll c , 1 7 4 7 Be n z i e Hw y 3 1 , Be n z o n i a , M I 4 9 6 1 6
 2.4010 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Fa m i l y Fa r e Ll c , 7 8 9 5 Cl y d e Pa r k Av e Sw, By r o n Ce n t e r , M I
 2.4011 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 7 )
        nature of the debtor's interest                                                                                                                       49315

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Fa m i l y Fa r m , 1 3 9 1 Ci n e m a Wa y, Be n t o n Ha r b o r , M I 4 9 0 2 2
 2.4012 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , Fa m i l y Fa r m & Ho m e - Pr i v a t e La b e l
        nature of the debtor's interest                   Cr e d i t Ca r d Pr o g r a m 2 0 2 1

          State the term remaining                        01/08/2021

          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m , 1 3 9 1 Ci n e m a Wa y, Be n t o n Ha r b o r , M I 4 9 0 2 2
 2.4013 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Fa m i l y Fa r m & Ho m e - Ma r k e t i n g Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        02/02/2021

          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ga r d e n , 1 5 4 5 Sa n An t o n i o Av e , Ma n y, L A
 2.4014 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 7 )
                                                                                                                                                           71449
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ho m e ( 0 1 ) Co l d w a t e r , Fa m i l y Fa r m & Ho m e
 2.4015 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 2 )
        nature of the debtor's interest                                                                                                                    ( 0 1 ) Co l d w a , 9 1 0 Ea s t Ch i c a g o Ro a d , Co l d w a t e r , M I 4 9 0 3 6 -
                                                                                                                                                           2055
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ho m e ( 0 2 ) Ba t t l e Cr e e k , Fa m i l y Fa r m & Ho m e
 2.4016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 7 )
                                                                                                                                                           ( 0 2 ) Ba t t l e , 1 6 7 5 We s t Mi c h i g a n , Ba t t l e Cr e e k , M I 4 9 0 3 7 - 1 9 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ho m e ( 0 3 ) Be n t o n Ha r b o r , Fa m i l y Fa r m &
 2.4017 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 3 )
                                                                                                                                                           Ho m e ( 0 3 ) Be n t o n , 1 3 9 1 Ci n e m a Wa y, Be n t o n Ha r b o r , M I
        nature of the debtor's interest
                                                                                                                                                           49022-2328
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ho m e ( 0 4 ) Wa y l a n d , Fa m i l y Fa r m & Ho m e ( 0 4 )
 2.4018 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 4 )
        nature of the debtor's interest                                                                                                                    Wa y l a n , 3 7 6 Re n o Dr i v e , Wa y l a n d , M I 4 9 3 4 8 - 1 2 7 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fa m i l y Fa r m & Ho m e ( 0 5 ) Al m a , 7 6 0 0 No r t h Al g e r Ro a d , Al m a ,
 2.4019 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 5 )
        nature of the debtor's interest                                                                                                                    MI 48801-9319

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 0 6 ) Pe r u , 7 8 0 N Br o a d w a y, Pe r u , I N
 2.4020 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 6 )
        nature of the debtor's interest                                                                                                              46970-1027

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 0 7 ) Ri c h m o n d , Fa m i l y Fa r m & Ho m e
 2.4021 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 0 2 )
                                                                                                                                                     ( 0 7 ) Ri c h m o , 6 6 8 7 5 Gr a t i o t , Ri c h m o n d , M I 4 8 0 6 2 - 1 9 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 0 8 ) Ma s o n , 5 5 8 N Ce d a r St r e e t , Ma s o n ,
 2.4022 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 7 )
                                                                                                                                                     MI 48854-1015
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 0 9 ) Gr a n d Ra p i d s , Fa m i l y Fa r m & Ho m e
 2.4023 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 8 )
        nature of the debtor's interest                                                                                                              ( 0 9 ) Gr a n d , 4 3 2 5 Pl a i n f i e l d Av e N. e . , Gr a n d Ra p i d s , M I 4 9 5 2 5 -
                                                                                                                                                     1613
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 0 ) Gl a d w i n , Fa m i l y Fa r m & Ho m e ( 1 0 )
 2.4024 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 1 9 )
                                                                                                                                                     Gl a d w i , 1 2 6 0 E. Ce d a r Av e . . , Gl a d w i n , M I 4 8 6 2 4 - 7 0 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 1 ) Al l e n d a l e , Fa m i l y Fa r m & Ho m e
 2.4025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 0 )
                                                                                                                                                     ( 1 1 ) Al l e n d , 6 1 0 1 La k e Mi c h i g a n Dr i v e , Al l e n d a l e , M I 4 9 4 0 1 -
        nature of the debtor's interest
                                                                                                                                                     9215
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 2 ) Ne w a y g o , Fa m i l y Fa r m & Ho m e ( 1 2 )
 2.4026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 1 )
        nature of the debtor's interest                                                                                                              Ne w a y g , 1 3 9 We s t Ri v e r Va l l e y Dr i v e , Ne w a y g o , M I 4 9 3 3 7 -
                                                                                                                                                     8456
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 3 ) Al l e g a n , Fa m i l y Fa r m & Ho m e ( 1 3 )
 2.4027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 2 )
                                                                                                                                                     Al l e g a , 1 5 9 6 Li n c o l n Ro a d , Al l e g a n , M I 4 9 0 1 0 - 9 1 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 4 ) Ch a r l e v o i x , Fa m i l y Fa r m & Ho m e
 2.4028 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 3 )
                                                                                                                                                     ( 1 4 ) Ch a r l e , 6 5 0 0 M6 6 No r t h , Ch a r l e v o i x , M I 4 9 7 2 0 - 9 2 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 5 ) Ga y l o r d , Fa m i l y Fa r m & Ho m e ( 1 5 )
 2.4029 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 6 )
                                                                                                                                                     Ga y l o r , 1 4 0 1 W Ma i n St r e e t , Ga y l o r d , M I 4 9 7 3 5 - 2 0 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 6 ) Ma n i s t e e , Fa m i l y Fa r m & Ho m e ( 1 6 )
 2.4030 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 4 )
        nature of the debtor's interest                                                                                                              Ma n i s t , 1 1 8 3 Us Hi g h w a y 3 1 s , Ma n i s t e e , M I 4 9 6 6 0 - 2 2 3 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 7 ) Po r t l a n d , Fa m i l y Fa r m & Ho m e ( 1 7 )
 2.4031 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 5 )
                                                                                                                                                     Po r t l a , 1 8 7 0 E. Gr a n d Ri v e r Av e , Po r t l a n d , M I 4 8 8 7 5 - 9 5 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 8 ) Re e d Ci t y, Fa m i l y Fa r m & Ho m e
 2.4032 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 6 )
                                                                                                                                                     ( 1 8 ) Re e d C, 2 1 8 7 5 N Pa r k St r e e t , Re e d Ci t y, M I 4 9 6 7 7 - 9 3 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 1 9 ) Mu s k e g o n , Fa m i l y Fa r m & Ho m e
 2.4033 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 7 )
        nature of the debtor's interest                                                                                                              ( 1 9 ) Mu s k e g , 2 3 0 1 Ho l t o n Ro a d , Mu s k e g o n , M I 4 9 4 4 5 - 1 6 7 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 0 ) Sw a r t z Cr e e k , Fa m i l y Fa r m & Ho m e
 2.4034 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 3 )
        nature of the debtor's interest                                                                                                              ( 2 0 ) Sw a r t z , 4 3 1 5 El m s Ro a d , Sw a r t z Cr e e k , M I 4 8 4 7 3 - 1 5 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 1 ) Ho l l a n d , Fa m i l y Fa r m & Ho m e ( 2 1 )
 2.4035 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 8 )
                                                                                                                                                     Ho l l a n , 7 1 6 Ch i c a g o Dr i v e St e 5 0 0 , Su i t e 5 0 0 , Ho l l a n d , M I
        nature of the debtor's interest
                                                                                                                                                     49423-4098
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 2 ) Al m o n t , 8 8 8 Va n Dy k e Hi g h w a y,
 2.4036 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 2 9 )
                                                                                                                                                     Al m o n t , M I 4 8 0 0 3 - 8 5 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 3 ) Ch e l s e a , Fa m i l y Fa r m & Ho m e ( 2 3 )
 2.4037 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 4 )
                                                                                                                                                     Ch e l s e , 1 0 4 0 So u t h Ma i n St r e e t , Ch e l s e a , M I 4 8 1 1 8 - 1 4 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 4 ) Cl a r e , 1 0 3 6 0 S Cl a r e Av e , Cl a r e , M I
 2.4038 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 5 )
        nature of the debtor's interest                                                                                                              48617-1497

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 5 ) Co r u n n a , Fa m i l y Fa r m & Ho m e ( 2 5 )
 2.4039 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 3 0 )
                                                                                                                                                     Co r u n n , 2 5 0 0 Ea s t M- 2 1 , Co r u n n a , M I 4 8 8 1 7 - 1 1 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 6 ) Au b u r n , 3 5 0 N. Gr a n d s t a f f Dr ,
 2.4040 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 3 1 )
                                                                                                                                                     Au b u r n , I N 4 6 7 0 6 - 1 6 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 7 ) Sp a r t a , 5 3 Ap p l e w o o d Dr i v e , Sp a r t a ,
 2.4041 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 8 )
        nature of the debtor's interest                                                                                                              MI 49345-1709

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 8 ) Ca d i l l a c , Fa m i l y Fa r m & Ho m e ( 2 8 )
 2.4042 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 3 3 )
                                                                                                                                                     Ca d i l l , 2 0 2 5 No r t h Mi t c h e l l , Ca d i l l a c , M I 4 9 6 0 1 - 1 1 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 2 9 ) St . Jo h n s , Fa m i l y Fa r m & Ho m e ( 2 9 )
 2.4043 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 3 )
                                                                                                                                                     St . Jo , 1 9 7 7 S Sc o t t s Ro a d , St Jo h n s , M I 4 8 8 7 9 - 9 0 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 1 ) Ad r i a n , 1 3 9 2 S Ma i n St r e e t , Ad r i a n ,
 2.4044 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 3 4 )
                                                                                                                                                     MI 49221-4307
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 2 ) Th r e e Ri v e r s , Fa m i l y Fa r m & Ho m e
 2.4045 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 1 3 )
        nature of the debtor's interest                                                                                                              ( 3 2 ) Th r e e , 1 3 2 6 W Br o a d w a y, Th r e e Ri v e r s , M I 4 9 0 9 3 - 8 5 7 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 4 ) Fe n t o n , 1 5 1 0 0 Si l v e r Pa r k w a y,
 2.4046 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 5 2 )
        nature of the debtor's interest                                                                                                              Fe n t o n , M I 4 8 4 3 0 - 3 4 4 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 5 ) De f i a n c e , Fa m i l y Fa r m & Ho m e ( 3 5 )
 2.4047 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 0 )
                                                                                                                                                     De f i a n , 1 5 0 0 No r t h Cl i n t o n St , St e 6 , De f i a n c e , O H 4 3 5 1 2 -
        nature of the debtor's interest
                                                                                                                                                     2502
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 6 ) Ch a r l o t t e , Fa m i l y Fa r m & Ho m e
 2.4048 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 1 )
        nature of the debtor's interest                                                                                                              ( 3 6 ) Ch a r l o , 1 6 5 8 La n s i n g Ro a d , Ch a r l o t t e , M I 4 8 8 1 3 - 8 4 5 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 7 ) Bo w l i n g Gr e e n , Fa m i l y Fa r m &
 2.4049 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 5 3 )
        nature of the debtor's interest                                                                                                              Ho m e ( 3 7 ) Bo w l i n , 1 0 8 0 S Ma i n St A, Bo w l i n g Gr e e n , O H
                                                                                                                                                     43402-4741
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 8 ) Ce d a r Sp r i n g s , Fa m i l y Fa r m &
 2.4050 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 7 )
                                                                                                                                                     Ho m e ( 3 8 ) Ce d a r , 4 1 7 5 1 7 Mi l e Rd , Ce d a r Sp r i n g s , M I 4 9 3 1 9 -
        nature of the debtor's interest
                                                                                                                                                     9451
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 3 9 ) Au s t i n t o w n , Fa m i l y Fa r m & Ho m e
 2.4051 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 9 0 )
                                                                                                                                                     ( 3 9 ) Au s t i n , 4 4 7 7 Ma h o n i n g Av e , Au s t i n t o w n To w n s h i p , O H
        nature of the debtor's interest
                                                                                                                                                     44515-1602
          State the term remaining
          List the contract number of any government
          contract
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                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 0 ) Bu c y r u s , Fa m i l y Fa r m & Ho m e ( 4 0 )
 2.4052 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 9 )
                                                                                                                                                     Bu c y r u , 2 4 6 0 Ea s t Ma n s f i e l d St r e e t , Bu c y r u s , O H 4 4 8 2 0 - 2 0 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 1 ) Sa n d u s k y, Fa m i l y Fa r m & Ho m e
 2.4053 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 9 0 )
        nature of the debtor's interest                                                                                                              ( 4 1 ) Sa n d u s , 6 0 5 We s t Sa n i l a c , Sa n d u s k y, M I 4 8 4 7 1 - 9 7 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 3 ) Al l i a n c e , Fa m i l y Fa r m & Ho m e ( 4 3 )
 2.4054 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 4 )
                                                                                                                                                     Al l i a n , 1 3 7 0 Ea s t St a t e St r e e t , Al l i a n c e , O H 4 4 6 0 1 - 4 9 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 4 ) No r t h w o o d , Fa m i l y Fa r m & Ho m e
 2.4055 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 5 )
                                                                                                                                                     ( 4 4 ) No r t h w, 3 7 0 0 Wi l l i s t o n Ro a d , No r t h w o o d , O H 4 3 6 1 9 - 2 0 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 7 ) Pi q u a , 1 2 4 3 E As h St r e e t , Su i t e 2 0 0 ,
 2.4056 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 6 )
        nature of the debtor's interest                                                                                                              Pi q u a , O H 4 5 3 5 6 - 4 1 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 8 ) Bl u f f t o n , Fa m i l y Fa r m & Ho m e ( 4 8 )
 2.4057 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 7 )
                                                                                                                                                     Bl u f f t , 9 9 0 N Ma i n St r e e t , Bl u f f t o n , I N 4 6 7 1 4 - 1 3 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 9 ) Fi n d l a y, Fa m i l y Fa r m & Ho m e ( 4 9 )
 2.4058 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 8 )
                                                                                                                                                     Fi n d l a , 1 5 2 7 6 Us Ro u t e 2 2 4 , Fi n d l a y, O H 4 5 8 4 0 - 9 3 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 0 ) Bi g Ra p i d s , Fa m i l y Fa r m & Ho m e
 2.4059 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 7 )
        nature of the debtor's interest                                                                                                              ( 5 0 ) Bi g Ra , 1 2 5 0 Pe r r y Av e , Bi g Ra p i d s , M I 4 9 3 0 7 - 2 1 1 5

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 1 ) Fl a t Ro c k , Fa m i l y Fa r m & Ho m e
 2.4060 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 8 )
        nature of the debtor's interest                                                                                                              ( 5 1 ) Fl a t R, 2 7 3 1 1 Te l e g r a p h Rd , Fl a t Ro c k , M I 4 8 1 3 4 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 2 ) Mo n r o e , 2 0 5 N Te l e g r a p h Rd ,
 2.4061 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 0 )
        nature of the debtor's interest                                                                                                              Mo n r o e , M I 4 8 1 6 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 3 ) Ba d Ax e , Fa m i l y Fa r m & Ho m e ( 5 3 )
 2.4062 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 1 )
                                                                                                                                                     Ba d Ax , 7 6 0 N Va n Dy k e , Su i t e A, Ba d Ax e , M I 4 8 4 1 3 - 1 1 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 4 ) Hi l l s d a l e , Fa m i l y Fa r m & Ho m e ( 5 4 )
 2.4063 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 4 )
                                                                                                                                                     Hi l l s , 2 9 8 2 We s t Ca r l e t o n Rd , Hi l l s d a l e , M I 4 9 2 4 2 - 1 3 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 6 ) Hi l l s b o r o , Fa m i l y Fa r m & Ho m e
 2.4064 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 5 )
        nature of the debtor's interest                                                                                                              ( 5 6 ) Hi l l s b , 1 4 7 2 No r t h Hi g h St , Hi l l s b o r o , O H 4 5 1 3 3 - 9 4 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 7 ) Wa s h i n g t o n , Fa m i l y Fa r m & Ho m e
 2.4065 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 9 )
                                                                                                                                                     ( 5 7 ) Wa s h i n , 6 6 0 3 0 Va n d y k e , Wa s h i n g t o n , M I 4 8 0 9 5 - 2 0 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 8 ) Ha r r i s o n , Fa m i l y Fa r m & Ho m e ( 5 8 )
 2.4066 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 3 5 )
                                                                                                                                                     Ha r r i s , 1 0 5 0 1 Ne w Ha v e n Ro a d , Ha r r i s o n , O H 4 5 0 3 0 - 2 7 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 5 9 ) Ma d i s o n , Fa m i l y Fa r m & Ho m e ( 5 9 )
 2.4067 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 4 )
        nature of the debtor's interest                                                                                                              Ma d i s o , 6 6 0 0 N Ri d g e Ro a d , Ma d i s o n , O H 4 4 0 5 7 - 2 5 5 4

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 0 ) Ha g e r s t o w n , Fa m i l y Fa r m & Ho m e
 2.4068 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 8 )
        nature of the debtor's interest                                                                                                              ( 6 0 ) Ha g e r s , 1 5 3 9 Po t o m a c Av e , Ha g e r s t o w n , M D 2 1 7 4 2 - 2 9 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 1 ) Me a d v i l l e , Fa m i l y Fa r m & Ho m e
 2.4069 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 9 )
                                                                                                                                                     ( 6 1 ) Me a d v, 1 6 2 1 8 Co n n e a u t La k e Ro a d , Me a d v i l l e , PA 1 6 3 3 5 -
        nature of the debtor's interest
                                                                                                                                                     3804
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 2 ) Ho w e l l , Fa m i l y Fa r m & Ho m e ( 6 2 )
 2.4070 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 2 9 )
                                                                                                                                                     Ho w e l , 3 6 8 5 E Gr a n d Ri v e r Av e . , Ho w e l l , M I 4 8 8 4 3 - 7 6 5 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 3 ) Ma n s f i e l d , Fa m i l y Fa r m & Ho m e
 2.4071 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 8 2 )
        nature of the debtor's interest                                                                                                              ( 6 3 ) Ma n s f i , 2 1 9 6 We s t 4 t h St r e e t , Ma n s f i e l d , O H 4 4 9 0 6 - 1 2 0 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 4 ) St r e e t s b o r o , Fa m i l y Fa r m & Ho m e
 2.4072 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 5 9 )
                                                                                                                                                     ( 6 4 ) St r e e t , 9 0 5 9 St a t e Rt e 1 4 Su i t e A, St r e e t s b o r o , O H 4 4 2 4 1 -
        nature of the debtor's interest
                                                                                                                                                     5669
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 5 ) Ka l k a s k a , Fa m i l y Fa r m & Ho m e ( 6 5 )
 2.4073 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 8 )
                                                                                                                                                     Ka l k a s , 7 8 4 S Ce d a r St , Ka l k a s k a , M I 4 9 6 4 6 - 8 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 6 ) Br o o k l y n , Fa m i l y Fa r m & Ho m e
 2.4074 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 7 )
        nature of the debtor's interest                                                                                                              ( 6 6 ) Br o o k l , 4 0 0 So u t h Ma i n St r e e t , Br o o k l y n , M I 4 9 2 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 7 ) Wh i t e h a l l , Fa m i l y Fa r m & Ho m e
 2.4075 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 8 )
                                                                                                                                                     ( 6 7 ) Wh i t e h , 3 1 6 5 Co l b y Ro a d , Wh i t e h a l l , M I 4 9 4 6 1 - 9 6 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 8 ) Ha s t i n g s , Fa m i l y Fa r m & Ho m e ( 6 8 )
 2.4076 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 6 8 )
        nature of the debtor's interest                                                                                                              Ha s t i n , 7 6 0 We s t St a t e St r e e t , Ha s t i n g s , M I 4 9 0 5 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 6 9 ) Te c u m s e h , Fa m i l y Fa r m & Ho m e
 2.4077 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 2 )
                                                                                                                                                     ( 6 9 ) Te c u m s , 2 6 5 5 We s t Ch i c a g o Dr i v e , Te c u m s e h , M I 4 9 2 8 6 -
        nature of the debtor's interest
                                                                                                                                                     0001
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 7 0 ) Cl a r i o n , 2 2 6 3 1 Pa 6 8 , Cl a r i o n , PA
 2.4078 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 8 )
                                                                                                                                                     16214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 7 1 ) Be l l e f o n t a i n e , 1 7 1 0 S Ma i n St ,
 2.4079 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 5 )
        nature of the debtor's interest                                                                                                              Be l l e f o n t a i n e , O H 4 3 3 1 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 7 5 ) Er i e , 7 2 0 0 Pe a c h St r e e t Un i t 1 8 0 ,
 2.4080 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 4 )
                                                                                                                                                     Er i e , PA 1 6 5 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 7 6 ) Fr u i t p o r t , 5 5 8 0 Ha r v e y St Su i t e A,
 2.4081 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 3 )
                                                                                                                                                     Mu s k e g o n , M I 4 9 4 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( w h s e ) ( 9 0 ) El y r i a , Fa m i l y Fa r m & Ho m e
 2.4082 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 3 )
        nature of the debtor's interest                                                                                                              ( w h s e ) ( 9 0 ) , 8 0 5 Le o Bu l l o c k s Pa r k w a y, El y r i a , O H 4 4 0 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( w h s e ) Gr a n d Ra p i d s , Fa m i l y Fa r m &
 2.4083 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 2 )
                                                                                                                                                     Ho m e ( w h s e ) Gr a n , 2 3 5 6 Tu r n e r Av e Nw, Su i t e A, Gr a n d
        nature of the debtor's interest
                                                                                                                                                     Ra p i d s , M I 4 9 5 4 4 - 2 0 0 6
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m & Ho m e # 7 2 Al i q u i p p a , Fa m i l y Fa r m & Ho m e
 2.4084 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 3 )
                                                                                                                                                     ( 7 2 ) Al i q u i p p a , 3 1 1 3 Gr e e n Ga r d e n Rd , Al i q u i p p a , PA 1 5 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e # 7 3 Be l l e Ve r n o n , Fa m i l y Fa r m & Ho m e
 2.4085 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 4 )
                                                                                                                                                     ( 7 3 ) Be l l e Ve r n o n , 8 0 0 Ro s t r a v e r Rd , Be l l e Ve r n o n , PA 1 5 0 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e # 7 4 Gr e e n v i l l e , Fa m i l y Fa r m & Ho m e
 2.4086 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 5 )
        nature of the debtor's interest                                                                                                              ( 7 4 ) Gr e e n v i l l e , 1 3 2 5 W Wa s h i n g t o n St , Gr e e n v i l l e , M I 4 8 8 3 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e Mu s k e g o n , 9 0 0 Th i r d St r e e t , Su i t e 3 0 2 ,
 2.4087 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 1 )
                                                                                                                                                     Mu s k e g o n , M I 4 9 4 4 0 - 1 1 5 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e Po g Ro o m , 4 3 2 5 Pl a i n f i e l d Av e Ne ,
 2.4088 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 5 )
                                                                                                                                                     Gr a n d Ra p i d s , M I 4 9 5 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e , In c ( 4 2 ) Bu r t o n , Fa m i l y Fa r m & Ho m e
 2.4089 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 9 1 )
        nature of the debtor's interest                                                                                                              In c ( 4 2 ) B, 1 1 4 5 N Be l s a y Rd , Bu r t o n , M I 4 8 5 0 9 - 1 6 5 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e , In c ( 4 5 ) Wa s h i n g t o n Co u r t Ho u s e ,
 2.4090 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 6 )
        nature of the debtor's interest                                                                                                              Fa m i l y Fa r m & Ho m e i n c ( 4 5 ) Wa , 2 1 0 0 Co l u m b u s Av e ,
                                                                                                                                                     Wa s h i n g t o n Co u r t Ho u s e , O H 4 3 1 6 0 - 1 1 5 2
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m & Ho m e ( 4 6 ) Wa r r e n , 3 8 5 0 El m Ro a d , Wa r r e n , O H
 2.4091 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 7 )
                                                                                                                                                     44483-2648
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa m i l y Fa r m St o r e s , 2 0 5 Di l l o n St . , Sp e a r m a n , T X 7 9 0 8 1 - 2 0 5 8
 2.4092 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Fa r m St o r e s , Tr u e Va l u e , Fa m i l y Fa r m St o r e s Tr u e
 2.4093 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 6 4 )
                                                                                                                                                     Va l u e , 5 0 1 No r t h Du m a s Av e , Du m a s , T X 7 9 0 2 9 - 2 4 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y St o r e s Tr u e Va l u e , 4 8 6 0 S Re d w o o d Rd , Ta y l o r s v i l l e ,
 2.4094 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 5 1 )
        nature of the debtor's interest                                                                                                              UT 84123-4226

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Tr e e Nu r s e r y H& g s , 7 0 3 6 Ni e m a n Rd . , Sh a w n e e , K S
 2.4095 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 7 1 )
                                                                                                                                                     66203-4030
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa m i l y Tr e e Nu r s e r y H& g s , 8 4 2 4 Fa r l e y St . , Ov e r l a n d Pa r k , K S
 2.4096 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 7 0 )
                                                                                                                                                     66212-4426
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa n t a s t i c Ga r d e n s Ar u b a N. v. , Bu s h i r i 1 4 , Or a n j e s t a d , Ar u b a
 2.4097 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r No r t h In t ' l , Fa r No r t h In t e r n a t i o n a l , 2 4 0 5 W Ha v e n
 2.4098 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Av e n u e , Ne w Le n o x , I L 6 0 4 5 1
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Fa r g o Re n t a l l , 3 2 0 1 3 2 St So u t h , Fa r g o , N D 5 8 1 0 4 - 8 8 1 5
 2.4099 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 0 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fa r i b a u l t Fl e e t Su p p l y, 8 0 We s t e r n Av e , Fa r i b a u l t , M N 5 5 0 2 1 -
 2.4100 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 2 3 )
                                                                                                                                                                 4517
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m & Ci t y Su p p l y, 1 8 2 5 E Ar m y Po s t Ro a d , De s Mo i n e s , I A
 2.4101 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 7 7 )
        nature of the debtor's interest                                                                                                                          50320-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m & Ho m e Lu m b e r , 7 0 1 7 t h Av e , Hu d s o n , C O 8 0 6 4 2 - 0 0 0 1
 2.4102 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 6 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m & Ho m e Se r v i c e , 7 6 2 5 Ma i n St r e e t , Sy k e s v i l l e , M D
 2.4103 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 1 )
                                                                                                                                                                 21784
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m In n o v a t o r s , P O Bo x 5 4 6 , Pl y m o u t h , I N 4 6 5 6 3
 2.4104 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m In n o v a t o r s , P O Bo x 5 4 6 , Pl y m o u t h , I N 4 6 5 6 3
 2.4105 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m In n o v a t o r s , P O Bo x 5 4 6 , Pl y m o u t h , I N 4 6 5 6 3
 2.4106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa r m In n o v a t o r s , P O Bo x 5 4 6 , Pl y m o u t h , I N 4 6 5 6 3
 2.4107 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa r m In n o v a t o r s , P O Bo x 5 4 6 , Pl y m o u t h , I N 4 6 5 6 3
 2.4108 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Fa r m St o r e Tr u e Va l u e , 9 0 9 0 Us Hi g h w a y 7 0 E, Mc e w e n , T N
 2.4109 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 5 )
        nature of the debtor's interest                                                                                                              37101

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m Su p p l y Tr u e Va l u e , 1 0 0 Lo u i s Dr i v e , Ba r n e s v i l l e , G A
 2.4110 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 7 )
                                                                                                                                                     30204-1480
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r Jo h n ' s Gr e e n h o u s e , 2 6 9 5 0 Ha g g e r t y Ro a d , Fa r m i n g t o n
 2.4111 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 0 )
                                                                                                                                                     Hi l l s , M I 4 8 3 3 1 - 3 4 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Co o p e r a t i v e In c , 1 8 4 1 Ho w a r d St r e e t W, Li v e Oa k , F L
 2.4112 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 8 )
        nature of the debtor's interest                                                                                                              32064

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Ma r k e t Fo o d s L L C, 1 4 2 0 En s e l l Rd . , La k e Zu r i c h , I L
 2.4113 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60047
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Ma r k e t Ga r d e n Ce n t e r , 4 1 1 0 N. El s t o n Av e n u e ,
 2.4114 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 4 )
                                                                                                                                                     Ch i c a g o , I L 6 0 6 1 8 - 2 1 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Tr u e Va l u e Co n w a y, 4 3 0 N Ne w p o r t Av e , Co n w a y, M O
 2.4115 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 8 )
        nature of the debtor's interest                                                                                                              65632-0001

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fa r m e r s Tr u e Va l u e Ex c h a n g e , 2 5 5 So u t h Ma d i s o n St r e e t ,
 2.4116 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 3 0 )
        nature of the debtor's interest                                                                                                              Le b a n o n , M O 6 5 5 3 6 - 3 1 4 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Tr u e Va l u e Hd w e , 2 2 1 S Ad a m s Av e , Ra y n e , L A
 2.4117 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 7 0 )
        nature of the debtor's interest                                                                                                              70578-5835

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r m e r s Un i o n Lu m b e r Tr u e Va l u e , Fa r m e r s Un i o n Lu m b e r Tr u e
 2.4118 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 0 6 )
                                                                                                                                                     Va l u , 1 0 1 2 n d Av e S, Wo l f Po i n t , M T 5 9 2 0 1 - 1 5 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r n h a m & Pf i l e Re n t a l s , Fa r n h a m & Pf i l e Rt l s / i n d u s e r v e , 4 3 0 6
 2.4119 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 0 1 )
        nature of the debtor's interest                                                                                                              St a t e Rt e 5 1 S, Be l l e Ve r n o n , PA 1 5 0 1 2 - 3 5 3 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r r e l l Ca l h o u n Co . In c . , 2 2 1 Ea s t Ca r o l i n a Av e n u e , Me m p h i s ,
 2.4120 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 5 9 )
        nature of the debtor's interest                                                                                                              TN 38126

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r r s Tr u e Va l u e Ha r d w a r e , 2 2 0 N Ce n t r a l , Co q u i l l e , O R
 2.4121 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 7 4 )
                                                                                                                                                     97423-1242
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r r s Tr u e Va l u e Hd w e , 8 8 0 S 1 s t St , Co o s Ba y, O R 9 7 4 2 0 -
 2.4122 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 7 5 )
                                                                                                                                                     1566
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fa r v e r Tr u e Va l u e Ha r d w a r e , 2 8 0 0 1 s t Av e E, Ne w t o n , I A
 2.4123 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 2 2 )
        nature of the debtor's interest                                                                                                              50208-2700

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Fa s s e De c o r a t i n g Ce n t e r , 2 1 5 Pi n e St r e e t , Sh e b o y g a n Fa l l s , W I
 2.4124 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 3 )
        nature of the debtor's interest                                                                                                                           53085

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Fa s t e n a l , 2 0 0 1 Th e u r e r Bl v d . , Wi n o n a , M N 5 5 9 8 7
 2.4125 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Fa s t e n a l - Fa s t So l u t i o n s Ag r e e m e n t 2 0 2 1
        nature of the debtor's interest
          State the term remaining                        03/06/2021

          List the contract number of any government
          contract
                                                                                                                                                                  Fa s t e n a l , 2 0 0 1 Th e u r e r Bl v d . , Wi n o n a , M N 5 5 9 8 7
 2.4126 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Fa s t e n a l Ag r e e m e n t 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Fa s t e n a l , 2 0 0 1 Th e u r e r Bl v d . , Wi n o n a , M N 5 5 9 8 7
 2.4127 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Fa s t e n a l - At l a n t a Di s t r i b u t i o n Ce n t e r
        nature of the debtor's interest
          State the term remaining                        12/12/2019 - 12/11/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Fa s t s p r i n g , 8 0 1 Ga r d e n St r e e t Su i t e 2 0 1 , Sa n t a Ba r b a r a , C A
 2.4128 State what the contract or lease is for and the   So f t w a r e , Fa s t Sp r i n g Re s e l l e r f o r 6 5 B I T So f t w a r e Li m i t e d -
                                                                                                                                                                  93101
        nature of the debtor's interest                   Ea s y Ca t a l o g C C Up g r a d e

          State the term remaining                        02/22/2024 - 02/21/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Fa s t s p r i n g , 8 0 1 Ga r d e n St r e e t Su i t e 2 0 1 , Sa n t a Ba r b a r a , C A
 2.4129 State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Te c h Sm i t h -
                                                                                                                                                                  93101
        nature of the debtor's interest                   Ca m t a s i a ® / Sn a g i t ® Bu n d l e Ma i n t e n a n c e 2 0 2 3

          State the term remaining                        07/06/2023 - 07/06/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Fa t h e r Na t u r e ' s Ga r d e n Ce n t e r , Fa t h e r Na t u r e ` s Ga r d e n Ce n t e r ,
 2.4130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 0 9 )
        nature of the debtor's interest                                                                                                                           5 5 9 Ro u t e 2 5 a , Sa i n t Ja m e s , N Y 1 1 7 8 0 - 1 4 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Fa u c e t Qu e e n s In c , 6 5 0 Fo r e s t Ed g e Dr i v e , Ve r n o n Hi l l s , I L
 2.4131 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                  60061
        nature of the debtor's interest
          State the term remaining                        07/01/2020

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fa u l t l e s s / Bo n Am i Co , 1 0 2 5 We s t 8 Th St , Ka n s a s Ci t y, M O
 2.4132 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 64101

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fa u l t l e s s / Bo n Am i Co , 1 0 2 5 We s t 8 Th St , Ka n s a s Ci t y, M O
 2.4133 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 64101
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fa u l t l e s s / Bo n Am i Co , 1 0 2 5 We s t 8 Th St , Ka n s a s Ci t y, M O
 2.4134 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 64101
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Fa u l t l e s s / Bo n Am i Co , 1 0 2 5 We s t 8 Th St , Ka n s a s Ci t y, M O
 2.4135 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64101

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fa y a r d Ha r d w a r e , 8 0 Wi l s o n Bl v d S, Na p l e s , F L 3 4 1 1 7 - 9 3 8 6
 2.4136 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fb g Bo t t l i n g Gr o u p L L C, Po Bo x 9 8 4 1 , 1 5 2 3 Al u m Cr e e k Dr ,
 2.4137 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co l u m b u s , O H 4 3 2 0 9
        nature of the debtor's interest
          State the term remaining                        02/01/2023 - 12/31/9999

          List the contract number of any government
          contract
                                                                                                                                                                 Fb g Bo t t l i n g Gr o u p L L C, Po Bo x 9 8 4 1 , 1 5 2 3 Al u m Cr e e k Dr ,
 2.4138 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Co l u m b u s , O H 4 3 2 0 9

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fb g Bo t t l i n g Gr o u p L L C, Po Bo x 9 8 4 1 , 1 5 2 3 Al u m Cr e e k Dr ,
 2.4139 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co l u m b u s , O H 4 3 2 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fb i Se c u r i t y, 4 6 7 N. 7 t h St . , Ph i l a d e l p h i a , PA 1 9 1 2 3
 2.4140 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Mo g u l / Ch a m p / Wa g n e r , 3 1 6 8 Ri v e r p o r t Te c h Ce n t e r
 2.4141 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i , Ma r y l a n d He i g h t s , M O 6 3 0 4 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Mo g u l / Ch a m p / Wa g n e r , 3 1 6 8 Ri v e r p o r t Te c h Ce n t e r
 2.4142 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Dr i , Ma r y l a n d He i g h t s , M O 6 3 0 4 3

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Mo g u l / Ch a m p / Wa g n e r , 3 1 6 8 Ri v e r p o r t Te c h Ce n t e r
 2.4143 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Dr i , Ma r y l a n d He i g h t s , M O 6 3 0 4 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Pr o c e s s Co r p , 4 5 2 0 Ri c h m o n d Rd , Cl e v e l a n d , O H
 2.4144 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44128
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Pr o c e s s Co r p , 4 5 2 0 Ri c h m o n d Rd , Cl e v e l a n d , O H
 2.4145 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44128

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Pr o c e s s Co r p , 4 5 2 0 Ri c h m o n d Rd , Cl e v e l a n d , O H
 2.4146 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 44128
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e r a l Re c y c l i n g Co r s i c a n a , Fe d e r a l Re c y c l i n g Co r s i c a n a
 2.4147 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Fe d e r a l In t e r n a t i o n a l
                                                                                                                                                                 Eq u i p m e n t Re n t a l Ag r e e m e n t 2 0 2 4 , 7 9 3 5 Cl a y t o n Ro a d , St
        nature of the debtor's interest                   Re c y c l i n g a n d Wa s t e So l u t i o n s Co r s i c a n a Eq u i p m e n t Re n t a l
                                                          Ag r e e m e n t 2 0 2 4                                                                               Lo u i s , M O 6 3 1 1 7

          State the term remaining                        05/01/2024 - 04/30/2029

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fe d e x Co r p o r a t i o n , 9 4 2 So u t h Sh a d y Gr o v e Ro a d , Me m p h i s , T N
 2.4148 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Fe d Ex Ag r e e m e n t 2 0 1 0
                                                                                                                                                                 38120
        nature of the debtor's interest
          State the term remaining                        05/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Fe d e x Co r p o r a t i o n , 9 4 2 So u t h Sh a d y Gr o v e Ro a d , Me m p h i s , T N
 2.4149 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Fe d Ex Ag r e e m e n t 2 0 2 4
                                                                                                                                                                 38120
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fe e d Ba r n Ja c k s o n , 1 1 2 6 1 Pr o s p e c t Dr. , Ja c k s o n , C A 9 5 6 4 2
 2.4150 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe e d Mi l l Ce n t r a l St a t e s Di s t r i b u t i o n , Fe e d Mi l l Ce n t r a l St a t e s
 2.4151 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 3 )
                                                                                                                                                                 Di s t r , 3 3 Pc r 5 4 0 , Pe r r y v i l l e , M O 6 3 7 7 5 - 8 7 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe e d o n o m i c s , 2 1 0 1 1 Wa r n e r Ce n t e r La n e , Su i t e A, Wo o d l a n d
 2.4152 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Fe e d o n o m i c s S O W
                                                                                                                                                                 Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest
          State the term remaining                        02/01/2020 - 03/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i n Po w e r To o l s , 1 0 3 0 Al c o n St . , Pi t t s b u r g h , PA 1 5 2 2 0
 2.4153 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i n Po w e r To o l s In c , 1 0 0 0 Om e g a Dr i v e , Su i t e 1 1 8 0 ,
 2.4154 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pi t t s b u r g h , PA 1 5 2 0 5
        nature of the debtor's interest
          State the term remaining                        08/04/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i n Po w e r To o l s In c , 1 0 0 0 Om e g a Dr i v e , Su i t e 1 1 8 0 ,
 2.4155 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pi t t s b u r g h , PA 1 5 2 0 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4156 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4157 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4158 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4159 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4160 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4161 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4162 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4164 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4165 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4166 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4167 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4168 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4169 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe i t El e c t r i c , 4 9 0 1 Gr e g g Ro a d , Pi c o Ri v e r a , C A 9 0 6 6 0
 2.4170 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fe l d m a n Fa r m & Ho m e , 1 3 3 2 W Ka n s a s St , Li b e r t y, M O 6 4 0 6 8
 2.4171 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fe l d m a n Fa r m & Ho m e , 3 1 0 S 7 Hi g h w a y, Bl u e Sp r i n g s , M O
 2.4172 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 3 )
        nature of the debtor's interest                                                                                                              64014-3051

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe l d m a n Fa r m & Ho m e , 4 3 0 N 1 3 0 t h St , Bo n n e r Sp r i n g s , K S
 2.4173 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 4 )
                                                                                                                                                     66012-9063
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe l d m a n Lu m b e r , 1 2 8 1 Me t r o p o l i t a n Av e , Br o o k l y n , N Y
 2.4174 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 2 1 )
                                                                                                                                                     11237-1102
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe l l o w e s Mf g , Fe l l o w e s Mf g / Un i t e d St a t i o n e , On e Pa r k w a y
 2.4175 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fe l t o n Tr u e Va l u e Pa i n t & Hd w e , 6 2 9 1 Hi g h w a y 9 , Fe l t o n , C A
 2.4176 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 4 0 )
        nature of the debtor's interest                                                                                                              95018-9710

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe m a l e Fa c t o r Co r p o r a t i o n , 9 8 0 N. Mi c h i g a n Av e , Su i t e 1 4 0 0 ,
 2.4177 State what the contract or lease is for and the   Tr a i n i n g Se r v i c e s , Sp e a k e r Se r v i c e s - Br i d g e t Br e n n a n
                                                                                                                                                     Ch i c a g o , I L 6 0 6 1 1
        nature of the debtor's interest
          State the term remaining                        01/24/2013

          List the contract number of any government
          contract
                                                                                                                                                     Fe n c e m a s t e r , 1 0 4 2 7 El e c t r i c Av e , Kn o x v i l l e , T N 3 7 9 3 2
 2.4178 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fe n i x Ma n u f a c t u r i n g , 2 0 0 1 9 Th St , Fu l t o n , I L 6 1 2 5 2
 2.4179 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/07/2010

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4180 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4181 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4184 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4185 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4186 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4187 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fe r n c o In c , 3 0 0 S Da y t o n , Da v i s o n , M I 4 8 4 2 3
 2.4188 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Fe r r a r a Ca n d y Co m p a n y, On e To w e r La n e , Su i t e 2 7 0 0 ,
 2.4189 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Oa k b r o o k Te r r a c e , I L 6 0 1 8 1
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Ac e r o s La Pl a t a Co r p , Fe r r e t e r i a Ac e r o s La Pl a t a
 2.4190 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 6 )
        nature of the debtor's interest                                                                                                              Co r , Ca r r e t e r a 1 2 5 Km 1 8 . 7 , Sa n Se b a s t i a n , P R 0 0 6 8 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a De l Ho g a r Tr u e Va l u e Hd w e . , Fe r r e t e r i a De l Ho g a r
 2.4191 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 7 9 5 )
        nature of the debtor's interest                                                                                                              Tr u e Va l u , 1 5 0 8 Ro o s e v e l t Av e , Gu a y n a b o , P R 0 0 9 6 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a De l Ho g a r Tr u e Va l u e Hd w e . , Fe r r e t e r i a De l Ho g a r
 2.4192 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 5 2 )
                                                                                                                                                     Tr u e Va l u e , 1 5 0 8 Ro o s e v e l t Av e , Gu a y n a b o , P R 0 0 9 6 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a De l Su r , Ca l l e A Nu m 1 6 1 Ba r r i o Ja u c a , Sa n t a
 2.4193 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 3 )
                                                                                                                                                     Is a b e l , P R 0 0 7 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a De l g a d o Ll c , Ca r r e t e r a 1 1 9 Km 5 . 5 , Bo . Pu e n t e
 2.4194 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 2 )
        nature of the debtor's interest                                                                                                              Za r z a , Ca m u y, P R 0 0 6 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a El Gi g a n t e , Ca r r 1 2 3 Km 3 6 . 6 , Bo Ga r z a s , Ad j u n t a s ,
 2.4195 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 0 3 )
                                                                                                                                                     PR 00601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fe r r e t e r i a El Gi g a n t e , In c , Fe r r e t e r i a El Gi g a n t e In c , Ca r r e t e r a
 2.4196 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 1 )
                                                                                                                                                     1 4 0 Km 8 . 3 , Bo . Co l l o r e s , Ja y u y a , P R 0 0 6 6 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a El Te j a r Ag u i l a r Ba t r e s , S. a . , 1 1 Av e n i d a 1 0 - 2 3 Zo n a
 2.4197 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 1 4 )
                                                                                                                                                     1 , Ni t 4 2 2 2 8 3 0 - 1 , Gu a t e m a l a Ci t y, Gu a t e m a l a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Fa i r v i e w, D3 8 Ca r r 8 4 5 , Sa n Ju a n , P R 0 0 9 2 6 - 8 1 0 0
 2.4198 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Gu r a b o Ll c , Ca r r e t e r a 1 8 1 Km 2 2 . 8 , Bo Ce l a d a ,
 2.4199 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 3 1 )
                                                                                                                                                     Gu r a b o , P R 0 0 7 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Mi k e , Ca r r 3 3 0 1 Km 1 . 2 Bo Co m b a t e , Ca b o Ro j o , P R
 2.4200 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 8 )
                                                                                                                                                     00622
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Mi n i l l a s , In c . , Fe r r e t e r i a Mi n i l l a s In c . , Ca r r e t e r a 8 3 1
 2.4201 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 0 )
        nature of the debtor's interest                                                                                                              Km 2 8 , Sa n t a Ju a n i t a Mi n i l l a s , Ba y a m o n , P R 0 0 9 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Q Ch e v e r e In c , Ca r r. 1 6 4 Km 1 5 . 5 , Ba r r i o Pa l m a r e j o ,
 2.4202 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 8 )
                                                                                                                                                     Co r o z a l , P R 0 0 7 8 3 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r e t e r i a Sa n Jo s e , Ca r r e t e r a 6 5 3 Km 1 . 8 Ba r r i o , Ba r r a n c a s
 2.4203 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 0 )
                                                                                                                                                     Se c t o r Ha t o Ab a j o , Ar e c i b o , P R 0 0 3 9 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fe r r e t e r i a T. v. Ex p r e s s Ll c , 1 6 5 Av e Wi n s t o n Ch u r c h i l l , Sa n
 2.4204 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 0 3 )
                                                                                                                                                     Ju a n , P R 0 0 9 2 6 - 6 0 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r i e r s T. v. h d w e . & Fi r e p l a c e Sh o p p e , Fe r r i e r s Tv Hd w &
 2.4205 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 9 )
                                                                                                                                                     Fi r e p l a c e Sh o p p e , 2 8 2 7 W 2 6 t h St , Er i e , PA 1 6 5 0 6 - 3 0 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fe r r y Mo r s e Se e d , Po Bo x 4 8 8 , Fu l t o n , K Y 4 2 0 4 1
 2.4206 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fe s s l e r Nu r s e r y Co m p a n y, 1 2 6 6 6 Mo n i t o r Mc k e e Ro a d Ne ,
 2.4207 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wo o d b u r n , O R 9 7 0 7 1
        nature of the debtor's interest
          State the term remaining                        06/25/2018

          List the contract number of any government
          contract
                                                                                                                                                     Fe s t o o l Us a L L C, 4 0 0 N En t e r p r i s e Bl v d , Le b a n o n , I N 4 6 0 5 2
 2.4208 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/16/2019

          List the contract number of any government
          contract
                                                                                                                                                     Fi b e r By Pr o d u c t s Co r p , 7 0 7 2 1 Us Hw y 1 3 1 , Wh i t e Pi g e o n , M I
 2.4209 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              49099

          State the term remaining                        01/22/2015

          List the contract number of any government
          contract
                                                                                                                                                     Fi b e r d u s t L L C, Fi b e r d u s t L L C, 3 4 La z y Va l l e y Rd ,
 2.4210 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Gl a s t o n b u r y, C T 0 6 0 3 3
        nature of the debtor's interest
          State the term remaining                        04/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Fi d e l i t y Ma n a g e m e n t Tr u s t Co m p a n y, 4 5 Su m m e r St r e e t ,
 2.4211 State what the contract or lease is for and the   H R Se r v i c e s , Fi d e l i t y 4 0 1 K Tr u s t Ag r e e m e n t
                                                                                                                                                     Bo s t o n , M A 0 2 2 1 0
        nature of the debtor's interest
          State the term remaining                        04/01/1994 - 03/31/2028

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi d e l i t y Ma n a g e m e n t Tr u s t Co m p a n y, 4 5 Su m m e r St r e e t ,
 2.4212 State what the contract or lease is for and the   H R Se r v i c e s , Fi d e l i t y - Re c o r d Ke e p i n g Fe e & Of f s e t
                                                                                                                                                                 Bo s t o n , M A 0 2 2 1 0
        nature of the debtor's interest                   Ca l c u l a t i o n Ch a n g e 2 0 1 3

          State the term remaining                        12/18/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Fi d e l i t y Pa p e r & Su p p l y Co r p , 9 0 1 Mu r r a y Ro a d , Ea s t Ha n o v e r ,
 2.4213 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Fi d e l i t y Pa p e r & Su p p l y Co r p
        nature of the debtor's interest                   - Su b l e a s e Ag r e e m e n t - De n v e r                                                         NJ 07936

          State the term remaining                        07/21/2024 - 01/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4214 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4215 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/16/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4218 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4220 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi e b i n g Co m p a n y In c , Po Bo x 6 9 4 , Mi l w a u k e e , W I 5 3 2 0 1
 2.4221 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi e l d Co n t r o l s , 2 6 3 0 Ai r p o r t Rd , Ki n s t o n , N C 2 8 5 0 4
 2.4222 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e l d s h e e r Ap p a r e l Te c h n o l o g i e s , 2 9 1 0 No r m a n St r a s s e Rd ,
 2.4223 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su i t e 1 0 4 , Sa n Ma r c o s , C A 9 2 0 6 9
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Fi e r r o Vi g n o l i S A Fi v i s a , Ur u g u a y Av e n i d a 1 2 7 4 0 ,
 2.4224 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 8 )
        nature of the debtor's interest                                                                                                                          Mo n t e v i d e o , Ur u g u a y

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi e s t a Ga s Gr i l l s , 1 Fi e s t a Dr , Di c k s o n , T N 3 7 0 5 5 - 7 7 1 6
 2.4225 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/27/2006

          List the contract number of any government
          contract
                                                                                                                                                                 Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4226 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Fi f t h Th i r d Ba n k M L A
        nature of the debtor's interest
          State the term remaining                        06/15/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4227 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        05/16/2023 - 05/31/2028

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4228 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        05/16/2023 - 05/31/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4229 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        05/16/2023 - 05/31/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4230 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        06/28/2023 - 06/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4231 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        06/28/2023 - 06/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4232 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4233 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4234 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4235 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4236 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4237 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4238 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4239 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4240 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4241 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4242 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4243 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Fi f t h Th i r d Ba n k , 6 1 1 1 N. Ri v e r Ro a d , Ro s e m o n t , I L 6 0 0 1 8
 2.4244 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                                   Fi l l - Ri t e Co m p a n y, 8 8 2 5 Av i a t i o n Dr i v e , Fo r t Wa y n e , I N 4 6 8 0 9
 2.4245 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Fi l l - Ri t e Co m p a n y, 8 8 2 5 Av i a t i o n Dr i v e , Fo r t Wa y n e , I N 4 6 8 0 9
 2.4246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Fi n a l l y Li g h t Bu l b Co m p a n y, 5 6 Ro l a n d St St e 3 0 0 , Bo s t o n ,
 2.4247 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            MA 02129

          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                   Fi n k Br o t h e r s Su p p l y, 9 6 1 Pe n n s y l v a n i a Av e , Ty r o n e , PA
 2.4248 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 9 1 0 )
                                                                                                                                                   16686-1511
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Fi n l e y Pr o d u c t s , 1 0 1 8 Ne w Ho l l a n d Av e , La n c a s t e r , PA 1 7 6 0 1
 2.4249 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Fi o r e St o n e , 1 9 9 3 0 Jo l o r a Av e , Co r o n a , C A 9 2 8 8 1
 2.4250 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Fi o r e Tr u e Va l u e Ha r d w a r e , 5 5 1 4 6 t h Av e , Al t o o n a , PA 1 6 6 0 2 -
 2.4251 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 9 9 )
                                                                                                                                                   1205
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Fi r e Li t e r s In c , N4 4 0 5 Sc a n t l e t o n Rd , Bl a c k Ri v e r Fa l , W I
 2.4252 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            54615
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e Li t e r s In c , N4 4 0 5 Sc a n t l e t o n Rd , Bl a c k Ri v e r Fa l , W I
 2.4253 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            54615
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e Pr o t e c t i o n Se r v i c e s L L C, 2 0 3 0 Po w e r s Fe r r y Ro a d ,
 2.4254 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Fi r e Pr o t e c t i o n Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t ( M S A)                                                                         At l a n t a , G A 3 0 3 3 9

          State the term remaining                        06/01/2022 - 05/31/2027

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e c r e e k Je r k y, 8 0 7 St a t e Hi g h w a y 1 6 , Je r s e y v i l l e , I L 0 6 2 0 5
 2.4255 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e d i s c Co o k e r s , 1 6 8 4 0 Ba r k e r Sp r i n g s , Su i t e C3 0 0 , Ho u s t o n ,
 2.4256 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                            TX 77084
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e m a n ' S Fu n d In s u r a n c e Co m p a n y, 7 7 7 Sa n Ma r i n Dr i v e ,
 2.4257 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   U S C0 3 4 7 4 2 2 4 5                                                                            Su i t e 2 1 6 0 , No v a t o , C A 9 4 9 4 5

          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                            Fi r e m o n , L L C, 8 4 0 0 We s t 1 1 0 Th St r e e t , Su i t e 5 0 0 , Ov e r l a n d
 2.4258 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Fi r e m o n So f t w a r e Li c e n s e a n d
                                                                                                                                                            Pa r k , K S 6 6 2 1 0
        nature of the debtor's interest                   Se r v i c e Ag r e e m e n t

          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                            Fi r m a n Po w e r Eq u i p m e n t , 8 6 4 4 W Lu d l o w Dr , Pe o r i a , A Z
 2.4259 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            85381
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi r m l y Pl a n t e d , 2 8 3 0 1 Ca m b r i d g e La n e , Pe p p e r Pi k e , O H
 2.4260 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44124
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Ai d On l y, 1 1 1 0 1 N E 3 7 Th St , Va n c o u v e r , WA 9 8 6 8 2
 2.4261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Al e r t Br k , 3 9 0 1 Li b e r t y St r e e t , Au r o r a , I L L I N O I S 6 0 5 0 4
 2.4262 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Al e r t Br k , 3 9 0 1 Li b e r t y St r e e t , Au r o r a , I L L I N O I S 6 0 5 0 4
 2.4263 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Al e r t Br k , 3 9 0 1 Li b e r t y St r e e t , Au r o r a , I L L I N O I S 6 0 5 0 4
 2.4264 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4265 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Fi r s t Am e r i c a n Le a s e Sc h e d u l e 7 - P C
        nature of the debtor's interest                   Re f r e s h 2 0 2 3

          State the term remaining                        09/15/2023 - 09/14/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4266 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Fi r s t Am e r i c a n Le a s e Sc h e d u l e s 4 , 5 & 6 -
        nature of the debtor's interest                   R D C Ac c e s s Po i n t s

          State the term remaining                        08/23/2023 - 08/22/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4267 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Fi r s t Am e r i c a n Ma s t e r Le a s e
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        03/02/2023

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4268 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/04/2024 - 04/03/2029

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4269 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4270 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4271 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4272 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4273 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4274 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4275 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
Official Form 206G                                                 Schedule G: Executory Contracts and Unexpired Leases                                                         Page 535 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4276 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/22/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4277 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4278 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4279 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4280 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4281 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4282 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4283 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4284 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4285 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4286 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        08/25/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4287 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        09/27/2023 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4288 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/13/2024 - 03/12/2028

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4289 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/13/2024 - 03/12/2028

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4290 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/13/2024 - 03/12/2028

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4291 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/13/2024 - 03/12/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4292 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        04/04/2024 - 04/03/2029

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4293 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4294 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4295 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4296 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4297 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4298 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4299 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4300 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4301 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4302 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4303 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4304 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4305 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4306 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4307 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4308 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4309 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4310 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4311 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Am e r i c a n , 2 1 1 Hi g h Po i n t Dr i v e , Vi c t o r , N Y 1 4 5 6 4
 2.4312 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest
          State the term remaining                        03/27/2023 - 03/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4313 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ve r a c i t y R S C Av a y a D I D L O A
        nature of the debtor's interest                                                                                                                           UT 84042

          State the term remaining                        07/11/2023

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4314 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Se r v i c e Ag r e e m e n t
                                                                                                                                                                  UT 84042
        nature of the debtor's interest                   Vo i p Ci r c u i t - Ki n g m a n

          State the term remaining                        10/01/2022 - 01/09/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4315 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s - L O A f o r 8 0 0 n u m b e r
                                                                                                                                                                  UT 84042
        nature of the debtor's interest                   - Sp r i n g f i e l d

          State the term remaining                        11/17/2022 - 11/16/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4316 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s - L O A f o r 8 0 0 n u m b e r
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   - Wo o d l a n d

          State the term remaining                        01/05/2023 - 01/04/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4317 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s C O 1 Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t Vo i p Ci r c u i t - Ki n g m a n                                                       UT 84042

          State the term remaining                        10/01/2022 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4318 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s - L O A f o r 8 0 0 n u m b e r
        nature of the debtor's interest                   - Ki n g m a n                                                                                            UT 84042

          State the term remaining                        02/15/2023 - 02/14/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4319 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y - We b Ex Ca l l i n g / Co n t a c t Ce n t e r
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   So l u t i o n C O 1 Su b s c r i p t i o n Ex t e n s i o n

          State the term remaining                        04/01/2023 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4320 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s D I A 5 0 Mb p s Ci r c u i t -
        nature of the debtor's interest                   Wi l k e s Ba r r e                                                                                       UT 84042

          State the term remaining                        06/15/2023 - 08/16/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4321 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l - L O A f o r Po r t i n g Nu m b e r s
        nature of the debtor's interest                   Wi l k e s Ba r r e                                                                                       UT 84042

          State the term remaining                        10/23/2023 - 10/22/2024

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4322 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l ( Ve r a c i t y ) C O 1 Se r v i c e
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   Ag r e e m e n t Vo i p Ci r c u i t - Co r s i c a n a

          State the term remaining                        01/03/2024 - 01/02/2027

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4323 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l - L O A f o r Po r t i n g Nu m b e r s
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   CARY

          State the term remaining                        11/15/2023 - 11/14/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4324 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l - L O A t o Po r t Fa x Li n e f o r
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   Ka n s a s Ci t y

          State the term remaining                        03/27/2024 - 03/26/2025

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4325 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l - L O A f o r Ha r v a r d Br i n k
        nature of the debtor's interest                   Fa x                                                                                                      UT 84042

          State the term remaining                        04/18/2024 - 04/17/2025

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4326 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l M P L S c i r c u i t s f o r Vo I P -
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   Ha r v a r d 2 0 2 4

          State the term remaining                        10/13/2024 - 10/12/2027

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4327 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l C O 2 We b Ex Ca l l i n g -
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   Ex c h a n g i n g 8 0 s t a n d a r d t o 6 8 p r e m i u m l i c e n s e s

          State the term remaining                        08/23/2024 - 04/22/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4328 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Fi r s t Di g i t a l - L O A t o Po r t Fa x Li n e f o r
        nature of the debtor's interest                   Ki n g m a n                                                                                              UT 84042

          State the term remaining                        09/05/2024 - 09/04/2025

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4329 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y - We b Ex Ca l l i n g / Co n t a c t Ce n t e r
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   So l u t i o n Su b s c r i p t i o n

          State the term remaining                        07/01/2021 - 06/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4330 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s M P L S c i r c u i t s f o r
                                                                                                                                                                    UT 84042
        nature of the debtor's interest                   Vo I P - AT L A N T A

          State the term remaining                        06/19/2023 - 06/18/2026

          List the contract number of any government
          contract
                                                                                                                                                                    Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4331 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s M P L S c i r c u i t s f o r
        nature of the debtor's interest                   Vo I P - H A R VA R D                                                                                     UT 84042

          State the term remaining                        10/13/2021 - 10/12/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4332 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s M P L S c i r c u i t s f o r
        nature of the debtor's interest                   Vo I P - C O R S I C A N A                                                                                 UT 84042

          State the term remaining                        01/03/2024 - 01/02/2027

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4333 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Se r v i c e Ag r e e m e n t We b Ex
        nature of the debtor's interest                   Ca l l i n g Se r v i c e s 5 Ye a r a g r e e m e n t                                                     UT 84042

          State the term remaining                        10/01/2021 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4334 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Am e n d m e n t 2 0 2 1 0 7 2 7 T O
                                                                                                                                                                     UT 84042
        nature of the debtor's interest                   M S A_ U T O S_ Cl o u d Un i f i e d Co m m u n i c a t i o n s

          State the term remaining                        10/01/2021 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4335 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Ma n c h e s t e r Ne w D I A
                                                                                                                                                                     UT 84042
        nature of the debtor's interest                   Ci r c u i t

          State the term remaining                        12/17/2021 - 12/16/2024

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4336 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s D I A Ci r c u i t f o r
        nature of the debtor's interest                   Ka n s a s Ci t y                                                                                          UT 84042

          State the term remaining                        02/11/2022 - 06/13/2025

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4337 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s - Et h e r n e t f o r V O I P a t
                                                                                                                                                                     UT 84042
        nature of the debtor's interest                   Wo o d l a n d

          State the term remaining                        04/22/2022 - 05/09/2025

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4338 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Se r v i c e Ag r e e m e n t
                                                                                                                                                                     UT 84042
        nature of the debtor's interest                   Ci r c u i t a n d D I D' s - De n v e r

          State the term remaining                        06/15/2022 - 10/10/2025

          List the contract number of any government
          contract
                                                                                                                                                                     Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4339 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                   Vo i p Ci r c u i t - Sp r i n g f i e l d                                                                 UT 84042

          State the term remaining                        07/07/2022 - 10/10/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4340 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                   Ci r c u i t a n d D I D' s - Ma n k a t o                                                            UT 84042

          State the term remaining                        07/12/2022 - 10/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4341 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r a c i t y Ne t w o r k s Se r v i c e Ag r e e m e n t
                                                                                                                                                                UT 84042
        nature of the debtor's interest                   Ci r c u i t a n d D I D' s - Cl e v e l a n d

          State the term remaining                        08/15/2022 - 11/06/2025

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Di g i t a l Te l e c o m ( Ve r a c i t y ) , 3 5 7 So u t h 6 7 0 We s t , Li n d o n ,
 2.4342 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ve r a c i t y We b Ex Me e t i n g - Ac t i v e Us e r
                                                                                                                                                                UT 84042
        nature of the debtor's interest                   Li c e n s e Re n e w a l 2 0 2 4

          State the term remaining                        04/20/2024 - 04/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4343 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ra c k i n g a t Ca r y f a c i l i t y ( C E R 2 0 1 7 - 6 5 ) i n
        nature of the debtor's interest                   the amount of $74,114.75                                                                              Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2018 - 03/31/2078

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4344 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Va r i o u s Ma t e r i a l Ha n d l i n g Eq u i p m e n t ( p a r t 3
                                                                                                                                                                Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest                   of CER 2018-50-004) in the amount of $368944.88

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4345 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                                                Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        09/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4346 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                                         Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4347 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                                                Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4348 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4349 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4350 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4351 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4352 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4353 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4354 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        12/01/2021 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4355 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        11/01/2018 - 10/31/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4356 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2018 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4357 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4358 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4359 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4360 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4361 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4362 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4363 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4364 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4365 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4366 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4367 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4368 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4369 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        04/01/2019 - 03/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4370 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4371 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4372 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4373 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4374 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4375 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4376 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4377 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        06/01/2019 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4378 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        12/01/2019 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4379 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


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 2.4380 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4381 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4382 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4383 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4384 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4385 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
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 2.4386 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                           Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4387 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4388 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4389 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2019 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4390 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4391 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4392 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4393 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4394 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4395 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4396 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4397 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4398 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4399 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4400 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4401 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4402 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                             Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                    Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4403 State what the contract or lease is for and the   Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
                                                                                                                                    Pl a c e n t i a , C A 9 2 8 7 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi r s t Fi n a n c i a l Co r p o r a t e Le a s i n g , L L C, 7 1 1 Ki m b e r l y Av e ,
 2.4404 State what the contract or lease is for and the
                                                          Le a s e , Tr a i l e r Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                                                          Pl a c e n t i a , C A 9 2 8 7 0

          State the term remaining                        08/01/2018 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Fi r s t Ge a r In c , Po Bo x 5 2 , 8 6 6 8 Ka p p Dr i v e , Pe o s t a , I A 5 2 0 6 8
 2.4405 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s h e r Fa r m s , 9 6 5 0 Sw Ha r d e b e c k Rd , Ga s t o n , O R 9 7 1 1 9
 2.4406 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s h e r Pr i n t i n g , 8 6 4 0 So u t h Ok e t o Av e n u e , Br i d g e v i e w, I L
 2.4407 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Fi s h e r Pr i n t i n g In c Ma s t e r Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t - Te c h n o l o g y                                                                  60455

          State the term remaining                        02/01/2022 - 01/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4408 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4409 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4410 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4411 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4412 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4413 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4415 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4416 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4417 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4418 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4419 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4420 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4421 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4422 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4423 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4424 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4425 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4426 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4428 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4429 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4430 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4432 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4433 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4434 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4435 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fi s k a r s Br a n d s In c , 1 4 2 0 0 Sw 7 2 Nd Av e , Po r t l a n d , O R 9 7 2 2 4
 2.4436 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Fi t & Fr e s h In c , 2 9 5 Pr o m e n a d e St , Pr o v i d e n c e , R I 0 2 9 0 8
 2.4437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fi t t Us a In c , 3 5 2 6 N Ca l i f o r n i a Av e , Pe o r i a , I L 6 1 6 0 3
 2.4438 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fi v e St a r Co o p e r a t i v e Tr u e Va l u e , 1 9 4 9 N Li n n Av e , Ne w
 2.4439 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 4 9 )
                                                                                                                                                                 Ha m p t o n , I A 5 0 6 5 9 - 9 4 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a g r o Us a In c , 1 2 9 4 9 Ea g l e Cr e e k Pa r k w a y, Sa v a g e , M N
 2.4440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55378

          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Fl a g s h i p Pa c k a g e d Pr o d u c t s L L C, 7 2 3 S St a t e St , Cl a r k s
 2.4441 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su m m i t , PA 1 8 4 1 1
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fl a i r - It Ce n t r a l , 1 1 2 6 Ke n t St , El k h a r t , I N 4 6 5 1 4
 2.4442 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a i r - It Ce n t r a l , 1 1 2 6 Ke n t St , El k h a r t , I N 4 6 5 1 4
 2.4443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl a m e En g i n e e r i n g In c , We s t Hi g h w a y 4 , Po Bo x 5 7 7 ,
 2.4444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          La c r o s s e , K S 6 7 5 4 8

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m e En g i n e e r i n g In c , We s t Hi g h w a y 4 , Po Bo x 5 7 7 ,
 2.4445 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 La c r o s s e , K S 6 7 5 4 8
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m e En g i n e e r i n g In c , We s t Hi g h w a y 4 , Po Bo x 5 7 7 ,
 2.4446 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La c r o s s e , K S 6 7 5 4 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m e En g i n e e r i n g In c , We s t Hi g h w a y 4 , Po Bo x 5 7 7 ,
 2.4447 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 La c r o s s e , K S 6 7 5 4 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m e En g i n e e r i n g In c , We s t Hi g h w a y 4 , Po Bo x 5 7 7 ,
 2.4448 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 La c r o s s e , K S 6 7 5 4 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m i n g Go r g e Ma r k e t & Me r c a n t i l e Tr u e Va l u e , Fl a m i n g Go r g e
 2.4449 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 8 )
                                                                                                                                                                 Ma r k e t & Me r c a , 7 5 Ea s t Hi g h w a y 4 3 , P. o . Bo x 4 2 9 , Ma n i l a ,
        nature of the debtor's interest
                                                                                                                                                                 UT 84046-8001
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a m i n g o Ro a d Ho m e & Ga r d e n Sh o w p l a c e , Fl a m i n g o Ro a d
 2.4450 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 0 4 )
                                                                                                                                                                 Ho m e & Ga r d e n Sh , 1 6 5 5 Fl a m i n g o Ro a d , Da v i e , F L 3 3 3 2 5 -
        nature of the debtor's interest
                                                                                                                                                                 5848
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl a n a g a n Pa i n t & Su p p l y El l i s v i l l e , Fl a n a g a n Pa i n t & Su p p l y
 2.4451 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 8 1 )
        nature of the debtor's interest                                                                                                                          El l i , 1 5 8 7 8 Cl a y t o n Ro a d , El l i s v i l l e , M O 6 3 0 1 1 - 2 2 1 2

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl a s h Fu r n i t u r e , 1 6 6 Et o w a h In d u s t r i a l Co u r t , Ca n t o n , G A
 2.4452 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              30114

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Fl a s h p o i n t Ca n d l e , 1 1 2 Lo n g v i e w St , La v e r g n e , T N 3 7 0 8 6
 2.4453 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Fl a t l a n d e r s Fa r m & Ho m e , 5 0 9 W 1 1 t h St , Hu g o t o n , K S 6 7 9 5 1
 2.4454 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 6 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m 6 6 0 0 Ms k , W1 9 5 s 6 5 6 0 Ra c i n e Av e n u e , Mu s k e g o ,
 2.4455 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 4 )
        nature of the debtor's interest                                                                                                              WI 53150

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ak y 3 3 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4456 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 4 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Al x 7 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4457 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 8 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m An t 1 9 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4458 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 0 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ap p 1 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4459 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 2 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl e e t Fa r m Ba x 2 3 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4460 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 4 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Be d 1 0 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4461 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 1 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Bl n 3 1 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4462 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 2 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Br p 2 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4463 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 5 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ca r 3 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4464 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 3 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Cf i 5 6 0 0 , Fl e e t Fa r m Sx f 5 6 0 0 , 1 0 0 0 N Bl u e m o u n d
 2.4465 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 5 )
                                                                                                                                                     Dr , Ap p l e t o n , W I 5 4 9 1 4 - 4 5 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ch i p p e w a Fa l l s Dc , 2 9 0 0 La k e v i e w Dr i v e ,
 2.4466 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 1 )
        nature of the debtor's interest                                                                                                              Ch i p p e w a Fa l l s , W I 5 4 7 2 9 - 3 0 7 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Cl v 2 0 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4467 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 1 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl e e t Fa r m Cm b 3 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4468 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 5 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Cr i 5 8 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4469 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 6 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m De f 5 3 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4470 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 2 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m De v 5 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4471 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 3 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ea u 5 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4472 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 1 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Fa r 2 8 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4473 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 9 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Fd l 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4474 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 3 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Fe f 5 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4475 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 6 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl e e t Fa r m Fx f 5 5 0 0 , Fl e e t Fa r m Sx f 5 5 0 0 , 1 0 0 0 N Bl u e m o u n d
 2.4476 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 4 )
                                                                                                                                                     Dr , Ap p l e t o n , W I 5 4 9 1 4 - 4 5 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Gb e 8 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4477 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 9 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Gb w 1 8 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4478 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 9 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ge r 1 6 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4479 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 7 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Hr m 3 6 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4480 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 7 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Hs t 6 5 0 0 , 8 7 5 Ge n e r a l Si e b e n Dr i v e , Ha s t i n g s , M N
 2.4481 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 2 )
        nature of the debtor's interest                                                                                                              55033

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Hu d 1 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4482 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 5 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Lk e 2 5 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4483 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 6 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl e e t Fa r m Ma n 1 3 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4484 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 4 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ma r 3 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4485 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 4 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Me n 9 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4486 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 0 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Mk o 3 5 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4487 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 6 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ms c 2 9 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4488 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 0 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Mt o 3 7 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4489 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 8 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Oa k 2 7 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4490 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 8 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Oc o 5 0 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4491 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 9 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl e e t Fa r m Os h 1 7 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4492 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 8 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ow t 3 0 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4493 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 2 1 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Pl y 1 1 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4494 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 2 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Rc s 6 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4495 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 7 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Ro c 2 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4496 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 3 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m St c 2 1 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4497 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 2 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m St p 1 5 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4498 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 6 )
                                                                                                                                                     54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl e e t Fa r m Sx i 5 1 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4499 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 0 )
        nature of the debtor's interest                                                                                                              54914-4507

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl e e t Fa r m Wa p 1 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4500 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 0 3 )
        nature of the debtor's interest                                                                                                                          54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e e t Fa r m Wa s 4 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4501 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 5 )
                                                                                                                                                                 54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e e t Fa r m Wb d 6 2 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4502 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 7 )
                                                                                                                                                                 54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e e t Fa r m Wi n 2 6 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4503 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 1 7 )
        nature of the debtor's interest                                                                                                                          54914-4507

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e e t Fa r m Wk e 5 9 0 0 , 1 0 0 0 N Bl u e m o u n d Dr , Ap p l e t o n , W I
 2.4504 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 3 8 )
                                                                                                                                                                 54914-4507
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e e t Pl u m m e r , 2 4 3 7 Ba t t l e g r o u n d Av e , Gr e e n s b o r o , N C
 2.4505 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 7 7 )
                                                                                                                                                                 27408-4023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e m i n g Lu m b e r Co . , In c . , Fl e m i n g Lu m b e r Co . In c . , 2 2 4 N
 2.4506 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 4 4 )
        nature of the debtor's interest                                                                                                                          Sh a r p e , Cl e v e l a n d , M S 3 8 7 3 2 - 2 1 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e t c h e r - Te r r y Co m p a n y, 9 1 Cl a r k Dr i v e , Ea s t Be r l i n , C T
 2.4507 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 06023

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl e t c h e r - Te r r y Co m p a n y, 9 1 Cl a r k Dr i v e , Ea s t Be r l i n , C T
 2.4508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 06023

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl e t c h e r - Te r r y Co m p a n y, 9 1 Cl a r k Dr i v e , Ea s t Be r l i n , C T
 2.4509 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 06023
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e t c h e r - Te r r y Co m p a n y, 9 1 Cl a r k Dr i v e , Ea s t Be r l i n , C T
 2.4510 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 06023
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x - To o l s / Ch e v r o n , 1 2 0 3 Ea s t Wa r r e n v i l l e Rd , Na p e r v i l l e , I L
 2.4511 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60563

          State the term remaining                        04/08/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x i b l e St o r a g e Gr o u p , 2 3 5 0 Wh i t m a n Ro a d , Su i t e C,
 2.4512 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co n c o r d , C A 9 4 5 1 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x o n In d u s t r i e s , Bo x 8 0 0 0 De p t 0 4 5 , Bu f f a l o , N Y 1 4 2 6 7
 2.4513 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x o n In d u s t r i e s , Bo x 8 0 0 0 De p t 0 4 5 , Bu f f a l o , N Y 1 4 2 6 7
 2.4514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x o n In d u s t r i e s , Bo x 8 0 0 0 De p t 0 4 5 , Bu f f a l o , N Y 1 4 2 6 7
 2.4515 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl e x o n In d u s t r i e s , Bo x 8 0 0 0 De p t 0 4 5 , Bu f f a l o , N Y 1 4 2 6 7
 2.4516 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fl e x t o n e Ga m e Ca l l s , Po Bo x 1 0 4 8 , Br o u s s a r d , L A 7 0 5 1 8
 2.4517 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl i n t & Wa l l i n g / St a r Wa t e r , 9 5 N Oa k St , Ke n d a l l v i l l e , I N
 2.4518 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          46755

          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fl i n t & Wa l l i n g / St a r Wa t e r , 9 5 N Oa k St , Ke n d a l l v i l l e , I N
 2.4519 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 46755

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl i n t Br o s Ha r d w a r e In c , 2 7 6 9 Ma i n St , Ne w f a n e , N Y 1 4 1 0 8 -
 2.4520 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 4 7 )
                                                                                                                                                                 1205
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl i p Fl o p Fl o w e r Po t , 4 8 4 No r t h l a n d Bl v d , Ci n c i n n a t i , O H
 2.4521 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45240
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fl i r Co m m e r i c i a l Sy s t e m s , 9 To w n s e n d We s t , Na s h u a , N H
 2.4522 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          03063

          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Fl i t z In t ' l , Fl i t z In t e r n a t i o n a l , 8 2 1 Mp h r Av e n u e , Wa t e r f o r d ,
 2.4523 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WI 53185
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fl i t z In t ' l , Fl i t z In t e r n a t i o n a l , 8 2 1 Mp h r Av e n u e , Wa t e r f o r d ,
 2.4524 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     WI 53185
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Fl i t z In t ' l , Fl i t z In t e r n a t i o n a l , 8 2 1 Mp h r Av e n u e , Wa t e r f o r d ,
 2.4525 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     WI 53185
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fl i t z In t ' l , Fl i t z In t e r n a t i o n a l , 8 2 1 Mp h r Av e n u e , Wa t e r f o r d ,
 2.4526 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              WI 53185

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Fl o c k Fr e e Bi r d Co n t r o l , L L C, Fl o c k Fr e e Bi r d Co n t r o l , L L C,
 2.4527 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     6 5 0 Cr o s s St r e e t , Un i t 6 7 , La k e w o o d , N J 0 8 7 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl o r e n c e Tr u e Va l u e , 9 5 0 E Ma i n St r e e t , Fl o r e n c e , C O 8 1 2 2 6 -
 2.4528 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 9 0 )
                                                                                                                                                     1647
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl o r i c o Fo l i a g e , Po Bo x 9 9 0 , 8 8 8 E Ke e n e Rd , Ap o p k a , F L
 2.4529 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              32703

          State the term remaining                        04/20/2013

          List the contract number of any government
          contract
                                                                                                                                                     Fl o w e r Fa r m , 1 5 0 0 5 t h Av e Sw, Gr e a t Fa l l s , M T 5 9 4 0 4 - 2 6 1 8
 2.4530 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fl o w t r o n Ou t d o o r Pr o d , 2 Ma i n St , Me l r o s e , M A 0 2 1 7 6
 2.4531 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl o y d ' s Au t o Pa r t s , In c . , 5 0 1 W Da l l a s St r e e t , St a r Ci t y, A R
 2.4532 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 8 2 )
                                                                                                                                                                 71667-4620
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl o y d ' s Ha r d w a r e - No r t h , Fl o y d ` s Ha r d w a r e - No r t h , 3 6 5 0
 2.4533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 6 2 )
        nature of the debtor's interest                                                                                                                          Ch e s t e r Av e , Ba k e r s f i e l d , C A 9 3 3 0 1 - 1 3 5 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl o y d ' s Ha r d w a r e - Sh a f t e r , Fl o y d ` s Ha r d w a r e - Sh a f t e r , 5 5 5
 2.4534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 6 4 )
        nature of the debtor's interest                                                                                                                          Wa l k e r St , Sh a f t e r , C A 9 3 2 6 3 - 5 2 4 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl o y d ' s Ha r d w a r e - So u t h , Fl o y d ` s Ha r d w a r e - So u t h , 2 0 2 0 S
 2.4535 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 6 3 )
                                                                                                                                                                 Ch e s t e r Av e , Ba k e r s f i e l d , C A 9 3 3 0 4 - 5 2 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl u d e r Tr u e Va l u e , 1 5 Ha g e v o Rd , Wi n d b e r , PA 1 5 9 6 3 - 6 0 1 4
 2.4536 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl u f f y La y e r s L L C, 1 1 2 0 0 Sc a g g s v i l l e Rd , Su i t e 1 1 , La u r e l ,
 2.4537 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MD 20723

          State the term remaining                        06/19/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d Ma n a g e m e n t In c , 1 0 2 3 Wh e e l i n g Ro a d , Wh e e l i n g , I L
 2.4538 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60090
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4539 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 92675
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4540 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 92675
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4541 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 92675

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4542 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 92675
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4543 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 92675
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u i d m a s t e r In c , 3 0 8 0 0 Ra n c h o Vi e j o Rd , Sa n j u a n c a p i s t r a , C A
 2.4544 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92675

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u o r e s c o Li g h t i n g & Si g n s , Fl u o r e s c o Se r v i c e s Ll c , 4 0 4 8 E
 2.4545 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su p e r i o r Av e n u e , Ph o e n i x , A Z 8 5 0 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Fl u o r e s c o Se r v i c e s , L L C, 5 5 0 5 S No g a l e s Hi g h w a y, Tu c s o n , A Z
 2.4546 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85706
        nature of the debtor's interest
          State the term remaining                        10/24/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fn a Gr o u p , 7 1 5 2 9 9 Th St , Pl e a s a n t Pr a i r i e , W I 5 3 1 5 8
 2.4547 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Fn a Gr o u p , 7 1 5 2 9 9 Th St , Pl e a s a n t Pr a i r i e , W I 5 3 1 5 8
 2.4548 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                      Fn a Gr o u p , 7 1 5 2 9 9 Th St , Pl e a s a n t Pr a i r i e , W I 5 3 1 5 8
 2.4549 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Fn a Gr o u p , 7 1 5 2 9 9 Th St , Pl e a s a n t Pr a i r i e , W I 5 3 1 5 8
 2.4550 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Fo a m t e c In t ' l Co L L C, Fo a m t e c In t e r n a t i o n a l Co L L C, 7 2 0
 2.4551 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Ve n t u r e Dr i v e , Wa c o , T X 7 6 7 1 2
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                      Fo g l e Tr u e Va l u e & Ha r d w a r e , 1 1 0 1 N 1 8 t h St r e e t , Ce n t e r v i l l e ,
 2.4552 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 9 )
        nature of the debtor's interest                                                                                                               IA 52544-2245

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Fo g o Ch a r c o a l , 6 1 0 W 1 8 Th St , Hi a l e a h , F L 3 3 0 1 0
 2.4553 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/08/2019

          List the contract number of any government
          contract
                                                                                                                                                      Fo g o Ch a r c o a l , 6 1 0 W 1 8 Th St , Hi a l e a h , F L 3 3 0 1 0
 2.4554 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Fo g o Ch a r c o a l , 6 1 0 W 1 8 Th St , Hi a l e a h , F L 3 3 0 1 0
 2.4555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo l e x p o r t In c , Po Bo x 7 8 9 , 1 0 8 7 0 Sw Tu a l a t i n Sh e r w o o d Rd ,
 2.4556 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Tu a l a t i n , O R 9 7 0 6 2

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Fo l e x p o r t In c , Po Bo x 7 8 9 , 1 0 8 7 0 Sw Tu a l a t i n Sh e r w o o d Rd ,
 2.4557 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Tu a l a t i n , O R 9 7 0 6 2
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Fo n e g e a r L L C, 2 1 3 9 Au s t i n Av e n u e , Ro c h e s t e r Hi l l s , M I 4 8 3 0 9
 2.4558 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fo o d t o w n , 5 0 9 4 Ro u t e 2 2 , Am e n i a , N Y 1 2 5 0 1
 2.4559 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo o t h i l l Bu i l d e r s Ma r t , 1 5 8 2 5 Fo o t h i l l Bl v d , Fo n t a n a , C A
 2.4560 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 2 )
                                                                                                                                                                 92335-8046
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo o t h i l l Pa m a Ma i n t e n a n c e , 1 5 8 2 5 Fo o t h i l l Bl v d . , Fo n t a n a , C A
 2.4561 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 4 )
                                                                                                                                                                 92335-8046
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo o t h i l l s Ha b i t a t Fo r Hu m a n i t y, 8 2 9 2 In d u s t r i a l Av e ,
 2.4562 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 2 )
        nature of the debtor's interest                                                                                                                          Ro s e v i l l e , C A 9 5 6 7 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r Li f e Pr o d u c t s L L C, 3 5 0 1 Al g o n q u i n Rd , Su i t e 5 7 0 , Ro l l i n g
 2.4563 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Me a d o w s , I L 6 0 0 0 8

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo r Li f e Pr o d u c t s L L C, 3 5 0 1 Al g o n q u i n Rd , Su i t e 5 7 0 , Ro l l i n g
 2.4564 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Me a d o w s , I L 6 0 0 0 8

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r Li f e Pr o d u c t s L L C, 3 5 0 1 Al g o n q u i n Rd , Su i t e 5 7 0 , Ro l l i n g
 2.4565 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Me a d o w s , I L 6 0 0 0 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r b u s c o Tr u e Va l u e Lb r , 1 7 8 4 Sm i t h Ln , Fo r t u n a , C A 9 5 5 4 0 -
 2.4566 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 1 0 3 )
                                                                                                                                                                 2639
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r e m a n ' s Ge n e r a l St o r e , 3 8 0 1 Co l l e y v i l l e Bl v d . , Co l l e y v i l l e ,
 2.4567 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 3 6 )
        nature of the debtor's interest                                                                                                                          TX 76034-3742

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r e s t En e r g y Co r p o r a t i o n , 1 0 0 1 N 4 0 Th St , Sh o w Lo w, A Z
 2.4568 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85901
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r e s t Lu m b e r Co m p a n y, 1 7 2 8 0 S Ci c e r o Av e , Co u n t r y Cl u b
 2.4569 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 5 7 )
                                                                                                                                                                 Hi l l s , I L 6 0 4 7 8 - 2 1 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r e s t Tr u e Va l u e Lb r , 5 4 2 0 0 Lo w e r Pi n e c r e s t , Id y l l w i l d , C A
 2.4570 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 9 3 )
        nature of the debtor's interest                                                                                                                          92549-9997

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r e s t v i l l e Lb r Co In c , 2 1 To w n Li n e Rd , Pl a i n v i l l e , C T
 2.4571 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 7 2 )
                                                                                                                                                                 06062-2648
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo r g e Bu i l d Tv Ll c , 1 2 0 0 E Ch u r c h St , Au r o r a , M O 6 5 6 0 5 - 2 3 2 1
 2.4572 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4573 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 80525
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4574 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 80525

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4575 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80525
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4576 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80525
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 80525

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          80525

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80525
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4580 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80525
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4581 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80525
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r n e y In d u s t r i e s In c , 2 0 5 7 Ve r m o n t Dr i v e , Fo r t Co l l i n s , C O
 2.4582 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          80525

          State the term remaining                        Un d e t e r m i n e d - 0 6 / 3 0 / 2 0 2 8

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r r e s t Te c h n i c a l Co a t i n g s , 1 0 1 1 Mc k i n l e y, Eu g e n e , O R 9 7 4 0 2
 2.4583 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r r e s t e r Re s e a r c h , In c . , 6 0 Ac o r n Pa r k Dr i v e , Ca m b r i d g e , M A
 2.4584 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fo r r e s t e r Re s e a r c h M S A Re n e w a l
                                                                                                                                                                 02140
        nature of the debtor's interest
          State the term remaining                        11/17/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r s c h l e r Tr u e Va l u e , 1 1 7 S 2 n d St , Th a y e r , M O 6 5 7 9 1 - 1 2 3 0
 2.4585 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t Co l l i n s Nu r s e r y, 2 1 2 1 E Mu l b e r r y, Fo r t Co l l i n s , C O
 2.4586 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 7 5 )
                                                                                                                                                                 80524-3650
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t Do b b s Ha r d w a r e , 4 0 6 Tu r n e r s b u r g Hw y, St a t e s v i l l e , N C
 2.4587 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 6 4 )
                                                                                                                                                                 28625-2799
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo r t Fo u n d r y L L C, 2 8 7 La k e Vi s t a Wa y, At h e n s , G A 3 0 6 0 7
 2.4588 State what the contract or lease is for and the   So f t w a r e , Fo r t Fo u n d r y - Fo n t Cu s t o m i z a t i o n
        nature of the debtor's interest
          State the term remaining                        04/17/2024 - 04/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t Pl a i n Tr u e Va l u e Ha r d w a r e , 1 2 Wi l l e t t St , Fo r t Pl a i n , N Y
 2.4589 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 0 4 )
        nature of the debtor's interest                                                                                                                          13339-1115

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t e s s a Ta b l e w a r e So l u t i o n s , 2 0 4 1 2 Ba s h a n Dr , As h b u r n , VA
 2.4590 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          20147

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t i t u d e Sy s t e m s , 5 4 4 0 No r t h Cu m b e r l a n d Av e . , Ch i c a g o , I L
 2.4591 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , M S A
                                                                                                                                                                 60656
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t u n e Pr o d In c , 2 2 0 3 Do w n i n g La n e , Le a n d e r , T X 7 8 6 4 1
 2.4592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t u n e Pr o d In c , 2 2 0 3 Do w n i n g La n e , Le a n d e r , T X 7 8 6 4 1
 2.4593 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t u n e Pr o d In c , 2 2 0 3 Do w n i n g La n e , Le a n d e r , T X 7 8 6 4 1
 2.4594 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r t u n e s Tr u e Va l u e Hd w. , 6 6 Ma i n St , Tu p p e r La k e , N Y
 2.4595 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 4 3 )
                                                                                                                                                                 12986-1296
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo r u m No v e l t i e s In c , 1 7 7 0 Wa l t Wh i t m a n Rd , Me l v i l l e , N Y
 2.4596 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11747
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fo r w a r d Th i n k i n g In c , 2 6 8 E 2 7 Th St , No r t h Va n c o u v e r , B C
 2.4597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          V7 N 1 B6 , Ca n a d a

          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fo s h a n Ba i l i j i a n Te c h n o l o g y Co , No 7 , Ch u a n g x i n Rd , Le p i n g
 2.4598 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 In d u s t r i a l Pa r k , Fo s h a n , Gu a n g d o n g 5 2 8 1 3 7 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fo s h a n Ba i l i j i a n Te c h n o l o g y Co , No 7 , Ch u a n g x i n Rd , Le p i n g
 2.4599 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 In d u s t r i a l Pa r k , Fo s h a n , Gu a n g d o n g 5 2 8 1 3 7 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo s h a n Ba i l i j i a n Te c h n o l o g y Co , No 7 , Ch u a n g x i n Rd , Le p i n g
 2.4600 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          In d u s t r i a l Pa r k , Fo s h a n , Gu a n g d o n g 5 2 8 1 3 7 , Ch i n a

          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fo s h a n Ba i l i j i a n Te c h n o l o g y Co , No 7 , Ch u a n g x i n Rd , Le p i n g
 2.4601 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 In d u s t r i a l Pa r k , Fo s h a n , Gu a n g d o n g 5 2 8 1 3 7 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fo s h a n Ba i l i j i a n Te c h n o l o g y Co , No 7 , Ch u a n g x i n Rd , Le p i n g
 2.4602 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 In d u s t r i a l Pa r k , Fo s h a n , Gu a n g d o n g 5 2 8 1 3 7 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo s s Mf g Co m p a n y L L C, 1 1 Me r r i l l In d u s t r i a l Dr # A1 ,
 2.4603 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ha m p t o n , N H 0 3 8 4 2

          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo s t e r Fa r r a r Tr u e Va l u e , Fo s t e r - f a r r a r Tr u e Va l u e , 1 4 5 Ki n g
 2.4604 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 5 8 )
        nature of the debtor's interest                                                                                                                          St , No r t h a m p t o n , M A 0 1 0 6 0 - 2 3 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo t o El e c t r i c Su p p l y Co , 1 Re w e St , Br o o k l y n , N Y 1 1 2 1 1
 2.4605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/09/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n d a t i o n Bu i l d i n g Ma t e r i a l s , 1 0 Al l e n St r e e t 1 8 5 ,
 2.4606 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 0 )
                                                                                                                                                                 Sp r i n g f i e l d , M A 0 1 1 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n t a i n Va l l e y Pa i n t s In c . , 1 1 2 7 1 Sl a t e r Av e , Fo u n t a i n Va l l e y,
 2.4607 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 2 )
                                                                                                                                                                 CA 92708
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4608 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 13417

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4609 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 NY 13417
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4610 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 NY 13417
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 13417

          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4612 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 NY 13417

          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                        Fo u n t a i n h e a d / Bu r g e s s Pr o d , 2 3 Ga r d e n St r e e t , Ne w Yo r k Mi l l ,
 2.4613 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        NY 13417
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                        Fo u r J' S De v e l o p m e n t , 1 6 2 5 Th e Al a m e d a , Su i t e 3 0 2 , Sa n Jo s e ,
 2.4614 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Fo u r Js Qu o t e B D S De p l o y m e n t C P U
                                                                                                                                                        CA 95126
        nature of the debtor's interest                   Ma i n t Re n e w a l 2 0 2 4

          State the term remaining                        06/01/2024 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                        Fo u r Se a s o n s Fl o w e r s , 4 6 - 2 0 Fr a n c i s Le w i s Bl v d , Fl u s h i n g , N Y
 2.4615 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 11358

          State the term remaining                        09/22/2009

          List the contract number of any government
          contract
                                                                                                                                                        Fo u r St a r Sa l e s , L L C, 1 0 1 5 In d i a n Tr a i l Rd , Ca r l e t o n , M I
 2.4616 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        48117
        nature of the debtor's interest
          State the term remaining                        03/16/2015

          List the contract number of any government
          contract
                                                                                                                                                        Fo u r St a r Su p p l y, 3 5 5 Nw St a t e St r e e t , Pu l l m a n , WA 9 9 1 6 3 -
 2.4617 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 8 4 )
                                                                                                                                                        3130
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Fo u r Wi n d s Gr o w e r s , 8 8 7 Ca s s e r l y Rd , Wa t s o n v i l l e , C A 9 5 0 7 6
 2.4618 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                        Fo u r t h Ge a r So l u t i o n s L L C, 3 5 4 9 Ru s s e t t La n e , Po r t Or a n g e ,
 2.4619 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Fo u r t h Ge a r So l u t i o n s L L C M S A
                                                                                                                                                        FL 32129
        nature of the debtor's interest                   f o r Ca r y

          State the term remaining                        05/31/2023 - 06/01/2028

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fo w l e r Lu m b e r Co m p a n y, 1 2 6 2 N Co m m e r c i a l St , Ar a n s a s Pa s s ,
 2.4620 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 0 8 )
        nature of the debtor's interest                                                                                                              TX 78336-2838

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo w l e r ' s Ga r d e n Ce n t e r , Fo w l e r ` s Ga r d e n Ce n t e r , 1 6 5 Ma r i n e r
 2.4621 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 8 )
                                                                                                                                                     Dr , So u t h a m p t o n , N Y 1 1 9 6 8 - 3 4 8 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x Ch a p e l Pu b l i s h i n g , 1 9 7 0 Br o a d St , Ea s t Pe t e r s b u r g , PA
 2.4622 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     17520
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fo x Ch a p e l Pu b l i s h i n g , 1 9 7 0 Br o a d St , Ea s t Pe t e r s b u r g , PA
 2.4623 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              17520

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Fo x Ri v e r Gr o v e , 9 8 0 Il Ro u t e 2 2 , Fo x Ri v e r Gr o v e , I L 6 0 0 2 1
 2.4624 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x Ru n Cr a f t s m e n , 1 9 0 7 St o u t Dr , Iv y l a n d , PA 1 8 9 7 4
 2.4625 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Fo x Va l l e y St e e l & Wi r e , Fo x Va l l e y St e e l & Wi r e , P. O. Bo x
 2.4626 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              1 3 0 , 1 1 1 No r t h Do u g l a s St , Ho r t o n v i l l e , W I 5 4 9 4 4

          State the term remaining                        10/16/2009

          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - a l a m o g o r d o , 2 3 1 8 N. Wh i t e Sa n d s Bl v d . ,
 2.4627 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 2 7 )
                                                                                                                                                     Al a m o g o r d o , N M 8 8 3 1 0 - 6 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - e l Pa s o , 7 1 5 0 In d u s t r i a l Av e , El Pa s o , T X
 2.4628 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 2 9 )
                                                                                                                                                     79915-1214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - k e r r v i l l e , 1 6 6 0 Ju n c t i o n Hw y, Ke r r v i l l e ,
 2.4629 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 5 )
                                                                                                                                                     TX 78028-9334
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - l a s Cr u c e s , 5 2 2 N. Te l s h o r , La s Cr u c e s ,
 2.4630 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 3 )
        nature of the debtor's interest                                                                                                              NM 88011-8223

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - m a r b l e Fa l l s , 5 1 0 In d u s t r i a l Bl v d . , Ma r b l e
 2.4631 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 6 )
                                                                                                                                                     Fa l l s , T X 7 8 6 5 4 - 4 7 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - n o r m a n , 1 0 5 1 W. Ro c k Cr e e k , No r m a n , O K
 2.4632 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 0 )
                                                                                                                                                     73069-8526
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - o k l a h o m a Ci t y, 3 0 0 N. Ma y Av e . ,
 2.4633 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 9 )
        nature of the debtor's interest                                                                                                              Ok l a h o m a Ci t y, O K 7 3 1 0 7 - 6 3 1 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - r e d Oa k , 2 2 4 N. Ce n t r a l Bl v d . , Re d Oa k ,
 2.4634 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 7 )
        nature of the debtor's interest                                                                                                              TX 75154-4614

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Fo x w o r t h Ga l b r a i t h - r o s w e l l , 2 0 0 S. Ma i n St . , Ro s w e l l , N M
 2.4635 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 0 )
                                                                                                                                                     88203-5722
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fo x w o r t h Ga l b r a i t h - r u i d o s o , 2 6 1 2 9 Us Hw y 7 0 , Ru i d o s o , N M
 2.4636 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 1 )
                                                                                                                                                                 88345-0101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo x w o r t h Ga l b r a i t h - t r u t h Or Co n s e q u e n c e s , 1 6 0 Ne w Sc h o o l
 2.4637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 2 )
                                                                                                                                                                 Ro a d , Tr u t h Or Co n s e q u e n c e s , N M 8 7 9 0 1 - 3 7 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo x w o r t h Ga l b r a i t h - w a c o , 1 6 0 1 La Sa l l e Av e . , Wa c o , T X
 2.4638 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 3 8 )
        nature of the debtor's interest                                                                                                                          76706-3434

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo x w o r t h Ga l b r a i t h - w h i t e s b o r o , 8 0 3 N. Un i o n , Wh i t e s b o r o , T X
 2.4639 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 1 )
                                                                                                                                                                 76273-1023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fo x w o r t h Ga l b r a i t h - w i n n s b o r o , 6 2 0 W. Br o a d w a y, Wi n n s b o r o ,
 2.4640 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 2 )
                                                                                                                                                                 TX 75494-2060
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fp c Co r p o r a t i o n , 3 5 5 Ho l l o w Hi l l Dr i v e , Wa u c o n d a , I L 6 0 0 8 4
 2.4641 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fp c Co r p o r a t i o n , 3 5 5 Ho l l o w Hi l l Dr i v e , Wa u c o n d a , I L 6 0 0 8 4
 2.4642 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fp c Co r p o r a t i o n , 3 5 5 Ho l l o w Hi l l Dr i v e , Wa u c o n d a , I L 6 0 0 8 4
 2.4643 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fp c Co r p o r a t i o n , 3 5 5 Ho l l o w Hi l l Dr i v e , Wa u c o n d a , I L 6 0 0 8 4
 2.4644 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a m Gr o u p , 1 5 0 2 0 N Ha y d e n Rd , 2 0 2 - 7 , Sc o t t s d a l e , A Z 8 5 2 6 0
 2.4645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a m Gr o u p , 1 5 0 2 0 N Ha y d e n Rd , 2 0 2 - 7 , Sc o t t s d a l e , A Z 8 5 2 6 0
 2.4646 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n c i s Me t a l Wo r k s L L C, 8 7 6 9 Je f f e r s o n Hw y, Os s e o , M N
 2.4647 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55369
        nature of the debtor's interest
          State the term remaining                        05/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n c i s Nu n e s Ha r d w a r e , Co r n e r Of Lo n g & Cr o s s St s , St
 2.4648 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 0 1 )
        nature of the debtor's interest                                                                                                                          Jo h n s , An t i g u a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n c o n i a Ha r d w a r e In c , 3 3 4 Ma i n St , Fr a n c o n i a , N H 0 3 5 8 0 -
 2.4649 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 0 4 )
        nature of the debtor's interest                                                                                                                          4814

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k e n m u t h Tr u e Va l u e , 4 6 9 N Ma i n St r e e t , Fr a n k e n m u t h , M I
 2.4650 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 0 )
                                                                                                                                                                 48734-1115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n In t ' l , Fr a n k l i n In t e r n a t i o n a l , 2 0 2 0 Br u c k St r e e t ,
 2.4651 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co l u m b u s , O H 4 3 2 0 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr a n k l i n In t ' l , Fr a n k l i n In t e r n a t i o n a l , 2 0 2 0 Br u c k St r e e t ,
 2.4652 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co l u m b u s , O H 4 3 2 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n In t ' l , Fr a n k l i n In t e r n a t i o n a l , 2 0 2 0 Br u c k St r e e t ,
 2.4653 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Co l u m b u s , O H 4 3 2 0 7

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n In t ' l , Fr a n k l i n In t e r n a t i o n a l , 2 0 2 0 Br u c k St r e e t ,
 2.4654 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co l u m b u s , O H 4 3 2 0 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Mf g , P. O. Bo x 9 9 8 , Ru s s e l l v i l l e , A L 3 5 6 5 3
 2.4655 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4656 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4657 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4658 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sp o r t s In d u s t r y, 1 7 Ca m p a n e l l i , St o u g h t o n , M A 0 2 0 7 2
 2.4661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/24/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n Sq u a r e Ph a r m a c y, 9 2 5 He m p s t e a d Tu r n p i k e , Fr a n k l i n
 2.4662 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 3 )
                                                                                                                                                                 Sq u a r e , N Y 1 1 0 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n k l i n v i l l e Tr u e Va l u e Ha r d w a r e , Fr a n k l i n v i l l e Tr u e Va l u e
 2.4663 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 4 )
        nature of the debtor's interest                                                                                                                          Ha r d w, 9 9 N Ma i n St , Fr a n k l i n v i l l e , N Y 1 4 7 3 7 - 1 0 3 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a n t z Wh o l e s a l e Nu r s e r y L L C, 1 2 1 6 1 De l a w a r e Rd , Hi c k m a n ,
 2.4664 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 95323

          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a t z Tr u e Va l u e Ha r d w a r e , 4 0 5 S Ma i n St , Ac c i d e n t , M D
 2.4665 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 3 )
                                                                                                                                                                 21520-2171
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr a v i t y In n o v a t i o n s L L C, Po Bo x 1 2 8 4 6 , Le x i n g t o n , K Y 4 0 5 8 3
 2.4666 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fr a z e e Pa i n t & Wa l l c o v e r i n g , 6 6 2 5 Mi r a m a r Ro a d , Sa n Di e g o ,
 2.4667 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 92121

          State the term remaining                        09/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Fr e d e r i c k & Ma y Lu m b e r Co . , 9 1 9 Pr e s t o n b u r g St r e e t , We s t
 2.4668 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 2 4 )
        nature of the debtor's interest                                                                                                                    Li b e r t y, K Y 4 1 4 7 2 - 1 2 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fr e d e r i c k s e n Ha r d w a r e , 3 0 2 9 Fi l l m o r e St r e e t , Sa n Fr a n c i s c o ,
 2.4669 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 6 2 )
                                                                                                                                                           CA 94123-4009
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fr e d o n i a Tr u e Va l u e Ha r d w a r e , 7 0 0 Ma d i s o n St , Fr e d o n i a , K S
 2.4670 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 3 )
                                                                                                                                                           66736-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fr e e - Fr e e Us a , 1 8 9 0 Ca r l o s Av e , On t a r i o , C A 9 1 7 6 1
 2.4671 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2009

          List the contract number of any government
          contract
                                                                                                                                                           Fr e e d o m Co n s t r u c t i o n Su p p l y, 7 9 2 0 St a t e Ro u t e 4 4 , Ra v e n n a ,
 2.4672 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 9 )
                                                                                                                                                           OH 44266
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Fr e e d o m Sp e c i a l t y ( Na t i o n w i d e ) , On e Na t i o n w i d e Bo u l e v a r d ,
 2.4673 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s / Ex c e s s Fi d u c i a r y -
                                                                                                                                                           1 - 1 4 - 3 0 1 , Co l u m b u s , O H 4 3 2 1 5
        nature of the debtor's interest                   Po l i c y Nu m b e r ( s ) : X M F2 3 0 3 4 7 0

          State the term remaining                        11/30/2023 - 11/30/2025

          List the contract number of any government
          contract
                                                                                                                                                           Fr e e m i u s , In c . , 4 0 2 3 Ke n n e t t Pi k e , Wi l m i n g t o n , D E 1 9 8 0 7
 2.4674 State what the contract or lease is for and the
                                                          So f t w a r e , Fr e e m i u s Ed i t S E O Ti t l e & De s c r i p t i o n f o r Si n g l e
        nature of the debtor's interest                   Si t e

          State the term remaining                        11/28/2023 - 11/27/2024

          List the contract number of any government
          contract
                                                                                                                                                           Fr e e m i u s , In c . , 4 0 2 3 Ke n n e t t Pi k e , Wi l m i n g t o n , D E 1 9 8 0 7
 2.4675 State what the contract or lease is for and the   So f t w a r e , Fr e e m i u s Ed i t S E O Ti t l e & De s c r i p t i o n f o r 4
        nature of the debtor's interest                   Ad d i t i o n a l Si t e s

          State the term remaining                        02/20/2024 - 11/27/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr e e m i u s , In c . , 4 0 2 3 Ke n n e t t Pi k e , Wi l m i n g t o n , D E 1 9 8 0 7
 2.4676 State what the contract or lease is for and the
                                                          So f t w a r e , Fr e e m i u s W P Sh e e t Ed i t o r Li f e t i m e Bu n d l e
        nature of the debtor's interest
          State the term remaining                        04/08/2024 - 04/07/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Fr e e p o r t Ha r d w a r e , 2 6 2 Ro u t e 1 St e 1 , Fr e e p o r t , M E 0 4 0 3 2 -
 2.4677 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 4 )
                                                                                                                                                                 7015
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e m o n t Pl a z a Ha r d w a r e , 2 0 6 0 E Fr e m o n t St , St o c k t o n , C A
 2.4678 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 9 8 )
                                                                                                                                                                 95205
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e s h Wa v e / Om i In d u s t r i e s , 2 2 0 N Sm i t h St , Pa l a t i n e , I L 6 0 0 6 7
 2.4679 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e s h Wa v e / Om i In d u s t r i e s , 2 2 0 N Sm i t h St , Pa l a t i n e , I L 6 0 0 6 7
 2.4680 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e s h Wa v e / Om i In d u s t r i e s , 2 2 0 N Sm i t h St , Pa l a t i n e , I L 6 0 0 6 7
 2.4681 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e s h Wa v e / Om i In d u s t r i e s , 2 2 0 N Sm i t h St , Pa l a t i n e , I L 6 0 0 6 7
 2.4682 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Fr e s n o Ag Ha r d w a r e , 4 5 9 0 N. Fi r s t St , Fr e s n o , C A 9 3 7 2 6 - 2 3 2 7
 2.4683 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4684 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4686 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4687 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4688 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d , Po Bo x 7 1 8 7 , 2 1 8 Fe l d Av e , Hi g h Po i n t , N C 2 7 2 6 4
 2.4690 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h Dr , Hu n t l e y, I L
 2.4691 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 60142
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h Dr , Hu n t l e y, I L
 2.4692 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   60142
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                   Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h Dr , Hu n t l e y, I L
 2.4693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 0 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   60142
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h Dr , Hu n t l e y, I L
 2.4694 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            60142

          State the term remaining                        01/01/2024 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                   Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h Dr , Hu n t l e y, I L
 2.4695 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   60142
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                   Fr e u n d S A De Cv Tr u e Va l u e , 3 9 Ca l l e Or i e n t e Y Pa s a j e
 2.4696 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 2 3 )
                                                                                                                                                   Fr e u n d 2 , Sa n Sa l v a d o r Ca , El Sa l v a d o r
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Fr e v e r t Tr u e Va l u e Hd w, 4 0 9 S St a t e Rt e 2 9 1 , Li b e r t y, M O
 2.4697 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 7 3 )
        nature of the debtor's interest                                                                                                            64068-1914

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Fr i e d Br o s . , 4 6 7 No 7 Th St , Ph i l a d e l p h i a , PA 1 9 1 2 3
 2.4698 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Fr i e n d Tr u e Va l u e Lb r , 1 4 5 W Hw y 3 2 , Li c k i n g , M O 6 5 5 4 2 -
 2.4699 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 9 9 )
                                                                                                                                                   9898
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr i t a In c , No . 6 9 , Lo n g j i a n g Ro a d , Zh o n g s h a n Di s t , Ta i p e i Ci t y
 2.4700 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 0 4 8 9 , Ta i w a n
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr i t a In c , No . 6 9 , Lo n g j i a n g Ro a d , Zh o n g s h a n Di s t , Ta i p e i Ci t y
 2.4701 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 1 0 4 8 9 , Ta i w a n

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr i t a In c , No . 6 9 , Lo n g j i a n g Ro a d , Zh o n g s h a n Di s t , Ta i p e i Ci t y
 2.4702 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 0 4 8 9 , Ta i w a n
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr o n t Ra n g e Bu i l d i n g Su p p l y, 3 3 9 0 S Zu n i St , Li t t l e t o n , C O
 2.4703 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 6 )
                                                                                                                                                                 80110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr o s t Cu t l e r y Co m p a n y, 6 8 6 1 Mo u n t a i n Vi e w Ro a d , Oo l t e w a h ,
 2.4704 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TN 37363

          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Fr o s t Cu t l e r y Co m p a n y, 6 8 6 1 Mo u n t a i n Vi e w Ro a d , Oo l t e w a h ,
 2.4705 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TN 37363

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr o s t Cu t l e r y Co m p a n y, 6 8 6 1 Mo u n t a i n Vi e w Ro a d , Oo l t e w a h ,
 2.4706 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TN 37363
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr u i t Ba s k e t Fl o w e r l a n d , 7 6 5 W 2 8 t h St r e e t , Wy o m i n g , M I
 2.4707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 9 0 )
        nature of the debtor's interest                                                                                                                          49509-2977

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fr u i t a Tr u e Va l u e , 1 6 9 0 Hi g h w a y 6 & 5 0 , Fr u i t a , C O 8 1 5 2 1 -
 2.4708 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 6 9 )
                                                                                                                                                                 2549
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fr y ' s Tr u e Va l u e , 1 7 5 So u t h Ma i n St r e e t , Mi l t o n - Fr e e w a t e r , O R
 2.4709 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 4 9 )
        nature of the debtor's interest                                                                                                                          97862-1355

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ft d L L C, 3 1 1 3 Wo o d c r e e k Dr , Do w n e r s Gr o v e , I L 6 0 5 1 5
 2.4710 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/04/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Fu Hs i n g Am e r i c a s In c , 1 4 2 4 Bu f o r d Bu s i n e s s Bl v d , Su i t e 1 0 0 ,
 2.4711 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bu f o r d , G A 3 0 5 1 8
        nature of the debtor's interest
          State the term remaining                        08/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l c r u m Pr o d u c t s In c , 1 6 0 0 1 4 Th St , Su i t e 2 0 0 , We s t Li n n , O R
 2.4712 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          97068

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l c r u m Pr o d u c t s In c , 1 6 0 0 1 4 Th St , Su i t e 2 0 0 , We s t Li n n , O R
 2.4713 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 97068
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l c r u m Pr o d u c t s In c , 1 6 0 0 1 4 Th St , Su i t e 2 0 0 , We s t Li n n , O R
 2.4714 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 97068
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fu l l Ci r c l e , 1 8 5 3 Ar m y Dr i v e Su i t e 1 0 3 , Ro u t e 1 6 , Ha r m o n , G U
 2.4715 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Fu l l Ci r c l e Ho m e L L C, 1 3 1 We s t 3 5 Th St r e e t , 8 Th Fl o o r , Ne w
 2.4716 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Yo r k , N Y 1 0 0 0 1

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l l Ci r c l e Ho m e L L C, 1 3 1 We s t 3 5 Th St r e e t , 8 Th Fl o o r , Ne w
 2.4717 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fu l l Sp e k t r e m L L C, 2 1 9 2 5 Ha r p e r Av e , Sa i n t Cl a i r Sh o r e s , M I
 2.4718 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48080
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l l c i r c l e 2 6 In c . , 1 2 3 S Hw y Rt e 1 2 , Fo x La k e , I L 6 0 0 2 0
 2.4719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l l e r ' s Tr u e Va l u e , 1 6 0 N Ma r k e t St 1 6 2 , Ea s t Pa l e s t i n e , O H
 2.4720 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 1 )
        nature of the debtor's interest                                                                                                                          44413-2019

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Fu l t o n Co r p o r a t i o n , 3 0 8 8 Th Av e n u e , Fu l t o n , I L 6 1 2 5 2
 2.4721 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l t o n Co r p o r a t i o n , 3 0 8 8 Th Av e n u e , Fu l t o n , I L 6 1 2 5 2
 2.4722 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Fu l t o n Co r p o r a t i o n , 3 0 8 8 Th Av e n u e , Fu l t o n , I L 6 1 2 5 2
 2.4723 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Fu l t o n Co r p o r a t i o n , 3 0 8 8 Th Av e n u e , Fu l t o n , I L 6 1 2 5 2
 2.4724 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                  Fu n k A J & Co m p a n y, 1 4 7 1 Ti m b e r Dr , El g i n , I L 6 0 1 2 3
 2.4725 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                  Fu n k A J & Co m p a n y, 1 4 7 1 Ti m b e r Dr , El g i n , I L 6 0 1 2 3
 2.4726 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Fu s e k ' s Tr u e Va l u e , 3 5 0 E Ne w Yo r k St - St e 1 0 0 , In d i a n a p o l i s ,
 2.4727 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 4 1 )
        nature of the debtor's interest                                                                                                                           IN 46204-2100

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Fu s e k ' s Tr u e Va l u e Ea s t , 9 5 0 1 E Wa s h i n g t o n St . , In d i a n a p o l i s ,
 2.4728 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 8 )
                                                                                                                                                                  IN 46229
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Fu s i o n 9 2 , 4 4 0 W On t a r i o St , Ch i c a g o , I L 6 0 6 5 4
 2.4729 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , Fu s i o n 9 2 - M S A 2 0 2 0 Re v i s e d
        nature of the debtor's interest
          State the term remaining                        04/23/2020 - 04/22/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Fv Ki n g s Cl e a n i n g Se r v i c e s , 3 7 9 Am h e r s t St r e e t , Na s h u a , N H
 2.4730 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , F V Ki n g s Ja n i t o r i a l Se r v i c e s
        nature of the debtor's interest                   - Ma n c h e s t e r                                                                                    03063

          State the term remaining                        01/31/2024 - 01/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                  G & F Pr o d u c t s In c , 7 9 2 6 St a t e Rd , Ph i l a d e l p h i a , PA 1 9 1 3 6
 2.4731 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2009

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 G & M Bu i l d i n g Su p p l y In c . , G& m Bu i l d i n g Su p p l y In c , 1 4 6 0
 2.4732 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 0 7 )
        nature of the debtor's interest                                                                                                                          Ra l p h Av e n u e , Br o o k l y n , N Y 1 1 2 3 6 - 3 1 6 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G D Tr u e Va l u e Hd w, 1 3 2 4 1 Ve n t u r a Bl v d , No r t h Ho l l y w o o d ,
 2.4733 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 6 7 )
                                                                                                                                                                 CA 91604-1835
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G E Li g h t i n g , 4 5 2 1 Hi g h w a y Pa r k w a y, Gl e n Al l e n , VA 2 3 0 6 0
 2.4734 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 G E Li g h t i n g , 4 5 2 1 Hi g h w a y Pa r k w a y, Gl e n Al l e n , VA 2 3 0 6 0
 2.4735 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 G E Li g h t i n g / Ba t t e r i e s , Po Bo x 4 7 1 4 , Gl e n Al l e n , VA 2 3 0 6 0
 2.4736 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 G R Mi t c h e l l In c , 1 4 Be a v e r Va l l e y Pi k e , Wi l l o w St r e e t , PA
 2.4737 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 7 2 )
                                                                                                                                                                 17584-9524
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G S A Tr u e Va l u e Ha r d w a r e , 1 5 4 1 W Pa c i f i c Co a s t Hw y, Lo n g
 2.4738 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 6 6 )
        nature of the debtor's interest                                                                                                                          Be a c h , C A 9 0 8 1 0 - 4 2 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4739 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 93021
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4740 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 93021
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4741 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 93021
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4742 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 93021

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4743 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 93021
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4744 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 93021
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4745 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          93021

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 G T Wa t e r Pr o d u c t s , 5 2 3 9 N Co m m e r c e Av e , Mo o r p a r k , C A
 2.4746 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 93021
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 G& I X Ha r v e y L L C, c / o Ka n e Ma n a g e m e n t Gr o u p L L C, 2 1 0
 2.4747 State what the contract or lease is for and the   Le a s e , Pa r k i n g Li c e n s e Ag r e e m e n t f o r Tr u e Va l u e Ma n c h e s t e r
                                                                                                                                                                 Co m m e r c e Wa y, Su i t e 3 0 0 , Po r t s m o u t h , N H 0 3 8 0 1
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 07/31/2033

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 G& I X Ha r v e y L L C, c / o Ka n e Ma n a g e m e n t Gr o u p L L C, 2 1 0
 2.4748 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 3 3 3 Ha r v e y Rd . Ma n c h e s t e r , N H 0 3 1 0 3
                                                                                                                                                                 Co m m e r c e Wa y, Su i t e 3 0 0 , Po r t s m o u t h , N H 0 3 8 0 1
        nature of the debtor's interest
          State the term remaining                        07/31/2033

          List the contract number of any government
          contract
                                                                                                                                                                 Ga l e Pr o d u c t Gr o u p L L C, 8 9 0 2 E Vi a Li n d a , Su i t e 1 1 0 - 7 9 ,
 2.4749 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sc o t t s d a l e , A Z 8 5 2 8 1
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ga l e s Tr u e Va l u e , 2 8 2 5 St a d i u m Dr i v e , Ka l a m a z o o , M I 4 9 0 0 8
 2.4750 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga l e t o n Ha r d w a r e , 1 6 We s t St r e e t , Ga l e t o n , PA 1 6 9 2 2 - 1 2 2 3
 2.4751 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga l l a g h e r No r t h Am e r i c a , Po Bo x 6 8 1 4 0 9 , 5 0 0 5 Nw 4 1 St St ,
 2.4752 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ri v e r s i d e , M O 6 4 1 5 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga l l a g h e r No r t h Am e r i c a , Po Bo x 6 8 1 4 0 9 , 5 0 0 5 Nw 4 1 St St ,
 2.4753 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ri v e r s i d e , M O 6 4 1 5 0

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ga l l a g h e r No r t h Am e r i c a , Po Bo x 6 8 1 4 0 9 , 5 0 0 5 Nw 4 1 St St ,
 2.4754 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ri v e r s i d e , M O 6 4 1 5 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga l l a g h e r No r t h Am e r i c a , Po Bo x 6 8 1 4 0 9 , 5 0 0 5 Nw 4 1 St St ,
 2.4755 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ri v e r s i d e , M O 6 4 1 5 0
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ga l l a t i n Tr u e Va l u e Ha r d w a r e , 1 0 4 E Ed w a r d s St , Ri d g w a y, I L
 2.4756 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 2 8 )
                                                                                                                                                     62979-1300
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga l l o w s Ba y Ha r d w a r e In c . , 1 1 8 Es t a t e Mo u n t We l c o m e ,
 2.4757 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 9 )
        nature of the debtor's interest                                                                                                              Ch r i s t i a n s t e d , V I 0 0 8 2 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga l v e s t o n Ba y Pa i n t & De c o r a t i n g , 1 6 8 6 4 Hi g h w a y 3 , We b s t e r ,
 2.4758 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 9 )
                                                                                                                                                     TX 77598
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga m e m a s t e r At h l e t i c , 9 7 7 0 In t e r Oc e a n Dr , Un i t B, We s t
 2.4759 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ch e s t e r , O H 4 5 2 4 6
        nature of the debtor's interest
          State the term remaining                        09/05/2017

          List the contract number of any government
          contract
                                                                                                                                                     Ga m e s To Go , 5 0 7 W Co t t a g e Av e , He n d r i c k s , M N 5 6 1 3 6
 2.4760 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ga n d e r Ou t d o o r s Mw d c # 9 4 0 , Ga n d e r Ou t d o o r s Mw d c 9 4 0 ,
 2.4761 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 0 8 )
                                                                                                                                                     3 0 0 Pu r i t y Dr i v e , Le b a n o n , I N 4 6 0 5 2 - 8 1 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga n t r y Ha r d w a r e , 4 3 - 3 7 Hu n t e r St r e e t , Lo n g Is l a n d Ci t y, N Y
 2.4762 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 8 )
                                                                                                                                                     11101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga n t r y Ha r d w a r e , 4 7 - 1 7 5 t h St r e e t , Lo n g Is l a n d Ci t y, N Y
 2.4763 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 9 )
        nature of the debtor's interest                                                                                                              11101

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Ga r a n t , 3 7 5 Ch St Fr a n c o i s Qu e s t , St Fr a n c o i s , Q C G0 R 3 A0 ,
 2.4764 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   Ca n a d a
        nature of the debtor's interest
          State the term remaining                        03/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                   Ga r a n t , 3 7 5 Ch St Fr a n c o i s Qu e s t , St Fr a n c o i s , Q C G0 R 3 A0 ,
 2.4765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            Ca n a d a

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                   Ga r a n t , 3 7 5 Ch St Fr a n c o i s Qu e s t , St Fr a n c o i s , Q C G0 R 3 A0 ,
 2.4766 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                   Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Ga r b e r Ha r d w a r e , 7 1 0 Gr e e n w i c h St r e e t , Ne w Yo r k , N Y 1 0 0 1 4 -
 2.4767 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 1 )
                                                                                                                                                                   2541
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Ga r d a w o r l d Se c u r i t y Se r v i c e s , 1 6 9 9 So u t h Ha n l e y Rd Su i t e
 2.4768 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ga r d a Wo r l d Re m o t e
        nature of the debtor's interest                   Mo n i t o r i n g M S A Ma n k a t o R D C 2 0 2 3                                                      3 5 0 , St Lo u i s , M O 6 3 1 4 4

          State the term remaining                        06/01/2023 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                   Ga r d a w o r l d Se c u r i t y Se r v i c e s , 1 6 9 9 So u t h Ha n l e y Rd Su i t e
 2.4769 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , E Ca m Se c u r e Ri n g Ca m e r a
                                                                                                                                                                   3 5 0 , St Lo u i s , M O 6 3 1 4 4
        nature of the debtor's interest                   Re p l a c e m e n t - Ha r v a r d

          State the term remaining                        12/04/2023 - 12/03/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Ga r d a w o r l d Se c u r i t y Se r v i c e s , 1 6 9 9 So u t h Ha n l e y Rd Su i t e
 2.4770 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ga r d a Wo r l d Ma n k a t o 2 4 / 7
                                                                                                                                                                   3 5 0 , St Lo u i s , M O 6 3 1 4 4
        nature of the debtor's interest                   Se c u r i t y Gu a r d Se r v i c e s 2 0 2 4

          State the term remaining                        01/13/2024 - 01/12/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Ga r d a w o r l d Se c u r i t y Se r v i c e s , 1 6 9 9 So u t h Ha n l e y Rd Su i t e
 2.4771 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ga r d a Wo r l d Se c u r i t y Se r v i c e s - Se c u r i t y
        nature of the debtor's interest                   Gu a r d Se r v i c e s Ag r e e m e n t 2 0 2 1                                                         3 5 0 , St Lo u i s , M O 6 3 1 4 4

          State the term remaining                        02/01/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ga r d e n Ce n t e r So l u t i o n s , 3 4 9 Ra m b l i n g Wa y, Sp r i n g f i e l d , PA
 2.4772 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              19064

          State the term remaining                        04/24/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n Ex c h a n g e , 3 0 0 Ke a w e St , Hi l o , H I 9 6 7 2 0 - 2 9 3 2
 2.4773 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 3 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n Go o d s , 3 5 1 0 N Us Hi g h w a y 3 1 S, Tr a v e r s e Ci t y, M I
 2.4774 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 0 6 )
                                                                                                                                                     49684-4542
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n Ma r t , W2 9 7 s 9 1 1 5 St a t e Rd 8 3 , Mu k w o n a g o , W I 5 3 1 4 9 -
 2.4775 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 0 9 )
        nature of the debtor's interest                                                                                                              8766

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n Me a d o w In c , 1 2 4 Re s e a r c h Dr i v e , Bu i l d i n g G & H,
 2.4776 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Mi l f o r d , C T 0 6 4 6 0
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n St a t e Bu l b L L C, Ga r d e n St a t e Bu l b L L C, 2 7 2 0
 2.4777 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     In d u s t r i a l Wa y, Vi n e l a n d , N J 0 8 3 6 0
        nature of the debtor's interest
          State the term remaining                        09/29/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n St a t e Gr o w e r s , 9 9 Lo c u s t Gr o v e Ro a d , Pi t t s t o w n , N J
 2.4778 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              08867

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ga r d e n Su p p l y Co m p a n y, 1 4 2 1 Ol d Ap e x Rd . , Ca r y, N C 2 7 5 1 3 -
 2.4779 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 0 )
        nature of the debtor's interest                                                                                                              5255

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ga r d e n Va l l e y Fe e d & Ha r d w a r e , 4 7 0 2 Ma r s h a l l Ro a d , Ga r d e n
 2.4780 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 1 8 )
        nature of the debtor's interest                                                                                                                          Va l l e y, C A 9 5 6 3 3 - 9 4 7 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n We a s e l , 7 5 Se a v i e w Dr , Se c a u c u s , N J 0 7 0 9 4
 2.4781 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n We a s e l , 7 5 Se a v i e w Dr , Se c a u c u s , N J 0 7 0 9 4
 2.4782 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n We a s e l , 7 5 Se a v i e w Dr , Se c a u c u s , N J 0 7 0 9 4
 2.4783 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n We a s e l , 7 5 Se a v i e w Dr , Se c a u c u s , N J 0 7 0 9 4
 2.4784 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n Wo r l d H & Gs , 1 9 7 - 2 3 4 7 t h Av e n u e , Fl u s h i n g , N Y
 2.4785 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 5 8 )
                                                                                                                                                                 11358-3912
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n e r s Ho l l o w Le g , Th e , 7 0 6 Hi l l d a l e Av e , Be r k e l e y, C A
 2.4786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          94708

          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e n s Of Pa r a d i s e , 6 7 4 9 Ad m i r a l Pe a r y Hi g h w a y, Lo r e t t o , PA
 2.4787 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 7 )
                                                                                                                                                                 15940
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4788 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4789 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4790 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4791 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4792 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d e x , 4 3 2 4 - 3 6 Fl y e r Av e , St Lo u i s , M O 6 3 1 1 6
 2.4793 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4794 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 53151

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4795 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53151
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4796 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53151
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4797 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53151
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4798 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 53151

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Be n d e r In c , 1 6 2 5 0 W Wo o d s Ed g e Rd , Ne w Be r l i n , W I
 2.4799 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53151
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r Tr u e Va l u e Hd w e , 2 4 8 9 Rt 9 A, Oc e a n Vi e w, N J
 2.4800 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 7 2 )
                                                                                                                                                                 08230-1077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4801 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4802 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4804 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4805 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4807 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4808 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r - Gi b s o n , 2 8 1 8 0 Sh e r w o o d Dr i v e , We s t l a k e , O H 4 4 1 4 5
 2.4809 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r , In c . , 1 2 7 4 0 Ke n a n Dr i v e , Bl d g 1 0 0 , Su i t e 4 ,
 2.4810 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 5 8
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ga r d n e r ' s Tr u e Va l u e Ha r d w a r e , Ga r d n e r ` s Tr u e Va l u e
 2.4811 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 6 1 )
                                                                                                                                                                 Ha r d w a r e , 1 0 4 S Ma i n St , Lo n e Pi n e , C A 9 3 5 4 5 - 3 0 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          Ga r f i e l d Ac e Ha r d w a r e , 5 6 8 0 Tu r n e y Rd , Ga r f i e l d He i g h t s , O H
 2.4812 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 1 )
                                                                                                                                                          44125-3974
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          Ga r i c k Co r p o r a t i o n , 1 3 6 0 0 Br o a d w a y Av e , Cl e v e l a n d , O H
 2.4813 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                   44125

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                          Ga r i c k Co r p o r a t i o n , 1 3 6 0 0 Br o a d w a y Av e , Cl e v e l a n d , O H
 2.4814 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                          44125
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                          Ga r l a n d Fa r m Ga r d e n , 7 0 Pa r k St r e e t , Ru t l a n d , V T 0 5 7 0 1
 2.4815 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          Ga r n e r Tr u e Va l u e Ha r d w a r e , 1 2 5 E Lo c u s t St , Ro g e r s , A R
 2.4816 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 4 6 )
        nature of the debtor's interest                                                                                                                   72756-3831

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          Ga r r i s o n ' s Ho m e & Ga r d e n Sh o w p l a c e , Ga r r i s o n ` s Ho m e &
 2.4817 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 0 6 )
                                                                                                                                                          Ga r d e n Sh o w p , 6 9 0 5 Gr e e n w o o d Ro a d , Sh r e v e p o r t , L A 7 1 1 1 9 -
        nature of the debtor's interest
                                                                                                                                                          8312
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          Ga r t n e r In c . , 5 6 To p Ga l l a n t Ro a d , St a m f o r d , C T 0 6 9 0 4
 2.4818 State what the contract or lease is for and the   So f t w a r e , Ga r t n e r Su b s c r i p t i o n Re n e w a l - Co r e Te c h n o l o g y
        nature of the debtor's interest                   S M Es 2 0 2 3

          State the term remaining                        11/01/2023 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                          Ga r y Pi t t s f o r d , 9 8 2 0 We s t p o i n t Dr i v e , In d i a n a p o l i s , I N 4 6 2 5 6
 2.4819 State what the contract or lease is for and the
                                                          Tr a i n i n g Se r v i c e s , Sp e a k e r a t Re u n i o n
        nature of the debtor's interest
          State the term remaining                        09/15/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ga r y ' s Tr u e Va l u e , 7 2 7 Su p e r i o r St , Wi s c o n s i n De l l s , W I
 2.4820 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 8 3 )
                                                                                                                                                     53965-1562
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s p e r Ho m e & Ga r d e n Sh o w p l a c e , 3 1 6 Ta n y a r d Ro a d ,
 2.4821 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 6 1 )
        nature of the debtor's interest                                                                                                              Ri c h b o r o , PA 1 8 9 5 4 - 1 0 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s p e r La n d s c a p e , 5 0 1 Ca m a r s Dr i v e , Wa r m i n s t e r , PA 1 8 9 7 4
 2.4822 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r Tr u e Va l u e , 1 0 5 2 3 r d St r e e t , Br o d h e a d , W I 5 3 5 2 0 - 1 9 5 5
 2.4823 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r Tr u e Va l u e , 1 1 1 We s t g a t e Dr i v e , Ma q u o k e t a , I A 5 2 0 6 0 -
 2.4824 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 1 )
        nature of the debtor's interest                                                                                                              2954

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r Tr u e Va l u e , 1 1 3 5 9 W In d u s t r i a l Pa r k Av e , Ga l e n a , I L
 2.4825 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 2 )
                                                                                                                                                     61036-8112
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r Tr u e Va l u e , 1 5 0 9 Hw y 6 1 N, La n c a s t e r , W I 5 3 8 1 3 - 9 4 1 2
 2.4826 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r Tr u e Va l u e , 3 9 2 0 N Pe r c i v a l St , Ha z e l Gr e e n , W I
 2.4827 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 )
        nature of the debtor's interest                                                                                                              53811-9514

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ga s s e r Tr u e Va l u e Hd w. , 1 7 0 4 El m St r e e t , Bo s c o b e l , W I 5 3 8 0 5 -
 2.4828 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 2 2 )
        nature of the debtor's interest                                                                                                              1907

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga s s e r ' s Tr u e Va l u e , Ga s s e r ` s Tr u e Va l u e , 1 2 8 In d u s t t r a i l Pa r k
 2.4829 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 6 3 )
                                                                                                                                                     Rd l , Ca s c a d e , I A 5 2 0 3 3 - 7 7 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga t e w a y Fa r m & Pe t , 5 9 Ru s s e l l Rd , Hu n t i n g t o n , M A 0 1 0 5 0 -
 2.4830 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 3 )
                                                                                                                                                     9777
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga t e w a y Fa s t e n e r s , 1 1 0 1 Ra n d a l l Ct , Ex p o r t , PA 1 5 6 3 2
 2.4831 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga t e w a y Ma n u f a c t u r i n g In c , 2 6 7 1 Ow i n g s v i l l e Ro a d , Mt
 2.4832 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     St e r l i n g , K Y 4 0 3 5 3
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ga t e w a y Tr u e Va l u e Hd w e , Ga t e w a y Tr u e Va l u e Ha r d w a r e , 9 1 2
 2.4833 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 8 0 )
                                                                                                                                                     Gr i f f i n Av e , En u m c l a w, WA 9 8 0 2 2 - 3 4 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga y ' s Tr u e Va l u e Ha r d w a r e , Ga y ` s Tr u e Va l u e Ha r d w a r e , 1 8 9 E
 2.4834 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 6 6 )
        nature of the debtor's interest                                                                                                              Ti o g a St r e e t , Tu n k h a n n o c k , PA 1 8 6 5 7 - 1 5 0 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ga y l a In d u s t r i e s In c , 6 4 0 1 An t o n i e St , Ho u s t o n , T X 7 7 2 9 2
 2.4835 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc Lu m b e r Su p p l y In c . , 2 4 5 1 Co n e y Is l a n d Av e , Br o o k l y n , N Y
 2.4836 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 5 )
        nature of the debtor's interest                                                                                                              11223

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - De l u x e La n d s c a p i n g Lt d . , 5 5 3 4 Se c h e l t In l e t Cr e s ,
 2.4837 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 9 )
                                                                                                                                                     Se c h e l t , B C V0 N 3 A3 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - Fa m i l y Fl o w e r s In c . , 4 4 3 2 9 Ta l b o t Li n e , R. r. 3 , St
 2.4838 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 5 )
                                                                                                                                                     Th o m a s , An t i g u a An d Ba r b u d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - On t a r i o Lt d . , Gc g c - p o r t Ca r l i n g Ga r d e n Ce n t r e , 3 8 4 0
 2.4839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 4 1 )
        nature of the debtor's interest                                                                                                              Mu s k o k a Ro a d 1 1 8 w, Po r t Ca r l i n g , O N P0 B 1 J0 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c 1 7 1 0 0 8 6 On t a r i o Lt d . , 2 5 4 2 Pe r t h Ro a d Bo x 3 9 ,
 2.4840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 7 )
                                                                                                                                                     Gl e n b u r n i e , O N K0 H 1 S0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ar t Kn a p p Ga r d e n Ce n t r e & Fl o r i s , 4 2 0 Nu n a v u t Wa y,
 2.4841 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 8 )
                                                                                                                                                     Ka m l o o p s , B C V2 H 1 N6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ar t Kn a p p Pl a n t l a n d , 2 8 5 5 We n t w o r t h Ro a d , Co u r t e n a y,
 2.4842 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 5 5 )
        nature of the debtor's interest                                                                                                              B C V9 N 6 B7 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ar t Kn a p p Pl a n t l a n d & Fl o r i s t , Gc g c Ar t Kn a p p Pl a n t l a n d
 2.4843 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 5 7 )
                                                                                                                                                     & F, 1 9 9 4 Sp r i n g f i e l d Ro a d , Ke l o w n a , B C V1 Y 5 V7 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc g c Ar t Kn a p p Pl a n t l a n d Ho m e & Ga r d e n , Gc g c Ar t Kn a p p
 2.4844 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 0 )
                                                                                                                                                     Pl a n t l a n d Ho m e , 4 4 1 1 Ki m b a l l Ro a d , Pr i n c e Ge o r g e , O N V2 N
        nature of the debtor's interest
                                                                                                                                                     5 N7 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ar t Kn a p p Pl a n t l a n d - s u r r e y, Gc g c Ar t Kn a p p Pl a n t l a n d -
 2.4845 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 2 )
                                                                                                                                                     s u r r e , 4 3 9 1 Ki n g Ge o r g e Bl v d , Su r r e y, Un i t e d Ki n g d o m
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ca r l e t o n Pl a c e Nu r s e r y, 7 1 6 4 Co u n t y Ro a d 2 9 , Ca r l e t o n
 2.4846 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 4 )
        nature of the debtor's interest                                                                                                              Pl a c e , O N K7 C 3 P1 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ce d a r Ri m Nu r s e r y Lt d , 7 0 2 4 Gl o v e r Ro a d , La n g l e y, O N
 2.4847 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 5 )
                                                                                                                                                     V2 Y 2 R1 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Cr a w f o r d ' s Co u n t r y Ga r d e n s , Gc g c Cr a w f o r d ` s Co u n t r y
 2.4848 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 6 )
                                                                                                                                                     Ga r d e n , 8 6 8 9 Fi v e Si d e r o a d , R R 3 , Mi l t o n , O N L9 T 2 X7 ,
        nature of the debtor's interest
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c De g r o o t ' s Nu r s e r y Lt d . , Gc g c De g r o o t ` s Nu r s e r y Lt d . ,
 2.4849 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 7 )
        nature of the debtor's interest                                                                                                              1 8 4 0 Lo n d o n Li n e , Sa r n i a , O N N7 T 7 H2 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Du t c h Gr o w e r s Ga r d e n Ce n t r e Lt d - s a s k a t o o n , Gc g c Du t c h
 2.4850 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 8 )
        nature of the debtor's interest                                                                                                              Gr o w e r s Ga r d e n Ce n t , 1 8 1 8 Ce n t r a l Av e n u e , Sa s k a t o o n , S K
                                                                                                                                                     S7 N 2 H5 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Du t c h Gr o w e r s - r e g i n a , 3 3 2 0 Pa s q u e St r e e t , Re g i n a , S K
 2.4851 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 9 )
                                                                                                                                                     S4 S 7 G8 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc g c Ga r d e n Ce n t r e Gr o u p Co - o p e r a t i v e Co r p . , Gc g c Ga r d e n
 2.4852 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 5 4 )
                                                                                                                                                     Ce n t r e Gr o u p Co - o p , 5 0 2 5 Or b i t o r Dr , Bl d g 1 , St e 1 0 4 ,
        nature of the debtor's interest
                                                                                                                                                     Mi s s i s s a u g a , O N L4 W 4 Y5 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Gl a s s Ho u s e Nu r s e r y, 5 6 Cr e e k Ro a d , R R 3 , Ch a t h a m , O N
 2.4853 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 6 9 )
                                                                                                                                                     N7 M 0 L2 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Gr e e n Th i n g s , 1 8 9 2 Hw y 2 , P. o . Bo x 4 8 1 , Br o c k v i l l e , O N
 2.4854 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 1 )
        nature of the debtor's interest                                                                                                              K6 V 5 T1 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Gr e e n Th u m b Ga r d e n Ce n t r e Lt d , 6 2 6 1 Ha m m o n d Ba y
 2.4855 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 4 )
                                                                                                                                                     Ro a d , Na n a i m o , B C V9 T 5 M4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Hu r o n Ri d g e Ac r e s In c , 7 4 1 0 1 Br o n s o n Li n e , Zu r i c h ,
 2.4856 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 8 )
                                                                                                                                                     Sw i t z e r l a n d
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c La k e w o o d Ga r d e n Ce n t r e , 7 2 8 5 6 Bl u e w a t e r Hw y, R R 2 ,
 2.4857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 2 )
        nature of the debtor's interest                                                                                                              Zu r i c h , Sw i t z e r l a n d

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ma p l e Le a f Ga r d e n Ce n t r e , 2 5 5 8 Ha y w o o d Av e n u e , W
 2.4858 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 3 )
                                                                                                                                                     Va n c o u v e r , B C V7 V 4 T9 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ma r l i n Or c h a r d s & Ga r d e n Ce n t r e , Gc g c Ma r l i n Or c h a r d s
 2.4859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 8 )
                                                                                                                                                     & Ga r d e , 6 8 6 4 Or c h a r d Ro a d , R R 1 , Co r n w a l l , O N K6 H 5 R5 ,
        nature of the debtor's interest
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc g c Mc k n i g h t ' s Fi n e Fl o w e r s & Gi f t s , Gc g c Mc k n i g h t ` s Fi n e
 2.4860 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 4 )
                                                                                                                                                     Fl o w e r s A, 4 1 La n d s d o w n e St r e e t We s t , Pe t e r b o r o u g h , En g l a n d
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Me a d o w Ac r e s , 2 3 1 5 Qu e e n St r e e t , R R 2 , Pe t e r s b u r g , O N
 2.4861 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 2 )
        nature of the debtor's interest                                                                                                              N0 B 2 H0 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Mi n t e r Co u n t r y Ga r d e n , 1 0 0 1 5 Yo u n g Ro a d , Ch i l l i w a c k ,
 2.4862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 5 )
        nature of the debtor's interest                                                                                                              B C V2 P 4 V4 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Oa k r i d g e Gr e e n h o u s e & Ga r d e n Ce n t r e , Gc g c Oa k r i d g e
 2.4863 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 6 )
                                                                                                                                                     Gr e e n h o u s e & G, 3 6 9 Pt h 5 2 We s t , St e i n b a c h , M B R5 G 1 N6 ,
        nature of the debtor's interest
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Re g a l Fl o r i s t & Ga r d e n Ce n t r e , Gc g c Re g a l Fl o r i s t &
 2.4864 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 7 )
        nature of the debtor's interest                                                                                                              Ga r d e n , 1 6 1 6 Ni a g a r a St o n e Ro a d , P. o . Bo x 4 0 0 , Vi r g i l , O N
                                                                                                                                                     L0 S 1 T0 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ri c h m o n d Nu r s e r y, 3 4 4 0 Ea g l e s o n Ro a d , Bo x 8 5 0 ,
 2.4865 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 7 )
        nature of the debtor's interest                                                                                                              Ri c h m o n d , O N K0 A 2 Z0 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ro y a l Ci t y Nu r s e r y, 6 8 3 8 We l l i n g t o n Ro a d 1 2 4 , Gu e l p h ,
 2.4866 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 1 )
                                                                                                                                                     O N N0 B 1 T0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Sa l i s b u r y Gr e e n h o u s e , 5 2 3 3 7 Ra n g e Ro a d 2 3 2 , P. o . Bo x
 2.4867 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 9 )
                                                                                                                                                     3 0 9 3 , Sh e r w o o d Pa r k , A B T8 B 1 B5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc g c Sh e l m e r d i n e Ga r d e n Ce n t e r , 7 8 0 0 Ro b l i n Bl v d ,
 2.4868 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 0 )
                                                                                                                                                     He a d i n g l e y, M B R4 H 1 B1 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c St . Ma r y ' s Nu r s e r y & Ga r d e n Ce n t r e , Gc g c St . Ma r y ` s
 2.4869 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 7 8 )
        nature of the debtor's interest                                                                                                              Nu r s e r y & Ga , 2 9 0 1 St . Ma r y ' s Ro a d , Wi n n i p e g , M B R2 N 4 A6 ,
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Su n s e t Nu r s e r y, 2 1 7 7 Gr e e n w o o d Ro a d , Pe m b r o k e , O N
 2.4870 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 1 )
                                                                                                                                                     K8 A 6 W2 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Th e Gr e e n Sp o t Ga r d e n Ce n t r e , Gc g c Th e Gr e e n Sp o t
 2.4871 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 2 )
                                                                                                                                                     Ga r d e n Ce n , 1 3 2 9 Ro s s e r Av e n u e Ea s t , Br a n d o n , M B R7 A 7 J2 ,
        nature of the debtor's interest
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Va n Be l l e Fl o r a l Sh o p p e s , 1 9 7 9 Hi g h w a y 2 , Bo w m a n v i l l e ,
 2.4872 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 3 )
        nature of the debtor's interest                                                                                                              O N L1 C 3 K7 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c Ve r m e e r ' s Ga r d e n Ce n t r e & Fl o w e r Sh o p , Gc g c Ve r m e e r ` s
 2.4873 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 8 6 )
                                                                                                                                                     Ga r d e n Ce n t r e A, 6 8 4 So u t h Pe l h a m St r e e t , We l l a n d , O N L3 C
        nature of the debtor's interest
                                                                                                                                                     3 C8 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - Ar b e r Gr e e n h o u s e s Lt d . , 4 7 1 0 6 6 Hw y 2 a , We t a s k i w i n ,
 2.4874 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 9 )
                                                                                                                                                     A B T0 C 1 N0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - e g o ' s Nu r s e r i e s Lt d , Gc g c - e g o ` s Nu r s e r i e s Lt d , 5 9 6
 2.4875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 0 )
        nature of the debtor's interest                                                                                                              Ho r s e s h o e Va l l e y Ro a d Ea s t , Co l d w a t e r , O N L0 K 1 E0 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gc g c - e i s i n g Gr e e n h o u s e s & Ga r d e n Ce n t r e , Gc g c - e i s i n g
 2.4876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 8 )
        nature of the debtor's interest                                                                                                              Gr e e n h o u s e s & Ga r d , 8 1 4 Co c k s h u t t Ro a d , Si m c o e , O N N3 Y
                                                                                                                                                     4 K4 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - e n j o y Ga r d e n Ce n t r e / 1 9 6 4 8 5 4 Al b e r t a Lt d . , Gc g c - e n j o y
 2.4877 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 5 )
        nature of the debtor's interest                                                                                                              Ga r d e n Ce n t r e / 1 9 6 , Su i t e 1 0 0 1 0 1 Ri e l Dr i v e , St Al b e r t , A B
                                                                                                                                                     T8 N 3 X4 , Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - h e e m a n Gr e e n h o u s e s Li m i t e d , Gc g c - h e e m a n Gr e e n h o u s e s
 2.4878 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 5 4 )
                                                                                                                                                     Li m i t e , 2 0 4 2 2 Ni s s o u r i Ro a d , Th o r n d a l e , O N N0 M 2 P0 ,
        nature of the debtor's interest
                                                                                                                                                     Ca n a d a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc g c - s c h a t k o w s k y In c , 1 4 Ma r k s La n e , Ke n o r a , O N P9 N 0 E2 ,
 2.4879 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 7 )
                                                                                                                                                     Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gc p Ap p l i e d Te c h n o l o g i e s , 6 1 7 8 Do w n s Ri d g e Co u r t , El k r i d g e ,
 2.4880 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              MD 21075

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ge Ap p l i a n c e Pa r t s , Ap p l i a n c e Pa r k , Ap 6 - 2 1 8 , Lo u i s v i l l e , K Y
 2.4881 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     40225
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                     Ge Ap p l i a n c e Pa r t s , Ap p l i a n c e Pa r k , Ap 6 - 2 1 8 , Lo u i s v i l l e , K Y
 2.4882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     40225
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ge En e r g y In d u s t r i a l So l u t i o n s , 1 Ne u m a n n Wa y, Ci n c i n n a t i ,
 2.4883 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              OH 45215

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ge e k He a v e n In c , 2 2 0 1 Gr e e n La n e Un i t 3 , Le v i t t o w n , PA
 2.4884 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 5 6 )
        nature of the debtor's interest                                                                                                                          19057-4112

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge i g e r Tr u e Va l u e Hd w e , 3 0 7 W Wa l n u t St , Ch i l l i c o t h e , I L
 2.4885 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 )
                                                                                                                                                                 61523-1836
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge l Bl a s t e r In c , 5 0 0 0 Pl a z a On Th e La k e , St e 2 6 5 , Au s t i n , T X
 2.4886 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 78746
        nature of the debtor's interest
          State the term remaining                        02/01/2023 - 01/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ge l Bl a s t e r In c , 5 0 0 0 Pl a z a On Th e La k e , St e 2 6 5 , Au s t i n , T X
 2.4887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          78746

          State the term remaining                        09/01/2023 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ge m Bu i l d e r s Su p p l y, 3 1 2 Ma i n St , Co t t o n w o o d , I D 8 3 5 2 2
 2.4888 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4889 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4891 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4892 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4893 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge m m y In d u s t r i e s , 1 1 7 Wr a n g l e r Dr i v e , Co p p e l l , T X 7 5 0 1 9
 2.4894 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a c Mo b i l e Pr o d u c t s L L C, 2 1 5 Po w e r Dr i v e , Be r l i n , W I
 2.4895 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          54923

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a c Po w e r Sy s t e m s , In c . , P. O. Bo x 8 , Hi g h w a y 5 9 &
 2.4896 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 Hi l l s i d e Ro a d , Wa u k e s h a , W I 5 3 1 8 7
        nature of the debtor's interest
          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l El e c t r i c , Po Bo x 1 0 0 8 1 0 , At l a n t a , G A 3 0 3 8 4
 2.4897 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        07/14/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l Fo a m Pl a s t i c s , 4 4 2 9 Bo n n e y Rd , Su i t e 5 0 0 , Vi r g i n i a
 2.4898 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Be a c h , VA 2 3 4 6 2

          State the term remaining                        02/15/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l Fo a m Pl a s t i c s , 4 4 2 9 Bo n n e y Rd , Su i t e 5 0 0 , Vi r g i n i a
 2.4899 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Be a c h , VA 2 3 4 6 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ge n e r a l Fo a m Pl a s t i c s , 4 4 2 9 Bo n n e y Rd , Su i t e 5 0 0 , Vi r g i n i a
 2.4900 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , VA 2 3 4 6 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l Fo a m Pl a s t i c s , 4 4 2 9 Bo n n e y Rd , Su i t e 5 0 0 , Vi r g i n i a
 2.4901 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h , VA 2 3 4 6 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l La n d s c a p i n g H& g s , 1 2 1 4 Ro u t e 7 0 , Wh i t i n g , N J
 2.4902 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 0 1 )
        nature of the debtor's interest                                                                                                                          08759-1027

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l Lu m b e r Tr u e Va l u e , 2 0 0 Cl i n t o n St r e e t , Ho b o k e n , N J
 2.4903 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 3 3 )
                                                                                                                                                                 07030-0628
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l St o r e Tr u e Va l u e , 3 2 6 Ro s l y n Ro a d , Ro s l y n He i g h t s ,
 2.4904 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 7 1 )
                                                                                                                                                                 NY 11577-2214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l To o l & In s t r u m e n t s , 7 5 Se a v i e w Dr , Se c a u c u s , N J
 2.4905 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07094

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l To o l s Mf g , 1 4 5 9 En c i n a Dr i v e , Na p e r v i l l e , I L 6 0 5 4 0
 2.4906 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n e r a l To o l s Mf g , 1 4 5 9 En c i n a Dr i v e , Na p e r v i l l e , I L 6 0 5 4 0
 2.4907 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Ge n e r a l To o l s Mf g , 1 4 5 9 En c i n a Dr i v e , Na p e r v i l l e , I L 6 0 5 4 0
 2.4908 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                        Ge n e r a l To o l s Mf g , 1 4 5 9 En c i n a Dr i v e , Na p e r v i l l e , I L 6 0 5 4 0
 2.4909 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                        Ge n e r a l Wi r e Sp r i n g Co , 1 1 0 1 Th o m p s o n Av e , Mc k e e s Ro c k s ,
 2.4910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 PA 1 5 1 3 6

          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                        Ge n e r a l Wi r e Sp r i n g Co , 1 1 0 1 Th o m p s o n Av e , Mc k e e s Ro c k s ,
 2.4911 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        PA 1 5 1 3 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                        Ge n e r a l Wi r e Sp r i n g Co , 1 1 0 1 Th o m p s o n Av e , Mc k e e s Ro c k s ,
 2.4912 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        PA 1 5 1 3 6
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                        Ge n e v a In d u s t r i a l Gr o u p , 1 1 1 De e r l a k e Rd , Su i t e 1 1 5 ,
 2.4913 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 De e r f i e l d , I L 6 0 0 1 5

          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                        Ge n e v a In d u s t r i a l Gr o u p In c , 4 2 5 Hu e h l Ro a d , Bu i l d i n g 9 ,
 2.4914 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        No r t h b r o o k , I L 6 0 0 6 2
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                        Ge n e v a Pe l l e t s L L C, Ge n e v a Pe l l e t s L L C, 3 5 0 Li n c o l n St ,
 2.4915 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        Su i t e 2 4 0 0 , Hi n g h a m , M A 0 2 0 4 3
        nature of the debtor's interest
          State the term remaining                        03/04/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ge n e v a Su p p l y, 1 5 0 1 E. Wi s c o n s i n St . , De l a v a n , W I 5 3 1 1 5
 2.4916 State what the contract or lease is for and the   So f t w a r e , Pr e s t i g e Pa i n t s ( A K A Ge n e v a ) - Ca r y Pa i n t Mo b i l e
        nature of the debtor's interest                   So f t w a r e Li c e n s e & s u p p o r t Ma s t e r Ag r e e m e n t

          State the term remaining                        01/09/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n i e Co m p a n y, Th e , 2 2 7 9 0 La k e Pa r k Bl v d , Al l i a n c e , O H
 2.4917 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44601

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e , Sa l t La k e Ci t y, U T
 2.4918 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 84104
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e , Sa l t La k e Ci t y, U T
 2.4919 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 84104
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e , Sa l t La k e Ci t y, U T
 2.4920 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 84104

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e , Sa l t La k e Ci t y, U T
 2.4921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 84104

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e , Sa l t La k e Ci t y, U T
 2.4922 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 84104
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge n o v a Pr o d u c t s / Pi p e , 7 0 3 4 E Co u r t St , Po Bo x 3 0 9 , Da v i s o n ,
 2.4923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MI 48423
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Ge n r i c h ' s Ga r d e n Ce n t e r , Ge n r i c h ` s Ga r d e n Ce n t e r , 3 7 5 Co o p e r
 2.4924 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 4 )
                                                                                                                                                              Rd , Ro c h e s t e r , N Y 1 4 6 1 7 - 3 0 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ge n s e r v e L L C, 1 0 0 Ne w t o w n Ro a d , Pl a i n v i e w, N Y 1 1 8 0 3
 2.4925 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ge n Se r v e L L C - Ge n e r a t o r In s p e c t i o n
        nature of the debtor's interest                   a n d Ma i n t e n a n c e 2 0 2 4

          State the term remaining                        07/01/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                                              Ge o W Ra d e b a u g h & So n s In c , 1 2 0 E Bu r k e Av e , Ba l t i m o r e ,
 2.4926 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              MD 21286
        nature of the debtor's interest
          State the term remaining                        03/01/2011

          List the contract number of any government
          contract
                                                                                                                                                              Ge o r g e Tr u e Va l u e Ha r d w a r e , 1 7 0 4 Wi l m i n g t o n Ro a d Ca l l s Pl z ,
 2.4927 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 4 4 3 )
                                                                                                                                                              Ne w Ca s t l e , PA 1 6 1 0 5 - 2 0 8 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ge o r g e ' s Pa i n t & Ha r d w a r e , 9 9 2 Hi g h w a y 6 4 , Ha y e s v i l l e , N C
 2.4928 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 3 )
        nature of the debtor's interest                                                                                                                       28904

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ge o r g e s Tr u e Va l u e Ha r d w a r e , 9 7 6 Li n c o l n Pl a c e , Br o o k l y n ,
 2.4929 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 4 2 )
                                                                                                                                                              NY 11213-3437
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Ge o r g i a Pa c i f i c Co r p o r a t i o n , 2 5 0 6 We s t i n g s Av e n u e , Su i t e 3 0 0 ,
 2.4930 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                              Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                              Ge o r g i a Pa c i f i c Co r p o r a t i o n , 2 5 0 6 We s t i n g s Av e n u e , Su i t e 3 0 0 ,
 2.4931 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 617 of 1687
Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ge o r g i a Pa c i f i c Co r p o r a t i o n , 2 5 0 6 We s t i n g s Av e n u e , Su i t e 3 0 0 ,
 2.4932 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ge r m a n Pe l l e t s Lo g i s t i c s Us a , 2 7 1 1 Ce n t e r v i l l e Rd , Su i t e 4 0 0 ,
 2.4933 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wi l m i n g t o n , D E 1 9 8 0 8

          State the term remaining                        12/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4934 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/23/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4935 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4936 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4937 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4938 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4939 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Ge r s o n , 1 4 5 0 S Lo n e El m Rd , Ol a t h e , K S 6 6 0 6 1
 2.4940 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ge r s o n In t ' l , Ge r s o n In t e r n a t i o n a l , 1 4 5 0 S Lo n e El m Ro a d , P. O.
 2.4941 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      Bo x 1 2 0 9 , Ol a t h e , K S 6 6 0 6 1
        nature of the debtor's interest
          State the term remaining                        03/15/2007

          List the contract number of any government
          contract
                                                                                                                                                                      Ge r t e n Gr e e n h o u s e s Dc Wa r e h o u s e # 1 , Ge r t e n Gr e e n h o u s e s Dc
 2.4942 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 2 )
                                                                                                                                                                      Wa r e h o u s e 1 , 1 9 8 0 Se n e c a Ro a d , Ea g a n , M N 5 5 1 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ge r t e n Gr e e n h o u s e s Dc Wa r e h o u s e # 2 , Ge r t e n Gr e e n h o u s e s Dc
 2.4943 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 3 )
        nature of the debtor's interest                                                                                                                               Wa r e h o u s e 2 , 1 8 0 Ma r i e Av e Ea s t , We s t Sa i n t Pa u l , M N 5 5 1 1 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ge r t e n Gr e e n h o u s e s H& g s , 5 5 0 0 Bl a i n e Av e n u e , In v e r Gr o v e
 2.4944 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 8 7 )
                                                                                                                                                                      He i g h t s , M N 5 5 0 7 6 - 1 2 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Ge s k e & So n s , In c . , Ge s k e & So n s , In c , 4 0 0 E Te r r a Co t t a Av e ,
 2.4945 State what the contract or lease is for and the   In d i v i d u a l In d e p e n d e n t Co n t r a c t o r , Re m o v a l a n d r e p l a c e m e n t o f
                                                                                                                                                                      Cr y s t a l La k e , I L 6 0 0 1 4
        nature of the debtor's interest                   parking lot asphalt.

          State the term remaining                        03/18/2016

          List the contract number of any government
          contract
                                                                                                                                                                      Ge t t y Im a g e s , 6 0 5 5 Th Av e So u t h , Su i t e 4 0 0 , Se a t t l e , WA
 2.4946 State what the contract or lease is for and the
                                                          So f t w a r e , Ge t t y Im a g e s Re n e w a l 2 0 2 4
        nature of the debtor's interest                                                                                                                               98104

          State the term remaining                        07/20/2024 - 07/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                      Ge t t y s b u r g Tr u e Va l u e , 1 0 7 W Co m m e r c i a l , Ge t t y s b u r g , S D
 2.4947 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 9 )
                                                                                                                                                                      57442-1102
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gh c Me c h a n i c a l In c , 9 9 0 Pa u l y Dr i v e , El k Gr o v e Vi l l a g e , I L
 2.4948 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , G H C Me c h a n i c a l H VA C Ma i n t e n a n c e
        nature of the debtor's interest                   Ag r e e m e n t Re n e w a l 2 0 2 4                                                                  60007

          State the term remaining                        08/01/2024 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Gh o s t Co n t r o l s L L C, 1 5 7 2 Ca p i t a l Ci r c l e Nw, Ta l l a h a s s e e , F L
 2.4949 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 32303
        nature of the debtor's interest
          State the term remaining                        03/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gh p Gr o u p In c , 6 4 4 0 W Ho w a r d St , Ni l e s , I L 6 0 7 1 4
 2.4950 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gh s Di s t r i b u t i o n In c , 3 2 1 Co r p o r a t e Pk w y, Ma c o n , G A 3 1 2 1 0
 2.4951 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/02/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Gi a n t Co n c e p t s L L C, Gi a n t Co n c e p t s L L C, 2 3 5 5 We s t w o o d
 2.4952 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bl v d , 7 6 8 , Lo s An g e l e s , C A 9 0 0 6 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gi b s o n En t e r p r i s e s In c . , 3 6 Za c a La n e , Sa n Lu i s Ob i s p o , C A
 2.4953 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 93401
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gi l b a r c o / Ga s b o y, 7 3 0 0 We s t Fr i e n d l y Av e n u e , Su i t e 2 0 0 ,
 2.4954 State what the contract or lease is for and the
                                                          Go o d s Pu r c h a s e , Gi l b a r c o / Ga s b o y Sy s t e m Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                   2022                                                                                                   Gr e e n s b o r o , N C 2 7 4 1 0

          State the term remaining                        11/01/2022 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Gi l b a r c o / Ga s b o y, 7 3 0 0 We s t Fr i e n d l y Av e n u e , Su i t e 2 0 0 ,
 2.4955 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Gi l b a r c o / Ga s b o y Ma s t e r Se r v i c e
                                                                                                                                                                 Gr e e n s b o r o , N C 2 7 4 1 0
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 0

          State the term remaining                        08/04/2020 - 08/03/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gi l b e r t Tr u e Va l u e Ha r d w a r e , 1 6 E Ma i n St , Ne w Lo n d o n , O H
 2.4956 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 9 7 )
                                                                                                                                                                 44851-1214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l b e r t Tr u e Va l u e Ho m e Ce n t e r Le o n , Gi l b e r t Tr u e Va l u e
 2.4957 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 4 0 )
                                                                                                                                                                 Ho m e Ce n t e r , 1 9 5 6 3 Us Hi g h w a y 6 9 , Le o n , I A 5 0 1 4 4 - 1 8 9 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l b e r t Tr u e Va l u e Ho m e Ce n t e r Os c e o l a , Gi l b e r t Tr u e Va l u e
 2.4958 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 7 )
        nature of the debtor's interest                                                                                                                          Ho m e Ce n t e r , 1 0 1 2 Je f f r e y Dr i v e , Os c e o l a , I A 5 0 2 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l d a n Br a n d e d Ap p a r e l Sr l , 1 9 8 0 Cl e m e n t s Fe r r y Rd ,
 2.4959 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l e s t o n , S C 2 9 4 9 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gi l d a n Br a n d e d Ap p a r e l Sr l , 1 9 8 0 Cl e m e n t s Fe r r y Rd ,
 2.4960 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a r l e s t o n , S C 2 9 4 9 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l d a n Br a n d e d Ap p a r e l Sr l , 1 9 8 0 Cl e m e n t s Fe r r y Rd ,
 2.4961 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a r l e s t o n , S C 2 9 4 9 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l d a n Br a n d e d Ap p a r e l Sr l , 1 9 8 0 Cl e m e n t s Fe r r y Rd ,
 2.4962 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a r l e s t o n , S C 2 9 4 9 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l f i l l a n Ha r d w a r e & Pa i n t , 1 4 4 0 W 7 t h Av e , Co r s i c a n a , T X
 2.4963 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 1 0 )
                                                                                                                                                                 75110-5110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gi l f o r d Tr u e Va l u e Ha r d w a r e , 6 4 Gi l f o r d Ea s t Dr i v e , Gi l f o r d ,
 2.4964 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 5 2 )
                                                                                                                                                                 NH 03249-6550
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l l e s Tr u e Va l u e Ha r d w a r e , 7 N Sy c a m o r e St , Vi l l a Gr o v e , I L
 2.4965 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 1 6 )
                                                                                                                                                                 61956-1535
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l l e t t Tr u e Va l u e , 1 3 1 E Ma i n St , Gi l l e t t , W I 5 4 1 2 4
 2.4966 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l l e t t e Co n t r a c t o r s Su p p l y, 5 0 0 5 Ro u r k e Av e n u e , Gi l l e t t e , W Y
 2.4967 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 2 2 )
                                                                                                                                                                 82718-6468
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gi l p i n Ir o n w o r k s In c , 1 8 1 9 Pa t t e r s o n St , De c a t u r , I N 4 6 7 3 3
 2.4968 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gi n o De v e l o p m e n t In c , 4 6 1 Ca l l e Sa n Pa b l o , Ca m a r i l l o , C A
 2.4969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          93012

          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Gi n s e y In d u s t r i e s In c , 1 3 4 5 No r t h Je f f e r s o n St r e e t , Su i t e 4 3 0 ,
 2.4970 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gi n s e y In d u s t r i e s In c , 1 3 4 5 No r t h Je f f e r s o n St r e e t , Su i t e 4 3 0 ,
 2.4971 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 0 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Gi s h Lo g g i n g In c / Ho t St i c k s , Po Bo x 2 8 2 , 4 9 8 0 Pa t h Va l l e y
 2.4972 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       Ro a d , Fo r t Lo u d o n , PA 1 7 2 2 4
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                       Gk Ma c h i n e , 1 0 5 9 0 Do n a l d Ro a d Ne , Do n a l d , O R 9 7 0 2 0 - 0 4 2 7
 2.4973 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Gk i / Be t h l e h e m Li g h t i n g , 8 0 0 Jo h n Qu i n c y Ad a m s Rd , Ta u n t o n ,
 2.4974 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       MA 02780
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                       Gl a d i a t o r / Wh i r l p o o l Co r p , 2 0 0 0 N M- 6 3 , Be n t o n Ha r b o r , M I
 2.4975 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       49022
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                       Gl a m o s Wi r e Pr o d u c t Co , 2 3 0 0 Ma i n St , Li n o La k e s , M N
 2.4976 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                55038

          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                       Gl a s s Bl o c k Su p p l y Co , Th e , 1 2 1 3 Me d i n a Rd , Me d i n a , O H
 2.4977 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                44256

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                       Gl a s s h o u s e Sy s t e m s , In c . , 8 0 1 Wa r r e n v i l l e Rd . , Su i t e 5 6 0 ,
 2.4978 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Gl a s s Ho u s e Sy s t e m s I B M A I X H W M A +
                                                                                                                                                       Li s l e , I L 6 0 5 3 2
        nature of the debtor's interest                   S W M A Re n e w a l - R D Cs

          State the term remaining                        04/11/2024 - 04/10/2025

          List the contract number of any government
          contract
                                                                                                                                                       Gl a s s h o u s e Sy s t e m s , In c . , 8 0 1 Wa r r e n v i l l e Rd . , Su i t e 5 6 0 ,
 2.4979 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , Gl a s s Ho u s e Sy s t e m s I B M A I X H W M A +
        nature of the debtor's interest                   S W M A - Ex t e n d e d E O L S W Su p p o r t                                              Li s l e , I L 6 0 5 3 2

          State the term remaining                        04/11/2024 - 04/10/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl a s s h o u s e Sy s t e m s , In c . , 8 0 1 Wa r r e n v i l l e Rd . , Su i t e 5 6 0 ,
 2.4980 State what the contract or lease is for and the   So f t w a r e , Gl a s s h o u s e A I X C+ + Co m p i l e r So f t w a r e a n d Su p p o r t
                                                                                                                                                                 Li s l e , I L 6 0 5 3 2
        nature of the debtor's interest
          State the term remaining                        06/04/2024 - 06/03/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Gl a s s h o u s e Sy s t e m s , In c . , 8 0 1 Wa r r e n v i l l e Rd . , Su i t e 5 6 0 ,
 2.4981 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Gl a s s h o u s e - I B M A I X H W & S W
        nature of the debtor's interest                   Ex t e n d e d Su p p o r t Re n e w a l 2 0 2 4                                                       Li s l e , I L 6 0 5 3 2

          State the term remaining                        09/03/2024 - 09/02/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Gl a z e l o c k In c , 2 4 5 0 W St a t e Ro u t e 1 7 , Ka n k a k e e , I L 6 0 9 0 1
 2.4982 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Gl a z e s Tr u e Va l u e Hd w e , 6 9 8 Pe a c h t r e e Pa r k w a y, Cu m m i n g ,
 2.4983 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 5 8 )
                                                                                                                                                                 GA 30041-7466
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e a s o n In d u s t r i a l , 8 5 7 5 W Fo r e s t Ho m e Av e , Su i t e 1 0 0 ,
 2.4984 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Gr e e n f i e l d , W I 5 3 2 2 8

          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e a s o n In d u s t r i a l Pr d , 8 5 7 5 W Fo r e s t Ho m e Av e , Su i t e 1 0 0 ,
 2.4985 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n f i e l d , W I 5 3 2 2 8
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e a s o n In d u s t r i a l Pr d , 8 5 7 5 W Fo r e s t Ho m e Av e , Su i t e 1 0 0 ,
 2.4986 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n f i e l d , W I 5 3 2 2 8
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e a s o n In d u s t r i a l Pr d , 8 5 7 5 W Fo r e s t Ho m e Av e , Su i t e 1 0 0 ,
 2.4987 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Gr e e n f i e l d , W I 5 3 2 2 8

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl e a s o n In d u s t r i a l Pr d , 8 5 7 5 W Fo r e s t Ho m e Av e , Su i t e 1 0 0 ,
 2.4988 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Gr e e n f i e l d , W I 5 3 2 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e a s o n In d u s t r i a l Pr o , 6 1 2 E Re y n o l d s St , Go s h e n , I N 4 6 5 2 6
 2.4989 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e c o Pa i n t s In c . , 3 0 5 5 Ro u t e 9 4 0 , Mt Po c o n o , PA 1 8 3 4 4
 2.4990 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n Ar m Lu m b e r Co . , 1 2 1 2 6 Lo n g Gr e e n Pi k e , Gl e n Ar m , M D
 2.4991 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 8 6 )
        nature of the debtor's interest                                                                                                                          21057-9255

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n Ca s h Ha r d w a r e , 6 8 7 4 Ea s t Mt . Ve r n o n St , Gl e n St . Ma r y,
 2.4992 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 8 2 )
        nature of the debtor's interest                                                                                                                          FL 32040-1234

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n c o e Fl e e t Su p p l y Tr u e Va l u e , Gl e n c o e Fl e e t Su p p l y Tr u e
 2.4993 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 0 6 )
                                                                                                                                                                 Va l u , 3 1 0 5 1 0 t h St , Gl e n c o e , M N 5 5 3 3 6 - 3 3 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n d a l e Tr u e Va l u e Lu m b e r , Gl e n d a l e Lu m b e r Co In c , 7 1 2 1
 2.4994 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 1 1 )
                                                                                                                                                                 7 3 r d Pl a c e , Gl e n d a l e , N Y 1 1 3 8 5 - 8 2 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n n s Tr u e Va l u e Ha r d w a r e At 7 0 t h & Va n Do r n , Gl e n n s Tr u e
 2.4995 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 4 5 )
        nature of the debtor's interest                                                                                                                          Va l u e At 7 0 t h & Va n Do r n , 2 8 2 5 S 7 0 t h St , Li n c o l n , N E 6 8 5 0 6 -
                                                                                                                                                                 3660
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl e n n s Tr u e Va l u e Ha r d w a r e At Hi c k m a n , 6 8 0 0 Hi c k m a n Rd ,
 2.4996 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 9 )
        nature of the debtor's interest                                                                                                                          Hi c k m a n , N E 6 8 3 7 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n n s Tr u e Va l u e Ha r d w a r e At Pa w n e e Ci t y, 6 2 2 6 t h St r e e t ,
 2.4997 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 7 8 )
                                                                                                                                                                 Pa w n e e Ci t y, N E 6 8 4 2 0 - 3 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n n s Tr u e Va l u e Ha r d w a r e At So u t h Co d d i n g t o n , Gl e n n ' s
 2.4998 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 2 5 )
                                                                                                                                                                 Tr u e Va l u e Ha r d w a r e At S Co d d i n g t o n , 1 5 5 0 S Co d d i n g t o n Av e
        nature of the debtor's interest
                                                                                                                                                                 St e K, Li n c o l n , N E 6 8 5 2 2 - 4 4 0 2
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n t r o n i c s In c , 6 4 5 He a t h r o w Dr i v e , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.4999 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n t r o n i c s In c , 6 4 5 He a t h r o w Dr i v e , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.5000 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n t r o n i c s In c , 6 4 5 He a t h r o w Dr i v e , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.5001 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n t r o n i c s In c , 6 4 5 He a t h r o w Dr i v e , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.5002 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Gl e n w o o d Fl e e t Sp l y & Tr u e Va l u e Hd w, Gl e n w o o d Fl e e t Sp l y
 2.5003 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 8 5 )
                                                                                                                                                                 & Tr u e Va l i e Hd w, 3 1 0 1 5 t h St Se , Gl e n w o o d , M N 5 6 3 3 4 - 9 1 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Gl e n w o o d Ha r d w a r e & Re n t a l , 1 4 7 E Oa k St , Gl e n w o o d Ci t y,
 2.5004 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 7 )
        nature of the debtor's interest                                                                                                                       WI 54013

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Gl i e d t El e c t r i c , 9 1 4 Br o a d w a y, Mo n e t t , M O 6 5 7 0 8 - 0 4 2 1
 2.5005 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ce l l u t i o n s Di s t r i b u t o r s In c . , 1 5 9 5 2 St r a t h e r n St , Va n
 2.5006 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 7 )
        nature of the debtor's interest                                                                                                                       Nu y s , C A 9 1 4 0 6 - 1 3 1 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ex p e r i e n c e Sp e c i a l i s t s , In c . ( Ge s ) , 6 8 0 0 Sa n t a Fe Dr ,
 2.5007 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Gl o b a l Ex p e r i e n c e Sp e c i a l i s t s ,
        nature of the debtor's interest                   In c . ( G E S) - Co n t r a c t o r Se r v i c e s f o r T V Re u n i o n Ev e n t s               Ho d g k i n s , I L 6 0 5 2 5

          State the term remaining                        09/01/2024 - 09/30/2029

          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ha r d w a r e & Pa i n t , 4 3 9 Ki n g s Hi g h w a y, Br o o k l y n , N Y
 2.5008 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 0 4 )
                                                                                                                                                              11223-1803
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ha r v e s t Fo o d s L L C, Gl o b a l Ha r v e s t Fo o d s L L C, 1 6 0 0 0
 2.5009 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                              Ch r i s t e n s e n Rd , 3 0 0 , Tu k w i l a , WA 9 8 1 8 8
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ha r v e s t Fo o d s L L C, Gl o b a l Ha r v e s t Fo o d s L L C, 1 6 0 0 0
 2.5010 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       Ch r i s t e n s e n Rd , 3 0 0 , Tu k w i l a , WA 9 8 1 8 8

          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                              Gl o b a l Ha r v e s t Fo o d s L L C, Gl o b a l Ha r v e s t Fo o d s L L C, 1 6 0 0 0
 2.5011 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                              Ch r i s t e n s e n Rd , 3 0 0 , Tu k w i l a , WA 9 8 1 8 8
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl o b a l Ha r v e s t Fo o d s L L C, Gl o b a l Ha r v e s t Fo o d s L L C, 1 6 0 0 0
 2.5012 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ch r i s t e n s e n Rd , 3 0 0 , Tu k w i l a , WA 9 8 1 8 8
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l Ha r v e s t Fo o d s L L C, Gl o b a l Ha r v e s t Fo o d s L L C, 1 6 0 0 0
 2.5013 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch r i s t e n s e n Rd , 3 0 0 , Tu k w i l a , WA 9 8 1 8 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l Ha r v e s t Fo o d s Lt d , 1 6 0 0 0 Ch r i s t e n s e n Rd , Su i t e 3 0 0 ,
 2.5014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                                          Se a t t l e , WA 9 8 1 8 8

          State the term remaining                        06/30/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l Ha r v e s t Fo o d s Lt d , 1 6 0 0 0 Ch r i s t e n s e n Rd , Su i t e 3 0 0 ,
 2.5015 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Se a t t l e , WA 9 8 1 8 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l In d u s t r i a l , 1 1 Ha r b o r Dr i v e , Po r t Wa s h i n g t o n , N Y
 2.5016 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Gl o b a l In d u s t r i a l Mu t u a l
                                                                                                                                                                 11050
        nature of the debtor's interest                   NDA 2024

          State the term remaining                        05/20/2024 - 05/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l In s t r u m e n t s , 8 1 9 In d u s t r i a l Dr i v e , Tr e n t o n , M O 6 4 6 8 3
 2.5017 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l In s t r u m e n t s , 8 1 9 In d u s t r i a l Dr i v e , Tr e n t o n , M O 6 4 6 8 3
 2.5018 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b a l In s t r u m e n t s , 8 1 9 In d u s t r i a l Dr i v e , Tr e n t o n , M O 6 4 6 8 3
 2.5019 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gl o b a l In s t r u m e n t s , 8 1 9 In d u s t r i a l Dr i v e , Tr e n t o n , M O 6 4 6 8 3
 2.5020 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Ou t d o o r s In c , 1 0 0 4 Bo s t o n Ne c k Rd , Na r r a g a n s e t t , R I
 2.5021 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     02882
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Po t t e r y, 2 6 1 Ri v e r St , Br i d g e p o r t , C T 0 6 6 0 4
 2.5022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Re t a i l Co m p a n y, A L Ra i In d s t r l Ar e a , Pl o t 1 8 5 6 / 1 5 8 7 , P
 2.5023 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 6 7 )
                                                                                                                                                     O Bo x 4 3 2 1 , Sa f a t , Ku w a i t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Re t a i l Co m p a n y, Bl o c k 1 9 , Bu i l d i n g 8 0 & 8 1 , Ya a l Ma l l ,
 2.5024 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 4 )
                                                                                                                                                     Fa h a h e e l , Sa f a t , Ku w a i t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Re t a i l Co m p a n y, Bl o c k 5 Ro a d 1 0 4 Sh o p 1 To 7 , 8 9
 2.5025 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 5 )
        nature of the debtor's interest                                                                                                              Ma l l Eq a i l a , Sa f a t , Ku w a i t

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Re t a i l Co m p a n y, P O Bo x 2 5 5 6 7 Sh e i k h Za i d Rd , Ab u
 2.5026 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 2 8 )
                                                                                                                                                     Dh a b i , Un i t e d Ar a b Em i r a t e s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gl o b a l Re t a i l Co m p a n y, Sa f a t , Ku w a i t Ci t y, Ku w a i t
 2.5027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 9 5 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl o b a l So u r c e Sa l e s , 3 1 0 5 1 0 t h St . , Gl e n c o e , M N 5 5 3 3 6
 2.5028 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5029 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5030 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5031 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5032 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5033 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5034 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5035 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n Av e , El g i n , I L 6 0 1 2 4
 2.5036 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c Co m p a n y In c , Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n
 2.5037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Av e , El g i n , I L 6 0 1 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c Co m p a n y In c , Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n
 2.5038 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e , El g i n , I L 6 0 1 2 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c Co m p a n y In c , Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n
 2.5039 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e , El g i n , I L 6 0 1 2 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c Co m p a n y In c , Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n
 2.5040 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Av e , El g i n , I L 6 0 1 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl o b e El e c t r i c Co m p a n y In c , Gl o b e El e c t r i c , 3 0 1 5 Co o k s o n
 2.5041 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Av e , El g i n , I L 6 0 1 2 4
        nature of the debtor's interest
          State the term remaining                        07/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Gl o v e r s v i l l e Tr u e Va l u e , 2 5 Bl e e c k e r St r e e t , Gl o v e r s v i l l e , N Y
 2.5042 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 0 1 )
                                                                                                                                                                 12078-2909
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl u e Do t s In t ' l , Gl u e Do t s In t e r n a t i o n a l , N1 1 7 W1 8 7 1 1 Fu l t o n
 2.5043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Dr i v e , Ge r m a n t o w n , W I 5 3 0 2 2

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gl u e Do t s In t ' l , Gl u e Do t s In t e r n a t i o n a l , N1 1 7 W1 8 7 1 1 Fu l t o n
 2.5044 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Dr i v e , Ge r m a n t o w n , W I 5 3 0 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl u e Do t s In t ' l , Gl u e Do t s In t e r n a t i o n a l , N1 1 7 W1 8 7 1 1 Fu l t o n
 2.5045 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Dr i v e , Ge r m a n t o w n , W I 5 3 0 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl u e Do t s In t ' l , Gl u e Do t s In t e r n a t i o n a l , N1 1 7 W1 8 7 1 1 Fu l t o n
 2.5046 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Dr i v e , Ge r m a n t o w n , W I 5 3 0 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gl u e Do t s In t ' l , Gl u e Do t s In t e r n a t i o n a l , N1 1 7 W1 8 7 1 1 Fu l t o n
 2.5047 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Dr i v e , Ge r m a n t o w n , W I 5 3 0 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go To Lo g i s t i c s , 2 2 3 3 N. We s t St . , Ri v e r Gr o v e , I L 6 0 1 7 1
 2.5048 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Go To Lo g i s t i c s Ma s t e r LT L
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t

          State the term remaining                        07/17/2024 - 07/16/2029

          List the contract number of any government
          contract
                                                                                                                                                                 Go - Jo In s t i t u t i o n a l , Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e
 2.5049 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 5 0 0 , Ak r o n , O H 4 4 3 1 1
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Go a n i m a t e , In c . , 2 0 4 Ea s t 2 Nd Av e , Su i t e 6 3 8 , Sa n Ma t e o , C A
 2.5050 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Go An i m a t e , In c . - Vy o n d Pr o f e s s i o n a l
        nature of the debtor's interest                   2024                                                                                                   94401

          State the term remaining                        03/01/2024 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Go d d a r d & So n s , Go d d a r d & So n s , 5 8 0 0 W Dr i v e , Ma n i t o w o c ,
 2.5051 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WI 54220

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go d d a r d & So n s , Go d d a r d & So n s , 5 8 0 0 W Dr i v e , Ma n i t o w o c ,
 2.5052 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 WI 54220

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go d f r e y s Tr u e Va l u e , 9 6 4 St a t e 3 7 1 N W, Ba c k u s , M N 5 6 4 3 5 -
 2.5053 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 4 4 )
                                                                                                                                                                 2441
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go f f ' S En t e r p r i s e s , 7 0 0 Hi c k o r y St , Pe w a u k e e , W I 5 3 0 7 2
 2.5054 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5055 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44311

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5056 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44311
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5057 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 44311
        nature of the debtor's interest
          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44311

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5059 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44311
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5060 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44311
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5061 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44311
        nature of the debtor's interest
          State the term remaining                        07/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5062 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44311

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Go j o In d u s t r i e s In c , On e Go j o Pl a z a , Su i t e 5 0 0 , Ak r o n , O H
 2.5063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44311

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Co a s t , 2 4 W Ma p l e St . , Ch i c a g o , I L 6 0 6 1 0
 2.5064 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5066 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5067 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5069 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5070 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5071 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Ea g l e / 3 0 3 Pr o d u c t s , 4 4 0 0 S Ki l d a r e , Ch i c a g o , I L 6 0 6 3 2
 2.5072 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Le a f De s i g n Gr o u p In c , 1 3 0 0 S Ko s t n e r , Ch i c a g o , I L
 2.5073 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60623

          State the term remaining                        06/08/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d Me d a l Pr o d u c t s Co , 1 0 7 0 0 Me d a l l i o n Dr i v e , Ci n c i n n a t i ,
 2.5074 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 45241
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d b l a t t In d u s t r i e s L L C, Go l d b l a t t In d u s t r i e s L L C, 2 7 1
 2.5075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma y h i l l St , Sa d d l e Br o o k , N J 0 7 6 6 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go l d b l a t t In d u s t r i e s L L C, Go l d b l a t t In d u s t r i e s L L C, 2 7 1
 2.5076 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma y h i l l St , Sa d d l e Br o o k , N J 0 7 6 6 3
        nature of the debtor's interest
          State the term remaining                        08/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d b l a t t In d u s t r i e s L L C, Go l d b l a t t In d u s t r i e s L L C, 2 7 1
 2.5077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma y h i l l St , Sa d d l e Br o o k , N J 0 7 6 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d b l a t t In d u s t r i e s L L C, Go l d b l a t t In d u s t r i e s L L C, 2 7 1
 2.5078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma y h i l l St , Sa d d l e Br o o k , N J 0 7 6 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d b l a t t In d u s t r i e s L L C, Go l d b l a t t In d u s t r i e s L L C, 2 7 1
 2.5079 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma y h i l l St , Sa d d l e Br o o k , N J 0 7 6 6 3
        nature of the debtor's interest
          State the term remaining                        10/05/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d e n Ea g l e Di s t r i b - Ec h o , 1 2 5 1 Ti n k e r Rd , Ro c k l i n , C A
 2.5080 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95765
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Go l d e n Me a d o w Tr u e Va l u e Hd w e , 2 0 5 N Ba y o u Dr , Go l d e n
 2.5081 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 6 5 )
        nature of the debtor's interest                                                                                                                          Me a d o w, L A 7 0 3 5 7 - 2 7 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l d m a n ' s Tr u e Va l u e , 2 6 1 5 Co l u m b i a Hw y N, Ai k e n , S C
 2.5082 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 3 1 )
                                                                                                                                                                 29805-9023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go l f c r e s t Tr u e Va l u e Hd w. , 5 2 0 6 Te l e p h o n e Rd , Ho u s t o n , T X
 2.5083 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 1 8 )
                                                                                                                                                                 77087-3653
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Go n z o Co r p o r a t i o n , 3 0 No r t h St , P. O. Bo x 4 9 1 , Ca n t o n , M A
 2.5084 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     02021
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Go o d Ba n a n a , L L C, Go o d Ba n a n a , L L C, 1 4 8 Ea s t e r Bl v d ,
 2.5085 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Gl a s t o n b u r y, C T 0 6 0 3 3

          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Go o d Ea r t h Ga r d e n Ce n t e r & Nu r s e r i e s Ll c , 1 5 6 0 1 Ca n t r e l l
 2.5086 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 1 3 )
                                                                                                                                                     Ro a d , Li t t l e Ro c k , A R 7 2 2 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Go o d Na t u r e d Br a n d L L C, Go o d Na t u r e d Br a n d L L C, 4 8 Be a c h
 2.5087 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Bl u f f Te r r , Ca p e El i z a b e t h , M E 0 4 1 0 7
        nature of the debtor's interest
          State the term remaining                        02/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Go o d e g g St u f f L L C, 8 Th e Gr e e n , Su i t e B, Do v e r , D E 1 9 9 0 1
 2.5088 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Go o d r o Tr u e Va l u e Of Ki l l i n g t o n , 4 4 8 9 Ro u t e 4 , Ki l l i n g t o n , V T
 2.5089 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 1 7 )
                                                                                                                                                     05751-9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Go o d y ' s Tr u e Va l u e Ha r d w a r e , Go o d y ` s Tr u e Va l u e Ha r d w a r e ,
 2.5090 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 3 1 )
                                                                                                                                                     5 4 0 Ma i n St , Ea s t Ha v e n , C T 0 6 5 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Go o g l e L L C, 2 1 0 N. Ca r p e n t e r St . , Ch i c a g o , I L 6 0 6 0 7
 2.5091 State what the contract or lease is for and the
                                                          So f t w a r e , Go o g l e Ch r o n i c l e Se c u r i t y Op e r a t i o n s Sa a S
        nature of the debtor's interest                   Su b s c r i p t i o n

          State the term remaining                        06/14/2024 - 06/13/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go o g l e L L C, 2 1 0 N. Ca r p e n t e r St . , Ch i c a g o , I L 6 0 6 0 7
 2.5092 State what the contract or lease is for and the   So f t w a r e , Go o g l e Cl o u d Ge o c o d i n g A P I 2 0 2 3
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Go r d i n i Us a In c , P. O. Bo x 8 4 4 0 , 6 7 Al l e n Ma r t i n Dr i v e , Es s e x
 2.5093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ju n c t i o n , V T 0 5 4 5 2

          State the term remaining                        04/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Go r d i n i Us a In c , P. O. Bo x 8 4 4 0 , 6 7 Al l e n Ma r t i n Dr i v e , Es s e x
 2.5094 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ju n c t i o n , V T 0 5 4 5 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r d o n Tr u e Va l u e , 2 1 7 N Ma i n St r e e t , Go r d o n , N E 6 9 3 4 3
 2.5095 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r d o n s Tr u e Va l u e Ha r d w a r e , 3 2 1 Wa s h i n g t o n Av e n u e ,
 2.5096 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 8 8 )
        nature of the debtor's interest                                                                                                                          Ow e n s b o r o , K Y 4 2 3 0 1 - 5 4 5 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r h a m Tr u e Va l u e Ho m e Ct r , 6 2 St Jo h n s Rd , Ha m i l t o n ,
 2.5097 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 9 0 0 )
                                                                                                                                                                 Be r m u d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r h a m Tr u e Va l u e Ho m e Ct r , 6 2 St Jo h n s Rd , Ha m i l t o n ,
 2.5098 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 4 1 )
                                                                                                                                                                 Be r m u d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5099 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          45241

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5100 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          45241

          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5101 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45241
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5102 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45241
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5103 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          45241

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5104 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45241
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5105 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 45241
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a Gl u e Co m p a n y, 2 1 0 1 E Ke m p e r Rd , Ci n c i n n a t i , O H
 2.5106 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          45241

          State the term remaining                        08/01/2024 - 07/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Go r i l l a St a t i o n e r s , 1 4 5 W. Br o a d w a y, Lo n g Be a c h , C A 9 0 8 0 2
 2.5107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Go s h e n Ha r d w a r e , 4 4 W Ma i n St r e e t , Go s h e n , N Y 1 0 9 2 4 - 8 9 2 4
 2.5108 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go s s i In c , 3 0 2 5 5 So l o n In d u s t r i a l Pk w y, So l o n , O H 4 4 1 3 9
 2.5109 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Go s s i In c , 3 0 2 5 5 So l o n In d u s t r i a l Pk w y, So l o n , O H 4 4 1 3 9
 2.5110 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Go t o Te c h n o l o g i e s Us a , L L C ( Lo g m e i n ) , 3 3 3 Su m m e r St r e e t ,
 2.5111 State what the contract or lease is for and the
                                                          So f t w a r e , Go To Te c h n o l o g i e s Co r p o r a t e Se r v i c e Re n e w a l - 2 0 2 4
        nature of the debtor's interest                                                                                                                          Bo s t o n , M A 0 2 2 1 0

          State the term remaining                        08/27/2024 - 08/26/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Go v i n o L L C, 2 0 3 7 1 Ir v i n e Av e , Su i t e A- 1 0 0 , Ne w p o r t Be a c h ,
 2.5112 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92660
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r , 5 2 5 5 W 1 1 0 0 0 No r t h , Su i t e 1 0 0 , Hi g h l a n d , U T 8 4 0 0 3
 2.5113 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5114 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          49315

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5115 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 49315
        nature of the debtor's interest
          State the term remaining                        06/01/2021

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5116 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 49315
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5117 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 49315
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5118 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          49315

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5119 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 49315
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 49315
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 49315

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5122 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          49315

          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a b b e r Wa r m e r s , 3 6 5 8 4 Th St Sw, Su i t e 4 , By r o n Ce n t e r , M I
 2.5123 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49315
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a b e r Bu l i d i n g Su p p l y, Gr a b e r Bu i l d i n g Su p p l y, 1 1 1 W
 2.5124 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 5 5 )
                                                                                                                                                     Sp r i n g f i e l d Rd , Ar c o l a , I L 6 1 9 1 0 - 1 0 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a c i o u s Li v i n g Co r p o r a t i o n , 7 2 0 0 Ma r t i n Gr o v e Rd ,
 2.5125 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wo o d b r i d g e , O N L4 L 9 J3 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Gr a c o In c , 2 0 5 0 0 Da v i d Ko c h Av e N, Ro d g e r s , M N 5 5 3 7 4
 2.5126 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Gr a c o , In c . , 2 0 5 0 0 Da v i d Ko c h Av e , Ro g e r s , M N 5 5 3 7 4
 2.5127 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Gr a f t o n Sq u a r e Tr u e Va l u e Hd w e , 1 1 3 Ha m i l t o n St , Wo r c e s t e r ,
 2.5128 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 1 4 )
                                                                                                                                                     MA 01604-2216
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a f t o n Tr u e Va l u e , 8 5 E 4 t h St , Gr a f t o n , N D 5 8 2 3 7 - 1 1 0 8
 2.5129 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a h a m Cu s t o m Ca b i n e t s Ll c , 4 4 4 El m St , Gr a h a m , T X 7 6 4 5 0
 2.5130 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a h m a n n ' s Tr u e Va l u e , Gr a h m a n n ` s Tr u e Va l u e , 5 1 5 N Ma i n
 2.5131 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 0 1 )
                                                                                                                                                     St , Sc h u l e n b u r g , T X 7 8 9 5 6 - 1 5 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a i n g e r , 1 0 0 Gr a i n g e r Pa r k w a y, La k e Fo r e s t , I L 6 0 0 4 5
 2.5132 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2027

          List the contract number of any government
          contract
                                                                                                                                                     Gr a n b y Gr a i n , 1 0 8 We s t St a t e St , Gr a n b y, M A 0 1 0 3 3 - 9 6 0 8
 2.5133 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Ju n c t i o n Tr u e Va l u e , 1 8 3 8 N 1 2 t h St , Gr a n d Ju n c t i o n ,
 2.5134 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 2 8 )
        nature of the debtor's interest                                                                                                              CO 81501-7612

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l Eq u i p m e n t Re n t a l & Sa l e s , 2 8 3 5 We s t Us 1 0 ,
 2.5135 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 1 )
                                                                                                                                                     Lu d i n g t o n , M I 4 9 4 3 1 - 8 7 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 0 7 E Bo s t o n Rd , Ed g e w a t e r , F L 3 2 1 4 1 -
 2.5136 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 0 6 )
        nature of the debtor's interest                                                                                                              4201

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 1 5 Wo o d w i n d s In d Cr t , Ca r y, N C
 2.5137 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 4 8 )
        nature of the debtor's interest                                                                                                              27511-6240

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 1 8 8 W Ma i n St r e e t , Sy l v a , N C 2 8 7 7 9 -
 2.5138 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 2 3 )
                                                                                                                                                     5211
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 2 2 Br i d g e St , Pe l h a m , N H 0 3 0 7 6 - 3 4 0 3
 2.5139 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 2 3 So u t h 2 n d , Cl i n t o n , O K 7 3 6 0 1 - 3 4 0 5
 2.5140 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 5 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 2 5 0 0 Wa r i c k Bl v d , Ne w p o r t Ne w s , VA
 2.5141 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 4 6 )
        nature of the debtor's interest                                                                                                              23606-2605

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 2 6 0 Ea s t Hi g g i n s Rd , El k Gr o v e
 2.5142 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 8 8 )
                                                                                                                                                     Vi l l a g e , I L 6 0 0 0 7 - 1 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 1 7 0 1 Un i o n Rd , We s t Se n e c a , N Y 1 4 2 2 4 -
 2.5143 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 4 7 )
                                                                                                                                                     2070
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 2 1 0 Bu r k e s v i l l e Rd , Al b a n y, K Y 4 2 6 0 2 -
 2.5144 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 6 9 )
        nature of the debtor's interest                                                                                                              1604

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 2 3 6 3 W Fr e m o n t Rd , Po r t Cl i n t o n , O H
 2.5145 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 8 0 )
                                                                                                                                                     43452-9676
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 2 6 7 7 Hi g h w a y 1 7 No r t h , Bo w l i n g Gr e e n ,
 2.5146 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 6 0 )
                                                                                                                                                     FL 33834-4115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 2 8 3 3 Hi g h l a n d s Rd , Fr a n k l i n , N C 2 8 7 3 4 -
 2.5147 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 4 4 )
        nature of the debtor's interest                                                                                                              3510

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 2 8 5 De r r y Rd , Hu d s o n , N H 0 3 0 5 1 - 3 0 2 1
 2.5148 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 1 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 3 5 0 Ba r Ha r b o r Ro a d , Tr e n t o n , M E
 2.5149 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 1 1 )
        nature of the debtor's interest                                                                                                              04605-5805

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 3 8 4 3 St a t e Hi g h w a y 6 8 , Ur b a n a , O H
 2.5150 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 3 0 )
                                                                                                                                                     43078-9411
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 3 8 4 9 En t e r p r i s e Dr , Sh e b o y g a n , W I
 2.5151 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 2 8 )
                                                                                                                                                     53083-2069
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 4 1 5 N Ra p i d s Ro a d , Ma n i t o w o c , W I
 2.5152 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 2 8 )
        nature of the debtor's interest                                                                                                              54220-3409

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 4 2 1 Hi g h w a y 8 2 W, Gr e e n w o o d , M S
 2.5153 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 1 6 )
                                                                                                                                                     38930-6536
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 4 4 0 1 Ir o n b o u n d Ro a d , Wi l l i a m s b u r g , VA
 2.5154 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 0 5 )
                                                                                                                                                     23188-2621
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 5 0 4 5 Bu f f a l o Rd , Er i e , PA 1 6 5 1 0 - 2 3 0 5
 2.5155 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 5 6 1 2 N Il l i n o i s St , Fa i r v i e w He i g h t s , I L
 2.5156 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 3 1 )
        nature of the debtor's interest                                                                                                              62208-3503

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 6 1 9 5 Us Hi g h w a y 2 6 4 W, Wa s h i n g t o n ,
 2.5157 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 6 7 )
                                                                                                                                                     NC 27889-8028
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 6 9 6 Hi g h w a y 6 4 , Ca s h i e r s , N C 2 8 7 1 7 -
 2.5158 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 3 )
                                                                                                                                                     6030
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 7 1 2 0 Al l i a n c e Rd Nw, Ma l v e r n , O H
 2.5159 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 0 9 )
        nature of the debtor's interest                                                                                                              44644-9429

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 8 2 5 1 Te l e g r a p h Rd M, Od e n t o n , M D
 2.5160 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 8 8 )
                                                                                                                                                     21113-1142
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 8 3 3 An d e r s o n St . , We s t Un i o n , S C
 2.5161 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 2 6 )
                                                                                                                                                     29696-2606
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 9 3 6 S Ma i n St , Be l l e f o n t a i n e , O H 4 3 3 1 1 -
 2.5162 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 2 9 )
        nature of the debtor's interest                                                                                                              1615

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , 9 8 0 Ti g e r Bl v d , Cl e m s o n , S C 2 9 6 3 1 -
 2.5163 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 0 )
                                                                                                                                                     1418
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Re n t a l St a t i o n , Re n t Al l In c , 1 1 0 6 He n d e r s o n v i l l e ,
 2.5164 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 3 6 )
        nature of the debtor's interest                                                                                                              As h e v i l l e , N C 2 8 8 0 3 - 1 8 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n , Ri v e r Rd , No r t h Ap o l l o , PA 1 5 6 7 3 - 0 8 6 7
 2.5165 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n Of Sc o t t s b u r g , Gr s Of Sc o t t s b u r g , 5 8 5 S
 2.5166 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 1 7 )
                                                                                                                                                     Ga r d n e r , Sc o t t s b u r g , I N 4 7 1 7 0 - 1 0 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Re n t a l St a t i o n Of Wm s p r t , 1 8 0 1 Ly c o m i n g Cr e e k Rd ,
 2.5167 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 8 0 )
        nature of the debtor's interest                                                                                                              Wi l l i a m s p o r t , PA 1 7 7 0 1 - 1 5 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 0 0 7 St Pa t r i c k Hw y, Th i b o d a u x , L A
 2.5168 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 1 1 )
                                                                                                                                                     70301-2537
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 3 5 0 W Wi s c o n s i n Av e , Ap p l e t o n , W I
 2.5169 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 5 5 )
                                                                                                                                                     54914-3262
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 5 0 5 Vi n e St , Ha y s , K S 6 7 6 0 1 - 3 4 2 9
 2.5170 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 9 3 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 6 2 5 Be r r y v i l l e Pi k e , Wi n c h e s t e r ,
 2.5171 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 4 6 )
                                                                                                                                                     VA 2 2 6 0 3 - 4 8 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 9 1 Pa r s o n s Ro a d , Pr e s q u e Is l e , M E
 2.5172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 3 2 )
                                                                                                                                                     04769-5115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 1 9 1 0 Sc r a n t o n Ca r b o n d a l e Hw y,
 2.5173 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 9 8 )
                                                                                                                                                     Sc r a n t o n , PA 1 8 5 0 8 - 1 1 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 2 0 0 4 E Co l l e g e St r e e t , La k e Ch a r l e s ,
 2.5174 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 3 3 )
        nature of the debtor's interest                                                                                                              LA 70607-2075

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 2 0 4 3 S Ga r r i s o n Av e , Ca r t h a g e , M O
 2.5175 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 8 )
                                                                                                                                                     64836-3613
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 2 2 1 5 E An d r e w Jo h n s o n Hw y,
 2.5176 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 6 8 )
                                                                                                                                                     Gr e e n e v i l l e , T N 3 7 7 4 5 - 4 3 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 2 3 0 9 Hw y 1 2 E, Wi l l m a r , M N 5 6 2 0 1 -
 2.5177 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 4 4 )
        nature of the debtor's interest                                                                                                              5823

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 4 2 8 No r t h St , Ho u l t o n , M E 0 4 7 3 0 -
 2.5178 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 9 0 )
        nature of the debtor's interest                                                                                                              3535

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 4 8 7 Hw y 1 7 1 N, La k e Ch a r l e s , L A
 2.5179 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 4 0 )
                                                                                                                                                     70607-5346
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 5 6 1 2 Ca n a l Bl v d , Ne w Or l e a n s , L A
 2.5180 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 8 )
                                                                                                                                                     70124-2813
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 5 7 5 Ta n n e r La k e Rd , Ha s t i n g s , M I
 2.5181 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 0 )
                                                                                                                                                     49058-9229
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 5 8 9 0 4 Us 1 3 1 , Th r e e Ri v e r s , M I
 2.5182 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 7 5 )
        nature of the debtor's interest                                                                                                              49093-8231

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 6 0 0 Ba r a t a r i a Av e . , Ho u m a , L A
 2.5183 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 1 0 )
                                                                                                                                                     70360-4321
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 6 3 5 Ma c a r t h u r , Ja s p e r , I N 4 7 5 4 6 -
 2.5184 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 7 4 )
                                                                                                                                                     3670
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 8 0 4 So u t h w e s t Pl a c e , Ed w a r d s v i l l e ,
 2.5185 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 9 2 )
        nature of the debtor's interest                                                                                                              IL 62025-3661

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l , 9 0 9 3 Ce n t r e v i l l e Rd , Ea s t o n , M D
 2.5186 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 7 4 )
                                                                                                                                                     21601-7009
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Bl o o m f i e l d , 6 6 8 Bl o o m f i e l d
 2.5187 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 2 3 )
                                                                                                                                                     Av e n u e , Bl o o m f i e l d , N J 0 7 0 0 3 - 2 5 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Gr o v e , Gr a n d Tr u e Va l u e Re n t a l Of
 2.5188 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 3 5 )
                                                                                                                                                     Gr o , 6 4 0 4 7 E 2 9 0 Rd , Gr o v e , O K 7 4 3 4 4 - 8 0 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Ha c k e t t s To w n , Gr a n d Tr u e Va l u e
 2.5189 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 9 8 )
        nature of the debtor's interest                                                                                                              Re n t a l Of Ha c k e t t s t o w n , 1 0 5 Ma p l e Av e n u e , Ha c k e t t s t o w n , N J
                                                                                                                                                     07840
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Pa r s o n s , Gr a n d Tr u e Va l u e Re n t a l
 2.5190 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 1 4 )
                                                                                                                                                     Of Pa r , 2 9 2 5 Ma i n St , Pa r s o n s , K S 6 7 3 5 7 - 2 6 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Vi n t o n , 1 0 0 0 Vi n y a r d Rd , Vi n t o n ,
 2.5191 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 5 2 )
                                                                                                                                                     VA 2 4 1 7 9 - 4 7 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Of Yo r k , 2 8 0 1 S Qu e e n St ,
 2.5192 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 8 7 )
        nature of the debtor's interest                                                                                                              Da l l a s t o w n , PA 1 7 3 1 3 - 9 5 9 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Tr u e Va l u e Re n t a l Pa r t y Pl u s , 6 1 6 E Ka r s c h Bl v d ,
 2.5193 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 0 8 )
        nature of the debtor's interest                                                                                                              Fa r m i n g t o n , M O 6 3 6 4 0 - 1 2 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n d Va l l e y Ha r d w a r e , 3 1 4 Ea s t 1 s t St r e e t , Pa r a c h u t e , C O
 2.5194 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 7 7 )
                                                                                                                                                     81635-0314
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p , 1 2 6 2 St a b l e r La n e , Yu b a Ci t y, C A 9 5 9 9 3 - 2 6 2 0
 2.5195 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n g e Co - o p , Gr a n g e Co - o p Tr u e Va l u e , 2 2 5 S Fr o n t St r e e t ,
 2.5196 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 9 0 )
                                                                                                                                                     Ce n t r a l Po i n t , O R 9 7 5 0 2 - 2 3 9 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p As h l a n d , 4 2 1 A St , As h l a n d , O R 9 7 5 2 0 - 1 9 0 8
 2.5197 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p Gr a n t s Pa s s , 1 7 1 0 W Sc h u t z w o h l , Gr a n t s Pa s s ,
 2.5198 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 3 2 )
                                                                                                                                                     OR 97527-8102
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p Kl a m a t h Fa l l s , 2 5 2 5 Wa s h b u r n Wa y, Kl a m a t h
 2.5199 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 0 7 )
                                                                                                                                                     Fa l l s , O R 9 7 6 0 3 - 4 5 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p So u t h Me d f o r d , 2 5 3 1 S Pa c i f i c Hw y, Me d f o r d ,
 2.5200 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 1 1 )
        nature of the debtor's interest                                                                                                              OR 97501-8760

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p Wh i t e Ci t y, 7 7 0 0 Cr a t e r La k e Hw y, Wh i t e Ci t y,
 2.5201 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 8 )
                                                                                                                                                     OR 97503
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co - o p Wh i t e Ci t y, 8 2 0 5 Cr a t e r La k e Hw y, Wh i t e Ci t y,
 2.5202 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 6 4 )
                                                                                                                                                     OR 97503-1110
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n g e Co o p Ec o m m e r c e Me d f o r d , 2 5 3 1 So u t h Pa c i f i c Hw y,
 2.5203 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 4 )
        nature of the debtor's interest                                                                                                              Me d f o r d , O R 9 7 5 0 1 - 1 3 6 1

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr a n i t e ( 1 2 Tr a d e p o r t ) L L C, 1 2 Tr a d e p o r t Rd . , Ha n o v e r , PA
 2.5204 State what the contract or lease is for and the
                                                          Le a s e , Wi l k e s b a r r e 5 t h Am e n d m e n t l e a s e Ex t e n s i o n
        nature of the debtor's interest                                                                                                                          17331

          State the term remaining                        10/01/2021 - 07/31/2039

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e ( 1 2 Tr a d e p o r t ) L L C, 1 2 Tr a d e p o r t Rd . , Ha n o v e r , PA
 2.5205 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e a t S Va l l e y Pa r k w a y, Wi l k e s - Ba r r e , PA
        nature of the debtor's interest                   18706                                                                                                  17331

          State the term remaining                        09/30/2040

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Ci t y El e c t r i c , 2 5 0 Re v o l u t i o n a r y Dr i v e , Ta u n t o n , M A
 2.5206 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 5 )
                                                                                                                                                                 02718-1392
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 92064

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5208 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92064

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5209 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92064
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5210 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 92064
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5211 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 92064

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Gr a n i t e Go l d In c , 1 2 7 8 0 Da n i e l s o n Co u r t , Su i t e A, Po w a y, C A
 2.5212 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            92064

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e In d u s t r i e s , 5 9 5 E Lu g b i l l Rd , Ar c h b o l d , O H 4 3 5 0 2
 2.5213 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5214 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Gr a n i t e - Ge n e r a l Te r m s a n d
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   Co n d i t i o n s o f Se r v i c e

          State the term remaining                        09/30/2024 - 09/29/2029

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5215 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Gr a n i t e - Co m c a s t S D- WA N c i r c u i t f o r W B
        nature of the debtor's interest                                                                                                                            Qu i n c y, M A 0 2 1 7 1

          State the term remaining                        12/15/2023 - 12/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5216 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - D I A F E Ci r c u i t Up g r a d e f o r
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   Co r s i c a n a T X

          State the term remaining                        09/03/2021 - 12/02/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5217 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - Ma n c h e s t e r Ci r c u i t Up g r a d e
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5218 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e Ka n s a s Ci t y D I A Ci r c u i t Up g r a d e
        nature of the debtor's interest                                                                                                                            Qu i n c y, M A 0 2 1 7 1

          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5219 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e D I A Ci r c u i t Up g r a d e - Wo o d l a n d
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest
          State the term remaining                        05/01/2022 - 04/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5220 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - De n v e r Br o a d b a n d Up g r a d e
        nature of the debtor's interest                   2022                                                                                                     Qu i n c y, M A 0 2 1 7 1

          State the term remaining                        05/25/2022 - 05/25/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5221 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - D I A F E Ci r c u i t Up g r a d e f o r
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   At l a n t a

          State the term remaining                        05/25/2022 - 07/22/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5222 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - D I A F E Ci r c u i t Up g r a d e f o r
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   Ki n g m a n

          State the term remaining                        10/16/2022 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5223 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - D I A F E Ci r c u i t Up g r a d e f o r
        nature of the debtor's interest                   Wo o d l a n d                                                                                           Qu i n c y, M A 0 2 1 7 1

          State the term remaining                        10/17/2022 - 10/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5224 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - A D D D I A F E Ci r c u i t Up g r a d e
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   f o r Co r s i c a n a

          State the term remaining                        10/01/2023 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5225 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Gr a n i t e - A D D D I A F E Ci r c u i t Up g r a d e
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   f o r Ki n g m a n

          State the term remaining                        10/01/2023 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5226 State what the contract or lease is for and the
                                                          So f t w a r e , Gr a n i t e - Ci s c o Me r a k i Li c e n s e s 3 6 m o n t h r e n e w a l
        nature of the debtor's interest                                                                                                                            Qu i n c y, M A 0 2 1 7 1

          State the term remaining                        11/08/2021 - 11/07/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Gr a n i t e Te l e c o m m u n i c a t i o n s , L L C, 1 0 0 Ne w p o r t Av e n u e Ex t . ,
 2.5227 State what the contract or lease is for and the   So f t w a r e , Gr a n i t e - 3 Ye a r Li c e n s e Su b s c r i p t i o n f o r t w o v i r t u a l
                                                                                                                                                                   Qu i n c y, M A 0 2 1 7 1
        nature of the debtor's interest                   Me r a k i De v i c e s

          State the term remaining                        02/18/2022 - 02/17/2025

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                 Page 654 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr a n i t e Vi e w Tr u e Va l u e Ho m e Ce n t e r , Gr a n i t e Vi e w Tr u e
 2.5228 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 1 9 )
                                                                                                                                                     Va l u e Hm Ct r , 1 1 5 4 Em m a u s Rd , P O Bo x 4 8 7 , De l t a Ju n c t i o n ,
        nature of the debtor's interest
                                                                                                                                                     AK 99737-1069
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n t Th o r n t o n , 1 7 1 N. Cl a r k St r e e t , Ch i c a g o , I L 6 0 6 0 1
 2.5229 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Gr a n t Th o r n t o n M S A
        nature of the debtor's interest
          State the term remaining                        09/07/2021 - 09/06/2026

          List the contract number of any government
          contract
                                                                                                                                                     Gr a n t ' s In c . , 1 0 8 5 A St Se , Ep h r a t a , WA 9 8 8 2 3
 2.5230 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a n t s Tr u e Va l u e Hd w Co , 1 0 9 4 4 Ga r v e y Av e , El Mo n t e , C A
 2.5231 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 0 8 )
                                                                                                                                                     91733-2351
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a s s Pa d , 4 2 5 N Ra w h i d e Dr i v e , Ol a t h e , K S 6 6 0 6 1 - 3 6 9 5
 2.5232 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a s s e r s Tr u e Va l u e Ha r d w a r e , 4 0 4 W Ma i n St , Mc n a b b , I L
 2.5233 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 2 )
        nature of the debtor's interest                                                                                                              61335-9663

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr a s s w o r x L L C, 2 3 8 1 Ce n t e r l i n e In d u s t r l Dr , St Lo u i s , M O
 2.5234 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     63146
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                     Gr a s s w o r x L L C, 2 3 8 1 Ce n t e r l i n e In d u s t r l Dr , St Lo u i s , M O
 2.5235 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     63146
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Gr a t e Ch e f In c , 3 4 4 Hy d e s m e r e Dr i v e , Su g a r Hi l l , G A 3 0 5 1 8
 2.5236 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                         Gr a y & So n Tr u e Va l u e Hd w, Gr a y & So n Tr u e Va l u e Ha r d w a r e ,
 2.5237 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 )
                                                                                                                                                         6 7 4 7 W Wa r r e n Av e , De t r o i t , M I 4 8 2 1 0 - 1 1 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Gr a y Lu m b e r & Ha r d w a r e , 1 6 2 0 4 Ma r k e t St , Ch a n n e l v i e w, T X
 2.5238 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 9 )
        nature of the debtor's interest                                                                                                                  77530-4426

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Gr a y ' s Tr u e Va l u e , Gr a y ` s Tr u e Va l u e , 1 8 7 8 Ro u t e 2 5 , Ri d g e ,
 2.5239 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 0 2 )
                                                                                                                                                         NY 11961-2406
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Gr a y l a n d Tr u e Va l u e Hd w. , Gr a y l a n d Tr u e Va l u e Ha r d w a r e ,
 2.5240 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 1 5 7 )
                                                                                                                                                         2 0 4 4 St a t e Ro u t e 1 0 5 , Gr a y l a n d , WA 9 8 5 4 7 - 9 6 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Gr a y m i l l s Co r p o r a t i o n , 3 7 0 5 N Li n c o l n Av e , Ch i c a g o , I L
 2.5241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  60613

          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                         Gr e a t Am e r i c a n As s u r a n c e Co m p a n y, 1 5 8 2 1 Ve n t u r a Bl v d , St e
 2.5242 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                         5 4 5 , En c i n o , C A 9 1 4 3 6
        nature of the debtor's interest                   E X C5 2 0 2 4 5 4

          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                         Gr e a t Am e r i c a n Ba i t Co L L C, Th e , 3 9 0 4 N Dr u i d Hi l l s Rd ,
 2.5243 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         De c a t u r , G A 3 0 0 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e a t Am e r i c a n Mk t n g , In c . , 2 9 1 4 5 Th e Ol d Ro a d , Va l e n c i a ,
 2.5244 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 91355
        nature of the debtor's interest
          State the term remaining                        05/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Am e r i c a n Pa r t s , 1 5 4 6 0 Mo e l l e r s Ro a d , Ma r i o n , I L 6 2 9 5 9
 2.5245 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t In n o v a t i o n s L L C, 2 3 0 1 Sw 1 4 5 Th Av e , Mi r a m a r , F L
 2.5246 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33027
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t In n o v a t i o n s L L C, 2 3 0 1 Sw 1 4 5 Th Av e , Mi r a m a r , F L
 2.5247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 33027
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t La k e s Da t a Sy s t e m s , 2 0 9 0 0 8 Mi l e Rd , So u t h f i e l d , M N
 2.5248 State what the contract or lease is for and the
                                                          So f t w a r e , Gr e a t La k e s Da t a Sy s t e m s N D A
        nature of the debtor's interest                                                                                                                          48075

          State the term remaining                        12/29/2021 - 12/28/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t La k e s Fo o d s , 1 2 3 0 4 8 t h St r e e t , Me n o m i n e e , M I 4 9 8 5 8 -
 2.5249 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 2 6 )
                                                                                                                                                                 0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t La k e s Wh o l e s a l e , 3 7 2 9 Pa t t e r s o n Av e Se , Gr a n d Ra p i d s ,
 2.5250 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MI 49512
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t La k e s Wh o l e s a l e , 3 7 2 9 Pa t t e r s o n Av e Se , Gr a n d Ra p i d s ,
 2.5251 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MI 49512

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e a t La k e s Wh o l e s a l e , 3 7 2 9 Pa t t e r s o n Av e Se , Gr a n d Ra p i d s ,
 2.5252 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MI 49512
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Ne c k Sa w & Mf g , Gr e a t Ne c k Sa w / Un St a t i o n e r s , On e
 2.5253 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k w a y No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Ne c k Sa w & Mf g , Gr e a t Ne c k Sa w / Un St a t i o n e r s , On e
 2.5254 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Ne c k Sa w & Mf g , Gr e a t Ne c k Sa w / Un St a t i o n e r s , On e
 2.5255 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Ne c k Sa w & Mf g , Gr e a t Ne c k Sa w / Un St a t i o n e r s , On e
 2.5256 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Ne c k Sa w & Mf g , Gr e a t Ne c k Sa w / Un St a t i o n e r s , On e
 2.5257 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Pl a i n s In d In c , 1 7 1 1 Lo n g f e l l o w La n e , Wi c h i t a , K S
 2.5258 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 67207
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e a t Pl a i n s In d In c , 1 7 1 1 Lo n g f e l l o w La n e , Wi c h i t a , K S
 2.5259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          67207

          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr e a t Ro a d & Fa r m Ga r d e n , Gr e a t Ro a d Fa r m & Ga r d e n , 6 8 7
 2.5260 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 4 6 )
        nature of the debtor's interest                                                                                                              Gr e a t Ro a d , Li t t l e t o n , M A 0 1 4 6 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr e a t So u t h e r n Wo o d Pr e s e r v e , Po Bo x 6 1 0 , Hw y 4 3 1 No r t h ,
 2.5261 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ab b e v i l l e , A L 3 6 3 1 0
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                     Gr e a t St a t e s Co r p , Po Bo x 3 6 9 , Sh e l b y v i l l e , I N 4 6 1 7 6
 2.5262 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Gr e a t St a t e s Co r p , Po Bo x 3 6 9 , Sh e l b y v i l l e , I N 4 6 1 7 6
 2.5263 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Gr e a t St a t e s Co r p , Po Bo x 3 6 9 , Sh e l b y v i l l e , I N 4 6 1 7 6
 2.5264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Gr e a t St a t e s Co r p o r a t i o n , Gr e a t St a t e s Co r p , P. O. Bo x 3 6 9 ,
 2.5265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sh e l b y v i l l e , I N 4 6 1 7 6
        nature of the debtor's interest
          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Ac r e s H& g s , 5 2 4 Ma i n St S, Wo o d b u r y, C T 0 6 7 9 8 - 3 4 1 3
 2.5266 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 1 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Bi z Nu r s e r y & La n d s c a p i n g , Po Bo x 6 5 0 5 9 , 3 7 6 9
 2.5267 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wi l m i n g t o n Hw y, Fa y e t t e v i l l e , N C 2 8 3 0 6

          State the term remaining                        04/01/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gr e e n Ci r c l e Gr o w e r s In c , 5 1 0 5 1 Us Hi g h w a y 2 0 , Ob e r l i n , O H
 2.5268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44074

          State the term remaining                        05/08/2015

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Co u n t r y So i l In c . , 8 5 0 0 S 6 2 0 Ro a d , Mi a m i , O K 7 4 3 5 4
 2.5269 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Ea r t h De i c e r Co , Th e , N8 5 8 0 Co u n t y Rd Qq , Ma l o n e , W I
 2.5270 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     53049
        nature of the debtor's interest
          State the term remaining                        02/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Ea r t h Te c h n o l o g i e s , 1 2 0 8 Ce l e b r a t i o n Av e n u e ,
 2.5271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ce l e b r a t i o n , F L 3 4 7 4 7

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Ga r d e n Pr o d u c t s , L L C, Gr e e n Ga r d e n Pr o d u c t s , L L C,
 2.5272 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     2 0 2 So u t h Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Go l d Tr a d i n g Co r p , 4 1 3 N Ma i n St , Gr e e n w o o d , W I
 2.5273 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 4 )
                                                                                                                                                     54437
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Kl e e n Pr o d u c t s In c , 7 5 1 7 Th St , Gl e n w o o d Ci t y, W I
 2.5274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              54013

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Gr e e n Kl e e n Pr o d u c t s In c , 7 5 1 7 Th St , Gl e n w o o d Ci t y, W I
 2.5275 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     54013
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e e n Kl e e n Pr o d u c t s In c , 7 5 1 7 Th St , Gl e n w o o d Ci t y, W I
 2.5276 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          54013

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n Li g h t Sa l e s Co , Po Bo x 1 7 9 8 5 , Sa n An t o n i o , T X 7 8 2 1 7
 2.5277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n Ri v e r Bu i l d i n g Su p p l y Lu m b e r & Ho m e Go o d s , 9 3 2
 2.5278 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 9 )
        nature of the debtor's interest                                                                                                                          Ca m p b e l l s v i l l e St , Li b e r t y, K Y 4 2 5 3 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n Va l l e y Tr u e Va l u e , 2 2 0 W Co n t i n e n t a l Rd , Gr e e n Va l l e y,
 2.5279 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 3 )
        nature of the debtor's interest                                                                                                                          AZ 85622-3555

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n ' s De p e n d a b l e Ha r d w a r e , Gr e e n ` s De p e n d a b l e Ha r d w a r e ,
 2.5280 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 5 9 )
                                                                                                                                                                 1 5 2 2 0 a Hi g h w a y 4 3 , Ru s s e l l v i l l e , A L 3 5 6 5 3 - 1 9 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n e r Da y s L L C, 6 6 8 St o n y Hi l l Rd , Ya r d l e y, PA 1 9 0 6 7
 2.5281 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n e s Fe n c e Co , Po Bo x 2 2 2 5 8 , 2 3 5 0 0 Me r c a n t i l e , St e L,
 2.5282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Be a c h w o o d , O H 4 4 1 2 2

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n e s Fe n c e Co , Po Bo x 2 2 2 5 8 , 2 3 5 0 0 Me r c a n t i l e , St e L,
 2.5283 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h w o o d , O H 4 4 1 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e e n e s Fe n c e Co , Po Bo x 2 2 2 5 8 , 2 3 5 0 0 Me r c a n t i l e , St e L,
 2.5284 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be a c h w o o d , O H 4 4 1 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n f i e l d Fa r m e r s Co o p e r a t i v e Ex c h a n g e , 2 6 9 Hi g h St ,
 2.5285 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 8 )
                                                                                                                                                                 Gr e e n f i e l d , M A 0 1 3 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n f i e l d In d / Di s s t o n , 7 3 4 5 G We s t Fr i e n d l y, Gr e e n s b o r o , N C
 2.5286 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27410

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n f i e l d Tr u e Va l u e , 1 3 6 El Ca m i n o Re a l , Gr e e n f i e l d , C A
 2.5287 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 0 9 )
                                                                                                                                                                 93927-5634
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n f i e l d Tr u e Va l u e , 5 0 6 Se 6 t h , Gr e e n f i e l d , I A 5 0 8 4 9 - 1 4 4 0
 2.5288 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 1 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n l a n d Ga r d e n Ce n t r e , 2 3 1 0 8 Hw y. 1 6 , Sh e r w o o d Pa r k , A B
 2.5289 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 1 )
        nature of the debtor's interest                                                                                                                          T8 A 4 V2 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n l e a f Nu r s e r y, Hc 7 2 Bo x 1 6 3 , Hw y 8 2 So u t h , Pa r k Hi l l ,
 2.5290 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OK 74451
        nature of the debtor's interest
          State the term remaining                        08/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n l i t e Li g h t i n g Co r p . , 1 0 Co r p o r a t e Pa r k , Su i t e # 1 0 0 ,
 2.5291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ir v i n e , C A 9 2 6 0 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e e n w i c h Tr u e Va l u e Ha r d w a r e , 2 0 5 Ra i l r o a d Av e n u e ,
 2.5292 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 6 4 )
                                                                                                                                                                 Gr e e n w i c h , C T 0 6 8 3 0 - 6 3 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Br a n d s , Ll c , 4 4 5 5 Ge n e s e e St , Bu f f a l o , N Y 1 4 2 2 5
 2.5293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Pr o d u c t Se r v i c e s , 6 1 0 0 Ea s t 5 8 t h Av e Su i t e F,
 2.5294 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 6 )
        nature of the debtor's interest                                                                                                                          Co m m e r c e Ci t y, C O 8 0 0 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Pr o d u c t Su p p l y, 2 6 5 0 Co r p o r a t e Pk w y, Al g o n q u i n ,
 2.5295 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 4 )
                                                                                                                                                                 IL 60102
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Tr u e Va l u e , 7 7 Wi n d e m e r e Av e , Gr e e n w o o d La k e ,
 2.5296 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 4 8 )
                                                                                                                                                                 NY 10925-9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Tr u e Va l u e Ha r d w a r e , 1 8 1 4 Mo n t a g u e Av e n u e Ex t ,
 2.5297 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 9 6 )
        nature of the debtor's interest                                                                                                                          Gr e e n w o o d , S C 2 9 6 4 9 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o o d Tr u e Va l u e Ha r d w a r e , 7 2 0 1 Gr e e n w o o d Av e N,
 2.5298 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 2 8 )
                                                                                                                                                                 Se a t t l e , WA 9 8 1 0 3 - 5 0 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o r k s To o l s , 5 0 0 So u t h Ma i n St , Su i t e 4 5 0 , Mo o r e s v i l l e ,
 2.5299 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NC 28115
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr e e n w o r k s To o l s , 5 0 0 So u t h Ma i n St , Su i t e 4 5 0 , Mo o r e s v i l l e ,
 2.5300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28115
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o r k s To o l s , 5 0 0 So u t h Ma i n St , Su i t e 4 5 0 , Mo o r e s v i l l e ,
 2.5301 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NC 28115

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr e e n w o r k s To o l s , 5 0 0 So u t h Ma i n St , Su i t e 4 5 0 , Mo o r e s v i l l e ,
 2.5302 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28115
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gr e g g s Tr u e Va l u e , 2 9 6 2 Us Rt 1 1 , Wh i t n e y Po i n t , N Y 1 3 8 6 2 -
 2.5303 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 9 4 0 )
                                                                                                                                                                 9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr i f f i n ' s Ot h e r Pl a c e , 3 6 8 Au g u s t a Rd , Be l m o n t , M E 0 4 9 5 2 -
 2.5304 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 3 )
        nature of the debtor's interest                                                                                                                          3015

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr i l l Ca r e Co m p a n y, Th e , 1 4 0 5 0 La u r e l w o o d Pl a c e , Ch i n o , C A
 2.5305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 91710
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr i l l Da d d y Br u s h Co . , In c , Gr i l l Da d d y Br u s h Co , In c , P. O.
 2.5306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 1 8 8 , Ri v e r s i d e , C T 0 6 8 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr i l l Da d d y Br u s h Co . , In c , Gr i l l Da d d y Br u s h Co , In c , P. O.
 2.5307 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bo x 1 8 8 , Ri v e r s i d e , C T 0 6 8 7 8

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Gr i m e s In d u s t r i a l Su p p l y, 3 4 0 5 Ro s a l i n o St r e e t , Al e x a n d r i a , L A
 2.5308 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 0 )
                                                                                                                                                      71301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Gr i p Cl e a n , 4 1 6 1 5 Da t e St , Mu r r i e t a , C A 9 2 5 6 2
 2.5309 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Gr i s t Mi l l Ma r k e t , 1 5 0 1 Gr a n d v i e w Av e n u e - St e 1 0 0 , We s t
 2.5310 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 4 )
                                                                                                                                                      De p t f o r d , N J 0 8 0 6 6 - 1 8 6 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Gr o We l l Br a n d s Cp In c , 4 2 0 E So u t h e r n Av e , Te m p e , A Z
 2.5311 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      85282
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Gr o We l l Br a n d s Cp In c , 4 2 0 E So u t h e r n Av e , Te m p e , A Z
 2.5312 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               85282

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Gr o o v e b o x Ou t d o o r Li v i n g , 3 0 7 7 Mc c a l l Dr i v e , Un i t 1 7 ,
 2.5313 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Do r a v i l l e , G A 3 0 3 4 0
        nature of the debtor's interest
          State the term remaining                        04/30/2018

          List the contract number of any government
          contract
                                                                                                                                                      Gr o s s - y o w e l l , Lt d . , Gr o s s - y o w e l l Lt d . , 3 7 2 0 Fr a n k l i n Av e ,
 2.5314 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 6 0 )
                                                                                                                                                      Wa c o , T X 7 6 7 1 0 - 7 3 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Gr o t h Lu m b e r Tr u e Va l u e , 6 7 4 7 Pa c i f i c Av e , Wr i g h t , M N
 2.5315 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 0 )
        nature of the debtor's interest                                                                                                               55798-8273

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr o u n d Ho g In c , 1 4 7 0 S Vi c t o r i a Ct , Sa n Be r n a r d i n o , C A
 2.5316 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92408

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Gr o u n d b r e a k i n g Ve n t u r e s L L C, 7 1 9 E Br o w a r d Bl v d , Ft
 2.5317 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La u d e r d a l e , F L 3 3 3 0 1
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Gr o v e Ci t y Ag w a y & Pe t , 1 1 1 Br e c k e n r i d g e St , Gr o v e Ci t y, PA
 2.5318 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 7 )
                                                                                                                                                                 16127
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr o w Up L L C, Gr o w Up L L C, 1 3 7 9 9 Pa r k Bl v d N, 3 3 ,
 2.5319 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Se m i n o l e , F L 3 3 7 7 6

          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gr o w s t o n e In c , 1 3 Bi s h o p s Do m e Rd , Sa n t a Fe , N M 8 7 5 0 6
 2.5320 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Gr o w s t o n e In c , 1 3 Bi s h o p s Do m e Rd , Sa n t a Fe , N M 8 7 5 0 6
 2.5321 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr o w s t o n e In c , 1 3 Bi s h o p s Do m e Rd , Sa n t a Fe , N M 8 7 5 0 6
 2.5322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr o w u m s , 3 2 6 0 Fa i r l a n e Fa r m s Rd , Su i t e 1 , We l l i n g t o n , F L
 2.5323 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          33414

          State the term remaining                        10/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gr s Of Ma n i s t e e , 5 2 Ar t h u r St , Ma n i s t e e , M I 4 9 6 6 0 - 1 1 0 2
 2.5324 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 8 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gr u p o Sp i e g e l , S. a . , Gr u p o Sp i e g e l , S. A. , Ap a r t a d o 1 0 ,
 2.5325 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 6 9 2 )
                                                                                                                                                                 Sa n t i a g o De Ve r a g u a s , Pa n a m a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gs c Te c h n o l o g i e s In c , 1 6 0 Va n i e r St , St Je a n , Q C J3 B 3 R4 ,
 2.5326 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gs d Di s t r i b u t i o n , 5 5 0 1 In g a l l s Ln , No b l e s v i l l e , I N 4 6 0 6 2
 2.5327 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gt Li t e , 6 0 1 E 6 4 Th Av e , Un i t D1 0 0 , De n v e r , C O 8 0 2 2 9
 2.5328 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/15/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Gt x Tu r f Fa r m s Lp , 7 1 3 5 Lo g i s t i c s Ce n t e r Dr , Su i t e 2 5 0 ,
 2.5329 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 7 3
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Gu a d a l u p e Lu m b e r , 1 5 4 7 S Za r z a m o r a , Sa n An t o n i o , T X 7 8 2 0 7 -
 2.5330 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 7 )
        nature of the debtor's interest                                                                                                                          7212

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu a d a l u p e Lu m b e r , 4 6 5 4 Ri g s b y Av e n u e , Sa n An t o n i o , T X
 2.5331 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 9 )
                                                                                                                                                                 78222-1266
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Gu a l a l a Bu i l d i n g Su p p l y, 3 8 5 0 1 S Hi g h w a y 1 , Gu a l a l a , C A
 2.5332 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 8 6 )
                                                                                                                                                                  95445-8592
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Gu a y n a b o Tr a d i n g Gr o u p Ll c , Ca r r 1 7 7 Sa n t a Ma r i a Sh o p p i n g
 2.5333 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 4 )
                                                                                                                                                                  Ct r , Lo c a l A1 8 , Gu a y n a b o , P R 0 0 9 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5334 State what the contract or lease is for and the
                                                          Ha r d w a r e , Gu i d e Po i n t Se c u r i t y Pa l o Al t o Ne t w o r k s PA- 4 4 5
        nature of the debtor's interest                   Fr e e p o r t                                                                                          He r n d o n , VA 2 0 1 7 1

          State the term remaining                        08/30/2023 - 08/29/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5335 State what the contract or lease is for and the
                                                          Ha r d w a r e , Gu i d e Po i n t Se c u r i t y Pa l o Al t o Ne t w o r k s PA- 4 4 5 Ca r y
        nature of the debtor's interest                                                                                                                           He r n d o n , VA 2 0 1 7 1

          State the term remaining                        08/30/2023 - 08/29/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5336 State what the contract or lease is for and the   Ha r d w a r e , Gu i d e p o i n t Se c u r i t y - Cl o u d Ap p l i c a t i o n Pr o t e c t i o n
                                                                                                                                                                  He r n d o n , VA 2 0 1 7 1
        nature of the debtor's interest
          State the term remaining                        09/30/2023 - 09/29/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5337 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Gu i d e Po i n t - Or d e r Fo r m Pe n t e r a So f t w a r e
        nature of the debtor's interest                   Su b s c r i p t i o n                                                                                  He r n d o n , VA 2 0 1 7 1

          State the term remaining                        12/16/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5338 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Gu i d e Po i n t Se c u r i t y Pe n t e r a Se c u r i t y So f t w a r e
        nature of the debtor's interest                   Re n e w a l + Co r e + Ra n s o m w a r e Re a d y Mo d u l e                                          He r n d o n , VA 2 0 1 7 1

          State the term remaining                        07/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Gu i d e p o i n t Se c u r i t y L L C, 2 2 0 1 Co o p e r a t i v e Wa y, Su i t e 2 2 5 ,
 2.5339 State what the contract or lease is for and the   Or d e r Fo r m , Gu i d e Po i n t Se c u r i t y - Wi z . i o So f t w a r e
                                                                                                                                                                  He r n d o n , VA 2 0 1 7 1
        nature of the debtor's interest                   Su b s c r i p t i o n Re n e w a l 2 0 2 4

          State the term remaining                        05/13/2024 - 05/12/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gu l f Co a s t Lb r & Sp l y, 9 1 4 1 Wo o d v i l l e Hw y, Wo o d v i l l e , F L
 2.5340 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 6 8 )
                                                                                                                                                                 32362-6200
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f Co a s t Lb r & Sp l y In c , 3 3 6 1 Cr a w f o r d v i l l e Hw y,
 2.5341 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 8 0 )
                                                                                                                                                                 Cr a w f o r d v i l l e , F L 3 2 3 2 7 - 3 1 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f Co a s t Lu m b e r , 1 4 0 0 S Je f f e r s o n St r e e t , Mo n t i c e l l o , F L
 2.5342 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 8 7 )
        nature of the debtor's interest                                                                                                                          32344-1638

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f Co a s t Pa n a m a Ja c k In c , 1 4 1 1 Mo y l a n Rd , Pa n a m a Ci t y
 2.5343 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Be a c h , F L 3 2 4 0 7
        nature of the debtor's interest
          State the term remaining                        12/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f Sa l e s & Su p p l y In c . , 1 9 0 9 Ke n n e t h Av e , Pa s c a g o u l a , M S
 2.5344 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 6 4 )
                                                                                                                                                                 39567-3423
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo i s e , I D 8 3 7 0 4

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5347 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo i s e , I D 8 3 7 0 4

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5350 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo i s e , I D 8 3 7 0 4

          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5351 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5352 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5353 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bo i s e , I D 8 3 7 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5354 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Gu l f s t r e a m Ho m e & Ga r d e n In c , 9 3 9 0 W Go l d e n Tr o u t St ,
 2.5355 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo i s e , I D 8 3 7 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Gu l l e y Gr e e n h o u s e , 6 0 2 9 So u t h Sh i e l d s St r e e t , Fo r t Co l l i n s ,
 2.5356 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 6 6 )
                                                                                                                                                     CO 80526-9633
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Gu l l e y Gr e e n h o u s e In c , 6 0 2 9 S Sh i e l d s St , Fo r t Co l l i n s , C O
 2.5357 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              80526

          State the term remaining                        03/28/2011

          List the contract number of any government
          contract
                                                                                                                                                     Gu t h r i e Gr e e n h o u s e s L L C, Po Bo x 1 3 9 9 , 1 1 0 0 N Br o a d St ,
 2.5358 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Gu t h r i e , O K 7 3 0 4 4
        nature of the debtor's interest
          State the term remaining                        02/02/2011

          List the contract number of any government
          contract
                                                                                                                                                     Gu t t e r g l o v e In c , 8 8 6 0 In d u s t r i a l Av e , Su i t e 1 4 0 , Ro s e v i l l e , C A
 2.5359 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     95678
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Gw Sc h l e i d t In c Db a Ba l i Ga r d e n , 2 5 8 2 Ab e l s La n e , La s Ve g a s ,
 2.5360 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              NV 89115

          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     H & B Tr u e Va l u e , 5 3 2 9 N Mi l w a u k e e Av e , Ch i c a g o , I L 6 0 6 3 0 -
 2.5361 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 1 )
                                                                                                                                                     1222
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     H & H In d u s t r i a l To o l , 1 1 0 W Ma i n St r e e t , El m w o o d , I L
 2.5362 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 7 6 )
                                                                                                                                                     61529-9608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     H & M Co m p a n y, 1 0 7 a Sh o o t i n g Cl u b Ro a d , Bo e r n e , T X 7 8 0 0 6 -
 2.5363 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 7 3 )
        nature of the debtor's interest                                                                                                              6330

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 H B Fu l l e r Co n s t r u c t i o n Pr o d u c t s , 1 1 0 5 S Fr o n t e n a c St , Au r o r a ,
 2.5364 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60504
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 H B Fu l l e r Co n s t r u c t i o n Pr o d u c t s , 1 1 0 5 S Fr o n t e n a c St , Au r o r a ,
 2.5365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60504

          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 H B Iv e s , P O Bo x 1 8 8 7 , Ne w Ha v e n , C T 0 6 5 0 8
 2.5366 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 H Ho u s t & So n In c , 4 Mi l l Hi l l Rd , Wo o d s t o c k , N Y 1 2 4 9 8 -
 2.5367 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 9 7 )
                                                                                                                                                                 1306
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 H M S Mf g , 1 2 3 0 E Bi g Be a v e r Rd , Tr o y, M I 4 8 0 8 3
 2.5368 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 H W Na y l o r , 1 2 1 Ma i n St r e e t , Mo r r i s , N Y 1 3 8 0 8
 2.5369 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 H W Na y l o r , 1 2 1 Ma i n St r e e t , Mo r r i s , N Y 1 3 8 0 8
 2.5370 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha b i t a t Fo r Hu m a n i t y Of So u t h e r n Oc e a n Co u n t y, 6 6 8 Ma i n St ,
 2.5371 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 7 )
        nature of the debtor's interest                                                                                                                          We s t Cr e e k , N J 0 8 0 9 2

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha c k e t t Fa r m Su p p l y In c . , 2 2 9 7 Sa l t Po i n t Tu r n p i k e , Cl i n t o n
 2.5372 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 1 9 )
        nature of the debtor's interest                                                                                                                          Co r n e r s , N Y 1 2 5 1 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha d d a d In t l L L C, Ha d d a d In t l L L C, 3 3 0 Hu r s t St , Li n d e n , N J
 2.5373 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07036
        nature of the debtor's interest
          State the term remaining                        09/15/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ha d e n Ha r d w a r e , Ha d e n Tr u e Va l u e Ha r d w a r e , 2 1 1 0 S Fr o n t a g e
 2.5374 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 5 6 8 )
                                                                                                                                                                 Rd , Vi c k s b u r g , M S 3 9 1 8 0 - 5 2 6 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha g e r t y W J & So n Lt d , Po Bo x 1 4 9 6 , So u t h Be n d , I N 4 6 6 2 4
 2.5375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha g e r t y W J & So n Lt d , Po Bo x 1 4 9 6 , So u t h Be n d , I N 4 6 6 2 4
 2.5376 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ha g e r t y W J & So n Lt d , Po Bo x 1 4 9 6 , So u t h Be n d , I N 4 6 6 2 4
 2.5377 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ha g s t r o m Ma p Co m p a n y, 3 6 - 3 6 3 3 Rd St r e e t , Su i t e 4 0 1 , Lo n g
 2.5378 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Is l a n d Ci t y, N Y 1 1 1 0 6

          State the term remaining                        08/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ha i k u Tr u e Va l u e Ha r d w a r e , 8 1 0 Ha i k u Rd St e 2 6 5 , Ha i k u , H I
 2.5379 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 3 3 )
        nature of the debtor's interest                                                                                                                          96708-4801

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha i n e s Tr u e Va l u e Ho m e Ce n t e r , 1 0 0 3 Ha i n e s Hw y, Ha i n e s , A K
 2.5380 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 6 1 8 )
        nature of the debtor's interest                                                                                                                          99827-1169

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha l e s Tr u e Va l u e Ha r d w a r e , 5 6 2 1 6 M- 5 1 So u t h , Do w a g i a c , M I
 2.5381 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 9 4 )
                                                                                                                                                                 49047-9799
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha l e x / Sc o t t Fe t z e r , 1 0 1 Pr o d u c t i o n Dr , Ha r r i s o n , O H 4 5 0 3 0
 2.5382 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha l e x / Sc o t t Fe t z e r , 1 0 1 Pr o d u c t i o n Dr , Ha r r i s o n , O H 4 5 0 3 0
 2.5383 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ha l e x / Sc o t t Fe t z e r , 1 0 1 Pr o d u c t i o n Dr , Ha r r i s o n , O H 4 5 0 3 0
 2.5384 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ha l f Hi t c h , 2 2 0 6 Th o m a s Dr i v e , Pa n a m a Ci t y, F L 3 2 4 0 8 - 5 8 1 4
 2.5385 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha l f w a y Fe e d & Se e d , 2 8 1 S Ma i n St , Ha l f w a y, O R 9 7 8 3 4 - 5 0 0 1
 2.5386 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha l l ' s Tr u e Va l u e , Ha l l ` s Tr u e Va l u e , 5 4 4 Ma i n St , No r w a y, M I
 2.5387 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 9 3 )
                                                                                                                                                                 49870-1226
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha l l m a n Ha r d w a r e , 1 2 5 Lo w e r Ha r m o n y Rd Ne , Ea t o n t o n , G A
 2.5388 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 1 3 )
                                                                                                                                                     31024-6022
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha l l s Tr u e Va l u e Ha r d w a r e , 1 0 0 Ma i n & Br o a d w a y, St o n e w a l l ,
 2.5389 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 9 4 )
                                                                                                                                                     OK 74871-0336
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha l o n a Ma r k e t p l a c e , 1 2 7 6 Hw y 5 3 , Zu n i , N M 8 7 3 2 7 - 0 0 0 1
 2.5390 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha l p e r n Im p o r t , 2 8 9 0 Am w i l e r Rd , At l a n t a , G A 3 0 3 6 0
 2.5391 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/11/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ha l s t e a d Ne w En g l a n d Co r p , 1 0 4 Th o m a s St . , Ri n c o n , G A
 2.5392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     31326
        nature of the debtor's interest
          State the term remaining                        02/07/2022 - 03/30/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ha m a k u a Tr u e Va l u e Ha r d w a r e , 4 5 - 6 9 0 Pa k a l a n a St Su i t e B,
 2.5393 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 6 )
        nature of the debtor's interest                                                                                                              Ho n o k a a , H I 9 6 7 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m b u r g Ha r d w a r e , 6 4 5 8 M- 3 6 , Wh i t m o r e La k e , M I 4 8 1 8 9
 2.5394 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m e l Tr u e Va l u e Bl d g Ct r , 1 8 7 1 0 Hi g h w a y 5 5 , Pl y m o u t h , M N
 2.5395 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 4 7 )
                                                                                                                                                     55446-1941
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha m i l t o n Be a c h Br a n d s In c , 4 4 2 1 Wa t e r f r o n t Dr i v e , Gl e n
 2.5396 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Al l e n , VA 2 3 0 6 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m i l t o n Be a c h Br a n d s In c , 4 4 2 1 Wa t e r f r o n t Dr i v e , Gl e n
 2.5397 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Al l e n , VA 2 3 0 6 0
        nature of the debtor's interest
          State the term remaining                        02/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m i l t o n Be a c h Br a n d s In c , 4 4 2 1 Wa t e r f r o n t Dr i v e , Gl e n
 2.5398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Al l e n , VA 2 3 0 6 0

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m i l t o n Be a c h Br a n d s In c , 4 4 2 1 Wa t e r f r o n t Dr i v e , Gl e n
 2.5399 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Al l e n , VA 2 3 0 6 0
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m i l t o n Ma r i n e , In c . , Ha m i l t o n Ma r i n e In c . , 1 7 4 Ma i n St r e e t ,
 2.5400 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 1 4 )
                                                                                                                                                                 Jo n e s p o r t , M E 0 4 6 4 9 - 3 3 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m i l t o n Tr u e Va l u e Ho m e & Ha r d w a r e , Ha m i l t o n Tr u e Va l u e
 2.5401 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 2 2 )
        nature of the debtor's interest                                                                                                                          Ho m e & Ha r , 1 4 7 Wa s h i n g t o n Av e , La w r e n c e , N Y 1 1 5 5 9 - 1 6 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m l e r Tr u e Va l u e Ha r d w a r e , 2 6 5 Ra n d o l p h St , Ha m l e r , O H
 2.5402 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 5 3 )
                                                                                                                                                                 43524-0418
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m m e r & Wi k a n , 2 1 8 N. No r d i c , Pe t e r s b u r g , A K 9 9 8 3 3 - 0 2 4 9
 2.5403 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha m m e r t i m e Ha r d w a r e , A A Ha r d w a r e , 8 7 4 9 Jo y Ro a d , De t r o i t ,
 2.5404 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 9 )
                                                                                                                                                     MI 48204-3285
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m m e r t i m e Ha r d w a r e , A A Ha r d w a r e Ii , 1 1 6 1 6 Wh i t t i e r Rd ,
 2.5405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 6 7 )
        nature of the debtor's interest                                                                                                              De t r o i t , M I 4 8 2 2 4 - 1 5 4 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m m e r t i m e Ha r d w a r e , Ha m m e r Ti m e Ha r d w a r e , 1 7 4 0 0
 2.5406 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 3 )
        nature of the debtor's interest                                                                                                              Li v e r n o i s Av e , De t r o i t , M I 4 8 2 2 1 - 3 7 1 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m m e r t i m e Ha r d w a r e , Ha m m e r Ti m e Ha r d w a r e , 1 1 1 7 St a t e
 2.5407 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 4 3 )
                                                                                                                                                     St r e e t , Sa g i n a w, M I 4 8 6 0 2 - 5 4 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m m e r t i m e Ha r d w a r e , Ha m m e r Ti m e Tr u e Va l u e Ha r d w a r e ,
 2.5408 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 9 )
        nature of the debtor's interest                                                                                                              1 6 3 8 0 E Wa r r e n Av e , De t r o i t , M I 4 8 2 2 4 - 2 7 1 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m m o c k s So u r c e , Th e , 3 0 5 In d u s t r i a l Bl v d , Gr e e n s v i l l e , N C
 2.5409 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              27834

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ha m m o n d - j o n e s Ha r d w a r e , 1 1 0 N Ma i n St , La Fa y e t t e , G A
 2.5410 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 2 2 )
                                                                                                                                                     30728-2418
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha m p s h i r e Fa r m s L L C, 1 4 N8 5 0 Rt 2 0 , Ha m p s h i r e , I L 6 0 1 4 0
 2.5411 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/12/2010

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha m p t o n Di r e c t In c , 2 6 2 5 Mi d d l e f i e l d Rd , Pa l o Al t o , C A 9 4 3 0 6
 2.5412 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Ha r d w a r e , 4 1 6 Ce n t r a l Av e We s t , Ha m p t o n , I A
 2.5413 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 8 3 )
        nature of the debtor's interest                                                                                                                          50441-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n In n At l a n t a - St o c k e b r i d g e , 7 3 4 2 Ha n o v e r Pa r k w a y,
 2.5414 State what the contract or lease is for and the   Ev e n t s & Me e t i n g s Se r v i c e s , Ha m p t o n In n At l a n t a St o c k b r i d g e
                                                                                                                                                                 St o c k b r i d g e , G A 3 0 2 8 1
        nature of the debtor's interest                   Ho t e l Ag r e e m e n t

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n , Fo o t h i l l Ra n c h , C A
 2.5415 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n , Fo o t h i l l Ra n c h , C A
 2.5416 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n , Fo o t h i l l Ra n c h , C A
 2.5417 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n , Fo o t h i l l Ra n c h , C A
 2.5418 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n , Fo o t h i l l Ra n c h , C A
 2.5419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Wr i g h t , Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n ,
 2.5420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Fo o t h i l l Ra n c h , C A 9 2 6 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Wr i g h t , Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n ,
 2.5421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Fo o t h i l l Ra n c h , C A 9 2 6 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha m p t o n Pr o d u c t s - Wr i g h t , Ha m p t o n Pr o d u c t s - Ke e p e r , 5 0 Ic o n ,
 2.5422 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fo o t h i l l Ra n c h , C A 9 2 6 1 0
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n d s a m In d u s t r i a l ( Wu x i ) Co , Fu r o n g 4 Th Rd , Fu r o n g 4 Th Rd ,
 2.5423 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Wu x i , Ji a n g s u 2 1 4 1 1 1 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n d s a m In d u s t r i a l ( Wu x i ) Co , Fu r o n g 4 Th Rd , Fu r o n g 4 Th Rd ,
 2.5424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wu x i , Ji a n g s u 2 1 4 1 1 1 , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n d y Ho m e Pr o d u c t s , 6 4 0 0 E 1 1 Th Mi l e Rd , Wa r r e n , M I
 2.5425 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48091
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n d y Re n t s , 3 5 7 6 1 Cu r t i s Bl v d . , Ea s t l a k e , O H 4 4 0 9 5
 2.5426 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 1 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n d y Tr u e Va l u e Ha r d w a r e , 1 4 3 5 3 0 t h St , Ro c k Is l a n d , I L
 2.5427 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 2 )
        nature of the debtor's interest                                                                                                                          61201-2842

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Ha n d y m a n Tr u e Va l u e Ha r d w a r e , 2 6 3 5 N Us Hw y 6 7 ,
 2.5428 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 7 0 )
        nature of the debtor's interest                                                                                                            Fl o r i s s a n t , M O 6 3 0 3 3 - 1 4 3 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Ha n d y m a n Tr u e Va l u e Ha r d w a r e , 5 4 0 5 Te l e g r a p h Rd , St . Lo u i s ,
 2.5429 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 2 6 )
                                                                                                                                                   MO 63129-3555
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Ha n d y m a n Tr u e Va l u e Ha r d w a r e , Ha n d y Ma n Tr u e Va l u e , 5 0 0
 2.5430 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 0 5 )
                                                                                                                                                   W Wa s h i n g t o n St , Fl o r i s s a n t , M O 6 3 0 3 1 - 5 9 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Ha n e Tr u e Va l u e Ha r d w a r e , 5 0 8 E Fl o r e n c e Av e , Lo s An g e l e s ,
 2.5431 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 7 4 )
        nature of the debtor's interest                                                                                                            CA 90003-2236

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Ha n e s Ge o Co m p o n e n t s , Po Bo x 2 0 2 , 8 1 5 Bu x t o n St , Wi n s t o n -
 2.5432 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   Sa l e m , N C 2 7 1 0 1
        nature of the debtor's interest
          State the term remaining                        09/29/2020

          List the contract number of any government
          contract
                                                                                                                                                   Ha n e s Ge o Co m p o n e n t s , Po Bo x 2 0 2 , 8 1 5 Bu x t o n St , Wi n s t o n -
 2.5433 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   Sa l e m , N C 2 7 1 0 1
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Ha n e s Ge o Co m p o n e n t s , Po Bo x 2 0 2 , 8 1 5 Bu x t o n St , Wi n s t o n -
 2.5434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            Sa l e m , N C 2 7 1 0 1

          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Ha n g Ac c e s s o r i e s , 1 4 2 9 N Cu y a m a c a St , El Ca j o n , C A 9 2 0 2 0
 2.5435 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/23/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha n g z h o u Gr e a t St a r In d u s t , 3 5 & 3 7 Ji u h u a n Rd , Ji u Ba o
 2.5436 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          To w n , Ha n g z h o u , Zh e j i a n g , 3 1 0 0 0 0 , Ch i n a

          State the term remaining                        11/10/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n g z h o u Gr e a t St a r In d u s t , 3 5 & 3 7 Ji u h u a n Rd , Ji u Ba o
 2.5437 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To w n , Ha n g z h o u , Zh e j i a n g , 3 1 0 0 0 0 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n g z h o u Gr e a t St a r In d u s t , 3 5 & 3 7 Ji u h u a n Rd , Ji u Ba o
 2.5438 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 To w n , Ha n g z h o u , Zh e j i a n g , 3 1 0 0 0 0 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n g z h o u Ti a n y u a n Pe t Pr o d , Wh s e We s t Xi n g y i Rd , Xi n g q i a o
 2.5439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 To w n Yu h a n g , Ha n g z h o u , Zh e j i a n g 3 1 1 1 0 0 , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n k Br o t h e r s T V Hd w, 3 5 2 5 Wa y n e Su l l i v a n Dr , Pa d u c a h ,
 2.5440 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 3 7 )
                                                                                                                                                                 KY 42003-0313
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n k Br o t h e r s Tr u e Va l u e Ha r d w a r e , 3 1 0 1 Lo n e Oa k Rd ,
 2.5441 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 8 6 )
                                                                                                                                                                 Pa d u c a h , K Y 4 2 0 0 3 - 5 7 4 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n k i n s Ha r d w a r e Tr u e Va l u e , 1 7 2 0 Se Ha w t h o r n e Bl v d ,
 2.5442 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 7 )
        nature of the debtor's interest                                                                                                                          Po r t l a n d , O R 9 7 2 1 4 - 3 7 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n k i n s Ha r d w a r e Tr u e Va l u e , 3 9 4 2 Ne Ma r t i n Lu t h e r Ki n g
 2.5443 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 4 5 )
                                                                                                                                                                 Bl v, Po r t l a n d , O R 9 7 2 1 2 - 1 1 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha n n o n Gr o u p Lt d , 5 6 1 1 3 8 1 St Av e , Bu r l i n g t o n , W I 5 3 1 0 5
 2.5444 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n o v e r d a l e Co u n t r y St o r e In c . , 4 8 6 S. He r s h e y Rd . ,
 2.5445 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 0 7 )
                                                                                                                                                                 Ha r r i s b u r g , PA 1 7 1 1 2 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n C H Co , 2 0 0 0 No r t h Au r o r a Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.5446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n C H Co , 2 0 0 0 No r t h Au r o r a Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.5447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n C H Co , 2 0 0 0 No r t h Au r o r a Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.5448 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n C H Co , 2 0 0 0 No r t h Au r o r a Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.5449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n C H Co , 2 0 0 0 No r t h Au r o r a Rd , Na p e r v i l l e , I L 6 0 5 6 3
 2.5450 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ha n s o n ' s Ha r d w a r e , Ha n s o n ` s Ha r d w a r e , 1 7 9 5 Hw y 2 W,
 2.5451 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 5 6 )
                                                                                                                                                                 Co l u m b i a Fa l l s , M T 5 9 9 1 2 - 4 4 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha p p y He n Tr e a t s , Po Bo x 1 0 9 0 , Bo e r n e , T X 7 8 0 0 6
 2.5452 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha p p y He n Tr e a t s , Po Bo x 1 0 9 0 , Bo e r n e , T X 7 8 0 0 6
 2.5453 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/14/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r b o r Be a c h Tr u e Va l u e , 2 0 8 St a t e St , Ha r b o r Be a c h , M I
 2.5454 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 0 )
        nature of the debtor's interest                                                                                                                          48441

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r d w a r e & Lu m b e r L T D, 1 6 Wa r d Av e , Ma n d e v i l l e , Ja m a i c a
 2.5455 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 5 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r d w a r e & Lu m b e r L T D, 2 6 & 2 6 a Co n s t a n t Sp r i n g Rd ,
 2.5456 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 4 8 )
                                                                                                                                                                 Ki n g s t o n 1 0 , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r d w a r e & Lu m b e r L T D, 2 a Co n g r e v e Pa r k , Po r t He n d e r s o n ,
 2.5457 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 5 0 )
        nature of the debtor's interest                                                                                                                          Po r t m o r e , Ja m a i c a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r d w a r e & Lu m b e r L T D, 6 9 7 Sp a n i s h To w n Rd , Ki n g s t o n
 2.5458 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 9 0 )
                                                                                                                                                                 1 1 , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r d w a r e & Lu m b e r L T D, Fa i r v i e w Sh o p p i n g Ce n t r e , Bo g u e
 2.5459 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 4 9 )
                                                                                                                                                                 Mo n t e g o Ba y, Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha r d w a r e & Lu m b e r L T D, Ma i n St r e e t Oc h o Ri o s , St An n ,
 2.5460 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 1 0 )
                                                                                                                                                     Oc h o Ri o s , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r L T D, Ma n o r Pa r k Pl a z a , Ki n g s t o n ,
 2.5461 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 1 1 )
        nature of the debtor's interest                                                                                                              Ja m a i c a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r L T D, My e r s Wh a r f Ne w p o r t Ea s t ,
 2.5462 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 0 8 )
                                                                                                                                                     Ki n g s t o n , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r L T D, So v e r e i g n Ce n t r e Li g v a n e a ,
 2.5463 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 0 9 )
                                                                                                                                                     Ki n g s t o n , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r Li m i t e d , 6 Wa r d Av e n u e , Ma n d e v i l l e ,
 2.5464 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 1 )
        nature of the debtor's interest                                                                                                              Ja m a i c a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r Li m i t e d , 6 9 7 Sp a n i s h To w n Ro a d ,
 2.5465 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 5 9 )
        nature of the debtor's interest                                                                                                              Ki n g s t o n 1 1 , Ja m a i c a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r Li m i t e d , Fa i r v i e w Sh o p p i n g Ce n t r e ,
 2.5466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 0 )
                                                                                                                                                     Mo n t e g o Ba y, Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Lu m b e r Li m i t e d , Ma i n Ro a d , So u t h f i e l d , Oc h o
 2.5467 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 2 )
                                                                                                                                                     Ri o s , Ja m a i c a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha r d w a r e & Lu m b e r Li m i t e d , Sh o p s 1 , Br o w n s To w n , Ja m a i c a
 2.5468 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & Mo r e e e , 6 5 1 0 S La v e r g n e Av e , Be d f o r d Pa r k , I L
 2.5469 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 2 )
        nature of the debtor's interest                                                                                                              60638

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e & To o l s Co r p . In d u s e r v e Su p p l y, Ha r d w a r e & To o l s
 2.5470 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 4 3 )
                                                                                                                                                     Co r p In d u s e r v e Su p p l y, 5 3 Mc g a r r y Bl v d , Ke a r n e y s v i l l e , W V
        nature of the debtor's interest
                                                                                                                                                     25430-4799
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e Ex p r e s s Tr u e Va l u e , 8 2 9 E Ne w Yo r k Av e , Br o o k l y n ,
 2.5471 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 7 6 )
                                                                                                                                                     NY 11203-1238
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e Ge n e r a l , 3 8 6 Ea s t St r e e t , Pi t t s b o r o , N C 2 7 3 1 2 - 0 0 0 1
 2.5472 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 6 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e 4 u , 5 8 0 1 W 8 2 n d St r e e t Su i t e 1 1 1 , In d i a n a p o l i s , I N
 2.5473 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 4 )
                                                                                                                                                     46278-1364
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r d w a r e n o w, 1 5 0 0 Fr a n k l i n Av e , Gr e t n a , L A 7 0 0 5 3
 2.5474 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r l e y s v i l l e Fe e d , 5 1 9 Su m n e y t o w n Pi k e , Ha r l e y s v i l l e , PA
 2.5475 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 7 )
        nature of the debtor's interest                                                                                                              19438

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha r m o n y Ou t d o o r Br a n d s , 4 9 4 0 La k e w o o d Ra n c h Bl v d N, Su i t e
 2.5476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          1 0 0 , La k e w o o d Ra n c h , F L 3 4 2 4 0

          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r o l d s Tr u e Va l u e Hd w. , Ha r o l d s Tr u e Va l u e Hd w, 2 9 1 2
 2.5477 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 7 )
        nature of the debtor's interest                                                                                                                          Ce n t r a l St , Ev a n s t o n , I L 6 0 2 0 1 - 1 2 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r p e r Br u s h , 4 0 0 N. Se c o n d St . , Fa i r f i e l d , I A 5 2 5 5 6
 2.5478 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r p e r Tr u c k s , In c . , 1 5 2 2 S Fl o r e n c e , Wi c h i t a , K S 6 7 2 0 9
 2.5479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r p e t h Tr u e Va l u e Ha r d w a r e , 2 0 3 Do w n s Bl v d , Fr a n k l i n , T N
 2.5480 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 0 )
        nature of the debtor's interest                                                                                                                          37064

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r a l s o n Ma c h i n e Wo r k s , 2 1 9 5 9 Co l o r a d o Av e . , Sa n Jo a q u i n ,
 2.5481 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 6 )
                                                                                                                                                                 CA 93660-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i n g t o n & Co m p a n y, 7 6 0 W La y t o n Av e , Sa l t La k e Ci t y, U T
 2.5482 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 7 6 )
                                                                                                                                                                 84104
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5483 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 No l e n s v i l l e , T N 3 7 1 3 5

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5484 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          No l e n s v i l l e , T N 3 7 1 3 5

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5485 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No l e n s v i l l e , T N 3 7 1 3 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5486 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No l e n s v i l l e , T N 3 7 1 3 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5487 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 No l e n s v i l l e , T N 3 7 1 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Fa r m s L L C, 7 2 2 7 Ha l e y In d u s t r i a l Dr i v e , Su i t e 2 0 0 ,
 2.5488 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No l e n s v i l l e , T N 3 7 1 3 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Re s e a r c h In c , 1 2 4 1 2 Th Av e S, Su i t e 3 0 0 , Na s h v i l l e , T N
 2.5489 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 37203
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s Tr u e Va l u e , 5 0 5 W Un i o n St , Vi e n n a , G A 3 1 0 9 2 - 1 4 6 0
 2.5490 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r i s o n Fa r m & Ho m e Su p p l y, 1 1 7 2 Ma i n St r e e t , Sn e e d v i l l e ,
 2.5491 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 8 1 )
                                                                                                                                                                 TN 37869-3818
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha r r i s o n Pa i n t , 1 5 2 6 Fa i r f i e l d Av e , Sh r e v e p o r t , L A 7 1 1 0 1
 2.5492 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r y Ra c e Ph a r m a c y & Ph o t o , 1 0 6 Li n c o l n St r e e t , Si t k a , A K
 2.5493 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 1 )
        nature of the debtor's interest                                                                                                                          99835

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r r y s Pa i n t & Ha r d w a r e Tr u e Va l u e , Ha r r y s Pa i n t & Ha r d w a r e
 2.5494 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 1 5 )
        nature of the debtor's interest                                                                                                                          Tr u e V, 8 2 0 3 El i o t Av e , Mi d d l e Vi l l a g e , N Y 1 1 3 7 9 - 1 4 3 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r t ' s Tr u s t w o r t h y Ha r d w a r e , 1 4 1 1 Rt e 6 6 , Mo r i a r t y, N M
 2.5495 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 2 9 )
                                                                                                                                                                 87035
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r t l i n e Pr o d Co In c , 4 5 6 8 Ma y f i e l d Ro a d , Su i t e 2 0 2 ,
 2.5496 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Cl e v e l a n d , O H 4 4 1 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r t l i n e Pr o d Co In c , 4 5 6 8 Ma y f i e l d Ro a d , Su i t e 2 0 2 ,
 2.5497 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Cl e v e l a n d , O H 4 4 1 2 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r t l i n e Pr o d Co In c , 4 5 6 8 Ma y f i e l d Ro a d , Su i t e 2 0 2 ,
 2.5498 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cl e v e l a n d , O H 4 4 1 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r t l i n e Pr o d Co In c , 4 5 6 8 Ma y f i e l d Ro a d , Su i t e 2 0 2 ,
 2.5499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Cl e v e l a n d , O H 4 4 1 2 1

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha r t s Gr e e n h o u s e & Fl o r i s t L L C, Ha r t s Gr e e n h o u s e & Fl o r i s t
 2.5500 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     L L C, P. O. Bo x 1 7 6 , 1 0 2 We s t m i n s t e r Rd , Ca n t e r b u r y, C T 0 6 3 3 1
        nature of the debtor's interest
          State the term remaining                        10/10/2011

          List the contract number of any government
          contract
                                                                                                                                                     Ha r t s Nu r s e r y o f Je f f e r s o n In c , Po Bo x 1 0 7 0 , 4 0 4 9 Je f f e r s o n -
 2.5501 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Sc i o Dr i v e Se , Je f f e r s o n , O R 9 7 3 5 2

          State the term remaining                        07/23/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ha r t s h o r n e Tr u e Va l u e , 1 1 0 8 Pe n n s y l v a n i a Av e , Ha r t s h o r n e ,
 2.5502 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 0 1 )
                                                                                                                                                     OK 74547-3834
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha r t z Mo u n t a i n Co r p o r a t o n , 4 0 0 Pl a z a Dr i v e , Se c a u c u s , N J
 2.5503 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     07094
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ha r v e s t Ga r d e n Pr o L L C, 1 9 7 7 Ba y Rd , Mi l f o r d , D E 1 9 9 6 3
 2.5504 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ha r v e s t Go l d Or g a n i c s , 2 3 8 5 0 S Gh o s t To w n Rd , Co n g r e s s , A Z
 2.5505 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     85332
        nature of the debtor's interest
          State the term remaining                        11/01/2020

          List the contract number of any government
          contract
                                                                                                                                                     Ha r v e s t La n e Ho n e y, 7 7 2 N Ma i n St , To o e l e , U T 8 4 0 7 4
 2.5506 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ha r v e s t La n e Ho n e y, 7 7 2 N Ma i n St , To o e l e , U T 8 4 0 7 4
 2.5507 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha r v e s t La n e Ho n e y, 7 7 2 N Ma i n St , To o e l e , U T 8 4 0 7 4
 2.5508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r v e s t La n e Ho n e y, 7 7 2 N Ma i n St , To o e l e , U T 8 4 0 7 4
 2.5509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r v e s t Tr a d i n g Gr o u p In c , 6 1 Ac c o r d Pa r k Dr i v e , No r w e l l ,
 2.5510 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MA 02061
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r v e y, Wi l l i a m H. Co m p a n y, 4 3 3 4 S 6 7 Th St , Om a h a , N E
 2.5511 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 68117
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ha r w e l l s Gr e e n Th u m b Nr s H& g s , 4 2 1 1 Tr o y Hw y,
 2.5512 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 4 2 )
                                                                                                                                                                 Mo n t g o m e r y, A L 3 6 1 1 6 - 2 6 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha r w i c h Pa i n t & De c o r a t i n g , 1 8 1 Rt 1 3 7 , Ha r w i c h , M A 0 2 6 4 5 -
 2.5513 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 8 )
                                                                                                                                                                 1360
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha s b r o To y & Ga m e , Ha s b r o To y & Ga m e , 3 1 2 9 De m i n g Wa y,
 2.5514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mi d d l e t o n , W I 5 3 5 6 2

          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ha s b r o To y Gr o u p ( Pl a y s k o o l ) , 2 0 0 Na r r a g a n s e t t Dr i v e ,
 2.5515 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa w t u c k e t , R I 0 2 8 6 1

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha s l e t t Tr u e Va l u e Ha r d w a r e , 1 5 8 1 Ha s l e t t Ro a d , Ha s l e t t , M I
 2.5516 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 3 0 )
        nature of the debtor's interest                                                                                                                          48840-8424

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha s s e l l & Hu g h e s Lu m b e r Co In c , P. O. Bo x 6 8 , 6 0 8 Hw y 1 3
 2.5517 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 So u t h , Co l l i n w o o d , T N 3 8 4 5 0
        nature of the debtor's interest
          State the term remaining                        02/10/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ha t t ' s In d u s t r i a l Su p p l i e s , Ha t t ` s In d u s t r i a l Su p p l i e s , 2 8 0 3 E
 2.5518 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 0 2 )
                                                                                                                                                                 Li n c o l n Av e , Th o r n d a l e , PA 1 9 3 7 2 - 0 5 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha u l o t t e Us In c , 1 2 5 Ta y l o r Pa r k w a y, Ar c h b o l d , O H 4 3 5 0 2
 2.5519 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ha v e l l s Us a , 1 2 2 E La u r e l St r e e t , Mu l l i n s , S C 2 9 6 7 4
 2.5520 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha v e l l s Us a , 1 2 2 E La u r e l St r e e t , Mu l l i n s , S C 2 9 6 7 4
 2.5521 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha v e l l s Us a , 1 2 2 E La u r e l St r e e t , Mu l l i n s , S C 2 9 6 7 4
 2.5522 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha v e l l s Us a , 1 2 2 E La u r e l St r e e t , Mu l l i n s , S C 2 9 6 7 4
 2.5523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ha v i t Su p p l i e s We s t , 3 0 E Cl a y St , Mu s k e g o n , M I 4 9 4 4 2 - 1 0 5 2
 2.5524 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha w a i i Tr u e Va l u e Hd w, 1 9 - 4 0 8 4 Ol d Vo l c a n o Rd , Vo l c a n o , H I
 2.5525 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 6 6 )
                                                                                                                                                                 96785-9997
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha w l e y Wo o d Lu m b e r , 1 4 1 2 Je t v i g Bl v d , Ha w l e y, M N 5 6 5 4 9
 2.5526 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha w t h o r n e Tr u e Va l u e Ha r d w a r e , 1 3 5 3 2 Ha w t h o r n e Bl v d ,
 2.5527 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 0 3 )
                                                                                                                                                                 Ha w t h o r n e , C A 9 0 2 5 0 - 5 8 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha x t u n Bu i l d i n g Ce n t e r , 3 2 1 S Co l o r a d o Av e , Ha x t u n , C O
 2.5528 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 9 )
                                                                                                                                                                 80731
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha y d e n & So n s Tr u e Va l u e Hd w e . , Ha y d e n & So n s Tr u e Va l u e
 2.5529 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 3 )
        nature of the debtor's interest                                                                                                                          Hd w e , 1 2 5 S Br o a d w a y St , Ca s s o p o l i s , M I 4 9 0 3 1 - 1 2 4 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha y e s Tr u e Va l u e Ha r d w a r e , 2 0 4 Po r t l a n d Ro a d , Br i d g t o n , M E
 2.5530 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 2 4 )
        nature of the debtor's interest                                                                                                                          04009-4226

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ha y n e s Ma n u a l s In c , 8 5 9 La w r e n c e Dr i v e , Ne w b u r y Pa r k , C A
 2.5531 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 91230
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ha y s Im p l e m e n t Co m p a n y, Ha y s Co m p a n y, 3 0 1 N Br o a d w a y St ,
 2.5532 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 0 8 )
                                                                                                                                                     Di m m i t t , T X 7 9 0 2 7 - 1 8 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha y s v i l l e Tr u e Va l u e Ha r d w a r e , 3 2 5 N Ma i n , Ha y s v i l l e , K S
 2.5533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 5 2 )
                                                                                                                                                     67060-1159
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha z e l ' s Ha r d w a r e , 1 0 1 1 Ma i n Dr i v e , Wa s h i n g t o n , D C 2 0 0 1 2
 2.5534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ha z u g a ' s Tr u e Va l u e Ha r d w a r e , Ha z u g a ` s Tr u e Va l u e Ha r d w a r e ,
 2.5535 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 8 4 )
                                                                                                                                                     2 0 7 N Br o a d w a y St r e e t , St a n l e y, W I 5 4 7 6 8 - 1 0 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Hb d In d u s t r i e s In c , 1 3 0 1 W Sa n d u s k y Av e n u e , Be l l e f o n t a i n e ,
 2.5536 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     OH 43311
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Hc Co m p a n i e s In c , Po Bo x 9 3 2 8 5 5 , Cl e v e l a n d , O H 4 4 1 9 3
 2.5537 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Hc Co m p a n i e s In c , Po Bo x 9 3 2 8 5 5 , Cl e v e l a n d , O H 4 4 1 9 3
 2.5538 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Hc Gr o u p , L L C, 5 7 3 5 N Wa s h i n g t o n St , De n v e r , C O 8 0 2 1 6
 2.5539 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hc f Ou t d o o r Pr o d u c t s Co , 2 - 3 F, No 1 6 7 , Ho u k e n g h o u s h e Ar ,
 2.5540 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Ji n t a i Rd , Hu l i Di s t r i c t , Xi a m e n , 3 6 1 0 0 9 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        09/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Hc f Ou t d o o r Pr o d u c t s Co , 2 - 3 F, No 1 6 7 , Ho u k e n g h o u s h e Ar ,
 2.5541 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ji n t a i Rd , Hu l i Di s t r i c t , Xi a m e n , 3 6 1 0 0 9 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Hc f Ou t d o o r Pr o d u c t s Co , 2 - 3 F, No 1 6 7 , Ho u k e n g h o u s h e Ar ,
 2.5542 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ji n t a i Rd , Hu l i Di s t r i c t , Xi a m e n , 3 6 1 0 0 9 , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5543 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L Ma s t e r Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        01/14/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5544 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - M S- Dy n C R M S O W
        nature of the debtor's interest                   CO 1

          State the term remaining                        12/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5545 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ch a n g e Or d e r # 2 f o r t h e S O W# 4 t o a d d
        nature of the debtor's interest                   t h e r a t e c a r d f o r t h e r o l e o f “ Fu n c t i o n a l Co n s u l t a n t ” i n T& M
                                                          Mo d e

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5546 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ch a n g e Or d e r # 2 f o r t h e S O W# 4 t o a d d
        nature of the debtor's interest                   t h e r a t e c a r d f o r t h e r o l e o f “ Fu n c t i o n a l Co n s u l t a n t ” i n T& M
                                                          Mo d e

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5547 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L Go o g l e Co n s u m p t i o n Su b s c r i p t i o n
        nature of the debtor's interest                   a n d Co m m i t m e n t Ag r e e m e n t

          State the term remaining                        01/01/2022 - 07/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5548 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L Ne t w o r k s Pa l o Al t o Ha r d w a r e a n d
        nature of the debtor's interest                   Ma i n t e n a n c e - 2 0 2 2

          State the term remaining                        12/31/2021 - 01/15/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5549 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - Ca r y S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5550 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - J D A En h n S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5551 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - Ne w St o r e Gr o w t h
        nature of the debtor's interest                   SOW

          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5552 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - It e m a n d Pr i c i n g
        nature of the debtor's interest                   SOW

          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5553 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - Or a c l e In t e g r a t i o n
        nature of the debtor's interest                   Su p p o r t S O W

          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5554 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - N N W H S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                               Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5555 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - M S- Dy n C R M S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5556 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - Te r a d a t a D B A S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5557 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - E Z Co n n e c t S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Am e r i c a , In c . , 3 3 0 Po t r e r o Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.5558 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L A S M Pr o j e c t - Ta l e n d R S C S O W
        nature of the debtor's interest
          State the term remaining                        03/01/2022 - 02/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5559 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , H C L- I N F- 2 0 2 3 - 0 0 2 S O W Dy n a t r a c e
                                                                                                                                                                1 1 0 0 1 9 , In d i a
        nature of the debtor's interest                   Im p l . , Li c e n s e & Ba s e Su p p o r t i n g f o r M O L & N N W H

          State the term remaining                        03/20/2023 - 03/19/2026

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5560 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L- I N F- 2 0 2 3 - 0 0 2 S O W C O 1
        nature of the debtor's interest                   Dy n a t r a c e Im p l e m e n t a t i o n Mo n i t o r i n g f o r M O L & N N W H                  1 1 0 0 1 9 , In d i a

          State the term remaining                        03/20/2023 - 03/19/2026

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5561 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L C O 1 Go o g l e Co n s u m p t i o n
                                                          Su b s c r i p t i o n De s c o p i n g                                                               1 1 0 0 1 9 , In d i a
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 07/27/2025

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5562 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L Ra t e Ca r d Am e n d H C L- A P P S- 2 0 1 8 -
                                                          0 1 - C O 1 2 Ap p l i c a t i o n De v & En h a n c e m e n t s                                      1 1 0 0 1 9 , In d i a
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 03/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5563 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L Pr o g r a m Li c e n s e a n d Su p p o r t Or d e r
                                                          Sc h e d u l e Bi g Fi x Re n e w a l 2 0 2 4                                                         1 1 0 0 1 9 , In d i a
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5564 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , H C L- S O W- I N F- 2 0 2 3 - 0 0 6 C O 2 Fo r t r a
                                                          Po w e r t e c h AV Li c e n s e & Im p l e m e n t a t i o n o n A I X                         1 1 0 0 1 9 , In d i a
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                          Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5565 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Au t o m a t i o n An y w h e r e Or d e r P D F
                                                                                                                                                          1 1 0 0 1 9 , In d i a
        nature of the debtor's interest                   converter license 3 YR

          State the term remaining                        09/14/2022 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                          Hc l Te c h o l o g i e s , Lt d , 8 0 6 Si d d a r t h , 9 6 Ne h r u Pl a c e , De h l i ,
 2.5566 State what the contract or lease is for and the   Su b s c r i p t i o n Se r v i c e , Au t o m a t i o n An y w h e r e Li c e n s e
                                                                                                                                                          1 1 0 0 1 9 , In d i a
        nature of the debtor's interest                   Su b s c r i p t i o n

          State the term remaining                        08/01/2022 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                          He a d w i n d Co n s u m e r Pr o d u c t s , 3 0 4 0 J Rd , Sy r a c u s e , N E 6 8 4 4 6
 2.5567 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2022

          List the contract number of any government
          contract
                                                                                                                                                          He a l d s b u r g Lu m b e r Co , 1 3 5 3 4 He a l d s b u r g Av e , He a l d s b u r g ,
 2.5568 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 3 )
        nature of the debtor's interest                                                                                                                   CA 95448

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          He a l y ' s Tr u e Va l u e Ha r d w a r e , 3 0 7 S St a t e St r e e t , Go b l e s , M I
 2.5569 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 7 )
                                                                                                                                                          49055
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          He a r t l a n d Bi o f u e l s L L C, 3 0 2 1 Pa t t o n Dr , Pl o v e r , W I 5 4 4 6 7
 2.5570 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                          He a r t l a n d Ho m e & Ga r d e n , 3 8 4 S 2 Nd Av e , Bl d g 9 3 8 , Sa n
 2.5571 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                          Be r n a r d i n o , C A 9 2 4 0 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5573 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5574 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h Ma n u f a c t u r i n g Co , 1 4 0 Mi l l St r e e t , Po Bo x 1 0 5 ,
 2.5577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Co o p e r s v i l l e , M I 4 9 4 0 4
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 He a t h c o L L C, 2 4 4 5 Na s h v i l l e Ro a d , Bo w l i n g Gr e e n , K Y 4 2 1 0 1
 2.5578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He a t h c o L L C, 2 4 4 5 Na s h v i l l e Ro a d , Bo w l i n g Gr e e n , K Y 4 2 1 0 1
 2.5579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     He a t s t a r By En e r c o , 4 5 6 0 W 1 6 0 Th St , Cl e v e l a n d , O H 4 4 1 3 5
 2.5580 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/10/2010

          List the contract number of any government
          contract
                                                                                                                                                     He a v e n e r Tr u e Va l u e Re n t a l , 9 0 1 Pr o g r e s s St r e e t , Bl a c k s b u r g ,
 2.5581 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 1 )
                                                                                                                                                     VA 2 4 0 6 0 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He b r o n Tr u e Va l u e , 7 4 5 N 1 3 t h St r e e t , He b r o n , N E 6 8 3 7 0 - 1 5 2 6
 2.5582 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He i d r i c k ' s Tr u e Va l u e , He i d r i c k ` s Tr u e Va l u e , 1 5 0 8 S Na t i o n a l
 2.5583 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 4 6 )
        nature of the debtor's interest                                                                                                              Av e , Fo r t Sc o t t , K S 6 6 7 0 1 - 2 6 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He i g h t s Tr u e Va l u e , 5 2 0 0 Eu b a n k Bl v d Ne D, Al b u q u e r q u e , N M
 2.5584 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 3 7 )
                                                                                                                                                     87111-1759
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He i m a n Tr u e Va l u e , 3 0 3 Ve r n o n St , Ro c k v i l l e , M O 6 4 7 8 0 - 0 0 3 9
 2.5585 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He i m a n Tr u e Va l u e Fa r m Su p p l y, He i m a n Tr u e Va l u e Fa r m
 2.5586 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 7 4 4 )
                                                                                                                                                     Sp l y, 2 0 1 S Vi n e St , Ho l d e n , M O 6 4 0 4 0 - 1 1 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He i n e n Tr u e Va l u e Fa r m Su p p l y, 3 0 7 Ma i n St , Se n e c a , K S
 2.5587 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 7 0 )
                                                                                                                                                     66538-1923
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 He l d e r b e r g Tr u e Va l u e , 8 5 6 He l d e r b e r g Tr a i l Rt e 4 4 3 , Ea s t
 2.5588 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 5 7 )
                                                                                                                                                                 Be r n e , N Y 1 2 0 5 9 - 2 1 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5589 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 79912
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5590 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          79912

          State the term remaining                        08/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5591 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 79912
        nature of the debtor's interest
          State the term remaining                        02/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 79912
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5593 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 79912
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5594 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 79912
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5595 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 79912
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 He l e n o f Tr o y Co d m l , 1 He l e n Of Tr o y Pl a z a , El Pa s o , T X
 2.5596 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 79912
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l e n o f Tr o y Ma c a o Li m i t e d , Av e n d i a Xi a n Xi n g Ha i No 1 0 5 ,
 2.5597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ce n t r o Go l d e n Dr a g o n , Ma c a u

          State the term remaining                        01/01/2024 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 He l m s Ea s t Va l l e y Tr u e Va l u e , 1 0 4 Bu t t e r f i e l d Rd . , Ya k i m a ,
 2.5598 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 7 )
        nature of the debtor's interest                                                                                                                          WA 9 8 9 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He l m s Tr u e Va l u e Ha r d w a r e , 4 7 5 N We n a s Ro a d , Se l a h , WA
 2.5599 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 5 3 )
                                                                                                                                                                 98942-1161
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He m e t Tr u e Va l u e Hd w, 2 0 0 7 E Fl o r i d a Av e , He m e t , C A 9 2 5 4 4 -
 2.5600 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 2 9 )
                                                                                                                                                                 4730
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n d e e En t e r p r i s e s , 9 3 5 0 S Po i n t Dr i v e , Ho u s t o n , T X 7 7 0 5 4
 2.5601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 He n d e r s o n Tr u e Va l u e , 2 2 0 6 St An d r e w s St No r t h , Ta r b o r o , N C
 2.5602 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 9 5 )
                                                                                                                                                                 27886-2119
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5603 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5604 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5607 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5608 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5609 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n k e l Co r p o r a t i o n , 2 6 2 3 5 Fi r s t St , We s t l a k e , O H 4 4 1 4 5
 2.5610 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 He n r y Co , 1 7 0 Wa k e f i e l d Ru n Bl v d , Hi n c k l e y, O H 4 4 2 3 3
 2.5611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     He n r y Ho m e t o w n Ha r d w a r e , 4 0 8 Ed w a r d St r e e t , He n r y, I L
 2.5612 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 8 )
        nature of the debtor's interest                                                                                                              61537-1504

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He n r y s Tr u e Va l u e Hd w, 1 7 3 4 2 St a t e Hw y 8 4 N, Ti e r r a
 2.5613 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 9 6 )
        nature of the debtor's interest                                                                                                              Am a r i l l a , N M 8 7 5 7 5 - 9 9 9 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He n s e l Tr u e Va l u e Ha r d w a r e , 2 4 2 Ma i n St , Ro s e b u d , T X
 2.5614 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 6 4 8 )
                                                                                                                                                     76570-3353
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r b i e Ho u s e , 8 9 9 0 Lo n g Sh a d o w Tr a c e , Le w i s v i l l e , N C 2 7 0 2 3
 2.5615 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/06/2008

          List the contract number of any government
          contract
                                                                                                                                                     He r c u l e s Pr o d u c t s In c , 2 0 5 3 3 Bi s c a y n e Bl v d # 4 0 5 , Av e n t u r a ,
 2.5616 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     FL 33180
        nature of the debtor's interest
          State the term remaining                        11/19/2007

          List the contract number of any government
          contract
                                                                                                                                                     He r i t a g e Ha r d w a r e Tr u e Va l u e , 7 8 1 8 Hw y 8 0 1 S, Co o l e e m e e ,
 2.5617 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 9 )
                                                                                                                                                     NC 27014-9800
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r i t a g e Tr u e Va l u e , 1 3 8 2 1 s t Ne w Ha m p s h i r e Tp k e ,
 2.5618 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 5 )
                                                                                                                                                     No r t h w o o d , N H 0 3 2 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r m i s t o n Ra n c h & Ho m e , 2 5 0 0 Pe n n y Av e , He r m i s t o n , O R
 2.5619 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 8 )
        nature of the debtor's interest                                                                                                              97838-1111

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     He r o Pr o d u c t s Gr o u p , 7 2 0 Ea t o n Wa y, De l t a , B C V3 M 6 J9 ,
 2.5620 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ca n a d a

          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     He r r e n Br o t h e r s T V Hd w e , 4 0 2 2 n d St , Cr a w f o r d , N E 6 9 3 3 9 -
 2.5621 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 8 1 )
        nature of the debtor's interest                                                                                                              1054

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r r e n Br o t h e r s Tr u e Va l u e Lb r , 2 0 0 E 2 n d St , Ha r r i s o n , N E
 2.5622 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 0 9 )
                                                                                                                                                     69346-0187
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r r o n Lu m b e r Co m p a n y, 1 0 0 E Ti o g a St , Tu n k h a n n o c k , PA
 2.5623 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 5 8 )
                                                                                                                                                     18657-1602
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He r z o g ' s Tr u e Va l u e Ho m e Ce n t e r , He r z o g ` s Tr u e Va l u e Ho m e
 2.5624 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 4 4 )
                                                                                                                                                     Ce n t e , 1 5 1 Pl a z a Rd - Ki n g s t o n Pl a z a , Ki n g s t o n , N Y 1 2 4 0 1 -
        nature of the debtor's interest
                                                                                                                                                     3813
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He s s l e r Pa i n t & Ha r d w a r e , 4 5 9 1 W. At l a n t i c Av e . , De l r a y
 2.5625 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 0 )
                                                                                                                                                     Be a c h , F L 3 3 4 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He s s t o n Tr u e Va l u e , 1 4 1 N Ma i n St , He s s t o n , K S 6 7 0 6 2
 2.5626 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     He s t r a Gl o v e s L L C, 1 2 4 2 5 W 5 4 Th Dr i v e , Ar v a d a , C O 8 0 0 0 2
 2.5627 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/15/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5628 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , He x a w a r e Te c h n o l o g i e s Li m i t e d .
        nature of the debtor's interest                   MSA                                                                                                 Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a

          State the term remaining                        06/09/2023 - 06/08/2028

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5629 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , He x a w a r e Ou t s o u r c i n g Ma s t e r
                                                          Se r v i c e s Ag r e e m e n t                                                                     Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2028

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5630 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , He x a w a r e S O W 2 0 2 4 - 0 5 B O T Su p p o r t
                                                          Se r v i c e s                                                                                      Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5631 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , He x a w a r e S O W 2 0 2 4 - 0 6 On s h o r e
                                                          Sp e c i a l i s t Ro l e s – O M S Sp e c i f i c                                                  Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        05/02/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5632 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , He x a w a r e S O W 2 0 2 4 - 8 W M S
                                                                                                                                                              Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest                   Tr a n s f o r m a t i o n Fo u n d a t i o n Pr o g r a m

          State the term remaining                        05/01/2024 - 01/31/2025

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5633 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , He x a w a r e Te c h n o l o g i e s S O W F A1
                                                                                                                                                              Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest                   Ac c o u n t i n g - Na r e s h Mu d l i y a r

          State the term remaining                        11/13/2023 - 11/12/2025

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5634 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , He x a w a r e Te c h n o l o g i e s S O W F A1 C O1
        nature of the debtor's interest                   Ac c o u n t i n g - Sh y a m Ma l l a h                                                            Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a

          State the term remaining                        11/20/2023 - 11/20/2025

          List the contract number of any government
          contract
                                                                                                                                                              He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5635 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , He x a w a r e S O W 2 De v Op s Ar c h i t e c t u r e -
                                                          Ta m a n n a Gu p t a                                                                               Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        01/15/2024 - 01/14/2026

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5636 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e Sc h e d u l e 8 C O 1 - Fi n a n c e A R-
        nature of the debtor's interest                   A P Bu s i n e s s Pr o c e s s Su p p o r t                                                    Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a

          State the term remaining                        03/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5637 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e S O W 2 0 2 3 - 4 C O 1 Ko r b e r O M S
                                                          In t e g r a t i o n s                                                                          Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        04/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5638 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e Sc h e d u l e 8 C O 4 - Fi n a n c e A R-
                                                          A P Bu s i n e s s Pr o c e s s Su p p o r t                                                    Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        10/01/2024 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5639 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , He x a w a r e S O W 2 0 2 3 - 4 Ko r b e r O M S
                                                                                                                                                          Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest                   In t e g r a t i o n s

          State the term remaining                        08/21/2023 - 11/30/2024

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5640 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , He x a w a r e S O W Ap p l i c a t i o n Su p p o r t &
                                                                                                                                                          Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest                   Ma i n t e n a n c e ( A S M)

          State the term remaining                        05/01/2024 - 04/30/2029

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5641 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e S O W In f r a s t r u c t u r e Su p p o r t &
        nature of the debtor's interest                   Ma i n t e n a n c e ( I S M)                                                                   Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a

          State the term remaining                        03/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5642 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e S O W Se c u r i t y Ma n a g e d Se r v i c e s
        nature of the debtor's interest                                                                                                                   Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a

          State the term remaining                        03/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                          He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5643 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e Ma s t e r Ma n a g e d Se r v i c e s S O W
                                                                                                                                                          Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2028

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5644 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e S O W – Ma j o r En h a n c e m e n t s a n d
                                                          Pr o j e c t s St a f f Au g m e n t a t i o n                                                         Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                                 He x a w a r e Te c h n o l o g i e s , 1 5 2 Mi l l e n n i u m Bu s i n e s s Pa r k ,
 2.5645 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , He x a w a r e Sc h e d u l e 8 S O W - Fi n a n c e
                                                          A R/ A P Bu s i n e s s Pr o c e s s Su p p o r t                                                      Mu m b a i , Na v i 4 0 0 7 1 0 , In d i a
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 02/28/2029

          List the contract number of any government
          contract
                                                                                                                                                                 He y e r Tr u e Va l u e Hd w. , He y e r Tr u e Va l u e Hd w, 2 0 0 Hw y 6 7
 2.5646 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 1 )
                                                                                                                                                                 No r t h , Wa l w o r t h , W I 5 3 1 8 4 - 9 5 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hg t In t ' l Co , Rm 5 0 3 Bl d g A Hu a To n g Pl a z a , A1 9
 2.5647 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch e g o n g z h u a n g We s t Rd , Ha i d a n , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi Li n e Gi f t Lt d , 6 3 4 0 Ke s t r e l Rd , Mi s s i s s a u g a , O N L5 T 1 Z3 ,
 2.5648 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Hi - Te c h El e c t r o n i c Pr o d u c t s , 2 5 Hi t e c h Dr i v e , Og l e s b y, I L
 2.5649 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          61348

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi c k s Nu r s e r i e s In c H& g s , 1 0 0 Je r i c h o Tu r n p i k e , We s t b u r y,
 2.5650 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 1 5 )
                                                                                                                                                                 NY 11590-1063
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi e g e l Su p p l y, 1 3 1 0 Br u c e St , Co n w a y, A R 7 2 0 3 4 - 6 5 1 3
 2.5651 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 7 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hi g h Ca l i p e r Gr o w i n g In c , 7 0 0 0 N Ro b i n s o n , Ok l a h o m a Ci t y,
 2.5652 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 OK 73116
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h Ca l i p e r Gr o w i n g In c , 7 0 0 0 N Ro b i n s o n , Ok l a h o m a Ci t y,
 2.5653 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 OK 73116
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h Ca l i p e r Gr o w i n g In c , 7 0 0 0 N Ro b i n s o n , Ok l a h o m a Ci t y,
 2.5654 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OK 73116
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h De s e r t Ho m e Ce n t e r , 8 2 4 W Ri d g e c r e s t Bl v d , Ri d g e c r e s t ,
 2.5655 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 3 8 )
                                                                                                                                                                 CA 93555-4023
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h Mo w i n g Or g a n i c Se e d s , 7 6 Qu a r r y Rd , Wo l c o t t , V T
 2.5656 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          05680

          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h Si e r r a Sh o w e r h e a d s , Po Bo x 7 3 2 , Co a r s e g o l d , C A 9 3 6 1 4
 2.5657 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/06/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h l a n d Ha r d w a r e , 1 0 4 5 N Hi g h l a n d Av e Ne , At l a n t a , G A
 2.5658 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 1 7 )
                                                                                                                                                                 30306-3592
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h l a n d Ha r d w a r e & Bi k e Sh o p , Hi g h l a n d Ha r d w a r e & Bi k e
 2.5659 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 3 0 )
                                                                                                                                                                 Sh o p , 9 1 7 Ha m p d e n St , Ho l y o k e , M A 0 1 0 4 0 - 2 4 6 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hi g h l a n d Su p p l y Co r p . , 1 1 1 1 Si x t h St r e e t , Hi g h l a n d , I L 6 2 2 4 9
 2.5660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/26/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h l i n e Wa r r e n / Pl e w s , 4 5 0 0 Ma l o n e Rd , Me m p h i s , T N 3 8 1 1 8
 2.5661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h l i n e Wa r r e n / Pl e w s , 4 5 0 0 Ma l o n e Rd , Me m p h i s , T N 3 8 1 1 8
 2.5662 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h s i d e Ch e m i c a l s In c , 1 1 1 4 Re i c h o l d Rd , Gu l f p o r t , M S
 2.5663 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 39503
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Hi g h w a y To Bu y, W3 7 4 7 Fo r e s t Dr i v e , Mo r a n , M I 4 9 7 6 0 - 0 0 0 1
 2.5664 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 2 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l e r m a n n Nu r s e r y Fl o r i s t , 2 6 0 1 E. 5 t h St r e e t , Wa s h i n g t o n ,
 2.5665 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 1 )
        nature of the debtor's interest                                                                                                                          MO 63090

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l e r s Tr u e Va l u e Hd w e , 7 5 1 S Ce n t r a l Av e , Ma r s h f i e l d , W I
 2.5666 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 8 0 )
                                                                                                                                                                 54449-4106
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5667 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 45231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 45231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5669 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45231
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5670 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45231
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5671 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45231

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5672 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45231

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 45231
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5674 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 45231
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 45231
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5676 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 45231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5677 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 45231
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 45231
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n Av e n u e , Ci n c i n n a t i , O H
 2.5679 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          45231

          State the term remaining                        08/01/2024 - 07/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l m a n Gr o u p , Th e , Hi l l m a n Fa s t e n e r s , 1 0 5 9 0 Ha m i l t o n
 2.5680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                                          Av e n u e , Ci n c i n n a t i , O H 4 5 2 3 1

          State the term remaining                        03/18/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l l s i d e Co n s u l t i n g Gr o u p , L L C, 4 0 0 Tr a d e Ce n t e r , Su i t e 5 9 0 0 ,
 2.5681 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , Hi l l s i d e - Am m e n d m e n t # 1 t o St a t e m e n t o f
                                                          Wo r k                                                                                                 Wo b u r n , M A 0 1 8 1 0
        nature of the debtor's interest
          State the term remaining                        12/18/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Hi l m a r Lu m b e r , 8 1 5 0 La n d e r Av e , Hi l m a r , C A 9 5 3 2 4
 2.5682 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi l t i , In c . , Hi l t i , In c , 7 2 5 0 Da l l a s Pa r k w a y, 1 0 0 0 , Pl a n o , T X
 2.5683 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75024
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Hi l t o n Ga r d e n In n Wi l k e s Ba r r e , 2 4 2 Hi g h l a n d Pa r k Bo u l e v a r d ,
 2.5684 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Hi l t o n Ga r d e n In n Wi l k e s Ba r r e
                                                          Ag r e e m e n t 2 0 2 4                                                                      Wi l k e s Ba r r e , PA 0 1 8 7 0
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                        Hi m p e l Ha r d w a r e , 4 1 5 Pl e a s a n t St r e e t , To n g a n o x i e , K S 6 6 0 8 6
 2.5685 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Hi n d s & Co o n Co , 2 5 4 Bo d w e l l St Un i t A, Av o n , M A 0 2 3 2 2 -
 2.5686 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 1 2 )
        nature of the debtor's interest                                                                                                                 1191

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Hi n e s Gr o w e r s In c , 2 3 1 8 1 Ve r d u g o Dr i v e , Su i t e 1 0 1 , La g u n a
 2.5687 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 Hi l l s , C A 9 2 6 5 3

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                        Hi n t o n Tr u e Va l u e , 2 2 2 0 N Br o a d w a y, Hi n t o n , O K 7 3 0 4 7 - 9 6 6 3
 2.5688 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 6 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Hi p Kl u b , Th e , 7 7 2 5 Pi t t s b i l l e Rd , Pi t t s v i l l e , M D 2 1 8 5 0
 2.5689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/11/2013

          List the contract number of any government
          contract
                                                                                                                                                        Hi r e r i g h t , L L C, 3 3 4 9 Mi c h e l s o n Dr i v e , Su i t e 1 5 0 , Ir v i n e , C A
 2.5690 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Hi r e Ri g h t Ma s t e r Se r v i c e Ag r e e m e n t 2 0 2 2
                                                                                                                                                        92612
        nature of the debtor's interest
          State the term remaining                        06/10/2022 - 06/09/2025

          List the contract number of any government
          contract
                                                                                                                                                        Hi r o n s In c , 1 8 5 E 1 8 t h Av e , Eu g e n e , O R 9 7 4 0 1 - 4 1 0 7
 2.5691 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hi r s h f i e l d ' s , 7 2 5 2 n d Av e No r t h , Mi n n e a p o l i s , M N 5 5 4 0 5
 2.5692 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hi t r o n s So l u t i o n s In c , 8 8 Po r t l a n d Av e , Su i t e M, Be r g e n f i e l d ,
 2.5693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NJ 07621
        nature of the debtor's interest
          State the term remaining                        06/21/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Hk St a r Br i g h t Li g h t i n g Li m i t e d , Un i t 3 4 0 5 3 4 / F, 1 1 8
 2.5694 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co n n a u g h t Ro a d We s t , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hk - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7 - 1 4 1 5
 2.5695 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Hm s Mf g , H M S Mf g , 1 2 3 0 E Bi g Be a v e r Rd , Tr o y, M I 4 8 0 8 3
 2.5696 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Hm s Mf g , H M S Mf g , 1 2 3 0 E Bi g Be a v e r Rd , Tr o y, M I 4 8 0 8 3
 2.5697 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ho c k e s s i n Ha r d w a r e , 3 2 4 La n t a n a Dr i v e , Ho c k e s s i n , D E
 2.5698 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 9 1 )
                                                                                                                                                                 19707-1111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho d g e s Tr u e Va l u e Hd w. & Ho m e Ce n t e r , Ho d g e s Tr u e Va l u e
 2.5699 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 1 2 )
                                                                                                                                                                 Hd w & Ho m e Ce n t e r , 1 5 1 7 S Ph i l a d e l p h i a Bl v d , Ab e r d e e n , M D
        nature of the debtor's interest
                                                                                                                                                                 21001-3916
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho f f m a n A H In c / Go o d Ea r t h , Po Bo x 2 9 0 , 5 9 6 0 Br o a d w a y,
 2.5700 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 La n c a s t e r , N Y 1 4 0 8 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho f f m a n A H In c / Go o d Ea r t h , Po Bo x 2 9 0 , 5 9 6 0 Br o a d w a y,
 2.5701 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La n c a s t e r , N Y 1 4 0 8 6
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho f f m a n A H In c / Go o d Ea r t h , Po Bo x 2 9 0 , 5 9 6 0 Br o a d w a y,
 2.5702 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          La n c a s t e r , N Y 1 4 0 8 6

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho f f m a n Dr u g Tr u e Va l u e Ha r d w a r e , Ho f f m a n Dr u g Tr u e Va l u e
 2.5703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 9 9 )
                                                                                                                                                                 Ha r d w a , 9 0 0 Ma i n St , Li m o n , C O 8 0 8 2 8 - 2 2 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho f f m a n ' s Tr u e Va l u e Ha r d w a r e , Ho f f m a n ` s Tr u e Va l u e
 2.5704 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 7 3 )
                                                                                                                                                                 Ha r d w a r e , 3 0 2 Ma i n St , Hi g h l a n d Fa l l s , N Y 1 0 9 2 8 - 1 8 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l d It Ma t e , 9 0 0 Am e r i c a n Bl v d Ea s t , Su i t e 1 0 4 ,
 2.5705 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bl o o m i n g t o n , M N 5 5 4 2 0
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l d It Pr o d u c t s Co r p o r a t i o n , Po Bo x 7 3 1 , 1 9 0 0 Ea s y St r e e t ,
 2.5706 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Wa l l e d La k e , M I 4 8 3 9 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l d i n g f o r d Ha r d w a r e , 5 6 1 W. Ma i n St , Ho l d i n g f o r d , M N
 2.5707 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 6 )
                                                                                                                                                                 56340
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho l d r i d g e Ho m e & Ga r d e n , 7 4 9 Co l o n e l Le d y a r d Hw y,
 2.5708 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 2 )
                                                                                                                                                                 Le d y a r d , C T 0 6 3 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Br i g h t Li g h t s , 9 5 4 W Wa s h i n g t o n Bl v d , , Su i t e 7 0 5 ,
 2.5709 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Br i g h t Li g h t s , 9 5 4 W Wa s h i n g t o n Bl v d , , Su i t e 7 0 5 ,
 2.5710 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Br i g h t Li g h t s , 9 5 4 W Wa s h i n g t o n Bl v d , , Su i t e 7 0 5 ,
 2.5711 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Br i g h t Li g h t s , 9 5 4 W Wa s h i n g t o n Bl v d , , Su i t e 7 0 5 ,
 2.5712 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Br i g h t Li g h t s , 9 5 4 W Wa s h i n g t o n Bl v d , , Su i t e 7 0 5 ,
 2.5713 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y In n & Su i t e s Ex p r e s s Lu b b o c k Te x a s , Ho l i d a y In n &
 2.5714 State what the contract or lease is for and the   Ev e n t s & Me e t i n g s Se r v i c e s , Ho l i d a y In n a n d Su i t e s Ex p r e s s
                                                                                                                                                                 Su i t e s Ex p r e s s Lu b b o c k Te x a s , 6 5 0 5 I- 2 7 So u t h , Lu b b o c k , T X
        nature of the debtor's interest                   Lu b b o c k Te x a s
                                                                                                                                                                 79412
          State the term remaining                        11/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y In n Cr y s t a l La k e , 8 0 0 S Il l i n o i s Rt e 3 1 , Cr y s t a l La k e ,
 2.5715 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Ho l i d a y In n Cr y s t a l La k e Ho t e l
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 4                                                                               IL 60014

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho l i d a y In n Ex p r e s s Do w n t o w n De n v e r , 4 0 1 7 Th St r e e t ,
 2.5716 State what the contract or lease is for and the   Ev e n t s & Me e t i n g s Se r v i c e s , Ho l i d a y In n De n v e r Ea s t Ho t e l
                                                                                                                                                                 De n v e r , C O 8 0 2 0 2
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Tr e e Fa r m s , 8 0 0 No r t h w e s t Co r n e l l , Co r v a l l i s , O R
 2.5717 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          97330

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Tr i m , 6 0 0 Pa r k St r e e t , Be l g i u m , W I 5 3 0 0 4
 2.5718 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/12/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Tr i m , 6 0 0 Pa r k St r e e t , Be l g i u m , W I 5 3 0 0 4
 2.5719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Tr i m , 6 0 0 Pa r k St r e e t , Be l g i u m , W I 5 3 0 0 4
 2.5720 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d a y Tr i m , 6 0 0 Pa r k St r e e t , Be l g i u m , W I 5 3 0 0 4
 2.5721 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l i d y n a m i c s In c , 1 0 0 4 8 Sc o t t Ci r c l e , Om a h a , N E 6 8 1 2 2
 2.5722 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l i n Ha l l Va r i e t y St o r e , 7 9 0 2 Fo r t Hu n t Rd , Al e x a n d r i a , VA
 2.5723 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 9 4 )
        nature of the debtor's interest                                                                                                                          22308-1203

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho l l i s t e r Tr u e Va l u e , 1 2 6 0 Fo u r t h St , Ho l l i s t e r , C A 9 5 0 2 3
 2.5724 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l i s t o n Tr u e Va l u e , 5 8 Ce n t r a l St r e e t , Ho l l i s t o n , M A 0 1 7 4 6 -
 2.5725 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 5 0 )
        nature of the debtor's interest                                                                                                                          2102

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l o w a y Ho u s e In c , 3 0 9 Bu s i n e s s Pa r k Dr i v e , Fo r t v i l l e , I N
 2.5726 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46040
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l o w a y Ho u s e In c , 3 0 9 Bu s i n e s s Pa r k Dr i v e , Fo r t v i l l e , I N
 2.5727 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 46040
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l o w a y Ho u s e In c , 3 0 9 Bu s i n e s s Pa r k Dr i v e , Fo r t v i l l e , I N
 2.5728 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 46040
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l l o w a y Ho u s e In c , 3 0 9 Bu s i n e s s Pa r k Dr i v e , Fo r t v i l l e , I N
 2.5729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 46040
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l m b e r g Fa r m s , In c , 1 3 4 3 0 Ho b s o n Si m m o n s Rd , Li t h i a , F L
 2.5730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          33547

          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ho l m e s Ga r a g e Do o r Co , 8 5 8 5 Du k e Bl v d , Ma s o n , O H 4 5 0 4 0
 2.5731 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/15/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho l m e s Gr p , Th e / Ri v a l Di v, On e Ho l m e s Wa y, Bu i l d i n g A,
 2.5732 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Mi l f o r d , M A 0 1 7 5 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ho l o d ' s Tr u e Va l u e Hd w e , Ho l o d ` s Tr u e Va l u e Hd w e , 7 0 0
 2.5733 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 1 9 )
                                                                                                                                                     Ri d g e Pi k e , La f a y e t t e Hi l l , PA 1 9 4 4 4 - 1 7 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho l o p h a n e Li g h t i n g , 3 8 2 5 Co l u m b u s Ro a d , Gr a n v i l l e , O H
 2.5734 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     43023
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ho l t Tr u e Va l u e Lu m b e r , 2 3 1 Be l m o n t St , Ca r b o n d a l e , PA
 2.5735 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 0 9 )
                                                                                                                                                     18407-1603
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho l t k a m p / Op t i m a r a Nu r s , Po Bo x 7 8 5 6 5 , Na s h v i l l e , T N 3 7 2 0 7
 2.5736 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ho l t o n Pr o d u c t s L L C, 5 6 0 5 W. La k e w o o d Dr , Ro g e r s , A R 7 2 7 5 8
 2.5737 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/11/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ho l t s Su m m i t Ha r d w a r e Ll c , 1 9 0 W Si m o n Bl v d , Ho l t s Su m m i t ,
 2.5738 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 8 5 )
        nature of the debtor's interest                                                                                                              MO 65043-1050

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho l y Co w Cl e a n i n g Pr o d u c t s , 4 4 9 1 Pa c i f i c St , Su i t e A,
 2.5739 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ro c k l i n , C A 9 5 6 7 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5740 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5741 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5742 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5743 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5744 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5745 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5746 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5747 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5748 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2020

          List the contract number of any government
          contract
                                                                                                                                                     Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5749 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ho m a x Pr o d u c t s / Pp g , P. O. Bo x 5 6 4 3 , Be l l i n g h a m , WA 9 8 2 2 7
 2.5750 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e & Au t o , 1 4 0 S Do u g l a s , Be a v e r , O K 7 3 9 3 2 - 0 7 6 0
 2.5751 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e & Au t o , 5 0 0 S Ky l e r , Mo n e t t , M O 6 5 7 0 8 - 9 3 1 3
 2.5752 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e & Ga r d e n Cr e a t i o n s Li m i t e d , Ho m e & Ga r d e n Cr e a t i o n s
 2.5753 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 3 )
        nature of the debtor's interest                                                                                                              Li m i t e , 5 0 Wi t t e t Dr i v e , Ce n t r a l Pa r k Ba l m a i n , Co u v a ,
                                                                                                                                                     Tr i n i d a d An d To b a g o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ba z a a r In c , 2 2 0 Ol d Co u n t r y Ro a d , Su i t e 2 0 4 , Mi n e o l a ,
 2.5754 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              NY 11501

          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Bu i l d e r s Ce n t e r , 1 1 1 0 We s t Ni c k e r s o n St r e e t , Se a t t l e ,
 2.5755 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 1 9 )
                                                                                                                                                     WA 9 8 1 1 9 - 1 3 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho m e Bu i l d i n g Tr u e Va l u e Mt r l s . , Ho m e Bu i l d i n g Tr u e Va l u e
 2.5756 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 5 9 )
                                                                                                                                                                 Mt r l s , 4 3 5 E Na p o l e o n St , Su l p h u r , L A 7 0 6 6 3 - 3 4 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e In d u s t r i e s In c , 1 Li s b o n St r e e t , Cl i f t o n , N J 0 7 0 1 3
 2.5757 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5758 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 0020
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5759 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 0020
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5760 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 0020
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5761 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 0020

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5762 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 0020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 0020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 0020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ca r e La b s , Po Bo x 4 9 1 1 5 0 , La w r e n c e v i l l e , G A 3 0 0 4 9 -
 2.5765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 0020
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ce n t r a l , 1 5 1 Ce n t r a l Av e , Ow e g o , N Y 1 3 8 2 7 - 1 3 3 4
 2.5766 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ce n t r a l , 1 9 9 St a g e Ro a d , Ve s t a l , N Y 1 3 8 5 0 - 1 6 1 9
 2.5767 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e Ce n t r a l , 3 0 9 Ow e g o Ro a d , Ca n d o r , N Y 1 3 7 4 3 - 1 6 4 6
 2.5768 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e De c o r Gr o u p , 1 9 8 We s t Ce n t r a l St . , Na t i c k , M A 0 1 7 6 0
 2.5769 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e De c o r Gr o u p , 2 8 1 De r b y St r e e t , Sa l e m , M A 0 1 9 7 0
 2.5770 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho m e De c o r Gr o u p , 4 5 Bo s t o n St r e e t , Ly n n , M A 0 1 9 0 4
 2.5771 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho m e De c o r Gr o u p , 4 5 0 Pa r a d i s e Rd , Sw a m p s c o t t , M A 0 1 9 0 7
 2.5772 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e De c o r Gr o u p , 5 1 5 Lo w e l l St r e e t , Pe a b o d y, M A 0 1 9 6 0
 2.5773 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e De c o r e Gr o u p , 8 9 9 Wa s h i n g t o n St , Br a i n t r e e , M A 0 2 1 8 4
 2.5774 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e De p o t Li m i t e d , Vi d e Bo u t i e l l e , Ca s t r i e s , St Lu c i a ,
 2.5775 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 7 4 )
                                                                                                                                                     Un i t e d Ki n g d o m
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ha r d w a r e & Va r i e t y, 3 8 7 S Mo a p a Va l l e y Bl v d , Ov e r t o n ,
 2.5776 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 1 8 )
        nature of the debtor's interest                                                                                                              NV 89040-9000

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ha r d w a r e & Va r i e t y, 7 0 6 Ca n y o n Rd , Bo u l d e r Ci t y, N V
 2.5777 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 3 3 )
                                                                                                                                                     89005-1844
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ha r d w a r e Ju n c o s Ll c , Ca r r 1 8 9 Km 1 2 . 7 Bo Ma m e y,
 2.5778 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 5 )
                                                                                                                                                     Ju n c o s , P R 0 0 7 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ha r d w a r e La s Pi e d r a s Ll c , Ca r r 1 9 8 Km 2 0 . 6 , Bo . Ar e n a s
 2.5779 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 7 )
                                                                                                                                                     Lo l Lo t e , La s Pi e d r a s , P R 0 0 7 7 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho m e Ha r d w a r e Tr u e Va l u e , 3 3 5 Cl e m e n t St , Sa n Fr a n c i s c o , C A
 2.5780 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 2 6 )
                                                                                                                                                     94118-2315
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Kr e a t i o n By Kk In c , 4 6 7 1 St a t e St , Mo n t c l a i r , C A 9 1 7 6 3
 2.5781 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Ma r t , Lp 3 6 Mi d w a y, El So c o r r o , Sa n Ju a n , Tr i n i d a d An d
 2.5782 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 0 )
                                                                                                                                                     To b a g o
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Nu r s e r y, 5 8 0 0 Nu r s e r y Ro a d , Al b e r s , I L 6 2 2 1 5
 2.5783 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/29/2022 - 12/31/9999

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Pr o d u c t s In t l - No r t h Am e r i c a , 4 5 0 1 W 4 7 Th St r e e t ,
 2.5784 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ch i c a g o , I L 6 0 6 3 2

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Pr o d u c t s In t l - No r t h Am e r i c a , 4 5 0 1 W 4 7 Th St r e e t ,
 2.5785 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ch i c a g o , I L 6 0 6 3 2
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Pr o d u c t s In t l - No r t h Am e r i c a , 4 5 0 1 W 4 7 Th St r e e t ,
 2.5786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ch i c a g o , I L 6 0 6 3 2
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e So l u t i o n s Un l i m i t e d , Ho m e So l u t i o n s , 5 2 0 Fa x o n Rd ,
 2.5787 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 9 )
                                                                                                                                                     No r w o o d Yo u n g Am e r i c a , M N 5 5 3 6 8 - 9 7 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho m e St o r e & Mo r e , 2 0 2 Sw Ke n t , Gr e e n f i e l d , I A 5 0 8 4 9 - 0 2 5 4
 2.5788 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e Wo r l d Bu i l d i n g Su p p l i e s Li m i t e d , Ho m e Wo r l d Bu i l d i n g
 2.5789 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 3 )
                                                                                                                                                     Su p p l i e s L, Hn o 7 Ea s t Le g o n , L A Ba w a l e s h i , Ac c r a , Gh a n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e c r a f t Tr u e Va l u e Bu i l d i n g Ce n t e r , Ho m e c r a f t Tr u e Va l u e ,
 2.5790 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 4 9 )
                                                                                                                                                     3 4 0 7 Li b r a r y Rd , Pi t t s b u r g h , PA 1 5 2 3 4 - 2 6 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e d i c s , 3 0 0 0 Po n t i a c Tr a i l , Co m m e r c e To w n s h , M I 4 8 3 9 0
 2.5791 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e f i r e s , 2 0 6 5 Pe a c h t r e e In d u s t r i a l Co u r , Su i t e 2 1 2 ,
 2.5792 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ch a m b l e e , G A 3 0 3 4 1
        nature of the debtor's interest
          State the term remaining                        05/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Bu i l d i n g Ce n t e r , N 6 3 4 4 St a t e Hw y 2 5 , Du r a n d , W I
 2.5793 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 1 )
                                                                                                                                                     54736-0010
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Ha r d w a r e , 2 4 Ma i n , Sc o b e y, M T 5 9 2 6 3 - 0 4 3 6
 2.5794 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Ha r d w a r e , 7 1 0 Ma i n St r e e t , Si s t e r s v i l l e , W V 2 6 1 7 5
 2.5795 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 1 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho m e t o w n Ha r d w a r e Gi l a Be n d , 2 1 9 W Pi m a Su i t e D, Gi l a
 2.5796 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 5 )
                                                                                                                                                     Be n d , A Z 8 5 3 3 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Ha r d w a r e Ha n k , 8 0 4 Ma i n St W, Ba u d e t t e , M N
 2.5797 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 8 3 )
                                                                                                                                                     56623-2484
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Tr u e Va l u e , 6 3 5 0 Jo e Fr a n k Ha r r i s Pk w y,
 2.5798 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 3 )
        nature of the debtor's interest                                                                                                              Ad a i r s v i l l e , G A 3 0 1 0 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e t o w n Tr u e Va l u e Ha r d w a r e , 3 1 7 W 2 n d St , Mi n n e a p o l i s ,
 2.5799 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 5 )
        nature of the debtor's interest                                                                                                              KS 67467-2313

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho m e w e r k s Wo r l d w i d e L L C, 5 5 Al b r e c h t Dr i v e , La k e Bl u f f , I L
 2.5800 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60044
        nature of the debtor's interest
          State the term remaining                        04/01/2020

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e w e r k s Wo r l d w i d e L L C, 5 5 Al b r e c h t Dr i v e , La k e Bl u f f , I L
 2.5801 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60044
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e w e r k s Wo r l d w i d e L L C, 5 5 Al b r e c h t Dr i v e , La k e Bl u f f , I L
 2.5802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     60044
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ho m e w o o d Nu r s e r y & Ga r d e n Ce n t e r H& g s , 1 0 8 0 9 Ho n e y c u t t
 2.5803 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 0 8 )
                                                                                                                                                     Ro a d , Ra l e i g h , N C 2 7 6 1 4 - 9 7 9 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho n e s d a l e Ag w a y, 3 5 Br o w n St r e e t , Ho n e s d a l e , PA 1 8 4 3 1 - 1 0 3 7
 2.5804 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 6 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5805 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60163
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60163

          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5807 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60163
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5808 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60163
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5809 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60163
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5810 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60163
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5811 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60163
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho n e y Ca n Do In t l In c , 5 3 0 0 St Ch a r l e s Rd , Be r k e l e y, I L
 2.5812 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60163
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ho n e y w e l l Sa f e t y Pr o d u c t s , 1 0 1 St a t i o n Dr , We s t w o o d , M A
 2.5813 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 02090

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o d Ri v e r Su p p l y, 1 9 9 5 1 2 t h St , Ho o d Ri v e r , O R 9 7 0 3 1 - 9 5 3 5
 2.5814 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 7 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o k e r Ha r d w a r e & Au t o , 1 1 6 E. Hw y. 5 4 , Ho o k e r , O K 7 3 9 4 5 -
 2.5815 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 5 1 )
                                                                                                                                                                 0007
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o k p i n Pr o d u c t s , 9 6 0 N Tu s t i n St , Su i t e 1 2 4 , Or a n g e , C A
 2.5816 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92867
        nature of the debtor's interest
          State the term remaining                        12/15/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ho o s a c Va l l e y Fa r m e r s ' Ex c h a n g e , 5 2 0 Ma d i g a n Ro a d ,
 2.5817 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 2 )
                                                                                                                                                                 Sc h a g h t i c o k e , N Y 1 2 1 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o s i c k Tr u e Va l u e Ha r d w a r e , 2 1 9 5 3 Ny 2 2 , Ho o s i c k Fa l l s , N Y
 2.5818 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 6 )
                                                                                                                                                                 12090-4444
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o t e r s Lu m b e r Tr u e Va l u e , 6 1 9 0 4 St a t e Hw y 2 8 , Ch o k i o , M N
 2.5819 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 8 3 )
                                                                                                                                                                 56221-3124
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho o v e r Tr u e Va l u e Hd w e , 5 0 0 E Po l k St , Bu r n e t , T X 7 8 6 1 1 -
 2.5820 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 9 9 )
                                                                                                                                                                 2613
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho o v e r s Ha t c h e r y Co m p a n y L L C, 2 0 5 Ch i c k a s a w St , Po Bo x
 2.5821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          2 0 0 , Ru d d , I A 5 0 4 7 1

          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5824 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5825 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5826 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5828 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5829 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g , 4 2 8 Pe y t o n , Em p o r i a , K S 6 6 8 0 1
 2.5830 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g / Be l l Au t o m o t i v e , 2 2 0 3 Ca m b r i d g e Hi l l Co u r t ,
 2.5831 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Da c u l a , G A 3 0 0 1 9
        nature of the debtor's interest
          State the term remaining                        02/26/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g / Be l l Au t o m o t i v e , 2 2 0 3 Ca m b r i d g e Hi l l Co u r t ,
 2.5832 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Da c u l a , G A 3 0 0 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p k i n s Mf g / Be l l Au t o m o t i v e , 2 2 0 3 Ca m b r i d g e Hi l l Co u r t ,
 2.5833 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Da c u l a , G A 3 0 0 1 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho p p e r t o p p e r In c , 2 5 W1 2 4 Wi n d h a m Hi l l Ct , Na p e r v i l l e , I L
 2.5834 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60540
        nature of the debtor's interest
          State the term remaining                        12/29/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ho r n e Lu m b e r Co & Tr u e Va l u e , 1 0 1 Us Ro u t e 5 2 N, We l c h ,
 2.5835 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 0 0 )
        nature of the debtor's interest                                                                                                                          WV 24801-2553

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho r n e t Ha r d w a r e , 3 0 5 Hw y 7 0 E, Ha z e n , A R 7 2 0 6 4 - 0 0 0 1
 2.5836 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r n u n g ' s Tr u e Va l u e , Ho r n u n g ` s Tr u e Va l u e , 3 8 1 1 Pe t e r s
 2.5837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 9 1 )
        nature of the debtor's interest                                                                                                                          Mo u n t a i n Rd , Ha l i f a x , PA 1 7 0 3 2 - 8 6 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r n u n g ' s Tr u e Va l u e , Ho r n u n g ` s Tr u e Va l u e , 1 0 0 0 Pe t e r s
 2.5838 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 5 8 )
                                                                                                                                                                 Mo u n t a i n Rd , Da u p h i n , PA 1 7 0 1 8 - 9 0 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r n u n g ' s Tr u e Va l u e Ha r d w a r e , Ho r n u n g ` s Tr u e Va l u e
 2.5839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 9 6 0 )
                                                                                                                                                                 Ha r d w a r e , 5 0 9 S 2 9 t h St , Ha r r i s b u r g , PA 1 7 1 0 4 - 2 1 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r n u n g ' s Tr u e Va l u e Hd w, Ho r n u n g ` s Tr u e Va l u e Hd w, 2 2 3 N
 2.5840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 8 3 )
                                                                                                                                                                 2 n d St r e e t , Ha r r i s b u r g , PA 1 7 1 0 1 - 1 4 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r s e m e n s Pr i d e , 1 0 0 0 8 St a t e Ro u t e 4 3 , St r e e t s b o r o , O H 4 4 2 4 1
 2.5841 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ho r s e m e n s Pr i d e , 1 0 0 0 8 St a t e Ro u t e 4 3 , St r e e t s b o r o , O H 4 4 2 4 1
 2.5842 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho r s e m e n s Pr i d e , 1 0 0 0 8 St a t e Ro u t e 4 3 , St r e e t s b o r o , O H 4 4 2 4 1
 2.5843 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho r s e m e n s Pr i d e , 1 0 0 0 8 St a t e Ro u t e 4 3 , St r e e t s b o r o , O H 4 4 2 4 1
 2.5844 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho r t o n ' s Tr u e Va l u e Ha r d w a r e , Ho r t o n ` s Tr u e Va l u e Ha r d w a r e ,
 2.5845 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 7 )
                                                                                                                                                                 3 0 3 Da l l a s St , Ch e t e k , W I 5 4 7 2 8 - 9 1 5 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho s l e y In t ' l , Ho s l e y In t e r n a t i o n a l , 2 0 5 3 0 S St o n y Is l a n d Av e ,
 2.5846 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ly n w o o d , I L 6 0 4 1 1
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ho s t / Ra c i n e In d u s t r i e s In c , Po Bo x 1 6 4 8 , 1 4 0 5 1 6 Th St r e e t ,
 2.5847 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra c i n e , W I 5 3 4 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho s t p a p a , In c . ( Ho s t o p i a ) , 5 0 6 3 No r t h Se r v i c e Ro a d ,
 2.5848 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ho s t Pa p a , In c . - We b h o s t i n g Se r v i c e s
                                                                                                                                                                 Bu r l i n g t o n , O N L7 L 5 H6 , Ca n a d a
        nature of the debtor's interest                   2024

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ho t He a d z o f Am e r i c a L L C, 2 8 5 2 Ve t e r a n s Hi g h w a y, Br i s t o l ,
 2.5849 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 9 0 0 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho t He a d z o f Am e r i c a L L C, 2 8 5 2 Ve t e r a n s Hi g h w a y, Br i s t o l ,
 2.5850 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 PA 1 9 0 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho t He a d z o f Am e r i c a L L C, 2 8 5 2 Ve t e r a n s Hi g h w a y, Br i s t o l ,
 2.5851 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 PA 1 9 0 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho t j a r , Dr a g o n a r a Bu s i n e s s Ce n t r e , 5 Th Fl o o r , , Pa c e v i l l e St
 2.5852 State what the contract or lease is for and the
                                                          So f t w a r e , Ho t j a r So f t w a r e Su p p o r t a n d Ma i n t e n a n c e Re n e w a l
        nature of the debtor's interest                   2023                                                                                                   Ju l i a n ' S, S T J 3 1 4 1 , Ma l t a

          State the term remaining                        11/08/2023 - 11/07/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ho u g h t o n Bu i l d i n g Su p p l y, 4 6 7 0 2 Hi g h w a y M2 6 , Ho u g h t o n , M I
 2.5853 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 0 )
                                                                                                                                                                 49931
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e Ce n t e r Tr u e Va l u e Hd w e , 4 8 8 Ma m a r o n e c k Av e , Wh i t e
 2.5854 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 8 6 )
                                                                                                                                                                 Pl a i n s , N Y 1 0 6 0 5 - 1 8 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e Ma r t , Th e Bo u l e v a r d Ri y a d h , Tu r k i Al Aw w, Ri y a d h ,
 2.5855 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 4 )
                                                                                                                                                                 Sa u d i Ar a b i a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e o f Fa r a In c , 4 7 4 7 W St a t e Ro a d 2 , Po Bo x 3 3 7 , La p o r t e ,
 2.5856 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IN 46350
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e h o l d Es s e n t i a l s , 6 0 0 0 Fr e e p o r t Av e n u e , Su i t e 1 0 1 ,
 2.5857 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Me m p h i s , T N 3 8 1 4 1

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e h o l d Es s e n t i a l s L L C, 6 0 0 0 Fr e e p o r t Av e n u e , Su i t e 1 0 1 ,
 2.5858 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Me m p h i s , T N 3 8 1 4 1

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e w o r k s Lt d , 2 3 8 8 Pl e s a n t d a l e Rd , At l a n t a , G A 3 0 3 4 0
 2.5859 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho u s e w o r k s Lt d , 2 3 8 8 Pl e s a n t d a l e Rd , At l a n t a , G A 3 0 3 4 0
 2.5860 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ho u s e w o r k s Lt d , 2 3 8 8 Pl e s a n t d a l e Rd , At l a n t a , G A 3 0 3 4 0
 2.5861 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w - d Ma r k e t , 1 0 2 6 9 Us 8 4 , Pr a i r e Hi l l , T X 7 6 6 7 8
 2.5862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Jo h n s o n s , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.5863 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Jo h n s o n s , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.5864 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Jo h n s o n s , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.5865 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Jo h n s o n s , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.5866 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Pr o d u c t s , 5 6 0 Li n n e Rd , Pa s o Ro b l e s , C A 9 3 4 4 6
 2.5867 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho w a r d Pr o d u c t s , 5 6 0 Li n n e Rd , Pa s o Ro b l e s , C A 9 3 4 4 6
 2.5868 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Pr o d u c t s , 5 6 0 Li n n e Rd , Pa s o Ro b l e s , C A 9 3 4 4 6
 2.5869 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Pr o d u c t s , 5 6 0 Li n n e Rd , Pa s o Ro b l e s , C A 9 3 4 4 6
 2.5870 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Pr o d u c t s , 5 6 0 Li n n e Rd , Pa s o Ro b l e s , C A 9 3 4 4 6
 2.5871 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Su p p l y Co m p a n y, 1 0 2 2 W Br o a d w a y, Ho b b s , N M
 2.5872 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 9 0 )
        nature of the debtor's interest                                                                                                                          88240-5531

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Su p p l y Co m p a n y, 1 7 4 5 So u t h Lo o p In t e r s t a t e ,
 2.5873 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 2 )
        nature of the debtor's interest                                                                                                                          In d u s t r i a l Pa r k , Ca s p e r , W Y 8 2 6 0 1 - 9 2 2 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Su p p l y Co m p a n y, 2 2 5 Ye l l o w s t o n e Rd , Ro c k Sp r i n g s ,
 2.5874 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 7 0 )
                                                                                                                                                                 WY 82901-2815
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho w a r d Su p p l y Co m p a n y, 3 5 0 S 8 0 0 E, Ve r n a l , U T 8 4 0 7 8 - 2 7 3 9
 2.5875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 3 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho w a r d Su p p l y Co m p a n y, 3 5 0 1 No r t h Si l l e c t Av e n u e - s t e C,
 2.5876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 9 8 5 )
                                                                                                                                                     Ba k e r s f i e l d , C A 9 3 3 0 8 - 6 3 5 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d Su p p l y Co m p a n y, 5 7 0 5 Fr o n t St W, Wi l l i s t o n , N D
 2.5877 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 4 )
                                                                                                                                                     58801-8602
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d Su p p l y Co m p a n y, 6 1 0 3 An d r e w s Hi g h w a y, Od e s s a , T X
 2.5878 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 6 8 )
                                                                                                                                                     79762-3651
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d Su p p l y Co m p a n y, 8 2 0 0 W Re n o , Ok l a h o m a Ci t y, O K
 2.5879 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 6 7 )
                                                                                                                                                     73127
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d Su p p l y Co m p a n y, 8 2 1 E Ma i n St , Fa r m i n g t o n , N M
 2.5880 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 7 5 )
        nature of the debtor's interest                                                                                                              87401-2717

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d Wa l k e r ' s Tr u e Va l u e , 2 0 1 S. Br i d g e St , He n r i e t t a , T X
 2.5881 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 9 )
        nature of the debtor's interest                                                                                                              76365

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d ' s Tr u e Va l u e , 4 2 3 8 W Be l l Rd , Gl e n d a l e , A Z 8 5 3 0 8 -
 2.5882 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 9 8 )
                                                                                                                                                     4030
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d ' s Tr u e Va l u e Ha r d w a r e , Ho w a r d ` s Tr u e Va l u e
 2.5883 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 7 0 )
                                                                                                                                                     Ha r d w a r e , 4 2 7 2 Mu n d y Mi l l Rd , Oa k w o o d , G A 3 0 5 6 6 - 2 5 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ho w a r d s Tr u e Va l u e Ha r d w a r e , 3 6 1 6 Bu f o r d Hw y, Du l u t h , G A
 2.5884 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 2 2 )
                                                                                                                                                     30096-3890
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d s Tr u e Va l u e Ha r d w a r e , 4 3 3 6 Co r n e l i a Hw y, Lu l a , G A
 2.5885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 5 )
                                                                                                                                                     30554-2514
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w a r d s Tr u e Va l u e Hd w e , Ho w a r d s Tr u e Va l u e Ha r d w a r e ,
 2.5886 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 4 8 )
                                                                                                                                                     6 8 8 4 Bu f o r d Ne , Do r a v i l l e , G A 3 0 3 4 0 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w e ' s Tr u e Va l u e , 1 5 5 6 0 Ro u t e 6 , Wa r r e n , PA 1 6 3 6 5 - 9 6 0 1
 2.5887 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 8 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w e l l Tr u e Va l u e Hd w e . , Ho w e l l Tr u e Va l u e Ha r d w a r e , 1 0 7 6 S
 2.5888 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 )
        nature of the debtor's interest                                                                                                              Mi c h i g a n Av e n u e , Ho w e l l , M I 4 8 8 4 3 - 2 6 7 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w e l l s Gl a s s Co . In c . , Ho w e l l s Gl a s s Co . , In c . , 1 1 4 S Qu e e n
 2.5889 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 9 5 )
                                                                                                                                                     St , La n c a s t e r , PA 1 7 6 0 3 - 5 3 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ho w e s Lu b r i c a t o r , 6 0 Oc e a n St a t e Dr , No r t h Ki n g s t o w n , R I
 2.5890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     02852
        nature of the debtor's interest
          State the term remaining                        08/10/2011

          List the contract number of any government
          contract
                                                                                                                                                     Ho w i e ' s Ha r d w a r e , 3 0 5 We s t Ma d i s o n St . , Wa t e r l o o , W I 5 3 5 9 4
 2.5891 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ho w l a n d ' s Bu i l d i n g Su p p l y, Ho w l a n d ` s Bu i l d i n g Su p p l y, 6 1 0
 2.5892 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 6 9 )
                                                                                                                                                                 1 1 t h St Hw y 5 1 , Li v e Oa k , F L 3 2 0 6 4 - 0 7 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ho y ' s Ha r d w a r e , Ho y ` s Ha r d w a r e , 3 0 6 1 Ma i n St r e e t , Sw e e t
 2.5893 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 0 7 )
                                                                                                                                                                 Ho m e , O R 9 7 3 8 6 - 3 0 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hp p In d u s t r i a l , 4 1 1 1 Br o w n s La n e , Lo u s i v i l l e , K Y 4 0 2 2 0
 2.5894 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ht s , 9 9 4 4 Fr a n k f o r t Hw y, Fo r t As h b y, W V 2 6 7 1 9 - 9 2 8 7
 2.5895 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu b b a r d s Ha r d w a r e , 2 0 5 Wa r n e r Ro a d Ne , St a p l e s , M N 5 6 4 7 9
 2.5896 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu b b e l l El e c t r i c a l Pr o d u c t s , 3 9 0 2 W Sa m p l e St , Po Bo x 4 0 0 2 ,
 2.5897 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 So u t h Be n d , I N 4 6 6 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu b b e l l - Ra c o , Hu b b e l l El e c t r i c a l Pr o d u c t s , 3 9 0 2 W Sa m p l e St ,
 2.5898 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 P. O. Bo x 4 0 0 2 , So u t h Be n d , I N 4 6 6 1 9
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Hu b e r En g i n e e r e d Wo o d s , 1 0 9 2 5 Da v i d Ta y l o r Dr i v e , On e
 2.5899 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Re s o u r c e Sq / Su i t e 3 0 0 , Ch a r l o t t e , N C 2 8 2 6 2
        nature of the debtor's interest
          State the term remaining                        12/24/2023 - 12/21/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hu d s o n Tr u e Va l u e Hd w. , 1 1 4 De r r y Ro a d , Hu d s o n , N H 0 3 0 5 1 -
 2.5900 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 1 1 )
                                                                                                                                                                 3709
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu d s o n , H D Mf g Co , 1 0 0 0 Fo r e m a n St , Lo w e l l , M I 4 9 3 3 1
 2.5901 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Hu d s o n , H D Mf g Co , 1 0 0 0 Fo r e m a n St , Lo w e l l , M I 4 9 3 3 1
 2.5902 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu d s o n , H D Mf g Co , 1 0 0 0 Fo r e m a n St , Lo w e l l , M I 4 9 3 3 1
 2.5903 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu e s t i s Fa r m Su p p l y, 3 8 7 7 Cr o w n Po i n t Rd , Br i d p o r t , V T
 2.5904 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 0 0 )
                                                                                                                                                                 05734-9451
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu f f m a n Tr u e Va l u e , 1 1 9 3 4 Fm 1 9 6 0 Rd , Hu f f m a n , T X 7 7 3 3 6 -
 2.5905 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 0 4 )
                                                                                                                                                                 4524
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu f f y Bi c y c l e s , 6 8 0 N La k e Sh o r e , Su i t e 1 2 1 4 , Ch i c a g o , I L
 2.5906 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60611
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Hu f f y Sp o r t s , Po Bo x 9 0 0 1 5 , Bo w l i n g Gr e e n , K Y 4 2 1 0 2
 2.5907 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hu g f u n In t l Ho n g k o n g Lt d , 1 8 / F, Gi n z a Sq u a r e , 5 6 5 - 5 6 7
 2.5908 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Na t h a n Ro a d , Mo n g k o k , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu g f u n In t l Ho n g k o n g Lt d , 1 8 / F, Gi n z a Sq u a r e , 5 6 5 - 5 6 7
 2.5909 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Na t h a n Ro a d , Mo n g k o k , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu g f u n In t l Ho n g k o n g Lt d , 1 8 / F, Gi n z a Sq u a r e , 5 6 5 - 5 6 7
 2.5910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Na t h a n Ro a d , Mo n g k o k , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu g f u n In t l Ho n g k o n g Lt d , 1 8 / F, Gi n z a Sq u a r e , 5 6 5 - 5 6 7
 2.5911 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Na t h a n Ro a d , Mo n g k o k , Ho n g Ko n g

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Hu h t a m a k i Re t a i l Bu s i n e s s , 9 2 0 1 Pa c k a g i n g Dr i v e , De s o t o , K S
 2.5912 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 66018
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Hu l b e r t Tr u e Va l u e Lu m b e r , 3 7 5 0 0 Ce d a r Bl v d , Ne w a r k , C A
 2.5913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 4 9 )
                                                                                                                                                                 94560-4136
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu m a c a o Ha r d w a r e In c , Ca r r. 1 9 8 Km 2 7 . 7 La s Le a n d r a s ,
 2.5914 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 1 )
                                                                                                                                                                 Hu m a c a o , P R 0 0 7 9 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu m a l f a L L C, 2 6 8 7 4 Cr 6 5 , Il i f f , C O 8 0 7 3 6
 2.5915 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Hu m e t r i c s Ho l d i n g , In c . , 2 2 2 Lo m b a r d y Dr i v e , Su g a r La n d , T X
 2.5916 State what the contract or lease is for and the   Tr a i n i n g Se r v i c e s , Sp e a k e r Se r v i c e s - Me l Kl e i m a n
                                                                                                                                                     77478
        nature of the debtor's interest
          State the term remaining                        03/15/2013

          List the contract number of any government
          contract
                                                                                                                                                     Hu m p h r e y s Fa r m In c , Po Bo x 5 8 0 0 , 4 7 1 5 Nw 1 5 7 Th St , Mi a m i
 2.5917 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     La k e s , F L 3 3 0 1 4
        nature of the debtor's interest
          State the term remaining                        01/06/2011

          List the contract number of any government
          contract
                                                                                                                                                     Hu n n u m a l l Li m i t e d Li a b i l i t y Co m p a n y, Hu n n u m a l l Li m i t e d
 2.5918 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 6 8 )
        nature of the debtor's interest                                                                                                              Li a b i l i t y Co , Na a d a m c h d i i n Za m , Kh o r o o 4 Kh a n - u u l Di s t r i c t ,
                                                                                                                                                     Ul a a n b a a t a r , Mo n g o l i a
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Hu n t ' s Ha r d w a r e , 2 0 5 E Ma i n St , Mi l l e r , M O 6 5 7 0 7 - 0 0 0 1
 2.5919 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 1 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Hu n t e r Co a t i n g s , 9 3 1 5 Mo n r o e Rd . Su i t e F, Ch a r l o t t e , N C
 2.5920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 7 )
                                                                                                                                                     28270
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Hu n t e r Fa n Co m p a n y, 7 1 3 0 Go o d l e t t Fa r m s Pa r k w a y, Su i t e 4 0 0 ,
 2.5921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Me m p h i s , T N 3 8 0 1 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Hu n t e r s Sp e c i a l t i e s , 6 0 0 0 Hu n t i n g t o n Ct Ne , Ce d a r Ra p i d s , I A
 2.5922 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     52402
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5923 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                                                     Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2018 - 10/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5924 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        11/01/2018 - 10/31/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5925 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5926 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5927 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5928 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5929 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        01/01/2019 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5930 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        01/01/2019 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5931 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        01/01/2019 - 12/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5932 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        01/01/2019 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5933 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        01/01/2019 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5934 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5935 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5936 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5937 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5938 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5939 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5940 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5941 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5942 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5943 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5944 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5945 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5946 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5947 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5948 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5949 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5950 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5951 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5952 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5953 State what the contract or lease is for and the   Le a s e , Eq u i p m e n t Le a s e
                                                                                                                           Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2
        nature of the debtor's interest
          State the term remaining                        05/09/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5954 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        02/01/2023 - 01/31/2026

          List the contract number of any government
          contract
                                                                                                                           Hu n t i n g t o n Te c h n o l o g y Fi n a n c e , In c . , 2 2 8 5 Fr a n k l i n Ro a d ,
 2.5955 State what the contract or lease is for and the
                                                          Le a s e , Eq u i p m e n t Le a s e
        nature of the debtor's interest                                                                                    Bl o o m f i e l d Hi l l s , M I 4 8 3 0 2

          State the term remaining                        02/01/2023 - 01/31/2026

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hu n t s v i l l e Lu m b e r , 3 0 2 Ha r r i s St , Hu n t s v i l l e , A R 7 2 7 4 0
 2.5956 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu p p Tr u e Va l u e Ha r d w a r e , 7 2 8 E Ha r r y St , Wi c h i t a , K S
 2.5957 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 7 5 )
                                                                                                                                                                 67211-4301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu r d s In c , 1 7 3 4 2 Ge n e r a l Pu l l e r Hw y, De l t a v i l l e , VA 2 3 0 4 3 -
 2.5958 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 0 7 )
                                                                                                                                                                 2316
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu s a Sm i d j a n Tr u e Va l u e , Su d a r v o g i 3 - 5 - 1 0 4 , Re y k j a v i k ,
 2.5959 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 0 8 )
                                                                                                                                                                 Ic e l a n d
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu s q v a r n a Co n s t r u c t i o n , 1 7 4 0 0 W 1 1 9 Th St , Ol a t h e , K S 6 6 0 6 1
 2.5960 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Hu s t o n Gr o u p , 7 0 5 Mo r a v i a St , Ne w Ca s t l e , PA 1 6 1 0 1 - 3 9 4 9
 2.5961 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 2 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hu t t o s Ho m e & Gd n Ct r In c H& g s , 1 3 2 0 El l i s Av e , Ja c k s o n ,
 2.5962 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 3 1 )
        nature of the debtor's interest                                                                                                                          MS 39204-2201

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - C Co m p a n y In c , 1 0 9 5 0 Li n p a g e Pl a c e , St Lo u i s , M O 6 3 1 3 2
 2.5963 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 746 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hy - C Co m p a n y In c , 1 0 9 5 0 Li n p a g e Pl a c e , St Lo u i s , M O 6 3 1 3 2
 2.5964 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Hy - C Co m p a n y In c , 1 0 9 5 0 Li n p a g e Pl a c e , St Lo u i s , M O 6 3 1 3 2
 2.5965 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5966 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5967 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5968 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5970 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5971 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5972 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5973 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5974 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5975 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5976 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5977 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Hy - Ko Pr o d Co , 6 0 Me a d o w La n e , No r t h f i e l d , O H 4 4 0 6 7
 2.5978 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Hy - k o Tr u e Va l u e Ha r d w a r e , 1 9 0 8 In d u s t r i a l Ci r c l e , Sa l t La k e
 2.5979 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 4 )
                                                                                                                                                                 Ci t y, U T 8 4 1 0 4 - 4 2 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 748 of 1687
Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Hy - Te k In t r a l o g i s t i c s , 3 9 De l l Ma n o r Dr i v e , Br i s t o l , C T 0 6 0 1 0
 2.5980 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Hy - Te k Co n v e y o r Sy s t e m Su p p o r t a n d
        nature of the debtor's interest                   Ma i n t e n a n c e 2 0 2 4 - Wi l k e s Ba r r e

          State the term remaining                        07/01/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                                         Hy a n n i s Co u n t r y Ga r d e n , Co u n t r y Ga r d e n H& g s , 3 8 0 W Ma i n
 2.5981 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 7 6 0 )
                                                                                                                                                         St , Hy a n n i s , M A 0 2 6 0 1 - 3 6 9 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Hy a t t Tr u e Va l u e Bl d g Su p p l y, Hy a t t Tr u e Va l u e , 2 6 2 0 0 Ri d g e
 2.5982 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 6 6 )
                                                                                                                                                         Rd , Da m a s c u s , M D 2 0 8 7 2 - 1 8 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Hy b r i d Li g h t , 5 6 6 No r t h Di x i e Dr i v e , St Ge o r g e , U T 8 4 7 7 0
 2.5983 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                         Hy d a w a y L L C, Po Bo x 1 8 3 2 , Be n d , O R 9 7 7 0 9
 2.5984 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2018

          List the contract number of any government
          contract
                                                                                                                                                         Hy d e Br o t h e r s Tr u e Va l u e Hd w. , 8 6 1 S St a t e St , Cl a r k s d a l e , M S
 2.5985 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 6 3 7 )
        nature of the debtor's interest                                                                                                                  38614-4803

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5986 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                         Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5987 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5988 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5989 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5990 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5991 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5992 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Hy d e To o l s , 5 4 Ea s t f o r d Rd , So u t h b r i d g e , M A 0 1 5 5 0
 2.5993 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Hy d r a p a k , L L C, 2 6 0 5 Tr a d e Ce n t e r Av e , Su i t e D, Lo n g m o n t ,
 2.5994 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CO 80503
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Hy d r a p a k , L L C, 2 6 0 5 Tr a d e Ce n t e r Av e , Su i t e D, Lo n g m o n t ,
 2.5995 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 CO 80503
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Hy d r o f a r m , 1 3 0 4 So u t h p o i n t Bl v d , St e 2 0 0 , Pe t a l u m a , C A
 2.5996 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 94954
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d r o f a r m , 1 3 0 4 So u t h p o i n t Bl v d , St e 2 0 0 , Pe t a l u m a , C A
 2.5997 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 94954
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Hy d r o f a r m , 1 3 0 4 So u t h p o i n t Bl v d , St e 2 0 0 , Pe t a l u m a , C A
 2.5998 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 94954
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Hy d r o s p i k e In c , 8 Ch a t h a m La n e , Oa k Br o o k , I L 6 0 5 2 3
 2.5999 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/11/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Hy l a n d So f t w a r e , L L C ( Pe r c e p t i v e ) , 2 8 5 0 0 Cl e m e n s Rd . ,
 2.6000 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Hy l a n d - M S A
        nature of the debtor's interest                                                                                                                          We s t l a k e , O H 4 4 1 4 5

          State the term remaining                        11/01/2024 - 10/31/2029

          List the contract number of any government
          contract
                                                                                                                                                                 Hy l a n d So f t w a r e , L L C ( Pe r c e p t i v e ) , 2 8 5 0 0 Cl e m e n s Rd . ,
 2.6001 State what the contract or lease is for and the
                                                          Ho s t i n g , Hy l a n d ( Pe r c e p t i v e ) So f t w a r e Li c e n s e Ma i n t e n a n c e
                                                          a n d Ho s t i n g                                                                                     We s t l a k e , O H 4 4 1 4 5
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Hy s h a m Ha r d w a r e & Ag Su p p l y, 2 2 4 El l i o t Av e , Hy s h a m , M T
 2.6002 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 9 )
                                                                                                                                                                 59038-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 I C - Ad v a n t a g e , In c . , I C - Ad v a n t a g e In c . , 2 5 0 0 Ma i n St r e e t ,
 2.6003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 0 8 )
                                                                                                                                                                 Su i t e 2 1 0 , Te w k s b u r y, M A 0 1 8 7 6 - 3 1 8 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                I Mu s t Ga r d e n L L C, 1 5 0 0 Ga r n e r Rd , Su i t e D, Ra l e i g h , N C
 2.6004 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                27610
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                I S Sm i c k Lu m b e r , Rt e 4 9 & Co t t a g e Av e , Qu i n t o n , N J 0 8 0 7 2 -
 2.6005 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 3 6 )
                                                                                                                                                                0127
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6006 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , Ma s t e r Ag r e e m e n t f o r I B M p u r c h a s e s o f g o o d s
        nature of the debtor's interest                   or services

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6007 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Sc h e d u l e f o r Se r v i c e El i t e Ha r d w a r e
        nature of the debtor's interest                   Re n e w a l

          State the term remaining                        01/01/2022 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6008 State what the contract or lease is for and the
                                                          So f t w a r e , I B M Se c u r i t y Pr i v i l e g e Ac c e s s Mg m t Sa a S 2 0 2 2
        nature of the debtor's interest
          State the term remaining                        10/01/2022 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6009 State what the contract or lease is for and the
                                                          So f t w a r e , I B M Su p p l y Ch a i n Bu s i n e s s Ne t w o r k Sa a S b a s e
        nature of the debtor's interest                   An n u a l Re n e w a l

          State the term remaining                        10/01/2022 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6010 State what the contract or lease is for and the
                                                          So f t w a r e , I B M Pa s s p o r t Ad v a n t a g e Ag r e e m e n t I PA A Sp e c i a l
        nature of the debtor's interest                   Te r m s Ad d e n d u m

          State the term remaining                        12/18/2018 - 01/27/2019

          List the contract number of any government
          contract
                                                                                                                                                                Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6011 State what the contract or lease is for and the   So f t w a r e , I B M P C R0 9 S S Cl o u d Ma n a g e d Se r v i c e o n Zs y s t e m s -
        nature of the debtor's interest                   Ad d i t i o n o f 1 4 M S Us

          State the term remaining                        11/04/2019 - 11/03/2024

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                           Page 752 of 1687
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6012 State what the contract or lease is for and the   So f t w a r e , I B M So f t w a r e Su b s c r i p t i o n & Su p p o r t An n u a l
        nature of the debtor's interest                   Re n e w a l 2 0 2 4

          State the term remaining                        07/01/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                                     Ib m Co r p . , 7 1 S. Wa c k e r Dr. , Ch i c a g o , I L 6 0 6 0 6 - 4 6 3 7
 2.6013 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , I B M Ma s t e r Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        07/18/2002 - 01/29/2029

          List the contract number of any government
          contract
                                                                                                                                                     Ic o n Ey e w e a r In c , 5 Em p i r e Bl v d , So u t h Ha c k e n s a c k , N J 0 7 6 0 6
 2.6014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ic o n e x , 3 2 3 7 Sa t e l l i t e Bl v d Su i t e 5 5 0 , Du l u t h , G A 3 0 0 9 7
 2.6015 State what the contract or lease is for and the
                                                          Am e n d m e n t , Ic o n e x St o r e Su p p l i e s Ex t e n s i o n Am e n d m e n t
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ic o n e x L L C, Ic o n e x , 3 2 3 7 Sa t e l l i t e Bl v d Su i t e 5 5 0 , Du l u t h , G A
 2.6016 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     30097
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ic s Bl o u n t In c . , 4 9 0 9 Se In t e r n a t i o n a l Wa y, Po r t l a n d , O R
 2.6017 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     97222
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ic s / Bl o u n t In c . , Po Bo x 2 2 1 2 7 , 4 9 0 9 Se In t e r n a t i o n a l Wa y,
 2.6018 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Po r t l a n d , O R 9 7 2 6 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Id a h o Mi n i n g Ap p a r e l , 8 0 5 Mu l l a n Av e n u e , Os b u r n , I D 8 3 8 4 9 -
 2.6019 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 4 6 )
                                                                                                                                                     1234
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                   Page 753 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Id a h o Mi n i n g Ap p a r e l , 8 0 5 Mu l l a n Av e n u e , Os b u r n , I D 8 3 8 4 9 -
 2.6020 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 0 )
                                                                                                                                                     1234
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Id e Di s t r i b u t o r s Co r p , Ca r r. 1 7 5 In t e r s e c c i o n 8 4 5 Km 4 . 8 ,
 2.6021 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 4 )
                                                                                                                                                     Ca m i n o Pa b l o Or t i z Bo . Ca r r a i z o , Tr u j i l l o Al t o , P R 0 0 9 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Id e a Fa c t o r y, N5 6 W1 6 8 6 5 Ri d g e w o o d Dr , Su i t e 2 0 0 ,
 2.6022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Me n o m o n e e Fa l l s , W I 5 3 0 5 1

          State the term remaining                        02/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Id e a Vi l l a g e Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.6023 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Id e a l Cl a m p Pr o d u c t s , 8 1 0 0 Tr i d o n Dr , Sm y r n a , T N 3 7 1 6 7
 2.6024 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Id e a l Cl a m p Pr o d u c t s , 8 1 0 0 Tr i d o n Dr , Sm y r n a , T N 3 7 1 6 7
 2.6025 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Id e a l Ha r d w a r e , 6 6 3 1 Fr o n t St , Fo r e s t v i l l e , C A 9 5 4 3 6 - 9 6 8 9
 2.6026 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Id e a l Tr u e Va l u e Ho m e Ce n t e r , 5 1 2 Ad e l a Av e , Lu d l o w, K Y
 2.6027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 0 4 )
                                                                                                                                                     41016-1301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Id e a t i v e Pr o d u c t Ve n t u r e s In c , 1 8 4 6 Ro s e m e a d e Pr a w y,
 2.6028 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca r r o l l t o n , T X 7 5 0 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Id e o l o g y, 3 3 2 3 St a r s Co v e , Kn o x v i l l e , T N 3 7 9 3 1
 2.6029 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Id e v i c e s L L C, Id e v i c e s L L C, 5 0 To w e r La n e , Su i t e 1 , Av o n , C T
 2.6030 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          06001

          State the term remaining                        04/26/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Id l To o l In t ' l , Id l To o l In t e r n a t i o n a l , 3 0 Bo r i g h t Av e n u e ,
 2.6031 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ke n i l w o r t h , N J 0 7 0 3 3
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Id l To o l In t ' l , Id l To o l In t e r n a t i o n a l , 3 0 Bo r i g h t Av e n u e ,
 2.6032 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke n i l w o r t h , N J 0 7 0 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Id l To o l In t ' l , Id l To o l In t e r n a t i o n a l , 3 0 Bo r i g h t Av e n u e ,
 2.6033 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke n i l w o r t h , N J 0 7 0 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ig h In c / Ga r d e n e r s Su p p l y Co , 1 3 0 In t e r v a l e Rd , Bu r l i n g t o n , V T
 2.6034 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 05401
        nature of the debtor's interest
          State the term remaining                        06/18/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ig l o o Co r p o r a t i o n , 7 7 7 Ig o o Ro a d , Ka t y, T X 7 7 4 9 4
 2.6035 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ig l o o Co r p o r a t i o n , 7 7 7 Ig o o Ro a d , Ka t y, T X 7 7 4 9 4
 2.6036 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 01/10/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ig l o o Co r p o r a t i o n , 7 7 7 Ig o o Ro a d , Ka t y, T X 7 7 4 9 4
 2.6037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ig l o o Co r p o r a t i o n , 7 7 7 Ig o o Ro a d , Ka t y, T X 7 7 4 9 4
 2.6038 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ig n i t e En t e r p r i s e So f t w a r e So l u t i o n s , L L C, 2 0 2 8 E Be n Wh i t e
 2.6039 State what the contract or lease is for and the
                                                          So f t w a r e , Ig n i t e En t e r p r i s e So f t w a r e So l u t i o n s ( Ig n i t e Te c h )
                                                          D N N Ev o q Li c e n s e Re n e w a l 2 0 2 4                                                         Bl v d , Su i t e 2 4 0 - 2 6 5 0 , Au s t i n , T X 7 8 7 4 1
        nature of the debtor's interest
          State the term remaining                        07/08/1939 - 10/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ig n i t e Us a , Ig n i t e Us a - Im p o r t , 9 5 4 W Wa s h i n g t o n , Mc 3 7 , 7 Th
 2.6040 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fl , Ch i c a g o , I L 6 0 6 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ig o In c , 1 7 8 0 0 N Pe r i m e t e r Dr , Su i t e 2 0 0 , Sc o t t s d a l e , A Z
 2.6041 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85255
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ih i Co m p a c t Ex c a v a t o r Sa l e s , 4 0 0 Pr o d u c t i o n Co u r t ,
 2.6042 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 El i z a b e t h t o w n , K Y 4 2 7 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Il i o n Tr u e Va l u e Hd w. , 3 9 W Cl a r k St , Il i o n , N Y 1 3 3 5 7 - 1 1 0 1
 2.6043 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Il l i n o i s Un i o n In s u r a n c e Co m p a n y, 5 2 5 We s t Mo n r o e St r e e t ,
 2.6044 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   G7 4 3 7 4 8 0 3 0 0 1                                                                                 Su i t e 4 0 0 , Ch i c a g o , I L L I N O I S 6 0 6 6 1

          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Il l u m i c o r In c , 3 1 3 Su p e r t e s t Rd , To r o n t o , O N M3 J 2 M4 ,
 2.6045 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        02/18/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Il s c o , 4 7 0 1 Cr e e k Ro a d Su i t e 1 1 0 , Ci n c i n n a t i , O H 4 5 2 4 2
 2.6046 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n In t ' l In c , Im a g i n a t i o n In t e r n a t i o n a l In c , 2 6 4 5
 2.6047 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su z a n n e Wa y, Su i t e 1 - F, Eu g e n e , O R 9 7 4 0 8
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6048 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 61523
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6049 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 61523
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6050 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 61523
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6051 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 61523

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6052 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 61523

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6053 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 61523

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im a g i n a t i o n Pr o d u c t s Co r p , 2 1 6 W Pi n e St , Ch i l l i c o t h e , I L
 2.6054 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 61523
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Im m Gr o u p In c , 7 3 0 1 Wa s h i n g t o n Av e S, Ed i n a , M N 5 5 4 3 9
 2.6055 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t In n o v a t i o n - Im p o r t , 2 2 3 Se Fi r s t Av e n u e , Po Bo x 5 5 0 ,
 2.6056 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cl a r a Ci t y, M N 5 6 2 2 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t In n o v a t i o n - Im p o r t , 2 2 3 Se Fi r s t Av e n u e , Po Bo x 5 5 0 ,
 2.6057 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Cl a r a Ci t y, M N 5 6 2 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t In n o v a t i o n - Im p o r t , 2 2 3 Se Fi r s t Av e n u e , Po Bo x 5 5 0 ,
 2.6058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Cl a r a Ci t y, M N 5 6 2 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t In n o v a t i o n s , 2 2 3 Se 1 St Av e n u e , Po Bo x 5 5 0 , Cl a r a
 2.6059 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ci t y, M N 5 6 2 2 2

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im p a c t In n o v a t i o n s In c , Po Bo x 5 5 0 , 2 2 3 Se 1 St Av e , Cl a r a
 2.6060 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ci t y, M N 5 6 2 2 2

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t Ou t s o u r c i n g So l u t i o n s , 3 0 0 Wi l s o n Ro a d , Bu i l d i n g 8 0 0 ,
 2.6061 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Im p a c t Ou t s o u r c i n g So l u t i o n s
                                                          Ma n a g e d Se r v i c e Ag r e e m e n t s                                                           Gr i f f i n , G A 3 0 2 2 3
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 02/28/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t Pr o d u c t s In c , 2 8 4 0 Ce n t e n n i a l Rd , To l e d o , O H 4 3 6 1 7
 2.6062 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t Pr o d u c t s In c , 2 8 4 0 Ce n t e n n i a l Rd , To l e d o , O H 4 3 6 1 7
 2.6063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t Pr o d u c t s In c , 2 8 4 0 Ce n t e n n i a l Rd , To l e d o , O H 4 3 6 1 7
 2.6064 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Im p a c t Pr o d u c t s In c , 2 8 4 0 Ce n t e n n i a l Rd , To l e d o , O H 4 3 6 1 7
 2.6065 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Ag w a y, 4 0 0 Ma i n St , Im p e r i a l , PA 1 5 1 2 6
 2.6066 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Bl a d e s L L C, 4 5 0 Pr o g r e s s Wa y, Su n Pr a i r i e , W I
 2.6067 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 53590

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im p e r i a l Bl a d e s L L C, 4 5 0 Pr o g r e s s Wa y, Su n Pr a i r i e , W I
 2.6068 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53590

          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Ma r b l e Co r p , 3 2 5 E La s a l l e St r e e t , So m o n a u k , I L
 2.6069 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60552
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Mf g Gr o u p Us a In c , 1 4 5 0 Di s c o v e r y Pa r k w a y, Al t o n ,
 2.6070 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IL 62002
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Mf g Gr o u p Us a In c , 1 4 5 0 Di s c o v e r y Pa r k w a y, Al t o n ,
 2.6071 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 62002
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Mf g Gr o u p Us a In c , 1 4 5 0 Di s c o v e r y Pa r k w a y, Al t o n ,
 2.6072 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 62002
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Mf g Gr o u p Us a In c , 1 4 5 0 Di s c o v e r y Pa r k w a y, Al t o n ,
 2.6073 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 62002

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p e r i a l Mf g Gr o u p Us a In c , 1 4 5 0 Di s c o v e r y Pa r k w a y, Al t o n ,
 2.6074 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 62002

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Im p l u s Fo o t c a r e - Ya k t r a k Di v, 2 0 0 1 T W Al e x a n d e r Dr ,
 2.6075 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Du r h a m , N C 2 7 7 0 4
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im p l u s Fo o t c a r e - Ya k t r a k Di v, 2 0 0 1 T W Al e x a n d e r Dr ,
 2.6076 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Du r h a m , N C 2 7 7 0 4
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Im p l u s Fo o t c a r e - Ya k t r a k Di v, 2 0 0 1 T W Al e x a n d e r Dr ,
 2.6077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Du r h a m , N C 2 7 7 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o , Im p o r t a d o r a Co m e r c i a l El
 2.6078 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 4 6 )
                                                                                                                                                                 Hi e r r , El i a Li u t Y Ca l l e Vi e j a , Cu e n c a , Ec u a d o r
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6079 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 3 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Vi c t o r i a De l Po r t e t e S/ n Y Tr a t a d o , D E
        nature of the debtor's interest
                                                                                                                                                                 Gi r o n . Pa r r o q u i a Ma c h a n g a r a , Cu e n c a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6080 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 8 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Vi a Gi r o n Pa s a j e S/ n . Se c t o r Y De , L A
        nature of the debtor's interest
                                                                                                                                                                 Un i o n . Pa r r o q u i a Ab d o n Ca l d e r o n , Sa n t a Is a b e l , Pu e r t o Ri c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6081 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 7 )
        nature of the debtor's interest                                                                                                                          Co m e r c i a l El Hi e r r , Pa n a m e r i c a n a Su r S/ n ; Se c t o r Hu a c h i , El
                                                                                                                                                                 Be l e n Km 7 . Pa r r o q Hu a c h i Ch i c o , Am b a t o , Ph i l i p p i n e s
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6082 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 1 )
        nature of the debtor's interest                                                                                                                          Co m e r c i a l El Hi e r r , Jo s e Vi c t o r Iz q u i e r d o S/ n Y Ni c o l a s ,
                                                                                                                                                                 Va s q u e z . Ba r r i o Li n t u r. Pa r r Pa u t e , Pa u t e
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6083 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 6 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Ja i m e Ro l d o s S/ n Y Av. Hu a y n a Ca p a c ,
        nature of the debtor's interest
                                                                                                                                                                 Pa r r o q u i a Gu a l a c e o , Gu a l a c e o , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6084 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 8 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Hu a y n a Ca p a c 1 - 7 6 Y Pi o Br a v o , Ba r r i o El
        nature of the debtor's interest
                                                                                                                                                                 Ve c i n o , Cu e n c a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6085 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 5 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Ca l l e Lu i s Ri v a s S/ n Y Pa j o n a l Y, Ar i z a g a .
        nature of the debtor's interest
                                                                                                                                                                 Pa r r o q u i a Ma c h a l a , Ma c h a l a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6086 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 2 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Ca l l e Gu a y a q u i l S/ n Y Or i l l a s De l ,
        nature of the debtor's interest
                                                                                                                                                                 Za m o r a . Pa r r o q u i a Sa n Se b a s t i a n , Lo j a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6087 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 9 )
                                                                                                                                                                 Co m e r c i a l El Hi e r r , Ca l l e El i a Li u t S/ n Y Ca l l e Vi e j a ,
        nature of the debtor's interest
                                                                                                                                                                 Pa r r o q u i a El Ve c i n o , Cu e n c a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6088 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 0 )
        nature of the debtor's interest                                                                                                                          Co m e r c i a l El Hi e r r , Av. Re m i g i o Cr e s p o S/ n Y Av e De La s ,
                                                                                                                                                                 Am e r i c a s . Pa r r o q u i a El Ba t a n , Cu e n c a , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p o r t a d o r a Co m e r c i a l El Hi e r r o Ci a . Lt d a . , Im p o r t a d o r a
 2.6089 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 7 4 )
        nature of the debtor's interest                                                                                                                          Co m e r c i a l El Hi e r r , An d r e s F Co r d o v a S/ n Y Co m a n d a n t e , Ch e
                                                                                                                                                                 Gu e v a r a . Pa r r o q u i a Az o g u e s , Az o g u e s , Ec u a d o r
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im p r i v a t a , 4 8 0 To t t e n Po n d Ro a d , 6 Th Fl o o r , Wa l t h a m , M A
 2.6090 State what the contract or lease is for and the
                                                          So f t w a r e , Im p r i v a t a ( Se c u r e Li n k En t e r p r i s e ) - An n u a l Li c e n s e
                                                          Su b s c r i p t i o n Re n e w a l 2 0 2 4                                                            02451
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Im s Tr a d i n g Co r p , 3 4 Pa s s a i c St , Wo o d Ri d g e , N J 0 7 0 7 5
 2.6091 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Im s Tr a d i n g Co r p , 3 4 Pa s s a i c St , Wo o d Ri d g e , N J 0 7 0 7 5
 2.6092 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im s Tr a d i n g Co r p , 3 4 Pa s s a i c St , Wo o d Ri d g e , N J 0 7 0 7 5
 2.6093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Im u s a Us a , L L C, 6 0 0 0 Nw 9 7 Av e , Un i t 2 6 , Do r a l , F L 3 3 1 7 8
 2.6094 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Im u s a Us a , L L C, 6 0 0 0 Nw 9 7 Av e , Un i t 2 6 , Do r a l , F L 3 3 1 7 8
 2.6095 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 In A Bi n d , 1 3 0 1 4 Co p p e r m i n e Rd , Un i o n Br i d g e , M D 2 1 7 9 1
 2.6096 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/24/2010

          List the contract number of any government
          contract
                                                                                                                                                                 In - Si n k - Er a t o r / Ma s t e r p l u m b e r , 1 8 7 5 Gr e e n l e a f Av e , El k Gr o v e
 2.6097 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Vl g , I L 6 0 0 0 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In - Si n k - Er a t o r / Ma s t e r p l u m b e r , 1 8 7 5 Gr e e n l e a f Av e , El k Gr o v e
 2.6098 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Vl g , I L 6 0 0 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 In - Si n k - Er a t o r / Ma s t e r p l u m b e r , 1 8 7 5 Gr e e n l e a f Av e , El k Gr o v e
 2.6099 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Vl g , I L 6 0 0 0 7
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2028

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In - Si n k - Er a t o r / Ma s t e r p l u m b e r , 1 8 7 5 Gr e e n l e a f Av e , El k Gr o v e
 2.6100 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Vl g , I L 6 0 0 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In - Si n k - Er a t o r / Ma s t e r p l u m b e r , 1 8 7 5 Gr e e n l e a f Av e , El k Gr o v e
 2.6101 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Vl g , I L 6 0 0 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In d a c o Mf g Lt d , 8 1 3 Br o c k Rd , Un i t 1 0 , Pi c k e r i n g , O N L1 W
 2.6102 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 3 L8 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In d e e d , In c . , In d e e d To w e r 2 0 0 We s t 6 Th St r e e t , Fl o o r 3 6 ,
 2.6103 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , In d e e d , In c - Te r m s o f Se r v i c e
                                                                                                                                                                 Au s t i n , T X 7 8 7 0 1
        nature of the debtor's interest
          State the term remaining                        07/31/2024 - 07/31/2029

          List the contract number of any government
          contract
                                                                                                                                                                 In d e e d , In c . , In d e e d To w e r 2 0 0 We s t 6 Th St r e e t , Fl o o r 3 6 ,
 2.6104 State what the contract or lease is for and the
                                                          Or d e r Fo r m , In d e e d , In c - Sm a r t So u r c i n g Su b s c r i p t i o n
        nature of the debtor's interest                                                                                                                          Au s t i n , T X 7 8 7 0 1

          State the term remaining                        07/31/2024 - 07/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In d e p e n d e n c e Tr u e Va l u e Hm Ct r , 1 5 4 3 Ro u t e 7 3 9 , Di n g m a n s
 2.6105 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 2 2 )
                                                                                                                                                                 Fe r r y, PA 1 8 3 2 8 - 3 4 8 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In d e p e n d e n t Ha r d w a r e In d u s e r v e Su p p l y, In d e p e n d e n t Hd w e , 1 4
 2.6106 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 3 9 )
                                                                                                                                                                 S Fr o n t St , Ph i l a d e l p h i a , PA 1 9 1 0 6 - 3 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In d i a n Hi l l Tr a d i n g Po s t , 1 4 8 Mo o s e h e a d La k e Rd , Gr e e n v i l l e ,
 2.6107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 3 2 )
                                                                                                                                                                 ME 04441-3608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     In d i a n Ri v e r Au t o Pa r t s & Ha r d w a r e , 5 7 3 1 M 6 8 Hw y, In d i a n
 2.6108 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 4 )
                                                                                                                                                     Ri v e r , M I 4 9 7 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     In d u s c o , 1 2 0 0 W Ha m b u r g St , Ba l t i m o r e , M D 2 1 2 3 0
 2.6109 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     In d u s e r v e Su p p l y, 2 1 1 3 Ma i n St , Ha r t f o r d , C T 0 6 1 2 0 - 2 3 1 6
 2.6110 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 3 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     In d u s t r i a l Ga s e s In c . , Ma l a l o a Vi l l a g e , Pa g o Pa g o , A S
 2.6111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 7 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     In d u s t r i a l Ha r d w a r e , 2 1 0 2 Ke l l e y Co u r t , Pi t t s b u r g , C A 9 4 5 6 5 -
 2.6112 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 6 8 )
        nature of the debtor's interest                                                                                                              5042

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     In d u s t r i a l Ma t e r i a l s Co r p , 7 7 0 1 Ha r b o r s i d e Dr i v e , Ga l v e s t o n ,
 2.6113 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     TX 77554
        nature of the debtor's interest
          State the term remaining                        04/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     In d u s t r i a l Se r v i c e & Su p p l y, 1 2 1 2 W Li n c o l n Rd , Vi l l e Pl a t t e ,
 2.6114 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 8 )
                                                                                                                                                     LA 70586-3050
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     In f i n i t i Cl e a n i n g So l u t i o n s L L C, In f i n i t i Cl e a n i n g So l u t i o n s
 2.6115 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     L L C, 1 Tr i n i t y La n e , Su i t e B, 2 Nd Fl o o r , Mo u n t Ho l l y, N J
        nature of the debtor's interest
                                                                                                                                                     08060
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In f i n i t y La w n & Ga r d e n , Po Bo x 1 5 5 3 , Mi l a n , I L 6 1 2 6 4
 2.6116 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In f l a t a b l e Re s o u r c e s ( Sp a c e w a l k ) , 4 5 0 3 1 St St r e e t , Ke n n e r , L A
 2.6117 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 70065
        nature of the debtor's interest
          State the term remaining                        07/28/2010

          List the contract number of any government
          contract
                                                                                                                                                                 In f o r , 1 3 5 6 0 Mo r r i s Rd . , Su i t e 4 1 0 0 , Al p h a r e t t a , G A 3 0 0 0 4
 2.6118 State what the contract or lease is for and the   So f t w a r e , In f o r - Qm a s t e r Ou t p u t Ma n a g e r Re n e w a l 2 0 2 3 -
        nature of the debtor's interest                   W M S / A D S f o r R D Cs

          State the term remaining                        11/30/2023 - 11/29/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In f o r , 1 3 5 6 0 Mo r r i s Rd . , Su i t e 4 1 0 0 , Al p h a r e t t a , G A 3 0 0 0 4
 2.6119 State what the contract or lease is for and the
                                                          So f t w a r e , In f o r - Qm a s t e r Ou t p u t Ma n a g e r Re n e w a l W M S/ A D S
        nature of the debtor's interest                   f o r R D Cs 2 0 2 4

          State the term remaining                        11/30/2024 - 11/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In f o r , 1 3 5 6 0 Mo r r i s Rd . , Su i t e 4 1 0 0 , Al p h a r e t t a , G A 3 0 0 0 4
 2.6120 State what the contract or lease is for and the
                                                          So f t w a r e , In f o r A D D E N D U M Re i n s t a t e m e n t o f E D I M Mo d u l e
        nature of the debtor's interest                   f o r Ca r y 4 t h Sh i f t

          State the term remaining                        08/01/2021 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In f o r a L L C, 4 4 Am i t y Rd , Wa r w i c k , N Y 1 0 9 9 0
 2.6121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In g e r s o l l Ra n d , 1 2 0 9 Po i n t e Pl a c e , Ol d Hi c k o r y, T N 3 7 1 3 8
 2.6122 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In g e r s o l l Ra n d , 1 2 0 9 Po i n t e Pl a c e , Ol d Hi c k o r y, T N 3 7 1 3 8
 2.6123 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In g l e s i d e Pl a n t a t i o n Nu r s e r i e s In c , 5 8 7 0 Le e d s t o w n Rd , Oa k
 2.6124 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr o v e , VA 2 2 4 4 3
        nature of the debtor's interest
          State the term remaining                        03/18/2009

          List the contract number of any government
          contract
                                                                                                                                                                 In g l e w o o d Tr u e Va l u e Hd w. & s u p p l y, In g l e w o o d Tr u e Va l u e
 2.6125 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 5 5 )
                                                                                                                                                                 Hd w & Su p p l y, 1 0 6 0 0 Ha w t h o r n e Bl v d , Le n n o x , C A 9 0 3 0 4 -
        nature of the debtor's interest
                                                                                                                                                                 1910
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In k ' D Gr e e t i n g In c , 4 3 2 7 N 5 7 Th Pl a c e , Ph o e n i x , A Z 8 5 0 1 8
 2.6126 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In l i n e El e c t r i c Su p p l y Co m p a n y In c . , 2 8 8 0 Bo b Wa l l a c e Av e ,
 2.6127 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 5 )
        nature of the debtor's interest                                                                                                                          Hu n t s v i l l e , A L 3 5 8 0 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In l i t e n L L C, 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w, I L 6 0 0 2 5
 2.6128 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 In l i t e n L L C- Im p o r t , In l i t e n L L C, 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 ,
 2.6129 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Gl e n v i e w, I L 6 0 0 2 5
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 In l i t e n L L C- Im p o r t , In l i t e n L L C, 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 ,
 2.6130 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Gl e n v i e w, I L 6 0 0 2 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In l i t e n L L C- Im p o r t , In l i t e n L L C, 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 ,
 2.6131 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gl e n v i e w, I L 6 0 0 2 5
        nature of the debtor's interest
          State the term remaining                        11/01/2022 - 12/31/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In l i t e n L L C- Im p o r t , In l i t e n L L C, 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 ,
 2.6132 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Gl e n v i e w, I L 6 0 0 2 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In n o v a t i o n Pe t In c , C/ O Xi a m e n Da d u Ce n t u r y, No 8 Sh i s h a n
 2.6133 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Rd , Xi a m e n , Ha i c a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining                        07/10/2018

          List the contract number of any government
          contract
                                                                                                                                                                 In n o v a t i o n Pi o n e e r s Co m p a n y, Mu s a d Sa l e h Bl d g , 4 t h Fl , Of f
 2.6134 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 8 7 )
        nature of the debtor's interest                                                                                                                          1 2 , Ta k h a s s u s i St r e e t , Ol a y a , Di s t r i c t , Ri y a d h , Sa u d i Ar a b i a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In n o v a t i v e Co n s u l t i n g Gr o u p ( Ic g ) , 4 7 2 6 We s t e r n Av e ,
 2.6135 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , I C G - T V M Ca r y Ma s t e r Se r v i c e s
                                                          Ag r e e m e n t                                                                                       Kn o x v i l l e , T N 3 7 9 2 1
        nature of the debtor's interest
          State the term remaining                        11/01/2020 - 10/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In n o v a t i v e Pe t Pr o d u c t s Pt y Lt d , 2 6 Ja g u a r Dr i v e , Bu n d a l l ,
 2.6136 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Q L D, Au s t r a l i a
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In n o v a t i v e Pe t Pr o d u c t s Pt y Lt d , 2 6 Ja g u a r Dr i v e , Bu n d a l l ,
 2.6137 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Q L D, Au s t r a l i a
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In s Te n t In d u s t r i e s , 5 4 0 2 Re s e a r c h Dr i v e , Hu n g t i n g t o n Be a c h ,
 2.6138 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92649
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In s e c o In c , 5 6 0 1 Ba n n e r Dr i v e , Fo r t My e r s , F L 3 3 9 1 2
 2.6139 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            In s i g h t Di r e c t U S A, In c , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6140 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , In s i g h t Ci s c o Sm a r t Ne t T V/ T V M H W &
                                                                                                                                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   S W Ma i n t / Su p p o r t Re n e w a l 2 0 2 4

          State the term remaining                        02/01/2024 - 01/31/2025

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6141 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Vx Ra i l Ha r d w a r e / So f t w a r e / Su p p o r t - Ca r y
        nature of the debtor's interest                                                                                                                     Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        01/04/2021 - 01/03/2026

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6142 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t De l l Co m p e l l e n t St o r a g e Ha r d w a r e
        nature of the debtor's interest                   Pu r c h a s e / Su p p o r t f o r R S C                                                         Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        01/01/2021 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6143 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t De l l Co m p e l l e n t Ca p a c i t y Sa n St o r a g e
                                                          Up g r a d e a n d Su p p o r t                                                                   Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        06/01/2021 - 01/31/2026

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6144 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t - Ha r v a r d R D C Fi b e r Sw i t c h Up g r a d e Pr o o f
                                                          o f Co n c e p t                                                                                  Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        07/27/2021 - 10/28/2026

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6145 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t - R S C Cl o s e t Sw i t c h Up g r a d e
                                                                                                                                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        07/28/2021 - 10/27/2026

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6146 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t - Ca r y Wa r e h o u s e Sw i t c h Up g r a d e
                                                                                                                                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        07/28/2021 - 10/27/2026

          List the contract number of any government
          contract
                                                                                                                                                            In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6147 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t – R D C Wa r e h o u s e Sw i t c h Up g r a d e
                                                                                                                                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        07/28/2021 - 10/27/2026

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6148 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t - Ne w Wa r e h o u s e Ci s c o Sw i t c h i n g f o r
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Wi l k e s - Ba r r e

          State the term remaining                        09/03/2021 - 12/02/2026

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6149 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t - Ne w A P C Sm a r t - U P S f o r Wi l k e s - Ba r r e
        nature of the debtor's interest                                                                                                                      Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        09/03/2021 - 12/02/2024

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6150 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t - Fi b e r Sw i t c h Up g r a d e R D C' s
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        02/01/2022 - 01/31/2027

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6151 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t - Ha r v a r d + Ce n t r a l Sh i p Ce i l i n g Sw i t c h
                                                          Re p l a c e m e n t                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6152 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - At l a n t a
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        11/16/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6153 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - Cl e v e l a n d
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        11/16/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6154 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - Ma n k a t o
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6155 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - Co r s i c a n a
        nature of the debtor's interest                                                                                                                      Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        07/01/2022 - 06/30/2027

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6156 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - Sp r i n g f i e l d
        nature of the debtor's interest                                                                                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        07/01/2022 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6157 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Ci s c o Ce i l i n g Sw i t c h Up g r a d e s - Ka n s a s Ci t y
        nature of the debtor's interest                                                                                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        07/01/2022 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6158 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t E M C Ha r d w a r e Ma i n t e n a n c e Re n e w a l 2 0 2 4
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        04/02/2024 - 04/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6159 State what the contract or lease is for and the
                                                          Ha r d w a r e , In s i g h t Or d e r Ci s c o A S N ( V P N) Vi r t u a l Ap p l i a n c e
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        03/01/2023 - 02/29/2028

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6160 State what the contract or lease is for and the
                                                          Ha r d w a r e , De l l St o r a g e M D1 4 2 0 a n d 5 y e a r Su p p o r t &
                                                          Ma i n t e n a n c e                                                                                   Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        04/15/2023 - 04/14/2028

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6161 State what the contract or lease is for and the   Ha r d w a r e , In s i g h t - Ne w A P C Sm a r t - U P S f o r Ha r v a r d
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        10/18/2023 - 10/17/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6162 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , In s i g h t Ci s c o D N A C Ha r d w a r e Su p p o r t
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   - RSC

          State the term remaining                        12/01/2022 - 11/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6163 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , In s i g h t Ci s c o Sm a r t Ne t H W & S W
        nature of the debtor's interest                   Ma i n t e n a n c e & Su p p o r t R S C Re n e w a l 2 0 2 4                                         Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        11/26/2023 - 01/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6164 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , In s i g h t - De l l Se r v e r Ad d i t i o n a l Sh e l f 5
        nature of the debtor's interest                   Y R Ma i n t e n a n c e                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        08/27/2023 - 08/26/2028

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6165 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , In s i g h t Fu j i t s u Ad v a n c e Ex c h a n g e
        nature of the debtor's interest                   Ex t e n d e d Se r v i c e Ag r e e m e n t - Fi n a n c e                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        10/27/2023 - 10/26/2026

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6166 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , In s i g h t Ci s c o Sm a r t Ne t R D C Sw i t c h e s
                                                          Ex t e n d e d Su p p o r t Re n e w a l 2 0 2 4                                                       Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        01/04/2024 - 01/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6167 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t De l l Po w e r Ed g e R7 4 0 X D2 - 2 Se r v e r s a n d
                                                          Ma i n t e n a n c e                                                                                   Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        01/20/2021 - 01/19/2026

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6168 State what the contract or lease is for and the   So f t w a r e , In s i g h t Re d Ha t c o - t e r m e d Re n e w a l
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        10/22/2021 - 03/26/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6169 State what the contract or lease is for and the   So f t w a r e , In s i g h t Re d Ha t Li c e n s e s f o r n e w S M T P s e r v e r s
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        01/24/2022 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6170 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Fu j i t s u Sc a n n e r Ex t e n d e d Wa r r a n t y - I T
        nature of the debtor's interest                                                                                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        02/10/2022 - 02/09/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6171 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ci s c o Cl o s e t Sw i t c h e s , H W, S W a n d Ma i n t -
        nature of the debtor's interest                   RSC                                                                                                    Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6172 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t M S A - Fi f t h Am e n d m e n t t o M S A f o r U. S.
        nature of the debtor's interest                   Pr o d u c t s a n d Se r v i c e s                                                                Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        03/02/2022 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6173 State what the contract or lease is for and the
                                                          So f t w a r e , Re d Ha t En t e r p r i s e Li n u x Se r v e r - Su b s c r i p t i o n
                                                          Li c e n s e                                                                                       Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        04/29/2022 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6174 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ci s c o Me r a k i V M X- M_ 0 3 2 5 2 2 4 4 8 8 1 7
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6175 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ci s c o - Me r a k i Ad v a n c e d Se c u r i t y Li c e n s e &
                                                          Su p p o r t 3 Y R                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        06/03/2022 - 06/02/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6176 State what the contract or lease is for and the   So f t w a r e , In s i g h t Fu j i t s u Sc a n n e r Ex t e n d e d Wa r r a n t y - I T 2
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        06/07/2022 - 06/06/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6177 State what the contract or lease is for and the   So f t w a r e , In s i g h t Re d Ha t En t e r p r i s e Li n u x Se r v e r -
                                                                                                                                                             Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Su b s c r i p t i o n Li c e n s e

          State the term remaining                        07/01/2022 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6178 State what the contract or lease is for and the
                                                          So f t w a r e , Au t o C A D LT E Su b s c r i p t i o n 2 0 2 4 - An d r e a De l At o r r e
        nature of the debtor's interest                                                                                                                      Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        02/13/2024 - 12/29/2024

          List the contract number of any government
          contract
                                                                                                                                                             In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6179 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t S D S I P C P- P L U S- Z/ O S An n u a l Ma i n t Re n e w a l
                                                          2024                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        04/01/2024 - 03/31/2025

          List the contract number of any government
          contract
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                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6180 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t V Mw a r e Ho r i z o n Un i v e r s a l Cl o u d
        nature of the debtor's interest                   Su b s c r i p t i o n Re n e w a l 2 0 2 4                                                            Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        04/17/2024 - 04/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6181 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Te c t i a S S H Su p p o r t Re n e w a l 2 0 2 4
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        06/13/2024 - 06/12/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6182 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Sk e t c h Up Pr o Su b s c r i p t i o n Li c e n s e - St o r e
                                                          Pl a n n i n g Te a m 2 0 2 4                                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        03/21/2024 - 03/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6183 State what the contract or lease is for and the   So f t w a r e , In s i g h t Mi c r o s o f t Te a m s Pr e m i u m Su b s c r i p t i o n
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6184 State what the contract or lease is for and the   So f t w a r e , In s i g h t - Va n Dy k e 2 V Sh e l l En t e r p r i s e Se r v e r
                                                                                                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Li c e n s e s Ma i n t e n a n c e Re n e w a l 2 0 2 4

          State the term remaining                        09/04/2024 - 09/03/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6185 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t - S D S Te c t i a f o r Z/ O S An n u a l Ma i n t e n a n c e
        nature of the debtor's interest                   a n d Su p p o r t Re n e w a l 2 0 2 4                                                                Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        09/05/2024 - 09/04/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6186 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ad o b e In De s i g n Li c e n s e f o r Me g h a Do s h i
        nature of the debtor's interest                                                                                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        07/29/2024 - 11/28/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6187 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ad o b e Cr e a t i v e Cl o u d En t e r p r i s e Li c e n s e f o r
                                                          Me g h a Do s h i                                                                                      Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/29/2024 - 11/28/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6188 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ad o b e Cr e a t i v e Cl o u d En t e r p r i s e Li c e n s e f o r
                                                          Za c h a r y Zu d e r                                                                                   Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/29/2024 - 11/28/2024

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6189 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t - Ja m f Pr o f o r Ma c O S Su b s c r i p t i o n & Ac c o u n t
                                                          Ma n a g e m e n t So l u t i o n                                                                       Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        10/29/2024 - 10/28/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6190 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t - Mi c r o s o f t E A Mo n t h l y Su b s c r i p t i o n Re n e w a l
                                                          2022-2025                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        10/01/2022 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6191 State what the contract or lease is for and the   So f t w a r e , In s i g h t - Mi c r o s o f t E A Se r v e r Li c e n s e a n d S A
                                                                                                                                                                  Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Re n e w a l 2 0 2 2 - 2 0 2 5

          State the term remaining                        10/01/2022 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6192 State what the contract or lease is for and the   So f t w a r e , In s i g h t - Ci s c o Me r a k i M X- 2 5 0 Ro u t e r / Se c u r i t y
                                                                                                                                                                  Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Ap p l i a n c e & Ad v a n c e d Li c e n s e & Su p p o r t 3 Y R

          State the term remaining                        10/24/2022 - 10/23/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6193 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Mi c r o s o f t Po w e r Au t o m a t e E A Su b s c r i p t i o n
        nature of the debtor's interest                                                                                                                           Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        02/01/2023 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6194 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Re d Ha t En t e r p r i s e a n d St a n d a r d Li n u x Se r v e r
                                                          - Su b s c r i p t i o n Li c e n s e s                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        03/01/2023 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                                  In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6195 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Re d Ha t En t e r p r i s e a n d St a n d a r d Li n u x Se r v e r
                                                          - Su b s c r i p t i o n Li c e n s e s                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        03/03/2023 - 03/25/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6196 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ci s c o Ca t a l y s t 8 0 0 0 V So f t w a r e Su p p o r t &
                                                          Ma i n t e n a n c e                                                                                 Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        04/23/2023 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6197 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t De l l Po w e r Ed g e R6 5 0 - 2 Se r v e r s
                                                                                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        05/15/2023 - 05/14/2028

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6198 State what the contract or lease is for and the   So f t w a r e , In s i g h t Re d Ha t En t e r p r i s e & St a n d a r d Li n u x Se r v e r
                                                                                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Su b s c r i p t i o n s - Or a c l e E R P

          State the term remaining                        07/24/2023 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6199 State what the contract or lease is for and the   So f t w a r e , In s i g h t - Mi c r o s o f t E A Ad d 8 Ne w D3 6 5 C R M
                                                                                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   Su b s c r i p t i o n

          State the term remaining                        08/01/2023 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6200 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Mi c r o s o f t Wi n d o w s Se r v e r C A L So f t w a r e
        nature of the debtor's interest                   As s u r a n c e Re n e w a l 2 0 2 3                                                                Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        10/01/2023 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6201 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t - Mi c r o s o f t E A Ad d 3 Ne w D3 6 5 C R M
        nature of the debtor's interest                   Su b s c r i p t i o n                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        10/01/2023 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6202 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Re d Ha t En t e r p r i s e Su b s c r i p t i o n Li c e n s e s
                                                                                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        10/13/2023 - 03/25/2025

          List the contract number of any government
          contract
                                                                                                                                                               In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6203 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t - Mi c r o s o f t Po w e r Au t o m a t e Pr e m i u m Li c e n s e
                                                                                                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 09/30/2025

          List the contract number of any government
          contract
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                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6204 State what the contract or lease is for and the
                                                          So f t w a r e , In s i g h t Ci s c o - Re n e w a l Me r a k i Ad v a n c e d Se c u r i t y
                                                          Li c e n s e & Su p p o r t 3 Y R Wi l k e s Ba r r e R D C                                         Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6205 State what the contract or lease is for and the
                                                          So f t w a r e , Ad o b e Li c e n s e V I P En t e r p r i s e Ag r e e m e n t Tr u e - Up
                                                          2023                                                                                                Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        11/29/2023 - 11/28/2024

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6206 State what the contract or lease is for and the   So f t w a r e , Au t o C A D Li c e n s e Re n e w a l 2 0 2 3
                                                                                                                                                              Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        12/29/2023 - 12/29/2024

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6207 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , In s i g h t Ci s c o D N A E A So f t w a r e Su p p o r t
                                                                                                                                                              Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest                   2022

          State the term remaining                        05/24/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6208 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , In s i g h t Ci s c o D N A Su b s c r i p t i o n f o r
        nature of the debtor's interest                   Ca t a l y s t 8 0 0 0 V f o r G C P 5 Y R                                                          Cl i n t o n , Te m p e , A Z 8 5 2 8 3

          State the term remaining                        08/04/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6209 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , In s i g h t Ci s c o S D- WA N Co n t r o l l e r D N A
                                                          Su b s c r i p t i o n                                                                              Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/04/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6210 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , In s i g h t Tr u e Fo r w a r d Ci s c o D N A E A
                                                          So f t w a r e Su p p o r t                                                                         Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        05/24/2022 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                              In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6211 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , In s i g h t - Me r a k i M X6 7 C Ad v a n c e d
                                                          Se c u r i t y Li c e n s e a n d Su p p o r t 2 0 2 4                                              Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        09/23/2024 - 09/22/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In s i g h t Di r e c t Us a , In c . , 6 8 2 0 So u t h Ha r l Av e n u e , At t n : Jo s e p h
 2.6212 State what the contract or lease is for and the
                                                          Su b s c r i p t i o n Se r v i c e , In s i g h t V Mw a r e v Sp h e r e a n d Cl o u d
                                                          Mi g r a t i o n 2 0 2 4                                                                               Cl i n t o n , Te m p e , A Z 8 5 2 8 3
        nature of the debtor's interest
          State the term remaining                        08/02/2024 - 08/01/2027

          List the contract number of any government
          contract
                                                                                                                                                                 In s p i r e d Te c h , 1 1 0 0 No r t h 4 Th St , Le s u e u r , M N 5 6 0 5 8
 2.6213 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In s t a Fi r e In c , 8 6 0 W Ri v e r d a l e Rd , A7 , Ri v e r d a l e , U T 8 4 4 0 5
 2.6214 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 In s t a Fi r e In c , 8 6 0 W Ri v e r d a l e Rd , A7 , Ri v e r d a l e , U T 8 4 4 0 5
 2.6215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In s t a Fi r e In c , 8 6 0 W Ri v e r d a l e Rd , A7 , Ri v e r d a l e , U T 8 4 4 0 5
 2.6216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In s t a n t Br a n d s , Po Bo x 7 4 1 0 4 6 4 , Ch i c a g o , I L 6 0 6 7 4
 2.6217 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 In s t a n t Br a n d s , Po Bo x 7 4 1 0 4 6 4 , Ch i c a g o , I L 6 0 6 7 4
 2.6218 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 In s t a n t Br a n d s , Po Bo x 7 4 1 0 4 6 4 , Ch i c a g o , I L 6 0 6 7 4
 2.6219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                In s t a n t Br a n d s L L C Ho u s e w a r e s , 4 8 2 5 N Sc o t t St , Su i t e 2 1 8 ,
 2.6220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                Sc h i l l e r Pa r k , I L 6 0 1 7 6
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                In s t a n t Po w e r Co r p , 1 2 5 5 Vi c e r o y Dr i v e , Da l l a s , T X 7 5 2 4 7
 2.6221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                In s t a n t Po w e r Co r p , 1 2 5 5 Vi c e r o y Dr i v e , Da l l a s , T X 7 5 2 4 7
 2.6222 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                In s t a n t Te c h n o l o g y L L C, 5 5 W. Wa c k e r Dr i v e , Su i t e 6 0 0 D,
 2.6223 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , In s t a n t Te c h n o l o g y I T Co n s u l t i n g Ag r e e m e n t
        nature of the debtor's interest                   Am e n d m e n t                                                                                      Ch i c a g o , I L 6 0 6 0 1

          State the term remaining                        09/01/2022 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                In s t a n t Te c h n o l o g y L L C, 5 5 W. Wa c k e r Dr i v e , Su i t e 6 0 0 D,
 2.6224 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , In s t a n t Te c h n o l o g y S O W 2 0 2 4 - 1 O M S C O 1
        nature of the debtor's interest                   Bu s i n e s s An a l y s t - Va r u n Pa t e l                                                       Ch i c a g o , I L 6 0 6 0 1

          State the term remaining                        07/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                In s t a p u r e Br a n d s , 3 8 5 5 Pr e c i s i o n Dr St e 1 8 0 , Lo v e l a n d , C O
 2.6225 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                80538
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                In s u r a n c e Co o f Th e St a t e o f Pa ( Ai g ) , P. O. Bo x 2 5 9 0 8 ,
 2.6226 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Fo r e i g n Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
                                                          W R1 0 0 0 4 7 8 8                                                                                    Sh a w n e e Mi s s i o n , K S 6 6 2 2 5
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                In t ' l Fi n a n c e Gr o u p , In t e r n a t i o n a l Fi n a n c e Gr o u p , 2 0 0 N
 2.6227 State what the contract or lease is for and the   H R Se r v i c e s , In t e r n a t i o n a l Fi n a n c e Gr o u p I F G - Ag e n c y a n d
                                                                                                                                                                La s a l l e St Su i t e 1 9 3 0 , Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest                   Re c r u i t i n g Ag r e e m e n t 2 0 2 1

          State the term remaining                        02/15/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t ' l Fo o d As s o c i a t e s In c , 1 7 3 0 Hu r d Dr , Ir v i n g , T X 7 5 0 3 8
 2.6228 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/07/2008

          List the contract number of any government
          contract
                                                                                                                                                                 In t ' l Fo r e s t Pr o d u c t s Co r p , In t e r n a t i o n a l Fo r e s t Pr o d u c t s Co r p ,
 2.6229 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 On e Pa t r i o t Pl a c e , Fo x b o r o , M A 0 2 0 3 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 In t e g r i t y Nu r s e r y, 1 1 0 0 Bu r l e w Bl v d , Ow e n s b o r o , K Y 4 2 3 0 3 -
 2.6230 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 9 2 )
        nature of the debtor's interest                                                                                                                          1737

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e p l a s t Bu i l d i n g Pr o d u c t s , 9 Pe a c h Tr e e Hi l l Rd , Li v i n g s t o n ,
 2.6231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NJ 07039

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r c h a n g e Au t o Pa r t s , 4 5 8 8 Bu s i n e s s 2 2 0 , Be d f o r d , PA 1 5 5 2 2
 2.6232 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r c i t y Lu m b e r , 5 3 0 1 Ca u s e w a y Bl v d , Ta m p a , F L 3 3 6 1 9 - 6 1 2 3
 2.6233 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6234 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 So l o n , O H 4 4 1 3 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6235 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 So l o n , O H 4 4 1 3 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6236 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 So l o n , O H 4 4 1 3 9
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6237 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 So l o n , O H 4 4 1 3 9
        nature of the debtor's interest
          State the term remaining                        02/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6238 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          So l o n , O H 4 4 1 3 9

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          So l o n , O H 4 4 1 3 9

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r d e s i g n , 3 0 7 2 5 So l o n In d u s t r i a l Pk w y, Po Bo x 3 9 6 0 6 ,
 2.6240 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 So l o n , O H 4 4 1 3 9
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r l a k e Me c a l u x In c , 4 3 0 0 Qu a l i t y Dr i v e , So u t h Be n d , I N
 2.6241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46628
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r l u b e In t ' l , In t e r l u b e In t e r n a t i o n a l , 1 7 0 3 Rd St r e e t , Bl a i n e ,
 2.6242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 WA 9 8 2 3 0
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r l u b e In t ' l , In t e r l u b e In t e r n a t i o n a l , 1 7 0 3 Rd St r e e t , Bl a i n e ,
 2.6243 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WA 9 8 2 3 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t e r l u b e In t ' l , In t e r l u b e In t e r n a t i o n a l , 1 7 0 3 Rd St r e e t , Bl a i n e ,
 2.6244 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WA 9 8 2 3 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r l u b e In t ' l , In t e r l u b e In t e r n a t i o n a l , 1 7 0 3 Rd St r e e t , Bl a i n e ,
 2.6245 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WA 9 8 2 3 0
        nature of the debtor's interest
          State the term remaining                        10/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r l u b e In t ' l , In t e r l u b e In t e r n a t i o n a l , 1 7 0 3 Rd St r e e t , Bl a i n e ,
 2.6246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WA 9 8 2 3 0

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r m a t i c In c , In t e r m a t i c Pl a z a , Sp r i n g Gr o v e , I L 6 0 0 8 1
 2.6247 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r n a t i o n a l Li q u i d a t i o n In c . , 2 2 5 1 Pi c a d i l l y Dr , Ro u n d Ro c k ,
 2.6248 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 9 )
                                                                                                                                                                 TX 78664
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r n a t i o n a l Mu l c h Co m p a n y, On e Mu l c h La n e , Br i d g e t o n , M O
 2.6249 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 63044
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s p o r t Co r p Db a Wh a m O, 9 6 6 Sa n d h i l l Av e , Ca r s o n , C A
 2.6250 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 90746
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s p o r t Co r p Db a Wh a m O, 9 6 6 Sa n d h i l l Av e , Ca r s o n , C A
 2.6251 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 90746
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t e r s p o r t Co r p Db a Wh a m O, 9 6 6 Sa n d h i l l Av e , Ca r s o n , C A
 2.6252 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 90746
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s p o r t Co r p Db a Wh a m O, 9 6 6 Sa n d h i l l Av e , Ca r s o n , C A
 2.6253 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 90746

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s p o r t Co r p Db a Wh a m O, 9 6 6 Sa n d h i l l Av e , Ca r s o n , C A
 2.6254 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          90746

          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s t a t e Al l Ba t t e r y Ct r , 4 3 0 1 1 2 1 St St , Ur b a n d a l e , I A 5 0 3 2 3
 2.6255 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s t a t e Al l Ba t t e r y Ct r , 4 3 0 1 1 2 1 St St , Ur b a n d a l e , I A 5 0 3 2 3
 2.6256 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s t a t e Al l Ba t t e r y Ct r , 4 3 0 1 1 2 1 St St , Ur b a n d a l e , I A 5 0 3 2 3
 2.6257 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s t a t e Ga s Su p p l y, Ig s , 6 1 0 0 Em e r a l d Pa r k w a y, Du b l i n , O H
 2.6258 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , I G S Na t u r a l Ga s Su p p l y
                                                                                                                                                                 43016
        nature of the debtor's interest                   Ag r e e m e n t _ Il l i n o i s 2 0 2 4

          State the term remaining                        09/01/2024 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r s t a t e Ga s Su p p l y, Ig s , 6 1 0 0 Em e r a l d Pa r k w a y, Du b l i n , O H
 2.6259 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , I G S El e c t r i c i t y Su p p l y
        nature of the debtor's interest                   Ag r e e m e n t _ Cl e v e l a n d 2 0 2 4                                                            43016

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 783 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t e r t a p e Po l y m e r Gr o u p , 1 0 0 Pa r a m o u n t Dr i v e , Su i t e 3 0 0 ,
 2.6260 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sa r a s o t a , F L 3 4 2 3 2
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 In t e r t a p e Po l y m e r Gr o u p , 1 0 0 Pa r a m o u n t Dr i v e , Su i t e 3 0 0 ,
 2.6261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sa r a s o t a , F L 3 4 2 3 2

          State the term remaining                        08/01/2024 - 07/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Re c r e a t i o n , 4 0 0 1 Vi a Or o Av e , Lo n g Be a c h , C A 9 0 8 0 1
 2.6262 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Re c r e a t i o n , 4 0 0 1 Vi a Or o Av e , Lo n g Be a c h , C A 9 0 8 0 1
 2.6263 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Re c r e a t i o n , 4 0 0 1 Vi a Or o Av e , Lo n g Be a c h , C A 9 0 8 0 1
 2.6264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Re c r e a t i o n , 4 0 0 1 Vi a Or o Av e , Lo n g Be a c h , C A 9 0 8 0 1
 2.6265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Re c r e a t i o n , 4 0 0 1 Vi a Or o Av e , Lo n g Be a c h , C A 9 0 8 0 1
 2.6266 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Su p p l y Co , 1 0 0 Le g g e t t Dr i v e , Vi l l a Ri c a , G A 3 0 1 7 9
 2.6267 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t e x Su p p l y Co , 1 0 0 Le g g e t t Dr i v e , Vi l l a Ri c a , G A 3 0 1 7 9
 2.6268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Su p p l y Co , 1 0 0 Le g g e t t Dr i v e , Vi l l a Ri c a , G A 3 0 1 7 9
 2.6269 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Su p p l y Co , 1 0 0 Le g g e t t Dr i v e , Vi l l a Ri c a , G A 3 0 1 7 9
 2.6270 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 In t e x Su p p l y Co m p a n y, 1 0 0 Le g g e t t Dr i v e , Vi l l a Ri c a , G A
 2.6271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30179
        nature of the debtor's interest
          State the term remaining                        03/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 In t r a d i n Hk Co . , Li m i t e d , 1 5 / F, Bo c Gr o u p Li f e As s u r a n c e , 1 3 6
 2.6272 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 De s Vo e u x Ro a d Ce n t r a l , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t r a d i n Hk Co . , Li m i t e d , 1 5 / F, Bo c Gr o u p Li f e As s u r a n c e , 1 3 6
 2.6273 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 De s Vo e u x Ro a d Ce n t r a l , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t r u d e r In c , 2 3 0 W Co l e m a n St , Ri c e La k e , W I 5 4 8 6 8
 2.6274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t r u d e r In c , 2 3 0 W Co l e m a n St , Ri c e La k e , W I 5 4 8 6 8
 2.6275 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 In t r u d e r In c , 2 3 0 W Co l e m a n St , Ri c e La k e , W I 5 4 8 6 8
 2.6276 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In t r u d e r In c , 2 3 0 W Co l e m a n St , Ri c e La k e , W I 5 4 8 6 8
 2.6277 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In t u i t In c . , 2 8 0 0 E. Co m m e r c e Ce n t e r Pl a c e , Tu c s o n , A Z 8 5 7 0 6
 2.6278 State what the contract or lease is for and the
                                                          So f t w a r e , In t u i t Qu i c k b o o k s On l i n e Pl u s Su b s c r i p t i o n - Tr u e
        nature of the debtor's interest                   Va l u e Fo u n d a t i o n

          State the term remaining                        03/15/2024 - 03/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                 In v e n t e l Pr o d u c t s L L C, In v e n t e l Pr o d u c t s L L C, 3 0 0 Ro u n d h i l l
 2.6279 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i v e , Su i t e 1 , Ro c k a w a y, N J 0 7 8 6 6
        nature of the debtor's interest
          State the term remaining                        03/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 In v e n t e l Pr o d u c t s L L C, In v e n t e l Pr o d u c t s L L C, 3 0 0 Ro u n d h i l l
 2.6280 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Dr i v e , Su i t e 1 , Ro c k a w a y, N J 0 7 8 6 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 In v i s i c l i m b In c , 4 9 1 Pa t r i c i a Ct , Su i t e 1 0 0 , Gr a y s l a k e , I L
 2.6281 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60030
        nature of the debtor's interest
          State the term remaining                        10/27/2009

          List the contract number of any government
          contract
                                                                                                                                                                 In v i s i p l u g L L C, 5 0 0 1 Gl o r i a Av e , En c i n o , C A 9 1 4 3 6
 2.6282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Io w a Ro t o c a s t Pl a s t i c s , 1 7 1 2 Mo e l l e r s Dr i v e , De c o r a h , I A
 2.6283 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          52101

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Io w a Sm o k e h o u s e / Pr e f e r r e d Wh o l e s a l e , 1 8 2 7 Th Av e Ea s t ,
 2.6284 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Al b i a , I A 5 2 5 3 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ip s Co r p o r a t i o n , 5 0 0 Di s t r i b u t i o n Pa r k w a y, Co l l i e r v i l l e , T N
 2.6285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     38017
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ip s Co r p o r a t i o n , 5 0 0 Di s t r i b u t i o n Pa r k w a y, Co l l i e r v i l l e , T N
 2.6286 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     38017
        nature of the debtor's interest
          State the term remaining                        02/29/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ir b y El e c t r i c a l Di s t r i b u t o r , 8 1 5 Ir b y Dr i v e , Ja c k s o n , M S
 2.6287 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 4 8 )
                                                                                                                                                     39201-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ir i s Us a In c , 1 3 4 2 3 W Ca c t u s Rd , Su r p r i s e , A Z 8 5 3 7 9
 2.6288 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                     Ir i s Us a In c , 1 3 4 2 3 W Ca c t u s Rd , Su r p r i s e , A Z 8 5 3 7 9
 2.6289 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ir i z a r r y Lu m b e r Ya r d , Ir i z a r r y Lu m b e r Ya r d . In c . , Ca l l e Fr a n c i a
 2.6290 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 7 9 )
        nature of the debtor's interest                                                                                                              1 9 4 , Es q . Av e . Ba r b o s a , Sa n Ju a n , P R 0 0 9 1 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ir m a L Qu i n t a n a , Ad d r e s s Re d a c t e d
 2.6291 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Ir m a L. Qu i n t a n a
        nature of the debtor's interest
          State the term remaining                        08/28/2020

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ir o n & Oa k , 1 7 0 5 N Sh a b b o n a St , St r e a t o r , I L 6 1 3 6 4
 2.6292 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ir o n c l a d Pe r f o r m a n c e We a r , 3 3 2 5 Ro y Or r Bl v d , Su i t e 2 0 0 ,
 2.6293 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining                        07/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ir o n c l a d Pe r f o r m a n c e We a r , 3 3 2 5 Ro y Or r Bl v d , Su i t e 2 0 0 ,
 2.6294 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir o n c l a d Pe r f o r m a n c e We a r , 3 3 2 5 Ro y Or r Bl v d , Su i t e 2 0 0 ,
 2.6295 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ir o n c l a d Pe r f o r m a n c e We a r , 3 3 2 5 Ro y Or r Bl v d , Su i t e 2 0 0 ,
 2.6296 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ir o n i t e Pr o d u c t s Co , Po Bo x 2 1 8 , Ir o n i t e Av e , Hu m b o l d t , A Z
 2.6297 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          86329

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ir v i n g Fo r e s t Pr o d u c t s , 3 0 0 Un i o n St , Sa i n t Jo h n , N B E2 L 4 M3 ,
 2.6298 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        07/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ir v i n g t o n Ha r d w a r e , 8 1 Ma i n St , Ir v i n g t o n , N Y 1 0 5 3 3 - 1 5 3 2
 2.6299 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 6 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6300 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6301 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6302 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6303 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6304 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6306 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6307 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6308 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6309 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6310 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6311 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6312 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6313 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6314 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6316 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6317 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ir w i n In d u s t r i a l To o l Co , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
 2.6318 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is g In f o r m a t i o n Se r v i c e s Gr o u p Am e r i c a s , 2 1 8 7 At l a n t i c St . ,
 2.6319 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , In f o r m a t i o n Se r v i c e s Gr o u p ( I S G)
                                                                                                                                                                 St a m f o r d , C T 0 6 9 0 2
        nature of the debtor's interest                   Am e r i c a s , In c . - Ma s t e r Se r v i c e Ag r e e m e n t

          State the term remaining                        12/21/2020 - 12/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Is h a m Tr u e Va l u e Hd w, 8 1 1 Un i o n St , Co f f e y v i l l e , K S 6 7 3 3 7 -
 2.6320 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 8 1 )
        nature of the debtor's interest                                                                                                                          5823

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is l a n d Co w g i r l Je w e l r y, 3 2 0 1 / 2 Ma i n St , Hu n t i n g t o n Be a c h ,
 2.6321 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92648
        nature of the debtor's interest
          State the term remaining                        03/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Is l a n d Ha r d w a r e In c , 5 Wa t e r f r o n t Pa r k , C/ o Fi s h e r s Is l a n d
 2.6322 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 5 4 )
                                                                                                                                                                 Fe r r y, Fi s h e r s Is l a n d , N Y 0 6 3 9 0 - 0 7 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is l a n d Tr u e Va l u e Ha r d w a r e , 1 0 2 Oc e a n Av e , Bl o c k Is l a n d , R I
 2.6323 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 9 5 )
                                                                                                                                                                 02807-1379
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Is l a n d Tr u e Va l u e Ta c k l e & Ha r d w a r e , Is l a n d Tr u e Va l u e Ta c k l e
 2.6324 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 9 )
                                                                                                                                                                 & Hd w e , 8 0 1 N La k e Pa r k Bl v d , Ca r o l i n a Be a c h , N C 2 8 4 2 8 -
        nature of the debtor's interest
                                                                                                                                                                 4828
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is r a e l Pa i n t & Ha r d w a r e , 7 0 0 0 Be r g e n l i n e Av e , Gu t t e n b e r g , N J
 2.6325 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 6 2 )
                                                                                                                                                                 07093-1810
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is t h m u s Ha r d w a r e , 5 5 5 W Wa s h i n g t o n Av e , Ma d i s o n , W I
 2.6326 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 3 )
                                                                                                                                                                 53703-2615
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Is u z u Co m m e r c i a l Tr u c k , C/ O Fo x Va l l e y Tr u c k In c , 5 6 6 8
 2.6327 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ne u b e r t Rd , Ap p l e t o n , W I 5 4 9 1 3

          State the term remaining                        11/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 It h a c a Ag w a y & Ac e Ha r d w a r e , 2 1 3 S Fu l t o n St , It h a c a , N Y
 2.6328 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 9 3 )
        nature of the debtor's interest                                                                                                                          14850-3305

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6329 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6330 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6332 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6333 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 It w Br a n d s , 1 5 5 Ha r l e m Av e n u e , Gl e n v i e w, I L 6 0 0 2 5
 2.6334 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 It w Co n s u m e r , 2 1 0 7 W Bl u e He r o n Bl v d , Ri v i e r a Be a c h , F L
 2.6335 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          33404

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 77084
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6340 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 77084
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6341 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 77084
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6342 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TX 77084

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6343 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TX 77084

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6344 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining                        02/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 It w Gl o b a l Br a n d s , 1 6 2 9 9 Pa r k Ro w Dr i v e , Su i t e 1 2 0 , Ho u s t o n ,
 2.6346 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77084
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 It w Pr o Br a n d s , 8 0 5 E Ol d 5 6 Hw y, Po Bo x 3 4 0 , Ol a t h e , K S
 2.6347 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 66061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Iv a n r e s t Tr u e Va l u e Hd w. & Va r i e t y, Iv a n r e s t Tr u e Va l u e , 3 2 9 1
 2.6348 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 1 )
                                                                                                                                                                 2 8 t h St Sw, Gr a n d v i l l e , M I 4 9 4 1 8 - 1 4 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Iv e y Lu m b e r Co m p a n y, 9 0 0 Po l k St r e e t , Ma n s f i e l d , L A 7 1 0 5 2
 2.6349 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & B Fl e e t - i n d u s t r i a l Su p p l y In c , J & B Fl e e t - i n d u s t r i a l
 2.6350 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 7 2 )
        nature of the debtor's interest                                                                                                                          Su p p l y, 2 2 4 2 8 Ha r r i s b u r g - w e s t v i l l e Rd , Al l i a n c e , O H 4 4 6 0 1 -
                                                                                                                                                                 9224
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & B Tr u e Va l u e Ha r d w a r e , 1 1 6 3 5 Hi g h w a y 1 0 5 E, Co n r o e , T X
 2.6351 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 3 8 )
                                                                                                                                                                 77306-5371
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & J Ha r d w a r e , 1 0 1 Ol d Vi c t o r Po s t Of f i c e Rd , Vi c t o r , W V
 2.6352 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 1 )
                                                                                                                                                                 25938
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & L Ha r d w a r e , 2 7 5 0 S Or a n g e Bl o s s o m Tr , Or l a n d o , F L
 2.6353 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 7 5 )
                                                                                                                                                                 32805-6168
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & M Ha r d w a r e , 1 9 0 0 Hw y 4 9 N, Be u l a h , N D 5 8 5 2 3 - 9 1 5 7
 2.6354 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J & M Ho m e Fa s h i o n s L L C, 1 0 3 9 Se r p e n t i n e Ln St e E,
 2.6355 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pl e a s a n t o n , C A 9 4 5 6 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 J & R Sc h u g e l Tr u c k i n g In c , P O Bo x 2 7 8 , Ne w Ul m , M N
 2.6356 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , J & R Sc h u g e l Tr u c k i n g - Tr a n s p o r t a t i o n
                                                                                                                                                                 56073
        nature of the debtor's interest                   Ag r e e m e n t s Co n t r a c t e d Ca r r i e r

          State the term remaining                        05/29/2020

          List the contract number of any government
          contract
                                                                                                                                                                 J Am e r i c a In c , 4 4 5 E Va n Ri p e r Rd , Fo w l e r v i l l e , M I 4 8 8 3 6
 2.6357 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J Am e r i c a In c , 4 4 5 E Va n Ri p e r Rd , Fo w l e r v i l l e , M I 4 8 8 3 6
 2.6358 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J Am e r i c a In c , 4 4 5 E Va n Ri p e r Rd , Fo w l e r v i l l e , M I 4 8 8 3 6
 2.6359 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J Be r r y Nu r s e r y, 2 0 1 P R 5 1 8 0 , Gr a n d Sa l i n e , T X 7 5 1 4 0
 2.6360 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 J Br o t h e r s Tr u e Va l u e Ho m e Ce n t e r , J Br o t h e r s Tr u e Va l u e
 2.6361 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 8 0 )
                                                                                                                                                                 Ho m e Ce n , 1 1 1 5 Sp r i n g f i e l d Ro a d - u n i t 1 , Av a , M O 6 5 6 0 8 - 5 4 7 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J H Ra d e b a u g h In c , 2 3 2 9 E Ru h l Rd , Fr e e l a n d , M D 2 1 0 5 3
 2.6362 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/14/2011

          List the contract number of any government
          contract
                                                                                                                                                                 J S Pr o d u c t s , 6 4 4 5 Mo n t e s s o u r i St , La s Ve g a s , N V 8 9 1 1 3
 2.6363 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2025 - 12/31/2025

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 J S Pr o d u c t s , 6 4 4 5 Mo n t e s s o u r i St , La s Ve g a s , N V 8 9 1 1 3
 2.6364 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 J S Pr o d u c t s , 6 4 4 5 Mo n t e s s o u r i St , La s Ve g a s , N V 8 9 1 1 3
 2.6365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 J S Pr o d u c t s , 6 4 4 5 Mo n t e s s o u r i St , La s Ve g a s , N V 8 9 1 1 3
 2.6366 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 04/15/2027

          List the contract number of any government
          contract
                                                                                                                                                                 J S Pr o d u c t s In c , 6 4 4 5 Mo n t e s s o u r i St , La s Ve g a s , N V 8 9 1 1 3
 2.6367 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J W Ke r n s Ir r i g a t i o n Co , 8 7 2 2 6 Ch r i s t m a s Va l l e y Hw y, P. o . Bo x
 2.6368 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 1 )
                                                                                                                                                                 8 2 2 , Ch r i s t m a s Va l l e y, O R 9 7 6 4 1 - 0 8 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6369 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Sp r i n g s , T X 7 5 4 8 3
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6370 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sp r i n g s , T X 7 5 4 8 3
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6371 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Sp r i n g s , T X 7 5 4 8 3

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6372 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Sp r i n g s , T X 7 5 4 8 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6373 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Sp r i n g s , T X 7 5 4 8 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6374 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Sp r i n g s , T X 7 5 4 8 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J- B We l d Co , P. O. Bo x 4 8 3 , 1 1 3 0 Co m o St r e e t , Su l p h u r
 2.6375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Sp r i n g s , T X 7 5 4 8 3
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 J. B. Ho s t e t t e r 2 0 9 , 1 2 2 5 We s t Ma i n St r e e t , Mo u n t Jo y, PA
 2.6376 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 1 )
                                                                                                                                                                 17552
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J. A. Fr a t e In c , 7 9 0 0 Py o t Rd , Cr y s t a l La k e , I L 6 0 0 1 4
 2.6377 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , J. A Fr a t e In c - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s Co n t r a c t e d Ca r r i e r

          State the term remaining                        06/28/2020

          List the contract number of any government
          contract
                                                                                                                                                                 J. b . Co l t o n , 6 6 Ma i n St , Or l e a n s , V T 0 5 8 6 0 - 1 1 3 5
 2.6378 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J. B. Hu n t Tr a n s p o r t , In c , J B Hu n t Tr a n s p o r t , In c , 6 1 5 J B Hu n t
 2.6379 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , J. B. Hu n t Tr a n s p o r t - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s Co n t r a c t e d Ca r r i e r                                                     Co r p o r a t e Dr i v e , Lo w e l l , A R 7 2 7 4 5

          State the term remaining                        06/01/2020

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 J& J Gl o b a l L L C, J& J Gl o b a l L L C, 2 4 3 3 La c y La n e , 1 0 6 ,
 2.6380 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca r r o l l t o n , T X 7 5 0 0 6

          State the term remaining                        05/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 J& j Nu r s e r y & Ga r d e n Ce n t e r , 1 8 1 5 W Ge n t i l e St , La y t o n , U T
 2.6381 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 2 2 )
        nature of the debtor's interest                                                                                                                          84041-7213

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 J& l Ha r d w a r e Co r p . , Ca r r. 3 Km 1 4 0 . 1 , Se c t o r Me l a n i a ,
 2.6382 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 3 7 )
                                                                                                                                                                 Gu a y a m a , P R 0 0 7 8 4 - 8 7 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja b a l i Br o t h e r s Di s t r i b u t i o n Co m p a n y Lt d , 1 Am a l St Un i v e r s a l
 2.6383 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 9 0 )
                                                                                                                                                                 Bu i l d i n g 2 n d F, Ta i b e h , Is r a e l
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Li n k s , P. O. Bo x 3 9 7 , On e Sn a c k f o o d La n e , Mi n o n g , W I
 2.6384 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 54859
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Li n k s , P. O. Bo x 3 9 7 , On e Sn a c k f o o d La n e , Mi n o n g , W I
 2.6385 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 54859
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Li n k s , P. O. Bo x 3 9 7 , On e Sn a c k f o o d La n e , Mi n o n g , W I
 2.6386 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 54859

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Li n k s , P. O. Bo x 3 9 7 , On e Sn a c k f o o d La n e , Mi n o n g , W I
 2.6387 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 54859

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja c k Mf g L L C, 1 Ze n e x Ci r c l e , Cl e v e l a n d , O H 4 4 1 4 6
 2.6388 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Po s t Co r p , 8 0 0 Ea s t Th i r d St r e e t , Bu c h a n a n , M I 4 9 1 0 7
 2.6389 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Po s t Co r p , 8 0 0 Ea s t Th i r d St r e e t , Bu c h a n a n , M I 4 9 1 0 7
 2.6390 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Po s t Co r p , 8 0 0 Ea s t Th i r d St r e e t , Bu c h a n a n , M I 4 9 1 0 7
 2.6391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k Po s t Co r p , 8 0 0 Ea s t Th i r d St r e e t , Bu c h a n a n , M I 4 9 1 0 7
 2.6392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/13/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k e l In c , 1 5 3 1 4 Ha r r i s o n Rd , P. O. Bo x 9 6 , Mi s h a w a k a , I N
 2.6393 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46546
        nature of the debtor's interest
          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k p i n e En g i n e e r i n g , 4 6 1 7 To w n e s Ci r c l e , Ed i n a , M N 5 5 4 2 4
 2.6394 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ja c k p i n e En g i n e e r i n g M S A
        nature of the debtor's interest
          State the term remaining                        06/20/2024 - 06/19/2029

          List the contract number of any government
          contract
                                                                                                                                                                 Ja c k p i n e En g i n e e r i n g , 4 6 1 7 To w n e s Ci r c l e , Ed i n a , M N 5 5 4 2 4
 2.6395 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Ja c k p i n e S O W 1 La b o r Mg m t Va l u e St r e a m
        nature of the debtor's interest                   As s e s s m e n t - Ki n g m a n R D C

          State the term remaining                        09/01/2024 - 10/31/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ja c k r a b b i t Ha r d w a r e , 6 0 4 N Ce n t e r St r e e t , Lo n o k e , A R 7 2 0 8 6 -
 2.6396 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 3 6 )
        nature of the debtor's interest                                                                                                              2546

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n 5 & 1 0 , 7 2 6 Hi g h w a y 1 5 N, Ja c k s o n , K Y 4 1 3 3 9 - 8 6 0 1
 2.6397 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n De e r f i e l d , P. O. Bo x 8 0 1 3 2 9 , Da l l a s , T X 7 5 3 8 0
 2.6398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n In d u s t r i e s In c , 4 0 0 La k e Ri d g e Dr i v e , Ru s s e l l v i l l e , A R
 2.6399 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     72802
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n Po t t e r y, 2 1 4 6 Em p i r e Ce n t r a l , Da l l a s , T X 7 5 2 3 5
 2.6400 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n Tr u e Va l u e Ha r d w a r e , 1 2 4 N Mu l b e r r y St , Ja c k s o n , G A
 2.6401 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 4 )
        nature of the debtor's interest                                                                                                              30233

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja c k s o n ' s Tr u e Va l u e , 4 0 7 W Co m m e r c e St , Me x i a , T X 7 6 6 6 7 -
 2.6402 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 2 )
        nature of the debtor's interest                                                                                                              2822

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja d a St i x x L L C, Ja d a St i x x L L C, 8 0 5 No w l a n d Fa r m Rd , So u t h
 2.6403 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Bu r l i n g t o n , V T 0 5 4 0 3
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja k e Ka l n i t z , Ad d r e s s Re d a c t e d
 2.6404 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Ja k e Ka l n i t z
        nature of the debtor's interest
          State the term remaining                        11/19/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ja k e ' s Ho m e & Ga r d e n , 7 1 6 1 Wo o d s t o c k Rd . , Qu e c h e e , V T
 2.6405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 6 2 )
                                                                                                                                                                 05059-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja k k s / Fu n n o o d l e , 2 2 6 1 9 Pa c i f i c Co a s t Hi g h w a y, Wa l n u t , C A
 2.6406 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 91789
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ja k k s / Fu n n o o d l e , 2 2 6 1 9 Pa c i f i c Co a s t Hi g h w a y, Wa l n u t , C A
 2.6407 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 91789
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja m e s Ha r d w a r e Co m p a n y, 7 1 0 S Be a c h Bl v d , La Ha b r a , C A
 2.6408 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 1 0 )
                                                                                                                                                                 90631-6416
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja m e s t o w n Tr u e Va l u e , Ja m e s t o w n Tr u e Va l u e Ha r d w a r e , 5
 2.6409 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 5 9 )
        nature of the debtor's interest                                                                                                                          Na r r a g a n s e t t Av e , Ja m e s t o w n , R I 0 2 8 3 5 - 1 1 1 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja m u l Ha r d w a r e , Ja m u l Tr u e Va l u e Ha r d w a r e , 1 3 8 8 1 Ca m p o Rd
 2.6410 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 2 1 )
        nature of the debtor's interest                                                                                                                          A- 7 , Ja m u l , C A 9 1 9 3 5 - 3 2 0 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja n d o r f Sp e c i a l t y Ha r d w a r e , 6 0 Me a d o w La n e , No r t h f i e l d , O H
 2.6411 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44067
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja n d o r f Sp e c i a l t y Ha r d w a r e , 6 0 Me a d o w La n e , No r t h f i e l d , O H
 2.6412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44067
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ja n e y Ly n n s De s i g n s , P. O. Bo x 2 9 4 , 2 0 N Ch e s t n u t Av e , Ne w
 2.6413 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha m p t o n , I A 5 0 6 5 9
        nature of the debtor's interest
          State the term remaining                        02/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ja r c o Su p p l y, 1 0 0 Ag Dr i v e , Yo u n g s v i l l e , N C 2 7 5 9 6
 2.6414 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r c o Su p p l y, 2 0 6 6 E Ly o n St a t i o n Ro a d , Cr e e d m o o r , N C
 2.6415 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 3 )
                                                                                                                                                                 27522
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r c o Su p p l y, 3 0 Ja r c o Dr i v e , Fu q u a y - Va r i n a , N C 2 7 2 5 6
 2.6416 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r c o Su p p l y, 8 1 1 Kn o x Ro a d , Mc l e a n s v i l l e , N C 2 7 3 0 1
 2.6417 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ap p l i e d Ma t e r i a l s , 6 1 1 1 Sh a k e s p e a r e Rd , Co l u m b i a , S C
 2.6418 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 29223
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ap p l i e d Ma t e r i a l s , 6 1 1 1 Sh a k e s p e a r e Rd , Co l u m b i a , S C
 2.6419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 29223
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja r d e n Ap p l i e d Ma t e r i a l s , 6 1 1 1 Sh a k e s p e a r e Rd , Co l u m b i a , S C
 2.6420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 29223
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Co n s u m e r Se r v i c e s , 1 2 5 1 0 Hy n e Ro a d , Br i g h t o n , M I
 2.6421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48114
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Co n s u m e r - Do m e s t i c , 1 2 5 1 0 Hy n e Ro a d , Br i g h t o n , M I
 2.6422 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 48114
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Co n s u m e r - Do m e s t i c , 1 2 5 1 0 Hy n e Ro a d , Br i g h t o n , M I
 2.6423 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 48114
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Co n s u m e r - Do m e s t i c , 1 2 5 1 0 Hy n e Ro a d , Br i g h t o n , M I
 2.6424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 48114

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Co n s u m e r - He a t e r / Hu m , 1 2 5 1 0 Hy n e Ro a d , Br i g h t o n , M I
 2.6425 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 48114

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6426 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6427 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6428 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6429 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6430 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6431 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mu n i c e , I N 4 7 3 0 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6432 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mu n i c e , I N 4 7 3 0 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r d e n Ho m e Br a n d s , 3 4 5 So u t h Hi g h St r e e t , Su i t e 2 0 1 ,
 2.6433 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mu n i c e , I N 4 7 3 0 5
        nature of the debtor's interest
          State the term remaining                        04/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ja r e d ' s Nu r s e r y Gi f t & Ga r d e n , Ja r e d ` s Nu r s e r y Gi f t & Ga r d e n ,
 2.6434 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 9 4 )
                                                                                                                                                                 1 0 5 0 0 W Bo w l e s Av e n u e , Li t t l e t o n , C O 8 0 1 2 7 - 2 0 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r r a l In c , P. O. Bo x 6 5 9 , 4 4 8 0 Wa l t h a m Dr , Ma n l i u s , N Y
 2.6435 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 13104
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja r r a r d Ha r d w a r e , 3 0 1 9 Ge e r Hw y, Ma r i e t t a , S C 2 9 6 6 1 - 9 1 1 2
 2.6436 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja r r a r d Tr u e Va l u e , Ja r r a r d Au t o Pa r t s & Hd w e , 1 3 1 S Fi r s t St ,
 2.6437 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 8 8 )
                                                                                                                                                                 Pa r i s , A R 7 2 8 5 5 - 3 9 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6438 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 73144
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 73144

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 73144

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 73144
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 73144
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6443 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 73144
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ja s c o Pr o d u c t s Co m p a n y, 3 1 1 Nw 1 2 2 St , Ok l a h o m a Ci t y, O K
 2.6444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 73144
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 08/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ja s o n In d u s t r i a l , 2 2 1 S We s t g a t e Dr , Ca r o l St r e a m , I L 6 0 1 8 8
 2.6445 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ja s o n In d u s t r i a l , 2 2 1 S We s t g a t e Dr , Ca r o l St r e a m , I L 6 0 1 8 8
 2.6446 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s p a n Br o t h e r s Ha r d w a r e , 1 1 7 Fi r s t Av e , At l a n t i c Hi g h l a n d s ,
 2.6447 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 3 8 )
        nature of the debtor's interest                                                                                                                          NJ 07716-1240

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja s p e r In d u s t r i a l Su p p l y, 3 1 8 5 N. Mi l l St r e e t , Ja s p e r , I N
 2.6448 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 9 1 )
                                                                                                                                                                 47546-1742
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja x Fa r m & Ra n c h # 8 , Ja x Fa r m & Ra n c h 8 , 5 0 0 5 We s t 1 2 0 t h
 2.6449 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 8 )
                                                                                                                                                                 Av e , Br o o m f i e l d , C O 8 0 0 2 0 - 5 6 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja x Me r c a n t i l e Co . , 1 4 0 0 De l l Ra n g e Bl v d , Ch e y e n n e , W Y
 2.6450 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 0 3 )
                                                                                                                                                                 82009-4801
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ja x Me r c a n t i l e Co . , 2 6 6 5 W Ei s e n h o w e r Bl v d , Lo v e l a n d , C O
 2.6451 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 9 )
                                                                                                                                                                 80537-3156
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ja x Me r c a n t i l e Co . , 4 6 2 9 N Ov e r l a n d Tr a i l , La p o r t e , C O
 2.6452 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 8 )
                                                                                                                                                     80535-8904
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Of La f a y e t t e # 6 , Ja x Of La f a y e t t e 6 , 4 0 0 W So u t h Bo u l d e r
 2.6453 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 3 )
                                                                                                                                                     Rd , La f a y e t t e , C O 8 0 0 2 6 - 8 8 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Of Lo v e l a n d # 4 , Ja x Of Lo v e l a n d 4 , 9 5 0 E Ei s e n h o w e r
 2.6454 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 4 )
        nature of the debtor's interest                                                                                                              Bl v d , Lo v e l a n d , C O 8 0 5 3 7 - 3 9 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Ou t d o o r Ge a r Am e s , 4 7 2 3 We s t Li n c o l n w a y, Am e s , I A
 2.6455 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 1 )
        nature of the debtor's interest                                                                                                              50014-3630

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Ou t d o o r Ge a r Ft . Co l l i n s , 1 2 0 0 N. Co l l e g e Av e , Ft . Co l l i n s ,
 2.6456 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 0 )
                                                                                                                                                     CO 80524-1383
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Ou t d o o r Ge a r La f a y e t t e , 9 0 0 So u t h Hi g h w a y 2 8 7 , Bo u l d e r ,
 2.6457 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 2 )
                                                                                                                                                     La f a y e t t e , C O 8 0 0 2 6 - 8 8 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x Ra n c h & Ho m e # 2 , Ja x Ra n c h & Ho m e 2 , 1 0 0 0 N Hw y 2 8 7 ,
 2.6458 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 2 )
                                                                                                                                                     Fo r t Co l l i n s , C O 8 0 5 2 4 - 1 3 8 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ja x m a Gr e e n h o u s e s In c , 6 4 4 0 Hw y 1 7 S, Gr e e n Co v e Sp r i n g s ,
 2.6459 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     FL 32043
        nature of the debtor's interest
          State the term remaining                        02/25/2019

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Ja y Ma n u f a c t u r i n g , 7 1 0 7 N Bl a c k Ca n y o n Hw y, Ph o e n i x , A Z
 2.6460 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         85021
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                         Ja z w a r e s L L C, 9 6 3 Sh o t g u n Rd , Su n r i s e , F L 3 3 3 2 6
 2.6461 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                         Jb De v e l o p m e n t g r o u p , L L C, Jb De v e l o p m e n t g r o u p , L L C, 3 1 6 6
 2.6462 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , J B De v e l o p m e n t Gr o u p M S A 2 0 2 3
        nature of the debtor's interest                                                                                                                  N Li n o c l n Av e , St e 3 2 5 , Ch i c a g o , I L 6 0 6 5 7

          State the term remaining                        10/01/2023

          List the contract number of any government
          contract
                                                                                                                                                         Jb Gr e e n h o u s e In c , P. O. Bo x 2 1 5 , 8 0 5 Po m e r o y, Bl u e Ra p i d s ,
 2.6463 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         KS 66411
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                         Jc Li c h t Tr u e Va l u e , 1 8 So u t h Sa n g a m o n St r e e t , Ch i c a g o , I L
 2.6464 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 7 6 )
                                                                                                                                                         60607-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Jc b In c . , 2 0 0 0 Ba m f o r d Bl v d , Po o l e r , G A 3 1 3 2 2
 2.6465 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2015

          List the contract number of any government
          contract
                                                                                                                                                         Jc j i En t e r p r i s e In c . , 1 3 3 1 S Di x i e Hw y W 9 a , Po m p a n o Be a c h ,
 2.6466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 7 )
                                                                                                                                                         FL 33060
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Jd j So l u t i o n s L L C, Jd j So l u t i o n s L L C, 5 9 8 3 Us Ro u t e 1 1 ,
 2.6467 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         Ho m e r , N Y 1 3 0 7 7
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Jd j So l u t i o n s L L C, Jd j So l u t i o n s L L C, 5 9 8 3 Us Ro u t e 1 1 ,
 2.6468 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ho m e r , N Y 1 3 0 7 7
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Je d Po o l To o l s In c , 1 0 0 1 Mo o s i c Ro a d , Ol d Fo r g e , PA 1 8 5 1 8
 2.6469 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2019 - 09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Je d Po o l To o l s In c , 1 0 0 1 Mo o s i c Ro a d , Ol d Fo r g e , PA 1 8 5 1 8
 2.6470 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Je f f ' s Tr u e Va l u e , 1 3 5 0 0 Pr o s p e c t Ro a d , St r o n g s v i l l e , O H
 2.6471 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 7 1 )
                                                                                                                                                     44149-3858
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je f f ' s Tr u e Va l u e Ha r d w a r e , Je f f ` s Tr u e Va l u e Ha r d w a r e , 2 3 0 0
 2.6472 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 6 4 )
                                                                                                                                                     Ke n t u c k y Av e n u e , Pl a t t e Ci t y, M O 6 4 0 7 9 - 7 6 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je f f e r s o n Ho m e Fa s h i o n s , 1 5 5 Br o o k s i d e Av e , We s t Wa r w i c k ,
 2.6473 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     RI 02893
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Je f f e r s o n Tr u e Va l u e Re n t a l , 4 2 7 S Ma i n St , Je f f e r s o n , N C
 2.6474 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 0 6 )
                                                                                                                                                     28640-9519
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je f f r e y s Ph a r m a c y, 1 1 0 0 We s t Ch e s t n u t St r e e t , Wa s h i n g t o n , PA
 2.6475 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 5 )
        nature of the debtor's interest                                                                                                              15301

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Je l d - We n , 2 6 4 5 Si l v e r Cr e s c e n t Dr , Ch a r l o t t e , N C 2 8 2 7 3
 2.6476 State what the contract or lease is for and the   Sa l e s Ag r e e m e n t , Ma s t e r Sa l e s Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je l m a r , 6 6 0 0 N Li n c o l n Av e , Li n c o l n w o o d , I L 6 0 6 4 5
 2.6477 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Je l m a r , 6 6 0 0 N Li n c o l n Av e , Li n c o l n w o o d , I L 6 0 6 4 5
 2.6478 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je l m a r , 6 6 0 0 N Li n c o l n Av e , Li n c o l n w o o d , I L 6 0 6 4 5
 2.6479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je l m a r , 6 6 0 0 N Li n c o l n Av e , Li n c o l n w o o d , I L 6 0 6 4 5
 2.6480 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je l m a r , 6 6 0 0 N Li n c o l n Av e , Li n c o l n w o o d , I L 6 0 6 4 5
 2.6481 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Je n Ma n u f a c t u r i n g In c , We s t Si d e , P. O. Bo x 2 0 1 2 8 , Wo r c e s t e r ,
 2.6482 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MA 01602
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je n n i f e r Mc Ne i l l , Ad d r e s s Re d a c t e d
 2.6483 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Je n n i f e r Mc Ne i l l
        nature of the debtor's interest
          State the term remaining                        12/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Je r e m i e Co r p o r a t i o n , 7 0 5 5 Am w i l e r In d u s t r i a l St , Su i t e C,
 2.6484 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Pe a c h t r e e Co r n e r s , G A 3 0 3 6 0

          State the term remaining                        04/30/2014

          List the contract number of any government
          contract
                                                                                                                                                     Je r o m e ' s Pa r t y Pl u s , 2 5 3 Un i o n St , We s t f i e l d , M A 0 1 0 8 5 - 2 4 6 3
 2.6485 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je r r y ' s , Je r r y ` s , 2 6 0 0 Hi g h w a y 9 9 No r t h , Eu g e n e , O R 9 7 4 0 2 -
 2.6486 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 6 6 )
                                                                                                                                                     9706
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je r r y ' s Fo r Al l Se a s o n s H & Gs , Je r r y ` s Fo r Al l Se a s o n s H &
 2.6487 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 1 8 )
                                                                                                                                                     Gs , 2 0 1 Je s s u p St r e e t , Du n m o r e , PA 1 8 5 1 2 - 2 2 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je r r y ' s Ho m e Im p r o v e m e n t Ce n t e r , Je r r y ` s Ho m e Im p r o v e m e n t
 2.6488 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 9 )
                                                                                                                                                     Ce n t e , 9 0 0 1 5 Pr a i r i e Rd . , Eu g e n e , O R 9 7 4 0 2 - 9 6 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je r r y ' s Ho m e Im p r o v e m e n t Ce n t e r , Je r r y ` s Ho m e Im p r o v e m e n t
 2.6489 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 8 )
                                                                                                                                                     Ce n t e , 2 5 2 5 Ol y m p i c St . , Sp r i n g f i e l d , O R 9 7 4 7 7 - 3 4 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je r r y ' s Pa i n t & Ha r d w a r e , 1 1 6 Po i n t Ju d i t h Ro a d , Na r r a g a n s e t t ,
 2.6490 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 2 )
        nature of the debtor's interest                                                                                                              RI 02882

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Je t Ha r d w a r e Mf g , 8 0 0 Hi n s d a l e St , Br o o k l y n , N Y 1 1 2 0 7
 2.6491 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/23/2011

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Je t / Wi l t o n ( Jp w In d u s t r i e s ) , 2 4 2 0 Va n t a g e Dr i v e , El g i n , I L
 2.6492 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60123

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je t / Wi l t o n ( Jp w In d u s t r i e s ) , 2 4 2 0 Va n t a g e Dr i v e , El g i n , I L
 2.6493 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60123
        nature of the debtor's interest
          State the term remaining                        08/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Je t t ' s Ha r d w a r e , Je t t ` s Ha r d w a r e , 1 8 4 2 5 No r t h u m b e r l a n d Hw y,
 2.6494 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 0 8 )
                                                                                                                                                                 Re e d v i l l e , VA 2 2 5 3 9 - 3 4 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je w e l e r s Re s o u r c e Co . , 8 2 0 0 Hu m b o l d t Av e , St e 1 0 5 ,
 2.6495 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi n n e a p o l i s , M N 5 5 4 3 1
        nature of the debtor's interest
          State the term remaining                        02/11/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Je w e t t Ca m e r o n Co m p a n y, P. O. Bo x 1 0 1 0 , 3 2 2 7 5 N W Hi l l c r e s t
 2.6496 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 St , No r t h Pl a i n s , O R 9 7 1 3 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Je w e t t Ca m e r o n Co m p a n y, P. O. Bo x 1 0 1 0 , 3 2 2 7 5 N W Hi l l c r e s t
 2.6497 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St , No r t h Pl a i n s , O R 9 7 1 3 3
        nature of the debtor's interest
          State the term remaining                        07/10/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Jf l En t e r p r i s e s In c , 4 9 0 0 Tr a i n Av e , Cl e v e l a n d , O H 4 4 1 0 2
 2.6498 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/17/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Jg b En t e r p r i s e s In c , 1 1 5 Me t r o p o l i t a n Dr , Li v e r p o o l , N Y 1 3 0 8 8
 2.6499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/14/2011

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Jh Ka n g Co n s u l t i n g L L C, Ad d r e s s Re d a c t e d
 2.6500 State what the contract or lease is for and the
                                                          As s i g n m e n t , J H Ka n g Co n s u l t i n g En g a g e m e n t Le t t e r 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        01/29/2024 - 01/28/2025

          List the contract number of any government
          contract
                                                                                                                                                             Jh Ka n g Co n s u l t i n g L L C, Ad d r e s s Re d a c t e d
 2.6501 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , J H Ka n g Co n s u l t i n g Ag r e e m e n t 2 0 2 3
        nature of the debtor's interest
          State the term remaining                        02/09/2023

          List the contract number of any government
          contract
                                                                                                                                                             Ji l l Cl a r k e - In d e p e n d e n t Co n t r a c t o r , Ad d r e s s Re d a c t e d
 2.6502 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , In d e p e n d e n t Co n t r a c t o r Ag r e e m e n t
        nature of the debtor's interest                   Ad d e n d u m 1 H R I S - Ji l l Cl a r k e

          State the term remaining                        02/08/2024 - 02/07/2025

          List the contract number of any government
          contract
                                                                                                                                                             Ji m m y Pa y n e Co a s t Ho m e & Au t o , 1 1 3 Co u r t St , Ca l h o u n , G A
 2.6503 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 9 )
                                                                                                                                                             30701-2233
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ji r e h Qu e b r a d i l l a s Lu m b e r Ya r d , Ll c , Ji r e h Qu e b r a d i l l a s
 2.6504 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 1 )
                                                                                                                                                             Lu m b e r Ya r d , Ca r r. 2 Km . 9 9 . 4 , Bo . Co c o s , Qu e b r a d i l l a s ,
        nature of the debtor's interest
                                                                                                                                                             Pu e r t o Ri c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Jj a a m m L L C, Jj a a m m L L C, 9 0 4 0 Hi g h v i e w La n e , Wo o d b u r y,
 2.6505 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             MN 55125
        nature of the debtor's interest
          State the term remaining                        06/30/2017

          List the contract number of any government
          contract
                                                                                                                                                             Jj a a m m L L C, Jj a a m m L L C, 9 0 4 0 Hi g h v i e w La n e , Wo o d b u r y,
 2.6506 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      MN 55125

          State the term remaining                        08/01/2024 - 10/01/2026

          List the contract number of any government
          contract
                                                                                                                                                             Jl g In d u s t r i e s , In c . , 1 J L G Dr i v e , Mc c o n n e l l s b u r g , PA 1 7 2 3 3
 2.6507 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/30/2021

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jm Ea g l e , 5 2 0 0 W Ce n t u r y Bl v d , Lo s An g e l e s , C A 9 0 0 4 5
 2.6508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Jm En t e r p r i s e s In c , P. O. Bo x 5 1 0 , Cl a r i o n , I A 5 0 5 2 5
 2.6509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Jm Ha r d w a r e Lo c k s m i t h In c , 1 9 Ea s t 2 1 s t St r e e t , Ne w Yo r k ,
 2.6510 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 3 )
                                                                                                                                                                 NY 10010
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6511 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 60466
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 05/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6512 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60466
        nature of the debtor's interest
          State the term remaining                        08/30/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6513 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60466

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60466

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6515 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60466
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jm Sm u c k e r Re t a i l Sa l e s , 3 0 0 Ce n t r a l Av e , Un i v e r s i t y Pa r k , I L
 2.6516 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60466
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jm k - Ii t In c , 5 3 0 W No r t h Fr o n t a g e Rd , Un i t B, Bo l i n g b r o o k ,
 2.6517 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60440
        nature of the debtor's interest
          State the term remaining                        05/26/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Jn o S So l e n b e r g e r & Co In c , 8 3 2 Be r r y v i l l e Av e , Wi n c h e s t e r ,
 2.6518 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 8 8 )
                                                                                                                                                                 VA 2 2 6 0 1 - 5 9 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo d i In t ' l / Fo u r p a w s , Jo d i In t e r n a t i o n a l / Fo u r p a w s , 1 0 0 Wi r e l e s s
 2.6519 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
        nature of the debtor's interest
          State the term remaining                        05/24/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Jo d y ' S In c , 2 8 4 2 Cr o m w e l l Rd , No r f o l k , VA 2 3 5 0 9
 2.6520 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Jo e ' s Tr u e Va l u e , Jo e ` s Tr u e Va l u e , 5 4 So u t h Ma i n St , Mo u n t
 2.6521 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 9 6 )
        nature of the debtor's interest                                                                                                                          Gi l e a d , O H 4 3 3 3 8 - 1 4 3 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo e l s Wh o l e s a l e , 2 2 6 Gl e n m o r e Av e , Br o o k l y n , N Y 1 1 2 0 7
 2.6522 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo e s Tr u e Va l u e Ho m e Ce n t e r , 5 3 5 En g l e St , Ch e s t e r , PA
 2.6523 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 1 8 )
                                                                                                                                                                 19013-2726
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Jo h n Da y Ha r d w a r e , 1 6 1 E Ma i n St , Jo h n Da y, O R 9 7 8 4 5 - 1 2 1 0
 2.6524 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 2 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n De e r e Re t a i l Co n s t r u c t i o n Sa l e , 1 3 0 0 Ri v e r Dr , Mo l i n e ,
 2.6525 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     IL 61265
        nature of the debtor's interest
          State the term remaining                        02/01/2020

          List the contract number of any government
          contract
                                                                                                                                                     Jo h n Ha l l Tr u e Va l u e , Jo h n Ha l l Tr u e Va l u e Hd w, 2 0 5 S Ma i n
 2.6526 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 0 )
                                                                                                                                                     St , Go s h e n , I N 4 6 5 2 6 - 3 7 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n Le e Pa i n t , 3 4 Co l i s e u m Bl v d , Mo n t g o m e r y, A L 3 6 1 0 9
 2.6527 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n P. Co a k l e y So n s In c . , Co a k l e y Hi g h Pe a k s Ac e Ha r d w a r e ,
 2.6528 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 3 6 )
        nature of the debtor's interest                                                                                                              2 5 3 5 St a t e Hi g h w a y 6 8 , Ca n t o n , N Y 1 3 6 1 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n Va n d e r p o o l , Ad d r e s s Re d a c t e d
 2.6529 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Jo h n Va n d e r p o o l
        nature of the debtor's interest
          State the term remaining                        04/04/2022

          List the contract number of any government
          contract
                                                                                                                                                     Jo h n n y ' s Ha r d w a r e , 4 0 1 W Sa n t a Ro s a St , Ed c o u c h , T X 7 8 5 3 8 -
 2.6530 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 3 3 )
                                                                                                                                                     3103
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n n y ' s Tr u e Va l u e # 3 , Jo h n n y ' s Tr u e Va l u e 3 , 4 2 0 E Ca n o ,
 2.6531 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 4 6 )
                                                                                                                                                     Ed i n b u r g , T X 7 8 5 3 9 - 4 5 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jo h n n y s Tr u e Va l u e Hd w e , 9 1 4 W Ty l e r Av e , Ha r l i n g e n , T X
 2.6532 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 6 9 )
                                                                                                                                                                 78550-6159
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s Ma n v i l l e In t l In c , 7 1 7 1 7 Th St r e e t , De n v e r , C O 8 0 2 0 2
 2.6533 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s Ma n v i l l e In t l In c , 7 1 7 1 7 Th St r e e t , De n v e r , C O 8 0 2 0 2
 2.6534 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Br o t h e r s Ha r d w a r e & Au t o Su p p l y, Jo h n s o n Br o t h e r s
 2.6535 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 1 8 )
                                                                                                                                                                 Ha r d w a r e An d , 8 5 0 8 2 7 Us Hi g h w a y 1 7 So u t h , Yu l e e , F L 3 2 0 9 7 -
        nature of the debtor's interest
                                                                                                                                                                 3985
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Co n t r o l s In t ' l Pl a c e , Jo h n s o n Co n t r o l s In t e r n a t i o n a l
 2.6536 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Jo h n s o n Co n t r o l s Sa l e s
        nature of the debtor's interest                   Ag r e e m e n t _ Vi d e o Se r v i c e s f o r De n v e r _ 2 0 2 2                                  Pl a c e D/ B/ A Jo h n s o n Co n t r o l s Se c u r i t y So l u t i o n , L L C, 5 7 5 7
                                                                                                                                                                 No r t h Gr e e n Ba y Av e n u e , Gl a n d a l e , W I 5 3 2 0 9
          State the term remaining                        08/09/2022 - 08/08/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Co n t r o l s In t ' l Pl a c e , Jo h n s o n Co n t r o l s In t e r n a t i o n a l
 2.6537 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Jo h n s o n Co n t r o l s Sa l e s
                                                          Ag r e e m e n t _ Al a r m Se r v i c e s f o r De n v e r _ 2 0 2 2                                  Pl a c e D/ B/ A Jo h n s o n Co n t r o l s Se c u r i t y So l u t i o n , L L C, 5 7 5 7
        nature of the debtor's interest
                                                                                                                                                                 No r t h Gr e e n Ba y Av e n u e , Gl a n d a l e , W I 5 3 2 0 9
          State the term remaining                        08/09/2022 - 08/08/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Co n t r o l s In t ' l Pl a c e , Jo h n s o n Co n t r o l s In t e r n a t i o n a l
 2.6538 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Jo h n s o n Co n t r o l s Sa l e s
                                                          Ag r e e m e n t _ Bu r g l a r Al a r m Se r v i c e s f o r De n v e r _ 2 0 2 2                     Pl a c e D/ B/ A Jo h n s o n Co n t r o l s Se c u r i t y So l u t i o n , L L C, 5 7 5 7
        nature of the debtor's interest
                                                                                                                                                                 No r t h Gr e e n Ba y Av e n u e , Gl a n d a l e , W I 5 3 2 0 9
          State the term remaining                        09/02/2022 - 09/01/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Co n t r o l s , In c . , Jo h n s o n Co n t r o l s , In c , 3 0 0 7 Ma l m o
 2.6539 State what the contract or lease is for and the
                                                          Eq u i p m e n t Re p a i r , Jo h n s o n Co n t r o l s - Ba d g e Sy s t e m Su p p o r t
                                                                                                                                                                 Dr i v e , Ar l i n g t o n He i g h t s , I L 6 0 0 0 5
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6540 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 53092
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6541 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53092
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6542 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 53092
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6543 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53092

          State the term remaining                        01/01/2024 - 04/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6544 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53092

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Le v e l & To o l , 6 3 3 3 W Do n g e s Ba y Ro a d , Me q u o n , W I
 2.6545 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 53092
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Lu m b e r Co m p a n y, Jo h n s o n Lu m b e r Co , 7 1 5 E Ma i n St ,
 2.6546 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 1 7 )
                                                                                                                                                                 Sc o t t s v i l l e , K Y 4 2 1 6 4 - 1 6 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo h n s o n Nu r s e r y & Ga r d e n Ce n t e r , Jo h n s o n Nu r s e r y & Ga r d e n
 2.6547 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 1 3 )
                                                                                                                                                                 Ce n t e , 1 7 1 7 Ea s t Sp r i n g St r e e t , Co o k e v i l l e , T N 3 8 5 0 6 - 4 3 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Jo h n s o n Ou t d o o r s / Eu r e k a Te n t , 4 1 0 4 Ve s t a l Ro a d , Su i t e 2 0 2 ,
 2.6548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ve s t a l , N Y 1 3 8 5 0
        nature of the debtor's interest
          State the term remaining                        06/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Jo h n s o n Tr u e Va l u e , 5 0 1 E Ch e s t n u t St , Mo u n t Pu l a s k i , I L
 2.6549 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 2 1 )
                                                                                                                                                     62548-1344
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n s o n Tr u e Va l u e Ha r d w a r e , 4 0 Fo r t Hi l l Rd , Gr o t o n , C T
 2.6550 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 3 6 )
                                                                                                                                                     06340-4798
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n s o n Wh o l e s a l e Co m p a n y, 2 2 2 6 Mu s t a n g Wa y, Ma d i s o n , W I
 2.6551 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 8 )
        nature of the debtor's interest                                                                                                              53718

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n s o n ' s Ho m e & Ga r d e n Sh o w p l a c e , 2 7 0 7 W 1 3 t h St N,
 2.6552 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 1 4 )
                                                                                                                                                     Wi c h i t a , K S 6 7 2 0 3 - 1 8 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo h n s o n ' s Tr u e Va l u e Ha r d w a r e , Jo h n s o n ` s Tr u e Va l u e
 2.6553 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 4 7 )
                                                                                                                                                     Ha r d w a r e , 1 8 8 No r t h St 2 5 5 1 , Ca l a i s , M E 0 4 6 1 9 - 1 6 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jo m a r Ta b l e Li n e n s , 4 0 0 0 E Ai r p o r t Dr i v e , On t a r i o , C A 9 1 7 6 1
 2.6554 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Jo n a r u a l , In c . , Jo n a r u a l In c . , Ca r r e t e r a Pr - 1 5 5 Km 2 9 . 1 , Bo .
 2.6555 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 8 )
                                                                                                                                                     Ga t o , Or o c o v i s , P R 0 0 7 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jo n a t h a n Gr e e n & So n s , In c . , Jo n a t h a n Gr e e n & So n s , In c , P. O.
 2.6556 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 3 2 6 , Fa r m i n g d a l e , N J 0 7 7 2 7
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n a t h a n Gr e e n & So n s , In c . , Jo n a t h a n Gr e e n & So n s , In c , P. O.
 2.6557 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 3 2 6 , Fa r m i n g d a l e , N J 0 7 7 2 7
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n a t h a n Gr e e n & So n s , In c . , Jo n a t h a n Gr e e n & So n s , In c , P. O.
 2.6558 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bo x 3 2 6 , Fa r m i n g d a l e , N J 0 7 7 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo n a t h a n Gr e e n & So n s , In c . , Jo n a t h a n Gr e e n & So n s , In c , P. O.
 2.6559 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo x 3 2 6 , Fa r m i n g d a l e , N J 0 7 7 2 7

          State the term remaining                        10/01/2020 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n a t h a n Gr e e n & So n s , In c . , Jo n a t h a n Gr e e n & So n s , In c , P. O.
 2.6560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 3 2 6 , Fa r m i n g d a l e , N J 0 7 7 2 7
        nature of the debtor's interest
          State the term remaining                        07/25/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n e s Ho m e & Au t o Tr u e Va l u e , 2 8 1 0 So u t h Ma i n , Pe r r y t o n , T X
 2.6561 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 9 )
                                                                                                                                                                 79070-5346
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo n e s La n g La s a l l e , 2 0 0 Ea s t Ra n d o l p h Dr i v e , Ch i c a g o , I L
 2.6562 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Jo n e s La n g La Sa l l e Am e r i c a s
                                                          Re a l Es t a t e Ag r e e m e n t                                                                     60601
        nature of the debtor's interest
          State the term remaining                        06/19/2023 - 06/18/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n e s Na t u r a l Ch e w s Co , 4 9 6 0 2 8 t h Av e , Ro c k f o r d , I L 6 1 1 0 9
 2.6563 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jo n e s Tr u e Va l u e , Jo n e s Tr u e Va l u e Ha r d w a r e , 1 0 1 9 N
 2.6564 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 3 1 )
                                                                                                                                                                 Br e a z e a l e Av e n u e , Mo u n t Ol i v e , N C 2 8 3 6 5 - 1 1 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo n e s - St e p h e n s Co r p o r a t i o n , 3 2 4 9 Mo o d y Pa r k w a y, P. O. Bo x
 2.6565 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 5 8 0 , Mo o d y, A L 3 5 0 0 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Jo n e s v i l l e Tr u e Va l u e Ha r d w a r e , 2 1 7 E Ch i c a g o St , Jo n e s v i l l e ,
 2.6566 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 2 4 )
        nature of the debtor's interest                                                                                                                          MI 49250-1002

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo r d a n Mf g Co In c , 1 2 0 0 S Si x t h St , Mo n t i c e l l o , I N 4 7 9 6 0
 2.6567 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo r e Co r p o r a t i o n , 3 4 8 3 7 In n o v a t i o n Dr i v e , Ro n a n , M T 5 9 8 6 4
 2.6568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Jo s e p h En t e r p r i s e s In c , 6 0 3 Sw e e t l a n d Av e , Hi l l s i d e , N J 0 7 2 0 5
 2.6569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Jo s e p h En t e r p r i s e s In c , 6 0 3 Sw e e t l a n d Av e , Hi l l s i d e , N J 0 7 2 0 5
 2.6570 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jo s e p h Jo s e p h , 4 1 Ma d i s o n Av e , 1 5 Th Fl o o r , Ne w Yo r k , N Y
 2.6571 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10010
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Jo y c e Ch e n Pr o d u c t s , 4 0 4 N Ra n d Rd , No r t h Ba r r i n g t o n , I L
 2.6572 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60010
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Jr En t e r p r i s e s , 4 1 9 0 Fi s h e r Rd , Co l u m b u s , O H 4 3 2 2 8
 2.6573 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6574 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 MN 55077

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MN 55077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MN 55077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MN 55077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6578 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MN 55077
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MN 55077
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Jr k Se e d & Tu r f Su p p l y, 5 7 1 5 Bl a i n e Av e , In v e r Gr o v e He i g h t ,
 2.6580 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     MN 55077
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Jr m Ch e m i c a l , 4 8 8 1 Ne o Pa r k w a y, Cl e v e l a n d , O H 4 4 1 2 8
 2.6581 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Js Wa r e h o u s e Tr u e Va l u e , 5 1 0 Po r t Ba g a i l Bl v d , Cr a i g , A K
 2.6582 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 3 6 )
        nature of the debtor's interest                                                                                                              99921-9999

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Jt Sp o r t s , P. O. Bo x 1 9 5 6 , Ro g e r s , A R 7 2 7 5 7
 2.6583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Jt o w n Ha r d w a r e & Re n t a l , 1 0 5 1 3 Wa t t e r s o n Tr a i l ,
 2.6584 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 5 8 )
                                                                                                                                                     Je f f e r s o n t o w n , K Y 4 0 2 9 9 - 3 7 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ju k a In n o v a t i o n s Co r p o r a t i o n , 4 0 Ga z z a Bl v d , Fa r m i n g d a l e , N Y
 2.6585 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     11735
        nature of the debtor's interest
          State the term remaining                        08/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ju l e s b u r g Fa m i l y Ma r k e t , 2 2 2 Ce d a r St r e e t , Ju l e s b u r g , C O
 2.6586 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 4 )
                                                                                                                                                     80737
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ju l i e ' s Tr u e Va l u e , 1 2 Sh o p p i n g Ce n t e r , Si l v e r Ba y, M N 5 5 6 1 4 -
 2.6587 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 1 0 )
        nature of the debtor's interest                                                                                                              1135

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ju n c t i o n Ci t y Fa r m & Ga r d e n , 3 5 8 Hi g h w a y 9 9 S, Ju n c t i o n
 2.6588 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 5 )
        nature of the debtor's interest                                                                                                              Ci t y, O R 9 7 4 4 8 - 9 7 0 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ju n c t i o n Tr u e Va l u e Hd w e , Ju n c t i o n Tr u e Va l u e , 4 7 4 7 4 4 t h Av e
 2.6589 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 3 4 )
        nature of the debtor's interest                                                                                                              Sw, Se a t t l e , WA 9 8 1 1 6 - 4 4 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ju n g l e Nu r s e r y, Th e , 6 0 6 5 S W 1 3 3 r d St , Mi a m i , F L 3 3 1 5 6
 2.6590 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/30/2010

          List the contract number of any government
          contract
                                                                                                                                                     Ju s t i c e Ha r d w a r e , 8 2 7 Br o a d St , Ea s t We y m o u t h , M A 0 2 1 8 9 -
 2.6591 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 4 0 )
                                                                                                                                                     2030
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ju s t r i t e Mf g Co , 2 4 5 4 De m p s t e r St , De s Pl a i n e s , I L 6 0 0 1 6
 2.6592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ju s t u s Tr u e Va l u e Ho m e & Ga r d e n , Ju s t u s Tr u e Va l u e Ho m e &
 2.6593 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 3 8 )
                                                                                                                                                     Ga r d e , 5 8 7 Ju s t u s Bo u l e v a r d , Cl a r k s Su m m i t , PA 1 8 4 1 1 - 7 7 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     K & B Tr u e Va l u e , 9 1 2 Fo r e s t Dr , An n a p o l i s , M D 2 1 4 0 3 - 1 7 5 6
 2.6594 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     K & G Au t o & Tr u e Va l u e Ha r d w a r e , K & G Au t o & Tr u e Va l u e
 2.6595 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 4 1 )
        nature of the debtor's interest                                                                                                              Ha r d w a , 6 5 Ma i n St , Ri c h m o n d , M E 0 4 3 5 7 - 1 1 2 6

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         K & G Pa t t o n En t e r p r i s e s , 1 5 3 0 In d u s t r i a l Dr i v e , Gr i f f i n , G A
 2.6596 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , K & G Pa t t o n En t e r p r i s e s
        nature of the debtor's interest                   Wa s t e Se r v i c e a n d Re n t a l Ag r e e m e n t f o r At l a n t a 2 0 2 4             30224

          State the term remaining                        08/01/2024 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                         K & K Tr u e Va l u e Ha r d w a r e , 1 8 1 8 Gr a n t St , Be t t e n d o r f , I A
 2.6597 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 )
        nature of the debtor's interest                                                                                                                  52722-4927

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         K & M In t ' l , K & M In t e r n a t i o n a l , 1 9 5 5 Mi d w a y Dr ,
 2.6598 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         Tw i n s b u r g , O H 4 4 0 8 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                         K & S In d u s t r i a l Co r p o r a t i o n , 4 3 2 Ca s t l e t o n Av e , St a t e n Is l a n d ,
 2.6599 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 8 6 )
                                                                                                                                                         NY 10301-2714
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         K & S Pr e c i s i o n Me t a l s , 6 9 1 7 We s t 5 9 Th St r e e t , Ch i c a g o , I L
 2.6600 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         60638
        nature of the debtor's interest
          State the term remaining                        10/01/2008

          List the contract number of any government
          contract
                                                                                                                                                         K & W Gr e e n e r y In c H& g s , 1 3 2 8 Hw y 1 4 Ea s t , Ja n e s v i l l e , W I
 2.6601 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 5 1 )
                                                                                                                                                         53545-9645
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         K Co Pr o d u c t s L L C, K Co Pr o d u c t s L L C, 1 6 0 1 Al t o n Pa r k w a y,
 2.6602 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  Un i t D, Ir v i n e , C A 9 2 6 0 6

          State the term remaining                        02/16/2018

          List the contract number of any government
          contract
                                                                                                                                                         K Ha r d w a r e , 1 1 0 1 St a t e St r e e t , We i s e r , I D 8 3 6 7 2 - 2 0 4 7
 2.6603 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 K Ha r d w a r e Om a k , 6 6 1 E Ri v e r s i d e Dr , Om a k , WA 9 8 8 4 1 - 9 5 6 2
 2.6604 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 2 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 K. C. Sc h a e f e r Su p p l y, 2 6 5 5 Sp r i n g f i e l d Rd , Yo r k , PA 1 7 4 0 2
 2.6605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 K& K In t e r i o r s In c , 2 2 3 0 Su p e r i o r St , Sa n d u s k y, O H 4 4 8 7 0
 2.6606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/14/2013

          List the contract number of any government
          contract
                                                                                                                                                                 K& K In t e r i o r s In c , 2 2 3 0 Su p e r i o r St , Sa n d u s k y, O H 4 4 8 7 0
 2.6607 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 K& M Ma n u f a c t u r i n g , P. O. Bo x 4 0 9 , 3 0 8 N W 2 n d St , Re n v i l l e ,
 2.6608 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MN 56284
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 K2 Sa l e s , 1 0 7 5 W Su n n y s i d e Rd , Id a h o Fa l l s , I D 8 3 4 0 2 - 4 3 3 5
 2.6609 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6612 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6613 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6614 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b En t e r p r i s e Co Lt d , 2 1 F- 1 , No 3 3 , Mi n g Sh e n g Rd , Ne w
 2.6615 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ta i p e i Ci t y, Ta i p e i Hs i e n 2 2 0 , Ta i w a n
        nature of the debtor's interest
          State the term remaining                        09/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ka b a Il c o Co r p , 4 0 0 Je f f r i e s Rd , Ro c k y Mo u n t , N C 2 7 8 0 2
 2.6616 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ka b a Il c o Co r p , 4 0 0 Je f f r i e s Rd , Ro c k y Mo u n t , N C 2 7 8 0 2
 2.6617 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b a Il c o Co r p , 4 0 0 Je f f r i e s Rd , Ro c k y Mo u n t , N C 2 7 8 0 2
 2.6618 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka b a Il c o Co r p , 4 0 0 Je f f r i e s Rd , Ro c k y Mo u n t , N C 2 7 8 0 2
 2.6619 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Ka b a Il c o Co r p , 4 0 0 Je f f r i e s Rd , Ro c k y Mo u n t , N C 2 7 8 0 2
 2.6620 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                   Ka e m i n g k In t ' l , Br o e k s t r a a t 1 3 , Aa l t e n , M N 7 1 2 2 , Ne t h e r l a n d s
 2.6621 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/12/2013

          List the contract number of any government
          contract
                                                                                                                                                   Ka h o o t z L L C, Ka h o o t z L L C, 7 7 2 Ai r p o r t Bl v d , Su i t e 1 , An n
 2.6622 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   Ar b o r , M I 4 8 1 0 8
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                   Ka i s e r Al u m i n u m Fa b r i c a t e d Pr o d , 1 5 4 7 He l t o n Dr - Bo x 3 8 ,
 2.6623 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   Fl o r e n c e , A L 3 5 6 3 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Ka i s e r Al u m i n u m Fa b r i c a t e d Pr o d , 1 5 4 7 He l t o n Dr , Bo x 3 8 ,
 2.6624 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   Fl o r e n c e , A L 3 5 6 3 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Ka i s e r Al u m i n u m Fa b r i c a t e d Pr o d , 1 5 4 7 He l t o n Dr , Bo x 3 8 ,
 2.6625 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            Fl o r e n c e , A L 3 5 6 3 0

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                   Ka l a m a z o o Fl o w e r Gr o u p L L C, Ka l a m a z o o Fl o w e r Gr o u p L L C,
 2.6626 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            Gr o w e r s Co - Op , 8 9 3 7 Kr u m Av e n u e , Ga l e s b u r g , M I 4 9 0 5 3

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Ka l i n a Tr u e Va l u e , 2 1 1 5 Br o a d w a y St , Ma l i n , O R 9 7 6 3 2 - 9 6 3 5
 2.6627 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ka l o r i k , 1 6 1 7 5 Nw 4 9 Th Av e n u e , Mi a m i Ga r d e n s , F L 3 3 0 1 4
 2.6628 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/29/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ka l o r i k , 1 6 1 7 5 Nw 4 9 Th Av e n u e , Mi a m i Ga r d e n s , F L 3 3 0 1 4
 2.6629 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Br o o k l y n , 8 0 2 1 s t St , Br o o k l y n , N Y 1 1 2 3 2 - 1 1 3 8
 2.6630 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Bu i l d i n g Su p p l y & Ha r d w a r e , Ka m c o Bu i l d i n g Su p p l y &
 2.6631 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 7 8 )
                                                                                                                                                     Tr u e V, 1 1 0 0 To w n s h i p Li n e Rd , Ch e s t e r , PA 1 9 0 1 3 - 1 4 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Su p p l y, 3 7 Am f l e x Dr , Cr a n s t o n , R I 0 2 9 2 1 - 2 0 2 8
 2.6632 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Su p p l y Br o n x , 2 4 0 1 Gl e a s o n Av e , Br o n x , N Y 1 0 4 6 2
 2.6633 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Su p p l y Ne w Yo r k , 5 0 6 W 2 1 s t St , Ne w Yo r k , N Y
 2.6634 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 6 4 )
                                                                                                                                                     10011-4729
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka m c o Su p p l y Of Nj , 8 4 5 E 2 5 St , Pa t e r s o n , N J 0 7 5 1 3 - 1 2 0 1
 2.6635 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ka m c o Su p p l y Tr u e Va l u e Al b a n y, 3 6 Ra i l r o a d Av e n u e , Al b a n y,
 2.6636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 6 2 )
                                                                                                                                                      NY 12205-5721
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ka m c o Su p p l y Tr u e Va l u e Da n b u r y, Ka m c o Su p p l y Tr u e Va l u e
 2.6637 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 5 5 )
                                                                                                                                                      Da n b u r , 1 4 In d u s t r i a l Pl a z a Ro a d , Da n b u r y, C T 0 6 8 1 0 - 4 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ka m c o Sy o s s e t , 3 0 1 Ro b b i n s Ln , Sy o s s e t , N Y 1 1 7 9 1 - 6 0 0 6
 2.6638 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 4 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ka m p s Pa l l e t s , 2 9 0 0 Pe a c h Ri d g e Av e , Gr a n d Ra p i d s , M I 4 9 5 3 4
 2.6639 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ka m p s Pa l l e t Se r v i c e s
        nature of the debtor's interest                   Am e n d m e n t 2 0 2 5

          State the term remaining                        03/15/2024 - 03/14/2025

          List the contract number of any government
          contract
                                                                                                                                                      Ka m p s Pa l l e t s , 2 9 0 0 Pe a c h Ri d g e Av e , Gr a n d Ra p i d s , M I 4 9 5 3 4
 2.6640 State what the contract or lease is for and the
                                                          Go o d s Pu r c h a s e , Ka m p s Pa l l e t s - Se r v i c e Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        04/11/2022 - 04/10/2025

          List the contract number of any government
          contract
                                                                                                                                                      Ka n e Lu m b e r & Fu e l Co . Tr u e Va l u e , Ka n e Lu m b e r & Fu e l Co
 2.6641 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 3 9 )
        nature of the debtor's interest                                                                                                               Tr u e Va l u e , 2 5 0 He m l o c k Av e , Ka n e , PA 1 6 7 3 5 - 1 6 5 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ka n k a k e e Nu r s e r y Co , P. O. Bo x 2 8 8 , Ar o m a Pa r k , I L 6 0 9 1 0
 2.6642 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/30/2023 - 12/31/9999

          List the contract number of any government
          contract
                                                                                                                                                      Ka n s a s Bu i l d i n g Su p p l y, 6 0 0 St a t e Hi g h w a y 1 0 , Ka n s a s , O K
 2.6643 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 2 )
                                                                                                                                                      74347-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ka p s Te x Co Lt d , 2 F, 8 Ac h a s a n - Ro , 5 1 - Gi l , Gw a n g j i n - Gu ,
 2.6644 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Se o u l , So u t h Ko r e a
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ka p s Te x Co Lt d , 2 F, 8 Ac h a s a n - Ro , 5 1 - Gi l , Gw a n g j i n - Gu ,
 2.6645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Se o u l , So u t h Ko r e a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka p s Te x Co Lt d , 2 F, 8 Ac h a s a n - Ro , 5 1 - Gi l , Gw a n g j i n - Gu ,
 2.6646 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Se o u l , So u t h Ko r e a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka p s Te x Co Lt d , 2 F, 8 Ac h a s a n - Ro , 5 1 - Gi l , Gw a n g j i n - Gu ,
 2.6647 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Se o u l , So u t h Ko r e a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka p s Te x Co Lt d , 2 F, 8 Ac h a s a n - Ro , 5 1 - Gi l , Gw a n g j i n - Gu ,
 2.6648 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Se o u l , So u t h Ko r e a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka r c h e r , 2 8 2 5 Br e c k i n r i d g e Bl v d , Su i t e 1 2 0 , Du l u t h , G A 3 0 0 9 6
 2.6649 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ka r l s Ev e n t Re n t a l , 7 0 0 0 S 1 0 t h St , Oa k Cr e e k , W I 5 3 1 5 4
 2.6650 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ka r o l Bo l t s & Fa s t e n e r s , P. O. Bo x 1 8 2 , La w r e n c e , N Y 1 1 5 5 9
 2.6651 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ka r p As s o c i a t e s , 5 4 - 5 4 4 3 r d St , P. O. Bo x 5 , Ma s p e t h , N Y
 2.6652 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     11378
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Ka r p As s o c i a t e s , 5 4 - 5 4 4 3 r d St , P. O. Bo x 5 , Ma s p e t h , N Y
 2.6653 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     11378
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ka r p As s o c i a t e s , 5 4 - 5 4 4 3 r d St , P. O. Bo x 5 , Ma s p e t h , N Y
 2.6654 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     11378
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ka s p a r i a n ' s Pa i n t Ce n t e r , 4 6 3 5 N. Ce d a r Av e , Fr e s n o , C A
 2.6655 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 1 )
        nature of the debtor's interest                                                                                                              93726

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka t a h d i n Tr u e Va l u e , 2 2 5 Ar o o s t o o k Av e , Mi l l i n o c k e t , M E
 2.6656 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 5 )
        nature of the debtor's interest                                                                                                              04462-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka t a l y s t Gr o u p , 7 0 1 W Ja c k s o n Bl v d , Su i t e 5 0 4 , Ch i c a g o , I L
 2.6657 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Ka t a l y s t Gr o u p - Ag e n c y a n d Re c r u i t i n g
                                                          Ag r e e m e n t 2 0 2 0                                                                   60661
        nature of the debtor's interest
          State the term remaining                        06/17/2020

          List the contract number of any government
          contract
                                                                                                                                                     Ka u t s c h Tr u e Va l u e , 7 0 5 W Hi g h w a y 8 3 , Al a m o , T X 7 8 5 1 6 -
 2.6658 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 2 )
                                                                                                                                                     2528
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ka y Ho m e Pr o d u c t s , 9 0 Mc m i l l e n Rd , An t i o c h , I L 6 0 0 0 2
 2.6659 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ka y t e e Pe t , 7 2 1 5 Co l l e c t i o n Ce n t e r Dr i v e , Ch i c a g o , I L 6 0 6 9 3
 2.6660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/24/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ka y t e e Pe t , 7 2 1 5 Co l l e c t i o n Ce n t e r Dr i v e , Ch i c a g o , I L 6 0 6 9 3
 2.6661 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ka y t e e s Fa m i l y Re s t a u r a n t & Ma r k e t p l a c e , 2 5 1 Ro u t e 6 We s t ,
 2.6662 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 2 7 )
                                                                                                                                                                 Co u d e r s p o r t , PA 1 6 9 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6663 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 01752

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6664 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 01752
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6665 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 01752
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6666 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 01752
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6667 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 01752
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6668 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 01752
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6669 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 01752
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z Us a , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 , Ma r l b o r o u g h , M A
 2.6670 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          01752

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ka z , In c . , Ka z , In c , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 ,
 2.6671 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r l b o r o u g h , M A 0 1 7 5 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ka z , In c . , Ka z , In c , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 ,
 2.6672 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r l b o r o u g h , M A 0 1 7 5 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ka z , In c . , Ka z , In c , 4 0 0 Do n a l d Ly n c h Bl v d , Su i t e 3 0 0 ,
 2.6673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r l b o r o u g h , M A 0 1 7 5 2
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Kc & Co m p a n y, K C Tr u e Va l u e , 1 3 0 2 Pe n a St , Ca r r i z o
 2.6674 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 3 6 )
                                                                                                                                                                 Sp r i n g s , T X 7 8 8 3 4 - 3 6 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke a r s l e y Tr u e Va l u e Hd w, 5 2 0 St a t e St , Cl e a r f i e l d , U T 8 4 0 1 5 -
 2.6675 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 7 6 )
                                                                                                                                                                 1733
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Ke a t h l y ' s Nu r s e r y, 5 4 7 Bi g Sn a k e Ro a d , Po n c a Ci t y, O K 7 4 6 0 4 -
 2.6676 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 1 )
                                                                                                                                                             6047
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ke e l v a r Sy s t e m s Lt d , Ru b i c o n c e n t r e , Bi s h o p s t o w n , T1 2 Y2 7 5 ,
 2.6677 State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Ke e l v a r Tr a n s p o r t a t i o n
                                                                                                                                                             Un i t e d Ki n g d o m
        nature of the debtor's interest                   Pr o c u r e m e n t Sa a S Su b s c r i p t i o n

          State the term remaining                        01/01/2024 - 12/31/2028

          List the contract number of any government
          contract
                                                                                                                                                             Ke f a u v e r Tr u e Va l u e Lb r , Ke f a u v e r Tr u e Va l u e Lu m b e r , 1 3 3 3
 2.6678 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 7 0 )
        nature of the debtor's interest                                                                                                                      W Ja r r e t t s v i l l e Rd , Fo r e s t Hi l l , M D 2 1 0 5 0 - 1 1 0 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ke g Pr o d u c t s , W6 0 N 1 7 1 Ca r d i n a l Av e , Ce d a r b u r g , W I 5 3 0 1 2
 2.6679 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                             Ke h e Di s t r i b u t o r s L L C, 9 0 0 N Sc h m i d t Rd , Ro m e o v i l l e , I L
 2.6680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             60446
        nature of the debtor's interest
          State the term remaining                        07/01/2014

          List the contract number of any government
          contract
                                                                                                                                                             Ke i l Br o t h e r s , 5 0 0 Fr a n k l i n Av e , Fr a n k l i n Sq u a r e , N Y 1 1 0 1 0 -
 2.6681 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 6 2 )
                                                                                                                                                             1200
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ke i t h Tr u e Va l u e , 9 1 1 S Le e , Fo r t Gi b s o n , O K 7 4 4 3 4 - 1 2 9 8
 2.6682 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ke i t h s Ha r d w a r e , 1 2 0 1 Ba r d s t o w n Rd , Lo u i s v i l l e , K Y 4 0 2 0 4 -
 2.6683 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 8 2 )
                                                                                                                                                             1303
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ke l l e r m a n ' s Fe e d & Su p p l y, Ke l l e r m a n ` s Fe e d & Su p p l y Tr u e ,
 2.6684 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 0 3 )
                                                                                                                                                                 1 0 3 1 S Ma i n St r e e t , Pi n c k n e y v i l l e , I L 6 2 2 7 4 - 1 4 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l o g g Su p p l y In c , 3 5 0 W Se p u l v e d a Bl v d , Ca r s o n , C A 9 0 7 4 5
 2.6685 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l o g g Su p p l y In c , 3 5 0 W Se p u l v e d a Bl v d , Ca r s o n , C A 9 0 7 4 5
 2.6686 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l y Ha r d w a r e , 9 6 1 0 t h St N, No r t h w o o d , I A 5 0 4 5 9 - 1 4 3 8
 2.6687 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l y Se r v i c e s , 9 9 9 We s t Bi g Be a v e r Ro a d , Tr o y, M I 4 8 0 8 4
 2.6688 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ke l l y Se r v i c e s Ag e n c y a n d
        nature of the debtor's interest                   Re c r u i t i n g Ag r e e m e n t

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l y ' s Lu m b e r Ya r d ( 2 0 0 5 ) Lt d , Ke l l y ` s Lu m b e r Ya r d ( 2 0 0 5 )
 2.6689 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 9 )
                                                                                                                                                                 Lt d , Ea s t St r e e t So u t h , Na s s a u , Ba h a m a s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l y ' s Tr u e Va l u e Re n t a l , 1 6 1 St a t e St , Ne w b u r y p o r t , M A
 2.6690 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 3 4 )
                                                                                                                                                                 01950-6635
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke l l y s Fr e e p o r t Lt d , Ye l l o w Pi n e St P. o . Bo x F 2 5 1 6 , Gr a n d
 2.6691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 0 5 )
        nature of the debtor's interest                                                                                                                          Ba h a m a , Ba h a m a s

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ke l l y s Ho m e Ce n t r e Lt d , P. o . Bo x N- 8 6 5 , Na s s a u , Ba h a m a s
 2.6692 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 7 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke l t o n s Ha r d w a r e & Pe t , 2 8 7 0 Ol d Fo r t Pa r k w a y,
 2.6693 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 5 8 )
        nature of the debtor's interest                                                                                                              Mu r f r e e s b o r o , T N 3 7 1 2 8 - 4 1 5 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke l v i n Gh a n y En t e r p r i s e s Li m i t e d , Lo t 9 a Tr i n c i t y In d u s t r i a l
 2.6694 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 8 )
                                                                                                                                                     Es t a t e , Tr i n c i t y, Tr i n i d a d An d To b a g o
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke m p k e r ' s Tr u e Va l u e & Re n t a l , In c . , Ke m p k e r ` s Tr u e Va l u e &
 2.6695 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 2 3 )
                                                                                                                                                     Re n t a , 6 0 8 So u t h 9 t h St r e e t , Bu r l i n g t o n , I A 5 2 6 0 1 - 1 5 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke m p k e r ' s Tr u e Va l u e & Re n t a l , In c . , Ke m p k e r ` s Tr u e Va l u e &
 2.6696 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 4 )
                                                                                                                                                     Re n t a , 5 0 2 Ea s t 1 s t St r e e t , Hu x l e y, I A 5 0 1 2 4 - 9 7 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke m p k e r ' s Tr u e Va l u e & Re n t a l , In c . , Ke m p k e r ` s Tr u e Va l u e &
 2.6697 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 8 3 )
                                                                                                                                                     Re n t a , 2 0 4 1 s t St r e e t , Gr i m e s , I A 5 0 1 1 1 - 4 7 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke m p k e r ' s Tr u e Va l u e & Re n t a l , In c . , Ke m p k e r ` s Tr u e Va l u e &
 2.6698 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 7 1 )
                                                                                                                                                     Re n t a , 1 9 0 4 Av e H, Fo r t Ma d i s o n , I A 5 2 6 2 7 - 4 2 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke m p k e r ' s Tr u e Va l u e & Re n t a l , In c . , Ke m p k e r ` s Tr u e Va l u e &
 2.6699 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 0 7 )
        nature of the debtor's interest                                                                                                              Re n t a , 1 4 0 5 E Wa s h i n g t o n , Mo u n t Pl e a s a n t , I A 5 2 6 4 1 - 1 8 6 5

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Ke n ' s Au t o Pa r t s & Tr u c k Ac c e s s o r i e s , 4 8 0 G St . , Ar c a t a , C A
 2.6700 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 5 4 )
        nature of the debtor's interest                                                                                                                95521-6742

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n ' s Di s c o u n t Tr u e Va l u e Ho m e Ce n t e r , 1 2 0 0 N We s t Av e , El
 2.6701 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 4 6 )
        nature of the debtor's interest                                                                                                                Do r a d o , A R 7 1 7 3 0 - 3 8 5 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n d e l l Tr u e Va l u e Lu m b e r , 1 1 5 Fr a n k l i n St r e e t , Wi n o n a , M N
 2.6702 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 7 5 )
                                                                                                                                                       55987-3740
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n d r i c k Ag & Su p p l y, 1 0 1 S 7 t h St , Ke n d r i c k , I D 8 3 5 3 7
 2.6703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n m a w r Tr u e Va l u e Ha r d w a r e , 5 4 0 Pi n e Ho l l o w Ro a d , Mc k e e s
 2.6704 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 0 6 )
                                                                                                                                                       Ro c k s , PA 1 5 1 3 6 - 1 6 5 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n n e d y Ha r d w a r e Co In c , 3 3 0 0 Mc c o l l o c h St , Wh e e l i n g , W V
 2.6705 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 0 1 )
                                                                                                                                                       26003-1938
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ke n n e t h , Ni c h o l a s & As s o c i a t e s , 7 0 7 St Jo s e p h s Dr , Oa k
 2.6706 State what the contract or lease is for and the   H R Se r v i c e s , Ke n n e t h , Ni c h o l a s & As s o c i a t e s - Ag e n c y a n d
                                                                                                                                                       Br o o k , I L 6 0 5 2 3
        nature of the debtor's interest                   Re c r u i t i n g Ag r e e m e n t 2 0 2 0

          State the term remaining                        09/03/2020

          List the contract number of any government
          contract
                                                                                                                                                       Ke n n e w i c k Ra n c h & Ho m e , In c . , Ke n n e w i c k Ra n c h & Ho m e
 2.6707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 1 )
        nature of the debtor's interest                                                                                                                In c . , 8 4 5 N Co l u m b i a Ce n t e r Bl v d , Ke n n e w i c k , WA 9 9 3 3 6 -
                                                                                                                                                       7771
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ke n n e y Mf g Co , 1 0 0 0 Je f f e r s o n Bl v d , Wa r w i c k , R I 0 2 8 8 6
 2.6708 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/25/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n e y Mf g Co , 1 0 0 0 Je f f e r s o n Bl v d , Wa r w i c k , R I 0 2 8 8 6
 2.6709 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n e y Mf g Co , 1 0 0 0 Je f f e r s o n Bl v d , Wa r w i c k , R I 0 2 8 8 6
 2.6710 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n e y Mf g Co , 1 0 0 0 Je f f e r s o n Bl v d , Wa r w i c k , R I 0 2 8 8 6
 2.6711 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n e y Mf g Co , 1 0 0 0 Je f f e r s o n Bl v d , Wa r w i c k , R I 0 2 8 8 6
 2.6712 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n y s Ca n d y & Co n f e c t i o n s In c , Ke n n y s Ca n d y &
 2.6713 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Co n f e c t i o n s In c , 6 0 9 Pi n e w o o d La n e , P. O. Bo x 2 6 9 , Pe r h a m ,
        nature of the debtor's interest
                                                                                                                                                                 MN 56573
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n n y s Ca n d y & Co n f e c t i o n s In c , Ke n n y s Ca n d y &
 2.6714 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Co n f e c t i o n s In c , 6 0 9 Pi n e w o o d La n e , P. O. Bo x 2 6 9 , Pe r h a m ,
                                                                                                                                                                 MN 56573
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n o s h a , 1 7 3 5 2 2 n d Av e , Ke n o s h a , W I 5 3 1 4 0
 2.6715 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ke n r o y Ho m e , 3 7 2 3 Re g e n t Bl v d , Ja c k s o n v i l l e , F L 3 2 2 2 4
 2.6716 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n r o y Ho m e , 3 7 2 3 Re g e n t Bl v d , Ja c k s o n v i l l e , F L 3 2 2 2 4
 2.6717 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n s Di s c o u n t Tr u e Va l u e , 1 0 0 0 Ca s h Ro a d Sw, Ca m d e n , A R
 2.6718 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 4 2 )
                                                                                                                                                                 71701-5323
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n s Tr u e Va l u e Lu m b e r , No r t h Hw y 1 2 & 8 3 , Se l b y, S D
 2.6719 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 5 5 )
                                                                                                                                                                 57472-0327
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n t Di s p l a y s In c , 3 4 3 Po r t a g e Bl v d , Ke n t , O H 4 4 2 4 0
 2.6720 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ke n t Is l a n d Tr u e Va l u e , Am e r Ha r d w a r e Sp l y Of Ke n t Is l a n d ,
 2.6721 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 9 9 )
                                                                                                                                                                 2 6 Ke n t To w n Ma r k e t , Ch e s t e r , M D 2 1 6 1 9 - 2 6 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n t Nu t r i t i o n Gr o u p , 2 3 1 0 No r t h Be l f a s t Av e , Au g u s t a , M E
 2.6722 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 6 )
        nature of the debtor's interest                                                                                                                          04330

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ke n t w o o d Tr u e Va l u e , 7 1 7 Av e G, Ke n t w o o d , L A 7 0 4 4 4 - 2 6 0 1
 2.6723 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ke n w o o d / Ap l m Di s t r i b u t i n g , 1 4 3 5 Ho l m e s Rd , El g i n , I L 6 0 1 2 3
 2.6724 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ke n y o n No b l e Lu m b e r Co m p a n y, 1 2 4 3 We s t Oa k St r e e t ,
 2.6725 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 5 7 )
                                                                                                                                                     Bo z e m a n , M T 5 9 7 1 5 - 8 7 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke n y o n s Tr u e Va l u e , 9 3 N Ma i n St , No r t h f i e l d , V T 0 5 6 6 3 - 6 7 4 2
 2.6726 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 6 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke n y o n s Va r i e t y, 3 3 3 7 Ma i n St , Wa i t s f i e l d , V T 0 5 6 7 3 - 6 0 4 1
 2.6727 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke r r ' s Tr u e Va l u e Ha r d w a r e , Ke r r ` s Tr u e Va l u e Ha r d w a r e ,
 2.6728 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 6 9 )
                                                                                                                                                     2 9 1 2 6 Sr 5 5 Ea s t , Wa r d e n s v i l l e , W V 2 6 8 5 1 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke r t o n Tr u e Va l u e Hd w. & l u m b e r , Ke r t o n Tr u e Va l u e , 1 1 2 2 N
 2.6729 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 6 )
        nature of the debtor's interest                                                                                                              Sa g i n a w St , Ho l l y, M I 4 8 4 4 2 - 1 3 5 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ke s s l e r Sa l e s & Di s t r i b u t i o n , 5 0 0 Gr e e n St , Wo o d b r i d g e , N J
 2.6730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              07095

          State the term remaining                        03/26/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ke s s l e r Sa l e s & Di s t r i b u t i o n , 5 0 0 Gr e e n St , Wo o d b r i d g e , N J
 2.6731 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     07095
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                        Ke t e r No r t h Am e r i c a , 6 4 3 5 S Sc a t t e r f i e l d Rd , An d e r s o n , I N
 2.6732 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                        46013
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                        Ke t t l e Fa l l s Tr u e Va l u e , 1 7 0 W 3 r d Av e n u e , Ke t t l e Fa l l s , WA
 2.6733 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 0 )
                                                                                                                                                                        99141-9999
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Ke u r i g Gr e e n Mo u n t a i n , 3 3 Co f f e e La n e , Wa t e r b u r y, V T 0 5 6 7 6
 2.6734 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                        Ke u r i g Gr e e n Mo u n t a i n , 3 3 Co f f e e La n e , Wa t e r b u r y, V T 0 5 6 7 6
 2.6735 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                        Ke w i l l In c . , Ke w i l l In c , 1 Ex e c u t i v e Dr i v e , Ch e l m s f o r d , M A
 2.6736 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Up g r a d e Ke w i l l f u n c t i o n a l i t y t o s u p p o r t
                                                                                                                                                                        01824
        nature of the debtor's interest                   n e w e Co m d e s i g n

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Ke y In d u s t r i e s . In c . , 4 0 0 Ma r b l e Rd , P. O. Bo x 3 8 9 , Fo r t Sc o t t ,
 2.6737 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                 KS 66701

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                        Ke y l e s s Ri d e , 9 2 0 Ro c k m o o r Dr , Ge o r g e t o w n , T X 7 8 6 2 8
 2.6738 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/19/2011

          List the contract number of any government
          contract
                                                                                                                                                                        Ke y p s a k e , In c . , Ke y p s a k e , In c , 1 1 7 1 3 Th St r e e t , Ma n h a t t a n
 2.6739 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                        Be a c h , C A 9 0 2 6 6
        nature of the debtor's interest
          State the term remaining                        03/02/2020

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ke y s t o n e Gr o u p In c , 4 7 4 S Ta y l o r , Un i t B, Lo u i s v i l l e , C O
 2.6740 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80027
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ke y s t o n e Mf g , P O Bo x 2 7 0 , 6 6 8 Cl e v e l a n d St r e e t , Ro c h e s t e r ,
 2.6741 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 5 0 7 4 - 0 2 7 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ke y s t o n e St e e l & Wi r e , 7 0 0 0 S Ad a m s St , Pe o r i a , I L 6 1 6 4 1
 2.6742 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Kf o r c e In c . , Kf o r c e In c , 1 1 5 0 As s e m b l y Dr , Su i t e 5 0 0 , Ta m p a ,
 2.6743 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Kf o r c e Co n s u l t i n g Se r v i c e s
                                                                                                                                                                 FL 33607
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 2

          State the term remaining                        11/19/2022 - 11/18/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ki d c o , In c . , 1 0 1 3 Te c h n o l o g y Wa y, Li b e r t y v i l l e , I L 6 0 0 4 8
 2.6744 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ki d d e Pl c , 1 0 1 6 Co r p o r a t e Pa r k Dr , Me b a n e , N C 2 7 3 0 2
 2.6745 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki d d e Pl c , 1 0 1 6 Co r p o r a t e Pa r k Dr , Me b a n e , N C 2 7 3 0 2
 2.6746 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki d d e Pl c , 1 0 1 6 Co r p o r a t e Pa r k Dr , Me b a n e , N C 2 7 3 0 2
 2.6747 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Ki d d e Sa f e t y, 1 0 1 6 Co r p o r a t e Pa r k Dr i v e , Me b a n e , N C 2 7 3 0 2
 2.6748 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Ki d d e Sa f e t y, 1 0 1 6 Co r p o r a t e Pa r k Dr i v e , Me b a n e , N C 2 7 3 0 2
 2.6749 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                   Ki e f e r Am e r i c a L L C, Ki e f e r Am e r i c a L L C, 1 2 2 5 Tr i St a t e
 2.6750 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   Pa r k w a y, Su i t e 5 1 0 , Gu r n e e , I L 6 0 0 3 1
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                   Ki k Co n s u m e r Pr o d u c t s , 1 7 2 5 N Br o w n Ro a d , La w r e n c e v i l l e ,
 2.6751 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   GA 30043
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                   Ki k In t ' l L L C, 3 3 Ma c i n t o s h Bl v d , Co n c o r d , O N L4 K 4 L5 ,
 2.6752 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            Ca n a d a

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                   Ki k In t ' l L L C, 3 3 Ma c i n t o s h Bl v d , Co n c o r d , O N L4 K 4 L5 ,
 2.6753 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                   Ki k k e r l a n d De s i g n , 6 6 6 Br o a d w a y, 4 Th Fl o o r , Ne w Yo r k , N Y
 2.6754 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   10012
        nature of the debtor's interest
          State the term remaining                        05/03/2018

          List the contract number of any government
          contract
                                                                                                                                                   Ki l g o r e Bl a c k m a n Bu i l d i n g Ma t e r i a l s , Ki l g o r e Bl a c k m a n Tv
 2.6755 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 1 3 6 )
                                                                                                                                                   Ha r d w a r e , 5 4 4 4 Co m m e r c i a l St Se , Sa l e m , O R 9 7 3 0 6 - 1 1 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ki l l e r Co n c e p t s In c , 2 3 3 4 1 De l La g o Dr , La g u n a Hi l l s , C A
 2.6756 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     92563
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Ki l l i n g w o r t h Tr u e Va l u e Ha r d w a r e , Ki l l i n g w o r t h Tr u e Va l u e
 2.6757 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 8 3 )
                                                                                                                                                     Ha r d w a , 2 2 8 Ro u t e 8 1 , Ki l l i n g w o r t h , C T 0 6 4 1 9 - 1 4 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ki l m a r n o c k Tr u e Va l u e Ha r d w a r e , Ki l m a r n o c k Tr u e Va l u e , 4 6 9
 2.6758 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 4 )
                                                                                                                                                     No r t h Ma i n St , Ki l m a r n o c k , VA 2 2 4 8 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ki m b e r l y Cl a r k / Sc o t t Di y Bu s , 1 0 4 5 3 S St o w e Ct , Pa l o s Hi l l s ,
 2.6759 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              IL 60465

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ki m b e r l y Cl a r k / Sc o t t Di y Bu s , 1 0 4 5 3 S St o w e Ct , Pa l o s Hi l l s ,
 2.6760 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              IL 60465

          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ki m b e r l y - Cl a r k Co r p , Ki m b e r l y Cl a r k / Sc o t t Di y Bu s , 1 0 4 5 3 S
 2.6761 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     St o w e Ct , Pa l o s Hi l l s , I L 6 0 4 6 5
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ki m b e r l y - Cl a r k Co r p , Ki m b e r l y Cl a r k / Sc o t t Di y Bu s , 1 0 4 5 3 S
 2.6762 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     St o w e Ct , Pa l o s Hi l l s , I L 6 0 4 6 5
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ki m b e r l y - Cl a r k Co r p , Ki m b e r l y Cl a r k / Sc o t t Di y Bu s , 1 0 4 5 3 S
 2.6763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     St o w e Ct , Pa l o s Hi l l s , I L 6 0 4 6 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ki m b e r l y - Cl a r k Co r p , Ki m b e r l y - Cl a r k Co r p o r a t i o n , De p t Kc c ,
 2.6764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 P O Bo x 2 0 2 0 , Ne e n a h , W I 5 4 9 5 7 - 2 0 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki m b e r l y - Cl a r k Co r p , Ki m b e r l y - Cl a r k Co r p o r a t i o n , De p t Kc c ,
 2.6765 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 P O Bo x 2 0 2 0 , Ne e n a h , W I 5 4 9 5 7 - 2 0 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki m m e l Tr u e Va l u e , 1 8 1 6 1 s t St , Ti l l a m o o k , O R 9 7 1 4 1 - 2 2 0 2
 2.6766 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6767 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Po r t l a n d , O R 9 7 2 3 0

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6768 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Po r t l a n d , O R 9 7 2 3 0

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6769 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6770 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6771 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6772 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6773 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6774 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Po r t l a n d , O R 9 7 2 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n c o In t ' l , Ki n c o In t e r n a t i o n a l , 1 8 7 9 2 Ne Po r t a l Wa y,
 2.6775 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Po r t l a n d , O R 9 7 2 3 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n d r e d Im p l e m e n t & Tr u e Va l u e Hd w, 3 2 1 Hw y 4 6 , Ki n d r e d ,
 2.6776 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 6 2 )
                                                                                                                                                                 ND 58051-4400
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g Ci t y Ac e Ha r d w a r e , 6 0 0 Br o a d w a y St B, Ki n g Ci t y, C A
 2.6777 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 0 )
                                                                                                                                                                 93930-3202
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g Fe e d , 1 4 2 1 0 Ra n c h Rd 1 2 , Wi m b e r l e y, T X 7 8 6 7 6 - 5 3 2 6
 2.6778 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g Ha r d w a r e , 1 0 4 S Hi g h w a y 2 7 1 , Cl a y t o n , O K 7 4 5 3 6 - 0 0 0 1
 2.6779 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ki n g In n o v a t i o n , 4 2 N Ce n t r a l Av e , O' Fa l l o n , M O 6 3 3 0 4
 2.6780 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g Tr u e Va l u e Ha r d w a r e , 1 2 9 N Ma i n St , Ja m e s t o w n , T N
 2.6781 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 1 8 )
                                                                                                                                                                 38556-3735
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g m a n Tr u e Va l u e Ho m e Ce n t e r , 3 6 3 3 St o c k t o n Hi l l Rd ,
 2.6782 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 0 8 )
        nature of the debtor's interest                                                                                                                          Ki n g m a n , A Z 8 6 4 0 9 - 3 0 5 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s We s t Ha r d w a r e , 9 0 0 Co n k l i n St , Fa r m i n g d a l e , N Y
 2.6783 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 1 )
        nature of the debtor's interest                                                                                                                          11735-2411

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6784 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6785 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6786 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6787 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6788 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6789 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki n g s f o r d Pr o d u c t s Co , Cl o r o x Co m p a n y, Th e , 1 2 5 0 E Di e h l
 2.6790 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro a d , Su i t e # 4 0 2 , Na p e r v i l l e , I L 6 0 5 6 3

          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ki n t e r , 3 3 3 3 Oa k Gr o v e Av e , Wa u k e g a n , I L 6 0 0 8 7
 2.6791 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ki p e r & k i p e r Hd w. , 3 1 9 3 9 E Ki n g s Ca n y o n Rd , Sq u a w Va l l e y,
 2.6792 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 7 0 )
                                                                                                                                                                 CA 93675-9202
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki r k Co m p a n y, 2 2 0 3 5 Se Wa x Rd , Su i t e 2 0 , Ma p l e Va l l e y, WA
 2.6793 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 98038
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ki r k Ho m e Ce n t r e , 2 5 7 Ea s t e r n Av e , Ge o r g e t o w n , Gr a n d
 2.6794 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 2 4 )
                                                                                                                                                                 Ca y m a n , Ca y m a n Is l a n d s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki t t r i c h Co r p . , 1 5 8 5 W Mi s s i o n Bl v d , Po m o n a , C A 9 1 7 6 6
 2.6795 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ki t t r i c h Co r p . , 1 5 8 5 W Mi s s i o n Bl v d , Po m o n a , C A 9 1 7 6 6
 2.6796 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki t t r i c h Co r p . , 1 5 8 5 W Mi s s i o n Bl v d , Po m o n a , C A 9 1 7 6 6
 2.6797 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ki t t r i c h Co r p . , 1 5 8 5 W Mi s s i o n Bl v d , Po m o n a , C A 9 1 7 6 6
 2.6798 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ki t z & Pf e i l Tr u e Va l u e Hd w e , 4 0 E 1 s t St , Fo n d Du La c , W I
 2.6799 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 6 )
                                                                                                                                                                 54935-4204
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ki v u Co n s u l t i n g , In c , 2 1 2 0 Un i v e r s i t y Av e , Be r k e l e y, C A
 2.6800 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ki v u Re c o v e r y S O W a n d Ad d e n d u m
                                                          Cy b e r Ev e n t                                                                                      94704
        nature of the debtor's interest
          State the term remaining                        09/18/2024 - 12/17/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ki v u Co n s u l t i n g , In c , 2 1 2 0 Un i v e r s i t y Av e , Be r k e l e y, C A
 2.6801 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ki v u S O W a n d S O W Ad d e n d u m Cy b e r
                                                                                                                                                                 94704
        nature of the debtor's interest                   Ev e n t

          State the term remaining                        09/18/2024 - 12/17/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Kj ' s Tr u e Va l u e , 3 0 3 Ea s t Sh e r i d a n St r e e t , El y, M N 5 5 7 3 1
 2.6802 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl a t t Tr u e Va l u e , 1 2 1 5 Hw y 2 5 N, Bu f f a l o , M N 5 5 3 1 3 - 1 9 3 9
 2.6803 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 1 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6804 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6805 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6807 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6808 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6809 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6810 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L 6 0 0 6 9
 2.6811 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Kl e i n To o l s In c , Kl e i n To o l s , 4 5 0 Bo n d St , Li n c o l n s h i r e , I L
 2.6812 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60069

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n s Tr u e Va l u e Ha r d w a r e , 6 1 6 N Ma i n , Gr e g o r y, S D 5 7 5 3 3 -
 2.6813 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 0 )
        nature of the debtor's interest                                                                                                                          1349

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl e i n s a s s e r ' s , 1 3 2 0 E. No r t h Co u n t y Ro a d , Fr e e m a n , S D 5 7 0 2 9
 2.6814 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl e m e n t s Sa u s a g e Co , 1 0 3 6 W Ju n e a u Av e , Su i t e 4 0 0 ,
 2.6815 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 0 5
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Kl i Sh e l l Lu m b e r & Ac e Ha r d w a r e , Kl i Sh e l l Lu m b e r & Ac e
 2.6816 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 7 1 )
                                                                                                                                                                 Ha r d w a r , 1 0 2 2 6 5 Ov e r s e a s Hi g h w a y, Ke y La r g o , F L 3 3 0 3 7 -
        nature of the debtor's interest
                                                                                                                                                                 9998
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kl y c e Tr u e Va l u e Hd w e , 2 1 3 S Ma i n St , Sa r d i s , M S 3 8 6 6 6 -
 2.6817 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 9 4 )
                                                                                                                                                                 1724
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Km c Ho l d i n g s L L C, Km c Ho l d i n g s L L C, 1 2 6 0 In d u s t r i a l Dr i v e ,
 2.6818 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Va n We r t , O H 4 5 8 9 1

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6819 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6820 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6
        nature of the debtor's interest
          State the term remaining                        02/16/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p e & Vo g t Mf g Co , 2 7 0 0 Oa k In d u s t r i a l Dr Ne , Gr a n d
 2.6824 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra p i d s , M I 4 9 5 0 5 - 6 0 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Kn a p p & St e i n e r Tr u e Va l u e Ha r d w a r e , Kn a p p & s t e i n e r T V
 2.6825 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 )
                                                                                                                                                                 Hd w, 1 1 4 S Se c o n d St , Ci s s n a Pa r k , I L 6 0 9 2 4 - 0 0 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kn e s a l Ha r d w a r e Co , 1 4 1 3 9 Yo u n g s t o w n Pi t t s b u r g Rd ,
 2.6826 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 3 1 )
        nature of the debtor's interest                                                                                                                          Pe t e r s b u r g , O H 4 4 4 5 4 - 9 7 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kn e x Li m i t e d Pa r t n e r s h i p Gr o u p , P O Bo x 7 0 0 , Ha t f i e l d , PA
 2.6827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          19440

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                     Kn e x Li m i t e d Pa r t n e r s h i p Gr o u p , P O Bo x 7 0 0 , Ha t f i e l d , PA
 2.6828 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                     19440

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Kn i g h t Tr a n s p o r t a t i o n , 2 0 0 0 2 N 1 9 Th Av e , Ph o e n i x , A Z 8 5 0 2 7
 2.6829 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Kn i g h t Tr a n s p o r t a t i o n - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s Co n t r a c t e d Ca r r i e r

          State the term remaining                        06/23/2019

          List the contract number of any government
          contract
                                                                                                                                                                     Kn o e b e l Tr u e Va l u e Ho m e Ce n t e r , 2 9 1 Kn o e b e l s Bl v d ,
 2.6830 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 3 4 )
                                                                                                                                                                     El y s b u r g , PA 1 7 8 2 4 - 7 1 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Kn o w l e s Tr u e Va l u e , 2 0 1 Ma i n St , Ca l i c o Ro c k , A R 7 2 5 1 9
 2.6831 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Kn o x Co u n t r y Fa r m Su p p l y, In c . , 6 5 0 4 Ro u t e 2 0 8 , Kn o x , PA
 2.6832 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 7 4 )
                                                                                                                                                                     16232-5466
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Kn o x Fe r t i l i z e r Co m p a n y In c , 2 6 6 0 E 1 0 0 So u t h , Kn o x , I N
 2.6833 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                     46534

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Kn o x Fe r t i l i z e r Co m p a n y In c , 2 6 6 0 E 1 0 0 So u t h , Kn o x , I N
 2.6834 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                              46534

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                     Kn o x Fe r t i l i z e r Co m p a n y In c , 2 6 6 0 E 1 0 0 So u t h , Kn o x , I N
 2.6835 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                     46534
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Kn o x Fe r t i l i z e r Co m p a n y In c , 2 6 6 0 E 1 0 0 So u t h , Kn o x , I N
 2.6836 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     46534
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Kn o x Fe r t i l i z e r Co m p a n y In c , 2 6 6 0 E 1 0 0 So u t h , Kn o x , I N
 2.6837 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     46534
        nature of the debtor's interest
          State the term remaining                        Un d e t e r m i n e d - 0 9 / 0 1 / 2 0 2 5

          List the contract number of any government
          contract
                                                                                                                                                     Kn o x v i l l e Co a t i n g s , 7 6 1 7 Bl u e b e r r y Rd , Kn o x v i l l e , T N 3 7 8 4 9
 2.6838 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kn u c k l e h e a d s Ha r d w a r e , 1 0 8 4 W Us Hw y 7 9 , Fr a n k l i n , T X
 2.6839 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 4 0 )
                                                                                                                                                     77856-4340
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ko d e t Tr u e Va l u e Ha r d w a r e , 1 1 0 W Gr a n d Ri v e r , Fo w l e r v i l l e ,
 2.6840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 0 )
                                                                                                                                                     MI 48836-5146
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ko d e t ' s Ha r d w a r e Pe r r y, 1 5 6 N Ma i n St r e e t , Pe r r y, M I 4 8 8 7 2
 2.6841 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ko d e t ' s Ha r d w a r e Un i o n Ci t y, 2 0 5 N Br o a d w a y St , Un i o n Ci t y,
 2.6842 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 0 )
        nature of the debtor's interest                                                                                                              MI 49094

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ko d e t s Tr u e Va l u e Ha r d w a r e , 3 3 5 3 3 5 Mi l e Rd , Li v o n i a , M I
 2.6843 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 8 )
                                                                                                                                                     48154-2861
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ko e n i g Tr u e Va l u e Lb r & h m Ct r , Ko e n i g Tr u e Va l u e Lb r & Hm
 2.6844 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 1 0 )
                                                                                                                                                                 Ct r , 3 0 2 0 9 Us Hi g h w a y 1 8 , Fa i r f a x , S D 5 7 3 3 5 - 5 3 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ko h l e r / St e r l i n g , N 5 t h St r e e t , In d u s t r i a l p a r k , Un i o n Ci t y, T N
 2.6845 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38261
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ko h l e r / St e r l i n g , N 5 t h St r e e t , In d u s t r i a l p a r k , Un i o n Ci t y, T N
 2.6846 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38261
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ko o n t z Ha r d w a r e , 8 9 1 4 Sa n t a Mo n i c a Bl v d , We s t Ho l l y w o o d ,
 2.6847 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 3 5 )
                                                                                                                                                                 CA 90069-4902
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ko o p m a n In t ' l Bv, Di s t e l w e g 8 8 , Am s t e r d a m , H H 1 0 3 1 ,
 2.6848 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ne t h e r l a n d s
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ko o t e n a i Dr u g Tr u e Va l u e , 6 1 1 E Mi s s o u l a , Tr o y, M T 5 9 9 3 5 -
 2.6849 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 6 2 )
        nature of the debtor's interest                                                                                                                          0328

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ko r b e r Su p p l y Ch a i n Us , In c . , Ko r b e r Su p p l y Ch a i n Us , In c ,
 2.6850 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ko r b e r Ma s t e r Se r v i c e Ag r e e m e n t
                                                                                                                                                                 5 6 0 0 W 8 3 Rd St r e e t , Su i t e 6 0 0 - 8 2 0 0 To w e r , Mi n n e a p o l i s , M N
        nature of the debtor's interest
                                                                                                                                                                 55437
          State the term remaining                        08/01/2023 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ko r b e r Su p p l y Ch a i n Us , In c . , Ko r b e r Su p p l y Ch a i n Us , In c ,
 2.6851 State what the contract or lease is for and the
                                                          Sa a S, Ko r b e r Or d e r Ma n a g e m e n t S A A S 2 0 2 3
                                                                                                                                                                 5 6 0 0 W 8 3 Rd St r e e t , Su i t e 6 0 0 - 8 2 0 0 To w e r , Mi n n e a p o l i s , M N
        nature of the debtor's interest
                                                                                                                                                                 55437
          State the term remaining                        08/01/2023 - 07/31/2028

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Ko r b e r Su p p l y Ch a i n Us , In c . , Ko r b e r Su p p l y Ch a i n Us , In c ,
 2.6852 State what the contract or lease is for and the
                                                          Sa a S, Ko r b e r Wa r e h o u s e Ma n a g e m e n t S A A S 2 0 2 3
                                                                                                                                                             5 6 0 0 W 8 3 Rd St r e e t , Su i t e 6 0 0 - 8 2 0 0 To w e r , Mi n n e a p o l i s , M N
        nature of the debtor's interest
                                                                                                                                                             55437
          State the term remaining                        02/01/2024 - 01/31/2029

          List the contract number of any government
          contract
                                                                                                                                                             Ko r b e r Su p p l y Ch a i n Us , In c . , Ko r b e r Su p p l y Ch a i n Us , In c ,
 2.6853 State what the contract or lease is for and the
                                                          Sa a S, Ko r b e r Wa r e h o u s e Ma n a g e m e n t - Ba r t e n d e r Su b s c r i p t i o n
                                                          SAAS                                                                                               5 6 0 0 W 8 3 Rd St r e e t , Su i t e 6 0 0 - 8 2 0 0 To w e r , Mi n n e a p o l i s , M N
        nature of the debtor's interest
                                                                                                                                                             55437
          State the term remaining                        02/01/2024 - 01/31/2025

          List the contract number of any government
          contract
                                                                                                                                                             Ko r b e r Su p p l y Ch a i n Us , In c . , Ko r b e r Su p p l y Ch a i n Us , In c ,
 2.6854 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ko r b e r S O W 2 C O 2 O M S Im p l e m e n t a t i o n
                                                                                                                                                             5 6 0 0 W 8 3 Rd St r e e t , Su i t e 6 0 0 - 8 2 0 0 To w e r , Mi n n e a p o l i s , M N
        nature of the debtor's interest
                                                                                                                                                             55437
          State the term remaining                        05/01/2024 - 11/29/2024

          List the contract number of any government
          contract
                                                                                                                                                             Ko r p a c k , 2 0 8 Ma d s e n Dr , Ch i c a g o , I L 6 0 1 0 8
 2.6855 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Ko r p a c k Pa c k a g i n g Co n t r a c t - Co r r u g a t e ,
        nature of the debtor's interest                   St r e t c h Wr a p

          State the term remaining                        02/09/2022 - 12/30/2024

          List the contract number of any government
          contract
                                                                                                                                                             Ko s h i n Am e r i c a Co r p , 1 2 1 8 Re m i n g t o n Rd , Sc h a u m b u r g , I L
 2.6856 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      60015

          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                             Ko v a r i k Tr u e Va l u e Ha r d w a r e , 2 7 6 Cl i n t o n St , Bi n g h a m t o n , N Y
 2.6857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 2 1 )
        nature of the debtor's interest                                                                                                                      13905-2131

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ko v e Br o . Tr u e Va l u e Ha r d w a r e , 1 8 9 7 t h Av e , Ne w Yo r k , N Y
 2.6858 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 8 8 )
                                                                                                                                                             10011-1805
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ko w p o k e Su p p l y, 4 1 5 E. Ho l m e , No r t o n , K S 6 7 6 5 4 - 0 0 0 1
 2.6859 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Kr a c o En t e r p r i s e s L L C, 5 0 5 E Eu c l i d Av e , Co m p t o n , C A 9 0 2 2 4
 2.6860 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kr a e m e r Lb r & Tr u e Va l u e Hd w e , 8 2 6 Co u n t y Rd 1 3 , Me l r o s e ,
 2.6861 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 3 5 )
                                                                                                                                                                 MN 56352-8614
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kr a e m e r s Nu r s e r y In c , P. O. Bo x 9 3 0 , 1 4 3 0 6 Do w n s Rd , Mt .
 2.6862 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 An g e l , O R 9 7 3 6 2
        nature of the debtor's interest
          State the term remaining                        06/17/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Kr a u t e r Au t o - St a k , 1 4 3 5 Br o o k v i l l e Wa y, Su i t e C, In d i a n a p o l i s ,
 2.6863 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IN 46239
        nature of the debtor's interest
          State the term remaining                        12/18/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Kr a y n a k s In c H& g s , 2 5 2 5 E St a t e St , He r m i t a g e , PA 1 6 1 4 8 -
 2.6864 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 3 6 )
        nature of the debtor's interest                                                                                                                          2746

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kr e d o Br o a d v i e w Tr u e Va l u e Ha r d w a r e , Kr e d o Br o a d v i e w Tr u e
 2.6865 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 9 )
                                                                                                                                                                 Va l u e Hd w e , 7 9 0 7 Br o a d v i e w Rd , Br o a d v i e w He i g h t s , O H
        nature of the debtor's interest
                                                                                                                                                                 44147-1201
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kr e g To o l Co m p a n y, 7 5 0 0 S E Co n v e n i e n c e Bl v d , An k e n y, I A
 2.6866 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 50021
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kr e g To o l Co m p a n y, 7 5 0 0 S E Co n v e n i e n c e Bl v d , An k e n y, I A
 2.6867 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 50021
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Kr e g e r ' s Tr u e Va l u e , We s t e r n Au t o As s o c St o r e , 2 6 5 Ma i n St ,
 2.6868 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 7 9 )
                                                                                                                                                     Co n n e a u t , O H 4 4 0 3 0 - 2 6 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr e n g e l ' s Ha r d w a r e , Kr e n g e l ` s Ha r d w a r e , 6 2 8 Ma i n Av e So . ,
 2.6869 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 4 3 )
                                                                                                                                                     Tw i n Fa l l s , I D 8 3 3 0 1 - 7 1 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr o n e r Ha r d w a r e , 3 1 9 Pe a r l St , La Cr o s s e , W I 5 4 6 0 1 - 3 2 4 9
 2.6870 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr u d Ku t t e r In c , 1 5 3 5 Oa k In d u s t r i a l La n e , Su i t e B, Cu m m i n g ,
 2.6871 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              GA 30041

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Kr u d Ku t t e r In c , 1 5 3 5 Oa k In d u s t r i a l La n e , Su i t e B, Cu m m i n g ,
 2.6872 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              GA 30041

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Kr u e g e r Tr u e Va l u e , Kr u e g e r Tr u e Va l u e Ha r d w a r e , 9 9 9
 2.6873 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 )
                                                                                                                                                     Wi n n e c o n n e Av e , Ne e n a h , W I 5 4 9 5 6 - 3 1 5 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr u e g e r - Ma d d u x Gr e e n h o u s e s , 8 1 6 6 No r t h St a t e Ro a d 1 0 1 ,
 2.6874 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Mi l a n , I N 4 7 0 3 1
        nature of the debtor's interest
          State the term remaining                        04/18/2023

          List the contract number of any government
          contract
                                                                                                                                                     Kr u m e n a c k e r s Bu i l d e r s Sp l y, 1 1 4 8 Al v e r d a Rd , Ni c k t o w n , PA
 2.6875 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 4 1 )
                                                                                                                                                     15762-7805
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Kr u s e Tr u e Va l u e , 2 0 7 N Su m m i t Av e , Ha r t i n g t o n , N E 6 8 7 3 9 -
 2.6876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 2 4 )
                                                                                                                                                     5161
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr u s e ' s Tr u e Va l u e Ha r d w a r e , 3 2 3 5 Ea s t La k e Bl v d . , Wa s h o e
 2.6877 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 2 )
                                                                                                                                                     Va l l e y, N V 8 9 7 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kr y l o n Di v e r s i f i e d Br a n d s , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d ,
 2.6878 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     OH 44115
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Kr y l o n Di v e r s i f i e d Br a n d s , 1 0 1 W Pr o s p e c t Av e , Cl e v e l a n d ,
 2.6879 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              OH 44115

          State the term remaining                        04/01/2024 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                     Ku b o t a Ca n a d a Lt d , 5 9 0 0 1 4 Th Av e , Ma r k h a m , O N L3 S 4 K4 ,
 2.6880 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ku b o t a Tr a c t o r Co r p o r a t i o n , 1 0 0 0 Ku b o t a Dr i v e , Gr a p e v i n e ,
 2.6881 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     TX 76051
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ku e t e r Tr u e Va l u e , 2 2 0 S Ri v e r v i e w St , Be l l e v u e , I A 5 2 0 3 1 -
 2.6882 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 8 4 )
                                                                                                                                                     1354
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ku l a Ha r d w a r e & Nu r s e r y, 3 1 0 0 Lo w e r Ku l a Rd , Ku l a , H I
 2.6883 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 2 9 )
                                                                                                                                                     96790-8729
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ku r t S Ad l e r Co , 1 2 2 E 4 2 Nd St , 2 Nd Fl , Ne w Yo r k , N Y 1 0 1 6 8
 2.6884 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/15/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ku r t S Ad l e r Co , 1 2 2 E 4 2 Nd St , 2 Nd Fl , Ne w Yo r k , N Y 1 0 1 6 8
 2.6885 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ku r t S Ad l e r Co , 1 2 2 E 4 2 Nd St , 2 Nd Fl , Ne w Yo r k , N Y 1 0 1 6 8
 2.6886 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ku s h l a n Pr o d u c t s L L C, Ku s h l a n Pr o d u c t s L L C, 1 2 0 1 0 Da i r y
 2.6887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          As h f o r d Rd , 1 6 0 , Su g a r La n d , T X 7 7 4 7 8

          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ku s z a k Ha r d w a r e & Va r i e t y, 6 3 5 O St r e e t , Lo u p Ci t y, N E
 2.6888 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 2 )
                                                                                                                                                                 68853-8003
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ku t z t o w n Ho m e & Fa r m Ce n t e r , Rt 2 2 2 No r t h , 1 5 3 8 0 Ku t z t o w n
 2.6889 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 8 4 )
                                                                                                                                                                 Rd , Ku t z t o w n , PA 1 9 5 3 0 - 9 7 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ku z a n ' s Tr u e Va l u e Ha r d w a r e , Ku z a n ` s Tr u e Va l u e Ha r d w a r e ,
 2.6890 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 8 9 )
                                                                                                                                                                 1 0 6 9 Po t t s v i l l e Pi k e , Sh o e m a k e r s v i l l e , PA 1 9 5 5 5 - 9 7 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kw In c o r p o r a t e d , P. O. Bo x 5 5 0 7 5 9 , 1 0 5 6 0 Ma r k i s o n Rd ,
 2.6891 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Da l l a s , T X 7 5 3 5 5
        nature of the debtor's interest
          State the term remaining                        08/01/2011

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Kw Te x t i l e In c , 6 5 9 Ex c h a n g e St , Bu f f a l o , N Y 1 4 2 1 0
 2.6892 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Kw a l Pa i n t , 3 9 0 0 Jo l i e t St r e e t , De n v e r , C O 8 0 2 3 9
 2.6893 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Kw i Gr a n d Re n t a l St a t i o n , 9 3 0 Nw 2 7 t h Av e , Oc a l a , F L 3 4 4 7 5 -
 2.6894 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 6 1 1 )
        nature of the debtor's interest                                                                                                              5618

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kw i b b l e - Br o o k l y n , Kw i b b l e - b r o o k l y n , 8 3 5 Re m s e n Av e ,
 2.6895 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 8 )
                                                                                                                                                     Br o o k l y n , N Y 1 1 2 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kw i b b l e - Ci n c i n a n t i , Kw i b b l e - Ci n c i n n a t i , 6 0 4 3 In t e r s t a t e
 2.6896 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 7 )
                                                                                                                                                     Ci r c l e , Ci n c i n n a t i , O H 4 5 2 5 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kw i b b l e - St a f f o r d , Kw i b b l e - t e x a s , 2 1 2 3 S Pr i e s t Dr , St e 2 0 9 ,
 2.6897 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 4 )
                                                                                                                                                     Te m p e , A Z 8 5 2 8 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kw i b b l e - n a s h u a , 1 Ch e s t n u t St . 2 2 2 , Na s h u a , N H 0 3 0 6 0
 2.6898 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Kw i k - Co v e r s o f Ne w Yo r k , Kw i k - Co v e r s Of Ne w Yo r k , 8 1 1
 2.6899 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ri d g e Rd , Su i t e 1 0 0 , We b s t e r , N Y 1 4 5 8 0
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6900 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6901 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6902 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6903 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6904 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6905 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Kw i k s e t , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y 1 3 1 1 0
 2.6906 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ky n d r y l , In c . , Ky n d r y l , In c , On e Va n d e r b i l t Av e n u e , 1 5 Th
 2.6907 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ky n d r y l C S A 2 0 2 4
                                                                                                                                                                 Fl o o r , Ne w Yo r k , N Y 1 0 0 1 7
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2029

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          Ky n d r y l , In c . , Ky n d r y l , In c , On e Va n d e r b i l t Av e n u e , 1 5 Th
 2.6908 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Ky n d r y l Ma i n f r a m e Zc l o u d Re n e w a l 2 0 2 4 -
                                                                                                                                                          Fl o o r , Ne w Yo r k , N Y 1 0 0 1 7
        nature of the debtor's interest                   2026

          State the term remaining                        07/01/2024 - 06/30/2029

          List the contract number of any government
          contract
                                                                                                                                                          Ky o d o Am e r i c a In d u s t i e s Co , 1 0 0 0 Hu r r i c a n e Sh o a l s Ro a d ,
 2.6909 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                   Bu i l d i n g D, Su i t e 2 0 0 , La w r e n c e v i l l e , G A 3 0 0 4 3 - 4 8 2 6

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                          L & G Ra n c h Su p p l y Tr u e Va l u e , 2 9 3 0 E Is a a c s Av e , Wa l l a
 2.6910 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 8 0 )
        nature of the debtor's interest                                                                                                                   Wa l l a , WA 9 9 3 6 2 - 9 3 0 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          L & M Fl e e t Su p p l y, 1 9 1 0 La k e s h o r e Dr E, As h l a n d , W I 5 4 8 0 6 -
 2.6911 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 5 )
                                                                                                                                                          2877
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          L & M Fl e e t Su p p l y, 8 4 9 7 En t e r p r i s e Dr i v e Ne , Vi r g i n i a , M N
 2.6912 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 4 9 )
                                                                                                                                                          55792-4003
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          L & M Fl e e t Su p p l y - Hi b b i n g , 1 1 0 1 E 3 7 t h St St e 2 , Hi b b i n g ,
 2.6913 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 4 7 )
                                                                                                                                                          MN 55746-2971
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          L & M Ha r d w a r e - Be m i d j i , 2 7 4 0 Pa u l Bu n y a n Dr Nw, Be m i d j i ,
 2.6914 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 4 3 )
                                                                                                                                                          MN 56601-8796
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                          L & M Ha r d w a r e - Cl o q u e t , 6 2 0 Hi g h w a y 3 3 S, Cl o q u e t , M N
 2.6915 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 4 1 )
        nature of the debtor's interest                                                                                                                   55720-2608

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     L & M Ha r d w a r e Gr a n d Ra p i d s , 1 2 0 0 E Us Hi g h w a y 1 6 9 , Gr a n d
 2.6916 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 4 )
        nature of the debtor's interest                                                                                                              Ra p i d s , M N 5 5 7 4 4 - 3 2 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L & M Pa r k Ra p i d s , 1 3 0 7 E Fi r s t St , Pa r k Ra p i d s , M N 5 6 4 7 0 -
 2.6917 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 7 )
        nature of the debtor's interest                                                                                                              5367

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L & M Su p p l y Gr a n d Ra p i d s , 1 4 0 0 S Po k e g a m a , Gr a n d Ra p i d s ,
 2.6918 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 0 6 )
                                                                                                                                                     MN 55744-4266
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L E Jo h n s o n , 2 1 0 0 St e r l i n g Av e n u e , El k h a r t , I N 4 6 5 1 5
 2.6919 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     L E Ri t t e r Lb r Co , L E Ri t t e r Tr u e Va l u e , 7 4 Se c o n d St r e e t ,
 2.6920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 6 6 )
                                                                                                                                                     Be l v i d e r e , N J 0 7 8 2 3 - 1 4 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L H In d u s t r i a l Su p p l i e s , 1 0 Cr e a s y Co u r t , La f a y e t t e , I N 4 7 9 0 5 -
 2.6921 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 5 8 )
                                                                                                                                                     4962
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L. Ep s t i e n Ha r d w a r e , 2 6 8 Ma i n St . , Or a n g e , N J 0 7 0 5 0 - 3 6 0 5
 2.6922 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L. J. Ha n d Fa r m Ce n t e r , 1 4 3 1 St a t e Hw y 1 6 1 , Fu l t o n v i l l e , N Y
 2.6923 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 8 5 )
        nature of the debtor's interest                                                                                                              12072-2012

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     L. L. Ra m d h a n n y & Co m p a n y Lt d . , Ma u r i c e Bi s h o p Hi g h w a y,
 2.6924 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 8 0 )
        nature of the debtor's interest                                                                                                              Gr a n d An s e , St Ge o r g e s , Gr e n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L. B. Wh i t e , 4 1 1 Ma s o n St , On a l a s k a , W I 5 4 6 5 0
 2.6925 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y, 1 0 6 8 0 St a t e Hi g h w a y 7 7 , Ha y w a r d , W I
 2.6926 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 5 5 )
                                                                                                                                                     54843-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y, 1 1 5 0 W Wa s h i n g t o n St , Ma r q u e t t e , M I
 2.6927 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 0 )
                                                                                                                                                     49855
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y, 1 5 4 7 Hi g h w a y 5 9 S, Th i e f Ri v e r Fa l l s , M N
 2.6928 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 6 9 )
                                                                                                                                                     56701-3413
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y, 2 2 0 0 Li n c o l n St r e e t , Rh i n e l a n d e r , W I 5 4 5 0 1
 2.6929 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y, 2 5 3 0 1 s t Av e N, Es c a n a b a , M I 4 9 8 2 9
 2.6930 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     L& m Fl e e t Su p p l y - Tr u e Va l u e , 1 1 0 0 Hw y 5 9 S, De t r o i t
 2.6931 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 7 9 )
        nature of the debtor's interest                                                                                                              La k e s , M N 5 6 5 0 1 - 2 2 3 8

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 L& m Su p p l y On l i n e , 1 2 0 0 E. Us Hi g h w a y 1 6 9 , Gr a n d Ra p i d s ,
 2.6932 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 6 )
        nature of the debtor's interest                                                                                                                          MN 55744-3235

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6933 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 WI 54601
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6934 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 WI 54601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6935 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 54601
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6936 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 54601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6937 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WI 54601
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6938 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 WI 54601

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6939 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 WI 54601
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6940 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               WI 54601

          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                      La Cr o s s e Te c h n o l o g y Lt d , 2 8 0 9 Lo s e y Bl v d So u t h , La Cr o s s e ,
 2.6941 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                      WI 54601
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                      L A Pi n e Ac e Ha r d w a r e & Bu i l d i n g Su p p l y, L A Pi n e Ac e
 2.6942 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 9 )
                                                                                                                                                                      Ha r d w a r e & Bu i l d i n , 5 1 6 1 5 Hu n t i n g t o n Ro a d , La Pi n e , O R
        nature of the debtor's interest
                                                                                                                                                                      97739-0001
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      L A Tr u e Va l u e Ha r d w a r e , 6 3 1 Ka n s a s Av e , Ka n s a s Ci t y, K S
 2.6943 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 3 9 )
                                                                                                                                                                      66105-1327
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      La b e l Lo g i c In c , 4 5 2 0 Pi n e Cr e e k Rd , El k h a r t , I N 4 6 5 1 6
 2.6944 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                      La b e t t e Ha r d w a r e , 7 2 3 4 t h St r e e t , Os w e g o , K S 6 7 3 5 6 - 1 6 0 1
 2.6945 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 7 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      La b t e s t In t ' l , In c . , La b t e s t In t e r n a t i o n a l , In c , 2 1 0 7 Sw i f t
 2.6946 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , La b t e s t In t e r n a t i o n a l In c ( In t e r t e k ) M S A
        nature of the debtor's interest                                                                                                                               Dr i v e , Oa k Br o o k , I L 6 0 5 2 3

          State the term remaining                        05/09/2019 - 05/08/2020

          List the contract number of any government
          contract
                                                                                                                                                                      La c o / Ma r k a l , 1 2 0 1 Pr a t t Bl v d , El k Gr o v e Vi l l a g e , I L 6 0 0 0 7
 2.6947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La c o / Ma r k a l , 1 2 0 1 Pr a t t Bl v d , El k Gr o v e Vi l l a g e , I L 6 0 0 0 7
 2.6948 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La c o m b e Tr u e Va l u e Ha r d w a r e , 2 8 0 1 7 Hi g h w a y 1 9 0 , La c o m b e ,
 2.6949 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 6 0 6 )
                                                                                                                                                                 LA 70445-3279
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La f a r g e v i l l e Ag w a y, N Y Ro u t e 4 1 1 , La Fa r g e v i l l e , N Y 1 3 6 5 6 -
 2.6950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 0 9 )
                                                                                                                                                                 9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La f a y e t t e Tr u e Va l u e , La f a y e t t e Ha r d w a r e & Se r v i c e In c , Hw y
 2.6951 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 7 )
                                                                                                                                                                 5 0 By p , La f a y e t t e , A L 3 6 8 6 2 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La g a s s e Br o s / Un St a t i o n e r s , 1 5 2 5 Ku e b e l St , Ne w Or l e a n s , L A
 2.6952 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 70123
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 La g r e e ' s Ma r k e t & Ha r d w a r e , La g r e e ` s Ma r k e t & Ha r d w a r e ,
 2.6953 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 1 5 )
        nature of the debtor's interest                                                                                                                          1 0 1 0 0 Hw y 5 0 , Po n c h a Sp r i n g s , C O 8 1 2 4 2 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La k e Al m a n o r Ac e Ha r d w a r e , 4 1 7 Ma i n St , Ch e s t e r , C A 9 6 0 2 0 -
 2.6954 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 0 1 )
        nature of the debtor's interest                                                                                                                          1520

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La k e Ar i e l Ag w a y, 1 1 3 7 Tr e s s l a r v i l l e Ro a d , La k e Ar i e l , PA
 2.6955 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 7 )
                                                                                                                                                                 18436
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      La k e Ch e l a n Bu i l d i n g Su p p l y, 5 8 5 E Wa p a t o Wa y, Ma n s o n , WA
 2.6956 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 3 )
                                                                                                                                                      98831-1111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      La k e Co u n t y Nu r s e r y, 5 0 5 2 S Ri d g e Rd , Ma d i s o n , O H 4 4 0 5 7
 2.6957 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/11/2012

          List the contract number of any government
          contract
                                                                                                                                                      La k e Fo r e s t Ce n t e r Fo r Le a d e r s h i p , 3 5 0 N Wa u k e g a n Rd , La k e
 2.6958 State what the contract or lease is for and the   H R Se r v i c e s , La k e Fo r e s t Ce n t e r f o r Le a d e r s h i p Co a c h i n g
                                                                                                                                                      Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        05/15/2023

          List the contract number of any government
          contract
                                                                                                                                                      La k e Fo r e s t Hd w Ca r d s & Gi f t s , La k e Fo r e s t Hd w Ca r d s & Gi f t ,
 2.6959 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 9 0 )
                                                                                                                                                      8 2 5 S Wa u k e g a n Rd St e B, La k e Fo r e s t , I L 6 0 0 4 5 - 2 6 6 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      La k e Is a b e l l a Tr u e Va l u e , 6 0 5 0 La k e Is a b e l l a Bl v d , La k e
 2.6960 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 8 8 )
        nature of the debtor's interest                                                                                                               Is a b e l l a , C A 9 3 2 4 0 - 9 5 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      La k e Sh o r e Tr u e Va l u e Hd w. , La k e Sh o r e Tr u e Va l u e Ha r d w a r e ,
 2.6961 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 2 )
        nature of the debtor's interest                                                                                                               7 1 2 0 W 1 3 3 r d Av e , Ce d a r La k e , I N 4 6 3 0 3 - 9 4 4 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      La k e St a t e s Lu m b e r In c . , La k e St a t e s Lu m b e r In c , P. O. Bo x
 2.6962 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      5 1 8 , 3 1 2 So u t h Ch e s t e r , Sp a r t a , W I 5 4 6 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      La k e St r e e t Re n t a l , 9 4 6 S La k e St , Mu n d e l e i n , I L 6 0 0 6 0 - 3 7 4 2
 2.6963 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     La k e Va l l e y Se e d , 5 7 1 7 Ar a p a h o e Ro a d , Bo u l d e r , C O 8 0 3 0 3
 2.6964 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     La k e h i l l s Tr u e Va l u e , 8 9 5 0 Fm 1 2 8 3 , La k e h i l l s , T X 7 8 0 6 3 -
 2.6965 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 4 4 )
                                                                                                                                                     3571
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e l a n d Ge n e r a l St o r e Tr u e Va l u e , 2 2 4 3 8 Ol d 5 9 Ro a d ,
 2.6966 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 3 )
                                                                                                                                                     Pe l i c a n Ra p i d s , M N 5 6 5 7 2 - 7 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e l a n d Lu m b e r & Tr u e Va l u e Ha r d w a r e , La k e l a n d Tr u e Va l u e
 2.6967 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 5 6 )
                                                                                                                                                     Lb r & Hd w, 7 2 2 0 St a t e Hi g h w a y 4 7 , La k e To m a h a w k , W I
        nature of the debtor's interest
                                                                                                                                                     54539-9336
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e l a n d Tr u e Va l u e , La k e l a n d Tr u e Va l u e Hd w e , 5 9 6 7 Co u n t y
 2.6968 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 4 1 )
        nature of the debtor's interest                                                                                                              Hw y W, Ma n i t o w i s h Wa t e r s , W I 5 4 5 4 5 - 9 3 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e l a n d Yd & Gd n Ct r H& g s , 4 2 1 0 La k e l a n d Dr , Fl o w o o d ,
 2.6969 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 7 9 )
        nature of the debtor's interest                                                                                                              MS 39232

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e s h o r e To o l & Eq u i p m e n t , 2 0 2 9 No r t h Ri d g e Rd , Lo r a i n ,
 2.6970 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 3 )
                                                                                                                                                     OH 44055
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e s i d e Ma r k e t & Ga s , 5 2 5 0 Ol i v e Hi g h w a y B, Or o v i l l e , C A
 2.6971 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 1 )
                                                                                                                                                     95966
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     La k e s i d e Tr u e Va l u e , 2 2 2 1 St e v e n s o n Dr , Sp r i n g f i e l d , I L
 2.6972 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 6 3 )
                                                                                                                                                     62703-4308
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e v i e w Ac e Ha r d w a r e , 3 1 8 N F St r e e t , La k e v i e w, O R 9 7 6 3 0 -
 2.6973 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 6 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e v i e w Lu m b e r , La k e v i e w Lu m b e r Co In c , Rt 2 0 2 , Ch i n a ,
 2.6974 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 8 1 )
                                                                                                                                                     ME 04926
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e v i e w Tr u e Va l u e , 2 5 0 7 Rt e 6 , Ha w l e y, PA 1 8 4 2 8 - 7 0 0 5
 2.6975 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La k e w o o d La w n & Ga r d e n , La k e w o o d La w n & Ga r d e n H& g s ,
 2.6976 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 8 2 )
        nature of the debtor's interest                                                                                                              1 3 1 3 Va n d i v e r Dr , Co l u m b i a , M O 6 5 2 0 2 - 1 9 2 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La m a r Bl d g . Ma t e r i a l Su p p l y, 2 2 4 N Ma i n St , La m a r , C O
 2.6977 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 4 0 )
                                                                                                                                                     81052-2526
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La m b e r t Pe a t Mo s s In c . , 1 0 6 Ch e m i n La m b e r t , Ri v i e r e - Ou e l l e ,
 2.6978 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Q C G0 L 2 C0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     La m b e r t Su p p l y Co In c , 4 0 9 Ma i n St r e e t , Cl a r e m o n t , N H
 2.6979 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 4 9 )
                                                                                                                                                     03743-4630
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6980 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Am i t y v i l l e , N Y 1 1 7 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6981 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Am i t y v i l l e , N Y 1 1 7 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6982 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Am i t y v i l l e , N Y 1 1 7 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6983 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Am i t y v i l l e , N Y 1 1 7 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6984 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Am i t y v i l l e , N Y 1 1 7 0 1

          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 La m b r o In d u s t r i e s , 1 1 5 Al b a n y Av e n u e , P. O. Bo x 3 6 7 ,
 2.6985 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Am i t y v i l l e , N Y 1 1 7 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6986 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6987 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6988 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6989 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6990 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6991 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6992 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6993 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m p l i g h t Fa r m s , Wa y n e Ma r t i n , 4 9 0 0 N Li l l y Ro a d ,
 2.6994 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Me n o m o n e e Fa l l s , W I 5 3 0 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La m s o n Ho m e Pr o d u c t s , 2 5 7 0 1 Sc i e n c e Pa r k Dr i v e , Cl e v e l a n d ,
 2.6995 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44122
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La n c e r & Lo a d e r Gr o u p L L C, 4 1 9 Pa r k Av e S, Rm 4 0 4 , Ne w
 2.6996 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Yo r k , N Y 1 0 0 1 6
        nature of the debtor's interest
          State the term remaining                        06/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 La n d O' La k e s Pu r i n a Fe e d L L C, 3 9 6 1 5 Hw y 9 2 , Ca r s o n , I A
 2.6997 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 51525
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 La n d O' La k e s Pu r i n a Fe e d L L C, 3 9 6 1 5 Hw y 9 2 , Ca r s o n , I A
 2.6998 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          51525

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 La n d O' La k e s Pu r i n a Fe e d L L C, 3 9 6 1 5 Hw y 9 2 , Ca r s o n , I A
 2.6999 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 51525

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d O' La k e s Pu r i n a Fe e d L L C, 3 9 6 1 5 Hw y 9 2 , Ca r s o n , I A
 2.7000 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 51525
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d O' La k e s Pu r i n a Fe e d L L C, 3 9 6 1 5 Hw y 9 2 , Ca r s o n , I A
 2.7001 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 51525
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d e r Ac e Ha r d w a r e , 4 8 5 Ma i n St , La n d e r , W Y 8 2 5 2 0
 2.7002 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d m a n n Us a , 7 4 0 5 Gr a h a m Rd , Fa i r b u r n , G A 3 0 2 1 3
 2.7003 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La n d m a n n Us a , 7 4 0 5 Gr a h a m Rd , Fa i r b u r n , G A 3 0 2 1 3
 2.7004 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d m a r k Pa i n t & Su p p l y Co . , 3 2 0 0 Co m m a n d e r Dr ,
 2.7005 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 8 )
                                                                                                                                                                 Ca r r o l l t o n , T X 7 5 0 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d m a r k Pl a s t i c Co r p o r a t i o n , P. O. Bo x 7 6 9 5 , 1 3 3 1 Ke l l y
 2.7006 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Av e n u e , Ak r o n , O H 4 4 3 0 6

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 La n d s En d Ma r i n e Su p p l y, In c . , La n d s En d Ma r i n e Su p p l y In c . ,
 2.7007 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 7 6 )
                                                                                                                                                                 3 3 7 Co m m e r c i a l St , Pr o v i n c e t o w n , M A 0 2 6 5 7 - 2 2 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La n d s b e r g En g i n e e r e d Pa c k a g i n g So l u t i o n s , 1 3 4 5 0 E Sm i t h
 2.7008 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , La n d s b e r g En g i n e e r i n g
                                                          So l u t i o n s Eq u i p m e n t Pu r c h a s e De n v e r                                            Rd , , Su i t e 2 0 0 , Au r o r a , C O 8 0 0 1 1
        nature of the debtor's interest
          State the term remaining                        12/18/2024 - 12/17/2025

          List the contract number of any government
          contract
                                                                                                                                                                 La n d s t a r Ra n g e r In c , 1 3 4 1 0 Su t t o n Pa r k Dr , Ja c k s o n v i l l e , F L
 2.7009 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , La n d s t a r Ra n g e r In c - Tr a n s p o r t a t i o n
                                                          Ag r e e m e n t Co n t r a c t e d Ca r r i e r                                                       32224
        nature of the debtor's interest
          State the term remaining                        06/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 La n g e n f e l d Tr u e Va l u e , 1 9 3 1 La k e Ta h o e Bl v d , So u t h La k e
 2.7010 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 2 )
                                                                                                                                                                 Ta h o e , C A 9 6 1 5 0 - 6 3 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La o n a Ma c h i n e Su p p l y, 4 9 0 2 Us - 8 , La o n a , La o n a , W I 5 4 5 4 1 -
 2.7011 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 1 1 )
                                                                                                                                                                 0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La r e d o Pa i n t & De c o r a t i n g , 5 9 1 9 Sa n Da r i o Av e n u e , La r e d o ,
 2.7012 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 0 )
                                                                                                                                                                 TX 78041-2920
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La r r a b e e ' s Bu i l d i n g Su p p l y, La r r a b e e ` s Bu i l d i n g Su p p l y, 1 4 1 0
 2.7013 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 6 3 )
        nature of the debtor's interest                                                                                                                          Rt e 2 We s t , We s t Da n v i l l e , V T 0 5 8 7 3 - 9 9 9 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La r s e n Su p p l y Co . , In c . , 7 0 4 5 W Ga l v e s t o n , Ch a n d l e r , A Z
 2.7014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 85226

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La r s e n Su p p l y Co . , In c . , 7 0 4 5 W Ga l v e s t o n , Ch a n d l e r , A Z
 2.7015 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 85226
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La r s e n Su p p l y Co . , In c . , 7 0 4 5 W Ga l v e s t o n , Ch a n d l e r , A Z
 2.7016 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85226
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 La r s e n Su p p l y Co . , In c . , 7 0 4 5 W Ga l v e s t o n , Ch a n d l e r , A Z
 2.7017 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 85226
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 La r s e n Su p p l y Co . , In c . , 7 0 4 5 W Ga l v e s t o n , Ch a n d l e r , A Z
 2.7018 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 85226
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 La r s o n Mf g Co , 2 3 3 3 Ea s t b r o o k Dr i v e , Br o o k i n g s , S D 5 7 0 0 6
 2.7019 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La s e r Bo n d i n g Te c h - Bo n d i c , 2 3 5 In d u s t r i a l Pa r k w a y So u t h , 1 8 ,
 2.7020 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Au r o r a , O N L4 G 3 V5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 La s e r Bo n d i n g Te c h - Bo n d i c , 2 3 5 In d u s t r i a l Pa r k w a y So u t h , 1 8 ,
 2.7021 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Au r o r a , O N L4 G 3 V5 , Ca n a d a

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7023 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7024 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7025 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7026 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7027 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 879 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           La s k o Pr o d u c t s , 8 2 0 Li n c o l n Av e n u e , We s t Ch e s t e r , PA 1 9 3 8 0
 2.7028 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 03/01/2025

          List the contract number of any government
          contract
                                                                                                                                                           La u g h l i n Co n s t a b l e , 2 0 0 S Mi c h i g a n Av e , Ch i c a g o , I L 6 0 6 0 4
 2.7029 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , La u g h l i n Co n s t a b l e M S A
        nature of the debtor's interest
          State the term remaining                        06/07/2023 - 06/06/2028

          List the contract number of any government
          contract
                                                                                                                                                           La u g h l i n Co n s t a b l e , 2 0 0 S Mi c h i g a n Av e , Ch i c a g o , I L 6 0 6 0 4
 2.7030 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , La u g h l i n Co n s t a b l e - AT B f o r Me d i a
        nature of the debtor's interest                   execution in 2024

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                           La u g h l i n Co n s t a b l e , 2 0 0 S Mi c h i g a n Av e , Ch i c a g o , I L 6 0 6 0 4
 2.7031 State what the contract or lease is for and the
                                                          Ma r k e t i n g Se r v i c e s , La u g h l i n Co n s t a b l e S O W 2 0 2 4 - 0 2 Me d i a
        nature of the debtor's interest                   Ca m p a i g n s f o r Me m b e r St o r e s 2 0 2 4

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                           La u n c h Co n s u l t i n g ( Fo r m e r l y St r i v e ) , 2 7 5 1 1 8 Th Av e Se ,
 2.7032 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , St r i v e Co n s u l t i n g M S A
                                                                                                                                                           Be l l e v u e , WA 9 8 0 0 5
        nature of the debtor's interest
          State the term remaining                        08/16/2022 - 08/15/2027

          List the contract number of any government
          contract
                                                                                                                                                           La u r e l Co m m u n i t y Ha r d w a r e , 1 0 0 1 Ce n t r a l Av e , La u r e l , D E
 2.7033 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 9 )
                                                                                                                                                           19956-1415
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           La u r e l Tr u e Va l u e Ct r. , La u r e l Tr u e Va l u e Ct r , 3 6 4 8 Ro u t e 3 0 ,
 2.7034 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 4 7 5 )
        nature of the debtor's interest                                                                                                                    La t r o b e , PA 1 5 6 5 0 - 5 2 0 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           La u r e y Co In c , 2 8 1 0 Ce n t e r Po r t Ci r c l e , Po m p a n o Be a c h , F L
 2.7035 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    33064

          State the term remaining                        02/03/2007

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                        Page 880 of 1687
Debtor                          CaseL.L.C.
                   True Value Company, 24-12337-KBO                                Doc 623                        Filed 11/26/24
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7036 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7038 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7039 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7040 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7041 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 La v e l l e In d u s t r i e s In c , 6 6 5 Mc h e n r y St , Bu r l i n g t o n , W I 5 3 1 0 5
 2.7042 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 La v e r n e Nu r s e r y In c , 3 5 5 N Ma i n St , Pi r u , C A 9 3 0 4 0
 2.7043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
                   True Value Company, 24-12337-KBO                                Doc 623                        Filed 11/26/24
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 La w l e s s - s m i t h Tr u e Va l u e Sp l y, 9 7 9 St e v e Wa r i n e r Dr , Ru s s e l l
 2.7044 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 2 9 )
        nature of the debtor's interest                                                                                                                          Sp r i n g s , K Y 4 2 6 4 2 - 4 5 4 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La w n & Ga r d e n L L C, 1 4 0 Co r u m Rd , Ex c e l s i o r Sp r i n g s , M O
 2.7045 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 64024
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 La w n So l u t i o n s , 2 1 4 0 Sp e n c e r Ct , La g r a n g e , K Y 4 0 0 3 1
 2.7046 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 La w r e n c e Ha r d w a r e , 1 3 0 1 S Br u n d i d g e St r e e t , Tr o y, A L 3 6 0 8 1
 2.7047 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 La w s o n Pr o d u c t s , In c . , 6 0 0 Wa t e r St , Lo g a n s p o r t , I N 4 6 9 4 7
 2.7048 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 La w s o n Pr o d u c t s , In c . , 6 0 0 Wa t e r St , Lo g a n s p o r t , I N 4 6 9 4 7
 2.7049 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lb g Di s t r i b u t i o n In c , 1 5 1 8 0 Jo s h Wi l s o n Rd , Bu r l i n g t o n , WA
 2.7050 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          98233

          State the term remaining                        09/08/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7051 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                 Page 882 of 1687
Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7052 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7053 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7054 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7055 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7056 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7057 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7059 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2008

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le a k t i t e , 4 0 Fr a n c i s St r e e t , Le o m i n s t e r , M A 0 1 4 5 3
 2.7060 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Le a n i n Tr e e In c . , Le a n i n Tr e e In c , 6 0 5 5 Lo n g b o w Dr i v e , P. O.
 2.7061 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 9 5 0 0 , Bo u l d e r , C O 8 0 3 0 1
        nature of the debtor's interest
          State the term remaining                        11/20/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Le a t h e r m a n To o l Gr o u p In c , 1 2 1 0 6 N E Ai n s w o r t h Ci r c l e , P. O.
 2.7062 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 2 0 5 9 5 ( 9 7 2 9 4 ) , Po r t l a n d , O R 9 7 2 2 0
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Le a t h e r m a n To o l Gr o u p In c , 1 2 1 0 6 N E Ai n s w o r t h Ci r c l e , P. O.
 2.7063 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo x 2 0 5 9 5 ( 9 7 2 9 4 ) , Po r t l a n d , O R 9 7 2 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le a t h e r m a n To o l Gr o u p In c , 1 2 1 0 6 N E Ai n s w o r t h Ci r c l e , P. O.
 2.7064 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo x 2 0 5 9 5 ( 9 7 2 9 4 ) , Po r t l a n d , O R 9 7 2 2 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Le a t h e r m a n To o l Gr o u p In c , 1 2 1 0 6 N E Ai n s w o r t h Ci r c l e , P. O.
 2.7065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bo x 2 0 5 9 5 ( 9 7 2 9 4 ) , Po r t l a n d , O R 9 7 2 2 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7066 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7067 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7068 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7069 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7070 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7071 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 7 0 4 2
        nature of the debtor's interest
          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Le b a n o n Se a b o a r d Se e d Co r p , 1 6 0 0 E Cu m b e r l a n d St , Le b a n o n ,
 2.7072 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          PA 1 7 0 4 2

          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Le b l a n c Tr u e Va l u e Ha r d w a r e , 6 2 1 Ha y w a r d St , Ma n c h e s t e r ,
 2.7073 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 9 5 )
        nature of the debtor's interest                                                                                                                          NH 03103-4419

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le c h u z a , 2 6 Co m m e r c e Dr i v e , Cr a n b u r y, N J 0 8 5 1 2
 2.7074 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/24/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Le d o n n e Tr u e Va l u e Ha r d w a r e , 1 7 5 0 N Ta f t Av e , Be r k e l e y, I L
 2.7075 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 )
                                                                                                                                                                 60163-1555
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le d u p Ma n u f a c t u r i n g Gr o u p Lt d , 9 / F , Tu n g Ni n g Bu i l d i n g ,
 2.7076 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 2 4 9 - 2 5 3 De s Vo e u x Ro a d Ce n t r , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le d v a n c e L L C, Le d v a n c e L L C, 1 0 0 En d i c o t t St , Da n v e r s , M A
 2.7077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 01923
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Le e Ha r d w a r e , 2 2 1 Ma i n St r e e t , Le e , M A 0 1 2 3 8
 2.7078 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le e ' s Tr u e Va l u e , 1 1 9 Pe c a n St r e e t , Cl y d e , T X 7 9 5 1 0 - 4 7 2 2
 2.7079 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le e c h La k e Lb r & T V Hd w e , 9 6 7 5 St a t e 3 7 1 Nw, Wa l k e r , M N
 2.7080 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 1 4 )
        nature of the debtor's interest                                                                                                                          56484-2103

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le e c h Pr o d u c t s , P. O. Bo x 2 1 4 7 , Hu t c h i n s o n , K S 6 7 5 0 4
 2.7081 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Le e w a y Tr u e Va l u e Ha r d w a r e , 7 9 0 Gr e a t Rd , No r t h Sm i t h f i e l d ,
 2.7082 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 2 2 )
                                                                                                                                                                 RI 02896-6838
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le g a c y Co m p a n i e s , Th e , 2 8 4 5 Wi n g a t e St r e e t , We s t Be n d , W I
 2.7083 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53095
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le g a c y Mf g . Co . , 6 5 0 9 Pa r t n e r s Av e , Ma r i o n , I A 5 2 3 0 2
 2.7084 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le g a c y Pu b l i s h i n g Gr o u p In c , P. O. Bo x 2 9 9 , 7 5 Gr e e n St ,
 2.7085 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cl i n t o n , M A 0 1 5 1 0
        nature of the debtor's interest
          State the term remaining                        08/13/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Le g r a n d Pa s s & Se y m o u r , Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e ,
 2.7086 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 Sy r a c u s e , N Y 1 3 2 2 1
        nature of the debtor's interest
          State the term remaining                        04/15/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Le h m a n Mi d t o w n Tr u e Va l u e , 3 4 7 3 N Br o a d w a y St , Ch i c a g o ,
 2.7087 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 )
        nature of the debtor's interest                                                                                                                          IL 60657-2519

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le i c e s t e r Ag w a y, 1 1 5 5 St a f f o r d St r e e t , Ro c h d a l e , M A 0 1 5 4 2
 2.7088 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le i d o s , In c . , 1 7 5 0 Pr e s i d e n t s St , Re s t o n , VA 2 0 1 9 0
 2.7089 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Le i d o s En v i r o n m e n t a l Co m p l i a n c e
        nature of the debtor's interest                   Su p p o r t 2 0 2 4

          State the term remaining                        07/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Le i s u r e Di s t r i b u t o r s , 4 2 2 0 E Mo r g a n Av e , Ev a n s v i l l e , I N
 2.7090 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 47715
        nature of the debtor's interest
          State the term remaining                        01/24/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Le i s u r e Pr o d u c t s Ca n a d a , 4 7 0 Lo u i s e Rd , La d y s m i t h , B C V9 G
 2.7091 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 V8 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/29/2014

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Le m b k e & So n s Tr u e Va l u e Hd w, 6 7 3 4 Pe r s h i n g Rd , Be r w y n , I L
 2.7092 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 8 5 )
                                                                                                                                                     60402-4070
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le m o o r e Tr u e Va l u e Ha r d w a r e , 2 1 7 We s t D St , Le m o o r e , C A
 2.7093 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 8 4 )
                                                                                                                                                     93245-2939
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n c o Lu m b e r - Bu f f a l o , 1 4 4 5 Se n e c a St , Bu f f a l o , N Y 1 4 2 1 0 -
 2.7094 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 3 )
                                                                                                                                                     1729
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n c o Lu m b e r - Ke n m o r e , 3 4 4 5 De l e w a r e Av e , Ke n m o r e , N Y
 2.7095 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 5 )
        nature of the debtor's interest                                                                                                              14217-1213

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n c o Lu m b e r - Wi l l i a m s v i l l e , 8 0 7 5 Sh e r i d a n Dr , Bu f f a l o , N Y
 2.7096 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 4 )
                                                                                                                                                     14221-6003
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n d y El e c Eq u i p & Sp l y Co r p , 1 7 6 Gr a n d St , Ne w Yo r k , N Y
 2.7097 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 1 0 )
                                                                                                                                                     10013-3786
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n n y s Lu m b e r , W5 6 0 2 Co u n t y Rd G, Ne c e d a h , W I 5 4 6 4 6 - 7 9 0 3
 2.7098 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 0 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le n o i r Va l l e y Re n t a l , 1 4 0 1 Mo r g a n t o n Bl v d , Le n o i r , N C 2 8 6 4 5
 2.7099 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Le n t z Tr u e Va l u e Ha r d w a r e , 1 2 0 7 N Wh e e l e r St , Vi c t o r i a , T X
 2.7100 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 4 8 )
                                                                                                                                                     77901-5950
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le o n s Fl o o r Co v e r i n g , 3 0 2 W 5 t h St r e e t , Cl i f t o n , T X 7 6 6 3 4
 2.7101 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le o p o l d i Ha r d w a r e , 4 1 5 5 t h Av e , Br o o k l y n , N Y 1 1 2 1 5 - 3 3 1 5
 2.7102 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 1 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le r o y Tr u e Va l u e Ha r d w a r e , 4 0 0 S Ch e s t n u t , Le Ro y, I L 6 1 7 5 2 -
 2.7103 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 1 9 )
        nature of the debtor's interest                                                                                                              1702

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le s l i e Ka n d e l , Ad d r e s s Re d a c t e d
 2.7104 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Bu s i n e s s An a l y s t
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le t ' S Ge l , In c . , Le t ' S Ge l , In c , 1 0 0 E Wh i t e s t o n e Bl v d , Bo x #
 2.7105 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     2 8 1 , Ce d a r Pa r k , T X 7 8 6 1 3
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                     Le t ' S Ge l , In c . , Le t ' S Ge l , In c , 1 0 0 E Wh i t e s t o n e Bl v d , Bo x #
 2.7106 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     2 8 1 , Ce d a r Pa r k , T X 7 8 6 1 3
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Le v i St r a u s s & Co . , Le v i St r a u s s & Co , 2 6 0 1 Ne t w o r k Bl v d ,
 2.7107 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Su i t e 3 0 0 , Fr i s c o , T X 7 5 0 3 4
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Le v i , Ra y, & Sh o u p , In c . , Le v i , Ra y, & Sh o u p , In c , 2 4 0 1 W
 2.7108 State what the contract or lease is for and the   So f t w a r e , Ma s t e r a n d S O W / So f t w a r e Li c e n s e Ag r e e m e n t
                                                                                                                                                       Mo n r o e St , Sp r i n g f i e l d , I L 6 2 7 0 4
        nature of the debtor's interest
          State the term remaining                        05/24/2017 - 05/23/2027

          List the contract number of any government
          contract
                                                                                                                                                       Le v i , Ra y, & Sh o u p , In c . , Le v i , Ra y, & Sh o u p , In c , 2 4 0 1 W
 2.7109 State what the contract or lease is for and the   So f t w a r e , Le v i , Ra y & Sh o u p , In c
                                                                                                                                                       Mo n r o e St , Sp r i n g f i e l d , I L 6 2 7 0 4
        nature of the debtor's interest
          State the term remaining                        04/01/2019 - 03/31/2031

          List the contract number of any government
          contract
                                                                                                                                                       Le v i , Ra y, & Sh o u p , In c . , Le v i , Ra y, & Sh o u p , In c , 2 4 0 1 W
 2.7110 State what the contract or lease is for and the
                                                          So f t w a r e , Le v i , Ra y & Sh o u p Am e n d m e n t t o So f t w a r e Li c e n s e
        nature of the debtor's interest                   Sc h e d u l e I L0 0 9 2                                                                    Mo n r o e St , Sp r i n g f i e l d , I L 6 2 7 0 4

          State the term remaining                        05/01/2020 - 03/31/2031

          List the contract number of any government
          contract
                                                                                                                                                       Le v i , Ra y, & Sh o u p , In c . , Le v i , Ra y, & Sh o u p , In c , 2 4 0 1 W
 2.7111 State what the contract or lease is for and the
                                                          So f t w a r e , Le v i , Ra y & Sh o u p ( L R S) - D R S, V P S, V P S/ T C P I P
        nature of the debtor's interest                   Su p p o r t Re n e w a l 2 0 2 4                                                            Mo n r o e St , Sp r i n g f i e l d , I L 6 2 7 0 4

          State the term remaining                        03/29/2024 - 03/28/2025

          List the contract number of any government
          contract
                                                                                                                                                       Le v i , Ra y, & Sh o u p , In c . , Le v i , Ra y, & Sh o u p , In c , 2 4 0 1 W
 2.7112 State what the contract or lease is for and the
                                                          So f t w a r e , Le v i , Ra y & Sh o u p ( L R S) So f t w a r e Ma i n t Su p p o r t
                                                          Re n e w a l - E O M Pr o d u c t Su i t e 1 - 2 0 2 4                                       Mo n r o e St , Sp r i n g f i e l d , I L 6 2 7 0 4
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                       Le v i t o n Mf g Co , 3 0 0 Pa r k Bl v d , Su i t e 3 1 5 , It a s c a , I L 6 0 1 4 3
 2.7113 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                       Le v i t o n Mf g / Co m m o d i t y, Le v i t o n Mf g Co , 3 0 0 Pa r k Bl v d ,
 2.7114 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       Su i t e 3 1 5 , It a s c a , I L 6 0 1 4 3
        nature of the debtor's interest
          State the term remaining                        02/01/2010

          List the contract number of any government
          contract
                                                                                                                                                       Le v o l o r Co r p , 3 Gl e n l a k e Pk w y Ne , Sa n d y Sp r i n g s , G A 3 0 3 2 8
 2.7115 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Le v o l o r In c / Hu n t e r Do u g l a s , 3 Gl e n l a k e Pa r k w a y Ne , At l a n t a ,
 2.7116 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     GA 30328
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g # 1 7 , Le w i s Dr u g 1 7 , 5 8 3 0 E Ma d i s o n St , Si o u x
 2.7117 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 8 )
        nature of the debtor's interest                                                                                                              Fa l l s , S D 5 7 1 1 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g # 1 4 , Le w i s Dr u g 1 4 , 1 3 6 S Ph i l l i p s Av e . , Si o u x
 2.7118 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 3 7 )
        nature of the debtor's interest                                                                                                              Fa l l s , S D 5 7 1 0 4 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g # 1 5 , Le w i s Dr u g 1 5 , 2 5 2 5 So u t h El l i s Rd , Si o u x
 2.7119 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 4 2 )
                                                                                                                                                     Fa l l s , S D 5 7 1 0 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 1 , 5 0 0 W 4 1 s t St , Si o u x Fa l l s , S D 5 7 1 0 5 - 6 4 0 2
 2.7120 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 2 , 2 7 0 0 We s t 1 2 t h St , Si o u x Fa l l s , S D 5 7 1 0 4 - 3 7 0 1
 2.7121 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 3 , 1 3 0 1 E 1 0 t h St , Si o u x Fa l l s , S D 5 7 1 0 3 - 1 7 8 0
 2.7122 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 4 , 1 9 5 0 Da k o t a Av e , Hu r o n , S D 5 7 3 5 0 - 4 0 9 9
 2.7123 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Le w i s Dr u g 0 5 , 7 4 1 S Wa s h i n g t o n , Ma d i s o n , S D 5 7 0 4 2 - 3 4 0 9
 2.7124 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 6 , 5 5 0 0 W 4 1 s t St , Si o u x Fa l l s , S D 5 7 1 0 6 - 1 0 0 9
 2.7125 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 7 , 4 4 0 9 Ea s t 2 6 t h St , Si o u x Fa l l s , S D 5 7 1 0 3 - 4 1 3 6
 2.7126 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 0 9 , 1 1 5 N Sp l i t r o c k Bl v d , Br a n d o n , S D 5 7 0 0 5 - 1 5 2 9
 2.7127 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 1 0 , 6 1 0 9 S Lo u i s e Av e , Si o u x Fa l l s , S D 5 7 1 0 8 -
 2.7128 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 0 3 )
                                                                                                                                                     5981
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 1 2 , 9 1 0 2 2 n d Av e So u t h , Br o o k i n g s , S D 5 7 0 0 6 -
 2.7129 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 3 6 )
                                                                                                                                                     2830
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g 3 1 , 1 0 9 S Ma i n St , St e A, Mi l b a n k , S D 5 7 2 5 2 - 1 8 0 6
 2.7130 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Dr u g Dc , 7 0 0 E 5 4 t h St N, Si o u x Fa l l s , S D 5 7 1 0 4 - 0 6 8 4
 2.7131 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 7 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Le w i s Hy m a n In c , 8 6 0 E Sa n d h i l l Av e , Ca r s o n , C A 9 0 7 4 6
 2.7132 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7133 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7134 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7135 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7136 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7137 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7138 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7139 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/23/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Le w i s Li f e t i m e To o l s , 1 5 4 7 2 Ma r k a r Ro a d , Po w a y, C A 9 2 0 6 4
 2.7140 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Pa i n t & Wa l l c o v e r i n g , 4 4 S Yo r k Rd , Ha t b o r o , PA 1 9 0 4 0
 2.7141 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s Tr u e Va l u e Me r c a n t i l e , 3 1 1 Ba y f i e l d Ce n t e r Dr ,
 2.7142 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 1 6 )
                                                                                                                                                     Ba y f i e l d , C O 8 1 1 2 2 - 8 8 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le w i s t o w n Tr u e Va l u e , 3 0 1 W Ma i n St , Le w i s t o w n , M T 5 9 4 5 7
 2.7143 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 3 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le x i n g t o n Tr u e Va l u e Ha r d w a r e , 2 0 2 8 Au g u s t a Hi g h w a y,
 2.7144 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 7 )
                                                                                                                                                     Le x i n g t o n , S C 2 9 0 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7145 State what the contract or lease is for and the   Am e n d m e n t , Le x m a r k Am e n d m e n t 3 a d d i n g R S C t o R D C S O W
                                                                                                                                                     Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1
        nature of the debtor's interest
          State the term remaining                        06/13/2024 - 12/15/2025

          List the contract number of any government
          contract
                                                                                                                                                     Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7146 State what the contract or lease is for and the
                                                          Am e n d m e n t , Le x m a r k Am e n d m e n t 4 Ca r y T V M S O W
        nature of the debtor's interest                                                                                                              Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1

          State the term remaining                        06/13/2024 - 12/15/2025

          List the contract number of any government
          contract
                                                                                                                                                     Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7147 State what the contract or lease is for and the
                                                          Am e n d m e n t , Le x m a r k - Am e n d m e n t t o Ha r v a r d & Co r s i c a n a
        nature of the debtor's interest                   Pr i n t e r / Co p i e r S O W                                                            Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1

          State the term remaining                        05/25/2023 - 05/24/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7148 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Le x m a r k Co r s i c a n a a n d Ha r v a r d Pr i n t e r
        nature of the debtor's interest                   Co p i e r S O W                                                                               Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1

          State the term remaining                        12/14/2022 - 12/13/2025

          List the contract number of any government
          contract
                                                                                                                                                         Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7149 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Le x m a r k Pr i n t e r Co p i e r Ma s t e r
                                                          Ag r e e m e n t                                                                               Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1
        nature of the debtor's interest
          State the term remaining                        12/13/2022 - 12/12/2025

          List the contract number of any government
          contract
                                                                                                                                                         Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7150 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
                                                                                                                                                         Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1
        nature of the debtor's interest
          State the term remaining                        05/17/2023 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                         Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7151 State what the contract or lease is for and the
                                                          Le a s e , I T Eq u i p m e n t Le a s e
                                                                                                                                                         Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1
        nature of the debtor's interest
          State the term remaining                        05/11/2023 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                         Le x m a r k In t ' l In c . , Le x m a r k In t e r n a t i o n a l In c , 7 4 0 We s t Ne w
 2.7152 State what the contract or lease is for and the   Le a s e , I T Eq u i p m e n t Le a s e
                                                                                                                                                         Ci r c l e Ro a d , Le x i n g t o n , K Y 4 0 5 1 1
        nature of the debtor's interest
          State the term remaining                        05/17/2023 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                         Le y d i g Tr u e Va l u e , 3 1 5 Be d f o r d St , Ho l l i d a y s b u r g , PA 1 6 6 4 8 -
 2.7153 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 7 3 )
                                                                                                                                                         1717
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Le y o s Tr u e Va l u e , 1 5 6 4 Ma i n St r e e t , Co a l p o r t , PA 1 6 6 2 7 - 9 3 2 3
 2.7154 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 2 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Lf s Gl o v e , 8 5 1 Co h o Wa y, Be l l i n g h a m , WA 9 8 2 2 5
 2.7155 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Lh b In d u s t r i e s , 1 0 4 4 0 Tr e n t o n Av e , St Lo u i s , M O 6 3 1 3 2
 2.7156 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lh b In d u s t r i e s , 1 0 4 4 0 Tr e n t o n Av e , St Lo u i s , M O 6 3 1 3 2
 2.7157 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Lh b In d u s t r i e s , 1 0 4 4 0 Tr e n t o n Av e , St Lo u i s , M O 6 3 1 3 2
 2.7158 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Li & Fu n g , 2 0 5 2 Al t o n Pa r k w a y, Ir v i n e , C A 9 2 6 0 6
 2.7159 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/30/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Am m u n i t i o n In c , 2 0 8 3 5 8 Th Av e Ci r c l e Ea s t , Su i t e B,
 2.7160 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Br a d e n t o n , F L 3 4 2 0 3
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7161 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ke r n e r s v i l l e , N C 2 7 2 8 4

          State the term remaining                        08/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7162 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7164 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7165 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7166 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7167 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7168 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Ke r n e r s v i l l e , N C 2 7 2 8 4
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ga r d e n Pr o d u c t s In c , 1 1 6 1 So u t h Pa r k Dr i v e ,
 2.7169 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ke r n e r s v i l l e , N C 2 7 2 8 4

          State the term remaining                        06/01/2022 - 06/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 0 1 S. El m Av e n u e , Er w i n , T N 3 7 6 5 0 - 1 1 5 7
 2.7170 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7171 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27107
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7172 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 27107
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7173 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27107
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7174 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27107
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7175 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27107
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ha r d w a r e , 1 4 0 Bu s i n e s s Pa r k Dr , Wi n s t o n - Sa l e m , N C
 2.7176 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27107

          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Ho m e Gd n & Pe t H& g s , 1 1 Bo n Jo v i La n e , Li b e r t y, N Y
 2.7177 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 6 0 )
        nature of the debtor's interest                                                                                                                          12754-1955

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Mu t u a l , 1 7 5 Be r k e l e y St , Bo s t o n , M A 0 2 1 1 7
 2.7178 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Li b e r t y Mu t u a l - Gr o u p Di s a b i l i t y Po l i c y a n d H R
        nature of the debtor's interest                   Be n e f i t s

          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Li b e r t y Pa n e l Ce n t e r In c , 1 0 0 9 Li b e r t y Av e , Br o o k l y n , N Y
 2.7179 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 4 2 )
                                                                                                                                                                 11208-2812
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li b e r t y Sa f e & Se c u r i t y Pr o d , 1 1 9 9 W Ut a h Av e n u e , Pa y s o n ,
 2.7180 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 UT 84651
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Li b m a n Co m p a n y, 2 2 0 N Sh e l d o n , Bo x 6 8 , Ar c o l a , I L 6 1 9 1 0
 2.7181 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Li b r a In c , 3 3 1 0 N 2 n d St , Mi n n e a p o l i s , M N 5 5 4 1 2
 2.7182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Li e s e n e r So i l s In c . , 1 3 6 5 Sp r i n g Va l l e y Rd , Ja c k s o n , W I 5 3 0 3 7
 2.7183 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e Ge a r In c , 2 0 0 2 Ji m m y Du r a n t e Bl v d , Su i t e 1 2 0 , De l Ma r ,
 2.7184 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CA 92014

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f e Ge a r In c , 2 0 0 2 Ji m m y Du r a n t e Bl v d , Su i t e 1 2 0 , De l Ma r ,
 2.7185 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 92014

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Br a n d s , 1 0 0 0 St e w a r t Av e , Ga r d e n Ci t y, N Y 1 1 5 3 0
 2.7186 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Br a n d s , 1 0 0 0 St e w a r t Av e , Ga r d e n Ci t y, N Y 1 1 5 3 0
 2.7187 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li f e t i m e Br a n d s , 1 0 0 0 St e w a r t Av e , Ga r d e n Ci t y, N Y 1 1 5 3 0
 2.7188 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Ho n g Ko n g Lt d , P. O. Bo x 1 6 0 0 1 0 , Fr e e p o r t Ce n t e r
 2.7189 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Bl d g D- 1 1 , Cl e a r f i e l d , U T 8 4 0 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Ho n g Ko n g Lt d , P. O. Bo x 1 6 0 0 1 0 , Fr e e p o r t Ce n t e r
 2.7190 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bl d g D- 1 1 , Cl e a r f i e l d , U T 8 4 0 1 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Le i s u r e , P. O. Bo x 1 6 0 3 2 4 , Bl d g D1 0 Fr e e p o r t Ce n t e r ,
 2.7191 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cl e a r f i e l d , U T 8 4 0 1 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Le i s u r e , P. O. Bo x 1 6 0 3 2 4 , Bl d g D1 0 Fr e e p o r t Ce n t e r ,
 2.7192 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cl e a r f i e l d , U T 8 4 0 1 6

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Le i s u r e , P. O. Bo x 1 6 0 3 2 4 , Bl d g D1 0 Fr e e p o r t Ce n t e r ,
 2.7193 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Cl e a r f i e l d , U T 8 4 0 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f e t i m e Le i s u r e , P. O. Bo x 1 6 0 3 2 4 , Bl d g D1 0 Fr e e p o r t Ce n t e r ,
 2.7194 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Cl e a r f i e l d , U T 8 4 0 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f e w o r k s Te c h n o l o g y Gr o u p L L C, Li f e w o r k s Te c h n o l o g y
 2.7195 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Gr o u p L L C, 5 3 0 7 Th Av e , 2 1 St Fl o o r , Ne w Yo r k , N Y 1 0 0 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li f e w o r k s Te c h n o l o g y Gr o u p L L C, Li f e w o r k s Te c h n o l o g y
 2.7196 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Gr o u p L L C, 5 3 0 7 Th Av e , 2 1 St Fl o o r , Ne w Yo r k , N Y 1 0 0 1 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li f o a m In d u s t r i e s L L C, Li f o a m In d u s t r i e s L L C, 2 3 5 Sc h i l l i n g
 2.7197 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ci r c l e , Su i t e 1 1 1 , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li g h t n i n g St r i k e L L C, 1 5 6 6 Ba r c l a y Bl v d , Bu f f a l o Gr o v e , I L
 2.7198 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60089
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li g h t s o f Am e r i c a , Li g h t s Of Am e r i c a , 6 1 1 Re y e s Dr i v e ,
 2.7199 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wa l n u t , C A 9 1 7 8 9

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li g n e t i c s , P. O. Bo x 1 7 0 6 , Sa n d p o i n t , I D 8 3 8 6 4
 2.7200 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li g n e t i c s o f Vi r g i n i a , Li g n e t i c s Of Vi r g i n i a , P. O. Bo x 1 7 0 6 ,
 2.7201 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 1 7 5 6 Hi g h w a y 2 0 0 Ea s t , Sa n d p o i n t , I D 8 3 8 6 4
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Li g n e t i c s o f W Vi r g i n i a , Li g n e t i c s , P. O. Bo x 1 7 0 6 , Sa n d p o i n t ,
 2.7202 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 ID 83864
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li g n e t i c s o f W Vi r g i n i a , Li g n e t i c s , P. O. Bo x 1 7 0 6 , Sa n d p o i n t ,
 2.7203 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 ID 83864
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li g n e t i c s , In c . , Li g n e t i c s , P. O. Bo x 1 7 0 6 , Sa n d p o i n t , I D 8 3 8 6 4
 2.7204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/21/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Li g n e t i c s , In c . , Li g n e t i c s , P. O. Bo x 1 7 0 6 , Sa n d p o i n t , I D 8 3 8 6 4
 2.7205 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Li k w i d Co n c e p t s L L C, Li k w i d Co n c e p t s L L C, 6 3 0 He r m a n Rd ,
 2.7206 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ja c k s o n , N J 0 8 5 2 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li m a Gr e e n h o u s e s In c , 2 1 0 0 S In l a n d Em p i r e Wa y, Sp o k a n e ,
 2.7207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WA 9 9 2 2 4

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Li m a Ha r d w a r e & Pl u m b i n g Tr u e Va l u e , Li m a Ha r d w a r e &
 2.7208 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 8 9 )
                                                                                                                                                                 Pl u m b i n g Tr u e , 2 3 0 6 Be r g e n l i n e Av e , Un i o n Ci t y, N J 0 7 0 8 7 -
        nature of the debtor's interest
                                                                                                                                                                 3524
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li m i t l e s s Se a r c h In c , 4 We s t Ja n e St r e e t , Gl e n w o o d , I L 6 0 4 2 5
 2.7209 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Li m i t l e s s Se a r c h - Ag e n c y a n d Re c r u i t i n g
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 1

          State the term remaining                        01/28/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n Co u n t y Me r c a n t i l e , 1 0 1 No r t h Bo n i t o Av e n u e , Ca p i t a n ,
 2.7210 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 8 )
                                                                                                                                                                 NM 88316
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n Co u n t y Tr u e Va l u e Hd w e , 3 0 8 W 1 5 t h St , Ch a n d l e r ,
 2.7211 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 8 4 )
                                                                                                                                                                 OK 74834-4204
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7212 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30504
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7213 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 30504
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7214 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30504

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 30504

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 30504
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n El e c t r i c Co , 2 3 4 5 Mu r p h y Bl v d , Ga i n e s v i l l e , G A
 2.7217 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 30504
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n In d u s t r i a l / Mi t y v a c , On e Li n c o l n Wa y, St . Lo u i s , M O
 2.7218 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63120
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Li n c o l n Nu r s e r i e s In c , 0 - 1 4 2 Li n c o l n St r e e t , Gr a n d Ra p i d s , M I
 2.7219 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49534
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Li n c o l n Tr u e Va l u e , 1 6 9 Cl o v e r St , Ca l i e n t e , N V 8 9 0 0 8 - 9 9 9 9
 2.7220 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    Li n c o l n Tr u e Va l u e Ha r d w a r e , 1 6 0 9 Li n c o l n Bl v d , Ve n i c e , C A
 2.7221 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 8 9 )
                                                                                                                                                                    90291-3501
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    Li n d b e r g Tr u e Va l u e Lb r & Hd w e , 6 1 0 1 N St a t e St r e e t ,
 2.7222 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 5 4 )
        nature of the debtor's interest                                                                                                                             Ca l p e l l a , C A 9 5 4 1 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    Li n d s a y Tr u e Va l u e Ha r d w a r e , 1 7 4 N El m w o o d Av e , Li n d s a y,
 2.7223 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 8 9 )
                                                                                                                                                                    CA 93247-2402
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    Li n d s t r o m , 2 9 5 0 1 0 0 Th Co u r t Ne , Bl a i n e , M N 5 5 4 4 9
 2.7224 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    Li n k Ha n d l e Di v o f Se y m o u r , P. O. Bo x 1 6 7 4 , Wa r s a w, I N
 2.7225 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                    46581
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                    Li n k e d i n , 1 0 0 0 We s t Ma u d e Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.7226 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Li n k e d i n Su b s c r i p t i o n Ag r e e m e n t ( L S A)
        nature of the debtor's interest
          State the term remaining                        01/05/2016 - 01/04/2025

          List the contract number of any government
          contract
                                                                                                                                                                    Li n k e d i n , 1 0 0 0 We s t Ma u d e Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.7227 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Li n k e d i n Le a r n i n g En t e r p r i s e Hu b - Al l
        nature of the debtor's interest                   La n g u a g e s

          State the term remaining                        06/15/2022 - 06/14/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li n k e d i n , 1 0 0 0 We s t Ma u d e Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.7228 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Li n k e d In Gl i n t En g a g e a n d Li f e c y c l e
        nature of the debtor's interest
          State the term remaining                        06/15/2022 - 06/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Li n k e d i n , 1 0 0 0 We s t Ma u d e Av e n u e , Su n n y v a l e , C A 9 4 0 8 5
 2.7229 State what the contract or lease is for and the
                                                          So f t w a r e , Li n k e d i n Co r p o r a t e Pa c k a g e
        nature of the debtor's interest
          State the term remaining                        12/22/2021 - 12/21/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Li n q Us a Co r p . , 3 8 8 So u t h Av e n u e , Ri c h m o n d , N Y 1 0 3 0 3 - 1 4 1 1
 2.7230 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n z e r / Am e r i c a n Br u s h , 2 4 8 Wy a n d a n c h Av e , We s t Ba b y l o n ,
 2.7231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 11704
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n z e r / Am e r i c a n Br u s h , 2 4 8 Wy a n d a n c h Av e , We s t Ba b y l o n ,
 2.7232 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 11704
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n z e r / Am e r i c a n Br u s h , 2 4 8 Wy a n d a n c h Av e , We s t Ba b y l o n ,
 2.7233 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11704
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Li n z e r / Am e r i c a n Br u s h , 2 4 8 Wy a n d a n c h Av e , We s t Ba b y l o n ,
 2.7234 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 11704
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li n z e r / Am e r i c a n Br u s h , 2 4 8 Wy a n d a n c h Av e , We s t Ba b y l o n ,
 2.7235 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 11704

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li o n e l L L C, Li o n e l L L C, 6 3 0 1 Pe r f o r m a n c e Dr i v e , Co n c o r d ,
 2.7236 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28027
        nature of the debtor's interest
          State the term remaining                        02/15/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li p p e r In t ' l , In c . , Li p p e r In t e r n a t i o n a l , In c , 2 3 5 Wa s h i n g t o n
 2.7237 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St r e e t , Wa l l i n g f o r d , C T 0 6 4 9 2

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li q i El e c t r i c a l Ap p l i a n c e Co Lt d , No 7 5 8 Ka i f a Rd Ea s t ,
 2.7238 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Zh o u x i a n g To w n , Ni n g b o , Ni n g b o , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li q u i d Fe n c e Co In c , P. O. Bo x 1 5 1 0 , 5 6 8 3 Ro u t e 1 1 5 ,
 2.7239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bl a k e s l e e , PA 1 8 6 1 0
        nature of the debtor's interest
          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Li q u i f i x In c , 1 1 0 Le n o x Av e , St a m f o r d , C T 0 6 9 0 6
 2.7240 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/14/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Li s b o n Tr u e Va l u e , 4 0 6 Ma i n St , Li s b o n , N D 5 8 0 5 4 - 4 1 4 2
 2.7241 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li s l e Co r p o r a t i o n , P. O. Bo x 8 9 , 8 0 7 E Ma i n St , Cl a r i n d a , I A
 2.7242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 51632
        nature of the debtor's interest
          State the term remaining                        09/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Li t h o n i a Li g h t i n g , 1 4 0 0 Le s t e r Ro a d , P. O. Bo x A, Co n y e r s , G A
 2.7243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30207

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li t h o n i a Li g h t i n g , 1 4 0 0 Le s t e r Ro a d , P. O. Bo x A, Co n y e r s , G A
 2.7244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 30207

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li t t e l f u s e In c , 8 7 5 5 W Hi g g i n s , Su i t e 5 0 0 , Ch i c a g o , I L 6 0 6 3 1
 2.7245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li t t l e Be a v e r In c , P. O. Bo x 8 4 0 , Li v i n g s t o n , T X 7 7 3 5 1
 2.7246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/10/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Li t t l e Fa l l s Fl e e t Su p p l y, In c . & Tr u e Va l u e , Li t t l e Fa l l s Fl e e t
 2.7247 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 5 9 )
                                                                                                                                                                 Su p p l y In c , 1 8 0 0 1 s t Av e n u e Ne , Li t t l e Fa l l s , M N 5 6 3 4 5 - 3 3 8 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li t t l e Gi a n t / Fr a n k l i n El e c t r i c , 3 8 1 0 N Tu l s a St , Ok l a h o m a Ci t y,
 2.7248 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OK 73112
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Li t t l e Mo u n t a i n Tr u e Va l u e , 2 1 7 0 Hw y 1 4 1 , Tr o u t La k e , WA
 2.7249 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 2 9 )
                                                                                                                                                                 98650-9600
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li t t l e Ti k e s , 2 1 8 0 Ba r l o w Ro a d , Hu d s o n , O H 4 4 2 3 6
 2.7250 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Li v e Ed g e Ti m b e r Co , 1 2 7 7 Ro u t e 3 1 7 , Ri p o n , Q C J0 V 1 V0 ,
 2.7251 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Li v e Tr e n d s De s i g n Gr o u p , 1 3 5 0 Sh e e l e r Av e , Ap o p k a , F L
 2.7252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          32703

          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Li v e t r e n d s De s i g n Gr o u p , 1 3 5 0 Sh e e r Av e , Ap o p k a , F L 3 2 7 0 3
 2.7253 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/05/2023 - 12/31/9999

          List the contract number of any government
          contract
                                                                                                                                                                 Li v i n g Co l o r s Nu r s e r y In c , 1 9 5 0 0 S W 2 4 0 t h St , Ho m e s t e a d , F L
 2.7254 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33031
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Li v i n g Es s e n t i a l s , 1 5 0 8 Li n d b e r g Co u r t , No r t h f i e l d , M N 5 5 0 5 7
 2.7255 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li v i n g Ro y a l , 3 3 3 W Hi n t z Ro a d , Wh e e l i n g , I L 6 0 0 9 0
 2.7256 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/11/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Li v i n g s t o n Tr u e Va l u e Ha r d w a r e , 3 2 1 2 n d St , Li v i n g s t o n , C A
 2.7257 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 1 2 )
                                                                                                                                                                 95334-1401
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Li x i t Co r p o r a t o n , 1 0 0 Co o m b s St , Na p a , C A 9 4 5 5 9
 2.7258 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ll o y d Ha r b o r Pa r t n e r s L L C, Ll o y d Ha r b o r Pa r t n e r s L L C, 3 1
 2.7259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Br i d g e St , Me t u c h e n , N J 0 8 8 4 0

          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ll o y d Tr u e Va l u e Lb r & Sp l y, 1 8 6 0 Co m m e r c e Dr , No r t h
 2.7260 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 6 2 )
        nature of the debtor's interest                                                                                                               Ma n k a t o , M N 5 6 0 0 3 - 1 8 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ll o y d s Tr u e Va l u e Ha r d w a r e , 2 3 1 9 W. Co u r t St r e e t , Ja n e s v i l l e ,
 2.7261 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 7 3 )
                                                                                                                                                      WI 53548
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo c a l E- c o m m e r c e Te s t St o r , 9 9 9 Ra k u t e n Wa y, Ch i c a g o , I L
 2.7262 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 2 )
                                                                                                                                                      99999-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo c k w o o d Tr u e Va l u e Ha r d w a r e , 7 2 9 Ma i n St r e e t , Lo c k w o o d ,
 2.7263 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 9 3 )
                                                                                                                                                      MO 65682-0051
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo d g e Mf g , P. O. Bo x 3 8 0 , So u t h Pi t t s b u r g , T N 3 7 3 8 0 - 0 3 8 0
 2.7264 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2021

          List the contract number of any government
          contract
                                                                                                                                                      Lo d g e Mf g , P. O. Bo x 3 8 0 , So u t h Pi t t s b u r g , T N 3 7 3 8 0 - 0 3 8 0
 2.7265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Lo d g e Mf g , P. O. Bo x 3 8 0 , So u t h Pi t t s b u r g , T N 3 7 3 8 0 - 0 3 8 0
 2.7266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                      Lo e n Nu r s e r y In c , 1 9 2 0 5 S W Ci p o l e Rd , Sh e r w o o d , O R 9 7 1 4 0
 2.7267 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/07/2012

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Lo e w e n Fa r m & Lu m b e r , 4 0 9 N Ma i n St , Se m i n o l e , T X 7 9 3 6 0 -
 2.7268 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 2 5 )
        nature of the debtor's interest                                                                                                              3661

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo g a n Sq u a r e , 2 1 6 0 N Mi l w a u k e e Av e , Ch i c a g o , I L 6 0 6 4 7
 2.7269 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo g i c a l i s , 2 6 0 0 S Te l e g r a p h Rd , Su i t e 2 0 0 , Bl o o m f i e l d Hi l l s ,
 2.7270 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Lo g i c a l i s Ma s t e r Ag r e e m e n t
                                                                                                                                                     MI 48302
        nature of the debtor's interest
          State the term remaining                        10/05/2018 - 10/04/2028

          List the contract number of any government
          contract
                                                                                                                                                     Lo g o Ma t s L L C, Lo g o Ma t s L L C, 1 7 2 9 S Da v i s Ro a d ,
 2.7271 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     La g r a n g e , G A 3 0 2 4 1
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Lo m a Vi s t a Nu r s e r y In c , 1 1 0 7 E 2 3 Rd St , Ot t a w a , K S 6 6 0 8 7
 2.7272 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/04/2018

          List the contract number of any government
          contract
                                                                                                                                                     Lo m a n c o , 2 1 0 1 We s t Ma i n St r e e t , Ja c k s o n v i l l e , A R 7 2 0 7 6
 2.7273 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Lo m a s Tr u e Va l u e , 5 1 1 2 Lo m a s Bo u l e v a r d Ne St e B,
 2.7274 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 1 )
        nature of the debtor's interest                                                                                                              Al b u q u e r q u e , N M 8 7 1 1 0 - 6 4 5 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo n e St a r Ha r d w a r e , 2 3 3 S Br o a d w a y, As p e r m o n t , T X 7 9 5 0 2 -
 2.7275 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 0 )
                                                                                                                                                     0177
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Lo n e s t a r Eq u i p m e n t So l u t i o n s , 1 0 7 3 5 We s t Li t t l e Yo r k Ro a d
 2.7276 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 8 )
                                                                                                                                                     1 0 0 , Ho u s t o n , T X 7 7 0 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo n g Pr a i r i e Fl e e t Su p p l y, 9 4 0 Co m m e r c e Rd , Lo n g Pr a i r i e ,
 2.7277 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 6 7 )
                                                                                                                                                     MN 56347-1525
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo n g e n e c k e r s Tr u e Va l u e , 1 2 7 Do e Ru n Rd , Ma n h e i m , PA
 2.7278 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 4 5 )
                                                                                                                                                     17545-8502
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo o m i s Su p p l y, Jl s En v i r o m e n t a l Se r v i c e s , 3 4 6 0 Sw e t z e r Rd ,
 2.7279 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 0 )
                                                                                                                                                     Lo o m i s , C A 9 5 6 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo r d e n Tr u e Va l u e Hd w e , 5 3 Ma i n St , Pe p p e r e l l , M A 0 1 4 6 3 -
 2.7280 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 0 2 )
                                                                                                                                                     1527
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo r i s Tr u e Va l u e Ha r d w a r e , 4 3 5 5 Ma i n St , Lo r i s , S C 2 9 5 6 9 -
 2.7281 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 1 6 )
        nature of the debtor's interest                                                                                                              2613

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo r l e b e r g Tr u e Va l u e , 9 0 0 E Wi s c o n s i n Av e , Oc o n o m o w o c , W I
 2.7282 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 5 )
                                                                                                                                                     53066-3145
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo s Al t o s Tr u e Va l u e Ha r d w a r e , 4 4 1 1 s t St , Lo s Al t o s , C A
 2.7283 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 6 8 )
                                                                                                                                                     94022-3630
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Lo s e e Lb r Tr u e Va l u e , 6 9 6 N Hi g h w a y 6 , De l t a , U T 8 4 6 2 4 -
 2.7284 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 2 7 )
                                                                                                                                                      9196
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo t u s In t ' l In c , Lo t u s In t e r n a t i o n a l In c , 4 4 Pr o s p e c t Ch u r c h
 2.7285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Ro a d , At h e n s , G A 3 0 6 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s i a n a Nu r s e r y H& g s , 1 3 1 2 1 Co u r s e y Bl v d , Ba t o n Ro u g e ,
 2.7286 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 7 0 )
                                                                                                                                                      LA 70816-4967
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s i a n a Nu r s e r y H& g s , 3 9 2 4 5 Hw y 4 2 , Pr a i r i e v i l l e , L A
 2.7287 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 3 )
                                                                                                                                                      70769-4608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s i a n a Nu r s e r y H& g s , 8 6 8 0 Pe r k i n s Rd , Ba t o n Ro u g e , L A
 2.7288 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 7 2 )
        nature of the debtor's interest                                                                                                               70810-1026

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s v i l l e La d d e r , 7 7 6 5 Na t i o n a l Tu r n p i k e , Un i t 1 9 0 ,
 2.7289 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Lo u i s v i l l e , K Y 4 0 2 1 4

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s v i l l e La d d e r , 7 7 6 5 Na t i o n a l Tu r n p i k e , Un i t 1 9 0 ,
 2.7290 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      Lo u i s v i l l e , K Y 4 0 2 1 4
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Lo u i s v i l l e La d d e r , 7 7 6 5 Na t i o n a l Tu r n p i k e , Un i t 1 9 0 ,
 2.7291 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Lo u i s v i l l e , K Y 4 0 2 1 4
        nature of the debtor's interest
          State the term remaining                        02/01/2024 - 12/31/2025

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                      Page 912 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Lo u i s v i l l e La d d e r , 7 7 6 5 Na t i o n a l Tu r n p i k e , Un i t 1 9 0 ,
 2.7292 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Lo u i s v i l l e , K Y 4 0 2 1 4
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Lo v e l l De s i g n s , 2 6 Ex c h a n g e St , Po r t l a n d , M E 0 4 1 0 1
 2.7293 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Lo w Co u n t r y Tr u e Va l u e Hd w e , Lo w Co u n t r y Tr u e Va l u e
 2.7294 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 2 0 )
                                                                                                                                                     Ha r d w a r e , 1 6 4 0 N Hw y 1 7 , Mo u n t Pl e a s a n t , S C 2 9 4 6 4 - 3 3 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo w e Ma n u f a c t u r i n g Co In c , Lo w e Mf g Co , L L C, 1 8 9 0 3 Hi g h
 2.7295 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Po i n t Ro a d , Vi o l a , W I 5 4 6 6 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Lo w e ' s Ma r k e t # 1 0 8 , Lo w e ' s Ma r k e t 1 0 8 , 8 0 1 0 Fm 2 6 7 3 ,
 2.7296 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 9 )
        nature of the debtor's interest                                                                                                              Ca n y o n La k e , Ca n y o n La k e , T X 7 8 1 3 3 - 6 4 2 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo w e ' s Ma r k e t # 8 1 , Lo w e ' s Ma r k e t 8 1 , 8 2 0 8 Sl i d e Rd . ,
 2.7297 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 1 )
                                                                                                                                                     Lu b b o c k , T X 7 9 4 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo w e l l Tr u e Va l u e Ha r d w a r e , 2 0 5 2 E Co m m e r c i a l Av e n u e ,
 2.7298 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 9 )
                                                                                                                                                     Lo w e l l , I N 4 6 3 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lo w e r y ' s Tr u e Va l u e , Lo w e r y ` s Tr u e Va l u e , 2 6 4 0 7 Co r t e z Bl v d ,
 2.7299 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 7 )
                                                                                                                                                     Br o o k s v i l l e , F L 3 4 6 0 2 - 7 9 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Lo w e r y ' s Tr u e Va l u e Ha r d w a r e , Lo w e r y ` s Tr u e Va l u e Ha r d w a r e ,
 2.7300 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 1 2 )
                                                                                                                                                                1 3 0 5 W C4 8 St e D, Bu s h n e l l , F L 3 3 5 1 3 - 8 9 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lo z i e r Co r p o r a t i o n , 6 3 3 6 Pe r s h i n g Dr i v e , Om a h a , N E 6 8 1 1 0
 2.7301 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Lo z i e r - Cu s t o m e r In v e n t o r y Ag r e e m e n t
        nature of the debtor's interest                   2020

          State the term remaining                        10/31/2020

          List the contract number of any government
          contract
                                                                                                                                                                Lo z i e r St o r e Fi x t u r e s , 6 3 3 6 Pe r s h i n g Dr i v e , Om a h a , N E 6 8 1 1 0
 2.7302 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                Lp s La b o r a t o r i e s , 4 6 4 7 Hu g h Ho w e l l Rd , Tu c k e r , G A 3 0 0 8 5
 2.7303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                Lt d Fa r m & Ga r d e n , 1 0 7 3 Me a d o w b r o o k Dr. , Ki n g , N C 2 7 0 2 1
 2.7304 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lt l Ho m e Pr o d u c t s In c , 1 2 5 Rt e 6 1 , Sc h u y l k i l l , PA 1 7 9 7 2
 2.7305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                Lu c a s Ac k e r m a n Tr u e Va l u e Hd w. s u p p l y, Lu c a s Ac k e r m a n Tr u e
 2.7306 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 3 9 0 )
                                                                                                                                                                Va l u e Hd w. , 3 0 0 N Ma i n St , Br o w n s t o w n , I N 4 7 2 2 0 - 1 5 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lu c a s Oi l Pr o d u c t s , 3 0 2 N Sh e r i d a n St , Co r o n a , C A 9 2 8 8 0
 2.7307 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Lu c a s Oi l Pr o d u c t s , 3 0 2 N Sh e r i d a n St , Co r o n a , C A 9 2 8 8 0
 2.7308 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024

          List the contract number of any government
          contract
                                                                                                                                                             Lu c i d So f t w a r e , 1 0 3 5 5 So u t h Jo r d a n Ga t e w a y, Su i t e 3 0 0 , So u t h
 2.7309 State what the contract or lease is for and the   So f t w a r e , Lu c i d So f t w a r e In c . Fl o w c h a r t Di a g r a m s - Sa l e s a n d
                                                                                                                                                             Jo r d a n , U T 8 4 0 9 5
        nature of the debtor's interest                   Su p p o r t 2 0 2 4

          State the term remaining                        02/17/2024 - 02/16/2025

          List the contract number of any government
          contract
                                                                                                                                                             Lu c i d So f t w a r e , 1 0 3 5 5 So u t h Jo r d a n Ga t e w a y, Su i t e 3 0 0 , So u t h
 2.7310 State what the contract or lease is for and the   So f t w a r e , Lu c i d So f t w a r e In c . Fl o w c h a r t Di a g r a m s - 2 0 2 4
                                                                                                                                                             Jo r d a n , U T 8 4 0 9 5
        nature of the debtor's interest
          State the term remaining                        05/02/2024 - 05/01/2025

          List the contract number of any government
          contract
                                                                                                                                                             Lu c k y Li n e , 7 8 9 0 Du n b r o o k Ro a d , Sa n Di e g o , C A 9 2 1 2 6
 2.7311 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                             Lu c y Ha r d w a r e , 2 3 9 Ro u t e 1 6 , In t e r v a l e , N H 0 3 8 4 5
 2.7312 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Lu d w i g s Co r n e r Su p p l y, 1 2 3 0 Po t t s t o w n Pi k e , Gl e n m o o r e , PA
 2.7313 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 3 0 )
                                                                                                                                                             19343-9533
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Lu e d t k e Lu m b e r Tr u e Va l u e , 9 0 0 Ra i l r o a d Av e , Lo m i r a , W I
 2.7314 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 3 )
                                                                                                                                                             53048-9800
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Lu m b e r Ho u s e Tr u e Va l u e , 1 9 0 3 N Bu c k e y e Av e n u e , Ab i l e n e ,
 2.7315 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 3 )
                                                                                                                                                             KS 67410-1505
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Lu m b e r Pl u s Tr u e Va l u e Ha r d w a r e , 2 2 7 Ea s t 3 0 0 S, Ka n a b , U T
 2.7316 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 2 4 0 )
                                                                                                                                                                84741-3608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lu m b e r Ri d g e Ho m e So u r c e , 8 2 9 1 s t Av e n u e Se , Oe l w e i n , I A
 2.7317 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 6 7 )
                                                                                                                                                                50662-3005
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lu m b e r Se r v i c e s Tr u e Va l u e , Lu m b e r Se r v i c e s Ho m e Ce n t e r ,
 2.7318 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 2 )
        nature of the debtor's interest                                                                                                                         1 0 6 0 Tr u m p Rd Nw, Ca r r o l l t o n , O H 4 4 6 1 5 - 9 4 6 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                Lu m e n Te c h n o l o g i e s , 1 0 0 Ce n t u r y Li n k Dr , Mo n r o e , L A 7 1 2 0 3
 2.7319 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Lu m e n Te c h n o l o g i e s Or d e r Fo r m f o r
        nature of the debtor's interest                   Ci r c u i t - R S C

          State the term remaining                        11/11/2022 - 11/10/2025

          List the contract number of any government
          contract
                                                                                                                                                                Lu m e n Te c h n o l o g i e s , 1 0 0 Ce n t u r y Li n k Dr , Mo n r o e , L A 7 1 2 0 3
 2.7320 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ce n t u r y l i n k Ma s t e r Te l e c o m Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        03/31/2017

          List the contract number of any government
          contract
                                                                                                                                                                Lu p i n e In c , P. O. Bo x 1 6 0 0 , 1 6 Lu p i n e La n e , Co n w a y, N H
 2.7321 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                03818
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                Lu p i n e In c , P. O. Bo x 1 6 0 0 , 1 6 Lu p i n e La n e , Co n w a y, N H
 2.7322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                03818
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                Lu p i n e In c , P. O. Bo x 1 6 0 0 , 1 6 Lu p i n e La n e , Co n w a y, N H
 2.7323 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                03818
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Lu s b y Mo t o r Co m p a n y In c , 1 5 5 Ma i n St , Pr i n c e Fr e d e r i c k , M D
 2.7324 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 2 1 4 )
                                                                                                                                                                 20678-6107
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu s b y ' s Tr u e Va l u e , Lu s b y ` s Tr u e Va l u e , 1 2 2 Ma r k e t St ,
 2.7325 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 8 7 )
                                                                                                                                                                 Po c o m o k e Ci t y, M D 2 1 8 5 1 - 1 0 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu s t e r Le a f In c , 1 9 6 1 Di l l a r d Ct , Wo o d s t o c k , I L 6 0 0 9 8
 2.7326 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu s t e r Le a f In c , 1 9 6 1 Di l l a r d Ct , Wo o d s t o c k , I L 6 0 0 9 8
 2.7327 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Lu s t e r Le a f In c , 1 9 6 1 Di l l a r d Ct , Wo o d s t o c k , I L 6 0 0 9 8
 2.7328 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu s t e r Le a f In c , 1 9 6 1 Di l l a r d Ct , Wo o d s t o c k , I L 6 0 0 9 8
 2.7329 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu s t e r Le a f In c , 1 9 6 1 Di l l a r d Ct , Wo o d s t o c k , I L 6 0 0 9 8
 2.7330 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7331 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18036
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 917 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7332 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 18036
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 18036

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 18036

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7335 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 18036
        nature of the debtor's interest
          State the term remaining                        06/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Lu t r o n El e c t r o n i c s In c , 7 2 0 0 Su t e r Ro a d , Co o p e r s b u r g , PA
 2.7336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 18036
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Lu u r t s e m a Sa l e s , In c . , 6 6 7 2 Ce n t e r i n d u s t r i a l Dr , Je n i s o n , M I
 2.7337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 49428
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Lu x Pr o d u c t s Co r p , 4 7 4 7 S Br o a d St , Bl d g 1 0 1 , Su i t e 3 3 0 ,
 2.7338 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ph i l a d e l p h i a , PA 1 9 1 1 2
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Lu x Pr o d u c t s Co r p , 4 7 4 7 S Br o a d St , Bl d g 1 0 1 , Su i t e 3 3 0 ,
 2.7339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ph i l a d e l p h i a , PA 1 9 1 1 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Lu x Pr o d u c t s Co r p , 4 7 4 7 S Br o a d St , Bl d g 1 0 1 , Su i t e 3 3 0 ,
 2.7340 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ph i l a d e l p h i a , PA 1 9 1 1 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Lu x o r , 2 2 4 5 N De l a n y Rd , Wa u k e g a n , I L 6 0 0 8 7
 2.7341 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Lw Me y e r Ma d i s o n , 3 9 7 0 Co m m e r c i a l Dr , Ma d i s o n , W I 5 3 7 1 4
 2.7342 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lw Me y e r Ne e n a h , 1 3 7 5 Co n s t i t u t i o n Dr , Ne e n a h , W I 5 4 9 5 6
 2.7343 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Lw Me y e r Wa u k e s h a , W2 2 3 N6 0 9 Sa r a t o g a Dr , Wa u k e s h a , W I
 2.7344 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 5 )
                                                                                                                                                     53186
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ly n d o n v i l l e Ha r d w a r e & Lu m b e r # 1 9 8 , Ly n d o n v i l l e Ha r d w a r e
 2.7345 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 5 )
                                                                                                                                                     & Lu m b e r 1 9 8 , 5 8 3 Br o a d St , Ly n d o n v i l l e , V T 0 5 8 5 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ly n w o o d La b o r a t o r i e s , 9 4 5 Gr e a t Pl a i n Av e , Ne e d h a m , M A
 2.7346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     02492
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     M & D Sh a p i r o Tr u e Va l u e Ha r d w a r e , M & D Sh a p i r o Tr u e
 2.7347 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 9 )
        nature of the debtor's interest                                                                                                              Va l u e Ha r d w, 7 Gr e a t Jo n e s St r e e t , Ne w Yo r k , N Y 1 0 0 1 2 - 1 1 3 5

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 M & W Pr e c a s t Ll c , 2 1 0 Du r h a m Ro a d , Ot t s v i l l e , PA 1 8 9 4 2
 2.7348 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 M Bl o c k & So n s In c / Ze r o Od o r , W1 7 5 N1 1 0 8 1 St o n e w o o d
 2.7349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Dr i v e , Su i t e 1 0 6 , Ge r m a n t o w n , W I 5 3 0 2 2

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 M Bl o c k & So n s In c / Ze r o Od o r , W1 7 5 N1 1 0 8 1 St o n e w o o d
 2.7350 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Dr i v e , Su i t e 1 0 6 , Ge r m a n t o w n , W I 5 3 0 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 M D Bu i l d i n g Pr o d u c t s , 4 0 4 1 No r t h Sa n t a Fe , Ok l a h o m a Ci t y,
 2.7351 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OK 73118
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 M Ro t h m a n Gr o u p , On e Le t h b r i d g e Pl a z a , Ma h w a h , N J 0 7 4 3 0
 2.7352 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 M. Ot e r o & Ci a . , In c . , St a t e Ro a d 2 , Pu e r t a De l So l Sh o p p i n g
 2.7353 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 9 )
                                                                                                                                                                 Ce n t e r , Ma n a t i , P R 0 0 6 7 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 M. Ra g a n Tr u e Va l u e Sa l e s & Eq u i p m e n t , M Ra g a n Tr u e Va l u e
 2.7354 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 7 2 )
                                                                                                                                                                 Sa l e s & Eq u i p m e n t , 1 5 6 9 Sm i t h To w n s h i p Rd , At l a s b u r g , PA
        nature of the debtor's interest
                                                                                                                                                                 15004-0001
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 M. Bl o c k & So n s , 5 2 0 0 W 7 3 Rd St , Be d f o r d Pa r k , I L 6 0 6 3 8
 2.7355 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M& d Sh a p i r o Ha r d w a r e , 3 6 9 Be r r y St , Br o o k l y n , N Y 1 1 2 4 9 -
 2.7356 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 2 6 )
        nature of the debtor's interest                                                                                                              6036

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M& G Du r a v e n t In c , 3 Ca n d l e Rd , Mo n r o e , N Y 1 0 9 5 0
 2.7357 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     M& h Tr u e Va l u e Ha r d w a r e , M & H Tr u e Va l u e Ha r d w a r e , 1 1 2 6
 2.7358 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 1 7 )
                                                                                                                                                     Ma i n St , Ro c k Va l l e y, I A 5 1 2 4 7 - 1 3 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M& m Tr u e Va l u e Ha r d w a r e , 7 4 5 4 0 Hi l l Rd , Co v e l o , C A 9 5 4 2 8 -
 2.7359 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 7 7 )
                                                                                                                                                     9617
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M& m Tr u e Va l u e Hd w e . , M& m Tr u e Va l u e Ha r d w a r e , 4 1 4 8
 2.7360 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 )
                                                                                                                                                     Su n s e t Bl v d , St e u b e n v i l l e , O H 4 3 9 5 2 - 3 6 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M& w Ma r k e t s , 1 3 0 Hi g h w a y 3 0 , Fi l e r , I D 8 3 3 2 8 - 9 6 0 1
 2.7361 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M& w Ma r k e t s , 9 0 0 Sw 2 3 r d St , Re d m o n d , O R 9 7 7 5 6 - 9 5 8 4
 2.7362 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma a s In t ' l In c , Ma a s In t e r n a t i o n a l In c , 7 1 0 1 Ad a m s St , Bl d g 3 ,
 2.7363 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wi l l o w b r o o k , I L 6 0 5 2 7

          State the term remaining                        12/31/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma a s In t ' l In c , Ma a s In t e r n a t i o n a l In c , 7 1 0 1 Ad a m s St , Bl d g 3 ,
 2.7364 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wi l l o w b r o o k , I L 6 0 5 2 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e Pa r k w a y, Sc h a u m b u r g ,
 2.7365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60173
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e Pa r k w a y, Sc h a u m b u r g ,
 2.7366 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60173
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e Pa r k w a y, Sc h a u m b u r g ,
 2.7367 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60173
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e Pa r k w a y, Sc h a u m b u r g ,
 2.7368 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60173
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma a s d a m - De a d On / Ha r t To o l s , 1 0 0 0 Gr e e n l e a f Av e , El k Gr o v e
 2.7369 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Vi l l a g e , I L 6 0 0 0 7
        nature of the debtor's interest
          State the term remaining                        02/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma a x Ba t h In c , 6 0 0 Ca m e r o n , Sa i n t e - Ma r i e , Q C G6 E 1 B2 ,
 2.7370 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma a x Ba t h In c , 6 0 0 Ca m e r o n , Sa i n t e - Ma r i e , Q C G6 E 1 B2 ,
 2.7371 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma c Ki s s i c In c , P. O. Bo x 1 1 1 , Pa r k Fo r d , PA 1 9 4 5 7
 2.7372 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Ma c ' s Eq u i p m e n t In c , Ma c ` s Eq u i p m e n t In c , 5 5 8 6 Ja m e s Rd ,
 2.7373 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 2 )
                                                                                                                                                     Tr a n q u i l l i t y, C A 9 3 6 6 8 - 9 7 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma c ' s Fa r m & Ga r d e n Wo r l d , 6 8 Fi r e h o u s e La n e , Re d Ho o k ,
 2.7374 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 7 )
                                                                                                                                                     NY 12571
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma c ' s Ha r d w a r e , Ma c ` s Ha r d w a r e , 2 8 9 Sc h o o l St r e e t , Un i t y, M E
 2.7375 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 3 9 )
                                                                                                                                                     04988-0100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma c c o u r t Pr o d u c t s In c , 4 8 8 1 Ir o n t o n St r e e t , De n v e r , C O 8 0 2 3 9
 2.7376 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ma c c o u r t Pr o d u c t s In c , 4 8 8 1 Ir o n t o n St r e e t , De n v e r , C O 8 0 2 3 9
 2.7377 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ma c k Bo r i n g & Pa r t s , Ma c k Bo r i n g & Pa r t s , 2 3 6 5 Ro u t e 2 2 ,
 2.7378 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Un i o n , N J 0 7 0 8 3

          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Ma c k Tr u e Va l u e Ha r d w a r e , 6 0 0 4 Jo h n s o n Dr , Mi s s i o n , K S
 2.7379 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 7 8 )
                                                                                                                                                     66202-3331
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma c k a y Lu m b e r & Ha r d w a r e , 5 1 6 Cu s t e r St . , Ma c k a y, I D
 2.7380 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 1 )
                                                                                                                                                                 83251-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma c k i n n e y Sy s t e m s , In c . , Ma c k i n n e y Sy s t e m s , In c , 4 4 1 1 E
 2.7381 State what the contract or lease is for and the
                                                          Ha r d w a r e , Ma c Ki n n e y Sy s t e m s - Kw i k Ke y Ma i n t e n a n c e
                                                          Re n e w a l 2 0 2 4                                                                                   St a t e Hw y D, , Su i t e F, Sp r i n g f i e l d , M O 6 5 8 0 9
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d d o x Ga r d e n Ce n t e r & La n d s c a p i n g , Ma d d o x Ga r d e n Ce n t e r
 2.7382 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 9 5 )
                                                                                                                                                                 & La n d s c a , 8 3 4 0 Di x i e Hw y, Fl o r e n c e , K Y 4 1 0 4 2 - 3 2 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma d e s m a r t Ho u s e w a r e s , 1 0 0 0 Un i v e r s i t y Av e W, St Pa u l , M N
 2.7383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 55104
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d e s m a r t Ho u s e w a r e s , 1 0 0 0 Un i v e r s i t y Av e W, St Pa u l , M N
 2.7384 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55104
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7385 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TN 37209

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7386 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TN 37209

          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7387 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TN 37209
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7388 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TN 37209
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7389 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TN 37209
        nature of the debtor's interest
          State the term remaining                        07/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Mi l l , 4 1 0 1 Ch a r l o t t e Av e , P. O. Bo x 9 0 8 8 6 , Na s h v i l l e ,
 2.7390 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TN 37209
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Pa r k Ha r d w a r e , 1 8 3 7 4 2 n d Av e E, Se a t t l e , WA 9 8 1 1 2 -
 2.7391 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 0 )
                                                                                                                                                                 3219
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i s o n Tr u e Va l u e Ha r d w a r e , 2 5 5 7 To n g a s s Av e , Ke t c h i k a n ,
 2.7392 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 0 4 )
                                                                                                                                                                 AK 99901-5841
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i x In c . , 5 0 0 Ai r p o r t Rd , Te r r e l l , T X 7 5 1 6 0
 2.7393 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ma d i x Le t t e r o f Co m m i t m e n t
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d i x , In c . , 5 0 0 Ai r p o r t Rd , Te r r e l l , T X 7 5 1 6 0
 2.7394 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma d r i d Tr u e Va l u e , 2 1 5 So u t h e r n Pr a i r i e Dr. , Ma d r i d , I A 5 0 1 5 6
 2.7395 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma g In s t r u m e n t In c , 2 0 0 1 So u t h He l l m a n Av e , P. O. Bo x 5 0 6 0 0 ,
 2.7396 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g In s t r u m e n t In c , 2 0 0 1 So u t h He l l m a n Av e , P. O. Bo x 5 0 6 0 0 ,
 2.7397 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g In s t r u m e n t In c , 2 0 0 1 So u t h He l l m a n Av e , P. O. Bo x 5 0 6 0 0 ,
 2.7398 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g In s t r u m e n t In c , 2 0 0 1 So u t h He l l m a n Av e , P. O. Bo x 5 0 6 0 0 ,
 2.7399 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g In s t r u m e n t In c , 2 0 0 1 So u t h He l l m a n Av e , P. O. Bo x 5 0 6 0 0 ,
 2.7400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 On t a r i o , C A 9 1 7 6 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g a z i n e Tr u e Va l u e Ha r d w a r e & Fa r m , 9 N. St a t e Hw y 1 0 9 ,
 2.7401 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 6 )
        nature of the debtor's interest                                                                                                                          Ma g a z i n e , A R 7 2 9 4 3 - 0 1 2 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g e l l a n Di s t r i b u t i o n Co r p o r a t i o n , Ma g e l l a n Di s t r i b u t i o n
 2.7402 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 6 )
                                                                                                                                                                 Co r p o r a t , 1 2 Ch a n n e l St St e 8 0 3 , Bo s t o n , M A 0 2 2 1 0 - 2 3 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g g i e s Fa r m Lt d , 1 2 5 7 Be d f o r d , N Ka n s a s Ci t y, M O 6 4 1 1 6
 2.7403 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma g g i e s Fa r m Lt d , 1 2 5 7 Be d f o r d , N Ka n s a s Ci t y, M O 6 4 1 1 6
 2.7404 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Am e r i c a n Co r p / Ho m a x , 2 0 0 We s t e r l y Ro a d , Be l l i n g h a m ,
 2.7405 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WA 9 8 2 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Gu m b a l l In t ' l , Ma g i c Gu m b a l l In t e r n a t i o n a l , 9 3 1 0 Ma s o n
 2.7406 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Av e , Ch a t s w o r t h , C A 9 1 3 1 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Sl i d e r s L P, 5 2 0 Wh i t e Pl a i n s Rd , St e 5 0 0 , Ta r r y t o w n ,
 2.7407 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 10591
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Sl i d e r s L P, 5 2 0 Wh i t e Pl a i n s Rd , St e 5 0 0 , Ta r r y t o w n ,
 2.7408 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 10591

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Sl i d e r s L P, 5 2 0 Wh i t e Pl a i n s Rd , St e 5 0 0 , Ta r r y t o w n ,
 2.7409 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 10591
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Sl i d e r s L P, 5 2 0 Wh i t e Pl a i n s Rd , St e 5 0 0 , Ta r r y t o w n ,
 2.7410 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 10591
        nature of the debtor's interest
          State the term remaining                        07/21/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i c Sl i d e r s L P, 5 2 0 Wh i t e Pl a i n s Rd , St e 5 0 0 , Ta r r y t o w n ,
 2.7411 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 10591
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma g i d Gl o v e & Sa f e t y Mf g . , 1 3 0 0 Na p e r v i l l e Dr i v e ,
 2.7412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ro m e o v i l l e , I L 6 0 4 4 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i d Gl o v e & Sa f e t y Mf g . , 1 3 0 0 Na p e r v i l l e Dr i v e ,
 2.7413 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro m e o v i l l e , I L 6 0 4 4 6
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i d Gl o v e & Sa f e t y Mf g . , 1 3 0 0 Na p e r v i l l e Dr i v e ,
 2.7414 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro m e o v i l l e , I L 6 0 4 4 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g i d Gl o v e & Sa f e t y Mf g . , 1 3 0 0 Na p e r v i l l e Dr i v e ,
 2.7415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ro m e o v i l l e , I L 6 0 4 4 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g l a Pr o d u c t s , 3 6 3 6 Ta y l o r s v i l l e Hw y, P. O. Bo x 1 8 3 7 ,
 2.7416 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St a t e s v i l l e , N C 2 8 6 2 5

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7417 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7418 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7419 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7421 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7422 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n a In d u s t r i e s , 2 2 3 3 W 1 1 0 t h St , Cl e v e l a n d , O H 4 4 1 0 2
 2.7423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma g n o l i a Br u s h Mf g In c , P. O. Bo x 9 3 2 , 1 0 0 1 N Ce d a r ,
 2.7424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cl a r k s v i l l e , T X 7 5 4 2 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma h e s h W Ku m t h e k a r , Ad d r e s s Re d a c t e d
 2.7425 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Ma h e s h W. Ku m t h e k a r
        nature of the debtor's interest
          State the term remaining                        06/03/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma h n o m e n Tr u e Va l u e , 1 0 8 S Ma i n St r e e t , Ma h n o m e n , M N
 2.7426 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 5 )
                                                                                                                                                                 56557
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma h o n e y ' s Ea s t Fa l m o u t h , Ma h o n e y ' s , 9 5 8 Ea s t Fa l m o u t h
 2.7427 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 8 )
                                                                                                                                                                 Hi g h w a y, Ea s t Fa l m o u t h , M A 0 2 5 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Ma h o n e y ' s Wi n c h e s t e r , Ma h o n e y ' s , 2 4 2 Ca m b r i d g e St r e e t ,
 2.7428 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 9 )
                                                                                                                                                        Wi n c h e s t e r , M A 0 1 8 9 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Ma i b e c In c , 2 5 0 - 1 9 9 0 5 Ru e , Sa i n t - Ro m u a l d , Q C G6 W 5 M6 ,
 2.7429 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        Ca n a d a
        nature of the debtor's interest
          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
                                                                                                                                                        Ma i d Br a n d s In c , 1 8 7 Pi n e h u r s t Dr i v e , Fr e e d o m , PA 1 5 0 4 2
 2.7430 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/15/2007

          List the contract number of any government
          contract
                                                                                                                                                        Ma i l c h i m p , 6 7 5 Po n c e De Le o n Av e Ne , Su i t e 5 0 0 0 , At l a n t a ,
 2.7431 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ma i l c h i m p - Au t o m a t i o n & Em a i l Pl a t f o r m 2 0 2 4 -
        nature of the debtor's interest                   Sp e c i a l t y Bu s i n e s s                                                               GA 30308

          State the term remaining                        10/05/2024 - 10/04/2025

          List the contract number of any government
          contract
                                                                                                                                                        Ma i l c h i m p , 6 7 5 Po n c e De Le o n Av e Ne , Su i t e 5 0 0 0 , At l a n t a ,
 2.7432 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ma i l c h i m p - Au t o m a t i o n & Em a i l Pl a t f o r m
                                                                                                                                                        GA 30308
        nature of the debtor's interest
          State the term remaining                        10/05/2023 - 10/04/2024

          List the contract number of any government
          contract
                                                                                                                                                        Ma i l c h i m p , 6 7 5 Po n c e De Le o n Av e Ne , Su i t e 5 0 0 0 , At l a n t a ,
 2.7433 State what the contract or lease is for and the
                                                          So f t w a r e , Ma i l c h i m p - Au t o m a t i o n & Em a i l Pl a t f o r m 2 0 2 4 -
                                                          Ma r k e t i n g                                                                              GA 30308
        nature of the debtor's interest
          State the term remaining                        09/15/2024 - 09/14/2025

          List the contract number of any government
          contract
                                                                                                                                                        Ma i n Ha r d w a r e & Di s c o u n t Po o l Su p p l y, 6 4 2 S. Ma i n St . ,
 2.7434 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 5 )
                                                                                                                                                        Wi l k e s - Ba r r e , PA 1 8 7 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Ma i n Wh o l e s a l e & Su p p l y, 1 2 5 In d e p e n d e n c e Dr i v e , Pi t t s t o n ,
 2.7435 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 3 )
                                                                                                                                                        PA 1 8 6 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma i n e Ha r d w a r e Ll c , 2 7 4 St Jo h n St , Po r t l a n d , M E 0 4 1 0 2
 2.7436 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma i n e Wo o d s Pe l l e t Co , P. O. Bo x 1 2 0 , 1 6 4 Ha r m o n y Rd ,
 2.7437 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     At h e n s , M E 0 4 9 1 2
        nature of the debtor's interest
          State the term remaining                        10/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ma i n l i n e In f o r m a t i o n Sy s t e m s , In c . , Ma i n l i n e In f o r m a t i o n
 2.7438 State what the contract or lease is for and the
                                                          So f t w a r e , Ma i n l i n e - C A Br o a d c o m So f t w a r e M S U R E N E WA L
        nature of the debtor's interest                   2024-2025                                                                                  Sy s t e m s , In c , 1 7 0 0 Su m m i t La k e Dr i v e , Ta l l a h a s s e e , F L 3 2 3 1 7

          State the term remaining                        07/01/2024 - 06/30/2025

          List the contract number of any government
          contract
                                                                                                                                                     Ma i n t e n a n c e Su p p l y He a d q u a r t e r s , 2 1 7 5 El m h u r s t La n e , Su i t e
 2.7439 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 9 1 )
                                                                                                                                                     F, Po r t s m o u t h , VA 2 3 7 0 1 - 2 6 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma i n t e n a n c e Su p p l y He a d q u a r t e r s , 6 9 1 0 Br a s a d a Dr i v e ,
 2.7440 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 9 2 )
                                                                                                                                                     Ho u s t o n , T X 7 7 0 8 5 - 1 5 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma i n t e n a n c e Su p p l y So l u t i o n s , 1 3 5 8 W. Ca r r i e r Pa r k w a y,
 2.7441 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 5 )
                                                                                                                                                     Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma i n t e n a n c e Su p p l y So l u t i o n s , 4 2 2 5 Ga n n o n La n e , Da l l a s , T X
 2.7442 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 2 )
                                                                                                                                                     75237
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma i n t e n a n c e Su p p l y So l u t i o n s , 6 1 2 0 Sw 2 9 t h , Su i t e B,
 2.7443 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 3 )
                                                                                                                                                     Ok l a h o m a Ci t y, O K 7 3 1 7 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma j i c Ja k u b Sc i w i a r s k i , Ad d r e s s Re d a c t e d
 2.7444 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma j o r Tr u e Va l u e , 5 5 No r t h Br o a d w a y, Ge n e v a , O H 4 4 0 4 1 -
 2.7445 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 4 1 )
        nature of the debtor's interest                                                                                                                          1111

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma j u r o Tr u e Va l u e , La g o o n Ro a d 6 7 1 , Ma j u r o , Ma r s h a l l Is l a n d s
 2.7446 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma k i n e x Us a L L C, Ma k i n e x Us a L L C, 2 1 5 1 He r i t a g e Pk w y,
 2.7447 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 4 0 0 , Ma n s f i e l d , T X 7 6 0 6 3
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma k i t a Us a In c , 1 4 5 0 Fe e h a n v i l l e Dr , Mt Pr o s p e c t , I L 6 0 0 5 6
 2.7448 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma k i t a Us a In c , 1 4 5 0 Fe e h a n v i l l e Dr , Mt Pr o s p e c t , I L 6 0 0 5 6
 2.7449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma k i t a Us a In c , 1 4 5 0 Fe e h a n v i l l e Dr , Mt Pr o s p e c t , I L 6 0 0 5 6
 2.7450 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7451 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7452 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7454 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7455 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l c o Pr o d u c t s In c , 3 6 1 Fa i r v i e w Av e , Ba r b e r t o n , O H 4 4 2 0 3
 2.7456 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l i s h Co r p o r a t i o n , Th e , 7 3 3 3 Co r p o r a t e Bl v d , Me n t o r , O H
 2.7457 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44060
        nature of the debtor's interest
          State the term remaining                        08/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l l a r d Cr e e k In c , 4 0 9 5 Du l u t h Av e , Ro c k l i n , C A 9 5 7 6 5
 2.7458 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma l l o r y Pa i n t St o r e In c , 1 4 5 Nw Gi l m a n Bl v d , Is s a q u a h , WA
 2.7459 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 2 )
        nature of the debtor's interest                                                                                                                          98027

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma n a z e l , P O Bo x 1 0 6 1 4 , Ma n a m a , Ba h r a i n
 2.7460 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 2 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7461 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3 0 0 , Fr a n k l i n , T N 3 7 0 6 7

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7462 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Fr a n k l i n , T N 3 7 0 6 7
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7463 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 3 0 0 , Fr a n k l i n , T N 3 7 0 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7464 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 3 0 0 , Fr a n k l i n , T N 3 7 0 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7465 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 3 0 0 , Fr a n k l i n , T N 3 7 0 6 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n c h e s t e r Ta n k & Eq u i p , 1 0 0 0 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
 2.7466 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Fr a n k l i n , T N 3 7 0 6 7
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n d e e p s . Co m , Ma n d e e p s Co m , 1 9 4 1 Ca l i f o r n i a Av e # 7 8 0 0 1 ,
 2.7467 State what the contract or lease is for and the
                                                          So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Ma n d e e p s . c o m D N N
        nature of the debtor's interest                   Es s e n t i a l s Ul t i m a t e Re n e w a l 2 0 2 4                                                 Co r o n a , C A 9 2 8 7 7

          State the term remaining                        01/22/2024 - 01/21/2025

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 934 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma n d y Ma n a g e m e n t , 2 0 6 Wa l l a c e St Un i t C, Ne w Ha v e n , C T
 2.7468 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 8 )
        nature of the debtor's interest                                                                                                                          06511

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n h a t t a n As s o c i a t e s , In c . , Ma n h a t t a n As s o c i a t e s , In c , 2 3 0 0
 2.7469 State what the contract or lease is for and the
                                                          As s i g n m e n t , Ma n h a t t a n As s i g n m e n t o f Sh u r l i n e P K M S l i c e n s e s
        nature of the debtor's interest                   t o T V M - Ca r y                                                                                     Wi n d y Ri d g e Pa r k w a y, 1 0 Th Fl o o r , At l a n t a , G A 3 0 3 3 9

          State the term remaining                        11/01/2023 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n l i u s Tr u e Va l u e Ha r d w a r e , 8 2 2 5 Ca z e n o v i a Rd , Ma n l i u s ,
 2.7470 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 7 5 )
                                                                                                                                                                 NY 13104-8727
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7471 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63005
        nature of the debtor's interest
          State the term remaining                        08/15/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7472 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63005
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7473 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 63005
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7474 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63005

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7475 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63005

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma n n a Pr o Co r p , 7 0 7 Sp i r i t 4 0 Pa r k Dr , Ch e s t e r f i e l d , M O
 2.7476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63005

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n i n g Bu i l d i n g Pr o d u c t s , 1 0 8 Pr o f e s s i o n a l Co u r t , Ga r n e r ,
 2.7477 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NC 27529
        nature of the debtor's interest
          State the term remaining                        12/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n n s Tr u e Va l u e Hd w, 1 1 7 6 Ma i n Rd , Wa s h i n g t o n Is l a n d , W I
 2.7478 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 4 )
                                                                                                                                                                 54246-9015
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n o r Tr u e Va l u e Ha r d w a r e , 3 1 0 0 W Li n e St B, Bi s h o p , C A
 2.7479 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 0 9 )
                                                                                                                                                                 93514-2148
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma n s f i e l d Oi l , 1 0 2 5 Ai r p o r t Pa r k w a y, Sw, Ga i n s v i l l e , G A
 2.7480 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ma n s f i e l d Bu l k Fu e l
                                                                                                                                                                 30501
        nature of the debtor's interest                   Am e n d m e n t 2 0 2 4

          State the term remaining                        09/01/2024 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n s f i e l d Oi l , 1 0 2 5 Ai r p o r t Pa r k w a y, Sw, Ga i n s v i l l e , G A
 2.7481 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Tr u e Va l u e - Ma n s f i e l d Oi l Ag r e e m e n t
                                                                                                                                                                 30501
        nature of the debtor's interest
          State the term remaining                        07/01/2020 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n s f i e l d Oi l , 1 0 2 5 Ai r p o r t Pa r k w a y, Sw, Ga i n s v i l l e , G A
 2.7482 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ma n s f i e l d Bu l k Fu e l Se c o n d
        nature of the debtor's interest                   Am e n d m e n t 2 0 2 4 Re n e w a b l e Fu e l So u r c e                                            30501

          State the term remaining                        02/06/2024 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma n s f i e l d Pl u m b i n g Pr o d u c t s , 1 4 3 0 Ge o r g e Ro a d , As h l a n d , O H
 2.7483 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44805
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ma n u b r i c , 5 5 5 6 Bo u l e Bo u r q u e , Sh e r b r o o k e , Q C J1 N 1 H3 ,
 2.7484 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Ca n a d a

          State the term remaining                        09/01/2022 - 05/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ma p l e Av e n u e L L C, W2 2 8 S7 0 9 5 En t e r p r i s e Dr , Bi g Be n d , W I
 2.7485 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      53103
        nature of the debtor's interest
          State the term remaining                        11/21/2022

          List the contract number of any government
          contract
                                                                                                                                                      Ma p l e Le a f Nu r s e r i e s Lt d , 3 1 9 7 Cu l p Rd , Jo r d a n , O N L0 R 1 S0 ,
 2.7486 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Ca n a d a
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                      Ma r a s t a r L L C, 1 9 8 1 1 8 5 Th Av e S, Ke n t , WA 9 8 0 3 1
 2.7487 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2021

          List the contract number of any government
          contract
                                                                                                                                                      Ma r a s t a r L L C, 1 9 8 1 1 8 5 Th Av e S, Ke n t , WA 9 8 0 3 1
 2.7488 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                      Ma r a s t a r L L C, 1 9 8 1 1 8 5 Th Av e S, Ke n t , WA 9 8 0 3 1
 2.7489 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                      Ma r a t h o n In d u s t r i e s , 7 9 2 5 S 1 9 6 t h St , Ke n t , WA 9 8 0 3 2
 2.7490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Ma r b l e t o w n Tr u e Va l u e , 3 6 0 6 Ma i n St r e e t , St o n e Ri d g e , N Y
 2.7491 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 2 7 )
                                                                                                                                                      12484-5636
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma r c h Pr o d u c t s In c , 4 6 4 5 Tr o y Co u r t , Ju r u p a Va l l e y, C A 9 2 5 0 9
 2.7492 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/09/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r c h Pr o d u c t s In c , 4 6 4 5 Tr o y Co u r t , Ju r u p a Va l l e y, C A 9 2 5 0 9
 2.7493 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r c h i o r o Us a In c , 1 2 8 Li b e r t y In d u s t r i a l Pa r k w a y,
 2.7494 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mc d o n o u g h , G A 3 0 2 5 3
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r c h w o o d Tr u e Va l u e Hd w e , 3 2 Ma r c h w o o d Rd , Ex t o n , PA
 2.7495 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 8 3 )
                                                                                                                                                                 19341-1844
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r d e n Ha r d w a r e Tr u e Va l u e , 7 4 1 Yo n k e r s Av e , Yo n k e r s , N Y
 2.7496 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 0 1 )
                                                                                                                                                                 10704-2028
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r f a Ha r d w a r e Co . , 3 1 3 E Sa n An t o n i o , Ma r f a , T X 7 9 8 4 3
 2.7497 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r g o Ga r d e n Pr o d u c t s , 5 0 N La u r a St , Su i t e 2 5 5 0 ,
 2.7498 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 0 2
        nature of the debtor's interest
          State the term remaining                        04/15/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r i a c h i Im p o r t s In c , 1 1 2 9 Ch r i s t i a n St , Ph i l a d e l p h i a , PA
 2.7499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19147
        nature of the debtor's interest
          State the term remaining                        04/01/2014

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma r i n e r Bi o m e d i c a l In c , 6 2 7 6 Sa n Ig n a c i o Av e , Su i t e A, Sa n
 2.7500 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Jo s e , C A 9 5 1 1 9
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Ma r i n o Av e n u e In c , 1 8 1 Bo y d St r e e t , Un i t 3 0 1 , Mo n t g o m e r y,
 2.7501 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 8 2 )
                                                                                                                                                     NY 12549-1419
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r i o s Tr u e Va l u e Hd w. , R R 9 , Va l a t i e , N Y 1 2 1 8 4 - 9 9 9 8
 2.7502 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k I I Lu m b e r , Ma r k Ii Lu m b e r , 8 2 5 E 6 t h St r e e t , Em p o r i a ,
 2.7503 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 1 9 )
                                                                                                                                                     KS 66801
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k ' s Ho m e & Mo r e , Ma r k ` s Ho m e & Mo r e , 3 0 0 Ja k e St r e e t ,
 2.7504 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 9 1 )
        nature of the debtor's interest                                                                                                              Pe r h a m , M N 5 6 5 7 3 - 2 1 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k ' s Wh o l e s a l e , 1 1 Ri t t e n h o u s e Pl a c e , Su i t e 2 , Dr u m s , PA
 2.7505 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 9 )
        nature of the debtor's interest                                                                                                              18222

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k e t St r e e t Ha r d w a r e , 6 2 2 E Ga y St r e e t , We s t Ch e s t e r , PA
 2.7506 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 9 )
                                                                                                                                                     19380
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k e t p l a c e Pa i n t s , 1 2 1 4 Wh i s k e y Ro a d , Ai k e n , S C 2 9 8 0 3
 2.7507 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma r k m a n Pe a t Co m p a n y, P. O. Bo x 3 3 0 4 , Da v e n p o r t , I A 5 2 8 0 8
 2.7508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ma r k m a n Pe a t Co m p a n y, P. O. Bo x 3 3 0 4 , Da v e n p o r t , I A 5 2 8 0 8
 2.7509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ma r k s Fl e e t Su p p l y Tr u e Va l u e , 9 4 5 Ma r k e t St r e e t , Pe r h a m ,
 2.7510 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 6 8 )
                                                                                                                                                     MN 56573-2100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r k u s Su p p l y Ha r d w a r e , 6 2 5 Th i r d St , Oa k l a n d , C A 9 4 6 0 7 -
 2.7511 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 6 )
                                                                                                                                                     3550
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r l b o r o u g h Gr a n d Re n t a l St a t i o n , 1 3 5 Ma p l e St r e e t ,
 2.7512 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 0 6 )
        nature of the debtor's interest                                                                                                              Ma r l b o r o u g h , M A 0 1 7 5 2 - 2 6 9 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r l t o n Tr u e Va l u e , 2 3 0 N Ma p l e Av e E1 , Ma r l t o n , N J 0 8 0 5 3 -
 2.7513 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 3 2 )
        nature of the debtor's interest                                                                                                              9400

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r m o n Ho m e Im p r o v e m e n t Pr o d , 1 0 9 9 Th o m p s o n Ro a d S E,
 2.7514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ha r t s e l l e , A L 3 5 6 4 0
        nature of the debtor's interest
          State the term remaining                        10/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Ma r m o n Ho m e Im p r o v e m e n t Pr o d , 1 0 9 9 Th o m p s o n Ro a d S E,
 2.7515 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ha r t s e l l e , A L 3 5 6 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma r m o n Ho m e Im p r o v e m e n t Pr o d , 1 0 9 9 Th o m p s o n Ro a d S E,
 2.7516 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ha r t s e l l e , A L 3 5 6 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r m o n Ho m e Im p r o v e m e n t Pr o d , 1 0 9 9 Th o m p s o n Ro a d S E,
 2.7517 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ha r t s e l l e , A L 3 5 6 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r m o r a Ha r d w a r e , 2 9 S Sh o r e Rd , Ma r m o r a , N J 0 8 2 2 3 - 1 4 0 1
 2.7518 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r s Fi s h c a r e No r t h Am e r i c a , 5 0 E Ha m i l t o n St , Ch a l f o n t , PA
 2.7519 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          18914

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r s Pe t c a r e Us In c , 1 5 5 0 We s t Mc e w e n Dr i v e , Fr a n k l i n , T N
 2.7520 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          37067

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r s Pe t c a r e Us In c , 1 5 5 0 We s t Mc e w e n Dr i v e , Fr a n k l i n , T N
 2.7521 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 37067
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma r s Pe t c a r e Us In c , 1 5 5 0 We s t Mc e w e n Dr i v e , Fr a n k l i n , T N
 2.7522 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 37067
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma r s h a l l t o w n , 1 0 4 So u t h 8 Th Av e n u e , Ma r s h a l l t o w n , I A 5 0 1 5 8
 2.7523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma r s h a l l t o w n , 1 0 4 So u t h 8 Th Av e n u e , Ma r s h a l l t o w n , I A 5 0 1 5 8
 2.7524 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2028

          List the contract number of any government
          contract
                                                                                                                                                     Ma r s h a l l t o w n Tr o w e l , Ma r s h a l l t o w n , 1 0 4 So u t h 8 Th Av e n u e ,
 2.7525 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ma r s h a l l t o w n , I A 5 0 1 5 8
        nature of the debtor's interest
          State the term remaining                        07/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     Ma r s i n g Ha r d w a r e , 2 2 2 Ma i n St Po 3 6 7 , Ma r s i n g , I D 8 3 6 3 9 -
 2.7526 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 8 2 )
                                                                                                                                                     0367
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t e l l s Ca r q u e s t , 3 8 8 5 Hw y 1 3 , Wi s h e k , N D 5 8 4 9 5 - 9 7 0 1
 2.7527 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 9 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t e n s Re e d s b u r g Tr u e Va l u e , 1 0 0 Vi k i n g Dr , Re e d s b u r g , W I
 2.7528 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 1 0 )
        nature of the debtor's interest                                                                                                              53959-1435

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t e n s Tr i l l i n g Tr u e Va l u e , 9 0 1 Mi c h i g a n Av e , Sh e b o y g a n ,
 2.7529 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 4 )
                                                                                                                                                     WI 53081-3349
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t h Wo o d Sh a v i n g s Su p p l y Co , 6 7 5 2 St a t e Hw y 1 0 7 N,
 2.7530 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ma r a t h o n , W I 5 4 4 4 8
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ma r t i n Tr u e Va l u e Lb r & Hd w e , Ma r t i n s Tr u e Va l u e , 2 7 3 0
 2.7531 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 0 3 )
                                                                                                                                                     Br o a d w a y, Ev e r e t t , WA 9 8 2 0 1 - 3 6 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma r t i n Wh e e l Co . , In c . , Th e , 3 4 2 We s t Av e , P. O. Bo x 1 5 7 ,
 2.7532 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ta l l m a d g e , O H 4 4 2 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ma r t i n Wh e e l Co . , In c . , Th e , 3 4 2 We s t Av e , P. O. Bo x 1 5 7 ,
 2.7533 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ta l l m a d g e , O H 4 4 2 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ma r t i n ' s Ha r d w a r e & Bu i l d i n g Su p p l y # 2 0 3 , Ma r t i n ' s Ha r d w a r e
 2.7534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 8 )
        nature of the debtor's interest                                                                                                              & Bu i l d i n g Su p p l y 2 0 3 , 6 8 We s t St , Br i s t o l , V T 0 5 4 4 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t i n i Tr u e Va l u e Hd w e , 7 1 4 5 La w n d a l e St , Ho u s t o n , T X
 2.7535 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 6 8 )
        nature of the debtor's interest                                                                                                              77023-4248

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r t y ' s Tr u e Va l u e , Ma r t y ` s Tr u e Va l u e , 2 0 5 1 s t St r e e t ,
 2.7536 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 8 2 )
                                                                                                                                                     Ma t t a w a , WA 9 9 3 4 9 - 0 9 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r v s Tr u e Va l u e , 3 1 6 2 0 1 2 5 t h St Nw, Pr i n c e t o n , M N 5 5 3 7 1 -
 2.7537 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 5 3 )
                                                                                                                                                     3391
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r w i n Co m p a n y In c , Th e , P. O. Bo x 5 9 7 9 , 1 0 7 Mc q u e e n
 2.7538 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     St r e e t , We s t Co l u m b i a , S C 2 9 1 7 1
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ma r x Sh e e t Me t a l & Me c h a n i c a l In c , 3 7 3 Hi g h St r e e t P. O. Bo x
 2.7539 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ma r x Sh e e t Me t a l &
                                                                                                                                                     8 9 0 , Wi l k e s - Ba r r e , PA 1 8 7 0 2
        nature of the debtor's interest                   Me c h a n i c a l In c - H VA C Ma i n t e n a n c e 2 0 2 0

          State the term remaining                        11/03/2020

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma r y l a n d Ch i n a Co m p a n y, P. O. Bo x 3 0 7 , 5 4 Ma i n St ,
 2.7540 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Re i s t e r t o w n , M D 2 1 1 3 6
        nature of the debtor's interest
          State the term remaining                        06/19/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ma r y s Al p a c a L L C, 8 0 8 0 En o n Ch u r c h Rd , Th e Pl a i n s , VA
 2.7541 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     20198
        nature of the debtor's interest
          State the term remaining                        03/27/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ma r y s Pe a k Tr u e Va l u e , 1 7 4 0 Ma i n St r e e t , Ph i l o m a t h , O R
 2.7542 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 4 0 )
        nature of the debtor's interest                                                                                                              97370-9296

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma r z e n Ha r d w a r e In c , 3 1 5 Ce n t e r St , Ji m Th o r p e , PA 1 8 2 2 9 -
 2.7543 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 5 0 )
        nature of the debtor's interest                                                                                                              1496

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma s St o r e s # 7 6 , Ma s St o r e s 7 6 , 9 0 0 Or t h o d o x St , Ph i l a d e l p h i a ,
 2.7544 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 0 )
                                                                                                                                                     PA 1 9 1 2 4 - 3 1 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma s St o r e s # 3 6 , Ma s St o r e s 3 6 , 2 2 0 1 5 9 St , Br o o k l y n , N Y
 2.7545 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 9 )
                                                                                                                                                     11204-2505
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma s h b u r n & Fi t z g e r a l d Tv Hd w e , Ma s h b u r n & Fi t z g e r a l d T V
 2.7546 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 3 2 )
                                                                                                                                                     Hd w e , 1 1 0 3 Fi r s t Av e , Ro c h e l l e , G A 3 1 0 7 9 - 2 1 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma s o n Bu i l d i n g Su p p l y, 2 5 4 Mo o d y St r e e t , Ma s o n , T X 7 6 8 5 6 -
 2.7547 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 1 0 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s o n ' s Tr u e Va l u e , 1 2 0 1 N. Je f f e r s o n Av e . , Mo u n t Pl e a s a n t ,
 2.7548 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 0 )
                                                                                                                                                                 TX 75455
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s o n i t e Co r p , 8 0 1 Co m m e r c e Ci r c l e , Sh e l b y v i l l e , K Y 4 0 0 6 5
 2.7549 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s o n t o p s In c , Rp o Sh e p p a r d Pl a z a , Su i t e 5 2 4 , To r o n t o , O N
 2.7550 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          M3 H 6 A7 , Ca n a d a

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s o n t o p s In c , Rp o Sh e p p a r d Pl a z a , Su i t e 5 2 4 , To r o n t o , O N
 2.7551 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 M3 H 6 A7 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s o n w a y s In d e s t r u c t i b l Pl a s , 5 8 0 Vi l l a g e Bl v d # 3 3 0 , We s t
 2.7552 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa l m Be a c h , F L 3 3 4 0 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s s a r e l l i ' S, 5 0 0 So u t h Eg g Ha r b o r Rd , Ha m m o n t o n , N J 0 8 0 3 7
 2.7553 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Br a n d s Hk Li m i t e d , Un i t C, 1 1 / F Ha r b o u r On e , 4 5 8 De s
 2.7554 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Vo e u x Rd W, Sh e k To n g Ts u i , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ga r d n e r Co m p a n y, 5 7 7 0 Bl a c k s t o c k Rd , Sp a r t a n b u r g ,
 2.7555 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 SC 29303
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 945 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s t e r Ga r d n e r Co m p a n y, 5 7 7 0 Bl a c k s t o c k Rd , Sp a r t a n b u r g ,
 2.7556 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 SC 29303
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ga r d n e r Co m p a n y, 5 7 7 0 Bl a c k s t o c k Rd , Sp a r t a n b u r g ,
 2.7557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          SC 29303

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ga r d n e r Co m p a n y, 5 7 7 0 Bl a c k s t o c k Rd , Sp a r t a n b u r g ,
 2.7558 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          SC 29303

          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ga r d n e r Co m p a n y, Th e , 5 7 7 0 N Bl a c k s t o c k Rd ,
 2.7559 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sp a r t a n b u r g , S C 2 9 3 0 3
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7561 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7562 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7563 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 946 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7564 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7565 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7566 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7567 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7569 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7570 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Lo c k Co , 6 7 4 4 S Ho w e l l Av e , Oa k Cr e e k , W I 5 3 1 5 4
 2.7571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          80109

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 80109

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7574 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 80109
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 80109
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80109
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma g n e t i c s , 1 2 1 1 At c h i s o n Co u r t , Ca s t l e Ro c k , C O
 2.7577 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80109
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Ma r k Pl a s t i c s In c , P. O. Bo x 6 6 2 , Al b a n y, M N 5 6 3 0 7
 2.7578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r Nu r s e r y Ga r d e n Ce n t e r s , 1 9 0 S Or c h a r d Av e n u e Su i t e
 2.7579 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 9 0 )
        nature of the debtor's interest                                                                                                                          B- 2 3 0 , Va c a v i l l e , C A 9 5 6 8 8 - 3 6 4 8

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s t e r - Ha l c o In c , On e Ci t y Bo u l e v a r d We s t , Su i t e 9 0 0 ,
 2.7580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Or a n g e , C A 9 2 8 6 8

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r b r a n d Ca b i n e t s Nc , 1 Ma s t e r Br a n d Ca b i n e t s Dr , Ja s p e r ,
 2.7581 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IN 47546
        nature of the debtor's interest
          State the term remaining                        12/25/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r c h e m In d u s t r i e s , 3 1 3 5 Ol d Hi g h w a y M, Im p e r i a l , M O
 2.7582 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 63052
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r c h e m In d u s t r i e s , 3 1 3 5 Ol d Hi g h w a y M, Im p e r i a l , M O
 2.7583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63052
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r c h e m In d u s t r i e s , 3 1 3 5 Ol d Hi g h w a y M, Im p e r i a l , M O
 2.7584 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 63052
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r c r a f t In d In c , P. O. Bo x 2 3 1 0 , Ne w b u r g h , N Y 1 2 5 5 0
 2.7585 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/30/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r p i e c e s In c , 1 2 4 7 5 N Ra n c h o Vi s t o s o Bl v d , Or o Va l l e y,
 2.7586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          AZ 85755

          State the term remaining                        01/17/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r s Tr u e Va l u e , 2 5 0 5 Gr a n d Av e n u e - Su i t e B, Ke a r n e y,
 2.7587 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 5 8 )
        nature of the debtor's interest                                                                                                                          NE 68847-4804

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma s t e r s o n s Gd n Ct r In c H& g s , 7 2 5 Ol e a n Rd , Ea s t Au r o r a , N Y
 2.7588 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 8 1 )
        nature of the debtor's interest                                                                                                                          14052-9781

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r t a g , 9 7 5 1 Us Hi g h w a y 3 1 , Mo n t a g u e , M I 4 9 4 3 7
 2.7589 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/02/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ma s t e r y Lo g i s t i c s Sy s t e m s , In c . , Ma s t e r y Lo g i s t i c s Sy s t e m s ,
 2.7590 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ma s t e r y Lo g i s t i c s Sy s t e m s ,
                                                          In c . N D A 2 0 2 2 - 2 0 2 5                                                                         In c , 1 1 1 2 8 Jo h n Ga l t Bl v d # 4 0 0 , Om a h a , N E 6 8 1 3 7
        nature of the debtor's interest
          State the term remaining                        11/15/2022 - 11/14/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
 2.7591 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
 2.7592 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
 2.7593 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
 2.7594 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma t In d u s t r i e s L L C, 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
 2.7595 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                  Page 950 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Ma t e r i a l s Re s o u r c e s , Ma t e r i a l Re s o u r c e s In c , 8 1 5 Le s t e r Av e ,
 2.7596 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 2 0 )
                                                                                                                                                                  Sa i n t Jo s e p h , M I 4 9 0 8 5 - 2 5 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Ma t h i s Tr u e Va l u e , 4 4 Ca r t e r Av e , Ro m e , G A 3 0 1 6 5 - 1 1 1 1
 2.7597 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                  Ma t s o n L L C, 4 5 6 2 0 S E No r t h Be n d Wa y, P. O. Bo x 1 8 2 0 ,
 2.7598 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  No r t h Be n d , WA 9 8 0 4 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Ma t t e l In c , 3 3 3 Co n t i n e n t a l Bl v d , Ma i l St o p M1 - 0 7 0 8 , El
 2.7599 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  Se g u n d o , C A 9 0 2 4 5
        nature of the debtor's interest
          State the term remaining                        09/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                  Ma t t e r p o r t , 3 5 2 E Ja v a Dr , Su n n y v a l e , C A 9 4 0 8 9
 2.7600 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ma t t e r p o r t An n u a l Pr o f e s s i o n a l Pl u s
        nature of the debtor's interest                   Su b s c r i p t i o n 2 0 2 4

          State the term remaining                        02/02/2024 - 02/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Ma t t h e w Ku l a - In d e p e n d e n t Co n t r a c t o r , Ad d r e s s Re d a c t e d
 2.7601 State what the contract or lease is for and the
                                                          In d i v i d u a l In d e p e n d e n t Co n t r a c t o r , Ma t t h e w Ku l a - In d i v i d u a l
        nature of the debtor's interest                   In d e p e n d e n t Co n t r a c t o r Ag r e e m e n t

          State the term remaining                        09/03/2024 - 03/02/2025

          List the contract number of any government
          contract
                                                                                                                                                                  Ma t t h e w s / Fo u r Se a s o n s , 6 6 7 7 Ea s t Ha r d a w a y Ro a d , St o c k t o n ,
 2.7602 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           CA 95215

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                  Ma t t s o n s Tr u e Va l u e , 2 2 3 S En s l e y St , Ho w a r d Ci t y, M I 4 9 3 2 9 -
 2.7603 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 5 0 )
                                                                                                                                                                  8656
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma u r e e n Fe c k , Ad d r e s s Re d a c t e d
 2.7604 State what the contract or lease is for and the
                                                          Ev e n t s & Me e t i n g s Se r v i c e s , Ma u r e e n Fe c k In d e p e n d e n t
        nature of the debtor's interest                   Co n s u l t a n t f o r Re u n i o n 2 0 2 3

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ma u r i c e Fr a n k l i n Lo u v e r Co , 3 4 Le a r La n e , Ge o r g e t o w n , S C
 2.7605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 29440
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma u r i c e Sp o r t i n g Go o d s , 1 9 1 0 Te c h n y Rd , No r t h b r o o k , I L
 2.7606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60065
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ma u r i c e Sp o r t i n g Go o d s , 1 9 1 0 Te c h n y Rd , No r t h b r o o k , I L
 2.7607 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60065
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ma u r i c e Sp o r t i n g Go o d s , 1 9 1 0 Te c h n y Rd , No r t h b r o o k , I L
 2.7608 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60065
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma u s t o n Tr u e Va l u e Hd w e , 6 0 1 N Un i o n St , Ma u s t o n , W I
 2.7609 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 0 3 )
        nature of the debtor's interest                                                                                                                          53948-1150

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma v e r i c k Pl a s t i c s L L C, 1 4 4 0 Ho l l o w a y, Ho l l a n d , O H 4 3 5 2 8
 2.7610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ma v e r i c k Pl a s t i c s L L C, 1 4 4 0 Ho l l o w a y, Ho l l a n d , O H 4 3 5 2 8
 2.7611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ma x Co Lt d , Li x i a n g , Ta n g s h i To w n , Zh a n g j i a g a n g , C N
 2.7612 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     2 1 5 6 0 0 , Ch i n a
        nature of the debtor's interest
          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ma x Mc q u e e n Tr u e Va l u e Lb r & h d w, 3 0 2 E Ma i n St , Oa k l a n d ,
 2.7613 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 3 5 8 )
                                                                                                                                                     IL 61943-7157
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma x c e r a Co r p o r a t i o n , 2 7 0 E Bo n i t a Av e , Pa m o n a , C A 9 1 7 6 7
 2.7614 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/12/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ma x s a In n o v a t i o n s , 8 4 1 2 Ca t h e d r a l Fo r e s t Dr i v e , Fa i r f a x
 2.7615 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     St a t i o n , VA 2 2 0 3 9
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ma x t e c h Co n s u m e r Pr o d . Gr o u p , 1 7 3 Ro g e r St , Wa t e r l o o , O N
 2.7616 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              N2 J 1 B1 , Ca n a d a

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ma x w e l l Tr u e Va l u e Hd w. & Lb r. , 4 8 4 Hi g h w a y 8 0 , De l h i , L A
 2.7617 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 8 7 )
        nature of the debtor's interest                                                                                                              71232-2345

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma x w e l l ' s , 2 4 Ma p l e Ro a d , Ch e l m s f o r d , M A 0 1 8 2 4
 2.7618 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ma y f i e l d Tr u e Va l u e , 1 7 7 6 St a t e Ro u t e 1 2 1 s , Ma y f i e l d , K Y
 2.7619 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 2 )
                                                                                                                                                     42066-4962
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ma y w o o d Fu r n i t u r e Co r p . , Ma y w o o d Fu r n i t u r e Co r p , 2 3 W
 2.7620 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ho w c r o f t Rd , Ma y w o o d , N J 0 7 6 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ma z e Na i l s , 1 0 0 Ch u r c h St , Bo x 4 4 9 , Pe r u , I L 6 1 3 5 4
 2.7621 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ma z e Na i l s , 1 0 0 Ch u r c h St , Bo x 4 4 9 , Pe r u , I L 6 1 3 5 4
 2.7622 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ma z e Na i l s , 1 0 0 Ch u r c h St , Bo x 4 4 9 , Pe r u , I L 6 1 3 5 4
 2.7623 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ma z o Ha r d w a r e & Re n t a l , 1 7 W Co m m e r c i a l St r e e t ,
 2.7624 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 8 6 )
        nature of the debtor's interest                                                                                                                          Ma z o m a n i e , W I 5 3 5 6 0 - 1 2 3 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mb Eq u i p m e n t Fi n a n c e , L L C, Mb Eq u i p m e n t Fi n a n c e , L L C,
 2.7625 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Eq u i p m e n t f o r T S L @ 3 2 0 S. Di v i s i o n St
                                                          ( Ha r v a r d )                                                                                       2 3 0 Sc h i l l i g Ci r c l e , Su i t e 3 4 0 , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest
          State the term remaining                        04/15/2017 - 04/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Mb Eq u i p m e n t Fi n a n c e , L L C, Mb Eq u i p m e n t Fi n a n c e , L L C,
 2.7626 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , M B Eq u i p m e n t Fi n a n c e L L C - Ma s t e r Le a s e
                                                          Ag r e e m e n t 2 0 1 7                                                                               2 3 0 Sc h i l l i g Ci r c l e , Su i t e 3 4 0 , Hu n t Va l l e y, M D 2 1 0 3 1
        nature of the debtor's interest
          State the term remaining                        01/27/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Mb m Pa i n t In c . , 8 4 8 0 W De s e r t In n , St e F4 , La s Ve g a s , N V
 2.7627 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 6 )
                                                                                                                                                                 89114
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mb w In c . , 2 5 0 Ha r t f o r d Rd , P. O. Bo x 4 4 0 , Sl i n g e r , W I 5 3 0 8 6
 2.7628 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Mc Ca r t n e y Tr u e Va l u e Fe e d & Hd w. , Mc Ca r t n e y Tr u e Va l u e
 2.7629 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 4 4 6 )
                                                                                                                                                     Fe e d & Hd w, 1 6 8 3 Ai r p o r t Rd , Fr e d o n i a , PA 1 6 1 2 4 - 2 5 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc Ha r d w a r e & Su p p l y, 6 3 5 W Fu r r y St . , Ho l y o k e , C O 8 0 7 3 4
 2.7630 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc Na t t s Tv Ha r d w a r e & Lu m b e r , 2 1 0 1 Vi c t o r y Dr , Ma r s h a l l ,
 2.7631 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 6 4 )
        nature of the debtor's interest                                                                                                              TX 75672-3625

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc a l l e n Nu t & Bo l t , 1 0 4 N 2 3 r d St , Mc a l l e n , T X 7 8 5 0 1 - 6 9 4 1
 2.7632 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 2 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc b a i n Gr a i n Co m p a n y, 1 1 1 Ma p l e St r e e t , Mc b a i n , M I 4 9 6 5 7
 2.7633 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o n n e l l s b u r g Tr u e Va l u e , Ha r r y m a n Br o s Tr u e Va l u e , 2 4 1
 2.7634 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 1 1 )
                                                                                                                                                     Bu c h a n a n Tr a i l , Mc Co n n e l l s b u r g , PA 1 7 2 3 3 - 8 2 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o r k l e Nu r s e r i e s , In c . , Mc c o r k l e Nu r s e r i e s , In c , 4 9 0 4
 2.7635 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Lu c k e y ' S Br i d g e Ro a d Se , De a r i n g , G A 3 0 8 0 8
        nature of the debtor's interest
          State the term remaining                        05/28/2021

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y Tr u e Va l u e Ha r d w a r e , 2 1 6 N Ho w a r d St , In d i a n o l a , I A
 2.7636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 7 6 )
                                                                                                                                                   50125-2512
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 , Mc c o y ' s 1 , 7 5 0 0 Br o a d w a y St , Ga l v e s t o n , T X
 2.7637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 3 )
                                                                                                                                                   77554-8922
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 , Mc c o y ' s 1 0 , 2 1 2 No r t h Ih 3 5 , Be l t o n , T X 7 6 5 1 3 -
 2.7638 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 4 )
                                                                                                                                                   3570
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 0 , Mc c o y ' s 1 0 0 , 2 9 0 1 Un i v e r s i t y, Ed i n b u r g , T X
 2.7639 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 5 8 )
        nature of the debtor's interest                                                                                                            78539-8847

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 1 , Mc c o y ' s 1 0 1 , 1 0 2 5 Ki t t y Ha w k Rd , Un i v e r s a l
 2.7640 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 5 9 )
                                                                                                                                                   Ci t y, T X 7 8 1 4 8 - 3 7 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 3 , Mc c o y ' s 1 0 3 , 1 7 0 1 In d u s t r i a l Wa y, Sa n Be n i t o ,
 2.7641 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 6 1 )
                                                                                                                                                   TX 78586-7735
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 8 , Mc c o y ' s 1 0 8 , 4 7 5 9 Hw y 8 3 Ea s t , Ri o Gr a n d e
 2.7642 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 6 3 )
                                                                                                                                                   Ci t y, T X 7 8 5 8 2 - 6 3 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 1 0 9 , Mc c o y ' s 1 0 9 , 2 1 1 8 Wh e e l e r Av e , Ar a n s a s Pa s s ,
 2.7643 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 6 9 )
                                                                                                                                                   TX 78336-4711
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s # 1 1 , Mc c o y ' s 1 1 , 6 2 0 0 Bu r l e s o n Rd , Au s t i n , T X
 2.7644 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 5 )
                                                                                                                                                     78744-1331
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 1 , Mc c o y ' s 1 1 1 , 1 4 9 Wi l s o n Dr i v e , Fl o r e s v i l l e , T X
 2.7645 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 4 2 )
                                                                                                                                                     78114
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 2 , Mc c o y ' s 1 1 2 , 8 1 0 S Hi g h w a y 1 4 6 , Da y t o n , T X
 2.7646 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 4 )
        nature of the debtor's interest                                                                                                              77535-2128

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 3 , Mc c o y ' s 1 1 3 , 2 0 3 4 1 Ev a St r e e t , Mo n t g o m e r y,
 2.7647 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 9 6 )
        nature of the debtor's interest                                                                                                              TX 77356-0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 4 , Mc c o y ' s 1 1 4 , 6 7 5 Fm 5 1 7 , Al v i n , T X 7 7 5 1 1 - 0 0 0 1
 2.7648 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 5 , Mc c o y ' s 1 1 5 , 4 0 7 0 Ea s t Hw y 2 8 7 , Mi d l o t h i a n ,
 2.7649 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 6 )
                                                                                                                                                     TX 76065-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 1 8 , Mc c o y ' s 1 1 8 , 2 3 4 0 0 Tx - 7 1 , Sp i c e w o o d , T X
 2.7650 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 4 )
                                                                                                                                                     78669
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 2 , Mc c o y ' s 1 2 , 8 0 5 Co u n t y Ro a d , We i m a r , T X
 2.7651 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 7 )
                                                                                                                                                     78962-5166
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s # 1 2 0 , Mc c o y ' s 1 2 0 , 1 6 0 0 S Co l o r a d o St , Lo c k h a r t , T X
 2.7652 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 8 )
                                                                                                                                                     78644
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 3 , Mc c o y ' s 1 3 , 1 3 0 0 Hi g h w a y 2 8 8 b , Ri c h w o o d , T X
 2.7653 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 8 )
                                                                                                                                                     77531-5055
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 5 , Mc c o y ' s 1 5 , 3 6 0 1 W Ex p r e s s w a y 8 3 , Ha r l i n g e n ,
 2.7654 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 0 )
        nature of the debtor's interest                                                                                                              TX 78552-3528

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 6 , Mc c o y ' s 1 6 , 3 5 1 8 Lo o p 3 3 7 , Ne w Br a u n f e l s , T X
 2.7655 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 1 )
        nature of the debtor's interest                                                                                                              78130-7316

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 7 , Mc c o y ' s 1 7 , 1 6 0 2 N Pa d r e Is l a n d Dr , Co r p u s
 2.7656 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 3 )
                                                                                                                                                     Ch r i s t i , T X 7 8 4 0 8 - 2 3 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 8 , Mc c o y ' s 1 8 , 5 5 0 N Cl a c k , Ab i l e n e , T X 7 9 6 0 3 -
 2.7657 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 6 )
                                                                                                                                                     5326
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 8 , Mc c o y ' s 1 8 , 5 2 2 6 Us Hw y 7 7 , Ab i l e n e , T X 7 9 6 0 3
 2.7658 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 1 9 , Mc c o y ' s 1 9 , 3 1 1 2 W Fr o n t Av e , Mi d l a n d , T X
 2.7659 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 8 )
                                                                                                                                                     79701-7139
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y ' s # 2 0 , Mc c o y ' s 2 0 , 5 8 0 3 No r t h Lo o p 3 6 3 , Vi c t o r i a , T X
 2.7660 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 0 9 )
                                                                                                                                                   77904-3609
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 2 4 , Mc c o y ' s 2 4 , 6 1 0 0 Re d Bl u f f Rd , Pa s a d e n a , T X
 2.7661 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 1 6 )
        nature of the debtor's interest                                                                                                            77505-3604

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 2 5 , Mc c o y ' s 2 5 , 5 5 0 0 Ba n d e r a Ro a d , Sa n An t o n i o , T X
 2.7662 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 1 8 )
        nature of the debtor's interest                                                                                                            78238-1913

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 2 7 , Mc c o y ' s 2 7 , 8 2 1 2 S Pr e s a St , Sa n An t o n i o , T X
 2.7663 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 2 6 )
                                                                                                                                                   78223-3539
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 2 8 , Mc c o y ' s 2 8 , 3 3 0 Wa r d Ro a d , Ba y t o w n , T X
 2.7664 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 2 8 )
                                                                                                                                                   77520-4855
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 2 9 , Mc c o y ' s 2 9 , 5 9 0 9 Ho l l y Rd , Co r p u s Ch r i s t i , T X
 2.7665 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 0 )
                                                                                                                                                   78412-4553
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 3 , Mc c o y ' s 3 , 1 3 0 8 So u t h Br o o k s , Br a z o r i a , T X
 2.7666 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 5 )
                                                                                                                                                   77422-5600
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 3 0 , Mc c o y ' s 3 0 , 2 0 3 1 Lo o p 3 0 6 , Sa n An g e l o , T X
 2.7667 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 2 )
                                                                                                                                                   76904-6855
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s # 3 2 , Mc c o y ' s 3 2 , Hi g h w a y 7 9 Lo o p 2 5 6 So u t h ,
 2.7668 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 5 )
                                                                                                                                                     Pa l e s t i n e , T X 7 5 8 0 1 - 4 0 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 3 , Mc c o y ' s 3 3 , 1 1 2 0 W Hi g h w a y 8 3 , Ph a r r , T X
 2.7669 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 7 )
        nature of the debtor's interest                                                                                                              78577-4581

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 4 , Mc c o y ' s 3 4 , 2 3 0 0 Bo o n v i l l e Rd , Br y a n , T X
 2.7670 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 8 )
        nature of the debtor's interest                                                                                                              77808-2225

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 5 , Mc c o y ' s 3 5 , 1 1 3 1 W 4 2 n d St , Od e s s a , T X 7 9 7 6 4 -
 2.7671 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 0 )
                                                                                                                                                     4077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 5 6 , Mc c o y ' s 3 5 6 , 3 0 0 1 W. Ke n t u c k y Av e . , Mi d l a n d ,
 2.7672 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 2 )
                                                                                                                                                     TX 79701
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 6 , Mc c o y ' s 3 6 , 2 7 0 1 Ma r t i n Lu t h e r Ki n g , Lu f k i n ,
 2.7673 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 4 )
                                                                                                                                                     TX 75901-1231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 7 , Mc c o y ' s 3 7 , 5 5 0 0 So u t h Pa d r e Bl v d , Br o w n s v i l l e ,
 2.7674 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 6 )
                                                                                                                                                     TX 78521-4411
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 3 8 , Mc c o y ' s 3 8 , 5 0 1 5 Av e n u e H, Ro s e n b e r g , T X
 2.7675 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 8 )
        nature of the debtor's interest                                                                                                              77471-2011

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y ' s # 3 9 , Mc c o y ' s 3 9 , 2 5 0 0 Al p i n e Ro a d , Lo n g v i e w, T X
 2.7676 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 9 )
        nature of the debtor's interest                                                                                                            75605-4097

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 , Mc c o y ' s 4 , 1 3 0 2 Hw y 3 So u t h , Le a g u e Ci t y, T X
 2.7677 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 6 )
        nature of the debtor's interest                                                                                                            77573-5416

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 0 , Mc c o y ' s 4 0 , 3 0 0 We s t Fm 3 5 1 , Be e v i l l e , T X
 2.7678 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 5 2 )
                                                                                                                                                   78102-2455
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 0 0 , Mc c o y ' s 4 0 0 , 1 3 5 0 Ih 3 5 No r t h , Sa n Ma r c o s , T X
 2.7679 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 4 3 )
                                                                                                                                                   78666-7130
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 1 , Mc c o y ' s 4 1 , 3 8 0 9 Ea s t Sa u n d e r s St r e e t , La r e d o ,
 2.7680 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 5 3 )
                                                                                                                                                   TX 78041-7606
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 2 , Mc c o y ' s 4 2 , 1 8 5 6 S Va l l e y Dr , La s Cr u c e s , N M
 2.7681 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 5 4 )
                                                                                                                                                   88005-3148
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 3 , Mc c o y ' s 4 3 , 6 0 2 1 Hi g h w a y 7 5 S, Hu n t s v i l l e , T X
 2.7682 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 5 5 )
                                                                                                                                                   77340-7258
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 4 4 , Mc c o y ' s 4 4 , 1 8 2 5 Si d n e y Ba k e r , Ke r r v i l l e , T X
 2.7683 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 5 6 )
        nature of the debtor's interest                                                                                                            78028-2643

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s # 4 5 0 , Mc c o y ' s 4 5 0 , 7 1 0 Fm 3 0 6 , Ne w Br a u n f e l s , T X
 2.7684 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 3 5 )
        nature of the debtor's interest                                                                                                              78130-2628

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 4 5 1 , Mc c o y ' s 4 5 1 , 3 2 0 9 We s t Us Hw y 8 3 , Mc Al l e n ,
 2.7685 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 4 2 )
        nature of the debtor's interest                                                                                                              TX 78501-8248

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 4 7 , Mc c o y ' s 4 7 , 4 2 3 6 Fr a n k l i n Av e , Wa c o , T X 7 6 7 1 0 -
 2.7686 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 6 0 )
                                                                                                                                                     6944
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 4 9 , Mc c o y ' s 4 9 , 1 0 0 0 S So u t h w e s t Lo o p 3 2 3 , Ty l e r ,
 2.7687 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 6 4 )
                                                                                                                                                     TX 75701-1042
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 5 0 , Mc c o y ' s 5 0 , 1 6 5 4 S Ge n Mc m u l l e n Dr , Sa n
 2.7688 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 6 5 )
                                                                                                                                                     An t o n i o , T X 7 8 2 3 7 - 4 4 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 5 2 , Mc c o y ' s 5 2 , 3 2 0 8 N Ma i n St , Cl e b u r n e , T X
 2.7689 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 6 9 )
                                                                                                                                                     76033-5058
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 5 3 , Mc c o y ' s 5 3 , 3 4 0 1 N Ma i n St , Ta y l o r , T X 7 6 5 7 4 -
 2.7690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 6 7 )
        nature of the debtor's interest                                                                                                              1028

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 5 5 , Mc c o y ' s 5 5 , 1 0 0 Le a n d e r Rd , Ge o r g e t o w n , T X
 2.7691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 7 6 )
        nature of the debtor's interest                                                                                                              78626-8456

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y ' s # 5 7 , Mc c o y ' s 5 7 , 2 8 1 1 3 To m b a l l Pk w y, To m b a l l , T X
 2.7692 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 8 3 )
        nature of the debtor's interest                                                                                                            77375-6419

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 5 8 , Mc c o y ' s 5 8 , U S Hi g h w a y 1 8 3 No r t h , Go n z a l e s ,
 2.7693 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 8 4 )
                                                                                                                                                   TX 78629-2130
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 , Mc c o y ' s 6 , 8 0 1 Hw y 7 1 We s t , Ba s t r o p , T X 7 8 6 0 2 -
 2.7694 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 8 )
                                                                                                                                                   3799
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 0 , Mc c o y ' s 6 0 , 1 8 0 3 Us 2 9 0 Ea s t , Br e n h a m , T X
 2.7695 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 9 0 )
                                                                                                                                                   77833-5933
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 1 , Mc c o y ' s 6 1 , 1 7 0 2 We s t 1 6 t h St , Mo u n t Pl e a s a n t ,
 2.7696 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 9 3 )
                                                                                                                                                   TX 75455-2089
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 2 , Mc c o y ' s 6 2 , 1 3 0 5 Fm 1 6 2 6 , Ma n c h a c a , T X
 2.7697 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 9 5 )
                                                                                                                                                   78652-3547
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 3 , Mc c o y ' s 6 3 , 2 5 0 7 W Hi g h w a y 8 2 , Ga i n e s v i l l e , T X
 2.7698 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 2 )
        nature of the debtor's interest                                                                                                            76240-2076

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 6 , Mc c o y ' s 6 6 , 3 7 6 1 E Hi g h w a y 4 4 , Al i c e , T X
 2.7699 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 5 )
        nature of the debtor's interest                                                                                                            78332-6972

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y ' s # 6 7 , Mc c o y ' s 6 7 , 1 6 0 0 Hi g h w a y 3 4 S, Te r r e l l , T X
 2.7700 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 6 )
        nature of the debtor's interest                                                                                                            75160-5407

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 8 , Mc c o y ' s 6 8 , 4 6 0 5 So u t h Ol t o n Ro a d , Pl a i n v i e w,
 2.7701 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 7 )
                                                                                                                                                   TX 79072-9563
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 6 9 , Mc c o y ' s 6 9 , 1 1 8 1 1 Hi g h w a y 2 9 0 We s t , Au s t i n ,
 2.7702 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 8 )
                                                                                                                                                   TX 78737-2812
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 7 , Mc c o y ' s 7 , 3 6 0 5 Hi g h w a y 3 7 7 So u t h , Br o w n w o o d ,
 2.7703 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 9 )
                                                                                                                                                   TX 76801-5115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 7 0 , Mc c o y ' s 7 0 , 1 1 0 Wo n d e r Wo r l d Dr , Sa n Ma r c o s ,
 2.7704 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 1 0 )
                                                                                                                                                   TX 78666-5935
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 7 1 , Mc c o y ' s 7 1 , 4 0 0 9 Nw St a l l i n g s Dr , Na c o g d o c h e s ,
 2.7705 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 1 1 )
        nature of the debtor's interest                                                                                                            TX 75964-9147

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 7 2 , Mc c o y ' s 7 2 , Hi g h w a y 2 7 1 No r t h , Pa r i s , T X
 2.7706 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 1 4 )
        nature of the debtor's interest                                                                                                            75460-9502

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 7 4 , Mc c o y ' s 7 4 , 1 3 3 2 4 Hw y 7 1 We s t , Au s t i n , T X
 2.7707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 1 6 )
                                                                                                                                                   78738-3106
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s # 7 5 , Mc c o y ' s 7 5 , Ga t e w a y S At Ho n d o Pa s s , El Pa s o ,
 2.7708 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 1 7 )
                                                                                                                                                     TX 79904-1215
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 , Mc c o y ' s 8 , 3 0 0 1 No r t h w e s t Lo o p , St e p h e n v i l l e , T X
 2.7709 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 9 0 )
                                                                                                                                                     76401-1641
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 2 , Mc c o y ' s 8 2 , 3 4 0 5 W Br o a d w a y St , Ar d m o r e , O K
 2.7710 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 2 8 )
                                                                                                                                                     73401-9072
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 3 , Mc c o y ' s 8 3 , 3 7 0 7 No r t h Hw y 8 1 , Du n c a n , O K
 2.7711 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 2 9 )
                                                                                                                                                     73533-8996
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 4 , Mc c o y ' s 8 4 , 2 4 0 6 No r t h Da l Pa s o St , Ho b b s , N M
 2.7712 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 3 0 )
                                                                                                                                                     88240-2309
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 5 , Mc c o y ' s 8 5 , 2 1 0 0 Se Ma i n St , Ro s w e l l , N M
 2.7713 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 3 1 )
        nature of the debtor's interest                                                                                                              88203-5924

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 6 , Mc c o y ' s 8 6 , 2 7 0 0 E Hw y 9 0 , Al p i n e , T X 7 9 8 3 0 -
 2.7714 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 1 4 )
        nature of the debtor's interest                                                                                                              4113

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s # 8 7 , Mc c o y ' s 8 7 , 1 3 0 0 N Us Hi g h w a y 2 8 5 , Fo r t
 2.7715 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 3 5 )
                                                                                                                                                     St o c k t o n , T X 7 9 7 3 5 - 4 4 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Mc c o y ' s # 8 8 , Mc c o y ' s 8 8 , 8 0 5 Sp u r 2 3 9 , De l Ri o , T X 7 8 8 4 0 -
 2.7716 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 3 6 )
                                                                                                                                                   4519
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 8 9 , Mc c o y ' s 8 9 , 2 0 0 We s t Ex p r e s s w a y 8 3 , Mi s s i o n ,
 2.7717 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 4 1 )
                                                                                                                                                   TX 78572-6167
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 0 , Mc c o y ' s 9 0 , 3 4 2 8 Wo o d Dr No r t h , Ok m u l g e e , O K
 2.7718 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 4 3 )
                                                                                                                                                   74447-7945
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 1 , Mc c o y ' s 9 1 , Hw y 2 8 5 & Wo o d St , Ca r l s b a d , N M
 2.7719 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 4 5 )
                                                                                                                                                   88220-6500
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 3 , Mc c o y ' s 9 3 , 9 1 0 Us Ex p r e s s w a y 8 3 , We s l a c o , T X
 2.7720 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 4 7 )
        nature of the debtor's interest                                                                                                            78596-9999

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 6 , Mc c o y ' s 9 6 , 1 9 2 7 S Me c h a n i c St r e e t , El Ca m p o ,
 2.7721 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 5 2 )
        nature of the debtor's interest                                                                                                            TX 77437-9117

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 7 , Mc c o y ' s 9 7 , Us 2 7 7 e & Hi g h w a y 5 7 , Ea g l e Pa s s ,
 2.7722 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 5 4 )
                                                                                                                                                   TX 78852-5744
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Mc c o y ' s # 9 8 , Mc c o y ' s 9 8 , S Hw y 5 9 & 1 0 5 E, Cl e v e l a n d , T X
 2.7723 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 5 6 )
                                                                                                                                                   77327-6039
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc c o y ' s Bu r n e t Dc # 3 5 9 , Mc c o y ' s Bu r n e t Dc 3 5 9 , 4 3 0 4 St a t e
 2.7724 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 8 )
                                                                                                                                                     Hw y 2 9 Ea s t , Bu r n e t , T X 7 8 6 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y ' s Da y t o n Dc , 9 8 0 Hw y 1 4 6 , Da y t o n , T X 7 7 5 3 5
 2.7725 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y s # 1 1 6 , Mc c o y s 1 1 6 , 1 9 2 7 Hu b b a r d Dr i v e , Ba y Ci t y, T X
 2.7726 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 4 )
                                                                                                                                                     77414-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y s # 1 1 7 , Mc c o y s 1 1 7 , 2 5 0 5 Rm 1 8 6 9 , Li b e r t y Hi l l , T X
 2.7727 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 5 )
                                                                                                                                                     78642
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc c o y s # 1 1 9 , Mc c o y ' s 1 1 9 , 1 1 8 0 1 Qu a k e r Av e , Lu b b o c k , T X
 2.7728 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 2 )
        nature of the debtor's interest                                                                                                              79423

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc d o n a l d ' s Ha r d w a r e , 2 4 5 Sw 2 4 t h St . , St a t e Ro a d 8 4 , Fo r t
 2.7729 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 0 )
        nature of the debtor's interest                                                                                                              La u d e r d a l e , F L 3 3 3 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc e l r o y Me t a l , 1 5 0 0 Ha m i l t o n Ro a d , Bo s s i e r Ci t y, L A 7 1 1 1 1
 2.7730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                     Mc f a r l a n e s Tr u e Va l u e , Mc f a r l a n e s ' Tr u e Va l u e , 7 8 0 Ca r o l i n a
 2.7731 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 8 7 )
                                                                                                                                                     St r e e t , Sa u k Ci t y, W I 5 3 5 8 3 - 1 6 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc k a y Lu m b e r In c , 1 8 0 Te c o n Co v e , Bu d a , T X 7 8 6 1 0
 2.7732 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k a y Tr u e Va l u e Ha r d w a r e , 4 1 6 S 1 5 t h Av e , Ho p e w e l l , VA
 2.7733 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 9 6 )
                                                                                                                                                     23860-4508
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k a y ' s Tr u e Va l u e , 4 9 3 9 W Ra y Rd 1 0 , Ch a n d l e r , A Z 8 5 2 2 6 -
 2.7734 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 0 )
                                                                                                                                                     2065
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k e e Lu m b e r Co m p a n y, 1 0 4 N 7 t h St , Co r s i c a n a , T X 7 5 1 1 0 -
 2.7735 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 8 6 )
                                                                                                                                                     5318
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k e i t h e n Tr u e Va l u e Ha r d w a r e , 5 8 In d e p e n d e n c e Wa y,
 2.7736 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 1 )
        nature of the debtor's interest                                                                                                              St a t e s b o r o , G A 3 0 4 5 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k e l v e y Ha r d w a r e , 1 2 0 E Ma i n St , Dr e x e l , M O 6 4 7 4 2
 2.7737 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k e l v e y Ha r d w a r e , 1 4 0 Ha r v e s t Dr , Lo u i s b u r g , K S 6 6 0 5 3
 2.7738 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc k e l v e y ' s Tr u e Va l u e , 6 2 5 S Pe c u l i a r Dr , Pe c u l i a r , M O 6 4 0 7 8
 2.7739 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc l a i n Gr e e n h o u s e s L L C, P. O. Bo x 6 6 7 , Es t a n c i a , N M 8 7 0 1 6
 2.7740 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Mc l a n a h a n ' s St u d e n t St o r e , 4 1 4 Ea s t Co l l e g e Av e . , St a t e
 2.7741 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 5 )
                                                                                                                                                     Co l l e g e , PA 1 6 8 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc l a n e Mf g Co , 7 1 1 0 E Ro s e c r a n s , Pa r a m o u n t , C A 9 0 7 2 3
 2.7742 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Mc l e a n Ha r d w a r e , 1 4 4 5 Ch a i n Br i d g e Ro a d , Mc l e a n , VA
 2.7743 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 0 )
        nature of the debtor's interest                                                                                                              22101-3722

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc l e s k e y - t o d d Tr u e Va l u e , 1 4 8 Wa l n u t La n e - St e K, Tr a v e l e r s
 2.7744 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 3 9 )
        nature of the debtor's interest                                                                                                              Re s t , S C 2 9 6 9 0 - 1 6 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc l o u d Ha r d w a r e , 1 2 4 No r t h Ma i n , Mc l o u d , O K 7 4 8 5 1
 2.7745 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc m Pa i n t , 3 2 1 Ea s t Su g a r l a n d Hi g h w a y, Cl e w i s t o n , F L 3 3 4 4 0
 2.7746 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc n e a r Tr u e Va l u e Ha r d w a r e , Mc Ne a r Tr u e Va l u e Ha r d w a r e ,
 2.7747 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 4 1 )
                                                                                                                                                     5 3 Hw y 7 S, Po w h a t a n Po i n t , O H 4 3 9 4 2 - 1 1 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mc p h e r s o n Tr u e Va l u e Ho m e Ct r , 3 0 0 N Ce n t e n n i a l Dr ,
 2.7748 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 9 4 )
                                                                                                                                                     Mc p h e r s o n , K S 6 7 4 6 0 - 9 3 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mc q u a d e & Ba n n i g a n In c , 1 3 0 0 St a r k St , Ut i c a , N Y 1 3 5 0 2 -
 2.7749 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 1 0 )
                                                                                                                                                     4448
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me Ba t h , 9 8 4 1 Ai r p o r t Bl v d , Su i t e 5 2 0 , Lo s An g e l e s , C A 9 0 0 4 5
 2.7750 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/19/2011

          List the contract number of any government
          contract
                                                                                                                                                     Me a Nu r s e r y, P. O. Bo x 6 6 8 , 1 7 9 0 5 Us Hi g h w a y 6 9 No r t h ,
 2.7751 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Li n d a l e , T X 7 5 7 7 1

          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Me a d ' s Ha r d w a r e , 4 4 3 8 E. La k e Me a d Bl v d . , La s Ve g a s , N V
 2.7752 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 9 )
                                                                                                                                                     89115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me a d o r s Lu m b e r Co m p a n y, 1 0 0 3 In t e r s t a t e Dr , Cl a r k s v i l l e , A R
 2.7753 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 4 )
                                                                                                                                                     72830-9021
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me a d o r s Lu m b e r Co m p a n y, 1 8 0 0 N 1 8 t h , Oz a r k , A R 7 2 9 4 9 -
 2.7754 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 )
                                                                                                                                                     3642
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me a d o r s Lu m b e r Co m p a n y, 2 1 8 Co m m e r c e Dr i v e , Al m a , A R
 2.7755 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 3 2 )
                                                                                                                                                     72921-3608
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Me a d o w Vi e w Gr e e n h o u s e & Gd n Ct r , 9 8 8 5 Hi g h w a y 1 1 Ea s t ,
 2.7756 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 5 9 )
                                                                                                                                                     Le n o i r Ci t y, T N 3 7 7 7 2 - 5 8 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me a d o w l a n d s Ha r d w a r e , 1 7 9 Ha c k e n s a c k St , Ea s t Ru t h e r f o r d ,
 2.7757 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 6 7 )
                                                                                                                                                     NJ 07073-1504
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me c a n e l e c t r o S. a . s . , Ca l l e 1 2 7 d N 4 5 - 4 6 , Bo g o t a , Co l u m b i a
 2.7758 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me c h a n i c a l Pl a s t i c s Co r p , 1 1 0 Ri c h a r d s Av e , No r w a l k , C T
 2.7759 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              06854

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Me c h a n i c s b u r g Ag w a y, 9 7 7 We s t Tr i n d l e Ro a d , Me c h a n i c s b u r g ,
 2.7760 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 5 6 )
                                                                                                                                                     PA 1 7 0 5 5 - 4 5 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me d a l l i o n Pa i n t , 5 0 2 0 S St a t e Rd 7 , Ft La u d e r d a l e , F L 3 3 3 1 4
 2.7761 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me d e l c o In c , 5 4 Wa s h b u r n St , Br i d g e p o r t , C T 0 6 6 0 5
 2.7762 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Me d e l c o In c , 5 4 Wa s h b u r n St , Br i d g e p o r t , C T 0 6 6 0 5
 2.7763 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Me d e r ' s , In c o r p o r a t e d , Me d e r s Ga r d e n Ce n t e r H& g s , 3 6 0 Re g i s
 2.7764 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 7 8 )
                                                                                                                                                     Av e , Pi t t s b u r g h , PA 1 5 2 3 6 - 1 4 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me d f o r d Nu r s e r y, P. O. Bo x 1 1 4 5 , 5 6 0 - A Ea y e r s t o w n - Re d Li o n
 2.7765 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Rd , Me d f o r d , N J 0 8 0 5 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Me d l i n e In d u s t r i e s In c , On e Me d l i n e Pl a c e , Mu n d e l e i n , I L
 2.7766 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              60060

          State the term remaining                        02/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Me e c o Mf g Co In c , 1 9 7 0 4 6 0 Th Av e Ne Su i t e 1 0 2 , Ar l i n g t o n ,
 2.7767 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     WA 9 8 2 2 3
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Me g a Ma t e r i a l e s De An t i g u a So c i e d a d An o n i m a , Ca l l e Re a l ,
 2.7768 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 0 )
                                                                                                                                                     Ca s a 4 4 , Zo n a 1 , Jo c o t e n a n g o , Gu a t e m a l a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me g a p r o Ma r k e t i n g Us a Nc , 2 5 0 H St , Bl a i n e , WA 9 8 2 3 0
 2.7769 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7770 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7771 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7772 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7773 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7774 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me g u i a r s In c , 1 7 9 9 1 Mi t c h e l l So u t h , Ir v i n e , C A 9 2 6 1 4
 2.7775 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me i b o r g Br o t h e r s In c , 3 8 1 4 1 1 Th St r e e t , Ro c k f o r d Il , 6 1 1 0 9 ,
 2.7776 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Me i b o r g Br o t h e r s In c - Tr a n s p o r t a t i o n
                                                          Ag r e e m e n t s Co n t r a c t e d Ca r r i e r                                                     Ro c k f o r d , I L 6 1 1 0 9
        nature of the debtor's interest
          State the term remaining                        05/29/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Me i k l e ' s No r t h s i d e Ha r d w a r e , 2 9 3 5 N Sh e r m a n Av e , Ma d i s o n ,
 2.7777 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 5 )
                                                                                                                                                                 WI 53704
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me i s s n e r In d u s t r i a l Co In c , 2 3 2 5 B St a t h a m Pk w y, Ox n a r d , C A
 2.7778 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 93033
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Me l i s s a & Do u g , P. O. Bo x 5 9 0 , We s t p o r t , C T 0 6 8 8 1
 2.7779 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me l i s s a & Do u g , P. O. Bo x 5 9 0 , We s t p o r t , C T 0 6 8 8 1
 2.7780 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me l i s s a & Do u g , P. O. Bo x 5 9 0 , We s t p o r t , C T 0 6 8 8 1
 2.7781 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Me l i s s a Da t a Co r p o r a t i o n , 2 2 3 8 2 Av e n i d a Em p r e s a , Ra n c h o
 2.7782 State what the contract or lease is for and the
                                                          So f t w a r e , Me l i s s a Da t a Ge o Po i n t s , Ge o Cu s t o m , Ma t c h Fu z z y,
                                                          N C O A F T P Re n e w a l 2 0 2 3                                                                     Sa n t a Ma r g a r i t a , C A 9 2 6 8 8 - 2 1 1 2
        nature of the debtor's interest
          State the term remaining                        02/01/2023 - 01/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Me l i t t a , 1 7 7 5 7 U S 1 9 N, Cl e a r w a t e r , F L 3 4 6 2 4
 2.7783 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Me l i t t a , 1 7 7 5 7 U S 1 9 N, Cl e a r w a t e r , F L 3 4 6 2 4
 2.7784 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7785 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7786 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 09/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7787 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7788 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                      Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7789 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Me l n o r In c , 1 0 9 Ty s o n Dr i v e , Wi n c h e s t e r , VA 2 2 6 0 3
 2.7790 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Me l r o s e Gr a i n & El e v a t o r , 2 0 5 Ea s t De n b y Av e , Me l r o s e , N M
 2.7791 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 7 2 )
                                                                                                                                                      88124-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Me l r o s e Ha r d w a r e , 1 7 7 Ch r i s t o p h e r St r e e t , Ne w Yo r k , N Y
 2.7792 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 3 )
                                                                                                                                                      10014-2301
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Me l r o s e Ho l d i n g s L L C, Me l r o s e Ho l d i n g s L L C, 8 2 8 3 Me l r o s e
 2.7793 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Dr i v e , Le n e x a , K S 6 6 2 1 4
        nature of the debtor's interest
          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
                                                                                                                                                      Me l r o s e Tr u e Va l u e Lu m b e r , 1 0 1 Ta n n e r St , Me l r o s e , W I
 2.7794 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 3 0 )
                                                                                                                                                      54642-7212
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Me l v i n ' s Tr u e Va l u e Ha r d w a r e , Me l v i n ` s Tr u e Va l u e Ha r d w a r e ,
 2.7795 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 5 )
        nature of the debtor's interest                                                                                                               1 0 0 6 S Ma i n St r e e t , Ra n d l e m a n , N C 2 7 3 1 7 - 1 8 4 0

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Me m m e r s Fa r m St o r e , 9 9 0 N Us Hw y 4 1 , Pr i n c e t o n , I N 4 7 6 7 0 -
 2.7796 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 3 9 )
        nature of the debtor's interest                                                                                                              0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n a n d s Tr u e Va l u e Hd w. , 3 5 9 Br o a d w a y, Me n a n d s , N Y
 2.7797 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 4 9 )
                                                                                                                                                     12204-2708
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n a r d In c . , 5 1 0 6 Ol d Mi l l Ce n t e r , Ea u Cl a i r e , W I 5 4 7 0 3
 2.7798 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n a r d ' s Fa m i l y Tr u e Va l u e , Me n a r d ` s Fa m i l y Tr u e Va l u e , 7 8 0
 2.7799 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 7 9 )
                                                                                                                                                     Br o o k l y n St r e e t , Mo r r i s v i l l e , V T 0 5 6 6 1 - 9 6 4 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n s c h Mi l l & Lu m b e r , 1 2 6 1 Co m m e r c e Av e n u e , Br o n x , N Y
 2.7800 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 0 )
                                                                                                                                                     10462
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n y ' s Tr u e Va l u e , Me n y ` s Tr u e Va l u e , 5 4 1 0 E Ma i n St r e e t ,
 2.7801 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 5 6 )
                                                                                                                                                     P. o . Bo x 2 8 4 , Du b o i s , I N 4 7 5 2 7 - 0 2 8 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n y ' s Tr u e Va l u e , Me n y ` s Tr u e Va l u e , 2 8 0 5 Ne w t o n St ,
 2.7802 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 3 9 )
        nature of the debtor's interest                                                                                                              Ja s p e r , I N 4 7 5 4 6 - 1 3 3 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Me n y ' s Tr u e Va l u e , Me n y ` s Tr u e Va l u e , 1 8 5 5 Ma i n St ,
 2.7803 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 9 7 )
        nature of the debtor's interest                                                                                                              Fe r d i n a n d , I N 4 7 5 3 2 - 9 4 0 5

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me n z n e r Ha r d w o o d s , 1 0 5 Ma i n St r e e t P. O. Bo x 2 1 7 , Ma r a t h o n ,
 2.7804 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WI 54448

          State the term remaining                        05/21/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Me r i d i a n In t l Co Lt d Us , 6 5 1 2 Cy p r e s s Co u r t , Mi l l s t a d t , I L
 2.7805 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 62260
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me r o t e c , In c . , 3 6 5 5 Ke n n e s a w N In d Pk w y, Ke n n e s a w, G A
 2.7806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30144
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Me r r i l l Tr u e Va l u e Lb r , 2 3 4 E Fr o n t St , Me r r i l l , O R 9 7 6 3 3 -
 2.7807 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 1 1 1 )
                                                                                                                                                                 0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me s s i n a s , 5 5 Wi l l o w St r e e t , Su i t e 1 , Wa s h i n g t o n , N J 0 7 8 8 2
 2.7808 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Me s s m e r ' S In c , P. O. Bo x 8 , 9 5 0 0 S Ha w l e y Pa r k Ro a d , We s t
 2.7809 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Jo r d a n , U T 8 4 0 8 4
        nature of the debtor's interest
          State the term remaining                        10/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a b o Co r p o r a t i o n , 1 2 3 1 Wi l s o n Dr i v e , We s t Ch e s t e r , PA
 2.7810 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          19380

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a b o Co r p o r a t i o n , 1 2 3 1 Wi l s o n Dr i v e , We s t Ch e s t e r , PA
 2.7811 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19380
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e , Je f f e r s o n , L A 7 0 1 2 1
 2.7812 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e , Je f f e r s o n , L A 7 0 1 2 1
 2.7813 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e , Je f f e r s o n , L A 7 0 1 2 1
 2.7814 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e , Je f f e r s o n , L A 7 0 1 2 1
 2.7815 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e , Je f f e r s o n , L A 7 0 1 2 1
 2.7816 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n - Im p o r t , Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e ,
 2.7817 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Je f f e r s o n , L A 7 0 1 2 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n - Im p o r t , Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e ,
 2.7818 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Je f f e r s o n , L A 7 0 1 2 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Fu s i o n - Im p o r t , Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e ,
 2.7819 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Je f f e r s o n , L A 7 0 1 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me t a l Fu s i o n - Im p o r t , Me t a l Fu s i o n , 7 1 2 St Ge o r g e Av e ,
 2.7820 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Je f f e r s o n , L A 7 0 1 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Sa l e s Mf g Co r p , 7 8 0 0 St a t e Rd 6 0 , Se l l e r s b u r g , I N
 2.7821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 47172
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Wa r e Co r p , Th e , 1 7 0 0 Mo n r o e St , Tw o Ri v e r s , W I 5 4 2 4 1
 2.7822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Wa r e Co r p , Th e , 1 7 0 0 Mo n r o e St , Tw o Ri v e r s , W I 5 4 2 4 1
 2.7823 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Me t a l Wa r e Co r p , Th e , 1 7 0 0 Mo n r o e St , Tw o Ri v e r s , W I 5 4 2 4 1
 2.7824 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Me t h o d Pr o d u c t s Pb c , 6 3 7 Co m m e r c i a l St Fl 3 , Sa n Fr a n c i s c o ,
 2.7825 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 94111

          State the term remaining                        01/17/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Me t h o d Pr o d u c t s Pb c , 6 3 7 Co m m e r c i a l St Fl 3 , Sa n Fr a n c i s c o ,
 2.7826 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 94111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t h o d Pr o d u c t s Pb c , 6 3 7 Co m m e r c i a l St Fl 3 , Sa n Fr a n c i s c o ,
 2.7827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 94111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                          CaseL.L.C.
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Me t h o d Pr o d u c t s Pb c , 6 3 7 Co m m e r c i a l St Fl 3 , Sa n Fr a n c i s c o ,
 2.7828 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 94111
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t h o w Va l l e y Lu m b e r , 1 3 0 9 Hw y 2 0 So , Tw i s p , WA 9 8 8 5 6
 2.7829 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me t r o Se r v i c e Im p r o v i n g Pr o d u c t i v i t y, 1 2 0 0 E 1 8 t h St , Ka n s a s
 2.7830 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Me t r o Se r v i c e Ja n i t o r i a l
                                                                                                                                                                 Ci t y, M O 6 4 1 0 8
        nature of the debtor's interest                   Se r v i c e s Ka n s a s Ci t y 2 0 2 1

          State the term remaining                        01/01/2021 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Me t r o p o l i t a n Tr u c k i n g In c , 6 6 7 5 Lo w St r e e t , Bl o o m g b u r g , PA
 2.7831 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Me t r o p o l i t a n Tr u c k i n g In c -
                                                                                                                                                                 17815
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t Co n t r a c t e d Ca r r i e r

          State the term remaining                        05/29/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Me y e r Tr u e Va l u e , 1 1 5 W Mi s s i o n St r e e t , St r a w b e r r y Po i n t , I A
 2.7832 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 4 )
        nature of the debtor's interest                                                                                                                          52076-4400

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Me y e r s Ha r d w a r e , 7 9 6 Ma i n St , Po m e r o y, WA 9 9 3 4 7
 2.7833 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mf a Fa r m & Ho m e Bu f f a l o , 9 2 6 W. Da l l a s St r e e t , Bu f a l l o , M O
 2.7834 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 6 )
                                                                                                                                                                 65622-5400
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mf a Fa r m & Ho m e Fa i r Gr o v e , 3 0 0 Ea g l e Ri d g e Rd , Fa i r
 2.7835 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 7 )
                                                                                                                                                                 Gr o v e , M O 6 5 6 4 8 - 8 5 8 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Mf a Fa r m & Ho m e Of Ur b a n a , 4 0 9 W. Oa k St , Ur b a n a , M O
 2.7836 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 8 )
                                                                                                                                                         65767-9219
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mf a Tr u e Va l u e , 2 1 3 5 Hi g h w a y M, Gr o v e s p r i n g , M O 6 5 6 6 2 -
 2.7837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 8 )
                                                                                                                                                         9100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mg Bu i l d i n g Ma t e r i a l s Co r p u s Ch r i s t i , 7 4 0 6 S Pa d r e Is l a n d
 2.7838 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 7 )
                                                                                                                                                         Dr i v e , Co r p u s Ch r i s t i , T X 7 8 4 1 2 - 4 3 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mg Bu i l d i n g Ma t e r i a l s Ke r v i l l e , 2 2 0 2 Me m o r i a l Bl v d . ,
 2.7839 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 8 )
                                                                                                                                                         Ke r v i l l e , T X 7 8 0 2 8 - 5 6 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mg Bu i l d i n g Ma t e r i a l s Pl e a s a n t o n , 1 7 3 4 W Oa k l a w n ,
 2.7840 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 6 )
        nature of the debtor's interest                                                                                                                  Pl e a s a n t o n , T X 7 8 0 6 4 - 4 6 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mg Bu i l d i n g Ma t e r i a l s Sa n An t o n i o , 2 6 5 1 Sw Mi l i t a r y Dr i v e ,
 2.7841 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 5 )
                                                                                                                                                         Sa n An t o n i o , T X 7 8 2 2 4 - 1 0 4 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mg Bu i l d i n g Ma t e r i a l s Uv a l d e , 2 3 0 1 E Ma i n St r e e t , Uv a l d e ,
 2.7842 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 9 )
                                                                                                                                                         TX 78801-4944
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mh En v i r o n m e n t a l , 2 0 1 6 No r t h Cl e v e l a n d Av e 1 S, Ch i c a g o , I L
 2.7843 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , M H En v i r o n m e n t a l , In c .
                                                          Gr o u n d Wa t e r Sa m p l i n g                                                             60614
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi Co n v e y a n c e So l u t i o n s , P. O. Bo x 7 4 5 9 3 2 , At l a n t a , G A 3 0 3 7 4
 2.7844 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mi Co n v e y a n c e So l u t i o n s , P. O. Bo x 7 4 5 9 3 2 , At l a n t a , G A 3 0 3 7 4
 2.7845 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Mi T M Co r p , P. O. Bo x 5 0 , 5 0 Mi - T- M Dr , Pe o s t a , I A 5 2 0 6 8
 2.7846 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi T M Co r p , P. O. Bo x 5 0 , 5 0 Mi - T- M Dr , Pe o s t a , I A 5 2 0 6 8
 2.7847 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mi T M Co r p , P. O. Bo x 5 0 , 5 0 Mi - T- M Dr , Pe o s t a , I A 5 2 0 6 8
 2.7848 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi a m i Ho m e Ce n t e r , 5 4 5 4 1 s t , Mi a m i Be a c h , F L 3 3 1 4 0 - 3 5 0 9
 2.7849 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi a m i Ho m e Ce n t e r s , 7 3 2 5 Sw 5 7 t h Av e n u e , Mi a m i , F L 3 3 1 4 3 -
 2.7850 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 4 )
                                                                                                                                                                 5311
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi a m i Ho m e Ce n t e r s , 8 8 6 6 Sw 1 2 9 St , Mi a m i , F L 3 3 1 7 6 - 4 4 4 9
 2.7851 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi a m i La n d s c a p e Su p p l y, 1 3 1 1 8 S Di x i e Hw y, Mi a m i , F L
 2.7852 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 9 7 )
                                                                                                                                                                 33156-6510
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7853 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7854 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7855 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          4 S6 , Ca n a d a

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7856 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 4 S6 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7857 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7858 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mi b r o Gr o u p ( Th e ) , 1 1 1 Si n n o t t Rd , Sc a r b o r o u g h , O N M1 L
 2.7859 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Mi c h a e l Pa g e In t ' l , Mi c h a e l Pa g e In t e r n a t i o n a l , 3 0 No r t h
 2.7860 State what the contract or lease is for and the   Re c r u i t i n g Se r v i c e s , Mi c h a e l Pa g e I T Re c r u i t i n g Ma s t e r -
                                                                                                                                                        La s a l l e St r e e t , Su i t e 3 5 3 0 , Ch i c a g o , I L 6 0 6 0 2
        nature of the debtor's interest
          State the term remaining                        11/30/2018

          List the contract number of any government
          contract
                                                                                                                                                        Mi c h a e l i a n Ho m e In c , 1 2 1 5 t h Av e Ea s t , He n d e r s o n v i l l e , N C
 2.7861 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        28792
        nature of the debtor's interest
          State the term remaining                        03/05/2018

          List the contract number of any government
          contract
                                                                                                                                                        Mi c h e l Qu i n o n e s Ro d r i g u e z , Ad d r e s s Re d a c t e d
 2.7862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 9 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Mi c h i g a n Ev e r g r e e n Nu r s e r y In c , 1 0 8 4 5 La k e Mi c h i g a n Dr ,
 2.7863 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 We s t Ol i v e , M I 4 9 4 6 0

          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                        Mi c h i g a n Pe a t Co m p a n y, 2 2 4 3 Mi l f o r d St , Ho u s t o n , T X 7 7 0 9 8
 2.7864 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                        Mi c h i g a n Pe a t Co m p a n y, 2 2 4 3 Mi l f o r d St , Ho u s t o n , T X 7 7 0 9 8
 2.7865 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                        Mi c h i g a n We s t Sh o r e Nu r s e r y, 2 0 1 W Wa s h i n g t o n Av e , Su i t e
 2.7866 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        2 7 0 , Ze e l a n d , M I 4 9 4 6 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                        Mi c k m a n Br o t h e r s In c , 1 4 6 3 0 Hw y 6 5 Ne , Ha m La k e , M N
 2.7867 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        55304
        nature of the debtor's interest
          State the term remaining                        06/21/2018

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi c k y ' S Mi n i s - Fl r a Ex p , 1 2 3 4 5 Ed d i e & Pa r k , St . Lo u i s , M O
 2.7868 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63127
        nature of the debtor's interest
          State the term remaining                        02/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mi c r o Te c h n o l o g i e s L L C, 1 4 0 5 La u k a n t St , Re e d s b u r g , W I
 2.7869 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53959
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi c r o Te c h n o l o g i e s L L C, 1 4 0 5 La u k a n t St , Re e d s b u r g , W I
 2.7870 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          53959

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi c r o s o f t , On e Mi c r o s o f t Wa y, Re d m o n d , WA 9 8 0 5 2 - 6 3 9 9
 2.7871 State what the contract or lease is for and the
                                                          So f t w a r e , Mi c r o s o f t Pr e - Tr i a l C R M Li c e n s e
        nature of the debtor's interest
          State the term remaining                        01/18/2022 - 01/17/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Mi c r o s o f t , On e Mi c r o s o f t Wa y, Re d m o n d , WA 9 8 0 5 2 - 6 3 9 9
 2.7872 State what the contract or lease is for and the
                                                          So f t w a r e , Mi c r o s o f t Te a m s Ro o m s Pr o Li c e n s e
        nature of the debtor's interest
          State the term remaining                        11/16/2023 - 11/15/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d Co l u m b i a Pr o d u c e r s Tr u e Va l u e Hd w e . , Mi d Co l u m b i a
 2.7873 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 7 6 )
                                                                                                                                                                 Pr d c r s Tr u e Va l u e , 8 2 0 Hw y 2 0 6 , Wa s c o , O R 9 7 0 6 5 - 3 0 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d Po i n t Fe e d & Se e d , 1 9 7 4 4 Hw y 4 0 , Co v i n g t o n , L A 7 0 4 3 5 -
 2.7874 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 7 3 )
                                                                                                                                                                 9315
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d - s o u t h Lb r & Sp l y, 4 9 2 5 Hw y 6 1 S, Vi c k s b u r g , M S 3 9 1 8 0 -
 2.7875 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 4 0 )
                                                                                                                                                                 7318
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d a m e r i c a n En e r g y Se r v i c e s , L L C. , 4 2 9 9 Nw Ur b a n d a l e Dr ,
 2.7876 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Mi d Am e r i c a n En e r g y Se r v i c e s
                                                                                                                                                                 Ur b a n d a l e , I A 5 0 3 2 2
        nature of the debtor's interest                   Ma s t e r Se r v i c e Ag r e e m e n t - R S C, Ca r y, Ha r v a r d , Co r s i c a n a

          State the term remaining                        04/14/2022 - 04/13/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d a s - Li n Co Lt d - Im p o r t , 9 F1 , 1 2 8 Mi n Sh e n g Ea s t Rd ,
 2.7877 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ta i p e i , T W, Ta i w a n

          State the term remaining                        03/22/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d a s - Li n Co Lt d - Im p o r t , 9 F1 , 1 2 8 Mi n Sh e n g Ea s t Rd ,
 2.7878 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ta i p e i , T W, Ta i w a n

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d d l e At l a n t i c Wh o l e a s a l e Lu m b e r , 2 1 5 0 S Ne w k i r k St ,
 2.7879 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 1 )
                                                                                                                                                                 Ba l t i m o r e , M D 2 1 2 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d d l e b u r y Ag w a y Fa r m & Ga r d e n , 3 8 8 Ex c h a n g e St ,
 2.7880 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 6 7 )
                                                                                                                                                                 Mi d d l e b u r y, V T 0 5 7 5 3 - 1 1 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d e Pr o d u c t s , 5 3 8 5 0 No r t h Pa r k Av e , El k h a r t , I N 4 6 5 1 4
 2.7881 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d e a Am e r i c a Co r p / Im p o r t , 3 0 0 Ki m b a l l Dr , Pa r s i p p a n y, N J
 2.7882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07054
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d e a Am e r i c a Co r p / Im p o r t , 3 0 0 Ki m b a l l Dr , Pa r s i p p a n y, N J
 2.7883 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07054
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d e a In t e r n a t i o n a l Tr a d i n g Co Lt d , 3 9 / F, To w e r 6 , Th e
 2.7884 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ga t e a y Ha r b o u r Ci t y, Ts i m Sh a Ts u i , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d e a In t e r n a t i o n a l Tr a d i n g Co Lt d , 3 9 / F, To w e r 6 , Th e
 2.7885 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ga t e a y Ha r b o u r Ci t y, Ts i m Sh a Ts u i , Ko w l o o n , Ho n g Ko n g

          State the term remaining                        11/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d l a n d Me t a l Mf g . Co . , 1 2 1 9 Ly d i a Av e , Ka n s a s Ci t y, M O
 2.7886 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64106

          State the term remaining                        03/12/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d l a n d Tr u e Va l u e Ha r d w a r e , 4 6 2 7 Tr o o s t Av e , Ka n s a s Ci t y,
 2.7887 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 1 0 )
                                                                                                                                                                 MO 64110-1711
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d l a n d Tr u e Va l u e Hd w, 1 2 0 1 2 Bl u e Ri d g e Ex t , Gr a n d v i e w,
 2.7888 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 0 3 )
                                                                                                                                                                 MO 64030-1154
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d l a n d Tr u e Va l u e Hd w, 7 1 0 7 Pr o s p e c t Av e , Ka n s a s Ci t y, M O
 2.7889 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 6 6 )
                                                                                                                                                                 64132-1807
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d s t a t e s In c . , 1 7 7 4 We s t We s l e y Av e n u e , En g l e w o o d , C O
 2.7890 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 80110
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d s t a t e s In c . , 1 7 7 4 We s t We s l e y Av e n u e , En g l e w o o d , C O
 2.7891 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          80110

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d s t a t e s In c . , 1 7 7 4 We s t We s l e y Av e n u e , En g l e w o o d , C O
 2.7892 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80110
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d t o w n Ha r d w a r e , 4 3 1 1 E. 3 1 s t St r e e t , Tu l s a , O K 7 4 1 3 5 - 1 5 1 2
 2.7893 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ag Ce n t e r Tr u e Va l u e , 6 2 0 E 7 t h St , Pl a t t e , S D 5 7 3 6 9 -
 2.7894 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 6 9 )
                                                                                                                                                                 2114
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ai r Te c h , Mi d w e s t Ai r Te c h n o l o g i e s , 6 7 0 0 Wi l d l i f e
 2.7895 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 Wa y, Lo n g Gr o v e , I L 6 0 0 4 7
        nature of the debtor's interest
          State the term remaining                        09/08/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ai r Te c h / Im p o r t , 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L
 2.7896 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60047
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ai r Te c h n o l o g i e s , 6 7 0 0 Wi l d l i f e Wa y, Lo n g Gr o v e , I L
 2.7897 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60047
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ar b o r Co r p . , 1 7 0 0 Ho l i n Dr i v e , Sp r i n g Gr o v e , I L
 2.7898 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 5 )
                                                                                                                                                                 60081-7933
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ca n Co m p a n y, 1 0 8 0 0 W Be l m o n t , Fr a n k l i n Pa r k , I L
 2.7899 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60131

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d w e s t Ca n Co m p a n y, 1 0 8 0 0 W Be l m o n t , Fr a n k l i n Pa r k , I L
 2.7900 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60131

          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ca n Co m p a n y, 1 0 8 0 0 W Be l m o n t , Fr a n k l i n Pa r k , I L
 2.7901 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60131

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ca n Co m p a n y, 1 0 8 0 0 W Be l m o n t , Fr a n k l i n Pa r k , I L
 2.7902 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60131
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ca n Co m p a n y, 1 0 8 0 0 W Be l m o n t , Fr a n k l i n Pa r k , I L
 2.7903 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60131
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Cb k L L C, 3 2 0 5 7 6 4 t h Av e , Ca n n o n Fa l l s , M N 5 5 0 0 9
 2.7904 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/27/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Cb k L L C, 3 2 0 5 7 6 4 t h Av e , Ca n n o n Fa l l s , M N 5 5 0 0 9
 2.7905 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Di s t r i b u t i o n , 1 0 Ne Sk y l i n e Dr i v e , Le e s Su m m i t , M O
 2.7906 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64086

          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Di s t r i b u t i o n , 1 0 Ne Sk y l i n e Dr i v e , Le e s Su m m i t , M O
 2.7907 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64086

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d w e s t Di s t r i b u t i o n , 1 0 Ne Sk y l i n e Dr i v e , Le e s Su m m i t , M O
 2.7908 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64086

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Di s t r i b u t u i o n , Mi d w e s t Di s t r i b u t i o n , 1 0 Ne Sk y l i n e
 2.7909 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i v e , Le e s Su m m i t , M O 6 4 0 8 6
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t En t e r p r i s e s , P. O. Bo x 1 8 9 , 1 Wa g n e r In d Dr , St Cl a i r ,
 2.7910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MO 63077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t En t e r p r i s e s , P. O. Bo x 1 8 9 , 1 Wa g n e r In d Dr , St Cl a i r ,
 2.7911 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MO 63077
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t En t e r p r i s e s , P. O. Bo x 1 8 9 , 1 Wa g n e r In d Dr , St Cl a i r ,
 2.7912 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MO 63077
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Fa s t e n e r Co r p , 9 0 3 1 Sh a v e r Rd , Po r t a g e , M I 4 9 0 2 4
 2.7913 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Fo u n d a t i o n Su p p l y, 5 8 8 9 Ra y t o w n Ro a d , Ra y t o w n ,
 2.7914 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 6 4 )
        nature of the debtor's interest                                                                                                                          MO 64133-3318

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Gr o u n d c o v e r s L L C, Mi d w e s t Gr o u n d c o v e r s L L C, P. O.
 2.7915 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo x 7 4 8 , 6 N8 0 0 Il Ro u t e 2 5 , St Ch a r l e s , I L 6 0 1 7 4

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                     Mi d w e s t Ha r d w a r e As s o c i a t i o n , Db a Re t a i l Fi n a n c i a l Se r v i c e s ,
 2.7916 State what the contract or lease is for and the
                                                          As s i g n m e n t , Mi d w e s t Ha r d w a r e As s o c i a t i o n - Fi n a n c i a l s e r v i c e s
        nature of the debtor's interest                   a g r e e m e n t - Pa l a t i n e                                                                         2 0 1 Fr o n t e n a c Av e n u e , P. O. Bo x 8 0 3 3 , St e v e n s Po i n t , W I
                                                                                                                                                                     54481-8033
          State the term remaining                        03/15/2024

          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t Ha r d w a r e As s o c i a t i o n , Db a Re t a i l Fi n a n c i a l Se r v i c e s ,
 2.7917 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Mi d w e s t Ha r d w a r e As s o c i a t i o n -
                                                          MSA                                                                                                        2 0 1 Fr o n t e n a c Av e n u e , P. O. Bo x 8 0 3 3 , St e v e n s Po i n t , W I
        nature of the debtor's interest
                                                                                                                                                                     54481-8033
          State the term remaining                        03/15/2024 - 03/14/2029

          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t In n o v a t i v e Pr o d u c t s L L C, Mi d w e s t In n o v a t i v e
 2.7918 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                     Pr o d u c t s L L C, 3 2 2 5 Co r p o r a t e Dr i v e , Un i t C, Jo l i e t , I L 6 0 4 3 1
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 10/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t In n o v a t i v e Pr o d u c t s L L C, Mi d w e s t In n o v a t i v e
 2.7919 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                     Pr o d u c t s L L C, 3 2 2 5 Co r p o r a t e Dr i v e , Un i t C, Jo l i e t , I L 6 0 4 3 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t Lu m b e r & Su p p l y In c , 1 0 0 7 N Or a n g e , Bu t l e r , M O
 2.7920 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 0 4 )
                                                                                                                                                                     64730-9384
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7922 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                     Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7923 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7924 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7925 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Me t a l Pr o d u c t s , P. O. Bo x 1 0 3 1 , Mi n c i e , I N 4 7 3 0 5
 2.7926 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7927 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7928 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7929 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7930 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch i l l i c o t h e , M O 6 4 6 0 1

          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7931 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest
          State the term remaining                        07/02/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7932 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7933 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Qu a l i t y Gl o v e s , 8 3 5 In d u s t r i a l Rd , p O Bo x 2 6 0 ,
 2.7934 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i l l i c o t h e , M O 6 4 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Ta r g e t Co m p a n y, 1 1 0 3 S St a t e St , Li t c h f i e l d , I L 6 2 0 5 6
 2.7935 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Te c h n o l o g y Pr o d u c t s & Se r v i c e s , Mi d w e s t Te c h n o l o g y
 2.7936 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 8 )
                                                                                                                                                                 Pr o d u c t s , 2 6 0 0 Br i d g e p o r t Dr , Si o u x Ci t y, I A 5 1 1 1 1 - 1 0 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t To o l & Cu t l e r y Co , 1 2 5 0 Fe e h a n v i l l e Dr , Mo u n t
 2.7937 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t To o l & Cu t l e r y Co , 1 2 5 0 Fe e h a n v i l l e Dr , Mo u n t
 2.7938 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Tr a d i n g Ho r t i c u l t u r a l , P. O. Bo x 3 9 8 , 4 8 W8 0 5 Il Rt 6 4 ,
 2.7939 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma p l e Pa r k , I L 6 0 1 5 1
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi d w e s t Tr o p i c a l s In c , 4 9 3 Wr i g h t w o o d Av e , El m h u r s t , I L
 2.7940 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60126
        nature of the debtor's interest
          State the term remaining                        10/26/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Mi d w e s t Tr u e Va l u e Ha r d w a r e & Pa i n t , 2 5 3 8 E 7 9 t h St ,
 2.7941 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 6 )
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 4 9 - 5 1 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi k c o Bl d g Ma t e r i a l s , 1 7 9 Ch r y s t i e , Ne w Yo r k , N Y 1 0 0 0 2 -
 2.7942 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 4 3 )
                                                                                                                                                                 1202
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi k e s Tr u e Va l u e Ha r d w a r e , 5 4 0 Br o w n s w i t c h Rd , Sl i d e l l , L A
 2.7943 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 6 5 )
                                                                                                                                                                 70458-1104
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi k i s e L L C, Mi k i s e L L C, 3 3 1 7 S Hi g l e y Rd , Su i t e 1 1 4 - 2 9 5 ,
 2.7944 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Gi l b e r t , A Z 8 5 2 9 7

          State the term remaining                        04/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7945 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7946 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 994 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7948 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7949 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7950 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7951 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/15/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l a z z o In d u s t r i e s , 1 6 0 9 Ri v e r Rd , Pi t t s t o n , PA 1 8 6 4 0
 2.7952 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l f o r d Tr u e Va l u e Ha r d w a r e , 5 9 0 N Ma i n , Mi l f o r d , U T 8 4 7 5 1 -
 2.7953 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 3 3 )
                                                                                                                                                                 8001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l k Pr o d u c t s L L C, P. O. Bo x 1 5 0 , 4 3 5 E Ma i n St , Ch i l t o n , W I
 2.7954 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53014
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l k Pr o d u c t s L L C, P. O. Bo x 1 5 0 , 4 3 5 E Ma i n St , Ch i l t o n , W I
 2.7955 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 53014
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 995 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi l k Pr o d u c t s L L C, P. O. Bo x 1 5 0 , 4 3 5 E Ma i n St , Ch i l t o n , W I
 2.7956 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 53014
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l k Sp e c i a l t i e s In c , 1 3 1 0 Mi l w a u k e e Dr , Ne w Ho l s t e i n , W I
 2.7957 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53061
        nature of the debtor's interest
          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Cr e e k Lu m b e r , 2 5 2 0 S. Ma y Av e . , Ok l a h o m a Ci t y, O K
 2.7958 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 0 )
                                                                                                                                                                 73108
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Cr e e k Lu m b e r , 5 1 1 Se 8 9 t h St . , Ok l a h o m a Ci t y, O K 7 3 1 0 8
 2.7959 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Cr e e k Lu m b e r , 6 2 0 1 S. 1 2 9 t h E. Av e . , Br o k e n Ar r o w, O K
 2.7960 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 9 )
        nature of the debtor's interest                                                                                                                          74012

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Cr e e k Lu m b e r , 6 2 3 E. 1 6 t h St r e e t , We l l i n g t o n , K S 6 7 1 5 2
 2.7961 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Cr e e k Lu m b e r Pr o d u c t s In c , 1 7 2 0 Co u n t y Hw y 9 9 ,
 2.7962 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 1 )
                                                                                                                                                                 Ha l e y v i l l e , A L 3 5 5 6 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l Hi l l Fa r m Su p p l y, 1 6 1 Mi l l Hi l l Rd . , Wi l l i a m s b u r g , PA
 2.7963 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 1 )
                                                                                                                                                                 16693
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mi l l e n n i u m Lo c k In c , 3 7 7 6 Gr e e n b r i a r Dr , St a f f o r d , T X 7 7 4 7 7
 2.7964 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/12/2011

          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Fa r m s Nu r s e r y, 1 8 2 8 Ce n t r a l Av e , Mc k i n l e y v i l l e , C A
 2.7965 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 5 2 )
                                                                                                                                                     95519-3604
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r In d u s t r i a l , Ll c , 6 2 1 Ea s t De v o n Av e n u e , El k Gr o v e
 2.7966 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 4 )
                                                                                                                                                     Vi l l a g e , I L 6 0 0 0 7 - 6 7 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Mf g Co , 2 6 0 0 Ea g a n w o o d s Dr i v e , Su i t e 4 6 0 , Ea g a n ,
 2.7967 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              MN 55121

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Mf g Co , 2 6 0 0 Ea g a n w o o d s Dr i v e , Su i t e 4 6 0 , Ea g a n ,
 2.7968 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     MN 55121
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Pa i n t Co m p a n y, 1 2 8 1 2 Ne Wh i t a k e r Wa y, Po r t l a n d , O R
 2.7969 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 9 )
                                                                                                                                                     97230
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Tr u e Va l u e , 1 2 0 1 4 t h St Sw, Wa v e r l y, I A 5 0 6 7 7 - 4 3 2 2
 2.7970 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 5 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r Tr u e Va l u e Ha r d w a r e , 2 E Ne c e s s i t y Av e , Ha r r i s o n , A R
 2.7971 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 5 2 )
                                                                                                                                                     72601-4455
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mi l l e r Tr u e Va l u e Hd w e , 1 6 0 9 Mc Hw y 6 2 We s t , Ye l l v i l l e , A R
 2.7972 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 2 6 )
                                                                                                                                                     72687-7948
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r , L L C, 4 5 3 0 Fy l e r Av e , St . Lo u i s , M O 6 3 1 1 6
 2.7973 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r ' s Co u n t r y St o r e , 1 1 4 8 Ol d Tr a i l Rd , Cl a r k s Su m m i t , PA
 2.7974 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 6 )
        nature of the debtor's interest                                                                                                              18411

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r s Ha r d w a r e & Re n t a l , Mi l l e r ` s Ha r d w a r e A, 2 0 2 3 Me r c e r
 2.7975 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 2 )
        nature of the debtor's interest                                                                                                              Ne w Wi l m i n g t o n Ro a d , Ne w Wi l m i n g t o n , PA 1 6 1 4 2 - 2 0 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r s Tr u e Va l u e , 4 0 At l a n t i c Av e , Ly n b r o o k , N Y 1 1 5 6 3 - 3 0 2 4
 2.7976 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 7 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l e r v i l l e Co o p e r a t i v e , 1 6 5 2 3 Co u n t y Ro a d 7 Nw, Br a n d o n ,
 2.7977 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 9 )
                                                                                                                                                     MN 56315-8244
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l i n g t o n Ha r d w a r e , 8 5 5 6 St a t e St , Mi l l i n g t o n , M I 4 8 7 4 6 -
 2.7978 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 4 2 )
                                                                                                                                                     9446
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mi l l s Ha r d w a r e , 3 9 3 6 Ph e l a n Rd B1 , Ph e l a n , C A 9 2 3 7 1 - 4 1 4 3
 2.7979 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi l l s Ha r d w a r e , Mi l l s Tr u e Va l u e Ha r d w a r e , 2 0 9 Ca m p f i r e
 2.7980 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 4 1 )
                                                                                                                                                                 Ci r c l e , Br a n d o n , M S 3 9 0 4 7 - 7 6 7 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l l s Ir o n & Su p p l y Co , 1 9 1 9 S We s t w o o d Bl v d , Po p l a r Bl u f f ,
 2.7981 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 5 4 )
                                                                                                                                                                 MO 63901-6121
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7982 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7983 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7984 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7985 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7986 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l o r g a n i t e , 2 6 0 W Se e b o t h St , Mi l w a u k e e , W I 5 3 2 0 4
 2.7987 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi l s e k Fu r n i t u r e Po l i s h Co . , Mi l s e k Fu r n i t u r e Po l i s h Co , 1 3 5 1
 2.7988 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Qu a k e r Ci r c l e , Sa l e m , O H 4 4 4 6 0
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l s e k Fu r n i t u r e Po l i s h Co . , Mi l s e k Fu r n i t u r e Po l i s h Co , 1 3 5 1
 2.7989 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Qu a k e r Ci r c l e , Sa l e m , O H 4 4 4 6 0

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n In d u s t r i e s , 4 5 0 0 W Co r t l a n d , Ch i c a g o , I L 6 0 6 3 9
 2.7990 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n In d u s t r i e s , 4 5 0 0 W Co r t l a n d , Ch i c a g o , I L 6 0 6 3 9
 2.7991 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n In d u s t r i e s , 4 5 0 0 W Co r t l a n d , Ch i c a g o , I L 6 0 6 3 9
 2.7992 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n In d u s t r i e s , 4 5 0 0 W Co r t l a n d , Ch i c a g o , I L 6 0 6 3 9
 2.7993 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n Vi l l a g e Tr u e Va l u e Hd w, 5 4 Ad a m s St , Mi l t o n , M A
 2.7994 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 5 0 )
                                                                                                                                                                 02186-3412
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi l t o n - f r e e w a t e r Ra n c h & Ho m e Ll p . , Mi l t o n - f r e e w a t e r Ra n c h
 2.7995 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 3 )
                                                                                                                                                                 & Ho m e , 8 5 3 4 2 Hi g h w a y 1 1 , Mi l t o n - Fr e e w a t e r , O R 9 7 8 6 2 -
        nature of the debtor's interest
                                                                                                                                                                 7308
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1000 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi n e Sa f e t y Ap p l i a n c e s Co L L C, Mi n e Sa f e t y Ap p l i a n c e s Co
 2.7996 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 1 0 0 0 Cr a n b e r r y Wo o d s Dr i v e , Cr a n b e r r y Tw p , PA 1 6 0 6 6
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi n e r s Bl d g . Tr u e Va l u e , 3 1 9 E Ma i n St , As p e n , C O 8 1 6 1 1 -
 2.7997 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 0 3 )
        nature of the debtor's interest                                                                                                                          1929

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi n e r s Tr a d i n g Po s t Ha r d w a r e , 1 2 3 Ma r k e t St , Su n n y s i d e , U T
 2.7998 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 0 4 )
        nature of the debtor's interest                                                                                                                          84539-8001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi n o r s Ga r d e n Ct r s In c H& g s , 7 7 7 7 N 7 6 t h St , Mi l w a u k e e , W I
 2.7999 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 6 3 )
                                                                                                                                                                 53223-3911
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi n t X Co r p o r a t i o n , 2 0 4 8 1 1 9 t h St , Co l l e g e Po i n t , N Y 1 1 3 5 6
 2.8000 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mi n t X Co r p o r a t i o n , 2 0 4 8 1 1 9 t h St , Co l l e g e Po i n t , N Y 1 1 3 5 6
 2.8001 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi n w a x Co m p a n y, 1 0 Mo u n t a i n v i e w Rd , Su i t e A 3 Rd Fl o o r ,
 2.8002 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 Up p r Sa d d l Ri v r , N J 0 7 4 5 8
        nature of the debtor's interest
          State the term remaining                        10/07/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mi n w a x Co m p a n y, Th e , 1 0 1 W Pr o s p e c t Av e n u e , Cl e v e l a n d ,
 2.8003 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OH 44115

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1001 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi n w a x Co m p a n y, Th e , 1 0 1 W Pr o s p e c t Av e n u e , Cl e v e l a n d ,
 2.8004 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OH 44115

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Mi n w a x Co m p a n y, Th e , 1 0 1 W Pr o s p e c t Av e n u e , Cl e v e l a n d ,
 2.8005 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OH 44115

          State the term remaining                        04/01/2024 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Mi r a c l e Be a m Ma r k e t i n g In c , 9 4 0 1 De So t o Av e , Ch a t s w o r t h ,
 2.8006 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 91311
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Mi r a c l e Br a n d s L L C, 5 1 3 Re d Ri v e r Rd , Ga l l a t i n , T N 3 7 0 6 6
 2.8007 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mi r a c l e o f Al o e , 4 4 0 1 Di p l o m a c y Rd , Fo r t Wo r t h , T X 7 6 1 5 5
 2.8008 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi r a c l e o f Al o e , 4 4 0 1 Di p l o m a c y Rd , Fo r t Wo r t h , T X 7 6 1 5 5
 2.8009 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/30/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Mi r e l l a Pe n u n u r i Du a r t e , 1 6 De Se p t Y Gu l l e r m o Pr i e t o , L A
 2.8010 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 2 )
                                                                                                                                                                 Pa z , Ba j a Ca l i f o r n i a Su r , Me x i c o
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi s s o u r i Fl a t Tr u e Va l u e , 4 5 7 1 Mi s s o u r i Fl a t Rd , Pl a c e r v i l l e ,
 2.8011 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 1 8 )
        nature of the debtor's interest                                                                                                                          CA 95667-6824

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mi t c h e l l Ma r k e t i n g Gr o u p , 2 6 2 1 To w n e Dr i v e , Ca r m e l , I N
 2.8012 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          46032

          State the term remaining                        03/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Mi t e k Bu i l d e r Pr o d u c t s / Us p , 1 4 3 0 5 So u t h c r o s s Dr i v e , Su i t e
 2.8013 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          2 0 0 , Bu r n s v i l l e , M N 5 5 3 0 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mi t s u b i s h i Lo g i s n e x t Am e r i c a s , 2 1 2 1 W Sa m Ho u s t o n Pk w y N,
 2.8014 State what the contract or lease is for and the
                                                          Eq u i p m e n t Re p a i r , Mi t s u b i s h i Lo g i s n e x t Am e r i c a s Ma j o r
                                                          Ac c o u n t s Pr o g r a m M H E G& W Pa r t n e r                                                    Ho u s t o n , T X 7 7 0 4 3
        nature of the debtor's interest
          State the term remaining                        06/16/2023 - 06/15/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Mi z c o In t ' l , Mi z c o In t e r n a t i o n a l , 8 0 Es s e x Av e Ea s t , Av e n e l ,
 2.8015 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NJ 07001
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mj s i , In c , 2 0 5 Ea r l Ro a d Su i t e 3 , Sh o r e w o o d , I L 6 0 4 0 4
 2.8016 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mk Di a m o n d Pr o d u c t s , 1 3 1 5 St o r m Pa r k w a y, p . O. Bo x 2 8 0 3 ,
 2.8017 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To r r a n c e , C A 9 0 5 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mk Di a m o n d Pr o d u c t s , 1 3 1 5 St o r m Pa r k w a y, p . O. Bo x 2 8 0 3 ,
 2.8018 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          To r r a n c e , C A 9 0 5 0 9

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Mk Di a m o n d Pr o d u c t s , 1 3 1 5 St o r m Pa r k w a y, p . O. Bo x 2 8 0 3 ,
 2.8019 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 To r r a n c e , C A 9 0 5 0 9

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mk Di a m o n d Pr o d u c t s , 1 3 1 5 St o r m Pa r k w a y, p . O. Bo x 2 8 0 3 ,
 2.8020 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              To r r a n c e , C A 9 0 5 0 9

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Mm d Ho l d i n g s In c , 1 1 1 5 Cr o w l e y Dr i v e , Ca r r o l l t o n , T X 7 5 0 0 6
 2.8021 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Mm i x Te c h n o l o g i e s L L C, 1 4 4 4 Pi o n e e r Wa y, # 1 7 , El Ca j o n ,
 2.8022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     CA 92020
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     M N 1 4 t h St r e e t Ga r d e n Ce n t e r , 7 9 3 Je r s e y Av e n u e , Je r s e y Ci t y,
 2.8023 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 3 1 )
                                                                                                                                                     NJ 07310-1104
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Am a t o ' s Ga r d e n Ce n t e r , M N Am a t o ` s Ga r d e n Ce n t e r , 4 7
 2.8024 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 8 4 )
                                                                                                                                                     De a n s Rh o d e Ha l l Ro a d , Mo n m o u t h Ju n c t i o n , N J 0 8 8 5 2 - 3 0 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Be l m o n t Nu r s e r y, 7 7 3 0 E Be l m o n t Av e . , Fr e s n o , C A 9 3 7 3 7 -
 2.8025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 6 3 )
                                                                                                                                                     9718
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Be n s o n Lu m b e r & Ha r d w a r e , 2 0 Or c h a r d Vi e w Dr i v e ,
 2.8026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 5 0 )
        nature of the debtor's interest                                                                                                              Lo n d o n d e r r y, N H 0 3 0 5 3 - 3 3 6 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Bu c k s Co u n t r y Ga r d e n s , 1 0 5 7 No r t h Ea s t o n Ro a d ,
 2.8027 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 5 7 )
                                                                                                                                                     Do y l e s t o w n , PA 1 8 9 0 2 - 1 0 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M N Ch a p o n ' s Gr e e n h o u s e s & Su p p l y, In c . , M N Ch a p o n ` s
 2.8028 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 1 0 )
        nature of the debtor's interest                                                                                                              Gr e e n h o u s e s & Su , 4 8 4 6 St r e e t s Ru n Ro a d , Pi t t s b u r g h , PA
                                                                                                                                                     15236-1237
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Co p i a Ho m e & Ga r d e n , 4 7 5 Sm i t h Ri d g e Ro a d , So u t h
 2.8029 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 8 3 )
                                                                                                                                                     Sa l e m , N Y 1 0 5 9 0 - 2 6 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Da m b l y ' s Ga r d e n Ce n t e r , M N Da m b l y ` s Ga r d e n Ce n t e r , 5 1
 2.8030 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 3 6 )
                                                                                                                                                     We s t Fa c t o r y Ro a d , Be r l i n , N J 0 8 0 0 9 - 9 7 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N De e s ' Nu r s e r y & Fl o r i s t , M N De e s ` Nu r s e r y & Fl o r i s t , 6 9
 2.8031 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 4 5 )
                                                                                                                                                     At l a n t i c Av e , Oc e a n s i d e , N Y 1 1 5 7 2 - 2 0 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N De l a n e y ' s La n d s c a p e Ce n t e r , M N De l a n e y ` s La n d s c a p e
 2.8032 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 0 9 )
                                                                                                                                                     Ce n t e r , 4 0 5 1 4 Mt Hw y 3 5 , Po l s o n , M T 5 9 8 6 0 - 8 9 9 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e ' s Fl e e t w o o d , M N Es b e n s h a d e ` s Gr e e n h o u s e s ,
 2.8033 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 9 4 )
        nature of the debtor's interest                                                                                                              7 2 1 Pa r k Ro a d , Fl e e t w o o d , PA 1 9 5 2 2 - 8 7 4 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e ' s Li t i z , M N Es b e n s h a d e ` s Gr e e n h o u s e s I, 5 4 6 a
 2.8034 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 9 3 )
        nature of the debtor's interest                                                                                                              E 2 8 t h Di v i s i o n Hw y, Li t i t z , PA 1 7 5 4 3 - 9 7 6 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e ' s Mo h n t o n , M N Es b e n s h a d e ` s Gr e e n h o u s e s I,
 2.8035 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 9 5 )
                                                                                                                                                     1 7 4 9 Bo w m a n s v i l l e Ro a d , Mo h n t o n , PA 1 9 5 4 0 - 9 4 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M N Es b e n s h a d e s Ca l i f o r n i a , 3 1 8 9 E Ma n n i n g Av e n u e , Fo w l e r ,
 2.8036 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 2 6 )
                                                                                                                                                     CA 93625
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e s Co l o r a d o , 1 3 5 4 0 St a t e Hi g h w a y 1 1 5 , Pe n r o s e ,
 2.8037 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 9 6 )
                                                                                                                                                     CO 81240-9502
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e s De n v e r Pa , M N Es b e n s h a d e s Gr e e n h o u s e s , 5 0
 2.8038 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 7 0 )
                                                                                                                                                     De n v e r Ro a d , De n v e r , PA 1 7 5 1 7 - 9 3 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e s Ja c k s o n v i l l e , 5 6 3 8 Co m m o n w e a l t h Av e ,
 2.8039 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 1 )
                                                                                                                                                     Ja c k s o n v i l l e , F L 3 2 2 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e s Se l l e r s b u r g , M N Es b e n s h a d e s Gr e e n h o u s e s ,
 2.8040 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 9 )
                                                                                                                                                     2 1 0 0 Fu t u r e Dr i v e , Se l l e r s b u r g , I N 4 7 1 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Es b e n s h a d e s Te x a s , 2 9 5 1 Su f f o l k Dr St e 6 4 0 , Fo r t Wo r t h ,
 2.8041 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 4 )
        nature of the debtor's interest                                                                                                              TX 76133

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Fa n i c k ' s Ga r d e n Ce n t e r , M N Fa n i c k ` s Ga r d e n Ce n t e r , 1 0 2 5
 2.8042 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 0 7 )
                                                                                                                                                     Ho l m g r e e n Rd . , Sa n An t o n i o , T X 7 8 2 2 0 - 3 4 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ge n e ' s Ev e r g r e e n s , M N Ge n e ` s Ev e r g r e e n s , 2 5 2 0 Mo u n t a i n
 2.8043 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 1 6 )
                                                                                                                                                     Ro a d , Jo p p a , M D 2 1 0 8 5 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M N Go o d Ea r t h Ga r d e n Ma r k e t , 1 1 6 5 0 Fa l l s Ro a d , Po t o m a c ,
 2.8044 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 9 8 )
                                                                                                                                                     MD 20854-2821
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ha r m o n y Fa r m Su p p l y & Nu r s e r y, M N Ha r m o n y Fa r m
 2.8045 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 7 )
                                                                                                                                                     Su p p l y & Nu r s e , 3 2 4 4 Gr a v e n s t e i n Hw y No r t h , Se b a s t o p o l , C A
        nature of the debtor's interest
                                                                                                                                                     95472-2354
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ha r t ' s Gr e e n h o u s e & Fl o r i s t , M N Ha r t ` s Gr e e n h o u s e &
 2.8046 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 4 5 )
                                                                                                                                                     Fl o r i s t , 1 4 0 Be n n e t t Po n d Ro a d , Ca n t e r b u r y, C T 0 6 3 3 1 - 1 5 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Is l a n d Gr e e n e r y, 2 0 3 6 Be l l m o r e Av e n u e , Be l l m o r e , N Y
 2.8047 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 5 )
                                                                                                                                                     11710-5602
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Lo g a n ' s , M N Lo g a n ` s , 7 0 7 Se m a r t Dr i v e , Ra l e i g h , N C
 2.8048 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 1 9 )
        nature of the debtor's interest                                                                                                              27604-1158

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Lu r g a n Gr e e n h o u s e , 8 1 2 6 Oa k d a l e Rd , Or r s t o w n , PA
 2.8049 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 0 4 )
        nature of the debtor's interest                                                                                                              17244-9694

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ma r b l e h e a d Ga r d e n Ce n t e r , Ma r b l e h e a d Ga r d e n Ce n t e r ,
 2.8050 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 5 )
                                                                                                                                                     1 6 4 W. Sh o r e Dr. , Ma r b l e h e a d , M A 0 1 9 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ma y f l o w e r Ga r d e n s , 2 5 0 5 Ro c h e s t e r Ro a d , Ca n a n d a i g u a ,
 2.8051 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 3 5 )
                                                                                                                                                     NY 14424-8036
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M N Mo s t a r d i Nu r s e r y, 4 0 3 3 We s t Ch e s t e r Pi k e , Ne w t o w n
 2.8052 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 5 7 )
                                                                                                                                                     Sq u a r e , PA 1 9 0 7 3 - 2 2 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ne w En g l a n d Nu r s e r i e s , 2 1 6 Co n c o r d Ro a d , Be d f o r d , M A
 2.8053 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 7 0 )
                                                                                                                                                     01730-2049
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ou t d o o r Li v i n g & Wa t e r Ga r d e n s , M N Ou t d o o r Li v i n g &
 2.8054 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 2 2 )
                                                                                                                                                     Wa t e r Ga , 1 6 2 7 En g l i s h t o w n Ro a d , Ol d Br i d g e , N J 0 8 8 5 7 - 3 9 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ph a n t o m Ga r d e n e r Ii , 6 8 3 7 Ro u t e 9 , Rh i n e b e c k , N Y 1 2 5 7 2 -
 2.8055 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 4 3 )
                                                                                                                                                     3721
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Pi n e h u r s t Fl o r a l & Gr e e n h o u s e , M N Pi n e h u r s t Fl o r a l &
 2.8056 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 2 )
        nature of the debtor's interest                                                                                                              Gr e e n h o u , 4 1 0 1 Po l e Li n e Ro a d , Po c a t e l l o , I D 8 3 2 0 2 - 2 4 0 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ri v e r v i e w Nu r s e r y Ga r d e n Ce n t e r , M N Ri v e r v i e w Nu r s e r y
 2.8057 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 7 2 )
        nature of the debtor's interest                                                                                                              Ga r d e n Ce , 3 0 4 9 Pr i c e t o w n Ro a d , Te m p l e , PA 1 9 5 6 0 - 9 7 3 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Ro h s l e r ' s Al l e n d a l e Nu r s e r y, M N Ro h s l e r ` s Al l e n d a l e
 2.8058 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 4 1 )
                                                                                                                                                     Nu r s e r y, 1 0 0 Fr a n k l i n Tu r n p i k e , Al l e n d a l e , N J 0 7 4 0 1 - 2 2 3 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N St a n ' s Ga r d e n Ce n t e r , M N St a n ` s Ga r d e n Ce n t e r , 5 0 0 1
 2.8059 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 4 3 )
                                                                                                                                                     Bu f f a l o Ro a d , Er i e , PA 1 6 5 1 0 - 2 3 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     M N Tr a x Fa r m s , In c , M N Tr a x Fa r m s In c , 5 2 8 Tr a x Ro a d ,
 2.8060 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 8 4 )
                                                                                                                                                     Fi n l e y v i l l e , PA 1 5 3 3 2 - 9 6 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Va l l e y Vi e w Nu r s e r y, 1 6 7 5 N Va l l e y Vi e w Ro a d , As h l a n d ,
 2.8061 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 5 7 )
                                                                                                                                                     OR 97520-9328
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N We s t En d Nu r s e r y, 1 9 3 8 Fi f t h Av e , Sa n Ra f a e l , C A 9 4 9 0 1 -
 2.8062 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 4 4 )
                                                                                                                                                     1712
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N We s t e r n Ga r d e n Nu r s e r y, 2 7 5 6 Vi n e y a r d Av e , Pl e a s a n t o n ,
 2.8063 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 7 9 )
        nature of the debtor's interest                                                                                                              CA 94566-6322

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     M N Wi l s o n ' s Ga r d e n Ce n t e r , M N Wi l s o n ` s Ga r d e n Ce n t e r ,
 2.8064 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 5 5 )
        nature of the debtor's interest                                                                                                              1 0 9 2 3 La m b s La n e Ne , Ne w a r k , O H 4 3 0 5 5 - 8 8 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - Ge r l a c h ' s Ga r d e n & p o w e r Eq u i p m e n t Ce n t e r , Mn -
 2.8065 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 6 )
                                                                                                                                                     Ge r l a c h ` s Ga r d e n & p o w e r Eq , 3 1 6 1 We s t 3 2 n d St r e e t , Er i e , PA
        nature of the debtor's interest
                                                                                                                                                     16506-2815
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - b r e m e c Gr e e n h o u s e & Nu r s e r y, 1 2 2 6 5 Ch i l i c o t h e Ro a d ,
 2.8066 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 5 6 )
                                                                                                                                                     Ch e s t e r l a n d , O H 4 4 0 2 6 - 2 1 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - b r e m e c On Th e He i g h t s Ga r d e n Ce n t e r , Mn - b r e m e c On Th e
 2.8067 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 5 7 )
                                                                                                                                                     He i g h t s Ga r d e , 1 3 4 1 0 Ce d a r Ro a d , Cl e v e l a n d He i g h t s , O H
        nature of the debtor's interest
                                                                                                                                                     44118-2921
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mn - g a l e ' s We s t l a k e Ga r d e n Ce n t e r , In c . , Mn - g a l e ` s We s t l a k e
 2.8068 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 2 6 )
                                                                                                                                                     Ga r d e n Ce n t , 2 4 3 7 3 Ce n t e r Ri d g e Ro a d , We s t l a k e , O H 4 4 1 4 5 -
        nature of the debtor's interest
                                                                                                                                                     4201
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - g r o w i n g Gr o u n d s La w n & Ga r d e n , Mn - g r o w i n g Gr o u n d s
 2.8069 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 3 8 )
                                                                                                                                                     La w n & Ga r d , 1 6 1 0 S. Ma i n St r e e t , Bl o o m i n g t o n , I L 6 1 7 0 1 -
        nature of the debtor's interest
                                                                                                                                                     6764
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - h e i n z Br o t h e r s Gr e e n h o u s e Ga r d e n Ce n t e r , Mn - h e i n z
 2.8070 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 0 9 )
                                                                                                                                                     Br o t h e r s Gr e e n h o u s e G, 2 0 1 0 Ea s t Ma i n St r e e t , Sa i n t Ch a r l e s ,
        nature of the debtor's interest
                                                                                                                                                     IL 60174-2304
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - t h o l e n s ' La n d s c a p e & Ga r d e n Ce n t e r , Mn - t h o l e n s `
 2.8071 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 0 0 )
        nature of the debtor's interest                                                                                                              La n d s c a p e & Ga r d e n , 1 4 0 1 N. Co n v e n t , Bo u r b o n n a i s , I L
                                                                                                                                                     60914-1037
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mn - v i l l a g e Gr e e n Ho m e & Ga r d e n , 6 1 0 1 E. Ri v e r s i d e Bl v d . ,
 2.8072 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 3 7 )
        nature of the debtor's interest                                                                                                              Ro c k f o r d , I L 6 1 1 1 4 - 4 4 1 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo a n a Nu r s e r y, 1 1 0 0 W Mo a n a La n e , Re n o , N V 8 9 5 0 9 - 4 7 9 8
 2.8073 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 9 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo a n a Nu r s e r y, 1 1 3 0 1 S Vi r g i n i a St , Re n o , N V 8 9 5 1 1 - 8 9 2 0
 2.8074 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo a n a Nu r s e r y, 3 3 9 7 Py r a m i d Wa y, Sp a r k s , N V 8 9 4 3 1 - 1 1 3 4
 2.8075 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mo b i l e Mi n i In c , 4 6 4 6 E Va n Bu r e n St , Su i t e 4 0 0 , Ph o e n i x , A Z
 2.8076 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     85008
        nature of the debtor's interest
          State the term remaining                        08/01/2010

          List the contract number of any government
          contract
                                                                                                                                                     Mo b i l e g r o L L C, 2 3 1 8 E Hu r o n Ct , Gi l b e r t , A Z 8 5 2 3 4
 2.8077 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/02/2014

          List the contract number of any government
          contract
                                                                                                                                                     Mo d a At Ho m e En t e r p r i s e s Lt d , 1 4 0 Fe r n s t a f f Co u r t , Un i t s 1 - 2 ,
 2.8078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Va u g h a n , O N L4 K 3 L8 , Ca n a d a

          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Mo d a At Ho m e En t e r p r i s e s Lt d , 1 4 0 Fe r n s t a f f Co u r t , Un i t s 1 - 2 ,
 2.8079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Va u g h a n , O N L4 K 3 L8 , Ca n a d a

          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Mo d e r n Ha r d w a r e Pa i n t Co , 4 4 0 Sa l e m St r e e t , Me d f o r d , M A
 2.8080 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 8 )
                                                                                                                                                     02155
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo d e r n Ic e , 1 0 2 5 1 W Oa k l a n d Pa r k Bl v d , Su n r i s e , F L 3 3 3 5 1
 2.8081 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/23/2014

          List the contract number of any government
          contract
                                                                                                                                                     Mo d e r n Lu m b e r , 7 2 Ca n a l St , Pu t n a m , C T 0 6 2 6 0
 2.8082 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo d e r n Tr u e Va l u e Hd w e , 2 6 3 Ma i n St , Cl i n t w o o d , VA 2 4 2 2 8 -
 2.8083 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 4 0 )
                                                                                                                                                     1130
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo d e s t o Co l o r Ce n t e r In c . , 9 3 0 N Ca r p e n t e r Rd , Mo d e s t o , C A
 2.8084 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 2 )
                                                                                                                                                                 95351
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo d e s t o Tr u e Va l u e , 1 4 3 3 Co f f e e Rd , Mo d e s t o , C A 9 5 3 5 5 -
 2.8085 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 5 8 )
                                                                                                                                                                 3104
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo e n In c / Fa u c e t s , 2 5 3 0 0 Al Mo e n Dr i v e , No r t h Ol m s t e d , O H
 2.8086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44070

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo e n In c / Fa u c e t s , 2 5 3 0 0 Al Mo e n Dr i v e , No r t h Ol m s t e d , O H
 2.8087 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44070

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Mo e n In c / Fa u c e t s , 2 5 3 0 0 Al Mo e n Dr i v e , No r t h Ol m s t e d , O H
 2.8088 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44070
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo e n In c / Fa u c e t s , 2 5 3 0 0 Al Mo e n Dr i v e , No r t h Ol m s t e d , O H
 2.8089 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44070
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo e n In c / Fa u c e t s , 2 5 3 0 0 Al Mo e n Dr i v e , No r t h Ol m s t e d , O H
 2.8090 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44070
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mo h a w k , 3 0 3 2 Su g a r Va l l e y Rd N W, Su g a r Va l l e y, G A 3 0 7 4 6
 2.8091 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2010

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo h l e r ' s Tr u e Va l u e Ho m e Ce n t e r , Mo h l e r Tr u e Va l u e Ho m e
 2.8092 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 )
                                                                                                                                                                 Ce n t e r , 4 2 1 4 Po r t a g e St Nw, No r t h Ca n t o n , O H 4 4 7 2 0 - 7 3 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo l e c a t , 1 1 2 4 3 Be u t e l Rd , Or e g o n Ci t y, O R 9 7 0 4 5
 2.8093 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mo l l y & Yo u , 7 7 5 0 Ne Sp a n i s h Tr a i l Ct , Bo c a Ra t o n , F L 3 3 4 8 7
 2.8094 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mo m e n t u m Sa l e s & Ma r k e t i n g , 1 2 1 9 1 We s t Li n e b a u g h Av e n u e ,
 2.8095 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ta m p a , F L 3 3 6 2 6
        nature of the debtor's interest
          State the term remaining                        08/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Mo m m y s He l p e r In c , 5 9 2 0 E Ce n t r a l , Wi c h i t a , K S 6 7 2 0 8
 2.8096 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mo m m y s He l p e r In c , 5 9 2 0 E Ce n t r a l , Wi c h i t a , K S 6 7 2 0 8
 2.8097 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n a r c a Tr a d i n g S. a . , Bl v d De l Su r Se c t o r La Pu e r t a , At r a s De
 2.8098 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 2 )
                                                                                                                                                                 Ga s o l i n e r a Pu m a , Sa n Pe d r o Su l a , Ho n d u r a s
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n a r c h Ha r d w a r e Co m p a n y, Mo n a r c h Ha r d w a r e Co , 4 5 0 2
 2.8099 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 8 7 )
                                                                                                                                                                 Wa l n u t St , Ph i l a d e l p h i a , PA 1 9 1 3 9 - 4 5 8 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Mo n d a y. Co m , 3 4 W 1 4 t h St , Ne w Yo r k , N Y 1 0 0 1 1
 2.8100 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Mo n d a y. c o m M S A
        nature of the debtor's interest
          State the term remaining                        03/03/2023 - 03/02/2028

          List the contract number of any government
          contract
                                                                                                                                                                Mo n d a y. Co m , 3 4 W 1 4 t h St , Ne w Yo r k , N Y 1 0 0 1 1
 2.8101 State what the contract or lease is for and the
                                                          So f t w a r e , Mo n d a y. c o m An n u a l Li c e n s e Re n e w a l 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        03/09/2024 - 03/08/2025

          List the contract number of any government
          contract
                                                                                                                                                                Mo n d a y. Co m , 3 4 W 1 4 t h St , Ne w Yo r k , N Y 1 0 0 1 1
 2.8102 State what the contract or lease is for and the
                                                          So f t w a r e , Mo n d a y. c o m Do c Ex p o r t P D F Ge n e r a t o r
        nature of the debtor's interest
          State the term remaining                        07/17/2024 - 07/16/2025

          List the contract number of any government
          contract
                                                                                                                                                                Mo n d i Ba g s Us a L L C, Mo n d i Ba g s Us a L L C, P. O. Bo x 4 3 3 9 ,
 2.8103 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                3 2 0 1 Mc r a e Hi g h w a y, Ea s t m a n , G A 3 1 0 2 3
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                Mo n d o In t ' l , L L C ( Mo n d o ) , Mo n d o In t e r n a t i o n a l , L L C
 2.8104 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Mo n d o - Ag e n c y & Re c r u i t i n g Ag r e e m e n t
                                                                                                                                                                ( Mo n d o ) , 1 0 2 Ma d i s o n Av e n u e , 7 Th Fl o o r , Ne w Yo r k , N Y
        nature of the debtor's interest
                                                                                                                                                                10016
          State the term remaining                        01/10/2017 - 01/09/2027

          List the contract number of any government
          contract
                                                                                                                                                                Mo n g o o s e Pr o d u c t s In c , 1 1 5 Li s m o r e Av e , Gl e n s i d e , PA 1 9 0 3 8
 2.8105 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                Mo n r o v i a Nu r s e r y Co , P. O. Bo x 1 3 8 5 , Az u s a , C A 9 1 7 0 2
 2.8106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                Mo n s t e r Mo t o L L C, Mo n s t e r Mo t o L L C, 3 1 0 2 Oa k La w n Av e ,
 2.8107 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                         6 0 0 , Da l l a s , T X 7 5 2 1 9

          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo n t e Vi s t a Co o p , 1 9 0 1 E. Us Hw y 1 6 0 , Mo n t e Vi s t a , C O
 2.8108 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 9 5 )
                                                                                                                                                                 81144-9350
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e c i t o Tr u e Va l u e , Ra n c h o Mo n t e c i t o Tr u e Va l u e , 7 6 3
 2.8109 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 7 8 )
        nature of the debtor's interest                                                                                                                          Mo n t e c i t o Ct r , Sa n t a Ro s a , C A 9 5 4 0 9 - 2 9 1 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e c i t o Vi l l a g e Tr u e Va l u e Hd w, 1 4 7 0 E Va l l e y Rd St e a 1 ,
 2.8110 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 2 6 )
                                                                                                                                                                 Sa n t a Ba r b a r a , C A 9 3 1 0 8 - 1 2 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e g o Ba y Tr u e Va l u e , 1 2 8 2 7 Co a s t a l Hw y, Oc e a n Ci t y, M D
 2.8111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 2 7 )
                                                                                                                                                                 21842-4716
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e r e y La w n & Ga r d e n Pr o d , 3 7 4 4 E Wa w o n a Av e , Su i t e C,
 2.8112 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fr e s n o , C A 9 3 7 2 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e r e y La w n & Ga r d e n Pr o d , 3 7 4 4 E Wa w o n a Av e , Su i t e C,
 2.8113 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Fr e s n o , C A 9 3 7 2 5
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t e r e y La w n & Ga r d e n Pr o d , 3 7 4 4 E Wa w o n a Av e , Su i t e C,
 2.8114 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fr e s n o , C A 9 3 7 2 5
        nature of the debtor's interest
          State the term remaining                        11/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mo n t g o m e r y Tr u e Va l u e , 1 3 2 5 Rt 2 0 6 , Mo n t g o m e r y Sh o p p i n g
 2.8115 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 8 2 )
        nature of the debtor's interest                                                                                                                          Ce n t e r , Sk i l l m a n , N J 0 8 5 5 8 - 1 9 2 2

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mo n t g o m e r y s Bl d g Su p p l i e s In c , 1 0 0 Al l e n St , Wa r s a w, N Y
 2.8116 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 8 8 )
        nature of the debtor's interest                                                                                                              14569-1561

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t i c e l l o Ac e , 9 1 8 N. Ma i n St r e e t , Mo n t i c e l l o , I N 4 7 9 6 0 -
 2.8117 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 3 )
        nature of the debtor's interest                                                                                                              0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t i c e l l o Fa r m Ho m e & Ga r d e n , 4 2 0 Ro u t e 1 7 b , Mo n t i c e l l o ,
 2.8118 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 2 1 )
                                                                                                                                                     NY 12701-3554
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t i c e l l o Me r c Tr u e Va l u e , 8 0 So u t h Ma i n St r e e t , Mo n t i c e l l o ,
 2.8119 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 6 )
                                                                                                                                                     UT 84535-0307
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t i c e l l o Tr u e Va l u e , 2 1 5 So u t h Ch a r t e r , Mo n t i c e l l o , I L
 2.8120 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 2 )
                                                                                                                                                     61856
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t i c e l l o Tr u e Va l u e Ha r d w a r e , 2 1 5 S Ch a r t e r St , Mo n t i c e l l o ,
 2.8121 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 8 2 )
                                                                                                                                                     IL 61856-1854
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t o u r Tr u e Va l u e Ha r d w a r e , 1 5 0 3 Fi f t h Av e , Co r a o p o l i s , PA
 2.8122 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 4 )
        nature of the debtor's interest                                                                                                              15108-2027

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo n t p e l i e r Ag w a y, 1 9 0 Ea s t Mo n t p e l i e r Rd , Mo n t p e l i e r , V T
 2.8123 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 4 0 )
        nature of the debtor's interest                                                                                                              05602-8900

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Mo n t v a l e Ha r d w a r e & Pa i n t Su p p l y, Mo n t v a l e Ha r d w a r e &
 2.8124 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 1 )
        nature of the debtor's interest                                                                                                                  Pa i n t Su p p , 8 Ra i l r o a d Av e n u e , Mo n t v a l e , N J 0 7 6 4 5 - 2 1 1 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mo n t v i l l e Tr u e Va l u e Hd w. , 9 0 7 A No r w i c h Ne w Lo n d o n Tp k ,
 2.8125 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 5 6 )
                                                                                                                                                         Un c a s v i l l e , C T 0 6 3 8 2 - 1 9 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mo o d y s Ha r d w a r e , 1 9 0 5 8 Ma d i s o n , Sp r i n g h i l l , K S 6 6 0 8 3
 2.8126 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mo o n In t ' l In c . , Mo o n In t e r n a t i o n a l In c , 1 4 9 0 Ra i l r o a d St r e e t ,
 2.8127 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         Co r o n a , C A 9 2 8 8 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                         Mo o r e Cr e a t i v e Co m p a n y, P. O. Bo x 5 6 7 , Mo o r e s v i l l e , N C
 2.8128 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Mo o r e Cr e a t i v e Co m p a n y. - M S A -
                                                                                                                                                         28115
        nature of the debtor's interest                   Ca r y / Sh u r l i n e

          State the term remaining                        05/01/2023 - 04/30/2028

          List the contract number of any government
          contract
                                                                                                                                                         Mo o r e ' s Au t o m o t i v e , 2 0 0 S Ja m e s St , Gr a y l i n g , M I 4 9 7 3 8
 2.8129 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 6 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mo o r e s Tr u e Va l u e Ha r d w a r e , 1 3 5 2 9 Ke n t u c k y Rt e 8 0 , Ga r r e t t ,
 2.8130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 4 9 )
        nature of the debtor's interest                                                                                                                  KY 41630-0066

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Mo o r e s t o w n Tr u e Va l u e Ha r d w a r e , 3 0 0 Mi l l St , Mo o r e s t o w n ,
 2.8131 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 4 8 )
        nature of the debtor's interest                                                                                                                  NJ 08057-2522

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo r a v i a Tr u e Va l u e Ha r d w a r e , 1 0 2 Ma i n St , Mo r a v i a , N Y
 2.8132 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 9 8 )
        nature of the debtor's interest                                                                                                                          13118-3599

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo r n i n g De w Tr o p i c a l Pl a n t s , 6 0 1 No r t h Co n g r e s s Av e # 4 3 6 ,
 2.8133 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 De l r a y Be a c h , F L 3 3 4 4 5
        nature of the debtor's interest
          State the term remaining                        03/20/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mo r o v i s Lu m b e r Ya r d , Ll c , Mo r o v i s Lu m b e r Ya r d Ll c ,
 2.8134 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 5 )
                                                                                                                                                                 Ca r r e t e r a 1 5 5 Km 4 9 . 1 , Mo r o v i s , P R 0 0 6 8 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo r r i s o n Tr u e Va l u e , 1 0 4 S Ge n e s e e St r e e t , Mo r r i s o n , I L
 2.8135 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 5 )
                                                                                                                                                                 61270-2638
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo r r i s o n Tr u e Va l u e Hd w. , Mo r r i s o n Tr u e Va l u e Hd w, 3 0 1 N
 2.8136 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 4 4 )
                                                                                                                                                                 5 t h St , Al p i n e , T X 7 9 8 3 0 - 4 6 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo r r i s o n ' s Ho m e & Ga r d e n & Pe t Ce n t e r , 9 0 Lo n g Po n d Rd ,
 2.8137 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 0 )
                                                                                                                                                                 Pl y m o u t h , M A 0 2 3 6 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo r s e M K Co , P. O. Bo x 8 6 7 7 , Ca n t o n , O H 4 4 7 1 1
 2.8138 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Mo r t o n Sa l t In c , 1 2 3 N Wa c k e r Dr , Ch i c a g o , I L 6 0 6 0 6
 2.8139 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Mo r t o n Sa l t In c , 1 2 3 N Wa c k e r Dr , Ch i c a g o , I L 6 0 6 0 6
 2.8140 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Mo s a i c Co n s u l t i n g Gr o u p , 2 5 0 3 Eu g e n i a Av e , Na s h v i l l e , T N
 2.8141 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , Mo s a i c Co n s u l t i n g Gr o u p L L C M S A
                                                                                                                                                     37211
        nature of the debtor's interest
          State the term remaining                        10/15/2021 - 10/14/2026

          List the contract number of any government
          contract
                                                                                                                                                     Mo s c o w & Pu l l m a n Bu i l d i n g Su p p l y - Mo s c o w, Mo s c o w &
 2.8142 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 1 )
                                                                                                                                                     Pu l l m a n Bu i l d i n g Su p p , 7 6 0 N Ma i n , Mo s c o w, I D 8 3 8 4 3 - 8 5 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo s c o w Ag w a y, 1 0 0 Ma r k e t St . , Mo s c o w, PA 1 8 4 4 4
 2.8143 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo s e s Tr u e Va l u e , 1 0 0 7 E 1 s t St , De r i d d e r , L A 7 0 6 3 4 - 4 3 0 1
 2.8144 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 4 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo s s Tr u e Va l u e Ha r d w a r e , 2 0 0 Co m m e r c i a l Dr , Ta y l o r , T X
 2.8145 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 4 7 )
        nature of the debtor's interest                                                                                                              76574-1742

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo t h e r Ea r t h s Ag w a y, 3 5 0 El w o o d Ro a d , Ea s t No r t h p o r t , N Y
 2.8146 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 1 )
        nature of the debtor's interest                                                                                                              11731

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Mo t h e r s Po l i s h Co , 5 4 5 6 In d u s t r i a l Dr i v e , Hu n t i n g t o n Be a c h ,
 2.8147 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     CA 92649
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo t h e r s Po l i s h Co , 5 4 5 6 In d u s t r i a l Dr i v e , Hu n t i n g t o n Be a c h ,
 2.8148 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92649
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t h e r s Po l i s h Co , 5 4 5 6 In d u s t r i a l Dr i v e , Hu n t i n g t o n Be a c h ,
 2.8149 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92649
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t h e r s Po l i s h Co , 5 4 5 6 In d u s t r i a l Dr i v e , Hu n t i n g t o n Be a c h ,
 2.8150 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 92649
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo t l e y Ha r d w a r e , 1 1 7 Hi g h w a y 1 0 So u t h , Mo t l e y, M N 5 6 4 6 6
 2.8151 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo t o m c o Lt d , 3 6 9 9 Ki n s m a n Bl v d , Ma d i s o n , W I 5 3 7 0 4
 2.8152 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t o m c o Lt d , 3 6 9 9 Ki n s m a n Bl v d , Ma d i s o n , W I 5 3 7 0 4
 2.8153 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo t o m c o Lt d , 3 6 9 9 Ki n s m a n Bl v d , Ma d i s o n , W I 5 3 7 0 4
 2.8154 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo t o r o l a / Ac s In c , 6 4 7 Bl a c k h a w k Dr , We s t m o n t , I L 6 0 5 5 9
 2.8155 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mo t s e n b o c k e r Li f t - Of f , P. O. Bo x 9 0 9 4 7 , 4 9 0 1 Mo r e n a Bl v d
 2.8156 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 St e : 8 0 6 , Sa n Di e g o , C A 9 2 1 1 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo t s e n b o c k e r Li f t - Of f , P. O. Bo x 9 0 9 4 7 , 4 9 0 1 Mo r e n a Bl v d
 2.8157 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St e : 8 0 6 , Sa n Di e g o , C A 9 2 1 1 7
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t u s , L L C. , 6 0 So u t h St , Bo s t o n , M A 0 2 1 1 1
 2.8158 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Mo t u s Fl e e t F AV R Co n t r a c t
        nature of the debtor's interest
          State the term remaining                        01/01/2022 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t u s , L L C. , 6 0 So u t h St , Bo s t o n , M A 0 2 1 1 1
 2.8159 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Mo t u s Fl e e t F AV R Co n t r a c t Ad d e n d u m
        nature of the debtor's interest
          State the term remaining                        12/06/2021 - 12/05/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mo t u s , L L C. , 6 0 So u t h St , Bo s t o n , M A 0 2 1 1 1
 2.8160 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Mo t u s Fl e e t F AV R Co n t r a c t Ad d e n d u m -
        nature of the debtor's interest                   Co n t i n u o u s M V R

          State the term remaining                        02/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mo u n d Ho u s e Tv Ha r d w a r e & St o r a g e , Mo u n d Ho u s e T V
 2.8161 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 6 3 )
        nature of the debtor's interest                                                                                                                          Ha r d w a r e & St o r a g e , 1 0 1 8 9 Hw y 5 0 Ea s t , Ca r s o n Ci t y, N V
                                                                                                                                                                 89706-7440
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo u n d Tr u e Va l u e Ha r d w a r e & Pa i n t , 2 2 5 0 Co m m e r c e Bl v d ,
 2.8162 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 8 )
                                                                                                                                                                 Mo u n d , M N 5 5 3 6 4 - 1 5 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mo u n t Be t h e l Tr u e Va l u e Ha r d w a r e , Mo u n t Be t h e l Tr u e Va l u e
 2.8163 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 0 3 )
                                                                                                                                                                 Ha r d w a , 2 1 6 5 Mo u n t Be t h e l Hi g h w a y, Mo u n t Be t h e l , PA
        nature of the debtor's interest
                                                                                                                                                                 18343-9800
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Mo u n t Id a Tr u e Va l u e Ho m e Ce n t e r , 2 2 3 Hw y 2 7 0 We s t , Mo u n t
 2.8164 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 0 )
                                                                                                                                                             Id a , A R 7 1 9 5 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t Ne b o , 1 2 5 Mc a l e e r , Se w i c k l e y, PA 1 5 1 4 3
 2.8165 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t Pr o s p e c t Pa i n t , 5 0 0 W. No r t h w e s t Hw y, Mo u n t Pr o s p e c t ,
 2.8166 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 0 )
                                                                                                                                                             IL 60056-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t a i n Fe e d & Fa r m , 9 5 5 0 Hw y 9 , Be n Lo m o n d , C A 9 5 0 0 5
 2.8167 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t a i n Ha r d w a r e , 9 3 8 5 La v e n d e r Co u r t , Pa r k e r , C O 8 0 1 3 8 -
 2.8168 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 7 )
        nature of the debtor's interest                                                                                                                      7839

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t a i n Ha r d w a r e & Sp o r t s In c . , 1 1 3 2 0 Do n n e r Pa s s Rd ,
 2.8169 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 0 1 )
                                                                                                                                                             Tr u c k e e , C A 9 6 1 6 1 - 4 9 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo u n t a i n Su p p l y Tr u e Va l u e , 3 4 2 9 Mo u n t a i n Vi e w Bl v d , An g e l
 2.8170 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 2 )
                                                                                                                                                             Fi r e , N M 8 7 7 1 0 - 9 9 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Mo z i l o r Li m i t e d , 3 Wa r r e n Ya r d , Wa r r e n Pa r k , Wo l v e r t o n Mi l l ,
 2.8171 State what the contract or lease is for and the
                                                          So f t w a r e , Mo z i l o r Li m i t e d – We b t o f f e e Pr o d u c t Im p o r t Ex p o r t
                                                          Pl u g i n 2 0 2 4                                                                                 Mi l t o n Ke y n e s , M K1 2 5 N W, Un i t e d Ki n g d o m
        nature of the debtor's interest
          State the term remaining                        06/07/2024 - 06/06/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mp e c , 3 0 3 Wa t e r To w e r Dr i v e , Ki n c h e l o e , M I 4 9 7 8 8
 2.8172 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mp e c , 6 9 7 6 S M 2 2 1 , Br i m l e y, M I 4 9 7 1 5
 2.8173 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ba r B Q Pr o d u c t s L L C, 1 0 Co m m e r c e Dr , Ha u p p a u g e , N Y
 2.8174 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11788
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 08/01/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ba r B Q Pr o d u c t s L L C, 1 0 Co m m e r c e Dr , Ha u p p a u g e , N Y
 2.8175 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 11788

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ba r B Q Pr o d u c t s L L C, 1 0 Co m m e r c e Dr , Ha u p p a u g e , N Y
 2.8176 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          11788

          State the term remaining                        01/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ba r B Q Pr o d u c t s L L C, 1 0 Co m m e r c e Dr , Ha u p p a u g e , N Y
 2.8177 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 11788
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ba r B Q Pr o d u c t s L L C, 1 0 Co m m e r c e Dr , Ha u p p a u g e , N Y
 2.8178 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 11788
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Be a m s / Wi r e l e s s En v i r o n m e n t L L C, Mr Be a m s / Wi r e l e s s
 2.8179 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 En v i r o n m e n t L L C, 6 0 0 Be t a Dr i v e , Su i t e 1 0 0 , Ma y f i e l d
        nature of the debtor's interest
                                                                                                                                                                 Vi l l a g e , O H 4 4 1 4 3
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mr Be a m s / Wi r e l e s s En v i r o n m e n t L L C, Mr Be a m s / Wi r e l e s s
 2.8180 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 En v i r o n m e n t L L C, 6 0 0 Be t a Dr i v e , Su i t e 1 0 0 , Ma y f i e l d
        nature of the debtor's interest
                                                                                                                                                                 Vi l l a g e , O H 4 4 1 4 3
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Be a m s / Wi r e l e s s En v i r o n m e n t L L C, Mr Be a m s / Wi r e l e s s
 2.8181 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 En v i r o n m e n t L L C, 6 0 0 Be t a Dr i v e , Su i t e 1 0 0 , Ma y f i e l d
        nature of the debtor's interest                   Ag r e e m e n t ( s )
                                                                                                                                                                 Vi l l a g e , O H 4 4 1 4 3
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Be a m s / Wi r e l e s s En v i r o n m e n t L L C, Mr Be a m s / Wi r e l e s s
 2.8182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 En v i r o n m e n t L L C, 6 0 0 Be t a Dr i v e , Su i t e 1 0 0 , Ma y f i e l d
        nature of the debtor's interest                   Ag r e e m e n t ( s )
                                                                                                                                                                 Vi l l a g e , O H 4 4 1 4 3
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Be a m s / Wi r e l e s s En v i r o n m e n t L L C, Mr Be a m s / Wi r e l e s s
 2.8183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 En v i r o n m e n t L L C, 6 0 0 Be t a Dr i v e , Su i t e 1 0 0 , Ma y f i e l d
                                                                                                                                                                 Vi l l a g e , O H 4 4 1 4 3
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ch a i n , P. O. Bo x 1 5 8 4 , 1 0 0 E Bi g Be a v e r Rd , Tr o y, M I
 2.8184 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 48099
        nature of the debtor's interest
          State the term remaining                        04/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Ch r i s t m a s In c , 6 0 4 5 Ea s t Sh e l b y Dr i v e , St e 2 , Me m p h i s , T N
 2.8185 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 38141
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr He a t e r Co r p , 4 5 6 0 W 1 6 0 t h St , Cl e v e l a n d , O H 4 4 1 3 5
 2.8186 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr He a t e r Co r p , 4 5 6 0 W 1 6 0 t h St , Cl e v e l a n d , O H 4 4 1 3 5
 2.8187 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mr He a t e r In c , 4 5 6 0 W 1 6 0 t h St , Cl e v e l a n d , O H 4 4 1 3 5
 2.8188 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mr Lo n g a r m In c , P. O. Bo x 3 7 7 , 4 0 0 Wa l n u t St , Gr e e n w o o d ,
 2.8189 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MO 64034
        nature of the debtor's interest
          State the term remaining                        10/17/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Mr Lo n g a r m In c , P. O. Bo x 3 7 7 , 4 0 0 Wa l n u t St , Gr e e n w o o d ,
 2.8190 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MO 64034

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Mr t La w n & Ga r d e n Ce n t e r , 2 7 7 5 El Jo b e a n Ro a d , Po r t
 2.8191 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 4 )
        nature of the debtor's interest                                                                                                                          Ch a r l o t t e , F L 3 3 9 5 3 - 5 7 4 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ms c Me d i t e r r a n e a n Sh i p p i n g Co m p a n y, 7 0 0 Wa t e r m a r k Bl v d ,
 2.8192 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , M S C Me d i t e r r a n e a n Sh i p p i n g
                                                          Oc e a n Fr e i g h t Ag r e e m e n t 2 0 2 4                                                         Mt . Pl e a s a n t , S C 2 9 4 6 4
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ms k Tr u e Va l u e , 2 2 5 Ne Fi r s t Av e , My r t l e Cr e e k , O R 9 7 4 5 7 -
 2.8193 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 9 8 )
                                                                                                                                                                 9062
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ms k Tr u e Va l u e Bu i l d i n g Su p p l y, 1 0 2 S Ol d Pa c i f i c Hw y,
 2.8194 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 5 0 )
                                                                                                                                                                 My r t l e Cr e e k , O R 9 7 4 5 7 - 9 7 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt . Au k u m St o r e , 8 0 8 0 Mt . Au k u m Rd . , Mt . Au k u m , C A 9 5 6 5 6 -
 2.8195 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 8 0 )
                                                                                                                                                                 9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mt d Pr o d u c t s Co m p a n y, 5 9 0 3 Gr a f t o n Rd , Va l l e y Ci t y, O H
 2.8196 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44280
        nature of the debtor's interest
          State the term remaining                        03/21/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Mt d Pr o d u c t s In c , Mt d Pr o d u c t s Co m p a n y, 5 9 0 3 Gr a f t o n Rd ,
 2.8197 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Va l l e y Ci t y, O H 4 4 2 8 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d Pr o d u c t s In c , Mt d Pr o d u c t s Co m p a n y, 5 9 0 3 Gr a f t o n Rd ,
 2.8198 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Va l l e y Ci t y, O H 4 4 2 8 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8199 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8200 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8201 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8202 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8203 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Mt d So u t h w e s t , 6 9 7 8 E Ce n t u r y Pa r k Dr , Tu c s o n , A Z 8 5 7 0 6
 2.8204 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                              Mu e l l e r In d u s t r i e s , 2 0 2 1 Lu n t Av e , El k Gr o v e Vl g . , I L 6 0 0 0 7
 2.8205 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                              Mu e l l e r Me t a l s L L C, Mu e l l e r Me t a l s L L C, 2 1 5 2 Sc h w a r t z Rd ,
 2.8206 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       Sa n An g e l o , T X 7 6 9 0 4

          State the term remaining                        12/01/2010

          List the contract number of any government
          contract
                                                                                                                                                              Mu l c h Ma n u f a c t u r i n g , 6 7 4 7 Ta y l o r Ro a d S W, Re y n o l d s b u r g ,
 2.8207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              OH 43068
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                              Mu l e s o f t L L C, Mu l e s o f t L L C, 5 0 0 Fr e e m o n t St r e e t , Su i t e 3 0 0 ,
 2.8208 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Mu l e So f t L L C Pr o f e s s i o n a l Se r v i c e s
                                                          Ag r e e m e n t                                                                                    Sa n Fr a n c i s c o , C A 9 4 1 0 5
        nature of the debtor's interest
          State the term remaining                        01/28/2020 - 01/27/2025

          List the contract number of any government
          contract
                                                                                                                                                              Mu l e s o f t L L C, Mu l e s o f t L L C, 5 0 0 Fr e e m o n t St r e e t , Su i t e 3 0 0 ,
 2.8209 State what the contract or lease is for and the
                                                          So f t w a r e , Mu l e So f t Ma s t e r Su b s c r i p t i o n Ag r e e m e n t
                                                                                                                                                              Sa n Fr a n c i s c o , C A 9 4 1 0 5
        nature of the debtor's interest
          State the term remaining                        12/20/2019 - 12/19/2024

          List the contract number of any government
          contract
                                                                                                                                                              Mu l h a l l s Nu r s e r y In c H& g s , 3 6 1 5 N 1 2 0 t h St , Om a h a , N E
 2.8210 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 5 2 6 )
                                                                                                                                                              68164-2518
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Mu l l i n s Ha r d w a r e Co m p a n y, In c . , Mu l l i n s Ha r d w a r e Co m p a n y
 2.8211 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 5 5 4 )
                                                                                                                                                              In c , 3 0 4 Ga p w a y St , Mu l l i n s , S C 2 9 5 7 4 - 3 0 1 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mu l q u e e n ' s Tr u e Va l u e Ha r d w a r e , Mu l q u e e n ` s Tr u e Va l u e
 2.8212 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 3 7 )
                                                                                                                                                                 Ha r d w a r e , 1 2 3 We s t Ma i n St r e e t , Sp r i n g Gr o v e , M N 5 5 9 7 4 -
        nature of the debtor's interest
                                                                                                                                                                 1276
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i Ce n t e r Se r v i s t a r , Mu l t i - c e n t e r Se r v i s t a r , Av Ba n z e r Km
 2.8213 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 6 4 )
        nature of the debtor's interest                                                                                                                          2 - 1 / 2 , Ca s i l l a 3 1 3 8 Sa n t a Cr u z

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i Sh a r p To o l s , Hy d e Ho u s e , Tb e Hy d e , Lo n d o n , Un i t e d
 2.8214 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ki n g d o m

          State the term remaining                        12/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i c h a n n e l So l u t i o n s L L C, Mu l t i c h a n n e l So l u t i o n s L L C,
 2.8215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 5 1 0 E Su n s e t Rd , Su i t e 5 - 1 5 , La s Ve g a s , N V 8 9 1 2 0
        nature of the debtor's interest
          State the term remaining                        06/06/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i c o l o r Sp e c i a l t i e s In c , 1 5 3 2 So u t h 5 0 Th Co u r t , Ci c e r o , I L
 2.8216 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60804
        nature of the debtor's interest
          State the term remaining                        09/18/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8218 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ea s t Ru t h e r f o r d , N J 0 7 0 7 3

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8221 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ea s t Ru t h e r f o r d , N J 0 7 0 7 3

          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8222 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8223 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8224 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8225 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8226 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8227 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ea s t Ru t h e r f o r d , N J 0 7 0 7 3

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mu l t i p e t In t ' l , Mu l t i p e t In t e r n a t i o n a l , 5 5 Ma d i s o n Ci r c l e Dr i v e ,
 2.8228 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ea s t Ru t h e r f o r d , N J 0 7 0 7 3

          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t i q u i p In c . , Mu l t i q u i p In c , 6 1 4 1 Ka t e l l a Av e , St e 2 0 0 ,
 2.8229 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cy p r e s s , C A 9 0 6 3 0

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t y Ho m e Lp , 7 9 0 0 Ke e l e St , Su i t e 1 0 0 , Co n c o r d , O N L4 K
 2.8230 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 A3 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t y Ho m e Lp , 7 9 0 0 Ke e l e St , Su i t e 1 0 0 , Co n c o r d , O N L4 K
 2.8231 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 2 A3 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t y Ho m e Lp , 7 9 0 0 Ke e l e St , Su i t e 1 0 0 , Co n c o r d , O N L4 K
 2.8232 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 A3 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        08/24/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Mu l t y Ho m e Lp , 7 9 0 0 Ke e l e St , Su i t e 1 0 0 , Co n c o r d , O N L4 K
 2.8233 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 2 A3 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu n r o Bu i l d e r s Su p p l y & Ac e Ha r d w a r e , 1 0 3 Ma i n Av e We s t ,
 2.8234 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 4 )
        nature of the debtor's interest                                                                                                                          Ro l l a , N D 5 8 3 6 7 - 7 1 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu n s o n Tr u e Va l u e , 5 6 6 2 St a t e Hw y 7 , On e o n t a , N Y 1 3 8 2 0 -
 2.8235 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 7 4 )
        nature of the debtor's interest                                                                                                                          3659

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Mu r p h y s Na t u r a l s In c , 1 0 5 3 E Wh i t a k e r Mi l l Rd , Ra l e i g h , N C
 2.8236 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27604

          State the term remaining                        04/13/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Mu r r a y Tr u e Va l u e Ho m e & Au t o Hd w e . , Mu r r a y Tr u e Va l u e
 2.8237 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 0 2 )
                                                                                                                                                                 Ho m e & Au t o Hd w e , 9 7 2 Ch e s t n u t St , Mu r r a y, K Y 4 2 0 7 1 - 1 9 6 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu r r y ' s Tr u e Va l u e Ha r d w a r e , 4 2 1 4 Av e n u e D, Br o o k l y n , N Y
 2.8238 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 3 )
                                                                                                                                                                 11203
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu s i c o f Th e Sp h e r e s Tm , Mu s i c Of Th e Sp h e r e s Tm , Bo x
 2.8239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 3 0 3 9 , Au s t i n , T X 7 8 7 6 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Mu s t a n g Tr u c k Pa r t s , 1 8 0 0 S Us 3 8 5 , An d r e w s , T X 7 9 7 1 4
 2.8240 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Mu t u a l In d u s t r i e s , 7 0 7 We s t Gr a n g e St , Ph i l a d e l p h i a , PA 1 9 1 2 0
 2.8241 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/25/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Mv p Br a n d s In t Db a Co l o n i a l Ca n d l e , 1 0 3 1 Le g r a n d Bl v d ,
 2.8242 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch a r l e s t o n , S C 2 9 4 9 2

          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 My l e s In t ' l , 9 2 0 0 Ru e Me i l l e u r , Su i t e 2 0 0 , Mo n t r e a l , Q C H2 N
 2.8243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 2 A9 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     My p i l l o w In c , 3 4 3 E 8 2 Nd St , Su i t e 1 0 2 , Ch a s k a , M N 5 5 3 1 8
 2.8244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     My t e k In t ' l In c / La g o o , My t e k In t ' L In c / La g o o , 4 0 1 5 Al l e n
 2.8245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sc h o o l Rd , Bo n i t a , C A 9 1 9 0 2
        nature of the debtor's interest
          State the term remaining                        06/28/2017

          List the contract number of any government
          contract
                                                                                                                                                     Na k o m a Pr o d u c t s L L C, Na k o m a Pr o d u c t s L L C, 1 3 0 0 E No r t h
 2.8246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     St , Co a l Ci t y, I L 6 0 4 1 6
        nature of the debtor's interest
          State the term remaining                        04/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Na k o m a Pr o d u c t s L L C, Na k o m a Pr o d u c t s L L C, 1 3 0 0 E No r t h
 2.8247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     St , Co a l Ci t y, I L 6 0 4 1 6
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Na k o m a Pr o d u c t s L L C, Na k o m a Pr o d u c t s L L C, 1 3 0 0 E No r t h
 2.8248 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     St , Co a l Ci t y, I L 6 0 4 1 6
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Na l ' s Pa i n t Ce n t e r , 3 1 5 Br o o k s St r e e t , Wo r c e s t e r , M A 0 1 6 0 6
 2.8249 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na m e Br a n d Li q u i d a t i o n s In c . , 1 6 0 0 Hi g h w a y 3 1 5 Bl v d , Wi l k e s
 2.8250 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 4 )
        nature of the debtor's interest                                                                                                              Ba r r e , PA 1 8 7 0 2 - 7 1 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na m p a Tr u e Va l u e , 4 2 1 1 2 t h Av e n u e Ro a d , Na m p a , I D 8 3 6 8 6 -
 2.8251 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 4 5 )
                                                                                                                                                     1200
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                   Page 1032 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Na n t u c k e t Sp i d e r L L C, Na n t u c k e t Sp i d e r L L C, P. O. Bo x 5 3 6 ,
 2.8252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     4 9 Li b e r t y St , Wi l t o n , C T 0 6 8 9 7
        nature of the debtor's interest
          State the term remaining                        03/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Na p a Au t o Pa r t s , 1 2 0 N Co l o n y St , Wa l l i n g f o r d , C T 0 6 4 9 2
 2.8253 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na p a Tr u e Va l u e Bl d r s Sp l y, 2 5 9 0 Je f f e r s o n St , Na p a , C A
 2.8254 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 7 5 )
                                                                                                                                                     94558-4933
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na p c o Ma r k e t i n g Co r p , 7 8 0 0 Ba y b e r r y Ro a d , Ja c k s o n v i l l e , F L
 2.8255 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     32256
        nature of the debtor's interest
          State the term remaining                        06/18/2007

          List the contract number of any government
          contract
                                                                                                                                                     Na p e r v i l l e Ac e Ha r d w a r e , 1 2 1 2 S Na p e r Bl v d St e 1 1 7 ,
 2.8256 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 4 )
                                                                                                                                                     Na p e r v i l l e , I L 6 0 5 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na r i t a Tr a d i n g , 1 5 4 Mo r g a n Av e , Br o o k l y n , N Y 1 1 2 3 7
 2.8257 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Na s s a u Me r c h a n d i s i n g , 8 Al b a n y Av e , Na s s a u , N Y 1 2 1 2 3 - 3 3 0 1
 2.8258 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 0 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na t i o n a l Di s t r i b u t i o n Ce n t e r s , L L C, Na t i o n a l Di s t r i b u t i o n
 2.8259 State what the contract or lease is for and the
                                                          Go o d s Pu r c h a s e , N F I Pu b l i c Wa r e h o u s i n g Ag r e e m e n t
                                                                                                                                                     Ce n t e r s , L L C, 1 5 1 5 Bu r n t Mi l l Ro a d , Ch e r r y Hi l l , N J 0 8 0 0 3
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2025

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t i o n a l Di s t r i b u t i o n Ce n t e r s , L L C, Na t i o n a l Di s t r i b u t i o n
 2.8260 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , N F I Pu b l i c Wa r e h o u s e Ag r e e m e n t
                                                                                                                                                                 Ce n t e r s , L L C, 1 5 1 5 Bu r n t Mi l l Ro a d , Ch e r r y Hi l l , N J 0 8 0 0 3
        nature of the debtor's interest
          State the term remaining                        11/01/2017 - 10/31/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Dr a i n a g e , 1 7 1 7 1 6 Th St Ne , 3 Rd Fl o o r , Wi l l m a r , M N
 2.8261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 56201
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Eq u i p m e n t Re g i s t e r , 5 4 5 Wa s h i n g t o n Bl v d , Je r s e y
 2.8262 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ci t y, N J 0 7 3 1 0
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Ma i n t e n a n c e Su p p l y, 8 2 Ca n t i a g u e Ro c k Rd ,
 2.8263 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 9 5 )
                                                                                                                                                                 We s t b u r y, N Y 1 1 5 9 0 - 1 7 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g Co , On e Fi r s t Av e , St e r l i n g , I L 6 1 0 8 1
 2.8264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        08/02/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g Co , On e Fi r s t Av e , St e r l i n g , I L 6 1 0 8 1
 2.8265 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g Co , On e Fi r s t Av e , St e r l i n g , I L 6 1 0 8 1
 2.8266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g Co , On e Fi r s t Av e , St e r l i n g , I L 6 1 0 8 1
 2.8267 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 61081
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8269 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 61081
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8270 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 61081
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8271 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 61081
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8272 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 61081

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8273 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 61081

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Mf g / Sp e c t r u m Br a n d s Hh i , On e Fi r s t Av e , St e r l i n g , I L
 2.8274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 61081
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Pa i n t Eq u i p m e n t , 2 0 1 Ba d g e r Pa r k w a y, Da r i e n , W I
 2.8275 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53114
        nature of the debtor's interest
          State the term remaining                        08/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t i o n a l Pr e s t o In d , 1 8 3 3 Ch a r l e s Wa i t e St , Sy c a m o r e , I L
 2.8276 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60178
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8277 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07016
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8278 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07016
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8279 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07016

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8280 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07016

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8281 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07016
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07016
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8283 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07016
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8284 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 07016
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8285 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07016
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07016
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07016

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Tr e e Co - Im p o r t , 2 Co m m e r c e Dr i v e , Cr a n f o r d , N J
 2.8288 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07016

          State the term remaining                        07/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Un i o n Fi r e In s . Co . ( Ai g ) , Us i Mi d w e s t L L C, 2 0 2 1
 2.8289 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Ge n e r a l Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
                                                          G L2 0 3 9 2 7 2                                                                                       Sp r i n g Ro a d , Oa k b r o o k , I L 6 0 5 2 3
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Un i o n Fi r e In s . Co . ( Ai g ) , Us i Mi d w e s t L L C, 2 0 2 1
 2.8290 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Au t o m o b i l e Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
                                                          A L9 7 3 4 3 1 5                                                                                       Sp r i n g Ro a d , Oa k b r o o k , I L 6 0 5 2 3
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 01/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Na t i o n a l Wh o l e s a l e Li q u i d a t o r s , 7 1 0 1 Ro o s e v e l t Bo u l e v a r d ,
 2.8291 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 7 )
                                                                                                                                                                 Ph i l a d e l p h i a , PA 1 9 1 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                  Page 1037 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Na t i o n w i d e In d u s t r i a l Su p p l y, 8 4 1 4 So u t h Av e , Bo a r d m a n , O H
 2.8292 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 5 )
                                                                                                                                                     44514
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Na t u r a l Be a u t y, P. O. Bo x 7 9 0 , N 7 8 1 Cu r r a n Ro a d , De n m a r k ,
 2.8293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     WI 54208
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r a l Pe s t Co n t r o l , 8 8 6 4 Li t t l e Cr e e k Dr i v e , Or a n g e v a l e , C A
 2.8294 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     95662
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r e In n o v a t i o n s L L C, Na t u r e In n o v a t i o n s L L C, 2 1 1 3 S
 2.8295 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ni k o l a i Av e , Ma r s h f i e l d , W I 5 4 4 4 9

          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r e ' S Ch o i c e Co r p o r a t i o n , 1 1 0 6 Mi l l s t o n e Ri v e r Rd ,
 2.8296 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Hi l l s b o r o u g h , N J 0 8 8 4 4
        nature of the debtor's interest
          State the term remaining                        10/19/2021

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r e s Ea r t h Pe l l e t En e r g y L L C, Na t u r e s Ea r t h Pe l l e t En e r g y
 2.8297 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     L L C, 2 2 0 0 N Fl Ma n g o Rd , Su i t e 4 0 3 , We s t Pa l m Be a c h , F L
        nature of the debtor's interest
                                                                                                                                                     33409
          State the term remaining                        12/03/2014

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r e s Fr e s h St a r t , 1 2 2 3 1 Se 1 7 8 Th St , Re n t o n , WA 9 8 0 5 8
 2.8298 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Na t u r e s Ma c e , 2 6 7 Ma i n St , Bl a k l e y, PA 1 8 4 4 7
 2.8299 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/20/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t u r e s Ma r k L L C- Im p o r t , Na t u r e s Ma r k L L C- Im p o r t , 9 9 9 9
 2.8300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be l l a i r Bl v d , Su i t e 9 0 8 , Ho u s t o n , T X 7 7 0 3 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s Ma r k L L C- Im p o r t , Na t u r e s Ma r k L L C- Im p o r t , 9 9 9 9
 2.8301 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be l l a i r Bl v d , Su i t e 9 0 8 , Ho u s t o n , T X 7 7 0 3 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s Ma r k L L C- Im p o r t , Na t u r e s Ma r k L L C- Im p o r t , 9 9 9 9
 2.8302 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be l l a i r Bl v d , Su i t e 9 0 8 , Ho u s t o n , T X 7 7 0 3 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s So u r c e Pl a n t Fo o d - Ba l l Dp f , 4 0 1 N Wa l n u t St ,
 2.8303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sh e r m a n , T X 7 5 0 9 0

          State the term remaining                        06/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s To u c h Ga r d e n Ce n t e r , 5 0 1 3 We s t Sr 1 1 , Ja n e s v i l l e , W I
 2.8304 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 6 1 )
                                                                                                                                                                 53548-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s Wa y Bi r d Pr o d u c t s L L C, Na t u r e s Wa y Bi r d Pr o d u c t s
 2.8305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 L L C, 9 0 5 4 E Wa s h i n g t o n St , Ch a g r i n Fa l l s , O H 4 4 0 2 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s Wa y Bi r d Pr o d u c t s L L C, Na t u r e s Wa y Bi r d Pr o d u c t s
 2.8306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 9 0 5 4 E Wa s h i n g t o n St , Ch a g r i n Fa l l s , O H 4 4 0 2 3
        nature of the debtor's interest
          State the term remaining                        03/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Na t u r e s Wa y Bi r d Pr o d u c t s L L C, Na t u r e s Wa y Bi r d Pr o d u c t s
 2.8307 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 L L C, 9 0 5 4 E Wa s h i n g t o n St , Ch a g r i n Fa l l s , O H 4 4 0 2 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Na t u r e s Wa y Bi r d Pr o d u c t s L L C, Na t u r e s Wa y Bi r d Pr o d u c t s
 2.8308 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 9 0 5 4 E Wa s h i n g t o n St , Ch a g r i n Fa l l s , O H 4 4 0 2 3
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Na v a r r e Tr u e Va l u e Hd w e , 3 4 0 0 Sh o r e l i n e Dr , Wa y z a t a , M N
 2.8309 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 7 2 )
                                                                                                                                                                 55391-9265
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Nc Fi l t r a t i o n , 1 Mi l l e r St , Be l m o n t , N C 2 8 0 1 2
 2.8310 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Nc c , In c . , Th e , Nc c , In c , Th e , 1 8 4 0 Mc d o n a l d Av e , Br o o k l y n ,
 2.8311 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11223
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d Hi l l s , C A
 2.8312 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 91367
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d Hi l l s , C A
 2.8313 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 91367
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d Hi l l s , C A
 2.8314 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 91367
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d Hi l l s , C A
 2.8315 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 91367
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ne a l Ma s t & So n Gr e e n h o u s e s In c , 1 7 8 0 Fo u r Mi l e Rd Nw,
 2.8316 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Gr a n d Ra p i d s , M I 4 9 5 4 4
        nature of the debtor's interest
          State the term remaining                        04/30/2013

          List the contract number of any government
          contract
                                                                                                                                                      Ne b o To o l s / As g , Al l i a n c e Sp o r t s Gr o u p , 3 0 2 5 N Gr e a t
 2.8317 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               So u t h w e s t Pk w y, Gr a n d Pr a i r i e , T X 7 5 0 5 0

          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                      Ne b o To o l s / As g , Al l i a n c e Sp o r t s Gr o u p , 3 0 2 5 N Gr e a t
 2.8318 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               So u t h w e s t Pk w y, Gr a n d Pr a i r i e , T X 7 5 0 5 0

          State the term remaining                        08/01/2024 - 10/01/2026

          List the contract number of any government
          contract
                                                                                                                                                      Ne b o To o l s / As g , Al l i a n c e Sp o r t s Gr o u p , 3 0 2 5 N Gr e a t
 2.8319 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      So u t h w e s t Pk w y, Gr a n d Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 11/30/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne c e d a h Tr u e Va l u e , 2 0 5 S Ma i n St , Ne c e d a h , W I 5 4 6 4 6 - 8 2 7 6
 2.8320 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 9 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne d o Tr u e Va l u e Sh p g Ct r , 5 7 8 6 6 Hi g h w a y 1 2 , Ha t t e r a s , N C
 2.8321 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 7 8 )
                                                                                                                                                      27943-0519
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne e d h a m Ga r d e n Ce n t e r , 5 3 Ch e s t n u t St , Ne e d h a m , M A 0 2 4 9 2
 2.8322 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne h e m i a h Mf g Co L L C, 1 9 0 7 So u t h St , Ci n c i n n a t i , O H 4 5 2 0 4
 2.8323 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/13/2012

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne l l i e ' S Cl e a n In c , 1 1 4 - 2 4 5 5 Do l l a r t o n Hw y, No r t h Va n c o u v e r ,
 2.8324 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 B C V7 H 0 A2 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n Ag r i Ce n t e r Tr u e Va l u e , 2 1 7 N Ce n t e r Av e , Vi r o q u a , W I
 2.8325 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 6 9 )
        nature of the debtor's interest                                                                                                                          54665-1436

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n Sh p g Ct r Tr u e Va l u e , 3 4 4 9 St a t e Rd 4 2 , Fi s h Cr e e k , W I
 2.8326 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 6 )
                                                                                                                                                                 54212-9452
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n Tr u e Va l u e , 1 2 5 N Ma r q u e t t e Ro a d , Pr a i r i e Du Ch i e n ,
 2.8327 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 1 8 )
                                                                                                                                                                 WI 53821-1513
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n Wo o d Sh i m s , P. O. Bo x 3 9 5 , 5 0 0 Nw 3 Rd St , Co h a s s e t ,
 2.8328 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MN 55721
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n Wo o d Sh i m s , P. O. Bo x 3 9 5 , 5 0 0 Nw 3 Rd St , Co h a s s e t ,
 2.8329 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MN 55721
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n - Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd , Mt .
 2.8330 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne l s o n ' s Ha r d w a r e , 1 8 3 9 Bl u e Ri d g e Hw y, Bl a i r s v i l l e , G A
 2.8331 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 5 )
        nature of the debtor's interest                                                                                                                          30512

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne m n i c h Tr u e Va l u e , 2 1 2 N. Do u g l a s , El l s w o r t h , K S 6 7 4 3 9 -
 2.8332 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 5 )
        nature of the debtor's interest                                                                                                                          3208

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          KY 40511

          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 KY 40511
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8335 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 KY 40511
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 KY 40511
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8337 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 KY 40511
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8338 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 KY 40511
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ne o g e n Co r p o r a t i o n , 1 8 4 7 Me r c e r Ro a d Le x i n g t o n , Le x i n g t o n ,
 2.8339 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          KY 40511

          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne p t u n e Fa r m Pr o d u c t s , 4 1 9 5 Mi d d l e Co u n t r y Rd , Ca l v e r t o n ,
 2.8340 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 1 )
        nature of the debtor's interest                                                                                                                          NY 11933

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne p t u n e s Ha r v e s t , P. O. Bo x 1 1 8 3 , 8 8 Co m m e r c i a l St r e e t ,
 2.8341 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Gl o u c e s t e r , M A 0 1 9 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne r d ' s Ha r d w a r e , 1 3 0 6 S Bu s Hi g h w a y 1 3 , Le x i n g t o n , M O
 2.8342 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 7 8 )
                                                                                                                                                                 64067-7184
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne r d ' s Ha r d w a r e , 8 1 0 Fa i r g r o u n d Av e , Hi g g i n s v i l l e , M O 6 4 0 3 7
 2.8343 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne r d ' s Ha r d w a r e & Ho m e Ce n t e r - Od e s s a , Ne r d ' s Ha r d w a r e &
 2.8344 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 0 )
                                                                                                                                                                 Ho m e Ce n t e r Od e s s a , 3 0 4 N 2 n d St r e e t , Od e s s a , M O 6 4 0 7 6 -
        nature of the debtor's interest
                                                                                                                                                                 1138
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne s c o p e c k Ag w a y, 1 0 4 3 E. 3 r d St r e e t , Ne s c o p e c k , PA 1 8 6 3 5
 2.8345 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne s q u e h o n i n g Tr u e Va l u e Hd w e , 2 W Wi l l o w Ln ,
 2.8346 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 1 1 )
        nature of the debtor's interest                                                                                                                          Ne s q u e h o n i n g , PA 1 8 2 4 0 - 1 2 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne s t l e Pu r i n a Pe t Ca r e Co , Ch e c k b o a r d Sq u a r e 3 E, St Lo u i s ,
 2.8347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MO 63164

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne s t l e Pu r i n a / Go l d e n Ca t , 7 0 Li n c o l n Oa k s # 7 0 8 ,
 2.8348 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wi l l o w b r o o k , I L 6 0 5 2 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ne s t l e Wa t e r No r t h Am e r In c , 1 3 3 3 Bu t t e r f i e l d Ro a d , Su i t e 3 4 ,
 2.8349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Do w n e r s Gr o v e , I L 6 0 5 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne s t l e Wa t e r No r t h Am e r In c , 1 3 3 3 Bu t t e r f i e l d Ro a d , Su i t e 3 4 ,
 2.8350 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Do w n e r s Gr o v e , I L 6 0 5 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne t c o n g Tr u e Va l u e Ha r d w a r e , 1 2 7 St a t e Ro u t e 1 8 3 , St a n h o p e ,
 2.8351 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 3 0 )
                                                                                                                                                                 NJ 07874-2644
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne t h e r l a n d Bu l b Co m p a n y In c . , Ne t h e r l a n d Bu l b Co m p a n y In c ,
 2.8352 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 7 2 0 In d u s t r i a l Wa y, Vi n e l a n d , N J 0 8 3 6 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ne t r i x Gl o b a l L L C, Ne t r i x Gl o b a l L L C, 2 8 0 1 La k e s i d e Rd ,
 2.8353 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ne t r i x Gl o b a l M S A
                                                                                                                                                                 Su i t e 1 2 5 , Ba n n o c k b u r n , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        09/15/2023 - 09/14/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ne t r u s h L L C, Ne t r u s h L L C, 1 7 8 0 1 Se 6 Th Wa y St e 1 0 0 ,
 2.8354 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ne t r u s h L L C M N D A
        nature of the debtor's interest                                                                                                                          Va n c o u v e r , WA 9 8 6 8 3

          State the term remaining                        02/13/2024 - 02/12/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ne t r u s h L L C, Ne t r u s h L L C, 1 7 8 0 1 Se 6 Th Wa y St e 1 0 0 ,
 2.8355 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ne t r u s h E Co m m e r c e M S A a n d S O W
                                                          2024                                                                                                   Va n c o u v e r , WA 9 8 6 8 3
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ne v e r s i n k Tr u e Va l u e Lu m b e r , 9 5 Je r s e y Av e , Po r t Je r v i s , N Y
 2.8356 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 6 6 )
        nature of the debtor's interest                                                                                                              12771-2563

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Ag e Pe t , 2 5 0 6 3 Vi k i n g St , Ha y w a r d , C A 9 4 5 4 5
 2.8357 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/29/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ne w Ag e Pe t - Im p o r t , 2 5 0 6 3 Vi k i n g St , Ha y w a r d , C A 9 4 5 4 5
 2.8358 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ne w Bo s t o n Ha r d w a r e , 3 Ce n t r a l Sq u a r e , Ro u t e 1 3 So u t h , Ne w
 2.8359 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 3 )
                                                                                                                                                     Bo s t o n , N H 0 3 0 7 0 - 3 7 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Bu f f a l o Ha r d w a r e , 4 3 0 S. Wh i t t a k e r Av e . , Ne w Bu f f a l o ,
 2.8360 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 9 )
                                                                                                                                                     MI 49117-1764
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Ca s t l e Ag w a y, 1 0 1 Ea s t Di v i s i o n St , Ne w Ca s t l e , PA
 2.8361 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 8 7 )
        nature of the debtor's interest                                                                                                              16101

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Di r e c t i o n s , 2 0 2 5 Sm i t h St r e e t , No r t h Pr o v i d e n c e , R I
 2.8362 State what the contract or lease is for and the
                                                          Re c r u i t i n g Se r v i c e s , Co n t i n g e n t s t a f f i n g
        nature of the debtor's interest                                                                                                              02911

          State the term remaining                        04/14/2014 - 04/13/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ne w En g l a n d Po t t e r y, 2 0 3 0 Po w e r s Fe r r y Rd , Su i t e 3 7 0 ,
 2.8363 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     At l a n t a , G A 3 0 3 3 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ne w Ho l s t e i n Tr u e Va l u e , 2 2 0 4 Wi s c o n s i n Av e , Ne w Ho l s t e i n ,
 2.8364 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 3 )
                                                                                                                                                     WI 53061-1231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Ho p e Pa i n t & Ha r d w a r e , 9 3 0 Ne w Ho p e Ro a d , Su i t e 9 ,
 2.8365 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 5 )
                                                                                                                                                     La w r e n c e v i l l e , G A 3 0 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Ho p e Tr u e Va l u e ( # 2 0 0 ) , De l r a y Pl u s Tr u e Va l u e 2 0 0 , 3 1 4
 2.8366 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 1 )
                                                                                                                                                     We s t Br i d g e St , Ne w Ho p e , PA 1 8 9 3 8 - 1 4 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Le g e n d , In c , 8 1 1 S 5 9 Th Av e , Ph o e n i x , A Z 8 5 0 4 3
 2.8367 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ne w Le g e n d Ma s t e r Tr u c k l o a d
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t

          State the term remaining                        05/25/2022

          List the contract number of any government
          contract
                                                                                                                                                     Ne w Me d i a Re t a i l e r , 2 9 La c k a w a n n a Av e , No r w i c h , N Y 1 3 8 1 5
 2.8368 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ne w Mi l f o r d Ag w a y, 1 2 6 Ho u s a t o n i c Av e n u e , Ne w Mi l f o r d , C T
 2.8369 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 7 )
        nature of the debtor's interest                                                                                                              06776-2744

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w Mi l f o r d Ha r d w a r e , 1 8 0 Ma i n St , Ne w Mi l f o r d , PA 1 8 8 3 4 -
 2.8370 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 3 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 1 0 7 6 0 Us 1 , Po n t e Ve d r a , F L
 2.8371 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 4 )
                                                                                                                                                     32081
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 1 4 0 Do r t o n St , Ch a r l o t t e , N C
 2.8372 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 9 )
                                                                                                                                                     28213
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 1 4 2 7 Me c h a n i c a l Bl v d , Su i t e
 2.8373 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 8 )
                                                                                                                                                     1 0 3 , Ga r n e r , N C 2 7 5 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 1 8 0 Ro d e o Dr i v e , My r t l e
 2.8374 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 3 )
                                                                                                                                                     Be a c h , S C 2 9 5 7 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 3 5 8 In d u s t r i a l Pa r k Ro a d ,
 2.8375 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 7 )
                                                                                                                                                     Ha r d e e v i l l e , S C 2 9 9 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 4 9 8 7 Ba n c o Ro a d , No r t h
 2.8376 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 8 )
        nature of the debtor's interest                                                                                                              Ch a r l e s t o n , S C 2 9 4 1 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 5 2 2 0 Mi n o l a Ro a d , Li t h o n i a ,
 2.8377 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 6 )
        nature of the debtor's interest                                                                                                              GA 30038

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 7 2 0 7 Ce s s n a Dr i v e ,
 2.8378 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 6 0 )
                                                                                                                                                     Gr e e n s b o r o , N C 2 7 4 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ne w So u t h Co n s t r u c t i o n Su p p l y, 9 No r t h Ki n g s Ro a d ,
 2.8379 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 5 )
                                                                                                                                                     Gr e e n v i l l e , S C 2 9 6 0 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne w So u t h Co n s t r u c t i o n Su p p l y, 9 3 1 5 Ol d Ki n g s Ro a d S,
 2.8380 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 1 )
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne w So u t h Co n s t r u c t i o n Su p p l y, 9 5 1 Ha r b o r Dr , We s t
 2.8381 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 4 2 )
                                                                                                                                                                 Co l u m b i a , S C 2 9 1 6 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne w Su n s h i n e L L C, Ne w Su n s h i n e L L C, 8 0 0 1 Wo o d l a n d Dr ,
 2.8382 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 In d i a n a p o l i s , I N 4 6 2 7 8
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w Vi e w Gi f t s & Ac c e s s o r i e s Lt d , 3 1 1 E Ba l t i m o r e Av e , Su i t e
 2.8383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Me d i a , PA 1 9 0 6 3
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w Yo r k Wi r e / Wa l l Sp a n , 1 3 7 7 1 N Fo u n t a i n Hi l l s Rd , St e
 2.8384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          1 1 4 - 1 4 8 , Fo u n t a i n Hi l l s , A Z 8 5 2 6 8

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w a i r L L C, Ne w a i r L L C, 6 6 0 0 Ka t e l l a Av e , Cy p r e s s , C A
 2.8385 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 90630
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w b o r n Br o s & Co In c , 7 2 2 2 Pa r k w a y Dr i v e , Su i t e A,
 2.8386 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ha n o v e r , M D 2 1 0 7 6
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w b o r n Br o s & Co In c , 7 2 2 2 Pa r k w a y Dr i v e , Su i t e A,
 2.8387 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ha n o v e r , M D 2 1 0 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ne w b o r n Br o s & Co In c , 7 2 2 2 Pa r k w a y Dr i v e , Su i t e A,
 2.8388 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ha n o v e r , M D 2 1 0 7 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ne w b o r n Br o s & Co In c , 7 2 2 2 Pa r k w a y Dr i v e , Su i t e A,
 2.8389 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha n o v e r , M D 2 1 0 7 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w b o r n Br o s & Co In c , 7 2 2 2 Pa r k w a y Dr i v e , Su i t e A,
 2.8390 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha n o v e r , M D 2 1 0 7 6
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8392 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8394 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8395 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 08/31/2027

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8396 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8397 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 12/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8398 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8399 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8401 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8402 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8403 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8404 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8405 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C, Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8406 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                      Ne w e l l Br a n d s Di s t r i b u t i o n L L C_ , Ne w e l l Br a n d s Di s t r i b u t i o n
 2.8407 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                               L L C, 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        07/26/2022

          List the contract number of any government
          contract
                                                                                                                                                      Ne w h a l l Ha r d w a r e , 2 3 7 3 6 Ly o n s Av e n u e , St e A, Ne w h a l l , C A
 2.8408 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 3 )
                                                                                                                                                      91321-2564
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne w l a n d Ha r d w a r e , 4 9 3 8 Hu n t i n g t o n Dr S, Lo s An g e l e s , C A
 2.8409 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 7 7 )
                                                                                                                                                      90032-1627
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne w t o n s Tr u e Va l u e Hd w, 1 1 6 W Ma i n St , Ch e r r y v a l e , K S
 2.8410 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 1 6 )
                                                                                                                                                      67335-1322
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Ne x t - Ge n Su p p l y Gr o u p Ll c . , 1 1 No r f o l k St . , Ma n s f i e l d , M A
 2.8411 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 6 )
                                                                                                                                                      02048
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Ne x t Ge n e r a t i o n Di s t r i b u t o r s In c , 1 7 2 Tr o w e r s Rd , Un i t 3 0 ,
 2.8412 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   Wo o d b r i d g e , O N L4 L 8 A7 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/25/2018

          List the contract number of any government
          contract
                                                                                                                                                                   Ne x t In n o v a t i o n s Lt d , P. O. Bo x 9 9 9 , 7 9 8 1 To w n Ha l l Rd Nw,
 2.8413 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   Wa l k e r , M N 5 6 4 8 4
        nature of the debtor's interest
          State the term remaining                        05/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                   Ne x t s t e p Co m m e r c i a l Pr o d u c t s , 2 8 2 1 S Fa i r f i e l d , Su i t e G,
 2.8414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            Lo m b a r d , I L 6 0 1 4 8

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                   Ne x t s t e p Co m m e r c i a l Pr o d u c t s , 2 8 2 1 S Fa i r f i e l d , Su i t e G,
 2.8415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                   Lo m b a r d , I L 6 0 1 4 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Nf i In t e r a c t i v e Lo g i s t i c s , L L C, Nf i In t e r a c t i v e Lo g i s t i c s , L L C,
 2.8416 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , N F I Sc h e d u l e C Ad d e n d u m
                                                          12.01.2023                                                                                               1 5 1 5 Bu r n t Mi l l Rd , 1 9 Th Fl o o r , Ch e r r y Hi l l , N J 0 8 0 0 3
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                   Nf i In t e r a c t i v e Lo g i s t i c s , L L C, Nf i In t e r a c t i v e Lo g i s t i c s , L L C,
 2.8417 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , N F I Di s t r i b u t i o n Re l o c a t i o n
                                                          Le t t e r Ch i n o C A 2 0 2 4                                                                          1 5 1 5 Bu r n t Mi l l Rd , 1 9 Th Fl o o r , Ch e r r y Hi l l , N J 0 8 0 0 3
        nature of the debtor's interest
          State the term remaining                        03/15/2024 - 03/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Ng k Sp a r k Pl u g s Us a In c , 4 6 9 2 9 Ma g e l l a n Dr i v e , Wi x o m , M I
 2.8418 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   48393
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Nh s Ha r d w a r e , 7 4 0 Ne p p e r h a n Av e , Yo n k e r s , N Y 1 0 7 0 1 - 2 3 1 2
 2.8419 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                     Page 1053 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Ni a g a r a Bo t t l i n g , L L C, 2 5 6 0 E Ph i l a d e l p h i a St , On t a r i o , C A
 2.8420 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        91761
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                        Ni b c o In c , 1 5 1 6 Mi d d l e b u r y St , P. O. Bo x 1 1 6 7 , El k h a r t , I N
 2.8421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 46515

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                        Ni c In d u s t r i e s In c , 7 0 5 0 6 Th St r e e t , Wh i t e Ci t y, O R 9 7 5 0 3
 2.8422 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                        Ni c e No r t h Am e r i c a L L C, Ni c e No r t h Am e r i c a L L C, 3 1 2 1
 2.8423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        Ha r t s f i e l d Rd , Ta l l a h a s s e e , F L 3 2 3 0 3
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                        Ni c e No r t h Am e r i c a L L C, Ni c e No r t h Am e r i c a L L C, 3 1 2 1
 2.8424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        Ha r t s f i e l d Rd , Ta l l a h a s s e e , F L 3 2 3 0 3
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                        Ni c e Pa k Pr o d u c t s In c , Tw o Ni c e Pa k Pa r k , Or a n g e b u r g , N Y
 2.8425 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        10962
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                        Ni c e Pa k Pr o d u c t s In c , Tw o Ni c e Pa k Pa r k , Or a n g e b u r g , N Y
 2.8426 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        10962
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                        Ni c e Pa k Pr o d u c t s In c , Tw o Ni c e Pa k Pa r k , Or a n g e b u r g , N Y
 2.8427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        10962
        nature of the debtor's interest
          State the term remaining                        08/19/2011

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni c e Pa k Pr o d u c t s In c , Tw o Ni c e Pa k Pa r k , Or a n g e b u r g , N Y
 2.8428 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 10962
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c h o l s o n Ha r d w a r e , 1 1 3 1 2 n d Av e , Ro c k f o r d , I L 6 1 1 0 4 - 2 2 0 1
 2.8429 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c h o l s o n Lu m b e r Co m p a n y, 3 7 7 Ma i n St , Ni c h o l s o n , PA
 2.8430 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 5 8 9 )
        nature of the debtor's interest                                                                                                                          18446-0310

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c h o l s o n - h a r d i e H & g s , Ni c h o l s o n - h a r d i e H& g s , 5 7 2 5 W
 2.8431 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 1 0 )
                                                                                                                                                                 Lo v e r s Ln , Da l l a s , T X 7 5 2 0 9 - 5 1 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c k ' s Fa r m & Ho m e , Ni c k ` s Fa r m & Ho m e , 2 2 4 2 4 Us Hi g h w a y
 2.8432 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 1 )
                                                                                                                                                                 1 3 6 , Ka h o k a , M O 6 3 4 4 5 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c k ' s Ga r d e n Ce n t e r & Fa r m Ma r k e t , Ni c k ` s Ga r d e n Ce n t e r &
 2.8433 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 4 )
                                                                                                                                                                 Fa r m Ma , 2 0 0 1 So u t h Ch a m b e r s Ro a d , Au r o r a , C O 8 0 0 1 4 - 4 5 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c k ' s Tr u e Va l u e Ha r d w a r e , Ni c k ' s Os a g e Be a c h , 1 0 3 6
 2.8434 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 8 )
                                                                                                                                                                 Pa l i s a d e s Bl v d . , Os a g e Be a c h , M O 6 5 0 6 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni c k e r s o n La n d s c a p e Co , 2 0 Bi g e l o w Hi l l Ro a d , No r r i d g e w o c k ,
 2.8435 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 8 )
        nature of the debtor's interest                                                                                                                          ME 04957

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni c k m a n ' s Ha r d w a r e , Ni c k m a n ' s Tr u e Va l u e Ha r d w a r e , 3
 2.8436 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 )
                                                                                                                                                                 Ni c k m a n ' s Pl a z a , Le m o n t Fu r n a c e , PA 1 5 4 5 6 - 9 7 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni e l s e n Pr o d u c t s L L C, Ni e l s e n Pr o d u c t s L L C, P. O. Bo x 2 4 3 ,
 2.8437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo u l d e r , C O 8 0 3 0 6

          State the term remaining                        04/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ni e n Ma d e Us a In c , 2 8 Ce n t e r p o i n t e Dr i v e , La Pa l m a , C A
 2.8438 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 90623
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni f t y Li f t , 1 4 3 8 S Bu n c o m b e Rd , Gr e e r , S C 2 9 6 5 1
 2.8439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ni f t y Pr o d u c t s , 4 Jo c a m a Bl v d , Ol d Br i d g e , N J 0 8 8 5 7
 2.8440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ni f t y Pr o d u c t s , 4 Jo c a m a Bl v d , Ol d Br i d g e , N J 0 8 8 5 7
 2.8441 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 07/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ni g e l Os b o r n e En t e r p r i s e s Lt d . , Ni b l o s s Co m p l e x , Ca r r s Ba y,
 2.8442 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 0 )
                                                                                                                                                                 Mo n t s e r r a t , Un i t e d Ki n g d o m
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n Te c h n e t Li m i t e d , 3 6 7 - 3 7 5 Qu e e n ' S Ro a d Ce n t r a l , 1 6 0 3 ,
 2.8443 State what the contract or lease is for and the
                                                          So f t w a r e , Ni n Te c h Ne t Li m i t e d - Co d e Pr o f i l e r Pr o Li c e n s e ( 1 0
        nature of the debtor's interest                   sites)                                                                                                 1 6 Th Fl , Th e L Pl a z a , Sh e u n g Wa n , Ho n g Ko n g

          State the term remaining                        12/27/2023 - 12/26/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni n g b o Ba t t e r y & El e c t r i c a l Ap , 9 9 Da He To u St r e e t , Ni n g b o ,
 2.8444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Zh e j i a n g , 3 1 5 0 0 0 , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ge m a y In d u s t r y Co , 1 1 / F Ti a n y i Bu s i n e s s Ce n t e r , 2 1
 2.8445 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu a l o u x i a n g , Ni n g b o , Zh e j i a n g , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ge m a y In d u s t r y Co , 1 1 / F Ti a n y i Bu s i n e s s Ce n t e r , 2 1
 2.8446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu a l o u x i a n g , Ni n g b o , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ge m a y In d u s t r y Co , 1 1 / F Ti a n y i Bu s i n e s s Ce n t e r , 2 1
 2.8447 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hu a l o u x i a n g , Ni n g b o , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ju d i n Sp e c i a l Mo n o f i l , 3 In d & Td Rd , Ha i s h u , Ji s h i g a n g
 2.8448 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 In d u s t r i a l Pa r k , Ni n g b o , Zh e j i a n g 3 1 5 1 7 1
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ko n w i n El e c t r i c a l Ap p l i a n c e , 5 5 8 Re n h e Rd , Ba i s h a l u
 2.8449 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St , Ci x i , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ko n w i n El e c t r i c a l Ap p l i a n c e , 5 5 8 Re n h e Rd , Ba i s h a l u
 2.8450 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St , Ci x i , Zh e j i a n g , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Ko n w i n El e c t r i c a l Ap p l i a n c e , 5 5 8 Re n h e Rd , Ba i s h a l u
 2.8451 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St , Ci x i , Zh e j i a n g , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni n g b o Ko n w i n El e c t r i c a l Ap p l i a n c e , 5 5 8 Re n h e Rd , Ba i s h a l u
 2.8452 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St , Ci x i , Zh e j i a n g , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Xi n g w e i Cu t t i n g To o l s Co , In d u s t r i a l Zo n e Of Xi d i a n ,
 2.8453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ni n g h a i , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n g b o Xi n g w e i Cu t t i n g To o l s Co , In d u s t r i a l Zo n e Of Xi d i a n ,
 2.8454 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ni n g h a i , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni n j a Ju m p In c , 3 2 2 1 Sa n Fe r n a n d o Rd , Lo s An g e l e s , C A 9 0 0 6 5
 2.8455 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8456 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8457 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8458 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8460 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8461 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8462 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8463 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8464 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8465 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8466 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e Iz e In c , 5 6 6 0 Ce n t r a l Av e n u e , Bo u l d e r , C O 8 0 3 0 1
 2.8467 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ni t e o Pr o d u c t s , P. O. Bo x 1 9 1 6 2 9 , Da l l a s , T X 7 5 2 1 9
 2.8468 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/15/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e o Pr o d u c t s , P. O. Bo x 1 9 1 6 2 9 , Da l l a s , T X 7 5 2 1 9
 2.8469 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e o Pr o d u c t s , P. O. Bo x 1 9 1 6 2 9 , Da l l a s , T X 7 5 2 1 9
 2.8470 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ni t e o Pr o d u c t s , P. O. Bo x 1 9 1 6 2 9 , Da l l a s , T X 7 5 2 1 9
 2.8471 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni t t a n y Va l l e y Tr u e Va l u e Hd w e . , Ni t t a n y Va l l e y Tr u e Va l u e
 2.8472 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 7 8 )
                                                                                                                                                                 Hd w e , 1 1 6 9 Ni t t a n y Va l l e y Dr , Be l l e f o n t e , PA 1 6 8 2 3 - 6 4 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ni x Se n s o r Lt d , 1 7 5 Lo n g w o o d Rd S, 3 0 6 A, Ha m i l t o n , O N L8 P
 2.8473 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          0 A1 , Ca n a d a

          State the term remaining                        08/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 No Co s t So l u t i o n s , P. O. Bo x 1 2 3 0 8 , , Ch a r l o t t e , N C 2 8 2 2 0
 2.8474 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , No Co s t So l u t i o n s ( N C S) Au d i t Ag r e e m e n t
        nature of the debtor's interest                   2023

          State the term remaining                        08/16/2023 - 11/15/2026

          List the contract number of any government
          contract
                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8475 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8476 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8477 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8478 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8479 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No Sp i l l In c , 1 7 5 0 1 W 9 8 Th St r e e t , # 6 - 4 9 , Le n e x a , K S 6 6 2 1 9
 2.8480 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 No b l e Ou t f i t t e r s , 4 3 0 0 Sp y r e s Wa y, Mo d e s t o , C A 9 5 3 5 6
 2.8481 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No b l e Tr u e Va l u e Ha r d w a r e , 6 0 - 4 7 Fr e s h Po n d Rd , Ma s p e t h ,
 2.8482 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 1 4 )
                                                                                                                                                                 NY 11378-3541
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No b m a n ' s Ha r d w a r e , No b m a n ` s Ha r d w a r e , 9 5 So u t h St , Oy s t e r
 2.8483 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 2 )
                                                                                                                                                                 Ba y, N Y 1 1 7 7 1 - 2 2 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No d a k Ra n c h & Ho m e Su p p l y Tr u e Va l u e , No d a k Ra n c h &
 2.8484 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 4 7 )
                                                                                                                                                                 Ho m e Su p p l y Tr , 8 0 3 0 Hi g h w a y 8 3 So u t h Ea s t , Li n t o n , N D
        nature of the debtor's interest
                                                                                                                                                                 58552-9025
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No e l l e En t e r p r i s e s In c , P. O. Bo x 3 9 9 , 2 3 6 5 Hi g h w a y 2 1 0 We s t ,
 2.8485 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha m p s t e a d , N C 2 8 4 4 3
        nature of the debtor's interest
          State the term remaining                        03/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8486 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60025
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8487 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60025
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8488 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60025

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8489 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60025

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60025
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8491 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60025
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No m a / In l i t e n - Im p o r t , 2 3 5 0 Ra v i n e Wa y, Su i t e 3 0 0 , Gl e n v i e w,
 2.8492 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60025
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No n a t z In c , 1 1 2 9 Ja s m i n e Rd , Du b l i n , G A 3 1 0 2 1
 2.8493 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 No o n a n Eq u i p m e n t & Ev e n t Re n t a l - Gr a n d , 8 0 1 N Gr a n d Av e
 2.8494 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 0 0 )
                                                                                                                                                                 E, Sp r i n g f i e l d , I L 6 2 7 0 2 - 3 9 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No o n a n Eq u i p m e n t & Ev e n t Re n t a l - Ko k e Mi l l , 3 0 3 1 So u t h
 2.8495 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 0 2 )
                                                                                                                                                                 Ko k e Mi l l Ro a d , Sp r i n g f i e l d , I L 6 2 7 1 1 - 7 0 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r b e r g Pa i n t s , 3 2 6 E 1 4 t h St r e e t , Si o u x Fa l l s , S D 5 7 1 0 4
 2.8496 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r d i c Sh i e l d Pl a s t i c s Co r p , In d u s t r i a l Pa r k Ea s t , P. O. Bo x
 2.8497 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 6 6 0 , Ox f o r d , M A 0 1 5 4 0
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 No r d i c Wa r e , 5 0 0 5 Co u n t y Rd 2 5 , Mi n n e a p o l i s , M N 5 5 4 1 6
 2.8498 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 No r d o n L L C, No r d o n L L C, 1 Ca b o t Bl v d Ea s t , La n g h o r n e , PA
 2.8499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19047
        nature of the debtor's interest
          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No r i c k ' s Tr u e Va l u e , No r i c k ` s Tr u e Va l u e , 1 0 9 2 0 N. Ma y
 2.8500 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 3 )
                                                                                                                                                                 Av e n u e , Ok l a h o m a Ci t y, O K 7 3 1 2 0 - 6 2 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8501 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Or i o n , M I 4 8 3 5 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8502 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Or i o n , M I 4 8 3 5 9
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8503 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Or i o n , M I 4 8 3 5 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8504 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Or i o n , M I 4 8 3 5 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8505 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Or i o n , M I 4 8 3 5 9
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 No r m a Gr o u p / Br e e z e , 3 2 5 W Si l v e r b e l l Ro a d , Su i t e 2 3 0 , La k e
 2.8506 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Or i o n , M I 4 8 3 5 9
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 No r p r o , 2 2 1 5 Me r r i l l Cr e e k Pk w y, Ev e r e t t , WA 9 8 2 0 3
 2.8507 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No r s e m a n Ap p a r e l , 8 8 4 1 E Re s e a r c h Ce n t e r Rd , Ne w Ho p e , M N
 2.8508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55428
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8509 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8510 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8511 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8512 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8513 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8514 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8515 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No r t h At l a n t i c Im p o r t s L L C, No r t h At l a n t i c Im p o r t s L L C, 1 7 0 3
 2.8516 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 W 1 7 0 0 N, Lo g a n , U T 8 4 3 2 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Co a s t Lo g i s t i c s , In c . , No r t h Co a s t Lo g i s t i c s , In c , 1 8 9 0 1
 2.8517 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , No r t h Co a s t Lo g i s t i c s Cr o s s
                                                                                                                                                                 Sn o w Ro a d Su i t e A, Br o o k Pa r k , O H 4 4 1 4 2
        nature of the debtor's interest                   Do c k Ag r e e m e n t 2 0 2 3

          State the term remaining                        07/18/2023 - 07/17/2026

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Co a s t Pe r e n n i a l s In c , 3 7 5 4 Da y t o n Rd , Ma d i s o n , O H
 2.8518 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44057

          State the term remaining                        10/07/2011

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Ea s t Tr u e Va l u e , No r t h Ea s t Ha r d w a r e , 1 8 0 W Ma i n St ,
 2.8519 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 9 )
        nature of the debtor's interest                                                                                                                          No r t h Ea s t , PA 1 6 4 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Fo r k Tr u e Va l u e , 1 4 0 3 Ma i n Ro a d , Ja m e s p o r t , N Y 1 1 9 4 7
 2.8520 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Ha v e n H& g s , 7 7 0 0 No r t h a v e n Rd , Da l l a s , T X 7 5 2 3 0 -
 2.8521 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 8 3 )
                                                                                                                                                                 3224
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Ha v e r h i l l Ag w a y, 3 1 4 7 Da r t m o u t h Co l l e g e Hi g h w a y,
 2.8522 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 6 7 )
                                                                                                                                                                 No r t h Ha v e r h i l l , N H 0 3 7 7 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h Me d f o r d Gr a n g e Co o p , 2 6 0 3 S Pa c i f i c Hi g h w a y,
 2.8523 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 2 8 )
                                                                                                                                                                 Me d f o r d , O R 9 7 5 0 1 - 1 3 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No r t h Se a Ha r d w a r e , 1 4 1 1 No r t h Se a Rd , So u t h a m p t o n , N Y
 2.8524 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 4 )
                                                                                                                                                                 11968-2048
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a r La n d s c a p e & Ga r d e n Ce n t e r , 1 5 6 7 7 Co u n t y Ro a d B,
 2.8525 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 7 5 )
                                                                                                                                                                 Ha y w a r d , W I 5 4 8 4 3 - 2 6 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e In d In c , 1 4 0 0 Re n a i s s a n c e Dr , Su i t e 2 0 4 , Pa r k
 2.8526 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ri d g e , I L 6 0 0 6 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e In d In c , 1 4 0 0 Re n a i s s a n c e Dr , Su i t e 2 0 4 , Pa r k
 2.8527 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ri d g e , I L 6 0 0 6 8
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e In d In c , 1 4 0 0 Re n a i s s a n c e Dr , Su i t e 2 0 4 , Pa r k
 2.8528 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ri d g e , I L 6 0 0 6 8
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e In d In c , 1 4 0 0 Re n a i s s a n c e Dr , Su i t e 2 0 4 , Pa r k
 2.8529 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ri d g e , I L 6 0 0 6 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e In d In c , 1 4 0 0 Re n a i s s a n c e Dr , Su i t e 2 0 4 , Pa r k
 2.8530 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ri d g e , I L 6 0 0 6 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h St a t e s In d u s t r i e s , 1 5 0 7 9 2 Nd La n e Ne , Bl a i n e , M N 5 5 4 4 9
 2.8531 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/16/2013

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     No r t h We s t Ru b b e r Lt d , 3 3 8 5 0 In d u s t r i a l Av e n u e , Ab b o t s f o r d ,
 2.8532 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     B C V2 S 7 T9 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     No r t h a m p t o n Lu m b e r Co m p a n y, 7 4 0 9 Ra i l r o a d Av e n u e ,
 2.8533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 7 5 )
        nature of the debtor's interest                                                                                                              Na s s a w a d o x , VA 2 3 4 1 3 - 9 9 9 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Bu i l d i n g & Ho m e , 1 4 6 0 Ba r n u m Av e , Br i d g e p o r t , C T
 2.8534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 5 )
        nature of the debtor's interest                                                                                                              06610-3201

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Bu i l d i n g & Ho m e , 2 1 Gr o v e St , Ne w Ca n a a n , C T
 2.8535 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 6 )
                                                                                                                                                     06840-5337
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Bu i l d i n g & Ho m e , 2 6 Ke n t Rd S, Co r n w a l l Br i d g e ,
 2.8536 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 7 )
                                                                                                                                                     CT 06754-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Nu r s e r y Co n t r a c t o r Ce n t e r , 8 De a r b o r n Ro a d ,
 2.8537 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 3 )
                                                                                                                                                     Pe a b o d y, M A 0 1 9 6 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Pa i n t Su p p l y, 2 8 8 3 Mc c a r t y Rd , Sa g i n a w, M I 4 8 6 0 3
 2.8538 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 9 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h e a s t Wo o d Pr o d u c t s L L C, No r t h e a s t Wo o d Pr o d u c t s L L C,
 2.8539 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     1 3 Cr o w Hi l l Rd , Un c a s v i l l e , C T 0 6 3 8 2
        nature of the debtor's interest
          State the term remaining                        04/30/2015

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           No r t h e a s t e r n Wi n d o w & Do o r T V, 3 4 5 N Hu r o n Rd ,
 2.8540 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 7 5 )
                                                                                                                                                           Ha r r i s v i l l e , M I 4 8 7 4 0 - 9 7 9 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n In d u s t r i a l Su p p l y, 3 4 4 0 Ce n t e n n i a l Dr , Mi d l a n d , M I
 2.8541 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 8 5 )
        nature of the debtor's interest                                                                                                                    48642-6934

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n In t ' l In c , 1 Bu r b i d g e St r e e t , Su i t e 1 0 1 , Co q u i t l a m , B C
 2.8542 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    V3 K 7 B2 , Ca n a d a

          State the term remaining                        11/01/2007

          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n La k e s Co o p , 1 5 8 4 6 W. Us Hw y 6 3 S, Ha y w a r d , W I
 2.8543 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 7 )
                                                                                                                                                           54843
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n Ne c k Tr u e Va l u e Hd w e , 1 7 1 4 4 Ki n g s Hw y, Mo n t r o s s ,
 2.8544 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 2 6 )
                                                                                                                                                           VA 2 2 5 2 0 - 2 7 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n Ne w En g l a n d Be n e f i t Tr u s t , 5 1 Go f f s t o w n Rd P O
 2.8545 State what the contract or lease is for and the   H R Se r v i c e s , No r t h e r n Ne w En g l a n d Be n e f i t Tr u s t - He a l t h a n d
                                                                                                                                                           Bo x 4 6 0 4 , Ma n c h e s t e r , N H 0 3 1 0 8
        nature of the debtor's interest                   We l f a r e Be n e f i t Pl a n 2 0 0 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n Pi n e s Gr e e n e r y, In c . , No r t h e r n Pi n e s Gr e e n e r y In c . ,
 2.8546 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 6 0 )
                                                                                                                                                           8 6 6 8 Hi l l La k e Dr i v e , Mi n o c q u a , W I 5 4 5 4 8 - 9 7 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           No r t h e r n Pl a i n s Di s t r i b u t i n g , 4 0 5 1 4 Th St N, Fa r g o , N D 5 8 1 0 2
 2.8547 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/24/2018

          List the contract number of any government
          contract
Official Form 206G                                                 Schedule G: Executory Contracts and Unexpired Leases                                                                                           Page 1069 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No r t h e r n Re s p o n s e In t l , 5 0 St a p l e s Av e , Ri c h m o n d Hi l l , O N
 2.8548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 6 4 B 0 A7 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h g a t e Tr u e Va l u e Ha r d w a r e , 2 4 0 0 Br o a d w a y St , An d e r s o n ,
 2.8549 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 6 7 )
        nature of the debtor's interest                                                                                                                          IN 46012-1611

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h l a n d Fl o r a l In c , 1 7 0 3 S Se r v i c e Rd , St Ca t h a r i n e s , O N
 2.8550 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L2 R 6 P9 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 No r t h o m e Tr u e Va l u e , 1 2 0 6 3 Ma i n St r e e t , No r t h o m e , M N
 2.8551 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 2 0 )
                                                                                                                                                                 56661-8074
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h s i d e Tr u e Va l u e Ha r d w a r e , 2 9 1 2 S Wa y n e Rd , Wa y n e , M I
 2.8552 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 0 7 )
                                                                                                                                                                 48184-1217
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h s i d e Tr u e Va l u e Hd w e , No r t h s i d e Tr u e Va l u e Ha r d w a r e ,
 2.8553 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 9 )
                                                                                                                                                                 1 4 1 5 N Ri c h m o n d St , Ap p l e t o n , W I 5 4 9 1 1 - 3 5 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h w e s t Fa r m Su p p l y, 8 0 4 1 1 Hw y 3 9 5 N, He r m i s t o n , O R
 2.8554 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 5 )
                                                                                                                                                                 97838
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No r t h w e s t Fa r m Su p p l y - Pr o s s e r , 4 5 1 Wi n e Co u n t r y Rd ,
 2.8555 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 0 )
        nature of the debtor's interest                                                                                                                          Pr o s s e r , WA 9 9 3 5 0

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     No r t h w e s t Fe e d & Gr a i n , 8 6 2 5 Mi l i t a r y Ro a d , Om a h a , N E
 2.8556 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 8 )
        nature of the debtor's interest                                                                                                              68134-1844

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h w e s t Ha r d w o o d s In c , 8 2 0 A St , Su i t e 5 0 0 , Ta c o m a , WA
 2.8557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              98402

          State the term remaining                        08/01/2011

          List the contract number of any government
          contract
                                                                                                                                                     No r t h w e s t In d u s t r i a l Su p p l y, 1 8 1 9 2 n d Av e No r t h , Bi l l i n g s , M T
 2.8558 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 0 2 )
                                                                                                                                                     59101-2447
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h w e s t In s t r u m e n t In c , 3 3 0 Wa t e r l o o Va l l e y Ro a d , Mt
 2.8559 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ol i v e , N J 0 7 8 2 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     No r t h w o o d s Tr u e Va l u e , 7 3 0 Hi g h w a y 1 6 9 , To w e r , M N 5 5 7 9 0 -
 2.8560 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 5 3 )
                                                                                                                                                     8232
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t h w o o d s Tr u e Va l u e Ho m e Ce n t e r , No r t h w o o d s Tr u e Va l u e
 2.8561 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 5 2 )
                                                                                                                                                     Ho m e Ce n , 1 1 4 N Hi g h w a y 5 3 , Co o k , M N 5 5 7 2 3 - 8 1 0 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     No r t o n Ab r a s i v e s / St Go b a i n , 1 Ne w Bo n d St r e e t , P. O. Bo x
 2.8562 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              1 5 0 0 8 , Wo r c e s t e r , M A 0 1 6 1 5

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     No r w a l k Tr u e Va l u e , No r w a l k Ha r d w a r e , 1 1 0 5 6 Ro s e c r a n s Av e ,
 2.8563 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 0 5 )
        nature of the debtor's interest                                                                                                              No r w a l k , C A 9 0 6 5 0 - 3 6 0 1

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    No r w o o d Pa r k , 5 9 0 7 N No r t h w e s t Hw y, Ch i c a g o , I L 6 0 6 3 1
 2.8564 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    No s t r a n d Tr u e Va l u e Ha r d w a r e , 1 7 8 5 No s t r a n d Av e , Br o o k l y n ,
 2.8565 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 8 0 )
                                                                                                                                                                    NY 11226-7132
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    No t i o n s Ma r k e t i n g Co r p . , 1 5 0 0 Bu c h a n a n Sw, Gr a n d Ra p i d s ,
 2.8566 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                    MI 49507
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                    No u r Tr a d i n g Ho u s e , In c . , 6 3 7 Co l b y Dr i v e Un i t 1 2 , Wa t e r l o o ,
 2.8567 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , No u r Tr a d i n g Ho u s e Pr i v a t e
                                                          La b e l Su p p l i e r Ag r e e m e n t Ca r y                                                           O N N2 V 1 B4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        07/19/2023 - 07/18/2026

          List the contract number of any government
          contract
                                                                                                                                                                    No v a Li b r a , In c . , P. O. Bo x 3 8 3 , Gl e n v i e w, I L 6 0 0 2 5
 2.8568 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , V M D ( Ve n d o r Ma n a g e d Da t a ) s y s t e m
        nature of the debtor's interest                   changes

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                    No v a Li b r a , In c . , P. O. Bo x 3 8 3 , Gl e n v i e w, I L 6 0 0 2 5
 2.8569 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , No v a Li b r a - Ma s t e r Se r v i c e s Ag r e e m e n t
        nature of the debtor's interest
          State the term remaining                        01/03/2020 - 01/02/2025

          List the contract number of any government
          contract
                                                                                                                                                                    No v a Wi l d c a t Sh u r - Li n e L L C, 4 0 5 1 S Io w a Av e , Sa i n t Fr a n c i s ,
 2.8570 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Sh u r l i n e To l l Ma n u f a c t u r i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                                             WI 53235-4668

          State the term remaining                        02/02/2020 - 02/01/2027

          List the contract number of any government
          contract
                                                                                                                                                                    No v e l Id e a s In c , 6 0 5 La u r e l St , Mi s h a w a k a , I N 4 6 5 4 4
 2.8571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2014

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8574 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8575 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8576 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8579 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               No v e l t y Mf g Co , 1 3 3 0 Lo o p Ro a d , La n c a s t e r , PA 1 7 6 0 1
 2.8580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                               No v e y, Av e n i d a 7 4 Ce n t r a l 2 7 9 , Ap a r t a d o 3 4 2 0 , Pa n a m a Ci t y,
 2.8581 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 4 0 )
                                                                                                                                                               Pa n a m a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               No v i c k Ha r d w a r e , 3 0 2 Ce n t r a l Av e , Je r s e y Ci t y, N J 0 7 3 0 7
 2.8582 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               No v o t n y Tr u e Va l u e , 5 6 1 5 Wi l m o t Rd , Mc h e n r y, I L 6 0 0 5 1
 2.8583 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 4 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               No v o z y m e s Bi o a g In c , 1 2 3 2 0 Cu t t e n Rd , Ho u s t o n , T X 7 7 0 6 6
 2.8584 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2012

          List the contract number of any government
          contract
                                                                                                                                                               No v u s Me d i a In c . , 2 2 5 N Mi c h i g a n Av e , Ch i c a g o , I L 6 0 6 0 1
 2.8585 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , No v u s Me d i a Ma s t e r Ag e n c y
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        05/09/2022 - 05/08/2027

          List the contract number of any government
          contract
                                                                                                                                                               No w De s i g n s , 2 1 5 0 Pe a c e Po r t a l Wa y, Bl a i n e , WA 9 8 2 3 0
 2.8586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/30/2010

          List the contract number of any government
          contract
                                                                                                                                                               Np Ha n o v e r In d u s t r i a l I, L L C, Np Ha n o v e r In d u s t r i a l I, L L C,
 2.8587 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , N P Ha n o v e r In d u s t r i a l I L L C
                                                          W B In u d s t r i a l Le a s e Ag r e e m e n t 2 0 1 9                                             4 8 2 5 Nw 4 1 St St St e 5 0 0 , Ka n s a s Ci t y, M O 6 4 1 5 0
        nature of the debtor's interest
          State the term remaining                        08/01/2019 - 07/31/2040

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Nr Su p p l y, 4 0 1 5 Sh o p t o n Rd Su i t e 3 0 0 , Ch a r l o t t e , N C 2 8 2 1 7
 2.8588 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 9 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Nu e r a En t e r p r i s e s Ca n a d a In c , 1 4 9 0 Da g e n a i s Bl v d We s t ,
 2.8589 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     La v a l , Q C H7 L 5 C7 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/02/2018

          List the contract number of any government
          contract
                                                                                                                                                     Nu g e n t & Po t t e r , 1 5 5 7 Co u n t y Ro a d 3 9 , So u t h a m p t o n , N Y
 2.8590 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 5 4 )
                                                                                                                                                     11968-5201
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Nu m a r k In d u s t r i e s Co Li m i t e d , Fl a t M 3 F Ka i s e r Es t a t e Ph 3 ,
 2.8591 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     1 1 Ho k Yu e n St , Hu n g h o m , Ko w l o o n , J0 E 1 V0 , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining                        06/09/2017

          List the contract number of any government
          contract
                                                                                                                                                     Nu p l a Co r p , P. O. Bo x 1 1 6 5 , 1 1 9 1 2 Sh e l d o n St r e e t , Su n Va l l e y,
 2.8592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              CA 91352

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Nu s s b a u m Ac e , 2 0 3 E. Ma p l e St . , Fa i r b u r y, I L 6 1 7 3 9 - 0 0 0 1
 2.8593 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 8 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Nu t e k L L C, 7 0 0 5 S Co c h r a n Rd , Gl e n w i l l o w, O H 4 4 1 3 9
 2.8594 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Nu t h o u s e Ha r d w a r e , 2 0 2 E 2 9 t h St , Ne w Yo r k , N Y 1 0 0 1 6 - 8 5 0 1
 2.8595 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 9 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Nu t o n e In c . , 9 8 2 5 Ke n w o o d Rd , Ci n c i n n a t i , O H 4 5 2 4 2
 2.8596 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Nu t r i t o w e r In c , 2 1 3 5 De La Mo n t a g n e , Mo n t r e a l , Q C H3 G 1 Z8 ,
 2.8597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        10/31/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Nu v o Ir o n , 1 3 3 7 1 Co l e r a i n e Dr i v e , Bo l t o n , O N L7 E 3 B6 ,
 2.8598 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/07/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ny c o Pr o d u c t s Co m p a n y, 5 3 3 2 Da n s h e r Rd , Co u n t r y s i d e , I L
 2.8599 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60525
        nature of the debtor's interest
          State the term remaining                        04/29/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Ny l a b o n e Pr o d u c t s , 1 1 3 6 9 Ce n t e n n i a l , Wh i t m o r e , M I 4 8 1 8 9
 2.8600 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ny l a b o n e Pr o d u c t s , 1 1 3 6 9 Ce n t e n n i a l , Wh i t m o r e , M I 4 8 1 8 9
 2.8601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ny l a b o n e Pr o d u c t s , 1 1 3 6 9 Ce n t e n n i a l , Wh i t m o r e , M I 4 8 1 8 9
 2.8602 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ny l a b o n e Pr o d u c t s , 1 1 3 6 9 Ce n t e n n i a l , Wh i t m o r e , M I 4 8 1 8 9
 2.8603 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ny l a b o n e Pr o d u c t s , 1 1 3 6 9 Ce n t e n n i a l , Wh i t m o r e , M I 4 8 1 8 9
 2.8604 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/30/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ny s s a Me r c a n t i l e , 1 1 9 Ma i n St r e e t , Ny s s a , O R 9 7 9 1 3 - 0 0 0 1
 2.8605 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O. d . Ke n n e y ' s , 1 4 5 N. 9 t h St . , Sl a t o n , T X 7 9 3 6 4
 2.8606 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 9 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O' Ce d a r Br a n d s , 5 0 5 W Ra i l r o a d Av e n u , No r t h l a k e , I L 6 0 1 6 4
 2.8607 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 O' Ce d a r Br a n d s , 5 0 5 W Ra i l r o a d Av e n u , No r t h l a k e , I L 6 0 1 6 4
 2.8608 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 O' Ce d a r Br a n d s , 5 0 5 W Ra i l r o a d Av e n u , No r t h l a k e , I L 6 0 1 6 4
 2.8609 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O' Ce d a r Br a n d s , 5 0 5 W Ra i l r o a d Av e n u , No r t h l a k e , I L 6 0 1 6 4
 2.8610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O' d e l l Tr u e Va l u e Lu m b e r , Od e l l Tr u e Va l u e Lu m b e r , 6 1 Vi n e
 2.8611 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 3 9 )
                                                                                                                                                                 St , Ga l l i p o l i s , O H 4 5 6 3 1 - 1 0 8 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 O' l e a r y Pa i n t , 4 1 5 Ba k e r s St , La n s i n g , M I 4 8 9 1 0
 2.8612 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O' Su l l i v a n In d u s t r i e s In c , 1 9 0 0 Gu l f St r e e t , La m a r , M O 6 4 7 5 9 -
 2.8613 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1899
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8614 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8615 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch i c a g o , I L 6 0 6 6 1

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8616 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch i c a g o , I L 6 0 6 6 1

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8617 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8618 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 O2 Co o l L L C, O2 Co o l L L C, 1 6 8 N Cl i n t o n St , Su i t e 5 0 0 ,
 2.8619 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 6 1
        nature of the debtor's interest
          State the term remaining                        08/01/2024 - 08/31/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Oa k i w e a r Ou t d o o r L L C, 3 5 2 1 W 1 5 0 0 S, Sa l t La k e Ci t y, U T
 2.8620 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 84104
        nature of the debtor's interest
          State the term remaining                        11/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Oa k l e y Fa r m & Ho m e Ce n t e r , 1 2 4 Ce n t e r , Oa k l e y, K S 6 7 7 4 8 -
 2.8621 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 7 4 )
                                                                                                                                                                 1712
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8622 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8623 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8624 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8625 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8626 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8627 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8628 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8629 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oa t e y Co m p a n y, 2 0 6 0 0 Em e r a l d Pa r k w a y, Cl e v e l a n d , O H 4 4 1 3 5
 2.8630 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ob e r l i n Fa r m & Su p p l y, 2 1 3 S. Pe n n Av e , Ob e r l i n , K S 6 7 7 4 9 -
 2.8631 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 2 7 )
        nature of the debtor's interest                                                                                                                          0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oc e a n Gr o v e Ha r d w a r e , 5 1 Ma i n Av e , Oc e a n Gr o v e , N J 0 7 7 5 6 -
 2.8632 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 8 6 )
                                                                                                                                                                 1562
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oc r a c o k e Tr u e Va l u e , 9 5 0 Ir v i n Ga r r i s h Hw y, Oc r a c o k e , N C
 2.8633 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 7 5 6 )
                                                                                                                                                                 27960-9997
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Od h Di s t r i b u t i n g , 1 2 1 4 N Ea g l e c r e s t St , Ni x a , M O 6 5 7 1 4
 2.8634 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/16/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Od o r s Aw a y L L C, 3 6 8 Bl u f f Ci t y Bl v d u n i t 2 0 7 , El g i n , I L 6 0 1 2 0
 2.8635 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        12/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Of f i c e Re v o l u t i o n Gr o u p , 2 2 7 5 Ha l f Da y Rd . , Su i t e 1 0 0 ,
 2.8636 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ba n n o c k b u r n , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Oh Su g a r , 1 5 0 0 Re d i Rd , Cu m m i n g , G A 3 0 0 4 0
 2.8637 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Oh i o Se c u r i t y Sy s t e m s In c , 3 6 3 5 El m Rd , Wa r r e n , O H 4 4 4 8 3
 2.8638 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Oh i o Se c u r i t y Se r v i c e s
        nature of the debtor's interest                   Ex t e n s i o n Am e n d m e n t

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Oh i o Va l l e y Su p p l y St o w, 4 4 4 5 Al l e n Rd , St o w, O H 4 4 2 2 4 -
 2.8639 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 7 )
                                                                                                                                                                 1058
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Ci t y Ag w a y, 5 5 0 Se n e c a St , Oi l Ci t y, PA 1 6 3 0 1
 2.8640 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8641 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60611
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8642 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60611
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8643 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60611
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8644 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60611
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60611

          State the term remaining                        02/08/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8646 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60611

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8647 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60611
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8648 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60611
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8649 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60611
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8650 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60611
        nature of the debtor's interest
          State the term remaining                        02/22/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8651 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60611

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Oi l Dr i , Oi l Dr i Co r p - Am r c a , 4 1 0 N Mi c h i g a n Av e , Ch i c a g o , I L
 2.8652 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60611
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Oj a i Tr u e Va l u e Ha r d w a r e , 1 1 1 5 Ma r i c o p a Hw y, Oj a i , C A
 2.8653 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 4 )
        nature of the debtor's interest                                                                                                              93023-3126

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     O K Fe e d & Su p p l y, 3 7 0 1 E Ft Lo w e l l Ro a d , Tu c s o n , A Z 8 5 7 1 6 -
 2.8654 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 1 )
                                                                                                                                                     0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ok t a , In c , Ok t a , In c , 3 0 1 Br a n n a n St r e e t , Su i t e 1 0 0 , Sa n
 2.8655 State what the contract or lease is for and the
                                                          So f t w a r e , Ok t a Ma s t e r Su b s c r i p t i o n Ag r e e m e n t
                                                                                                                                                     Fr a n c i s c o , C A 9 4 1 0 7
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2028

          List the contract number of any government
          contract
                                                                                                                                                     Ol a t h e Tr u e Va l u e Hd w, 3 2 1 Ma i n , Ol a t h e , C O 8 1 4 2 5 - 6 7 0 5
 2.8656 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ol d Ca s t l e La w n & Ga r d e n , 1 5 6 6 Hi g h Po i n t Ch u r c h Ro a d ,
 2.8657 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Pa g e l a n d , S C 2 9 7 2 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ol d Gl a d w y n e Tr u e Va l u e Ha r d w a r e , Ol d Gl a d w y n e Tr u e Va l u e
 2.8658 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 9 1 )
                                                                                                                                                     Ha r d w a , 3 3 8 Ri g h t e r s Mi l l Rd , Gl a d w y n e , PA 1 9 0 3 5 - 1 5 3 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ol d Ma s t e r s , 3 0 9 1 9 Th St , P. O. Bo x 2 8 6 , Or a n g e Ci t y, I A
 2.8659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              51041

          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ol d Tr a i l s Tr u e Va l u e , 6 1 6 N Ai r p o r t Rd , Wi l l i a m s , A Z 8 6 0 4 6 -
 2.8660 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 6 0 )
        nature of the debtor's interest                                                                                                                          9701

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Tr a p p e r Sm o k e d Pr o d u c t s , 4 0 7 1 2 4 t h Av e , Fo r e s t Gr o v e ,
 2.8661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OR 97116

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8662 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60062
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8663 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60062
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8664 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60062
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8665 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60062
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8666 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60062

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8667 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60062

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60062

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Au t o m o t i v e Pr o d u c t , 4 0 6 5 Co m m e r c i a l , No r t h b r o o k ,
 2.8669 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60062
        nature of the debtor's interest
          State the term remaining                        02/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d In d u s t r i e s , 4 0 6 5 Co m m e r c i a l Av e n u e , No r t h b r o o k ,
 2.8670 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60062
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Sp i c e s & Se a s o n i n g s , 5 3 2 0 Co l l e g e Bl v d , Ov e r l a n d
 2.8671 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , K S 6 6 2 1 1
        nature of the debtor's interest
          State the term remaining                        07/16/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d Wo r l d Sp i c e s & Se a s o n i n g s , 5 3 2 0 Co l l e g e Bl v d , Ov e r l a n d
 2.8672 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , K S 6 6 2 1 1
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d c a s t l e , 1 3 5 5 5 We l l i n g t o n Ce n t e r Ci r c l e , Su i t e 1 0 1 ,
 2.8673 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ga i n e s v i l l e , VA 2 0 1 5 5
        nature of the debtor's interest
          State the term remaining                        03/24/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d c a s t l e La w n & Ga r d e n , 4 8 1 Sp r i n g w a t e r Rd , Po l a n d Sp r i n g ,
 2.8674 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          ME 04274

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ol d c a s t l e St o n e Pr o d u c t s , 8 0 0 Uh l e r Rd , Ea s t o n , PA 1 8 0 4 0
 2.8675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                  Page 1085 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ol d e Ea r t h Tr u e Va l u e Re n t a l , 6 6 4 Bl a c k b u r n Rd , Fr i e d e n s , PA
 2.8676 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 7 4 )
        nature of the debtor's interest                                                                                                              15541-7305

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ol d e Th o m p s o n , 3 2 5 0 Ca m i n o De l So l , Ox n a r d , C A 9 3 0 3 0
 2.8677 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ol e y Va l l e y Fe e d , 1 4 3 Cl e a v e r Ra o d , Ol e y, PA 1 9 5 4 7
 2.8678 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ol f a - No r t h Am e r i c a , 9 5 2 5 We s t Br y n Ma w r Av e n u e , Su i t e 3 0 0 ,
 2.8679 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ro s e m o n t , I L 6 0 0 1 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ol i v e Em p i r e , 5 0 6 2 S 1 0 8 Th St , Om a h a , N E 6 8 1 3 7
 2.8680 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Ol i v e r Ca r b i d e Pr o d u c t s , 7 4 4 5 Ma y e r Rd , Co t t r e l l v i l l e , M I
 2.8681 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     48039
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ol m s t e d Vi l l a g e Ha r d w a r e , 2 4 4 Ce n t r a l Pa r k Av e n u e ,
 2.8682 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 3 )
        nature of the debtor's interest                                                                                                              Pi n e h u r s t , N C 2 8 3 7 4 - 8 8 0 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ol m s t e d Vi l l a g e Pa t i o Sh o p , 2 4 4 Ce n t r a l Pa r k Av e , Pi n e h u r s t ,
 2.8683 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 9 )
                                                                                                                                                     NC 28374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Ol n e y Tr u e Va l u e Ha r d w a r e , 2 0 5 E Ma i n St , Ol n e y, T X 7 6 3 7 4 -
 2.8684 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 8 5 )
                                                                                                                                                       1923
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ol r Am e r i c a In c . , 1 0 0 So u t h Fi f t h St r e e t , Su i t e 8 5 0 ,
 2.8685 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ap p l i c a t i o n m a n a g e d s e r v i c e s
                                                                                                                                                       Mi n n e a p o l i s , M N 5 5 4 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ol r Am e r i c a In c . , 1 0 0 So u t h Fi f t h St r e e t , Su i t e 8 5 0 ,
 2.8686 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , O L R Ma s t e r Se r v i c e s Ag r e e m e n t
                                                                                                                                                       Mi n n e a p o l i s , M N 5 5 4 0 2
        nature of the debtor's interest
          State the term remaining                        10/31/2020 - 10/31/2025

          List the contract number of any government
          contract
                                                                                                                                                       Ol s o n Sa w, 1 6 St o n y Hi l l Ro a d , Be t h e l , C T 0 6 8 0 1
 2.8687 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                       Ol s o n ' s Ac e Ha r d w a r e , 1 0 1 3 5 Gr a n d Av e , Fr a n k l i n Pa r k , I L
 2.8688 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 3 )
                                                                                                                                                       60131
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ol s o n ' s Ac e Ha r d w a r e , 1 1 3 7 Ch i c a g o Av e , Oa k Pa r k , I L 6 0 3 0 2
 2.8689 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ol s o n ' s Ac e Ha r d w a r e , 2 3 9 N Ge n e s e e St , Wa u k e g a n , I L 6 0 0 8 5
 2.8690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Ol s o n ' s Ac e Ha r d w a r e , 7 0 0 N. No r t h w e s t Hw y, Pa r k Ri d g e , I L
 2.8691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 2 )
                                                                                                                                                       60068
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ol t o n Ha r d w a r e , 5 2 2 8 t h St r e e t , Ol t o n , T X 7 9 0 6 4
 2.8692 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ol y m p i a To o l s In t ' l , Ol y m p i a To o l s In t e r n a t i o n a l , 9 2 9 N Gr a n d
 2.8693 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Av e , Co v i n a , C A 9 1 7 2 4
        nature of the debtor's interest
          State the term remaining                        09/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Ol y m p i c Mo u n t a i n Pr o d u c t s , 8 6 5 5 S 2 0 8 t h St , Ke n t , WA 9 8 0 3 1
 2.8694 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ol y m p i c Oi l , 5 1 0 0 W 7 0 t h Pl a c e , Be d f o r d Pa r k , I L 6 0 6 3 8
 2.8695 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ol y m p i c Oi l , 5 1 0 0 W 7 0 t h Pl a c e , Be d f o r d Pa r k , I L 6 0 6 3 8
 2.8696 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ol y m p i c Oi l , 5 1 0 0 W 7 0 t h Pl a c e , Be d f o r d Pa r k , I L 6 0 6 3 8
 2.8697 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Om g In c , P. O. Bo x 4 1 4 4 5 9 , Bo s t o n , M A 0 2 2 4 1
 2.8698 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Om g In c , P. O. Bo x 4 1 4 4 5 9 , Bo s t o n , M A 0 2 2 4 1
 2.8699 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Om g In c , P. O. Bo x 4 1 4 4 5 9 , Bo s t o n , M A 0 2 2 4 1
 2.8700 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   Om g In c , P. O. Bo x 4 1 4 4 5 9 , Bo s t o n , M A 0 2 2 4 1
 2.8701 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                   O M N I Tr u e Va l u e , 1 2 2 6 N We l l w o o d Av e , We s t Ba b y l o n , N Y
 2.8702 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 3 8 )
                                                                                                                                                                   11704-1011
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Om n i a Pa r t n e r s , 8 4 0 Cr e s c e n t Ce n t r e , Fr a n k l i n , T N 3 7 0 6 7
 2.8703 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Om n i a Pa r t n e r s Su n b e l t
        nature of the debtor's interest                   Re n t a l s Pa r t n e r s h i p Ag r e e m e n t 2 0 2 3

          State the term remaining                        04/26/2023

          List the contract number of any government
          contract
                                                                                                                                                                   Om n i a Pa r t n e r s , 8 4 0 Cr e s c e n t Ce n t r e , Fr a n k l i n , T N 3 7 0 6 7
 2.8704 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Om n i a Pa r t n e r s En t e r p r i s e Na t i o n a l
        nature of the debtor's interest                   Re n t a l Ca r Ag r e e m e n t 2 0 2 2

          State the term remaining                        07/22/2022

          List the contract number of any government
          contract
                                                                                                                                                                   Om n i a Pa r t n e r s , 8 4 0 Cr e s c e n t Ce n t r e , Fr a n k l i n , T N 3 7 0 6 7
 2.8705 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Om n i a Pa r t n e r s En t e r p r i s e
        nature of the debtor's interest                   Me m b e r s h i p Ag r e e e m e n t

          State the term remaining                        08/27/2015

          List the contract number of any government
          contract
                                                                                                                                                                   On a n c o c k Tr u e Va l u e Bl d g Sp l y, 1 3 5 Ma r k e t St , On a n c o c k , VA
 2.8706 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 1 4 )
                                                                                                                                                                   23417-4226
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   On a n c o c k Tr u e Va l u e Bu i l d i n g Su p p l y, 5 2 5 4 Ne w m a n La n e ,
 2.8707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 6 1 )
                                                                                                                                                                   Ea s t v i l l e , VA 2 3 3 4 7 - 9 9 9 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 On d r u s Ha r d w a r e Co In c , 5 1 5 Oa k St , To l e d o , O H 4 3 6 0 5 - 2 3 0 5
 2.8708 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 7 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On d u l i n e No r t h Am e r i c a In c , 4 9 0 0 On d u r a Dr i v e ,
 2.8709 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fr e d e r i c k s b u r g , VA 2 2 4 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 On e Sh o t Ou t f i t t e r s L L C, P. O. Bo x 5 4 3 , Sa n An t o n i o , T X
 2.8710 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 78292
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 On e So u r c e In d u s t r i e s L L C, On e So u r c e In d u s t r i e s L L C, 2 8 5 0
 2.8711 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 S Re d Hi l l Av e , Su i t e 1 1 0 , Sa n t a An a , C A 9 2 7 0 1
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 On e Sp o t , 2 8 - 2 9 0 3 Ha w a i i Be l t Ro a d , Pe p e ' Ec k e o , H I 9 6 7 8 3
 2.8712 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On p o i n t Fa m i l y Ce n t e r , 2 5 - 3 9 Pa r s o n s Bl v d , Fl u s h i n g , N Y
 2.8713 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 1 4 )
                                                                                                                                                                 11354-1247
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8714 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8715 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8716 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8717 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8718 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8720 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8721 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8722 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 On t e l Pr o d u c t s Co r p , 2 1 La w Dr i v e , Fa i r f i e l d , N J 0 7 0 0 4
 2.8723 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Oo c l Lo g i s t i c s ( Us a ) In c , Wa l l St r e e t Pl a z a , 8 8 Pi n e St r e e t , 8 t h
 2.8724 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , O O C L Oc e a n Fr e i g h t
                                                          Ag r e e m e n t 2 0 2 4                                                                               Fl l o o r , Ne w Yo r k , N Y 1 0 0 0 5
        nature of the debtor's interest
          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Oo k / Im p e x Sy s t e m s Gr o u p , 2 8 0 1 Nw 3 Rd Av e n u e , Mi a m i , F L
 2.8725 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33127
        nature of the debtor's interest
          State the term remaining                        02/21/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Oo k / Im p e x Sy s t e m s Gr o u p , 2 8 0 1 Nw 3 Rd Av e n u e , Mi a m i , F L
 2.8726 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 33127
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oo l t e w a h Ho m e & Ga r d e n Sh o w p l a c e , Oo l t e w a h Ho m e &
 2.8727 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 0 2 )
        nature of the debtor's interest                                                                                                                          Ga r d e n Sh o w p l a , 5 8 2 9 Oo l t e w a h - r i n g g o l d Ro a d , Oo l t e w a h , T N
                                                                                                                                                                 37363-7808
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Oo n i In c . , 1 8 9 W Ma i n St , Un i t 5 , Ed i n b u r g h , Sc o t l a n d , Un i t e d
 2.8728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ki n g d o m
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Oo n i In c . , 1 8 9 W Ma i n St , Un i t 5 , Ed i n b u r g h , Sc o t l a n d , Un i t e d
 2.8729 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ki n g d o m
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Op e l Gr o w e r s , In c . , 6 2 7 5 Ty l e r St , Hu d s o n v i l l e , M I 4 9 4 2 6
 2.8730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/9999

          List the contract number of any government
          contract
                                                                                                                                                                 Op e n Ai r Ci n e m a , 8 0 6 N 2 8 0 0 W , Li n d o n , U T 8 4 0 4 2
 2.8731 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/03/2014

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Op e n Ro a d Br a n d s L L C, 3 7 1 8 N Re d Ro c k , St e 5 0 0 , Wi c h i t a ,
 2.8732 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   KS 67226
        nature of the debtor's interest
          State the term remaining                        11/01/2023

          List the contract number of any government
          contract
                                                                                                                                                   Op e n Ro a d Br a n d s L L C, 3 7 1 8 N Re d Ro c k , St e 5 0 0 , Wi c h i t a ,
 2.8733 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   KS 67226
        nature of the debtor's interest
          State the term remaining                        11/01/2023 - 10/31/2026

          List the contract number of any government
          contract
                                                                                                                                                   Op e n a i , L L C, 5 4 8 Ma r k e t St r e e t , P M B 9 7 2 7 3 , Sa n Fr a n c i s c o ,
 2.8734 State what the contract or lease is for and the
                                                          So f t w a r e , Op e n A I A P I Us a g e Cr e d i t
        nature of the debtor's interest                                                                                                            CA 94104-5401

          State the term remaining                        11/20/2023 - 11/19/2024

          List the contract number of any government
          contract
                                                                                                                                                   Op t i l u m e n In c , 1 6 7 Ma r k e t St , Pi l l o w, PA 1 7 0 8 0
 2.8735 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/15/2019

          List the contract number of any government
          contract
                                                                                                                                                   Op t i m u m Te c h n o l o g i e s In c , P. O. Bo x 1 5 3 7 , 5 7 0 Jo e Fr a n k
 2.8736 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                   Ha r r i s Pk w y, Ca r t e r s v i l l e , G A 3 0 1 2 0
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2026

          List the contract number of any government
          contract
                                                                                                                                                   Op t i m u m Te c h n o l o g i e s In c , P. O. Bo x 1 5 3 7 , 5 7 0 Jo e Fr a n k
 2.8737 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   Ha r r i s Pk w y, Ca r t e r s v i l l e , G A 3 0 1 2 0
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                   Op t i m u s En t e r p r i s e In c , 2 2 0 1 E Wi n s t o n Rd , Un i t J, An a h e i m ,
 2.8738 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   CA 92805
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                   Op t i o n Tr u e Va l u e Sp l y. , Op t i o n Tr u e Va l u e Su p p l y, 5 1 4 1
 2.8739 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 4 )
                                                                                                                                                   Br o w n s v i l l e Rd , Pi t t s b u r g h , PA 1 5 2 3 6 - 2 6 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                       Op t i v Se c u r i t y In c , Op t i v Se c u r i t y In c , 1 1 2 5 1 7 Th St , Su i t e
 2.8740 State what the contract or lease is for and the   So f t w a r e , Op t i v Ok t a So f t w a r e S A A S Su b s c r i p t i o n 2 0 2 4
                                                                                                                                                                       1 7 0 0 , De n v e r , C O 8 0 2 0 2
        nature of the debtor's interest
          State the term remaining                        10/31/2024 - 10/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8741 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Op t i v Fi r e m o n Qu o t e # : 2 1 1 3 6 5 6 - 1 2
                                                                                                                                                                       80202
        nature of the debtor's interest                   Po l i c y Op t i m i z e r s u b s c r i p t i o n

          State the term remaining                        09/30/2022 - 09/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8742 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , O P T I V Ma s t e r Se r v i c e s Ag r e e m e n t
        nature of the debtor's interest                                                                                                                                80202

          State the term remaining                        10/30/2019 - 10/29/2024

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8743 State what the contract or lease is for and the
                                                          So f t w a r e , Op t i v - Pa l o Al t o Pa n o r a m a Su b s c r i p t i o n f o r Vi r t u a l
        nature of the debtor's interest                   So f t w a r e Fi r e w a l l s                                                                              80202

          State the term remaining                        02/25/2022 - 02/24/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8744 State what the contract or lease is for and the
                                                          So f t w a r e , Op t i v. - Pa l o Al t o Pa n o r a m a Pr e m i u m Su p p o r t f o r
                                                          Cl o u d Mi g r a t i o n Pr o j e c t                                                                       80202
        nature of the debtor's interest
          State the term remaining                        02/25/2022 - 02/24/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8745 State what the contract or lease is for and the
                                                          So f t w a r e , Op t i v Ok t a So f t w a r e a n d Su p p o r t 2 0 2 3
                                                                                                                                                                       80202
        nature of the debtor's interest
          State the term remaining                        10/31/2023 - 10/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8746 State what the contract or lease is for and the   So f t w a r e , Op t i v Pr o o f p o i n t E F D Su b s c r i p t i o n Re n e w a l - I T
                                                                                                                                                                       80202
        nature of the debtor's interest                   Se c u r i t y 2 0 2 4

          State the term remaining                        02/02/2024 - 02/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                       Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8747 State what the contract or lease is for and the   So f t w a r e , Op t i v Se c u r i t y - Pr o o f p o i n t Ta r g e t e d At t a c k Pr o t e c t i o n
                                                                                                                                                                       80202
        nature of the debtor's interest                   2024-2027

          State the term remaining                        05/02/2024 - 05/01/2027

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Op t i v Se c u r i t y In c . , 1 1 2 5 1 7 t h St , Su i t e 1 7 0 0 , De n v e r , C O
 2.8748 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Op t i v Te n a b l e A D Se c u r i t y Re n e w a l
                                                                                                                                                                  80202
        nature of the debtor's interest                   2024

          State the term remaining                        12/22/2023 - 12/21/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Op t u m He a l t h Ba n k , P O Bo x 3 0 5 1 6 S, Sa l t La k e Ci t y, U T
 2.8749 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Op t u m He a l t h Ba n k - H S A Ag r e e m e n t
        nature of the debtor's interest                                                                                                                           84130-0516

          State the term remaining                        06/04/2020

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8750 State what the contract or lease is for and the
                                                          Ma s t e r Li c e n s e Ag r e e m e n t , Or a c l e Cl o u d Fu s i o n Ma s t e r
        nature of the debtor's interest                   agreement                                                                                               CA 94065

          State the term remaining                        08/06/2019 - 08/06/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8751 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Or a c l e Pa a S a n d Ia a S Un i v e r s a l Cr e d i t s
                                                          2024-2026                                                                                               CA 94065
        nature of the debtor's interest
          State the term remaining                        06/01/2024 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8752 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Or a c l e Pa a S a n d Ia a S J D A 2 0 2 4 - 2 0 2 7
                                                                                                                                                                  CA 94065
        nature of the debtor's interest
          State the term remaining                        06/01/2024 - 05/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8753 State what the contract or lease is for and the
                                                          So f t w a r e , Or a c l e - Fu s i o n Ho s t e d Na m e d Us e r Li c e n s i n g
                                                          Re n e w a l 2 0 2 4 - 2 0 2 6                                                                          CA 94065
        nature of the debtor's interest
          State the term remaining                        06/01/2024 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8754 State what the contract or lease is for and the   So f t w a r e , Or a c l e D B So f t w a r e Su p p o r t & Ma i n t e n a n c e Re n e w a l
                                                                                                                                                                  CA 94065
        nature of the debtor's interest                   2023

          State the term remaining                        10/31/2023 - 10/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                  Or a c l e Am e r i c a , In c . , 5 0 0 Or a c l e Pa r k w a y, Re d w o o d Sh o r e s ,
 2.8755 State what the contract or lease is for and the   So f t w a r e , Or a c l e Ne t w a r e h o u s e Da t a b a s e Su p p o r t Su b s c r i p t i o n
                                                                                                                                                                  CA 94065
        nature of the debtor's interest                   Re n e w a l 2 0 2 4

          State the term remaining                        10/31/2024 - 10/30/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Or a n g e Gu a r d In c , 3 3 4 0 Pa u l Da v i s Dr i v e , Su i t e A, Ma r i n a , C A
 2.8756 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 93933
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Or a n g e So l Ho u s e h o l d Pr o d u c t s In c , 1 4 0 0 N Fi e s t a Bl v d ,
 2.8757 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bu i l d i n g 1 0 0 , Gi l b e r t , A Z 8 5 2 3 3

          State the term remaining                        03/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Or a n g e - So l , 1 4 0 0 N Fi e s t a Bl v d , Su i t e # 1 0 0 , Gi l b e r t , A Z 8 5 2 3 3
 2.8758 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Or a n g e - So l , 1 4 0 0 N Fi e s t a Bl v d , Su i t e # 1 0 0 , Gi l b e r t , A Z 8 5 2 3 3
 2.8759 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Or a n g e - So l , 1 4 0 0 N Fi e s t a Bl v d , Su i t e # 1 0 0 , Gi l b e r t , A Z 8 5 2 3 3
 2.8760 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Or b i s o n i a Tr u e Va l u e , 4 5 5 Ri d g l e y St , Or b i s o n i a , PA 1 7 2 4 3 -
 2.8761 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 2 6 )
                                                                                                                                                                 9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Or b i t Ir r i g a t i o n Pr o d u c t s In c , 8 4 5 N Ov e r l a n d Rd , No r t h Sa l t
 2.8762 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 La k e , U T 8 4 0 5 4
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Or b i t Ir r i g a t i o n Pr o d u c t s L L C, 8 4 5 Ov e r l a n d St , No r t h Sa l t
 2.8763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          La k e , U T 8 4 0 5 4

          State the term remaining                        01/31/2026

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 1096 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Or b i t Ir r i g a t i o n Pr o d u c t s L L C, 8 4 5 Ov e r l a n d St , No r t h Sa l t
 2.8764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               La k e , U T 8 4 0 5 4

          State the term remaining                        02/01/2024

          List the contract number of any government
          contract
                                                                                                                                                      Or c a , 3 2 8 7 Li m e s t o n e Ro a d , Su i t e 3 0 1 , An t i o c h , T N 3 7 0 1 3
 2.8765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                      Or c a , 3 2 8 7 Li m e s t o n e Ro a d , Su i t e 3 0 1 , An t i o c h , T N 3 7 0 1 3
 2.8766 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                      Or c a , 3 2 8 7 Li m e s t o n e Ro a d , Su i t e 3 0 1 , An t i o c h , T N 3 7 0 1 3
 2.8767 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                      Or c h a r d Me s a Tr u e Va l u e Hd w e , 2 6 8 6 Us Hw y 5 0 , Gr a n d
 2.8768 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 5 6 )
                                                                                                                                                      Ju n c t i o n , C O 8 1 5 0 3 - 1 9 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Or c h i d l a n d Ge n e r a l St o r e , 1 6 - 1 2 5 Or c h i d l a n d Dr , Ke a a u , H I
 2.8769 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 9 1 )
                                                                                                                                                      96749-9344
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Or e Re n t a l s , 6 9 9 N We s t En d Bl v d , Qu a k e r t o w n , PA 1 8 9 5 1 -
 2.8770 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 1 )
                                                                                                                                                      4101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Or e c k / Ed m a r Co r p o r a t i o n , 1 0 0 Ar m s t r o n g Rd , Su i t e 1 0 1 ,
 2.8771 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Pl y m o u t h , M A 0 2 3 6 0

          State the term remaining                        02/15/2011

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                    Page 1097 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Or e g o n Cu t t i n g Sy s t e m s , P O Bo x 2 2 1 2 7 , Po r t l a n d , O R 9 7 2 6 9
 2.8772 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                     Or e g o n Cu t t i n g Sy s t e m s , P O Bo x 2 2 1 2 7 , Po r t l a n d , O R 9 7 2 6 9
 2.8773 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Or e g o n Fe e d & Ir r i g a t i o n , 2 2 1 5 Nw 6 t h St , Re d m o n d , O R
 2.8774 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 9 )
                                                                                                                                                     97756-1214
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Or e g o n Pr i d e Nu r s e r i e s , 5 3 8 0 Se Bo o t h Be n d Rd , Mc m i n n v i l l e ,
 2.8775 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     OR 97128
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Or e g o n Tr a i l Li v e s t o c k Su p p l y, 1 0 3 0 6 Ea s t 1 s t St r e e t , Is l a n d
 2.8776 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 2 )
                                                                                                                                                     Ci t y, O R 9 7 8 5 0 - 1 1 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Or e g o n Tr e l l i s , 2 2 4 1 Pa l m e r Av e , Eu g e n e , O R 9 7 4 0 1
 2.8777 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Or g a n i z a b l e s , 1 7 9 7 5 Co l l e i r Av e , La k e El s i n o r e , C A 9 2 5 3 0
 2.8778 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Or i g i n a l Po w e r , 3 4 0 0 Co r p o r a t e Wa y, Su i t e C, Du l u t h , G A
 2.8779 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              30096

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                    Page 1098 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Or i n d a Ha r d w a r e , 5 6 Mo r a g a Wa y, Or i n d a , C A 9 4 5 6 3 - 3 0 2 4
 2.8780 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 9 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Or i n o k i a , In c , 8 1 8 0 Nw 3 6 t h St r e e t , Mi a m i , F L 3 3 1 6 6
 2.8781 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2019

          List the contract number of any government
          contract
                                                                                                                                                           Or i o l e Pa r k , 7 2 3 0 W Fo s t e r Av e , Ch i c a g o , I L 6 0 6 5 6
 2.8782 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Or i o n En e r g y Sy s t e m s , 2 2 1 0 Wo o d l a n d Dr i v e , Ma n i t o w o c , W I
 2.8783 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ma n c h e s t e r R D C L E D
                                                          Up g r a d e - Or i o n En e r g y Sy s t e m s                                                  54220
        nature of the debtor's interest
          State the term remaining                        11/01/2021

          List the contract number of any government
          contract
                                                                                                                                                           Or i o n En e r g y Sy s t e m s , 2 2 1 0 Wo o d l a n d Dr i v e , Ma n i t o w o c , W I
 2.8784 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , At l a n t a R D C L E D Up g r a d e -
                                                                                                                                                           54220
        nature of the debtor's interest                   Or i o n En e r g y Sy s t e m s

          State the term remaining                        07/20/2022

          List the contract number of any government
          contract
                                                                                                                                                           Or i o n Sa f e t y Pr o d u c t s , P. O. Bo x 1 0 4 7 , 2 8 3 2 0 St Mi c h a e l s Rd ,
 2.8785 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                           Ea s t o n , M D 2 1 6 0 1
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                           Or i o n Tr u e Va l u e , 5 0 7 1 1 t h Av e , Or i o n , I L 6 1 2 7 3 - 7 7 7 3
 2.8786 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 8 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Or k i n L L C, 2 1 7 0 Pi e d m o n t Rd Ne , At l a n t a , G A 3 0 3 2 4
 2.8787 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Or k i n Pe s t Co n t r o l
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 4

          State the term remaining                        07/01/2024 - 06/30/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Or l a n d e l l i Gr o u p , 2 0 5 0 Ki n g s Ci r c l e So u t h , Su i t e A, Ne p t u n e
 2.8788 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Be a c h , F L 3 2 2 6 6

          State the term remaining                        03/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Or l o w s k i Tr u e Va l u e , 3 2 0 Lo v e La n e , Ma t t i t u c k , N Y 1 1 9 5 2 -
 2.8789 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 6 2 )
                                                                                                                                                     1633
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Or o r a Vi s u a l L L C, 3 6 3 8 Ex e c u t i v e Bl v d , Me s q u i t e , T X 7 5 1 4 9
 2.8790 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Or s Na s c o , 9 0 7 S De t r o i t , Su i t e 4 0 0 , Tu l s a , O K 7 4 1 2 0
 2.8791 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Or t m e i e r Tr u e Va l u e Ha r d w a r e & Lu m b e r , Or t m e i e r Tr u e Va l u e
 2.8792 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 6 1 )
                                                                                                                                                     Ha r d w a r e & , 3 0 0 3 r d St , Be e m e r , N E 6 8 7 1 6 - 0 2 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Os a k i s Tr u e Va l u e , 2 0 9 Ce n t r a l Av e , Os a k i s , M N 5 6 3 6 0 - 0 1 3 7
 2.8793 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 6 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Os b o r n e ' s Ag w a y - Co n c o r d , Os b o r n e ' s Ag w a y, 2 5 8 Sh e e p
 2.8794 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 7 )
        nature of the debtor's interest                                                                                                              Da v i s Rd , Co n c o r d , N H 0 3 3 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Os b o r n e ' s Ag w a y - Ho o k s e t t , Ho o k s e t t Ag w a y, 3 4 3
 2.8795 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 8 )
                                                                                                                                                     Lo n d o n d e r r y Tu r n p i k e Rt e 2 8 By, Ho o k s e t t , N H 0 3 1 0 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Os b o r n e ' s Ag w a y - Wi n n i s q u a m , Wi n n i g u a m Ag w a y, 3 0 4 Da n i e l
 2.8796 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 9 )
                                                                                                                                                     We b s t e r Hi g h w a y Ro u t e 3 , Be l m o n t , N H 0 3 2 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Os k a l o o s a Tr u e Va l u e Ha r d w a r e , 2 0 2 Fi r s t Av e n u e E,
 2.8797 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 7 )
                                                                                                                                                     Os k a l o o s a , I A 5 2 5 7 7 - 3 1 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Os m e g e n In c , 2 0 0 We s t e r l y Ro a d , Be l l i n g h a m , WA 9 8 2 2 6
 2.8798 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Os r a m Sy l v a n i a In c , 2 0 0 Ba l l a r d v a l e St r e e t , Wi l m i n g t o n , M A
 2.8799 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     01887
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Os r a m Sy l v a n i a In c , 2 0 0 Ba l l a r d v a l e St r e e t , Wi l m i n g t o n , M A
 2.8800 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     01887
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ot e r o Tr u e Va l u e , 2 2 4 S Ma i n , Fo w l e r , C O 8 1 0 3 9 - 1 1 3 3
 2.8801 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ot i s v i l l e Tr u e Va l u e Ha r d w a r e , 1 0 Wa l l a c e St r e e t , Ot i s v i l l e ,
 2.8802 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 0 2 )
        nature of the debtor's interest                                                                                                              NY 10963-2353

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ot o m i k Pr o d u c t s In c , 6 9 1 9 Si l v e r t o n Av e , Ci n c i n n a t i , O H
 2.8803 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     45236
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ot t a w a Fe e d & g r a i n Tr u e Va l u e , Ot t a w a Fe e d & Gr a i n Tr u e
 2.8804 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 7 5 )
                                                                                                                                                     Va l u e , 1 1 4 Me a d o w Gl e n Dr i v e , Ot t a w a , O H 4 5 8 7 5 - 1 8 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ot t o En v i r o n m e n t Sy s t e m s , 1 2 7 0 0 Ge n e r a l Dr i v e , Ch a r l o t t e ,
 2.8805 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     NC 28273
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ot t o En v i r o n m e n t Sy s t e m s , 1 2 7 0 0 Ge n e r a l Dr i v e , Ch a r l o t t e ,
 2.8806 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     NC 28273
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ot t o He r r m a n n In c , 6 7 2 9 My r t l e Av e St e 1 , Gl e n d a l e , N Y
 2.8807 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 0 2 )
                                                                                                                                                     11385-7063
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ou r Ow n Ca n d l e Co m p a n y, P. O. Bo x 9 9 , 1 0 3 4 9 Ma i n St ,
 2.8808 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Fi n d l e y La k e , N Y 1 4 7 3 6

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Ou r a y Ha r d w a r e & Me r c a n t i l e , 7 0 0 Ma i n St , Ou r a y, C O 8 1 4 2 7 -
 2.8809 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 5 2 )
        nature of the debtor's interest                                                                                                              0152

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ou t d o o r Eq u i p m e n t Co In c , 3 3 5 7 Pe a c h Or c h a r d Rd , Au g u s t a ,
 2.8810 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 9 8 )
                                                                                                                                                     GA 30906-4878
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ou t d o o r In t e r i o r s , 3 7 4 0 In d u s t r i a l Av e , Ro l l i n g Me a d o w s , I L
 2.8811 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60008
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ou t d o o r In t e r i o r s - Im p o r t , 3 7 4 0 In d u s t i r a l Av e n u e , Ro l l i n g
 2.8812 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Me a d o w s , I L 6 0 0 0 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ou t d o o r Ki t c h e n Di s t r i b u t o r s , 2 1 5 5 W Ba t e s Av e , En g l e w o o d ,
 2.8813 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CO 80110
        nature of the debtor's interest
          State the term remaining                        01/25/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ou t s e t Me d i a Ga m e s & Pu z z l e s , 1 0 6 - 4 2 2 6 Co m m e r c e Ci r c l e ,
 2.8814 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Vi c t o r i a , B C V8 Z 6 N6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        06/10/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ou t w a r d Ho u n d , 7 3 3 7 S Re v e r e Pa r k w a y, Ce n t e n n i a l , C O 8 0 1 2 2
 2.8815 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ou t w a r d Ho u n d , 7 3 3 7 S Re v e r e Pa r k w a y, Ce n t e n n i a l , C O 8 0 1 2 2
 2.8816 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ou t w a r d In t e l l i g e n c e L L C, 4 4 2 5 t h Av e , Su i t e 1 6 3 3 , Ne w Yo r k ,
 2.8817 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Ou t w a r d In t e l l i g e n c e M S A
        nature of the debtor's interest                                                                                                                          NY 10018

          State the term remaining                        02/01/2023 - 01/31/2028

          List the contract number of any government
          contract
                                                                                                                                                                 Ov e r t o n ' s Nc d c # 0 9 9 , Ov e r t o n ' s Nc d c 0 9 9 , 5 3 9 8 Ml k Jr Hw y,
 2.8818 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 0 9 )
                                                                                                                                                                 Gr e e n v i l l e , N C 2 7 8 3 4 - 8 6 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ow e n s Tr u e Va l u e , 1 1 3 E Wa s h i n g t o n St , Sa i n t Fr a n c i s , K S
 2.8819 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 8 8 )
                                                                                                                                                                 67756-5677
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                   Page 1103 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ow e n s Tr u e Va l u e Hd w e , 5 4 1 Hi g h w a y 6 1 , Im p e r i a l , N E
 2.8820 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 7 1 )
                                                                                                                                                     69033-3155
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ow l e t t ' s Fa r m St o r e , 1 0 9 8 7 Rt . 2 8 7 , We l l s b o r o , PA 1 6 9 0 1
 2.8821 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ox i b r a n d s L L C, 2 7 8 2 Co r b i n Av e n u e , Me l v i n d a l e , M I 4 8 1 2 2
 2.8822 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ox o In t ' l , Ox o In t e r n a t i o n a l , 6 0 1 We s t 2 6 Th St r e e t , Su i t e 9 1 0 ,
 2.8823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ne w Yo r k , N Y 1 0 0 0 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ox x In c , 3 5 Oa k e s St Sw, Su i t e 6 0 0 , Gr a n d Ra p i d s , M I 4 9 5 0 3
 2.8824 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ox y g e n i c s , 9 7 6 Un i t e d Ci r c l e , Sp a r k s , N V 8 9 4 3 1
 2.8825 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Oz a r k Ha r d w o o d Pe l l e t s , 1 9 1 St a t e Hw y A B, Se y m o u r , M O
 2.8826 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     65746
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Oz o n e Pa r k Lu m b e r , 1 2 3 2 4 Ro c k a w a y Bl v d , So u t h Oz o n e Pa r k ,
 2.8827 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 9 2 )
                                                                                                                                                     NY 11420
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Oz w e s t In c , P. O. Bo x 8 4 7 , Po r t l a n d , O R 9 7 2 0 7
 2.8828 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8829 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8830 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8831 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8832 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8833 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8834 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8835 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8836 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                              P F Ha r r i s Mf g Co , P. O. Bo x 1 9 2 2 , Ca r t e r s v i l l e , G A 3 0 1 2 0
 2.8837 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/01/2012

          List the contract number of any government
          contract
                                                                                                                                                              P Gr a h a m Du n n , 6 3 0 He n r y St , Da l t o n , O H 4 4 6 1 8
 2.8838 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                              P- b Ha r d w a r e , In c . , P- b Ha r d w a r e In c , 1 1 7 Ma i n St r e e t , Po r t
 2.8839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 8 3 )
        nature of the debtor's interest                                                                                                                       By r o n , N Y 1 3 1 4 0 - 9 9 9 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              P. A. M. Tr a n s p o r t In c , Hi g h w a y 4 1 2 We s t , To n t i t o w n , A Z
 2.8840 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , P. A. M. Tr a n s p o r t In c - Tr a n s p o r t a t i o n
                                                          Ag r e e m e n t s Co n t r a c t e d Ca r r i e r                                                  72770
        nature of the debtor's interest
          State the term remaining                        06/01/2019

          List the contract number of any government
          contract
                                                                                                                                                              P. S. Mf g Co m p a n y, 3 3 5 9 Hi d d e n Hi l l s Dr i v e , Ce d a r Ci t y, U T
 2.8841 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              84720
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                              P& M Pr o d u c t s In c , 6 6 1 9 1 3 2 Nd Av e Ne , Ki r k l a n d , WA 9 8 0 3 3
 2.8842 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                              Pa c e Tr u e Va l u e Ha r d w a r e , 3 3 6 5 Fe h l i n g Rd , Gr a n i t e Ci t y, I L
 2.8843 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 8 6 )
                                                                                                                                                              62040-3635
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa c e r Pu m p s , Di v. o f As m In d , 4 1 In d u s t r i a l Ci r c l e , La n c a s t e r ,
 2.8844 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 7 6 0 1
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Pa c e r Pu m p s , Di v. o f As m In d , 4 1 In d u s t r i a l Ci r c l e , La n c a s t e r ,
 2.8845 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 7 6 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa c e r Pu m p s , Di v. o f As m In d , 4 1 In d u s t r i a l Ci r c l e , La n c a s t e r ,
 2.8846 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          PA 1 7 6 0 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pa c i f i c Ci t y Tr u e Va l u e Ha r d w a r e , Pa c i f i c Ci t y Tr u e Va l u e
 2.8847 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 9 )
        nature of the debtor's interest                                                                                                                          Ha r d w a , 3 4 9 9 5 Ri v e r Av e , Pa c i f i c Ci t y, O R 9 7 1 3 5 - 9 1 0 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa c i f i c Cr e s t Nu r s e r y, 1 2 3 8 3 Ne Ca r l Rd , Wo o d b u r n , O R 9 7 0 7 1
 2.8848 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pa c i f i c De c o r , 1 8 3 4 7 Ne 1 9 9 Th Pl a c e , Wo o d i n v i l l e , WA 9 8 0 7 7
 2.8849 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/30/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pa c i f i c Ga s & En e r g y, Pa c i f i c Ga s & En e r g y, 3 0 0 La k e s i d e
 2.8850 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Pa c i f i c Ga s a n d El e c t r i c
                                                                                                                                                                 Dr i v e , Oa k l a n d , I L 9 4 6 0 1
        nature of the debtor's interest                   In t e r c o n n e c t i o n Ag r e e m e n t 2 0 2 4

          State the term remaining                        04/25/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pa c i f i c In d u s t r i a l Ha r d w a r e Tr u e Va l u e , 1 1 3 5 S. Pa c i f i c
 2.8851 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 3 )
                                                                                                                                                                 Av e n u e , Sa n Pe d r o , C A 9 0 7 3 1 - 4 1 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pa c i f i c Pr e c i s i o n Me t a l s , 4 1 6 0 Te m e s c a l Ca y o n Rd , Su i t e 2 0 2 ,
 2.8852 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Co r o n a , C A 9 2 8 8 3
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Pa c k Su p p l y, 4 3 8 Ki n g s t o n Av e , Br o o k l y n , N Y 1 1 2 2 5 - 4 6 0 2
 2.8853 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa c k i t L L C, Pa c k i t L L C, 8 7 5 S We s t l a k e Bl v d , 1 1 2 , We s t l a k e
 2.8854 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Vi l l a g e , C A 9 1 3 6 1

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                     Pa c t i v Bu i l d i n g Pr o d u c t s , 2 1 0 0 Ri v e r e d g e Pa r k w a y, Su i t e 1 7 5 ,
 2.8855 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Pa g e Se e d Co . , Th e , Pa g e Se e d Co , Th e , P. O. Bo x 1 5 8 , I A
 2.8856 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Gr e e n St , Gr e e n e , N Y 1 3 7 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa g u e & Fe g a n Tr u e Va l u e , 3 5 We s t Ki n g St r e e t , Sh i p p e n s b u r g ,
 2.8857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 2 9 )
                                                                                                                                                     PA 1 7 2 5 7 - 0 0 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t De p o t , 2 4 0 7 Ge n e r a l El e c t r i c Rd , Bl o o m i n g t o n , I L 6 1 7 0 4
 2.8858 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t Sa n An t o n i o , 4 3 3 5 Va n c e Ja c k s o n Ro a d St e 1 0 1 , Sa n
 2.8859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 9 )
                                                                                                                                                     An t o n i o , T X 7 8 2 3 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pa i n t Sp o t , 5 0 1 1 5 t h St r e e t , Tu s c a l o o s a , A L 3 5 4 0 1
 2.8860 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 5 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t e r ' s Wa r e h o u s e , In c . , Pa i n t e r ` s Wa r e h o u s e In c . , 1 2 0
 2.8861 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 7 )
        nature of the debtor's interest                                                                                                              Mo k a u e a St r e e t - St e F, Ho n o l u l u , H I 9 6 8 1 9 - 3 1 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t e r s Al l e y Ll c , 3 1 5 7 0 Hw y 2 0 , Oa k Ha r b o r , WA 9 8 2 7 7
 2.8862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 1 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t e r s Su p p l y & De c o r a t i n g Ce n t e r s , 1 1 2 6 S Me s a , 2 1 6 2 0 N
 2.8863 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 7 )
                                                                                                                                                     2 6 t h Av e Su i t e 1 0 0 , Me s a , A Z 8 5 0 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa i n t e r s Su p p l y Hq , 6 9 0 4 Wo o d w a y Dr. , Wa c o , T X 7 6 7 1 2
 2.8864 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa l a t i n e Tr u e Va l u e , Tr u e Va l u e Wh o l e s a l e , 7 9 0 We s t Eu c l i d ,
 2.8865 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 7 9 )
                                                                                                                                                     Pa l a t i n e , I L 6 0 0 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa l e Bl u e Ea r t h L L C, Pa l e Bl u e Ea r t h L L C, 2 7 5 0 Ra s m u s s e n
 2.8866 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ro a d , Su i t e H2 0 3 , Pa r k Ci t y, U T 8 4 0 9 8
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Pa l e Bl u e Ea r t h L L C, Pa l e Bl u e Ea r t h L L C, 2 7 5 0 Ra s m u s s e n
 2.8867 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ro a d , Su i t e H2 0 3 , Pa r k Ci t y, U T 8 4 0 9 8

          State the term remaining                        09/17/2023 - 12/31/2025

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa l e Bl u e Ea r t h L L C, Pa l e Bl u e Ea r t h L L C, 2 7 5 0 Ra s m u s s e n
 2.8868 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro a d , Su i t e H2 0 3 , Pa r k Ci t y, U T 8 4 0 9 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa l e Bl u e Ea r t h L L C, Pa l e Bl u e Ea r t h L L C, 2 7 5 0 Ra s m u s s e n
 2.8869 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro a d , Su i t e H2 0 3 , Pa r k Ci t y, U T 8 4 0 9 8

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m Co a s t Sa l e s In c , 1 4 5 4 0 Sa n d Ho l l y Ci r c l e , Ju p i t e r , F L
 2.8870 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33478
        nature of the debtor's interest
          State the term remaining                        01/24/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m Fi b r e Pr i v a t e Li m i t e d , Op p o s i t e Al l In d i a Ra d i o ,
 2.8871 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa t h i r a p p a l l y P O, Al l e p p e y, Ke r a l a 6 8 8 5 2 1 , In d i a
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m Sp r i n g s Ha r d w a r e , 1 7 8 5 E Pa l m Ca n y o n , Pa l m Sp r i n g s ,
 2.8872 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 4 )
                                                                                                                                                                 CA 92264-1630
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m e r Sn y d e r , 2 2 3 N Wa t e r St r e e t , Su i t e 3 5 0 , Mi l w a u k e e , W I
 2.8873 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53204
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m e r ' s Gr a n d Re n t a l St a t i o n , Pa l m e r ` s Gr a n d Re n t a l St a t i o n ,
 2.8874 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 1 8 )
                                                                                                                                                                 5 0 3 W Ma i n St , Av o n Pa r k , F L 3 3 8 2 5 - 3 6 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa l m y r a Tr u e Va l u e , 2 2 9 W Ma i n St , Pa l m y r a , W I 5 3 1 5 6 - 9 7 7 1
 2.8875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa l o Ce d r o Ha r d w a r e , 9 3 7 2 De s c h u t e s Rd B, Pa l o Ce d r o , C A
 2.8876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 8 4 )
        nature of the debtor's interest                                                                                                                          96073-9763

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa l y o c s i k Tr u e Va l u e Hd w e , 4 3 9 Lo c u s t St , Si d m a n , PA 1 5 9 5 5 -
 2.8877 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 )
        nature of the debtor's interest                                                                                                                          0186

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a Tr u e Va l u e Ha r d w a r e , 1 5 S Lo c u s t St , Pa n a , I L 6 2 5 5 7 -
 2.8878 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 8 0 )
                                                                                                                                                                 1463
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8879 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8880 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8881 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 43228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 43228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8883 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          43228

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8884 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          43228

          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8885 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8886 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8888 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8889 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        09/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 43228

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8891 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 43228

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8892 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 43228

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8893 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8894 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8895 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8896 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 43228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8897 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 43228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8898 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 43228

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8899 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 43228
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8900 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 43228

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1 In t e r n a t i o n a l St , Co l u m b u s , O H
 2.8901 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 43228
        nature of the debtor's interest
          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p - Im p o r t , Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1
 2.8902 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 In t e r n a t i o n a l St , Co l u m b u s , O H 4 3 2 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p - Im p o r t , Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1
 2.8903 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 In t e r n a t i o n a l St , Co l u m b u s , O H 4 3 2 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p - Im p o r t , Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1
 2.8904 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 In t e r n a t i o n a l St , Co l u m b u s , O H 4 3 2 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p - Im p o r t , Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1
 2.8905 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 In t e r n a t i o n a l St , Co l u m b u s , O H 4 3 2 2 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n a c e a Pr o d u c t s Co r p - Im p o r t , Pa n a c e a Pr o d u c t s Co r p , 2 7 1 1
 2.8906 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          In t e r n a t i o n a l St , Co l u m b u s , O H 4 3 2 2 8

          State the term remaining                        10/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n d y ' s Ga r d e n Ce n t e r , 4 1 6 0 0 Gr i s w o l d Ro a d , El y r i a , O H
 2.8907 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 1 )
                                                                                                                                                                 44035-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa n h a n d l e Pa i n t & De c o r a t i n g , 8 1 0 3 a Pa n a m a Ci t y Be a c h
 2.8908 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 0 )
                                                                                                                                                                 Pa r k w a y, Ly n n Ha v e n , F L 3 2 4 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n n e x t Fi t t i n g s Co r p , 6 8 3 3 W Sa m Ho u s t o n Pk w y S, Su i t e
 2.8909 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 0 6 , Ho u s t o n , T X 7 7 0 7 2
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pa n n e x t Fi t t i n g s Co r p , 6 8 3 3 W Sa m Ho u s t o n Pk w y S, Su i t e
 2.8910 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 2 0 6 , Ho u s t o n , T X 7 7 0 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa n t h e r Vi s i o n , Di v Of Wa t e r s In d u s t r e i e s , 2 1 3 We s t Ma i n
 2.8911 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St r e e t , We s t Du n d e e , I L 6 0 1 1 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pa p a ' s Ha r d w a r e , Pa p a ` s Ha r d w a r e , 2 7 6 Bo s t o n Tu r n p i k e ,
 2.8912 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 6 )
                                                                                                                                                                 Sh r e w s b u r y, M A 0 1 5 4 5 - 2 6 6 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa p a y a In c , 5 8 2 Pa r s o n s Dr , Me d f o r d , O R 9 7 5 0 1
 2.8913 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/05/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pa p e ' Ma c h i n e r y, 1 Pa t r o l St , Ok a n o g a n , WA 9 8 8 4 0 - 1 0 9 8
 2.8914 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa p e r Ma g i c Gr o u p , 5 4 Gl e n m a u r a Na t i o n a l Bl v d , Su i t e 2 0 0 ,
 2.8915 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mo o s i c , PA 1 8 5 0 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pa p e r Ma g i c / Ha l l o w e e n , 5 4 Gl e n m a u r a Na t i o n a l Bl v d , Su i t e
 2.8916 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     2 0 0 , Mo o s i c , PA 1 8 5 0 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa p e r Pr o d u c t s Co , 7 6 0 Co m m o n w e a l t h Dr i v e , Wa r r e n d a l e , PA
 2.8917 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     15086
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa p e r Pr o d u c t s , Co . , In c . , 7 6 0 Co m m o n w e a l t h Dr i v e ,
 2.8918 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wa r r e n d a l e , PA 1 5 0 8 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa p e r Pr o d u c t s / Sn g , Pa p e r Pr o d u c t s Co , 7 6 0 Co m m o n w e a l t h
 2.8919 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Dr i v e , Wa r r e n d a l e , PA 1 5 0 8 6
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa p e r Pr o d u c t s / Su p p l y, 3 6 Te r m i n a l Wa y, Wa r r e n d a l e , PA
 2.8920 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              15086

          State the term remaining                        02/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pa p e r s a l t , 4 2 1 Fa i r v i e w Av e N, Se a t t l e , WA 9 8 1 0 9
 2.8921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/31/2013

          List the contract number of any government
          contract
                                                                                                                                                     Pa p p a t e r r a Mo n t o l i o , S. a . s . , Au t o p i s t a 6 De No v i e m b r e Km 2 4 ,
 2.8922 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 8 0 )
                                                                                                                                                     Sa n Cr i s t o b a l , Do m i n i c a n Re p u b l i c
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pa r a d i s e Tr u e Va l u e , 6 8 4 8 Sk y w a y, Pa r a d i s e , C A 9 5 9 6 9
 2.8923 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Pa r a g o n Di s t r i b u t i n g , 1 2 1 2 1 N St e m m o n s Fr w y 1 3 0 , Da l l a s ,
 2.8924 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   TX 75234
        nature of the debtor's interest
          State the term remaining                        01/31/2018

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r a g o n So f t w a r e Sy s t e m s , In c ( Ap t e a n ) , 4 3 2 5 Al e x a n d e r
 2.8925 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Pa r a g o n So f t w a r e Sy s t e m s , In c ( Ap t e a n )
                                                          MSA                                                                                                      Dr i v e , Su i t e 1 0 0 , Al p h a r e t t a , G A 3 0 0 2 2
        nature of the debtor's interest
          State the term remaining                        04/08/2022 - 04/07/2027

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r a g o n So f t w a r e Sy s t e m s , In c ( Ap t e a n ) , 4 3 2 5 Al e x a n d e r
 2.8926 State what the contract or lease is for and the   So f t w a r e , Pa r a g o n So f t w a r e Sy s t e m s , In c ( Ap t e a n ) - Sa a S
                                                                                                                                                                   Dr i v e , Su i t e 1 0 0 , Al p h a r e t t a , G A 3 0 0 2 2
        nature of the debtor's interest                   Su b s c r i p t i o n

          State the term remaining                        06/20/2022 - 06/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r a m o u n t Ha r d w a r e Co m p a n y, L L C, 3 0 Tw o s o m e Dr # 3 ,
 2.8927 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   Mo o r e s t o w n , N J 0 8 0 5 7
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r a s o l , L L C, Pa r a s o l , L L C, 3 0 3 , S Br o a d w a y # 2 0 0 , B3 9 0 ,
 2.8928 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            De n v e r , C O 8 0 2 0 9

          State the term remaining                        06/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r e x Us a In c , 4 1 2 5 E La p a l m a Av e , Su i t e 2 5 0 , An a h e i m , C A
 2.8929 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   92807
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                   Pa r i c o n , In c , P O Bo x 1 5 7 , So u t h Pa r i s , M E 0 4 2 8 1
 2.8930 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Pa r i c o n , In c , P O Bo x 1 5 7 , So u t h Pa r i s , M E 0 4 2 8 1
 2.8931 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2012

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa r i c o n , In c , P O Bo x 1 5 7 , So u t h Pa r i s , M E 0 4 2 8 1
 2.8932 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r i c o n , In c , P O Bo x 1 5 7 , So u t h Pa r i s , M E 0 4 2 8 1
 2.8933 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Av e Tr u e Va l u e Ho m e Ce n t e r , Pa r k Av e Tr u e Va l u e Ho m e
 2.8934 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 3 0 )
                                                                                                                                                                 Ce n t e , 2 0 7 4 At l a n t i c Av e n u e , Br o o k l y n , N Y 1 1 2 3 3 - 3 1 6 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Fa l l s Tr u e Va l u e , 1 1 1 4 4 t h Av e n u e S, Pa r k Fa l l s , W I
 2.8935 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 1 )
        nature of the debtor's interest                                                                                                                          54552-1950

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Hi l l Pl a n t s , P. O. Bo x 2 6 0 , Ta h l e q u a h , O K 7 4 4 6 5
 2.8936 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8937 State what the contract or lease is for and the
                                                          Ha r d w a r e , Cu r v a t u r e Us e d Ci s c o Fi b e r Sw i t c h e s
                                                                                                                                                                 He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest
          State the term remaining                        12/10/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8938 State what the contract or lease is for and the
                                                          Ha r d w a r e , Pa r k Pl a c e H W Su p p o r t f o r Po w e r e d g e R7 3 0 Se r v e r s
                                                          - R D C' s 2 0 2 4                                                                                     He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest
          State the term remaining                        08/12/2024 - 08/11/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8939 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e H W Ma i n t e n a n c e Re n e w a l
                                                          Po w e r Ed g e R7 4 0 Se r v e r s - R S C 2 0 2 3 - 2 0 2 5                                          He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest
          State the term remaining                        11/14/2023 - 11/13/2025

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1118 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8940 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e H W Ma i n t e n a n c e Po w e r Ed g e
                                                          R7 4 0 Se r v e r s - Wi l k e s Ba r r e 2 0 2 4                                                      He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest
          State the term remaining                        04/21/2024 - 04/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8941 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e Ha r d w a r e Su p p o r t R D C
                                                                                                                                                                 He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest                   Ne t w o r k Sw i t c h e s 2 0 2 4 R S C

          State the term remaining                        05/01/2024 - 04/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8942 State what the contract or lease is for and the   Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e Po w e r Ed g e R7 3 0 X D Se r v e r
                                                                                                                                                                 He i g h t s , O H 4 4 1 2 4
        nature of the debtor's interest                   H W Ma i n t e n a n c e - Ca r y 2 0 2 4

          State the term remaining                        06/01/2024 - 05/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8943 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e H W Ma i n t e n a n c e Re n e w a l
        nature of the debtor's interest                   Po w e r Ed g e R7 3 0 X D Se r v e r f o r R S C 2 0 2 4                                              He i g h t s , O H 4 4 1 2 4

          State the term remaining                        09/19/2024 - 09/18/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k Pl a c e Te c h n o l o g i e s , 5 9 1 0 La n d e r b r o o k Dr i v e , Ma y f i e l d
 2.8944 State what the contract or lease is for and the
                                                          Ha r d w a r e Ma i n t e n a n c e , Pa r k Pl a c e Po w e r Ed g e R7 3 0 Se r v e r H W
        nature of the debtor's interest                   Ma i n t e n a n c e - Ca r y                                                                          He i g h t s , O H 4 4 1 2 4

          State the term remaining                        09/12/2024 - 08/11/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k e r Mc Cr o r y Mf g Co , 2 0 0 0 Fo r e s t St , Ka n s a s Ci t y, M O
 2.8945 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 64108
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k e r Mc Cr o r y Mf g Co , 2 0 0 0 Fo r e s t St , Ka n s a s Ci t y, M O
 2.8946 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 64108
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k e r Mc Cr o r y Mf g Co , 2 0 0 0 Fo r e s t St , Ka n s a s Ci t y, M O
 2.8947 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 64108
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1119 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa r k e r s Tr u e Va l u e , 2 8 1 0 Hw y 2 9 0 , Ho t Sp r i n g s , A R 7 1 9 1 3 -
 2.8948 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 8 )
                                                                                                                                                                 8794
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r k s Bu i l d i n g Su p p l y Co . , 1 0 0 1 S Re i l l y Rd , Fa y e t t e v i l l e , N C
 2.8949 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 2 )
                                                                                                                                                                 28314
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r r i c o In c , Co m u n i d a d La Do l r e s , 2 1 6 Av e . Ca s i a n o Ce p e d a ,
 2.8950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 6 )
        nature of the debtor's interest                                                                                                                          Ri o Gr a n d e , P R 0 0 7 4 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa r t s c r i p t i o n , 1 3 7 N Oa k Pa r k Av e , Su i t e 2 1 4 , Oa k Pa r k , I L
 2.8951 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60301

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s c o Ra n c h & Ho m e , In c . , Pa s c o Ra n c h & Ho m e In c . , 5 1 6 N.
 2.8952 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 2 )
                                                                                                                                                                 Or e g o n Av e , Pa s c o , WA 9 9 3 0 1 - 4 2 3 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , P. O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8953 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60061
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , P. O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8954 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 IL 60061
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , P. O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8955 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , p . O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8956 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , p . O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8957 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60061
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , p . O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8958 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60061

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , p . O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8959 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60061

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , P. O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8960 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60061
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s l o d e , 8 8 8 Fo r e s t Ed g e Dr i v e , P. O. Bo x 8 1 1 7 , Ve r n o n Hi l l s ,
 2.8961 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60061
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8962 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8963 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8964 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 8 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8965 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8966 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8967 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8968 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8970 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa s s & Se y m o u r , 5 0 Bo y d Av e n u e , Sy r a c u s e , N Y 1 3 2 2 1
 2.8971 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2026

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                          Page 1122 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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                                                                                                                                                24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pa s t i m e Ac e Ha r d w a r e , 1 0 0 5 7 Sa n Pa b l o Av e , El Ce r r i t o , C A
 2.8972 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 2 )
                                                                                                                                                                 94530
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa t Ro m e r o Fe e d & Su p p l y Tr u e Va l u e , Pa t Ro m e r o Fe e d &
 2.8973 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 9 5 )
        nature of the debtor's interest                                                                                                                          Su p p l y Tr u e , 4 0 6 Pe c o s St , La s Ve g a s , N M 8 7 7 0 1 - 6 4 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa t a s k a l a Tr u e Va l u e , 3 7 S Ma i n St , Pa t a s k a l a , O H 4 3 0 6 2 - 8 7 4 5
 2.8974 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 5 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa t h Va l l e y Ma r k e t , 1 6 3 9 0 Pa t h Va l l e y Ro a d , Sp r i n g Ru n , PA
 2.8975 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 2 )
                                                                                                                                                                 17262-0159
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa t i n a Pr o d u c t s , 4 3 0 3 Hu a s n a Rd , Ar r o y o Gr a n d e , C A 9 3 4 2 0
 2.8976 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pa t i o Ma s t e r Co r p , 9 0 0 E Ha m i l t o n , Su i t e 1 0 0 , Ca m p b e l l , C A
 2.8977 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 95008
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pa t i o Ma s t e r Co r p , 9 0 0 E Ha m i l t o n , Su i t e 1 0 0 , Ca m p b e l l , C A
 2.8978 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 95008
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pa t n o d e ' s Tr u e Va l u e Ha r d w a r e , 6 0 0 9 t h St , Be n t o n Ci t y, WA
 2.8979 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 5 3 )
        nature of the debtor's interest                                                                                                                          99320-9702

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1123 of 1687
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                   True Value Company, 24-12337-KBO                                Doc 623                          Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                        Pa t u x e n t Ho m e & Ga r d e n Sh o w p l a c e , 2 4 1 0 Cr a i n Hi g h w a y,
 2.8980 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 3 4 )
                                                                                                                                                                        Bo w i e , M D 2 0 7 1 6 - 3 4 2 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Pa u l K Gu i l l o w In c , 4 0 Ne w Sa l e m St , P. O. Bo x 2 2 9 ,
 2.8981 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                                 Wa k e f i e l d , M A 0 1 8 8 0

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                        Pa u l l i n a Ha r d w a r e , 1 0 4 E Br o a d w a y, Pa u l l i n a , I A 5 1 0 4 6 - 7 7 1 1
 2.8982 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Pa v e s t o n e In c . , 3 2 1 5 St a t e Hi g h w a y 3 6 0 , Gr a p e v i n e , T X 7 6 0 5 1
 2.8983 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                        Pa x t o n Ha r d w a r e & Re n t a l , 5 2 5 So u t h Ma r k e t St r e e t , Pa x t o n ,
 2.8984 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 7 )
                                                                                                                                                                        IL 60957-1617
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                        Pa y m e n t In t e g r i t y Pa r t n e r s , L. L. C, 3 6 4 Cr o m p t o n St r e e t ,
 2.8985 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Pa y m e n t In t e g r i t y Pa r t n e r s Pr o f e s s i o n a l
                                                                                                                                                                        Ch a r l o t t e , N C 2 8 2 7 3
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t S O W

          State the term remaining                        09/20/2021 - 09/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                        Pa y m e n t In t e g r i t y Pa r t n e r s , L. L. C, 3 6 4 Cr o m p t o n St r e e t ,
 2.8986 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Pa y m e n t In t e g r i t y Pa r t n e r s Ma s t e r
                                                                                                                                                                        Ch a r l o t t e , N C 2 8 2 7 3
        nature of the debtor's interest                   Pr o f e s s i o n a l Se r v i c e s Ag r e e m e n t

          State the term remaining                        09/20/2022 - 09/19/2027

          List the contract number of any government
          contract
                                                                                                                                                                        Pa y n e s v i l l e Fl e e t Sp l y Tr u e Va l u e , 3 0 0 5 5 E St a t e Hi g h w a y 5 5 ,
 2.8987 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 6 3 )
        nature of the debtor's interest                                                                                                                                 Pa y n e s v i l l e , M N 5 6 3 6 2 - 9 3 2 7

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Pa y p r o Gl o b a l , In c . , 5 0 0 7 t h Av e , Of f i c e 0 6 - 1 0 8 , Ne w Yo r k ,
 2.8988 State what the contract or lease is for and the
                                                          So f t w a r e , Pa y Pr o Gl o b a l To o l k i t Su b s c r i p t i o n 2 0 2 4
        nature of the debtor's interest                                                                                                                               NY 10018

          State the term remaining                        03/20/2024 - 03/19/2025

          List the contract number of any government
          contract
                                                                                                                                                                      Pa y s c a l e , 1 1 3 Ch e r r y St , Se a t t l e , WA 9 8 1 0 4
 2.8989 State what the contract or lease is for and the
                                                          So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Pa y s c a l e Ma s t e r Su b s c r i p t i o n
        nature of the debtor's interest                   Ag r e e m e n t

          State the term remaining                        12/05/2022 - 12/04/2025

          List the contract number of any government
          contract
                                                                                                                                                                      Pa y t o n s Tr u e Va l u e Ha r d w a r e , 9 8 4 1 Ma i n e Av e , La k e s i d e , C A
 2.8990 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 6 0 )
                                                                                                                                                                      92040-3105
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Pb i Go r d o n Co r p , P. O. Bo x 4 0 9 0 , 1 2 1 7 W 1 2 Th St r e e t , Ka n s a s
 2.8991 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                      Ci t y, M O 6 4 1 0 1
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                      Pb i Go r d o n Co r p , P. O. Bo x 4 0 9 0 , 1 2 1 7 W 1 2 Th St r e e t , Ka n s a s
 2.8992 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      Ci t y, M O 6 4 1 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                      Pd z Co m p a n y L L C, Pd z Co m p a n y Of Id a h o L L C, 1 2 1 2 N
 2.8993 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                      Wa s h i n g t o n St , Su i t e 1 0 7 , Sp o k a n e , WA 9 9 2 0 1
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                      Pd z Co m p a n y L L C, Pd z Co m p a n y Of Id a h o L L C, 1 2 1 2 N
 2.8994 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               Wa s h i n g t o n St , Su i t e 1 0 7 , Sp o k a n e , WA 9 9 2 0 1

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                      Pe a c h Tr e e Tr u e Va l u e Hd w e , 2 9 6 3 No r t h Av e , Gr a n d Ju n c t i o n ,
 2.8995 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 1 1 )
        nature of the debtor's interest                                                                                                                               CO 81504-4988

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         Pe a k Pr o d u c t s Am e r i c a In c . , 1 1 7 8 2 Ha m m e r s m i t h Wa y, Su i t e
 2.8996 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  2 0 3 , Ri c h m o n d , B C V7 A 5 E2 , Ca n a d a

          State the term remaining                        06/01/2018

          List the contract number of any government
          contract
                                                                                                                                                         Pe a k Lo g i x , 1 4 4 0 9 Ju s t i c e Rd , Mi d l o t h i a n , VA 2 3 1 1 3
 2.8997 State what the contract or lease is for and the
                                                          So f t w a r e , Pe a k Lo g i x So f t w a r e Se r v i c e Ag r e e m e n t Re n e w a l -
        nature of the debtor's interest                   Ce n t r a l Sh i p

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                         Pe a r l Ha r d w a r e , 1 6 2 1 Nw Gl i s a n , Po r t l a n d , O R 9 7 2 0 9 - 1 1 1 1
 2.8998 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 4 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Pe a r l Va l l e y Or g a n i x , 9 6 8 So u t h Ke n t Rd , Pe a r l Ci t y, I L 6 1 0 6 2
 2.8999 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                         Pe a r l g r e e n Su p p l y, 3 0 Pi n e St r e e t , Ne w Ro c h e l l e , N Y 1 0 8 0 1 -
 2.9000 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 3 3 )
                                                                                                                                                         6906
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                         Pe e l Pe o p l e L L C, Th e , 3 6 0 Sc o t t St , El k Gr o v e Vi l l a g e , I L
 2.9001 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                         60007
        nature of the debtor's interest
          State the term remaining                        12/01/2017

          List the contract number of any government
          contract
                                                                                                                                                         Pe e r l e s s In d u s t r i e s , In c , 3 2 1 5 W No r t h Av e , Me l r o s e Pa r k , I L
 2.9002 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  60160

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                         Pe e r l e s s Po t t e r y Sa l e s In c , 2 8 2 7 W St a t e Rd 6 6 , Su i t e E,
 2.9003 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                  Ro c k p o r t , I N 4 7 6 3 5

          State the term remaining                        11/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe k i n g Ha n d i c r a f t , In c . , Pe k i n g Ha n d i c r a f t , In c , 1 3 8 8 Sa n
 2.9004 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ma t e o Av e n u e , So u t h Sa n Fr a n c i s c o , C A 9 4 0 8 0

          State the term remaining                        06/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Pe m b r o k e Ha r d w a r e , 7 3 3 1 Hw y 7 1 1 , Pe m b r o k e , N C 2 8 3 7 2 -
 2.9005 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 2 1 3 )
                                                                                                                                                                 8888
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe m b r o k e Pa i n t , 1 7 Ma r k e t La n e , Pe m b r o k e , O N , Ca n a d a
 2.9006 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n h a l l u r i c k ' s Tr u e Va l u e , Pe n h a l l u r i c k ` s Tr u e Va l u e , 8 0 1 N
 2.9007 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 8 8 )
                                                                                                                                                                 St r a t f o r d Ro a d , Mo s e s La k e , WA 9 8 8 3 7 - 1 5 7 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n l e y Co r p , 2 De p o t St r e e t , P. O. Bo x 2 7 7 , We s t Pa r i s , M I
 2.9008 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 04289
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n Ha r d w a r e , 7 4 0 4 Fr a n k f o r d Av e , Ph i l a d e l p h i a , PA 1 9 1 3 6 -
 2.9009 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 1 3 )
        nature of the debtor's interest                                                                                                                          3809

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n La k e Tr u e Va l u e , 2 1 1 1 W 9 0 t h St r e e t , Bl o o m i n g t o n , M N
 2.9010 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 7 )
        nature of the debtor's interest                                                                                                                          55431

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n Pl a x In c , 3 5 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.9011 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe n n Pl a x In c , 3 5 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.9012 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n Pl a x In c , 3 5 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.9013 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n Pl a x In c , 3 5 Ma r c u s Bl v d , Ha u p p a u g e , N Y 1 1 7 8 8
 2.9014 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n Va l l e y Tr u e Va l u e Ha r d w a r e , 1 7 3 8 7 Pe n n Va l l e y Dr i v e ,
 2.9015 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 6 3 )
                                                                                                                                                                 Pe n n Va l l e y, C A 9 5 9 4 6 - 9 3 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n ' s Va l l e y Bu i l d i n g , Pe n n ` s Va l l e y Bu i l d i n g , 3 6 0 2 Pe n n s
 2.9016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 2 )
                                                                                                                                                                 Va l l e y Ro a d , Sp r i n g Mi l l s , PA 1 6 8 7 5 - 8 0 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n d e l Ha r d w a r e & Ho b b i e s In c , 1 1 9 Be l l e v u e Av e , Pe n n d e l ,
 2.9017 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 8 1 )
        nature of the debtor's interest                                                                                                                          PA 1 9 0 4 7 - 4 0 5 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n i n g t o n Se e d In c , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.9018 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n i n g t o n Se e d In c , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.9019 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe n n i n g t o n Se e d In c , 1 2 8 0 At l a n t a Hw y, Ma d i s o n , G A 3 0 6 5 0
 2.9020 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n s v i l l e Co m m u n i t y Ha r d w a r e , 1 0 4 N Br o a d w a y, Pe n n s v i l l e ,
 2.9021 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 0 )
                                                                                                                                                                 NJ 08070-1617
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9022 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 77252
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9023 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77252
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9024 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TX 77252

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9025 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TX 77252

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9026 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 77252
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9027 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 TX 77252
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe n n z o i l / Qu a k e r St a t e , P. O. Bo x 2 9 6 7 , 7 0 0 Mi l a m , Ho u s t o n ,
 2.9028 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TX 77252
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n s k e Tr u c k Le a s i n g Co . , L. P. , Ro u t e 1 0 Gr e e n Hi l l s , Re a d i n g ,
 2.9029 State what the contract or lease is for and the
                                                          Le a s e , Tr a c t o r Eq u i p m e n t Le a s e
                                                                                                                                                                 PA 1 9 6 0 3
        nature of the debtor's interest
          State the term remaining                        01/30/2018 - 01/29/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n s k e Tr u c k Le a s i n g Co . , L. P. , Ro u t e 1 0 Gr e e n Hi l l s , Re a d i n g ,
 2.9030 State what the contract or lease is for and the   Le a s e , Tr a c t o r Eq u i p m e n t Le a s e
                                                                                                                                                                 PA 1 9 6 0 3
        nature of the debtor's interest
          State the term remaining                        11/12/2019 - 05/11/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Re s i d e n t i a l Fi l t r a t i o n L L C, 5 7 3 0 N Gr e e n Pa r k Rd ,
 2.9031 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi l w a u k e e , W I 5 3 2 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9032 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9033 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/02/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9034 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9035 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9036 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9037 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t a i r Wa t e r , 2 9 3 So u t h Wr i g h t St r e e t , De l a v a n , W I 5 3 1 1 5
 2.9038 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pe n t e r a Se c u r i t y In c , 2 0 0 Su m m i t Dr i v e , Bu r l i n g t o n , M A
 2.9039 State what the contract or lease is for and the   So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Pe n t e r a So f t w a r e
                                                                                                                                                                 01803
        nature of the debtor's interest                   Su b s c r i p t i o n Ag r e e m e n t

          State the term remaining                        12/16/2022 - 12/15/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Pe q u a In d u s t r i e s , 4 3 1 Br o o k Av e , De e r Pa r k , N Y 1 1 7 2 9
 2.9040 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pe q u a In d u s t r i e s , 4 3 1 Br o o k Av e , De e r Pa r k , N Y 1 1 7 2 9
 2.9041 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pe r f e c t Ai r e L L C, 5 4 0 1 Da n s h e r Rd , Co u n t r y s i d e , I L 6 0 5 2 5
 2.9042 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pe r f e c t i o n Fl o o r Ti l e , 4 0 0 9 E 1 3 8 t h St , Gr a n d v i e w, M O 6 4 0 3 0
 2.9043 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe r i n e Lo w e In c , 7 2 0 Ch a l l e n g e r St , Br e a , C A 9 2 8 2 1
 2.9044 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        02/12/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pe r i n o s Ga r d e n Ce n t e r , 3 1 0 0 Ve t e r a n s Me m o r i a l Bl v d . ,
 2.9045 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 8 4 )
                                                                                                                                                                 Me t a i r i e , L A 7 0 0 0 2 - 6 0 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe r i t i u s , 5 6 0 We s t Wa s h i n g t o n Bl v d , Su i t e 3 3 0 , Ch i c a g o , I L
 2.9046 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , I T Pr o j e c t Ma n a g e m e n t a n d Bu s i n e s s
                                                                                                                                                                 60661
        nature of the debtor's interest                   An a l y s t w o r k i n s u p o r t o f St r a e g i c Pr o j e c t # 1 . 2 S A A

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe r k y Pe t - Di v o f Wo o d s t r e a m , 2 9 E Ki n g St r e e t , La n c a s t e r , PA
 2.9047 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          01760

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pe r m a s t e e l In c , 1 0 0 Ex c h a n g e Pl a c e , Po m o n a , C A 9 1 7 6 8
 2.9048 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Pe r m a s t e e l In c , 1 0 0 Ex c h a n g e Pl a c e , Po m o n a , C A 9 1 7 6 8
 2.9049 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe r r y Su p p l y, 8 3 1 1 s t Av e N, Bi r m i n g h a m , A L 3 5 2 0 3 - 3 0 0 7
 2.9050 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe r s o n a l Sa f e t y Co r p , 1 6 5 5 Pr o g r e s s , Hi a w a t h a , I A 5 2 2 3 3
 2.9051 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe s c h e ' s Fl o w e r s & Ga r d e n Ce n t e r , 1 7 0 So u t h Ri v e r Ro a d , De s
 2.9052 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 0 5 )
                                                                                                                                                                 Pl a i n e s , I L 6 0 0 1 6 - 3 4 1 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Ad v e n t u r e s Wo r l d w i d e , 8 4 9 4 Fi r e b i r d Dr i v e , We s t Ch e s t e r ,
 2.9053 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 OH 45014
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Ad v e n t u r e s Wo r l d w i d e , 8 4 9 4 Fi r e b i r d Dr i v e , We s t Ch e s t e r ,
 2.9054 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 OH 45014
        nature of the debtor's interest
          State the term remaining                        06/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Ad v e n t u r e s Wo r l d w i d e , 8 4 9 4 Fi r e b i r d Dr i v e , We s t Ch e s t e r ,
 2.9055 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OH 45014

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Ad v e n t u r e s Wo r l d w i d e , 8 4 9 4 Fi r e b i r d Dr i v e , We s t Ch e s t e r ,
 2.9056 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 OH 45014
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Ad v e n t u r e s Wo r l d w i d e , 8 4 9 4 Fi r e b i r d Dr i v e , We s t Ch e s t e r ,
 2.9057 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 OH 45014
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Br a n d s In c , 4 3 3 8 Ja n i t r o l Rd , Co l u m b u s , O H 4 3 2 2 8
 2.9058 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t Fa c t o r y In c , 8 4 5 E Hi g h St , Mu n d e l e i n , I L 6 0 0 6 0
 2.9059 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe t Fa c t o r y In c , 8 4 5 E Hi g h St , Mu n d e l e i n , I L 6 0 0 6 0
 2.9060 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t a l s & Pa w s , 4 6 5 Al b a n y Tp k e . , Ca n t o n , C T 0 6 0 1 9 - 0 0 0 1
 2.9061 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 3 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e ' s Ha r d w a r e Co In c , 2 5 6 9 Ca s t r o Va l l e y Bl v d , Ca s t r o
 2.9062 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 4 2 )
        nature of the debtor's interest                                                                                                                          Va l l e y, C A 9 4 5 4 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r ' s Tr u e Va l u e , 1 7 4 Ev e r g r e e n St r e e t , Re p u b l i c , M I 4 9 8 7 9 -
 2.9063 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 5 7 )
        nature of the debtor's interest                                                                                                                          9105

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r ' s Tr u e Va l u e , 4 1 5 E La k e St r e e t , So u t h Ly o n , M I 4 8 1 7 8 -
 2.9064 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 8 9 )
                                                                                                                                                                 1569
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r s Tr u e Va l u e Ha r d w a r e , 3 4 5 5 W Hi g h l a n d Rd , Mi l f o r d , M I
 2.9065 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 3 6 )
                                                                                                                                                                 48380-1113
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r s Tr u e Va l u e Hd w, 1 8 6 5 N Os a g e Av e , De w e y, O K 7 4 0 2 9 -
 2.9066 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 1 6 )
                                                                                                                                                                 2314
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r s e n ' s Tr u e Va l u e Ha r d w a r e , Pe t e r s e n ` s Tr u e Va l u e
 2.9067 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 8 )
                                                                                                                                                                 Ha r d w a r e , 8 5 0 Su l l i v a n Av e , So u t h Wi n d s o r , C T 0 6 0 7 4 - 2 0 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe t e r s o n Mf g Co , 1 0 Ba e k e l a n d Av e , Mi d d l e s e x , N J 0 8 8 4 6
 2.9068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t e r s o n ' s Ha r d w a r e , 4 8 3 1 S. We s t e r n Av e . , Lo s An g e l e s , C A
 2.9069 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 5 )
                                                                                                                                                                 90062-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t i t t i Ga r d e n Ce n t e r s , 2 5 0 7 2 Br o a d w a y Av e n u e , Be d f o r d , O H
 2.9070 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 4 2 )
        nature of the debtor's interest                                                                                                                          44146-6309

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9071 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9072 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9073 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9074 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9076 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9080 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9081 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9082 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9083 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9084 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9085 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t m a t e , 2 3 0 0 E Ra n d o l Mi l l Rd , Ar l i n g t o n , T X 7 6 0 0 1
 2.9087 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a In d u s t r i e s , 2 1 0 1 S Ke l l y Av e , Ed m o n d , O K 7 3 0 1 3
 2.9088 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a In d u s t r i e s , 2 1 0 1 S Ke l l y Av e , Ed m o n d , O K 7 3 0 1 3
 2.9089 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2022 - 05/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a In d u s t r i e s , 2 1 0 1 S Ke l l y Av e , Ed m o n d , O K 7 3 0 1 3
 2.9090 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a In d u s t r i e s , 2 1 0 1 S Ke l l y Av e , Ed m o n d , O K 7 3 0 1 3
 2.9091 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pe t r a In d u s t r i e s , 2 1 0 1 S Ke l l y Av e , Ed m o n d , O K 7 3 0 1 3
 2.9092 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a g e o u s De s i g n s , 2 5 0 Ba l l a r d v a l e St , Su i t e 1 A, Wi l m i n g t o n ,
 2.9093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MA 01887

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a g e o u s De s i g n s , 2 5 0 Ba l l a r d v a l e St , Su i t e 1 A, Wi l m i n g t o n ,
 2.9094 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MA 01887
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a g e o u s De s i g n s , 2 5 0 Ba l l a r d v a l e St , Su i t e 1 A, Wi l m i n g t o n ,
 2.9095 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MA 01887
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t r a g e o u s De s i g n s , 2 5 0 Ba l l a r d v a l e St , Su i t e 1 A, Wi l m i n g t o n ,
 2.9096 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 MA 01887
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pe t t y ' s Co m m u n i t y Ha r d w a r e , Pe t t y ` s Co m m u n i t y Ha r d w a r e ,
 2.9097 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 6 )
                                                                                                                                                                 1 7 6 9 9 Se 2 9 t h , Ch o c t a w, O K 7 3 0 2 0 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pf e i f e r Ha r d w a r e & Su p p l y, Pf e i f e r Ha r d w a r e & Sp l y, 3 0 0
 2.9098 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 7 6 )
                                                                                                                                                                 Ma r s h a l l Wa y, Ma r s , PA 1 6 0 4 6 - 2 3 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ph e l p s Nu r s e r y, 1 8 7 7 Pa i n t e r s Ru n Rd , Pi t t s b u r g h , PA 1 5 2 4 1
 2.9099 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 2 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Ph i f e r In c , 4 4 0 0 Ka u l o o s a - Bo x 1 7 0 0 , Tu s c a l o o s a , A L 3 5 4 0 3
 2.9100 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l i p s Ac c e s s o r i e s & Co m p u t e r Pe r i , 1 6 0 0 Su m m e r St r e e t ,
 2.9101 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            St a m f o r d , C T 0 6 9 0 5

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l i p s Ac c e s s o r i e s / Co m p u t e r , 1 6 0 0 Su m m e r St , St a m f o r d , C T
 2.9102 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   06905
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l i p s Co n s u m e r Li f e s t y l e , P. O. Bo x 1 2 0 0 1 5 , St a m f o r d , C T
 2.9103 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   06912
        nature of the debtor's interest
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l i p s Li g h t i n g , 2 0 0 Fr a n k l i n Sq u a r e Dr i v e , So m e r s e t , N J
 2.9104 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   08873
        nature of the debtor's interest
          State the term remaining                        02/01/2015

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l i p s b u r g Tr u e Va l u e , 1 6 8 7 Ph i l i p s b u r g - b i g l e r Hw y,
 2.9105 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 9 9 )
                                                                                                                                                   Ph i l i p s b u r g , PA 1 6 8 6 6 - 8 1 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                   Ph i l l i p s Sc r e w Co m p a n y, 3 0 1 Ed g e w a t e r Dr i v e , Su i t e 3 2 0 ,
 2.9106 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            Wa k e f i e l d , M A 0 1 8 8 0

          State the term remaining                        03/01/2020

          List the contract number of any government
          contract
                                                                                                                                                   Ph i l l i p s Tr u e Va l u e & Re n t a l Ce n t e r , 1 3 8 W Le e St , Da w s o n ,
 2.9107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 0 )
        nature of the debtor's interest                                                                                                            GA 39842-1658

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ph o e n i x Br a n d s L L C, Ph o e n i x Br a n d s L L C, 2 6 0 1 Fo r t u n e
 2.9108 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ci r c l e Ea s t , Su i t e 1 0 2 B, In d i a n a p o l i s , I N 4 6 2 4 1

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x Br a n d s L L C, Ph o e n i x Br a n d s L L C, 2 6 0 1 Fo r t u n e
 2.9109 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ci r c l e Ea s t , Su i t e 1 0 2 B, In d i a n a p o l i s , I N 4 6 2 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x Br a n d s L L C, Ph o e n i x Br a n d s L L C, 2 6 0 1 Fo r t u n e
 2.9110 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ci r c l e Ea s t , Su i t e 1 0 2 B, In d i a n a p o l i s , I N 4 6 2 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x Bu i l d i n g Pr o d u c t s , In c . , Ph o e n i x Bu i l d i n g Pr o d u c t s
 2.9111 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 8 )
                                                                                                                                                                 In c , 3 2 1 De n t o n Av e . , Ne w Hy d e Pa r k , N Y 1 1 0 4 0 - 3 4 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x Fi r e Sy s t e m s , 7 4 4 Ne b r a s k a St r e e t , Fr a n k f o r t , I L
 2.9112 State what the contract or lease is for and the   Or d e r Fo r m , Ph o e n i x Fi r e Sy s t e m s - Pr e a c t i o n Sy s t e m
                                                                                                                                                                 60423
        nature of the debtor's interest                   In s p e c t i o n 2 0 2 4

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x Re c y c l e d Pr o d . In c . , 3 6 0 We s t Ch u r c h St , Ba t e s b u r g ,
 2.9113 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 SC 29006
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ph o e n i x v i l l e Ha r d w a r e , 7 0 0 Nu t t Rd 5 2 0 , Ph o e n i x v i l l e , PA
 2.9114 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 4 0 )
        nature of the debtor's interest                                                                                                                          19460-3674

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9115 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Li n d e n , N J 0 7 0 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9116 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Li n d e n , N J 0 7 0 3 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9117 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Li n d e n , N J 0 7 0 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9118 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Li n d e n , N J 0 7 0 3 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9119 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Li n d e n , N J 0 7 0 3 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Li n d e n , N J 0 7 0 3 6
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Li n d e n , N J 0 7 0 3 6

          State the term remaining                        07/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pi c Co r p o r a t i o n , P. O. Bo x 1 4 5 8 , 1 1 0 1 W El i z a b e t h Av e ,
 2.9122 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Li n d e n , N J 0 7 0 3 6

          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Pi c k e r i n g Va l l e y Fe e d & Fa r m St o r e , 3 0 5 Go r d o n Dr i v e , Ex t o n ,
 2.9123 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 0 )
                                                                                                                                                                 PA 1 9 3 4 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pi c n i c Ti m e , 5 1 3 1 Ma u r e e n La n e , Mo o r p a r k , C A 9 3 0 2 1
 2.9124 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pi c t u r e De p o t In c , 2 0 To r o Rd , To r o n t o , O N M3 J 2 A7 , Ca n a d a
 2.9125 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pi g g l y Wi g g l y Tr u e Va l u e , 2 1 1 3 Be m i s s Rd , Va l d o s t a , G A
 2.9126 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 5 6 )
                                                                                                                                                                 31602-1940
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi k - a - p a n e l , 5 0 0 0 Ge r m a n t o w n Av e , Ph i l a d e l p h i a , PA 1 9 1 4 4 -
 2.9127 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 8 8 )
                                                                                                                                                                 5948
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi l o t Au t o m o t i v e In c , 1 3 0 0 0 Te m p l e Av e , Ci t y Of In d u s t r y, C A
 2.9128 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 91746
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi l o t Au t o m o t i v e In c , 1 3 0 0 0 Te m p l e Av e , Ci t y Of In d u s t r y, C A
 2.9129 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          91746

          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pi n e Bu s h Ho m e & Ga r d e n , 1 0 5 De p o t St , Pi n e Bu s h , N Y
 2.9130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 4 5 )
                                                                                                                                                                 12566-6609
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 0 1 Ce n t e r St r e e t , De e r Pa r k ,
 2.9131 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 1 )
                                                                                                                                                                 TX 77536-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 0 5 2 1 Re s e a r c h Dr , St e 1 0 2 ,
 2.9132 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 6 )
                                                                                                                                                     Kn o x v i l l e , T N 3 7 9 3 2 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 0 5 7 Ea s t He n r i e t t a Rd ,
 2.9133 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 5 )
                                                                                                                                                     Ro c h e s t e r , N Y 1 4 6 2 3 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 0 6 3 5 Ri c h m o n d Av e , Su i t e
 2.9134 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 2 )
                                                                                                                                                     1 0 0 , Ho u s t o n , T X 7 7 0 4 2 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 0 7 7 1 0 t h Av e Se ,
 2.9135 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 1 )
                                                                                                                                                     Mi n n e a p o l i s , M N 5 5 4 1 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 1 5 3 No r t h Ma i n St r e e t ,
 2.9136 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 8 )
        nature of the debtor's interest                                                                                                              Lo m b a r d , I L 6 0 1 4 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 1 5 3 No r t h Ma i n St r e e t ,
 2.9137 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 1 )
        nature of the debtor's interest                                                                                                              Lo m b a r d , I L 6 0 1 4 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 1 6 6 9 Li l b u r n Pa r k Rd , Sa i n t
 2.9138 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 0 )
                                                                                                                                                     Lo u i s , M O 6 3 1 4 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 2 5 0 6 1 3 0 t h Ln Ne ,
 2.9139 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 8 )
                                                                                                                                                     Ki r k l a n d , WA 9 8 0 3 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 2 8 Ch a r l o t t e Av e ,
 2.9140 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 0 )
                                                                                                                                                     Hi c k s v i l l e , N Y 1 1 8 0 1 - 2 6 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 3 4 0 Re y n o l d s Av e , Su i t e
 2.9141 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 6 )
                                                                                                                                                     1 0 8 , Ir v i n e , C A 9 2 6 1 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 3 9 5 S Ma r i e t t a Pk w y, Bl d g
 2.9142 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 4 )
                                                                                                                                                     2 5 0 Su i , Ma r i e t t a , G A 3 0 0 6 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 1 4 1 4 1 Ai r l i n e Hi g h w a y, Bl d g
 2.9143 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 3 )
                                                                                                                                                     4 , Ba t o n Ro u g e , L A 7 0 8 1 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 2 2 Pr e s t i g e Pa r k Ci r c l e , Ea s t
 2.9144 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 3 )
        nature of the debtor's interest                                                                                                              Ha r t f o r d , C T 0 6 1 0 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 2 2 0 9 N. Pa d r e Is l a n d Dr ,
 2.9145 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 4 )
        nature of the debtor's interest                                                                                                              Su i t e I, Co r p u s Ch r i s t i , T X 7 8 4 0 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 2 2 2 5 To m l y n n St r e e t ,
 2.9146 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 2 )
                                                                                                                                                     Ri c h m o n d , VA 2 3 2 3 0 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 2 4 To w e r Of f i c e Pa r k ,
 2.9147 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 2 )
                                                                                                                                                     Wo b u r n , M A 0 1 8 0 1 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 2 9 Wa s h i n g t o n Av e , Un i t A,
 2.9148 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 1 )
                                                                                                                                                     Sc a r b o r o u g h , M E 0 4 0 7 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 3 0 0 1 S. 3 5 t h St r e e t , Su i t e C-
 2.9149 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 0 )
                                                                                                                                                     1 1 , Ph o e n i x , A Z 8 5 0 3 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 3 6 0 0 Ha c i e n d a Bl v d , Su i t e C,
 2.9150 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 8 )
                                                                                                                                                     Fo r t La u d e r d a l e , F L 3 3 3 1 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 3 6 0 0 Ha c i e n d a Bl v d , Su i t e C,
 2.9151 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 9 )
        nature of the debtor's interest                                                                                                              Au s t i n , T X 7 8 7 5 8 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 3 9 0 1 Co c o n u t Pa l m Dr. , Su i t e
 2.9152 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 7 )
        nature of the debtor's interest                                                                                                              1 0 7 , Ta m p a , F L 3 3 6 1 9 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 4 0 3 7 Da r l i n g Co u r t , Su i t e D,
 2.9153 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 5 )
                                                                                                                                                     Li l b u r n , G A 3 0 0 4 7 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 4 0 5 Ca m b r i d g e Av e ,
 2.9154 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 4 )
                                                                                                                                                     Sy r a c u s e , N Y 1 3 2 0 8 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 4 4 0 Wr a n g l e r Dr i v e , Su i t e
 2.9155 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 0 )
                                                                                                                                                     2 0 0 , Co p p e l l , T X 7 5 0 1 9 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 5 1 7 0 Hu d s o n Dr i v e , Su i t e E,
 2.9156 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 7 )
                                                                                                                                                     Hu d s o n , O H 4 4 2 3 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 7 1 3 6 Zi o n s v i l l e Rd ,
 2.9157 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 9 )
                                                                                                                                                     In d i a n a p o l i s , I N 4 6 2 6 8 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 7 8 0 Fi f t h Av e , Su i t e 1 1 0 ,
 2.9158 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 9 )
                                                                                                                                                     Ki n g o f Pr u s s i a , PA 1 9 4 0 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 7 9 8 Cr o m w e l l Pa r k Dr , Su i t e
 2.9159 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 8 )
        nature of the debtor's interest                                                                                                              R/ s , Gl e n Bu r n i e , M D 2 1 0 6 1 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 8 4 1 1 Ga r v e y Dr i v e , Su i t e
 2.9160 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 7 3 )
        nature of the debtor's interest                                                                                                              1 1 3 , Ra l e i g h , N C 2 7 6 1 6 - 0 0 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 8 9 4 0 Ac t i v i t y Ro a d , Su i t e G,
 2.9161 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 8 9 )
                                                                                                                                                     Sa n Di e g o , C A 9 2 1 2 6 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 9 0 2 Pa r k w a y Vi e w Dr i v e ,
 2.9162 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 6 6 )
                                                                                                                                                     Pi t t s b u r g h , PA 1 5 2 0 5 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pi n e En v i r o n m e n t a l Se r v i c e s Ll c , 9 2 No r t h Ma i n St r e e t ,
 2.9163 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 7 )
                                                                                                                                                     Bu i l d i n g 2 0 , Wi n d s o r , N J 0 8 5 6 1 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                 Schedule G: Executory Contracts and Unexpired Leases                                                                                     Page 1146 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pi n e Hi l l Ha r d w a r e , 9 0 0 Er i a l Rd , Pi n e Hi l l , N J 0 8 0 2 1 - 6 3 2 2
 2.9164 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 0 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n e o ' s Tr u e Va l u e , Pi n e o ` s Tr u e Va l u e , 2 9 2 Ma i n St r e e t ,
 2.9165 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 7 4 )
                                                                                                                                                                 Ma c h i a s , M E 0 4 6 5 4 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n e r y L L C, Th e , 1 3 7 0 1 Hi g h l a n d Va l l e y Rd , Es c o n d i d o , C A
 2.9166 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92025

          State the term remaining                        10/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Pi n e s Co u n t r y St o r e In c , 1 Ma i n St , In d i a n La k e , N Y 1 2 8 4 2 -
 2.9167 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 5 7 )
        nature of the debtor's interest                                                                                                                          0339

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n n a c l e Cl i m a t e Te c h n o l o g i e s , 1 6 6 0 1 3 t h Av e N E, Sa u k
 2.9168 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ra p i d s , M N 5 6 3 7 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n n a c l e Cl i m a t e Te c h n o l o g i e s , 1 6 6 0 1 3 t h Av e N E, Sa u k
 2.9169 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ra p i d s , M N 5 6 3 7 9
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pi n n a c l e Cl i m a t e Te c h n o l o g i e s , 1 6 6 0 1 3 t h Av e N E, Sa u k
 2.9170 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ra p i d s , M N 5 6 3 7 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pi n n a c l e Cl i m a t e Te c h n o l o g i e s , 1 6 6 0 1 3 t h Av e N E, Sa u k
 2.9171 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ra p i d s , M N 5 6 3 7 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Pi n n a c l e Co a t i n g s Gr o u p , 6 1 6 W Mo c k i n g b i r d La n e , Da l l a s ,
 2.9172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 5 )
                                                                                                                                                             TX 75247
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Pi n n a c l e Co a t i n g s Of Ea s t Te x a s , 1 4 1 2 E. Us Hw y 8 0 , Wh i t e
 2.9173 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 7 )
                                                                                                                                                             Oa k , T X 7 5 6 9 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Pi n n a c l e Pr o p a n e Ex p r e s s L L C, 6 0 0 E La s Co l i n a s Bl v d , Su i t e
 2.9174 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      2 0 0 0 , Ir v i n g , T X 7 5 0 3 9

          State the term remaining                        01/02/2016

          List the contract number of any government
          contract
                                                                                                                                                             Pi n n a c l e Se r v i c e s In c . , 1 3 3 7 In d u s t r i a l Dr i v e , It a s c o , I L 6 0 1 4 3
 2.9175 State what the contract or lease is for and the
                                                          Ha r d w a r e , Pi n n a c l e Ma i n t e n a n c e Se r v i c e s Re n e w a l 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                             Pi n n a c l e Se r v i c e s In c . , 1 3 3 7 In d u s t r i a l Dr i v e , It a s c o , I L 6 0 1 4 3
 2.9176 State what the contract or lease is for and the
                                                          Ha r d w a r e , Pi n n a c l e C C T V Ma i n t e n a n c e Se r v i c e s Re n e w a l 2 0 2 4
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                             Pi n n c a l e Pr o d u c t s In t l , Pi n n a c l e Pr o d u c t s In t l In c , 1 6 0 2
 2.9177 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             Wi l l i a m Le i g h Dr i v e , Tu l l y t o w n , PA 1 9 0 0 7
        nature of the debtor's interest
          State the term remaining                        02/01/2024

          List the contract number of any government
          contract
                                                                                                                                                             Pi n t s c h ' s Tr u e Va l u e Ha r d w a r e , 1 7 8 9 1 Hw y 3 2 , To w n s e n d , W I
 2.9178 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 1 0 )
                                                                                                                                                             54175-9701
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Pi n t u r a s Pe v i Sa De Cv, Bl v d Be n i t o Ju a r e z 3 6 0 9 Fr a c c Re ,
 2.9179 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 6 )
                                                                                                                                                             Me x i c a l i , Ba j a Ca l i f o r n i a , Me x i c o
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Pi o n e e r Ru b b e r & Ga s k e t , 9 Fr e s h Br u , Ne w n a n , G A 3 0 2 6 3
 2.9180 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 6 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Pi o n e e r Tr u e Va l u e Ha r d w a r e , 8 5 4 4 Mc g r a w St r e e t , De t r o i t , M I
 2.9181 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 7 )
                                                                                                                                                       48210-2053
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Pi p Re n t a l , 6 7 Nh Rt . 1 1 , Fa r m i n g t o n , N H 0 3 8 3 5 - 3 8 3 5
 2.9182 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 8 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Pi r i t He a t e d Pr o d u c t s , 3 1 5 Te n n i s Wa y, Ea s t Do r s e t , V T 0 5 2 5 3
 2.9183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                       Pi r i t He a t e d Pr o d u c t s , 3 1 5 Te n n i s Wa y, Ea s t Do r s e t , V T 0 5 2 5 3
 2.9184 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                       Pi r t l e Nu r s e r y In c , 2 2 2 0 Ev i n s Mi l l Ro a d , Sm i t h v i l l e , T N
 2.9185 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       37166
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                       Pi t c o Ma g i k i t c h n , P. O. Bo x 5 0 1 , Co n c o r d , N H 0 3 3 0 2
 2.9186 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/12/2011

          List the contract number of any government
          contract
                                                                                                                                                       Pi t n e y Bo w e s , 3 0 0 1 Su m m e r St , St a m f o r d , C T 0 6 9 2 6
 2.9187 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , Pi t n e y Bo w e s Le a s e Ag r e e m e n t 2 0 2 4 - Ca r y
        nature of the debtor's interest
          State the term remaining                        07/14/2024 - 07/13/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Pi t t Oh i o Ex p r e s s L L C, 1 5 2 7 t h St r e e t , Pi t t s b u r g h , PA 1 5 2 2 2
 2.9188 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Pi t t Oh i o Ma s t e r LT L
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t

          State the term remaining                        07/17/2024 - 07/16/2029

          List the contract number of any government
          contract
                                                                                                                                                                      Pi t t m o s s L L C, 2 6 0 3 Du s s Av e , Am b r i d g e , PA 1 5 0 0 3
 2.9189 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                      Pi t t s b u r g h Co r n i n g Co r p . , Pi t t s b u r g h Co r n i n g Co r p , 8 0 0
 2.9190 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               Pr e s q u e Is l e Dr i v e , Pi t t s b u r g h , PA 1 5 2 3 9

          State the term remaining                        02/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                      Pi v o t a l So l u t i o n s , In c . , Pi v o t a l So l u t i o n s , In c , 3 Gr a c e
 2.9191 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Pi v o t a l So l u t i o n s Ag e n c y a n d Re c r u i t i n g
                                                          Ag r e e m e n t                                                                                            Av e n u e , Su i t e 1 6 2 , Gr e a t Ne c k , N Y 1 1 0 2 1
        nature of the debtor's interest
          State the term remaining                        12/12/2019 - 12/11/2024

          List the contract number of any government
          contract
                                                                                                                                                                      Pi x No r t h , 1 2 2 2 E Vo o r h e e s St , Da n v i l l e , I L 6 1 8 3 4
 2.9192 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                      Pi x No r t h , 1 2 2 2 E Vo o r h e e s St , Da n v i l l e , I L 6 1 8 3 4
 2.9193 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Pl a c e r v i l l e Tr u e Va l u e Ha r d w a r e , 4 4 1 Ma i n St , Pl a c e r v i l l e , C A
 2.9194 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 2 6 )
                                                                                                                                                                      95667-5607
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n f u l In c , 1 5 0 Sp e a r St r e e t , Su i t e 1 8 5 0 , Sa n Fr a n c i s c o , C A
 2.9195 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Pl a n f u l In c Ma s t e r Su b s c r i p t i o n
        nature of the debtor's interest                   Ag r e e m e n t                                                                                            94105

          State the term remaining                        06/03/2023 - 06/02/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl a n f u l In c , 1 5 0 Sp e a r St r e e t , Su i t e 1 8 5 0 , Sa n Fr a n c i s c o , C A
 2.9196 State what the contract or lease is for and the   Or d e r Fo r m , Pl a n f u l In c So f t w a r e Su b s c r i p t i o n Re n e w a l 2 0 2 3 -
                                                                                                                                                                 94105
        nature of the debtor's interest                   2025

          State the term remaining                        10/01/2023 - 09/30/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n o Mo l d i n g Co , 4 3 1 E So u t h St , Pl a n o , I L 6 0 5 4 5
 2.9197 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t St a n d In c , P. O. Bo x 2 5 5 2 , Re d m o n d , WA 9 0 8 7 3
 2.9198 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t St a n d In c , P. O. Bo x 2 5 5 2 , Re d m o n d , WA 9 0 8 7 3
 2.9199 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t a f l o r Us a In c , P. O. Bo x 2 6 5 5 , 2 1 0 E Cl a r k Av e , Sa n t a
 2.9200 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 An a , C A 9 3 4 5 7
        nature of the debtor's interest
          State the term remaining                        10/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t a t i o n Pa t t e r n s Fu r n i t u r e Co , c / o Mi d St a t e s Ma r k e t i n g ,
 2.9201 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 3 0 3 We l d o n Pa r k w a y, St . Lo u i s , M O 6 3 1 4 6
        nature of the debtor's interest
          State the term remaining                        06/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t a t i o n Pr o d u c t s , Gr e e n Ga r d e n Pr o d u c t s , L L C, 2 0 2 So u t h
 2.9202 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t a t i o n Pr o d u c t s , Gr e e n Ga r d e n Pr o d u c t s , L L C, 2 0 2 So u t h
 2.9203 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                      Pl a n t a t i o n Pr o d u c t s , Gr e e n Ga r d e n Pr o d u c t s , L L C, 2 0 2 So u t h
 2.9204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                      Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t a t i o n Pr o d u c t s , Gr e e n Ga r d e n Pr o d u c t s , L L C, 2 0 2 So u t h
 2.9205 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                      Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t a t i o n Pr o d u c t s , Gr e e n Ga r d e n Pr o d u c t s , L L C, 2 0 2 So u t h
 2.9206 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      Wa s h i n g t o n St r e e t , No r t o n , M A 0 2 7 6 6
        nature of the debtor's interest
          State the term remaining                        04/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t b e s t In c , 1 7 0 Du f f i e l d Dr i v e , 2 Nd Fl o o r , Ma r k h a m , O N
 2.9207 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                      L6 G 1 B5 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/14/2018

          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t e n s i v e So l u t i o n s Gr o u p , 5 5 0 1 Vi r g i n i a Wa y, Br e n t w o o d ,
 2.9208 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Pl a n t e n s i v e Ra t e Ca r d Ag r e e m e n t
                                                                                                                                                                      TN 37027
        nature of the debtor's interest
          State the term remaining                        02/16/2022 - 02/15/2027

          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t e n s i v e So l u t i o n s Gr o u p , 5 5 0 1 Vi r g i n i a Wa y, Br e n t w o o d ,
 2.9209 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Pl a n t e n s i v e So l u t i o n s Gr o u p Co n s u l t i n g
                                                                                                                                                                      TN 37027
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t

          State the term remaining                        02/17/2022 - 02/16/2027

          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t p e d d l e r In c , 5 3 0 2 n d Av e S W, Cr e s c o , I A 5 2 1 3 6
 2.9210 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/29/2011

          List the contract number of any government
          contract
                                                                                                                                                                      Pl a n t s Un l i m i t e d In c , 5 9 9 5 Ma r k e t St r e e t , Ka l a m a z o o , M I
 2.9211 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                               49048

          State the term remaining                        11/01/2012

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl a n t s c e n e , 4 5 2 0 Pi n e Cr e e k Rd , El k h a r t , I N 4 6 5 1 6
 2.9212 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a n t w o r k s Nu r s e r y In c , 4 6 3 5 Ri v e r Ru n La n e , Ro u g e m o n t , N C
 2.9213 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 27572
        nature of the debtor's interest
          State the term remaining                        02/18/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s k o l i t e In c , P. O. Bo x 1 4 9 7 , Co l u m u s , O H 4 3 2 1 6
 2.9214 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s k o l i t e In c , P. O. Bo x 1 4 9 7 , Co l u m u s , O H 4 3 2 1 6
 2.9215 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s k o l i t e In c , P. O. Bo x 1 4 9 7 , Co l u m u s , O H 4 3 2 1 6
 2.9216 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s k o l i t e In c , P. O. Bo x 1 4 9 7 , Co l u m u s , O H 4 3 2 1 6
 2.9217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s k o l i t e In c , P. O. Bo x 1 4 9 7 , Co l u m u s , O H 4 3 2 1 6
 2.9218 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t e c In d u s t r i e s , 3 5 0 So u t h e a s t 1 St St r e e t , De l r a y Be a c h , F L
 2.9219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          33483

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl a s t i Di p , 3 9 2 0 Ph e a s a n t Ri d g e Dr i v e , Bl a i n e , M N 5 5 4 4 9
 2.9220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i Di p , 3 9 2 0 Ph e a s a n t Ri d g e Dr i v e , Bl a i n e , M N 5 5 4 4 9
 2.9221 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/06/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i Di p , 3 9 2 0 Ph e a s a n t Ri d g e Dr i v e , Bl a i n e , M N 5 5 4 4 9
 2.9222 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i Di p , 3 9 2 0 Ph e a s a n t Ri d g e Dr i v e , Bl a i n e , M N 5 5 4 4 9
 2.9223 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i c De v e l o p m e n t Gr o u p L L C, Pl a s t i c De v e l o p m e n t Gr o u p
 2.9224 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 2 4 4 4 5 No r t h w e s t e r n Hw y, Su i t e 1 0 1 , So u t h f i e l d , M I
        nature of the debtor's interest
                                                                                                                                                                 48075
          State the term remaining                        01/01/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i c Ex p r e s s , 3 0 1 N 4 t h St r e e t , Vi n e l a n d , N J 0 8 3 6 0 - 4 5 1 1
 2.9225 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 4 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i c Ex p r e s s , 6 6 7 Le h i g h Av e . , Un i o n , N J 0 7 0 8 3 - 7 6 2 5
 2.9226 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i c Pr o d u c t Fo r m e r s In c , 1 0 2 0 5 Oa s i s Dr , Sa n An t o n i o , T X
 2.9227 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 78216
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl a s t i c Se r v i c e s & Pr o d u c t s , 1 7 6 0 W As s o c i a t e d Av e Un i t 4 ,
 2.9228 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sa l t La k e Ci t y, U T 8 4 1 0 4 - 3 8 5 2
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a s t i c s Gr o u p , Th e , 1 1 1 2 Ri v e r St r e e t , Wo o n s o c k e t , R I 0 2 8 9 5
 2.9229 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pl a t t Hi l l Nu r s e r y, 2 4 0 0 Ra n d a l l Rd , Ca r p e n t e r s v i l l e , I L 6 0 1 1 0 -
 2.9230 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 3 1 )
                                                                                                                                                                 3424
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a t t Hi l l Nu r s e r y In c H& g s , 2 2 2 W La k e St , Bl o o m i n g d a l e , I L
 2.9231 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 1 2 )
                                                                                                                                                                 60108-1038
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a t z Ha r d w a r e Tr u e Va l u e , 6 5 - 2 5 Fo r e s t Av e , Ri d g e w o o d , N Y
 2.9232 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 5 )
                                                                                                                                                                 11385-2536
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl a z a Tr u e Va l u e Ha r d w a r e , 1 1 8 1 3 S Mi c h i g a n Av e , Ch i c a g o ,
 2.9233 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 0 )
        nature of the debtor's interest                                                                                                                          IL 60628-6214

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl e a s a n t Va l l e y Ac e Ha r d w a r e , 1 4 7 1 Rt 2 0 9 Su i t e 1 0 2 ,
 2.9234 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 5 3 )
        nature of the debtor's interest                                                                                                                          Br o a d h e a d s v i l l e , PA 1 8 3 2 2 - 7 1 3 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl e w s / Ed e l m a n n , 1 5 5 0 Fr a n k l i n Gr o v e Ro a d , Di x o n , I L 6 1 0 2 1
 2.9235 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl e w s / Ed e l m a n n , 1 5 5 0 Fr a n k l i n Gr o v e Ro a d , Di x o n , I L 6 1 0 2 1
 2.9236 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl e w s / Ed e l m a n n , 1 5 5 0 Fr a n k l i n Gr o v e Ro a d , Di x o n , I L 6 1 0 2 1
 2.9237 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pl s - Pa c i f i c La s e r Sy s t e m s , 2 5 5 0 Ke r n e r , Sa n Ra f a e l , C A
 2.9238 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 94901
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Pl u g f o n e s , 2 0 5 7 W 7 0 0 S, Su i t e 2 0 0 , Sp r i n g v i l l e , U T 8 4 6 6 3
 2.9239 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Pa k Co r p o r a t i o n , 2 7 0 Fa r m i n g t o n Av e n u e , Su i t e 2 1 0 ,
 2.9240 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Fa r m i n g t o n , C T 0 6 0 3 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Pa k Co r p o r a t i o n , 2 7 0 Fa r m i n g t o n Av e n u e , Su i t e 2 1 0 ,
 2.9241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Fa r m i n g t o n , C T 0 6 0 3 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Pa k Co r p o r a t i o n , 2 7 0 Fa r m i n g t o n Av e n u e , Su i t e 2 1 0 ,
 2.9242 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fa r m i n g t o n , C T 0 6 0 3 2
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Pa k Co r p o r a t i o n , 2 7 0 Fa r m i n g t o n Av e n u e , Su i t e 2 1 0 ,
 2.9243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fa r m i n g t o n , C T 0 6 0 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1156 of 1687
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl u m b Pa k Co r p o r a t i o n , 2 7 0 Fa r m i n g t o n Av e n u e , Su i t e 2 1 0 ,
 2.9244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fa r m i n g t o n , C T 0 6 0 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Sh o p Di v Br a s s c r a f t , Br a s s Cr a f t , 3 9 6 0 0 Or c h a r d Hi l l
 2.9245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pl a c e , No v i , M I 4 8 3 7 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Sh o p Di v Br a s s c r a f t , Br a s s Cr a f t , 3 9 6 0 0 Or c h a r d Hi l l
 2.9246 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pl a c e , No v i , M I 4 8 3 7 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b Sh o p Di v Br a s s c r a f t , Br a s s Cr a f t , 3 9 6 0 0 Or c h a r d Hi l l
 2.9247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pl a c e , No v i , M I 4 8 3 7 5
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Pl u m b i n g Ci t y Tr u e Va l u e Hd w e , 8 7 5 1 Ca n o g a Av e , Ca n o g a
 2.9248 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 9 3 )
        nature of the debtor's interest                                                                                                                          Pa r k , C A 9 1 3 0 4 - 1 5 9 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl y m o u t h , Pl y m o u t h Tr u e Va l u e , 1 9 2 0 N Oa k Dr i v e , Pl y m o u t h ,
 2.9249 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 6 )
        nature of the debtor's interest                                                                                                                          IN 46563-3495

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl y m o u t h Mw g , 1 7 5 0 So u t h Li n c o l n Dr i v e , Fr e e p o r t , I L 6 0 0 1 8
 2.9250 State what the contract or lease is for and the
                                                          Le a s e , Pl y m o u t h M W G Le a s e 2 0 2 3
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pl z Ae r o s c i e n c e Co r p , 4 8 4 Vi s t a Av e , Ad d i s o n , I L 6 0 1 0 1
 2.9251 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pl z Ae r o s c i e n c e Co r p , 4 8 4 Vi s t a Av e , Ad d i s o n , I L 6 0 1 0 1
 2.9252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pl z Ae r o s c i e n c e Co r p , 4 8 4 Vi s t a Av e , Ad d i s o n , I L 6 0 1 0 1
 2.9253 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pl z Co r p , 2 6 5 1 Wa r r e n v i l l e Rd , St e 3 0 0 , Do w n e r s Gr o v e , I L
 2.9254 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60515
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pl z Co r p , 2 6 5 1 Wa r r e n v i l l e Rd , St e 3 0 0 , Do w n e r s Gr o v e , I L
 2.9255 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60515
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pl z Co r p , 2 6 5 1 Wa r r e n v i l l e Rd , St e 3 0 0 , Do w n e r s Gr o v e , I L
 2.9256 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60515

          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                                 Pm i Wo r l d w i d e , 2 4 0 1 El l i o t t Av e , 4 Th Fl o o r , Se a t t l e , WA
 2.9257 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 98121
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pm i Wo r l d w i d e , 2 4 0 1 El l i o t t Av e , 4 Th Fl o o r , Se a t t l e , WA
 2.9258 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 98121
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pm i Wo r l d w i d e , 2 4 0 1 El l i o t t Av e , 4 Th Fl o o r , Se a t t l e , WA
 2.9259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 98121
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Pm l Ha r d w a r e , 1 7 8 6 7 Hw y 1 2 0 , Bi g Oa k Fl a t , C A 9 5 3 0 5
 2.9260 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 3 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , Th e To w e r At Pn c Pl a z a , 3 0 0 Fi f t h Av e n u e ,
 2.9261 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , P N C Ba n k - Co m m e r c i a l Ca r d Pr o g r a m
                                                                                                                                                        Pi t t s b u r g h , PA 1 5 2 2 2
        nature of the debtor's interest                   Ag r e e m e n t 2 0 1 8

          State the term remaining                        05/18/2018

          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , N. a . , Pn c Ba n k , Na t i o n a l As s o c i a t i o n , 1 6 0 0 Ma r k e t
 2.9262 State what the contract or lease is for and the   Cr e d i t Do c u m e n t a t i o n , Cr e d i t Ag r e e m e n t
                                                                                                                                                        St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 3
        nature of the debtor's interest
          State the term remaining                        04/20/2018

          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , N. a . , Pn c Ba n k , Na t i o n a l As s o c i a t i o n , 1 6 0 0 Ma r k e t
 2.9263 State what the contract or lease is for and the
                                                          Cr e d i t Do c u m e n t a t i o n , Am e n d m e n t 1
        nature of the debtor's interest                                                                                                                 St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 3

          State the term remaining                        03/13/2024

          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , N. a . , Pn c Ba n k , Na t i o n a l As s o c i a t i o n , 1 6 0 0 Ma r k e t
 2.9264 State what the contract or lease is for and the
                                                          Cr e d i t Do c u m e n t a t i o n , Am e n d m e n t 2
        nature of the debtor's interest                                                                                                                 St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 3

          State the term remaining                        11/02/2022

          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , N. a . , Pn c Ba n k , Na t i o n a l As s o c i a t i o n , 1 6 0 0 Ma r k e t
 2.9265 State what the contract or lease is for and the
                                                          Cr e d i t Do c u m e n t a t i o n , Am e n d m e n t 3
                                                                                                                                                        St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 3
        nature of the debtor's interest
          State the term remaining                        01/24/2023

          List the contract number of any government
          contract
                                                                                                                                                        Pn c Ba n k , N. a . , Pn c Ba n k , Na t i o n a l As s o c i a t i o n , 1 6 0 0 Ma r k e t
 2.9266 State what the contract or lease is for and the
                                                          Cr e d i t Do c u m e n t a t i o n , Am e n d m e n t 4
                                                                                                                                                        St r e e t , Ph i l a d e l p h i a , PA 1 9 1 0 3
        nature of the debtor's interest
          State the term remaining                        08/26/2024

          List the contract number of any government
          contract
                                                                                                                                                        Po c a s s e t Ha r d w a r e , 3 7 6 Ba r l o w s La n d i n g , Po c a s s e t , M A 0 2 5 5 9 -
 2.9267 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 1 9 )
                                                                                                                                                        1961
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Po d s y, 1 2 6 3 6 Hi g h Bl u f f Dr i v e , Su i t e 4 0 0 , Sa n Di e g o , C A
 2.9268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     92130
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                     Po d s y Pa r t n e r s , L L C, Po d s y Pa r t n e r s , L L C, 1 2 6 3 6 Hi g h Bl u f f
 2.9269 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Dr i v e , Su i t e 4 0 0 , Sa n Di e g o , C A 9 2 1 3 0
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Po h n p e i Tr u e Va l u e , Ma i n St - Po Bx 2 4 8 , Ko l o n i a , Po h n p e i ,
 2.9270 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 6 8 7 )
                                                                                                                                                     Mi c r o n e s i a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po i r i e r ' s Tr u e Va l u e , Po i r i e r ` s Tr u e Va l u e , 9 5 9 2 Ro u t e 9 ,
 2.9271 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 9 6 )
        nature of the debtor's interest                                                                                                              Ch a z y, N Y 1 2 9 2 1 - 3 1 0 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po i r i e r ' s Tr u e Va l u e , Po i r i e r ` s Tr u e Va l u e , 7 3 2 7 Ro u t e 9 ,
 2.9272 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 7 )
                                                                                                                                                     Pl a t t s b u r g h , N Y 1 2 9 0 1 - 7 2 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po j o a q u e Tr u e Va l u e , 5 W Gu t i e r r e z St e 6 , Sa n t a Fe , N M
 2.9273 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 7 4 )
                                                                                                                                                     87506-0956
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po l i c e Se c u r i t y Fl a s h l i g h t s , 8 4 8 0 Ho l c o m b Br i d g e Rd , Su i t e
 2.9274 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     1 0 0 , Al p h a r e t t a , G A 3 0 0 2 2
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Po l l o c k Pi n e s Tr u e Va l u e Hd w e , 6 4 1 6 Po n y Ex p r e s s Tr l ,
 2.9275 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 8 1 )
                                                                                                                                                     Po l l o c k Pi n e s , C A 9 5 7 2 6 - 9 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Po l y Pr o To o l s , P. O. Bo x 6 9 8 , 4 7 3 5 W 1 0 6 t h St , Zi o n s v i l l e , I N
 2.9276 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46077
        nature of the debtor's interest
          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Po l y Wo o d , 1 0 0 1 W Br o o k l y n St , Sy r a c u s e , I N 4 6 5 6 7
 2.9277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/23/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Po l y - Te x In c . , P. O. Bo x 4 5 8 , Ca s t l e Ro c k , M N 5 5 0 1 0
 2.9278 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Po l y g r o u p Tr a d i n g , 6 5 4 S St r a t f o r d Dr , St e 1 0 0 , Me r i d i a n , I D
 2.9279 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 83642

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po l y g r o u p Tr a d i n g , 6 5 4 S St r a t f o r d Dr , St e 1 0 0 , Me r i d i a n , I D
 2.9280 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 83642
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po l y g r o u p Tr a d i n g , 6 5 4 S St r a t f o r d Dr , St e 1 0 0 , Me r i d i a n , I D
 2.9281 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 83642
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po n d b u i l d e r In c , 5 3 5 9 N Mi c h i g a n Rd , Sa g i n a w, M I 4 8 6 0 4
 2.9282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/04/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Po n t r e l l i Fo u n t a i n Co . , 1 7 0 S Wi l l i a m Di l l a r d Dr , Gi l b e r t , A Z
 2.9283 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 85233
        nature of the debtor's interest
          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Po n y To o l s In c , 4 0 4 No r t h Ar m o u r St , Ch i c a g o , I L 6 0 6 4 2
 2.9284 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po n y To o l s In c , 4 0 4 No r t h Ar m o u r St , Ch i c a g o , I L 6 0 6 4 2
 2.9285 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po n y To o l s In c , 4 0 4 No r t h Ar m o u r St , Ch i c a g o , I L 6 0 6 4 2
 2.9286 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Po o Po u r r i , 4 9 0 1 Ke l l e r Sp r i n g s Rd , Su i t e 1 0 6 D, Ad d i s o n , T X
 2.9287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          75001

          State the term remaining                        07/02/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Po o Po u r r i , 4 9 0 1 Ke l l e r Sp r i n g s Rd , Su i t e 1 0 6 D, Ad d i s o n , T X
 2.9288 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 75001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po o Po u r r i , 4 9 0 1 Ke l l e r Sp r i n g s Rd , Su i t e 1 0 6 D, Ad d i s o n , T X
 2.9289 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 75001
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Po o l ' s Tr u e Va l u e , Po o l ` s Tr u e Va l u e , 1 1 7 0 3 Il l i n o i s Hw y 1 ,
 2.9290 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 1 8 )
                                                                                                                                                                 Pa r i s , I L 6 1 9 4 4 - 8 3 0 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po p e s Pl a n t Fa r m In c , P. O. Bo x 1 8 7 , 6 8 1 4 Hw y 4 1 1 So u t h ,
 2.9291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n b a c k , T N 3 7 7 4 2
        nature of the debtor's interest
          State the term remaining                        02/01/2023 - 12/31/9999

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Po p u l a r Su p p l y Tr u e Va l u e , 8 2 1 N Ma i n St , Bo r g e r , T X 7 9 0 0 7 -
 2.9292 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 6 8 )
                                                                                                                                                      3532
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Po r t Ha r d w a r e , 1 5 3 Po r t Ro a d , Ke n n e b u n k , M E 0 4 0 4 3 - 7 7 8 0
 2.9293 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 5 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Po r t a c o o l L L C, P. O. Bo x 2 1 0 8 , De p t A, Ce n t e r , T X 7 5 9 3 5
 2.9294 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                      Po r t a l Wa y Fa r m & Ga r d e n , 6 1 0 0 Po r t a l Wa y, Fe r n d a l e , WA
 2.9295 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 3 8 )
                                                                                                                                                      98248-0639
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Po r t l a n d Tr u e Va l u e , 1 1 0 0 N. Me r i d i a n St , Po r t l a n d , I N 4 7 3 7 1 -
 2.9296 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 2 )
                                                                                                                                                      1025
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Po s i t e c Us a In c , 1 0 1 3 0 Pe r i m e t e r Pa r k w a y, Su i t e 3 0 0 ,
 2.9297 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Ch a r l o t t e , N C 2 8 2 1 6
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Po s i t e c Us a In c , 1 0 1 3 0 Pe r i m e t e r Pa r k w a y, Su i t e 3 0 0 ,
 2.9298 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      Ch a r l o t t e , N C 2 8 2 1 6
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Po s i t e c Us a In c , 1 0 1 3 0 Pe r i m e t e r Pa r k w a y, Su i t e 3 0 0 ,
 2.9299 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      Ch a r l o t t e , N C 2 8 2 1 6
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Po s i t i v e Di s t r i b u t i o n L L C, Po s i t i v e Di s t r i b u t i o n L L C, 4 6 0 8
 2.9300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     In d u s t r y La n e , Su i t e H, Du r h a m , N C 2 7 7 1 3
        nature of the debtor's interest
          State the term remaining                        05/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Po t e a u Tr u e Va l u e Ha r d w a r e , 2 8 0 8 N Br o a d w a y, Po t e a u , O K
 2.9301 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 6 5 )
        nature of the debtor's interest                                                                                                              74953

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po t o m a c Su p p l y Co r p , 1 3 9 8 Ki n s a l e Ro a d , Ki n s a l e , VA 2 2 4 8 8
 2.9302 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                     Po t s d a m Ag w a y, 1 4 Pi n e St r e e t , Po t s d a m , N Y 1 3 6 7 6
 2.9303 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Po t t e r y Di r e c t Am e r i c a Sa l e s , 1 5 7 3 4 Le e Rd , Su i t e B, Hu m b l e ,
 2.9304 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     TX 77396
        nature of the debtor's interest
          State the term remaining                        05/10/2010

          List the contract number of any government
          contract
                                                                                                                                                     Po t t e r y Pa t c h In t l In c , 4 1 2 Ta l l Pi n e s Rd , We s t Pa l m Be a c h , F L
 2.9305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     33413
        nature of the debtor's interest
          State the term remaining                        10/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Po t t e r y Po t s Us a In c , 1 8 0 0 E St a t e St , Su i t e 1 6 7 , Ha m i l t o n , N J
 2.9306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     08609
        nature of the debtor's interest
          State the term remaining                        03/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Po t t l e ' S Tr a n s p o r t a t i o n L L C, 1 5 Pa g e Ro a d We s t , He r m o n , M E
 2.9307 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Po t t l e ' s Tr a n s p o r t a t i o n L L C -
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t Co n t r a c t e d Ca r r i e r                04401

          State the term remaining                        05/18/2020

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9308 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 5 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9309 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 5 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9310 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9311 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9312 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9313 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 5 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po u l a n / We e d Ea t e r , 9 3 3 5 Ha r r i s Co r n e r s Pa r k w a y # 5 ,
 2.9314 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 5 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po w Au d i o , In c . , Po w Au d i o , In c , 1 1 6 Jo h n St r e e t , Su i t e 4 1 5 ,
 2.9315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Lo w e l l , M A 0 1 8 5 2

          State the term remaining                        05/07/2019

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Po w e l l Ac e Ha r d w a r e , 2 1 4 N Be n t St , Po w e l l , W Y 8 2 4 3 5
 2.9316 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po w e l l ' s Tr u e Va l u e , Po w e l l ` s Tr u e Va l u e , 4 0 9 W 4 t h St ,
 2.9317 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 2 4 )
        nature of the debtor's interest                                                                                                                          Ap p l e t o n Ci t y, M O 6 4 7 2 4 - 1 4 0 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Bl o o m Fa r m s , 1 4 0 4 6 S Cy p r e s s Co v e Ci r c l e , Da v i e , F L
 2.9318 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33325
        nature of the debtor's interest
          State the term remaining                        02/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Di s t r i b u t o r s , 3 7 0 0 Pa l a g o n Dr , Co l u m b u s , O H 4 3 2 2 8
 2.9319 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Di s t r i b u t o r s , 3 7 0 0 Pa l a g o n Dr , Co l u m b u s , O H 4 3 2 2 8
 2.9320 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Di s t r i b u t o r s , 3 7 0 0 Pa l a g o n Dr , Co l u m b u s , O H 4 3 2 2 8
 2.9321 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 09/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Po x y, In c . , 2 1 6 2 5 Rh o d e s Rd , Sp r i n g , T X 7 7 3 8 8
 2.9322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Po w e r Se r v i c e Pr o d u c t s In c , 5 1 3 Pe a s t e r Hi g h w a y, P. O. Bo x
 2.9323 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 1 0 8 9 , We a t h e r f o r d , T X 7 6 0 8 6

          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Po w e r Se r v i c e Pr o d u c t s In c , 5 1 3 Pe a s t e r Hi g h w a y, P. O. Bo x
 2.9324 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                1 0 8 9 , We a t h e r f o r d , T X 7 6 0 8 6

          State the term remaining                        08/01/2011

          List the contract number of any government
          contract
                                                                                                                                                       Po w e r Se r v i c e Pr o d u c t s In c , 5 1 3 Pe a s t e r Hi g h w a y, P. O. Bo x
 2.9325 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       1 0 8 9 , We a t h e r f o r d , T X 7 6 0 8 6
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                       Po w e r Te k In c , 3 9 0 9 Wi t m e r Ro a d , Su i t e 1 0 4 5 , Ni a g a r a Fa l l s ,
 2.9326 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       NY 14305
        nature of the debtor's interest
          State the term remaining                        09/24/2010

          List the contract number of any government
          contract
                                                                                                                                                       Po w e r h o u s e Tr u e Va l u e Re n t a l , 7 0 3 S Ho u s t o n La k e Rd , Wa r n e r
 2.9327 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 5 )
                                                                                                                                                       Ro b i n s , G A 3 1 0 8 8 - 9 0 9 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                       Po w r Fl i t e c / o Ta c o n y Co r p o r a t i o n , 1 7 6 0 Gi l s i n n La n e , Fe n t o n ,
 2.9328 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       MO 63026
        nature of the debtor's interest
          State the term remaining                        06/01/2009

          List the contract number of any government
          contract
                                                                                                                                                       Pp s Pa c k a g i n g Co m p a n y, P. O. Bo x 4 2 7 , Fo w l e r , C A 9 3 6 2 5
 2.9329 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                       Pr a g m a t i c Wo r k s Tr a i n i n g In c , 7 1 7 5 Hw y 1 7 Su i t e 2 , Fl e m i n g
 2.9330 State what the contract or lease is for and the
                                                          Tr a i n i n g Se r v i c e s , Pr a g m a t i c Wo r k s - On - De m a n d Tr a i n i n g
        nature of the debtor's interest                                                                                                                Is l a n d , F L 3 2 0 0 3

          State the term remaining                        01/27/2024 - 01/26/2025

          List the contract number of any government
          contract
                                                                                                                                                       Pr a i r i e Ga r d e n s In c H& g s , 3 0 0 0 W Sp r i n g f i e l d Av e ,
 2.9331 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 5 8 )
                                                                                                                                                       Ch a m p a i g n , I L 6 1 8 2 2 - 2 8 6 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr a t t - Re a d Co r p o r a t i o n , P. O. Bo x 1 2 9 , Sy c a m o r e , I L 6 0 1 7 8
 2.9332 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr a t t - Re a d Co r p o r a t i o n , P. O. Bo x 1 2 9 , Sy c a m o r e , I L 6 0 1 7 8
 2.9333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr a t t - Re a d Co r p o r a t i o n , P. O. Bo x 1 2 9 , Sy c a m o r e , I L 6 0 1 7 8
 2.9334 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pr a t t ' s Ha r d w a r e & Su p p l y Ll c , 1 3 5 5 Au b u r n Rd Su i t e 1 ,
 2.9335 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 4 )
                                                                                                                                                                 Tu r n e r , M E 0 4 2 8 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e Sa l e s In c , 8 6 0 6 Mi r a m a r Ro a d , Sa n Di e g o , C A 9 2 1 2 6
 2.9336 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e Sa l e s In c , 8 6 0 6 Mi r a m a r Ro a d , Sa n Di e g o , C A 9 2 1 2 6
 2.9337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e c i s i o n Pa c k a g i n g In c . , Pr e c i s i o n Pa c k a g i n g In c , 1 0 8 1 6
 2.9338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ex e c u t i v e Ce n t e r Dr , Su i t e 1 0 0 , Li t t l e Ro c k , A R 7 2 2 1 1

          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e c i s i o n Pr o d u c t s , 6 6 2 1 1 9 Th St Ea s t , Sa r a s o t a , F L 3 4 2 4 3
 2.9339 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pr e c i s i o n Pr o d u c t s , 6 6 2 1 1 9 Th St Ea s t , Sa r a s o t a , F L 3 4 2 4 3
 2.9340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/21/2018

          List the contract number of any government
          contract
                                                                                                                                                     Pr e f e n s e L L C, 1 6 0 2 Mu s s e r St , Mu s c a t i n e , I A 5 2 7 6 1
 2.9341 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r & Co m p a n i e s , In c . , Pr e m i e r & Co m p a n i e s In c . , 5 2 5
 2.9342 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 1 )
                                                                                                                                                     Wi n d s o r Dr i v e , Se c a u c u s , N J 0 7 0 9 4 - 2 7 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r He a l t h Co n c e p t s , 7 8 2 Bu r r Oa k Dr i v e , We s t m o n t , I L
 2.9343 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60559
        nature of the debtor's interest
          State the term remaining                        02/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r Ho r t i c u l t u r e In c , 2 0 0 Ke l l y Rd , Un i t E- 1 , Qu a k e r t o w n ,
 2.9344 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     PA 1 8 9 5 1
        nature of the debtor's interest
          State the term remaining                        03/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r Ho r t i c u l t u r e In c , 2 0 0 Ke l l y Rd , Un i t E- 1 , Qu a k e r t o w n ,
 2.9345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              PA 1 8 9 5 1

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r Ho r t i c u l t u r e , In c . , 2 0 0 Ke l l y Rd , Un i t E- 1 ,
 2.9346 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Qu a k e r t o w n , PA 1 8 9 5 1

          State the term remaining                        03/01/2022

          List the contract number of any government
          contract
                                                                                                                                                     Pr e m i e r Lu m b e r & Ha r d w a r e , 1 8 8 Ea s t Ya v a p a i St ,
 2.9347 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 1 )
                                                                                                                                                     Wi c k e n b u r g , A Z 8 5 3 9 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr e m i e r Pa i n t & Wa l l p a p e r , 4 9 5 0 Vo g e s Rd , Ma d i s o n , W I
 2.9348 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 8 )
                                                                                                                                                                 53718
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 11418
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9350 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11418
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9351 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11418
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9352 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 11418

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9353 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 11418

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Pa i n t Ro l l e r / Z Pr o , 1 3 1 - 1 1 At l a n t i c Av e , Ri c h m o n d ,
 2.9354 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11418
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i e r Sp e c i a l t y Br a n d s L L C, Pr e m i e r Sp e c i a l t y Br a n d s L L C,
 2.9355 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 2 8 6 5 N Be r k e l e y La k e Rd Nw, Su i t e 6 , Du l u t h , G A 3 0 0 9 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr e m i u m Pe t Pr o d u c t s , 1 5 1 5 De t r i c k Av e n u e , De l a n d , F L 3 2 7 2 4
 2.9356 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i u m Pe t Pr o d u c t s , 1 5 1 5 De t r i c k Av e n u e , De l a n d , F L 3 2 7 2 4
 2.9357 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i u m Qu a l i t y Ha y & Fe e d , 7 1 2 Le o n a r d Rd , On a l a s k a , WA
 2.9358 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 0 5 )
                                                                                                                                                                 98570
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e m i u m Ve n d i n g In c , 8 In d u s t r i a l Pa r k Dr i v e , Ho o k s e t t , N H
 2.9359 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Pr e m i u m Ve n d i n g Ma c h i n e
                                                                                                                                                                 03106
        nature of the debtor's interest                   Ag r e e m e n t - Ma n c h e s t e r

          State the term remaining                        02/12/2024 - 02/11/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s c o t t Tr u e Va l u e Ha r d w a r e , 8 4 6 Mi l l e r Va l l e y Rd , Pr e s c o t t ,
 2.9360 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 5 4 )
        nature of the debtor's interest                                                                                                                          AZ 86301-1816

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s s m a n To y Co r p , 3 7 0 1 We s t Pl a n o Pa r k w a y, Su i t e 1 0 0 ,
 2.9361 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pl a n o , T X 7 5 0 7 5

          State the term remaining                        03/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t i St o n e & Ma s o n , 2 1 0 E Me r r i c k Rd , Fr e e p o r t , N Y 1 1 5 2 0 -
 2.9362 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 4 7 )
                                                                                                                                                                 4029
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t i g e Ma r k e t i n g , 8 1 5 Br o w n Rd , Or i o n , M I 4 8 3 0 6
 2.9363 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2016

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr e s t i g e St a f f i n g L L C, Pr e s t i g e St a f f i n g L L C, 8 0 1 0 Ro s w e l l
 2.9364 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Pr e s t i g e St a f f i n g L L C - Ag e n c y a n d Re c r u i t i n g
                                                          Ag r e e m e n t 2 0 2 0                                                                               Rd , Su i t e 3 3 0 , At l a n t a , G A 3 0 3 5 0
        nature of the debtor's interest
          State the term remaining                        07/24/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o Pr o d u c t s , P. O. Bo x 2 3 9 9 , 6 7 0 N Pe r k i n s St , Ap p l e t o n ,
 2.9365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 54912
        nature of the debtor's interest
          State the term remaining                        02/20/2005

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o n Tr a i l Fa r m s , 1 5 1 0 2 St a t e Hi g h w a y 2 8 9 , Gu n t e r , T X
 2.9366 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 5 )
                                                                                                                                                                 75058-0155
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o n e Pr o d u c t s Co r p , 1 9 0 0 W Fi e l d Ct , La k e Fo r e s t , I L
 2.9367 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60045

          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o n e Pr o d u c t s Co r p , 1 9 0 0 W Fi e l d Ct , La k e Fo r e s t , I L
 2.9368 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60045

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o n e Pr o d u c t s Co r p , 1 9 0 0 W Fi e l d Ct , La k e Fo r e s t , I L
 2.9369 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60045
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr e s t o n e Pr o d u c t s Co r p , 1 9 0 0 W Fi e l d Ct , La k e Fo r e s t , I L
 2.9370 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60045
        nature of the debtor's interest
          State the term remaining                        08/30/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i c e Ha r d w a r e , 3 0 2 N Wi l l i a m s , At l a n t a , T X 7 5 5 5 1 - 2 3 5 0
 2.9371 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 2 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr i c e l e s s Wh o l e s a l e Ll c , 4 7 5 Ob e r l i n Av e So u t h , La k e w o o d , N J
 2.9372 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 3 )
                                                                                                                                                                 08701
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i d e Ga r d e n Pr o d u c t s , 5 0 0 W Se l l e r s Av e , Ri d l e y Pa r k , PA
 2.9373 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19078
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i d e s Co r n e r Fa r m s , 1 2 1 Wa t e r m a n Ro a d , Le b a n o n , C T 0 6 2 4 9
 2.9374 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m a l Va n t a g e Co m p a n y In c , 1 5 0 Mo r r i s t o w n Rd , Su i t e 1 1 1 ,
 2.9375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be r n a r d s v i l l e , N J 0 7 9 2 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m a r y Co l o r L L C, 9 2 3 9 Pr e m i e r Ro w, Da l l a s , T X 7 5 2 4 7
 2.9376 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9377 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 92374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9378 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 92374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9379 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 92374
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9380 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 92374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9381 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92374
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9382 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92374
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9383 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92374

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92374
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Li n e Pr o d u c t s , 2 6 9 5 0 Sa n Be r n a r d i n o Av e , Re d l a n d s , C A
 2.9385 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 92374
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Lu m b e r & Ho m e Ce n t e r , 2 3 6 0 Fu l t o n St , Br o o k l y n , N Y
 2.9386 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 6 5 )
                                                                                                                                                                 11233-3401
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Wi r e & Ca b l e In c , 2 8 0 Ma c h l i n Co u r t , Ci t y Of In d u s t r y,
 2.9387 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 91789
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr i m e Wi r e & Ca b l e In c , 2 8 0 Ma c h l i n Co u r t , Ci t y Of In d u s t r y,
 2.9388 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 91789
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Wi r e & Ca b l e In c , 2 8 0 Ma c h l i n Co u r t , Ci t y Of In d u s t r y,
 2.9389 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 91789
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e Wi r e & Ca b l e In c , 2 8 0 Ma c h l i n Co u r t , Ci t y Of In d u s t r y,
 2.9390 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CA 91789

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e s o u r c e Bl d g Pr o d u c t s , Pr i m e s o u r c e Bu i l d i n g Pr o d , 2 1 5 0 0
 2.9391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Tr o l l e y In d u s t r i a l Dr i v e , Ta y l o r , M I 4 8 1 8 0

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e s o u r c e Bu i l d i n g Pr o d . , Pr i m e s o u r c e Bu i l d i n g Pr o d , 2 1 5 0 0
 2.9392 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Tr o l l e y In d u s t r i a l Dr i v e , Ta y l o r , M I 4 8 1 8 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e s o u r c e Bu i l d i n g Pr o d . , Pr i m e s o u r c e Bu i l d i n g Pr o d , 2 1 5 0 0
 2.9393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Tr o l l e y In d u s t r i a l Dr i v e , Ta y l o r , M I 4 8 1 8 0
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e s o u r c e Bu i l d i n g Pr o d . , Pr i m e s o u r c e Bu i l d i n g Pr o d , 2 1 5 0 0
 2.9394 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Tr o l l e y In d u s t r i a l Dr i v e , Ta y l o r , M I 4 8 1 8 0
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m e x Ce n t e r s In c , 4 3 5 W Gl e n s i d e Av e , Gl e n s i d e , PA 1 9 0 3 8 -
 2.9395 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 4 2 )
                                                                                                                                                                 3315
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr i m i t i v e Pl a n t e r s , 8 Fa l c o n Rd , Lo n d o n d e r r y, N H 0 3 0 5 3
 2.9396 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        10/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m r o s e Pl a s t i c s / Co m , 1 2 5 Sp a g n o l i Rd , Me l v i l l e , N Y 1 1 7 4 7
 2.9397 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i m r o s e Pl a s t i c s / Co m , 1 2 5 Sp a g n o l i Rd , Me l v i l l e , N Y 1 1 7 4 7
 2.9398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i n c e Co r p o r a t i o n , P. O. Bo x 2 0 8 8 , De p t # 4 0 3 8 , Mi l w a u k e e ,
 2.9399 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 53201
        nature of the debtor's interest
          State the term remaining                        10/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i n c i p l e Pl a s t i c s , 1 1 3 6 We s t 1 3 5 Th St r e e t , P. O. Bo x 2 4 0 8 ,
 2.9400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ga r d e n a , C A 9 0 2 4 7
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr i n c i p l e Pl a s t i c s , 1 1 3 6 We s t 1 3 5 Th St r e e t , P. O. Bo x 2 4 0 8 ,
 2.9401 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ga r d e n a , C A 9 0 2 4 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i n c i p l e Pl a s t i c s , 1 1 3 6 We s t 1 3 5 Th St r e e t , P. O. Bo x 2 4 0 8 ,
 2.9402 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ga r d e n a , C A 9 0 2 4 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr i s m Pa i n t & De s i g n , 7 6 2 No r t h Ma i n St . , Hi g h Po i n t , N C
 2.9403 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 3 )
                                                                                                                                                                 27262
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr o De s i g n Pr o d u c t s L L C, 1 1 9 3 7 W 1 1 9 t h St , # 1 5 9 , Ov e r l a n d
 2.9404 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k , K S 6 6 2 1 3
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o Ma r t In d u s t r i e s In c , 1 7 4 2 1 Vo n Ka r m a n Av e , Ir v i n e , C A
 2.9405 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          92614

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o b u i l t Pr o f e s s i o n a l Pr o d , 1 1 7 0 Al l a n s o n Ro a d , Mu n d e l e i n , I L
 2.9406 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60060

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c e s s We a v e r , In c . , 2 6 0 0 N Ce n t r a l Ex p y – St e 5 0 0 ,
 2.9407 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Pr o c e s s We a v e r , In c . Ra c k s p a c e Ma s t e r
                                                          So f t w a r e Se r v i c e Ag r e e m e n t                                                           Ri c h a r d s o n , T X 7 5 0 8 0
        nature of the debtor's interest
          State the term remaining                        10/15/2019 - 10/14/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c o m He a t i n g In c , 6 6 0 W La m b e r t Rd , Br e a , C A 9 2 8 2 1
 2.9408 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c o n t r a c t o r Su p p l y, 3 9 1 7 Ol d Fl o w e r y Br a n c h Rd . , Oa k w o o d ,
 2.9409 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 3 )
                                                                                                                                                                 GA 30566
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c t e r & Ga m b l e , 7 1 8 7 Wy t h e Dr i v e , No b l e s v i l l e , I N 4 6 0 6 2
 2.9410 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c t e r & Ga m b l e , 7 1 8 7 Wy t h e Dr i v e , No b l e s v i l l e , I N 4 6 0 6 2
 2.9411 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2023 - 06/30/2027

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr o c t e r & Ga m b l e , 7 1 8 7 Wy t h e Dr i v e , No b l e s v i l l e , I N 4 6 0 6 2
 2.9412 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o c t o r Tr u e Va l u e Bl d g Sp l y, 1 3 2 3 r d Av e , Pr o c t o r , M N
 2.9413 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 2 7 )
        nature of the debtor's interest                                                                                                                          55810-1616

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o d u c t Wo r k s , L L C. , Pr o d u c t Wo r k s , L L C , 5 0 0 La k e Co o k
 2.9414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ro a d , Su i t e 2 7 0 , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o f e s s i o n a l La b In c , P. O. Bo x 2 6 7 7 3 0 , We s t o n , F L 3 3 3 2 6
 2.9415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o f i l e Sy s t e m s De s i g n Gr o u p , In c , 4 7 W No r t h St r e e t ,
 2.9416 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Pr o f i l e Sy s t e m s De s i g n Gr o u p In c _ Tr u e
                                                          Va l u e N D A                                                                                         Ma d i s o n v i l l e , K Y 4 2 4 3 1
        nature of the debtor's interest
          State the term remaining                        10/16/2019 - 10/15/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o f i t So u p , 2 8 0 8 Sw 3 0 0 Th Pl a c e , Fe d e r a l Wa y, WA 9 8 0 2 3
 2.9417 State what the contract or lease is for and the   Tr a i n i n g Se r v i c e s , Sp e a k e r Se r v i c e s - St e v e Ab e r c r o m b i e
        nature of the debtor's interest
          State the term remaining                        03/15/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o g r e s s So f t w a r e Co r p o r a t i o n , 1 4 Oa k Pa r k , Su i t e 3 0 8 ,
 2.9418 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Pr o g r e s s De v Cr a f t Ul t i m a t e P H P & J S P
                                                                                                                                                                 Be d f o r d , M A 0 1 7 3 0
        nature of the debtor's interest                   De v e l o p e r Li c e n s e Re n e w a l - Ga r y Tr a u b

          State the term remaining                        10/07/2023 - 10/06/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o g r e s s So f t w a r e Co r p o r a t i o n , 1 4 Oa k Pa r k , Su i t e 3 0 8 ,
 2.9419 State what the contract or lease is for and the
                                                          So f t w a r e , Pr o g r e s s Wh a t s Up Go l d Pr e m . 1 0 0 0 Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t Re n e w a l 2 0 2 4                                                                  Be d f o r d , M A 0 1 7 3 0

          State the term remaining                        01/16/2024 - 01/15/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr o g r e s s i v e , 2 0 4 3 5 7 2 Nd Av e n u e S, Su i t e 4 0 0 , Ke n t , WA 9 8 0 3 2
 2.9420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o g r e s s i v e , 2 0 4 3 5 7 2 Nd Av e n u e S, Su i t e 4 0 0 , Ke n t , WA 9 8 0 3 2
 2.9421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o g r e s s i v e Pr o / Ca t e r e r s Wa r e h o u s e , 1 0 3 0 A St a f f o r d St , Bo x
 2.9422 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 4 0 0 , Ro c h d a l e , M A 0 1 5 4 2
        nature of the debtor's interest
          State the term remaining                        10/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9424 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9425 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9426 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9427 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1179 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr o l i n e Ch e m i c a l & Pl a s t i c s In c , 1 1 6 2 5 Co l u m b i a Ce n t e r Dr ,
 2.9428 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Su i t e 1 0 0 , Da l l a s , T X 7 5 2 2 9

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9429 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9430 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2024 - 11/30/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9431 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9432 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9433 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9435 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9436 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m i e r Pr o d u c t s In c , 3 5 0 5 t h St , St e 2 6 6 , Pe r u , I L 6 1 3 5 4
 2.9437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o m o t i o n s Un l i m i t e d , 7 6 0 1 Du r a n d Av e , Ra c i n e , W I 5 3 1 7 7
 2.9438 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o p e l l e t L L C, Pr o p e l l e t L L C, 8 0 7 Br o a d w a y St Ne , Su i t e 1 8 5 ,
 2.9439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi n n e a p o l i s , M N 5 5 4 1 3
        nature of the debtor's interest
          State the term remaining                        06/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o p e r t y Wo r k s Ho m e & Ga r d e n Ce n t e r , 4 1 5 N Oa k St r e e t ,
 2.9440 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 4 )
                                                                                                                                                                 Ad a m s , W I 5 3 9 1 0 - 0 0 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pr o p h a r m a Gr o u p Ho l d i n g s , L L C. , Pr o p h a r m a Gr o u p Ho l d i n g s ,
 2.9441 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , Pr o p h a r m a Gr o u p Ho l d i n g s Ag r e e m e n t
                                                                                                                                                                 L L C , 2 6 3 5 Un i v e r s i t y Av e W, Su i t e 1 9 5 , St . Pa u l , M N 5 5 1 1 4
        nature of the debtor's interest
          State the term remaining                        11/15/2021 - 11/14/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o t e c t i v e Co a t i n g Co , 2 2 1 S Th i r d St , Al l e n t o w n , PA 1 8 1 0 2
 2.9442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Pr o t e c t i v e Co a t i n g Co , 2 2 1 S Th i r d St , Al l e n t o w n , PA 1 8 1 0 2
 2.9443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Pr o t e c t i v e Co a t i n g Co , 2 2 1 S Th i r d St , Al l e n t o w n , PA 1 8 1 0 2
 2.9444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                           Pr o t e c t i v e Co a t i n g Co , 2 2 1 S Th i r d St , Al l e n t o w n , PA 1 8 1 0 2
 2.9445 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                           Pr o t e c t i v e Co v e r s / Di v o f Ad c o Pr o d , Pr o t e c t i v e Co v e r s / Di v Of
 2.9446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                           Ad c o Pr o d , 2 7 6 1 5 Av e n u e Ho p k i n s , Va l e n c i a , C A 9 1 3 5 5
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                           Pr o t e c t o r Br a n d s L L C, 1 0 0 3 0 t h St Dr S E, Ce d a r Ra p i d s , I A
 2.9447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                           52403
        nature of the debtor's interest
          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                           Pr o t e r a Te c h n o l o g i e s , L L C, Pr o t e r a Te c h n o l o g i e s , L L C, 1
 2.9448 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Pr o t e r a Te c h n o l o g i e s , L L C M S A
                                                                                                                                                           We s t b r o o k Co r p o r a t e Ce n t e r , Su i t e 5 6 0 , We s t c h e s t e r , I L 6 0 1 5 4
        nature of the debtor's interest
          State the term remaining                        04/01/2023 - 03/31/2028

          List the contract number of any government
          contract
                                                                                                                                                           Pr o t e x a l l Pr o d u c t s In c , 7 3 3 5 6 Hi g h w a y 4 1 , Pe a r l Ri v e r , L A
 2.9449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                    70452

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
                                                                                                                                                           Pr o v e e d o r e s De La Co n s t r u c c i o n , S. a . De C. v. , Pr o v e e d o r e s De
 2.9450 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 9 5 )
        nature of the debtor's interest                                                                                                                    La Co n s t r u c c i o n , Ca l l e De l Ho s p i t a l 2 9 9 Ct r o Ci v i c o ,
                                                                                                                                                           Cp 2 1 0 0 0 , Pc o 7 7 1 0 2 6 3 v 0 , Me x i c a l i 2 1 0 0 0 , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                           Pr o v e e d o r e s De La Co n s t r u c c i o n , S. a . De C. v. , Pr o v e e d o r e s De
 2.9451 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 0 5 )
                                                                                                                                                           La Co n s t r u c c i o n Sa De Cv, Bl v d Ju a n Ba u t i s t a De Es c a l a n t e ,
        nature of the debtor's interest
                                                                                                                                                           En t r e Ca l l e Gr a l Ma n u e l Pi n a Y Jo s e , He r m o s i l l o , So n o r a ,
          State the term remaining                                                                                                                         Me x i c o
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pr u d e n t i a l , 7 5 1 Br o a d St r e e t Ne w a r k , Nj 0 7 1 0 2 , Ne w a r k , N J
 2.9452 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Pr u d e n t i a l - Re n e w a l Ag r e e m e n t 2 0 1 2
                                                                                                                                                                 07102
        nature of the debtor's interest
          State the term remaining                        04/23/2012

          List the contract number of any government
          contract
                                                                                                                                                                 P S Te c h In c , 3 2 2 0 Ro y a l Wo o d s Dr , Cr y s t a l La k e , I L 6 0 0 1 4
 2.9453 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , P S Te c h - S O W 1 C O 3 J D A A S M
        nature of the debtor's interest                   Su p p o r t

          State the term remaining                        10/01/2024 - 10/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pt Ho Wa h Ge n t i n g , Ja l a n Br i g j e n Ka t a m s o , Ka w a s a n Bi n t a n g
 2.9454 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 In d u s t r i Ii Lo , Pu l a u Ba t a m , In d o n e s i a
        nature of the debtor's interest
          State the term remaining                        03/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Pu b l i c Tr u e Va l u e Hd w. & l u m b e r , Pu b l i c Tr u e Va l u e Ha r d w a r e &
 2.9455 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 )
                                                                                                                                                                 Lb r , 1 0 0 1 E 7 Mi l e Rd , De t r o i t , M I 4 8 2 0 3 - 2 1 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu g h Tr u e Va l u e , 2 0 1 Cl a i b o r n e St , Ca m d e n , A L 3 6 7 2 6 - 1 7 1 3
 2.9456 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 1 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu h l m a n n Lb r & De s i g n , 3 0 1 1 s t So u t h St , Ne w Ul m , M N
 2.9457 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 1 5 )
        nature of the debtor's interest                                                                                                                          56073-3024

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l e o As i a Li m i t e d , Un i t 8 , 2 Nd Fl o o r , To w e r 1 , Ha r , 1 Ho k
 2.9458 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Ch e u n g St r e e t , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Pu l e o As i a Li m i t e d , Un i t 8 , 2 Nd Fl o o r , To w e r 1 , Ha r , 1 Ho k
 2.9459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch e u n g St r e e t , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Pu l e o As i a Li m i t e d , Un i t 8 , 2 Nd Fl o o r , To w e r 1 , Ha r , 1 Ho k
 2.9460 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch e u n g St r e e t , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9461 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9462 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9463 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9464 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9465 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Pu l l R Ho l d i n g Co L L C, Ma a s d a m Po w e r - Pu l l In c , 4 1 5 E St a t e
 2.9466 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Pu r a Na t u r a l s In c , 2 3 1 0 1 La k e Ce n t e r Dr i v e , Su i t e 1 0 0 , La k e
 2.9467 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fo r e s t , C A 9 2 6 3 0
        nature of the debtor's interest
          State the term remaining                        05/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Pu r c e l l s Wa l l p a p e r & Pa i n t In c . , 5 9 0 0 Br i d g e St r e e t , Ea s t
 2.9468 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 4 )
                                                                                                                                                     Sy r a c u s e , N Y 1 3 0 5 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pu r d y Co r p o r a t i o n , 1 0 1 Pr o s p e c t Av e , Cl e v e l a n d , O H 4 4 1 1 5
 2.9469 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                     Pu r h e a t L L C, P. O. Bo x 4 7 8 , 4 2 5 2 S 1 4 0 t h Rd , Bo l i v a r , M O
 2.9470 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     65613
        nature of the debtor's interest
          State the term remaining                        02/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Pu r p l e Co w Or g a n i c s , 3 2 1 3 La u r a La n e , Mi d d l e t o n , W I 5 3 5 6 2
 2.9471 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2013

          List the contract number of any government
          contract
                                                                                                                                                     Pu r s e l l Ma n u f a c t u r i n g Co r p . , Pu r s e l l Ma n u f a c t u r i n g Co r p , P. O.
 2.9472 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Bo x 2 4 8 , 1 3 5 Pa h l o n e p Ar k w a y, Po n c h a Ci t y, C A 8 1 2 4 2

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Pw i # 1 1 2 , Pw i 1 1 2 , In t e r s t a t e 2 0 @ Hw y 1 2 1 9 , Wi c k e t t , T X
 2.9473 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 4 3 )
                                                                                                                                                     79788-0101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pw i # 6 0 5 , Pw i 6 0 5 , 2 5 0 7 We s t Bu s i n e s s I- 1 0 , Sa n Si m o n , A Z
 2.9474 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 8 )
                                                                                                                                                     85632-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Pw i # 1 1 0 , Pw i 1 1 0 , 5 9 3 4 W Ih 2 0 , Od e s s a , T X 7 9 7 6 3 - 5 5 0 0
 2.9475 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 2 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Pw i # 4 0 0 , Pw i 4 0 0 , 1 0 3 3 0 In t e r s t a t e 1 0 E, Ba y t o w n , T X
 2.9476 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 2 )
                                                                                                                                                      77523-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Pw i # 6 7 5 , Pw i 6 7 5 , 1 7 1 5 Va d o Rd , Va d o , N M 8 8 0 7 2 - 7 1 0 3
 2.9477 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                      Pw p Gr e e n h o u s e s In c , 1 7 0 Gr e e n h o u s e La n e , Pa l l Ma l l , T N
 2.9478 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      38577
        nature of the debtor's interest
          State the term remaining                        08/01/2015

          List the contract number of any government
          contract
                                                                                                                                                      Py g a r Us a In c , 5 4 7 0 Sh i l s h o l e Av e Nw, Su i t e 3 0 2 , Se a t t l e , WA
 2.9479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               98107

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                      Py l e x In t e r n a t i o n a l In c , 4 0 0 Ru e Du Pa r c In d u s t r i a l ,
 2.9480 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Sh a w i n i g a n , Q C G9 N 6 T5 , Ca n a d a

          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                      Py r a m e x Sa f e t y Pr o d u c t s L L C, 3 0 5 Ke o u g h Dr , Pi p e r t o n , T N
 2.9481 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      38017
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                      Py r a m e x Sa f e t y Pr o d u c t s L L C, 3 0 5 Ke o u g h Dr , Pi p e r t o n , T N
 2.9482 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      38017
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                      Py r a m e x Sa f e t y Pr o d u c t s L L C, 3 0 5 Ke o u g h Dr , Pi p e r t o n , T N
 2.9483 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      38017
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Py r a n h a In c , 6 6 0 2 Cu n n i n g h a m Rd , Ho u s t o n , T X 7 7 0 4 1
 2.9484 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/16/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Py r a n h a In c , 6 6 0 2 Cu n n i n g h a m Rd , Ho u s t o n , T X 7 7 0 4 1
 2.9485 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qa Wo r l d w i d e In c , 4 7 4 0 1 2 6 Th Av e n u e No r t h , Cl e a r w a t e r , F L
 2.9486 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 33762
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Qc a Sp a s , In c . , Qc a Sp a s , In c , 1 0 2 1 St a t e St r e e t , Be t t e n d o r f ,
 2.9487 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IA 52722

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9488 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sh a n d o n g , Ch i n a

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9489 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Sh a n d o n g , Ch i n a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sh a n d o n g , Ch i n a
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9491 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sh a n d o n g , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9492 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sh a n d o n g , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9493 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sh a n d o n g , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qi n g d a o Hu a t i a n Ha n d Tr u c k , Yi n z h u Ji a o n a n , Qi n g d a o ,
 2.9494 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Sh a n d o n g , Ch i n a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qr r i In c , 8 5 2 5 Du n w o o d y Pl a c e , Sa n d y Sp r i n g s , G A 3 0 3 5 0
 2.9495 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/31/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Qr r i In c , 8 5 2 5 Du n w o o d y Pl a c e , Sa n d y Sp r i n g s , G A 3 0 3 5 0
 2.9496 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qs t o v e s In c , 7 0 4 2 2 8 t h Av e N E, # 2 1 1 , Sa m m a m i s h , WA 9 8 0 7 4
 2.9497 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/22/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Qu a k e r Bo y In c , 5 4 5 5 We b s t e r Rd , Or c h a r d Pa r k , N Y 1 4 1 2 7
 2.9498 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Qu a k e r Bo y In c , 5 4 5 5 We b s t e r Rd , Or c h a r d Pa r k , N Y 1 4 1 2 7
 2.9499 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Qu a k e r Bo y In c , 5 4 5 5 We b s t e r Rd , Or c h a r d Pa r k , N Y 1 4 1 2 7
 2.9500 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a k e r Fo o d s & Be v e r a g e s , 7 3 4 S Cu y l e r Av e , Oa k Pa r k , I L
 2.9501 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60304
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Qu a l h e i m ' s Tr u e Va l u e , Qu a l h e i m Tr u e Va l u e , 7 9 Ho m e t o w n
 2.9502 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 5 )
        nature of the debtor's interest                                                                                                                          Dr. , To m a h a w k , W I 5 4 4 8 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a l h e i m ' s Tr u e Va l u e , Qu a l h e i m ` s Tr u e Va l u e , 1 3 4 5 E Gr e e n
 2.9503 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 4 8 )
        nature of the debtor's interest                                                                                                                          Ba y St , Sh a w a n o , W I 5 4 1 6 6 - 2 2 0 9

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a l i t y Ha r d w a r e , 2 0 0 Ca l u m e t St r e e t , La k e Li n d e n , M I 4 9 9 4 5
 2.9504 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a l i t y Tr u e Va l u e Ha r d w a r e , 1 2 0 1 So u t h Pa r k St r e e t ,
 2.9505 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 5 9 )
                                                                                                                                                                 Ma d i s o n , W I 5 3 7 1 5 - 2 1 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a n z h o u Go l d e n s u n Li g h t i n g , 3 / F, To w e r 2 , No 1 3 0 3 , Hi g h -
 2.9506 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Te c h Pa r k , Na n h u a n Rd , Qu a n z h o u , Fu j i a n , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu a r r y v i l l e Ag w a y, 2 7 Ea s t 4 t h St . , P. o . Bo x 1 1 7 , Qu a r r y v i l l e ,
 2.9507 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 1 5 )
                                                                                                                                                                 PA 1 7 5 6 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Qu e s t Di a g n o s t i c s In c . , 1 2 0 1 S Co l l e g e v i l l e Rd , Co l l e g e v i l l e ,
 2.9508 State what the contract or lease is for and the   Am e n d m e n t , Qu e s t Di a g n o s t i c s He a l t h a n d We l l n e s s
                                                                                                                                                                 PA 1 9 4 2 6
        nature of the debtor's interest                   Am e n d m e n t

          State the term remaining                        05/14/2024 - 05/13/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Qu e s t Us a Co r p , 4 9 5 Fl a t b u s h Av e , Br o o k l y n , N Y 1 1 2 2 5
 2.9509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k Bu i l d Ho m e s & Lu m b e r , 7 3 2 W Ex p r e s s w a y 8 3 , Su l l i v a n
 2.9510 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 9 )
        nature of the debtor's interest                                                                                                                          Ci t y, T X 7 8 5 9 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k Ca b l e Co r p o r a t i o n , 3 7 0 0 Qu i c k Dr i v e , Fr a n k s v i l l e , W I
 2.9511 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53126
        nature of the debtor's interest
          State the term remaining                        10/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9512 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NJ 08077
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9513 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NJ 08077
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9514 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NJ 08077
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9515 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NJ 08077
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9516 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NJ 08077
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9517 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NJ 08077

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c k i e Mf g , 1 1 5 0 Ta y l o r ' S La n e , P. O. Bo x 1 5 6 , Ci n n a m i n s o n ,
 2.9518 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NJ 08077

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i c o r In c , 1 5 0 9 8 U S Hw y 5 9 N E, Th i e f Ri v Fa l l s , M N 5 6 7 0 1
 2.9519 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i k r e t e Co m p a n i e s , 1 S9 5 0 S Lo r a n g Ro a d , El b u r n , I L 6 0 1 1 9
 2.9520 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i k r e t e Co m p a n i e s , 1 S9 5 0 S Lo r a n g Ro a d , El b u r n , I L 6 0 1 1 9
 2.9521 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Qu i k r e t e Co m p a n i e s , 1 S9 5 0 S Lo r a n g Ro a d , El b u r n , I L 6 0 1 1 9
 2.9522 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Qu i k r e t e Co m p a n i e s , 1 S9 5 0 S Lo r a n g Ro a d , El b u r n , I L 6 0 1 1 9
 2.9523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Qu i n c a i l l e r i e No u v e l l e S. a . , 1 1 Ro u t e De De l m a s , Po r t - a u -
 2.9524 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 3 9 )
                                                                                                                                                     p r i n c e , Ha i t i
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Qu i n c e Cr e e k L L C, Qu i n c e Cr e e k L L C, 4 6 6 0 Te s t l e La n e ,
 2.9525 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Sl a t i n g t o n , PA 1 8 0 8 0

          State the term remaining                        09/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Qu i n n Tr u e Va l u e Ha r d w a r e , 1 2 5 Wa t e r v i l l e Ro a d , Sk o w h e g a n ,
 2.9526 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 2 6 )
                                                                                                                                                     ME 04976-1534
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Qu i n t o n Tr u e Va l u e Hr d w, 1 0 2 0 Ma i n , Qu i n t o n , O K 7 4 5 6 1 -
 2.9527 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 9 7 )
                                                                                                                                                     6100
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     R & D Cr o s s , 1 3 8 0 1 Ma r t i n Ro a d , Br a n d y w i n e , M D 2 0 6 1 3
 2.9528 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     R & J Su p p l y, 1 0 2 1 W Sy p e r t St r e e t , Na s h v i l l e , A R 7 1 8 5 2 - 2 3 6 2
 2.9529 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 8 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     R & M Ha r d w a r e , 2 8 4 Wa n a q u e Av e , Po m p t o n La k e s , N J
 2.9530 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 3 5 )
                                                                                                                                                     07442-2115
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     R & S Ha r d w a r e Ho m e & Mo r e , 1 0 5 1 s t St r e e t Se , Hi n c k l e y,
 2.9531 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 9 )
        nature of the debtor's interest                                                                                                              MN 55037

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 R C Wa l t e r & So n s Tr u e Va l u e , Rc Wa l t e r & So n s , 1 4 4 1 Bo s t o n
 2.9532 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 4 9 )
        nature of the debtor's interest                                                                                                                          Ho l l o w Rd , Bo s t o n , PA 1 5 1 3 5 - 1 2 1 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R L Wu r z , 1 3 3 2 0 En t e r p r i s e Av e , Cl e v e l a n d , O H 4 4 1 3 5
 2.9533 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R. J. Ma r s , 3 7 Th e a t r e Ce n t e r , Sp a r t a , N J 0 7 8 7 1 - 2 4 0 5
 2.9534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 1 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R. W. Ro g e r s , 6 1 0 S Ki r k Rd , St . Ch a r l e s , I L 6 0 1 4 7
 2.9535 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 R& D Te c h n i c a l So l u t i o n s Lt d , 7 0 0 0 Da v a n d Dr i v e ,
 2.9536 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi s s i s s a u g a , O N L5 T 1 J5 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R& D Te c h n i c a l So l u t i o n s Lt d , 7 0 0 0 Da v a n d Dr i v e ,
 2.9537 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi s s i s s a u g a , O N L5 T 1 J5 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R& R Gr o u p L L C, P. O. Bo x 2 2 3 2 , Gr a n i t e Ba y, C A 9 5 7 4 6
 2.9538 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 R& s Vr t y & Tr u e Va l u e Hd w e , 1 0 0 Ma n c h e s t e r Sh o p p i n g
 2.9539 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 6 7 2 )
        nature of the debtor's interest                                                                                                                          Ce n t e r , Ma n c h e s t e r , K Y 4 0 9 6 2 - 1 4 0 1

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 R2 De s i g n La b In c , 8 6 9 E Sc h a u m b u r g Rd , Su i t e 2 4 8 ,
 2.9540 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sc h a u m b u r g , I L 6 0 1 9 4

          State the term remaining                        09/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 R2 Lo g i s t i c s In c , 1 0 7 3 9 De e r w o o d Pa r k Bl v d , Su i t e 1 0 3 ,
 2.9541 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , R2 Lo g i s t i c s In c - Tr a n s p o r t a t i o n
                                                          Ag r e e m e n t s Co n t r a c t e d Ca r r i e r                                                     Ja c k s o n v i l l e , F L 3 2 2 5 6
        nature of the debtor's interest
          State the term remaining                        03/09/2018

          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o , 2 3 0 1 Lu n t Av e n u e , El k Gr o v e Vl g . , I L 6 0 0 0 7
 2.9542 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o , 2 3 0 1 Lu n t Av e n u e , El k Gr o v e Vl g . , I L 6 0 0 0 7
 2.9543 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o , 2 3 0 1 Lu n t Av e n u e , El k Gr o v e Vl g . , I L 6 0 0 0 7
 2.9544 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o / Go l d m a x , 2 3 0 1 Lu n t Av e , El k Gr o v e Vl g , I L 6 0 0 0 7
 2.9545 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o / Su t h e r l a n d , R3 Ch i c a g o , 2 3 0 1 Lu n t Av e n u e , El k
 2.9546 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Gr o v e Vl g . , I L 6 0 0 0 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 R3 Ch i c a g o / Sw e e t h e a r t , R3 Ch i c a g o , 2 3 0 1 Lu n t Av e n u e , El k
 2.9547 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Gr o v e Vl g . , I L 6 0 0 0 7

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 R3 Ch i c a g o / We r t h e i m e r , 2 3 0 1 Lu n t Av e , El k Gr o v e Vl g , I L
 2.9548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60007

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ra a v t e c h L L C, 6 1 8 Wa t e r v a l e , Dr , St . Au g u s t i n e , F L 3 2 0 9 2
 2.9549 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ra a v t e c h S O W 2 0 2 3 - 1 C O 2 Va m s h i
        nature of the debtor's interest                   Me d a - I T Go o g l e Cl o u d Ar c h i t e c t

          State the term remaining                        07/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ra a v t e c h L L C, 6 1 8 Wa t e r v a l e , Dr , St . Au g u s t i n e , F L 3 2 0 9 2
 2.9550 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R A AV T E C H L L C In d e p e n d e n t Co n t r a c t o r
        nature of the debtor's interest                   Ag r e e m e n t – Va m s h i Me d a Cl o u d Ar c h i t e c t

          State the term remaining                        03/01/2023 - 02/28/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ra b e r n Re n t a l Ce n t e r , 4 8 0 7 S. w a s h i n g t o n , Am a r i l l o , T X
 2.9551 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 3 2 )
                                                                                                                                                                 79110-2627
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra c i n e , 1 9 5 0 Ta y l o r Av e , Ra c i n e , W I 5 3 4 0 3
 2.9552 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra c o In c o r p o r a t e d , 4 0 Wa t e r v i e w Dr , Sh e l t o n , C T 0 6 4 8 4
 2.9553 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ra c o In c o r p o r a t e d , 4 0 Wa t e r v i e w Dr , Sh e l t o n , C T 0 6 4 8 4
 2.9554 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra c o In c o r p o r a t e d , 4 0 Wa t e r v i e w Dr , Sh e l t o n , C T 0 6 4 8 4
 2.9555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra d i a , 1 4 9 0 0 2 1 St Av e n u e No r t h , Pl y m o u t h , M N 5 5 4 4 7
 2.9556 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/03/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i a n s In c , 5 3 0 5 Di s t r i p l e x Fa r m s Dr i v e , Me m p h i s , T N 3 8 1 5 4
 2.9557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/15/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i a n s In c , 5 3 0 5 Di s t r i p l e x Fa r m s Dr i v e , Me m p h i s , T N 3 8 1 5 4
 2.9558 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i a t o r Sp e c i a l t y Co , 1 5 3 0 Pa m e n t e r St , Mi d d l e t o n , W I 5 3 5 6 2
 2.9559 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i a t o r Sp e c i a l t y Co , 1 5 3 0 Pa m e n t e r St , Mi d d l e t o n , W I 5 3 5 6 2
 2.9560 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i a t o r Sp e c i a l t y Co , 1 5 3 0 Pa m e n t e r St , Mi d d l e t o n , W I 5 3 5 6 2
 2.9561 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Fl y e r In c , 6 5 1 5 W Gr a n d Av e , Ch i c a g o , I L 6 0 7 0 7
 2.9562 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Fl y e r In c , 6 5 1 5 W Gr a n d Av e , Ch i c a g o , I L 6 0 7 0 7
 2.9563 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 1196 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra d i o Fl y e r In c , 6 5 1 5 W Gr a n d Av e , Ch i c a g o , I L 6 0 7 0 7
 2.9564 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Gr o v e Ha r d w a r e , 2 5 0 Ro u t e 2 7 , Ra y m o n d , N H 0 3 0 7 7 -
 2.9565 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 6 )
                                                                                                                                                                 1451
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9566 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9567 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9568 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9570 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9574 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9575 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i o Sy s t e m s , 1 0 4 2 7 Pe t s a f e Wa y, Kn o x v i l l e , T N 3 7 9 3 2
 2.9577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i u s Ga r d e n L L C, Ra d i u s Ga r d e n L L C, 7 7 2 Ai r p o r t Bl v d ,
 2.9578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su i t e 3 , An n Ar b o r , M I 4 8 1 0 8
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ra d i u s Ga r d e n L L C, Ra d i u s Ga r d e n L L C, 7 7 2 Ai r p o r t Bl v d ,
 2.9579 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Su i t e 3 , An n Ar b o r , M I 4 8 1 0 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ra g a n & Ma s s e y In c , Ra g a n & Ma s s e y In c , 1 0 1 Po n c h a t o u l a
 2.9580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Pa r k w a y, Po n c h a t o u l a , L A 7 0 4 5 4
        nature of the debtor's interest
          State the term remaining                        01/01/2021

          List the contract number of any government
          contract
                                                                                                                                                     Ra g l e y ' s Tr u e Va l u e Ha r d w a r e , 2 4 8 Fi n d l e y St , Pu n x s u t a w n e y,
 2.9581 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 2 7 )
                                                                                                                                                     PA 1 5 7 6 7 - 2 0 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i l Ci t y Ga r d e n Ce n t e r , 1 7 2 0 Br i e r l e y, Sp a r k s , N V 8 9 4 3 4 -
 2.9582 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 3 )
                                                                                                                                                     5822
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n Bl o c k L L C, 2 9 1 7 Hi d d e n Fo r e s t Dr , Mc k i n n e y, T X 7 5 0 7 2
 2.9583 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ra i n Ha r d w a r e ( c o n t i n e n t a l Ha r d w a r e ) , 1 0 2 - 0 1 Me t r o p o l i t a n
 2.9584 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 7 )
        nature of the debtor's interest                                                                                                              Av e , Fo r e s t Hi l l s , N Y 1 1 3 7 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n Ha r v e s t i n g Pt y Lt d , 1 0 0 5 N Co m m o n s Dr , Au r o r a , I L
 2.9585 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60504
        nature of the debtor's interest
          State the term remaining                        05/26/2011

          List the contract number of any government
          contract
                                                                                                                                                     Ra i n b i r d Na t i o n a l Sl s , 6 9 9 1 E So u t h p o i n t Rd , Tu s c o n , A Z
 2.9586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     85756
        nature of the debtor's interest
          State the term remaining                        03/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ra i n b o w Ga r d e n s , 2 5 8 5 Th o u s a n d Oa k s Dr , Sa n An t o n i o , T X
 2.9587 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 1 0 )
                                                                                                                                                     78232-4101
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ra i n b o w Ga r d e n s # 3 , Ra i n b o w Ga r d e n s 3 , 8 5 1 6 Ba n d e r a Rd ,
 2.9588 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 7 7 )
                                                                                                                                                     Sa n An t o n i o , T X 7 8 2 5 0 - 2 5 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n b o w Gr o c e r y, 3 0 2 7 9 We s t Us 1 6 0 , So u t h Fo r k , C O 8 1 1 5 4
 2.9589 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n b o w Tr u e Va l u e , 6 8 3 Mi d d l e Ne c k Rd , Gr e a t Ne c k , N Y
 2.9590 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 3 5 )
                                                                                                                                                     11023-1216
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n d e w Co v e r t Tr u e Va l u e , 7 3 Co v e r t Av e , Fl o r a l Pa r k , N Y
 2.9591 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 8 3 )
        nature of the debtor's interest                                                                                                              11001-3218

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n d e w Pl a n d o m e Tr u e Va l u e , 4 6 5 Pl a n d o m e Rd , Ma n h a s s e t ,
 2.9592 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 7 )
        nature of the debtor's interest                                                                                                              NY 11030-1942

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n d e w Tr u e Va l u e , 3 5 - 1 5 Fr a n c i s Le w i s Bl v d , Fl u s h i n g , N Y
 2.9593 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 2 6 )
                                                                                                                                                     11358-1955
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra i n d r i p In c , Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d
 2.9594 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest
          State the term remaining                        09/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ra i n d r i p In c , Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d
 2.9595 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                 Page 1200 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra i n d r i p In c , Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d
 2.9596 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra i n d r i p In c , Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d
 2.9597 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra i n d r i p In c , Nd s , 2 1 8 2 0 Bu r b a n k Bl v d , Su i t e 2 0 0 , Wo o d l a n d
 2.9598 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hi l l s , C A 9 1 3 6 7
        nature of the debtor's interest
          State the term remaining                        05/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ra i n i e r Tr u e Va l u e , 1 0 2 A St r e e t We s t , Ra i n i e r , O R 9 7 0 4 8 -
 2.9599 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 1 )
        nature of the debtor's interest                                                                                                                          3130

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra i n o s e k ' s Tr u e Va l u e , Ra i n o s e k ` s Tr u e Va l u e , 1 0 1 E 2 n d
 2.9600 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 1 3 )
                                                                                                                                                                 St r e e t , Ha l l e t t s v i l l e , T X 7 7 9 6 4 - 2 7 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra l c o Nu t r i t i o n , In c , 6 0 0 Mi c h i g a n Ro a d , P. O. Bo x 1 0 8 3 ,
 2.9601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r s h a l l , M N 5 6 2 5 8
        nature of the debtor's interest
          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ra l c o Nu t r i t i o n , In c , 6 0 0 Mi c h i g a n Ro a d , P. O. Bo x 1 0 8 3 ,
 2.9602 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r s h a l l , M N 5 6 2 5 8
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Ra l s t o n s Ha r d w a r e , 1 9 5 Wa t e r St , Co n n e a u t La k e , PA 1 6 3 1 6 -
 2.9603 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 0 0 )
                                                                                                                                                                 7224
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra m s e y Ha r d w a r e & Pa i n t , 1 4 Ea s t Ma i n St r e e t , Ra m s e y, N J
 2.9604 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 3 )
                                                                                                                                                                 07446-1929
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra m s e y Tr u e Va l u e Ha r d w a r e , 7 0 3 N Ro y a l Av e , Fr o n t Ro y a l ,
 2.9605 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 4 7 )
                                                                                                                                                                 VA 2 2 6 3 0 - 2 7 1 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n d Mc n a l l y, 9 5 5 0 W Hi g g i n s , Ro s e m o n t , I L 6 0 0 1 8
 2.9606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ra n d o l p h Tr u e Va l u e , 2 6 3 Ma i n St , Ra n d o l p h , N Y 1 4 7 7 2 - 1 2 1 8
 2.9607 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n g e l y Tr u e Va l u e , 1 0 5 W Ma i n , Ra n g e l y, C O 8 1 6 4 8 - 2 6 2 2
 2.9608 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 2 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n g e r ' s Fa r m & Ra n c h Su p p l y, Ra n g e r ` s Fa r m & Ra n c h
 2.9609 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 6 )
                                                                                                                                                                 Su p p l y, 2 2 3 0 W Hw y 5 6 , Ce d a r Ci t y, U T 8 4 7 2 0 - 4 1 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n k a m ( Ch i n a ) Mf g Co Lt d , 1 8 / F Ne w Le e Wa h Ce n t r e , 8 8
 2.9610 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 To k w a w a n Ro a d , Ko w l o o n , , Ho n g Ko n g
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n k a m ( Ch i n a ) Mf g Co Lt d , 1 8 / F Ne w Le e Wa h Ce n t r e , 8 8
 2.9611 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To k w a w a n Ro a d , Ko w l o o n , , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra n k a m ( Ch i n a ) Mf g Co Lt d , 1 8 / F Ne w Le e Wa h Ce n t r e , 8 8
 2.9612 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To k w a w a n Ro a d , Ko w l o o n , , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n k a m ( Ch i n a ) Mf g Co Lt d , 1 8 / F Ne w Le e Wa h Ce n t r e , 8 8
 2.9613 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To k w a w a n Ro a d , Ko w l o o n , , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n s o m Br o s Lb r Tr u e Va l u e , 5 3 2 B St , Ra m o n a , C A 9 2 0 6 5 -
 2.9614 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 3 5 )
        nature of the debtor's interest                                                                                                                          2030

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra n s o m Br o t h e r s Tr u e Va l u e , 1 4 4 1 Ma i n St r e e t , Ra m o n a , C A
 2.9615 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 9 7 )
                                                                                                                                                                 92065-2128
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra p i d Ci t y Ha r d w a r e , 7 7 0 Mo u n t a i n Vi e w Ro a d , Ra p i d Ci t y, S D
 2.9616 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 1 )
                                                                                                                                                                 57702
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra p i d Ra m e n In c , 4 0 0 Ca p i t o l Ma l l , Su i t e 2 1 4 0 , Sa c r a m e n t o ,
 2.9617 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 CA 95814
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra p i d Ro p e L L C, 1 1 0 S 4 5 0 E, Bu r l e y, I D 8 3 3 1 8
 2.9618 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ra p i d To o l s , 3 2 1 8 Ra i n b o w Co u r t , Bu r l i n g t o n , O N L7 M 2 T8 ,
 2.9619 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ra p p ' s Tr u e Va l u e , 2 W Ma i n St , Mo u n t St e r l i n g , O H 4 3 1 4 3 -
 2.9620 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 8 0 )
                                                                                                                                                     1206
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra v e n Tr u e Va l u e , Rt e 6 7 & 4 6 0 , Ra v e n , VA 2 4 6 3 9 - 9 9 9 8
 2.9621 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 9 2 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra w l i n s Ha r d w a r e , 6 0 0 W Ma p l e St r e e t , Ra w l i n s , W Y 8 2 3 0 1 -
 2.9622 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 1 5 )
        nature of the debtor's interest                                                                                                              0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra y Gr i f f i t h Co . , In c . , 3 0 0 Pl a n t St , Do t h a n , A L 3 6 3 0 3
 2.9623 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ra y Pa d u l a En t e r p r i e s , 4 Ea s t 3 4 Th St r e e t , Ne w Yo r k , N Y
 2.9624 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     10016
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ra y Re n t s , In c . , Gr a n d Re n t a l St a t i o n , 5 3 1 0 Ve t e r a n s Pa r k w a y,
 2.9625 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 6 )
                                                                                                                                                     Co l u m b u s , G A 3 1 9 0 4 - 4 4 2 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ra y c o , 4 2 5 5 Li n c o l n Wa y, Wo o s t e r , O H 4 4 6 9 1
 2.9626 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ra y m o n d Ha n d l i n g Co n c e p t s , 1 1 2 1 St r i k e r Av e n u e , Su i t e 1 5 0 ,
 2.9627 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ka n s a s Ci t y M H E
                                                                                                                                                     Sa c r e m e n t o , C A 9 5 8 3 4
        nature of the debtor's interest                   Ma i n t e n a n c e - Ra y m o n d

          State the term remaining                        05/01/2019

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ra y m o n d Ha n d l i n g Co n c e p t s Co r p o r a t i o n , 3 1 4 8 Ne 1 8 1 St Av e ,
 2.9628 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Ra y m o n d Ma t e r i a l Ha n d l i n g C E R_ Ki n g m a n
                                                                                                                                                                 Po r t l a n d , O R 9 7 2 3 0
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ra y m o n d Ha n d l i n g Co n c e p t s Co r p o r a t i o n , 3 1 4 8 Ne 1 8 1 St Av e ,
 2.9629 State what the contract or lease is for and the
                                                          Go o d s Pu r c h a s e , Ra y m o n d Ma t e r i a l Ha n d l i n g C E R_ Ha r v a r d
        nature of the debtor's interest                                                                                                                          Po r t l a n d , O R 9 7 2 3 0

          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Ra y m o n d Tr u e Va l u e Ha r d w a r e , 2 9 So u t h Ri d g e St , Po r t
 2.9630 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 0 1 )
                                                                                                                                                                 Sa n i l a c , M I 4 8 4 6 9 - 9 7 8 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra y o v a c , 3 0 0 1 De m i n g Wa y, p . O. Bo x 6 2 0 9 9 2 , Mi d d l e t o n , W I
 2.9631 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 53562
        nature of the debtor's interest
          State the term remaining                        09/17/2023 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ra y o v a c , 3 0 0 1 De m i n g Wa y, p . O. Bo x 6 2 0 9 9 2 , Mi d d l e t o n , W I
 2.9632 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 53562
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ra y o v a c , 3 0 0 1 De m i n g Wa y, p . O. Bo x 6 2 0 9 9 2 , Mi d d l e t o n , W I
 2.9633 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53562
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rb d On l i n e In c , 4 7 7 0 Oc c i d e n t a l Rd , Sa n t a Ro s a , C A 9 5 4 0 1
 2.9634 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Re a d e r Tr u e Va l u e Ha r d w a r e , 1 3 3 Ma i n St , Do b b s Fe r r y, N Y
 2.9635 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 5 3 )
        nature of the debtor's interest                                                                                                                          10522-1620

          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                             Page 1205 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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                                                                                                                                                24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re a d e r e s t , 3 0 4 3 Me a d e Av e Su i t e A, Th e 9 0 0 Se r i e s / Ca r l ' S Pl ,
 2.9636 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 La s Ve g a s , N V 8 9 1 0 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re a d y Am e r i c a , 1 3 9 9 Sp e c i a l t y Dr , Vi s t a , C A 9 2 0 8 1
 2.9637 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re a d y Se a l In c , 1 4 4 0 St a t e Hw y 1 2 1 , Su i t e 3 , Le w i s v i l l e , T X
 2.9638 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75067
        nature of the debtor's interest
          State the term remaining                        06/14/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Re a l Wo o d Pr o d u c t s Co , 9 0 Fo c h St , Eu g e n e , O R 9 7 4 0 2
 2.9639 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re b e l Gr e e n , 1 3 1 7 To w n e Sq u a r e Rd , Me q u o n , W I 5 3 0 9 2
 2.9640 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/04/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Re b o u n d Dr i v e w a y Ma r k e r L L C, Re b o u n d Dr i v e w a y Ma r k e r
 2.9641 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 3 6 0 Ro u t e 1 0 1 , Bl d g 4 A ( Pi n e Tr e e Pl a c e ) , Be d f o r d , N H
        nature of the debtor's interest
                                                                                                                                                                 03110
          State the term remaining                        12/04/2005

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9642 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9643 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9644 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining                        07/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9646 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining                        06/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9647 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9648 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9649 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9650 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9651 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9652 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9653 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9654 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9655 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9656 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining                        07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9657 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9658 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re c k i t t Be n c k i s e r , Mo r r i s Co r p o r a t e Ce n t e r Iv, 3 9 9 In t e r p a c e
 2.9660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k w a y, Pa r s i p p a n y, N J 0 7 0 5 4

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r Pr o , 1 1 1 1 E So u t h Ri v e r St , Ap p l e t o n , W I
 2.9661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 54915
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c k i t t Be n c k i s e r Pr o , 1 1 1 1 E So u t h Ri v e r St , Ap p l e t o n , W I
 2.9662 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 54915
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re c o c h e m In c , 8 5 0 Mo n t e e De Li e s s e Rd , Mo n t r e a l , Q C H4 T
 2.9663 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 P4 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Re c t o r s e a l Co r p o r a t i o n , 2 6 0 1 Sp e n w i c k Dr i v e , Ho u s t o n , T X
 2.9664 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 77055
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c t o r s e a l Co r p o r a t i o n , 2 6 0 1 Sp e n w i c k Dr i v e , Ho u s t o n , T X
 2.9665 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 77055

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re c t o r s e a l Co r p o r a t i o n , 2 6 0 1 Sp e n w i c k Dr i v e , Ho u s t o n , T X
 2.9666 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          77055

          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Re c t o r s e a l Co r p o r a t i o n , 2 6 0 1 Sp e n w i c k Dr i v e , Ho u s t o n , T X
 2.9667 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 77055
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re c t o r s e a l Co r p o r a t i o n , 2 6 0 1 Sp e n w i c k Dr i v e , Ho u s t o n , T X
 2.9668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 77055
        nature of the debtor's interest
          State the term remaining                        09/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Re d & Wh i t e Va l v e Co r p , 2 0 6 0 0 Re g e n c y La n e , La k e Fo r e s t ,
 2.9669 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92630
        nature of the debtor's interest
          State the term remaining                        01/01/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Re d Ba r n Fe e d & Ha r d w a r e , 3 1 5 Sa y b r o o k Ro a d , Hi g g a n u m , C T
 2.9670 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 8 6 )
                                                                                                                                                                 06441-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re d Bu l l No r t h Am e r i c a In c , 1 7 4 0 St e w a r t St , Sa n t a Mo n i c a ,
 2.9671 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 90404
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Re d Bu l l No r t h Am e r i c a In c , 1 7 4 0 St e w a r t St , Sa n t a Mo n i c a ,
 2.9672 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 90404
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 09/01/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9674 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9676 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9677 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re d De v i l In c , 4 1 7 5 We b b St r e e t , Pr y o r , O K 7 4 3 6 1
 2.9678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Re d Ha t Re n t a l s , 3 2 1 0 W Oa k St , Pa l e s t i n e , T X 7 5 8 0 1 - 5 4 0 7
 2.9679 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 6 5 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re d Lo d g e Ho m e & Ha r d w a r e , In c , Re d Lo d g e Ho m e &
 2.9680 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 8 1 )
        nature of the debtor's interest                                                                                                                          Ha r d w a r e In c , 1 N. Oa k e s , Re d Lo d g e , M T 5 9 0 6 8 - 1 3 5 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re d Ri v e r Co m m o d i t i e s , In c . , 5 0 1 4 2 Nd St Nw, p . O. Bo x 3 0 2 2 ,
 2.9681 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Fa r g o , N D 5 8 1 0 8

          State the term remaining                        05/01/2009

          List the contract number of any government
          contract
                                                                                                                                                                 Re d Ri v e r Sp e c i a l t i e s , 1 3 2 4 N He a r n e Av e , Su i t e 1 2 0 ,
 2.9682 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Sh r e v e p o r t , L A 7 1 1 0 7
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Re d Ri v e r Sp e c i a l t i e s , 1 3 2 4 N He a r n e Av e , Su i t e 1 2 0 ,
 2.9683 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sh r e v e p o r t , L A 7 1 1 0 7
        nature of the debtor's interest
          State the term remaining                        05/05/2017

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Re d To o l b o x Us a In c , 3 1 8 He l m s Co u r t , Fl o r h a m Pa r k , N J
 2.9684 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     07932
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Re d - Ca r p e t St u d i o s Lt d . , Re d - Ca r p e t St u d i o s Lt d , 4 3 2 5 In d e c o
 2.9685 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Co u r t , Ci n c i n n a t i , O H 4 5 2 4 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Re d ' s Sa f e & Lo c k Se r v i c e , Re d ` s Sa f e & Lo c k Se r v i c e , 2 2 0
 2.9686 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 1 6 )
                                                                                                                                                     Pa s a d e n a Bl v d , Pa s a d e n a , T X 7 7 5 0 6 - 2 3 1 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re d b o n e Pr o d u c t s In c , 2 0 4 8 Ro s e La n e , Pa c i f i c , M O 6 3 0 6 9
 2.9687 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/11/2011

          List the contract number of any government
          contract
                                                                                                                                                     Re d b u d Tr u e Va l u e , 1 1 2 6 Sl i d e Ro a d , Su i t e 1 0 , Lu b b o c k , T X
 2.9688 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 7 )
        nature of the debtor's interest                                                                                                              79416-5462

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re d d ' s Ac e Ha r d w a r e , 8 2 S. Ma i n St . , Bl a n d i n g , U T 8 4 5 1 1 -
 2.9689 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 5 )
        nature of the debtor's interest                                                                                                              3741

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re d d ' s Ac e Ha r d w a r e , Re d d ` s Ac e Ha r d w a r e , 6 2 0 N. Na v a j o
 2.9690 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 4 )
                                                                                                                                                     Dr i v e , Pa g e , A Z 8 6 0 4 0 - 0 9 6 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re d d i n g Tr u e Va l u e Hd w e , 2 6 2 0 Ch u r n Cr e e k Rd , Re d d i n g , C A
 2.9691 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 3 4 )
                                                                                                                                                     96002-1125
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re d e x In d u s t r i e s In c , 1 1 7 6 Sa l e m Pa r k w a y, Sa l e m , O H 4 4 4 6 0
 2.9692 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Re d i f l a m e In c , 1 1 6 In d u s t r i a l Dr , Fi n l e y, N D 5 8 2 3 0
 2.9693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Re d i s h a d e , In c . , Re d i s h a d e , In c , 3 6 1 Bl o d g e t t St r e e t , Co t a t i ,
 2.9694 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 94931
        nature of the debtor's interest
          State the term remaining                        04/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Re d m o n d Mi n e r a l s In c , 6 0 0 5 No r t h 1 0 0 We s t , P. O. Bo x 2 1 9 ,
 2.9695 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Re d m o n d , U T 8 4 6 5 2

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Re d w a y Tr u e Va l u e , 1 0 0 Mu r r i s h Ln , Re d w a y, C A 9 5 5 6 0 - 9 7 6 6
 2.9696 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 3 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e c o Tr u e Va l u e Ha r d w a r e , 1 7 6 2 Ca n a l Bl v d , Th i b o d a u x , L A
 2.9697 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 3 4 )
                                                                                                                                                                 70301-5225
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e d Un i o n Co r p , 8 7 5 N Mi c h i g a n Av e n u e , Su i t e 3 7 1 8 ,
 2.9698 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 1 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e l c r a f t In d . , 2 8 4 2 E Bu s i n e s s 3 0 , Co l u m b i a Ci t y, I N 4 6 7 2 5
 2.9699 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re e v e s In t ' l In c , Re e v e s In t e r n a t i o n a l In c , 1 4 In d u s t r i a l Rd ,
 2.9700 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pe q u a n n o c k , N J 0 7 4 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e v e s In t ' l In c , Re e v e s In t e r n a t i o n a l In c , 1 4 In d u s t r i a l Rd ,
 2.9701 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pe q u a n n o c k , N J 0 7 4 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e v e s In t ' l In c , Re e v e s In t e r n a t i o n a l In c , 1 4 In d u s t r i a l Rd ,
 2.9702 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pe q u a n n o c k , N J 0 7 4 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e v e s Tr u e Va l u e , 1 7 7 6 Hi g h w a y 2 2 , Ma d i s o n v i l l e , L A 7 0 4 4 7
 2.9703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re e v e s Tr u e Va l u e Ha r d w a r e , 1 1 1 3 Ea s t Th o m a s St r e e t ,
 2.9704 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 6 0 )
        nature of the debtor's interest                                                                                                                          Ha m m o n d , L A 7 0 4 0 1 - 2 7 3 8

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re f l e c t i x In c , P. O. Bo x 1 0 8 , 1 Sc h o o l St , Ma r k l e v i l l e , I N
 2.9705 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46056
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Re f l e c t i x In c , P. O. Bo x 1 0 8 , 1 Sc h o o l St , Ma r k l e v i l l e , I N
 2.9706 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46056
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re f o r e s t a t i o n Te c h n o l o g i e s In t l , 5 3 5 5 Mo n t e r e y Fr o n t a g e Rd ,
 2.9707 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Gi l r o y, C A 9 5 0 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re f o r e s t a t i o n Te c h n o l o g i e s In t l , 5 3 5 5 Mo n t e r e y Fr o n t a g e Rd ,
 2.9708 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gi l r o y, C A 9 5 0 2 0
        nature of the debtor's interest
          State the term remaining                        02/02/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Re g a l Ar t & Gi f t , 6 0 0 5 Fr e e p o r t Av e , Me m p h i s , T N 9 4 5 2 0
 2.9709 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re g a l De c o r a t i n g & Pa i n t Ce n t e r In c . , 2 0 1 S. Di x i e Hi g h w a y,
 2.9710 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 2 )
        nature of the debtor's interest                                                                                                                          La k e Wo r t h , F L 3 3 4 6 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re g e n c y In t ' l , Re g e n c y In t e r n a t i o n a l , 5 0 Br o a d w a y, 3 Rd Fl o o r ,
 2.9711 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ne w Yo r k , N Y 1 0 0 0 4

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re h o b e t h Tr u e Va l u e , 6 2 7 0 So u t h St a t e Hw y 6 0 5 , Do t h a n , A L
 2.9712 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 3 )
                                                                                                                                                                 36301-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re i d In d u s t r i e s , 4 0 0 S In d i a n a St , p . O. Bo x 5 6 4 , Ho b a r t , I N
 2.9713 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46342
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re i d In d u s t r i e s , 4 0 0 S In d i a n a St , p . O. Bo x 5 6 4 , Ho b a r t , I N
 2.9714 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 46342
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re i d In d u s t r i e s , 4 0 0 S In d i a n a St , p . O. Bo x 5 6 4 , Ho b a r t , I N
 2.9715 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 46342
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Re i f s n y d e r s Ag Ce n t e r , 7 1 8 0 Be r n v i l l e Rd , Be r n v i l l e , PA
 2.9716 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 1 2 )
                                                                                                                                                     19506-8625
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re i m a n s Ha r d w a r e , 1 8 2 5 Vi c t o r y Bl v d , St a t e n Is l a n d , N Y
 2.9717 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 3 1 )
                                                                                                                                                     10314-3527
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re i n d e l Tr u e Va l u e Hd w. , 3 2 9 1 6 Ut i c a Rd , Fr a s e r , M I 4 8 0 2 6 -
 2.9718 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 3 )
        nature of the debtor's interest                                                                                                              3836

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Re l i a b l e o f Mi l w a u k e e , Re l i a b l e Of Mi l w a u k e e , 6 7 3 7 W
 2.9719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wa s h i n g t o n St , Su i t e 3 2 0 0 , Mi l w a u k e e , W I 5 3 2 1 4

          State the term remaining                        07/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Re l i a n c e Co n t r o l s Co r p , 2 0 0 1 Yo u n g Ct , Ra c i n e , W I 5 3 4 0 4
 2.9720 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Re l i a n c e Wa t e r He a t e r Co , 5 0 0 Tn Wa l t z Pa r k w a y, As h l a n d
 2.9721 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                     Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest
          State the term remaining                        05/12/2016

          List the contract number of any government
          contract
                                                                                                                                                     Re l i a n c e Wa t e r He a t e r Co , 5 0 0 Tn Wa l t z Pa r k w a y, As h l a n d
 2.9722 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest
          State the term remaining                        08/01/2023 - 07/31/2027

          List the contract number of any government
          contract
                                                                                                                                                     Re l i a n c e Wa t e r He a t e r Co , 5 0 0 Tn Wa l t z Pa r k w a y, As h l a n d
 2.9723 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re l i a n c e Wa t e r He a t e r Co , 5 0 0 Tn Wa l t z Pa r k w a y, As h l a n d
 2.9724 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                 Re l i a n c e Wa t e r He a t e r Co , 5 0 0 Tn Wa l t z Pa r k w a y, As h l a n d
 2.9725 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ci t y, T N 3 7 0 1 5
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Re m c o d a Ex p r e s s L L C, 1 8 2 0 1 Co l l i n s Av e n u e , Su i t e 4 5 0 1 ,
 2.9726 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Re m c o d a Ex p r e s s Re m o v e Ha n d Sa n i t i z e r s f r o m
        nature of the debtor's interest                   R D C' s                                                                                               Su n n y Is l e s Be a c h , F L 3 3 1 6 0

          State the term remaining                        10/27/2023 - 10/26/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Re m e d i El e c t r o n i c Co m m e r c e Gr o u p , 9 6 No r t h w o o d s
 2.9727 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , In t e r f a c e w o r k
                                                                                                                                                                 Bo u l e v a r d , Co l u m b u s , O H 4 3 2 3 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re m i n g t o n Ar m s , 8 7 0 Re m i n g t o n Dr i v e , Ma d i s o n , N C 2 7 0 2 5
 2.9728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Re m i n g t o n Pr o d u c t s In c , 3 0 0 1 De m i n g Wa y, P. O. Bo x 6 2 0 9 9 2 ,
 2.9729 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi d d l e t o n , W I 5 3 5 6 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Re m i n g t o n Tr u e Va l u e , 5 0 8 Ha r r i n g t o n Ct W, Re m i n g t o n , I N
 2.9730 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 1 6 )
                                                                                                                                                                 47977-8862
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re m o t e s Un l i m i t e d In c , 1 2 9 9 9 Mu r p h y Rd , Su i t e A, St a f f o r d ,
 2.9731 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 77477
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Re n a i s s a n c e Ch i c a g o O' Ha r e , 8 5 0 0 , Ch i c a g o , I L 6 0 6 3 1
 2.9732 State what the contract or lease is for and the   Ev e n t s & Me e t i n g s Se r v i c e s , Re n a i s s a n c e Ch i c a g o O' Ha r e Ho t e l
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 4

          State the term remaining                        01/01/2024 - 12/31/2024

          List the contract number of any government
          contract
                                                                                                                                                              Re n a i s s a n c e Co n s t r u c t i o n Pr o d u c t s , 2 0 0 Gr e a t So u t h w e s t
 2.9733 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 1 2 )
        nature of the debtor's interest                                                                                                                       Pa r k w a y Sw, At l a n t a , G A 3 0 3 3 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Re n e e s Ga r d e n Se e d s , 6 0 6 0 A Gr a h a m Hi l l Rd , Fe l t o n , C A
 2.9734 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       95018

          State the term remaining                        04/27/2011

          List the contract number of any government
          contract
                                                                                                                                                              Re n e o t e c h In c , 8 4 0 0 Ri v e r Rd , No r t h Be r g e n , N J 0 7 0 4 7
 2.9735 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2017

          List the contract number of any government
          contract
                                                                                                                                                              Re n e w a b l e Lu b r i c a n t s In c , P. O. Bo x 4 7 4 , 4 7 6 Gr i g g y Rd ,
 2.9736 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              Ha r t v i l l e , O H 4 4 6 3 2
        nature of the debtor's interest
          State the term remaining                        09/01/2011

          List the contract number of any government
          contract
                                                                                                                                                              Re n e x Ny Co r p , 1 2 Ed g e b o r o Rd Un i t 7 , Ea s t Br u n s w i c k , N J
 2.9737 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 9 2 )
                                                                                                                                                              08816
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Re n e x x Ny Co r p , 1 2 Ed g e b o r o Rd Un i t 7 , Ea s t Br u n s w i c k , N J
 2.9738 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 9 )
                                                                                                                                                              08816
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                              Re n i n Us L L C, 1 0 Wa l k e r Dr i v e , Br a m p t o n , O N L6 T 4 H6 ,
 2.9739 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       Ca n a d a

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re n i n Us L L C, 1 0 Wa l k e r Dr i v e , Br a m p t o n , O N L6 T 4 H6 ,
 2.9740 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re n n e r Tr u e Va l u e Ha r d w a r e , 2 2 8 9 Hi g h w a y 2 0 8 , Sm i t h , N V
 2.9741 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 7 2 1 )
        nature of the debtor's interest                                                                                                                          89430-9710

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re n t a l Su p p l y In c , Tr u e Va l u e Re n t a l , 2 1 4 St a g e Co a c h Tr l ,
 2.9742 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 3 3 )
                                                                                                                                                                 Gr e e n s b o r o , N C 2 7 4 0 9 - 1 8 1 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re p l e n e x , In c . , Re p l e n e x In c . , 9 8 1 5 We s t 7 4 t h St , Ed e n Pr a i r i e ,
 2.9743 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 4 7 5 )
                                                                                                                                                                 MN 55344-3578
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re p u b l i c Se r v i c e s , 1 2 0 0 No r t h Ir v i n g St r e e t , Al l e n t o w n , PA
 2.9744 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Re p u b l i c Se r v i c e s Wa s t e
                                                          Ag r e e m e n t f o r Fr e e p o r t 2 0 2 3 - Ca r y                                                 18109
        nature of the debtor's interest
          State the term remaining                        12/18/2023 - 12/17/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Re p u r p o s e In c , 5 2 5 S He w i t t St , Lo s An g e l e s , C A 9 0 0 1 3
 2.9745 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Re s e a r c h Pr o d u c t s , 1 0 1 5 E Wa s h i n g t o n Av e , p . O. Bo x 1 4 6 7 ,
 2.9746 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma d i s o n , W I 5 3 7 0 1
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Re s o n En t e r p r i s e s Lt d , Un i t B, 9 / F Ra y Ce n t r e , 8 8 Hu n g To
 2.9747 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Rd , Kw u n Tu n g , Ko w l o o n , Ho n g Ko n g

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Re s o u r c e Pa r t n e r s En t e r p r i s e s L L C, 7 8 0 0 Wh i p p l e Av e N W,
 2.9748 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            No r t h Ca n t o n , O H 4 4 7 2 0

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                   Re s t o r e Of Fo x Va l l e y Ha b i t a t Fo r Hu m a n i t y, 8 0 0 N St a t e ,
 2.9749 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 7 )
        nature of the debtor's interest                                                                                                                            El g i n , I L 6 0 1 2 3

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re s t o r e Of Fo x Va l l e y Ha b i t a t Fo r Hu m a n i t y, 9 5 5 E. Ra n d Rd ,
 2.9750 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 4 )
                                                                                                                                                                   Ar l i n g t o n He i g h t s , I L 6 0 0 0 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re t a i l Re a l m Di s t r i b u t i o n In c , 4 7 7 De v l i n Ro a d , Su i t e 1 0 6 ,
 2.9751 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Tr a i n i n g , p r o j e c t m a n a g e m e n t , VAT a n d
                                                          installation for pilot store                                                                             Na p a , C A 9 4 5 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re t h w i s c h & So n , 1 0 1 Ce n t e r St S, La k e Be n t o n , M N 5 6 1 4 9
 2.9752 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 7 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re u b e n Ha r d w a r e , 2 3 2 3 S Ma i n Rd , Vi n e l a n d , N J 0 8 3 6 0 - 7 1 3 4
 2.9753 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 4 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re v e t t e s Tr u e Va l u e Ha r d w a r e , 2 4 3 Ma i n St , St a t e Li n e , M S
 2.9754 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 3 1 )
        nature of the debtor's interest                                                                                                                            39362-9528

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Re v i v e In c , 6 5 0 1 W 9 1 s t Av e , We s t m i n s t e r , C O 8 0 0 3 1
 2.9755 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/25/2009

          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Re x i u s Fo r e s t By - Pr o d u c t s , 1 2 7 5 Ba i l e y Hi l l Ro a d , Eu g e n e , O R
 2.9756 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          97402

          State the term remaining                        08/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Re y n o l d s Co n s u m e r Pr o d u c t s , 1 9 0 0 W Fi e l d Co u r t , La k e
 2.9757 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re y n o l d s Co n s u m e r Pr o d u c t s , 1 9 0 0 W Fi e l d Co u r t , La k e
 2.9758 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re y n o l d s Co n s u m e r Pr o d u c t s , 1 9 0 0 W Fi e l d Co u r t , La k e
 2.9759 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Re y n o l d s Co n s u m e r Pr o d u c t s , 1 9 0 0 W Fi e l d Co u r t , La k e
 2.9760 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Re y n o l d s Co n s u m e r Pr o d u c t s , 1 9 0 0 W Fi e l d Co u r t , La k e
 2.9761 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fo r e s t , I L 6 0 0 4 5
        nature of the debtor's interest
          State the term remaining                        07/01/2022

          List the contract number of any government
          contract
                                                                                                                                                                 Rh Br a n d s , In c . , 2 7 2 8 6 Th Av e , De s Mo i n e s , I A 5 0 3 1 3
 2.9762 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2022 - 07/31/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Rh i n o Mf g Db a Av a l a n c h e , 4 0 0 Co n g r e s s St W, Ma p l e La k e ,
 2.9763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MN 55358

          State the term remaining                        11/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Rh i n o Se e d & La n d s c a p i n g Su p p l y L L C, 8 5 0 N Ol d U S 2 3 ,
 2.9764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      Br i g h t o n , M I 4 8 1 1 4

          State the term remaining                        10/01/2017

          List the contract number of any government
          contract
                                                                                                                                                             Rh i p Gr a p h i c s , 1 5 0 0 Br o a d St , Su i t e 6 , Gr e e n s b u r g , PA 1 5 6 0 1
 2.9765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                             Rh m St a f f i n g So l u t i o n s , 2 3 0 1 W 2 2 Nd St r e e t , Su i t e 1 0 2 , Oa k
 2.9766 State what the contract or lease is for and the
                                                          H R Se r v i c e s , R H M St a f f i n g So l u t i o n s - Ag e n c y a n d Re c r u i t i n g
                                                          Ag r e e m e n t T V M                                                                             Br o o k , I L 6 0 5 2 3
        nature of the debtor's interest
          State the term remaining                        08/18/2020

          List the contract number of any government
          contract
                                                                                                                                                             Rh s He a l t h c a r e So l u t i o n s , 8 9 5 2 We s t e r n Wa y, Su i t e 2 0 ,
 2.9767 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 3 )
                                                                                                                                                             Ja c k s o n v i l l e , F L 3 2 2 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ri b La k e Tr u e Va l u e , 7 0 0 Mi l l Ln , Ri b La k e , W I 5 4 4 7 0 - 9 3 2 8
 2.9768 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 2 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ri c e Ac e Ha r d w a r e , 9 1 2 4 Ma r h i s Av e , Ma n a s s a s , VA 2 0 1 1 0
 2.9769 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ri c e La k e Tr u e Va l u e , 1 1 2 4 Ha m m o n d Av e , Ri c e La k e , W I
 2.9770 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 3 )
        nature of the debtor's interest                                                                                                                      54868

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                             Ri c e v i l l e Tr u e Va l u e , 1 1 2 Wo o d l a n d Av e , Ri c e v i l l e , I A 5 0 4 6 6
 2.9771 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 0 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ri c h a r d s Pa i n t Mf g Co In c , 2 0 0 Pa i n t St , Ro c k l e d g e , F L 3 2 9 5 5
 2.9772 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s Su p p l y Co m p a n y, 1 0 1 Co i n St r e e t , Fo r t Wo r t h , T X
 2.9773 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 3 )
                                                                                                                                                                 76140-5504
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s Su p p l y Co m p a n y, 2 2 0 0 Fr a n k l i n Av e , Wa c o , T X
 2.9774 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 4 6 )
                                                                                                                                                                 76701-1635
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s Su p p l y Co m p a n y, 6 1 1 8 So u t h Ge n e r a l Br u c e Dr i v e ,
 2.9775 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 0 4 )
                                                                                                                                                                 Te m p l e , T X 7 6 5 0 2 - 5 8 2 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s Tr u e Va l u e Hd w e , 6 4 3 1 Us Hw y 5 5 0 , Cu b a , N M
 2.9776 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 4 6 )
                                                                                                                                                                 87013-6000
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s o n Br o s Gr e e n h o u s e s In c , P. O. Bo x 9 6 , 5 0 1
 2.9777 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cu m b e r l a n d Ro a d , St . El m o , I L 6 2 4 5 8

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s o n Oi l s e e d Lt d , 2 8 0 0 On e Lo m b a r d Pl a c e , Wi n n i p e g ,
 2.9778 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          M B R3 B 0 X8 , Ca n a d a

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s o n Oi l s e e d Lt d , 2 8 0 0 On e Lo m b a r d Pl a c e , Wi n n i p e g ,
 2.9779 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 M B R3 B 0 X8 , Ca n a d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ri c h a r d s o n Se a t i n g Co r p , 2 5 4 5 W Ar t h i n g t o n St , Ch i c a g o , I L
 2.9780 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60612
        nature of the debtor's interest
          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h a r d s o n ' s Ha r d w a r e , Ri c h a r d s o n ` s Ha r d w a r e , 1 0 Ma i n
 2.9781 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 1 4 )
                                                                                                                                                                 St r e e t , Pa t t e n , M E 0 4 7 6 5 - 0 2 5 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h b o r o Tr u e Va l u e ( # 1 9 9 ) , Ri c h b o r o Tr u e Va l u e 1 9 9 , 8 0 0
 2.9782 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 3 )
                                                                                                                                                                 Bu s t l e t o n Pi k e , Ri c h b o r o , PA 1 8 9 5 4 - 1 3 6 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h d e l In c , P. O. Bo x 1 9 6 8 , 2 3 In d u s t r i a l Pa r k w a y, Ca r s o n
 2.9783 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ci t y, N V 8 9 7 0 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h e l i e u Am e r i c a Lt d , 1 1 1 Si n n o t Ro a d , To r o n t o , O N M1 L
 2.9784 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h e l i e u Am e r i c a Lt d , 1 1 1 Si n n o t Ro a d , To r o n t o , O N M1 L
 2.9785 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 4 S6 , Ca n a d a

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h e l i e u Am e r i c a Lt d , 1 1 1 Si n n o t Ro a d , To r o n t o , O N M1 L
 2.9786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 4 S6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        06/01/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ri c h e l i e u Am e r i c a Lt d . , 1 1 1 Si n n o t t Rd , To r o n t o , O N M1 L 4 S6 ,
 2.9787 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
          State the term remaining                        07/01/2025 - 12/31/2026

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ri c h l a n d Ch a m b e r s Ha r d w a r e & Lu m b e r , 3 8 1 Fm 4 1 6 ,
 2.9788 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 1 )
                                                                                                                                                     St r e e t m a n , T X 7 5 8 5 9 - 3 7 2 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h l a n d Fe e d & Se e d , 1 1 4 1 s t St , Ri c h l a n d , O R 9 7 8 7 0 - 6 7 5 0
 2.9789 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h l a n d Ge n e r a l St o r e Tr u e Va l u e , 1 2 7 5 Ha r d i n g Hi g h w a y,
 2.9790 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 8 9 )
                                                                                                                                                     Ri c h l a n d , N J 0 8 3 5 0 - 9 9 9 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h m o n d , 1 0 8 2 4 N. Ma i n St . , Ri c h m o n d , I L 6 0 0 7 1
 2.9791 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 6 8 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h m o n d Ho m e Su p p l y In c , 9 9 Ra i l r o a d St , Ri c h m o n d , V T
 2.9792 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 7 1 )
        nature of the debtor's interest                                                                                                              05477-7749

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h m o n d In t e r n a t i o n a l Fo r e s t Pr o d u c t s , 4 0 5 0 In n s l a k e Dr i v e ,
 2.9793 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 6 )
        nature of the debtor's interest                                                                                                              Su i t e 1 0 0 , Gl e n Al l e n , VA 2 3 0 6 0

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri c h p o w e r In d u s t r i e s , 7 3 6 Ha m p t o n Rd , Wi l l i a m s t o n , S C
 2.9794 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     29697
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                     Ri c k ' s Ha r d w a r e , 7 4 No r t h Fo r k Ro a d , No r t h Fo r k Ro a d , Pi n e
 2.9795 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 4 )
                                                                                                                                                     Gr o v e , W V 2 6 4 1 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Ri c o h Pr o d u c t i o n Pr i n t So l u t i o n s L L C, 1 8 6 5 0 W Co r p o r a t e Dr ,
 2.9796 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , p r i n t e r i n s t a l l a t i o n
                                                                                                                                                               St e 3 0 2 , Br o o k f i e l d , W I 5 3 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Pr o d u c t i o n Pr i n t So l u t i o n s L L C, 1 8 6 5 0 W Co r p o r a t e Dr ,
 2.9797 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , So f t w a r e a n d p r i n t e r i n s t a l l a t i o n
                                                                                                                                                               St e 3 0 2 , Br o o k f i e l d , W I 5 3 0 4 5
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , P. O. Bo x 8 0 2 8 1 5 , Ch i c a g o , I L 6 0 6 8 0 - 2 8 1 5
 2.9798 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ri c o h 2 Pr i n t e r Re m o v a l
        nature of the debtor's interest                   f r o m We s t l a k e 2 0 2 3

          State the term remaining                        12/05/2023 - 12/04/2024

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , P. O. Bo x 8 0 2 8 1 5 , Ch i c a g o , I L 6 0 6 8 0 - 2 8 1 5
 2.9799 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ri c o h 2 8 2 1 0 s Pr i n t e r
        nature of the debtor's interest                   Re m o v a l f r o m Wo o d l a n d 2 0 2 3

          State the term remaining                        12/14/2023 - 12/13/2024

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9800 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ri c o h Pr i n t e r Pi c k Up Fo r m
        nature of the debtor's interest                   Wi l k e s Ba r r e 2 0 2 4                                                                          IL 60101

          State the term remaining                        01/13/2024 - 01/12/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9801 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ri c o h Pr i n t e r Pi c k Up Fo r m
                                                          Cl e v e l a n d 2 0 2 4                                                                             IL 60101
        nature of the debtor's interest
          State the term remaining                        01/23/2024 - 01/22/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9802 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ri c o h 6 0 0 0 Pr i n t e r Le a s e Ha r v a r d 2 0 2 1
                                                                                                                                                               IL 60101
        nature of the debtor's interest
          State the term remaining                        06/02/2021 - 06/01/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9803 State what the contract or lease is for and the
                                                          Go o d s Pu r c h a s e , Ri c o h I M C6 0 0 0 Le a s e Ag r e e m e n t Sp r i n g f i e l d
                                                          2021                                                                                                 IL 60101
        nature of the debtor's interest
          State the term remaining                        11/30/2021 - 11/30/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9804 State what the contract or lease is for and the
                                                          Ha r d w a r e , Ri c o h U S A, In c . Pr i n t e r Ri c o h S P8 4 0 0 D N - 1 2 m o n t h
                                                          lease                                                                                                IL 60101
        nature of the debtor's interest
          State the term remaining                        06/19/2019 - 04/01/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9805 State what the contract or lease is for and the   Ha r d w a r e , Ri c o h U S A - Ri c o h Ce n t r a l Sh i p _ M P4 0 5 5 S P Pr i n t e r
                                                                                                                                                               IL 60101
        nature of the debtor's interest                   Le a s e a n d Us a g e

          State the term remaining                        01/01/2021 - 02/02/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9806 State what the contract or lease is for and the   Ha r d w a r e , Ri c o h Pr o 8 3 0 0 Wi l k e s Ba r r e Pr i n t e r Le a s e a n d
                                                                                                                                                               IL 60101
        nature of the debtor's interest                   Es t i m a t e d Us a g e

          State the term remaining                        01/01/2021 - 12/31/2025

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9807 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ri c o h Ma s t e r Le a s e Ag r e e m e n t - 8 3 1 0 Pr i n t e r s f o r
        nature of the debtor's interest                   R D Cs                                                                                               IL 60101

          State the term remaining                        10/01/2023 - 09/30/2028

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9808 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ri c o h Ha r d w a r e Ma i n t e n a n c e a n d Su p p o r t - 8 3 1 0
        nature of the debtor's interest                   Pr i n t e r s f o r R D Cs                                                                          IL 60101

          State the term remaining                        10/01/2023 - 09/30/2028

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9809 State what the contract or lease is for and the
                                                          Or d e r Fo r m , 8 3 1 0 Pr i n t e r s Le a s e Re n e w a l
                                                                                                                                                               IL 60101
        nature of the debtor's interest
          State the term remaining                        10/01/2023 - 09/30/2028

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9810 State what the contract or lease is for and the
                                                          Or d e r Fo r m , 8 3 1 0 Pr i n t e r s Le a s e Re n e w a l
                                                                                                                                                               IL 60101
        nature of the debtor's interest
          State the term remaining                        12/01/2023 - 11/30/2028

          List the contract number of any government
          contract
                                                                                                                                                               Ri c o h Us a , In c . , 2 2 5 0 Pi n e h u r s t Bo u l e v a r d , Su i t e 2 0 5 , Ad d i s o n ,
 2.9811 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ri c o h Pr o c e s s Di r e c t o r So f t w a r e Ma i n t e n a n c e 2 0 2 4
                                                                                                                                                               IL 60101
        nature of the debtor's interest
          State the term remaining                        07/19/2024 - 07/18/2025

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ri d e r s Tr u e Va l u e , 1 1 7 E Wi n e Co u n t r y Ro a d , Gr a n d v i e w, WA
 2.9812 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 5 7 )
                                                                                                                                                     98930-1387
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri d g e Ha r d w a r e , 1 3 2 1 0 Po i n t Lo o k o u t Rd , Ri d g e , M D 2 0 6 8 0 -
 2.9813 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 2 7 )
                                                                                                                                                     3376
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri d g e To o l Co , 4 0 0 Cl a r k St r e e t , El y r i a , O H 4 4 0 3 6
 2.9814 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2019

          List the contract number of any government
          contract
                                                                                                                                                     Ri d g e To o l Co , 4 0 0 Cl a r k St r e e t , El y r i a , O H 4 4 0 3 6
 2.9815 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ri d g e To o l Co , 4 0 0 Cl a r k St r e e t , El y r i a , O H 4 4 0 3 6
 2.9816 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                     Ri d g e To o l Co , 4 0 0 Cl a r k St r e e t , El y r i a , O H 4 4 0 3 6
 2.9817 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/05/2014

          List the contract number of any government
          contract
                                                                                                                                                     Ri d g w a y Tr u e Va l u e Ha r d w a r e , 2 7 6 S Le n a St , Ri d g w a y, C O
 2.9818 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 8 9 )
                                                                                                                                                     81432-9364
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri d l e y In c , 1 1 1 W Ch e r r y St , Ma n k a t o , M N 5 6 0 0 1
 2.9819 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ri g o b e r t o Ro d r i g u e z So t e l o R. f . c . r o s r 6 1 1 1 0 8 - n e 7 , Ca r r e t e r a
 2.9820 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 2 6 )
                                                                                                                                                                 Ca m a r g o 8 0 1 , Co l . Po r f i r i o Or n e l a s Ro s r 6 1 1 0 8 - n e 7 , Oj i n a g a ,
        nature of the debtor's interest
                                                                                                                                                                 Ch i h u a h u a , Me x i c o
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri n g In c , 1 5 2 3 2 6 t h St , Sa n t a Mo n i c a , C A 9 0 4 0 4
 2.9821 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri n g In c , 1 5 2 3 2 6 t h St , Sa n t a Mo n i c a , C A 9 0 4 0 4
 2.9822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri n g In c , 1 5 2 3 2 6 t h St , Sa n t a Mo n i c a , C A 9 0 4 0 4
 2.9823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Br a n d s L L C, Ri o Br a n d s L L C, Ha r v a r d Co n s o l i d a t i o n ,
 2.9824 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha r v a r d , I L 6 0 0 3 3
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Br a n d s L L C, Ri o Br a n d s L L C, Ha r v a r d Co n s o l i d a t i o n ,
 2.9825 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha r v a r d , I L 6 0 0 3 3
        nature of the debtor's interest
          State the term remaining                        12/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Br a n d s L L C, Ri o Br a n d s L L C, Ha r v a r d Co n s o l i d a t i o n ,
 2.9826 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ha r v a r d , I L 6 0 0 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Br a n d s L L C, Ri o Br a n d s L L C, Ha r v a r d Co n s o l i d a t i o n ,
 2.9827 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ha r v a r d , I L 6 0 0 3 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ri o Ho n d o Lu m b e r , 2 8 2 2 8 Fm 1 0 6 , Ri o Ho n d o , T X 7 8 5 8 3 - 0 0 0 1
 2.9828 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Li n d a Tr u e Va l u e Ha r d w a r e , 6 7 4 8 Fr o n t St , Ri o Li n d a , C A
 2.9829 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 0 0 )
                                                                                                                                                                 95673-2334
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Ra n c h o Tr u e Va l u e , 2 1 0 8 So u t h e r n Bl v d Se , Ri o Ra n c h o ,
 2.9830 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 6 6 )
        nature of the debtor's interest                                                                                                                          NM 87124-3728

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o Ra n c h o Tr u e Va l u e No r t h , 3 5 7 5 Nm Hw y 5 2 8 Ne Su i t e H-
 2.9831 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 9 )
                                                                                                                                                                 1 0 4 , Ri o Ra n c h o , N M 8 7 1 4 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri o u x Tr u e Va l u e Hd w, 2 1 1 N Wa s h i n g t o n St , El Ca m p o , T X
 2.9832 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 2 7 )
                                                                                                                                                                 77437-4432
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri t c h i e & So n s Tr u e Va l u e , 1 1 3 N Og d e n St , St u r g e o n , M O
 2.9833 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 2 7 )
                                                                                                                                                                 65284-9216
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri t e In Th e Ra i n / J L Da r l i n g L L C, 2 6 1 4 Pa c i f i c Hw y E,
 2.9834 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ta c o m a , WA 9 8 4 2 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri t e In Th e Ra i n / J L Da r l i n g L L C, 2 6 1 4 Pa c i f i c Hw y E,
 2.9835 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ta c o m a , WA 9 8 4 2 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ri t e In Th e Ra i n / J L Da r l i n g L L C, 2 6 1 4 Pa c i f i c Hw y E,
 2.9836 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ta c o m a , WA 9 8 4 2 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri t t e r s Tr u e Va l u e , 2 5 We s t Ma i n St . , Me c h a n i c s b u r g , PA
 2.9837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 5 )
        nature of the debtor's interest                                                                                                                          17055

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri t z v i l l e Lu m b e r , 7 0 3 W. 1 s t Av e n u e , Ri t z v i l l e , WA 9 9 1 6 9 -
 2.9838 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 9 )
        nature of the debtor's interest                                                                                                                          0001

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri v e r No r t h , 4 4 0 N Or l e a n St . , Ch i c a g o , I L 6 0 6 1 0
 2.9839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 0 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri v e r No r t h Cr e a t i v e Pr o d u c t s L L C, Ri v e r No r t h Cr e a t i v e
 2.9840 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pr o d u c t s L L C, 2 1 Ed g e Wa t e r La n e , Ha v e r s t r a w, N Y 1 0 9 2 7
        nature of the debtor's interest
          State the term remaining                        03/25/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ri v e r b e n d Nu r s e r y In c , 1 2 9 5 Mt El b e r t Rd N W, Ri n e r , VA
 2.9841 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 24149
        nature of the debtor's interest
          State the term remaining                        02/13/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ri v e r d a l e Fa r m & Ho m e Ce n t e r , 3 3 7 1 We s t Mt Wh i t n e y,
 2.9842 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 5 7 )
                                                                                                                                                                 Ri v e r d a l e , C A 9 3 6 5 6 - 0 2 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ri v e r d a l e Tr u e Va l u e , 3 4 7 8 W Mt Wh i t n e y Av e , Ri v e r d a l e , C A
 2.9843 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 9 6 )
                                                                                                                                                                 93656-9271
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ri v e r h e a d Bu i l d i n g Su p p l y, 2 1 Ra i l r o a d Av e , Ea s t h a m p t o n , N Y
 2.9844 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 0 )
                                                                                                                                                     11937
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri v e r h e a d Bu i l d i n g Su p p l y, 4 0 Po w e l l Av e , So u t h a m p t o n , N Y
 2.9845 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 8 )
        nature of the debtor's interest                                                                                                              11968

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri v e r l a n d Ha r d w a r e , 2 7 8 4 Da v i e Bl v d . , Fo r t La u d e r d a l e , F L
 2.9846 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 4 6 )
        nature of the debtor's interest                                                                                                              33312

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri v e r s a n d Te c h n o l o g i e s , In c . , 2 9 2 9 Br i a r Pa r k Dr i v e , Su i t e
 2.9847 State what the contract or lease is for and the
                                                          So f t w a r e , M D M Su i t e Ba s e Li c e n s e
                                                                                                                                                     2 0 0 , Ho u s t o n , T X 7 7 0 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri v e r s i d e Ha r d w a r e , 7 3 1 0 Do n i p h a n Ro a d , Ca n u t i l l o , T X
 2.9848 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 1 )
                                                                                                                                                     79835-6604
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ri v e r s i d e Ha r d w a r e Co m p a n y, 3 4 0 We s t Ma i n St r e e t ,
 2.9849 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 3 7 )
                                                                                                                                                     Mi d d l e t o w n , PA 1 7 0 5 7 - 1 2 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Rj Ge n e r a l Co r p o r a t i o n , 2 0 2 4 No r t h w e s t Dr i v e , Ci n c i n n a t i , O H
 2.9850 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     45231
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Rj Sc h i n n e r Co , N8 9 W1 4 7 0 0 Pa t r i t a Dr i v e , Me n o m o n e e Fa l l s ,
 2.9851 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              WI 53051

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Rm a x In c . , Rm a x In c , 1 3 5 2 4 We l c h Ro a d , Da l l a s , T X 7 5 2 4 4
 2.9852 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                     Rn r Pl a s t i c s , In c . , Rn r Pl a s t i c s , In c , 2 0 Be l l o w s Ro a d ,
 2.9853 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ra y n h a m , M A 0 2 7 6 7

          State the term remaining                        04/01/2024

          List the contract number of any government
          contract
                                                                                                                                                     Ro a r i n g Fo r k Va l l e y Co o p , 0 7 6 0 Hw y. 1 3 3 , Ca r b o n d a l e , C O
 2.9854 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 1 7 )
                                                                                                                                                     81623-1540
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro a r i n g Sp r i n g Tr u e Va l u e , 7 5 6 5 Wo o d b u r y Pi k e , Ro a r i n g
 2.9855 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 9 4 )
                                                                                                                                                     Sp r i n g , PA 1 6 6 7 3 - 1 6 0 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro b ' s Tr u e Va l u e , Ro b ' s Ha r d w a r e , 9 6 Se a r s p o r t Av e n u e ,
 2.9856 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 6 )
                                                                                                                                                     Be l f a s t , M E 0 4 9 1 5 - 7 2 2 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro b e r t Al l e n L L C, 3 0 4 0 J Ro a d , Sy r a c u s e , N E 6 8 4 4 6
 2.9857 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/10/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ro b e r t Al l e n L L C, 3 0 4 0 J Ro a d , Sy r a c u s e , N E 6 8 4 4 6
 2.9858 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd , Mt Pr o s p e c t , I L
 2.9859 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              60056

          State the term remaining                        01/01/2024

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W Ce n t r a l Rd , Mt Pr o s p e c t , I L
 2.9860 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60056

          State the term remaining                        04/15/2024 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9861 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                                          Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining                        04/23/2013

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9862 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9863 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9864 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9865 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9866 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9867 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining                        08/01/2022

          List the contract number of any government
          contract
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                   True Value Company, 24-12337-KBO                               Doc 623                         Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9868 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9869 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9870 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Bo s c h To o l Gr o u p , Ro b e r t Bo s c h To o l Co r p , 1 8 0 0 W
 2.9871 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ce n t r a l Rd , Mt . Pr o s p e c t , I L 6 0 0 5 6
        nature of the debtor's interest
          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t Ha l f In t ' l , In c . , Ro b e r t Ha l f In t e r n a t i o n a l , In c , 6 2 5 0
 2.9872 State what the contract or lease is for and the   Re c r u i t i n g Se r v i c e s , Ro b e r t Ha l f In t e r n a t i o n a l , In c . M S A
                                                                                                                                                                 No r t h Ri v e r Ro a d , 6 Th Fl o o r , Ro s e m o n t , I L 6 0 0 1 8
        nature of the debtor's interest
          State the term remaining                        10/27/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t T. Gr i f f i s & So n s In c , 7 6 Be e c h St , Mo n t r o s e , PA
 2.9873 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 4 9 )
                                                                                                                                                                 18801-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t s De c o r a t o r Su p p l y, 8 3 3 We s t Ho u s t o n St . , Sh e r m a n , T X
 2.9874 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 6 )
        nature of the debtor's interest                                                                                                                          75092

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t s / Q. E. P. Co . , In c . , Ro b e r t s / Q E P Co , In c , 1 0 0 1 Br o k e n
 2.9875 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 So u n d Pa r k w a y Nw, Su i t e A, Bo c a Ra t o n , F L 3 3 4 8 7
        nature of the debtor's interest
          State the term remaining                        07/01/2024 - 06/30/2028

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro b e r t s / Q. E. P. Co . , In c . , Ro b e r t s / Q E P Co , In c , 1 0 0 1 Br o k e n
 2.9876 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          So u n d Pa r k w a y Nw, Su i t e A, Bo c a Ra t o n , F L 3 3 4 8 7

          State the term remaining                        09/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b e r t s / Q. E. P. Co . , In c . , Ro b e r t s / Q E P Co , In c , 1 0 0 1 Br o k e n
 2.9877 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 So u n d Pa r k w a y Nw, Su i t e A, Bo c a Ra t o n , F L 3 3 4 8 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b i n s o n Ou t d o o r Pr o d u c t s L L C, Ro b i n s o n Ou t d o o r Pr o d u c t s
 2.9878 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 1 1 0 No r t h Pa r k Dr i v e , Ca n n o n Fa l l s , M N 5 5 0 0 9
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b i n s o n Te c h In t Co r p , 3 1 0 Fa i r f i e l d Ro a d , Fa i r f i e l d , N J
 2.9879 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07004
        nature of the debtor's interest
          State the term remaining                        06/01/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ro b i n s o n ' s Fa m i l y Fe e d , 7 4 5 1 S La k e s i d e Dr , Am a r i l l o , T X
 2.9880 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 3 9 )
                                                                                                                                                                 79118-6459
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b i n s o n s Ha r d w a r e , 1 1 0 N Ma i n St , Jo n e s v i l l e , S C 2 9 3 5 3 -
 2.9881 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 2 8 )
        nature of the debtor's interest                                                                                                                          1524

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b i n s o n s Tr u e Se r v e Ha r d w a r e Ph i l s . , In c . , Ro b i n s o n s Tr u e
 2.9882 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 0 9 )
        nature of the debtor's interest                                                                                                                          Se r v e Ha r d w a r e Ph i l s In c , 1 1 0 E Ro d r i g u e z Jr Av e , Li b i s ,
                                                                                                                                                                 Qu e z o n Ci t y, Ma n i l a , Ph i l i p p i n e s
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro b s o n Tr u e Va l u e Ha r d w a r e , 2 3 2 2 W 1 2 t h St , Si o u x Fa l l s , S D
 2.9883 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 6 )
                                                                                                                                                                 57104-3811
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro c h e s t e r Ha r d w a r e & Lu m b e r , 1 9 5 2 3 Sa r g e n t Rd Sw,
 2.9884 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 4 )
                                                                                                                                                                 Ro c h e s t e r , WA 9 8 5 7 9 - 9 2 6 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro c h e s t e r Tr u e Va l u e , Ro c h e s t e r Sh o p ' n Sa v e , 7 5 0 Oh i o Ri v e r
 2.9885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 8 )
                                                                                                                                                                 Bl v d , Ro c h e s t e r , PA 1 5 0 7 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k Do c t o r / Ap e x Pr o d u c t s , 8 3 3 3 Me l r o s e Dr i v e , Le n e x a , K S
 2.9886 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 66214
        nature of the debtor's interest
          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k Do c t o r / Ap e x Pr o d u c t s , 8 3 3 3 Me l r o s e Dr i v e , Le n e x a , K S
 2.9887 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 66214
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k Hi l l Tr u e Va l u e , 1 7 3 5 He c k l e Bl v d , Su i t e 1 1 7 , Ro c k Hi l l ,
 2.9888 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 4 )
                                                                                                                                                                 SC 29732-1885
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k e t So f t w a r e , In c . , 7 7 Fo u r t h Av e , Wa l t h a m , M A 0 2 4 5 1
 2.9889 State what the contract or lease is for and the
                                                          So f t w a r e , Ro c k e t So f t w a r e PA S S P O R T P C T O H O S T An n u a l
        nature of the debtor's interest                   Su b s c r i p t i o n Li c e n s e Re n e w a l 2 0 2 4

          State the term remaining                        09/01/2024 - 08/31/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k f l o w e r p a p e r , 1 4 5 Tu n s t e a d Av e , Sa n An s e l m o , C A 9 4 9 6 0
 2.9890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        05/10/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ro c k i n g h a m Co - o p , 1 0 4 4 S Hi g h St r e e t , Ha r r i s o n b u r g , VA
 2.9891 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 1 3 )
                                                                                                                                                                 22801-1857
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                             Page 1237 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ro c k i n g h a m Co - o p , 1 3 5 We s t Sp o t s w o o d Av e n u e , El k t o n , VA
 2.9892 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 5 6 )
                                                                                                                                                     22827-1198
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro c k l i n e In d u s t r i e s In c , P. O. Bo x 1 0 0 7 , 1 1 1 3 Ma r y l a n d
 2.9893 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Av e n u e , Sh e b o y g a n , W I 5 3 0 8 2
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                     Ro c k n a k ' s Ha r d w a r e Te r r e t o n , Ro c k n a k ` s Ha r d w a r e Te r r e t o n ,
 2.9894 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 5 )
                                                                                                                                                     1 3 9 1 E 1 5 0 0 N, Te r r e t o n , I D 8 3 4 5 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro c k n a k s Ha r d w a r e Pl u s , 2 2 5 0 W Br o a d w a y St . , Id a h o Fa l l s ,
 2.9895 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 8 1 )
                                                                                                                                                     ID 83402-2947
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro c k y Mo u n t a i n Tr u e Va l u e , 1 3 2 S. Wa s h i n g t o n , Em m e t t , I D
 2.9896 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 0 0 )
        nature of the debtor's interest                                                                                                              83617-2948

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro d e o Tr u e Va l u e Ha r d w a r e , 6 7 0 Pa r k e r Av e , Ro d e o , C A
 2.9897 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 1 8 )
        nature of the debtor's interest                                                                                                              94572-1435

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro d r i g u e z Au t o Pa r t s , In c . , Ch a r l o t t e Am a l i e 7 - t i m e Ce n t e r
 2.9898 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 6 5 )
                                                                                                                                                     Bl d , St Th o m a s , An t i g u a An d Ba r b u d a
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9899 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Or a n g e , C T 0 6 4 7 7
        nature of the debtor's interest
          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9900 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Or a n g e , C T 0 6 4 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9901 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Or a n g e , C T 0 6 4 7 7
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9902 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Or a n g e , C T 0 6 4 7 7
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9903 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Or a n g e , C T 0 6 4 7 7
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ro e b i c La b o r a t o r i e s In c , 2 5 Co n a i r Ro a d , P. O. Bo x 9 2 7 ,
 2.9904 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Or a n g e , C T 0 6 4 7 7

          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ro g e r s Tr u e Va l u e , 2 1 3 5 1 Jo h n Mi l l e s s Dr i v e , Ro g e r s , M N
 2.9905 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 1 8 )
        nature of the debtor's interest                                                                                                                          55374-9450

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro l a n d Bo u l a n g e r & Ci e Lt e e , 2 3 5 St Lo u i s , Wa r w i c k , Q C J0 A
 2.9906 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 M0 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        05/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ro l l i n g Fo r k Tr u e Va l u e , 1 9 9 9 9 Hw y 6 1 , Ro l l i n g Fo r k , M S
 2.9907 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 3 2 )
                                                                                                                                                                 39159-5205
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro l l i n g s t o n e Lb r Co , Ro l l i n g s t o n e Tv Lu m b e r , 1 1 1 El m St ,
 2.9908 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 2 2 )
                                                                                                                                                                 Ro l l i n g s t o n e , M N 5 5 9 6 9 - 9 7 4 9
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro m a n De c o r a t i n g Pr o d u c t s , 8 2 4 St a t e St , Ca l u m e t Ci t y, I L
 2.9909 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60409
        nature of the debtor's interest
          State the term remaining                        01/01/2010

          List the contract number of any government
          contract
                                                                                                                                                                 Ro m a n In c , 4 7 2 Br i g h t o n Dr i v e , Bl o o m i n g d a l e , I L 6 0 1 0 8
 2.9910 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro m a n In c , 4 7 2 Br i g h t o n Dr i v e , Bl o o m i n g d a l e , I L 6 0 1 0 8
 2.9911 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ro m e r i l Pl u m b i n g & Ha r d w a r e , 6 0 1 S Sa n Ja c i n t o Av e , Sa n
 2.9912 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 9 4 1 )
        nature of the debtor's interest                                                                                                                          Ja c i n t o , C A 9 2 5 8 3 - 4 1 3 5

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro m p a g e Tr u e Va l u e Ha r d w a r e , 1 8 0 1 N We s t e r n Av e , Lo s
 2.9913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 0 6 )
                                                                                                                                                                 An g e l e s , C A 9 0 0 2 7 - 3 4 0 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro n By c z y n s k i , Ad d r e s s Re d a c t e d
 2.9914 State what the contract or lease is for and the
                                                          Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Ro n By c z y n s k i
        nature of the debtor's interest
          State the term remaining                        02/28/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ro n Ho o v e r Rv & Ma r i n e , 1 0 1 Ex p r e s s w a y 8 3 , Do n n a , T X
 2.9915 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 7 6 )
                                                                                                                                                                 78537-0001
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro n ' s Ho m e & Ha r d w a r e , Ro n ` s Ho m e & Ha r d w a r e , 1 1 8 4 Ma i n
 2.9916 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 3 3 )
                                                                                                                                                                 St r e e t , Sp e e d w a y, I N 4 6 2 2 4 - 6 9 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro n a n Tr u e Va l u e Ha r d w a r e , 6 3 5 4 0 Us Hi g h w a y 9 3 A, Ro n a n ,
 2.9917 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 4 2 )
                                                                                                                                                                 MT 59864-3307
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro n d e a u s Tr u e Va l u e Sh p g Ct r , 1 3 3 4 0 Co u n t y Hi g h w a y M,
 2.9918 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 4 5 )
                                                                                                                                                                 Ca b l e , W I 5 4 8 2 1 - 4 6 3 4
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro o f Me l t By Km i , 8 1 5 Fr o n t St r e e t , Be l d i n g , M I 4 8 8 0 9
 2.9919 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        11/18/2011

          List the contract number of any government
          contract
                                                                                                                                                                 Ro o s t e r Ho m e & Ha r d w a r e , 1 0 2 3 3 E No r t h w e s t Hw y 4 0 9 ,
 2.9920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 6 )
        nature of the debtor's interest                                                                                                                          Da l l a s , T X 7 5 2 3 8 - 9 9 9 7

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t As s a s s i n L L C, 8 8 8 Cl u b h o u s e Rd , Wo o d m e r e , N Y 1 1 5 9 8
 2.9921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        07/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t Br o t h e r s Mf g . & Su p p l y Co . , In c , Ro o t Br o t h e r s Mf g . &
 2.9922 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 7 1 )
                                                                                                                                                                 Su p p l y Co , 6 5 1 Co n k e y St , Ha m m o n d , I N 4 6 3 2 4 - 1 1 5 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t o Co r p o r a t i o n , 3 5 0 5 W Gr a n d Ri v e r , Ho w e l l , M I 4 8 8 4 3
 2.9923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro o t o Co r p o r a t i o n , 3 5 0 5 W Gr a n d Ri v e r , Ho w e l l , M I 4 8 8 4 3
 2.9924 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t o Co r p o r a t i o n , 3 5 0 5 W Gr a n d Ri v e r , Ho w e l l , M I 4 8 8 4 3
 2.9925 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        09/01/2022 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t o Co r p o r a t i o n , 3 5 0 5 W Gr a n d Ri v e r , Ho w e l l , M I 4 8 8 4 3
 2.9926 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro o t o Co r p o r a t i o n , 3 5 0 5 W Gr a n d Ri v e r , Ho w e l l , M I 4 8 8 4 3
 2.9927 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ro s e Cl e a n i n g L L C, P. O. Bo x 5 0 9 4 , Eu g e n e , O R 9 7 4 0 5
 2.9928 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ro s e Cl e a n i n g L L C
        nature of the debtor's interest                   Sp r i n g f i e l d Ja n i t o r i a l Ag r e e m e n t

          State the term remaining                        10/06/2023 - 10/05/2024

          List the contract number of any government
          contract
                                                                                                                                                                 Ro s e l a w n Tr u e Va l u e , 5 6 5 3 E St a t e Rd 1 0 , Ro s e l a w n , I N
 2.9929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 7 6 )
                                                                                                                                                                 46372-9998
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro s e n b e r g Tr u e Va l u e Hd w e , 1 1 6 4 E Wi l c o x Av e , Wh i t e Cl o u d ,
 2.9930 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 6 )
                                                                                                                                                                 MI 49349-9225
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro s s Fe e d s , 6 Mi l l St , Ki n g s l e y, PA 1 8 8 2 6
 2.9931 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ro s s Tr u e Va l u e , 1 0 0 S Ch o c t a w Av e , El Re n o , O K 7 3 0 3 6 - 2 6 4 9
 2.9932 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 0 3 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro s s Tr u e Va l u e Ha r d w a r e , 4 1 2 W Ch o c t a w Av e 4 1 6 ,
 2.9933 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 1 2 )
                                                                                                                                                     Ch i c k a s h a , O K 7 3 0 1 8 - 2 4 3 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro s s i & Co . In c . , 4 0 3 Ma i n St r e e t , Or a n g e , N J 0 7 0 5 1
 2.9934 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 9 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro s w e l l Li v e s t o c k & Fa r m Su p p l y In c . , 1 1 0 5 E. Se c o n d St . ,
 2.9935 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 5 )
        nature of the debtor's interest                                                                                                              Ro s w e l l , N M 8 8 2 0 1

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro t e l l a Bl d g Ma t e r i a l s In c , 3 1 7 We s t St , Ru t l a n d , V T 0 5 7 0 1 -
 2.9936 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 3 8 )
                                                                                                                                                     2888
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro t h Su g u a r b u s h In c , 6 5 6 To w e r Dr i v e , Ca d o t t , W I 5 4 7 2 9
 2.9937 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        08/01/2023

          List the contract number of any government
          contract
                                                                                                                                                     Ro u n d ' s Ha r d w a r e , Ro u n d ` s Ha r d w a r e , 2 9 0 Ma i n St r e e t 9 ,
 2.9938 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 1 )
                                                                                                                                                     St o n e h a m , M A 0 2 1 8 0 - 3 5 7 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ro u n d h o u s e Tr u e Va l u e Ha r d w a r e , 1 5 6 4 Ro u t e 5 0 7 , Gr e e n t o w n ,
 2.9939 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 1 6 )
                                                                                                                                                     PA 1 8 4 2 6 - 4 5 0 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro u n t r e y s Tr u e Va l u e , 5 0 8 Ma i n St , Al t a v i s t a , VA 2 4 5 1 7 - 1 8 1 0
 2.9940 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 1 6 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro v e r Re s o u r c e s , In c . , 1 1 0 4 S Ma y s St , Su i t e 2 1 4 , Ro u n d Ro c k ,
 2.9941 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ro v e r Re s o u r c e s , In c . M S A a n d o t h e r
                                                                                                                                                                 TX 78664
        nature of the debtor's interest                   documents

          State the term remaining                        04/05/2021 - 04/04/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro w e n t a / Kr u p s , 1 2 0 1 8 S Wi n s l o w Rd , Pa l o s Pa r k , I L 6 0 4 6 4
 2.9942 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        06/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Ro w e n t a / Kr u p s , 1 2 0 1 8 S Wi n s l o w Rd , Pa l o s Pa r k , I L 6 0 4 6 4
 2.9943 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro y ' s Ge n e r a l St o r e , Ro y ` s Ge n e r a l St o r e , 9 6 3 Ha m m o n d Rd E,
 2.9944 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 6 8 )
                                                                                                                                                                 Tr a v e r s e Ci t y, M I 4 9 6 8 6 - 9 2 4 0
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Ad h e s i v e s & Se a l a n t s Ca n a d a , 2 6 6 Hu m b e r l i n e Dr i v e ,
 2.9945 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Re x d a l e , O N M9 W 5 T6 , Ca n a d a
        nature of the debtor's interest
          State the term remaining                        01/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Ap p l i a n c e / Tt i , 7 0 0 5 Co c h r a n Ro a d , Gl e n w i l l o w, O H
 2.9946 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44139
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Co n s u m e r Pr o d u c t s , 1 0 8 Ma i n St 3 Rd Fl , No r w a l k , C T
 2.9947 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 06851
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro y a l Oa k En t e r p r i s e s L L C, 1 Ro y a l Oa k Av e , Ro s w e l l , G A
 2.9948 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 30076
        nature of the debtor's interest
          State the term remaining                        09/17/2021

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Oa k En t e r p r i s e s L L C, 1 Ro y a l Oa k Av e , Ro s w e l l , G A
 2.9949 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 30076

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Oa k En t e r p r i s e s L L C, 1 Ro y a l Oa k Av e , Ro s w e l l , G A
 2.9950 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30076

          State the term remaining                        01/01/2019

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Oa k En t e r p r i s e s L L C, 1 Ro y a l Oa k Av e , Ro s w e l l , G A
 2.9951 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30076
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Oa k Sa l e s , Ro y a l Oa k En t e r p r i s e s L L C, 1 Ro y a l Oa k
 2.9952 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Av e , Ro s w e l l , G A 3 0 0 7 6
        nature of the debtor's interest
          State the term remaining                        03/01/2024 - 08/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ro y a l Pa c i f i c Co r p , 1 0 1 6 Mo n t a n a Dr , Ch a r l o t t e , N C 2 8 2 1 6
 2.9953 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        04/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ro z a r ' s Au t o Pa i n t Su p p l y In c . , 3 0 1 5 6 t h Av e n u e So u t h ,
 2.9954 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 6 )
                                                                                                                                                                 Bi r m i n g h a m , A L 3 5 2 3 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ro z i e r Tr u e Va l u e , 2 E Sa i n t e Ma r i e St , Pe r r y v i l l e , M O 6 3 7 7 5 -
 2.9955 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 4 4 )
        nature of the debtor's interest                                                                                                                          2027

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ro z m a n Tr u e Va l u e , S8 3 W 2 0 4 8 3 Ja n e s v i l l e Rd , Mu s k e g o , W I
 2.9956 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 4 )
                                                                                                                                                                 53150-9503
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rp s Pr o d u c t s In c , Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h
 2.9957 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Dr , Hu n t l e y, I L 6 0 1 4 2

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rp s Pr o d u c t s In c , Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h
 2.9958 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Dr , Hu n t l e y, I L 6 0 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rp s Pr o d u c t s In c , Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h
 2.9959 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Dr , Hu n t l e y, I L 6 0 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rp s Pr o d u c t s In c , Fr e u d e n b e r g Fi l t r a t i o n Te c h , 1 2 0 0 7 Sm i t h
 2.9960 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Dr , Hu n t l e y, I L 6 0 1 4 2
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 R R Su p p l y Tr u e Va l u e , 2 0 5 We s t O' r e i l l y St r e e t , Pr e s i d i o , T X
 2.9961 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 0 )
                                                                                                                                                                 79845-0195
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Rs i Ho m e Pr o d u c t s Sa l e s In c , 5 0 4 3 Co r i n t h i a n Ba y Dr i v e ,
 2.9962 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fr i s c o , T X 7 5 0 3 4
        nature of the debtor's interest
          State the term remaining                        01/01/2017

          List the contract number of any government
          contract
                                                                                                                                                                 Rs i Ho m e Pr o d u c t s Sa l e s In c , 5 0 4 3 Co r i n t h i a n Ba y Dr i v e ,
 2.9963 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Fr i s c o , T X 7 5 0 3 4

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Rs m Us L L P, 2 0 No r t h Ma r t i n g a l e Ro a d , Su i t e 5 0 0 ,
 2.9964 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R S M U S L L P - Ma s t e r Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t f o r A S C- 8 4 2                                                                      Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        10/01/2021 - 09/30/2026

          List the contract number of any government
          contract
                                                                                                                                                                   Rs m Us L L P, 2 0 No r t h Ma r t i n g a l e Ro a d , Su i t e 5 0 0 ,
 2.9965 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R S M De f i n e d Lu m p Su m Pe n s i o n Pl a n
        nature of the debtor's interest                   Ar r a n g e m e n t Le t t e r 2 0 2 4                                                                  Sc h a u m b u r g , I L 6 0 1 7 3

          State the term remaining                        06/21/2024 - 06/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Rs m Us L L P, 2 0 No r t h Ma r t i n g a l e Ro a d , Su i t e 5 0 0 ,
 2.9966 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R S M Sa v i n g s a n d Co m p e n s a t i o n De f e r r a l
                                                          Pl a n Ar r a n g e m e n t Le t t e r 2 0 2 4                                                           Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining                        06/21/2024 - 06/20/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Rs m Us L L P, 2 0 No r t h Ma r t i n g a l e Ro a d , Su i t e 5 0 0 ,
 2.9967 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R S M U S L L P - R& D Ta x Se r v i c e s S O W
                                                          2024                                                                                                     Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining                        08/14/2024 - 08/13/2025

          List the contract number of any government
          contract
                                                                                                                                                                   Rs m Us L L P, 2 0 No r t h Ma r t i n g a l e Ro a d , Su i t e 5 0 0 ,
 2.9968 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , R S M U S L L P Vi s u a l Le a s e En t e r p r i s e
                                                          Ac c o u n t i n g So f t w a r e S A A S 2 0 2 4 - 2 0 2 7                                              Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
          State the term remaining                        10/01/2024 - 09/30/2027

          List the contract number of any government
          contract
                                                                                                                                                                   Rs s a Ho m e Im p r o v e m e n t Ce n t e r , 4 8 1 S Br o o k h u r s t St r e e t ,
 2.9969 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 1 )
                                                                                                                                                                   An a h e i m , C A 9 2 8 0 4 - 2 4 1 3
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                   Rt z n Br a n d s L L C, Rt z n Br a n d s L L C, 6 1 0 Je f f e r s Ci r c l e , Ex t o n ,
 2.9970 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                   PA 1 9 3 4 1
        nature of the debtor's interest
          State the term remaining                        09/01/2023

          List the contract number of any government
          contract
                                                                                                                                                                   Ru b b e r Qu e e n / Pr e t t y Pr o d u c t s , 1 1 3 0 Ri f f e l Rd , Wo o s t e r , O H
 2.9971 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                            44691

          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ru b b e r m a i d Cl n i n g / Rc m p , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e D,
 2.9972 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hu n t e r s v i l l e , N C 2 8 0 7 8

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m Pr o d , 6 6 5 5 Pe a c h t r e e Du n w o o d y Ro a d ,
 2.9973 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m Pr o d , 6 6 5 5 Pe a c h t r e e Du n w o o d y Ro a d ,
 2.9974 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m Pr o d , 6 6 5 5 Pe a c h t r e e Du n w o o d y Ro a d ,
 2.9975 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining                        07/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m e r c i a l Cl e a n i , 6 6 5 5 Pe a c h t r e e Du n w o o d y
 2.9976 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m e r c i a l Cl e a n i , 6 6 5 5 Pe a c h t r e e Du n w o o d y
 2.9977 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m e r c i a l Pr o d , 3 3 1 0 Cr e s t m o o r Ba y, Wo o d b u r y,
 2.9978 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MN 55125

          State the term remaining                        01/01/2008

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Co m m e r c i a l Pr o d u c t s , 6 6 5 5 Pe a c h t r e e Du n w o o d y
 2.9979 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro a d , At l a n t a , G A 3 0 3 2 8

          State the term remaining                        02/01/2009

          List the contract number of any government
          contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 1248 of 1687
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ru b b e r m a i d Db a Bu b b a Br a n d s In c , 1 8 0 N La s a l l e St , Su i t e
 2.9980 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          7 0 0 , Ch i c a g o , I L 6 0 6 0 1

          State the term remaining                        01/01/2015

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9981 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28078
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9982 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28078
        nature of the debtor's interest
          State the term remaining                        07/01/2018

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9983 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NC 28078
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9984 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NC 28078
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9985 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NC 28078
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9986 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NC 28078

          State the term remaining                        01/01/2023 - 12/31/2026

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9987 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 NC 28078
        nature of the debtor's interest
          State the term remaining                        01/01/2023

          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ru b b e r m a i d In c , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr , Hu n t e r s v i l l e ,
 2.9988 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NC 28078

          State the term remaining                        01/01/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d In c / Ja r d e n , 9 9 9 9 Ea s t 1 2 1 St St , Fi s h e r s , I N 4 6 0 3 7 -
 2.9989 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 9727
        nature of the debtor's interest
          State the term remaining                        01/01/2020

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d Sp e c Pr o d s , 1 1 4 7 Ak r o n Ro a d , Wo o s t e r , O H 4 4 6 9 1
 2.9990 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        03/15/2012

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b b e r m a i d , S. P. D. , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Dr ,
 2.9991 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                                 Ru b i c o n , 9 5 0 E Pa c e s Fe r r y Ro a d , Su i t e 1 9 0 0 , At l a n t a , G A
 2.9992 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ru b i c o n Na t i o n a l Wa s t e a n d
                                                                                                                                                                 30326
        nature of the debtor's interest                   Re c y c l i n g Se r v i c e s Ag r e e m e n t 2 0 2 2

          State the term remaining                        07/15/2022 - 07/14/2025

          List the contract number of any government
          contract
                                                                                                                                                                 Ru c k e r Lu m b e r In c , 9 1 8 4 Bo s t o n St a t e Rd , Bo s t o n , N Y 1 4 0 2 5 -
 2.9993 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 6 4 )
        nature of the debtor's interest                                                                                                                          9797

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                                 Ru g Do c t o r In c , 2 2 0 1 W Pl a n o Pk w y , Su i t e 1 0 0 , Pl a n o , T X
 2.9994 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          75075

          State the term remaining                        01/01/2014

          List the contract number of any government
          contract
                                                                                                                                                                 Ru g g Mf g Co m p a n y, 2 4 8 In d u s t r i a l Rd , Le o m i n s t e r , M A 0 1 4 5 3
 2.9995 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ru g g Mf g Co m p a n y, 2 4 8 In d u s t r i a l Rd , Le o m i n s t e r , M A 0 1 4 5 3
 2.9996 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ru g g Mf g Co m p a n y, 2 4 8 In d u s t r i a l Rd , Le o m i n s t e r , M A 0 1 4 5 3
 2.9997 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
          State the term remaining                        01/01/2016

          List the contract number of any government
          contract
                                                                                                                                                     Ru i d o s o Tr u e Va l u e , 1 0 1 3 Me c h e m Dr , Ru i d o s o , N M 8 8 3 4 5 -
 2.9998 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 6 )
                                                                                                                                                     7046
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ru m b u r g Ha r d w a r e , 9 9 0 Ne w Ca s t l e Ro a d , Bu t l e r , PA 1 6 0 0 1
 2.9999 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 1 )
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ru s s e l l & Mi l l e r In c , 6 0 1 Ca l i f o r n i a St , Su i t e 6 0 0 , Sa n
2.10000 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Fr a n c i s c o , C A 9 4 1 0 8
        nature of the debtor's interest
          State the term remaining                        01/01/2007

          List the contract number of any government
          contract
                                                                                                                                                     Ru s s e l l Tr u e Va l u e Ha r d w a r e , 5 0 6 E Gi b b s St , De l Ri o , T X
2.10001 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 9 0 )
        nature of the debtor's interest                                                                                                              78840

          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ru s s e l l ' s Of Ne i l l s v i l l e , Ru s s e l l ` s Of Ne i l l s v i l l e , 1 0 0 8 E
2.10002 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 4 2 )
                                                                                                                                                     Di v i s i o n St r e e t , Ne i l l s v i l l e , W I 5 4 4 5 6 - 2 1 2 1
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
                                                                                                                                                     Ru s s o Po w e r Eq u i p m e n t , 9 5 2 5 W Ir v i n g Pa r k Rd , Sc h i l l e r Pa r k ,
2.10003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 4 3 )
                                                                                                                                                     IL 60176-1923
        nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10004 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10005 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10006 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10007 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10008 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10009 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10010 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10011 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10012 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10013 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10014 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n Hi l l s , I L 6 0 0 6 1
2.10015 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2024 - 05/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Ru s t - Ol e u m Co r p , Ru s t - Ol e u m , 1 1 Ha w t h o r n Pa r k w a y, Ve r n o n
2.10016 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest                                                                                                                          Hi l l s , I L 6 0 0 6 1

         State the term remaining                         01/16/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Ru t l e d g e Ha r d w a r e & Ge n e r a l St o r e , 1 1 6 Fa i r p l a y St . ,
2.10017 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 1 6 )
                                                                                                                                                                 Ru t l e d g e , G A 3 0 6 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Rx Gr e e n So l u t i o n s , 1 7 7 E In d u s t r i a l Pa r k Dr , 2 Nd Fl o o r ,
2.10018 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma n c h e s t e r , N H 0 3 1 0 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Rx Gr e e n So l u t i o n s , 1 7 7 E In d u s t r i a l Pa r k Dr , 2 Nd Fl o o r ,
2.10019 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma n c h e s t e r , N H 0 3 1 0 9
        nature of the debtor's interest
         State the term remaining                         02/01/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Rx o Ma n a g e d Tr a n s p o r t L L C, 2 6 3 Sh u m a n Bo u l e v a r d ,
2.10020 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , R X O Ma n a g e d Tr a n s p o r t Ma s t e r Co n s u l t i n g
                                                          Ag r e e m e n t 2 0 2 3                                                                              Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
         State the term remaining                         03/01/2023 - 02/29/2028

         List the contract number of any government
         contract
                                                                                                                                                                Rx o Ma n a g e d Tr a n s p o r t L L C, 2 6 3 Sh u m a n Bo u l e v a r d ,
2.10021 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , R X O Ma n a g e d Tr a n s p o r t -
                                                                                                                                                                Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest                   Ma n a g e m e n t Se r v i c e s Ag r e e m e n t

         State the term remaining                         08/01/2024 - 07/31/2029

         List the contract number of any government
         contract
                                                                                                                                                                Rx o Ma n a g e d Tr a n s p o r t L L C, 2 6 3 Sh u m a n Bo u l e v a r d ,
2.10022 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , R X O Ma n a g e d Tr a n s p o r t S O W
                                                                                                                                                                Na p e r v i l l e , I L 6 0 5 6 3
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 09/30/2027

         List the contract number of any government
         contract
                                                                                                                                                                Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10023 State what the contract or lease is for and the
                                                          Eq u i p m e n t Le a s e , Ry d e r Sp o t t e r s f o r We s t l a k e
        nature of the debtor's interest                                                                                                                         In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         06/11/2019 - 06/10/2025

         List the contract number of any government
         contract
                                                                                                                                                                Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10024 State what the contract or lease is for and the
                                                          Eq u i p m e n t Re p a i r , Ry d e r - Co r s i c a n a Tr a i l e r Ma i n t e n a n c e 2 0 2 2
        nature of the debtor's interest                                                                                                                         In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         07/13/2022

         List the contract number of any government
         contract
                                                                                                                                                                Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10025 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ry d e r Tr a n s p o r t a t i o n Se r v i c e s
                                                          Ag r e e m e n t 2 0 2 2                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         10/03/2022

         List the contract number of any government
         contract
                                                                                                                                                                Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10026 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e Le a s e - Ry d e r Pa r k i n g Lo t Le a s e S O W
                                                                                                                                                                In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         12/02/2021 - 12/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10027 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r Mo b i l e Ma i n t e n a n c e Ka n s a s Ci t y
                                                                                                                                                                In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         08/16/2019 - 08/15/2020

         List the contract number of any government
         contract
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                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10028 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r - Cl e v e l a n d Le a s e d Eq u i p m e n t
                                                          a n d Ma i n t e n a n c e Co n t r a c t s                                                               In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         04/01/2020 - 03/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10029 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ry d e r - Wo o d l a n d Tr a i l e r Ma i n t e n a n c e
                                                                                                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   2021

         State the term remaining                         12/11/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10030 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ry d e r - Wi l k e s - Ba r r e Tr a i l e r
                                                                                                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   Ma i n t e n a n c e 2 0 2 1

         State the term remaining                         11/25/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10031 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r - Ma n c h e s t e r Tr a i l e r Ma i n t e n a n c e
        nature of the debtor's interest                   2021                                                                                                      In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         12/09/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10032 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r - Ka n s a s Ci t y Tr a i l e r
        nature of the debtor's interest                   Ma i n t e n a n c e 2 0 2 1                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         12/15/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10033 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r - Ha r v a r d Tr a i l e r Ma i n t e n a n c e
                                                          2021                                                                                                      In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         12/07/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10034 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ry d e r - De n v e r Tr a i l e r Ma i n t e n a n c e
                                                          2021                                                                                                      In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         12/07/2020

         List the contract number of any government
         contract
                                                                                                                                                                    Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10035 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ry d e r - Sp r i n g f i e l d Tr a i l e r Ma i n t e n a n c e
                                                                                                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   2021

         State the term remaining                         12/11/2020

         List the contract number of any government
         contract
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                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10036 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ry d e r - At l a n t a Tr a i l e r Ma i n t e n a n c e
                                                                                                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   2021

         State the term remaining                         12/10/2020

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10037 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Ry d e r - Ma n k a t o Tr a i l e r Ma i n t e n a n c e
                                                                                                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   2021

         State the term remaining                         12/10/2020

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10038 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Ry d e r Tr a n s p o r t a t i o n Mi d w e s t
        nature of the debtor's interest                   A L O_ Am e n d m e n t t o t h e S O W_ Cl e v e l a n d                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         06/01/2022 - 05/31/2025

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10039 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Ry d e r Tr a n s p o r t a t i o n A L O_ S O W_ Wi l k e s
        nature of the debtor's interest                   Ba r r e _ 2 0 2 2                                                                                  In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         10/09/2022 - 10/08/2025

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10040 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Cr o s s d o c k St a t e m e n t o f Wo r k
                                                          2024                                                                                                In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         09/20/2024 - 09/19/2026

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10041 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r S O W Am e n d m e n t s
                                                                                                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         08/19/2024 - 08/18/2025

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10042 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Am e n d m e n t t o S O W Ka n s a s Ci t y
                                                          2023                                                                                                In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                              Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10043 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Am e n d m e n t t o S O W Co r s i c a n a
                                                                                                                                                              In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10044 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Am e n d m e n t t o S O W Ki n g m a n
                                                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   2023

         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10045 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Tr a n s p o r t a t i o n Se r v i c e s
                                                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   Am e n d m e n t _ Ha r v a r d S O W 2 0 2 3

         State the term remaining                         04/02/2023 - 04/01/2026

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10046 State what the contract or lease is for and the
                                                          Tr a n s p o r t a t i o n Se r v i c e s , Ry d e r Am e n d m e n t t o 2 0 2 2 M S A a n d
        nature of the debtor's interest                   S O W' s ( At l , Co r s i c a n a , W B, Ha r v a r d , Ma n k a t o , Sp g ,                   In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
                                                          Ma n c h e s t e r , Wo o d l a n d ) 2 0 2 3

         State the term remaining                         12/01/2023

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10047 State what the contract or lease is for and the   Le a s e , Ve h i c l e Le a s e
                                                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10048 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
        nature of the debtor's interest                                                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10049 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
        nature of the debtor's interest                                                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10050 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
                                                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10051 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
                                                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                   State the name and mailing address for all other parties with
                                                                                                                           whom the debtor has an executory contract or unexpired lease


                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10052 State what the contract or lease is for and the   Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10053 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
        nature of the debtor's interest                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10054 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
        nature of the debtor's interest                                                                                    In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8

         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10055 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10056 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10057 State what the contract or lease is for and the
                                                          Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10058 State what the contract or lease is for and the   Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         11/01/2022 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                           Ry d e r In t e g r a t e d Lo g i s t i c s , In c . , Ry d e r In t e g r a t e d Lo g i s t i c s ,
2.10059 State what the contract or lease is for and the   Le a s e , Ve h i c l e Le a s e
                                                                                                                           In c , 1 1 6 9 0 Nw 1 0 5 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest
         State the term remaining                         10/09/2022 - 10/08/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ry d e r Tr u c k Re n t a l , In c . , Ry d e r Tr u c k Re n t a l , In c , 1 1 6 9 0 Nw
2.10060 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ry d e r On - Si t e Ma i n t e n a n c e
                                                                                                                                                                 1 0 6 Th St r e e t , Mi a m i , F L 3 3 1 7 8
        nature of the debtor's interest                   Su b l e a s e Ag r e e m e n t _ Co r s i c a n a

         State the term remaining                         11/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Ry s e Us a In c , 4 0 1 2 1 s t St , St e 5 2 1 6 , Sa c r a m e n t o , C A 9 5 8 1 1
2.10061 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 S & H Su p p l y Tr u e Va l u e Ha r d w a r e , S & H Su p p l y Co m p a n y,
2.10062 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 8 8 )
        nature of the debtor's interest                                                                                                                          2 4 3 St a t e Ro u t e 4 3 5 , Cl i f t o n To w n s h i p , PA 1 8 4 2 4 - 7 7 8 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S & K Pr o d u c t s , 4 5 4 0 Us Ro u t e 1 2 7 , P. O. Bo x 1 6 6 , Co l d w a t e r ,
2.10063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 OH 45828
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 S & K Pr o d u c t s , 4 5 4 0 Us Ro u t e 1 2 7 , P. O. Bo x 1 6 6 , Co l d w a t e r ,
2.10064 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 45828
        nature of the debtor's interest
         State the term remaining                         07/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 S & K Pr o d u c t s , 4 5 4 0 Us Ro u t e 1 2 7 , P. O. Bo x 1 6 6 , Co l d w a t e r ,
2.10065 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OH 45828
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S & L Tr u e Va l u e Ho m e Ce n t e r , 1 7 1 1 E St a t e Rt e 3 6 , Ur b a n a ,
2.10066 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 8 )
                                                                                                                                                                 OH 43078-9284
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S & S Ha r d w a r e , 1 8 1 8 Ra n d o l p h Av e , Sa i n t Pa u l , M N 5 5 1 0 5 -
2.10067 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 1 )
        nature of the debtor's interest                                                                                                                          2156

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 S & S Pr o d u c t s In c , 8 1 0 4 S Sh e r i d a n Rd , Tu l s a , O K 7 4 1 3 3
2.10068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 S & S Pr o d u c t s In c , 8 1 0 4 S Sh e r i d a n Rd , Tu l s a , O K 7 4 1 3 3
2.10069 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S & S Su p p l i e s & So l u t i o n s , S & S To o l & Su p p l y, 2 7 0 0
2.10070 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 2 6 )
                                                                                                                                                                 Ma x w e l l Wa y, Fa i r f i e l d , C A 9 4 5 3 4 - 9 7 0 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S & V Ha r d w a r e , 1 4 5 0 1 s t Av e , Ne w Yo r k , N Y 1 0 0 2 1 - 3 0 1 3
2.10071 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 2 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10072 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10073 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10074 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10075 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10076 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10078 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10080 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10081 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10082 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10083 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2024 - 06/01/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10084 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10085 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10087 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10088 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10089 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10090 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10091 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10092 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10094 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10095 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10096 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10097 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10098 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10099 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10100 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10101 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10102 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 8 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10103 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 S C Jo h n s o n Wa x , 1 5 2 5 Ho w e St , Ra c i n e , W I 5 3 4 0 6
2.10104 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 S K Ha n d To o l , 1 6 0 0 S Pr a i r i e Dr i v e , Sy c a m o r e , I L 6 0 1 7 8
2.10105 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 S O S Tr u e Va l u e Hd w, Mi l e 1 5 Ke k u Rd , Ka k e , A K 9 9 8 3 0 -
2.10106 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 4 9 )
        nature of the debtor's interest                                                                                                                          9999

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 S. Fe l d m a n Ho u s e w a r e s In c . , 1 3 0 4 Ma d i s o n Av e , Ne w Yo r k , N Y
2.10107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 6 )
                                                                                                                                                                 10128-1351
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


                                                                                                                                                         S& h Tr u e Va l u e Ha r d w a r e , 7 Ro u t e A, Lo c k w o o d , M O 6 5 6 8 2 -
2.10108 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 4 6 )
                                                                                                                                                         9118
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                         S& j Tr u e Va l u e , 6 0 8 E 1 3 3 r d St r e e t , Br o n x , N Y 1 0 4 5 4 - 4 6 0 6
2.10109 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 6 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                         S& S Co m p u t e r Co n s u l t a n t s , Lt d , 2 0 9 E Ci r c l e Av e , Pr o s p e c t
2.10110 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , S a n d S Co m p u t e r Co n s u l t a n t s -
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t 2 0 2 4                                             He i g h t s , I L 6 0 0 3 5
        nature of the debtor's interest
         State the term remaining                         03/01/2024 - 02/28/2027

         List the contract number of any government
         contract
                                                                                                                                                         S& t Tr u e Va l u e Ha r d w a r e , 2 3 0 0 No o s e n e c k Hi l l Rd , Co v e n t r y,
2.10111 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 0 1 )
                                                                                                                                                         RI 02816-6712
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                         S4 Li g h t s In c , 3 6 0 1 La g r a n g e Pa r k w a y, To a n o , VA 2 3 1 6 8
2.10112 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/22/2014

         List the contract number of any government
         contract
                                                                                                                                                         Sa a s w e d o ( Co m m u n i c a t i o n Br o k e r s , In c ( Cb i ) , 4 3 7 4 4 Th St r e e t
2.10113 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , C B I Te l e c o m S O W 2 C O 1 0 Bl o c k o f
        nature of the debtor's interest                   Ho u r s Su p p o r t f o r V O I P Co n v e r s i o n                                         Sw, Gr a n d Ra p i d s , M I 4 9 5 4 8

         State the term remaining                         07/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                         Sa a s w e d o ( Co m m u n i c a t i o n Br o k e r s , In c ( Cb i ) , 4 3 7 4 4 Th St r e e t
2.10114 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , C B I L O A Au t h o r i z a t i o n - Ge n e r i c
                                                                                                                                                         Sw, Gr a n d Ra p i d s , M I 4 9 5 4 8
        nature of the debtor's interest
         State the term remaining                         01/27/2023 - 01/26/2025

         List the contract number of any government
         contract
                                                                                                                                                         Sa b o u r i n Tr u e Va l u e Hd w. , 2 7 Lu n e n b u r g St , Fi t c h b u r g , M A
2.10115 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 6 1 )
                                                                                                                                                         01420-7808
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa f e t e c h Ge n e r a l Tr a d i n g Co m p a n y Ll c , Sa f e t e c h Ge n e r a l
2.10116 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 4 0 )
                                                                                                                                                                 Tr a d i n g Co m p a , P. o . Bo x 1 3 1 8 1 , Du b a i , Un i t e d Ar a b Em i r a t e s
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y 1 St / Do r e l , 2 5 Fo r b e s Bl v d , Su i t e 4 , Fo x b o r o , M A 0 2 0 3 5
2.10117 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y 1 St / Do r e l , 2 5 Fo r b e s Bl v d , Su i t e 4 , Fo x b o r o , M A 0 2 0 3 5
2.10118 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y 1 St / Do r e l , 2 5 Fo r b e s Bl v d , Su i t e 4 , Fo x b o r o , M A 0 2 0 3 5
2.10119 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10120 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10122 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10123 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10124 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10125 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10126 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10127 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10128 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa f e t y Wo r k s In c , 1 1 5 0 0 Ca n a l Rd , Ci n c i n n a t i , O H 4 5 2 4 1
2.10129 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sa g ' s Ha r d w a r e , 4 0 4 Hi g h w a y 7 5 N, Wh e a t o n , M N 5 6 2 9 6 - 1 1 2 2
2.10130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 6 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i a In c . , Sa i a In c , 1 1 4 6 5 Jo h n s Ce e k Pa r k w a y, Su i t e 4 0 0 ,
2.10131 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Sa i a In c - Tr a n s p o r t a t i o n Ag r e e m e n t s
                                                          LT L                                                                                                   Jo h n s Cr e e k , G A 3 0 0 9 7
        nature of the debtor's interest
         State the term remaining                         07/27/2020

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10132 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 NY 14228-1183
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10133 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 14228-1183
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10134 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 NY 14228-1183
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10135 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 14228-1183

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10136 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 14228-1183

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10137 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 14228-1183
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10138 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 NY 14228-1183
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Bu f f a l o ,
2.10139 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 14228-1183
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa i n t - Go b a i n Ad f o r s , 1 4 0 Jo h n Ja m e s Au d u b o n Pk w y, Un i t 1 0 2 ,
2.10140 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Bu f f a l o , N Y 1 4 2 2 8
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sa i n t y In t ' l L L C, Sa i n t y In t e r n a t i o n a l L L C, 3 1 1 2 Se a b o r g Av e ,
2.10141 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Un i t C, Ve n t u r a , C A 9 3 0 0 3
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sa k a r In t ' l In c , Sa k a r In t e r n a t i o n a l In c , 1 9 5 Ca r t e r Dr , Ed i s o n ,
2.10142 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NJ 08817
        nature of the debtor's interest
         State the term remaining                         02/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sa k r e t e o f No r t h Am e r i c a , Sa k r e t e Of No r t h Am e r i c a , 4 0 0
2.10143 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pe r i m e t e r Ce n t e r Te r r a c e , Su i t e 1 0 0 , At l a n t a , G A 3 0 3 4 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa k r e t e o f No r t h Am e r i c a , Sa k r e t e Of No r t h Am e r i c a , 4 0 0
2.10144 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe r i m e t e r Ce n t e r Te r r a c e , Su i t e 1 0 0 , At l a n t a , G A 3 0 3 4 6
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sa k r e t e o f No r t h Am e r i c a , Sa k r e t e Of No r t h Am e r i c a , 4 0 0
2.10145 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Pe r i m e t e r Ce n t e r Te r r a c e , Su i t e 1 0 0 , At l a n t a , G A 3 0 3 4 6
        nature of the debtor's interest
         State the term remaining                         10/05/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sa l e s f o r c e . Co m , In c . , 1 Ma r k e t St r e e t , Su i t e 3 0 0 , Sa n
2.10146 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Sa l e s f o r c e - Mu l e s o f t Re a l Ti m e
                                                          In t e g r a t i o n So f t w a r e Re n e w a l 2 0 2 2                                               Fr a n c i s c o , C A 9 4 1 0 5
        nature of the debtor's interest
         State the term remaining                         12/26/2022 - 12/25/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sa l e s f o r c e . Co m , In c . , 1 Ma r k e t St r e e t , Su i t e 3 0 0 , Sa n
2.10147 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Sa l e s f o r c e - Mu l e s o f t Su b s c r i p t i o n
                                                                                                                                                                 Fr a n c i s c o , C A 9 4 1 0 5
        nature of the debtor's interest                   e x t e n s i o n t o s u p p o r t O M S In t e g r a t i o n

         State the term remaining                         02/15/2024 - 12/25/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa l i d a Ac e Ha r d w a r e , 5 0 2 E Ra i n b o w Bl v d , Sa l i d a , C O 8 1 2 0 1
2.10148 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa l l i s a w Tr u e Va l u e Ha r d w a r e , 8 0 8 E Ch e r o k e e , Sa l l i s a w, O K
2.10149 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 3 )
                                                                                                                                                                 74955-4848
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa l l y e a n d e r In c , 1 8 W Ma i n St , Be a c o n , N Y 1 2 5 0 8
2.10150 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sa l t Ci t y Sa l e s In c , 1 3 4 8 S 8 0 0 W, Wo o d s Cr o s s , U T 8 4 0 8 7
2.10151 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/15/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sa l t o n In c , 2 3 0 1 Sa n Be r n a r d i n o Dr i v e , Re d l a n d s , C A 9 2 3 7 4
2.10152 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sa m He d a y a Co r p , 2 9 5 5 Th Av e , Su i t e 3 0 2 , Ne w Yo r k , N Y
2.10153 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10016
        nature of the debtor's interest
         State the term remaining                         09/16/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sa m He d a y a Co r p , 2 9 5 5 Th Av e , Su i t e 3 0 2 , Ne w Yo r k , N Y
2.10154 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 10016
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa m a r Co m p a n y In c , 9 Wi n t e r St , St o u g h t o n , M A 0 2 0 7 2
2.10155 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa m a r Co m p a n y In c , 9 Wi n t e r St , St o u g h t o n , M A 0 2 0 7 2
2.10156 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa m p l e Lu m b e r , 5 3 Ca m p g r o u n d Ro a d , Mo o e r s , N Y 1 2 9 5 8 -
2.10157 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 9 )
                                                                                                                                                                 3501
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa m p s o n Bu i l d i n g Su p p l y, 4 0 7 Va n c e St , Cl i n t o n , N C 2 8 3 2 8 -
2.10158 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 1 3 )
        nature of the debtor's interest                                                                                                                          4001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa m u e l s o n Tr u e Va l u e Hd w e , 4 5 6 Br e e z e St , Cr a i g , C O 8 1 6 2 5 -
2.10159 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 4 8 )
                                                                                                                                                                 2620
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa m u e l s o n Tr u e Va l u e Of Me e k e r , 4 3 9 0 0 Hi g h w a y 1 3 , Me e k e r ,
2.10160 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 9 2 )
                                                                                                                                                                 CO 81641-9638
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n Ca r l o s Tr u e Va l u e Ha r d w a r e , 7 3 7 5 Ja c k s o n Dr i v e , Sa n
2.10161 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 8 0 )
                                                                                                                                                                 Di e g o , C A 9 2 1 1 9 - 2 3 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n Ca r l o s Tr u e Va l u e Ha r d w a r e & Lu m b e r , Sa n Ca r l o s Tr u e
2.10162 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 1 8 )
                                                                                                                                                                 Va l u e Ha r d w a r e , Hw y 7 0 An d Mo o n Ba s e Ro a d , Pe r i d o t , A Z
        nature of the debtor's interest
                                                                                                                                                                 85542-0780
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n Fr a n c i s c o Pa i n t s o u r c e , 1 5 0 Pe n n s y l v a n i a Av e n u e , Sa n
2.10163 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 6 )
                                                                                                                                                                 Fr a n c i s c o , C A 9 4 1 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa n c o In d u s t r i e s , 1 8 1 9 S Ca l h o u n St , Fo r t Wa y n e , I N 4 6 8 0 2
2.10164 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d e r ' s Ma r k e t , 3 4 4 S Ch e s t n u t St , Je f f e r s o n , O H 4 4 0 4 7 - 1 3 1 7
2.10165 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 7 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d e r ' s Ma r k e t , 5 0 1 W Ma i n St , Ca r r o l l t o n , O H 4 4 6 1 5 - 1 0 2 9
2.10166 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d e r s Ma r k e t , 1 0 9 W Ma i n St , No r t h Ea s t , PA 1 6 4 2 8 - 1 1 1 9
2.10167 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 6 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d e r s Ma r k e t , 5 4 5 Br o a d St , Sa l a m a n c a , N Y 1 4 7 7 9
2.10168 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 3 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d e r s o n Pl u m b i n g , P O Bo x 1 3 6 7 , 1 Tu f f y La n e , Co l u m b u s ,
2.10169 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MS 39703
        nature of the debtor's interest
         State the term remaining                         10/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d l e r Br o t h e r s In c , 4 1 3 1 Wh i t e s i d e St , Lo s An g e l e s , C A
2.10170 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 90063
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d s De p t St o r e , 6 2 0 8 La n d i s Av e , Se a Is l e Ci t y, N J 0 8 2 4 3 -
2.10171 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 2 1 )
                                                                                                                                                                 1438
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa n d y Fo r k Fe r t i l i z e r , 6 1 4 2 Hw y 5 8 , Bu f f a l o Ju n c t i o n , VA
2.10172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 8 )
                                                                                                                                                                 24529
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n d y s Tr u e Va l u e Ha r d w a r e & Ho m e Ct r , Sa n d y s Tr u e Va l u e
2.10173 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 9 0 )
        nature of the debtor's interest                                                                                                                          Ha r d w a r e & H, 2 0 3 3 Bu c k h a n n o n Pi k e , Mo u n t Cl a r e , W V
                                                                                                                                                                 26408
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n f o r d Co r p , 1 5 2 Bu r l i n g t o n , Cl a r e n d o n Hi l l s , I L 6 0 5 1 4
2.10174 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n f o r d Co r p , 1 5 2 Bu r l i n g t o n , Cl a r e n d o n Hi l l s , I L 6 0 5 1 4
2.10175 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n f o r d Co r p , 1 5 2 Bu r l i n g t o n , Cl a r e n d o n Hi l l s , I L 6 0 5 1 4
2.10176 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n f o r d Co r p , 1 5 2 Bu r l i n g t o n , Cl a r e n d o n Hi l l s , I L 6 0 5 1 4
2.10177 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n f o r d Co r p , 1 5 2 Bu r l i n g t o n , Cl a r e n d o n Hi l l s , I L 6 0 5 1 4
2.10178 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n i Se a l L L C, 5 8 5 6 Th u n d e r b i r d Rd , In d i a n a p o l i s , I N 4 6 2 3 6
2.10179 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2012

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa n i Se a l L L C, 5 8 5 6 Th u n d e r b i r d Rd , In d i a n a p o l i s , I N 4 6 2 3 6
2.10180 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n i Se a l L L C, 5 8 5 6 Th u n d e r b i r d Rd , In d i a n a p o l i s , I N 4 6 2 3 6
2.10181 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2022 - 05/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n i Se a l L L C, 5 8 5 6 Th u n d e r b i r d Rd , In d i a n a p o l i s , I N 4 6 2 3 6
2.10182 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n s h e r Co r p , 8 0 0 5 N Cl i n t o n St , Fo r t Wa y n e , I N 4 6 8 2 5
2.10183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n t a ' S Be s t , 3 7 5 0 W De e r f i e l d Rd , Su i t e 1 0 0 0 , No r t h f i e l d , I L
2.10184 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60015
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n t a ' S Be s t Cr a f t L L C, 1 1 5 5 Ph o e n i x v i l l e Pi k e , Su i t e 1 0 5 ,
2.10185 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 We s t Ch e s t e r , PA 1 9 3 8 0
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sa n t e e n Pr o d u c t s L L C, 1 0 5 0 9 Mi l l e r Dr , Ga l e s b u r g , M I 4 9 0 5 3
2.10186 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa n t i n o Se r v i c e L L C, 1 8 9 5 6 Ne 4 Th Ct , Mi a m i , F L 3 3 1 7 9
2.10187 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Sa p Am e r i c a , In c . , 3 9 9 9 We s t Ch e s t e r Pi k e , Ne w t o w n Sq u a r e ,
2.10188 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , S A P Sy b a s e Af a r i a Cl a s s B Cl i e n t Ma i n t
        nature of the debtor's interest                   & Su p p o r t Re n e w a l 2 0 2 3                                                                PA 1 9 0 7 3

         State the term remaining                         10/08/2023 - 10/07/2024

         List the contract number of any government
         contract
                                                                                                                                                             Sa p Am e r i c a , In c . , 3 9 9 9 We s t Ch e s t e r Pi k e , Ne w t o w n Sq u a r e ,
2.10189 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , S A P Sy b a s e Re n e w a l Ma i n t e n a n c e a n d
        nature of the debtor's interest                   Su p p o r t - Af a r i a En t e r p r i s e 2 0 2 4                                               PA 1 9 0 7 3

         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                             Sa p p h i r e Mu l t i n a t i o n a l Gr o u p In c , 2 1 Pr o s p e c t St , Un i t B,
2.10190 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             To r r i n g t o n , C T 0 6 7 9 0
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                             Sa r a s n i c k ' s Ha r d w a r e , In c . , J Sa r a s n i c k ' s Tr u e Va l u e Hd w, 5 1 2
2.10191 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 5 )
                                                                                                                                                             Wa s h i n g t o n Av e , Br i d g e v i l l e , PA 1 5 0 1 7 - 2 0 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Sa r a s o t a Gr e e n Gr o u p L L C, Sa r a s o t a Gr e e n Gr o u p L L C, 5 5 5 5 0
2.10192 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             Wi l d Ro s e La n e , Su i t e 4 0 0 , We s t De s Mo i n e s , I A 5 0 2 6 6
        nature of the debtor's interest
         State the term remaining                         05/01/2018

         List the contract number of any government
         contract
                                                                                                                                                             Sa r c o x i e Ha r d w a r e , 4 1 1 9 Bl a c k b e r r y Rd , Sa r c o x i e , M O 6 4 8 6 2 -
2.10193 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 9 0 )
                                                                                                                                                             8409
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Sa r g e In t ' l , Sa r g e In t e r n a t i o n a l , 2 7 2 0 Ea s t Ph i l l i p s Ro a d ,
2.10194 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      Gr e e r , S C 2 9 6 5 0

         State the term remaining                         10/01/2007

         List the contract number of any government
         contract
                                                                                                                                                             Sa r g e n t s La n d s c a p e Nu r s H& g s , 1 8 1 1 2 n d St Sw, Ro c h e s t e r ,
2.10195 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 8 0 )
        nature of the debtor's interest                                                                                                                      MN 55902-0886

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa r t a i n s Ho m e & Au t o Tr u e Va l u e , Sa r t a i n s Ho m e & Au t o Tr u e
2.10196 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 9 9 )
        nature of the debtor's interest                                                                                                                          Va l u , 4 2 1 N Ma i n St , Wa t e r Va l l e y, M S 3 8 9 6 5 - 2 5 0 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa r v e r Tr u e Va l u e Ha r d w a r e , 5 5 1 S Pi k e Rd , Sa r v e r , PA 1 6 0 5 5 -
2.10197 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 6 0 )
                                                                                                                                                                 9203
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa s Gr o u p In c , 2 2 0 Wh i t e Pl a i n s Rd , Ta r r y t o w n , N Y 1 0 5 9 1
2.10198 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s In s t i t u t e In c , Wo r l d He a d q u a r t e r s , 1 0 0 S A S Ca m p u s Dr i v e ,
2.10199 State what the contract or lease is for and the
                                                          Ma s t e r Li c e n s e Ag r e e m e n t , S A S Un i v e r s a l Ag r e e m e n t Te r m s
                                                          a n d Co n d i t i o n s                                                                               Ca r y, N C 2 7 5 1 3
        nature of the debtor's interest
         State the term remaining                         09/30/2023 - 09/30/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s In s t i t u t e In c , Wo r l d He a d q u a r t e r s , 1 0 0 S A S Ca m p u s Dr i v e ,
2.10200 State what the contract or lease is for and the   So f t w a r e , S A S In s t i t u t e – En t e r p r i s e Da t a Mi n e r Re n e w a l 2 0 2 3
                                                                                                                                                                 Ca r y, N C 2 7 5 1 3
        nature of the debtor's interest
         State the term remaining                         09/30/2023 - 09/30/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10201 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10202 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10203 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10205 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10206 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10207 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2024 - 06/01/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sa s h c o Se a l a n t s , 1 4 8 0 2 Gr a n t St r e e t , Th o r n t o n , C O 8 0 0 2 3
2.10208 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa u c o n Tr u e Va l u e , 1 Ma i n St r e e t , He l l e r t o w n , PA 1 8 0 5 5 - 1 7 4 2
2.10209 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 4 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa u d e r , 5 0 2 Mi d d l e St r e e t , Ar c h b o l d , O H 4 3 5 0 2
2.10210 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sa u g e r t i e s Lu m b e r Tr u e Va l u e , 2 2 3 Ul s t e r Av e , Sa u g e r t i e s , N Y
2.10211 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 8 6 )
                                                                                                                                                                 12477-1235
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa u k Ce n t r e Fl e e t Sp l y Tr u e Va l u e , 1 0 5 0 Ce n t r e St , Sa u k
2.10212 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 4 7 )
                                                                                                                                                                 Ce n t r e , M N 5 6 3 7 8 - 1 7 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa u m Ac c e s s o r i e s In c , 1 3 5 3 8 Vi l l a g e Dr i v e , Ce r r i t o s , C A
2.10213 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 90703
        nature of the debtor's interest
         State the term remaining                         12/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sa v a g e Bu i l d i n g Ce n t e r , 4 0 9 N Sp r i n g St , Sp a r t a , T N 3 8 5 8 3
2.10214 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v e Sm a r t , 2 6 9 Fe r r y St , Ne w a r k , N J 0 7 1 0 5
2.10215 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 8 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10216 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10217 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10218 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10219 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10221 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10222 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10223 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10224 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Sa v o g r a n Co , 2 5 9 Le n o x St r e e t , No r w w o d , M A 0 2 0 6 2
2.10225 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sa v v y So u r c i n g L. l . c . , 2 2 Br y a n t Pl a c e , We s t w o o d , N J 0 7 6 7 5
2.10226 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sa w y e r Ga r d e n Ce n t e r , 5 8 6 5 Sa w y e r Rd , Sa w y e r , M I 4 9 1 2 5 -
2.10227 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 3 4 )
                                                                                                                                                                 9380
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sa y a r i La b s , In c . , 8 2 9 7 Th St r e e t Nw, Wa s h i n g t o n Dc , WA
2.10228 State what the contract or lease is for and the
                                                          Sa a S, Sa y a r i + F R D M Ma s t e r Su b s c r i p t i o n Ag r e e m e n t
                                                                                                                                                                 20001
        nature of the debtor's interest
         State the term remaining                         07/21/2023 - 07/20/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Sa y a r i La b s , In c . , 8 2 9 7 Th St r e e t Nw, Wa s h i n g t o n Dc , WA
2.10229 State what the contract or lease is for and the
                                                          Sa a S, Sa y a r i - Su p p l y Ch a i n Fo r c e d La b o r Ma p p i n g To o l
                                                          Re n e w a l                                                                                           20001
        nature of the debtor's interest
         State the term remaining                         07/01/2024 - 07/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10230 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27513
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10231 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27513
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10232 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 27513

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10233 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27513

         State the term remaining                         11/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10234 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 27513
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10235 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10236 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10237 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 27513
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10238 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27513
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 27513

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10240 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 27513

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10242 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10244 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 27513
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10245 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27513
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10246 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 27513
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sb m Li f e Sc i e n c e Co r p , 1 0 0 1 Wi n s t e a d Dr , Su i t e 5 0 0 , Ca r y, N C
2.10247 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27513

         State the term remaining                         06/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc a m m a n Ho m e & Ga r d e n , 5 7 Po r t s m o u t h Av e , St r a t h a m , N H
2.10248 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 8 6 )
        nature of the debtor's interest                                                                                                                          03885-2522

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc a r e c r o w a t i o n s L L C, P. O. Bo x 8 , 2 0 7 0 5 Tr a v i s Rd , Wi l d e r , I D
2.10249 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 83676
        nature of the debtor's interest
         State the term remaining                         08/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Sc e n i c Ro a d Mf g , 4 0 5 Sc h o o l Ro a d , De n v e r , PA 1 7 5 1 7
2.10250 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sc e n t Sh o p , 2 6 1 4 Na t i o n a l Pl a c e , Ga r l a n d , T X 7 5 0 4 1
2.10251 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2014

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc e n t Sh o p , 2 6 1 4 Na t i o n a l Pl a c e , Ga r l a n d , T X 7 5 0 4 1
2.10252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sc e p t e r Ma n u f a c t u r i n g , L L C, 4 0 4 2 6 t h Av e N W, Mi a m i , O K
2.10253 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 74354
        nature of the debtor's interest
         State the term remaining                         05/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc e p t e r Ma n u f a c t u r i n g , L L C, 4 0 4 2 6 t h Av e N W, Mi a m i , O K
2.10254 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          74354

         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc e p t e r Ma n u f a c t u r i n g , L L C, 4 0 4 2 6 t h Av e N W, Mi a m i , O K
2.10255 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 74354

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc e p t e r Ma n u f a c t u r i n g , L L C, 4 0 4 2 6 t h Av e N W, Mi a m i , O K
2.10256 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 74354
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h a e f e r Ve n t i l a t i o n Eq u i p . , P. O. Bo x 4 6 0 , Sa u k Ra p i d s , M N
2.10257 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 56379
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h a e f e r ' s Gr e e n h o u s e s , In c . , Sc h a e f e r Gr e e n h o u s e s H& g s , 1 2 0
2.10258 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 0 8 5 )
                                                                                                                                                                 S La k e St , Mo n t g o m e r y, I L 6 0 5 3 8 - 1 4 4 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h e i d t Tr u e Va l u e , 7 3 2 0 Ma n c h e s t e r Rd , Ma p l e w o o d , M O
2.10259 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 2 2 )
                                                                                                                                                                 63143-3108
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc h e m a n & Gr a n t In c . , 5 4 5 8 t h Av e . , Ne w Yo r k , N Y 1 0 0 1 8
2.10260 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h e u r i c h Us a In c , 5 2 5 W Mo n r o e , Su i t e 2 3 6 0 , Ch i c a g o , I L
2.10261 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60661
        nature of the debtor's interest
         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h e u r i c h Us a In c , 5 2 5 W Mo n r o e , Su i t e 2 3 6 0 , Ch i c a g o , I L
2.10262 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60661

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h i l l e r Gr o u n d s Ca r e In c , 1 0 2 8 St r e e t Ro a d , So u t h a m p t o n , PA
2.10263 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          18966

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h i l l e r Gr o u n d s Ca r e In c , 1 0 2 8 St r e e t Ro a d , So u t h a m p t o n , PA
2.10264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 18966
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10265 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 28273
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10266 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 28273
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10267 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 28273
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10268 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 28273
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10269 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 28273
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10270 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          28273

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l a g e Lo c k Co , 2 4 0 1 Wh i t e h a l l Pa r k Dr i v e , Ch a r l o t t e , N C
2.10271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 28273
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l e i c h No r t h Am e r i c a , 1 0 0 0 Tw i n La k e s Pa r k w a y, Su i t e A,
2.10272 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 6 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l e i c h No r t h Am e r i c a , 1 0 0 0 Tw i n La k e s Pa r k w a y, Su i t e A,
2.10273 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 6 9
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h l e i c h No r t h Am e r i c a , 1 0 0 0 Tw i n La k e s Pa r k w a y, Su i t e A,
2.10274 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 6 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h m i d b a u e r Lu m b e r , 8 3 9 W Wa s h i n g t o n St r e e t , Eu r e k a , C A
2.10275 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 7 )
                                                                                                                                                                 95501-0113
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Sc h m i d t Br o s In c , 2 4 2 5 S Fu l t o n - Lu c a s Rd , Sw a n t o n , O H
2.10276 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        43558
        nature of the debtor's interest
         State the term remaining                         11/01/2011

         List the contract number of any government
         contract
                                                                                                                                                        Sc h m i d t Co u n t r y Tr u e Va l u e , 3 0 3 N Pa r k Av e , Ma r i o n , S D
2.10277 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 0 6 )
        nature of the debtor's interest                                                                                                                 57043-0147

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Sc h m i d t s & Se r a f i n e s Tr u e Va l u e , Sc h m i d t s & Se r a f i n e s Tr u e
2.10278 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 4 0 )
        nature of the debtor's interest                                                                                                                 Va l u , 4 6 4 Ch a s e Av e , Wa t e r b u r y, C T 0 6 7 0 4 - 1 9 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Sc h m i t z e r Tr u e Va l u e Ha r d w a r e , 1 1 9 4 4 Co n q u e s t St , Bi r c h Ru n ,
2.10279 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 0 6 )
                                                                                                                                                        MI 48415-9294
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Sc h n e i d e r Lo g i s t i c s , In c . , 3 1 0 1 S Pa c k e r l a n d Dr i v e , Gr e e n Ba y,
2.10280 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Sc h n e i d e r Na t i o n a l Ca r r i e r s In c -
                                                          Tr a n s p o r t a t i o n Ag r e e m e n t Co n t r a c t e d Ca r r i e r                   WI 54304
        nature of the debtor's interest
         State the term remaining                         05/29/2020

         List the contract number of any government
         contract
                                                                                                                                                        Sc h n e i d e r Na t i o n a l Ca r r i e r s , 3 1 0 1 So u t h Pa c k e r l a n d Dr i v e ,
2.10281 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Sc h n e i d e r Na t i o n a l Ca r r i e r s
                                                                                                                                                        Gr e e n Ba y, W I 5 4 3 1 3
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t 2 0 2 3

         State the term remaining                         12/03/2023 - 12/02/2026

         List the contract number of any government
         contract
                                                                                                                                                        Sc h n e i d e r Tr u e Va l u e Im p l e m e n t , 9 Ma i n St , Sa i n t Pe t e r s , M O
2.10282 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 5 4 )
                                                                                                                                                        63376-3917
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Sc h n e l l v i l l e Mi l l , 8 4 5 1 E Sc h n e l l v i l l e Rd , Bi r d s e y e , I N 4 7 5 1 3
2.10283 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc h r a d e r / Am f l o , 1 5 5 0 Fr a n k l i n Gr o v e Dr i v e , Di x o n , I L 6 1 0 2 1
2.10284 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h r o e d e r & Tr e m a y n e , 8 5 0 0 Va l c o u r Av e , St Lo u i s , M O
2.10285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63123

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h r o e d e r & Tr e m a y n e , 8 5 0 0 Va l c o u r Av e , St Lo u i s , M O
2.10286 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 63123
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u b e r t Nu r s e r y In c , P. O. Bo x 1 4 5 1 , 2 6 8 8 9 En c i n a l Rd ,
2.10287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sa l i n a s , C A 9 3 9 0 2
        nature of the debtor's interest
         State the term remaining                         08/21/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10288 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60056
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10289 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60056
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10290 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60056
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10291 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60056

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10292 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60056

         State the term remaining                         01/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u m a c h e r El e c t r i c , 8 0 1 Bu s i n e s s Ce n t e r Dr i v e , Mt Pr o s p e c t ,
2.10293 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60056

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h u r m a n s Tr u e Va l u e Ha r d w a r e In c . , Sc h u r m a n s Tr u e Va l u e
2.10294 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 8 8 )
                                                                                                                                                                 Ha r d w a r e , 8 0 1 6 t h St , Cl a r k s t o n , WA 9 9 4 0 3 - 2 0 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h w a r z Ha r d w a r e & Ap p l i a n c e , 1 9 8 N Ma i n St , Br e e s e , I L
2.10295 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 1 8 )
                                                                                                                                                                 62230-1630
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h w a r z Su p p l y So u r c e , 9 0 5 Cr o s s r o a d s Pa r k w a y, Ro m e o v i l l e ,
2.10296 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60446
        nature of the debtor's interest
         State the term remaining                         07/27/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Sc h w a r z Su p p l y So u r c e , 9 0 5 Cr o s s r o a d s Pa r k w a y, Ro m e o v i l l e ,
2.10297 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60446
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc h w a r z Su p p l y So u r c e , 9 0 5 Cr o s s r o a d s Pa r k w a y, Ro m e o v i l l e ,
2.10298 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60446

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc i e n c e So l u t i o n s L L C, Sc i e n c e So l u t i o n s L L C, 8 2 5 S
2.10299 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wa u k e g a n Rd , A8 - 2 2 6 , La k e Fo r e s t , I L 6 0 0 4 5

         State the term remaining                         09/01/2012

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o o t Pr o d u c t s , 1 2 5 0 Ra m o n a St , S E, Gr a n d Ra p i d s , M I 4 9 5 0 7
2.10300 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o r Uk Co m p a n y Li m i t e d ( 5 % ) , 1 0 Li m e St r e e t , Lo n d o n ,
2.10301 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Pr o p e r t y - Po l i c y Nu m b e r ( s ) : P T N A M2 4 1 2 9 6 6
                                                                                                                                                                 E C3 M 7 A A, Un i t e d Ki n g d o m
        nature of the debtor's interest
         State the term remaining                         06/01/2024 - 06/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10302 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10304 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10306 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t c h Co r p o r a t i o n , 1 2 5 5 Vi c e r o y Dr , Da l l a s , T X 7 5 2 4 7
2.10307 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o t t Co u n t y Ha r d w a r e , 1 3 5 9 W Se c o n d St r e e t , Wa l d r o n , A R
2.10308 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 4 )
        nature of the debtor's interest                                                                                                                          72958

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t Mc l e n d o n Ac e Ha r d w a r e , 1 6 9 2 Se Mi l e Hi l l Dr , Po r t
2.10309 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 4 9 )
                                                                                                                                                                 Or c h a r d , WA 9 8 3 6 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t Pe t , P. O. Bo x 1 6 8 , 1 5 4 3 N U S Hw y 4 1 , Ro c k v i l l e , I N
2.10310 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 47872
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t d a l e Tr u e Va l u e , 4 0 3 2 M 1 3 9 , Sa i n t Jo s e p h , M I 4 9 0 8 5
2.10311 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d , Ma r y v i l l e , O H 4 3 0 4 1
2.10312 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
         State the term remaining                         06/28/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Co m p a n y - To m c a t , P. O. Bo x 1 9 0 , Ma r y s v i l l e , O H 4 3 0 4 0
2.10313 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Co m p a n y - To m c a t , P. O. Bo x 1 9 0 , Ma r y s v i l l e , O H 4 3 0 4 0
2.10314 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Gr o w i n g Me d i a , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o t t s Gr o w i n g Me d i a , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10316 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Gr o w i n g Me d i a , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10317 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Gr o w i n g Me d i a , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10318 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining                         08/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Gr o w i n g Me d i a , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10319 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Ha r d w a r e , 7 8 5 W Mc c l a i n Av e , Sc o t t s b u r g , I N 4 7 1 7 0 -
2.10320 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 8 )
                                                                                                                                                                 1245
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s La w n s , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10321 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s La w n s , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s La w n s , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10323 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o t t s La w n s , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10324 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s La w n s , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10325 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10326 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10327 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
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        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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2.10328 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
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        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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2.10329 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
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2.10330 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


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2.10332 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10334 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
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        nature of the debtor's interest
         State the term remaining                         10/01/2020 - 12/31/2025

         List the contract number of any government
         contract
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2.10335 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
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        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Li q Gl d , 8 4 5 5 S 7 7 Th Av e n u e , Br i d g e v i e w, I L 6 0 4 5 5
2.10336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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2.10337 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
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2.10338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10339 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o t t s Mi r a c l e Gr o , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Mi r a c l e Gr o , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10341 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Mi r a c l e Gr o , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10342 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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2.10343 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10344 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10346 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10348 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10349 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10350 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
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        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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2.10351 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
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2.10352 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
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2.10353 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10354 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
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        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10355 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


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2.10356 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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2.10357 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
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        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10358 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10359 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10360 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10361 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10362 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10363 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10364 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                   Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10365 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                   Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10366 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                   Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10367 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                   Ma r y v i l l e , O H 4 3 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10368 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                   Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t s Or t h o Ro u n d u p , Sc o t t s Co m p a n y, 1 4 1 1 Sc o t t s l a w n Ro a d ,
2.10369 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                   Ma r y v i l l e , O H 4 3 0 4 1
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t t t e c h In t e g r a t e d So l u t i o n s , 2 5 0 0 Br e w e r t o n Rd , Sy r a c u s e ,
2.10370 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , In s t a l l i n g n e t w o r k c a b l e s a n d s w i t c h
                                                                                                                                                                   NY 13211
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sc o t w o o d In d u s t r i e s In c . , 1 2 9 8 0 Me t c a l f Av e , Ov e r l a n d Pa r k ,
2.10371 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                   KS 66213
        nature of the debtor's interest
         State the term remaining                         01/01/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc r e e n Ti g h t , 4 0 1 Ch u r c h St , Ge o r g e t o w n , S C 2 9 4 4 0
2.10372 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sc r e w It Ag a i n , 1 9 4 5 Av e n i d a De l Or o , Su i t e 1 2 6 , Oc e a n s i d e ,
2.10373 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 92056
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc r e w It Ag a i n , 1 9 4 5 Av e n i d a De l Or o , Su i t e 1 2 6 , Oc e a n s i d e ,
2.10374 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 92056

         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10376 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10377 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10378 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10379 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10380 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sc r u b Da d d y In c , 1 7 0 0 Su c k l e Hi g h w a y, Pe n n s a u k e n , N J 0 8 1 1 0
2.10381 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Se - Ku r e Co n t r o l s In c . , 3 7 1 4 Ru n g e St , Fr a n k l i n Pa r k , I L 6 0 1 3 1
2.10382 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Se a Le v e l , 1 4 7 0 4 St a c e y Rd , Ja c k s o n v i l l e Be a c h , F L 3 2 2 5 0
2.10383 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , V C e n v i r o n m e n t , St e r l i n g B U S
        nature of the debtor's interest                   architecture, and data transformation experience

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se a c h o i c e Pr o d u c t s , 3 1 3 1 N An d r e w s Av e Ex t e n s i o n , Po m p a n o ,
2.10384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33064
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Se a g r e n ' s Ha r d w a r e , 8 2 0 El e v e n t h St r e e t , Tw o Ha r b o r s , M N
2.10385 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 0 5 )
                                                                                                                                                                 55616-6000
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se a g r e n ' s Tr u e Va l u e , 8 2 0 1 1 t h St , Tw o Ha r b o r s , M N 5 5 6 1 6 -
2.10386 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 5 )
                                                                                                                                                                 1506
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se a m a n ' s Tr u e Va l u e Ha r d w a r e , 5 1 6 Fi r s t St , Co r d o v a , A K
2.10387 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 0 2 )
                                                                                                                                                                 99574-0038
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se a r c h p a t h o f Ch i c a g o In c . , 5 2 1 De v o n s h i r e La n e , Su i t e D,
2.10388 State what the contract or lease is for and the   H R Se r v i c e s , Se a r c h Pa t h - Ma s t e r Ag r e e m e n t 2 0 2 0
                                                                                                                                                                 Cr y s t a l La k e , I L 6 0 0 1 4
        nature of the debtor's interest
         State the term remaining                         06/26/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Se a r c h p a t h o f Ch i c a g o In c . , 5 2 1 De v o n s h i r e La n e , Su i t e D,
2.10389 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Se a r c h p a t h o f Ch i c a g o - Cl i e n t Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 1                                                                               Cr y s t a l La k e , I L 6 0 0 1 4

         State the term remaining                         01/12/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Se a s o n s ( Hk ) Lt d , Bl o c k A, 6 / F Ch u n g Me i Ce n t r e , 1 5 Hi n g Yi p
2.10390 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St Kw u n To n g , Ho n g Ko n g

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se a s o n s De s i g n s , Po Bo x 2 3 4 3 , Da v i d s o n , N C 2 8 0 3 6
2.10391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/08/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Se a w a r d Gr o u p Us a , 6 3 0 4 Be n j a m i n Ro a d , Su i t e 5 0 6 , Ta m p a ,
2.10392 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33634
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Se b u s Br o t h e r s Tr u e Va l u e , 4 0 5 Ma i n St , We s t o n , M O 6 4 0 9 8 -
2.10393 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 0 1 )
                                                                                                                                                                 1203
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se c o Co m p a n y, 2 5 9 0 Ca m p b e l l Bl v d . , El l e n w o o d , G A 3 0 2 9 4
2.10394 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , S E C O Cr o s s Do c k Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t w i t h 2 S O Ws

         State the term remaining                         05/26/2023 - 05/27/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Se c o n d Na t u r e De s i g n s Li m i t e d , 7 4 6 Wo o d h i l l Rd , Ro c k t o n ,
2.10395 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          O N L0 R 1 X0 , Ca n a d a

         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Se c u r i t a s , 9 Ca m p u s Dr i v e , Pa r s i p p a n y, N J 0 7 0 5 4
2.10396 State what the contract or lease is for and the
                                                          Am e n d m e n t , Se c u r i t a s Se r v i c e Gu a r d s Se r v i c e s Ma n c h e s t e r
        nature of the debtor's interest                   Am e n d m e n t 2 0 2 4

         State the term remaining                         06/21/2024 - 06/20/2025

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t a s , 9 Ca m p u s Dr i v e , Pa r s i p p a n y, N J 0 7 0 5 4
2.10397 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Se c u r i t a s Se c u r i t y Gu a r d
        nature of the debtor's interest                   2 0 2 4 In c r e a s e Ka n s a s Ci t y

         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t a s , 9 Ca m p u s Dr i v e , Pa r s i p p a n y, N J 0 7 0 5 4
2.10398 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Se c u r i t a s Se c u r i t y Gu a r d
        nature of the debtor's interest                   Se r v i c e Ki n g m a n Am e n d m e n t 2 0 2 5

         State the term remaining                         02/09/2024 - 02/08/2025

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t a s , 9 Ca m p u s Dr i v e , Pa r s i p p a n y, N J 0 7 0 5 4
2.10399 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Se c u r i t a s - Se c u r i t y Gu a r d
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t 2 0 2 1

         State the term remaining                         02/01/2021

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t y Eq u i p m e n t Co r p o r a t i o n , 2 2 1 N La s a l l e St , Su i t e 6 5 0 ,
2.10400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                              Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest
         State the term remaining                         06/01/2021

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t y Eq u i p m e n t Co r p o r a t i o n , 2 2 1 N La s a l l e St , Su i t e 6 5 0 ,
2.10401 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest
         State the term remaining                         04/27/2018

         List the contract number of any government
         contract
                                                                                                                                                              Se c u r i t y Eq u i p m e n t Co r p o r a t i o n , 2 2 1 N La s a l l e St , Su i t e 6 5 0 ,
2.10402 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                              Ch i c a g o , I L 6 0 6 0 1
        nature of the debtor's interest
         State the term remaining                         07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                              Se d a Fr a n c e In c , 8 3 0 1 Sp r i n g d a l e Rd , Su i t e 8 0 0 , Au s t i n , T X
2.10403 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                       78724

         State the term remaining                         01/07/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se e d s o f Ch a n g e , Po Bo x 1 5 7 0 0 , Sa n t a Fe , N M 8 7 5 9 2
2.10404 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/02/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Se l e c t So u r c e , 2 2 3 3 4 B. Ki m b e r l y Ro a d , Ki m b e r l y, I D 8 3 3 4 1 -
2.10405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 8 6 )
        nature of the debtor's interest                                                                                                                          0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se l f e c o L L C, 1 8 5 0 Gr e e l e y St S, St i l l w a t e r , M N 5 5 0 8 2
2.10406 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Se l k i r k Co r p , 1 3 0 1 W Pr e s i d e n t Ge o r g e Bu s h , Su i t e 3 3 0 ,
2.10407 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ri c h a r d s o n , T X 7 5 0 8 0
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Se l k i r k Co r p , 1 3 0 1 W Pr e s i d e n t Ge o r g e Bu s h , Su i t e 3 3 0 ,
2.10408 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ri c h a r d s o n , T X 7 5 0 8 0
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Se l l a r s Wi p e r s & So r b e n t s , 6 5 6 5 N 6 0 Th St , Mi l w a u k e e , W I
2.10409 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 53223
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se m f y l Tr u e Va l u e , Vi a Es p a n a n a Y Ca l l e 4 t a , Ri o Ab a j o ,
2.10410 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 5 5 )
        nature of the debtor's interest                                                                                                                          Ap a r t a d o 0 0 7 8 5 Zo n a 0 8 5 0 , Pa n a m a Ci t y, Pa n a m a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se m f y l Tr u e Va l u e , Vi a Ri c a r d o J. Al f a r o , Pa n a m a , Pa n a m a
2.10411 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 6 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se n c o Br a n d s , 4 2 7 0 Iv y Po i n t e Bl v d , Ci n c i n n a t i , O H 4 5 2 4 5
2.10412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10413 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10415 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10416 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10417 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10418 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10420 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n c o Fa s t e n i n g Sy s t e m s , 8 4 5 0 Br o a d w e l l Ro a d , Un i o n
2.10422 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 To w n s h i p , O H 4 5 2 4 4
        nature of the debtor's interest
         State the term remaining                         07/01/2023 - 06/30/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Se n d Tr a n s p o r t a t i o n , 6 1 2 Nw Hi l l St , Be n d , O R 9 7 7 0 3
2.10423 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/17/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Se n e c a Tr u e Va l u e , 4 0 4 Ch e r o k e e Av e , Se n e c a , M O 6 4 8 6 5
2.10424 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se n t r y Gr o u p , 9 0 0 Li n d e n Av e , Ro c h e s t e r , N Y 1 4 6 2 5
2.10425 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Se r e d a y s Tr u e Va l u e Ha r d w a r e , 6 3 Ga r f i e l d St , We s t
2.10426 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 4 )
        nature of the debtor's interest                                                                                                                          Mi d d l e s e x , PA 1 6 1 5 9 - 3 5 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r e n a So f t w a r e , In c . , 2 4 4 0 Sa n d Hi l l Ro a d , Su i t e 3 0 2 , Me n l o
2.10427 State what the contract or lease is for and the
                                                          So f t w a r e , Se r e n a Ch a n g e Ma n Ma s t e r Li c e n s e Ag r e e m e n t
                                                                                                                                                                 Pa r k , C A 9 4 0 2 5
        nature of the debtor's interest
         State the term remaining                         04/26/2019 - 04/25/2029

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se r e n a So f t w a r e , In c . , 2 4 4 0 Sa n d Hi l l Ro a d , Su i t e 3 0 2 , Me n l o
2.10428 State what the contract or lease is for and the
                                                          So f t w a r e , Se r e n a Ch a n g e Ma n Z M F w i t h D B2 Li c e n s e & Su p p o r t
                                                          2024                                                                                                   Pa r k , C A 9 4 0 2 5
        nature of the debtor's interest
         State the term remaining                         04/26/2024 - 04/25/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Se r e n a So f t w a r e , In c . , 2 4 4 0 Sa n d Hi l l Ro a d , Su i t e 3 0 2 , Me n l o
2.10429 State what the contract or lease is for and the
                                                          So f t w a r e , Se r e n a - P V C S Ve r s i o n Ma n a g e r Su p p o r t Re n e w a l
                                                          2024                                                                                                   Pa r k , C A 9 4 0 2 5
        nature of the debtor's interest
         State the term remaining                         04/17/2024 - 04/16/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Se r e n e Ho u s e Us a , 1 8 1 4 Ma r l t o n Pi k e Ea s t , Su i t e 3 5 0 , Ch e r r y
2.10430 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Hi l l , N J 0 8 8 0 3
        nature of the debtor's interest
         State the term remaining                         06/11/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10432 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10433 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10435 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10436 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s Pe t Ca r e Pr o d , 1 0 0 7 7 S 1 3 4 Th St , Om a h a , N E 6 8 1 3 8
2.10438 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r g e a n t s v i l l e Gr a i n & Fe e d , 7 3 5 Ro u t e 5 2 3 , Se r g e a n t s v i l l e , N J
2.10439 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 6 6 )
                                                                                                                                                                 08557-9998
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r v - A- Li t e Pr o d In c , 3 4 5 1 Mo r t o n Dr i v e , Ea s t Mo l i n e , I L
2.10440 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          61244

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Se r v a a s La b s In c , De p t 7 8 7 5 8 , Po Bo x 7 8 0 0 0 , De t r o i t , M I
2.10441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          48278

         State the term remaining                         03/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Se r v a a s La b s In c , De p t 7 8 7 5 8 , Po Bo x 7 8 0 0 0 , De t r o i t , M I
2.10442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 48278
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r v a a s La b s In c , De p t 7 8 7 5 8 , Po Bo x 7 8 0 0 0 , De t r o i t , M I
2.10443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 48278
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Se r v i c e Ha r d w a r e , 2 3 2 - 2 3 4 La k e s h o r e Dr i v e Ea s t , Du n k i r k , N Y
2.10444 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 7 )
                                                                                                                                                                 14048-1321
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r v i c e In d u s t r i a l Su p p l y, 1 8 4 E In e z Rd , Do t h a n , A L 3 6 3 0 1 -
2.10445 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 1 7 )
                                                                                                                                                                 5756
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Se r v i c e Pa r t n e r s L L C, 1 0 2 9 Te c h n o l o g y Pa r k Dr , Gl e n Al l e n ,
2.10446 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 VA 2 3 0 5 9
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Se r v i c e To o l Co In c , 2 5 0 1 So u t h Le w i s St , Po Bo x 1 2 2 4 0 , Ne w
2.10447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ib e r i a , L A 7 0 5 6 2
        nature of the debtor's interest
         State the term remaining                         10/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Se s t e r Fa r m s In c . , 3 3 2 0 5 Se Ox b o w Dr , Gr e s h a m , O R 9 7 0 8 0
2.10448 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Se y m o u r Mi d w e s t L L C, Po Bo x 1 6 7 4 , Wa r s a w, I N 4 6 5 8 1
2.10449 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sh a d l o o In d u s t r i a l Co Lt d , Rm 1 2 0 1 Ha r b o u r Ce n t r e To w e r 1 ,
2.10450 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 No 1 Ho k Ch e u n g St , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a d l o o In d u s t r i a l Co Lt d , Rm 1 2 0 1 Ha r b o u r Ce n t r e To w e r 1 ,
2.10451 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 No 1 Ho k Ch e u n g St , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh a f t e r Tr u e Va l u e , 1 1 3 Ce n t r a l Va l l e y Hw y, Sh a f t e r , C A
2.10452 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 1 3 )
                                                                                                                                                                 93263-2418
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a g b a r k Tr u e Va l u e , M T Pa r n a s s u s Rd & Rt 8 2 , Ea s t Ha d d a m ,
2.10453 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 2 2 )
                                                                                                                                                                 CT 06423-0451
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a k e - Aw a y, 2 3 3 0 Wh i t n e y Av e , Ha m d e n , C T 0 6 5 1 8
2.10454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sh a m r o c k Nu r s e r y, 4 9 3 6 8 Hi g h w a y 2 0 , On e i l l , N E 6 8 7 6 3
2.10455 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a m r o c k Su p p l y Co m p a n y, In c . , Sh a m r o c k Su p p l y Co m p a n y
2.10456 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 0 7 )
        nature of the debtor's interest                                                                                                                          In c . , 1 1 2 4 E 1 7 t h St r , Sa n t a An a , C A 9 2 7 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Da i s y L L C, 9 2 3 Ho m e s t e a d Dr , Yo r k v i l l e , I L 6 0 5 6 0
2.10457 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Da i s y L L C, 9 2 3 Ho m e s t e a d Dr , Yo r k v i l l e , I L 6 0 5 6 0
2.10458 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i In h e r t z In t l Tr d Co Lt d , Ro o m 1 0 0 8 , Bu i l d i n g 1 , No
2.10459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 2 0 0 Sa n m e n Ro a d , Ya n g p u 2 0 0 4 3 3 , Ch i n a
        nature of the debtor's interest
         State the term remaining                         02/27/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh a n g h a i St a r c r a f t To o l s Co , No 8 8 0 Xi n g w e n Rd , Ji a d i n g
2.10460 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Di s t r i c t , Sh a n g h a i , 2 0 1 8 0 7 , Ch i n a
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Wo r t h Ga r d e n Pr o d , No 5 0 0 0 Yu a n j i a n g Rd ,
2.10461 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sh a n g h a i , 2 0 1 8 0 7 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Wo r t h Ga r d e n Pr o d , No 5 0 0 0 Yu a n j i a n g Rd ,
2.10462 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mi n g h a n g , 2 0 1 1 0 8 , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Wo r t h Ga r d e n Pr o d , No 5 0 0 0 Yu a n j i a n g Rd ,
2.10463 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mi n g h a n g , 2 0 1 1 0 8 , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Wo r t h Ga r d e n Pr o d , No 5 0 0 0 Yu a n j i a n g Rd ,
2.10464 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mi n g h a n g , 2 0 1 1 0 8 , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a n g h a i Wo r t h Ga r d e n Pr o d , No 5 0 0 0 Yu a n j i a n g Rd ,
2.10465 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Mi n g h a n g , 2 0 1 1 0 8 , Ch i n a
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a p p e l l La k e r Co , 1 2 2 5 Us 5 4 , Ca m d e n t o n , M O 6 5 0 2 0
2.10466 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sh a r k Co r p o r a t i o n , 2 4 4 2 4 S Ma i n St , # 6 0 3 , Ca r s o n , C A 9 0 7 4 5
2.10467 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sh a r k Pr e s s u r e Wa s h e r s , 4 2 7 5 Nw Pa c i f i c Ri m Bl v d , Ca m a s ,
2.10468 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     WA 9 8 6 0 7
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Sh a r k a n Su p p l y Co m p a n y, 1 8 2 5 We a v e r s v i l l e Rd , Al l e n t o w n ,
2.10469 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 7 7 )
                                                                                                                                                     PA 1 8 1 0 9 - 9 4 2 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sh a r k b i t e / Ca s h Ac m e , 2 7 2 7 Pa c e s Fe r r y Rd Se , Bu i l d i n g Tw o ,
2.10470 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Su i t e 1 8 0 0 , At l a n t a , G A 3 0 3 3 9
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                     Sh a r k b i t e / Ca s h Ac m e , 2 7 2 7 Pa c e s Fe r r y Rd Se , Bu i l d i n g Tw o ,
2.10471 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Su i t e 1 8 0 0 , At l a n t a , G A 3 0 3 3 9

         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                     Sh a r p El e c - Ca l c u l a t o r s , Sh a r p Pl a z a , Ma h w a h , N J 0 7 4 3 0
2.10472 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Sh a r p El e c - Mi c r o w a v e s , Sh a r p El e c / Ai r Co n d , 2 3 5 0 Ea s t
2.10473 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     De v o n Av e n u e , Su i t e 2 3 8 , De s Pl a i n e s , I L 6 0 0 1 8
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Sh a r p a l In c , 7 8 0 Fr a n c i s St , Su i t e T, On t a r i o , C A 9 1 7 6 1
2.10474 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Sh a w Tr u e Va l u e Ha r d w a r e , 2 0 2 N Ma i n St , Ma r i s s a , I L 6 2 2 5 7 -
2.10475 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 1 0 7 )
                                                                                                                                                     1344
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh a w n e e Ha r d w a r e , 3 7 0 0 Di x i e Hi g h w a y, Li m a , O H 4 5 8 0 6
2.10476 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 1 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a w s h a n k Le d z , 3 3 0 E Ge r m a n Rd , # 1 1 9 , Gi l b e r t , A Z 8 5 2 9 7
2.10477 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sh a w s h a n k Le d z , 3 3 0 E Ge r m a n Rd , # 1 1 9 , Gi l b e r t , A Z 8 5 2 9 7
2.10478 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh a w s h a n k Le d z , 3 3 0 E Ge r m a n Rd , # 1 1 9 , Gi l b e r t , A Z 8 5 2 9 7
2.10479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e a Ha r d w a r e , Sh e a Tr u e Va l u e Ha r d w a r e , 1 1 5 S Gr e e n Av e ,
2.10480 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 8 3 )
                                                                                                                                                                 Pr i m g h a r , I A 5 1 2 4 5 - 7 7 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e a f f e r Su p p l y, 2 9 2 Rt 4 6 E, Do v e r , N J 0 7 8 0 1 - 3 6 4 1
2.10481 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 7 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e f f i e l d Br o n z e Co r p , 1 7 8 1 4 Wa t e r l o o Rd , Cl e v e l a n d , O H
2.10482 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44119
        nature of the debtor's interest
         State the term remaining                         03/15/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Sh e f f i e l d Br o n z e Co r p , 1 7 8 1 4 Wa t e r l o o Rd , Cl e v e l a n d , O H
2.10483 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44119
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Sh e l b u r n e Fa r m & Ga r d e n , 3 5 5 Mo h a w k Tr a i l , Sh e l b u r n e Fa l l s ,
2.10484 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 4 )
                                                                                                                                                      MA 01370
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l b y v i l l e Lu m b e r Co . , 9 1 7 N Ma i n St , Sh e l b y v i l l e , T N
2.10485 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 5 3 )
                                                                                                                                                      37160-2831
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l b y v i l l e Pa i n t , 2 3 5 E. Br o a d w a y, Sh e l b y v i l l e , I N 4 6 1 7 6
2.10486 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l i g a Dr u g Tr u e Va l u e , 6 0 2 5 Sa i n t Cl a i r Av e , Cl e v e l a n d , O H
2.10487 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 )
                                                                                                                                                      44103-1449
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l l Kn o b Tr u e Va l u e & Re n t a l , Sh e l l Kn o b Tr u e Va l u e
2.10488 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 6 )
                                                                                                                                                      Re n t a l , 2 4 3 0 8 St a t e Hi g h w a y 3 9 , Sh e l l Kn o b , M O 6 5 7 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l l Lu m b e r & Ha r d w a r e , 2 7 3 3 Sw 2 7 t h Av e n u e , Mi a m i , F L
2.10489 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 9 8 )
                                                                                                                                                      33133-3049
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l l y ' s Tr u e Va l u e Ha r d w a r e , Sh e l l y ` s Tr u e Va l u e Ha r d w a r e ,
2.10490 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 1 1 )
                                                                                                                                                      4 4 0 Gr e e n b r a e Dr i v e , Sp a r k s , N V 8 9 4 3 1 - 3 1 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Sh e l t e r l o g i c Co r p , 1 5 0 Ca l l e n d e r Rd , Wa t e r t o w n , C T 0 6 7 9 5
2.10491 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh e l t e r l o g i c Co r p , 1 5 0 Ca l l e n d e r Rd , Wa t e r t o w n , C T 0 6 7 9 5
2.10492 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/14/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sh e l t e r l o g i c Co r p , 1 5 0 Ca l l e n d e r Rd , Wa t e r t o w n , C T 0 6 7 9 5
2.10493 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e l t e r l o g i c Co r p , 1 5 0 Ca l l e n d e r Rd , Wa t e r t o w n , C T 0 6 7 9 5
2.10494 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e l t e r l o g i c Co r p , 1 5 0 Ca l l e n d e r Rd , Wa t e r t o w n , C T 0 6 7 9 5
2.10495 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e p h e r d Hd w e . Pr o d . , L L C. , 6 9 6 1 Us Hw y 1 2 We s t , Th r e e
2.10496 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Oa k s , M I 4 9 1 2 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e p h e r d Hd w e . Pr o d . , L L C. , 6 9 6 1 Us Hw y 1 2 We s t , Th r e e
2.10497 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Oa k s , M I 4 9 1 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e p h e r d Hd w e . Pr o d . , L L C. , 6 9 6 1 Us Hw y 1 2 We s t , Th r e e
2.10498 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Oa k s , M I 4 9 1 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e p h e r d Hd w e . Pr o d . , L L C. , 6 9 6 1 Us Hw y 1 2 We s t , Th r e e
2.10499 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Oa k s , M I 4 9 1 2 8

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh e p h e r d Hd w e . Pr o d . , L L C. , 6 9 6 1 Us Hw y 1 2 We s t , Th r e e
2.10500 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Oa k s , M I 4 9 1 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e r i d a n Co m m e r c i a l Tr u e Va l u e Hd w e . , Sh e r i d a n Co m m e r c i a l
2.10501 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 8 0 )
        nature of the debtor's interest                                                                                                                          Tr u e Va l u e , 3 0 3 Br o a d w a y St , Sh e r i d a n , W Y 8 2 8 0 1 - 3 9 1 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e r i d a n Nu r s e r i e s Li m i t e d , 1 2 3 0 2 1 0 Th Li n e R R # 4 ,
2.10502 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi n g h a n g , 2 0 1 1 0 8 , Ch i n a
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sh e r w o o d Lu m b e r Co r p , 3 0 0 Co r p o r a t e Pl a z a , Is l a n d i a , N Y
2.10503 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11749
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sh e r w o o d Lu m b e r Co r p o r a t i o n , 2 2 5 Br o a d h o l l o w Ro a d , Su i t e
2.10504 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 9 )
                                                                                                                                                                 3 1 0 w, Me l v i l l e , N Y 1 1 7 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh e r w o o d ' s Fo r e s t H& g s , 2 6 5 1 Ba r r e t t St a t i o n Rd , Ma n c h e s t e r ,
2.10505 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 1 6 3 )
                                                                                                                                                                 MO 63021-5811
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh i j i a z h u a n g Ch a n g l u n In t , 1 2 1 6 Zh o n g y u a n Bu i l d i n g , 3 6 8 N
2.10506 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Yo u y i St , Sh i j i a z h u a n g , Ch i n a
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sh i j i a z h u a n g Ch a n g l u n In t , 1 2 1 6 Zh o n g y u a n Bu i l d i n g , 3 6 8 N
2.10507 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Yo u y i St , Sh i j i a z h u a n g , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh i j i a z h u a n g Ch a n g l u n In t , 1 2 1 6 Zh o n g y u a n Bu i l d i n g , 3 6 8 N
2.10508 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Yo u y i St , Sh i j i a z h u a n g , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh i n n Fu Co m p a n y o f Am e r i c a , 1 0 9 3 9 N Po m o n a Av e , Ka n s a s
2.10509 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ci t y, M O 6 4 1 5 3

         State the term remaining                         06/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Sh i p A Tr e e , 2 2 2 0 Ev i n s Mi l l Rd , Sm i t h v i l l e , T N 3 7 1 6 6
2.10510 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sh i r e y St o r e , Sh i r e y Tr u e Va l u e St o r e , 6 1 7 Ma i n St r e e t ,
2.10511 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 6 2 )
                                                                                                                                                                 Cl a r i o n , PA 1 6 2 1 4 - 1 1 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh i r l e y Tr u e Va l u e Ha r d w a r e , 4 7 2 Sh i r l e y St , Wi n t h r o p , M A
2.10512 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 3 5 )
                                                                                                                                                                 02152-1248
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh i r l e y s Tr u e Va l u e Hd w. , Sh i r l e y s Tr u e Va l u e Hd w, 3 7 4 St a t e
2.10513 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 6 1 )
                                                                                                                                                                 Rd , Vi n e y a r d Ha v e n , M A 0 2 5 6 8 - 5 6 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh i v e l y Tr u e Va l u e Hd w e , 1 1 9 E Br i d g e St , Sa r a t o g a , W Y
2.10514 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 3 1 )
                                                                                                                                                                 82331-9990
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh l a Gr o u p In c , 2 5 8 0 W 2 3 7 Th St , To r r a n c e , C A 9 0 5 0 5
2.10515 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Sh o a l Cr e e k Ho m e & Ga r d e n Sh o w p l a c e , Sh o a l Cr e e k Ho m e &
2.10516 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 7 0 )
        nature of the debtor's interest                                                                                                                            Ga r d e n Sh o w, 2 7 1 0 Ha n c o c k Dr i v e , Au s t i n , T X 7 8 7 3 1 - 5 0 0 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o e Ci t y Ha r d w a r e , 1 3 3 Wi n t e r St r e e t , Ha v e r h i l l , M A 0 1 8 3 0 -
2.10517 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 6 4 )
                                                                                                                                                                   1234
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o e m a k e r Lu m b e r , 1 2 0 0 We s t Av e , Oc e a n Ci t y, N J 0 8 2 2 6
2.10518 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o p - r i t e Ha r d w a r e & Pa i n t Su p p l y, Sh o p - r i t e Ha r d w a r e &
2.10519 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 6 5 )
                                                                                                                                                                   Pa i n t Su p , 5 7 4 Si l a s De a n Hi g h w a y, We t h e r s f i e l d , C T 0 6 1 0 9 -
        nature of the debtor's interest
                                                                                                                                                                   1831
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o p - r i t e Hd w e Tr u e Va l u e , 1 0 4 1 2 Li b e r t y Av e , Oz o n e Pa r k ,
2.10520 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 4 8 )
                                                                                                                                                                   NY 11417-1731
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o p i f y In c . , Sh o p i f y In c , 1 5 0 El g i n St r e e t , Su i t e 8 0 0 , Ot t a w a ,
2.10521 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Sh o p i f y Ma s t e r Ag r e e m e n t f o r Ca r y Pa i n t
                                                                                                                                                                   O N K2 P 1 L4 , Ca n a d a
        nature of the debtor's interest                   St o r e

         State the term remaining                         07/28/2020

         List the contract number of any government
         contract
                                                                                                                                                                   Sh o p p e r s Tr u e Va l u e , 5 0 Ma r k e t St 1 5 , So u t h Po r t l a n d , M E
2.10522 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 8 8 )
        nature of the debtor's interest                                                                                                                            04106-3697

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Sh o p r i t e - Wa r e h o u s e , 3 5 5 Da v i d s o n ' s Mi l l Ro a d , Ja m e s b u r g ,
2.10523 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 6 9 )
        nature of the debtor's interest                                                                                                                            NJ 08831

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh o p r i t e Tr u e Va l u e , 1 Wi e b e l Pl a z a , Su s s e x , N J 0 7 4 6 1
2.10524 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh o r e Tr u e Va l u e Ha r d w a r e , 5 1 5 Ne w Rd , So m e r s Po i n t , N J
2.10525 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 3 9 )
                                                                                                                                                                 08244-2038
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh o r e w o o d Tr u e Va l u e , 2 3 5 4 0 Hw y 7 , Ex c e l s i o r , M N 5 5 3 3 1 -
2.10526 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 3 2 )
                                                                                                                                                                 2902
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh o u p ' s Ha r d w a r e , Sh o u p ` s Ha r d w a r e , 1 1 6 Ch e r r y St r e e t ,
2.10527 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 7 9 )
                                                                                                                                                                 Ma r i e n v i l l e , PA 1 6 2 3 9 - 0 4 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh r e d n e c k L L C, 7 6 3 Ho l d e n Av e , Se b a s t i a n , F L 3 2 9 5 8
2.10528 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.10529 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.10530 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.10531 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh u r - Li n e , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.10532 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.10533 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e - Im p o r t , 4 0 5 1 S Io w a Av e n u e , St Fr a n c i s , W I 5 3 2 3 5
2.10534 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e - Im p o r t , 4 0 5 1 S Io w a Av e n u e , St Fr a n c i s , W I 5 3 2 3 5
2.10535 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r - Li n e - Im p o r t , 4 0 5 1 S Io w a Av e n u e , St Fr a n c i s , W I 5 3 2 3 5
2.10536 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10537 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44011

         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10538 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44011

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10539 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44011
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10540 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44011
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10541 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 44011
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sh u r t e c h Br a n d s L L C, 3 2 1 5 0 Ju s t Im a g i n e Dr i v e , Av o n , O H
2.10542 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 44011
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Si a m o n s In t ' l In c , 4 8 Ga l a x y Bl v d , Un i t 4 1 3 , To r o n t o , O N M9 W
2.10543 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 6 C8 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Si a m o n s In t ' l In c , 4 8 Ga l a x y Bl v d , Un i t 4 1 3 , To r o n t o , O N M9 W
2.10544 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 6 C8 , Ca n a d a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si a m o n s In t ' l In c , 4 8 Ga l a x y Bl v d , Un i t 4 1 3 , To r o n t o , O N M9 W
2.10545 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 6 C8 , Ca n a d a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si e m e n s In d u s t r y In c , 5 4 0 0 Tr i a n g l e Pa r k w a y, No r c r o s s , G A
2.10546 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30092
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Si e n n a L L C, 5 4 0 Nw Un i v e r s i t y Bl v d , Su i t e 2 1 0 , Po r t St .
2.10547 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Lu c i e , F L 3 4 9 8 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si e n n a L L C, 5 4 0 Nw Un i v e r s i t y Bl v d , Su i t e 2 1 0 , Po r t St .
2.10548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Lu c i e , F L 3 4 9 8 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si e n n a L L C, 5 4 0 Nw Un i v e r s i t y Bl v d , Su i t e 2 1 0 , Po r t St .
2.10549 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Lu c i e , F L 3 4 9 8 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si e r r a It s , 8 6 0 0 W. Br y n Ma w r Av e , Su i t e 5 4 0 N, Ch i c a g o , I L
2.10550 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Si e r r a I T S M S A
                                                                                                                                                                 60631
        nature of the debtor's interest
         State the term remaining                         04/20/2021 - 04/19/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Si e r r a Na t u r a l Sc i e n c e , 1 0 3 1 In d u s t r i a l St , Un i t C, Sa l i n a s , C A
2.10551 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 93901
        nature of the debtor's interest
         State the term remaining                         03/06/2023 - 12/31/9999

         List the contract number of any government
         contract
                                                                                                                                                                 Si e r r a Se l e c t Di s t r i b u t o r s In c , 4 3 2 0 Ro s e v i l l e Rd , No r t h
2.10552 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hi g h l a n d s , C A 9 5 6 6 0

         State the term remaining                         01/24/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Si f f r o n , 8 1 8 1 Da r r o w Rd , Tw i n s b u r g , O H 4 4 0 8 7
2.10553 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Si g n a l o n e Sa f e t y In c , 7 0 2 0 S. Tu c s o n Wa y, Ce n t e n n i a l , C O
2.10554 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80112
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Si g n a t u r e Pr o d u c t s Gr o u p , 1 4 9 0 N 2 2 0 0 W, Sa l t La k e Ci t y, U T
2.10555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 84116
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si g u r a , 5 6 6 0 Ne w No r t h s i d e Dr i v e , Nw Su i t e 1 1 0 0 , AT L A N T A,
2.10556 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 GA 30328
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Si k a Co r p o r a t i o n , 2 0 1 Po l i t o Av e , Ly n d h u r s t , N J 0 7 0 7 1
2.10557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si k a Co r p o r a t i o n , 2 0 1 Po l i t o Av e , Ly n d h u r s t , N J 0 7 0 7 1
2.10558 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si k a Co r p o r a t i o n , 2 0 1 Po l i t o Av e , Ly n d h u r s t , N J 0 7 0 7 1
2.10559 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/05/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Si k a Co r p o r a t i o n , 2 0 1 Po l i t o Av e , Ly n d h u r s t , N J 0 7 0 7 1
2.10560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r Ba y So f t w a r e L L C, 1 0 0 Ad a m s St r e e t , Du n s t a b l e , M A
2.10561 State what the contract or lease is for and the
                                                          So f t w a r e , Si l v e r Ba y An n u a l P D F 4 1 7 Us e & Su p p o r t Li c e n s e
                                                          Re n e w a l 2 0 2 4                                                                                   01827
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r Bu f f a l o L L C, 1 4 1 W 3 6 Th St , 1 1 Th Fl o o r , Ne w Yo r k ,
2.10562 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NY 10018
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r Li n e Bl d g Pr o d u c t s , Si l v e r On e In t e r n a t i o n a l In c , 1 3 7 0
2.10563 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Br o a d w a y, 6 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 1 8
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si l v e r On e In t ' l In c , Si l v e r On e In t e r n a t i o n a l In c , 1 3 7 0
2.10564 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Br o a d w a y, 6 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 1 8
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r On e In t ' l In c , Si l v e r On e In t e r n a t i o n a l In c , 1 3 7 0
2.10565 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Br o a d w a y, 6 Th Fl o o r , Ne w Yo r k , N Y 1 0 0 1 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r Po i n t Te c h n o l o g i e s , 1 0 1 Cr a w f o r d s Co r n e r Rd , Su i t e
2.10566 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 1 1 8 , Ho l m d e l , N J 0 7 7 3 3
        nature of the debtor's interest
         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r t o n Ha r d w a r e , 7 1 4 4 Mo n t g o m e r y Ro a d , Ci n c i n n a t i , O H
2.10567 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 9 )
        nature of the debtor's interest                                                                                                                          45236

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si l v e r t o n Ha r d w a r e , 7 4 0 Gr e e n e St , Si l v e r t o n , C O 8 1 4 3 3 - 0 0 0 1
2.10568 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si m m o n s Mf g Co , 1 6 0 8 Hi g h w a y 2 0 Ea s t , Mc Do n o u g h , G A
2.10569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30252
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p l a y 3 Co m p a n y, Th e , 9 4 5 0 Ro s e m o n t Dr i v e , St r e e t s b o r o ,
2.10570 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44241
        nature of the debtor's interest
         State the term remaining                         07/05/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p l e Li v i n g So l u t i o n s L L C, 7 5 0 0 E. Mc d o n a l d Dr i v e , Su i t e
2.10571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 1 0 0 A, Sc o t t s d a l e , A Z 8 5 2 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si m p l e Li v i n g So l u t i o n s L L C, 7 5 0 0 E. Mc d o n a l d Dr i v e , Su i t e
2.10572 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 0 0 A, Sc o t t s d a l e , A Z 8 5 2 5 0
        nature of the debtor's interest
         State the term remaining                         11/15/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p l e a i r Ca r e L L C, 3 0 3 9 Pr e m i e r e Pk w y, Su i t e 6 0 0 , Du l u t h ,
2.10573 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 GA 30096
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si m p l y Ho m e & Ra n c h Su p p l y, 2 7 0 6 S St o c k t o n , Mo n a h a n s , T X
2.10574 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 1 8 )
                                                                                                                                                                 79756-1169
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si m p l y So o t h i n g , 6 0 0 0 Hu n t i n g t o n Ct . Ne , Ce d a r Ra p i d s , I A
2.10575 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          52402

         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p s o n St r o n g Ti e , 5 9 5 6 W La s Po s i t i a s , Pl e a s a n t o n , C A
2.10576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 94588
        nature of the debtor's interest
         State the term remaining                         01/01/2022 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p s o n St r o n g Ti e , 5 9 5 6 W La s Po s i t i a s , Pl e a s a n t o n , C A
2.10577 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 94588
        nature of the debtor's interest
         State the term remaining                         01/01/2022 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p s o n St r o n g Ti e , 5 9 5 6 W La s Po s i t i a s , Pl e a s a n t o n , C A
2.10578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 94588
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Si m p s o n St r o n g Ti e , 5 9 5 6 W La s Po s i t i a s , Pl e a s a n t o n , C A
2.10579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 94588
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si n c l a i r ' s Ha r d w a r e , 2 2 1 Ce n t e r , Du s h o r e , PA 1 8 6 1 4
2.10580 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 0 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si n g u l a r Sp a Ll c , Av e n i d a Vi t a c u r a 2 9 0 9 , Sa n t i a g o , Ch i l e
2.10581 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si n o m a r t In t ' l , Un i t 8 B, 1 3 F, Ha r b o u r Ce n t r e , 1 Ho k Ch e u n g
2.10582 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St , Ko w l o o n , Ho n g Ko n g

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si n o m a r t In t ' l , Un i t 8 B, 1 3 F, Ha r b o u r Ce n t r e , 1 Ho k Ch e u n g
2.10583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 St , Ko w l o o n , Ho n g Ko n g

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si n o m a r t In t ' l , Un i t 8 B, 1 3 F, Ha r b o u r Ce n t r e , 1 Ho k Ch e u n g
2.10584 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 St , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si n t o n ' s Tr u e Va l u e , 1 0 5 W Si n t o n St r e e t , Si n t o n , T X 7 8 3 8 7
2.10585 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si o u x Ch i e f Mf g Co . , 2 4 1 1 0 S Pe c u l i a r Dr , Po Bo x 3 9 7 ,
2.10586 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe c u l i a r , M O 6 4 0 7 8
        nature of the debtor's interest
         State the term remaining                         04/24/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Si o u x Ch i e f Mf g Co . , 2 4 1 1 0 S Pe c u l i a r Dr , Po Bo x 3 9 7 ,
2.10587 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe c u l i a r , M O 6 4 0 7 8
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Si o u x Ch i e f Mf g Co . , 2 4 1 1 0 S Pe c u l i a r Dr , Po Bo x 3 9 7 ,
2.10588 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pe c u l i a r , M O 6 4 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si s c o Tr u e Va l u e Ha r d w a r e , 1 1 1 6 S Ma i n St , Gr o v e , O K 7 4 3 4 4 -
2.10589 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 3 )
                                                                                                                                                                 2800
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Si s t e r Ch i c , 9 0 5 3 Fr a z i e r St , De l Ri o , T X 7 8 8 4 0
2.10590 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 Si t e o n e La n d s c a p e Su p p l y L L C, 3 0 0 Co l o n i a l Ce n t e r Pa r k w a y,
2.10591 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro s w e l l , G A 3 0 0 7 6

         State the term remaining                         08/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Si t k a Tr u e Va l u e Hd w e , 8 1 5 Ha l i b u t Po i n t Rd , Si t k a , A K
2.10592 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 5 0 )
                                                                                                                                                                 99835-7102
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sk a n a Fo r e s t Pr o d u c t s Lt d , 2 0 8 0 0 We s t m i n s t e r Hw y, 1 3 0 3 ,
2.10593 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ri c h m o n d , B C V6 V 2 W3 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         06/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Sk e l l In c , 2 4 0 1 Li n c o l n Bl v d , Su i t e C, Sa n t a Mo n i c a , C A
2.10594 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 90405
        nature of the debtor's interest
         State the term remaining                         03/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sk i l l i n Gr e e n h o u s e s H & Gs , 2 0 1 Gr a y Ro a d , Cu m b e r l a n d , M E
2.10595 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 3 0 )
                                                                                                                                                                 04021-9999
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sk y b e r g ' s Lu m b e r & Ha r d w a r e , Sk y b e r g ` s Lu m b e r & Ha r d w a r e ,
2.10596 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 1 2 )
                                                                                                                                                     1 2 1 Ne Ma i n St . , Wi l l a m i n a , O R 9 7 3 9 6 - 0 6 8 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sk y b r y t e Co m p a n y, 3 1 2 5 Pe r k i n s Av e , Cl e v e l a n d , O H 4 4 1 1 4
2.10597 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Sk y j a c k In c , 5 5 Ca m p b e l l Ro a d , Gu e l p h , O N N1 H 1 B9 , Ca n a d a
2.10598 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                     Sk y l i n e Bu i l d e r s Su p p l y, 5 3 8 W 1 0 0 So u t h , Ep h r a i m , U T
2.10599 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 1 1 )
                                                                                                                                                     84627-1819
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sl a v e n s Tr u e Va l u e Hd w e , 2 3 7 W Ma i n St , Co r t e z , C O 8 1 3 2 1 -
2.10600 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 1 2 )
                                                                                                                                                     3135
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sl i p p e r y Ro c k Ha r d w a r e , 2 3 9 Gr o v e Ci t y Ro a d , Sl i p p e r y Ro c k ,
2.10601 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 1 )
                                                                                                                                                     PA 1 6 0 5 7 - 8 5 2 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sl i p s t i c k Us a , P. O. Bo x 1 7 , Sa n d o w n Vi l l a g e , V I C 3 1 7 1 ,
2.10602 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Au s t r a l i a
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Sl i v e n s k y Ha r d w a r e , 1 0 7 Su p e r i o r Av e , Cr y s t a l Fa l l s , M I
2.10603 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 0 5 )
                                                                                                                                                     49920-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sm Pr o d u c t s L L C, 1 6 0 2 Ja s p e r St r e e t , No r t h Ka n s a s Ci t y, M O
2.10604 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 64116
        nature of the debtor's interest
         State the term remaining                         04/01/2024 - 04/15/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Sm Pr o d u c t s L L C, 1 6 0 2 Ja s p e r St r e e t , No r t h Ka n s a s Ci t y, M O
2.10605 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          64116

         State the term remaining                         04/01/2024 - 03/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Sm a c k c o d e r s , In c . , A1 6 , N Ma i n Rd , Ng o A Co l o n y,
2.10606 State what the contract or lease is for and the
                                                          So f t w a r e , Sm a c k c o d e r s - W P Ul t i m a t e C S V Im p o r t e r Pr o
        nature of the debtor's interest                                                                                                                          Ti r u n e l v e l i , Ta m i Na d u , 6 2 7 0 0 7

         State the term remaining                         02/09/2024 - 02/08/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sm a l l ' s Ha r d w a r e , Sm a l l ` s Ha r d w a r e , 3 5 3 5 Ha r r i s o n Av e ,
2.10607 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 0 )
                                                                                                                                                                 Ci n c i n n a t i , O H 4 5 2 1 1 - 5 5 7 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm a r t Re a l Es t a t e N. v. , Sc h o t t e g a t w e g We s t Z/ n , N/ a ,
2.10608 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 8 2 )
                                                                                                                                                                 Wi l l e m s t a d , Cu r a ç a o
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm a r t So l a r In c , 4 0 6 Wi n g a t e Ci r c l e , Ol d s m a r , F L 3 4 6 7 7
2.10609 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm a r t So l a r In c , 4 0 6 Wi n g a t e Ci r c l e , Ol d s m a r , F L 3 4 6 7 7
2.10610 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm a r t So l a r In c , 4 0 6 Wi n g a t e Ci r c l e , Ol d s m a r , F L 3 4 6 7 7
2.10611 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Sm a r t s h e e t , 5 0 0 1 0 8 Th Av e Ne , # 2 0 0 , Be l l e v u e , WA 9 8 0 0 4
2.10612 State what the contract or lease is for and the
                                                          So f t w a r e , Sm a r t s h e e t En t e r p r i s e So f t w a r e a n d Su p p o r t 2 0 2 4
        nature of the debtor's interest
         State the term remaining                         07/17/2024 - 07/16/2025

         List the contract number of any government
         contract
                                                                                                                                                               Sm a r t w o r k s Co n s u m e r Pr o d u c t s , 8 0 0 - B Ap g a r Dr i v e , So m e r s e t ,
2.10613 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                        NJ 08873

         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                               Sm e l t z e r & So n s , In c . , Sm e l t z e r & So n s In c . , 1 1 3 9 Ro u t e 9
2.10614 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 9 4 )
                                                                                                                                                               So u t h , Ca p e Ma y Co u r t Ho u s , N J 0 8 2 1 0 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Sm g Se c u r i t y Ho l d i n g s , 3 0 6 S. Di v i s i o n St r e e t , Ha r v a r d , I L
2.10615 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , S M G Al a r m Se r v i c e s
                                                          Ag r e e m e n t 2 0 2 2                                                                             60033
        nature of the debtor's interest
         State the term remaining                         07/07/2022 - 07/06/2025

         List the contract number of any government
         contract
                                                                                                                                                               Sm g Se c u r i t y Ho l d i n g s , 3 0 6 S. Di v i s i o n St r e e t , Ha r v a r d , I L
2.10616 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , S M G Al a r m Se r v i c e s
                                                          Ag r e e m e n t Ha r v a r d 2 0 2 3                                                                60033
        nature of the debtor's interest
         State the term remaining                         03/20/2023 - 03/19/2026

         List the contract number of any government
         contract
                                                                                                                                                               Sm i l e Co r p o r a t i o n , 2 0 Ru e De s Ja r d i n s , As n i e r e s Su r e Se i n e ,
2.10617 State what the contract or lease is for and the   Ma r k e t i n g Se r v i c e s , S M I L E - Ma s t e r Ag r e e m e n t a n d Co n d i t i o n s
                                                                                                                                                               9 2 6 0 0 , Fr a n c e
        nature of the debtor's interest                   2020

         State the term remaining                         05/05/2020 - 05/04/2025

         List the contract number of any government
         contract
                                                                                                                                                               Sm i t h Ga r d e n Ce n t e r In c , 1 1 1 0 E Ca l h o u n St , Ma c o m b , I L
2.10618 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                               61455
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                               Sm i t h Ga r d e n s In c , 4 1 6 4 Me r i d i a n St , Su i t e 4 0 0 , Be l l i n g h a m ,
2.10619 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                        WA 9 8 2 2 6

         State the term remaining                         04/04/2012

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sm i t h Ha r d w a r e In c , 1 4 3 Ma i n St , Be l l v i l l e , O H 4 4 8 1 3 - 1 0 2 0
2.10620 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 3 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h Lu m b e r & Su p p l y, 2 3 4 2 St a t e Rt e 3 7 , Fo r t Co v i n g t o n ,
2.10621 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 4 1 9 )
        nature of the debtor's interest                                                                                                              NY 12937-2925

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h - Co o p e r In t ' l , Sm i t h - Co o p e r In t e r n a t i o n a l , 2 8 6 7 S Va i l
2.10622 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Av e , Co m m e r c e , C A 9 0 0 4 0
        nature of the debtor's interest
         State the term remaining                         01/01/2009

         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h ' s Tr u e Va l u e , Sm i t h ` s Tr u e Va l u e , 1 6 6 4 8 Hw y 4 3 1 S,
2.10623 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 9 )
                                                                                                                                                     He a d l a n d , A L 3 6 3 4 5 - 7 9 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h ' s Tr u e Va l u e Of As h f o r d , Sm i t h ` s Tr u e Va l u e Of As h f o r d ,
2.10624 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 1 4 )
                                                                                                                                                     2 0 As h f o r d In d u s t r i a l Dr i v e , As h f o r d , A L 3 6 3 1 2 - 3 0 0 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h ' s Tv Hd w e & Ev e r y t h i n g Re n t a l Ct r , Ha r r y Sm i t h s
2.10625 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 9 0 )
                                                                                                                                                     Ha r d w a r e , 3 0 0 E La u r e l Av e , Eu n i c e , L A 7 0 5 3 5 - 3 4 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h f i e l d Tr u e Va l u e Ha r d w a r e , 1 4 0 9 S Ch u r c h St , Sm i t h f i e l d ,
2.10626 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 9 5 1 )
        nature of the debtor's interest                                                                                                              VA 2 3 4 3 0 - 1 8 2 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h f i e l d Tr u e Va l u e Hd w, 9 9 N Ma i n St , Sm i t h f i e l d , U T
2.10627 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 5 0 )
        nature of the debtor's interest                                                                                                              84335-1957

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - n o r t h Ha v e n , 6 6 St a t e St r e e t ,
2.10628 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 5 )
        nature of the debtor's interest                                                                                                              No r t h Ha v e n , C T 0 6 4 7 3 - 2 2 0 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - Be t h e l , 7 4 So u t h St r e e t ,
2.10629 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 8 )
                                                                                                                                                     Be t h e l , C T 0 6 8 0 1 - 2 4 0 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - Ma n c h e s t e r , 3 3 Ad a m s St r e e t ,
2.10630 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 7 )
                                                                                                                                                     Ma n c h e s t e r , C T 0 6 0 4 2 - 1 8 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - Mi d d l e f i e l d , 1 4 7 Me r i d e n
2.10631 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 6 )
                                                                                                                                                     Ro a d , Mi d d l e f i e l d , C T 0 6 4 5 5 - 1 0 6 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - No r t h Br a n f o r d , 1 1 Wh i t e w o o d
2.10632 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 4 )
                                                                                                                                                     La n e , No r t h Br a n f o r d , C T 0 6 4 7 1 - 1 5 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - So u t h i n g t o n , 1 1 9 8 Qu e e n
2.10633 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 6 )
                                                                                                                                                     St r e e t , So u t h i n g t o n , C T 0 6 4 8 9 - 2 1 5 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - a g a w a m , 1 5 1 Sp r i n g f i e l d
2.10634 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 1 7 )
        nature of the debtor's interest                                                                                                              St r e e t , Ag a w a m , M A 0 1 0 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - o l d Sa y b r o o k , Sm i t h l a n d
2.10635 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 3 )
        nature of the debtor's interest                                                                                                              Su p p l y - Ol d Sa y b r o o , 9 2 3 Bo s t o n Po s t Ro a d , Ol d Sa y b r o o k ,
                                                                                                                                                     CT 06475-0001
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sm i t h l a n d Pe t & Ga r d e n Ce n t e r - w e s t f i e l d , 8 1 Sp r i n g f i e l d Ra o d ,
2.10636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 6 4 )
        nature of the debtor's interest                                                                                                                          We s t f i e l d , M A 0 1 0 8 5 - 1 8 1 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h l a n d Pe t Ce n t e r - h a d l e y, Sm i t h l a n d Su p p l y Ha d l e y, 3 3 5
2.10637 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 7 9 )
                                                                                                                                                                 Ru s s e l l St r e e t Ma - 9 , Ha d l e y, M A 0 1 0 3 5 - 9 5 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h l a n d Pe t Ce n t e r - l u d l o w, Sm i t h l a n d Pe t Ce n t e r - Lu d l o w,
2.10638 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 8 )
                                                                                                                                                                 4 3 3 Ce n t e r St r e e t , Lu d l o w, M A 0 1 0 5 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h l a n d Pe t Ce n t e r - n o r t h a m p t o n , Sm i t h l a n d Su p p l y
2.10639 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 0 )
                                                                                                                                                                 No r t h a m p t o n , 1 4 2 N. Ki n g St r e e t , No r t h a m p t o n , M A 0 1 0 6 0 -
        nature of the debtor's interest
                                                                                                                                                                 1120
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h l a n d Pe t Ce n t e r - w a r e , Sm i t h l a n d Pe t Ce n t e r , 1 4 4 We s t
2.10640 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 1 7 )
                                                                                                                                                                 St r e e t , Wa r e , M A 0 1 0 8 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h l a n d Su p p l y, 3 Ch o i c e Ro a d , Wi n d s o r Lo c k s , C T 0 6 0 9 6
2.10641 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 1 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h s Co n s u m e r Pr o d u c t s In c , 1 0 9 We s t p a r k Dr i v e , Su i t e 1 8 0 ,
2.10642 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Br e n t w o o d , T N 3 7 0 2 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h s Co n s u m e r Pr o d u c t s In c , 1 0 9 We s t p a r k Dr i v e , Su i t e 1 8 0 ,
2.10643 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Br e n t w o o d , T N 3 7 0 2 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sm i t h s Co n s u m e r Pr o d u c t s In c , 1 0 9 We s t p a r k Dr i v e , Su i t e 1 8 0 ,
2.10644 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Br e n t w o o d , T N 3 7 0 2 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h s Co n s u m e r Pr o d u c t s In c , 1 0 9 We s t p a r k Dr i v e , Su i t e 1 8 0 ,
2.10645 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Br e n t w o o d , T N 3 7 0 2 7
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t h s Co n s u m e r Pr o d u c t s In c , 1 0 9 We s t p a r k Dr i v e , Su i t e 1 8 0 ,
2.10646 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Br e n t w o o d , T N 3 7 0 2 7
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t t y ' s Ac e , Sm i t t y ` s Ac e , 1 8 4 5 N 1 s t St r e e t , He r m i s t o n , O R
2.10647 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 3 2 )
                                                                                                                                                                 97838-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t t y s Su p p l y In c , Po Bo x 5 3 0 , 6 3 4 1 5 Hw y 5 1 N, Ro s e l a n d ,
2.10648 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 LA 70456
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sm i t t y s Su p p l y In c , Po Bo x 5 3 0 , 6 3 4 1 5 Hw y 5 1 N, Ro s e l a n d ,
2.10649 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          LA 70456

         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sm o k y Va l l e y Ha r d w a r e , 7 0 Ma n l e y Ro a d , Ro u n d Mo u n t a i n ,
2.10650 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 6 1 3 )
        nature of the debtor's interest                                                                                                                          NV 89045-9612

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm o l k a Tr u e Va l u e Ha r d w a r e , 4 3 0 5 N Mi l w a u k e e Av e , Ch i c a g o ,
2.10651 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 )
                                                                                                                                                                 IL 60641-1521
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sm v In d u s t r i e s , 5 1 2 1 3 1 9 5 Th St r e e t ( 5 1 5 0 3 ) , Co u n c i l Bl u f f s , I A
2.10652 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 51502
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sm v In d u s t r i e s , 5 1 2 1 3 1 9 5 Th St r e e t ( 5 1 5 0 3 ) , Co u n c i l Bl u f f s , I A
2.10653 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 51502
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sm v In d u s t r i e s , 5 1 2 1 3 1 9 5 Th St r e e t ( 5 1 5 0 3 ) , Co u n c i l Bl u f f s , I A
2.10654 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 51502
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm y r n a Co m m u n i t y Ha r d w a r e , 4 5 6 W Gl e n w o o d Av e , St e B,
2.10655 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 1 )
                                                                                                                                                                 Sm y r n a , D E 1 9 9 7 7 - 1 0 8 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sm y t h s Ga r d e n v i l l e Gr e e n h o u s e , 8 2 1 7 Ri v e r s i d e Dr i v e Ea s t ,
2.10656 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Su m n e r , WA 9 8 3 9 0

         State the term remaining                         02/14/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Sn a k e Ri v e r Ra n c h & Lu m b e r , 3 2 8 Hi g h w a y 9 5 , Ho m e d a l e , I D
2.10657 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 4 )
        nature of the debtor's interest                                                                                                                          83628-3482

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn a p Lo c k Ti l e Co . , 2 3 3 0 W Ca l i f o r n i a Av e , Sa l t La k e Ci t y, U T
2.10658 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 84104
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Sn a p c l i p Sy s t e m , 6 2 4 Mi l l w a y Av e , Co n c o r d , O N L4 K 3 V3 ,
2.10659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
         State the term remaining                         12/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sn a p w a r e Co r p o r a t i o n , 3 9 0 0 Ha m n e r Av e n u e , Mi r a Lo m a , C A
2.10660 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 91752
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sn a p w a r e Co r p o r a t i o n , 3 9 0 0 Ha m n e r Av e n u e , Mi r a Lo m a , C A
2.10661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 91752
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn e a d e ' s Ac e Ho m e Ce n t e r , 1 1 8 6 1 Hg Tr u e m a n Ro a d , Lu s b y,
2.10662 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 1 )
                                                                                                                                                                 MD 20657-2870
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn e a d e ' s Ac e Ho m e Ce n t e r , 1 7 5 0 Pr o s p e r La n e , Ow i n g s , M D
2.10663 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 0 )
                                                                                                                                                                 20736-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn e a d e ' s Ac e Ho m e Ce n t e r , 3 0 3 1 4 Tr i a n g l e Dr i v e , Ch a r l o t t e
2.10664 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 2 6 )
        nature of the debtor's interest                                                                                                                          Ha l l , M D 2 0 6 2 2 - 4 1 0 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn e a d e ' s Ac e Ho m e Ce n t e r , 4 0 8 4 5 Me r c h a n t s La n e ,
2.10665 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 2 7 )
        nature of the debtor's interest                                                                                                                          Le o n a r d t o w n , M D 2 0 6 5 0 - 3 7 6 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn o h o m i s h Co - o p In c . , 1 6 8 Li n c o l n Av e . , Sn o h o m i s h , WA
2.10666 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 7 3 )
                                                                                                                                                                 98290
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sn o r k e l In t ' l L L C, Sn o r k e l In t e r n a t i o n a l L L C, 2 0 0 9 Ro s e p o r t
2.10667 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Rd , El w o o d , K S 6 6 0 2 4
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sn o w Jo e L L C, Sn o w Jo e L L C, 3 0 5 Ve t e r a n s Bl v d , Ca r l s t a d t ,
2.10668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 NJ 07072
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sn o w s Ho m e & Ga r d e n , 2 2 Ma i n St , Or l e a n s , M A 0 2 6 5 3 - 2 4 1 8
2.10669 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 2 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So c i Ac q u i s i t i o n Co . , In c . , 2 2 5 Br o a d w a y, Su i t e 6 0 0 , Sa n
2.10670 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , So c i Ac q u i s i t i o n Co In c Ma s t e r
                                                                                                                                                                 Di e g o , C A 9 2 1 0 1
        nature of the debtor's interest                   Te r m s o f Se r v i c e 2 0 2 4 - 2 0 2 9

         State the term remaining                         03/15/2024 - 03/14/2029

         List the contract number of any government
         contract
                                                                                                                                                                 So c i Ac q u i s i t i o n Co . , In c . , 2 2 5 Br o a d w a y, Su i t e 6 0 0 , Sa n
2.10671 State what the contract or lease is for and the   Or d e r Fo r m , S O C I So c i a l Me d i a Pl a t f o r m Su b s c r i p t i o n Re n e w a l
                                                                                                                                                                 Di e g o , C A 9 2 1 0 1
        nature of the debtor's interest                   2024

         State the term remaining                         02/01/2024 - 01/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 So c i Ac q u i s i t i o n Co . , In c . , 2 2 5 Br o a d w a y, Su i t e 6 0 0 , Sa n
2.10672 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , So c i Ac q u i s i t i o n Co In c M S A
        nature of the debtor's interest                                                                                                                          Di e g o , C A 9 2 1 0 1

         State the term remaining                         02/09/2021 - 02/08/2026

         List the contract number of any government
         contract
                                                                                                                                                                 So d a s t r e a m Us a In c , 1 1 3 0 Th o m a s Bu s c h Me m Hw y,
2.10673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe n n s a u k e n , N J 0 8 1 1 0
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 So d a s t r e a m Us a In c , 1 1 3 0 Th o m a s Bu s c h Me m Hw y,
2.10674 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Pe n n s a u k e n , N J 0 8 1 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So d a s t r e a m Us a In c , 1 1 3 0 Th o m a s Bu s c h Me m Hw y,
2.10675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe n n s a u k e n , N J 0 8 1 1 0
        nature of the debtor's interest
         State the term remaining                         07/01/2022 - 06/30/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So f t w a r e Ar t i s a n s , In c . , Po Bo x 5 9 0 6 8 4 , Ne w t o n , M A 0 2 4 5 9
2.10676 State what the contract or lease is for and the
                                                          So f t w a r e , So f t w a r e Ar t i s a n s Of f i c e Wr i t e r So f t w a r e Re n e w a l
        nature of the debtor's interest                   2024

         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 So i l Di v a L L C, 4 0 5 Cr o w La n e , Bi l l i n g s , M T 5 9 1 0 5
2.10677 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 So l a r Gr o u p , 2 0 3 Fe l l o w s h i p Ro a d , Ta y l o r s v i l l e , M S 3 9 1 6 8
2.10678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So l a r Gr o u p , 2 0 3 Fe l l o w s h i p Ro a d , Ta y l o r s v i l l e , M S 3 9 1 6 8
2.10679 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So l a r Gr o u p , 2 0 3 Fe l l o w s h i p Ro a d , Ta y l o r s v i l l e , M S 3 9 1 6 8
2.10680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/05/2021

         List the contract number of any government
         contract
                                                                                                                                                                 So l a r Gr o u p , 2 0 3 Fe l l o w s h i p Ro a d , Ta y l o r s v i l l e , M S 3 9 1 6 8
2.10681 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/21/2021

         List the contract number of any government
         contract
                                                                                                                                                                 So l a r Gr o u p , 2 0 3 Fe l l o w s h i p Ro a d , Ta y l o r s v i l l e , M S 3 9 1 6 8
2.10682 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So l a r i s Pa p e r In c , 1 0 0 S An a h e i m Bl v d , Su i t e 2 8 0 , An a h e i m ,
2.10683 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92805
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     So l a r i s Pa p e r In c , 1 0 0 S An a h e i m Bl v d , Su i t e 2 8 0 , An a h e i m ,
2.10684 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     CA 92805
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     So l a r i s Pa p e r In c , 1 0 0 S An a h e i m Bl v d , Su i t e 2 8 0 , An a h e i m ,
2.10685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     CA 92805
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     So l a r i s Pa p e r In c , 1 0 0 S An a h e i m Bl v d , Su i t e 2 8 0 , An a h e i m ,
2.10686 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     CA 92805
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     So l a r x Ey e w e a r L L C, 1 4 8 5 0 Fo l t z Pa r k w a y, St r o n g s v i l l e , O H
2.10687 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44149

         State the term remaining                         10/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     So l e d a d Tr u e Va l u e Ha r d w a r e , 6 0 1 Fr o n t St , So l e d a d , C A
2.10688 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 0 3 )
                                                                                                                                                     93960-3016
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So l e n i s , 5 6 6 0 Ne w No r t h s i d e Dr i v e , Nw Su i t e 1 1 0 0 , At l a n t a ,
2.10689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     GA 30328
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     So l e n i s , 5 6 6 0 Ne w No r t h s i d e Dr i v e , Nw Su i t e 1 1 0 0 , At l a n t a ,
2.10690 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     GA 30328
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                     So l i Ha r d w a r e Co r p o r a t i o n , Ca r r 3 Km 3 0 . 5 , Bo . Pa l m e r , Ri o
2.10691 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 7 )
                                                                                                                                                     Gr a n d e , P R 0 0 7 4 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So l i Ho m e Ce n t e r In c , Ca r r e t e r a 3 Km 4 4 . 3 , Qu e b r a d a Fa j a r d o ,
2.10692 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 5 1 )
                                                                                                                                                                 PR 00738
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So l i d e a l Us a In c , 3 0 6 Fo r s y t h Ha l l Dr i v e , C H A R L O T T E, N C
2.10693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 28260
        nature of the debtor's interest
         State the term remaining                         06/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 So l o In c , 2 0 1 En t e r p r i s e Dr i v e , Ne w p o r t Ne w s , VA 2 3 6 0 3
2.10694 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So l o In c , 2 0 1 En t e r p r i s e Dr i v e , Ne w p o r t Ne w s , VA 2 3 6 0 3
2.10695 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 So l o In c , 2 0 1 En t e r p r i s e Dr i v e , Ne w p o r t Ne w s , VA 2 3 6 0 3
2.10696 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 So l o m o n ' s Tr u e Va l u e , So l o m o n ` s Tr u e Va l u e , 2 0 Cr e s t o n Ln ,
2.10697 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 5 0 )
                                                                                                                                                                 So l o m o n s , M D 2 0 6 8 8 - 3 0 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So n a r s o u r c e , P. O. Bo x 7 6 5 , Ge n e v a , 1 2 1 5 - 1 5 , Sw i t z e r l a n d
2.10698 State what the contract or lease is for and the
                                                          So f t w a r e , So n a r So u r c e De v e l o p e r Ed i t i o n So f t w a r e Li c e n s e
        nature of the debtor's interest
         State the term remaining                         09/05/2024 - 09/04/2025

         List the contract number of any government
         contract
                                                                                                                                                                 So n g b i r d Es s e n t i a l s / Go l d Cr e s t , Po Bo x 3 5 5 , 1 6 0 0 Ba s s f o r d
2.10699 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i v e , Me x i c o , M O 6 5 2 6 5
        nature of the debtor's interest
         State the term remaining                         07/09/2010

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     So n i c Po w e r In c , 1 0 1 Gl e n Le n n o x Dr , Su i t e 3 0 0 , Ch a p e l Hi l l ,
2.10700 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     NC 27517
        nature of the debtor's interest
         State the term remaining                         05/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     So n i t r o l , 7 2 4 1 Fe n t o n Ro a d , Gr a n d Bl a n c , M I 4 8 4 3 9
2.10701 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , W B So n i t r o l Ch a n g e Or d e r I D F Ca b i n e t s
        nature of the debtor's interest
         State the term remaining                         09/20/2019

         List the contract number of any government
         contract
                                                                                                                                                     So n n y Pa n z i c o ' s Ga r d e n Ma r t , So n n y Pa n z i c o ` s Ga r d e n Ma r t ,
2.10702 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 4 7 )
        nature of the debtor's interest                                                                                                              7 5 4 0 Hi g h w a y 1 6 5 N. , Mo n r o e , L A 7 1 2 0 3 - 8 7 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So n o i t a Ha r d w a r e , 3 1 4 9 Az - 8 3 , So n o i t a , A Z 8 5 6 3 7 - 9 9 0 0
2.10703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 3 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So p h i s t i p l a t e , L L C, 2 1 3 Sw Co l u m b i a , Su i t e 1 0 0 , Be n d , O R
2.10704 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     97702
        nature of the debtor's interest
         State the term remaining                         05/01/2019

         List the contract number of any government
         contract
                                                                                                                                                     So r e n s e n Ma c h i n e Wo r k s , 8 3 7 Ol l e r St , Me n d o t a , C A 9 3 6 4 0 -
2.10705 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 2 6 7 )
                                                                                                                                                     2320
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So r e n s e n ' s Ac e Ha r d w a r e , 4 0 2 Wa s h i n g t o n Av e , Lo s Ba n o s , C A
2.10706 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 9 5 )
                                                                                                                                                     93635-4647
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So r e n s o n Tr u e Va l u e Lu m b e r , 6 4 Gl e n Co v e Av e , Gl e n Co v e ,
2.10707 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 8 0 )
                                                                                                                                                     NY 11542-2806
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     So t o Xt r a Ha r d w a r e , In c , So t o Xt r a Ha r d w a r e In c , Ca r r 6 4 2 Km
2.10708 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 4 4 )
                                                                                                                                                     2 0 . 3 , Fl o r i d a , P R 0 0 6 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u c i e Fa m i l y Fi r e w o o d In c , P. O. Bo x 2 4 8 , Ea g l e La k e , M E
2.10709 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              04739

         State the term remaining                         08/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     So u n d Ga r d e n s , In c . , So u n d Ga r d e n s In c . , 6 3 3 2 Ro u t e 2 5 a ,
2.10710 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 9 0 )
        nature of the debtor's interest                                                                                                              Wa d i n g Ri v e r , N Y 1 1 7 9 2 - 2 0 0 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u r c e o n e , 1 0 3 0 Sw 6 Th St , Li n c o l n , N E 6 8 5 2 2
2.10711 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     So u t h Bo s t o n Tr u e Va l u e , 3 0 7 Br o a d St , So u t h Bo s t o n , VA
2.10712 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 8 6 )
                                                                                                                                                     24592-4611
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h Ci t y Pa i n t & Su p p l y Co , 2 7 1 6 Ki r k m a n St r e e t , La k e
2.10713 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 9 )
                                                                                                                                                     Ch a r l e s , L A 7 0 6 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h Eu c l i d Tr u e Va l u e Hd w. , 4 4 2 2 Ma y f i e l d Rd , So u t h
2.10714 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 0 7 )
                                                                                                                                                     Eu c l i d , O H 4 4 1 2 1 - 3 6 3 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h Hi l l s Ha r d w a r e , 2 2 4 Ol d Br o o k p a r k Rd , Cl e v e l a n d , O H
2.10715 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 3 )
                                                                                                                                                     44109
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So u t h Lo o p , 7 2 5 So u t h St . , Ch i c a g o , I L 6 0 6 0 5
2.10716 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h Si d e Su p p l y, 1 3 0 0 So u t h Wa b a s h , Wa b a s h , I N 4 6 9 9 2 -
2.10717 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 0 )
        nature of the debtor's interest                                                                                                                          4112

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h Wi n Lt d , 6 0 6 Wa l t e r s St , Re i d s v i l l e , N C 2 7 3 2 0
2.10718 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h Wi n Lt d , 6 0 6 Wa l t e r s St , Re i d s v i l l e , N C 2 7 3 2 0
2.10719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h Wi n Lt d , 6 0 6 Wa l t e r s St , Re i d s v i l l e , N C 2 7 3 2 0
2.10720 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h Wi n Lt d , 6 0 6 Wa l t e r s St , Re i d s v i l l e , N C 2 7 3 2 0
2.10721 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e a s t Tr u e Va l u e Ha r d w a r e , 6 1 2 Hi g h w a y 2 N, Wi l b u r t o n ,
2.10722 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 2 4 )
                                                                                                                                                                 OK 74578-3621
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e a s t e r n Fr e i g h t Li n e s In c , 4 2 0 Da v e g a Rd , Le x i n g t o n , S C
2.10723 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , So u t h e a s t e r n Fr e i g h t Li n e s In c -
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t s LT L                                                     29073

         State the term remaining                         07/16/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          So u t h e a s t e r n Mi l l s , 1 0 0 E Fi r s t Av e , Ro m e , G A 3 0 1 6 1
2.10724 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Bo t a n i c a l s In c , 1 1 4 1 0 W Sa m p l e Rd , Co r a l Sp r i n g s ,
2.10725 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                   FL 33065

         State the term remaining                         05/01/2012

         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Bu i l d e r s Su p p l y - d u b l i n Ya r d , 1 0 1 0 Ac a d e m y Av e ,
2.10726 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 3 )
                                                                                                                                                          Du b l i n , G A 3 1 0 2 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Ca r l s o n , 3 6 0 4 N Ki m b a l l Dr i v e , Ka n s a s Ci t y, M O
2.10727 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 4 9 )
                                                                                                                                                          64161
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Co u n t i e s Ex p r e s s In c . , 1 2 7 5 5 E. Ni n e Mi l e Rd . ,
2.10728 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , So u t h e r n Co u n t i e s Ex p r e s s Ma s t e r
                                                          Tr u c k l o a d Tr a n s p o r t a t i o n Ag r e e m e n t                                    Wa r r e n , M I 4 8 0 8 9
        nature of the debtor's interest
         State the term remaining                         04/13/2022

         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n De s i g n s & Gi f t s L L C, 4 8 9 4 Hw y 8 4 We s t , Vi d a l i a ,
2.10729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                          LA 71373
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Di v e r s i f i e d Pr o d u c t s L L C, 4 6 Sh e l b y Th a m e s Dr ,
2.10730 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                          Ha t t i e s b u r g , M S 3 9 4 0 2
        nature of the debtor's interest
         State the term remaining                         07/01/2008

         List the contract number of any government
         contract
                                                                                                                                                          So u t h e r n Id a h o La n d s c a p e Ce n t e r , L. l . c . , So u t h e r n Id a h o
2.10731 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 7 0 )
        nature of the debtor's interest                                                                                                                   La n d s c a p e Ce n t e , 2 1 1 5 0 Hw y 3 0 , Fi l e r , I D 8 3 3 2 8 - 5 5 0 8

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So u t h e r n Im p e r i a l L L C, 1 4 0 0 Ed d y Av e , Ro c k f o r d , I L 6 1 1 0 3 -
2.10732 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3198

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n Im p o r t e r s , 8 2 5 Sa n Ja c i n t o St , Ho u s t o n , T X 7 7 0 0 4
2.10733 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n Mo t o r Ca r r i e r s As s o c i a t i o n , In c . , 6 5 3 Le x i n g t o n
2.10734 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , So u t h e r n Mo t o r s Ca r r i e r s
                                                          As s o c i a t i o n ( S M C3 )                                                                        Ci r c l e , Pe a c h t r e e Ci t y, G A 3 0 2 6 9
        nature of the debtor's interest
         State the term remaining                         07/30/2024 - 07/29/2025

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n Pa i n t , 2 3 9 S. Se g r a v e St . , Da y t o n a Be a c h , F L 3 2 1 1 4
2.10735 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n Sa l e s Ma r k e t i n g Gr o u p , 5 8 0 1 Tr a d e Ce n t e r Ct , Su i t e
2.10736 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 A, Vi l l a Ri c a , G A 3 0 1 8 0
        nature of the debtor's interest
         State the term remaining                         07/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n Sh u t t e r Co , 1 0 0 Co f f e e St , Mo n t g o m e r y, A L 3 6 1 0 4
2.10737 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n St a t e s - Mt Ai r y, 1 3 1 2 S Ma i n St , Mo u n t Ai r y, M D
2.10738 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 0 6 )
        nature of the debtor's interest                                                                                                                          21771

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h e r n St a t e s Be d f o r d Co - o p , 1 0 5 3 In d e p e n d e n c e Bl v d ,
2.10739 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 6 )
        nature of the debtor's interest                                                                                                                          Be d f o r d , VA 2 4 5 2 3

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     So u t h e r n St a t e s Mi l f o r d Co o p , 7 3 0 8 Wi l l i a m s v i l l e Rd , Mi l f o r d ,
2.10740 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 7 )
        nature of the debtor's interest                                                                                                              DE 19963

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h e r n St a t e s Pu r c e l l v i l l e , 2 6 1 N. 2 1 s t . St r e e t , Pu r c e l l v i l l e ,
2.10741 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 6 )
                                                                                                                                                     VA 2 0 1 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h e r n Su p p l i e s Lt d , 4 0 - 4 4 Su t t o n St , Sa n Fe r n a n d o ,
2.10742 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 6 7 )
                                                                                                                                                     Tr i n i d a d An d To b a g o
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h e r n Ut a h Tr u e Va l u e Lb r , 2 5 5 N 2 0 0 W, Ce d a r Ci t y, U T
2.10743 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 3 0 )
                                                                                                                                                     84721-3537
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e , 1 0 7 Gr o v e St , Pa r m a , I D 8 3 6 6 0 - 5 7 0 0
2.10744 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Br i g h a m Ci t y, 3 0 8 So u t h Ma i n St ,
2.10745 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 3 )
                                                                                                                                                     Br i g h a m Ci t y, U T 8 4 3 0 2 - 2 5 3 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Gr a n t s v i l l e , 4 0 We s t Co m m e r c i a l Av e ,
2.10746 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 3 8 )
        nature of the debtor's interest                                                                                                              Gr a n t s v i l l e , U T 8 4 0 2 9 - 9 7 4 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Lo g a n , 9 8 1 S Ma i n St r e e t , St e 1 2 0 ,
2.10747 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 2 )
                                                                                                                                                     Lo g a n , U T 8 4 3 2 1 - 6 0 5 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     So u t h f o r k Ha r d w a r e - No r t h Sa l t La k e , 1 0 7 5 N 5 0 0 Ea s t , No r t h
2.10748 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 5 )
        nature of the debtor's interest                                                                                                              Sa l t La k e , U T 8 4 0 5 4 - 1 9 1 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Pa r k Ci t y, 1 7 2 7 Si d e w i n d e r Dr , Pa r k
2.10749 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 9 0 )
                                                                                                                                                     Ci t y, U T 8 4 0 6 0 - 7 3 2 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Pr e s t o n , 6 4 N St a t e St , Pr e s t o n , I D
2.10750 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 1 )
                                                                                                                                                     83263-1237
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - Ro y, 3 5 3 1 W 5 6 0 0 So u t h , Ro y, U T
2.10751 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 5 )
                                                                                                                                                     84067-9111
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - So u t h Og d e n , 1 7 5 9 E Sk y l i n e Dr , Og d e n ,
2.10752 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 7 )
                                                                                                                                                     UT 84405-5202
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r d w a r e - s a n d p o i n t , 2 0 1 N. 3 r d Av e , Sa n d p o i n t , I D
2.10753 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 0 )
        nature of the debtor's interest                                                                                                              83864-1444

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Ha r r i s o n , 2 0 2 2 Ha r r i s o n Bl v d , Og d e n , U T 8 4 4 0 1 -
2.10754 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 0 0 )
        nature of the debtor's interest                                                                                                              0739

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     So u t h f o r k Me r c a n t i l e - Hu n t s v i l l e , 5 4 0 S Hw y 3 9 , Hu n t s v i l l e ,
2.10755 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 8 4 )
                                                                                                                                                     UT 84317-9508
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                So u t h l a n d Gr o w e r s , 1 5 5 9 5 Ha w l e y Pl a c e , El Ca j o n , C A 9 2 0 2 1
2.10756 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                So u t h s i d e Ha r d w a r e , 6 4 0 1 Ha m p t o n Av e , St Lo u i s , M O 6 3 1 0 9 -
2.10757 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 0 5 )
                                                                                                                                                                3610
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                So u t h t o w n Tr u e Va l u e Hd w e , 5 5 0 E Wo o d St , As h d o w n , A R
2.10758 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 2 7 5 )
                                                                                                                                                                71822-3639
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                So u t h t o w n s Fe e d s & Ne e d s , 7 3 8 0 Bo s t o n St a t e Ro a d , Ha m b u r g ,
2.10759 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 4 )
                                                                                                                                                                NY 14075
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                So u t h w e s t Fo r e s t Pr o d u c t s , 2 8 2 8 S 3 5 Th Av e , Ph o e n i x , A Z
2.10760 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , So u t h w e s t Fo r e s t Pr o d u c t s -
                                                                                                                                                                85009
        nature of the debtor's interest                   Pa l l e t Co n t r a c t 2 0 2 5 Ex t e n s i o n

         State the term remaining                         03/31/2024 - 03/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                So u t h w e s t e r n Co n s u l t i n g , 2 4 5 1 At r i u m Wa y, Na s h v i l l e , T N
2.10761 State what the contract or lease is for and the
                                                          Tr a i n i n g Se r v i c e s , Sp e a k e r Se r v i c e s - Ro r y Va d e n
        nature of the debtor's interest                                                                                                                         37214

         State the term remaining                         01/25/2013

         List the contract number of any government
         contract
                                                                                                                                                                So u t h w e s t e r n Pa i n t & Wa l l p a p e r Co , 1 9 0 2 Ta f t St r e e t , Ho u s t o n ,
2.10762 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 6 )
                                                                                                                                                                TX 77006
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                So u t h w i r e Co m p a n y, 3 0 2 Ro m e St , Ca r r o l l t o n , G A 3 0 1 1 7
2.10763 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So u t h w i r e Co m p a n y In c , So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e
2.10764 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i v e , Ca r r o l l t o n , G A 3 0 1 1 9
        nature of the debtor's interest
         State the term remaining                         07/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e Dr i v e , Ca r r o l l t o n , G A
2.10765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 30119
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e Dr i v e , Ca r r o l l t o n , G A
2.10766 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30119
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e Dr i v e , Ca r r o l l t o n , G A
2.10767 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 30119
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e Dr i v e , Ca r r o l l t o n , G A
2.10768 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30119

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C, 1 So u t h w i r e Dr i v e , Ca r r o l l t o n , G A
2.10769 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          30119

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C- Im p o r t , 1 So u t h w i r e Dr i v e ,
2.10770 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca r r o l l t o n , G A 3 0 1 1 9
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e Co m p a n y L L C- Im p o r t , 1 So u t h w i r e Dr i v e ,
2.10771 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ca r r o l l t o n , G A 3 0 1 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So u t h w i r e Co m p a n y L L C- Im p o r t , 1 So u t h w i r e Dr i v e ,
2.10772 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Ca r r o l l t o n , G A 3 0 1 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10773 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 60085
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10774 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60085
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10775 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60085
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10776 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60085

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10777 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60085

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10778 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60085
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10779 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60085
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10780 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60085
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10781 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60085
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10782 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60085
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10783 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60085

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 So u t h w i r e / Co l e m a n Ca b l e , 1 5 3 0 Sh i e l d s Dr i v e , Wa u k e g a n , I L
2.10784 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60085

         State the term remaining                         09/01/2024 - 08/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                 So v o s Co m p l i a n c e , L L C, 2 0 0 Ba l l a r d v a l e St . , Bl d g 1 . 4 Th
2.10785 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , So v o s Un c l a i m e d Pr o p e r t y Ma n a g e d
                                                          Se r v i c e s                                                                                         Fl o o r , Wi l m i n g t o n , M A 0 1 8 8 7
        nature of the debtor's interest
         State the term remaining                         04/30/2024 - 04/29/2025

         List the contract number of any government
         contract
                                                                                                                                                                 So y Ba s i c s L L C, 3 7 5 In d u s t r i a l Av e n u e , Ne w Ha m p t o n , I A
2.10786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 50659
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sp a Wo r l d / Me d i t u b , 1 0 0 E Mi n e o l a Av e , Va l l e y St r e a m , N Y
2.10787 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 11580
        nature of the debtor's interest
         State the term remaining                         06/19/2009

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp a l d i n g Sp o r t s Di v Ru s s e l l , Hu f f y Sp o r t s , P. O. Bo x 9 0 0 1 5 ,
2.10788 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo w l i n g Gr e e n , K Y 4 2 1 0 2
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sp a l d i n g Sp o r t s Di v Ru s s e l l , Hu f f y Sp o r t s , P. O. Bo x 9 0 0 1 5 ,
2.10789 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bo w l i n g Gr e e n , K Y 4 2 1 0 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a l d i n g Sp o r t s Di v Ru s s e l l , Hu f f y Sp o r t s , P. O. Bo x 9 0 0 1 5 ,
2.10790 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo w l i n g Gr e e n , K Y 4 2 1 0 2
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sp a n n s Tr u e Va l u e , 9 7 6 Us Hw y 4 3 , Wi n f i e l d , A L 3 5 5 9 4 - 4 7 1 1
2.10791 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t i o n L L C, Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd ,
2.10792 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Fa i r f i e l d , N J 0 7 0 0 4

         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t i o n L L C, Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd ,
2.10793 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fa i r f i e l d , N J 0 7 0 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t i o n L L C, Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd ,
2.10794 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fa i r f i e l d , N J 0 7 0 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t i o n L L C, Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd ,
2.10795 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Fa i r f i e l d , N J 0 7 0 0 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp a r k In n o v a t i o n L L C, Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd ,
2.10796 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Fa i r f i e l d , N J 0 7 0 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd , Fa i r f i e l d , N J 0 7 0 0 4
2.10797 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k In n o v a t o r s Co r p , 4 1 Ku l i c k Rd , Fa i r f i e l d , N J 0 7 0 0 4
2.10798 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k l e s Gi f t & Pa r t y, 8 2 0 Re m s e n Av e , Br o o k l y n , N Y 1 1 2 3 6 -
2.10799 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 7 )
        nature of the debtor's interest                                                                                                                          1611

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r k l e s Gi f t & Pa r t y - Ha z m a t , Sp a r k l e s Gi f t & Pa r t y, 8 2 0
2.10800 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 7 )
                                                                                                                                                                 Re m s e n Av e , Br o o k l y n , N Y 1 1 2 3 6 - 1 6 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp a r t a c o L L C, 1 4 5 1 Ol d No r t h Ma i n St , Cl o v e r , S C 2 9 7 1 0
2.10801 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e a k m a n Co m p a n y, 4 0 0 An c h o r Mi l l Rd , Ne w Ca s t l e , D E
2.10802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 19720
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e a k m a n Co m p a n y, 4 0 0 An c h o r Mi l l Rd , Ne w Ca s t l e , D E
2.10803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19720
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp e c i a l t y Ha r d w a r e Of Ma r a t h o n , 1 0 7 3 0 Ov e r s e a s Hw y,
2.10804 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 2 7 )
                                                                                                                                                                 Ma r a t h o n , F L 3 3 0 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10805 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60046
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10806 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60046

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10807 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60046

         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10808 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60046
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10809 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60046
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10810 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60046
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10811 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60046
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10812 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60046
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10813 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60046
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10814 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60046

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10815 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60046
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10816 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60046
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10817 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 60046
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10818 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60046
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10819 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60046
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp e c t r u m Br a n d s Pe t L L C, 8 0 3 Ev a n La n e , La k e Vi l l a , I L
2.10820 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60046
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s , Pe t , Ho m e & Ga r d e n , On e Ri d e r Tr a i l Pl a z a
2.10821 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Dr i v e , Su i t e 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s , Pe t , Ho m e & Ga r d e n , On e Ri d e r Tr a i l Pl a z a
2.10822 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Dr i v e , Su i t e 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Br a n d s , Pe t , Ho m e & Ga r d e n , On e Ri d e r Tr a i l Pl a z a
2.10823 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 8 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Dr i v e , Su i t e 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Di v e r s i f i e d De s i g n s , 7 0 0 5 Co c h r a n Ro a d , Gl e n w i l l o w,
2.10824 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44139
        nature of the debtor's interest
         State the term remaining                         09/01/2023 - 08/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Di v e r s i f i e d De s i g n s , 7 0 0 5 Co c h r a n Ro a d , Gl e n w i l l o w,
2.10825 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OH 44139
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Di v e r s i f i e d De s i g n s , 7 0 0 5 Co c h r a n Ro a d , Gl e n w i l l o w,
2.10826 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44139
        nature of the debtor's interest
         State the term remaining                         09/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Fe r t i l i z e r s , 2 1 5 0 Sc h u e t z Ro a d , St Lo u i s , M O 6 3 1 4 6
2.10827 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2014

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t , 1 3 5 3 S Ma i n St , Bl a c k s b u r g , VA 2 4 0 6 0
2.10828 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 1 3 9 N Be l t Hw y Su i t e R, Sa i n t Jo s e p h , M O
2.10829 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 8 )
        nature of the debtor's interest                                                                                                              64506-3305

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 1 4 0 No r t h Tr a d e Av e , La n d r u m , S C 2 9 3 5 6
2.10830 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 1 5 4 Ro b e r t Sm a l l s Pa r k w a y, Be a u f o r t , S C
2.10831 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 4 )
                                                                                                                                                     29906
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 1 9 1 1 Us Hi g h w a y 3 0 1 N, Ta m p a , F L 3 3 6 1 9
2.10832 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 2 0 5 0 Be n t o n Rd , Bo s s i e r Ci t y, L A 7 1 1 1 1
2.10833 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 2 1 2 7 E Ma i n St r e e t , Sp a r t a n b u r g , S C 2 9 3 0 7
2.10834 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 4 4 5 4 Bl u f f t o n Pa r k Cr e s c e n t , Bl u f f t o n , S C
2.10835 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 6 1 )
        nature of the debtor's interest                                                                                                              29910

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t , 4 8 0 E Be r t Ko u n s , Sh r e v e p o r t , L A 7 1 1 0 6
2.10836 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 9 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t , 5 5 1 3 1 s t Av e So u t h , St Pe t e r s b u r g , F L 3 3 7 0 7
2.10837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 3 ) , 4 5 2 0 So u t h Pe o r i a , Tu l s a , O K 7 4 1 0 5 - 4 5 6 3
2.10838 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 4 ) , 9 3 3 3 S. Ea s t e r n , Ok l a h o m a Ci t y, O K
2.10839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 1 )
                                                                                                                                                     73160-9010
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 5 ) , 1 3 3 1 5 Ch e n a l Pa r k w a y, Li t t l e Ro c k , A R
2.10840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 2 )
                                                                                                                                                     72211-5219
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 6 ) , 1 6 0 Ne 1 5 0 t h St , Ed m o n d , O K 7 3 0 1 3 -
2.10841 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 3 )
                                                                                                                                                     3432
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 7 ) , 8 1 6 E 6 t h , St i l l w a t e r , O K 7 4 0 7 4 - 3 7 3 3
2.10842 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 0 9 ) , 7 0 9 Nw 3 6 t h St , Ok l a h o m a Ci t y, O K
2.10843 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 5 )
        nature of the debtor's interest                                                                                                              73118-7316

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 ) , 4 6 2 1 E. Ad m i r a l Bl v d , Tu l s a , O K 7 4 1 1 5 -
2.10844 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 8 )
        nature of the debtor's interest                                                                                                              7406

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 0 ) , 3 4 0 8 Se J St r e e t , Be n t o n v i l l e , A R 7 2 7 1 2 -
2.10845 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 6 )
                                                                                                                                                     0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 1 ) , 3 9 9 E Ro b i n s o n , Sp r i n g d a l e , A R 7 2 7 6 4 -
2.10846 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 7 )
                                                                                                                                                     7217
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 2 ) , 2 6 1 2 Ma r t i n Lu t h e r Ki n g Bl v d , Su i t e B,
2.10847 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 8 )
                                                                                                                                                     Fa y e t t e v i l l e , A R 7 2 7 0 1 - 7 6 9 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 3 ) , 2 4 4 3 W. Ma i n St , No r m a n , O K 7 3 0 6 9 -
2.10848 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 0 9 )
                                                                                                                                                     6327
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 4 ) , 2 0 5 Ne Wa s h i n g t o n Bl v d , Ba r t l e s v i l l e ,
2.10849 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 0 )
                                                                                                                                                     OK 74006-1637
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 5 ) , 1 1 5 6 0 N 1 3 5 t h E Av e n u e - s t e 1 0 8 - 1 1 0 ,
2.10850 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 1 )
        nature of the debtor's interest                                                                                                              Ow a s s o , O K 7 4 0 5 5 - 5 7 5 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 6 ) , 5 1 1 5 N Po r t l a n d Av e , Ok l a h o m a Ci t y, O K
2.10851 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 2 )
        nature of the debtor's interest                                                                                                              73112-2058

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 7 ) , 1 0 0 6 Hi g h w a y 4 1 2 By p a s s , Si l o a m
2.10852 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 3 )
        nature of the debtor's interest                                                                                                              Sp r i n g s , A R 7 2 7 6 1 - 4 5 4 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 1 8 ) , 1 8 0 0 N Pi e r c e , Li t t l e Ro c k , A R 7 2 2 0 7 -
2.10853 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 4 )
                                                                                                                                                     4432
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 ) , 1 0 8 0 7 S Me m o r i a l , Tu l s a , O K 7 4 1 3 3 - 7 3 6 9
2.10854 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 9 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 0 ) , 2 9 0 1 Mc k i n l e y, Ft . Sm i t h , A R 7 2 9 0 8 - 7 5 4 3
2.10855 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 1 ) , 1 2 3 0 E 7 t h St r e e t , Jo p l i n , M O 6 4 8 0 1
2.10856 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 2 ) , 5 7 3 9 S Ca m p b e l l Av e , Sp r i n g f i e l d , M O
2.10857 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 7 )
        nature of the debtor's interest                                                                                                              65810-2513

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 3 ) , 5 6 6 Gr e t n a Rd , Su i t e A, Br a n s o n , M O
2.10858 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 8 )
        nature of the debtor's interest                                                                                                              65616-3345

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 5 ) , 1 2 0 3 3 r d Av e n u e S, My r t l e Be a c h , S C
2.10859 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 1 9 )
                                                                                                                                                     29577-5547
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 6 ) , 2 8 1 9 Mi d w a y Ro a d Se , Su i t e 1 0 0 ,
2.10860 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 9 )
                                                                                                                                                     Bo l i v i a , N C 2 8 4 2 2 - 8 3 7 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 7 ) , 1 4 0 1 N La k e Pa r k Bl v d , Su t i e 6 6 ,
2.10861 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 0 )
                                                                                                                                                     Ca r o l i n a Be a c h , N C 2 8 4 2 8 - 3 9 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 8 ) , 4 5 1 5 Fo u n t a i n Dr , St e 1 1 1 , Wi l m i n g t o n ,
2.10862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 0 )
                                                                                                                                                     NC 28403-2919
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 2 9 ) , 1 5 1 2 3 r d Av e , Co n w a y, S C 2 9 5 2 6 - 5 0 1 4
2.10863 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 0 ) , 1 1 0 7 Ne w Po i n t e Bl v d , Su i t e 3 & 4 ,
2.10864 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 2 )
                                                                                                                                                     Le l a n d , N C 2 8 4 5 1 - 4 1 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 1 ) , 1 0 6 3 Mo r r i s o n Dr , Ch a r l e s t o n , S C 2 9 4 0 3 -
2.10865 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 3 )
        nature of the debtor's interest                                                                                                              3819

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 2 ) , 8 2 6 - b Co l e m a n Bl v d , Mo u n t Pl e a s a n t , S C
2.10866 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 4 )
        nature of the debtor's interest                                                                                                              29464-4067

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 3 ) , 2 1 6 N Ma i n St , Su m m e r v i l l e , S C 2 9 4 8 3 -
2.10867 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 3 )
                                                                                                                                                     6416
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 4 ) , 1 5 0 2 Hi g h w a y 1 7 S, No r t h My r t l e Be a c h ,
2.10868 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 4 )
                                                                                                                                                     SC 29582-3906
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 5 ) , 1 0 2 6 A Nw 3 8 t h St , La w t o n , O K 7 3 5 0 5 -
2.10869 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 5 )
                                                                                                                                                     3704
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 6 ) , 4 4 4 0 Hi g h w a y 1 7 By p a s s - St e A5 ,
2.10870 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 6 )
                                                                                                                                                     Mu r r e l l s In l e t , S C 2 9 5 7 6 - 6 4 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 7 ) , 5 0 0 W Wi l l Ro d g e r s Bl v d , Cl a r e m o r e , O K
2.10871 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 7 )
                                                                                                                                                     74017-7100
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 8 ) , 2 5 7 5 Ma y b a n k Hw y, Su i t e G, Jo h n s
2.10872 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 8 )
                                                                                                                                                     Is l a n d , S C 2 9 4 5 5 - 4 8 7 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 3 9 ) , 1 3 8 2 0 S Us Hi g h w a y 7 1 , Gr a n d v i e w, M O
2.10873 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 6 )
        nature of the debtor's interest                                                                                                              64030-3685

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 0 ) , 2 2 2 Nw Ol d h a m Pa r k w a y, Le e s Su m m i t ,
2.10874 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 2 9 )
                                                                                                                                                     MO 64081-1520
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 1 ) , 1 8 2 6 Ba l t i m o r e Av e , Ka n s a s Ci t y, M O
2.10875 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 0 )
                                                                                                                                                     64108-1931
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 2 ) , 1 9 0 8 Pl u m b e r s Wa y, Li b e r t y, M O 6 4 0 6 8 -
2.10876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 1 )
                                                                                                                                                     7456
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 3 ) , 1 9 1 N. Pa r k e r , Ol a t h e , K S 6 6 0 6 1 - 3 1 3 9
2.10877 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 4 ) , 1 0 5 4 2 We s t 1 0 3 r d St r e e t , Ov e r l a n d Pa r k ,
2.10878 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 3 )
                                                                                                                                                     KS 66214-2641
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 5 ) , 2 4 0 0 W 3 1 s t St , La w r e n c e , K S 6 6 0 4 7 -
2.10879 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 4 )
                                                                                                                                                     3175
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 6 ) , 8 9 3 0 L St , Om a h a , N E 6 8 1 2 7 - 1 4 0 6
2.10880 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 7 ) , 1 4 5 2 9 In d u s t r i a l Rd , Om a h a , N E 6 8 1 4 4 -
2.10881 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 6 )
        nature of the debtor's interest                                                                                                              3228

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 8 ) , 4 8 1 5 Ol d Ch e n e y Rd , Li n c o l n , N E 6 8 5 1 6 -
2.10882 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 7 )
                                                                                                                                                     3172
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 4 9 ) , 6 3 0 3 Nw Ba r r y Ro a d , Ka n s a s Ci t y, M O
2.10883 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 8 )
                                                                                                                                                     64154-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 0 ) , 1 9 3 2 1 Us Hi g h w a y 4 0 , Su i t e D,
2.10884 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 3 9 )
                                                                                                                                                     In d e p e n d e n c e , M O 6 4 0 5 5 - 5 4 8 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 1 ) , 8 7 2 8 W 1 3 5 t h , Ov e r l a n d Pa r k , K S 6 6 2 2 1 -
2.10885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 0 )
                                                                                                                                                     2036
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 2 ) , 5 3 8 0 Jo h n s o n Dr , Mi s s i o n , K S 6 6 2 0 5 -
2.10886 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 1 )
                                                                                                                                                     0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 3 ) , 2 3 1 0 E Do u g l a s Av e , Wi c h i t a , K S 6 7 2 1 4 -
2.10887 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 2 )
                                                                                                                                                     4437
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 4 ) , 3 0 1 So u t h Wi l l i s Dr , Un i t 1 1 0 , Sh a l l o t t e ,
2.10888 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 3 )
        nature of the debtor's interest                                                                                                              NC 28470-3407

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 5 ) , 3 3 6 5 So u t h Mo r g a n s Po i n t Rd , Mt
2.10889 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 4 )
                                                                                                                                                     Pl e a s a n t , S C 2 9 4 6 6 - 8 3 2 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 6 ) , 5 0 0 Am i t y Rd , Su i t e 4 b , Co n w a y, A R
2.10890 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 5 )
                                                                                                                                                     72032-5932
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 7 ) , 1 2 0 6 E Ke n o s h a , Br o k e n Ar r o w, O K
2.10891 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 6 )
                                                                                                                                                     74012-2007
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 8 ) , 4 3 0 7 W Br o a d St , Ri c h m o n d , VA 2 3 2 3 0 -
2.10892 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 6 )
                                                                                                                                                     3305
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 5 9 ) , 1 1 2 0 1 Mi d l o t h i a n Tu r n p i k e , Ri c h m o n d ,
2.10893 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 7 )
                                                                                                                                                     VA 2 3 2 3 5 - 4 8 8 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 0 ) , 1 0 8 0 1 W Br o a d St r e e t , Gl e n Al l e n , VA
2.10894 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 8 )
                                                                                                                                                     23060-3367
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 1 ) , 1 3 9 3 2 Hu l l St r e e t , Mi d l o t h i a n , VA 2 3 1 1 2 -
2.10895 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 4 9 )
        nature of the debtor's interest                                                                                                              2004

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 2 ) , 1 7 8 0 4 Fo r e s t Ro a d , Un i t A, Fo r e s t , VA
2.10896 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 7 )
        nature of the debtor's interest                                                                                                              24551-4463

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 3 ) , 8 1 5 4 Me c h a n i c s v i l l e Tu r n p i k e ,
2.10897 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 0 )
                                                                                                                                                     Me c h a n i c s v i l l e , VA 2 3 1 1 1 - 1 2 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 4 ) , 7 0 1 Ba t t l e f i e l d Bl v d N, Ch e s a p e a k e , VA
2.10898 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 1 )
                                                                                                                                                     23320-4943
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 5 ) , 1 9 4 0 La s k i n Ro a d , Su i t e 3 0 7 , Vi r g i n i a
2.10899 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 2 )
                                                                                                                                                     Be a c h , VA 2 3 4 5 4 - 4 2 7 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 6 ) , 2 0 0 0 Co l o n i a l Av e , No r f o l k , VA 2 3 5 1 7 -
2.10900 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 3 )
                                                                                                                                                     1908
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 7 ) , 2 0 1 5 Pl a n k Ro a d , Fr e d e r i c k s b u r g , VA
2.10901 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 4 )
                                                                                                                                                     22401-5103
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 8 ) , 6 3 8 0 Ri c h m o n d Ro a d , Su i t e B,
2.10902 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 5 )
                                                                                                                                                     Wi l l i a m s b u r g , VA 2 3 1 8 5 - 1 7 9 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 6 9 ) , 7 0 0 Th i m b l e Sh o a l s Bl v d , St e 1 1 2 & 1 1 3 ,
2.10903 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 8 )
        nature of the debtor's interest                                                                                                              Ne w p o r t Ne w s , VA 2 3 6 0 6 - 2 5 7 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 0 ) , 6 1 8 Fo r t Ri l e y Bl v d , Ma n h a t t a n , K S
2.10904 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 6 )
                                                                                                                                                     66502-6365
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 1 ) , 2 3 3 5 E Ch e s t n u t Ex p r e s s w a y, Sp r i n g f i e l d ,
2.10905 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 7 )
                                                                                                                                                     MO 65804-2051
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 2 ) , 5 2 0 Hi n t o n Oa k s Bl v d , Su i t e 3 0 0 ,
2.10906 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 1 )
                                                                                                                                                     Kn i g h t d a l e , N C 2 7 5 4 5 - 6 5 9 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 3 ) , 3 6 7 W Ma i n St r e e t , Cl a y t o n , N C 2 7 5 2 0 -
2.10907 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 8 )
                                                                                                                                                     2324
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 4 ) , 8 8 0 0 Ha r v e s t Oa k s Dr i v e , Su i t e 1 0 1 ,
2.10908 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 5 9 )
                                                                                                                                                     Ra l e i g h , N C 2 7 6 1 5 - 2 0 7 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 5 ) , 2 1 2 1 S Yu k o n Pa r k w a y, Su i t e 1 7 0 , Yu k o n ,
2.10909 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 0 )
                                                                                                                                                     OK 73099-7480
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 6 ) , 1 5 5 0 Sw Wa n a m a k e r , Su i t e 1 0 0 c , To p e k a ,
2.10910 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 1 )
        nature of the debtor's interest                                                                                                              KS 66604-3863

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 7 ) , 1 4 4 6 0 Ne w Fa l l s Of Ne u s e Rd , Su i t e 1 2 1 ,
2.10911 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 2 )
        nature of the debtor's interest                                                                                                              Ra l e i g h , N C 2 7 6 1 4 - 8 2 2 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 8 ) , 6 4 8 0 Tr y o n Rd , Ca r y, N C 2 7 5 1 8 - 7 0 5 0
2.10912 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 7 9 ) , 1 9 8 Fo r s y t h e St r e e t , Fa y e t t e v i l l e , N C
2.10913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 3 )
                                                                                                                                                     28303-5424
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 8 ) , 1 5 2 4 7 Ea s t Sk e l l y Dr , Tu l s a , O K 7 4 1 1 6 -
2.10914 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 3 5 )
                                                                                                                                                     2620
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Sp e c t r u m Pa i n t ( 8 0 ) , 5 0 N St a f f o r d Co m p l e x Ce n t e r , Su i t e 1 0 1 ,
2.10915 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 4 )
                                                                                                                                                     St a f f o r d , VA 2 2 5 5 6 - 1 9 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp e c t r u m Pa i n t ( 8 1 ) , 8 9 2 1 W 2 1 s t St r e e t , Wi c h i t a , K S 6 7 2 1 2 -
2.10916 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 5 )
                                                                                                                                                                 1812
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Pa i n t ( 8 2 ) , 2 4 6 7 Sa v a n n a h Hw y, Su i t e 1 0 0 ,
2.10917 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 5 0 )
                                                                                                                                                                 Ch a r l e s t o n , S C 2 9 4 1 4 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Pa i n t ( 8 3 ) , 3 6 1 7 Fr a n k l i n Rd Sw, Ro a n o k e , VA
2.10918 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 3 )
        nature of the debtor's interest                                                                                                                          24014-2203

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Pa i n t ( 8 9 ) , 8 5 2 0 Pa t t e r s o n Av e . , He n r i c o , VA 2 3 2 2 9 -
2.10919 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 9 9 )
                                                                                                                                                                 0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m Pa i n t ( 9 1 ) , 1 1 1 4 1 Us Hi g h w a y 1 9 No r t h , Cl e a r w a t e r ,
2.10920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 7 )
                                                                                                                                                                 FL 33764
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m - Re j u v i n a t e , Sp e c t r u m Br a n d s , 3 0 0 1 De m i n g Wa y,
2.10921 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 P. O. Bo x 6 2 0 9 9 2 , Mi d d l e t o n , W I 5 3 5 6 2
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m / Ra y o v a c , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I 5 3 7 1 1
2.10922 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m / Ra y o v a c , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I 5 3 7 1 1
2.10923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp e c t r u m / Ra y o v a c , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I 5 3 7 1 1
2.10924 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m / Ra y o v a c , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I 5 3 7 1 1
2.10925 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e c t r u m / Ra y o v a c , 6 0 1 Ra y o v a c Dr i v e , Ma d i s o n , W I 5 3 7 1 1
2.10926 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e l l e r s Tr u e Va l u e , 1 0 2 7 Ea s t 4 t h St r e e t , Wa t e r l o o , I A 5 0 7 0 3 -
2.10927 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 2 0 )
                                                                                                                                                                 1916
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e n c e Sa l e s & Se r v i c e , 1 4 0 1 S Bl a i n e St , Mo s c o w, I D 8 3 8 4 3
2.10928 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e n c e Tr u e Va l u e Ha r d w a r e , 9 1 5 E Wh i t e Av e , Mo s c o w, I D
2.10929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 )
                                                                                                                                                                 83843-3924
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp e n c e r Ha r d w a r e & Lu m b e r , 3 4 6 We s t St a t e Hi g h w a y 4 6 ,
2.10930 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 7 9 )
                                                                                                                                                                 Sp e n c e r , I N 4 7 4 6 0 - 6 4 4 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp i c & Sp a n Co m p a n y, 9 0 No r t h Br o a d w a y, Ir v i n g t o n , N Y
2.10931 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 10533
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Sp i c e o l o g y, 7 1 5 E Sp r a g u e Av e , St e 1 1 5 , Sp o k a n e , WA 9 9 2 0 2
2.10932 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/22/2022

         List the contract number of any government
         contract
                                                                                                                                                                Sp i f f , In c . , 9 8 1 5 So u t h Mo n r o e St r e e t , Su i t e 5 0 0 , Sa n d y, U T
2.10933 State what the contract or lease is for and the
                                                          So f t w a r e , Sp i f f In c e n t i v e Ma n a g e m e n t So f t w a r e Su b s c r i p t i o n
        nature of the debtor's interest                   HR                                                                                                    84070

         State the term remaining                         08/01/2023 - 07/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                Sp i f f , In c . , 9 8 1 5 So u t h Mo n r o e St r e e t , Su i t e 5 0 0 , Sa n d y, U T
2.10934 State what the contract or lease is for and the
                                                          So f t w a r e Su b s c r i p t i o n Ag r e e m e n t , Sp i f f Ma s t e r Su b s c r i p t i o n
        nature of the debtor's interest                   Ag r e e m e n t                                                                                      84070

         State the term remaining                         08/01/2023 - 07/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                Sp i k e s & Ho u l e s - El k Ri v e r , Sp i k e ` s Fe e d Se e d & Pe t Su p , 9 0 6
2.10935 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 3 1 )
                                                                                                                                                                Hi g h w a y 1 0 , El k Ri v e r , M N 5 5 3 3 0 - 2 5 2 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Sp i k e s & Ho u l e s - Fo r e s t La k e , Sp i k e s , 5 5 2 n d St r e e t
2.10936 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 5 0 )
                                                                                                                                                                So u t h w e s t , Fo r e s t La k e , M N 5 5 0 2 5 - 1 5 5 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Sp i k e s & Ho u l e s - Lo r e t t o , Sp i k e ` s Fe e d Se e d & Pe t Su p , 6 2 6 5
2.10937 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 3 0 )
                                                                                                                                                                Co u n t y Ro a d 1 9 , Lo r e t t o , M N 5 5 3 5 7 - 4 5 9 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Sp i k e s & Ho u l e s - Ma p l e Pl a i n , 5 1 3 5 Oa k St , Ma p l e Pl a i n , M N
2.10938 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 8 2 )
                                                                                                                                                                55359-9800
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Sp i k e s & Ho u l e s - St i l l w a t e r , Sp i k e s , 1 0 0 1 0 6 0 t h St r N,
2.10939 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 5 1 )
        nature of the debtor's interest                                                                                                                         St i l l w a t e r , M N 5 5 0 8 2 - 8 3 5 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp o k a n e Po w e r t o o l & t r u e Va l u e Hd w e , Sp o k a n e Po w e r t o o l & t r u e
2.10940 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 5 7 )
        nature of the debtor's interest                                                                                                                          Va l u e H, 8 0 1 E Sp o k a n e Fa l l s Bl v d , Sp o k a n e , WA 9 9 2 0 2 - 2 1 5 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp o n t e x , Ma p a Sp o n t e x Po l s k a Sp Z O O , Jó z e f i n s k a Nr 2 , ,
2.10941 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cr a c o w, 3 0 - 5 2 9 , Po l a n d

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o n t e x , Ma p a Sp o n t e x Po l s k a Sp Z O O , Jó z e f i n s k a Nr 2 , ,
2.10942 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                          Ag r e e m e n t ( s )                                                                                 Cr a c o w, 3 0 - 5 2 9 , Po l a n d
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp o n t e x , Ma p a Sp o n t e x Po l s k a Sp Z O O , Jó z e f i n s k a Nr 2 , ,
2.10943 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cr a c o w, 3 0 - 5 2 9 , Po l a n d
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o n t e x , Ma p a Sp o n t e x Po l s k a Sp Z O O , Jó z e f i n s k a Nr 2 , ,
2.10944 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Cr a c o w, 3 0 - 5 2 9 , Po l a n d
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o n t e x , Ma p a Sp o n t e x Po l s k a Sp Z O O , Jó z e f i n s k a Nr 2 , ,
2.10945 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cr a c o w, 3 0 - 5 2 9 , Po l a n d
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o o n t i q u e s , 1 1 1 Is l a n d St , St o u g h t o n , M A 0 2 0 7 2
2.10946 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o r t Ha n s a In c , 1 0 Bu s i n e s s Pa r k Ci r c l e , Ar d e n , N C 2 8 7 0 4
2.10947 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp o r t s Li c e n s i n g So l u t i o n s L L C, 3 2 0 0 Sh a w n e e In d u s t r i a l Wa y,
2.10948 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Su i t e 2 0 0 , Su w a n e e , G A 3 0 0 2 4

         State the term remaining                         12/01/2023 - 11/30/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o r t s Li c e n s i n g So l u t i o n s L L C, 3 2 0 0 Sh a w n e e In d u s t r i a l Wa y,
2.10949 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Su i t e 2 0 0 , Su w a n e e , G A 3 0 0 2 4

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sp o r t s Me d , 1 4 Ea s t 9 8 St , Br o o k l y n , N Y 1 1 2 1 2
2.10950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp r a y & Fo r g e t , Po Bo x 1 6 4 7 8 , Su g a r l a n d , T X 7 7 4 9 6
2.10951 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp r a y & Fo r g e t , Po Bo x 1 6 4 7 8 , Su g a r l a n d , T X 7 7 4 9 6
2.10952 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp r e e t a i l Ll c , 2 1 2 5 Tr a n s f o r m a t i o n Dr i v e , Su i t e 2 2 0 0 , Li n c o l n ,
2.10953 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 0 )
                                                                                                                                                                 NE 68508
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp r i n g Tr u e Va l u e Ha r d w a r e , 1 8 9 3 5 Ku y k e n d a h l Rd , Sp r i n g ,
2.10954 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 7 9 7 )
        nature of the debtor's interest                                                                                                                          TX 77379-3459

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sp r i n g f i e l d Pr e c i s i o n In s t , 7 6 Pa s s a i c St r e e t , Wo o d r i d g e , N J
2.10955 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07075

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Sp r i n g s t a r In c , Po Bo x 2 6 2 2 , Wo o d i n v i l l e , WA 9 8 0 7 2
2.10956 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2017

         List the contract number of any government
         contract
                                                                                                                                                              Sp r i n g v a l e Ha r d w a r e , 4 8 9 Ma i n St 3 0 0 , Sp r i n g v a l e , M E 0 4 0 8 3 -
2.10957 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 0 5 )
                                                                                                                                                              1499
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Sp r i n g v i l l e Ha r d w a r e In c , Sp r i n g v i l l e Tr u e Va l u e Ha r d w a r e , 4 6
2.10958 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 0 8 )
                                                                                                                                                              E Ma i n St , Sp r i n g v i l l e , N Y 1 4 1 4 1 - 1 2 4 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Sp r i n k l e r Wo r l d - Le h i , 1 9 0 E Ma i n St r e e t , Le h i , U T 8 4 0 4 3 -
2.10959 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 3 )
                                                                                                                                                              2238
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Sp r i n k l e r Wo r l d - Sa n d y, 9 2 4 0 S 3 0 0 W, Sa n d y, U T 8 4 0 7 0 - 1 4 3 6
2.10960 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Sp r u c e Go o s e Ja n i t o r i a l , 1 2 4 N La k e Ha v a s u Av e , Su i t e 1 0 4 ,
2.10961 State what the contract or lease is for and the   Am e n d m e n t , Sp r u c e Go o s e Ja n i t o r i a l Se r v i c e s Am e n d m e n t 2 0 2 4
                                                                                                                                                              La k e Ha v a s u Ci t y, A Z 8 6 4 0 3
        nature of the debtor's interest                   Ki n g m a n

         State the term remaining                         11/01/2024 - 10/31/2025

         List the contract number of any government
         contract
                                                                                                                                                              Sp r u c e Go o s e Ja n i t o r i a l , 1 2 4 N La k e Ha v a s u Av e , Su i t e 1 0 4 ,
2.10962 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Sp r u c e Go o s e Ja n i t o r i a l
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t Ki n g m a n                                                        La k e Ha v a s u Ci t y, A Z 8 6 4 0 3

         State the term remaining                         11/01/2023 - 10/31/2024

         List the contract number of any government
         contract
                                                                                                                                                              Sp r u c e Wh o l e s a l e L L C, Sp r u c e Wh o l e s a l e L L C, 4 5 8 Da n b u r y
2.10963 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                              Rd , D6 , Ne w Mi l f o r d , C T 0 6 7 7 6
        nature of the debtor's interest
         State the term remaining                         02/01/2014

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sp s Co m m e r c e , In c . , 3 3 3 So u t h 7 Th St r e e t , Su i t e 1 0 0 0 ,
2.10964 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , S P S Co m m e r c e M S A
        nature of the debtor's interest                                                                                                                          Mi n n e a p o l i s , M N 5 5 4 0 2

         State the term remaining                         06/01/2022 - 05/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Sp s Co m m e r c e , In c . , 3 3 3 So u t h 7 Th St r e e t , Su i t e 1 0 0 0 ,
2.10965 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , S P S Co m m e r c e N D A Co n s u l t i n g Se r v i c e s
                                                                                                                                                                 Mi n n e a p o l i s , M N 5 5 4 0 2
        nature of the debtor's interest
         State the term remaining                         03/26/2022 - 03/25/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sp s Co m m e r c e , In c . , 3 3 3 So u t h 7 Th St r e e t , Su i t e 1 0 0 0 ,
2.10966 State what the contract or lease is for and the
                                                          Sa a S, S P S Co m m e r c e Ve n d o r E D I & It e m At t r i b u t e Re n e w a l
                                                          2024                                                                                                   Mi n n e a p o l i s , M N 5 5 4 0 2
        nature of the debtor's interest
         State the term remaining                         09/01/2024 - 08/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sq u a r e D, 2 0 0 Ma r t i n g a l e Rd , Su i t e 1 0 0 0 , Sc h a u m b u r g , I L
2.10967 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60173
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sq u a r e D By Sc h n e i d e r El e c t r i c , Sq u a r e D, 2 0 0 Ma r t i n g a l e Rd ,
2.10968 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Su i t e 1 0 0 0 , Sc h a u m b u r g , I L 6 0 1 7 3
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Sr i l l s L L C, 1 9 3 6 0 Ho g a n Av e , Ha s t i n g s , M N 5 5 0 3 3
2.10969 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Sr s In n o v a t i o n s , 5 5 4 0 Si e r r a Re a l , P O Bo x 1 5 4 0 , El Do r a d o ,
2.10970 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 95623

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St Fr a n c i s Tr u e Va l u e Hd w e , 3 6 4 5 Br i d g e St Nw, Sa i n t Fr a n c i s ,
2.10971 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 9 2 )
                                                                                                                                                                 MN 55070-9813
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St Ga b r i e l Or g a n i c s , 1 4 0 4 4 Li t c h f i e l d Dr , Or a n g e , VA 2 2 9 6 0
2.10972 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 St Ga b r i e l Or g a n i c s , 1 4 0 4 4 Li t c h f i e l d Dr , Or a n g e , VA 2 2 9 6 0
2.10973 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St Ga b r i e l Or g a n i c s , 1 4 0 4 4 Li t c h f i e l d Dr , Or a n g e , VA 2 2 9 6 0
2.10974 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St Ga b r i e l Or g a n i c s , 1 4 0 4 4 Li t c h f i e l d Dr , Or a n g e , VA 2 2 9 6 0
2.10975 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St Ga b r i e l Or g a n i c s , 1 4 0 4 4 Li t c h f i e l d Dr , Or a n g e , VA 2 2 9 6 0
2.10976 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St Go b a i n Ad f o r s Am e r i c a In c , 1 7 9 5 Ba s e l i n e Rd , Gr a n d Is l a n d ,
2.10977 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 14072

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St Go b a i n Ad f o r s Am e r i c a In c , 1 7 9 5 Ba s e l i n e Rd , Gr a n d Is l a n d ,
2.10978 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 NY 14072

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St Pe t e r s Ha r d w a r e & Re n t a l , 2 5 0 2 St a t e St , Al t o n , I L 6 2 0 0 2 -
2.10979 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 0 4 )
                                                                                                                                                                 5148
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St . Al b a n s Co o p e r a t i v e Cr e a m e r y, St . Al b a n s Co o p e r a t i v e
2.10980 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 4 1 )
                                                                                                                                                     Cr e a m e r , 1 3 8 Fe d e r a l St r e e t , St . Al b a n s , V T 0 5 4 7 8 - 2 0 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St . He d w i g Fe e d & Su p p l y, 5 4 0 E. Fm 1 5 1 8 S, St . He d w i g , T X
2.10981 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 1 )
                                                                                                                                                     78152
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St . Ig n a c e Tr u e Va l u e Ha r d w a r e , 3 0 0 S St a t e St r e e t , Sa i n t
2.10982 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 8 )
                                                                                                                                                     Ig n a c e , M I 4 9 7 8 1 - 1 6 2 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St . On g e Co m p a n y, 1 4 0 0 Wi l l i a m s Ro a d , Yo r k , PA 1 7 4 0 2
2.10983 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , St . On g e - Ma n c h e s t e r a n d Wi l k e s - Ba r r e
        nature of the debtor's interest                   Pl a n n i n g 2 0 2 1

         State the term remaining                         02/11/2021

         List the contract number of any government
         contract
                                                                                                                                                     St . Pe t e r s Tr u e Va l u e Fa r m Ra n c h & Re n t a l , 2 N 4 t h St r e e t ,
2.10984 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 6 )
        nature of the debtor's interest                                                                                                              Br e e s e , I L 6 2 2 3 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St ' s Tr u e Va l u e Ha r d w a r e , 1 1 8 Pr e n t i c e Av e , As h l a n d , W I
2.10985 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 0 )
        nature of the debtor's interest                                                                                                              54806-1840

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a b i l a In c . , 2 1 0 1 Ga l v i n Dr , Su i t e 1 0 0 , El g i n , I L 6 0 1 2 4
2.10986 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                     St a c k On Pr o d u c t s Co m p a n y, 1 3 6 0 N Ol d Ra n d Rd , Wa u c o n d a ,
2.10987 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     IL 60084-9763
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a c k On Pr o d u c t s Co m p a n y, 1 3 6 0 N Ol d Ra n d Rd , Wa u c o n d a ,
2.10988 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60084-9763
        nature of the debtor's interest
         State the term remaining                         10/17/2016

         List the contract number of any government
         contract
                                                                                                                                                                 St a c k On Pr o d u c t s Co m p a n y, 1 3 6 0 N Ol d Ra n d Rd , Wa u c o n d a ,
2.10989 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60084-9763

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a c k On Pr o d u c t s Co m p a n y, 1 3 6 0 N Ol d Ra n d Rd , Wa u c o n d a ,
2.10990 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60084-9763
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a d i u m Ha r d w a r e In c , 2 1 7 7 W St a d i u m Bl v d , An n Ar b o r , M I
2.10991 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 0 7 )
        nature of the debtor's interest                                                                                                                          48103-4543

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a g e r Tr u e Va l u e , 6 9 6 Du l a n c e y Dr i v e , Po r t a g e , PA 1 5 9 4 6 -
2.10992 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 4 5 )
                                                                                                                                                                 6900
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a l l s Tr u e Va l u e Fa r m & h o m e , St a l l s Tr u e Va l u e Fa r m & Ho m e ,
2.10993 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 0 5 )
                                                                                                                                                                 1 7 3 1 Ce n t r a l Av e , Es t h e r v i l l e , I A 5 1 3 3 4 - 2 4 3 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n ' s Pa i n t , 1 5 2 1 No r t h g a t e Mi l e , Id a h o Fa l l s , I D 8 3 4 0 1
2.10994 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n c o Me t a l Pr o d , 1 0 1 0 Jo r i e Bl v d , Su i t e 2 3 4 , Oa k Br o o k , I L
2.10995 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60523
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n c o Me t a l Pr o d , 1 0 1 0 Jo r i e Bl v d , Su i t e 2 3 4 , Oa k Br o o k , I L
2.10996 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              60523

         State the term remaining                         08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
                                                                                                                                                     St a n c o Me t a l Pr o d , 1 0 1 0 Jo r i e Bl v d , Su i t e 2 3 4 , Oa k Br o o k , I L
2.10997 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60523
        nature of the debtor's interest
         State the term remaining                         02/16/2007

         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Bu r l e y, 3 3 6 Ov e r l a n d Dr , Bu r l e y, I D
2.10998 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 7 )
        nature of the debtor's interest                                                                                                              83318-1025

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Cr a i g , 4 4 5 Ce n t e r St , Cr a i g , C O 8 1 6 2 5 -
2.10999 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 9 )
                                                                                                                                                     1125
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Mt Ho m e , 7 2 5 W 6 t h So u t h , Mt Ho m e , I D
2.11000 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 3 1 )
        nature of the debtor's interest                                                                                                              83647-3666

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Pe n d l e t o n , 4 2 1 6 We s t g a t e , Pe n d l e t o n , O R
2.11001 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 3 0 )
                                                                                                                                                     97801-9652
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Ph o e n i x , 2 3 0 2 E Th o m a s Rd , Ph o e n i x , A Z
2.11002 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 5 )
                                                                                                                                                     85016-7828
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Ha r d w a r e - Tw i n Fa l l s , 1 6 7 Ea s t l a n d Dr , Tw i n Fa l l s ,
2.11003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 6 )
        nature of the debtor's interest                                                                                                              ID 83301-7436

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Ha r d w a r e - Ve r n a l , 9 5 7 E Hi g h w a y 4 0 , Ve r n a l , U T
2.11004 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 0 )
                                                                                                                                                     84078-2803
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d He a t i n g & Ai r - Sa n d y, 9 1 5 0 S 3 0 0 W, Bl d g 2 , Sa n d y,
2.11005 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 5 )
        nature of the debtor's interest                                                                                                              UT 84070-1436

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pa i n t & Fl o o r i n g , 1 3 0 So u t h 7 2 n d Av e n u e , Ya k i m a ,
2.11006 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 0 )
                                                                                                                                                     WA 9 8 9 0 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g , 7 0 2 Ke r n e y St , Mo d e s t o , C A 9 5 3 5 1
2.11007 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 5 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Br i g h a m Ci t y, St a n d a r d Pl u m b i n g -
2.11008 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 1 2 )
                                                                                                                                                     Br i g h a m Ci , 3 7 0 W 1 1 7 5 S, Br i g h a m Ci t y, U T 8 4 3 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Co n c o r d , 5 1 0 1 Po r t Ch i c a g o Hw y,
2.11009 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 6 9 )
                                                                                                                                                     Co n c o r d , C A 9 4 5 2 0 - 1 2 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Di a m o n d Sp r i n g s , St a n d a r d Pl u m b i n g -
2.11010 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 3 4 )
        nature of the debtor's interest                                                                                                              Di a m o n d Sp , 3 7 3 Pl e a s a n t Va l l e y Rd , Di a m o n d Sp r i n g s , C A
                                                                                                                                                     95619-9478
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - El Ca j o n , 6 0 1 W Ma i n St r e e t , El Ca j o n ,
2.11011 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 2 5 )
                                                                                                                                                     CA 92020-3323
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Pl u m b i n g - Id a h o Fa l l s , St a n d a r d Pl u m b i n g - Id a h o
2.11012 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 1 4 )
        nature of the debtor's interest                                                                                                              Fa l l , 2 0 9 0 N Ye l l o w s t o n e Hw y, Id a h o Fa l l s , I D 8 3 4 0 1 - 1 6 2 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Me s a Sh i p La t e r , 5 5 0 E. Ba s e l i n e Rd ,
2.11013 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 6 )
                                                                                                                                                     Me s a , A Z 8 5 2 0 4 - 6 5 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Mo a b , 1 1 4 5 S Hi g h w a y 1 9 1 , Mo a b , U T
2.11014 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 4 )
        nature of the debtor's interest                                                                                                              84532-3062

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - No r t h Lo g a n , St a n d a r d Pl u m b i n g - No r t h
2.11015 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 1 3 )
                                                                                                                                                     Lo g a , 1 4 2 1 N 3 0 0 W, No r t h Lo g a n , U T 8 4 3 4 1 - 6 8 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Oc e a n s i d e , 4 6 9 5 No r t h Av e , Oc e a n s i d e ,
2.11016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 3 7 )
                                                                                                                                                     CA 92056-3511
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - On t a r i o , 9 1 N Or e g o n St r e e t , On t a r i o , O R
2.11017 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 3 )
                                                                                                                                                     97914-2440
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Or e m , 1 4 8 6 W Ce n t e r St , Or e m , U T
2.11018 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 3 5 )
                                                                                                                                                     84057-5105
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Pa r a m o u n t , 5 5 0 0 Co r n h u s k e r Hw y,
2.11019 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 6 1 )
        nature of the debtor's interest                                                                                                              Li n c o l n , N E 6 8 5 0 4 - 3 5 1 1

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Pl u m b i n g - Pa r k Ci t y, 6 3 5 1 Pr o m o n t o r y Ra n c h Rd ,
2.11020 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 4 )
                                                                                                                                                     Pa r k Ci t y, U T 8 4 0 9 8 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Pe o r i a , 9 1 1 1 Nw Gr a n d Av e , Pe o r i a , A Z
2.11021 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 6 )
        nature of the debtor's interest                                                                                                              85345-8109

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - Re x b u r g , 6 1 8 N 2 n d E, Re x b u r g , I D
2.11022 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 0 )
                                                                                                                                                     83440-1623
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g - St o c k Su p p o r t , St a n d a r d Pl u m b i n g - St o c k
2.11023 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 6 5 )
                                                                                                                                                     Su p p , 9 1 5 0 S. 3 0 0 We s t , Sa n d y, U T 8 4 0 7 0 - 2 6 4 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g Su p p l y, 3 5 1 5 De l We b b Av e Ne , Sa l e m , O R
2.11024 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 5 7 )
                                                                                                                                                     97301
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g Su p p l y - Ri v e r s i d e Sh i p La t e r , 3 2 3 3 Tr a d e
2.11025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 8 )
                                                                                                                                                     Ce n t e r Dr i v e , Ri v e r s i d e , C A 9 2 5 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g Su p p l y - Sa c r a m e n t o Sh i p La t e r , 5 4 0 0 8 3 r d
2.11026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 6 7 )
        nature of the debtor's interest                                                                                                              St r e e t , Sa c r a m e n t o , C A 9 5 8 2 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Pl u m b i n g Su p p l y An t i o c h , 1 2 1 1 Su n s e t Dr , An t i o c h ,
2.11027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 4 3 )
                                                                                                                                                     CA 94509
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Pl u m b i n g Su p p l y Co . , 1 6 3 1 We s t St a t e St , Hu r r i c a n e ,
2.11028 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 7 )
        nature of the debtor's interest                                                                                                              UT 84737

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Am e r i c a n Fo r k , St a n d a r d Tr u e Va l u e -
2.11029 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 2 )
                                                                                                                                                     Am e r i c a n , 6 4 1 S 5 0 0 E, Am e r i c a n Fo r k , U T 8 4 0 0 3 - 2 5 3 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Be a v e r , 6 6 0 N Ma i n St , Be a v e r , U T
2.11030 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 6 1 )
        nature of the debtor's interest                                                                                                              84713-0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Bl a c k f o o t , St a n d a r d Tr u e Va l u e -
2.11031 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 3 )
                                                                                                                                                     Bl a c k f o o , 4 6 2 W Hi g h w a y 2 6 , Bl a c k f o o t , I D 8 3 2 2 1 - 5 5 2 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Bo i s e , 1 4 5 N Cu r t i s Rd , Bo i s e , I D
2.11032 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 7 )
                                                                                                                                                     83706-1433
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Bo u n t i f u l , St a n d a r d Tr u e Va l u e -
2.11033 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 0 )
        nature of the debtor's interest                                                                                                              Bo u n t i f u , 5 6 3 W 7 5 0 S, Bo u n t i f u l , U T 8 4 0 1 0 - 7 2 5 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ch u l a Vi s t a , St a n d a r d Tr u e Va l u e - Ch u l a
2.11034 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 7 )
                                                                                                                                                     Vi , 2 8 6 5 Ma i n St r e e t , Ch u l a Vi s t a , C A 9 1 9 1 1 - 4 8 4 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Dr i g g s , 5 3 5 Va l l e y Ce n t r e Dr i v e , Dr i g g s ,
2.11035 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 1 )
        nature of the debtor's interest                                                                                                              ID 83422-4872

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ev a n s t o n , 1 0 4 Fr o n t St , Ev a n s t o n , W Y
2.11036 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 7 7 )
                                                                                                                                                     82930-3630
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Fr e s n o , 4 8 1 0 N Bl a c k s t o n e Av e , Fr e s n o ,
2.11037 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 1 )
        nature of the debtor's interest                                                                                                              CA 93726-0106

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - He b e r Ci t y, St a n d a r d Tr u e Va l u e - He b e r
2.11038 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 5 )
                                                                                                                                                     Ci , 7 7 7 W 1 0 0 S, He b e r Ci t y, U T 8 4 0 3 2 - 3 7 3 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - La s Ve g a s , St a n d a r d Tr u e Va l u e - La s
2.11039 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 6 )
                                                                                                                                                     Ve g a , 1 6 4 0 E Tr o p i c a n a Av e , La s Ve g a s , N V 8 9 1 1 9 - 7 4 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - La y t o n , 8 7 9 W Hi l l Fi e l d Rd C, La y t o n ,
2.11040 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 2 3 )
        nature of the debtor's interest                                                                                                              UT 84041-4604

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Lo g a n , 1 8 8 5 So u t h Hw y 8 9 - 9 1 , Lo g a n ,
2.11041 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 7 0 )
                                                                                                                                                     UT 84321-8210
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Lv Ra n c h o , St a n d a r d Tr u e Va l u e - Lv
2.11042 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 6 )
        nature of the debtor's interest                                                                                                              Ra n c h , 1 7 6 7 N Ra n c h o Dr , La s Ve g a s , N V 8 9 1 0 6 - 1 0 2 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ma n t e c a , 1 0 5 No r t h g a t e Dr , Ma n t e c a , C A
2.11043 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 3 )
                                                                                                                                                     95336-3136
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Tr u e Va l u e - Me s a , 5 5 0 E Ba s e l i n e Rd , Me s a , A Z
2.11044 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 7 1 )
        nature of the debtor's interest                                                                                                              85204-6504

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - No r t h Og d e n , St a n d a r d Tr u e Va l u e -
2.11045 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 0 )
                                                                                                                                                     No r t h Og , 1 9 6 4 N 4 0 0 E, No r t h Og d e n , U T 8 4 4 1 4 - 7 2 4 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Oa k l a n d , 1 0 5 5 Se m i n a r y Av e , Oa k l a n d ,
2.11046 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 4 )
                                                                                                                                                     CA 94621-3945
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Og d e n , 1 9 2 6 Wa l l Av e , Og d e n , U T
2.11047 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 7 8 )
                                                                                                                                                     84401-0314
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ox n a r d , 3 3 3 0 Sa v i e r s Rd , Ox n a r d , C A
2.11048 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 7 )
                                                                                                                                                     93033-6210
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ra n c h o Co r d o v a , St a n d a r d Tr u e Va l u e -
2.11049 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 2 3 )
        nature of the debtor's interest                                                                                                              Ra n c h o C, 1 1 1 1 5 Fo l s o m Bl v d , Ra n c h o Co r d o v a , C A 9 5 6 7 0 -
                                                                                                                                                     6132
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ro c k Sp r i n g s , St a n d a r d Tr u e Va l u e -
2.11050 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 1 )
                                                                                                                                                     Ro c k Sp r , 9 9 0 El k St r e e t , Ro c k Sp r i n g s , W Y 8 2 9 0 1 - 4 5 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ro y, 4 4 6 0 S 1 9 0 0 W, Ro y, U T 8 4 0 6 7 -
2.11051 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 7 9 )
        nature of the debtor's interest                                                                                                              2616

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a n d a r d Tr u e Va l u e - Sa n d y, 9 1 5 0 S 3 0 0 W, Bl d g . 1 , Sa n d y,
2.11052 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 8 0 )
                                                                                                                                                     UT 84070-2641
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - So u t h Sa l t La k e , St a n d a r d Tr u e Va l u e -
2.11053 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 7 )
                                                                                                                                                     So u t h Sa , 1 8 5 W 3 3 0 0 S, Sa l t La k e Ci t y, U T 8 4 1 1 5 - 3 7 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Sp r i n g v i l l e , St a n d a r d Tr u e Va l u e -
2.11054 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 6 0 )
                                                                                                                                                     Sp r i n g v i , 7 4 0 So u t h 1 7 5 0 We s t , Sp r i n g v i l l e , U T 8 4 6 6 3 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - St Ge o r g e , St a n d a r d Tr u e Va l u e - St
2.11055 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 9 )
                                                                                                                                                     Ge o r g , 8 8 E 1 1 6 0 S, St Ge o r g e , U T 8 4 7 7 0 - 5 3 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Ta y l o r s v i l l e , St a n d a r d Tr u e Va l u e -
2.11056 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 8 )
        nature of the debtor's interest                                                                                                              Ta y l o r s v, 3 9 1 5 W 4 7 0 0 S, Ta y l o r s v i l l e , U T 8 4 1 2 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - To o e l e , 6 3 E 1 1 0 0 N, To o e l e , U T 8 4 0 7 4 -
2.11057 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 6 1 )
                                                                                                                                                     9629
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - Tr e m o n t o n , St a n d a r d Tr u e Va l u e -
2.11058 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 8 )
        nature of the debtor's interest                                                                                                              Tr e m o n t o , 1 2 7 0 W Ma i n St , Tr e m o n t o n , U T 8 4 3 3 7 - 9 3 7 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a n d a r d Tr u e Va l u e - We s t Jo r d a n , St a n d a r d Tr u e Va l u e - We s t
2.11059 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 2 )
                                                                                                                                                     Jo r , 4 3 4 6 W Ne w Bi n g h a m Hw y, We s t Jo r d a n , U T 8 4 0 8 8 - 7 8 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n d a r d Tr u e Va l u e - Sa n Di e g o , 3 5 1 5 Ha n c o c k St , Sa n Di e g o ,
2.11060 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 8 )
        nature of the debtor's interest                                                                                                                          CA 92110-4401

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Ha y Co m p a n y, 1 1 2 4 Ru s s e l l Ca v e Rd , Le x i n g t o n , K Y
2.11061 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 40505
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Ha y Co m p a n y, 1 1 2 4 Ru s s e l l Ca v e Rd , Le x i n g t o n , K Y
2.11062 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 40505
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Ha y Co m p a n y, 1 1 2 4 Ru s s e l l Ca v e Rd , Le x i n g t o n , K Y
2.11063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 40505

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Pr e m i u m Pr o d u c t s L L C, 2 2 3 4 9 Ki m b e r l y Rd , Su i t e E,
2.11064 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ki m b e r l y, I D 8 3 3 4 1
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Pr e m i u m Pr o d u c t s L L C, 2 2 3 4 9 Ki m b e r l y Rd , Su i t e E,
2.11065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ki m b e r l y, I D 8 3 3 4 1

         State the term remaining                         09/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St a n d l e e Pr e m i u m Pr o d u c t s L L C, 2 2 3 4 9 Ki m b e r l y Rd , Su i t e E,
2.11066 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ki m b e r l y, I D 8 3 3 4 1
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 St a n f o r d s Tr u e Va l u e Hd w. Ce n t e r , St a n f o r d s Tr u e Va l u e Hd w.
2.11067 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 8 9 )
                                                                                                                                                                 Ce n t , 3 6 3 7 Wi l l i a m s Bl v d , Ke n n e r , L A 7 0 0 6 5 - 3 4 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                24-12337
                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n g e Ma r k e t i n g & Ma n a g e m e n t In c , 1 1 2 6 S Lo m b a r d Av e ,
2.11068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Oa k Pa r k , I L 6 0 3 0 4
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11069 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11070 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11071 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11072 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining                         07/01/2023 - 06/30/2027

         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11073 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11074 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11075 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                24-12337
                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11076 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11077 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11078 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Bo s t i t c h , 8 9 3 5 No r t h p o i n t e Ex e c u t i v e Pa r ,
2.11080 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11081 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11082 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11083 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                                24-12337
                   Name


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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11084 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11085 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11087 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11088 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11089 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11090 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11091 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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                   Name


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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11092 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11093 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y Co n s u m e r To o l s , 9 9 2 0 Ki n c e y Av e , Su i t e 1 5 0 ,
2.11094 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hu n t e r s v i l l e , N C 2 8 0 7 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y La t i n Am e r i c a , 2 1 0 1 Nw 8 4 Th Av e , Mi a m i , F L 3 3 1 2 2
2.11095 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y To o l s - Za g In d u s t r i e s , St a n l e y To o l s , De p t At 4 0 1 1 5 ,
2.11096 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 At l a n t a , G A 3 1 1 9 2
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y ' s Ha r d w a r e , St a n l e y ` s Ha r d w a r e , 5 5 5 5 Ri d g e Av e ,
2.11097 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 1 6 )
                                                                                                                                                                 Ph i l a d e l p h i a , PA 1 9 1 2 8 - 2 7 2 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y ' s Lu m b e r , 1 5 2 6 Cu r r a n Hw y, No r t h Ad a m s , M A 0 1 2 4 7
2.11098 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n l e y ' s Of Or e l a n d Tr u e Va l u e , St a n l e y ` s Of Or e l a n d Tr u e
2.11099 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 5 5 )
                                                                                                                                                                 Va l u , 1 3 4 1 Br u c e Ro a d , Or e l a n d , PA 1 9 0 7 5 - 1 8 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a n s Tr u e Va l u e , 8 5 Ea s t Ma i n St r e e t , Ci r c l e v i l l e , U T 8 4 7 2 3 -
2.11100 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 0 9 )
                                                                                                                                                                 8001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n t o n Co u n t y Tr u e Va l u e , 7 0 4 So u t h Ni p p , Jo h n s o n , K S
2.11101 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 6 4 )
                                                                                                                                                                 67855
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a n t o n Ha r d w a r e , 9 1 4 Iv y St r e e t , St a n t o n , N E 6 8 7 7 9 - 2 3 4 8
2.11102 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 6 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s Co n t r a c t & Co m m e r c i a l , 5 0 0 St a p l e s Dr i v e ,
2.11103 State what the contract or lease is for and the   Go o d s Pu r c h a s e , St a p l e s Ad v a n t a g e Co r p o r a t e Pu r c h a s i n g
                                                                                                                                                                 Fr a m i n g h a m , M A 0 1 7 0 2
        nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                         10/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s H F, 9 We b Dr i v e , P. O. Bo x 9 5 , Me r r i m a c k , N H 0 3 0 5 4
2.11104 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s H F, 9 We b Dr i v e , P. O. Bo x 9 5 , Me r r i m a c k , N H 0 3 0 5 4
2.11105 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s In c , St a p l e s Co n t r a c t & Co m m e r c i a l , 5 0 0 St a p l e s Dr i v e ,
2.11106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fr a m i n g h a m , M A 0 1 7 0 2
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s In c , St a p l e s Co n t r a c t & Co m m e r c i a l , 5 0 0 St a p l e s Dr i v e ,
2.11107 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Fr a m i n g h a m , M A 0 1 7 0 2

         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St a p l e s In c , St a p l e s Co n t r a c t & Co m m e r c i a l , 5 0 0 St a p l e s Dr i v e ,
2.11108 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Fr a m i n g h a m , M A 0 1 7 0 2
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                 St a p l e s Pr o m o t i o n a l Pr o d u c t s , 7 5 0 0 W 1 1 0 Th St , Ov e r l a n d
2.11109 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pa r k , K S 6 6 2 1 0

         State the term remaining                         08/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i g h t , St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t
2.11110 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 La u d e r d a l e , F L 3 3 3 1 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t La u d e r d a l e , F L 3 3 3 1 4
2.11111 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t La u d e r d a l e , F L 3 3 3 1 4
2.11112 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t La u d e r d a l e , F L 3 3 3 1 4
2.11113 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t La u d e r d a l e , F L 3 3 3 1 4
2.11114 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St a r Br i t e In c , 4 0 4 1 Sw 4 7 Th Av e , Fo r t La u d e r d a l e , F L 3 3 3 1 4
2.11115 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St a r El i t e In c , 1 1 7 5 Pl a c e Du Fr e r e An d r e , Mo n t r e a l , Q C H3 B
2.11116 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              3 X9 , Ca n a d a

         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     St a r El i t e In c , 1 1 7 5 Pl a c e Du Fr e r e An d r e , Mo n t r e a l , Q C H3 B
2.11117 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     3 X9 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     St a r Fi r e Di s t r i b u t i n g , 1 3 5 5 Ev a n s Av e , Ak r o n , O H 4 4 3 0 5
2.11118 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     St a r Ha r d w a r e , 6 4 Ma i n St r e e t , El l i n g t o n , C T 0 6 0 2 9
2.11119 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 6 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a r Nu r s e r y In c , 1 4 0 3 9 Hw y 2 3 , Be l l e Ch a s s e , L A 7 0 0 3 7
2.11120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                     St a r k i e Br o t h e r s Ga r d e n Ce n t e r H& g s , St a r k i e Br o t h e r s Ga r d e n
2.11121 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 2 0 )
                                                                                                                                                     Ce n t e r , 7 2 1 Ma i n St , Fa r m i n g d a l e , N Y 1 1 7 3 5 - 4 1 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St a y Sa f e Su p p l y, 2 4 0 0 2 2 n d St r e e t - St e 2 2 0 , Sa c r a m e n t o , C A
2.11122 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 3 4 )
                                                                                                                                                     95818-2540
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St c In t ' l , Po Bo x 6 3 1 4 0 , 3 0 0 2 Jc Ro t t e r d a m , Th e Ne t h e r l a n d s
2.11123 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/29/2012

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St e a d f a s t In s u r a n c e Co m p a n y ( Zu r i c h ) , St e a m i s t / Fe r g u s o n ,
2.11124 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Um b r e l l a Li a b i l i t y - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                                 1 2 5 0 0 Je f f e r s o n Av e n u e , Ne w p o r t Ne w s , VA 2 3 6 0 2
        nature of the debtor's interest                   A E C2 5 2 9 2 5 6 0 3

         State the term remaining                         01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s Ha r d w a r e , St e a r n s Tr u e Va l u e Ha r d w a r e , 2 0 4 Se Lo c u s t ,
2.11125 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 3 )
        nature of the debtor's interest                                                                                                                          Oa k l a n d , O R 9 7 4 6 2 - 9 7 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s In c , 1 1 0 0 St e a r n s Dr , Sa u k Ra p i d s , M N 5 6 3 7 9
2.11126 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s In c , 1 1 0 0 St e a r n s Dr , Sa u k Ra p i d s , M N 5 6 3 7 9
2.11127 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s Pa c k a g i n g Co r p o r a t i o n , 4 2 0 0 Sy c a m o r e Av e n u e ,
2.11128 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma d i s o n , W I 5 3 7 1 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s Pa c k a g i n g Co r p o r a t i o n , 4 2 0 0 Sy c a m o r e Av e n u e ,
2.11129 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ma d i s o n , W I 5 3 7 1 4
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s Pa c k a g i n g Co r p o r a t i o n , 4 2 0 0 Sy c a m o r e Av e n u e ,
2.11130 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ma d i s o n , W I 5 3 7 1 4

         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St e a r n s Pa c k a g i n g Co r p o r a t i o n , 4 2 0 0 Sy c a m o r e Av e n u e ,
2.11131 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma d i s o n , W I 5 3 7 1 4
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St e a r n s Pa c k a g i n g Co r p o r a t i o n , 4 2 0 0 Sy c a m o r e Av e n u e ,
2.11132 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ma d i s o n , W I 5 3 7 1 4

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     St e e l He a r t Lt d , 2 0 8 W Fr o n t St , Ha r v a r d , I L 6 0 0 3 3
2.11133 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                     St e e p Fa l l s Bu i l d i n g Su p p l y, 1 9 0 Os s i p e e Tr a i l We s t , St a n d i s h ,
2.11134 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 9 1 )
        nature of the debtor's interest                                                                                                              ME 04084-6127

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 1 , St e i n Ga r d e n Ce n t e r 0 0 1 , 1 4 8 4 5
2.11135 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 6 )
                                                                                                                                                     We s t Ca p i t o l Dr i v e , Br o o k f i e l d , W I 5 3 0 0 5 - 2 6 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 3 , St e i n Ga r d e n Ce n t e r 0 0 3 , 1 2 2 1 7
2.11136 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 8 )
                                                                                                                                                     We s t Wa t e r t o w n Pl a n k Rd . , Wa u w a t o s a , W I 5 3 2 2 6 - 3 3 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 4 , St e i n Ga r d e n Ce n t e r 0 0 4 , 3 7 2 5
2.11137 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 9 )
        nature of the debtor's interest                                                                                                              So u t h 1 0 8 t h St r e e t , Gr e e n f i e l d , W I 5 3 2 2 8 - 1 2 0 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 5 , St e i n Ga r d e n Ce n t e r 0 0 5 , 2 2 2 0 Ea s t
2.11138 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 0 )
                                                                                                                                                     Mo r e l a n d Av e n u e , Wa u k e s h a , W I 5 3 1 8 6 - 2 9 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 6 , St e i n Ga r d e n Ce n t e r 0 0 6 , 6 6 2 6 We s t
2.11139 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 1 )
        nature of the debtor's interest                                                                                                              Wa s h i n g t o n Av e n u e , Ra c i n e , W I 5 3 4 0 6 - 3 9 2 4

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 7 , St e i n Ga r d e n Ce n t e r 0 0 7 , N1 0 8 5 0
2.11140 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 2 )
                                                                                                                                                     W1 3 Po r t Wa s h i n g t o n Rd . , Me q u o n , W I 5 3 0 9 2 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 8 , St e i n Ga r d e n Ce n t e r 0 0 8 , 6 0 1
2.11141 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 3 )
        nature of the debtor's interest                                                                                                              Wi l w o o d Ro a d , We s t Be n d , W I 5 3 0 9 0 - 2 1 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 0 9 , St e i n Ga r d e n Ce n t e r 0 0 9 , 4 8 6 0 We s t
2.11142 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 4 )
                                                                                                                                                     Wi s c o n s i n , Ap p l e t o n , W I 5 4 9 1 3 - 8 6 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 0 , St e i n Ga r d e n Ce n t e r 0 1 0 , 3 0 0 So u t h
2.11143 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 5 )
                                                                                                                                                     Ko e l l e r St r e e t , Os h k o s h , W I 5 4 9 0 2 - 5 5 9 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 1 , St e i n Ga r d e n Ce n t e r 0 1 1 , 9 8 0
2.11144 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 6 )
                                                                                                                                                     Wa u b e La n e , Gr e e n Ba y, W I 5 4 3 0 4 - 5 5 2 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 2 , St e i n Ga r d e n Ce n t e r 0 1 2 , S7 1
2.11145 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 7 )
                                                                                                                                                     W2 3 4 4 5 Na t i o n a l Av e n u e , Bi g Be n d , W I 5 3 1 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 4 , St e i n Ga r d e n Ce n t e r 0 1 4 , 6 3 0 0
2.11146 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 8 )
        nature of the debtor's interest                                                                                                              Gr e e n Ba y Ro a d , Ke n o s h a , W I 5 3 1 4 2 - 2 9 4 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 5 , St e i n Ga r d e n Ce n t e r 0 1 5 , W1 8 4
2.11147 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 1 9 )
                                                                                                                                                     N9 6 7 6 Ap p l e t o n Av e n u e , Ge r m a n t o w n , W I 5 3 0 2 2 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 6 , St e i n Ga r d e n Ce n t e r 0 1 6 , 1 5 7 0
2.11148 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 0 )
        nature of the debtor's interest                                                                                                              Ol y m p i a Fi e l d s Dr i v e , Oc o n o m o w o c , W I 5 3 0 6 6 - 4 6 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 1 7 , St e i n Ga r d e n Ce n t e r 0 1 7 , 2 7 2 7
2.11149 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 1 )
                                                                                                                                                     Ea t o n Ro a d , Be l l e v u e , W I 5 4 3 1 1 - 6 5 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r # 0 9 9 , St e i n Ga r d e n Ce n t e r 0 9 9 , 4 5 4 5
2.11150 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 2 2 )
                                                                                                                                                     No r t h Po r t Wa s h i n g t o n Ro a d , Gl e n d a l e , W I 5 3 2 1 2 - 1 0 8 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r , In c # 0 0 2 , St e i n Ga r d e n Ce n t e r , In c 0 0 2 ,
2.11151 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 7 )
                                                                                                                                                     5 4 0 0 So u t h 2 7 t h St r e e t , Mi l w a u k e e , W I 5 3 2 2 1 - 3 7 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Ga r d e n Ce n t e r s He a d q u a r t e r s , 5 4 0 0 So u t h 2 7 t h St r e e t
2.11152 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 0 5 )
                                                                                                                                                     ( r e a r ) , Mi l w a u k e e , W I 5 3 2 2 1 - 3 7 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n Pa i n t Co m p a n y, 5 4 5 W Fl a g l e r St , Mi a m i , F L 3 3 1 3 0 - 1 3 0 0
2.11153 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n a c k e r Tr u e Va l u e Ha r d w a r e , 4 7 8 1 Li b e r t y Av e . , Ve r m i l i o n ,
2.11154 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 5 )
                                                                                                                                                     OH 44089-3206
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n h a u s e r ' s Al v i n , St e i n h a u s e r ` s Al v i n , 1 3 3 1 Hi g h w a y 6
2.11155 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 5 )
        nature of the debtor's interest                                                                                                              We s t , Al v i n , T X 7 7 5 1 1 - 0 0 0 1

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St e i n h a u s e r ' s Br o o k s h i r e , St e i n h a u s e r ` s Br o o k s h i r e , 3 5 3 5 0 Ka t y
2.11156 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 4 )
                                                                                                                                                     Fw y, Br o o k s h i r e , T X 7 7 4 2 3 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n h a u s e r ' s He m p s t e a d , St e i n h a u s e r ` s He m p s t e a d , 9 2 0
2.11157 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 3 )
        nature of the debtor's interest                                                                                                              Bu s i n e s s Hi g h w a y 2 9 0 No r t h , He m p s t e a d , T X 7 7 4 4 5 - 0 0 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n h a u s e r ' s Ma g n o l i a , St e i n h a u s e r ` s Ma g n o l i a , 1 8 8 2 1 Fm
2.11158 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 6 2 )
                                                                                                                                                     1 4 8 8 , Ma g n o l i a , T X 7 7 3 5 5 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n h a u s e r ' s Se a l y, St e i n h a u s e r ` s Se a l y, 2 2 8 E Fr o n t St r e e t ,
2.11159 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 5 2 )
                                                                                                                                                     Se a l y, T X 7 7 4 7 4 - 2 4 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n h a u s e r s - r i c h m o n d , 6 4 0 1 Fm 3 5 9 , Ri c h m o n d , T X 7 7 4 0 6 -
2.11160 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 8 1 )
        nature of the debtor's interest                                                                                                              9210

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e i n s Ga r d e n & Ho m e # 1 8 , St e i n s Ga r d e n & Ho m e 1 8 , 7 1 0
2.11161 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 8 3 )
                                                                                                                                                     Co b b l e s t o n e La n e , Ki m b e r l y, W I 5 4 1 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St e n c i l Ea s e , 7 Ce n t e r Ro a d We s t , P. O. Bo x 1 1 2 7 , Ol d
2.11162 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Sa y b r o o k , C T 0 6 4 7 5

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     St e n s Co r p o r a t i o n , Po Bo x 4 9 0 , Ja s p e r , I N 4 7 5 4 7
2.11163 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                              State the name and mailing address for all other parties with
                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                      St e n s Co r p o r a t i o n , Po Bo x 4 9 0 , Ja s p e r , I N 4 7 5 4 7
2.11164 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                      St e p 2 Co r p , 1 0 0 1 0 Au r o r a Hu d s o n Ro a d , St r e e t s b o r o , O H
2.11165 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                      44241
        nature of the debtor's interest
         State the term remaining                         02/08/2007

         List the contract number of any government
         contract
                                                                                                                                      St e p 2 Co r p , 1 0 0 1 0 Au r o r a Hu d s o n Ro a d , St r e e t s b o r o , O H
2.11166 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                      44241
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                      St e p 2 Co r p , 1 0 0 1 0 Au r o r a Hu d s o n Ro a d , St r e e t s b o r o , O H
2.11167 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                               44241

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                      St e p h e n Jo s e p h In c , 4 3 0 2 Ir o n t o n , Lu b b o c k , T X 7 9 4 0 7
2.11168 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2013

         List the contract number of any government
         contract
                                                                                                                                      St e p h e n s Pi p e & St e e l L L C, Po Bo x 6 1 8 , 2 2 2 4 E Hi g h w a y 6 1 9 ,
2.11169 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                               Ru s s e l l Sp r i n g s , K Y 4 2 6 4 2

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                      St e r i l i t e , 2 0 2 1 Sl o p e r t o w n Rd , Da v e n p o r t , I A 5 2 8 0 6
2.11170 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2023 - 05/31/2026

         List the contract number of any government
         contract
                                                                                                                                      St e r i l i t e , 2 0 2 1 Sl o p e r t o w n Rd , Da v e n p o r t , I A 5 2 8 0 6
2.11171 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St e r l i n g Ca r p e t On e Fl o o r & Ho m e , 2 0 3 0 3 2 n d Av e S, Gr a n d
2.11172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 7 )
                                                                                                                                                                 Fo r k s , N D 5 8 2 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e r l i n g In t ' l , St e r l i n g In t e r n a t i o n a l , 3 8 0 8 N Su l l i v a n Ro a d ,
2.11173 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Sp o k a n e , WA 9 9 2 1 6
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 St e r l i n g In t ' l , St e r l i n g In t e r n a t i o n a l , 3 8 0 8 N Su l l i v a n Ro a d ,
2.11174 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sp o k a n e , WA 9 9 2 1 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e r l i n g In t ' l , St e r l i n g In t e r n a t i o n a l , 3 8 0 8 N Su l l i v a n Ro a d ,
2.11175 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Sp o k a n e , WA 9 9 2 1 6
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St e r l i n g In t ' l , St e r l i n g In t e r n a t i o n a l , 3 8 0 8 N Su l l i v a n Ro a d ,
2.11176 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sp o k a n e , WA 9 9 2 1 6

         State the term remaining                         06/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 St e r l i n g In t ' l , St e r l i n g In t e r n a t i o n a l , 3 8 0 8 N Su l l i v a n Ro a d ,
2.11177 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sp o k a n e , WA 9 9 2 1 6
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Gr o u p , Th e , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11178 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TX 75024

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Gr o u p , Th e , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11179 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 75024
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St e r n o Gr o u p , Th e , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11180 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TX 75024
        nature of the debtor's interest
         State the term remaining                         02/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11181 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 75024
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 TX 75024
        nature of the debtor's interest
         State the term remaining                         12/09/2019

         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TX 75024

         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11184 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 75024
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11185 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TX 75024

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e r n o Ho m e In c , 6 9 0 0 No r t h Da l l a s Pk w y, St e . 8 7 0 . , Pl a n o ,
2.11186 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 TX 75024
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St e v e n s Tr a d i n g Co , 1 5 Co u n t y Ro a d 9 4 4 , Cu l l m a n , A L 3 5 0 5 7 -
2.11187 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 4 3 )
                                                                                                                                                                 0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       St e v e n s o n Tr u e Va l u e Ha r d w a r e , 2 5 3 5 Yo u n g s t o w n Lo c k p o r t
2.11188 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 4 7 )
                                                                                                                                                       Rd , Ra n s o m v i l l e , N Y 1 4 1 3 1 - 9 6 6 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       St i c k e r s No r t h w e s t In c , 4 4 2 5 1 0 0 Th St Sw Su i t e E, La k e w o o d ,
2.11189 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       WA 9 8 4 3 9
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                       St i g l e r Tr u e Va l u e , 1 3 0 9 Ea s t Ma i n St , St i g l e r , O K 7 4 4 6 2
2.11190 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       St i h l In c , 5 3 6 Vi k i n g Dr , Vi r g i n i a Be a c h , VA 2 3 4 5 0
2.11191 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                       S T I H L I N C, 5 3 6 Vi k i n g Dr , Vi r g i n i a Be a c h , VA 2 3 4 5 0
2.11192 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
         State the term remaining                         08/01/2013

         List the contract number of any government
         contract
                                                                                                                                                       St i l l w a t e r Ha r d w a r e , 6 6 S Wo o d a r d Av e , Ab s a r o k e e , M T
2.11193 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 1 2 )
                                                                                                                                                       59001-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       St i l l w a t e r Lu m b e r & Bu i l d i n g Ce n t e r , 1 S Pr a t t e n St r e e t ,
2.11194 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 2 )
                                                                                                                                                       Co l u m b u s , M T 5 9 0 1 9 - 7 2 6 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       St n l Ii Pr o p e r t y Co m p a n y L L C, 1 0 2 7 5 W Hi g g i n s Rd , Su i t e
2.11195 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 3 0 8 S. Di v i s i o n St . Ha r v a r d , I L 6 0 0 3 3
                                                                                                                                                       8 1 0 , Ro s e m o n t , I L 6 0 0 1 8
        nature of the debtor's interest
         State the term remaining                         02/28/2030

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St o k e s Fr e s h f o o d Ma r k e t , 1 3 1 0 Po m e r e l l e Av e . , Bu r l e y, I D
2.11196 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 9 1 )
                                                                                                                                                     83318-2048
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o k e s Ma r k e t , 2 1 7 So St a t e St r e e t , Pr e s t o n , I D 8 3 2 6 3 - 1 6 2 8
2.11197 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 2 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o k e s Ma r k e t Tr u e Va l u e , 2 1 2 Co t t o n w o o d St r e e t , An a c o n d a ,
2.11198 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 8 )
                                                                                                                                                     MT 59711-1857
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o l l Br o s Tr u e Va l u e Lu m b e r Lo o g o o t e e , 7 1 0 In d u s t r i a l
2.11199 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 9 7 )
        nature of the debtor's interest                                                                                                              Av e n u e , Lo o g o o t e e , I N 4 7 5 5 3 - 1 8 5 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o l l Br o s . Tr u e Va l u e Lu m b e r , St o l l Br o t h e r Tr u e Va l u e
2.11200 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 6 1 )
                                                                                                                                                     Lu m b e r , 5 0 9 S Ea s t St , Od o n , I N 4 7 5 6 2 - 1 5 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o l t z f u s Fa r m Se r v i c e In c , 1 0 4 3 Ga p Ne w p o r t Pi k e ,
2.11201 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 6 9 )
        nature of the debtor's interest                                                                                                              Co c h r a n v i l l e , PA 1 9 3 3 0 - 1 0 3 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St o n e Ag e Cr e a t i o n s Lt d , 4 0 So u t h Ma i n St , Ne w Lo n d o n , O H
2.11202 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44851
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     St o n e Al l e y In c . , 1 7 3 5 W St . Rd 2 8 , Fr a n k f o r t , I N 4 6 0 4 1
2.11203 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St o n e Ca n d l e s , 1 6 6 0 Li n c o l n Bl v d , Su i t e 2 0 0 , Sa n t a Mo n i c a ,
2.11204 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 90404
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e Ca r e In t e r n a t i o n a l , 7 5 5 Tr i - St a t e Pa r k w a y, Gu r n e e , I L
2.11205 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60031
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e La k e Ha r d w a r e , 1 6 8 6 9 W Ma i n St . , St o n e La k e , W I
2.11206 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 0 )
        nature of the debtor's interest                                                                                                                          54876-0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o n e Wo r l d , In c . , 1 6 9 9 Pe a c h t r e e Pa r k w a y, Cu m m i n g , G A
2.11207 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 30041
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e ' s Tr u s t w o r t h y Ha r d w a r e , St o n e ` s Tr u s t w o r t h y Ha r d w a r e ,
2.11208 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 0 )
        nature of the debtor's interest                                                                                                                          1 9 2 Ma i n St r e e t , Gr e a t Be n d , PA 1 8 8 2 1 - 9 5 5 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o n e c a s t e r s L L C, 1 2 5 0 He n r i Dr i v e , Wa u c o n d a , I L 6 0 0 8 4
2.11209 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e r In c , St o n e r In c , P O Bo x 6 5 , 1 0 7 0 Ro b e r t Fu l t o n Hw y ,
2.11210 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Qu a r r y v i l l e , PA 1 7 5 6 6
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e r In c , St o n e r In c , P O Bo x 6 5 , 1 0 7 0 Ro b e r t Fu l t o n Hw y ,
2.11211 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Qu a r r y v i l l e , PA 1 7 5 6 6

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St o n e r In c , St o n e r In c , P O Bo x 6 5 , 1 0 7 0 Ro b e r t Fu l t o n Hw y ,
2.11212 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Qu a r r y v i l l e , PA 1 7 5 6 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o n e r In c , St o n e r In c , P O Bo x 6 5 , 1 0 7 0 Ro b e r t Fu l t o n Hw y ,
2.11213 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Qu a r r y v i l l e , PA 1 7 5 6 6

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 St o n e w a y Ha r d w a r e , 4 9 1 0 1 5 t h Av e Nw, Se a t t l e , WA 9 8 1 0 7 -
2.11214 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 3 5 )
                                                                                                                                                                 0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o n y Br o o k Ho m e & Ga r d e n Sh o w p l a c e , St o n y Br o o k Ho m e &
2.11215 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 0 2 )
        nature of the debtor's interest                                                                                                                          Ga r d e n Sh o w, 6 Ya r d Rd , Pe n n i n g t o n , N J 0 8 5 3 4 - 9 9 9 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o r a g e Co n c e p t s By Ja k e n , 1 4 4 2 0 My f o r d Rd , # 1 5 0 , Ir v i n e ,
2.11216 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 92606
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St o r e b o u n d L L C, 5 0 Br o a d St r e e t , St e 1 2 9 0 , Ne w Yo r k , N Y
2.11217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10004
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 St o r e b o u n d L L C, 5 0 Br o a d St r e e t , St e 1 2 9 0 , Ne w Yo r k , N Y
2.11218 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10004
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 St o r e h o r s e In c , Di v i s i o n / Le h i g h Gr o u p , 2 8 3 4 Sc h o e n e c k Ro a d ,
2.11219 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ma c u n g i e , PA 1 8 0 6 2
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 St o r e h o r s e In c , Di v i s i o n / Le h i g h Gr o u p , 2 8 3 4 Sc h o e n e c k Ro a d ,
2.11220 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ma c u n g i e , PA 1 8 0 6 2

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 St o r f l e x Ho l d i n g s In c . , 3 9 2 W Pu l t e n e y St r e e t , Co r n i n g , N Y
2.11221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 14830
        nature of the debtor's interest
         State the term remaining                         01/20/2021

         List the contract number of any government
         contract
                                                                                                                                                                 St o u g h t o n Tr u e Va l u e , 5 3 1 Wa s h i n g t o n St . , St o u g h t o n , M A
2.11222 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 4 8 )
        nature of the debtor's interest                                                                                                                          02072-4207

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St r a i g h t Ar r o w Pr o d u c t s In c , 2 0 2 0 Hi g h l a n d Av e , Be t h l e h e m ,
2.11223 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 8 0 2 0
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 St r a i g h t Ar r o w Pr o d u c t s In c , 2 0 2 0 Hi g h l a n d Av e , Be t h l e h e m ,
2.11224 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 8 0 2 0
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 St r a i g h t Ar r o w Pr o d u c t s In c , 2 0 2 0 Hi g h l a n d Av e , Be t h l e h e m ,
2.11225 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 8 0 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St r a i g h t Ar r o w Pr o d u c t s In c , 2 0 2 0 Hi g h l a n d Av e , Be t h l e h e m ,
2.11226 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 PA 1 8 0 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 St r a i g h t Ar r o w Pr o d u c t s In c , 2 0 2 0 Hi g h l a n d Av e , Be t h l e h e m ,
2.11227 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 PA 1 8 0 2 0

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                St r a n d ' s In d u s t r i a l Co a t i n g s , 1 1 E Me a d o w La n e ,
2.11228 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 3 4 )
                                                                                                                                                                Ma r s h a l l t o w n , I A 5 0 1 5 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                St r a s s e r Ha r d w a r e In c , 9 1 0 So u t h w e s t Bl d , Ka n s a s Ci t y, K S
2.11229 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 3 )
        nature of the debtor's interest                                                                                                                         66103

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                St r a t e g i q Nd a 2 0 2 2 , 2 1 7 N Je f f e r s o n St , Ch i c a g o , I L 6 0 6 6 1
2.11230 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , St r a t e g I Q Co m m e r c e L L C M S A
        nature of the debtor's interest                   2022

         State the term remaining                         10/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                St r a t e g y 1 1 , 1 2 1 8 0 S. 3 0 0 Th E. , # 7 8 5 , Dr a p e r , U T 8 4 0 2 0
2.11231 State what the contract or lease is for and the
                                                          So f t w a r e , St r a t e g y 1 1 So f t w a r e - Fo r m i d a b l e Pl u g i n Fo r m s 2 0 2 4
        nature of the debtor's interest
         State the term remaining                         04/18/2024 - 04/17/2025

         List the contract number of any government
         contract
                                                                                                                                                                St r a t t o n s Tr u e Va l u e Ha r d w a r e , 1 4 1 4 Gu l f w a y Dr , Wi n n i e , T X
2.11232 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 0 )
                                                                                                                                                                77665-0190
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                St r e a m l i g h t , 3 0 Ea g l e v i l l e Rd , No r r i s t o w n , PA 1 9 4 0 3
2.11233 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                St r e a m l i g h t , 3 0 Ea g l e v i l l e Rd , No r r i s t o w n , PA 1 9 4 0 3
2.11234 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                St r i n g h a m s Tr u e Va l u e , 1 2 4 N Hi g h w a y 1 9 8 , Sa n t a q u i n , U T
2.11235 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 0 5 )
                                                                                                                                                                84655-8231
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St r o l l o s Tr u e Va l u e Ce n t e r , 3 3 0 8 Bi g l e r Av e , No r t h e r n
2.11236 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 7 0 )
        nature of the debtor's interest                                                                                                              Ca m b r i a , PA 1 5 7 1 4 - 2 1 1 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St r o s n i d e r ' s Ha r d w a r e Of Po t o m a c , In c . , 1 0 1 1 0 Ri v e r Ro a d ,
2.11237 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 3 1 )
                                                                                                                                                     Po t o m a c , M D 2 0 8 5 4 - 4 9 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St r o s n i d e r s Ha r d w a r e , 1 0 5 0 4 Co n n e t i c u t Av e . , Ke n s i n g t o n , M D
2.11238 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 0 )
        nature of the debtor's interest                                                                                                              20895-0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St r o s n i d e r s Ha r d w a r e , 6 9 3 0 Ar l i n g t o n Ro a d , Be t h e s d a , M D
2.11239 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 8 9 )
                                                                                                                                                     20814-5206
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St r o u d Tr u e Va l u e Ha r d w a r e , 2 2 4 W. Ma i n St . , St r o u d , O K
2.11240 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 5 2 )
                                                                                                                                                     74079-3609
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St r u c t u r a l Pl a s t i c s Co r p . , 3 4 0 1 Ch i e f Dr i v e , Ho l l y, M I 4 8 4 4 2
2.11241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     St u ' s Ha r d w a r e & Fu r n i t u r e , 1 1 4 Aa n i i n Dr i v e Ne , Be l c o u r t ,
2.11242 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 2 )
                                                                                                                                                     ND 58316
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St u d e b a k e r Nu r s e r i e s In c , 1 1 1 4 0 Mi l t o n Ca r l i s l e Rd , Ne w
2.11243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ca r l i s l e , O H 4 5 3 4 4

         State the term remaining                         06/29/2010

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     St u d z Ha r d w a r e In c , 4 4 5 7 S Te l e g r a p h , De a r b o r n He i g h t s , M I
2.11244 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 7 8 )
                                                                                                                                                     48125-1933
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St u m p Ch u n k s L L C, St u m p Ch u n k s L L C, 8 In d u s t r i a l Pa r k
2.11245 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Dr i v e , Ho o k s e t t , N H 0 3 1 0 6

         State the term remaining                         02/01/2016

         List the contract number of any government
         contract
                                                                                                                                                     St u r g i s Lu m b e r , 4 6 4 5 Us 1 , Ve r o Be a c h , F L 3 2 9 6 7 - 1 5 6 4
2.11246 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 7 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     St u r o n In c , St u r o n In c . , 1 5 8 0 1 Sw 2 1 6 St , Mi a m i , F L 3 3 1 7 0
2.11247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/03/2016

         List the contract number of any government
         contract
                                                                                                                                                     St y l e Cr e s t In c , 2 4 5 0 En t e r p r i s e St , Fr e m o n t , O H 4 3 4 2 0
2.11248 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                     Su b u r b a n La w n & Ga r d e n , 4 We s t 1 3 5 t h St , Ka n s a s Ci t y, M O
2.11249 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 8 5 )
                                                                                                                                                     64145-1289
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su b u r b a n La w n & Ga r d e n , 9 2 7 5 Du n r a v e n St , Le n e x a , K S
2.11250 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 6 5 )
        nature of the debtor's interest                                                                                                              66227

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su b u r b a n La w n & Ga r d e n H& g s , 1 0 5 0 1 Ro e Av e n u e , Ov e r l a n d
2.11251 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 8 6 )
                                                                                                                                                     Pa r k , K S 6 6 2 0 7 - 3 9 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su b u r b a n Pr o p a n e , L. P. , Su b u r b a n Pr o p a n e , L P , P. O. Bo x 2 0 6 ,
2.11252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          On e Su b u r b a n Pl a z a - Rt e 1 0 W, Wh i p p a n y, N J 0 7 9 8 1

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su d b u r y Tr u e Va l u e Re n t a l , 7 1 2 Bo s t o n Po s t Rd , Su d b u r y, M A
2.11253 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 8 3 )
                                                                                                                                                                 01776-3330
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su g a t s u n e Am e r i c a In c . , 1 8 1 0 1 Sa v a r o n a Wa y, Ca r s o n , C A
2.11254 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 90746
        nature of the debtor's interest
         State the term remaining                         03/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Su g r u In c , 3 8 1 2 0 Ar m h e i n , Li v o n i a , M I 4 8 1 5 0
2.11255 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Su k i Ha r d w a r e , 3 Ru e De Co r a l i t a , Qu a r t i e r D? o r l e a n s ,
2.11256 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 2 6 )
                                                                                                                                                                 Ma r i g o t , 9 7 1 5 0 , St Ma r t i n
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su l l a i r L L C, 3 7 0 0 E Mi c h i g a n Bl v d , Mi c h i g a n Ci t y, I N 4 6 3 6 0
2.11257 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m e r s Ha r d w a r e & Sp l y Co , 4 0 0 Bu f f a l o St , Jo h n s o n Ci t y,
2.11258 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 2 7 )
                                                                                                                                                                 TN 37604-6706
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11259 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11260 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11261 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11262 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11263 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/15/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Br a n d s , 1 5 1 5 Di v i d e n d Rd , Fo r t Wa y n e , I N 4 6 8 0 8
2.11264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MD 21224
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11266 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MD 21224

         State the term remaining                         06/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11267 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MD 21224
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11268 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 MD 21224

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11269 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 MD 21224
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ch e m i c a l Co , 2 3 5 So u t h Kr e s s o n St r e e t , Ba l t i m o r e ,
2.11270 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MD 21224
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t In d u s t r i e s In c , Po Bo x 7 3 2 9 , 8 3 9 Pi c k e n s In d u s t r i a l
2.11271 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Dr i v e , Ma r i e t t a , G A 3 0 0 6 2

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Ou t d o o r s L L C, 7 2 0 1 En g l e Rd , Fo r t Wa y n e , I N 4 6 8 0 4
2.11272 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/23/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Pl a s t i c , 1 1 6 9 Br i t t a i n Rd , Ak r o n , O H 4 4 3 0 5
2.11273 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/29/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Su p p l y L L C, Su m m i t Su p p l y L L C, 2 Vl i e t Fa r m Rd ,
2.11274 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 As b u r y, N J 0 8 8 0 2
        nature of the debtor's interest
         State the term remaining                         04/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Tr u e Va l u e , 8 5 8 4 Us Hi g h w a y 2 7 7 N, Ha s k e l l , T X
2.11275 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 2 9 )
        nature of the debtor's interest                                                                                                                          79521-9214

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su m m i t Tr u e Va l u e Hd w e , 1 0 7 Pa r k Av e , Su m m i t , N J 0 7 9 0 1 -
2.11276 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 0 9 5 )
                                                                                                                                                                 3949
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su m m i t Wo o d In d u s t r i e s In c , 1 1 6 1 5 E Li n c o l n Wa y, Or r v i l l e ,
2.11277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 OH 44667
        nature of the debtor's interest
         State the term remaining                         10/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Su n Ci t y Tr u e Va l u e , 1 5 4 0 0 N 9 9 t h Av e , Su n Ci t y, A Z 8 5 3 5 1 -
2.11278 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 9 9 )
                                                                                                                                                                 1972
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n Fr o g Pr o d u c t s In c , 1 7 8 6 5 Se 8 2 Nd Dr i v e , Gl a d s t o n e , O R
2.11279 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 97027
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Su n - Ma r Co r p , 5 3 7 0 S Se r v i c e Rd , Bu r l i n g t o n , O N L7 L 5 L1 ,
2.11280 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su n b e a m Pr o d u c t s In c , 2 3 8 1 Nw Ex e c u t i v e Ct r Dr , Bo c a Ra t o n ,
2.11281 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 FL 33431
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n b e a m Pr o d u c t s In c , 2 3 8 1 Nw Ex e c u t i v e Ct r Dr , Bo c a Ra t o n ,
2.11282 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          FL 33431

         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Su n b e l t , 2 2 5 5 Ju s t i n Tr a i l , Al p h a r e t t a , G A 3 0 0 0 4
2.11283 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Su n b e l t Ch e m i c a l s Co r p , 7 1 Ha r g r o v e Gr a d e , Pa l m Co a s t , F L
2.11284 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 32137

         State the term remaining                         09/01/2019 - 09/01/2022

         List the contract number of any government
         contract
                                                                                                                                        Su n b e l t Ch e m i c a l s Co r p , 7 1 Ha r g r o v e Gr a d e , Pa l m Co a s t , F L
2.11285 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        32137
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                        Su n b e l t Re n t a l s , 9 0 0 C Tr y e n s Rd , As t o n , PA 1 9 0 1 4
2.11286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/10/2011

         List the contract number of any government
         contract
                                                                                                                                        Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                        Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11288 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                        Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11289 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                        Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11290 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                        Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n c a s t Co r p , 7 0 1 N Ki r k Rd , Ba t a v i a , I L 6 0 5 1 0
2.11292 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n c o In c , 3 5 Ea s t m a n Po b 1 0 2 0 , So u t h Ea s t o n , M A 0 2 3 3 4
2.11293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su n c o a s t Pr o Su p p l y, 1 2 3 1 5 Cl e v e l a n d St Su i t e B, Nu n i c a , M I
2.11294 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 5 3 )
        nature of the debtor's interest                                                                                                                          49448

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n c o a s t Pr o Su p p l y, 4 1 8 8 We s t r o a d s Dr Un i t 1 1 6 , We s t Pa l m
2.11295 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 8 0 )
                                                                                                                                                                 Be a c h , F L 3 3 4 0 7 - 1 2 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n d b e r g Co m p a n y, 5 8 5 2 W 5 1 St St , Ch i c a g o , I L 6 0 6 3 8
2.11296 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11297 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11298 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11299 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11301 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n g r o Ho r t i c u l t u r e , 7 7 0 Si l v e r St , Ag a w a m , M A 0 1 0 0 1
2.11302 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Su n h i l l In d u s t r i e s - Im p o r t , 6 E Be a c h St , Gr e e n w o o d Vi l l a g e
2.11303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Co n d o m i n i u m s , Be t h e l , C T 0 6 8 0 1

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Su n j o y Gr o u p In t l Pt e Lt d , 5 0 Ra f f l e s Pl a c e , 3 7 Th Fl o o r ,
2.11304 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Si n g a p o r e
        nature of the debtor's interest
         State the term remaining                         11/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Su n j o y Gr o u p In t l Pt e Lt d , 5 0 Ra f f l e s Pl a c e , 3 7 Th Fl o o r ,
2.11305 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Si n g a p o r e

         State the term remaining                         03/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Su n n e d a y L L C, 1 7 0 1 H St , Pa w n e e Ci t y, N E 6 8 4 2 0
2.11306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Su n n e d a y L L C, 1 7 0 1 H St , Pa w n e e Ci t y, N E 6 8 4 2 0
2.11307 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n n i l a n d Co r p o r a t i o n , Po Bo x 8 0 0 1 , 1 7 3 5 St a t e Ro a d 4 1 9 ,
2.11308 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sa n f o r d , F L 3 2 7 7 2
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y So u t h De s i g n St u d i o , 1 4 0 1 Sw 2 7 t h Av e n u e , Mi a m i , F L
2.11309 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 2 3 )
                                                                                                                                                                 33145-1234
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y So u t h Pa i n t , 1 0 8 We s t o n Ro a d , Su n r i s e , F L 3 3 3 2 6 - 1 1 1 6
2.11310 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 2 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y So u t h Pa i n t , 1 1 0 1 S. Fe d e r a l Hi g h w a y, Po m p a n o Be a c h ,
2.11311 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 2 4 )
                                                                                                                                                                 FL 33062-7052
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y So u t h Pa i n t , 1 6 1 8 1 Nw 5 7 t h Av e n u e , Mi a m i Ga r d e n s , F L
2.11312 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 2 2 )
        nature of the debtor's interest                                                                                                                          33014-6707

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y So u t h Pa i n t , 3 2 0 2 Co r a l Wa y, Mi a m i , F L 3 3 1 4 5 - 0 0 0 1
2.11313 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11314 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60090

         State the term remaining                         09/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11316 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11317 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60090

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11318 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11319 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60090

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11320 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11321 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n n y s i d e Co r p o r a t i o n , 2 2 5 Ca r p e n t e r Av e , Wh e e l i n g , I L
2.11322 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60090
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n r i s e Su r p l u s , Su n r i s e Su r p l u s Ll c , 1 7 8 4 E Us - 2 3 , Ea s t
2.11323 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 1 4 )
                                                                                                                                                                 Ta w a s , M I 4 8 7 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n r i s e Tr u e Va l u e Ha r d w a r e , 3 2 1 St a t e Ro a d F, Su n r i s e Be a c h ,
2.11324 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 2 )
        nature of the debtor's interest                                                                                                                          MO 65079-7393

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s e t Tr u e Va l u e , 3 1 2 6 No r i e g a St , Sa n Fr a n c i s c o , C A 9 4 1 2 2
2.11325 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 1 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11326 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hb r. , C A 9 2 6 4 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11327 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11328 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hb r. , C A 9 2 6 4 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11329 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11330 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hb r. , C A 9 2 6 4 9

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11332 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hb r. , C A 9 2 6 4 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11334 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11335 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Hb r. , C A 9 2 6 4 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11336 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11337 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Hb r. , C A 9 2 6 4 9
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 10/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Ma k e r s , 1 5 9 2 2 Pa c i f i c Co a s t Hi g h w a y, Hu n t i n g t o n
2.11338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Hb r. , C A 9 2 6 4 9

         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 35582
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 35582

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11341 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 35582
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11342 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 35582

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11343 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 35582
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11344 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 35582
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11345 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 35582
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 35582
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 35582

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Su n s h i n e Mi l l s , Po Bo x 6 7 6 , 5 0 0 6 Th St Sw, Re d Ba y, A L
2.11348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                  35582
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                  Su n s h i n e Tr u e Va l u e Ha r d w a r e , 5 5 - 5 2 2 Ha w i Ro a d , Ha w i , H I
2.11349 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 1 9 5 )
        nature of the debtor's interest                                                                                                                           96719

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                  Su n s t a t e s Se c u r i t y L L C, 8 0 1 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
2.11350 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Su n s t a t e s Se c u r i t y Gu a r d
                                                                                                                                                                  3 0 0 , Ra l e i g h , N C 2 7 6 0 7
        nature of the debtor's interest                   In c r e a s e Co r s i c a n a Am e n d m e n t 2 0 2 4

         State the term remaining                         12/10/2023 - 12/09/2024

         List the contract number of any government
         contract
                                                                                                                                                                  Su n s t a t e s Se c u r i t y L L C, 8 0 1 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
2.11351 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Jo n e s b o r o Se c u r i t y Ag r e e m e n t 2 0 2 2 -
                                                                                                                                                                  3 0 0 , Ra l e i g h , N C 2 7 6 0 7
        nature of the debtor's interest                   Su n s t a t e s Se c u r i t y

         State the term remaining                         04/25/2022 - 04/24/2025

         List the contract number of any government
         contract
                                                                                                                                                                  Su n s t a t e s Se c u r i t y L L C, 8 0 1 Co r p o r a t e Ce n t e r Dr i v e , Su i t e
2.11352 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Su n s t a t e s Se c u r i t y L L C - Se c u r i t y Gu a r d
                                                                                                                                                                  3 0 0 , Ra l e i g h , N C 2 7 6 0 7
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t 2 0 2 1

         State the term remaining                         01/25/2021

         List the contract number of any government
         contract
                                                                                                                                                                  Su n w e s t Tr u e Va l u e , 1 3 5 9 9 We s t Ca m i n o De l So l , Su n Ci t y
2.11353 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 8 4 )
                                                                                                                                                                  We s t , A Z 8 5 3 7 5 - 4 4 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                  Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11354 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                  On t a r i o , C A 9 1 7 6 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                  Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11355 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                  On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                        Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11356 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 On t a r i o , C A 9 1 7 6 1

         State the term remaining                         07/31/2024

         List the contract number of any government
         contract
                                                                                                                                        Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11357 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                        Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11358 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 On t a r i o , C A 9 1 7 6 1

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                        Su p e r Gl u e Co r p / Pa c e r Te c h , 3 2 8 1 E Gu a s t i Rd , Su i t e 2 6 0 ,
2.11359 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        On t a r i o , C A 9 1 7 6 1
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 07/01/2026

         List the contract number of any government
         contract
                                                                                                                                        Su p e r Sp a r k l y Sa f e t y St u f f L L C, 7 0 1 5 Tw i n Hi l l s Av e , # 1 5 0 ,
2.11360 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                        Da l l a s , T X 7 5 2 3 1
        nature of the debtor's interest
         State the term remaining                         05/22/2018

         List the contract number of any government
         contract
                                                                                                                                        Su p e r Tr e l l i s , 5 1 Ha y e s Pl a c e , Bu f f a l o , N Y 1 4 2 1 0
2.11361 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/18/2023

         List the contract number of any government
         contract
                                                                                                                                        Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11362 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                        1 0 7 , Ea g a n , M N 5 5 1 2 1
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                        Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11363 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                 1 0 7 , Ea g a n , M N 5 5 1 2 1

         State the term remaining                         07/01/2022 - 06/30/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11364 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 0 7 , Ea g a n , M N 5 5 1 2 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11365 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 1 0 7 , Ea g a n , M N 5 5 1 2 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11366 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 0 7 , Ea g a n , M N 5 5 1 2 1
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r c l e a n Br a n d s In c , 1 3 8 0 Co r p o r a t e Ce n t e r Cu r v e , Su i t e
2.11367 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 1 0 7 , Ea g a n , M N 5 5 1 2 1
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r e x Ca n a d a Li m i t e d , 6 0 1 Go r d o n Ba k e r Ro a d , To r o n t o , O N
2.11368 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          M2 H 3 B8 , Ca n a d a

         State the term remaining                         01/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r i o r Mf g / No t r a x , 7 1 7 1 W 6 5 Th St r e e t , C H I C A G O, I L
2.11369 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60638
        nature of the debtor's interest
         State the term remaining                         04/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r i o r To o l Co m p a n y, 1 0 0 Ha y e s Dr i v e , Un i t " C, Cl e v e l a n d ,
2.11370 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          OH 44131

         State the term remaining                         07/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Su p e r i o r To o l Co m p a n y, 1 0 0 Ha y e s Dr i v e , Un i t " C, Cl e v e l a n d ,
2.11371 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 OH 44131
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Su p e r i o r To o l Co m p a n y, 1 0 0 Ha y e s Dr i v e , Un i t " C, Cl e v e l a n d ,
2.11372 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              OH 44131

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y In d u s t r i a l Ha r d w a r e , 7 0 0 Ha r b o r Bl v d , We s t
2.11373 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 5 9 )
                                                                                                                                                     Sa c r a m e n t o , C A 9 5 6 9 1 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y Ki n g Us a , Ll c , Su p p l y Ki n g Us a Ll c , 5 5 Ol d Ny a c k
2.11374 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 9 1 )
                                                                                                                                                     Tu r n p i k e , Na n u e t , N Y 1 0 9 5 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y c o r e In c , 1 1 0 0 We s t l a k e Pk w y Sw 1 0 0 , Su i t e 1 0 0 ,
2.11375 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 5 7 )
                                                                                                                                                     At l a n t a , G A 3 0 3 3 6 - 2 9 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y c o r e In c , 1 4 5 3 8 S Ga r f i e l d Av e n u e , Pa r a m o u n t , C A
2.11376 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 0 9 )
                                                                                                                                                     90723-3426
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y c o r e In c , 3 0 3 N Ma i n St St e 8 0 0 , Ro c k f o r d , I L 6 1 1 0 1 -
2.11377 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 0 )
        nature of the debtor's interest                                                                                                              1050

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y i n g De m a n d In c , 4 0 7 7 Re d w o o d Av e , Lo s An g e l e s , C A
2.11378 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     90066
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Su p p l y i n g De m a n d In c , 4 0 7 7 Re d w o o d Av e , Lo s An g e l e s , C A
2.11379 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              90066

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su p p l y m c b , 1 0 2 Qu e e n s Dr. , Ki n g o f Pr u s s i a , PA 1 9 4 0 6
2.11380 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su r e c a n In c , 2 7 2 7 N Wa s h i n g t o n Bl v d , # 2 0 1 , No r t h Og d e n , U T
2.11381 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 84414
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Su r e f i r e , L L C, 1 8 3 0 0 Mo u n t Ba l d y Ci r c l e , Fo u n t a n Va l l e y, C A
2.11382 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92708
        nature of the debtor's interest
         State the term remaining                         11/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Su r e h o l d Di v Ba r r i s t o , 3 7 1 7 N Ra v e n s w o o d , Su i t e 2 4 3 ,
2.11383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 1 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su r e h o l d Di v Ba r r i s t o , 3 7 1 7 N Ra v e n s w o o d , Su i t e 2 4 3 ,
2.11384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch i c a g o , I L 6 0 6 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su r e h o l d Di v Ba r r i s t o , 3 7 1 7 N Ra v e n s w o o d , Su i t e 2 4 3 ,
2.11385 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch i c a g o , I L 6 0 6 1 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su r e h o l d Di v Ba r r i s t o , 3 7 1 7 N Ra v e n s w o o d , Su i t e 2 4 3 ,
2.11386 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch i c a g o , I L 6 0 6 1 3

         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Su r f a c e Sh i e l d s , In c . , 1 0 4 5 7 W 6 3 Rd Pl , Or l a n d Pa r k , I L 6 0 4 6 7
2.11387 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Su r f s Up Ca n d l e , 1 7 0 3 Ma i n St , La k e Co m o , N J 0 7 7 1 9
2.11388 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/12/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Su r f s i d e Eq u i p Re n t a l & Sa l e s , 2 3 0 1 Gl e n s Ba y Rd , Su r f s i d e
2.11389 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 0 9 )
                                                                                                                                                                 Be a c h , S C 2 9 5 7 5 - 4 8 3 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su s a n Ra d d e , Ad d r e s s Re d a c t e d
2.11390 State what the contract or lease is for and the   Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Su s a n Ra d d e
        nature of the debtor's interest
         State the term remaining                         12/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Su s q u e h a n n a Ga r d e n Co n c e p t s , Po Bo x 3 5 5 , La m p e t e r , PA
2.11391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          17537

         State the term remaining                         03/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Su s t a n e Na t u r a l Fe r t i l i z e r , 3 1 0 Ho l i d a y Av e , Ca n n o n Fa l l s , M N
2.11392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55009
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su t h e r l a n d Pr o d Db a Ch a r l i e s So a p , Po Bo x 6 9 , 2 0 3 N 1 St Av e ,
2.11393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ma y o d a n , N C 2 7 0 2 7

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Su t h e r l a n d Pr o d Db a Ch a r l i e s So a p , Po Bo x 6 9 , 2 0 3 N 1 St Av e ,
2.11394 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ma y o d a n , N C 2 7 0 2 7
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Su t l i f f Ac e Ha r d w a r e , 2 1 0 Sh e l i k o f Av e , Ko d i a k , A K 9 9 6 1 5 -
2.11395 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 7 )
                                                                                                                                                                 6056
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sw a g Pa c i f i c , 7 9 5 0 Si l v e r t o n Av e , St e 1 1 0 , Sa n Di e g o , C A
2.11396 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92126
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n Pr o d u c t s L L C, 7 8 4 0 Ro s w e l l Rd , Bl d g 1 0 0 ; Su i t e 1 3 0 ,
2.11397 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 At l a n t a , G A 3 0 3 5 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n Pr o d u c t s L L C, 7 8 4 0 Ro s w e l l Rd , Bl d g 1 0 0 ; Su i t e 1 3 0 ,
2.11398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 At l a n t a , G A 3 0 3 5 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n Pr o d u c t s L L C, 7 8 4 0 Ro s w e l l Rd , Bl d g 1 0 0 ; Su i t e 1 3 0 ,
2.11399 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 At l a n t a , G A 3 0 3 5 0
        nature of the debtor's interest
         State the term remaining                         09/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n Pr o d u c t s L L C, 7 8 4 0 Ro s w e l l Rd , Bl d g 1 0 0 ; Su i t e 1 3 0 ,
2.11400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 At l a n t a , G A 3 0 3 5 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n s e a Ha r d w a r e , 1 5 3 0 So u t h b o u n d Rd , Sw a n s e a , S C 2 9 1 6 0 -
2.11401 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 4 )
                                                                                                                                                                 1000
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n s o n Ba r k & Wo o d Pr o d u c t s , 2 4 0 Te n n a n t Wa y, Lo n g v i e w,
2.11402 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WA 9 8 6 3 2

         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sw a n s o n Ba r k & Wo o d Pr o d u c t s , 2 4 0 Te n n a n t Wa y, Lo n g v i e w,
2.11403 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WA 9 8 6 3 2
        nature of the debtor's interest
         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sw a r t h m o r e Tr u e Va l u e Ha r d w a r e , 1 1 S Ch e s t e r Rd ,
2.11404 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 8 4 )
                                                                                                                                                                 Sw a r t h m o r e , PA 1 9 0 8 1 - 1 7 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw a y Gr o u p , 2 0 3 Fl a m i n g o Rd , Su i t e 3 1 7 , Mi l l Va l l e y, C A
2.11405 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Sw a y Gr o u p - Ma s t e r Se r v i c e s Ag r e e m e n t
                                                                                                                                                                 94941
        nature of the debtor's interest                   ( M S A)

         State the term remaining                         03/22/2022 - 03/21/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Sw e e t Me a d o w Fa m i l y Fa r m L L C, Sw e e t Me a d o w Fa m i l y Fa r m
2.11406 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 L L C, 1 1 1 Co o l i d g e St , Sh e r b o r n , M A 0 1 7 7 0
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Sw e e t Pe a s Ga r d e n Sh o p , 2 8 2 9 Li n d e n Av e n u e , La k e Ri d g e
2.11407 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 8 )
        nature of the debtor's interest                                                                                                                          Ro a d , Ho m e w o o d , A L 3 5 2 0 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw e e t Sh o p Ca n d i e s In c , 1 3 1 6 In d u s t r i a l Rd , Mt . Pl e a s a n t , T X
2.11408 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75455
        nature of the debtor's interest
         State the term remaining                         07/23/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11409 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 FL 33331

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11410 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33331
        nature of the debtor's interest
         State the term remaining                         01/02/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11411 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33331
        nature of the debtor's interest
         State the term remaining                         06/01/2024 - 05/31/2028

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11412 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 FL 33331
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11413 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 FL 33331
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 FL 33331

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11415 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 FL 33331
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Re s p o n s e L L C, 2 6 9 0 We s t o n Ro a d , Su i t e 2 0 0 , We s t o n ,
2.11416 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          FL 33331

         State the term remaining                         01/01/2022 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t St r a w Ii L L C, 2 2 5 5 Cu m b e r l a n d Pk w a y Se , Bl d g 1 7 0 0 ,
2.11417 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 At l a n t a , G A 3 0 3 3 9
        nature of the debtor's interest
         State the term remaining                         12/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Tr a n s p o r t a t i o n Co m p a n y, 2 2 0 0 S. 7 5 Th Av e . , Ph o e n i x ,
2.11418 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Sw i f t Tr a n s p o r t a t i o n Co m p a n y -
                                                                                                                                                                 AZ 85043
        nature of the debtor's interest                   Tr a n s p o r t a t i o n Ag r e e m e n t s Co n t r a c t e d Ca r r i e r

         State the term remaining                         05/29/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i f t Tr u e Va l u e , 2 8 4 We s t e r n Av e n u e , Ma r e n g o , I A 5 2 3 0 1 -
2.11419 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 6 0 )
                                                                                                                                                                 1220
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sw i n g - N- Sl i d e , 1 2 1 2 Ba r b e r r y, Ja n e s v i l l e , W I 5 3 5 4 5
2.11420 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/13/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sw i p e d o n , 1 / 1 1 5 Th e St r a n d , Ta u r a n g a , 3 1 1 0 , Ne w Ze a l a n d
2.11421 State what the contract or lease is for and the
                                                          So f t w a r e , Sw i p e d On Bu s i n e s s Pl a n Su b s c r i p t i o n 2 0 2 4
        nature of the debtor's interest
         State the term remaining                         03/09/2024 - 03/08/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Sy l v a n Nu r s e r y, 1 7 2 0 Sh i l o h Ro a d , Bi l l i n g s , M T 5 9 1 0 6 - 1 7 1 0
2.11422 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 8 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sy n c o Ch e m i c a l Co r p , 2 4 Da v i n c i Dr , Bo h e m i a , N Y 1 1 7 1 6
2.11423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Sy n c o Ch e m i c a l Co r p , 2 4 Da v i n c i Dr , Bo h e m i a , N Y 1 1 7 1 6
2.11424 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Sy n c o Ch e m i c a l Co r p , 2 4 Da v i n c i Dr , Bo h e m i a , N Y 1 1 7 1 6
2.11425 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sy n d i c a t e Ho m e & Ga r d e n , 2 0 2 5 N Wa b a s h Av e , Po Bo x 7 5 6 ,
2.11426 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ko k o m o , I N 4 6 9 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sy n d i c a t e Ho m e & Ga r d e n , 2 0 2 5 N Wa b a s h Av e , Po Bo x 7 5 6 ,
2.11427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ko k o m o , I N 4 6 9 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Sy n d i c a t e Ho m e & Ga r d e n , 2 0 2 5 N Wa b a s h Av e , Po Bo x 7 5 6 ,
2.11428 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ko k o m o , I N 4 6 9 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sy n d i c a t e Ho m e & Ga r d e n , 2 0 2 5 N Wa b a s h Av e , Po Bo x 7 5 6 ,
2.11429 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ko k o m o , I N 4 6 9 0 1
        nature of the debtor's interest
         State the term remaining                         05/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Sy n e r g y Re s o u r c e s , 8 4 2 2 Hw y 1 8 2 Ea s t , Mo r g a n Ci t y, L A
2.11430 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 5 )
        nature of the debtor's interest                                                                                                                          70380-2480

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Sy n t h e t i c Gr a s s Wa r e h o u s e In c , 1 4 0 0 N Da l y St , An a h e i m , C A
2.11431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 92806
        nature of the debtor's interest
         State the term remaining                         11/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 T & R Ma r k e t , 6 6 7 N. Hw y 4 9 1 , Ga l l u p , N M 8 7 3 0 1 - 4 9 8 9
2.11432 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 T + S Cr o p Se r v i c e , 4 1 3 3 S Ca r m e n Rd , Mi d d l e p o r t , N Y 1 4 0 5 7
2.11433 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 T Ch r i s t y En t e r p r i s e s , 6 5 5 E Ba l l Rd , An a h e i m , C A 9 2 8 0 5
2.11434 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 T Ch r i s t y En t e r p r i s e s , 6 5 5 E Ba l l Rd , An a h e i m , C A 9 2 8 0 5
2.11435 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     T Fr a n k Mc c a l l s In c , Si x t h & Ma d i s o n St s , Ch e s t e r , PA 1 9 0 1 3 -
2.11436 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 3 9 2 )
                                                                                                                                                     9998
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     T- Fa l / We a r e v e r , 1 5 0 4 Pa p w o r t h Av e , Me t a i r i e , L A 7 0 0 0 5
2.11437 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     T. d . c . Lt d . , Fo r t St , Ba s s e t e r r e , St Ki t t s An d Ne v i s
2.11438 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 6 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     T. W. Ev a n s Co r d a g e Co . In c . , T W Ev a n s Co r d a g e Co In c , 5 5
2.11439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Wa l n u t Gr o v e Av e , P. O. Bo x 8 0 3 8 , Cr a n s t o n , R I 0 2 9 2 0

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     T& t Tr u e Va l u e Ha r d w a r e , 1 1 0 4 Lu d i n g t o n St , Es c a n a b a , M I
2.11440 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 1 4 )
                                                                                                                                                     49829-3540
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta b e t Lb r & c o n c r e t e Tr u e Va l u e , Ta b e t Lb r & Co n c e r e t e Tr u e
2.11441 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 5 4 )
                                                                                                                                                     Va l u e , 6 0 6 Ba c a Av e , Be l e n , N M 8 7 0 0 2 - 3 5 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta b l e Mo u n t a i n Sa l e s L L C, 4 9 5 5 In d e p e n d e n c e St , Wh e a t
2.11442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ri d g e , C O 8 0 0 3 3

         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Ta b l e Ro c k Tr u e Va l u e , 1 2 6 2 2 St a t e Hi g h w a y 1 3 , Ki m b e r l i n g
2.11443 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 2 )
                                                                                                                                                     Ci t y, M O 6 5 6 8 6 - 9 3 0 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Ta b l e c r a f t Pr o d u c t Co m p a n y, 8 0 1 La k e s i d e Dr i v e , Gu r n e e , I L
2.11444 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 60031

         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                        Ta b l e m a t e Pr o d u c t s , 2 3 4 0 S Ri v e r Rd , Su i t e 3 1 0 , De s Pl a i n e s ,
2.11445 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        IL 60018
        nature of the debtor's interest
         State the term remaining                         06/01/2015

         List the contract number of any government
         contract
                                                                                                                                                        Ta b u l a r Ed i t o r Ap s , Gæ r t o r v e t 3 , 2 Fl o o r , Co p e n h a g e n , D K-
2.11446 State what the contract or lease is for and the
                                                          So f t w a r e , Ta b u l a r Ed i t o r Ap S So f t w a r e Su b s c r i p t i o n 2 0 2 4
        nature of the debtor's interest                                                                                                                 1 7 9 9 , De n m a r k

         State the term remaining                         06/17/2024 - 06/16/2025

         List the contract number of any government
         contract
                                                                                                                                                        Ta c o m a Sc r e w Pr o d u c t s , 2 0 0 1 S Ce n t e r St , Ta c o m a , WA 9 8 4 0 9 -
2.11447 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 1 6 )
                                                                                                                                                        7821
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Ta c o m a Sc r e w Pr o d u c t s , 2 0 0 2 3 6 t h St Nw, Gi g Ha r b o r , WA
2.11448 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 2 )
                                                                                                                                                        98335
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Ta g - Ol l y Ol l y Gr o u p L L C, 9 0 0 We s t Bl i s s St , Ch i c a g o , I L
2.11449 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                        60642
        nature of the debtor's interest
         State the term remaining                         11/01/2023 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                        Ta g - Tr a d e As s o c i a t e s Gr o u p Lt d , 1 7 3 0 W Wr i g h t w o o d ,
2.11450 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        Ch i c a g o , I L 6 0 6 1 4
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                        Ta g Tr a d e As s o c Gr o u p , 1 7 3 0 W Wr i g h t w o o d , Ch i c a g o , I L
2.11451 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                 60614

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ta g a w a Ga r d e n s , 7 7 1 1 S Pa r k e r Rd , Ce n t e n n i a l , C O 8 0 0 1 6 -
2.11452 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 9 4 )
                                                                                                                                                                 1456
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta i w a n Fu Hs i n g In d u s t r i a l Co , No 8 8 Yu c a i Rd , Ga n g s h a n
2.11453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Di s t r i c t , Ka o h s i u n g , 8 2 0 , Ta i w a n

         State the term remaining                         11/10/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ta i w a n Fu Hs i n g In d u s t r i a l Co , No 8 8 Yu c a i Rd , Ga n g s h a n
2.11454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Di s t r i c t , Ka o h s i u n g , 8 2 0 , Ta i w a n
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta i w a n Fu Hs i n g In d u s t r i a l Co , No 8 8 Yu c a i Rd , Ga n g s h a n
2.11455 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Di s t r i c t , Ka o h s i u n g , 8 2 0 , Ta i w a n
        nature of the debtor's interest
         State the term remaining                         11/17/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Ta i w a n Fu Hs i n g In d u s t r i a l Co , No 8 8 Yu c a i Rd , Ga n g s h a n
2.11456 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Di s t r i c t , Ka o h s i u n g , 8 2 0 , Ta i w a n
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Ta j e r - s c i w i a r s k i Ta d e u s z , Ms z c z o n o w s k a 5 9 e , Na d a r z y n ,
2.11457 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 7 6 )
                                                                                                                                                                 Po l a n d
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta k e s Tr u e Va l u e , 2 9 Mo h a l a St , Ka u n a k a k a i , H I 9 6 7 4 8 - 1 8 9 0
2.11458 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 7 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta l e n d In c . , 8 0 0 Br i d g e Pa r k w a y, Su i t e 2 0 0 , Re d w o o d Ci t y, C A
2.11459 State what the contract or lease is for and the   Or d e r Fo r m , Ta l e n d - Ap p l i c a t i o n Da t a In t e g r a t i o n So f t w a r e
                                                                                                                                                                 94065
        nature of the debtor's interest                   Re n e w a l 2 0 2 4 - 2 0 2 7

         State the term remaining                         04/01/2024 - 03/31/2027

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Ta l e n d In c . , 8 0 0 Br i d g e Pa r k w a y, Su i t e 2 0 0 , Re d w o o d Ci t y, C A
2.11460 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Ta l e n d - Ac a d e m y Na m e d Us e r Li c e n s e
        nature of the debtor's interest                                                                                                                94065

         State the term remaining                         05/15/2024 - 03/31/2027

         List the contract number of any government
         contract
                                                                                                                                                       Ta l e n d In c . , 8 0 0 Br i d g e Pa r k w a y, Su i t e 2 0 0 , Re d w o o d Ci t y, C A
2.11461 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ta l e n d S O W 1 C O 1 T& M Co n t r a c t o r s
                                                                                                                                                       94065
        nature of the debtor's interest                   f o r Or a c l e E R P

         State the term remaining                         03/12/2021

         List the contract number of any government
         contract
                                                                                                                                                       Ta l e n d In c . , 8 0 0 Br i d g e Pa r k w a y, Su i t e 2 0 0 , Re d w o o d Ci t y, C A
2.11462 State what the contract or lease is for and the
                                                          So f t w a r e , Ta l e n d Ma s t e r So f t w a r e Li c e n s e a n d Se r v i c e s
        nature of the debtor's interest                   Ag r e e m e n t                                                                             94065

         State the term remaining                         02/10/2021 - 02/09/2026

         List the contract number of any government
         contract
                                                                                                                                                       Ta l l a h a s s e e Ho m e & g a r d e n Sh o w p l a c e , Ta l l a h a s s e e
2.11463 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 0 1 )
                                                                                                                                                       Ho m e & g a r d e n Sh o w p l , 2 9 1 1 Th o m a s v i l l e Ro a d , Ta l l a h a s s e e ,
        nature of the debtor's interest
                                                                                                                                                       FL 32308-0829
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Ta l l a s s e e Tr u e Va l u e Ha r d w a r e , 1 4 0 0 Gi l m e r Av e , Ta l l a s s e e ,
2.11464 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 6 2 1 )
                                                                                                                                                       AL 36078-2322
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Ta l m a g e Fa r m Ag w a y, 1 1 2 2 Os b o r n e Av e , Ri v e r h e a d , N Y
2.11465 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 0 )
        nature of the debtor's interest                                                                                                                11901

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Ta l u s Co r p , 2 9 9 Pr e s u m p s c o t St r e e t , Po r t l a n d , M E 0 4 1 0 3
2.11466 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2007

         List the contract number of any government
         contract
                                                                                                                                                       Ta n k n o l o g y, 8 8 0 Ch u r c h Ro a d , El g i n , I L 6 0 1 2 3
2.11467 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ta n k n o l o g y Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t Co r s i c a n a 2 0 2 2

         State the term remaining                         07/07/2022

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Ta n k n o l o g y, 8 8 0 Ch u r c h Ro a d , El g i n , I L 6 0 1 2 3
2.11468 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ta n k n o l o g y Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t Jo n e s b o r o 2 0 2 2

         State the term remaining                         07/08/2022

         List the contract number of any government
         contract
                                                                                                                                                               Ta n k n o l o g y, 8 8 0 Ch u r c h Ro a d , El g i n , I L 6 0 1 2 3
2.11469 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ta n k n o l o g y Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t We s t l a k e 2 0 2 2

         State the term remaining                         07/08/2022

         List the contract number of any government
         contract
                                                                                                                                                               Ta n k n o l o g y, 8 8 0 Ch u r c h Ro a d , El g i n , I L 6 0 1 2 3
2.11470 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Ta n k n o l o g y Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t Ha r v a r d 2 0 2 2

         State the term remaining                         07/08/2022

         List the contract number of any government
         contract
                                                                                                                                                               Ta n n e r Lu m b e r In c . , 4 N Se c o n d Av e , Br o a d a l b i n , N Y 1 2 0 2 5 -
2.11471 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 8 4 )
                                                                                                                                                               2163
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Ta r a n t i n In d u s t r i e s , 8 6 Va n d e r v e e r , Fr e e h o l d , N J 0 7 7 2 8
2.11472 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/22/2017

         List the contract number of any government
         contract
                                                                                                                                                               Ta r c o , On e In f o r m a t i o n Wa y, Li t t l e Ro c k , A R 7 2 2 0 2
2.11473 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                               Ta r h e e l Ha r d w a r e , 1 9 5 N Nc 4 1 Hw y. , Be u l a v i l l e , N C 2 8 5 1 8 -
2.11474 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 9 )
        nature of the debtor's interest                                                                                                                        8762

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Ta r t a n , 2 0 Gr e e n w a y Pl a z a , Su i t e 2 0 0 , Ho u s t o n , T X 7 7 0 4 6
2.11475 State what the contract or lease is for and the   Tr a n s p o r t a t i o n Se r v i c e s , Ta r t a n Bu l k Fu e l Ag r e e m e n t Re n e w a l
        nature of the debtor's interest                   2024

         State the term remaining                         09/01/2024 - 08/31/2025

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ta r z i a n Ha r d w a r e , 1 9 3 7 t h Av e , Br o o k l y n , N Y 1 1 2 1 5 - 3 0 9 9
2.11476 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 0 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta t - f a t En t e r p r i s e s N. v. , Ta t - f a t Ho m e De p o t & Ha r d w a r e ,
2.11477 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 7 8 )
                                                                                                                                                                 Ve n e z u e l a s t r a a t 3 8 , Or a n j e s t a d , Ar u b a
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta t a Co n s u l t a n c y Se r v i c e s Lt d , 3 7 9 Th o r n a l l St . , Ed i s o n , N J
2.11478 State what the contract or lease is for and the   Ch a n g e Or d e r , T C S L S O W 2 0 2 0 - 0 2 C O 2 5 Qu a l i t y As s u r a n c e
                                                                                                                                                                 08837
        nature of the debtor's interest                   Se r v i c e s f o r O M S

         State the term remaining                         09/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Ta t t l e r Ho m e Pr o d u c t s , 2 5 9 1 Le g a c y Wa y, Gr a n d Ju n c t i o n , C O
2.11479 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 81503
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta t t l e r Ho m e Pr o d u c t s , 2 5 9 1 Le g a c y Wa y, Gr a n d Ju n c t i o n , C O
2.11480 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 81503
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta t u n g Co o f Am e r i c a In c , 2 8 5 0 El Pr e s i d i o St , Lo n g Be a c h ,
2.11481 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          CA 90810

         State the term remaining                         08/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ta x Re c o u r s e L L C, 2 8 2 5 Wi l c r e s t Dr i v e , Su i t e 6 6 9 , Ho u s t o n ,
2.11482 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Ta x Re c o u r s e L L C - Co m m e r c i a l
                                                                                                                                                                 TX 77042
        nature of the debtor's interest                   Pr o p e r t y Ta x Se r v i c e s Ag r e e m e n t

         State the term remaining                         02/22/2024 - 02/21/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Ha r d w a r e In c , 9 1 4 Ma i n St , Be l m a r , N J 0 7 7 1 9 - 2 7 2 4
2.11483 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 9 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11484 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11485 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11486 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11487 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11488 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11489 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6

         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11491 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11492 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11493 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11494 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6
        nature of the debtor's interest
         State the term remaining                         11/01/2023 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Pr e c i s i o n Pr o d u c t s , Ta y l o r Pr e c i s i o n Pr o d u c t s Lp , 5 3 8 8
2.11495 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ai r w a y s Bl v d , Me m p h i s , T N 3 8 1 1 6

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 1 0 2 9 Fr o n t St , Bi n g h a m t o n , N Y 1 3 9 0 5 - 1 2 0 3
2.11496 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 9 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 1 3 0 6 Ma i n St , Sa n f o r d , M E 0 4 0 7 3 - 3 6 3 5
2.11497 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 8 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 1 3 9 0 W Ba g l e y Rd , Be r e a , O H 4 4 0 1 7 - 2 9 1 2
2.11498 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 1 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 1 5 1 8 No r t h Ce n t r a l Ex p r e s s w a y, Pl a n o , T X
2.11499 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 9 7 2 )
                                                                                                                                                     75074-5714
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Re n t a l , 1 5 4 5 Ri v e r s i d e Av e , Pa s o Ro b l e s , C A 9 3 4 4 6 -
2.11500 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 7 3 )
                                                                                                                                                     1745
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 1 5 6 0 Hw y 1 So u t h , Gr e e n v i l l e , M S 3 8 7 0 1 - 7 1 4 2
2.11501 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 3 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 2 0 6 S Ti n n e y St , Ta l l a d e g a , A L 3 5 1 6 0 - 2 5 0 0
2.11502 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 1 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 2 5 1 0 S Ke r r Bl v d , Sa l l i s a w, O K 7 4 9 5 5 - 7 4 6 0
2.11503 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 4 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 2 5 3 N Fl a g l e r Av e , Ho m e s t e a d , F L 3 3 0 3 0 - 6 1 3 0
2.11504 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 2 5 5 Rt 3 1 S, Wa s h i n g t o n , N J 0 7 8 8 2 - 4 0 6 8
2.11505 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 2 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 2 7 4 Br o a d St , Ma n c h e s t e r , C T 0 6 0 4 0 - 4 0 3 4
2.11506 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 7 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 3 7 2 Br o a d w a y, Sa r a n a c La k e , N Y 1 2 9 8 3 - 1 1 4 3
2.11507 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 2 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Re n t a l , 4 0 9 Go f f l e Rd , Ri d g e w o o d , N J 0 7 4 5 0 - 4 0 3 4
2.11508 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 8 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 4 3 2 No r t h Fa l m o u t h Hw y, No r t h Fa l m o u t h , M A
2.11509 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 0 6 )
                                                                                                                                                     02556-2802
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 4 4 8 Br o a d w a y, Hi l l s d a l e , N J 0 7 6 4 2 - 1 4 1 1
2.11510 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 7 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 5 6 4 Co n n e c t i c u t Av e , No r w a l k , C T 0 6 8 5 4 - 1 7 9 0
2.11511 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 2 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , 8 4 5 t h Av e , Ba y Sh o r e , N Y 1 1 7 0 6 - 7 3 3 1
2.11512 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 1 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l , E. r. Ca b a In c Tr c , 7 6 6 Va l l e y Fo r g e Rd ,
2.11513 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 9 0 )
        nature of the debtor's interest                                                                                                              Ph o e n i x v i l l e , PA 1 9 4 6 0 - 2 5 1 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l / Pa r t y Pl u s , 4 4 7 2 Co r p o r a t e Sq u a r e , Na p l e s , F L
2.11514 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 4 3 )
                                                                                                                                                     34104-4755
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Ar l i n g t o n , 7 8 Bo w St , Ar l i n g t o n , M A 0 2 4 7 4 -
2.11515 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 8 6 )
                                                                                                                                                     2715
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Re n t a l Ce n t e r , 1 0 2 Pe c k h a r t Ct , Au b u r n , I N 4 6 7 0 6 - 9 5 4 8
2.11516 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 2 1 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Ce n t e r , 1 4 Sh a w m u t Av e , Ho l y o k e , M A 0 1 0 4 0 -
2.11517 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 7 7 )
                                                                                                                                                     2324
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Ce n t e r , 2 0 7 Ra i l r o a d Av e , Gr e e n w i c h , C T
2.11518 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 4 0 )
        nature of the debtor's interest                                                                                                              06830-3301

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Ce n t e r , 3 6 9 Hi g h St , Gr e e n f i e l d , M A 0 1 3 0 1 -
2.11519 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 4 5 )
                                                                                                                                                     2617
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Ce n t e r , 5 5 0 Ro u t e 3 St e 1 0 0 , Pl a t t s b u r g h , N Y
2.11520 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 1 2 )
        nature of the debtor's interest                                                                                                              12901-2994

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Re n t a l Sa l e s & Se r v i c e , 1 4 4 8 Ro u t e 7 S, Mi d d l e b u r y,
2.11521 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 8 7 1 )
                                                                                                                                                     VT 05753-8995
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e , 1 6 1 5 Ta y l o r Pl z We s t , Ga r d e n Ci t y, K S
2.11522 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 2 )
                                                                                                                                                     67846
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e , 1 8 8 8 Mi t c h e l l Rd , Pe t o s k e y, M I 4 9 7 7 0 - 9 6 8 6
2.11523 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 6 9 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 0 5 9 Wa s h i n g t o n St , Ea s t
2.11524 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 3 0 )
                                                                                                                                                     We y m o u t h , M A 0 2 1 8 9 - 1 9 3 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 2 0 9 0 Me t r o Pa r k w a y, Fo r t My e r s ,
2.11525 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 8 9 )
        nature of the debtor's interest                                                                                                              FL 33966-8365

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 2 1 7 Er i e Bl v d W, Ro m e , N Y 1 3 4 4 0 -
2.11526 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 3 0 4 )
                                                                                                                                                     8303
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 5 5 Bo s t o n Po s t Ro a d , We s t b r o o k ,
2.11527 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 2 1 )
        nature of the debtor's interest                                                                                                              CT 06498-1738

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 6 0 Da n i e l We b s t e r Hw y, Be l m o n t ,
2.11528 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 9 6 )
                                                                                                                                                     NH 03220-3036
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 6 0 No r t h Br a n f o r d Rd , Br a n f o r d ,
2.11529 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 9 2 )
        nature of the debtor's interest                                                                                                              CT 06405-6011

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 1 9 7 Mi l l St , Le o m i n s t e r , M A 0 1 4 5 3 -
2.11530 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 1 3 4 )
                                                                                                                                                     3297
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 2 0 4 Co r t e z Rd . E. , Br a d e n t o n , F L
2.11531 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 0 1 )
                                                                                                                                                     34203-3527
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 2 6 Wa s h i n g t o n St , We l l e s l e y Hi l l s ,
2.11532 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 9 6 3 )
                                                                                                                                                     MA 02481-1705
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 2 7 6 N St a t e St r e e t , Co n c o r d , N H
2.11533 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 5 )
                                                                                                                                                     03301
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 3 0 4 Bo s t o n Po s t Rd , Or a n g e , C T
2.11534 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 7 0 )
        nature of the debtor's interest                                                                                                              06477-3505

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 3 1 3 1 Er i e Bl v d E, De w i t t , N Y
2.11535 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 3 5 )
                                                                                                                                                     13214-1201
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 3 3 3 Ma r k e t St , Wa r r e n , R I 0 2 8 8 5
2.11536 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 3 7 3 6 0 Fr e n c h Cr e e k Ro a d , Av o n , O H
2.11537 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 5 7 )
                                                                                                                                                     44011-1708
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 4 2 1 9 Li n c o l n Ro a d Ex t , Ha t t i e s b u r g ,
2.11538 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 9 1 )
                                                                                                                                                     MS 39402-3065
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 4 3 2 Po r t l a n d Av e , Ro l l i n s f o r d , N H
2.11539 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 1 4 )
        nature of the debtor's interest                                                                                                              03869-5906

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 4 5 0 W Fa i r Av e n u e , La n c a s t e r , O H
2.11540 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 9 3 )
                                                                                                                                                     43130-1746
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 4 6 1 1 Us Hw y 2 7 S, Se b r i n g , F L
2.11541 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 9 0 )
        nature of the debtor's interest                                                                                                              33870-5527

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 4 9 7 8 Br o a d w a y, De p e w, N Y 1 4 0 4 3 -
2.11542 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 9 4 )
                                                                                                                                                     3926
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 5 2 3 N Hi g h w a y 9 8 , Ok e e c h o b e e , F L
2.11543 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 5 1 )
        nature of the debtor's interest                                                                                                              34972-2309

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 5 3 1 Br o a d w a y, Ha v e r h i l l , M A
2.11544 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 2 4 )
                                                                                                                                                     01832-1203
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 5 7 5 2 Rt 2 0 9 , Ke r h o n k s o n , N Y
2.11545 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 0 2 )
                                                                                                                                                     12446-3109
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 6 2 S Wa v e r l y Ro a d , Ho l l a n d , M I
2.11546 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 7 7 5 )
                                                                                                                                                     49423-3053
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 7 Hi g h St , Gr e a t Ba r r i n g t o n , M A
2.11547 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 5 3 3 )
                                                                                                                                                     01230-1508
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , 7 1 Me c h a n i c St r e e t , Be l l i n g h a m , M A
2.11548 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 3 2 )
        nature of the debtor's interest                                                                                                              02019-1633

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l , Ta y l o r Re n t a l , 7 7 8 5 Po s t Rd , No r t h
2.11549 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 7 5 )
                                                                                                                                                     Ki n g s t o w n , R I 0 2 8 5 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l Of Po r t Je f f e r s o n , Ta y l o r Tr u e Va l u e
2.11550 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 9 2 )
        nature of the debtor's interest                                                                                                              Re n t a l Of Po , 5 5 5 Ha l l o c k Av e , Po r t Je f f e r s o n St a t , N Y 1 1 7 7 6 -
                                                                                                                                                     1221
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r Tr u e Va l u e Re n t a l Of Wa r w i c k , 2 2 9 6 Po s t Rd , Wa r w i c k ,
2.11551 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 0 5 2 )
                                                                                                                                                     RI 02886-2242
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r s Tr u e Va l u e Fa r m St o r e , 7 1 4 1 / 2 Ro o s e v e l t Hw y, Sh e l b y,
2.11552 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 8 4 4 )
                                                                                                                                                     MT 59474-1800
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ta y l o r s v i l l e Tr u e Va l u e , 1 3 5 1 Nc Hw y 1 6 So u t h , Ta y l o r s v i l l e ,
2.11553 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 3 2 )
                                                                                                                                                     NC 28681-8942
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tc b In n o v a t i o n s L L C, Po Bo x 7 4 9 4 , 6 1 5 8 So u t h Po i n t e ,
2.11554 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ro c h e s t e r , M N 5 5 9 0 3
        nature of the debtor's interest
         State the term remaining                         07/25/2017

         List the contract number of any government
         contract
                                                                                                                                                     Tc c Ma t e r i a l s , 2 0 2 5 Ce n t r e Po i n t e Bl v d , Me n d o t a Hg h t s , M N
2.11555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              55120

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Te a m Su p p l y, 3 9 7 Ai r p o r t Ro a d , Ha z l e t o n , PA 1 8 2 0 2 - 3 3 2 4
2.11556 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Te c La b o r a t o r i e s In c , Te c Ma n u f a c t u r i n g , 8 5 7 2 Al e s s a n d r i a Ct ,
2.11557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                Na p l e s , F L 3 4 1 1 4

         State the term remaining                         06/01/2021

         List the contract number of any government
         contract
                                                                                                                                                       Te c La b o r a t o r i e s In c , Te c Ma n u f a c t u r i n g , 8 5 7 2 Al e s s a n d r i a Ct ,
2.11558 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       Na p l e s , F L 3 4 1 1 4
        nature of the debtor's interest
         State the term remaining                         01/09/2017

         List the contract number of any government
         contract
                                                                                                                                                       Te c h En t e r p r i s e s , In c . , Po Bo x 2 5 9 2 9 4 , Ma d i s o n , W I 5 3 7 2 5
2.11559 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                       Te c h s m i t h , 1 4 Cr e s c e n t Rd . , Ea s t La n s i n g , M I 4 8 8 2 3
2.11560 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Te c h Sm i t h Ca m t a s i a Sn a g i t Bu n d l e
        nature of the debtor's interest                   Li c e n s e a n d Ma i n t Re n e w a l 2 0 2 4 - Ca t h e r i n e Ro u n t r e e

         State the term remaining                         03/01/2024 - 02/28/2025

         List the contract number of any government
         contract
                                                                                                                                                       Te c u m s e h Tr u e Va l u e Hd w. , Te c u m s e h Tr u e Va l u e Hd w, 2 8 0 0 W
2.11561 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 8 0 0 )
                                                                                                                                                       Ch i c a g o Bl v d , Te c u m s e h , M I 4 9 2 8 6 - 8 3 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Te d Su p p l y, 6 3 3 Do w d Av e . , El i z a b e t h , N J 0 7 2 0 1
2.11562 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 2 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Te d ' s Tr u e Va l u e Re n t a l , Te d ` s Tr u e Va l u e Re n t a l , 9 9 9 Co l l e g e
2.11563 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 0 1 )
                                                                                                                                                       Dr i v e , Du r a n g o , C O 8 1 3 0 1 - 5 5 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Te d f o r d Tr u e Va l u e Ho m e & Au t o , 1 0 1 Ba i l e y Al l e y, Br u c e , M S
2.11564 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 7 9 )
        nature of the debtor's interest                                                                                                                          38915-9694

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te d f o r d ' s Bu i l d i n g Ma t e r i a l s & Ha r d w a r e , Te d f o r d ` s Bu i l d i n g
2.11565 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 5 1 )
                                                                                                                                                                 Ma t e r i a l s A, 1 0 Br o w n Sq u a r e , Ip s w i c h , M A 0 1 9 3 8 - 1 8 3 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te e Ze d Pr o d u c t s L L C, Po Bo x 1 6 6 2 , 7 0 1 - B W Ma i n St ,
2.11566 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ja m e s t o w n , N C 2 7 2 8 2

         State the term remaining                         11/19/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Te e c o So l u t i o n s , 1 4 4 W Lo c k w o o d Av e , Su i t e 2 0 1 , We b s t e r
2.11567 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr o v e s , M O 6 3 1 1 9
        nature of the debtor's interest
         State the term remaining                         10/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Te g r a s e a l Pr o d u c t s L L C, 9 2 3 1 Pe n n Av e n u e So u t h ,
2.11568 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bl o o m i n g t o n , M N 5 5 4 3 1
        nature of the debtor's interest
         State the term remaining                         12/16/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11570 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11572 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11574 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11575 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2022 - 06/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11576 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Te k n o r - Ap e x Co m p a n y, 5 0 5 Ce n t r a l Av e , Pa w t u c k e t , R I 0 2 8 6 1
2.11577 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2022 - 06/01/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Te l c o m So l u t i o n s L L C, 5 0 0 9 Ch a s e Dr i v e , Do w n e r s Gr o v e , I L
2.11578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60515

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07004
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1448 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 07004

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11581 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07004
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11582 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07004
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11583 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07004
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l e b r a n d s Co r p o r a t i o n , 7 9 Tw o Br i d g e s Rd , Fa i r f i e l d , N J
2.11584 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 07004
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l e g r a p h Ha r d w a r e , 6 6 4 0 Te l e g r a p h Av e , Oa k l a n d , C A 9 4 6 0 9 -
2.11585 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 4 0 )
        nature of the debtor's interest                                                                                                                          1116

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te l l Ma n u f a c t u r i n g In c , 1 9 0 0 Pa t t e r s o n Rd , Ma r i e t t a , N Y
2.11586 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 13110
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Te l o n En t e r p r i s e s , Ca l l e De Di e g o 1 5 6 , Bl d g 1 5 6 , Sa n Ju a n , P R
2.11587 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 6 )
        nature of the debtor's interest                                                                                                                          00925-3426

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                Page 1449 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Te m p l e In l a n d , 3 0 3 S Te m p l e , Di b o l l , T X 7 5 9 4 1
2.11588 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 Te n St r a w b e r r y St r e e t , 3 8 3 7 Mo n a c o Pa r k w a y, De n v e r , C O
2.11589 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          80207

         State the term remaining                         03/23/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Te n d e r Co r p o r a t i o n , 9 4 4 In d u s t r i a l Pa r k Rd , Li t t l e t o n , N H
2.11590 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 03561
        nature of the debtor's interest
         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Te n d e r Co r p o r a t i o n , 9 4 4 In d u s t r i a l Pa r k Rd , Li t t l e t o n , N H
2.11591 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 03561
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te n e r g y Co r p o r a t i o n , 4 3 6 Ka t o Te r r a c e , Fr e m o n t , C A 9 4 5 3 9
2.11592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Te n n a n t / No b l e s , 7 0 1 N Li l a c Dr i v e , Mi n n e a p o l i s , M N 5 5 4 4 0
2.11593 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Te r a d a t a Op e r a t i o n s , In c . , 1 0 0 0 0 In n o v a t i o n Dr i v e , Da y t o n , O H
2.11594 State what the contract or lease is for and the
                                                          Or d e r Fo r m , Te r a d a t a Cl o u d - Va n t a g e Un i t An n u a l Re n e w a l
        nature of the debtor's interest                                                                                                                          45342

         State the term remaining                         05/15/2024 - 05/14/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Te r a p l a s t Sp a , Vi a De l Pr o g r e s s o , 6 5 , Ca s t e l g o m b e r t o , 3 6 0 7 0 ,
2.11595 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 It a l y
        nature of the debtor's interest
         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Te r m i n a l Ha r d w a r e , 3 0 5 5 Fr u i t l a n d Av e , Ve r n o n , C A 9 0 0 5 8 -
2.11596 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 8 3 )
        nature of the debtor's interest                                                                                                                          1034

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te r r a De s i g n s , 5 4 2 5 E Pi m a St r e e t , Tu c s o n , A Z 8 5 7 1 2 - 3 6 3 3
2.11597 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 0 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te r r a Pr o d u c t s In c , 2 0 6 0 0 Ke n r i c k Av e , La k e v i l l e , M N 5 5 0 4 4
2.11598 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Te r r a p i n Tr a d i n g Co Lt d , 1 5 5 5 In k s t e r Bl v d , Wi n n i p e g , M B
2.11599 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                           R2 X 1 R2 , Ca n a d a

         State the term remaining                         09/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Te r r a q u i p Co n s t Pr o d u c t s , Po Bo x 7 1 4 6 , Ch a r l e s t o w n , W V
2.11600 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 25356
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Te t e r s Fl o r a l , 1 4 2 5 S Li l l i a n Av e , Bo l i v a r , M O 6 5 6 1 3
2.11601 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Te t r a Po n d , 3 0 0 1 Co m m e r c e St . , Bl a c k s b u r g , VA 2 4 0 6 0
2.11602 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Te t r a Po n d , 3 0 0 1 Co m m e r c e St . , Bl a c k s b u r g , VA 2 4 0 6 0
2.11603 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Te u f e l Ho l l y Fa r m s , 1 6 0 Sw Mi l l e r Ro a d , Po r t l a n d , O R 9 7 2 2 5
2.11604 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Te x a s Cu s t o m Gr i l l s L L C, 9 9 2 0 W Sa m Ho u s t o n Pk w y S, St e
2.11605 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     4 0 5 , Ho u s t o n , T X 7 7 0 9 9
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Te x a s In d u s t r i e s , 1 3 4 1 We s t Mo c k i n g b i r d La n e , Da l l a s , T X
2.11606 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     75247
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Te x a s Pa i n t & Wa l l p a p e r , 4 4 1 0 Ro s s Av e , Da l l a s , T X 7 5 2 0 4
2.11607 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 0 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tf s Lt d , 3 2 3 5 Le v i s Co m m o n s Bl v d , Pe r r y s b u r g , O H 4 3 5 5 1
2.11608 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , T F S Lt d M N D A 2 0 2 4
        nature of the debtor's interest
         State the term remaining                         02/01/2026 - 01/31/2028

         List the contract number of any government
         contract
                                                                                                                                                     Th a y n e Tr u e Va l u e Ha r d w a r e & Va r i e t y, Th a y n e Tr u e Va l u e
2.11609 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 2 0 )
                                                                                                                                                     Ha r d w a r e & V, 1 2 0 Pe t e r s e n Pa r k w a y, Th a y n e , W Y 8 3 1 2 7 - 0 9 2 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Au b u c h o n Co m p a n y, 9 5 Au b u c h o n Dr. , We s t m i n s t e r , M A
2.11610 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 5 3 )
        nature of the debtor's interest                                                                                                              01473

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Be s t Ha r d w a r e , 8 7 0 9 Ma c c o r k l e Av e n u e , Ma r m e t , W V
2.11611 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 1 )
                                                                                                                                                     25315-1725
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                 Schedule G: Executory Contracts and Unexpired Leases                                                                                    Page 1452 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Th e Br u c e Co Of Wi s c o n s i n H& g s , 7 6 2 2 Do n n a Dr , Mi d d l e t o n ,
2.11612 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 7 0 )
                                                                                                                                                     WI 53562-1742
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Bu i l d i n g Ce n t e r , 1 3 0 0 W Ma i n St , Li v i n g s t o n , T N 3 8 5 7 0 -
2.11613 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 4 7 6 )
                                                                                                                                                     2208
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Bu i l d i n g Ce n t e r , 4 5 8 0 S Je f f e r s o n Av e , Co o k e v i l l e , T N
2.11614 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 2 8 )
                                                                                                                                                     38506
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ca r a Gr o u p , In c . , 2 2 1 5 Yo r k Ro a d , Su i t e 3 0 0 , Oa k Br o o k ,
2.11615 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Th e Ca r a Gr o u p - Or a c l e Fi n a n c i a l Tr a i n i n g
        nature of the debtor's interest                   Pr o j e c t 2 0 2 0                                                                       IL 60523

         State the term remaining                         09/10/2020

         List the contract number of any government
         contract
                                                                                                                                                     Th e El e n b a a s Co m p a n y In c . , 3 0 2 We s t Ma i n St . , Ev e r s o n , WA
2.11616 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 4 )
                                                                                                                                                     98247
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ga r d e n Fa c t o r y H & g s , 2 1 2 6 Bu f f a l o Rd , Ro c h e s t e r , N Y
2.11617 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 0 )
        nature of the debtor's interest                                                                                                              14624-1508

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ga r d e n Pl o t , 8 4 5 3 Ri c h m o n d Hi g h w a y, Al e x a n d r i a , VA
2.11618 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 6 0 )
                                                                                                                                                     22309-2408
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Go o d Ch a r c o a l Co m p a n y Lp , 2 2 2 E 8 0 Th St r e e t , Ap t 1 0 Fg ,
2.11619 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Ne w Yo r k , N Y 1 0 0 7 5
        nature of the debtor's interest
         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Th e Go o d Ch a r c o a l Co m p a n y Lp , 2 2 2 E 8 0 Th St r e e t , Ap t 1 0 Fg ,
2.11620 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ne w Yo r k , N Y 1 0 0 7 5
        nature of the debtor's interest
         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Th e Gr a n i t e Gr o u p , 1 1 Ri c k e r Av e n u e , Lo n d o n d e r r y, N H
2.11621 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 2 6 )
                                                                                                                                                     03053-2027
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Gr i m m Gr o u p L L C, 5 1 0 Tu s c a r o r a Rd , Ma r s , PA 1 6 0 4 6
2.11622 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Th e Ha r d w a r e Ex c h a n g e Tr u e Va l u e , Th e Ha r d w a r e Ex c h a n g e
2.11623 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 6 8 0 )
                                                                                                                                                     Tr u e Va l , 1 4 1 S Sa n d u s k y, De l a w a r e , O H 4 3 0 1 5 - 2 3 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ha r d w a r e St o r e , 1 5 9 Ea g l e Sc h o o l Ro a d , Ma r t i n s b u r g , W V
2.11624 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 8 )
        nature of the debtor's interest                                                                                                              25404-3368

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Hi t c h i n g Po s t Ho t e l & Fa r m St o r e , 3 1 3 Hw y 9 2 , Cr a w f o r d ,
2.11625 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 8 )
                                                                                                                                                     CO 81415-0092
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ho m e Ce n t e r , 1 4 6 5 1 Fm 2 1 5 4 , Co l l e g e St a t i o n , T X 7 7 8 4 5 -
2.11626 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 7 4 )
                                                                                                                                                     3425
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ho m e Ce n t e r & Lu m b e r Co . , 1 6 0 1 No r t h 7 t h St r e e t , We s t
2.11627 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 6 5 )
                                                                                                                                                     Me m p h i s , A R 7 2 3 0 1 - 9 9 9 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Th e Ho m e Tr u e Va l u e Ha r d w a r e , 5 3 2 4 Ma r i n a Dr i v e , Ho l m e s
2.11628 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 9 7 4 )
                                                                                                                                                                    Be a c h , F L 3 4 2 1 7 - 1 7 0 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e Ho m e s t e a d , 1 1 6 E Hi g h w a y 2 8 , Mo r r i s , M N 5 6 2 6 7 - 1 1 5 3
2.11629 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 9 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e Ir o n Ci t y Ha r d w a r e Co m p a n y, Th e Ir o n Ci t y Ha r d w a r e Co ,
2.11630 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 8 3 0 )
                                                                                                                                                                    1 1 5 S 2 n d St , Ir o n t o n , O H 4 5 6 3 8 - 1 5 3 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e Jo n e s e s , 5 3 7 Ce n t r a l Av e , Ce d a r h u r s t , N Y 1 1 5 1 6 - 2 1 2 6
2.11631 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 4 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e La u n c h Co n s u l t i n g Gr o u p , Th e La u n c h Co n s u l t i n g Gr o u p
2.11632 State what the contract or lease is for and the   Co n s u l t i n g Fi r m , Pl a n e t Fo r w a r d Co n s u l t i n g Ag r e e m e n t
                                                                                                                                                                    ( Pl a n e t Te c h n o l o g y L L C) , 8 0 0 Hi l l g r o v e Av e n u e , Su i t e 2 0 0 ,
        nature of the debtor's interest
                                                                                                                                                                    We s t e r n Sp r i n g s , I L 6 0 5 5 8
         State the term remaining                         01/31/2020 - 01/30/2025

         List the contract number of any government
         contract
                                                                                                                                                                    Th e La u n c h Co n s u l t i n g Gr o u p , Th e La u n c h Co n s u l t i n g Gr o u p
2.11633 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Se n i o r In f r a s t r u c t u r e Pr o g r a m Ma n a g e r
        nature of the debtor's interest                                                                                                                             ( Pl a n e t Te c h n o l o g y L L C) , 8 0 0 Hi l l g r o v e Av e n u e , Su i t e 2 0 0 ,
                                                                                                                                                                    We s t e r n Sp r i n g s , I L 6 0 5 5 8
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e Lb r Ya r d Tr u e Va l u e Hd w e , Hw y 1 3 No r t h , Gl i d d e n , W I
2.11634 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 5 2 )
                                                                                                                                                                    54527-9800
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Th e Lo n g Ba r n In c , 2 2 3 Mi n i Ma l l Rd St e 1 , Eb e n s b u r g , PA
2.11635 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 1 8 1 )
                                                                                                                                                                    15931-4102
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                             Doc 623                       Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Th e Lu m b e r Ya r d & Su p p l y, 3 1 8 Us Hi g h w a y 3 8 5 S, Se m i n o l e ,
2.11636 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 6 )
                                                                                                                                                     TX 79360-5992
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Lu m b e r y a r d , 1 2 0 6 S Ta l b o t St , Sa i n t Mi c h a e l s , M D 2 1 6 6 3 -
2.11637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 2 0 6 )
                                                                                                                                                     2636
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Lu m b e r y a r d , 1 5 9 0 Nw St u d e b a k e r Dr i v e , Pr i n e v i l l e , O R
2.11638 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 9 4 )
        nature of the debtor's interest                                                                                                              97754-1423

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Ma t w o r k s L L C, 1 7 2 9 So u t h Da v i s Ro a d , La g r a n g e , G A
2.11639 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     30241
        nature of the debtor's interest
         State the term remaining                         09/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Th e Mi l l , 4 2 4 N. Ma i n St . , Be l Ai r , M D 2 1 0 1 4
2.11640 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Mi l l In Ge r m a n s v i l l e , 7 1 3 0 Ba k e Ov e n Ro a d ,
2.11641 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 9 )
                                                                                                                                                     Ge r m a n s v i l l e , PA 1 8 0 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Of f i c e Gr o u p , In c . , Th e Of f i c e Gr o u p In c . , 3 7 2 - c Wy t h e
2.11642 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 1 )
                                                                                                                                                     Cr e e k Ro a d , Po q u o s o n , VA 2 3 6 6 2 - 1 9 7 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Pa i n t Ce n t e r , 2 8 2 1 S. 1 s t St r e e t , Ab i l e n e , T X 7 9 6 0 5 - 1 9 3 1
2.11643 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 3 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                             Doc 623                       Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Th e Pa i n t Ce n t e r s , 3 0 7 5 E. Hi l l Rd . , Gr a n d Bl a n c , M I 4 8 4 3 9
2.11644 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 2 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Pa i n t Sp o t , 9 8 3 1 Nw 5 8 St 1 4 0 , Do r a l , F L 3 3 1 7 8 - 0 0 0 1
2.11645 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Po p Ha t L L C, 2 2 2 Ke a t o n Wo o d s Dr , O Fa l l o n , M O 6 3 3 6 8
2.11646 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2021

         List the contract number of any government
         contract
                                                                                                                                                     Th e Re a l Ba r g a i n Ll c , 8 5 0 Sa n s So u c i Pa r k w a y, Wi l k e s - Ba r r e ,
2.11647 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 0 )
        nature of the debtor's interest                                                                                                              PA 1 8 7 0 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Re d St o r e , 2 2 0 Al l e n Ln , Mu r p h y s , C A 9 5 2 4 7
2.11648 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Re s e r v e s Ne t w o r k In c , 2 2 0 2 1 Br o o k p a r k Rd . , Fa i r v i e w
2.11649 State what the contract or lease is for and the   H R Se r v i c e s , Th e Re s e r v e s Ne t w o r k In c - Ag e n c y a n d
                                                                                                                                                     Pa r k , O H 4 4 1 2 6
        nature of the debtor's interest                   Re c r u i t i n g Ag r e e m e n t 2 0 2 1

         State the term remaining                         01/25/2021

         List the contract number of any government
         contract
                                                                                                                                                     Th e Sa m s o n Ha r d w a r e Co m p a n y, 1 9 9 0 Ph i l l i p s Fi e l d Ro a d ,
2.11650 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 7 1 )
                                                                                                                                                     Fa i r b a n k s , A K 9 9 7 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th e Sa n Lu i s Pe o p l e s Ma r k e t , 3 1 9 Ma i n St . , Sa n Lu i s , C O
2.11651 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 0 8 )
                                                                                                                                                     81152-9990
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Th e Sa w m i l l , 1 3 8 0 7 t h St r e e t , Gr a n i t e Fa l l s , M N 5 6 2 4 1 - 1 5 0 7
2.11652 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 3 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                            Th e Sp e a k e r Ex c h a n g e Ag e n c y, L L C, 1 1 9 N. Pa r k e r , # 2 7 3 ,
2.11653 State what the contract or lease is for and the   Tr a i n i n g Se r v i c e s , Sp e a k e r Se r v i c e s - Ke l l y Mc Do n a l d
                                                                                                                                                            Ol a t h e , K S 6 6 0 6 1
        nature of the debtor's interest
         State the term remaining                         10/25/2012

         List the contract number of any government
         contract
                                                                                                                                                            Th e St a f f i n g Gr o u p , In c . , 3 5 Ne w En g l a n d Bu s i n e s s Ce n t e r
2.11654 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Ma n c h e s t e r St a f f i n g Gr o u p 2 0 2 2
        nature of the debtor's interest                                                                                                                     Su i t e 2 0 5 , An d o v e r , M A 0 1 8 1 0

         State the term remaining                         10/06/2022 - 10/05/2024

         List the contract number of any government
         contract
                                                                                                                                                            Th e Tr u e Va l u e Ha r d w a r e St o r e , 1 5 5 Hw y 1 5 By - p a s s N,
2.11655 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 5 1 3 )
                                                                                                                                                            Po n t o t o c , M S 3 8 8 6 3 - 1 9 1 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                            Th e Ul t i m a t e So f t w a r e Gr o u p In c . , 2 0 0 0 Ul t i m a t e Wa y,
2.11656 State what the contract or lease is for and the   So f t w a r e , Ul t i m a t e Es c r o w Ag r e e m e n t
                                                                                                                                                            We s t o n , F L 3 3 3 2 6
        nature of the debtor's interest
         State the term remaining                         04/15/2021

         List the contract number of any government
         contract
                                                                                                                                                            Th e Zo o f y Gr o u p , L L C, 3 0 2 Ja u r e z Av e , La r e d o , T X 7 8 0 4 0
2.11657 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                            Th e Zo o f y Gr o u p , L L C, 3 0 2 Ja u r e z Av e , La r e d o , T X 7 8 0 4 0
2.11658 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2024

         List the contract number of any government
         contract
                                                                                                                                                            Th e r m a c e l l Re p e l l e n t s In c , 7 1 7 Li n c o l n Av e , La k e Bl u f f , I L
2.11659 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                     60044

         State the term remaining                         06/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m a c e l l Re p e l l e n t s In c , 7 1 7 Li n c o l n Av e , La k e Bl u f f , I L
2.11660 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60044
        nature of the debtor's interest
         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m a c e l l Re p e l l e n t s In c , 7 1 7 Li n c o l n Av e , La k e Bl u f f , I L
2.11661 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60044

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m a c e l l Re p e l l e n t s In c , 7 1 7 Li n c o l n Av e , La k e Bl u f f , I L
2.11662 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60044
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m a c e l l Re p e l l e n t s In c , 7 1 7 Li n c o l n Av e , La k e Bl u f f , I L
2.11663 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60044

         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m o s L L C, 4 7 5 N Ma r t i n g a l e Rd , Su i t e 1 1 0 0 , Sc h a u m b u r g ,
2.11664 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60173
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m o s L L C, 4 7 5 N Ma r t i n g a l e Rd , Su i t e 1 1 0 0 , Sc h a u m b u r g ,
2.11665 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60173
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m o s L L C, 4 7 5 N Ma r t i n g a l e Rd , Su i t e 1 1 0 0 , Sc h a u m b u r g ,
2.11666 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60173

         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m o s L L C, 4 7 5 N Ma r t i n g a l e Rd , Su i t e 1 1 0 0 , Sc h a u m b u r g ,
2.11667 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60173
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11669 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11670 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11671 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11672 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11674 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11676 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11677 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11679 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11680 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11681 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11682 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11683 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L 6 0 1 9 1
2.11684 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/01/2023 - 10/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60191
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11686 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60191

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11687 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60191
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11688 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60191
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60191

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11690 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60191
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11691 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60191

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11692 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60191
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11693 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60191

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11694 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60191
        nature of the debtor's interest
         State the term remaining                         04/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11695 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60191
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11696 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60191

         State the term remaining                         06/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11697 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60191
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11698 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60191

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11699 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60191
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th e r m w e l l Pr o d u c t s , Th e r m w e l l , 7 9 5 Mi t t e l Dr , Wo o d Da l e , I L
2.11700 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60191

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Th e u t s Fl o w e r Ba r n , 3 6 6 1 5 Po u n d Rd , Ri c h m o n d , M I 4 8 0 6 2
2.11701 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Th i e f Ri v e r Fa l l s Ha r d w a r e Ha n k , 1 7 1 0 8 Us Hw y 5 9 Ne , Th i e f
2.11702 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 9 5 )
                                                                                                                                                                 Ri v e r Fa l l s , M N 5 6 7 0 1 - 8 5 4 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th i e l Su p p l y Ce n t e r , 3 0 2 Wa s h i n g t o n St r e e t , Bl a k e s l e e , O H
2.11703 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 8 5 )
                                                                                                                                                                 43505-0225
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th i n k Pr o d u c t La b Us a In c , 7 8 4 5 Co l o n y Rd , Su i t e C4 2 1 8 ,
2.11704 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 2 6
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Th i n k Pr o d u c t La b Us a In c , 7 8 4 5 Co l o n y Rd , Su i t e C4 2 1 8 ,
2.11705 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch a r l o t t e , N C 2 8 2 2 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th o m a s & Be t t s , 2 5 7 0 1 Sc i e n c e Pa r k Dr i v e , Cl e v e l a n d , O H
2.11706 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44122
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th o m a s Co u n t y Ha r d w a r e , 1 4 0 1 E. Ja c k s o n St . , Th o m a s v i l l e ,
2.11707 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 1 8 )
        nature of the debtor's interest                                                                                                                          GA 31792

         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Th o m a s Gr e e n h o u s e Ga r d e n s , 4 2 0 Ma p l e Av e , Mu k w a n a g o , W I
2.11708 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 9 5 )
                                                                                                                                                     53149
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m a s Ho m e Ce n t e r Tr u e Va l u e , 1 6 8 5 Su t t e r Rd ,
2.11709 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 3 7 )
                                                                                                                                                     Mc k i n l e y v i l l e , C A 9 5 5 1 9 - 4 2 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m a s Lu m b e r Co m p a n y In c o r p o r a t e d , 2 1 2 8 Ol d As h l a n d Ci t y
2.11710 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 9 5 )
                                                                                                                                                     Rd , Cl a r k s v i l l e , T N 3 7 0 4 3 - 4 9 7 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m a s Mi l l s & Wi n d b e r Ag w a y, 1 8 0 1 St o c k h o l m Av e ,
2.11711 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 6 )
                                                                                                                                                     Wi n d b e r , PA 1 5 8 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m p s o n Tr u e Va l u e Ha r d w a r e , 1 0 6 So u t h Ce n t e r St r e e t ,
2.11712 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 4 0 0 )
        nature of the debtor's interest                                                                                                              Ma r s h a l l t o w n , I A 5 0 1 5 8 - 2 8 2 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m p s o n s Tr u e Va l u e Ho m e Ct r. , Th o m p s o n s Tr u e Va l u e Ho m e
2.11713 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 8 3 3 )
                                                                                                                                                     Ct r , 3 8 2 E Pa r k e r St , Ba x l e y, G A 3 1 5 1 3 - 0 0 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Th o m p s o n s Wa t e r s e a l , 1 0 Mo u n t a i n Dr i v e , Up p e r s a d d l e Rv r ,
2.11714 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              NJ 07458

         State the term remaining                         09/01/2023 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                     Th o m p s o n s ' Gr a n d Re n t a l St a t i o n , 1 4 6 0 E Oa k t o n St , De s
2.11715 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 9 5 )
                                                                                                                                                     Pl a i n e s , I L 6 0 0 1 8 - 2 1 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th o m p s o n s ' Gr a n d Re n t a l St a t i o n , 2 1 5 W Ir v i n g Pa r k Rd ,
2.11716 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 6 7 )
        nature of the debtor's interest                                                                                                                          Be n s e n v i l l e , I L 6 0 1 0 6 - 2 1 1 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th o r f o o d - Ca r o l i n a Nu t Co m p a n y, 4 5 0 2 W. Mo n t e r o s a St ,
2.11717 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ph o e n i x , A Z 4 9 0 3 2
        nature of the debtor's interest
         State the term remaining                         12/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Th o r s a v L L C, 7 1 0 Pe n a Ln , La k e Ha v a s u Ci t y, A Z 8 6 4 0 6
2.11718 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e Le a s e
        nature of the debtor's interest
         State the term remaining                         01/01/2022 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Th o r s a v L L C, 7 1 0 Pe n a Ln , La k e Ha v a s u Ci t y, A Z 8 6 4 0 6
2.11719 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e a t 7 0 5 0 Tr a n s p o r t Dr i v e Ki n g m a n , A Z 8 6 4 0 1
        nature of the debtor's interest
         State the term remaining                         12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Th r e e Ba r s Fe e d & Ta c k , 4 7 0 2 7 N Ne w Ri v e r Ro a d , Ne w Ri v e r ,
2.11720 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 9 )
                                                                                                                                                                 AZ 85087
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th r e e Mo u n t a i n s Tr u e Va l u e , 6 3 Ce n t r e Dr i v e , Ne w Bl o o m f i e l d ,
2.11721 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 6 0 )
        nature of the debtor's interest                                                                                                                          PA 1 7 0 6 8 - 9 6 7 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th r e e So n s Ha r d w a r e Ll c , 6 2 1 Ro s e Dr i v e , Bi g La k e , M N
2.11722 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 0 3 )
                                                                                                                                                                 55309
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th r i f t Ma r k e t i n g , In c , Po Bo x 2 5 2 9 , 5 8 3 0 Wo o d s o n Su i t e 2 0 9 ,
2.11723 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Sh a w n e e Mi s s i o n , K S 6 6 2 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Th r i f t Ma r k e t i n g , In c , Po Bo x 2 5 2 9 , 5 8 3 0 Wo o d s o n Su i t e 2 0 9 ,
2.11724 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sh a w n e e Mi s s i o n , K S 6 6 2 0 1
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Th r i f t Ma r k e t i n g , In c , Po Bo x 2 5 2 9 , 5 8 3 0 Wo o d s o n Su i t e 2 0 9 ,
2.11725 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sh a w n e e Mi s s i o n , K S 6 6 2 0 1
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Th r i f t Ma r k e t i n g , In c , Po Bo x 2 5 2 9 , 5 8 3 0 Wo o d s o n Su i t e 2 0 9 ,
2.11726 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Sh a w n e e Mi s s i o n , K S 6 6 2 0 1

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Th u n e Tr u e Va l u e Ha r d w a r e , 1 4 0 0 N Ma i n St , Mi t c h e l l , S D
2.11727 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 0 5 )
                                                                                                                                                                 57301-1463
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Th u r m a n ' s Ha r d w a r e , 1 6 4 Ea s t Wa l n u t , Og l e s b y, I L 6 1 3 4 8
2.11728 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti a n j i n Ji n m a o Gr o u p / Im p o r t , Wa n g z h u a n g In d u s t r i a l Ar e a ,
2.11729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Be i c h e n Ti a n j i n , Ti a n j i n , Ch i n a
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ti a n j i n Ji n m a o Gr o u p / Im p o r t , Wa n g z h u a n g In d u s t r i a l Ar e a ,
2.11730 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Be i c h e n Ti a n j i n , Ti a n j i n , Ch i n a

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Ti a n j i n Ji n m a o Gr o u p / Im p o r t , Wa n g z h u a n g In d u s t r i a l Ar e a ,
2.11731 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Be i c h e n Ti a n j i n , Ti a n j i n , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ti c k k e y In t ' l In c , Ti c k k e y In t e r n a t i o n a l In c , P. O. Bo x 4 3 7 , 1 2 7
2.11732 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     We l d o n Co u r t , Go s h e n , C T 0 6 7 5 6
        nature of the debtor's interest
         State the term remaining                         03/01/2019

         List the contract number of any government
         contract
                                                                                                                                                     Ti e f e n t h a l e r s Tr u e Va l u e Ho m e Cn t r , 1 1 0 Ea s t Ma i n , Br e d a , I A
2.11733 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 9 4 )
                                                                                                                                                     51436-8703
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Ti g e r Br a n d Ja c k Po s t , 6 6 0 0 Ri d g e Rd , Wa d s w o r t h , O H 4 4 2 8 1
2.11734 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2008

         List the contract number of any government
         contract
                                                                                                                                                     Ti g r e Us a In c , 2 3 1 5 Be l o i t Av e , Ja n e s v i l l e , W I 5 3 5 4 6
2.11735 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/15/2020

         List the contract number of any government
         contract
                                                                                                                                                     Ti g r e Us a In c , 2 3 1 5 Be l o i t Av e , Ja n e s v i l l e , W I 5 3 5 4 6
2.11736 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     Ti l e Re d i Us a L L C, 4 4 5 0 Nw 1 2 6 Th Av e , Su i t e 1 0 1 , Co r a l
2.11737 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Sp r i n g s , F L 3 3 0 6 5

         State the term remaining                         09/27/2011

         List the contract number of any government
         contract
                                                                                                                                                     Ti l l e y En d u r a b l e s , 3 1 7 6 Ab b o t t Rd , Bl d g A, Or c h a r d Pa r k , N Y
2.11738 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     14127
        nature of the debtor's interest
         State the term remaining                         07/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     Ti m b e r To t e , 1 2 0 3 St a n s Dr i v e , St e v e n s Po i n t , W I 5 4 4 8 2
2.11739 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         12/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ti n Ro o f Ma r k e t i n g L L C, Po Bo x 1 7 6 3 , 1 2 5 0 9 Lo m a Ri c a Dr ,
2.11740 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ne v a d a Ci t y, C A 9 4 9 4 5
        nature of the debtor's interest
         State the term remaining                         09/28/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11741 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11742 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11743 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11744 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11745 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11746 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n g l e y Ru b b e r , 1 5 5 1 S Wa s h i n g t o n Av e , Su i t e 4 0 3 ,
2.11747 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pi s c a t a w a y, N J 0 8 8 5 4
        nature of the debtor's interest
         State the term remaining                         04/01/2019

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ti n k s , 1 4 1 6 1 La k e Fo r e s t Dr i v e , Un i t A, Co v i n g t o n , G A 3 0 0 1 4
2.11748 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ti n k s , 1 4 1 6 1 La k e Fo r e s t Dr i v e , Un i t A, Co v i n g t o n , G A 3 0 0 1 4
2.11749 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti n k s , 1 4 1 6 1 La k e Fo r e s t Dr i v e , Un i t A, Co v i n g t o n , G A 3 0 0 1 4
2.11750 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ti p p m a n n Sp o r t s / Gi Sp o r t z , 5 7 0 Ma n t u a Bl v d , Se w e l l , N J
2.11751 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          08080

         State the term remaining                         03/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Ti t a n To o l In c , Po Bo x 9 1 4 7 0 , Ch i c a g o , I L 6 0 6 9 3
2.11752 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Ti t u s v i l l e Tr u e Va l u e Ha r d w a r e , 3 1 5 We s t Sp r i n g St r e e t ,
2.11753 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 4 2 )
                                                                                                                                                                 Ti t u s v i l l e , PA 1 6 3 5 4 - 1 6 5 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tj ' s Tr u e Va l u e Re n t a l , 5 7 7 Gr a n b y Rd , So u t h Ha d l e y, M A
2.11754 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 3 3 )
                                                                                                                                                                 01075-2122
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tj m In n o v a t i o n s L L C, 5 5 1 9 W Wo o l w o r t h Av e , Mi l w a u k e e , W I
2.11755 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 53218
        nature of the debtor's interest
         State the term remaining                         06/01/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tl f Gr a p h i c s In c , 2 3 5 Me t r o Pa r k , Ro c h e s t e r , N Y 1 4 6 2 3
2.11756 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Tm Sh e a Pr o d u c t s In c , 1 9 5 0 Au s t i n Dr i v e , Tr o y, M I 4 8 0 8 3
2.11757 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Tn t De a l s , 7 7 3 4 W 9 9 t h St r e e t , Hi c k o r y Hi l l s , I L 6 0 4 5 7 - 2 3 2 8
2.11758 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 9 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tn t De a l s # 2 , Tn t De a l s 2 , 7 7 3 4 W 9 9 t h St r e e t , Hi c k o r y Hi l l s ,
2.11759 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 2 )
                                                                                                                                                     IL 60457-2328
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tn t De a l s # 3 , Tn t De a l s 3 , 7 7 3 4 W 9 9 t h St r e e t , Hi c k o r y Hi l l s ,
2.11760 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 3 )
        nature of the debtor's interest                                                                                                              IL 60457-2328

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To a Al t a Ha r d w a r e Ll c , Ca r r. 8 6 1 Km 6 . 4 Ba r r i o Pi n a s , To a
2.11761 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 2 )
                                                                                                                                                     Al t a , P R 0 0 9 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To a Ba j a Ha r d w a r e Ll c , Ur b Le v i t t o w n , 1 7 9 5 Av e Bl v d , To a
2.11762 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 8 )
                                                                                                                                                     Ba j a , P R 0 0 9 4 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To d d Tr u e Va l u e Su p p l y, 4 1 9 0 St a t e Hw y 3 , St a r La k e , N Y
2.11763 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 3 2 )
        nature of the debtor's interest                                                                                                              13690-3101

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 To d d ' s Tr u e Va l u e , To d d ` s Tr u e Va l u e , 3 1 2 S Ma i n St , In w o o d ,
2.11764 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 5 2 )
                                                                                                                                                                 IA 51240-7808
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To j a Gr i d In c , 1 2 1 5 - A No r t h Se r v i c e Ro a d We , Oa k v i l l e , O N
2.11765 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          L6 M 2 W2 , Ca n a d a

         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 To l c o Co r p o r a t i o n , 1 9 2 0 Li n w o o d Av e n y e , To l e d o , O H 4 3 6 0 4
2.11766 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 To l e d o & Co In c , Ca r r # 2 Km 3 0 7 Bo Es p i n o s a , P. O. Bo x 9 1 5 ,
2.11767 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Do r a d o , P R

         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 To m Sc o t t Lu m b e r , 9 1 1 Te x a s St a t e Hw y 3 7 , Mt . Ve r n o n , T X
2.11768 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 6 )
                                                                                                                                                                 75457-3606
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To m a h a w k Bu i l d e r s Su p p l y, 1 2 0 N Ra i l w a y St , To m a h a w k , W I
2.11769 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 0 )
                                                                                                                                                                 54487-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To m c a t , Po Bo x 1 9 0 , Ma r y s v i l l e , O H 4 3 0 4 0
2.11770 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To m c a t , Po Bo x 1 9 0 , Ma r y s v i l l e , O H 4 3 0 4 0
2.11771 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     To m k i n s Ha r d w a r e & Lu m b e r , 1 2 7 No r t h Ma i n St r e e t , Cr e e d e ,
2.11772 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 9 )
        nature of the debtor's interest                                                                                                              CO 81130-9990

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To m m y c o Kn e e p a d s , In c . , 1 9 0 2 6 Ve n t u r e Dr , Po i n t Ve n t u r e , T X
2.11773 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     78645
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     To m y In t ' l , To m y In t e r n a t i o n a l , 2 0 2 1 9 Th St r e e t Se ,
2.11774 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Dy e r s v i l l e , I A 5 2 0 4 0

         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     To n o g a In c , 1 3 6 Co o n b r o o k Rd , Po Bo x 6 9 , Pe t e r s b u r g h , N Y
2.11775 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     12138
        nature of the debtor's interest
         State the term remaining                         03/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     To o l Co u n t r y, In c . , To o l Co u n t r y In c . , 4 9 1 0 Mo l i n e St r e e t ,
2.11776 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 1 0 )
                                                                                                                                                     De n v e r , C O 8 0 2 3 9 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To o l Sh o p , Da n i e l No y e In d Pa r k , Pa g o Pa g o , A S
2.11777 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 3 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To o l s & Mo r e , To o l s An d Mo r e Of La k e Pa r k Mn Ww w,
2.11778 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 3 2 )
                                                                                                                                                     Ve r n d a l e , M N 5 6 4 8 1 - 4 2 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To p No t c h Bu i l d i n g Co m p o n e n t s Ll c , 7 4 0 6 Ea s t Rd , Lo w v i l l e ,
2.11779 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 2 9 )
        nature of the debtor's interest                                                                                                              NY 13367

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     To p Sh e l f Lu m b e r & Ha r d w a r e Tr u e Va l u e , To p Sh e l f Lu m b e r
2.11780 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 3 )
                                                                                                                                                     & Ha r d w a r e Tr , 3 0 0 S. Ma i n St r e e t , Sm i t h Ce n t e r , K S 6 6 9 6 7 -
        nature of the debtor's interest
                                                                                                                                                     1620
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To p c e l l Ba t t e r i e s , 2 9 5 5 7 Co s t e l l o Dr , Ne w Hu d s o n , M I 4 8 1 6 5
2.11781 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     To p d u c k Pr o d u c t s L L C, 2 9 0 2 Sa n d e r s Rd , Un i t 7 , La n s i n g , M I
2.11782 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     48917
        nature of the debtor's interest
         State the term remaining                         07/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     To p s Ho m e Ce n t e r - El w o o d In , 2 9 2 7 So u t h A St , El w o o d , I N
2.11783 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 9 6 9 )
                                                                                                                                                     46036-2229
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To p s Ho m e Ce n t e r - Gr e e n s b u r g In , To p s Ho m e Ce n t e r 4 4 , 9 1 6
2.11784 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 8 8 )
                                                                                                                                                     W 4 t h St , Gr e e n s b u r g , I N 4 7 2 4 0 - 1 0 3 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To p s Ho m e Ce n t e r - Ru s h v i l l e In , 2 1 2 S. Ma i n St , Ru s h v i l l e ,
2.11785 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 2 )
                                                                                                                                                     IN 46173-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To p t e c Pr o d u c t s L L C, 7 6 0 1 Hi g h w a y 2 2 1 , Mo o r e , S C 2 9 3 6 9
2.11786 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/28/2010

         List the contract number of any government
         contract
                                                                                                                                                     To r c h Tr u e Va l u e Ha r d w a r e , 1 3 5 1 0 Lo r a i n Av e , Cl e v e l a n d , O H
2.11787 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 )
                                                                                                                                                     44111-3434
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 To r c h e d Pr o d u c t s , 2 1 7 Ho b b s St , # 1 0 7 , Ta m p a , F L 3 3 6 1 9
2.11788 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11789 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11790 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11791 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11792 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest
         State the term remaining                         01/02/2023

         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11793 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11794 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Bl w r / Tr m m r , To r o Co m p a n y, 8 1 1 1 Ly n d a l e
2.11795 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Av e n u e S, Bl o o m i n g t o n , M N 5 5 4 8 6

         State the term remaining                         05/01/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 To r o Co M/ R Ir r i g a t i o n , To r o Co m p a n y, 8 1 1 1 Ly n d a l e Av e n u e
2.11796 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest
         State the term remaining                         06/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Ir r i g a t i o n , To r o Co m p a n y, 8 1 1 1 Ly n d a l e Av e n u e
2.11797 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          S, Bl o o m i n g t o n , M N 5 5 4 8 6

         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Ir r i g a t i o n , To r o Co m p a n y, 8 1 1 1 Ly n d a l e Av e n u e
2.11798 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co M/ R Ir r i g a t i o n , To r o Co m p a n y, 8 1 1 1 Ly n d a l e Av e n u e
2.11799 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 S, Bl o o m i n g t o n , M N 5 5 4 8 6
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 To r o Co m p a n y, Th e , To r o Co m p a n y, 8 1 1 1 Ly n d a l e Av e n u e S,
2.11800 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bl o o m i n g t o n , M N 5 5 4 8 6

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 To s s i t s L L C, 3 7 7 9 S Or t o n v i l l e Rd , St e 2 0 0 , Cl a r k s t o n , M I
2.11801 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 48348
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 To t a l So u r c i n g Co n c e p t s , 1 1 2 Ce d a r La n e , Ch a t t a n o o g a , T N
2.11802 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 37422

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t a l So u r c i n g Co n c e p t s , 1 1 2 Ce d a r La n e , Ch a t t a n o o g a , T N
2.11803 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 37422
        nature of the debtor's interest
         State the term remaining                         01/26/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 To t a l To o l Su p p l y, 1 9 6 2 W 1 2 t h Av e , De n v e r , C O 8 0 2 0 4
2.11804 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t a l Tr u e Va l u e Re n t a l , 1 2 0 0 E Rt e 6 6 , Fl a g s t a f f , A Z 8 6 0 0 1 -
2.11805 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 5 0 0 )
                                                                                                                                                                 4749
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t a l Tr u e Va l u e Re n t a l , 2 4 8 0 E Hu n t i n g t o n Dr , Fl a g s t a f f , A Z
2.11806 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 4 9 2 )
                                                                                                                                                                 86004-8934
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t e r In c o r p o r a t e d , 8 4 1 Me c h a m Ro a d , St a t e s v i l l e , N C 2 8 6 7 7
2.11807 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t e r In c o r p o r a t e d , 8 4 1 Me c h a m Ro a d , St a t e s v i l l e , N C 2 8 6 7 7
2.11808 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To t e r In c o r p o r a t e d , 8 4 1 Me c h a m Ro a d , St a t e s v i l l e , N C 2 8 6 7 7
2.11809 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/21/2018

         List the contract number of any government
         contract
                                                                                                                                                                 To w e r Co m p a c t o r Re n t a l s , 2 1 0 4 0 N Pi m a Rd , Sc o t t s d a l e , A Z
2.11810 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , To w e r Co m p a c t o r
                                                                                                                                                                 85255
        nature of the debtor's interest                   Re n t a l s _ Pu r c h a s e Ag r e e m e n t 2 0 2 3 Cl e v e l a n d

         State the term remaining                         04/11/2023

         List the contract number of any government
         contract
                                                                                                                                                                 To w l e s Ha r d w a r e & Lu m b e r Co m p a n y, To w l e s Ha r d w a r e &
2.11811 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 8 0 )
        nature of the debtor's interest                                                                                                                          Lu m b e r Co m p a , 5 We l d St , Di x f i e l d , M E 0 4 2 2 4 - 9 5 0 4

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     To w n & Co u n t r y Ha r d w a r e , 1 5 5 5 Mo n m o u t h St , In d e p e n d e n c e ,
2.11812 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 8 7 )
                                                                                                                                                     OR 97351-1007
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n & Co u n t r y Ln d s c p , 3 9 0 0 W 1 6 7 Th St , M A R K H A M, I L
2.11813 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60426
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     To w n & Co u n t r y Se r v i c e s , 2 2 0 La s a l l e St r e e t , To n i c a , I L
2.11814 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 7 )
                                                                                                                                                     61370-5002
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n & Co u n t r y St o r e s , 1 2 1 0 Ea s t Hi g h St r e e t , Br y a n , O H
2.11815 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 5 4 )
                                                                                                                                                     43506-9486
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n & Co u n t r y Su p e r m a r k e t , 7 0 2 So u t h Hw y 5 9 , An d e r s o n ,
2.11816 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 2 2 )
        nature of the debtor's interest                                                                                                              MO 64831-0606

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n & Co u n t r y Tr u e Va l u e , 9 0 0 At l a n t i c Av e , Mo r r i s , M N
2.11817 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 6 9 )
                                                                                                                                                     56267-1142
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n & Ra n c h Tr u e Va l u e , 7 8 2 1 Hw y 2 8 7 , To w n s e n d , M T
2.11818 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 9 0 )
        nature of the debtor's interest                                                                                                              59644-9707

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     To w n Ce n t e r Ha r d w a r e , 4 4 - 4 2 9 To w n Ce n t e r Wa y, Pa l m De s e r t ,
2.11819 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 3 )
                                                                                                                                                     CA 92260-8706
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 To w n s h i p Tr u e Va l u e Ha r d w a r e , 2 5 8 8 0 Fi v e Mi l e Rd , Re d f o r d ,
2.11820 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 6 )
        nature of the debtor's interest                                                                                                                          MI 48239-3225

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 To z i e r s Tr u e Va l u e Pa i n t & Hd w. , To z i e r s Tr u e Va l u e Pa i n t &
2.11821 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 1 1 )
                                                                                                                                                                 Hd w, 2 3 8 4 Du r h a m Da y t o n Hw y, Du r h a m , C A 9 5 9 3 8 - 9 6 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tp On e St o p , 4 1 9 9 4 St Rt 7 , Tu p p e r s Pl a i n s , O H 4 5 7 8 3
2.11822 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tp Ou t d o o r s We s t Mo n r o e , 1 0 1 Mi l l St , We s t Mo n r o e , L A
2.11823 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 7 1 5 )
        nature of the debtor's interest                                                                                                                          71291-3026

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr In d u s t r i e s , 1 1 0 2 2 Vu l c a n St , So u t h Ga t e , C A 9 0 2 8 0
2.11824 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Tr In d u s t r i e s , 1 1 0 2 2 Vu l c a n St , So u t h Ga t e , C A 9 0 2 8 0
2.11825 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a c e y To o l s L L C, 3 7 3 0 Bl a c k g o l d Dr , Bu f o r d , G A 3 0 5 1 9
2.11826 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a c k r In c , 7 4 1 0 Ho l l i s t e r Av e , Go l e t a , C A 9 3 1 1 7
2.11827 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/04/2017

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr a e Fu e l s L L C, 1 3 7 6 Fr e d e r i c k s Ha l l Rd , Bu m p a s s , VA 2 3 0 2 4
2.11828 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a e g e r Pe l l e t Gr i l l s Ll c , Po Bo x 8 2 9 , Mo u n t An g e l , O R 9 7 3 6 2
2.11829 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
        nature of the debtor's interest
         State the term remaining                         12/05/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a e g e r Pe l l e t Gr i l l s L L C, Po Bo x 8 2 9 , Mo u n t An g e l , O R 9 7 3 6 2
2.11830 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a e g e r Pe l l e t Gr i l l s L L C, Po Bo x 8 2 9 , Mo u n t An g e l , O R 9 7 3 6 2
2.11831 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a i l Bl a z e r , 4 3 Fi e l d i n g Av e , Un i t C, Da r t m o u t h , N S B3 B 1 E3 ,
2.11832 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ca n a d a

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a m e l l i In d u s t r i a l Pr o d u c t s , 8 1 1 2 Pa g e Av e n u e , Sa i n t Lo u i s ,
2.11833 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 6 5 )
                                                                                                                                                                 MO 63130-1110
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a n s p a c Im p o r t s In c , 1 0 5 0 Pi p e r Dr i v e , Va c a v i l l e , C A 9 5 6 8 8
2.11834 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a n s p a c Im p o r t s In c , 1 0 5 0 Pi p e r Dr i v e , Va c a v i l l e , C A 9 5 6 8 8
2.11835 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/07/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr a n s p l a c e , 3 0 1 0 Ga y l o r d Pa r k w a y, Fr i s c o , T X 7 5 0 3 4
2.11836 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Tr a n s p l a c e - Se r v i c e Ag r e e m e n t
        nature of the debtor's interest
         State the term remaining                         10/10/2019 - 10/09/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a n s p l a c e , 3 0 1 0 Ga y l o r d Pa r k w a y, Fr i s c o , T X 7 5 0 3 4
2.11837 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Tr a n s p l a c e - Lo g i s t i c s Se r v i c e s
        nature of the debtor's interest                   Ma n g e m e n t Ag r e e m e n t Am m e n d m e n t 2 0 2 1

         State the term remaining                         03/18/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a p p e Tr u e Va l u e , 1 3 0 W Ma i n St r e e t , Su i t e 1 5 0 , Tr a p p e , PA
2.11838 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 0 1 )
                                                                                                                                                                 19426-2025
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a s h c a n L L C, Tr a s h c a n L L C, 9 5 3 Is l i n g t o n St , Su i t e 2 2 ,
2.11839 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Po r t s m o u t h , N H 0 3 8 0 1

         State the term remaining                         06/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a v e l Sm a r t By Co n a i r , Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a
2.11840 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Av e , 2 W, Ch i c a g o , I L 6 0 6 1 3
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Tr a v e l Sm a r t By Co n a i r , Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a
2.11841 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Av e , 2 W, Ch i c a g o , I L 6 0 6 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a v e l Sm a r t By Co n a i r , Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a
2.11842 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e , 2 W, Ch i c a g o , I L 6 0 6 1 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr a v e l Sm a r t By Co n a i r , Co n a i r Co r p Pe r s Ca r e , 9 1 1 W Bu e n a
2.11843 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Av e , 2 W, Ch i c a g o , I L 6 0 6 1 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Tr a v e l e r s Ex c e s s & Su r p l u s Li n e s Co ( Co r v u s ) , 1 0 0 Su m m e r St ,
2.11844 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Cy b e r - Po l i c y Nu m b e r ( s ) : C Y B1 0 8 0 1 0 6 9 2 0 0 ;
                                                                                                                                                               Su i t e 1 1 7 5 , B O S T O N, M A 0 2 1 1 0
        nature of the debtor's interest
         State the term remaining                         05/01/2024 - 05/01/2025

         List the contract number of any government
         contract
                                                                                                                                                               Tr a v i s Br o t h e r s Su p p l y, 6 3 2 Wa s h i n g t o n Bl v d , Be a u m o n t , T X
2.11845 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 7 6 )
                                                                                                                                                               77705-2346
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Tr e a t s Tr u e Va l u e Ge n l St o r e , 1 9 7 E Sa i n t Ch a r l e s St , Sa n
2.11846 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 0 7 )
        nature of the debtor's interest                                                                                                                        An d r e a s , C A 9 5 2 4 9 - 9 4 6 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Tr e b i a Co n s u l t i n g , In c . , 1 9 2 2 4 As p e n Co u r t , Mo k e n a , I L 6 0 4 4 8
2.11847 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , I T Co n t r a c t o r
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Tr e e Is l a n d Wi r e In c , 3 8 8 0 W Va l l e y Bl v d , Wa l n u t , C A 9 1 7 8 9
2.11848 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/11/2010

         List the contract number of any government
         contract
                                                                                                                                                               Tr e e l a n d s In c H& g s , 1 0 0 0 Hu n t i n g t o n Tp k , Br i d g e p o r t , C T
2.11849 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 1 8 )
                                                                                                                                                               06610-1246
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Tr e e s a p Fa r m s L L C, 5 1 5 1 Mi t c h e l l d a l e St St e B2 , Ho u s t o n , T X
2.11850 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                               77092-7200
        nature of the debtor's interest
         State the term remaining                         05/01/2021

         List the contract number of any government
         contract
                                                                                                                                                               Tr e n d Mi c r o In c . , 2 2 2 E. Jo h n Ca r p e n t e r Fr e e w a y, Su i t e 1 5 0 0 ,
2.11851 State what the contract or lease is for and the   So f t w a r e , Tr e n d Mi c r o In c E U L A- Ma s t e r Ag r e e m e n t -
                                                                                                                                                               Ir v i n g , T X 7 5 0 6 2
        nature of the debtor's interest                   Ad d e n d u m

         State the term remaining                         10/01/2020 - 09/30/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr e n d s p o t In c , 1 5 9 5 E Sa n Be r n a r d i n o Av e , Sa n Be r n a r d i n o ,
2.11852 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92408
        nature of the debtor's interest
         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Tr e n d s p o t In c , 1 5 9 5 E Sa n Be r n a r d i n o Av e , Sa n Be r n a r d i n o ,
2.11853 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CA 92408

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr e n d s p o t In c , 1 5 9 5 E Sa n Be r n a r d i n o Av e , Sa n Be r n a r d i n o ,
2.11854 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CA 92408
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr e n d s p o t In c , 1 5 9 5 E Sa n Be r n a r d i n o Av e , Sa n Be r n a r d i n o ,
2.11855 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 CA 92408

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr e n d s p o t In c , 1 5 9 5 E Sa n Be r n a r d i n o Av e , Sa n Be r n a r d i n o ,
2.11856 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 CA 92408
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i Co u n t y Fe e d Se r v i c e , 4 6 7 0 1 s t St r e e t , Ne w Er a , M I 4 9 4 4 6 -
2.11857 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 6 0 )
                                                                                                                                                                 5101
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i St a t e Bu i l d i n g Ce n t e r , 1 5 2 0 Sd Hw y 1 0 , Si s s e t o n , S D
2.11858 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 2 9 )
                                                                                                                                                                 57262-2524
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i - c o u n t y Pa i n t & Sp r a y In c . , 1 6 3 0 S. Bu s i n e s s I. h . 3 5 , Ne w
2.11859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 3 2 )
                                                                                                                                                                 Br a u n f e l s , T X 7 8 1 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Tr i - c o u n t y Su p p l y In c , 1 2 0 6 9 Ol e a n Rd Rt 1 6 , Ch a f f e e , N Y
2.11860 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 3 6 )
                                                                                                                                                      14030-9421
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Tr i - c o u n t y Tr u e Va l u e , 2 0 5 W 2 n d St , Di x o n , M O 6 5 4 5 9 - 8 0 4 8
2.11861 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 3 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Tr i - s t a r Tr u e Va l u e , 1 2 0 8 7 We l l s Hw y, Se n e c a , S C 2 9 6 7 8 - 1 8 3 9
2.11862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 2 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Tr i - s t a t e La n d s c a p e Eq u i p m e n t & Su p p l i e s , 4 4 2 5 Ri s i n g Su n
2.11863 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 9 3 )
                                                                                                                                                      Av e , Ph i l a d e l p h i a , PA 1 9 1 4 0 - 1 6 4 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Tr i a d Pl a n t Co m p a n y, 1 1 0 6 2 S Mi l i t a r y Tr a i l , P M B 4 1 0 1 3 0 6 3
2.11864 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               Ba r w i c k Rd , Bo y n t o n Be a c h , F L 3 3 4 3 6

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                      Tr i a n g l e Ho m e Fa s h i o n s L L C, Tr i a n g l e Ho m e Fa s h i o n s L L C,
2.11865 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      1 2 0 Ti c e s La n e , Ea s t Br u n s w i c k , N J 0 8 8 1 6
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                      Tr i a n g l e Tr u e Va l u e Ha r d w a r e , 1 5 0 0 Ka t e w a y, Gr e e n w o o d , S C
2.11866 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 1 4 5 )
                                                                                                                                                      29646-3722
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11867 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               55344

         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
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                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11868 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 55344
        nature of the debtor's interest
         State the term remaining                         06/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11869 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 55344

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11870 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55344
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11871 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 55344

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11872 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55344
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c a m In d u s t r i e s , 7 6 7 7 Eq u i t a b l e Dr i v e , Ed e n Pr a i r i e , M N
2.11873 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55344
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c o n To o l & Su p p l y In c , 5 8 0 9 Cl i n t o n Dr , Ho u s t o n , T X
2.11874 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 9 9 )
        nature of the debtor's interest                                                                                                                          77020-8000

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i c o r In d u s t r i a l , Tr i c o r In d u s t r i a l In c , 6 6 9 2 1 Be l m o n t -
2.11875 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 3 2 )
                                                                                                                                                                 m o r r i s t o w n Rd , Be l m o n t , O H 4 3 7 1 8 - 9 5 6 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr i c o r In d u s t r i a l , In c . , Tr i c o r In d u s t r i a l In c , 8 2 3 We s t Bo w m a n
2.11876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 9 )
        nature of the debtor's interest                                                                                                                          St , Wo o s t e r , O H 4 4 6 9 1 - 2 7 7 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i f o l d L L C, 6 6 0 1 Hu n t l e y Rd , Co l u m b u s , O H 4 3 2 2 9
2.11877 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i l l i u m Wo r l d w i d e In c , 2 0 0 N Mi l w a u k e e Av e , Su i t e 2 1 5 ,
2.11878 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Li b e r t y v i l l e , I L 6 0 0 4 8

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i l o g y In d u s t r i a l Su p p l y, 7 4 2 0 Gr e e n d a l e Rd , Un i t A,
2.11879 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 7 1 )
                                                                                                                                                                 Wi n d s o r , C O 8 0 5 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i m a c o , In c . , 2 3 0 0 Ga t e w a y Bl v d , Su i t e 2 0 0 , Mo r r i s v i l l e , N C
2.11880 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 27560
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i m a c o , In c . , 2 3 0 0 Ga t e w a y Bl v d , Su i t e 2 0 0 , Mo r r i s v i l l e , N C
2.11881 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 27560
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i m a c o , L L C, 2 3 0 0 Ga t e w a y Ce n t r e Bl v d . , Su i t e 2 0 0 ,
2.11882 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mo r r i s v i l l e , N C 2 7 5 6 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i m a c o , L L C, 2 3 0 0 Ga t e w a y Ce n t r e Bl v d . , Su i t e 2 0 0 ,
2.11883 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mo r r i s v i l l e , N C 2 7 5 6 0

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr i m a c o , L L C, 2 3 0 0 Ga t e w a y Ce n t r e Bl v d . , Su i t e 2 0 0 ,
2.11884 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mo r r i s v i l l e , N C 2 7 5 6 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i n i ' s Pl u m b i n g & Tr u e Va l u e , 1 1 0 Al t a St . , Go n z a l e z , C A
2.11885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 0 4 )
        nature of the debtor's interest                                                                                                                          93926-9501

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i n i d a d Be n h a m , 3 6 5 0 S Yo s e m i t e , Su i t e 3 0 0 , De n v e r , C O
2.11886 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 80237
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i n i d a d Be n h a m , 3 6 5 0 S Yo s e m i t e , Su i t e 3 0 0 , De n v e r , C O
2.11887 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 80237

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i n i t y Pl a s t i c s In c , 9 Pe a c h Tr e e Hi l l Rd , Li v i n g s t o n , N J
2.11888 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07039
        nature of the debtor's interest
         State the term remaining                         10/29/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i o n , 2 9 7 La i r d St r e e t , Wi l k e s Ba r r e , PA 1 8 7 0 2
2.11889 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Tr i o n Wi r e Di v i d e r s a n d Fr o n t s Pu r c h a s e
        nature of the debtor's interest                   Ag r e e m e n t _ 2 0 2 2

         State the term remaining                         07/18/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i o n In d u s t r i e s , Tr i o n , 2 9 7 La i r d St r e e t , Wi l k e s Ba r r e , PA
2.11890 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          18702

         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i p l e B Ho m e Ce n t e r , 4 0 8 N Ce d a r St , Sh e l b y v i l l e , I L 6 2 5 6 5
2.11891 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 8 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr i p l e L Su p p l y, 2 8 1 9 Bi g Ho r n Av e n u e , Co d y, W Y 8 2 4 1 4 - 9 2 0 6
2.11892 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 4 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s a l e s Ma r k e t i n g L L C, 2 4 7 Ro u t e 1 0 0 St e 1 0 3 , So m e r s , N Y
2.11893 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 10589-3264
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s a l e s Ma r k e t i n g L L C, 2 4 7 Ro u t e 1 0 0 St e 1 0 3 , So m e r s , N Y
2.11894 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 10589-3264

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s a l e s Ma r k e t i n g L L C, 2 4 7 Ro u t e 1 0 0 St e 1 0 3 , So m e r s , N Y
2.11895 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 10589-3264
        nature of the debtor's interest
         State the term remaining                         03/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s a l e s Ma r k e t i n g L L C, 2 4 7 Ro u t e 1 0 0 St e 1 0 3 , So m e r s , N Y
2.11896 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 10589-3264
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s a l e s Ma r k e t i n g L L C, 2 4 7 Ro u t e 1 0 0 St e 1 0 3 , So m e r s , N Y
2.11897 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 10589-3264

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s t a r Pr o d u c t s , C/ O Fo s d i c k Fu l f i l l m e n t , 1 2 0 3 5 Mo y a Bl v d ,
2.11898 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Su i t e 1 0 3 , Re n o , N V 8 9 5 0 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i s t a r Pr o d u c t s , C/ O Fo s d i c k Fu l f i l l m e n t , 1 2 0 3 5 Mo y a Bl v d ,
2.11899 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Su i t e 1 0 3 , Re n o , N V 8 9 5 0 6

         State the term remaining                         05/01/2007

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr i t c h Tr u e Va l u e Hd w, 1 6 2 0 Co l o r a d o Bl v d , Lo s An g e l e s , C A
2.11900 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 3 0 )
                                                                                                                                                                 90041-1403
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr i x i e & Mi l o , 1 2 2 Se 8 Th Av e n u e , Po r t l a n d , O R 9 7 2 1 4
2.11901 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Tr o j a n Sp e c i a l t y Pr o d u c t s , Po Bo x 1 7 3 5 , 1 0 8 6 0 W Wy a t t Ea r p
2.11902 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bl v d , Do d g e Ci t y, K S 6 7 8 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr o j a n Sp e c i a l t y Pr o d u c t s , Po Bo x 1 7 3 5 , 1 0 8 6 0 W Wy a t t Ea r p
2.11903 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bl v d , Do d g e Ci t y, K S 6 7 8 0 1
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr o o p In d u s t r i a l , 9 2 1 A. W. Pa s a d e n a Fr w y, Pa s a d e n a , T X
2.11904 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 2 1 )
                                                                                                                                                                 77506
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr o p i c Tr u e Va l u e , 1 2 1 N Ma i n St r e e t P. o . Bo x 5 9 , Tr o p i c , U T
2.11905 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 5 2 )
                                                                                                                                                                 84776-0059
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr o y Tr u e Va l u e , 8 5 2 S Ma r k e t St , Tr o y, O H 4 5 3 7 3 - 4 0 0 4
2.11906 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 9 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr o y ' s Tr u e Va l u e , Tr o y ` s Tr u e Va l u e , 1 3 6 N Ma i n St ,
2.11907 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 7 4 )
                                                                                                                                                                 Ha l s t e a d , K S 6 7 0 5 6 - 1 7 0 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr u Ea r t h En v i r o n m e n t a l Pr o d u c t s , 6 0 7 - 2 2 0 Br e w St r e e t , Po r t
2.11908 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mo o d y, B C V3 H 0 H6 , Ca n a d a

         State the term remaining                         03/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u - b i l t Lu m b e r Co , 1 6 0 S 1 0 t h St , Su n b u r y, PA 1 7 8 0 1 - 2 8 9 8
2.11909 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 3 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Ma n u f a c t u r i n g In c , 2 0 0 1 E Te r r a La n e , O' Fa l l o n , M O
2.11910 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63366
        nature of the debtor's interest
         State the term remaining                         05/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Sc i e n c e Ho l d i n g s , 5 0 0 E Sh o r e Dr , Su i t e 1 2 0 , Ea g l e , I D
2.11911 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 83616
        nature of the debtor's interest
         State the term remaining                         09/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Sc i e n c e Ho l d i n g s , 5 0 0 E Sh o r e Dr , Su i t e 1 2 0 , Ea g l e , I D
2.11912 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 83616
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 1 2 6 E Jo h n s o n Av e , Wa r r e n , M N 5 6 7 6 2 - 1 2 3 1
2.11913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 1 3 4 0 We s t O St , Su i t e 1 0 0 , Li n c o l n , N E 6 8 5 2 8
2.11914 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 4 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 2 W Ma i n St , Ma d e l i a , M N 5 6 0 6 2 - 1 4 3 8
2.11915 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr u e Va l u e , 2 3 5 E Ma i n St , Be n n e t t s v i l l e , S C 2 9 5 1 2 - 3 1 5 7
2.11916 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 0 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 3 0 3 No r t h Ma i n , Va l e n t i n e , N E 6 9 2 0 1 - 1 8 4 1
2.11917 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 0 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 3 3 S Br o a d w a y, We l l s , M N 5 6 0 9 7 - 1 6 3 2
2.11918 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 5 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 4 2 3 1 s t Av e S, Sa i n t Ja m e s , M N 5 6 0 8 1 - 1 7 2 5
2.11919 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e , 9 1 6 Ok o b o j i Av e , Mi l f o r d , I A 5 1 3 5 1 - 1 5 1 5
2.11920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 4 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e 3 6 0 Hd w e & Re n t a l , 6 2 5 Ri c h m o n d Ta p p a h a n o c k
2.11921 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 7 1 )
                                                                                                                                                                 Hw y, Ma n q u i n , VA 2 3 1 0 6 - 2 5 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Am e r i c a , 9 5 1 3 N Ne b r a s k a Av e , Ta m p a , F L 3 3 6 1 2
2.11922 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 1 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Ap p l i c a t o r s , 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11923 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr u e Va l u e Ap p l i c a t o r s , 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11924 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Ap p l i c a t o r s , 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11925 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e At Ar g o n n e Vi l l a g e , 9 2 1 1 E Mo n t g o m e r y Av e 1 1 0 6 ,
2.11926 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 1 9 )
                                                                                                                                                                 Sp o k a n e Va l l e y, WA 9 9 2 0 6 - 1 1 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e At Oa k b r o o k , 9 8 1 4 Ea s t Br a i n e r d Rd , Oo l t e w a h , T N
2.11927 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 2 3 )
        nature of the debtor's interest                                                                                                                          37363

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Bu i l d i n g Ma t e r i a l s , 5 6 0 N Ro b i n s o n Rd , Se n a t o b i a ,
2.11928 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 5 0 )
                                                                                                                                                                 MS 38668-2149
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Bu i l d i n g Su p p l i e s , 6 1 0 W Hi g h w a y 1 6 0 , Al t o n , M O
2.11929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 1 4 )
        nature of the debtor's interest                                                                                                                          65606-8305

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e By Id e a l , 2 3 2 Le x i n g t o n St , Wa l t h a m , M A 0 2 4 5 2 -
2.11930 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 3 9 )
                                                                                                                                                                 4612
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u e Va l u e Co - Am a z o n , 3 0 8 S. Di v i s i o n St . , Ha r v a r d , I L
2.11931 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 0 3 )
        nature of the debtor's interest                                                                                                                          60033

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Tr u e Va l u e Co m p a n y, 1 2 Tr a d e p o r t Ro a d , Ha n o v e r To w n s h i p ,
2.11932 State what the contract or lease is for and the   H R Se r v i c e s , Tr u e Va l u e Co n f i d e n t i a l i t y Ag r e e m e n t - Jo s e
                                                                                                                                                        PA 1 8 6 3 4
        nature of the debtor's interest                   Ga b r i e l Go n z a l e z

         State the term remaining                         01/29/2021

         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Ea s t Ly m e , Ct , Tr u e Va l u e Ea s t Ly m e Ct , 3 0 0
2.11933 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 4 0 )
                                                                                                                                                        Fl a n d e r s Rd , Ea s t Ly m e , C T 0 6 3 3 3 - 1 7 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Ea s t e r n Su p p l i e s , 2 9 0 0 Sh a t t u c k Av e , Be r k e l e y, C A
2.11934 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 0 2 )
                                                                                                                                                        94705-1809
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e El i z a b e t h , 1 7 5 W Ki o w a Av e , El i z a b e t h , C O 8 0 1 0 7 -
2.11935 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 8 )
                                                                                                                                                        7934
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Fa r m & Ho m e , Tr u e Va l u e Fa r m & h o m e St o r e , 2 2 4
2.11936 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 5 6 )
        nature of the debtor's interest                                                                                                                 Fr o n t Av e , Po c a h o n t a s , I A 5 0 5 7 4 - 2 1 2 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Fa r m & Ho m e Ct r , 4 1 6 Ri v e r Av e N, Be l m o n d , I A
2.11937 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 1 3 )
                                                                                                                                                        50421-1039
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Fa r m & Ho m e Su p p l y, 2 3 0 N Hw y 6 5 , Ma r s h a l l , A R
2.11938 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 0 6 7 )
        nature of the debtor's interest                                                                                                                 72650-7733

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Tr u e Va l u e Fo u n d a t i o n , 8 6 0 0 W. Br y n Ma w r Av e , Ch i c a g o , I L
2.11939 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 2 )
                                                                                                                                                        99999
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 0 0 Gr a n d Av e , We s t De s Mo i n e s , I A
2.11940 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 2 9 )
                                                                                                                                                     50265-3710
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 0 1 Ea s t Ch u r c h St , Co l u m b i a , A L
2.11941 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 3 0 )
                                                                                                                                                     36319-3659
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 0 1 S 3 r d St r e e t , Sa n t a Ro s a , N M 8 8 4 3 5 -
2.11942 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 6 3 9 )
                                                                                                                                                     2346
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 1 5 Ly s t r a Ct , Sa n t a Ro s a , C A 9 5 4 0 3 -
2.11943 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 6 1 )
        nature of the debtor's interest                                                                                                              8076

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 2 3 W G L Sm i t h St , Mo r g a n t o w n , K Y
2.11944 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 0 2 )
                                                                                                                                                     42261-8601
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 5 1 9 St o n e St , Fa l l s Ci t y, N E 6 8 3 5 5 -
2.11945 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 9 4 )
        nature of the debtor's interest                                                                                                              2662

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 1 7 5 0 Hi g h w a y 1 2 6 , Fl o r e n c e , O R 9 7 4 3 9 -
2.11946 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 2 8 )
                                                                                                                                                     9626
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 2 0 1 W Mi l l St , Pl a i n v i l l e , K S 6 7 6 6 3 -
2.11947 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 2 4 )
                                                                                                                                                     2226
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 2 0 2 4 Pr o g r e s s We s t Dr , Va n d a l i a , I L
2.11948 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 2 3 3 )
                                                                                                                                                     62471-3241
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 2 0 4 E Ce n t r a l Av e , Va l d o s t a , G A 3 1 6 0 1 -
2.11949 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 5 7 )
                                                                                                                                                     5718
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 2 3 2 N Re d w o o d Hw y, Ca v e Ju n c t i o n , O R
2.11950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 2 )
        nature of the debtor's interest                                                                                                              97523-9023

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 4 0 1 W Go l d f i e l d Av e n u e , Ye r i n g t o n , N V
2.11951 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 8 0 3 )
                                                                                                                                                     89447-2387
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 4 1 2 E Su g a r l a n d Hw y, Cl e w i s t o n , F L
2.11952 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 8 7 7 )
        nature of the debtor's interest                                                                                                              33440-3126

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 5 0 8 N. Di x i e Bl v d , Ra d c l i f f , K Y 4 0 1 6 0 -
2.11953 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 4 )
                                                                                                                                                     1309
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 5 3 3 6 t h St , Ma m o u , L A 7 0 5 5 4 - 3 7 2 1
2.11954 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 1 6 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e , 7 7 0 7 Se 2 7 t h St 1 1 1 0 , Me r c e r Is l a n d ,
2.11955 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 4 0 )
                                                                                                                                                     WA 9 8 0 4 0 - 2 8 4 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Ha r d w a r e & Ge n e r a l St o r e , T V Ha r d w a r e &
2.11956 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 0 5 )
                                                                                                                                                     Ge n e r a l St o r e , 8 1 0 N Lo c u s t Av e , La w r e n c e b u r g , T N 3 8 4 6 4 -
        nature of the debtor's interest
                                                                                                                                                     2804
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e & Ho m e St o r e , Tr u e Va l u e Ha r d w a r e &
2.11957 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 1 )
        nature of the debtor's interest                                                                                                              Ho m e S, 2 2 1 W 6 t h , Ca r r o l l , I A 5 1 4 0 1 - 2 3 4 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e Of Co t a t i , 7 5 2 0 Co m m e r c e Bl v d , Co t a t i ,
2.11958 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 1 8 )
                                                                                                                                                     CA 94931-3710
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ha r d w a r e Of Gr e e n v i l l e , Tr u e Va l u e Ha r d w a r e Of
2.11959 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 6 2 )
        nature of the debtor's interest                                                                                                              Gr e e n v i , 7 0 1 S Gr e e n v i l l e We s t Dr St e 7 - 1 0 , Gr e e n v i l l e , M I
                                                                                                                                                     48838-3516
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Hd w, 5 3 5 0 Rt 8 7 3 St e E, Sc h n e c k s v i l l e , PA 1 8 0 7 8 -
2.11960 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 9 3 4 )
                                                                                                                                                     2259
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Hd w e , 5 1 9 Ne b r a s k a Av e , Ar a p a h o e , N E 6 8 9 2 2 -
2.11961 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 4 4 )
        nature of the debtor's interest                                                                                                              2832

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ho l l i d a y Sh p g Ct r , Ho l l i d a y Sh p g Ct r , 3 2 6 Ma i n St ,
2.11962 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 5 1 )
                                                                                                                                                     Mo n t e l l o , W I 5 3 9 4 9 - 9 7 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Ho m e Ce n t e r , 1 0 3 N Lo u i s i a n a St , Cr o s s e t t , A R
2.11963 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 8 9 8 )
                                                                                                                                                     71635-2707
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   Tr u e Va l u e Ho m e Ce n t e r , 1 8 6 5 S Co m m e r c e St , Gr e n a d a , M S
2.11964 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 7 4 1 )
                                                                                                                                                   38901-5106
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Ho m e Ce n t e r , 4 0 5 9 6 We s t l a k e Dr , Oa k h u r s t , C A
2.11965 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 8 8 9 )
                                                                                                                                                   93644-9024
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Ho m e Hd w. & g n d . c e n t e r , Tr u e Va l u e Ho m e
2.11966 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 4 9 7 )
        nature of the debtor's interest                                                                                                            Hd w. & g n d . c e n t e , 1 6 Ra i l r o a d St , Si m s b u r y, C T 0 6 0 7 0 - 2 2 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11967 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11968 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11969 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11970 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                   Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11971 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Mf g Co m p a n y, 2 0 1 Ja n d u s Ro a d , Ca r y, I L 6 0 0 1 3
2.11972 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e My s t i c , Ct , Tr u e Va l u e My s t i c Ct , 9 He n d e l Dr ,
2.11973 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 4 3 )
        nature of the debtor's interest                                                                                                              My s t i c , C T 0 6 3 5 5 - 1 9 6 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Bo c a Ra t o n , 3 9 9 Ne Sp a n i s h Ri v e r Bl v d , Bo c a
2.11974 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 6 )
                                                                                                                                                     Ra t o n , F L 3 3 4 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Ca n t o n # 6 1 , Tr u e Va l u e Of Ca n t o n 6 1 , 8 4 3 3 0 t h
2.11975 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 1 1 )
        nature of the debtor's interest                                                                                                              St r e e t Nw, Ca n t o n , O H 4 4 7 0 9 - 2 9 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Ed g e w a t e r , 2 9 6 2 S Ri d g e w o o d Av e , Ed g e w a t e r ,
2.11976 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 5 6 )
                                                                                                                                                     FL 32141-7526
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Gr e e n v i l l e , 2 2 2 E Ha r r i s , Gr e e n v i l l e , I L 6 2 2 4 6 -
2.11977 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 5 )
                                                                                                                                                     2150
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Gu e r n e v i l l e , 1 5 6 0 0 Ri v e r Rd , Gu e r n e v i l l e , C A
2.11978 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 9 3 9 )
                                                                                                                                                     95446-9563
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Jo r d a n , Al - m a d i n a St - p o Bx 1 9 0 0 9 , Am m a n ,
2.11979 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 3 1 )
                                                                                                                                                     Jo r d a n
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Of La r a m i e , 1 1 6 1 N 3 r d St , La r a m i e , W Y 8 2 0 7 2 -
2.11980 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 9 6 4 )
        nature of the debtor's interest                                                                                                              2513

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of La t r o b e # 6 9 , Tr u e Va l u e Of La t r o b e 6 9 , 7 1 2
2.11981 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 8 3 )
                                                                                                                                                     In d u s t r i a l Bl v d St e 2 , La t r o b e , PA 1 5 6 5 0 - 1 6 6 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Me l b o u r n e , 2 4 4 4 N Wi c k h a m Rd , Me l b o u r n e , F L
2.11982 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 4 0 )
        nature of the debtor's interest                                                                                                              32935-8125

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Mi n e r v a # 7 6 , Tr u e Va l u e Of Mi n e r v a 7 6 , 1 6 4 0 0
2.11983 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 5 7 )
                                                                                                                                                     Ba y a r d Rd , Mi n e r v a , O H 4 4 6 5 7 - 3 6 7 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Mo u n t a i n Ci t y, 1 1 0 7 So u t h Sh a d y St r e e t ,
2.11984 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 6 9 )
                                                                                                                                                     Mo u n t a i n Ci t y, T N 3 7 6 8 3 - 2 0 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Oc e a n Pi n e s , 1 1 3 0 6 Ma n k l i n Cr e e k Rd , Be r l i n ,
2.11985 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 7 )
                                                                                                                                                     MD 21811
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Pa l m Ba y, 8 2 3 Ju p i t e r Bl v d , Pa l m Ba y, F L
2.11986 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 5 4 )
                                                                                                                                                     32907-9338
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Po r t Al l e g a n y, 5 1 2 N Ma i n St . , Po r t Al l e g a n y,
2.11987 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 5 )
        nature of the debtor's interest                                                                                                              PA 1 6 7 4 3

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Of Po r t St Jo h n , 3 7 1 0 Cu r t i s Bl v d , Po r t Sa i n t Jo h n ,
2.11988 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 2 4 )
                                                                                                                                                     FL 32927-8400
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of St . Ma r y ' s , 1 6 7 7 Ce l i n a Ro a d , Sa i n t Ma r y s , O H
2.11989 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 4 6 )
        nature of the debtor's interest                                                                                                              45885

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Of Wi n c h e s t e r , 2 7 6 Ma i n St r e e t , Wi n s t e d , C T
2.11990 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 9 6 )
                                                                                                                                                     06098-1642
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e On 1 7 t h , 1 6 2 3 1 7 t h St Nw, Wa s h i n g t o n , D C 2 0 0 0 9 -
2.11991 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 0 0 1 )
        nature of the debtor's interest                                                                                                              2433

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Pa l a u , 1 2 9 Er n g u u l Ro a d , Ko r o r , Pa l a u , Mi c r o n e s i a
2.11992 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 6 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Pa s s Ro a d , 5 0 4 E Pa s s Ro a d s , Gu l f p o r t , M S 3 9 5 0 7
2.11993 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 2 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Pl a i n Ci t y, 3 6 2 7 W 2 6 0 0 N, Pl a i n Ci t y, U T 8 4 4 0 4 -
2.11994 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 6 )
        nature of the debtor's interest                                                                                                              9308

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l , 1 1 0 9 Sa l z b u r g Av e , Ba y Ci t y, M I 4 8 7 0 6 -
2.11995 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 5 0 1 )
                                                                                                                                                     6302
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Re n t a l , 1 3 9 4 8 Ca p i t a l Bo u l e v a r d , Wa k e Fo r e s t , N C
2.11996 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 9 4 )
        nature of the debtor's interest                                                                                                              27587-6613

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l , 1 6 7 2 8 St a t e Hw y 1 3 , Br a n s o n We s t , M O
2.11997 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 3 )
                                                                                                                                                     65737
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l , 3 2 6 2 Us Ro u t e 5 , De r b y, V T 0 5 8 2 9 - 9 6 7 7
2.11998 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 6 8 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l , 5 1 5 No r t h Ma i n St . , No r t h Mi a m i , O K
2.11999 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 3 7 )
                                                                                                                                                     74358-4811
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l Of Cr y s t a l Ri v e r , Tr u e Va l u e Re n t a l Of
2.12000 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 5 5 )
                                                                                                                                                     Cr y s t a l R, 8 0 8 1 W Gu l f To La k e Hw y, Cr y s t a l Ri v e r , F L
        nature of the debtor's interest
                                                                                                                                                     34429-7959
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l Of In v e r n e s s , 3 3 1 5 E Gu l f To La k e Hw y,
2.12001 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 9 )
        nature of the debtor's interest                                                                                                              In v e r n e s s , F L 3 4 4 5 3 - 3 2 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l Of La k e l a n d , 2 1 3 4 E Ed g e w o o d Dr ,
2.12002 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 4 7 7 9 )
                                                                                                                                                     La k e l a n d , F L 3 3 8 0 3 - 3 6 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l Of No r t h e r n Ke n t Co . , Tr u e Va l u e Re n t a l Of
2.12003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 1 9 )
        nature of the debtor's interest                                                                                                              No r t h e r n , 3 5 7 5 1 4 Mi l e Rd , Ce d a r Sp r i n g s , M I 4 9 3 1 9 - 9 1 1 7

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Re n t a l Of Pl a n t Ci t y, Tr u e Va l u e Re n t a l Of Pl a n t
2.12004 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 2 1 6 )
                                                                                                                                                     Ci t , 6 0 1 S Co l l i n s St , Pl a n t Ci t y, F L 3 3 5 6 3 - 5 5 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Re n t a l Of Ta m p a , 9 9 0 1 Ea s t Hi l l s b o r o u g h Av e ,
2.12005 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 2 9 1 )
        nature of the debtor's interest                                                                                                              Ta m p a , F L 3 3 6 1 0 - 5 9 3 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Su p e r s t o r e , 1 3 1 3 W Pa r k St 1 , Li v i n g s t o n , M T
2.12006 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 9 3 )
                                                                                                                                                     59047-2623
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Su p e r s t o r e , 1 3 1 3 W Pa r k St 1 , Li v i n g s t o n , M T
2.12007 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 2 8 )
                                                                                                                                                     59047-2623
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Tr a i l e r s & Po w e r Eq u i p m e n t , Tr u e Va l u e Tr a i l e r s &
2.12008 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 5 2 7 )
                                                                                                                                                     Po w e r , 6 3 5 Sh o o p Dr , Pe n r o s e , C O 8 1 2 4 0 - 9 5 2 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Wa p a k o n e t a , 8 1 1 De f i a n c e St r e e t , Wa p a k o n e t a , O H
2.12009 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 6 2 )
                                                                                                                                                     45895-1020
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Wh o l e s a l e , 8 6 0 0 W. Br y n Ma w r Av e , Ch i c a g o , I L
2.12010 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 7 8 )
        nature of the debtor's interest                                                                                                              77777

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Wh o l e s a l e , 8 6 0 0 W. Br y n Ma w r Av e , Ch i c a g o , I L
2.12011 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 8 0 )
                                                                                                                                                     77777
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e Wh o l e s a l e - Ha r v a r d 0 1 , Tr u e Va l u e Wh o l e s a l e -
2.12012 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 2 )
        nature of the debtor's interest                                                                                                              Ha r v a r d , 8 6 0 0 We s t Br y n Ma w r Av e n u e , Ja s o n Ma l i n a ,
                                                                                                                                                     Ch i c a g o , I L 7 7 7 7 7
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e Wi l l i m a n t i c , Ct , Tr u e Va l u e Wi l l i m a n t i c Ct , 1 5 6 1
2.12013 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 4 2 )
                                                                                                                                                     Ma i n St , Wi l l i m a n t i c , C T 0 6 2 2 6 - 1 1 2 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 0 1 8 0 0 - h a r v a r d , Tr u e Va l u e . c o m , 2 0 3 Ja n d u s Rd Do c
2.12014 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 0 )
        nature of the debtor's interest                                                                                                              4 2 , Ca r y, I L 6 0 0 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 3 9 - a t l a n t a , 7 6 0 0 Jo n e s b o r o Ro a d , Jo n e s b o r o ,
2.12015 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 3 9 )
                                                                                                                                                     GA 30236-2360
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 0 - c l e v e l a n d , Tr u e Va l u e - c l e v e l a n d , 2 6 0 2 5 Fi r s t
2.12016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 0 )
                                                                                                                                                     St r e e t , We s t l a k e , O H 4 4 1 4 5 - 1 4 0 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 1 - m a n c h e s t e r , Tr u e Va l u e - m a n c h e s t e r , 3 3 3
2.12017 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 1 )
        nature of the debtor's interest                                                                                                              Ha r v e y Ro a d , Ma n c h e s t e r , N H 0 3 1 0 3 - 3 3 4 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 2 - c o r s i c a n a , Tr u e Va l u e - Co r s i c a n a , 2 6 0 1 E
2.12018 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 2 )
                                                                                                                                                     Hw y 3 1 , Co r s i c a n a , T X 7 5 1 0 9 - 8 9 8 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 3 - k a n s a s Ci t y, Tr u e Va l u e - Ka n s a s Ci t y, 1 4 9 0 0
2.12019 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 3 )
        nature of the debtor's interest                                                                                                              Us Hw y 7 1 , Ka n s a s Ci t y, M O 6 4 1 4 7 - 1 0 1 1

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 4 - d e n v e r , Tr u e Va l u e - De n v e r , 1 1 2 7 5 E 4 0 t h
2.12020 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 4 )
                                                                                                                                                     Av e , De n v e r , C O 8 0 2 3 9 - 3 2 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 5 - s p r i n g f i e l d , Tr u e Va l u e - Sp r i n g f i e l d , 2 1 5 0
2.12021 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 5 )
        nature of the debtor's interest                                                                                                              Ol y m p i c St , Sp r i n g f i e l d , O R 9 7 4 7 7 - 3 4 7 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 6 - w o o d l a n d , Tr u e Va l u e - Wo o d l a n d , 2 1 5 N
2.12022 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 6 )
                                                                                                                                                     Pi o n e e r Av e , Wo o d l a n d , C A 9 5 7 7 6 - 5 9 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 7 - k i n g m a n , Tr u e Va l u e - Ki n g m a n , 4 0 0 5
2.12023 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 7 )
                                                                                                                                                     Mo h a v e Ai r p o r t Dr , Ki n g m a n , A Z 7 7 7 7 7 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 1 9 3 4 8 - m a n k a t o , Tr u e Va l u e - Ma n k a t o , 2 4 1 5 3 r d
2.12024 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 4 8 )
        nature of the debtor's interest                                                                                                              Av e , Ma n k a t o , M N 5 6 0 0 1 - 3 1 2 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e Va l u e - 2 1 0 7 1 - w i l k e s Ba r r e , 1 2 Tr a d e p o r t Ro a d , Wi l k e s -
2.12025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 7 1 )
                                                                                                                                                     Ba r r e , PA 7 7 7 7 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u e v a l u e . c o m , 8 6 0 0 W. Br y n Ma w r Av e , Ch i c a g o , I L 9 9 9 9 9
2.12026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 5 0 0 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tr u n k Ma t Co In c , 3 1 8 Ma p l e Gr o v e Rd , Da l t o n , G A 3 0 7 2 1
2.12027 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2012

         List the contract number of any government
         contract
Official Form 206G                                                 Schedule G: Executory Contracts and Unexpired Leases                                                                                        Page 1504 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12028 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 5 3 3 3 0 , Me x i c o

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12029 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest
         State the term remaining                         03/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12030 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12031 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12032 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12033 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 5 3 3 3 0 , Me x i c o

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12034 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12035 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 5 3 3 3 0 , Me x i c o

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12036 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u p e r Sa De Cv, Ca l l e D # 3 1 A, Co l Mo d e l o , Na u c a l p a n ,
2.12037 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 5 3 3 3 0 , Me x i c o
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s c o Bu i l d i n g Su p p l y, 4 7 Gr o v e St r e e t , Mo u n t Ve r n o n , N Y
2.12038 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 1 4 )
                                                                                                                                                                 10550-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s t a r c , 8 3 5 Ma r k e t St r e e t , Su i t e 8 0 0 , Sa n Fr a n c i s c o , C A
2.12039 State what the contract or lease is for and the   Or d e r Fo r m , Tr u s t Ar c Co o k i e Co n s e n t Ma n a g e r S W
                                                                                                                                                                 94103
        nature of the debtor's interest
         State the term remaining                         12/15/2023 - 12/14/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s t a r c , 8 3 5 Ma r k e t St r e e t , Su i t e 8 0 0 , Sa n Fr a n c i s c o , C A
2.12040 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Tr u s t Ar c In c . M S A
        nature of the debtor's interest                                                                                                                          94103

         State the term remaining                         09/30/2019 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s t a r c , 8 3 5 Ma r k e t St r e e t , Su i t e 8 0 0 , Sa n Fr a n c i s c o , C A
2.12041 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Tr u s t Ar c S O W 3 In d i v i d u a l Ri g h t s
                                                                                                                                                                 94103
        nature of the debtor's interest                   Ma n a g e r

         State the term remaining                         09/30/2019 - 12/30/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s t a r c , 8 3 5 Ma r k e t St r e e t , Su i t e 8 0 0 , Sa n Fr a n c i s c o , C A
2.12042 State what the contract or lease is for and the
                                                          So f t w a r e , Tr u s t Ar c In d i v i d u a l Ri g h t s Ma n a g e r Re n e w a l 2 0 2 4
        nature of the debtor's interest                                                                                                                          94103

         State the term remaining                         09/30/2024 - 09/29/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Tr u s t a r c , 8 3 5 Ma r k e t St r e e t , Su i t e 8 0 0 , Sa n Fr a n c i s c o , C A
2.12043 State what the contract or lease is for and the   So f t w a r e , Tr u s t Ar c Co o k i e Co n s e n t Ma n a g e r So f t w a r e Re n e w a l
                                                                                                                                                                 94103
        nature of the debtor's interest                   2024

         State the term remaining                         12/15/2024 - 12/14/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Ts u r u m i , 1 6 2 5 Fu l l e r t o n Co u r t , Gl e n d a l e He i g h t , I L 6 0 1 3 9
2.12044 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/28/2010

         List the contract number of any government
         contract
                                                                                                                                                     Ts u r u m i Pu m p , 1 6 2 5 Fu l l e r t o n Co u r t , Gl e n d a l e He i g h t , I L
2.12045 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60139
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Tu Fe r r e t e r i a Bu e n a Vi s t a , Jo s e Di e g o 4 5 6 Bo . Bu e n a Vi s t a ,
2.12046 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 9 3 )
                                                                                                                                                     Ca y e y, P R 0 0 7 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tu c u m c a r i Lu m b e r Tr u e Va l u e , 2 2 1 S 1 s t St , Tu c u m c a r i , N M
2.12047 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 7 0 )
        nature of the debtor's interest                                                                                                              88401-2705

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tu f c o / Tr i m a c o , In c . , 2 3 0 0 Ga t e w a y Ce n t r e Bl v d . , Su i t e 2 0 0 ,
2.12048 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     Mo r r i s v i l l e , N C 2 7 5 6 0
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 07/01/2026

         List the contract number of any government
         contract
                                                                                                                                                     Tu f c o / Tr i m a c o , L L C. , 2 3 0 0 Ga t e w a y Ce n t r e Bl v d . , Su i t e 2 0 0 ,
2.12049 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Mo r r i s v i l l e , N C 2 7 5 6 0

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Tu r e k & So n s , 1 3 3 3 S Je f f e r s o n St r e e t , Ch i c a g o , I L 6 0 6 0 7 - 5 0 3 5
2.12050 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 7 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Tu r f In c , Po Bo x 2 6 2 , Ba t a v i a , I L 6 0 5 1 0
2.12051 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Tu r f c o Mf g . , In c . , Po Bo x 4 9 3 4 0 , 1 6 5 5 1 0 1 St Av e Ne ,
2.12052 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mi n n e a p o l i s , M N 5 5 4 4 9
        nature of the debtor's interest
         State the term remaining                         01/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Tu r n e r Lu m b e r Co , 1 2 2 Va n d e r k e m p Av e , Ba r n e v e l d , N Y
2.12053 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 6 6 8 )
                                                                                                                                                                 13304-2427
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tu r t l e Po n d Or c h i d s , 1 7 7 Ca y m a n Dr i v e , Pa l m Sp r i n g s , F L
2.12054 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          33461

         State the term remaining                         02/05/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Tu r t l e Wa x In c , 6 2 5 Wi l l o w b r o o k Ce n t r e Pk w y, Wi l l o w b r o o k ,
2.12055 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60527
        nature of the debtor's interest
         State the term remaining                         03/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Tu r t l e Wa x In c , 6 2 5 Wi l l o w b r o o k Ce n t r e Pk w y, Wi l l o w b r o o k ,
2.12056 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60527

         State the term remaining                         03/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Tu r t l e Wa x In c , 6 2 5 Wi l l o w b r o o k Ce n t r e Pk w y, Wi l l o w b r o o k ,
2.12057 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60527
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tu r t l e Wa x In c , 6 2 5 Wi l l o w b r o o k Ce n t r e Pk w y, Wi l l o w b r o o k ,
2.12058 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60527
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Tu t h i l l Co r p , Tu t h i l l Co r p . , 8 8 2 5 Av i a t i o n Dr i v e , Fo r t Wa y n e ,
2.12059 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IN 46809
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Tw ' s Wa t s o n Fa m i l y Ha r d w a r e , Tw ` s Wa t s o n Fa m i l y Ha r d w a r e ,
2.12060 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 4 3 )
                                                                                                                                                             1 Co l e Pa r k w a y, Sc i t u a t e , M A 0 2 0 6 6 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Tw i n Ci t y Bu i l d i n g Ma t e r i a l s & Su p p l y, 1 4 5 0 Co l u m b u s Pk w y,
2.12061 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 7 2 )
                                                                                                                                                             Op e l i k a , A L 3 6 8 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Tw i s t e r Di s p l a y, Po Bo x 2 7 0 4 , Ea s t Li v e r p o o l , O H 4 3 9 2 0
2.12062 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                             Tw o s Co m p a n y In c , 5 0 0 Sa w Mi l l Ri v e r Rd , El m s f o r d , N Y
2.12063 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      10523

         State the term remaining                         03/05/2014

         List the contract number of any government
         contract
                                                                                                                                                             Ty c o In t e g r a t e d Se c u r i t y L L C, 6 6 0 0 Co n g r e s s Bl v d , Bo c a
2.12064 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Jo h n s o n Co n t r o l s Se c u r i t y Sa l e s
                                                                                                                                                             Ra t o n , F L 3 3 4 8 7
        nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                         06/08/2022 - 06/07/2027

         List the contract number of any government
         contract
                                                                                                                                                             Ty c o In t e g r a t e d Se c u r i t y L L C, 6 6 0 0 Co n g r e s s Bl v d , Bo c a
2.12065 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      Ra t o n , F L 3 3 4 8 7

         State the term remaining                         08/01/2007

         List the contract number of any government
         contract
                                                                                                                                                             Ty p h o o n Ho m e w a r e s L L C, 9 0 0 Me r c h a n t s Co n c o u r s e , Su i t e
2.12066 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             2 1 1 , We s t b u r y, N Y 1 1 5 9 0
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                             U S Gy p s u m , 5 5 0 W Ad a m s St , Ch i c a g o , I L 6 0 6 6 1
2.12067 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                         Page 1509 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 U S Gy p s u m , 5 5 0 W Ad a m s St , Ch i c a g o , I L 6 0 6 6 1
2.12068 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 U S Gy p s u m , 5 5 0 W Ad a m s St , Ch i c a g o , I L 6 0 6 6 1
2.12069 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 U S La m b s w o o l , 3 5 4 0 Be r t h a Dr , Ba l d w i n , N Y 1 1 5 1 0 - 0 5 0 3
2.12070 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 U S Lu m b e r & Pl y w o o d Co r p , 6 6 8 S Ev e r g r e e n Av e , Wo o d b u r y
2.12071 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 2 0 1 1 )
                                                                                                                                                                 He i g h t s , N J 0 8 0 9 7 - 1 0 2 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 U S Mi n e r a l s In c , 1 8 6 3 5 W Cr e e k Dr i v e , Ti n l e y Pa r k , I L 6 0 4 7 7
2.12072 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 U S Mi x Co , 1 1 2 S Sa n t a Fe Dr i v e , De n v e r , C O 8 0 2 2 3
2.12073 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 U S No n w o v e n s , 1 0 0 Em j a y Bl v d , Br e n t w o o d , N Y 1 1 7 1 7
2.12074 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/15/2016

         List the contract number of any government
         contract
                                                                                                                                                                 U S No n w o v e n s , 1 0 0 Em j a y Bl v d , Br e n t w o o d , N Y 1 1 7 1 7
2.12075 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 U S No n w o v e n s , 1 0 0 Em j a y Bl v d , Br e n t w o o d , N Y 1 1 7 1 7
2.12076 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 U S Pu m i c e , 2 0 2 1 9 Ba h a m a St r e e t , Ch a t s w o r t h , C A 9 1 3 1 1
2.12077 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 U S Pu m i c e , 2 0 2 1 9 Ba h a m a St r e e t , Ch a t s w o r t h , C A 9 1 3 1 1
2.12078 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 U S St o v e Co m p a n y, 2 2 7 In d u s t r i a l Pa r k Ro a d , So u t h Pi t t s b u r g ,
2.12079 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          TN 37380

         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 U S St o v e Co m p a n y, 2 2 7 In d u s t r i a l Pa r k Ro a d , So u t h Pi t t s b u r g ,
2.12080 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TN 37380
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 U S St o v e Co m p a n y, 2 2 7 In d u s t r i a l Pa r k Ro a d , So u t h Pi t t s b u r g ,
2.12081 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 TN 37380
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 U S Ur b a n Wi l d l i f e Co n t r o l L L C, 4 6 8 4 Gl e n f o r e s t Dr i v e ,
2.12082 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro s w e l l , G A 3 0 0 7 5
        nature of the debtor's interest
         State the term remaining                         02/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 U. S. De p a r t m e n t o f Tr a n s p o r t a t i o n , U S De p a r t m e n t Of
2.12083 State what the contract or lease is for and the   Eq u i p m e n t Re p a i r , Fr e i g h t Lo g i s t i c s Op t i m i z a t i o n Wo r k s
                                                                                                                                                                 Tr a n s p o r t a t i o n , 1 2 0 0 Ne w Je r s e y Av e , Se , Wa s h i n g t o n , D C
        nature of the debtor's interest                   Me m b e r s h i p Ag r e e m e n t 2 0 2 2
                                                                                                                                                                 20590
         State the term remaining                         07/14/2022 - 07/13/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 U. S. Gr e e n f i b e r L L C, 5 5 0 0 7 7 Ce n t e r Dr i v e , Su i t e 1 0 0 ,
2.12084 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ch a r l o t t e , N C 2 8 2 1 7

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Pu m i c e , 2 0 2 1 9 Ba h a m a St r e e t , Ch a t s w o r t h , C A 9 1 3 1 1
2.12085 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Pu m i c e , 2 0 2 1 9 Ba h a m a St r e e t , Ch a t s w o r t h , C A 9 1 3 1 1
2.12086 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Ta p e Co m p a n y In c . , 2 4 5 2 Qu a k e r t o w n Rd , Su i t e 3 0 0 ,
2.12087 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pe n n s b u r g , PA 1 8 0 7 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Ta p e Co m p a n y In c . , 2 4 5 2 Qu a k e r t o w n Rd , Su i t e 3 0 0 ,
2.12088 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pe n n s b u r g , PA 1 8 0 7 3

         State the term remaining                         01/01/2024 - 12/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Ta p e Co m p a n y In c . , 2 4 5 2 Qu a k e r t o w n Rd , Su i t e 3 0 0 ,
2.12089 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pe n n s b u r g , PA 1 8 0 7 3
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 U. S. Wi r e & Ca b l e Co r p o r a t i o n , On e Fl e x o n Pl a z a , Ne w a r k , N J
2.12090 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 07114
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Ub e r Fr e i g h t L L C, 1 4 5 5 Ma r k e t St r e e t , Fo u r t h Fl o o r , Sa n
2.12091 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Ub e r Fr i e g h t L L C - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t Co n t r a c t e d Ca r r i e r                                                       Fr a n c i s c o , C A 9 4 1 0 3

         State the term remaining                         05/21/2020

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          Ud De s i g n Co , 9 3 1 0 S 3 7 0 W, Sa n d y, U T 8 4 0 7 0
2.12092 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/07/2023

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12093 State what the contract or lease is for and the
                                                          Ha r d w a r e , U K G ( Kr o n o s ) Da t a Co l l e c t i o n In To u c h Ha r d w a r e
        nature of the debtor's interest                   Su p p o r t Re n e w a l - 2 0 2 4

         State the term remaining                         06/01/2024 - 05/31/2025

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12094 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , U K G ( Kr o n o s ) Sa a S Ma s t e r
        nature of the debtor's interest                   Ag r e e m e n t ( M S A)

         State the term remaining                         07/01/2022 - 06/30/2027

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12095 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , U K G Ca n d i d a t e Te x t i n g Ad d On
        nature of the debtor's interest
         State the term remaining                         07/01/2024 - 06/30/2025

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12096 State what the contract or lease is for and the   Sa a S, U K G - Ul t i m a t e Sa a S Mo d e l Co r e Re n e w a l 2 0 2 2 - 2 0 2 5
        nature of the debtor's interest
         State the term remaining                         07/01/2022 - 06/30/2025

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12097 State what the contract or lease is for and the   Sa a S, U K G Wo r k f o r c e Di m e n s i o n s Su b s c r i p t i o n Re n e w a l 2 0 2 4
        nature of the debtor's interest
         State the term remaining                         01/25/2024 - 01/24/2025

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12098 State what the contract or lease is for and the
                                                          So f t w a r e , U K G H R I S Cl o u d Or d e r Fo r m Ta l e n t Ac q u i s i t i o n -
        nature of the debtor's interest                   Em p l o y e e Fi l e Mg m t

         State the term remaining                         07/01/2022 - 06/30/2025

         List the contract number of any government
         contract
                                                                                                                                                          Uk g / Kr o n o s , 2 9 7 Bi l l e r i c a Rd . , Ch e l m s f o r d , M A 0 1 8 2 4
2.12099 State what the contract or lease is for and the   So f t w a r e , U K G H R I S Cl o u d Or d e r Fo r m Ta l e n t Mg m t -
        nature of the debtor's interest                   Co m p e n s a t i o n Mg m t 2 0 2 3 - 2 0 2 5

         State the term remaining                         10/01/2023 - 09/30/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ul b r i c h s Tr u e Va l u e Hd w e , 1 1 0 7 1 7 t h St , Ho n d o , T X 7 8 8 6 1 -
2.12100 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 7 6 )
        nature of the debtor's interest                                                                                                                          1831

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ul t a - Li t Tr e e Co - Im p o r t , 1 9 8 9 Jo h n s Dr , Gl e n v i e w, I L 6 0 0 2 5
2.12101 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Fe r t i l i z e r Co , Th e , 1 3 9 We s t Ha l l St r e e t , Po Bo x 2 9 2 ,
2.12102 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ob e r l i n , K S 6 7 7 4 9

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Ga r d e n i n g L L C, 5 4 2 0 Lb j Fr e e w a y, Su i t e 5 7 0 , Da l l a s ,
2.12103 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TX 75240
        nature of the debtor's interest
         State the term remaining                         02/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Rb , 9 0 4 E 1 0 Th Av e , Mc m i n n v i l l e , O R 9 7 1 2 8
2.12104 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Su r v i v a l Te c h n o l o g i e s , 7 7 2 0 Ph i l i p s Hi g h w a y,
2.12105 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 5 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Su r v i v a l Te c h n o l o g i e s , 7 7 2 0 Ph i l i p s Hi g h w a y,
2.12106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ja c k s o n v i l l e , F L 3 2 2 5 6
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ul t i m a t e Te x t i l e , 1 8 Ma r k e t St , Pa t e r s o n , N J 0 7 5 0 1
2.12107 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2008

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ul t r a Co m p o s t , 2 7 6 5 7 Hi g h w a y 5 2 No r t h , Ne w Vi e n n a , I A
2.12108 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 52065
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t r a Ha r d w a r e Pr o d u c t s , 1 7 7 7 Hy l t o n Ro a d , Pe n n s a u k e n , N J
2.12109 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          08110

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t r a Op t i x In c , 1 7 Co m m e r c e St , P. O. Bo x 1 2 0 6 2 7 , Ea s t
2.12110 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ha v e n , C T 0 6 5 1 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ul t r a - Fa b Pr o d u c t s , In c . , Ul t r a - Fa b Pr o d u c t s , In c , 5 7 9 8 5 St a t e
2.12111 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Rd # 1 9 S, El k h a r t , I N 4 6 5 1 7
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ul t r a b l e n d Co l o r L L C, 1 4 4 0 We s t i n g h o u s e Bo u l e v a r d ,
2.12112 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ch a r l o t t e , N C 2 8 2 7 3
        nature of the debtor's interest
         State the term remaining                         02/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Ul y s s e s Bu i l d i n g Su p p l y t r u e Va l u e , Ul y s s e s Bu i l d i n g
2.12113 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 0 7 )
                                                                                                                                                                 Su p p l y t r u e Va , 3 3 2 S Ma i n , Ul y s s e s , K S 6 7 8 8 0 - 2 5 3 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un b e a t a b l e Sa l e , 1 9 5 Le h i g h Av e St e 5 , La k e w o o d , N J 0 8 7 0 1 -
2.12114 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 1 )
        nature of the debtor's interest                                                                                                                          4555

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un d e r g r o u n d To o l s In c , 6 6 8 0 Ho d g s o n Rd , Li n o La k e s , M N
2.12115 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55014
        nature of the debtor's interest
         State the term remaining                         06/01/2014

         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                 Page 1515 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un d e r w o o d Tr u e Va l u e , 4 0 9 Be e r s h e b a Hw y, Mc Mi n n v i l l e , T N
2.12116 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 7 9 7 )
        nature of the debtor's interest                                                                                                                          37110-2718

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un d e r w o o d Tr u e Va l u e Ha r d w a r e , 1 1 0 4 4 t h St r e e t Nw, Re d Ba y,
2.12117 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 5 5 )
                                                                                                                                                                 AL 35582-3941
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un d e r w o o d s , Un d e r w o o d s Tr u e Va l u e , 1 0 4 So m e r s e t Sq u a r e ,
2.12118 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 1 8 )
        nature of the debtor's interest                                                                                                                          So m e r s e t , O H 4 3 7 8 3 - 9 9 0 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un g e r In d u s t r i a l L L C, Un g e r In d u s t r i a l L L C, 4 2 5 As y l u m
2.12119 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 St r e e t , Br i d g e p o r t , C T 0 6 6 1 0
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Un g e r In d u s t r i a l L L C, Un g e r In d u s t r i a l L L C, 4 2 5 As y l u m
2.12120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 St r e e t , Br i d g e p o r t , C T 0 6 6 1 0
        nature of the debtor's interest
         State the term remaining                         07/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Un g e r In d u s t r i a l L L C, Un g e r In d u s t r i a l L L C, 4 2 5 As y l u m
2.12121 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          St r e e t , Br i d g e p o r t , C T 0 6 6 1 0

         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Un i f i e d Ma r i n e , 4 4 8 8 1 1 2 Th St , Ur b a n d a l e , I A 5 0 3 2 2
2.12122 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i f i e d Ma r i n e , 4 4 8 8 1 1 2 Th St , Ur b a n d a l e , I A 5 0 3 2 2
2.12123 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un i f i e d Ma r i n e , 4 4 8 8 1 1 2 Th St , Ur b a n d a l e , I A 5 0 3 2 2
2.12124 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Un i g o In c , 1 3 0 9 Je r i c h o Tp k e Fl 2 Nd Re a r , Ne w Hy d e Pa r k ,
2.12125 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          NY 11040

         State the term remaining                         06/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Un i g o In c , 1 3 0 9 Je r i c h o Tp k e Fl 2 Nd Re a r , Ne w Hy d e Pa r k ,
2.12126 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 NY 11040
        nature of the debtor's interest
         State the term remaining                         08/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Un i l e v e r Ic e Cr e a m , Po Bo x 1 9 0 0 7 , 9 0 9 Pa c k e r l a n d Dr i v e ,
2.12127 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n Ba y, W I 5 4 3 0 7
        nature of the debtor's interest
         State the term remaining                         01/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Un i n e x In t ' l , Un i n e x In t e r n a t i o n a l , 5 7 8 0 Sm i t h w a y St r e e t ,
2.12128 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co m m e r c e , C A 9 0 0 4 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i n e x In t ' l , Un i n e x In t e r n a t i o n a l , 5 7 8 0 Sm i t h w a y St r e e t ,
2.12129 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co m m e r c e , C A 9 0 0 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i n e x In t ' l , Un i n e x In t e r n a t i o n a l , 5 7 8 0 Sm i t h w a y St r e e t ,
2.12130 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Co m m e r c e , C A 9 0 0 4 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i n e x In t ' l , Un i n e x In t e r n a t i o n a l , 5 7 8 0 Sm i t h w a y St r e e t ,
2.12131 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Co m m e r c e , C A 9 0 0 4 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                              Doc 623                         Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


                                                                                                                                                          Un i o n 5 & 1 0 In c , 3 9 2 Un i o n Av e , Pa t e r s o n , N J 0 7 5 0 2 - 1 9 1 8
2.12132 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 8 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          Un i o n Gr o v e Tr u e Va l u e Lb r. & Hd w. , Un i o n Gr o v e Tr u e Va l u e
2.12133 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 )
                                                                                                                                                          Lb r. & , 1 0 2 4 1 0 t h Av e , Un i o n Gr o v e , W I 5 3 1 8 2 - 1 0 1 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          Un i o n Tr u e Va l u e Ha r d w a r e , 7 4 9 He a l d Hw y - Rt e 1 7 , Un i o n ,
2.12134 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 7 9 9 )
                                                                                                                                                          ME 04862-3256
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          Un i t e d Co m m e r c i a l Su p p l y, 6 3 4 8 Li b r a r y Rd St e 2 , So u t h Pa r k ,
2.12135 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 5 2 )
                                                                                                                                                          PA 1 5 1 2 9 - 8 5 7 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                          Un i t e d Gi l s o n i t e La b , Bo x 7 0 , Sc r a n t o n , PA 1 8 5 0 1
2.12136 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                          Un i t e d Gi l s o n i t e La b , Bo x 7 0 , Sc r a n t o n , PA 1 8 5 0 1
2.12137 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                          Un i t e d Gi l s o n i t e La b , Bo x 7 0 , Sc r a n t o n , PA 1 8 5 0 1
2.12138 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                          Un i t e d He a l t h c a r e Se r v i c e s , 1 8 5 As y l u m St r e e t , Ha r t s f o r d , C T
2.12139 State what the contract or lease is for and the
                                                          H R Se r v i c e s , Un i t e d He a l t h Ca r e Se r v i c e s - Ad m i n i s t r a t i v e
        nature of the debtor's interest                   Se r v i c e Ag r e e m e n t s                                                                 06103

         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un i t e d He a l t h c a r e Se r v i c e s , 1 8 5 As y l u m St r e e t , Ha r t s f o r d , C T
2.12140 State what the contract or lease is for and the   H R Se r v i c e s , Un i t e d He a l t h Ca r e Se r v i c e s - Re n e w a l a n d Te r m s
                                                                                                                                                                 06103
        nature of the debtor's interest                   Am e n d m e n t

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d In d u s t r i e s Co r p o r a t i o n , On e Ri d e r Tr a i l Pl a z a Dr i v e , St e
2.12141 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d In d u s t r i e s Co r p o r a t i o n , On e Ri d e r Tr a i l Pl a z a Dr i v e , St e
2.12142 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d In d u s t r i e s Co r p o r a t i o n , On e Ri d e r Tr a i l Pl a z a Dr i v e , St e
2.12143 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d In d u s t r i e s Co r p o r a t i o n , On e Ri d e r Tr a i l Pl a z a Dr i v e , St e
2.12144 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5

         State the term remaining                         07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d In d u s t r i e s Co r p o r a t i o n , On e Ri d e r Tr a i l Pl a z a Dr i v e , St e
2.12145 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 3 0 0 , Ea r t h Ci t y, M O 6 3 0 4 5
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Ju m b o Co . , Lt d , Ro a d 1 0 , Su o i Tr e In d u s t r i a l Z, Su o i
2.12146 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Tr e Wa r d , Lo n g Kh a n h , Ð? n g Na i 8 1 3 2 0 0 , Vi e t n a m

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Mo d e l L. P. , 2 9 0 1 Re s e a r c h Ro a d , Su i t e A, Ch a m p a i g n ,
2.12147 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 IL 61822
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un i t e d Pa r c e l Se r v i c e , In c , 5 5 Gl e n l a k e Pa r k w a y Ne , At l a n t a ,
2.12148 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , U P S In c e n t i v e Pr o g r a m Ag r e e m e n t # 1 7
        nature of the debtor's interest                                                                                                                          GA 30328

         State the term remaining                         11/16/2024 - 06/28/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Pa r c e l Se r v i c e , In c . , 5 5 Gl e n l a k e Pa r k w a y Ne , At l a n t a ,
2.12149 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , U P S Tr a n s p o r t a t i o n
                                                                                                                                                                 GA 30328
        nature of the debtor's interest                   Ag r e e m e n t a n d Am e n d m e n t s

         State the term remaining                         11/11/2024 - 11/10/2029

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Pa r c e l Se r v i c e , In c . , 5 5 Gl e n l a k e Pa r k w a y Ne , At l a n t a ,
2.12150 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , U P S In c e n t i v e Pr o g r a m Ag r e e m e n t
                                                                                                                                                                 GA 30328
        nature of the debtor's interest
         State the term remaining                         11/01/2019 - 10/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Qu a l i t y Co o p e r a t i v e , 9 9 Co o p St r e e t , Ne w To w n , N D
2.12151 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 8 6 )
        nature of the debtor's interest                                                                                                                          58763

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12152 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 MA 01453
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12153 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 MA 01453

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12154 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 MA 01453
        nature of the debtor's interest
         State the term remaining                         09/01/2023 - 08/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12155 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 MA 01453
        nature of the debtor's interest
         State the term remaining                         07/01/2018

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12156 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MA 01453
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12157 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MA 01453
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12158 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 MA 01453

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12159 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MA 01453
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d So l u t i o n s , 3 3 Pa t r i o t Ci r c l e , P. O. Bo x 3 5 8 , Le o m i n s t e r ,
2.12160 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MA 01453

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d St a t e s Hd w Mf g / U S Ha r d w a r e , 7 9 St e w a r t Av e ,
2.12161 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wa s h i n g t o n , PA 1 5 3 0 1
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d St a t e s Hd w Mf g / U S Ha r d w a r e , 7 9 St e w a r t Av e ,
2.12162 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wa s h i n g t o n , PA 1 5 3 0 1

         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d St a t e s Po s t a l Se r v i c e , In c l u d e d , I L 6 0 6 3 1
2.12163 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , U S P S N D A
        nature of the debtor's interest
         State the term remaining                         06/14/2023 - 06/13/2027

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Un i t e d St a t e s Wh i p In c , 5 1 7 0 1 E 1 1 0 Rd , Mi a m i , O K 7 4 3 5 4
2.12164 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d St a t i o n e r s Su p p l y Co , On e Pa r k w a y No r t h Bl v d ,
2.12165 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Su p e r m a r k e t s , 1 0 0 0 W 1 1 t h St , Qu a n a h , T X 7 9 2 5 2 - 5 2 1 4
2.12166 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 4 6 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Tr u e Va l u e , 4 1 5 E Hi g h l a n d Dr , Oc o n t o Fa l l s , W I
2.12167 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 6 6 )
        nature of the debtor's interest                                                                                                                          54154-1008

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t e d Tr u e Va l u e Ha r d w a r e , 7 9 0 5 3 r d Av e , Br o o k l y n , N Y
2.12168 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 1 4 6 )
                                                                                                                                                                 11209-3601
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i t i s Co n t r a c t o r Su p p l i e s , 4 9 3 5 Me r c u r y St , Sa n Di e g o , C A
2.12169 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 5 4 )
        nature of the debtor's interest                                                                                                                          92111-1703

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i v e r s a l El e c t r i c Su p p l y Co . , 6 8 Co n v e r s e St , Sa n Fr a n c i s c o ,
2.12170 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 8 )
                                                                                                                                                                 CA 94103-4428
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Un i v e r s a l Fo r e s t Pr o d u c t s , 3 4 8 5 In d u s t r i a l Pa r k Bl v d . , Pe r u , I L
2.12171 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 61354
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                                whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                Un i v e r s a l Ha r d w a r e Co , Ce n t e r Rd Sp a n i s h Lo o k o u t , Ca y o ,
2.12172 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 3 9 0 )
                                                                                                                                                                Be l i z e
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Un i v e r s a l Su p p l y In c . , Un i v e r s a l Su p p l y In c , 4 6 0 El Ca m i n o
2.12173 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 5 7 )
                                                                                                                                                                Re a l , Mi l l b r a e , C A 9 4 0 3 0 - 2 6 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Un i v e r s i t y o f Il l i n o i s At Ur b a n a - Ca h m p a i g n , 5 2 5 E Gr e g o r y
2.12174 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Un i v e r s i t y o f Il l i n o i s Ma s t e r
        nature of the debtor's interest                   Se r v i c e Ag r e e m e n t                                                                         Dr i v e , Ch a m p a i g n , I L 6 1 8 2 0

         State the term remaining                         12/18/2023 - 12/17/2028

         List the contract number of any government
         contract
                                                                                                                                                                Un i v e r s i t y o f Il l i n o i s At Ur b a n a - Ca h m p a i g n , 5 2 5 E Gr e g o r y
2.12175 State what the contract or lease is for and the   St a t e m e n t o f Wo r k , Un i v e r s i t y o f Il l i n o i s Su p p l y Ch a i n
                                                                                                                                                                Dr i v e , Ch a m p a i g n , I L 6 1 8 2 0
        nature of the debtor's interest                   Ma n a g e m e n t Co r p o r a t e Fu n d Gi f t 2 0 2 4

         State the term remaining                         06/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                Up p e r Da r b y Tr u e Va l u e Hd w e , 6 9 4 5 Ma r s h a l l Rd , Up p e r
2.12176 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 5 7 )
        nature of the debtor's interest                                                                                                                         Da r b y, PA 1 9 0 8 2 - 4 1 0 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                Up s In c . ( An Oh i o Co m p a n y ) , Un i t e d Pa r c e l Se r v i c e , In c , 5 5
2.12177 State what the contract or lease is for and the   Or d e r Fo r m , U P S Sh i p Ex e c So f t w a r e Li c e n s e s Re n e w a l 2 0 2 4
                                                                                                                                                                Gl e n l a k e Pa r k w a y Ne , At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                Up s In c . ( An Oh i o Co m p a n y ) , Un i t e d Pa r c e l Se r v i c e , In c , 5 5
2.12178 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , U P S Cu s t o m e r So l u t i o n s Ma s t e r Cl i e n t
                                                                                                                                                                Gl e n l a k e Pa r k w a y Ne , At l a n t a , G A 3 0 3 2 8
        nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                         04/22/2022 - 04/21/2027

         List the contract number of any government
         contract
                                                                                                                                                                Ur b a n Ha r d w a r e , 1 2 3 0 5 Cr a b a p p l e Rd . , Al p h a r e t t a , G A 3 0 0 0 4 -
2.12179 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 7 )
                                                                                                                                                                4092
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ur b a n Ha r d w a r e Ll c , 1 1 7 7 0 Ha y n e s Br i d g e Ro a d , Al p h a r e t t a ,
2.12180 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 5 5 )
                                                                                                                                                                 GA 30009-1966
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ur b a n Sl i c e r L L C, 7 6 0 3 S 1 8 6 Th St , Sa n d e r s o n , F L 3 2 0 8 7
2.12181 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Ur i a h Pr o d u c t s , 2 8 3 5 E Je a n St , Sp r i n g f i e l d , M O 6 5 8 0 3
2.12182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 07/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Ur i a h Pr o d u c t s , 2 8 3 5 E Je a n St , Sp r i n g f i e l d , M O 6 5 8 0 3
2.12183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Us Ba n c o r p Eq u i p m e n t Fi n a n c e In c , 8 0 1 La r k s p u r La n d i n g ,
2.12184 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , U S Ba n c o r p Eq u i p m e n t Fi n a n c e L L C - Ma s t e r
                                                                                                                                                                 La r k s p u r , C A 9 4 9 3 9
        nature of the debtor's interest                   Le a s e Ag r e e m e n t 2 0 0 9

         State the term remaining                         08/21/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Us Ba n c o r p Eq u i p m e n t Fi n a n c e In c , 8 0 1 La r k s p u r La n d i n g ,
2.12185 State what the contract or lease is for and the   Eq u i p m e n t Le a s e , U S Ba n c o r p Eq u i p m e n t Fi n a n c e L L C - Le a s e
                                                                                                                                                                 La r k s p u r , C A 9 4 9 3 9
        nature of the debtor's interest                   Am e n d m e n t 2 0 1 5

         State the term remaining                         06/30/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Us Sa l t L L C, 1 0 9 5 5 Lo w e l l Av e , Su i t e 5 0 0 , Ov e r l a n d Pa r k , K S
2.12186 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 66210
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 U S A Co m m e r c i a l Su p p l y, 9 5 1 1 N Ne b r a s k a Av e , Ta m p a , F L
2.12187 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 4 4 )
                                                                                                                                                                 33612
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                       Us f Ho l l a n d In c . , 7 0 0 So u t h Wa v e r l y Rd . , Ho l l a n d , M I 4 9 4 2 3
2.12188 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , U S F Ho l l a n d In c - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s LT L

         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                       Us g In t e r i o r s , U S Gy p s u m , 5 5 0 W Ad a m s St , Ch i c a g o , I L
2.12189 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       60661
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                       Us i In s u r a n c e Se r v i c e s , L L C. , 1 0 S Wa c k e r Dr , St e 1 7 0 0 ,
2.12190 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , U S I In s u r a n c e Cl i e n t
        nature of the debtor's interest                   Se r v i c e s Ag r e e m e n t 2 0 2 4                                                      Ch i c a g o , I L 6 0 6 0 6

         State the term remaining                         01/01/2024 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                       Ut e Tr u e Va l u e , 7 0 7 4 Ea s t 9 0 0 So u t h Hy y 4 0 , Fo r t Du c h e s n e ,
2.12191 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 2 6 )
                                                                                                                                                       UT 84026-8001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                       Ut z Qu a l i t y Fo o d s , 9 0 0 Hi g h t St , Ha n o v e r , PA 1 7 3 3 1
2.12192 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2025

         List the contract number of any government
         contract
                                                                                                                                                       V & B Ma n u f a c t u r i n g Co , Po Bo x 2 6 8 , 2 5 2 La w 4 0 8 Ai r p o r t
2.12193 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       In d Pk , Wa l n u t Ri d g e , A R 7 2 4 7 6
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                       V& P Nu r s e r i e s In c , 2 1 9 1 9 E Ge r m a n n Rd , Qu e e n Cr e e k , A Z
2.12194 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                       85142
        nature of the debtor's interest
         State the term remaining                         10/01/2015

         List the contract number of any government
         contract
                                                                                                                                                       Va i l Ha r d w a r e , 3 6 0 6 Ke n n e d y Ro a d , So u t h Pl a i n f i e l d , N J
2.12195 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 3 4 )
        nature of the debtor's interest                                                                                                                07080-1802

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                               State the name and mailing address for all other parties with
                                                                                                                                                                       whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                       Va l U Ti m e Tr u e Va l u e , 2 4 1 2 Ro u t e 5 2 , Pi n e Bu s h , N Y 1 2 5 6 6 -
2.12196 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 9 7 )
                                                                                                                                                                       7037
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l e r o & So n s , 6 0 Ol d So u t h Rd , Na n t u c k e t , M A 0 2 5 5 4 - 2 8 2 3
2.12197 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 7 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l i d i t y, In c . , 1 0 0 Su m m e r St r e e t , Bo s t o n , M A 0 2 1 1 0
2.12198 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Va l i d i t y Br i t e Ve r i f y Em a i l Ve r i f i c a t i o n -
        nature of the debtor's interest                   En t e r p r i s e Su b s c r i p t i o n Re n e w a l 2 0 2 4

         State the term remaining                         05/31/2024 - 05/30/2025

         List the contract number of any government
         contract
                                                                                                                                                                       Va l l e Vi s t a Go l d e n , 4 2 9 5 1 St a t e Hi g h w a y 7 4 , He m e t , C A
2.12199 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 6 )
        nature of the debtor's interest                                                                                                                                92544-5129

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l l e Vi s t a Ho m e Ce n t e r , 4 2 9 5 1 St a t e Hi g h w a y 7 4 , He m e t , C A
2.12200 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 0 5 )
                                                                                                                                                                       92544-5129
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l l e y Ho m e & Ha r d w a r e Ll c , 1 9 0 1 Ny s Rt . 7 3 , Ke e n e Va l l e y,
2.12201 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 9 5 )
                                                                                                                                                                       NY 12943
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l l e y Su p p l y, 7 1 Re e s Ro a d , Hc r 6 5 Bo x 7 0 5 , Ly m a n , W Y
2.12202 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 7 5 2 )
        nature of the debtor's interest                                                                                                                                82937-0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                       Va l l e y Tr u e Va l u e Lu m b e r & s u p p l y, Va l l e y Tr u e Va l u e
2.12203 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 2 8 )
                                                                                                                                                                       Lu m b e r & s u p p l , 2 9 0 N 2 n d St , La n d e r , W Y 8 2 5 2 0 - 2 8 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l l e y Wi d e - Gr a n d v i e w, Va l l e y Wi d e - Gr a n d v i e , 9 4 0 E Wi n e
2.12204 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 4 )
        nature of the debtor's interest                                                                                                              Co u n t r y Rd , Gr a n d v i e w, WA 9 8 9 3 0 - 8 9 8 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e - Zi l l a h , 1 4 0 4 1 s t Av e n u e , Zi l l a h , WA 9 8 9 5 3 - 9 6 5 4
2.12205 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Ab e r d e e n Co o p , 2 7 0 N Ma i n St , Ab e r d e e n , I D
2.12206 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 1 )
        nature of the debtor's interest                                                                                                              83210-3201

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Al m i r a Co o p , 2 0 7 N Ra i l r o a d St , Al m i r a , WA
2.12207 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 0 )
                                                                                                                                                     99103
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Am e r i c a n Fa l l s Co o p , 2 7 8 2 Fa i r g r o u n d Rd ,
2.12208 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 8 9 )
                                                                                                                                                     Am e r i c a n Fa l l s , I D 8 3 2 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Be l l e v u e Co o p , 8 6 9 S. Ma i n St . , Be l l e v u e , I D
2.12209 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 2 3 )
                                                                                                                                                     83313-9999
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Bu h l Co o p , 7 0 8 Hw y 3 0 Ea s t , Bu h l , I D 8 3 3 1 6 -
2.12210 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 0 )
                                                                                                                                                     5039
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Ca s c a d e Pr o p a n e , 2 0 6 No r t h Ma i n St r e e t ,
2.12211 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 9 )
        nature of the debtor's interest                                                                                                              Ca s c a d e , I D 8 3 6 1 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l l e y Wi d e Co o p Co r p o r a t e , 2 1 1 4 N 2 0 t h St , Na m p a , I D
2.12212 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 0 )
                                                                                                                                                     83687
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Je r o m e Bu l k Fu e l , Va l l e y Wi d e Co o p Je r o m e
2.12213 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 4 )
        nature of the debtor's interest                                                                                                              Pr o p a n e , 8 3 7 W Ma i n St , Je r o m e , I D 8 3 3 3 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Je r o m e Pr o p a n e , 8 3 7 W Ma i n St , Je r o m e , I D
2.12214 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 3 )
                                                                                                                                                     83338
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Na m p a Pr o p a n e , 2 1 1 4 N 2 0 t h St r e e t , Na m p a ,
2.12215 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 5 )
        nature of the debtor's interest                                                                                                              ID 83687

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Pi n e d a l e Pr o p a n e , 1 0 0 9 9 Hw y 1 9 1 , Pi n e d a l e ,
2.12216 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 6 )
                                                                                                                                                     WY 82941
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Po c a t e l l o Pr o p a n e , 3 2 5 6 Us Rt 3 0 ,
2.12217 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 2 )
                                                                                                                                                     Po c a t e l l o , I D 8 3 2 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Pr e s t o n Fe e d , 2 6 4 S St a t e St , Pr e s t o n , I D
2.12218 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 3 )
        nature of the debtor's interest                                                                                                              83263

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Pr e s t o n Pr o p a n e , 2 6 4 S St a t e St , Pr e s t o n , I D
2.12219 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 4 )
                                                                                                                                                     83263
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l l e y Wi d e Co o p Re x b u r g Pr o p a n e , 2 6 8 7 S 2 0 0 0 W, Re x b u r g ,
2.12220 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 8 )
        nature of the debtor's interest                                                                                                              ID 83440

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Sa l m o n Pr o p a n e , 5 0 0 Ma i n St r e e t , Sa l m o n ,
2.12221 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 2 1 )
                                                                                                                                                     ID 83467
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p So d a Sp r i n g s Pr o p a n e , 3 7 5 E 2 n d St , So d a
2.12222 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 7 )
        nature of the debtor's interest                                                                                                              Sp r i n g s , I D 8 3 2 7 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Co o p Th a y n e Pr o p a n e , 6 2 4 No r t h Ma i n St r e e t ,
2.12223 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 1 2 )
                                                                                                                                                     Th a y n e , W Y 8 3 1 2 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Cr o s s r o a d s Co o p , 1 4 6 6 S Li n c o l n Av e , Je r o m e , I D
2.12224 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 7 )
                                                                                                                                                     83338-3091
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Go o d i n g Co o p , 2 4 4 2 Ma i n St r e e t , Go o d i n g , I D
2.12225 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 1 )
        nature of the debtor's interest                                                                                                              83330-1902

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Je r o m e Co o p , 1 4 6 6 S Li n c o l n Av e , Je r o m e , I D
2.12226 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 9 9 )
                                                                                                                                                     83338-3091
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Me n a n Co o p , 3 4 9 5 Ea s t 6 5 0 No r t h , Me n a n , I D
2.12227 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 2 )
        nature of the debtor's interest                                                                                                              83434-9999

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l l e y Wi d e Na m p a Co o p , 2 1 1 4 N 2 0 t h St r e e t , Na m p a , I D
2.12228 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 5 0 )
                                                                                                                                                     83687-6850
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Ny s s a Co o p , 1 8 N 2 n d St r e e t , Ny s s a , O R 9 7 9 1 3 -
2.12229 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 3 )
        nature of the debtor's interest                                                                                                              3903

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Pa r m a Co o p , 2 8 0 2 8 Hi g h w a y 2 0 / 2 6 , Pa r m a , I D
2.12230 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 7 7 )
                                                                                                                                                     83660-6788
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Pr e s t o n Co o p , 2 6 4 S St a t e St , Pr e s t o n , I D 8 3 2 6 3 -
2.12231 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 4 )
                                                                                                                                                     1456
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Re x b u r g Co o p , 1 1 7 5 W Ma i n St , Re x b u r g , I D
2.12232 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 5 )
                                                                                                                                                     83440-1983
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Ru p e r t Co o p , 9 1 0 So u t h On e i d a St , Ru p e r t , I D
2.12233 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 6 )
                                                                                                                                                     83350-9137
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Sa l m o n Co o p , 5 0 0 S Ch a l l i s St , Sa l m o n , I D
2.12234 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 9 7 )
        nature of the debtor's interest                                                                                                              83467-4514

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Sh o s h o n e Co o p , 1 1 Us Hw y 2 6 , Sh o s h o n e , I D
2.12235 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 3 )
                                                                                                                                                     83352-5303
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l l e y Wi d e Sh o s h o n e No r t h Co o p , 1 0 3 No r t h Ra i l St E,
2.12236 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 4 7 )
        nature of the debtor's interest                                                                                                              Sh o s h o n e , I D 8 3 3 5 2 - 5 3 9 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e Sh o s h o n e So u t h Co o p , 8 0 5 S Gr e e n w o o d St ,
2.12237 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 4 9 )
                                                                                                                                                     Sh o s h o n e , I D 8 3 3 5 2 - 4 9 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e We n d e l l Co o p , 1 7 5 We s t Ma i n St r e e t , We n d e l l , I D
2.12238 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 2 )
                                                                                                                                                     83355-0499
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e We n d e l l I8 4 Co o p , 1 9 6 0 Fr o n t a g e Rd S, We n d e l l ,
2.12239 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 4 8 )
                                                                                                                                                     ID 83355-3337
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e We n d e l l So u t h , 1 9 6 0 Fr o n t a g e Rd , We n d e l l , I D
2.12240 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 8 6 )
                                                                                                                                                     83355
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y Wi d e - Su n n y s i d e , Va l l e y Wi d e - Su n n y s i d e , 1 7 2 0
2.12241 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 6 )
        nature of the debtor's interest                                                                                                              Ea s t w a y Dr i v e , Su n n y s i d e , WA 9 8 9 4 4 - 1 6 4 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va l l e y b r o o k Ga r d e n s Lt d , 1 8 3 1 Pe a r d o n v i l l e Rd , Ab b o t s f o r d ,
2.12242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     B C V4 X 2 M3 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         01/12/2017

         List the contract number of any government
         contract
                                                                                                                                                     Va l s p a r / Ca b o t , Ca b o t / Va l s p a r Co r p , 1 0 1 W Pr o s p e c t Av e ,
2.12243 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Cl e v e l a n d , O H 4 4 1 1 5

         State the term remaining                         07/01/2024 - 12/31/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Va l u e Dr u g Tr u e Va l u e , 3 4 9 Ne w Yo r k Av e , Hu n t i n g t o n , N Y
2.12244 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 9 8 1 )
                                                                                                                                                      11743-3342
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Va l u e Dr u g s , 8 0 Po n d f i e l d Rd , Br o n x v i l l e , N Y 1 0 7 0 8 - 3 8 0 1
2.12245 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 0 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Va l u e Dr u g s Br i a r c l i f f Ma n o r , 8 9 No r t h St a t e Rd , Br i a r c l i f f
2.12246 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 1 8 4 )
                                                                                                                                                      Ma n o r , N Y 1 0 5 1 0 - 1 4 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Va l u e Dr u g s Ea s t c h e s t e r , 1 Tu c k a h o e Av e n u e , Ea s t c h e s t e r , N Y
2.12247 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 9 0 )
                                                                                                                                                      10709-2924
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Va l u e Dr u g s Gr e e n l a w n , 1 0 6 Br o a d w a y, Gr e e n l a w n , N Y 1 1 7 4 0 -
2.12248 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 6 0 7 )
        nature of the debtor's interest                                                                                                               1310

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Va l v o l i n e Oi l Co m p a n y, 3 4 9 9 Bl a z r Pk w y, Le x i n g t o n , K Y
2.12249 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      40512
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                      Va l v o l i n e Oi l Co m p a n y, 3 4 9 9 Bl a z r Pk w y, Le x i n g t o n , K Y
2.12250 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               40512

         State the term remaining                         07/17/2020

         List the contract number of any government
         contract
                                                                                                                                                      Va l v o l i n e Oi l Co m p a n y, 3 4 9 9 Bl a z r Pk w y, Le x i n g t o n , K Y
2.12251 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      40512
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va l v o l i n e Oi l Co m p a n y, 3 4 9 9 Bl a z r Pk w y, Le x i n g t o n , K Y
2.12252 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              40512

         State the term remaining                         07/17/2020

         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 0 , Va m a c 1 0 , 3 5 0 1 Je f f e r s o n Da v i s Hi g h w a y,
2.12253 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 1 4 )
                                                                                                                                                     Fr e d e r i c k s b u r g , VA 2 2 4 0 8 - 4 1 6 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 1 , Va m a c 1 1 , 1 3 7 9 4 Te l e g r a p h Ro a d , Wo o d b r i d g e , VA
2.12254 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 4 )
                                                                                                                                                     22192-4606
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 2 , Va m a c 1 2 , 9 1 5 1 Eu c l i d Av e , Ma n a s s a s , VA 2 0 1 1 0 -
2.12255 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 2 )
        nature of the debtor's interest                                                                                                              2229

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 3 , Va m a c 1 3 , 7 0 0 In d u s t r i a l Ro a d , Wa r r e n t o n , VA
2.12256 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 9 )
                                                                                                                                                     20186-3825
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 4 , Va m a c 1 4 , 1 4 Ca r d i n a l Pa r k Dr i v e Se , Le e s b u r g ,
2.12257 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 8 )
        nature of the debtor's interest                                                                                                              VA 2 0 1 7 5 - 4 4 3 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 5 , Va m a c 1 5 , 5 8 3 6 Cu r l e w Dr i v e , No r f o l k , VA 2 3 5 0 2 -
2.12258 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 5 )
                                                                                                                                                     4627
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 1 6 , Va m a c 1 6 , 1 9 0 9 Ho l l a n d Ro a d , Su f f o l k , VA 2 3 4 3 4 -
2.12259 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 3 )
                                                                                                                                                     6723
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va m a c # 2 1 , Va m a c 2 1 , 3 4 0 Gr e e n b r i a r Dr , Ch a r l o t t e s v i l l e , VA
2.12260 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 1 )
                                                                                                                                                     22901-1694
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 2 2 , Va m a c 2 2 , 3 1 0 9 Od d Fe l l o w s Ro a d , Ly n c h b u r g , VA
2.12261 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 5 )
                                                                                                                                                     24501-5009
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 2 3 , Va m a c 2 3 , 6 0 1 Mc g h e e Ro a d , Wi n c h e s t e r , VA
2.12262 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 6 )
                                                                                                                                                     22603-4656
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 2 6 , Va m a c 2 6 , 7 5 0 Ge r m a n n a Hi g h w a y, Cu l p e p e r , VA
2.12263 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 0 )
                                                                                                                                                     22701-3802
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 3 0 , Va m a c 3 0 , 4 7 5 0 Ei s e n h o w e r Av e , Al e x a n d r i a , VA
2.12264 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 7 )
        nature of the debtor's interest                                                                                                              22304-4806

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 3 3 , Va m a c 3 3 , 1 7 1 7 Ta p p a h a n n o c k Bo u l e v a r d ,
2.12265 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 3 8 )
                                                                                                                                                     Ta p p a h a n n o c k , VA 2 2 5 6 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 3 4 , Va m a c 3 4 , 2 5 4 6 Ge o r g e Wa s h i n g t o n Me m o r i a l
2.12266 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 3 7 )
        nature of the debtor's interest                                                                                                              Hw y, Ha y e s , VA 2 3 0 7 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 4 , Va m a c 4 , 2 9 0 4 Tr a n s p o r t St , Ri c h m o n d , VA 2 3 2 3 4 -
2.12267 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 5 7 )
                                                                                                                                                     1636
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va m a c # 5 , Va m a c 5 , 1 0 1 No r t h Cr a t e r Ro a d , Pe t e r s b u r g , VA
2.12268 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 2 )
                                                                                                                                                     23803-3415
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 6 , Va m a c 6 , 3 4 1 1 Sp e e k s Dr , Mi d l o t h i a n , VA 2 3 1 1 2 -
2.12269 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 6 )
                                                                                                                                                     3337
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 7 , Va m a c 7 , 1 1 1 8 6 Le a d b e t t e r Av e , As h l a n d , VA
2.12270 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 5 3 )
                                                                                                                                                     23005-3400
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c # 8 , Va m a c 8 , 6 4 7 We s t Da n v i l l e St , So u t h Hi l l , VA
2.12271 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 6 4 )
        nature of the debtor's interest                                                                                                              23970-3107

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c 1 7 , 4 2 0 1 Ja c q u e St r e e t , Un i t 2 , Ri c h m o n d , VA 2 3 2 3 0
2.12272 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va m a c 3 1 , 8 3 8 1 Se m i n o l e Tr a i l , Ru c k e r s v i l l e , VA 2 2 9 6 8 - 3 4 5 8
2.12273 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 1 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n Bl o e m Ga r d e n s , Po Bo x 5 5 0 , 8 0 7 9 Va n Zy v e r d e n Rd ,
2.12274 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Me r i d i a n , M S 3 9 3 0 2
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Va n Ho e k e l e n Gr e e n h o u s e s In c , Po Bo x 8 8 , Mc Ad o o , PA 1 8 2 3 7
2.12275 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         12/27/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Va n Ho o k Tr u e Va l u e Ha r d w a r e , 1 2 1 E Pi k e St , Cy n t h i a n a , K Y
2.12276 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 4 8 0 )
                                                                                                                                                     41031-1527
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n Ma r k Pr o d u c t s , 2 4 1 4 5 In d u s t r i a l Pa r k Dr , Fa r m i n g t o n Hl s ,
2.12277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     MI 48335
        nature of the debtor's interest
         State the term remaining                         09/01/2010

         List the contract number of any government
         contract
                                                                                                                                                     Va n Ne s t Ha r d w a r e , 6 6 7 Mo r r i s Pa r k Av e , Br o n x , N Y 1 0 4 6 2 -
2.12278 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 6 7 )
        nature of the debtor's interest                                                                                                              3502

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n Si c k l e Pa i n t Mf g , 5 7 0 0 Nw 3 8 Th St , Li n c o l n , N E 6 8 5 2 4
2.12279 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Va n c o u v e r Bo l t & Su p p l y In c . , 8 0 5 W 1 1 t h St , Va n c o u v e r , WA
2.12280 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 7 1 9 )
        nature of the debtor's interest                                                                                                              98660-3056

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n d e l Dr u g , 2 0 4 1 Ma i n St , To r r i n g t o n , W Y 8 2 2 4 0
2.12281 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 1 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n d e r Sa l m ' s Ga r d e n Ce n t e r , Va n d e r Sa l m ` s Ga r d e n Ce n t e r ,
2.12282 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 7 9 6 )
                                                                                                                                                     1 1 2 0 S Bu r d i c k St , Ka l a m a z o o , M I 4 9 0 0 1 - 2 7 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Va n d e r h o o f Hd w e Co , 2 8 Ma i n St , Co n c o r d , M A 0 1 7 4 2 - 2 5 1 5
2.12283 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 4 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


                                                                                                                                                               Va n t a g e p o i n t Bu s i n e s s So l u t i o n s , L L C, 1 6 4 1 0 Wa x m y r t l e Rd ,
2.12284 State what the contract or lease is for and the   Ma s t e r Se r v i c e s Ag r e e m e n t , Va n t a g e Po i n t Bu s i n e s s So l u t i o n s
                                                                                                                                                               Al p h a r e t t a , G A 3 0 0 0 4
        nature of the debtor's interest                   MSA

         State the term remaining                         03/01/2023 - 02/29/2028

         List the contract number of any government
         contract
                                                                                                                                                               Va p o r l u x In c , 1 5 7 0 1 Ma r t i n Rd , Ro s e v i l l e , M I 4 8 0 6 6
2.12285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2011

         List the contract number of any government
         contract
                                                                                                                                                               Va p u r In c , 3 1 3 4 4 Vi a Co l i n a s , We s t l a k e Vi l l a g e , C A 9 1 3 6 2
2.12286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2013

         List the contract number of any government
         contract
                                                                                                                                                               Va r i e t y Ce n t r a l , 4 5 0 Ce n t r a l Av e , Ce d a r h u r s t , N Y 1 1 5 1 6 - 1 9 0 7
2.12287 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 8 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Va r n e y - s m i t h Lu m b e r Co In c , 2 7 0 1 Rt e 3 0 2 , Li s b o n , N H
2.12288 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 0 4 )
                                                                                                                                                               03585-7204
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Va s s a r Tr u e Va l u e Ha r d w a r e , 4 0 2 E Hu r o n Av e , Va s s a r , M I
2.12289 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 )
        nature of the debtor's interest                                                                                                                        48768-1739

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                               Va u g h a n & Bu s h n e l l Mf g Co , 3 4 0 Bl a c k h a w k Pa r k Av e ,
2.12290 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                               Ro c k f o r d , I L 6 1 1 0 4
        nature of the debtor's interest
         State the term remaining                         05/01/2021

         List the contract number of any government
         contract
                                                                                                                                                               Vc m Pr o d u c t s L L C, Vc m Pr o d u c t s L L C, 6 Pa r a g o n Wa y, St e
2.12291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                               1 0 3 , Fr e e h o l d , N J 0 7 7 2 8
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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                                                                                                                                                24-12337
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vc m Pr o d u c t s L L C, Vc m Pr o d u c t s L L C, 6 Pa r a g o n Wa y, St e
2.12292 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 0 3 , Fr e e h o l d , N J 0 7 7 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vc m Pr o d u c t s L L C, Vc m Pr o d u c t s L L C, 6 Pa r a g o n Wa y, St e
2.12293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 1 0 3 , Fr e e h o l d , N J 0 7 7 2 8
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vc m Pr o d u c t s L L C, Vc m Pr o d u c t s L L C, 6 Pa r a g o n Wa y, St e
2.12294 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 1 0 3 , Fr e e h o l d , N J 0 7 7 2 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve g a Al t a Lu m b e r Ya r d Ll c , Ca r r. 6 9 3 Km 1 5 , Bo . Br e n a s , Ve g a
2.12295 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 4 7 )
                                                                                                                                                                 Al t a , P R 0 0 6 9 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve g a Al t a Pl u m b i n g & El e c t r i c a l Su p p l y, In c . , Ve g a Al t a
2.12296 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 6 3 )
        nature of the debtor's interest                                                                                                                          Pl u m b i n g & El e c t r i c a , Ca r r e t e r a 2 Km 2 9 . 5 , Bo . Es p i n o s a ,
                                                                                                                                                                 Ve g a Al t a , P R 0 0 6 9 2
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve g a Ba j a Lu m b e r Ya r d In c , Ca r r e t e r a 2 Km 3 9 , Ve g a Ba j a , P R
2.12297 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 6 )
                                                                                                                                                                 00694
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12298 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12299 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                               Page 1538 of 1687
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12301 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12302 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0
        nature of the debtor's interest
         State the term remaining                         01/04/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0

         State the term remaining                         03/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12304 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve l c r o Us a In c Co n s u m e r Pd t s , 6 4 2 0 E. Br o a d w a y Bl v d . , Su i t e
2.12305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 8 3 0 0 , Tu c s o n , A Z 8 5 7 1 0
        nature of the debtor's interest
         State the term remaining                         09/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Ve l m a x x x En t e r p r i s e s In c , 1 0 9 4 1 Gl a d i o l u s Dr i v e , Fo r t My e r s ,
2.12306 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 FL 33908
        nature of the debtor's interest
         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Ve l o c i t y Ba d g e & La b e l - Lj s m a r k L L C, 1 0 8 0 N. Ba t a v i a St . ,
2.12307 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Ve l o c i t y La b e l s W9
                                                                                                                                                                 Su i t e F, Or a n g e , C A 9 2 8 6 7
        nature of the debtor's interest
         State the term remaining                         05/24/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ve l o c i t y e h s , 2 2 2 Me r c h a n d i s e Pl a z a , Su i t e 1 7 5 0 , Ch i c a g o , I L
2.12308 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , Ve l o c i t y E H S Ho l d i n g s N D A 2 0 2 2
        nature of the debtor's interest                                                                                                                          60654

         State the term remaining                         10/07/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Ve l u x Am e r i c a In c , 1 0 4 Be n Ca s e y Dr i v e , Fo r t Mi l l , S C 2 9 7 0 8
2.12309 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ve n Te l Pl a s t i c s Co r p , 1 1 3 1 1 7 4 Th St No r t h , La r g o , F L 3 3 7 7 3
2.12310 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 Ve n e e r Te c h n o l o g i e s , Po Bo x 1 1 4 5 , Ne w p o r t , N C 2 8 5 7 0
2.12311 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ve n t a Ai r w a s h e r In c , 3 0 0 N El i z a b e t h St , Su i t e 2 2 0 B, Ch i c a g o ,
2.12312 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60607
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve n t a m a t i c , Lt d . , Po Bo x 7 2 8 P, 1 0 0 Wa s h i n g t o n St r e e t , Mi n e r a l
2.12313 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 We l l s , T X 7 6 0 6 8
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Ve n t u r e Pr o d u c t s L L C, 5 8 0 0 Ba y s h o r e Dr , B2 0 6 , Mi l w a u k e e ,
2.12314 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 53217
        nature of the debtor's interest
         State the term remaining                         06/21/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Ve r a d e k In c , 2 1 1 Bo w e s Rd , Co n c o r d , O N L4 K 1 H0 , Ca n a d a
2.12315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                            State the name and mailing address for all other parties with
                                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                    Ve r a s Nu r s e r y In c . , 2 0 4 5 1 Sw 2 1 6 Th St , Mi a m i , F L 3 3 1 7 0 - 1 1 0 6
2.12316 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r d e r b e r Nu r s e r y, 3 5 9 Ma i n Rd , Aq u e b o g u e , N Y 1 1 9 3 1 - 9 8 0 0
2.12317 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 5 4 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                    Ve r i c a s t ( Va l a s s i s Co m m u n i c a t i o n s , In c ) , 1 5 9 5 5 La c a n t e r a
2.12318 State what the contract or lease is for and the   Or d e r Fo r m , Ve r i c a s t ( Va l a s s i s ) Na t i o n a l Ad Sh a r e Pa r t i c i p a t i o n
                                                                                                                                                                    Pa r k w a y, Sa n An t o n i o , T X 7 8 2 5 6
        nature of the debtor's interest                   Ag r e e m e n t 2 0 2 4

         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r i s k 3 E, 3 2 0 7 Gr e y Ha w k Co u r t , Su i t e 2 0 0 , Ca r l s b a d , C A
2.12319 State what the contract or lease is for and the
                                                          Su b s c r i p t i o n Se r v i c e , Ve r i s k 3 E A D M Da t a Ma n a g e r Ad d e n d u m
        nature of the debtor's interest                   2 0 1 5 1 2 1 4 Fo r Ca r y                                                                               92010

         State the term remaining                         11/03/2015 - 11/02/2024

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r i s k 3 E, 3 2 0 7 Gr e y Ha w k Co u r t , Su i t e 2 0 0 , Ca r l s b a d , C A
2.12320 State what the contract or lease is for and the   Su b s c r i p t i o n Se r v i c e , Ve r i s k 3 E Co m p a n y Su b s c r i p t i o n Re n e w a l
                                                                                                                                                                    92010
        nature of the debtor's interest                   - Ca r y 2 0 2 3

         State the term remaining                         11/03/2023 - 11/02/2024

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r i z o n Bu s i n e s s Ne t w o r k Se r v i c e s In c . , On e Ve r i z o n Wa y,
2.12321 State what the contract or lease is for and the   Te l e c o m m u n i c a t i o n s , Ve r i z o n Wi r e l e s s En t e r p r i s e Ac c o u n t
                                                                                                                                                                    Ba s k i n g Ri d g e , N J 0 7 9 2 0
        nature of the debtor's interest                   Ag r e e m e n t

         State the term remaining                         11/22/2021 - 11/21/2024

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r m e e r Co r p o r a t i o n , Po Bo x 2 0 0 , Pe l l a , I A 5 0 2 1 9
2.12322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                                    Ve r m o n t Am e r i c a n , 1 8 0 0 W Ce n t r a l Ro a d , Mt Pr o s p e c t , I L
2.12323 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                    60056
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ve r m o n t Am e r i c a n , 1 8 0 0 W Ce n t r a l Ro a d , Mt Pr o s p e c t , I L
2.12324 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60056

         State the term remaining                         03/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ve r m o n t Am e r i c a n , 1 8 0 0 W Ce n t r a l Ro a d , Mt Pr o s p e c t , I L
2.12325 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60056
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve r m o n t Am e r i c a n , 1 8 0 0 W Ce n t r a l Ro a d , Mt Pr o s p e c t , I L
2.12326 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60056

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve r m o n t Ch r i s t m a s Co m p a n y, 2 4 Cl a p p e r Rd , Mi l t o n , V T
2.12327 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 05468
        nature of the debtor's interest
         State the term remaining                         05/11/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ve r m o n t Ou t l e t On l i n e , 2 9 2 9 S. Ve r m o n t Av e , Lo s An g e l e s , C A
2.12328 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 4 7 )
                                                                                                                                                                 90007-3031
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve r m o n t Ou t l e t Tr u e Va l u e Hd w. , Ve r m o n t Ou t l e t Tr u e Va l u e
2.12329 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 6 4 4 )
        nature of the debtor's interest                                                                                                                          Hd w, 2 9 2 9 S Ve r m o n t Av e , Lo s An g e l e s , C A 9 0 0 0 7 - 3 0 3 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve r n ' s Fe e d & Su p p l y, 1 6 9 Ma i n St . , La c e y v i l l e , PA 1 8 6 2 3
2.12330 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ve r n ' s Tr u e Va l u e , Ve r n ` s Tr u e Va l u e , 9 0 1 3 r d Av e Se ,
2.12331 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 7 1 )
        nature of the debtor's interest                                                                                                                          In d e p e n d e n c e , I A 5 0 6 4 4 - 2 8 5 7

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              Ve r n o n Tr u e Va l u e Ha r d w a r e , 7 2 0 0 E M7 1 , Ve r n o n , M I 4 8 4 7 6 -
2.12332 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 7 )
                                                                                                                                                              9154
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Ve r n o n Vi l l a g e Tr u e Va l u e , 3 5 0 1 Mo u n t Ve r n o n Rd Se , Ce d a r
2.12333 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 9 )
        nature of the debtor's interest                                                                                                                       Ra p i d s , I A 5 2 4 0 3 - 3 8 6 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Ve r n o n i a Tr u e Va l u e Ha r d w a r e , Ve r n o n i a Tr u e Va l u e , 8 3 4
2.12334 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 6 3 2 )
                                                                                                                                                              Br i d g e St , Ve r n o n i a , O R 9 7 0 6 4 - 1 2 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Ve r o n a In d & Bl d g Sp l y Co In c , 1 8 6 Ve r o n a Av e , Ne w a r k , N J
2.12335 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 6 1 )
                                                                                                                                                              07104-3632
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              Ve r o n i c a Mi c k l i n , Ad d r e s s Re d a c t e d
2.12336 State what the contract or lease is for and the   In d i v i d u a l In d e p e n d e n t Co n t r a c t o r , Ve r o n i c a Mi c k l i n -
        nature of the debtor's interest                   In d i v i d u a l In d e p e n d e n t Co n t r a c t o r Ag r e e m e n t

         State the term remaining                         12/18/2023 - 12/17/2024

         List the contract number of any government
         contract
                                                                                                                                                              Ve r s a c a r t Sy s t e m s In c . , Po Bo x 1 7 4 2 5 , Bo u l d e r , C O 8 0 3 0 8
2.12337 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2024

         List the contract number of any government
         contract
                                                                                                                                                              Ve r t e x , In c . , 2 3 0 1 Re n a i s s a n c e Bl v d . , Ki n g Of Pr u s s i a , PA
2.12338 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r t e x In d i r e c t Ta x - Pu b l i c Cl o u d Ta x
        nature of the debtor's interest                   Ac c e l e r a t o r - 2 0 2 4                                                                      19406

         State the term remaining                         06/19/2024 - 06/18/2025

         List the contract number of any government
         contract
                                                                                                                                                              Ve r t e x , In c . , 2 3 0 1 Re n a i s s a n c e Bl v d . , Ki n g Of Pr u s s i a , PA
2.12339 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ve r t e x In d i r e c t Ta x - Pu b l i c Cl o u d
                                                                                                                                                              19406
        nature of the debtor's interest                   Ca l c u l a t i o n So l u t i o n 2 0 2 4

         State the term remaining                         03/18/2024 - 03/17/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Ve r t e x , In c . , 2 3 0 1 Re n a i s s a n c e Bl v d . , Ki n g Of Pr u s s i a , PA
2.12340 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Ve r t e x , In c . Pr o f e s s i o n a l Se r v i c e
        nature of the debtor's interest                   Ag r e e m e n t                                                                                  19406

         State the term remaining                         06/02/2020

         List the contract number of any government
         contract
                                                                                                                                                            Ve r y Co o l St u f f , 1 0 2 4 9 Ro s e Bl v d , Mo r r i c e , M I 4 8 8 5 7
2.12341 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/03/2014

         List the contract number of any government
         contract
                                                                                                                                                            Ve s t i l Ma n u f a c t u r i n g Co m p a n y, 2 9 9 9 N Wa y n e St r e e t , An g o l a ,
2.12342 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            IN 46703
        nature of the debtor's interest
         State the term remaining                         04/27/2011

         List the contract number of any government
         contract
                                                                                                                                                            Vi b r a n t Ph o t o & El e c t r o n i c s In c , 1 7 7 Ze n w a y Bl v d ,
2.12343 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                            Wo o d b r i d g e , O N L4 L 1 A6 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         04/20/2018

         List the contract number of any government
         contract
                                                                                                                                                            Vi c We s t Im p o r t e r s Lt d Co , 5 1 2 E Ri v e r s i d e Dr i v e , St e 2 0 0 ,
2.12344 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                            Au s t i n , T X 7 8 7 0 4
        nature of the debtor's interest
         State the term remaining                         06/01/2023

         List the contract number of any government
         contract
                                                                                                                                                            Vi c We s t Im p o r t e r s Lt d Co , 5 1 2 E Ri v e r s i d e Dr i v e , St e 2 0 0 ,
2.12345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                     Au s t i n , T X 7 8 7 0 4

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                            Vi c k s De n , Po Bo x 7 4 1 1 6 8 , Bo y n t o n Be a c h , F L 3 3 4 7 4
2.12346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/30/2011

         List the contract number of any government
         contract
                                                                                                                                                            Vi c t o r Te c h n o l o g i e s Gr o u p , 1 6 0 5 2 Sw i n g l e y Ri d g e Rd , Su i t e
2.12347 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                     3 0 0 , Ch e s t e r f i e l d , M O 6 3 0 1 7

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vi c t o r Te c h n o l o g y L L C, 1 0 0 E Cr o s s r o a d s Pa r k w a y, Su i t e B,
2.12348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bo l i n g b r o o k , I L 6 0 4 4 0
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Vi c t o r Te c h n o l o g y L L C, 1 0 0 E Cr o s s r o a d s Pa r k w a y, Su i t e B,
2.12349 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Bo l i n g b r o o k , I L 6 0 4 4 0

         State the term remaining                         08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Vi c t o r i n o x - Sw i s s Ar m y In c , 7 Vi c t o r i a Dr i v e , Mo n r o e , C T
2.12350 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 06468
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Vi c t o r y 8 Ga r d e n L L C, Po Bo x 8 4 7 , 7 2 7 La u r e l La n e , Bl o w i n g
2.12351 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ro c k , N C 2 8 6 0 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi c t o r y 8 Ga r d e n L L C, Po Bo x 8 4 7 , 7 2 7 La u r e l La n e , Bl o w i n g
2.12352 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ro c k , N C 2 8 6 0 5

         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Vi c t o r y Ta i l g a t e , 2 4 3 7 E La n d s t r e e t Rd , Or l a n d o , F L 3 2 8 2 4
2.12353 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Vi g i l a n t Te c h n o l o g i e s L L C, 1 0 5 0 Wi l s h i r e Dr i v e , Su i t e 3 0 7 ,
2.12354 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Vi g i l a n t Ma s t e r Se r v i c e Ag r e e m e n t
        nature of the debtor's interest                                                                                                                          Tr o y, M I 4 8 0 8 4

         State the term remaining                         04/13/2021 - 04/12/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Vi k i n g Re n t a l & Su p p l y, 1 3 8 So c i e t y Dr , Te l l u r i d e , C O 8 1 4 3 5 -
2.12355 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 7 3 )
                                                                                                                                                                 8920
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vi l l a g e Ac e , 6 2 4 0 N. Po r t Wa s h i n g t o n Rd , Gl e n d a l e , W I 5 3 2 1 7 -
2.12356 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 9 1 )
        nature of the debtor's interest                                                                                                                          9999

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Co u n t r y Ha r d w a r e , 2 3 6 4 2 Sa n Vi c e n t e Rd , Ra m o n a , C A
2.12357 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 8 )
                                                                                                                                                                 92065
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Fa r m & Ho m e Tr u e Va l u e , 1 1 7 4 8 St a t e Hw y 4 3 , Ma b e l ,
2.12358 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 5 6 )
                                                                                                                                                                 MN 55954-1402
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Ha r d w a r e & Ho b b i e s , 1 7 S Yo r k Ro a d , Ha t b o r o , PA
2.12359 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 7 5 )
        nature of the debtor's interest                                                                                                                          19040-3231

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Ha r d w a r e # 1 9 5 , Vi l l a g e Ha r d w a r e , 7 9 3 4 Fo r t Hu n t
2.12360 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 0 3 )
                                                                                                                                                                 Ro a d , Al e x a n d r i a , VA 2 2 3 0 8 - 1 2 4 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Ha r d w a r e - w i l l i s t o n , 3 6 4 Es s e x Ro a d , Wi l l i s t o n , V T
2.12361 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 9 4 )
        nature of the debtor's interest                                                                                                                          05495

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Li g h t i n g Co m p a n y, 5 0 7 9 W 2 1 0 0 So u t h , Bu i l d i n g A,
2.12362 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 We s t Va l l e y, U T 8 4 1 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vi l l a g e Sq u a r e Ho m e & Au t o , 5 2 0 1 Sp r i n g Rd 5 , Sh e r m a n s
2.12363 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 0 )
        nature of the debtor's interest                                                                                                                          Da l e , PA 1 7 0 9 0

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Vi l l a g e Tr u e Va l u e Ha r d w a r e , 3 2 Ne w t o w n Ln , Ea s t Ha m p t o n ,
2.12364 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 7 6 7 )
                                                                                                                                                     NY 11937-2403
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Ha r d w a r e , 3 4 9 0 0 Al b i o n Ri d g e Rd , Al b i o n ,
2.12365 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 9 5 3 )
                                                                                                                                                     CA 95410-9700
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Ha r d w a r e , 4 2 5 7 Mo n t g o m e r y Dr i v e , Sa n t a
2.12366 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 )
                                                                                                                                                     Ro s a , C A 9 5 4 0 5 - 5 3 0 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Ha r d w a r e 2 , 1 8 4 0 Se b a s t o p o l Rd , Sa n t a
2.12367 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 7 3 )
                                                                                                                                                     Ro s a , C A 9 5 4 0 7 - 6 8 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Hd w, 3 9 1 3 Ol d Wm Pe n n Hw y, Mu r r y s v i l l e ,
2.12368 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 )
        nature of the debtor's interest                                                                                                              PA 1 5 6 6 8 - 1 8 4 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Hd w. , 8 3 5 Bu r l i n g t o n Av e , We s t e r n
2.12369 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 2 6 )
                                                                                                                                                     Sp r i n g s , I L 6 0 5 5 8 - 1 5 1 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Ho m e Ce n t e r Bu i l d i n g Su p p l y, Vi l l a g e Tr u e
2.12370 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 1 8 )
        nature of the debtor's interest                                                                                                              Va l u e Ho m e Ce n t e r , 4 6 5 0 N Hi g h w a y 7 , Ho t Sp r i n g s Vi l l a g e ,
                                                                                                                                                     AR 71909-9410
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi l l a g e Tr u e Va l u e Su p p l y In c , E 2 2 0 La k e St , Me d i c a l La k e ,
2.12371 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 4 4 )
                                                                                                                                                     WA 9 9 0 2 2 - 8 8 1 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Vi n t a g e Go o d s Ap p a r e l L L C, 1 3 3 0 Sp e c i a l t y Dr , Su i t e C,
2.12372 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Vi s t a , C A 9 2 0 8 1

         State the term remaining                         08/01/2024

         List the contract number of any government
         contract
                                                                                                                                                     Vi o l a Tr u e Va l u e Ho m e Ct r , Vi o l a Tr u e Va l u e , 1 8 0 Wa s h i n g t o n
2.12373 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 6 5 )
                                                                                                                                                     Av e , Nu t l e y, N J 0 7 1 1 0 - 1 9 2 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi r c h s Tr u e Va l u e , 2 2 0 S Ma i n St , We s t f i e l d , W I 5 3 9 6 4 - 7 5 0 7
2.12374 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 2 0 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi r g i l ' s Ha r d w a r e Ho m e Ce n t e r , Vi r g i l ` s Ha r d w a r e Ho m e
2.12375 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 5 3 )
        nature of the debtor's interest                                                                                                              Ce n t e r , 5 2 0 N Gl e n d a l e Av e n u e , Gl e n d a l e , C A 9 1 2 0 6 - 3 3 1 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi r g i n i a Ab r a s i v e s Co r p , 2 8 5 1 Se r v i c e Ro a d , Pe t e r s b u r g , VA
2.12376 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     23805
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Vi r g i n i a Gi f t Br a n d s , 2 0 0 To y La n e , Bl a i r s , VA 2 4 5 2 7
2.12377 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Vi r n i g Ma n u f a c t u r i n g , In c , 1 0 1 Ga t e w a y Dr Ne , Ri c e , M N
2.12378 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     56367
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Vi s i o n s Qu a l i t y Co a t i n g s , 4 1 0 5 So u t h Ma r k e t Co u r t ,
2.12379 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sa c r a m e n t o , C A 9 5 8 3 4
        nature of the debtor's interest
         State the term remaining                         07/01/2019

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vi s s e r Gr e e n h o u s e s In c , 1 2 5 5 7 Li t t l e Ho l l a n d Rd , Ma n h a t t a n ,
2.12380 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 MT 59741
        nature of the debtor's interest
         State the term remaining                         11/13/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Vi s t a r Di s t r i b u t i o n , 1 8 8 In v e r n e s s Dr i v e , En g l e w o o d , C O
2.12381 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 80112
        nature of the debtor's interest
         State the term remaining                         07/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Vo - To y s In c , 6 4 3 2 Jo l i e t Ro a d St e . C, Co u n t r y s i d e , I L 6 0 5 2 5
2.12382 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Vo g e l & Th o m a s Ha r d w a r e , 7 0 2 Da v i s Av e n u e , Co r n i n g , I A
2.12383 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 5 5 )
                                                                                                                                                                 50841-1419
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo g e l Se e d & Fe r t i l i z e r In c , 1 8 9 1 Sp r i n g Va l l e y Rd , Ja c k s o n ,
2.12384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WI 53037

         State the term remaining                         12/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Vo g t Tr u e Va l u e Ha r d w a r e , 1 3 0 8 E Ca r s o n St , Pi t t s b u r g h , PA
2.12385 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 0 2 )
                                                                                                                                                                 15203-1533
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo l m Co m p a n i e s , In c . , 1 8 0 4 Ed i s o n St , An t i g o , W I 5 4 4 0 9
2.12386 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Vo l u n t a r y Pu r c h a s i n g Gr o u p In c , 2 3 0 Fa r m Rd 8 7 , Bo n h a m , T X
2.12387 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75418
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vo l u n t a r y Pu r c h a s i n g Gr o u p In c , 2 3 0 Fa r m Rd 8 7 , Bo n h a m , T X
2.12388 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75418
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo l u n t a r y Pu r c h a s i n g Gr o u p In c , 2 3 0 Fa r m Rd 8 7 , Bo n h a m , T X
2.12389 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 75418
        nature of the debtor's interest
         State the term remaining                         11/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Vo l u n t a r y Pu r c h a s i n g Gr o u p In c , 2 3 0 Fa r m Rd 8 7 , Bo n h a m , T X
2.12390 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 75418
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo l v o Co n s t r u c t i o n Eq u i p m e n t , 3 1 2 Vo l v o Wa y, Sh i p p e n s b u r g ,
2.12391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          PA 1 7 2 5 7

         State the term remaining                         11/15/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Vo o r h e e s Tr u e Va l u e Hd w In c , 5 0 8 Ha d d o n f i e l d Be r l i n Rd ,
2.12392 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 1 4 )
                                                                                                                                                                 Vo o r h e e s , N J 0 8 0 4 3 - 1 4 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo r n a d o He a t , 4 1 5 Ea s t 1 3 Th St r e e t , An d o v e r , K S 6 7 0 0 2
2.12393 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 08/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Vo r n a d o He a t , 4 1 5 Ea s t 1 3 Th St r e e t , An d o v e r , K S 6 7 0 0 2
2.12394 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 03/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Vo r n a d o He a t , 4 1 5 Ea s t 1 3 Th St r e e t , An d o v e r , K S 6 7 0 0 2
2.12395 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/01/2024 - 08/31/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vo r n a d o He a t , 4 1 5 Ea s t 1 3 Th St r e e t , An d o v e r , K S 6 7 0 0 2
2.12396 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Vo s e Tr u e Va l u e Hd w. , Vo s e Tr u e Va l u e Ha r d w a r e , 8 4 9
2.12397 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 1 6 8 )
                                                                                                                                                                 Cu m b e r l a n d Hi l l Rd , Wo o n s o c k e t , R I 0 2 8 9 5 - 5 6 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vo x r e d In t e r n a t i o n a l L L C, 7 7 7 Pa s s a i c Av e n u e , Cl i f t o n , N J
2.12398 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          07012

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Vp Ra c i n g Fu e l s In c , 7 1 2 4 Ri c h t e r Rd , El m e n d o r f , T X 7 8 1 1 2
2.12399 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Vp Ra c i n g Fu e l s In c , 7 1 2 4 Ri c h t e r Rd , El m e n d o r f , T X 7 8 1 1 2
2.12400 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Vt - d o o r s - n - m o r e , 4 9 Mi l l Rd , Da n b y, V T 0 5 7 3 9
2.12401 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 0 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Vt e c h Co m m u n i c a t i o n s In c , 9 5 9 0 Sw Ge m i n i Dr i v e , St e 1 2 0 ,
2.12402 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Be a v e r t o n , O R 9 7 0 0 8
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Vt e c h Co m m u n i c a t i o n s In c , 9 5 9 0 Sw Ge m i n i Dr i v e , St e 1 2 0 ,
2.12403 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Be a v e r t o n , O R 9 7 0 0 8

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Vu s i o n g r o u p , 6 2 5 N. Mi c h i g a n Av e n u e , Su i t e 6 5 0 , Ch i c a g o , I L
2.12404 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Vu s i o n Gr o u p - e La b e l s f o r Pa l a t i n e
                                                                                                                                                                 60611
        nature of the debtor's interest                   St o r e P O C

         State the term remaining                         08/01/2024 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 W E Sc h l e g e l In c , 2 4 0 1 5 Ro u t e 3 3 3 , Th o m p s o n t o w n , PA 1 7 0 9 4 -
2.12405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 1 2 2 )
        nature of the debtor's interest                                                                                                                          8779

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12406 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/16/2018

         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12407 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12408 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12409 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12410 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W F Yo u n g In c , 3 0 2 Be n t o n Dr , Ea s t Lo n g m e a d o w, M A 0 1 0 2 8
2.12411 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 W J De n n i s & Co , 1 1 1 1 Da v i s Rd , El g i n , I L 6 0 1 2 3
2.12412 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 W J Ly n c h Pa i n t Ce n t e r , 3 3 4 Li t t l e t o n Rd . , We s t f o r d , M A
2.12413 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 8 4 )
                                                                                                                                                                 01886-4123
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12415 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/05/2020

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12416 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12417 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2024 - 06/01/2026

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12418 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12419 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                             Page 1553 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12420 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12421 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12422 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12423 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12424 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 W M Ba r r , 6 7 5 0 Le n o x Co u r t , Su i t e 2 0 0 , Me m p h i s , T N 3 8 1 1 5
2.12425 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 W R Ca s e & So n s Cu t l e r y Co , Po Bo x 3 6 0 4 1 9 , Pi t t s b u r g h , PA
2.12426 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 15251

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 W R Ca s e & So n s Cu t l e r y Co , Po Bo x 3 6 0 4 1 9 , Pi t t s b u r g h , PA
2.12427 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 15251
        nature of the debtor's interest
         State the term remaining                         08/01/2016

         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     W Si l v e r In c , 9 0 5 9 Do n i p h a n Rd , Vi n t o n , T X 7 9 8 2 1
2.12428 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     W W Bu i l d i n g Su p p l y, 5 5 1 Ro u t e 3 0 , Ne w f a n e , V T 0 5 3 4 5 - 9 7 3 7
2.12429 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 3 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W W Bu i l d i n g Su p p l y, Ro u t e 1 0 0 , Wi l m i n g t o n , V T 0 5 3 6 3 - 0 8 0 6
2.12430 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 3 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W W Wo o d In c , Po Bo x 3 9 8 , 1 7 9 9 Co r g e y Ro a d , Pl e a s a n t o n ,
2.12431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     TX 78064
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W. L. Zi m m e r m a n & So n s , 3 6 1 5 Ol d Ph i l a d e l p h i a Pi k e ,
2.12432 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 9 4 )
                                                                                                                                                     In t e r c o u r s e , PA 1 7 5 3 4 - 7 0 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W. S. Je n k s & So n , 9 1 0 Bl a d e n s b u r g Ro a d Ne , Wa s h i n g t o n , D C
2.12433 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 6 6 5 )
                                                                                                                                                     20002-3930
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W. o . g . Su p p l i e s , 6 2 5 E Ho n d a Av e n u e , De v i n e , T X 7 8 0 1 6 - 3 3 1 9
2.12434 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 3 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     W3 Ed g e , 8 3 8 Wa l k e r Ro a d , Su i t e 2 2 - 1 , Do v e r , D E 1 9 9 0 4
2.12435 State what the contract or lease is for and the
                                                          So f t w a r e , W3 Ed g e - To t a l Ca c h e Pr o Li c e n s e
        nature of the debtor's interest
         State the term remaining                         10/18/2023 - 10/17/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     W3 Ed g e , 8 3 8 Wa l k e r Ro a d , Su i t e 2 2 - 1 , Do v e r , D E 1 9 9 0 4
2.12436 State what the contract or lease is for and the   So f t w a r e , W3 Ed g e - To t a l Ca c h e Pr o Li c e n s e
        nature of the debtor's interest
         State the term remaining                         12/07/2023 - 12/06/2024

         List the contract number of any government
         contract
                                                                                                                                                     W8 El e c t r i c Su p p l y, 8 5 3 6 1 s t St r e e t , Br o o k l y n , N Y 1 1 2 2 0 - 1 0 1 3
2.12437 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 0 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa b a n Ha r d w a r e , 1 6 4 1 Be a c o n St . , Wa b a n , M A 0 2 4 6 8 - 1 5 1 2
2.12438 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa b a s h Va l l e y Fa r m s , 6 3 2 3 N 1 5 0 Ea s t , Mo n o n , I N 4 7 9 5 9
2.12439 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                     Wa c h t e r , In c . , 1 6 0 0 1 W. 9 9 Th St r e e t , Le n e x a , K S 6 6 2 1 9
2.12440 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Wa c h t e r M S A
        nature of the debtor's interest
         State the term remaining                         09/30/2019 - 09/05/2027

         List the contract number of any government
         contract
                                                                                                                                                     Wa c k e r Ne u s o n Co r p o r a t i o n , Po Bo x 9 0 0 7 , Me n o m o n e e Fa l l ,
2.12441 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     WI 53052
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Wa d d e l l Ma n u f a c t u r i n g , 3 6 8 8 Wy o g a La k e Rd , St o w, O H 4 4 2 2 4
2.12442 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wa d l e r Br o s In c , 4 7 2 9 3 Rt 2 8 , Fl e i s c h m a n n s , N Y 1 2 4 3 0 - 9 9 9 8
2.12443 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 1 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa g g o n e r Tr u e Va l u e Ho m e Ce n t e r , Wa g g o n e r Tr u e Va l u e
2.12444 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 5 8 )
        nature of the debtor's interest                                                                                                                          Ho m e Ce n t e , 1 1 2 3 W Bu s i n e s s 6 0 - 6 3 , Wi l l o w Sp r i n g s , M O
                                                                                                                                                                 65793-9223
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa g n e r Sp r a y Te c h , 1 7 7 0 Fe r n b r o o k La n e , Mi n n e a p o l i s , M N
2.12445 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55447
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa g n e r Sp r a y Te c h , 1 7 7 0 Fe r n b r o o k La n e , Mi n n e a p o l i s , M N
2.12446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55447

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wa g n e r Sp r a y Te c h , 1 7 7 0 Fe r n b r o o k La n e , Mi n n e a p o l i s , M N
2.12447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55447
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa g n e r Sp r a y Te c h , 1 7 7 0 Fe r n b r o o k La n e , Mi n n e a p o l i s , M N
2.12448 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 55447
        nature of the debtor's interest
         State the term remaining                         09/01/2023 - 09/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wa g n e r s Gr e e n h o u s e s , 6 0 2 4 Pe n n Av e n u e So u t h , Mi n n e a p o l i s ,
2.12449 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 2 4 9 )
        nature of the debtor's interest                                                                                                                          MN 55419-2033

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa h l Cl i p p e r Co r p , 2 9 0 0 N Lo c u s t St r e e t , St e r l i n g , I L 6 1 0 8 1
2.12450 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa h l Cl i p p e r Co r p , 2 9 0 0 N Lo c u s t St r e e t , St e r l i n g , I L 6 1 0 8 1
2.12451 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa h l Cl i p p e r Co r p , 2 9 0 0 N Lo c u s t St r e e t , St e r l i n g , I L 6 1 0 8 1
2.12452 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wa h l Cl i p p e r Co r p , 2 9 0 0 N Lo c u s t St r e e t , St e r l i n g , I L 6 1 0 8 1
2.12453 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2014

         List the contract number of any government
         contract
                                                                                                                                                                 Wa h l Cl i p p e r Co r p , 2 9 0 0 N Lo c u s t St r e e t , St e r l i n g , I L 6 1 0 8 1
2.12454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa h l e r Br o t h e r ' s Ha r d w a r e , Wa h l e r Br o t h e r ` s Ha r d w a r e , 2 5 5 1
2.12455 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 3 3 )
                                                                                                                                                                 N Ha l s t e d St , Ch i c a g o , I L 6 0 6 1 4 - 2 3 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa i m a n a l o Fe e d Su p p l y, 4 1 - 1 5 6 0 Ka l a n i a n a o l e Hw y,
2.12456 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 1 7 4 )
        nature of the debtor's interest                                                                                                                          Wa i m a n a l o , H I 9 6 7 9 5 - 1 1 3 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa k a i Ho l d i n g s Co . , Lt d , 1 - 6 - 3 0 Mo r i k a w a c h i n i s h i ,
2.12457 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 7 9 4 )
                                                                                                                                                                 Hi g a s h i o s a k a Ci t y, Os a k a , Ja p a n
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa l c o Li n c k , Po Dr a w e r A, Va l l e y Co t t a g e , N Y 1 0 9 8 9
2.12458 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wa l k e r Nu r s e r y Co . , 3 8 0 9 Ma n c h e s t e r Hw y, Mc m i n n v i l l e , T N
2.12459 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 37110
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wa l k e r Re n t Al l Ha r d w a r e , 1 9 0 7 9 Pi n e v i l l e Rd , Lo n g Be a c h ,
2.12460 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 )
        nature of the debtor's interest                                                                                                              MS 39560-4542

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa l k e r ' s Fa r m Ho m e & Ta c k , Wa l k e r ` s Fa r m Ho m e & Ta c k ,
2.12461 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 2 )
                                                                                                                                                     5 5 6 5 St a t e Ro u t e 4 , Fo r t An n , N Y 1 2 8 2 7 - 5 0 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa l k e r ' s Tr u e Va l u e Ha r d w a r e , Wa l k e r ` s Tr u e Va l u e Ha r d w a r e ,
2.12462 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 6 6 )
                                                                                                                                                     2 5 0 2 Ma i n St r e e t , Co n w a y, S C 2 9 5 2 6 - 3 3 6 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa l k e r s Tr u e Va l u e Hd w, 2 6 0 S Ma i n St , Mo a b , U T 8 4 5 3 2 - 2 5 0 9
2.12463 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 1 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa l l Ow a t e r In c , Po Bo x 1 3 7 9 , 1 4 8 0 Mo n t a n a Hi g h w a y 9 1
2.12464 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     No r t h , Di l l o n , M T 5 9 7 2 5
        nature of the debtor's interest
         State the term remaining                         01/01/2014

         List the contract number of any government
         contract
                                                                                                                                                     Wa l l a Wa l l a Nu r s e r y Co , 4 1 7 6 St a t e l i n e Rd , Wa l l a Wa l l a , WA
2.12465 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              99362

         State the term remaining                         10/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     Wa l l a c e Th o m p s o n Tr u e Va l u e , 1 0 3 2 E Go o d e St r e e t , Qu i t m a n ,
2.12466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 7 0 )
                                                                                                                                                     TX 75783-2538
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa l l a c e Tr u e Va l u e Ha r d w a r e , 6 0 0 N Ne l s o n St , Fo r t St o c k t o n ,
2.12467 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 5 8 4 )
        nature of the debtor's interest                                                                                                              TX 79735-5520

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Wa l l a c e Tr u e Va l u e Ha r d w a r e , 7 5 0 As b u r y Av e , Oc e a n Ci t y, N J
2.12468 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 2 3 )
                                                                                                                                                             08226-3721
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Wa l l a c e - t h o m p s o n Tr u e Va l u e Hd w e , Wa l l a c e - t h o m p s o n Tr u e
2.12469 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 0 6 )
                                                                                                                                                             Va l u e , 3 8 5 N Ma i n St , Ru s k , T X 7 5 7 8 5 - 1 3 2 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Wa l l c l a w An c h o r s L L C, Po Bo x 1 7 1 2 7 , Re n o , N V 8 9 5 1 1
2.12470 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                             Wa l l e r Tr u c k Co , In c , 4 0 0 So u t h Mc c l e a r y Rd , Ex c e l s i o r
2.12471 State what the contract or lease is for and the   So f t w a r e Ma i n t e n a n c e , Wa l l e r Tr u c k Co , In c - Tr a n s p o r t a t i o n
                                                                                                                                                             Sp r i n g s , M O 6 4 0 2 4
        nature of the debtor's interest                   Ag r e e m e n t Co n t r a c t e d Ca r r i e r

         State the term remaining                         06/01/2020

         List the contract number of any government
         contract
                                                                                                                                                             Wa l l i e s / Mc c a l l Pa t t e r n Co m p a n y Th e , 1 2 0 Br o a d w a y, 3 4 Th
2.12472 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                      Fl o o r , Ne w Yo r k , N Y 1 0 2 7 1

         State the term remaining                         09/18/2007

         List the contract number of any government
         contract
                                                                                                                                                             Wa l l o w a Co u n t y Tr u e Va l u e , 9 1 1 S Ri v e r St , En t e r p r i s e , O R
2.12473 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 6 5 5 )
                                                                                                                                                             97828-1677
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Wa l l s Tr u e Va l u e Hd w, 4 2 3 Li n c o l n Av e , Cl a y Ce n t e r , K S
2.12474 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 3 0 5 )
        nature of the debtor's interest                                                                                                                      67432-2907

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                             Wa l l y ' s Op e r a t i n g Co m p a n y, 9 5 0 As s e m b l y Pa r k w a y, Fe n t o n ,
2.12475 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 3 )
                                                                                                                                                             MO 63026
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa l n u t Ri d g e Nu r s e r y H& g s , 2 1 0 8 Ha m b u r g Pi k e ,
2.12476 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 3 6 )
        nature of the debtor's interest                                                                                                                          Je f f e r s o n v i l l e , I N 4 7 1 3 0 - 6 3 1 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa l r o d ' s Ha r d w a r e , Wa l r o d ' s Ha r d w a r e In c , 2 1 1 3 Mi d l a n d
2.12477 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 0 9 )
                                                                                                                                                                 Bl v d , Fo r t Sm i t h , A R 7 2 9 0 4 - 5 4 2 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa l t e r Br o t h e r s Tr u e Va l u e Hd w. , Wa l t e r Br o t h e r s Tr u e Va l u e
2.12478 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 5 3 )
                                                                                                                                                                 Hd w, 2 1 1 3 1 0 t h St , Me n o m i n e e , M I 4 9 8 5 8 - 2 1 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa l t e r s Se e d Co m p a n y, 6 5 Ve t e r e n s Dr i v e , Ho l l a n d , M I 4 9 4 2 3
2.12479 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r d s Nu r s e r y In c H& g s , 6 0 0 So u t h Ma i n St , Gr e a t
2.12480 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 3 2 )
                                                                                                                                                                 Ba r r i n g t o n , M A 0 1 2 3 0 - 2 0 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r d s Tr u e Va l u e , 2 0 6 - 2 1 2 Ma i n St - c l o s t e r Do c k Rd , Cl o s t e r ,
2.12481 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 7 3 )
        nature of the debtor's interest                                                                                                                          NJ 07624-1905

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r e Ma n u f a c t u r i n g In c , 1 4 3 9 S 4 0 Th Av e , Su i t e 4 0 0 ,
2.12482 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ph o e n i x , A Z 8 5 0 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r e Ma n u f a c t u r i n g In c , 1 4 3 9 S 4 0 Th Av e , Su i t e 4 0 0 ,
2.12483 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ph o e n i x , A Z 8 5 0 0 9
        nature of the debtor's interest
         State the term remaining                         06/01/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa r e Ma n u f a c t u r i n g In c , 1 4 3 9 S 4 0 Th Av e , Su i t e 4 0 0 ,
2.12484 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ph o e n i x , A Z 8 5 0 0 9
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r e Ma n u f a c t u r i n g In c , 1 4 3 9 S 4 0 Th Av e , Su i t e 4 0 0 ,
2.12485 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ph o e n i x , A Z 8 5 0 0 9
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r e h o u s e Su p p l y, 3 0 0 N 2 n d St , La Sa l l e , C O 8 0 6 4 5
2.12486 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 7 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r n e r Mf g Co , 1 3 4 3 5 In d u s t r i a l Pa r k Bl v d , Mi n n e a p o l i s , M N
2.12487 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55441
        nature of the debtor's interest
         State the term remaining                         06/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r n e r Mf g Co , 1 3 4 3 5 In d u s t r i a l Pa r k Bl v d , Mi n n e a p o l i s , M N
2.12488 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 55441

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r n e r Mf g Co , 1 3 4 3 5 In d u s t r i a l Pa r k Bl v d , Mi n n e a p o l i s , M N
2.12489 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 55441
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r n e r Sh e l t e r Sy s t e m s Lt d , 9 8 1 1 4 4 St r e e t Se , Ca l g a r y, A B
2.12490 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          T2 C 2 P7 , Ca n a d a

         State the term remaining                         05/12/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r n e r Tr u e Va l u e , 9 8 4 8 Ro u t e 6 , Tr o y, PA 1 6 9 4 7 - 0 0 0 1
2.12491 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 5 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa r n e r Wa l l c o v e r i n g , 9 2 0 1 W Be l m o n t Av e n u e , Un i t 1 0 0 D,
2.12492 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fr a n k l i n Pa r k , I L 6 0 1 3 1
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r p Br o t h e r s , 4 6 4 7 W Au g u s t a Bl v d , Ch i c a g o , I L 6 0 6 5 1
2.12493 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e l l Co r p o r a t i o n , 1 2 5 0 Sl a t e Hi l l Ro a d , Ca m p Hi l l , PA
2.12494 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 17011
        nature of the debtor's interest
         State the term remaining                         07/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Ba l d e r s t o n , 9 3 Se c o n d Av e , Tr e n t o n , N J 0 8 6 1 9 - 3 2 6 9
2.12495 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 4 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12496 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12497 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12498 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12499 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12500 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12501 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12502 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12503 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Di s t r i b u t i o n , 7 2 7 S 1 3 Th St , Om a h a , N E 6 8 1 0 2
2.12504 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wa r r e n Tr u e Va l u e Hd w, 4 2 0 Ca m d e n Rd , Wa r r e n , M E 0 4 8 6 4 -
2.12505 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 1 8 )
                                                                                                                                                                 4275
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa s a t c h Ba c k Pa i n t & Fl o o r , 5 5 Ea s t Ce n t e r St r e e t St e 1 6 0 ,
2.12506 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 3 )
                                                                                                                                                                 He b e r Ci t y, U T 8 4 0 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa s c o Tr u e Va l u e , 2 7 0 1 Hw y 4 6 , Wa s c o , C A 9 3 2 8 0 - 2 9 1 2
2.12507 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 1 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa s c o Tr u e Va l u e Ha r d w a r e , 7 7 0 1 2 t h St , Wa s c o , C A 9 3 2 8 0 -
2.12508 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 4 1 5 )
                                                                                                                                                                 2364
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa s h i n g t o n Ha r d w a r e & Fu r n i t u r e Co . , Wa s h i n g t o n Tr u e Va l u e ,
2.12509 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 0 4 )
        nature of the debtor's interest                                                                                                                          6 W Ke n n e w i c k Av e , Ke n n e w i c k , WA 9 9 3 3 6 - 3 8 3 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa s t e Eq u i p m e n t Re n t a l s & Sa l e s , Po Bo x 5 4 4 9 , Br y a n , T X
2.12510 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Wi l k s - Ba r r e Co m p a c t o r
                                                                                                                                                                 77805
        nature of the debtor's interest                   So l u t i o n

         State the term remaining                         05/15/2019 - 05/14/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Wa s t e Eq u i p m e n t Re n t a l s & Sa l e s , Po Bo x 5 4 4 9 , Br y a n , T X
2.12511 State what the contract or lease is for and the
                                                          Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Wa s t e Eq u i p m e n t Re n t a l s &
        nature of the debtor's interest                   Sa l e s Co n t r a c t Wi l k e s Ba r r e 2 0 2 4                                                    77805

         State the term remaining                         03/20/2024 - 03/19/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t c h e r To t a l Pr o t e c t i o n , 4 1 W1 9 5 Ra i l r o a d St , Un i t A, Pi n g r e e
2.12512 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr o v e , I L 6 0 1 4 0
        nature of the debtor's interest
         State the term remaining                         04/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12513 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12514 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12515 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12516 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12517 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12518 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Pi k In c , 1 7 3 0 Ea s t Pr o s p e c t St , Ft Co l l i n s , C O 8 0 5 2 5
2.12519 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r So u r c e L L C, 9 0 5 Hi c k o r y La n e , Ma n s f i e l d , O H 4 4 9 0 5
2.12520 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/31/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r So u r c e L L C, 9 0 5 Hi c k o r y La n e , Ma n s f i e l d , O H 4 4 9 0 5
2.12521 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Sp o r t s L L C, 1 2 1 2 7 B Ga l e n a Rd , Pl a n o , I L 6 0 5 4 5
2.12522 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Sp o r t s L L C, 1 2 1 2 7 B Ga l e n a Rd , Pl a n o , I L 6 0 5 4 5
2.12523 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa t e r Sp o r t s L L C, 1 2 1 2 7 B Ga l e n a Rd , Pl a n o , I L 6 0 5 4 5
2.12524 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Sp o r t s L L C, 1 2 1 2 7 B Ga l e n a Rd , Pl a n o , I L 6 0 5 4 5
2.12525 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Sp o r t s L L C, 1 2 1 2 7 B Ga l e n a Rd , Pl a n o , I L 6 0 5 4 5
2.12526 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Wo r k e r , 1 4 0 0 Di v i s i o n Rd , Wa r w i c k , R I 0 2 8 9 3
2.12527 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Wo r k e r , 1 4 0 0 Di v i s i o n Rd , Wa r w i c k , R I 0 2 8 9 3
2.12528 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Wo r k e r , 1 4 0 0 Di v i s i o n Rd , Wa r w i c k , R I 0 2 8 9 3
2.12529 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022 - 08/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r Wo r k e r , 1 4 0 0 Di v i s i o n Rd , Wa r w i c k , R I 0 2 8 9 3
2.12530 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r b o s s In t ' l , Wa t e r b u r y Co / Un i t e d St a t i o n e , On e Pa r k w a y
2.12531 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wa t e r b o s s In t ' l , Wa t e r b u r y Co / Un i t e d St a t i o n e , On e Pa r k w a y
2.12532 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              No r t h Bl v d , De e r f i e l d , I L 6 0 0 1 5

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r b u r y Tr u e Va l u e , 8 3 8 Wa t e r b u r y - St o w e Ro a d , Wa t e r b u r y,
2.12533 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 4 )
                                                                                                                                                     VT 05676-9730
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r f o r d Pr e s s , 1 1 2 3 Ov e r c a s h Dr i v e , Du n e d i n , F L 3 4 6 9 8
2.12534 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/30/2013

         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r l o o In d u s t r i e s , 1 3 9 W Fo r e s t Hi l l , Oa k Cr e e k , W I 5 3 1 5 4
2.12535 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/12/2010

         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r l o x Co a t i n g s Co r p , 9 8 0 8 Me e c h Av e n u e , Cl e v e l a n d , O H
2.12536 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44105
        nature of the debtor's interest
         State the term remaining                         08/01/2009

         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r s Ha r d w a r e , 2 8 0 1 W Ma i n St F, In d e p e n d e n c e , K S 6 7 3 0 1
2.12537 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 7 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r s Tr u e Va l u e - Do d g e Ci t y, Wa t e r s Tr u e Va l u e Ha r d w a r e ,
2.12538 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 2 2 )
                                                                                                                                                     3 1 0 We s t Fr o n t v i e w Rd , Do d g e Ci t y, K S 6 7 8 0 1 - 2 2 0 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t e r s Tr u e Va l u e - Em p o r i a , Wa t e r s Tr u e Va l u e , 2 7 2 7 W Hw y
2.12539 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 4 3 3 )
        nature of the debtor's interest                                                                                                              5 0 , Em p o r i a , K S 6 6 8 0 1 - 2 6 0 3

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa t e r s Tr u e Va l u e - Gr e a t Be n d , Wa t e r s Tr u e Va l u e Ha r d w a r e ,
2.12540 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 5 5 3 )
                                                                                                                                                                 1 6 4 9 W K9 6 Hw y, Gr e a t Be n d , K S 6 7 5 3 0 - 3 0 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r s Tr u e Va l u e - Ju n c t i o n Ci t y, Wa t e r s Tr u e Va l u e Hd w, 1 2 9
2.12541 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 0 9 8 )
        nature of the debtor's interest                                                                                                                          Ea s t 6 t h St , Ju n c t i o n Ci t y, K S 6 6 4 4 1 - 2 9 3 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r s Tr u e Va l u e - Ma n h a t t a n , Wa t e r s Tr u e Va l u e Ha r d w a r e ,
2.12542 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 6 3 6 )
                                                                                                                                                                 3 3 8 N Se t h Ch i l d Rd , Ma n h a t t a n , K S 6 6 5 0 2 - 3 0 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r s Tr u e Va l u e - Sa l i n a , Wa t e r s Tr u e Va l u e , 4 6 0 S Oh i o St ,
2.12543 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 2 0 0 )
                                                                                                                                                                 Sa l i n a , K S 6 7 4 0 1 - 3 3 3 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r s Tr u e Va l u e - Wa m e g o , Wa t e r s Tr u e Va l u e , 1 0 1 2 Ka w
2.12544 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 7 0 )
                                                                                                                                                                 Va l l e y Pa r k Ci r c l e , Wa m e g o , K S 6 6 5 4 7 - 9 7 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t e r s Va l l e y Ce n t e r , 5 0 6 S Me r i d i a n Av e , Va l l e y Ce n t e r , K S
2.12545 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 9 9 )
                                                                                                                                                                 67147
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t k i n s Ha r d w a r e , 1 0 6 We s t Ma r k e t St r e e t , Re d Oa k , I A
2.12546 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 7 )
        nature of the debtor's interest                                                                                                                          51566-2703

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t k i n s In c , 1 5 0 Li b e r t y St , Wi n o n a , M N 5 5 9 8 7
2.12547 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wa t m a n In c , 1 0 0 Mi l l Pl a i n Rd , Su i t e 3 7 5 , Da n b u r y, C T 0 6 8 1 1
2.12548 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Wa t s In t e r n a t i o n a l , 2 0 0 Ma n c h e s t e r Rd , Po u g h k e e p s i e , N Y
2.12549 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 3 0 6 )
                                                                                                                                                     12603-2504
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t s o n Tr u e Va l u e Ha r d w a r e , Wa t s o n Tv Hr d w, 3 4 9 7 2 Ol d La
2.12550 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 1 0 )
        nature of the debtor's interest                                                                                                              Hw y 1 6 , De n h a m Sp r i n g s , L A 7 0 7 0 6 - 0 5 7 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t s o n ' s Ma r k e t - Eu r e k a , Wa t s o n s Ma r k e t ? Eu r e k a , 3 3 Ka y l i n
2.12551 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 6 0 )
                                                                                                                                                     Dr. , Eu r e k a , M T 5 9 9 1 7 - 1 1 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t s o n ' s Ma r k e t - Os b u r n , Wa t s o n s Ma r k e t - Os b u r n , 7 1 2 E
2.12552 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 3 3 )
                                                                                                                                                     Mu l l a n Av e , Os b u r n , I D 8 3 8 4 9 - 1 2 3 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t t i e r Tr u e Va l u e , 5 5 7 8 6 Hw y 2 0 , Ra n d o l p h , N E 6 8 7 7 1 - 0 4 8 8
2.12553 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 0 6 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t t o n Co u n t r y St o r e , 1 1 8 6 3 St a t e Hi g h w a y M- 2 8 , Wa t t o n , M I
2.12554 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 2 )
                                                                                                                                                     49970
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa t t s Br a s s & Tu b u l a r , Wa t t s Wa t e r Te c h n o l o g i e s , 8 1 5
2.12555 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ch e s t n u t St , No r t h An d o v e r , M A 0 1 8 4 5

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wa t t s Br a s s & Tu b u l a r , Wa t t s Wa t e r Te c h n o l o g i e s , 8 1 5
2.12556 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ch e s t n u t St , No r t h An d o v e r , M A 0 1 8 4 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t t s Br a s s & Tu b u l a r , Wa t t s Wa t e r Te c h n o l o g i e s , 8 1 5
2.12557 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ch e s t n u t St , No r t h An d o v e r , M A 0 1 8 4 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa t t s Br a s s & Tu b u l a r , Wa t t s Wa t e r Te c h n o l o g i e s , 8 1 5
2.12558 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ch e s t n u t St , No r t h An d o v e r , M A 0 1 8 4 5
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wa u p a c a No r t h w o o d s , N2 5 6 4 Co u n t y Rd Qq , Wa u p a c a , W I
2.12559 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 54981
        nature of the debtor's interest
         State the term remaining                         01/01/2022 - 12/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Wa u p a c a No r t h w o o d s , N2 5 6 4 Co u n t y Rd Qq , Wa u p a c a , W I
2.12560 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          54981

         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wa u p a c a No r t h w o o d s , N2 5 6 4 Co u n t y Rd Qq , Wa u p a c a , W I
2.12561 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 54981
        nature of the debtor's interest
         State the term remaining                         01/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Wa y n e Wa t e r Sy s t e m s , 1 0 1 Pr o d u c t i o n Dr i v e , Ha r r i s o n , O H
2.12562 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45030

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wa y n e Wa t e r Sy s t e m s , 1 0 1 Pr o d u c t i o n Dr i v e , Ha r r i s o n , O H
2.12563 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45030
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wa y n e Wa t e r Sy s t e m s , 1 0 1 Pr o d u c t i o n Dr i v e , Ha r r i s o n , O H
2.12564 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              45030

         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                     Wa y n e Wa t e r Sy s t e m s , 1 0 1 Pr o d u c t i o n Dr i v e , Ha r r i s o n , O H
2.12565 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     45030
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wa y n e Wa t e r Sy s t e m s , 1 0 1 Pr o d u c t i o n Dr i v e , Ha r r i s o n , O H
2.12566 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                     45030
        nature of the debtor's interest
         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Wa y n e s b o r o Ho m e & Ga r d e n Sh o w p l a c e , 2 0 3 2 W Ma i n St ,
2.12567 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 2 )
                                                                                                                                                     Wa y n e s b o r o , VA 2 2 9 8 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wa y s i d e Ho m e & Ga r d e n Sh o w p l a c e , Wa y s i d e Ho m e & Ga r d e n
2.12568 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 9 6 )
                                                                                                                                                     Sh o w p l a c , 1 2 4 Pi t t s f o r d Pa l m y r a Ro a d , Ma c e d o n , N Y 1 4 5 0 2 -
        nature of the debtor's interest
                                                                                                                                                     8871
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wb Ke y s L L C, Wb Ke y s L L C, 9 8 1 0 Ow e n s Mo u t h Av e , 5 ,
2.12569 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ch a t s w o r t h , C A 9 1 3 1 1

         State the term remaining                         09/02/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12570 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                     Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12571 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 08/01/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12572 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12573 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12574 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y, 5 3 0 Fa w n Ru n , Al p h a r e t t a , G A 3 0 0 0 5
2.12575 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y / Ho u s e h o l d Br a n , 5 0 3 S Ma i n St , Co v i n g t o n ,
2.12576 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TN 38019

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y / Ho u s e h o l d Br a n , 5 0 3 S Ma i n St , Co v i n g t o n ,
2.12577 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 TN 38019
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y / Ho u s e h o l d Br a n , 5 0 3 S Ma i n St , Co v i n g t o n ,
2.12578 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 TN 38019

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wd - 4 0 Co m p a n y / Ho u s e h o l d Br a n , 5 0 3 S Ma i n St , Co v i n g t o n ,
2.12579 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 TN 38019
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wd g Ho l d i n g s L L C, 2 1 1 3 Go v e r n m e n t St , Oc e a n Sp r i n g s , M S
2.12580 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          39566

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We a t h e r s Tr u e Va l u e Hd w. & a p p l i a n c e , We a t h e r s Tr u e Va l u e
2.12581 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 5 5 1 )
                                                                                                                                                                 Hd w e & Ap p l , 2 0 1 N Br o a d St , Al b e r t v i l l e , A L 3 5 9 5 0 - 1 7 2 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12582 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 44660
        nature of the debtor's interest
         State the term remaining                         06/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12583 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          44660

         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12584 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 44660
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12585 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 44660

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12586 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44660
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We a v e r Le a t h e r L L C, Po Bo x 6 8 , 7 5 4 0 Cr 2 0 1 , Mt Ho p e , O H
2.12587 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 44660
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We a v e r s Tr u e Va l u e Ha r d w a r e , 1 2 4 N Mi l l St , Fr e d e r i c k s b u r g ,
2.12588 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 4 )
                                                                                                                                                                 OH 44627-9593
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We b e r St e p h e n Pr o d , We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s
2.12589 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 Rd , Pa l a t i n e , I L 6 0 0 6 7
        nature of the debtor's interest
         State the term remaining                         11/30/2023

         List the contract number of any government
         contract
                                                                                                                                                                 We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s Rd , Pa l a t i n e , I L 6 0 0 6 7
2.12590 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s Rd , Pa l a t i n e , I L 6 0 0 6 7
2.12591 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s Rd , Pa l a t i n e , I L 6 0 0 6 7
2.12592 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s Rd , Pa l a t i n e , I L 6 0 0 6 7
2.12593 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We b e r - St e p h e n Pr o d u c t s , 2 0 0 E Da n i e l s Rd , Pa l a t i n e , I L 6 0 0 6 7
2.12594 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 We b s t e r Ci t y Tr u e Va l u e , 5 4 1 2 n d St , We b s t e r Ci t y, I A 5 0 5 9 5
2.12595 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 8 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     We c s y s , 8 8 2 5 Xy l o n Av e N, Br o o k l y n Pa r k , M N 5 5 4 4 5 - 0 0 0 1
2.12596 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 4 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We d e l s Nu r s & Gd n Ct r H& g s , 5 0 2 0 Te x a s Dr i v e , Ka l a m a z o o ,
2.12597 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 8 7 1 )
                                                                                                                                                     MI 49009-5987
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We d g e - Lo c Co . In c , 1 5 8 0 N Pe n d l e t o n Dr , Ri o Ri c o , A Z 8 5 6 4 8
2.12598 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/26/2018

         List the contract number of any government
         contract
                                                                                                                                                     We e k s Ro s e , 3 0 1 3 5 Mc c o m b s Ro a d , Wa s c o , C A 9 3 2 8 0
2.12599 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     We e m s & Pl a t h , We e m s & Pl a t h Ll c , 2 1 4 Ea s t e r n Av e ,
2.12600 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     An n a p o l i s , M D 2 1 4 0 3
        nature of the debtor's interest
         State the term remaining                         04/26/2011

         List the contract number of any government
         contract
                                                                                                                                                     We h r u n g ' s Co l l e g e v i l l e , 3 8 5 1 Ri d g e Pi k e , Co l l e g e v i l l e , PA
2.12601 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 8 )
        nature of the debtor's interest                                                                                                              19426

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We h r u n g ' s Lu m b e r & Ho m e Ce n t e r , We h r u n g ` s Lu m b e r &
2.12602 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 4 7 )
                                                                                                                                                     Ho m e Ce n t , 7 7 1 1 Ea s t o n Rd , P. o . Bo x 5 5 0 , Ot t s v i l l e , PA
        nature of the debtor's interest
                                                                                                                                                     18942-0550
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We h r u n g ' s Ma c u n g i e , 3 5 8 0 Br o o k s i d e Ro a d , Ma c u n g i e , PA
2.12603 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 2 9 )
                                                                                                                                                     18062
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12604 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12605 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12606 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60031

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12607 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12608 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 60031

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12609 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12610 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12611 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60031
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12612 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 60031
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12613 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60031

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12614 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 60031
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 We i m a n Pr o d u c t s L L C, 7 5 5 Tr i St a t e Pa r k w a y, Gu r n e e , I L
2.12615 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60031

         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 We i s e r Lo c k Co , Cl a r k Se c u r i t y Pr o d u c t s , 7 5 2 0 Mi s s i o n Va l l e y
2.12616 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ro a d , Sa n Di e g o , C A 9 2 1 0 8
        nature of the debtor's interest
         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                                 We j - It Fa s t e n i n g Sy s t e m , 1 1 0 Ri c h a r d s Av e , No r w a l k , C T
2.12617 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          06854

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 We l c h Eq u i p m e n t , 5 0 2 5 No m e St . , De n v e r , C O 8 0 2 3 9
2.12618 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , We l c h Eq u i p m e n t Ma t e r i a l
        nature of the debtor's interest                   Ha n d l i n g Se r v i c e s Ag r e e m e n t De n v e r

         State the term remaining                         08/09/2023 - 08/08/2025

         List the contract number of any government
         contract
                                                                                                                                                                 We l l Tr a v e l e d Li v i n g , Po Bo x 4 , 7 1 6 So u t h 8 Th St r e e t , Am e l i a
2.12619 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Is l a n d , F L 3 2 0 3 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12620 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 78228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12621 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 78228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12622 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 78228

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12623 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 78228
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12624 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 78228

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12625 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 78228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l i n g t o n Co r d a g e L L C, 2 4 6 Ea r l y Tr a i l , Sa n An t o n i o , T X
2.12626 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 78228
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We l l n e s s Ma t s L L C, 3 2 9 0 W Bi g Be a v e r Rd , Su i t e 5 0 4 , Tr o y,
2.12627 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          MI 48084

         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                   We l l s La m o n t Co r p , 6 6 4 0 W To u h y Av e , Ni l e s , I L 6 0 7 1 4
2.12628 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2016

         List the contract number of any government
         contract
                                                                                                                                                   We n t w o r t h Gr e e n h o u s e s In c , 1 4 1 Ro l l i n s Rd , Ro l l i n s f o r d , N H
2.12629 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                            03869

         State the term remaining                         03/21/2011

         List the contract number of any government
         contract
                                                                                                                                                   We r a To o l s In c . , Po Bo x 5 3 8 , We s t Si d e St a t i o n , Bu f f a l o , N Y
2.12630 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   14213
        nature of the debtor's interest
         State the term remaining                         03/01/2007

         List the contract number of any government
         contract
                                                                                                                                                   We r n e r La d d e r Co m p a n y, 9 3 We r n e r Rd , Gr e e n v i l l e , PA 1 6 1 2 5
2.12631 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2010

         List the contract number of any government
         contract
                                                                                                                                                   We r n e r s Ha r d w a r e , 8 - 1 0 N Ma i n St , Fl o r i d a , N Y 1 0 9 2 1 - 1 3 1 9
2.12632 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 7 5 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                   We r t z We r k z L L C, 1 6 6 S Ma r i n o Rd , Br y a n , T X 7 7 8 0 8
2.12633 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2014

         List the contract number of any government
         contract
                                                                                                                                                   We s c o In d u s t r i a l Pr o d u c t s , Po Bo x 4 7 , La n s d a l e , PA 1 9 4 4 6
2.12634 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                   We s s e l In d u s t r i e s L L C, 5 We s t c h e s t e r Pl a z a , Su i t e 1 3 8 ,
2.12635 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                   El m s f o r d , N Y 1 0 5 2 3
        nature of the debtor's interest
         State the term remaining                         02/01/2011

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s s i n g t o n Sp r i n g s Tr u e Va l u e , 1 0 5 Ma i n St E, We s s i n g t o n
2.12636 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 2 0 )
        nature of the debtor's interest                                                                                                                          Sp r i n g s , S D 5 7 3 8 2 - 0 0 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t As h l e y Tr u e Va l u e , 1 1 1 9 Wa p p o o Rd P, Ch a r l e s t o n , S C
2.12637 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 3 5 )
                                                                                                                                                                 29407-5941
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t Ch e s t e r Ho l d i n g s , 1 0 0 Co r r i d o r Pa r k Dr i v e , Mo n r o e , O H
2.12638 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 45050

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t Ch e s t e r Ho l d i n g s , 1 0 0 Co r r i d o r Pa r k Dr i v e , Mo n r o e , O H
2.12639 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 45050
        nature of the debtor's interest
         State the term remaining                         04/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 We s t Co u n t y Ga r d e n e r / Mu d Gl o v e Co , 9 6 8 Al b a n y Sh a k e r Rd ,
2.12640 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La t h a m , N Y 1 2 1 1 0
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 We s t Dr i v e L L C, 1 0 4 5 W Gl e n Oa k s La n e , Su i t e 2 0 2 , Me q u o n ,
2.12641 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 53092
        nature of the debtor's interest
         State the term remaining                         04/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 We s t En d Ac e Ha r d w a r e , 9 6 4 Ra l p h Da v i d Ab e r n a t h y Bl v d ,
2.12642 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 9 0 )
                                                                                                                                                                 At l a n t a , G A 3 0 3 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t En d Ha r d w a r e , 1 9 1 2 Li b e r t y St r e e t , Er i e , PA 1 6 5 0 2 - 2 5 7 2
2.12643 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 1 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     We s t In d i e s Po t t e r y Us a L L C, 5 5 3 9 S Mi l i t a r y Tr a i l , La k e
2.12644 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wo r t h , F L 3 3 4 6 3
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     We s t Je f f e r s o n Tr u e Va l u e Hd w e , 4 We s t Ma i n St r e e t , We s t
2.12645 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 3 3 6 )
        nature of the debtor's interest                                                                                                              Je f f e r s o n , N C 2 8 6 9 4 - 9 1 2 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t Le b a n o n ( a h h ) - 1 7 1 , 1 7 Pl a z a He i g h t s Rd Bl d g 3 ( a k a 1 ,
2.12646 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 3 )
                                                                                                                                                     We s t Le b a n o n , N H 0 3 7 8 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t Po i n t Tr u e Va l u e Ha r d w a r e & Lu m b e r , We s t Po i n t Tr u e
2.12647 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 1 5 7 )
        nature of the debtor's interest                                                                                                              Va l u e Ha r d w a r e , 3 0 0 Bu t t e r f i e l d Ro a d , We s t Po i n t , N E 6 8 7 8 8 -
                                                                                                                                                     1106
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t Tr e n t o n Tr u e Va l u e Hd w e , We s t Tr e n t o n Tr u e Va l u e
2.12648 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 6 2 4 )
                                                                                                                                                     Ha r d w a r e , 1 6 W Up p e r Fe r r y Ro a d , Ew i n g , N J 0 8 6 2 8 - 0 1 0 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t Tr u e Va l u e , 1 1 3 N Ro b e r t s St , We s t , T X 7 6 6 9 1 - 1 6 3 2
2.12649 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 3 4 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t Yo r k Ag w a y, 2 6 5 0 W. Ma r k e t St r e e t , Yo r k , PA 1 7 4 0 4
2.12650 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 2 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     We s t b r o o k Tr u e Va l u e Ha r d w a r e , We s t b r o o k Tr u e Va l u e , 7 6 N
2.12651 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 0 )
                                                                                                                                                     Ho w a r d Av e , Cr o s w e l l , M I 4 8 4 2 2 - 1 2 2 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


                                                                                                                                                              We s t c h e s t e r Fi r e In s u r a n c e Co ( Ch u b b ) , At t n : Ch u b b
2.12652 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   G4 7 4 3 8 0 7 A 0 0 1                                                                              Un d e r w r i t i n g De p a r t m e n t , Ch u b b Gr o u p Of In s u r a n c e
                                                                                                                                                              Co m p a n i e s , 2 0 2 B Ha l l ’ S Mi l l Ro a d , Wh i t e h o u s e St a t i o n , N J
         State the term remaining                         11/30/2023 - 11/30/2025                                                                             08889
         List the contract number of any government
         contract
                                                                                                                                                              We s t c h e s t e r La n d s c a p e De p o t , 3 4 Ev a n s St , Ne w Ro c h e l l e , N Y
2.12653 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 6 1 7 )
                                                                                                                                                              10801-5746
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              We s t c h e s t e r Su r p l u s Li n e s In s u Co ( Ch u b b ) , At t n : Ch u b b
2.12654 State what the contract or lease is for and the
                                                          In s u r a n c e Po l i c y, Di r e c t o r s & Of f i c e r s - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   G7 1 7 6 5 4 9 0 0 0 5                                                                              Un d e r w r i t i n g De p a r t m e n t , Ch u b b Gr o u p Of In s u r a n c e
                                                                                                                                                              Co m p a n i e s , 2 0 2 B Ha l l ’ S Mi l l Ro a d , Wh i t e h o u s e St a t i o n , N J
         State the term remaining                         11/30/2023 - 11/30/2025                                                                             08889
         List the contract number of any government
         contract
                                                                                                                                                              We s t e r n # 2 , We s t e r n Tr u e Va l u e 2 , 3 0 0 Gr a n a d o St , Tu l a r o s a ,
2.12655 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 9 4 0 2 )
                                                                                                                                                              NM 88352-2750
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              We s t e r n Au t o , 3 2 6 So u t h Co m m e r c e St , Ce n t e r v i l l e , T X 7 5 8 3 3 -
2.12656 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 6 )
                                                                                                                                                              3595
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              We s t e r n Ex p r e s s In c , 7 1 3 5 Ce n t e n n i a l Pl a c e , Na s h v i l l e , T N
2.12657 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , We s t e r n Ex p r e s s In c - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s Co n t r a c t e d Ca r r i e r                                                  37209

         State the term remaining                         05/12/2020

         List the contract number of any government
         contract
                                                                                                                                                              We s t e r n Oh i o Tr u e Va l u e , 7 0 2 N Ea s t e r n Av e , St . He n r y, O H
2.12658 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 7 3 )
                                                                                                                                                              45883-9580
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                              We s t e r n Oh i o Tr u e Va l u e Hd w e , 4 4 0 5 St a t e Ro u t e 6 6 , Mi n s t e r ,
2.12659 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 0 5 7 )
        nature of the debtor's interest                                                                                                                       OH 45865-8727

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t e r n Pr o m o t i o n s In c , 3 1 2 6 St a t e St , Me d f o r d , O R 9 7 5 0 4
2.12660 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/29/2014

         List the contract number of any government
         contract
                                                                                                                                                                 We s t e r n Ra n c h Su p p l y, 7 3 0 5 En t r y w a y Dr , Bi l l i n g s , M T 5 9 1 0 1 -
2.12661 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 3 0 )
        nature of the debtor's interest                                                                                                                          6244

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t e r n Tr u e Va l u e Ha r d w a r e , 1 0 8 S 4 t h St r e e t , Le o t i , K S
2.12662 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 3 8 )
                                                                                                                                                                 67861-0876
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t e r n e r s Tr u e Va l u e , 1 5 5 Ma i n St r e e t , Tu b a Ci t y, A Z 8 6 0 4 5 -
2.12663 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 7 6 )
                                                                                                                                                                 0155
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t f i e l d Ou t d o o r In c , 8 6 7 5 Pu r d u e Ro a d , In d i a n a p o l i s , I N
2.12664 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 46268
        nature of the debtor's interest
         State the term remaining                         03/17/2016

         List the contract number of any government
         contract
                                                                                                                                                                 We s t f i e l d Ou t d o o r In c , 8 6 7 5 Pu r d u e Ro a d , In d i a n a p o l i s , I N
2.12665 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 46268
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t f i e l d Ou t d o o r In c , 8 6 7 5 Pu r d u e Ro a d , In d i a n a p o l i s , I N
2.12666 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 46268

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t h a m p t o n Tr u e Va l u e , 2 2 3 Mo n t a u k Hi g h w a y, We s t h a m p t o n
2.12667 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 1 1 )
                                                                                                                                                                 Be a c h , N Y 1 1 9 7 8 - 1 7 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t i n g h o u s e Fa n & Li g h t i n g , 1 2 4 0 1 Mc n u l t y, Ph i l a d e l p h i a , PA
2.12668 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 19154

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Fa n & Li g h t i n g , 1 2 4 0 1 Mc n u l t y, Ph i l a d e l p h i a , PA
2.12669 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 19154
        nature of the debtor's interest
         State the term remaining                         04/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12670 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12671 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12672 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12673 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4

         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12674 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12675 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12676 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12677 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12678 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12679 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12680 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12681 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Co r p , We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1
2.12682 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mc n u l t y Rd , Ph i l a d e l p h i a , PA 1 9 1 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t i n g h o u s e Li g h t i n g Lp , 1 2 4 0 1 Mc n u l t y Rd , Ph i l a d e l p h i a ,
2.12683 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 PA 1 9 1 5 4
        nature of the debtor's interest
         State the term remaining                         04/01/2020

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t m i n s t e r In c , 1 5 9 Ar m o u r Dr i v e Ne , At l a n t a , G A 3 0 3 2 4
2.12684 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/19/2018

         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12685 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12686 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12687 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12688 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12689 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12690 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12691 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12692 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12693 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12694 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12695 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12696 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 8 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 We s t m i n s t e r Pe t Pr o d u c t s , 3 5 Ma r t i n St , Cu m b e r l a n d , R I 0 2 8 6 4
2.12697 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 We s t o n Ac e , 2 6 0 6 Sc h o f i e l d Av e , Sc h o f i e l d , W I 5 4 4 7 6 - 0 0 0 1
2.12698 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 1 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t o n Nu r s e r i e s - Ch e l m s f o r d , 1 6 0 Pi n e Hi l l Ro a d ,
2.12699 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 7 )
                                                                                                                                                                 Ch e l m s f o r d , M A 0 1 8 2 4 - 2 0 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We s t o n Nu r s e r i e s H& g s , 9 3 Ea s t Ma i n St r e e t , Ho p k i n t o n , M A
2.12700 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 3 0 7 )
                                                                                                                                                                 01748-1240
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t p o r t Sh o p ' N Ka r t , 1 0 8 S Mo n t e s a n o St , We s t p o r t , WA
2.12701 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 0 4 2 )
                                                                                                                                                                 98595-0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t p o r t Tr u e Va l u e Ha r d w a r e , 6 0 6 Po s t Ro a d Ea s t , We s t p o r t ,
2.12702 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 8 2 1 )
                                                                                                                                                                 CT 06880-4520
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t v i l l e Gr a n d Re n t a l , 6 3 Pl a i s t o w Rd , Pl a i s t o w, N H 0 3 8 6 5 -
2.12703 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 8 4 )
        nature of the debtor's interest                                                                                                                          4856

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We s t v i l l e Tr u e Va l u e Ha r d w a r e , 6 3 Pl a i s t o w Rd , Pl a i s t o w, N H
2.12704 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 8 3 )
                                                                                                                                                                 03865-4856
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12705 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60124

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12706 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12707 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12708 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12709 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 IL 60124
        nature of the debtor's interest
         State the term remaining                         01/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12710 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          IL 60124

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12711 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12712 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 IL 60124

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12713 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12714 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t Us Nz Lp , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n ,
2.12715 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 IL 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 We t & Fo r g e t , In c , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n , I L
2.12716 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60124
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 We t & Fo r g e t , In c , 2 5 3 1 Te c h n o l o g y Dr , Un i t 3 0 1 , El g i n , I L
2.12717 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60124

         State the term remaining                         09/01/2024 - 06/01/2026

         List the contract number of any government
         contract
                                                                                                                                                                 We y e r h a u s e r Ch o i c e w o o d , 2 2 0 Oc c i d e n t a l Av e . S, Se a t t l e , WA
2.12718 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 98104
        nature of the debtor's interest
         State the term remaining                         01/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Wg i In n o v a t i o n s / Ba Pr o d u c t s , 6 0 2 Fo u n t a i n Pa r k w a y, Gr a n d
2.12719 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Pr a i r i e , T X 7 5 0 5 0

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wg i In n o v a t i o n s / Ba Pr o d u c t s , 6 0 2 Fo u n t a i n Pa r k w a y, Gr a n d
2.12720 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Pr a i r i e , T X 7 5 0 5 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wg i In n o v a t i o n s / Ba Pr o d u c t s , 6 0 2 Fo u n t a i n Pa r k w a y, Gr a n d
2.12721 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Pr a i r i e , T X 7 5 0 5 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh a r t o n In n o v a t i v e Pr o d u c t s L L C, Wh a r t o n In n o v a t i v e
2.12722 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Pr o d u c t s L L C, 8 6 N Ma i n St r e e t , Wh a r t o n , N J 0 7 8 8 5
        nature of the debtor's interest
         State the term remaining                         01/01/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Wh e a t b e l t , 1 1 7 2 1 Nw Pl a z a Ci r c l e , Ka n s a s Ci t y, M O 6 4 1 5 3 -
2.12723 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 9 1 7 )
                                                                                                                                                                 2023
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wh e d o n Pr o d u c t s , 2 1 A An d o v e r Dr , We s t Ha r t f o r d , C T 0 6 1 1 0
2.12724 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh e d o n Pr o d u c t s , 2 1 A An d o v e r Dr , We s t Ha r t f o r d , C T 0 6 1 1 0
2.12725 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Wh e d o n Pr o d u c t s , 2 1 A An d o v e r Dr , We s t Ha r t f o r d , C T 0 6 1 1 0
2.12726 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wh e e l e r Ma c h i n e r y, 4 9 0 1 We s t 2 1 0 0 So u t h , Sa l t La k e Ci t y, U T
2.12727 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 8 3 8 )
                                                                                                                                                                 84120
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i n k , Po Bo x 1 1 7 , Pr t Wa s h i n t o n , W I 5 3 0 7 4
2.12728 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i n k , Po Bo x 1 1 7 , Pr t Wa s h i n t o n , W I 5 3 0 7 4
2.12729 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12730 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ha r b o r , M I 4 9 0 2 2
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12731 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ha r b o r , M I 4 9 0 2 2

         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12732 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ha r b o r , M I 4 9 0 2 2
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12733 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ha r b o r , M I 4 9 0 2 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12734 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ha r b o r , M I 4 9 0 2 2
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12735 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ha r b o r , M I 4 9 0 2 2

         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i r l p o o l Co r p o r a t i o n , 2 0 0 0 N M- 6 3 , Ma i l Dr o p 5 0 0 , Be n t o n
2.12736 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ha r b o r , M I 4 9 0 2 2
        nature of the debtor's interest
         State the term remaining                         08/01/2024 - 07/31/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Bl u f f Bl d g Sp l y In c , 4 9 7 8 Hw y 7 0 E, Wh i t e Bl u f f , T N
2.12737 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 8 2 )
                                                                                                                                                                 37187-9224
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Ca p - 0 , 6 2 5 0 Br o o k Ho l l o w Pa r k w a y, No r c r o s s , G A
2.12738 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 0 )
                                                                                                                                                                 30071
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Ca p - 3 2 5 , Wh i t e Ca p 3 2 5 , 4 0 4 N Ra i l r o a d Av e ,
2.12739 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 2 )
                                                                                                                                                                 El l e n s b u r g , WA 9 8 9 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 3 2 6 , Wh i t e Ca p 3 2 6 , 5 1 6 Va l l e y Av e Ne , Pu y a l l u p ,
2.12740 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 2 )
        nature of the debtor's interest                                                                                                              WA 9 8 3 7 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 3 5 4 , Wh i t e Ca p - 3 5 4 , 1 5 0 0 Al l o y Pk w y, Hi g h l a n d ,
2.12741 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 1 )
                                                                                                                                                     MI 48356-2502
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 2 , 5 Gr e e n w o o d Av e n u e , Ro m e o v i l l e , I L 6 0 4 4 6 -
2.12742 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 9 )
        nature of the debtor's interest                                                                                                              1340

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 2 , 5 Gr e e n w o o d Av e n u e , Ro m e o v i l l e , I L 6 0 4 4 6 -
2.12743 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 6 )
                                                                                                                                                     1340
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 3 , Wh i t e Ca p - 5 6 3 , 1 0 0 0 Gl e n g a r r y Dr ,
2.12744 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 4 )
                                                                                                                                                     Lo u i s v i l l e , K Y 4 0 1 1 8 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 3 , Wh i t e Ca p - 5 6 3 , 1 0 0 0 Gl e n g a r r y Dr ,
2.12745 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 4 )
                                                                                                                                                     Lo u i s v i l l e , K Y 4 0 1 1 8 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 6 , Wh i t e Ca p - 5 6 6 , 5 0 7 3 2 Sa b r i n a Dr , Sh e l b y
2.12746 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 8 0 6 )
                                                                                                                                                     To w n s h i p , M I 4 8 3 1 5 - 2 9 6 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 6 , Wh i t e Ca p - 5 6 6 , 5 0 7 3 2 Sa b r i n a Dr , Sh e l b y
2.12747 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 7 6 )
        nature of the debtor's interest                                                                                                              To w n s h i p , M I 4 8 3 1 5 - 2 9 6 9

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 5 6 7 , Wh i t e Ca p - 5 6 7 , 1 4 4 4 3 4 t h St r e e t , Gu l f p o r t ,
2.12748 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 5 )
                                                                                                                                                     MS 39501-6116
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 6 7 , Wh i t e Ca p - 5 6 7 , 1 4 4 4 3 4 t h St r e e t , Gu l f p o r t ,
2.12749 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 5 )
        nature of the debtor's interest                                                                                                              MS 39501-6116

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 2 , Wh i t e Ca p - 5 7 2 , 9 5 4 5 Le Sa i n t Dr i v e ,
2.12750 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 6 )
                                                                                                                                                     Fa i r f i e l d , O H 4 5 0 1 4 - 5 4 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 3 , Wh i t e Ca p - 5 7 3 , 4 0 5 1 Fo n d o r f Dr i v e ,
2.12751 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 6 5 9 )
        nature of the debtor's interest                                                                                                              Co l u m b u s , O H 4 3 2 2 8 - 0 0 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 3 , Wh i t e Ca p - 5 7 3 , 4 0 5 1 Fo n d o r f Dr i v e ,
2.12752 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 3 5 7 )
                                                                                                                                                     Co l u m b u s , O H 4 3 2 2 8 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 4 , Wh i t e Ca p - 5 7 4 , 4 2 6 5 Ro y a l Av e n u e ,
2.12753 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 3 )
                                                                                                                                                     Ok l a h o m a Ci t y, O K 7 3 1 0 8 - 2 0 3 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 4 , Wh i t e Ca p - 5 7 4 , 4 2 6 5 Ro y a l Av e n u e ,
2.12754 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 3 )
        nature of the debtor's interest                                                                                                              Ok l a h o m a Ci t y, O K 7 3 1 0 8 - 2 0 3 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 8 , Wh i t e Ca p - 5 7 8 , 2 0 1 1 Cu r t a i n Po l e Ro a d ,
2.12755 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 6 )
                                                                                                                                                     Ch a t t a n o o g a , T N 3 7 4 0 6 - 2 3 0 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 5 7 8 , Wh i t e Ca p - 5 7 8 , 2 0 1 1 Cu r t a i n Po l e Ro a d ,
2.12756 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 6 )
        nature of the debtor's interest                                                                                                              Ch a t t a n o o g a , T N 3 7 4 0 6 - 2 3 0 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 9 , Wh i t e Ca p - 5 7 9 , 3 8 3 0 Ne w Ge t w e l l Ro a d ,
2.12757 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 0 )
                                                                                                                                                     Me m p h i s , T N 3 8 1 1 8 - 6 0 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 7 9 , Wh i t e Ca p - 5 7 9 , 3 8 3 0 Ne w Ge t w e l l Ro a d ,
2.12758 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 7 )
        nature of the debtor's interest                                                                                                              Me m p h i s , T N 3 8 1 1 8 - 6 0 1 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 0 , Wh i t e Ca p - 5 8 0 , 8 4 0 Fe s s l e r s Pa r k w a y,
2.12759 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 0 )
                                                                                                                                                     Na s h v i l l e , T N 3 7 2 1 0 - 2 9 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 0 , Wh i t e Ca p - 5 8 0 , 8 4 0 Fe s s l e r s Pa r k w a y,
2.12760 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 7 )
                                                                                                                                                     Na s h v i l l e , T N 3 7 2 1 0 - 2 9 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 1 , Wh i t e Ca p - 5 8 1 , 5 0 0 0 S Mi d d l e b r o o k Pi k e ,
2.12761 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 7 )
        nature of the debtor's interest                                                                                                              Kn o x v i l l e , T N 3 7 9 2 1 - 5 9 9 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 1 , Wh i t e Ca p - 5 8 1 , 5 0 0 0 S Mi d d l e b r o o k Pi k e ,
2.12762 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 7 )
                                                                                                                                                     Kn o x v i l l e , T N 3 7 9 2 1 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 2 , Wh i t e Ca p - 5 8 2 , 1 4 3 2 Ma c a r t h u r Dr i v e ,
2.12763 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 1 )
        nature of the debtor's interest                                                                                                              Ca r r o l l t o n , T X 7 5 0 0 7 - 4 4 1 7

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 5 8 2 , Wh i t e Ca p - 5 8 2 , 1 4 3 2 Ma c a r t h u r Dr i v e ,
2.12764 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 8 )
                                                                                                                                                     Ca r r o l l t o n , T X 7 5 0 0 7 - 4 4 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 3 , Wh i t e Ca p - 5 8 3 , 1 8 4 8 Mo n y St r e e t , Fo r t
2.12765 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 8 )
        nature of the debtor's interest                                                                                                              Wo r t h , T X 7 6 1 0 2 - 1 7 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 3 , Wh i t e Ca p - 5 8 3 , 1 8 4 8 Mo n y St r e e t , Fo r t
2.12766 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 8 )
                                                                                                                                                     Wo r t h , T X 7 6 1 0 2 - 1 7 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 4 , Wh i t e Ca p - 5 6 4 , 1 0 1 3 1 We s t Ai r l i n e Hi g h w a y,
2.12767 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 3 )
                                                                                                                                                     Sa i n t Ro s e , L A 7 0 0 8 7 - 3 0 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 4 , Wh i t e Ca p - 5 8 4 , 4 3 0 S. Sa m Ho u s t o n Pk w y W,
2.12768 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 2 )
                                                                                                                                                     Ho u s t o n , T X 7 7 0 4 7 - 6 5 5 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 4 , Wh i t e Ca p - 5 8 4 , 4 3 0 S. Sa m Ho u s t o n Pk w y W,
2.12769 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 9 )
                                                                                                                                                     Ho u s t o n , T X 7 7 0 4 7 - 6 5 5 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 5 , Wh i t e Ca p - 5 8 5 , 8 0 1 3 Ex c h a n g e Dr i v e ,
2.12770 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 1 )
        nature of the debtor's interest                                                                                                              Au s t i n , T X 7 8 7 5 4 - 0 0 0 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 5 , Wh i t e Ca p - 5 8 5 , 8 0 1 3 Ex c h a n g e Dr i v e ,
2.12771 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 8 )
                                                                                                                                                     Au s t i n , T X 7 8 7 5 4 - 0 0 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 5 8 6 , Wh i t e Ca p - 5 8 6 , 6 1 0 La n a r k Dr i v e , Su i t e 1 0 1 ,
2.12772 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 2 )
        nature of the debtor's interest                                                                                                              Sa n An t o n i o , T X 7 8 2 1 8 - 1 8 2 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 6 , Wh i t e Ca p - 5 8 6 , 6 1 0 La n a r k Dr i v e , Su i t e 1 0 1 ,
2.12773 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 9 )
                                                                                                                                                     Sa n An t o n i o , T X 7 8 2 1 8 - 1 8 2 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 7 , Wh i t e Ca p - 5 8 7 , 2 5 5 6 Ag n e s St r e e t , Co r p u s
2.12774 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 9 )
        nature of the debtor's interest                                                                                                              Ch r i s t i , T X 7 8 4 0 5 - 1 6 1 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 8 7 , Wh i t e Ca p - 5 8 7 , 2 5 0 0 Ag n e s St r e e t , Co r p u s
2.12775 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 9 )
                                                                                                                                                     Ch r i s t i , T X 7 8 4 0 5 - 1 6 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 9 2 , Wh i t e Ca p - 5 9 2 , 1 1 2 9 Ma i n St r e e t ,
2.12776 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 2 )
                                                                                                                                                     Ch a r l e s t o n , W V 2 5 3 0 2 - 1 1 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 9 3 , Wh i t e Ca p - 5 9 3 , 4 1 8 8 S. In d i a n a p o l i s Dr. ,
2.12777 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 1 )
        nature of the debtor's interest                                                                                                              Le b a n o n , I N 4 6 0 5 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 9 3 , Wh i t e Ca p - 5 9 3 , 4 1 8 8 S. In d i a n a p o l i s Dr. ,
2.12778 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 3 2 )
                                                                                                                                                     Le b a n o n , I N 4 6 0 5 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 5 9 8 , Wh i t e Ca p - 5 9 8 , 9 0 1 Ju d i La n e , No r t h Li t t l e
2.12779 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 5 )
        nature of the debtor's interest                                                                                                              Ro c k , A R 7 2 1 1 7

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 5 9 9 , Wh i t e Ca p - 5 9 9 , 6 6 5 0 Ea s t l a n d Ro a d ,
2.12780 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 7 1 )
                                                                                                                                                     Mi d d l e b u r g He i g h t s , O H 4 4 1 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 6 3 , 2 0 0 Pa r k Cr e e k Dr i v e , Cl o v i s , C A 9 3 6 1 1
2.12781 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 7 4 , Wh i t e Ca p 6 7 4 , 2 4 2 5 2 0 t h St , Ro c k f o r d , I L
2.12782 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 4 6 )
                                                                                                                                                     61104
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 7 8 , 2 2 0 5 Be l l Av e , De s Mo i n e s , I A 5 0 3 2 1
2.12783 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 7 9 , 1 2 1 3 E Ma p l e St r e e t , Ma q u o k e t a , I A 5 2 0 6 0
2.12784 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 9 2 , Wh i t e Ca p - 5 9 2 , 1 1 2 9 Ma i n St r e e t ,
2.12785 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 2 )
                                                                                                                                                     Ch a r l e s t o n , W V 2 5 3 0 2 - 1 1 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 9 4 , Wh i t e Ca p 6 9 4 , 5 8 0 4 1 s t Av e n u e No r t h , Sa i n t
2.12786 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 8 )
        nature of the debtor's interest                                                                                                              Cl o u d , M N 5 6 3 0 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 6 9 5 , Wh i t e Ca p - 6 9 5 , 2 3 0 9 Ad v a n c e Ro a d ,
2.12787 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 6 )
                                                                                                                                                     Ma d i s o n , W I 5 3 7 1 8 - 6 7 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - 7 2 2 , Wh i t e Ca p - St a f f o r d - 7 0 1 , 1 2 5 2 2 Up l a n d
2.12788 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 5 )
        nature of the debtor's interest                                                                                                              Wa y, Ba y t o w n , T X 7 7 5 2 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 7 8 0 , 6 6 9 1 Cl a r k Av e . , Ne w a r k , C A 9 4 5 6 0
2.12789 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 8 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - 8 1 4 , Wh i t e Ca p 8 1 4 , 3 3 2 5 St o p 8 Ro a d , Da y t o n ,
2.12790 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 4 )
                                                                                                                                                     OH 45414
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Al 0 2 , Ra m To o l Pi c k / Pa r c e l - Al 0 2 , 1 1 0 Je t p l e x
2.12791 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 5 )
                                                                                                                                                     Ci r c l e , Ma d i s o n , A L 3 5 7 5 8 - 8 9 6 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Al 0 3 , Ra m To o l Pi c k / Pa r c e l - Al 0 3 , 1 9 4 4 So u t h
2.12792 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 6 )
                                                                                                                                                     Br o a d St r e e t , Mo b i l e , A L 3 6 6 1 5 - 1 3 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Al b u q u e r q u e - 5 2 , 6 7 0 7 Wa s h i n g t o n St N. e . ,
2.12793 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 4 )
        nature of the debtor's interest                                                                                                              Al b u q u e r q u e , N M 8 7 1 0 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Al e d o - 7 0 3 , 1 7 5 Be a r Ca t Rd , Al e d o , T X 7 6 0 0 8
2.12794 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Al l e n - 7 1 2 , 9 0 1 En t e r p r i s e Bl v d , Al l e n , T X 7 5 0 1 3
2.12795 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - An a h e i m - 3 0 2 , 3 2 5 0 E. Ca r p e n t e r Av e , An a h e i m ,
2.12796 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 2 )
                                                                                                                                                     CA 92806
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - At l a n t a - 2 0 1 , 1 7 0 Ot t l e y Dr N. e . , At l a n t a , G A
2.12797 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 6 )
                                                                                                                                                     30324
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - At l a n t a ( c m i ) - 8 3 6 , 6 8 7 8 Be s t Fr i e n d Rd . , At l a n t a ,
2.12798 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 0 )
                                                                                                                                                     GA 30340
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Au r o r a - 5 5 , 1 4 9 0 0 E. 3 9 t h Av e , Au r o r a , C O 8 0 0 1 1
2.12799 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Au s t i n - 7 1 3 , 5 8 1 1 Tr a d e Ce n t e r Dr Bl d g 1 0 ,
2.12800 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 9 )
        nature of the debtor's interest                                                                                                              Au s t i n , T X 7 8 7 4 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Au s t i n Ic - 7 0 7 , 3 2 0 1 Lo n g h o r n Bl v d , Au s t i n , T X
2.12801 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 9 )
                                                                                                                                                     78758
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Az u s a - 6 4 , 3 0 7 N. Ae r o j e t Av e , Az u s a , C A 9 1 7 0 2
2.12802 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ba k e r s f i e l d - 6 9 , 3 0 2 7 La n d c o Dr , Ba k e r s f i e l d , C A
2.12803 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 3 )
                                                                                                                                                     93308
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ba k e r s f i e l d Hu b ( h u b ) - 8 3 5 , 2 8 1 5 La n d c o ,
2.12804 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 9 )
        nature of the debtor's interest                                                                                                              Ba k e r s f i e l d , C A 9 3 3 0 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Be a u m o n t - 7 1 8 , 2 5 0 1 Cr o c k e t t St , Be a u m o n t , T X
2.12805 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 5 )
                                                                                                                                                     77701
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Be l l e v u e - 5 0 7 , 1 3 1 2 5 Se 3 0 t h St , Be l l e v u e , WA
2.12806 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 4 )
                                                                                                                                                     98005
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Bi r m i n g h a m ( c m i ) - 8 6 0 , 2 8 0 1 Me s s e r Ai r p o r t
2.12807 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 2 )
        nature of the debtor's interest                                                                                                              Hw y, Bi r m i n g h a m , A L 3 5 2 0 3 - 3 9 1 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ce d a r Ra p i d s - 1 2 3 , 5 5 1 5 4 t h St Ct Sw, Ce d a r
2.12808 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 0 )
                                                                                                                                                     Ra p i d s , I A 5 2 4 0 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ch a r l e s t o n - 2 5 7 , 3 4 4 5 Bu f f a l o Av e , No r t h
2.12809 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 8 )
        nature of the debtor's interest                                                                                                              Ch a r l e s t o n , S C 2 9 4 1 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ch a r l o t t e - 2 1 9 , 5 0 8 Wo l f b e r r y St , Ch a r l o t t e , N C
2.12810 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 0 )
                                                                                                                                                     28206
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ch a r l o t t e ( a h h ) - 1 9 7 , 1 1 9 1 2 Ge n e r a l Dr ,
2.12811 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 4 )
                                                                                                                                                     Ch a r l o t t e , N C 2 8 2 7 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ch a t s w o r t h - 2 , 2 0 1 3 1 Su n b u r s t St , Ch a t s w o r t h ,
2.12812 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 9 )
                                                                                                                                                     CA 91311
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ch e y e n n e - 5 0 1 , 3 9 5 7 W. 5 t h St , Ch e y e n n e , W Y
2.12813 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 2 )
                                                                                                                                                     82007
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ci n c i n n a t i - 1 5 8 , 9 4 7 4 Su t t o n Pl a c e , Ha m i l t o n ,
2.12814 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 3 )
        nature of the debtor's interest                                                                                                              OH 45011

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Cl e v e l a n d - 1 5 6 , 7 8 6 0 E. Pl e a s a n t Va l l e y Rd ,
2.12815 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 0 )
                                                                                                                                                     In d e p e n d e n c e , O H 4 4 1 3 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co l l e g e Pa r k - 2 4 7 , 4 7 5 Pl a z a Dr , Co l l e g e Pa r k ,
2.12816 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 3 )
        nature of the debtor's interest                                                                                                              GA 30349

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co l o r a d o Sp r i n g s - 4 5 , 4 2 2 0 Ma r k Da b l i n g Bl v d ,
2.12817 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 5 )
                                                                                                                                                     Co l o r a d o Sp r i n g s , C O 8 0 9 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co l u m b u s Ga - 2 0 0 , 2 4 0 0 Wh i t t l e s e y Rd ,
2.12818 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 5 )
        nature of the debtor's interest                                                                                                              Co l u m b u s , G A 3 1 9 0 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co l u m b u s Oh - 1 5 4 , 1 6 4 1 Ha r m o n Av e , Co l u m b u s ,
2.12819 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 1 )
                                                                                                                                                     OH 43223
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Co n c o r d - 1 6 , 1 6 4 0 Ch a l l e n g e Dr , Co n c o r d , C A
2.12820 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 2 )
                                                                                                                                                     94520-5207
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co n r o e - 8 5 1 , 8 5 4 3 Hi g h w a y 2 4 2 , Co n r o e , T X
2.12821 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 9 )
                                                                                                                                                     77385
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co r o n a - 1 5 , 2 3 1 N. Sh e r m a n Av e , Co r o n a , C A
2.12822 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 1 )
                                                                                                                                                     92882
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Co r p u s Ch r i s t i - 7 5 9 , 1 0 1 4 5 t h St , Co r p u s Ch r i s t i ,
2.12823 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 7 )
        nature of the debtor's interest                                                                                                              TX 78405

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Cu m m i n g - 2 0 4 , 5 1 1 1 Pe r f o r m a n c e Dr , Cu m m i n g ,
2.12824 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 2 )
                                                                                                                                                     GA 30040
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Da l l a s Dc - 7 7 7 , 2 2 6 5 N. To w n Bl v d , Wa x a h a c h i e ,
2.12825 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 8 )
        nature of the debtor's interest                                                                                                              TX 75165

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Da v e n p o r t - 1 2 1 , 9 3 7 E 5 3 r d St , Da v e n p o r t , I A
2.12826 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 9 )
                                                                                                                                                     52807
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - De n t o n - 2 9 0 , 2 3 0 0 I- 3 5 w. , De n t o n , T X 7 6 2 0 7
2.12827 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - De n v e r - 5 0 4 , 7 0 1 N. Os a g e St Bl d g 2 , De n v e r , C O
2.12828 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 8 )
                                                                                                                                                     80204
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - De s Mo i n e s - 1 0 4 , 1 6 3 1 Se c o n d Av e , De s Mo i n e s ,
2.12829 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 4 )
                                                                                                                                                     IA 50314
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Do w n t o w n Ch i c a g o - 6 0 4 , 1 4 0 0 W. Ca r r o l l Av e ,
2.12830 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 3 )
        nature of the debtor's interest                                                                                                              Ch i c a g o , I L 6 0 6 0 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Do w n t o w n La - 2 9 , 1 0 1 S. Mi s s i o n Rd , Lo s
2.12831 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 9 )
                                                                                                                                                     An g e l e s , C A 9 0 0 3 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Du b l i n - 1 8 , 6 3 4 1 Sc a r l e t t Ct , Du b l i n , C A 9 4 5 6 8
2.12832 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ec o m m e r c e , Ra m To o l & Su p p l y - Ec o m m e r c e ,
2.12833 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 7 )
                                                                                                                                                     4 5 0 0 5 t h Av e So u t h Bu i l d i n g M 4 , Bi r m i n g h a m , A L 3 5 2 2 2 - 2 4 4 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - El Ca j o n - 3 6 , 4 3 0 Ra l e i g h Av e , El Ca j o n , C A
2.12834 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 1 )
                                                                                                                                                     92020
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - El Pa s o - 5 1 , 8 6 5 0 Ye r m o l a n d Dr , El Pa s o , T X
2.12835 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 7 )
                                                                                                                                                     79907
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - El k Gr o v e Vi l l a g e - 6 0 5 , 1 0 0 0 El m h u r s t Rd , El k
2.12836 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 5 )
                                                                                                                                                     Gr o v e Vi l l a g e , I L 6 0 0 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Es c o n d i d o - 3 8 2 , 5 0 5 Co r p o r a t e Dr , Es c o n d i d o ,
2.12837 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 5 )
        nature of the debtor's interest                                                                                                              CA 92029

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Eu g e n e - 3 1 , 3 3 9 5 W. Fi r s t Av e , Eu g e n e , O R
2.12838 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 7 )
                                                                                                                                                     97402
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fa i r f i e l d - 2 4 , 9 3 3 0 W. Co r d e l i a Rd , Fa i r f i e l d , C A
2.12839 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 6 )
        nature of the debtor's interest                                                                                                              94534

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fl 0 2 , Ra m To o l Pa r c e l / Pi c k - Fl 0 2 , 3 0 2 7 No r t h
2.12840 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 8 )
                                                                                                                                                     Da v i s Hi g h w a y, Pe n s a c o l a , F L 3 2 5 0 3 - 3 5 5 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fl 0 5 , Ra m To o l Pi c k / Pa r c e l - Fl 0 5 , 5 5 0 7 Ea s t
2.12841 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 1 )
                                                                                                                                                     Ch e l s e a St r e e t , Ta m p a , F L 3 3 6 1 0 - 7 1 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fl 0 6 , Ra m To o l Pi c k / Pa r c e l - Fl 0 6 , 7 4 6 0
2.12842 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 2 )
                                                                                                                                                     Ch a n c e l l o r Dr i v e , Or l a n d o , F L 3 2 8 0 9 - 6 2 1 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fl 0 7 , Ra m To o l Pi c k / Pa r c e l - Fl 0 7 , 6 7 7 3 Ph i l l i p s
2.12843 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 9 )
                                                                                                                                                     In d u s t r i a l La n e , Ja c k s o n v i l l e , F L 3 2 2 5 6 - 1 5 4 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Fl 0 8 , Ra m To o l Pi c k / Pa r c e l - Fl 0 8 , 3 5 8 5 Nw 5 4 t h
2.12844 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 3 )
        nature of the debtor's interest                                                                                                              St r e e t , Ft . La u d e r d a l e , F L 3 3 3 0 9 - 6 3 5 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fl 0 9 , Ra m To o l & Su p p l y - Fl 0 9 , 1 6 0 0 Nw 1 0 2 n d
2.12845 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 9 5 0 )
                                                                                                                                                     Av e n u e , Do r a l , F L 3 3 1 7 2 - 2 7 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fo r t Co l l i n s - 4 3 , 3 3 4 S. Su m m i t Vi e w Dr , Fo r t
2.12846 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 3 )
        nature of the debtor's interest                                                                                                              Co l l i n s , C O 8 0 5 2 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fo r t My e r s - 2 2 1 , 1 6 5 4 2 Or i o l e Rd , Fo r t My e r s ,
2.12847 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 2 )
                                                                                                                                                     FL 33916
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fo r t Pi e r c e ( c m i ) - 8 4 4 , 3 1 0 1 In d u s t r i a l Bl v d . , Ft .
2.12848 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 6 )
        nature of the debtor's interest                                                                                                              Pi e r c e , F L 3 4 9 4 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fo r t Wa y n e - 1 5 3 , 3 3 3 3 In d e p e n d e n c e Dr , Fo r t
2.12849 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 9 )
                                                                                                                                                     Wa y n e , I N 4 6 8 0 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fo r t Wo r t h - 7 1 0 , 2 0 3 7 E. La n c a s t e r Av e , Fo r t
2.12850 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 8 )
                                                                                                                                                     Wo r t h , T X 7 6 1 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Fr e s n o - 2 5 , 5 7 8 0 E. Sh i e l d s Av e , Fr e s n o , C A
2.12851 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 7 )
        nature of the debtor's interest                                                                                                              93727

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Fr i s c o - 7 0 6 , 6 6 4 4 Al l St a r s Av e Bl d g D, Fr i s c o ,
2.12852 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 6 )
                                                                                                                                                     TX 75033
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ga 0 1 , Ra m To o l Pi c k / Pa r c e l Ga 0 1 , 2 4 3 9
2.12853 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 0 5 )
        nature of the debtor's interest                                                                                                              Mo u n t a i n In d u s t r i a l Bl v d , Tu c k e r , G A 3 0 0 8 4 - 3 8 1 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ga 0 3 , Ra m To o l Pi c k / Pa r c e l - Ga 0 3 , 2 0 5 Te l f a i r
2.12854 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 0 )
                                                                                                                                                     Ro a d , Sa v a n n a h , G A 3 1 4 1 5 - 1 6 0 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ga i n e s v i l l e - 2 2 2 , 1 1 4 1 6 N. w. Us Hw y 4 4 1 ,
2.12855 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 3 )
        nature of the debtor's interest                                                                                                              Ga i n e s v i l l e , F L 3 2 6 5 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ga r d e n a Ca - 5 4 , 1 9 1 3 0 S. Fi g u e r o a St , Ga r d e n a ,
2.12856 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 9 )
                                                                                                                                                     CA 90248
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ge i s m a r - 2 4 1 , 5 3 4 8 Ga t e w a y Dr , Ge i s m a r , L A
2.12857 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 0 )
                                                                                                                                                     70734
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gi l b e r t - 7 0 2 , 1 2 8 5 N. Mc q u e e n Rd , Gi l b e r t , A Z
2.12858 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 6 )
        nature of the debtor's interest                                                                                                              85233

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gi l b e r t s - 6 0 6 , 3 2 3 So l a Dr , Gi l b e r t s , I L 6 0 1 3 6
2.12859 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Gr a n d Ju n c t i o n - 4 4 , 2 3 8 2 Le l a n d Av e , Gr a n d
2.12860 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 4 )
        nature of the debtor's interest                                                                                                              Ju n c t i o n , C O 8 1 5 0 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gr e e n s b o r o - 2 7 0 , 8 7 1 7 W. Ma r k e t St , Gr e e n s b o r o ,
2.12861 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 0 )
                                                                                                                                                     NC 27409
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gr e e n v i l l e - 2 3 9 , 1 0 3 0 Th o u s a n d Oa k s Bl v d ,
2.12862 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 9 )
        nature of the debtor's interest                                                                                                              Gr e e n v i l l e , S C 2 9 6 0 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gr i f f i t h - 6 0 1 , 2 1 7 S. Co l f a x St , Gr i f f i t h , I N
2.12863 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 1 )
                                                                                                                                                     46319
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Gu l f p o r t - 2 1 6 , 1 4 2 2 0 Hi g h w a y 4 9 Bl d g B,
2.12864 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 8 )
                                                                                                                                                     Gu l f p o r t , M S 3 9 5 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ha y w a r d - 2 2 , 4 1 1 W. A St , Ha y w a r d , C A 9 4 5 4 1
2.12865 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Hi l o - 4 0 2 , 7 5 0 Ka l a n i a n a o l e Av e , Hi l o , H I 9 6 7 2 0
2.12866 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ho n o l u l u - 4 0 1 , 7 2 9 Ah u a St , Ho n o l u l u , H I 9 6 8 1 9
2.12867 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ho u s t o n ( c m i ) - 8 6 1 , 8 2 1 0 Mo s l e y Ro a d , Ho u s t o n ,
2.12868 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 3 )
                                                                                                                                                     TX 77075
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ho u s t o n 2 - 5 8 , 4 9 0 3 W. Sa m Ho u s t o n Pk w y Bl d g
2.12869 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 1 )
        nature of the debtor's interest                                                                                                              C, Ho u s t o n , T X 7 7 0 4 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ho u s t o n Li m o - 7 1 9 , 2 3 0 0 Mc c a r t y St , Ho u s t o n ,
2.12870 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 6 )
                                                                                                                                                     TX 77029
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Hu n t s v i l l e ( c m i ) - 8 5 0 , 3 2 8 8 Wa l l - t r i a n a Hi g h w a y,
2.12871 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 1 1 )
                                                                                                                                                     Hu n s t v i l l e , A L 3 5 8 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - In d i a n a p o l i s - 1 5 1 , 7 1 3 0 W. Mc c a r t y St ,
2.12872 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 8 )
                                                                                                                                                     In d i a n a p o l i s , I N 4 6 2 4 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - In d i o - 8 , 8 1 7 6 0 Ol e a n d e r Av e , In d i o , C A 9 2 2 0 1
2.12873 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Io w a Ci t y - 1 0 5 , 2 0 0 3 S. Gi l b e r t St , Io w a Ci t y, I A
2.12874 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 5 )
        nature of the debtor's interest                                                                                                              52240

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ir v i n g - 7 1 1 , 2 2 1 5 E. Gr a u w y l e r Rd , Ir v i n g , T X
2.12875 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 1 )
                                                                                                                                                     75061
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ja c k s o n Cm i ( c m i ) - 8 6 4 , 6 1 9 So u t h We s t St . ,
2.12876 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 0 )
        nature of the debtor's interest                                                                                                              Ja c k s o n , M S 3 9 2 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ja c k s o n v i l l e - 2 3 4 , 5 4 0 9 1 0 0 Br o a d w a y Av e ,
2.12877 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 7 )
                                                                                                                                                     Ja c k s o n v i l l e , F L 3 2 2 5 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Jo l i e t - 6 0 0 , 3 4 7 0 Mo u n d Rd , Jo l i e t , I L 6 0 4 3 6
2.12878 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ka h u l u i - 4 0 3 , 2 2 0 Pa p a Pl a c e , Ka h u l u i , H I 9 6 7 3 2
2.12879 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ka n s a s Ci t y - 1 2 5 , 1 9 0 7 Wa r r e n St , Ka n s a s Ci t y,
2.12880 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 5 )
                                                                                                                                                     MO 64116
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ka t y 7 8 2 , Wh i t e Ca p Ka t y 7 8 2 , 6 4 4 Ch o c t a w
2.12881 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 5 )
        nature of the debtor's interest                                                                                                              La n e , Ka t y, T X 7 7 4 9 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ke n t - 3 0 , 7 8 2 0 So u t h 2 1 0 t h St Bl d g C, Ke n t , WA
2.12882 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 0 )
                                                                                                                                                     98032
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ki l l e e n - 7 0 4 , 1 3 0 0 W. Ce n t r a l Te x a s Ex p r e s s w a y,
2.12883 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 8 )
        nature of the debtor's interest                                                                                                              Ki l l e e n , T X 7 6 5 4 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ko n a - 4 0 4 , 7 4 - 5 5 9 8 Lu h i a St , Ko n a , H I 9 6 7 4 0
2.12884 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La Po r t e - 7 1 7 , 1 2 3 4 Un d e r w o o d Rd , La Po r t e , T X
2.12885 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 4 )
        nature of the debtor's interest                                                                                                              77571

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La f a y e t t e - 9 3 2 , 2 6 0 6 Ca m e r o n St , La f a y e t t e , L A
2.12886 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 0 )
                                                                                                                                                     70506
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La k e Ch a r l e s - 3 0 3 , 3 1 7 7 Ca r b i d e Dr , Su l p h u r , L A
2.12887 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 3 )
                                                                                                                                                     70665
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La k e Ha v a s u Ci t y ( h u b ) - 8 3 4 , 1 8 6 3 Co m m a n d e r
2.12888 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 8 )
        nature of the debtor's interest                                                                                                              Dr i v e , La k e Ha v a s u , A Z 8 6 4 0 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La k e l a n d - 2 4 9 , 3 3 5 N. In g r a h a m Av e , La k e l a n d ,
2.12889 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 4 )
                                                                                                                                                     FL 33801
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - La s Ve g a s - 1 1 , 3 4 5 0 W. Te c o Av e , La s Ve g a s , N V
2.12890 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 7 )
        nature of the debtor's interest                                                                                                              89118

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Li n c o l n - 1 0 2 , 1 7 2 0 Ad a m s St , Li n c o l n , N E 6 8 5 2 1
2.12891 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Li v e r m o r e - 2 1 , 2 9 7 S. Va s c o Rd , Li v e r m o r e , C A
2.12892 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 3 )
        nature of the debtor's interest                                                                                                              94551

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Lo u i s v i l l e - 1 5 7 , 4 6 0 9 Po p l a r Le v e l Rd ,
2.12893 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 2 )
                                                                                                                                                     Lo u i s v i l l e , K Y 4 0 2 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ma c o n - 2 4 2 , 2 0 2 0 In d u s t r i a l Pa r k Dr , Ma c o n , G A
2.12894 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 1 )
                                                                                                                                                     31216
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ma r i e t t a - 2 0 3 , 1 4 2 0 Wh i t e Ci r c l e Bl d g 2 0 0 ,
2.12895 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 1 )
                                                                                                                                                     Ma r i e t t a , G A 3 0 0 6 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ma r i n a De l Re y - 1 9 , 5 4 0 0 Mc c o n n e l l Av e , Lo s
2.12896 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 1 )
                                                                                                                                                     An g e l e s , C A 9 0 0 6 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ma r t i n e z - 2 4 4 , 3 7 6 1 Ma r t i n e z Bl v d , Ma r t i n e z , G A
2.12897 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 2 )
        nature of the debtor's interest                                                                                                              30907

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ma r y s v i l l e - 6 2 , 3 5 2 5 1 3 6 t h St N. e . , Ma r y s v i l l e ,
2.12898 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 7 )
                                                                                                                                                     WA 9 8 2 7 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Me l b o u r n e - 2 3 3 , 6 0 0 Di s t r i b u t i o n Dr , Me l b o u r n e ,
2.12899 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 6 )
        nature of the debtor's interest                                                                                                              FL 32904

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Me n d o t a He i g h t s Mn - 1 2 7 , 1 4 0 0 Co m m e r c e Dr ,
2.12900 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 7 )
                                                                                                                                                     Me n d o t a He i g h t s , M N 5 5 1 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Me s q u i t e - 7 1 6 , 4 4 0 0 Us Hw y 8 0 Su i t e 1 6 0 ,
2.12901 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 3 )
                                                                                                                                                     Me s q u i t e , T X 7 5 1 4 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Mi a m i - 2 5 1 , 1 0 8 0 0 N. w. 9 2 n d Te r r , Me d l e y, F L
2.12902 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 6 )
                                                                                                                                                     33178
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Mi a m i Ga r d e n s - 2 0 5 , 1 5 6 7 5 N. w. 1 5 Av e , Mi a m i
2.12903 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 7 )
                                                                                                                                                     Ga r d e n s , F L 3 3 1 6 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Mi n n e a p o l i s - 1 2 6 , 5 2 0 5 Hi g h w a y 1 6 9 N. ,
2.12904 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 6 )
        nature of the debtor's interest                                                                                                              Pl y m o u t h , M N 5 5 4 4 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Mo b i l e ( c m i ) - 8 6 2 , 4 0 1 So u t h Ro y a l St . , Mo b i l e ,
2.12905 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 9 )
                                                                                                                                                     AL 36603
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Mo n t g o m e r y ( c m i ) - 8 4 8 , 4 3 5 0 No r t h e r n Bl v d . ,
2.12906 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 8 )
        nature of the debtor's interest                                                                                                              Mo n t g o m e r y, A L 3 6 1 1 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - My r t l e Be a c h - 2 7 1 , 2 6 9 E. Co x Fe r r y Rd , Co n w a y,
2.12907 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 1 )
                                                                                                                                                     SC 29526
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Na p l e s - 2 5 0 , 3 4 0 0 Pr o g r e s s Av e , Na p l e s , F L
2.12908 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 5 )
        nature of the debtor's interest                                                                                                              34104

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Na s h v i l l e - 8 5 3 , 9 2 5 Fe s s l e r s La n e , Na s h v i l l e , T N
2.12909 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 3 )
                                                                                                                                                     37210
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Na t i o n a l Ci t y - 5 9 , 2 2 1 5 Cl e v e l a n d Av e , Na t i o n a l
2.12910 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 2 )
                                                                                                                                                     Ci t y, C A 9 1 9 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Na t i o n a l Ci t y ( h u b ) - 8 2 9 , 4 0 2 We s t 3 5 t h St r e e t
2.12911 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 6 )
        nature of the debtor's interest                                                                                                              Su i t e A, Na t i o n a l Ci t y, C A 9 1 9 5 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Nc 0 1 , Ra m To o l Pi c k / Pa r c e l - Nc 0 1 , 3 1 0 Da l t o n
2.12912 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 4 )
                                                                                                                                                     Av e n u e , Ch a r l o t t e , N C 2 8 2 0 6 - 3 1 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Nc 0 3 , Ra m To o l Pi c k / Pa r c e l - Nc 0 3 , 1 6 0 1
2.12913 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 5 )
        nature of the debtor's interest                                                                                                              Wo l f p a c k La n e , Ra l e i g h , N C 2 7 6 0 9 - 7 5 2 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Nc 0 5 , In t e r n a t i o n a l To o l , 4 5 0 0 5 t h Av e So u t h
2.12914 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 1 0 )
                                                                                                                                                     Bu i l d i n g M 4 , Bi r m i n g h a m , A L 3 5 2 2 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Nc 0 5 , Ra m To o l Pi c k / Pa r c e l - Nc 0 5 , 3 8 2 0 U S
2.12915 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 7 )
                                                                                                                                                     Hw y 4 2 1 N, Wi l m i n g t o n , N C 2 8 4 0 1 - 9 0 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ne w Or l e a n s - 2 4 0 , 1 0 0 8 L An d A Rd , Me t a i r i e ,
2.12916 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 6 )
                                                                                                                                                     LA 70001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - No . La s Ve g a s - 3 8 , 4 1 7 1 Di s t r i b u t i o n Ci r c l e ,
2.12917 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 2 )
                                                                                                                                                     No r t h La s Ve g a s , N V 8 9 0 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - No . Ph o e n i x - 1 3 , 2 3 9 1 0 N. 1 9 t h Av e , Ph o e n i x , A Z
2.12918 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 9 )
        nature of the debtor's interest                                                                                                              85085

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - No . Tu c s o n - 5 3 , 3 8 7 5 N. Co m m e r c e Dr , Tu c s o n ,
2.12919 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 8 )
                                                                                                                                                     AZ 85705
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - No r t h Hi g h l a n d s - 2 0 , 4 5 5 0 Ro s e v i l l e Rd , No r t h
2.12920 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 2 )
        nature of the debtor's interest                                                                                                              Hi g h l a n d s , C A 9 5 6 6 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Og d e n - 5 0 8 , 2 4 9 7 So u t h 1 7 6 0 We s t , Og d e n , U T
2.12921 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 9 )
                                                                                                                                                     84401
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Om a h a - 1 0 1 , 9 9 5 0 S. 1 3 4 t h St , Om a h a , N E 6 8 1 3 8
2.12922 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 7 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - On t a r i o - 2 8 , 5 0 5 5 E. Ai r p o r t , On t a r i o , C A 9 1 7 6 1
2.12923 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Or e m - 6 0 , 5 5 5 So u t h 1 3 2 5 We s t , Or e m , U T 8 4 0 5 8
2.12924 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Or l a n d o - 2 3 5 , 3 6 7 1 Ol d Wi n t e r Ga r d e n Rd ,
2.12925 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 8 )
                                                                                                                                                     Or l a n d o , F L 3 2 8 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Or l a n d o ( c m i ) - 8 3 7 , 7 8 3 Th o r p e Rd , Or l a n d o , F L
2.12926 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 4 )
                                                                                                                                                     32824
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Pa n a m a Ci t y - 2 3 8 , 1 7 6 8 9 As h l e y Dr , Pa n a m a Ci t y
2.12927 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 5 )
        nature of the debtor's interest                                                                                                              Be a c h , F L 3 2 4 1 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Pa r a m o u n t - 9 , 1 4 0 8 0 Or a n g e Av e , Pa r a m o u n t , C A
2.12928 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 6 )
                                                                                                                                                     90723
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ph a r r Ic - 7 0 8 , 5 4 1 1 At h o l St , Ph a r r , T X 7 8 5 7 7
2.12929 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ph o e n i x - 1 4 , 2 4 3 2 S. 6 t h St , Ph o e n i x , A Z 8 5 0 0 4
2.12930 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Pi n e l l a s - 2 3 2 , 5 2 2 0 1 2 6 t h Av e N. , Cl e a r w a t e r , F L
2.12931 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 5 )
                                                                                                                                                     33760
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Po m o n a ( h u b ) - 8 2 4 , 1 4 8 0 Ea s t Gr a n d Av e n u e ,
2.12932 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 5 )
                                                                                                                                                     Po m o n a , C A 9 1 7 6 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Po m p a n o Be a c h - 2 3 6 , 2 0 0 7 N. w. 1 5 t h Av e ,
2.12933 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 3 )
                                                                                                                                                     Po m p a n o Be a c h , F L 3 3 0 6 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Po r t l a n d - 3 2 , 9 2 0 N. e . 5 8 t h Av e , Po r t l a n d , O R
2.12934 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 8 )
        nature of the debtor's interest                                                                                                              97213

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ra l e i g h - 2 5 8 , 8 9 0 9 Mi d w a y We s t Rd , Ra l e i g h ,
2.12935 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 9 )
                                                                                                                                                     NC 27617
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ra l e i g h Dc - 2 1 8 , 1 2 1 1 In t r e p i d Ct , Ra l e i g h , N C
2.12936 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 0 9 )
        nature of the debtor's interest                                                                                                              27610

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ra n c h o Co r d o v a - 3 3 , 2 4 2 1 Me r c a n t i l e Dr , Ra n c h o
2.12937 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 9 )
                                                                                                                                                     Co r d o v a , C A 9 5 7 4 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Re n o - 4 0 , 1 8 3 0 E. Li n c o l n Wa y, Sp a r k s , N V
2.12938 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 1 )
                                                                                                                                                     89434
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ri v e r s i d e - 4 , 4 1 3 3 Fa i r g r o u n d s , Ri v e r s i d e , C A
2.12939 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 1 )
                                                                                                                                                     92501
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ro s e v i l l e - 6 8 , 8 2 8 6 In d u s t r i a l Av e , Ro s e v i l l e , C A
2.12940 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 2 )
                                                                                                                                                     95678
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa i n t Ge o r g e - 6 3 , 3 8 8 4 S. Ri v e r Rd , Sa i n t
2.12941 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 8 )
        nature of the debtor's interest                                                                                                              Ge o r g e , U T 8 4 7 9 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa l i n a s - 2 7 , 1 2 7 6 Ab b o t t St , Sa l i n a s , C A 9 3 9 0 1
2.12942 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa l t La k e Ci t y - 5 0 , 2 5 0 3 So u t h 3 0 0 We s t , So u t h
2.12943 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 3 )
        nature of the debtor's interest                                                                                                              Sa l t La k e , U T 8 4 1 1 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n An t o n i o - 7 1 4 , 4 2 3 5 Mi l l i n g s Rd , Sa n An t o n i o ,
2.12944 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 0 )
                                                                                                                                                     TX 78219
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n An t o n i o Ic - 7 0 9 , 1 0 5 0 0 Br o a d w a y St St e 2 0 0 ,
2.12945 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 5 0 )
                                                                                                                                                     Sa n An t o n i o , T X 7 8 2 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n Be r n a r d i n o ( h u b ) - 8 2 0 , 3 7 9 So u t h I St r e e t ,
2.12946 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 2 )
                                                                                                                                                     Sa n Be r n a r d i n o , C A 9 2 4 1 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n Di e g o - 3 , 7 5 6 0 Co n v o y Ct , Sa n Di e g o , C A
2.12947 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 0 )
                                                                                                                                                     92111
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Sa n Fr a n c i s c o - 1 7 , 2 0 0 Je n n i n g s St , Sa n
2.12948 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 3 )
                                                                                                                                                     Fr a n c i s c o , C A 9 4 1 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n Jo s e - 3 5 , 5 9 5 Br e n n a n St , Sa n Jo s e , C A 9 5 1 3 1
2.12949 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n Ju a n Ca p i s t r a n o - 5 , 3 3 0 6 1 Ca m i n o
2.12950 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 2 )
        nature of the debtor's interest                                                                                                              Ca p i s t r a n o , Sa n Ju a n Ca p i s t r a n o , C A 9 2 6 7 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n Ma r c o s ( h u b ) - 8 3 0 , 8 0 4 Ra n c h e r o s Dr i v e , Sa n
2.12951 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 7 )
                                                                                                                                                     Ma r c o s , C A 9 2 0 6 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n f o r d 2 5 2 , 3 4 1 Ev a n g e l i n e Wa y, Sa n f o r d , F L
2.12952 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 2 7 )
        nature of the debtor's interest                                                                                                              32771

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n t a An a - 1 , 1 7 2 3 S. Ri t c h e y St , Sa n t a An a , C A
2.12953 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 3 )
                                                                                                                                                     92705
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n t a An a Rd c - 3 0 5 , 1 9 1 7 - 1 9 1 9 Ea s t Oc c i d e n t a l ,
2.12954 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 3 4 )
                                                                                                                                                     Sa n t a An a , C A 9 2 7 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n t a Ba r b a r a - 6 1 , 6 1 7 Sa l s i p u e d e s St , Sa n t a
2.12955 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 6 )
        nature of the debtor's interest                                                                                                              Ba r b a r a , C A 9 3 1 0 3

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Sa n t a Ma r i a - 6 5 , 1 6 4 6 W. Ca r l o t t i , Sa n t a Ma r i a ,
2.12956 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 0 )
                                                                                                                                                     CA 93454
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa n t a Ro s a - 2 6 , 3 0 0 E. To d d Rd , Sa n t a Ro s a , C A
2.12957 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 5 5 )
        nature of the debtor's interest                                                                                                              95407

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa r a s o t a - 2 2 3 , 2 5 2 5 1 2 t h St Bl d g 1 , Sa r a s o t a , F L
2.12958 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 4 )
                                                                                                                                                     34237
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sa v a n n a h - 2 4 3 , 1 1 8 We s t s i d e Bl v d , Po o l e r , G A
2.12959 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 7 )
        nature of the debtor's interest                                                                                                              31322

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sc 0 1 , Ra m To o l Pi c k / Pa r c e l - Sc 0 1 , 3 5 3 7
2.12960 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 6 )
                                                                                                                                                     Do r c h e s t e r Ro a d , No r t h Ch a r l e s t o n , S C 2 9 4 0 5 - 7 6 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sc 0 2 , Ra m To o l Pi c k / Pa r c e l - Sc 0 2 , 1 5 1 7 So u t h
2.12961 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 4 )
                                                                                                                                                     Bu n c o m b e Ro a d , Gr e e r , S C 2 9 6 5 1 - 6 6 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sc 0 3 , Ra m To o l Pi c k / Pa r c e l - Sc 0 3 , 1 5 5 4 Ol d
2.12962 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 5 5 )
        nature of the debtor's interest                                                                                                              Da i r y Dr i v e , Co l u m b i a , S C 2 9 2 0 1 - 4 8 3 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Se a t t l e - 4 6 , 4 1 2 1 6 t h Av e N. w. , Se a t t l e , WA
2.12963 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 8 2 )
                                                                                                                                                     98107
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Sp o k a n e - 4 7 , 3 8 2 5 E. t r e n t Av e , Sp o k a n e , WA
2.12964 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 6 6 )
        nature of the debtor's interest                                                                                                              99202

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sp r i n g d a l e - 1 0 7 , 4 7 8 4 N. Th o m p s o n St ,
2.12965 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 6 )
                                                                                                                                                     Sp r i n g d a l e , A R 7 2 7 6 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Sp r i n g f i e l d Mo - 1 1 7 , 4 2 3 N Be l c r e s t Av e ,
2.12966 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 7 )
        nature of the debtor's interest                                                                                                              Sp r i n g f i e l d , M O 6 5 8 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - St o c k t o n - 2 3 , 1 1 6 6 S. Wi l s o n Wa y, St o c k t o n , C A
2.12967 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 7 5 )
                                                                                                                                                     95205
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - St o c k t o n Dc - 6 6 , 3 6 0 1 Na v o n e Rd , St o c k t o n , C A
2.12968 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 1 )
                                                                                                                                                     95215
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Su n Va l l e y - 3 8 3 , 8 9 0 1 Br a d l e y Av e , Su n Va l l e y,
2.12969 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 9 )
                                                                                                                                                     CA 91352
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ta c o m a - 5 0 6 , 3 0 3 7 Ce n t e r St , Ta c o m a , WA 9 8 4 0 9
2.12970 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 9 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ta m p a - 2 3 7 , 8 2 1 0 Sa b a l In d u s t r i a l Bl v d , Ta m p a ,
2.12971 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 8 4 )
        nature of the debtor's interest                                                                                                              FL 33619

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ta m p a ( c m i ) - 8 4 7 , 6 0 8 N. 1 9 t h St . , Ta m p a , F L
2.12972 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 7 )
                                                                                                                                                     33605
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Te m e c u l a - 6 , 2 8 0 6 5 Di a z Rd , Te m e c u l a , C A
2.12973 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 3 )
        nature of the debtor's interest                                                                                                              92590

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Tu l s a Ok - 1 2 0 , 5 9 3 5 S 1 2 9 t h Ea s t Av e , Tu l s a , O K
2.12974 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 9 8 )
                                                                                                                                                     74134
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Va 0 1 , Ra m To o l Pi c k / Pa r c e l - Va 0 1 , 5 9 0 2
2.12975 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 2 0 )
        nature of the debtor's interest                                                                                                              Fa r r i n g t o n Av e n u e , Al e x a n d r i a , VA 2 2 3 0 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Va 0 2 , Ra m To o l Pi c k / Pa r c e l - Va 0 2 , 2 8 0 0 Ac k l e y
2.12976 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 2 1 )
                                                                                                                                                     Av e n u e , He n r i c o , VA 2 3 2 2 8 - 2 1 4 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Va 0 4 , Ra m To o l Pi c k / Pa r c e l - Va 0 4 , 7 0 0 Bo u n d r y
2.12977 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 1 )
                                                                                                                                                     St r e e t , Ch e s a p e a k e , VA 2 3 3 2 4 - 1 3 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Va l p a r a i s o - 6 0 2 , 4 5 0 0 Ai r p o r t Dr , Va l p a r a i s o , I N
2.12978 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 4 2 )
        nature of the debtor's interest                                                                                                              46383

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ve n t u r a - 7 , 6 0 8 6 Ni c o l l e St , Ve n t u r a , C A 9 3 0 0 3
2.12979 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p - Ve n t u r a ( h u b ) - 8 3 3 , 1 3 9 7 Wa l t e r St r e e t , Ve n t u r a ,
2.12980 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 3 )
        nature of the debtor's interest                                                                                                              CA 93003

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Ve n u s - 7 3 5 , 6 8 4 0 Fm 1 5 7 , Ve n u s , T X 7 6 0 8 4
2.12981 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - We s t Pa l m - 9 5 5 , 8 3 2 Pi k e Rd , We s t Pa l m Be a c h ,
2.12982 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 6 1 )
        nature of the debtor's interest                                                                                                              FL 33411

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - We s t Ph o e n i x - 1 2 , 1 6 9 5 1 We s t Ca m e l b a c k Rd ,
2.12983 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 4 8 )
                                                                                                                                                     Go o d y e a r , A Z 8 5 3 9 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p - Wi l m i n g t o n - 2 2 0 , 6 7 4 4 Ne t h e r l a n d s Dr ,
2.12984 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 0 1 1 )
                                                                                                                                                     Wi l m i n g t o n , N C 2 8 4 0 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p ? 3 2 2 , Wh i t e Ca p - 3 2 2 , 8 3 1 0 Ma l t b y Ro a d ,
2.12985 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 8 6 )
        nature of the debtor's interest                                                                                                              Wo o d i n v i l l e , WA 9 8 0 7 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 2 7 4 , 7 5 8 5 Fr e e d o m Av e . Nw, Ca n t o n , O H 4 4 7 2 0
2.12986 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 6 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 3 1 7 , 4 6 5 E Lo c u s t St . , Da l l a s t o w n , PA 1 7 3 1 3
2.12987 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 3 1 8 , 1 4 9 0 Ri t n e r Hw y, Ca r l i s l e , PA 1 7 0 1 3
2.12988 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 3 3 3 , 1 5 2 6 Gr u n d y La n e , Br i s t o l , PA 1 9 0 0 7
2.12989 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 3 3 4 , 2 8 0 0 Gr a y s Fe r r y Av e , Ph i l a d e l p h i a , PA 1 9 1 4 6
2.12990 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 3 3 5 , 4 1 7 1 Us - 1 3 0 S. , Ed g e w a t e r Pa r k , N J 0 8 0 1 0
2.12991 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 3 5 6 , 3 6 9 8 Re n n i e Sc h o o l Rd , Tr a v e r s e Ci t y, M I
2.12992 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 2 )
                                                                                                                                                     49685
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 0 , 1 0 8 0 2 N St e m m o n s Fw y, Da l l a s , T X 7 5 2 2 0
2.12993 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 1 , 3 1 0 1 In d u s t r i a l Te r r a c e St e 1 0 1 , Au s t i n , T X
2.12994 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 3 )
        nature of the debtor's interest                                                                                                              78758

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 2 , 3 3 5 1 N. Pa n Am Ex p r e s s w a y, Sa n An t o n i o , T X
2.12995 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 1 )
                                                                                                                                                     78219
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 4 4 3 , 1 2 2 5 2 Cu t t e n Ro a d , Ho u s t o n , T X 7 7 0 6 6
2.12996 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 4 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 4 , 3 2 2 0 So u t h Th o m a s Ro a d , Ok l a h o m a Ci t y, O K
2.12997 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 9 )
                                                                                                                                                     73179
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 5 , 2 5 0 Ed i s o n Wa y, Re n o , N V 8 9 5 0 2
2.12998 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 4 4 6 , 4 3 3 0 0 W Se v e n Mi l e Rd . , No r t h v i l l e , M I 4 8 1 6 7
2.12999 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 3 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 0 , Ra m To o l & Su p p l y - Al 0 1 , 4 0 2 4 3 r d Av e n u e
2.13000 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 3 )
                                                                                                                                                     So u t h , Bi r m i n g h a m , A L 3 5 2 2 2 - 1 9 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 1 , Ra m To o l & Su p p l y - Al 0 2 , 1 1 0 Je t p l e x Ci r c l e ,
2.13001 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 5 )
        nature of the debtor's interest                                                                                                              Ma d i s o n , A L 3 5 7 5 8 - 8 9 6 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 2 , Wh i t e Ca p Al 0 3 , 1 9 4 4 So u t h Br o a d St r e e t ,
2.13002 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 6 )
                                                                                                                                                     Mo b i l e , A L 3 6 6 1 5 - 1 3 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 4 , Ra m To o l & Su p p l y - Fl 0 2 , 3 0 2 7 No r t h Da v i s
2.13003 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 8 )
        nature of the debtor's interest                                                                                                              Hi g h w a y, Pe n s a c o l a , F L 3 2 5 0 3 - 3 5 5 6

         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 5 5 5 , Ra m To o l & Su p p l y - Fl 0 5 , 5 5 0 7 Ea s t Ch e l s e a
2.13004 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 4 )
                                                                                                                                                     St r e e t , Ta m p a , F L 3 3 6 1 0 - 7 1 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 6 , Ra m To o l & Su p p l y - Fl 0 6 , 7 4 6 0 Ch a n c e l l o r
2.13005 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 5 )
        nature of the debtor's interest                                                                                                              Dr i v e , Or l a n d o , F L 3 2 8 0 9 - 6 2 1 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 7 , Ra m To o l & Su p p l y - Fl 0 7 , 6 7 7 3 Ph i l l i p s
2.13006 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 9 )
                                                                                                                                                     In d u s t r i a l La n e , Ja c k s o n v i l l e , F L 3 2 2 5 6 - 1 5 4 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 8 , Ra m To o l & Su p p l y - Fl 0 8 , 3 5 8 5 Nw 5 4 t h
2.13007 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 3 )
                                                                                                                                                     St r e e t , Ft . La u d e r d a l e , F L 3 3 3 0 9 - 6 3 5 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 5 9 , Ra m To o l & Su p p l y Co - Fl 0 9 , 1 6 0 0 Nw 1 0 2 n d
2.13008 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 0 8 )
        nature of the debtor's interest                                                                                                              Av e n u e , Do r a l , F L 3 3 1 7 2 - 2 7 6 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 6 0 , Ra m To o l & Su p p l y Co . Ga 0 1 , 2 4 3 9 Mo u n t a i n
2.13009 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 8 )
                                                                                                                                                     In d u s t r i a l Bl v d , Tu c k e r , G A 3 0 0 8 4 - 3 8 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 6 1 , Ra m To o l & Su p p l y - Ga 0 3 , 2 0 5 Te l f a i r Ro a d ,
2.13010 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 0 )
        nature of the debtor's interest                                                                                                              Sa v a n n a h , G A 3 1 4 1 5 - 1 6 0 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 6 8 , Ra m To o l & Su p p l y - Nc 0 1 , 3 1 0 Da l t o n
2.13011 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 7 )
                                                                                                                                                     Av e n u e , Ch a r l o t t e , N C 2 8 2 0 6 - 3 1 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 5 7 0 , Ra m To o l & Su p p l y - Nc 0 3 , 1 6 0 1 Wo l f p a c k
2.13012 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 8 )
        nature of the debtor's interest                                                                                                              La n e , Ra l e i g h , N C 2 7 6 0 9 - 7 5 2 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 7 1 , Ra m To o l & Su p p l y - Nc 0 5 , 3 8 2 0 U S Hw y 4 2 1
2.13013 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 7 )
                                                                                                                                                     N, Wi l m i n g t o n , N C 2 8 4 0 1 - 9 0 2 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 7 5 , Ra m To o l & Su p p l y - Sc 0 1 , 3 5 3 7 Do r c h e s t e r
2.13014 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 9 )
                                                                                                                                                     Ro a d , No r t h Ch a r l e s t o n , S C 2 9 4 0 5 - 7 6 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 7 6 , Ra m To o l & Su p p l y - Sc 0 2 , 1 5 1 7 So u t h
2.13015 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 4 )
        nature of the debtor's interest                                                                                                              Bu n c o m b e Ro a d , Gr e e r , S C 2 9 6 5 1 - 6 6 3 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 7 7 , Ra m To o l & Su p p l y - Sc 0 3 , 1 5 5 4 Ol d Da i r y
2.13016 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 8 5 )
                                                                                                                                                     Dr i v e , Co l u m b i a , S C 2 9 2 0 1 - 4 8 3 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 8 8 , Wh i t e Ca p Va 0 1 , 5 9 0 2 Fa r r i n g t o n Av e n u e ,
2.13017 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 3 )
        nature of the debtor's interest                                                                                                              Al e x a n d r i a , VA 2 2 3 0 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 8 9 , Ra m To o l & Su p p l y - Va 0 2 , 2 8 0 0 Ac k l e y
2.13018 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 7 4 )
                                                                                                                                                     Av e n u e , He n r i c o , VA 2 3 2 2 8 - 2 1 4 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 5 9 1 , Ra m To o l & Su p p l y - Va 0 4 , 7 0 0 Bo u n d r y
2.13019 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 1 )
        nature of the debtor's interest                                                                                                              St r e e t , Ch e s a p e a k e , VA 2 3 3 2 4 - 1 3 0 2

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 6 6 0 , 2 3 5 0 Pa r k Av e . , Ch i c o , C A 9 5 9 2 8
2.13020 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 8 8 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 6 6 2 , 1 0 0 5 4 Mi l l s St a t i o n Rd 1 0 0 , Sa c r a m e n t o , C A
2.13021 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 7 )
                                                                                                                                                     95827
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 6 9 6 , 4 2 3 1 W 1 s t St r e e t , Du l u t h , M N 5 5 8 0 7 - 2 7 6 1
2.13022 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 5 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 7 3 3 , 2 9 0 0 Me a d Av e , Sa n t a Cl a r a , C A 9 5 0 5 1
2.13023 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 7 7 9 , 3 5 0 Cu r r y Ho l l o w Ro a d , Pi t t s b u r g h , PA 1 5 2 3 6
2.13024 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 4 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 7 8 1 , 6 0 Au s t i n Bl v d . , Co m m a c k , N Y 1 1 7 2 5
2.13025 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 9 9 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 7 8 4 , 3 2 0 1 Ro o s e v e l t Av e , In d i a n a p o l i s , I N 4 6 2 1 8
2.13026 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 7 8 8 , 1 7 0 0 St Lo u i s Rd , Co l l i n s v i l l e , I L 6 2 2 3 4
2.13027 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 0 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p 7 9 7 , Wh i t e Ca p - 7 9 7 , 1 4 9 0 Ri t n e r Hw y, Ca r l i s l e ,
2.13028 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 4 7 )
                                                                                                                                                     PA 1 7 0 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p 9 3 5 , 1 2 0 3 9 E Pi n e St . , Tu l s a , O K 7 4 1 1 6
2.13029 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 9 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Al b a n y ( a h h ) - 5 1 3 , 1 7 Co m m e r c i a l Av e , Al b a n y, N Y
2.13030 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 5 )
                                                                                                                                                     12205
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ar d s l e y ( a h h ) - 1 4 1 , Ar d s l e y ( a h h ) - 1 4 1 , 4 2 5
2.13031 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 1 )
        nature of the debtor's interest                                                                                                              Sa w m i l l Ri v e r Rd , Ar d s l e y, N Y 1 0 5 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Au b u r n ( a h h ) - 1 3 0 , Au b u r n ( a h h ) - 1 3 0 , 2 7 5
2.13032 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 6 )
                                                                                                                                                     Wa s h i n g t o n St , Au b u r n , M A 0 1 5 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Au g u s t a ( a h h ) - 1 6 7 , 2 3 Le i g h t o n Rd , Au g u s t a , M E
2.13033 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 9 )
        nature of the debtor's interest                                                                                                              04330

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ba l t i m o r e - 2 1 1 , 1 0 0 6 Mi d d l e Ri v e r Rd A, Ba l t i m o r e
2.13034 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 6 )
                                                                                                                                                     ( Mi d d l e Ri v e r ) , M D 2 1 2 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ba l t i m o r e ( k c p ) - 1 8 9 , 2 9 6 0 Wa s h i n g t o n Bl v d ,
2.13035 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 4 )
                                                                                                                                                     Ba l t i m o r e , M D 2 1 2 3 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p Ba n g o r ( a h h ) - 1 6 6 , 2 8 4 Pe r r y Rd , Ba n g o r , M E
2.13036 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 8 )
                                                                                                                                                     04401
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Be l t s v i l l e ( k c p ) - 1 8 8 , 1 0 1 2 0 Ba c o n Dr , Be l t s v i l l e ,
2.13037 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 3 )
                                                                                                                                                     MD 20705
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Be n d 8 2 5 , 2 8 0 So u t h e a s t Br i d g e f o r d Bl v d , Be n d , O R
2.13038 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 1 0 )
        nature of the debtor's interest                                                                                                              97702-1456

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Bo s t o n - 1 1 3 , Bo s t o n - 1 1 3 , 4 2 0 E. St , Bo s t o n , M A
2.13039 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 5 )
                                                                                                                                                     02127
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Bo s t o n ( k c p ) - 1 3 3 , Bo s t o n ( k c p ) - 1 3 3 , 6 4 3
2.13040 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 7 )
        nature of the debtor's interest                                                                                                              Su m m e r St , Bo s t o n , M A 0 2 2 1 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Br i s t o l ( a h h ) - 1 9 6 , 2 1 0 5 Is l a n d Rd , Br i s t o l , VA
2.13041 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 1 )
                                                                                                                                                     24201
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Br o o k l y n ( a h h ) - 1 4 3 , 3 8 2 Ha m i l t o n Av e ( a n d 2 4 5
2.13042 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 2 )
                                                                                                                                                     Lo r r a i n e , Br o o k l y n , N Y 1 1 2 3 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Bu f f a l o ( a h h ) - 5 1 4 , 6 5 1 5 Tr a n s i t Rd C,
2.13043 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 6 )
                                                                                                                                                     Bo w m a n s v i l l e , N Y 1 4 0 2 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p C W C1 2 , 4 1 Os a g e Av e , Ka n s a s Ci t y, M O 6 6 1 0 5
2.13044 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p C W C4 1 , 9 1 0 W Ir e l a n d Ro a d , So u t h Be n d , I N
2.13045 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 9 )
        nature of the debtor's interest                                                                                                              46614

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p C W C4 2 , 5 0 0 0 An g o l a Ro a d , To l e d o , O H 4 3 6 1 5
2.13046 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 1 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ce s 5 8 4 3 , 1 0 7 Pa r k e r Av e n u e , Du r a n g o , C O 8 1 3 0 3
2.13047 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ce s 5 8 4 4 , 4 2 8 5 Gr e e n f i e l d Dr i v e , Wi n d s o r , C O
2.13048 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 4 )
                                                                                                                                                     80550
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ce s 5 8 4 6 , 1 6 7 5 Tu s k e g e e Pl a c e , Co l o r a d o Sp r i n g s ,
2.13049 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 2 )
        nature of the debtor's interest                                                                                                              CO 80915

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ch a n t i l l y ( k c p ) - 1 8 7 , 3 9 3 3 Av i o n Pa r k Ct B1 1 4 ,
2.13050 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 5 )
                                                                                                                                                     Ch a n t i l l y, VA 2 0 1 5 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ch e s a p e a k e - 2 1 0 , 5 5 0 Wo o d l a k e Dr , Ch e s a p e a k e ,
2.13051 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 3 )
                                                                                                                                                     VA 2 3 3 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p Ch i c o p e e ( a h h ) - 5 0 9 , Ch i c o p e e ( a h h ) - 5 0 9 , 3 2 3
2.13052 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 1 )
                                                                                                                                                     Me a d o w St , Ch i c o p e e , M A 0 1 0 1 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Co n s t r u c t i o n Su p p l y, 1 1 0 Co l u m b i a Ro a d , Sa l i s b u r y,
2.13053 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 4 0 )
                                                                                                                                                     MD 21801
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Co n s t r u c t i o n Su p p l y, 1 6 8 5 Ri v e r Ro a d , Ne w Ca s t l e ,
2.13054 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 3 9 )
        nature of the debtor's interest                                                                                                              DE 19720-5194

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Co n s t r u c t i o n Su p p l y, 5 2 9 8 So u t h Du p o n t Hi g h w a y,
2.13055 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 5 3 8 )
                                                                                                                                                     Do v e r , D E 1 9 9 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Co n s t r u c t i o n Su p p l y # 2 9 7 , Wh i t e Ca p Co n s t r u c t i o n
2.13056 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 8 1 )
        nature of the debtor's interest                                                                                                              Su p p l y 2 9 7 , 6 2 5 0 Br o o k Ho l l o w Pk w y, No r c r o s s , G A 3 0 0 7 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Co n s t r u c t i o n Su p p l y # 8 5 8 , Wh i t e Ca p Co n s t r u c t i o n
2.13057 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 8 )
                                                                                                                                                     Su p p l y 8 5 8 , 9 2 3 0 Al a k i n g Ct . , Ca p i t a l He i g h t s , M D 2 0 7 4 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Cr a n s t o n ( a h h ) - 1 3 4 , Cr a n s t o n ( a h h ) - 1 3 4 , 3 0
2.13058 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 4 )
                                                                                                                                                     Fr e e w a y Dr , Cr a n s t o n , R I 0 2 9 2 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ea s t Wa r e h a m ( a h h ) - 1 3 8 , Ea s t Wa r e h a m ( a h h ) -
2.13059 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 8 )
        nature of the debtor's interest                                                                                                              1 3 8 , 3 1 3 1 Cr a n b e r r y Hw y, Ea s t Wa r e h a m , M A 0 2 5 3 8

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p Ed i s o n - 1 0 9 , 2 0 3 Mi l l Rd , Ed i s o n , N J 0 8 8 3 7
2.13060 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Fa i r f i e l d ( a h h ) - 1 6 1 , 1 6 0 Fa i r f i e l d Rd , Fa i r f i e l d ,
2.13061 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 7 )
        nature of the debtor's interest                                                                                                              NJ 07004

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ga i n e s v i l l e Va - 2 0 6 , 1 4 2 3 5 Jo h n Ma r s h a l l Hw y,
2.13062 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 2 )
                                                                                                                                                     Ga i n e s v i l l e , VA 2 0 1 5 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p He n r i e t t a ( a h h ) - 5 1 5 , 1 1 4 0 Le h i g h St a t i o n Rd ,
2.13063 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 7 )
        nature of the debtor's interest                                                                                                              He n r i e t t a , N Y 1 4 4 6 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Hy a t t s v i l l e - 2 0 7 , 2 5 0 9 5 1 s t Av e , Hy a t t s v i l l e , M D
2.13064 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 5 )
                                                                                                                                                     20781
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Lo n g Is l a n d Ci t y ( k c p ) - 1 4 6 , 2 1 - 3 2 Bo r d e n Av e ,
2.13065 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 3 )
                                                                                                                                                     Lo n g Is l a n d Ci t y, N Y 1 1 1 0 1 - 4 5 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ma n c h e s t e r - 1 1 4 , Ma n c h e s t e r - 1 1 4 , 2 3 2 Fr o n t a g e
2.13066 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 1 )
                                                                                                                                                     Rd , Ma n c h e s t e r , N H 0 3 1 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ma s s e n a ( a h h ) - 5 1 6 , 3 0 Hi l l St , Ma s s e n a , N Y
2.13067 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 8 )
                                                                                                                                                     13662
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p Ne w Ha v e n ( a h h ) - 5 1 0 , Ne w Ha v e n ( a h h ) - 5 1 0 ,
2.13068 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 1 )
        nature of the debtor's interest                                                                                                              1 0 2 Wh e e l e r St , Ne w Ha v e n , C T 0 6 5 1 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ne w i n g t o n ( a h h ) - 5 1 1 , Ne w i n g t o n ( a h h ) - 5 1 1 , 9 1
2.13069 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 2 )
                                                                                                                                                     Ho l m e s Rd , Ne w i n g t o n , C T 0 6 1 1 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p No r t h Be r g e n - 1 1 2 , 1 5 1 1 To n n e l l e Av e , No r t h
2.13070 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 5 )
        nature of the debtor's interest                                                                                                              Be r g e n , N J 0 7 0 4 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Pa r l i n ( a h h ) - 1 6 3 , 2 8 7 Ch e e s e q u a k e Rd , Pa r l i n , N J
2.13071 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 8 )
                                                                                                                                                     08859
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Pa r l i n ( a h h ) - 1 6 3 , Wh i t e Ca p Pa r s i p p a n y ( k c p ) -
2.13072 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 9 )
                                                                                                                                                     1 6 4 , 7 9 9 Ed w a r d s Rd , Pa r s i p p a n y, N J 0 7 0 5 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ph i l a d e l p h i a ( k c p ) - 1 8 6 , 1 5 4 0 De l m a r Dr , Fo l c r o f t ,
2.13073 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 2 )
                                                                                                                                                     PA 1 9 0 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Pl a i n v i l l e ( a h h ) - 1 3 9 , Pl a i n v i l l e ( a h h ) - 1 3 9 , 6
2.13074 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 9 )
                                                                                                                                                     Co m m e r c e Bl v d , Pl a i n v i l l e , M A 0 2 7 6 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Pl a t t s b u r g h ( a h h ) - 5 1 7 , 6 3 Tr a d e Rd , Pl a t t s b u r g h ,
2.13075 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 9 )
        nature of the debtor's interest                                                                                                              NY 12901

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p Po r t l a n d ( a h h ) - 1 6 9 , Po r t l a n d ( a h h ) - 1 6 9 , 5 8 5
2.13076 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 0 )
                                                                                                                                                     Ri v e r s i d e St ( a k a 1 4 Ra i n m a k e r , Po r t l a n d , M E 0 4 1 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Po r t s m o u t h ( a h h ) - 1 7 0 , Po r t s m o u t h ( a h h ) - 1 7 0 ,
2.13077 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 7 2 )
        nature of the debtor's interest                                                                                                              2 5 5 We s t Rd , Po r t s m o u t h , N H 0 3 8 0 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Qu e e n s Ny - 1 1 0 , 3 0 - 3 0 6 0 t h St , Wo o d s i d e , N Y
2.13078 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 0 )
                                                                                                                                                     11377
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ri c h m o n d ( a h h ) - 1 9 2 , 2 4 0 5 He r m i t a g e Rd ,
2.13079 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 7 )
        nature of the debtor's interest                                                                                                              Ri c h m o n d , VA 2 3 2 2 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ro a n o k e ( a h h ) - 1 9 1 , 3 5 3 5 Br a n d o n Av e Sw,
2.13080 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 6 )
                                                                                                                                                     Ro a n o k e , VA 2 4 0 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Ro c k Ta v e r n ( a h h ) - 5 2 1 , 1 6 5 St o n e Ca s t l e Rd ,
2.13081 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 1 )
                                                                                                                                                     Ro c k Ta v e r n , N Y 1 2 5 7 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Si l t 6 8 1 , 1 4 5 We s t Ma i n , Si l t , C O 8 1 6 5 2
2.13082 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 7 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Sp r i n g f i e l d Va - 2 1 2 , Sp r i n g f i e l d Va - 2 1 2 , 8 0 9 0
2.13083 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 9 )
                                                                                                                                                     Al b a n Rd , Sp r i n g f i e l d , VA 2 2 1 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e Ca p St Pa u l 6 8 6 , 2 5 7 5 Ka s o t a Av e , St Pa u l , M N 5 5 1 0 8
2.13084 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p St a m f o r d ( a h h ) - 5 1 2 , St a m f o r d ( a h h ) - 5 1 2 , 2 2 6
2.13085 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 3 )
                                                                                                                                                     Se l l e c k St , St a m f o r d , C T 0 6 9 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p St o u g h t o n - 1 1 1 , St o u g h t o n - 1 1 1 , 4 5 Ma p l e St ,
2.13086 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 5 4 )
        nature of the debtor's interest                                                                                                              St o u g h t o n , M A 0 2 0 7 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Sy r a c u s e ( a h h ) - 5 1 8 , 1 0 6 Bo s s Rd , Sy r a c u s e , N Y
2.13087 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 0 )
                                                                                                                                                     13211
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p We s t f i e l d ( a h h ) - 5 2 3 , We s t f i e l d ( a h h ) - 5 2 3 , 2 8 7
2.13088 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 2 )
                                                                                                                                                     Lo c k h o u s e Rd , We s t f i e l d , M A 0 1 0 8 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Wh i t e h a l l ( a h h ) - 5 2 0 , Wh i t e h a l l ( a h h ) - 5 2 0 , 1 1 3 9
2.13089 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 9 3 )
        nature of the debtor's interest                                                                                                              Le h i g h Av e 7 0 0 , Wh i t e h a l l , PA 1 8 0 5 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Wi l l i s t o n ( a h h ) - 5 1 9 , Wi l l i s t o n ( a h h ) - 5 1 9 , 6
2.13090 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 0 0 )
                                                                                                                                                     Et h a n Al l e n Dr , So u t h Bu r l i n g t o n , V T 0 5 4 0 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e Ca p Wo b u r n ( a h h ) - 1 4 0 , Wo b u r n ( a h h ) - 1 4 0 , 2 9 1 Sa l e m
2.13091 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 6 0 )
        nature of the debtor's interest                                                                                                              St , Wo b u r n , M A 0 1 8 0 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wh i t e Ca p - Lo o m i s - 6 6 1 , Wh i t e Ca p 6 6 1 , 3 8 5 5 Ta y l o r Ro a d ,
2.13092 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 8 4 )
                                                                                                                                                                 Lo o m i s , C A 9 5 6 5 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Ca p - 5 6 4 , 1 0 1 3 1 We s t Ai r l i n e Hi g h w a y, Sa i n t Ro s e , L A
2.13093 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 6 6 )
        nature of the debtor's interest                                                                                                                          70087-3003

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Di s t r i b u t i o n , 3 0 0 S. Ca l h o u n St . , Fa i r b u r y, I L 6 1 7 3 9 -
2.13094 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 4 5 )
                                                                                                                                                                 1414
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Lu m b e r , 9 2 7 S Ga r c i a St r e e t , Po r t Is a b e l , T X 7 8 5 7 8 -
2.13095 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 7 1 )
                                                                                                                                                                 0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e Ra b b i t L L C, 1 7 3 2 N Pr o s p e c t Av e , Ap t 7 1 4 , Mi l w a u k e e ,
2.13096 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 WI 53202
        nature of the debtor's interest
         State the term remaining                         04/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13097 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13098 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13099 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13100 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13101 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e - Ro d g e r s Di v i s i o n , Po Bo x 9 3 6 3 8 , Co o k , I L 6 0 6 7 3
2.13102 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e ' s Lu m b e r In c . , 2 3 1 N Ru t l a n d St r e e t , Wa t e r t o w n , N Y
2.13103 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 1 )
                                                                                                                                                     13601
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e b r i d g e Pe t Br a n d s , 1 2 2 4 Fe r n Ri d g e Pa r k w a y, St Lo u i s ,
2.13104 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     MO 63141
        nature of the debtor's interest
         State the term remaining                         11/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e h a l l Pr o d Lt d , 8 7 8 6 Wa t e r St r e e t , Mo n t a q u e , M I 4 9 4 3 7
2.13105 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t e h a l l Pr o d Lt d , 8 7 8 6 Wa t e r St r e e t , Mo n t a q u e , M I 4 9 4 3 7
2.13106 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wh i t m a n ' s Fe e d St o r e , Wh i t m a n ` s Fe e d St o r e , 1 8 7 3 Vt Rt e 6 7
2.13107 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 1 )
        nature of the debtor's interest                                                                                                              E, No r t h Be n n i n g t o n , V T 0 5 2 5 7 - 0 0 0 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wh i t m o r In c , 8 6 8 0 Sw i n n e a Rd , Su i t e 1 0 3 , So u t h a v e n , M S
2.13108 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38671
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t m o r In c , 8 6 8 0 Sw i n n e a Rd , Su i t e 1 0 3 , So u t h a v e n , M S
2.13109 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 38671

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t m o r In c , 8 6 8 0 Sw i n n e a Rd , Su i t e 1 0 3 , So u t h a v e n , M S
2.13110 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 38671
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t m o r In c , 8 6 8 0 Sw i n n e a Rd , Su i t e 1 0 3 , So u t h a v e n , M S
2.13111 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 38671
        nature of the debtor's interest
         State the term remaining                         05/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wh i t m o r e ' s , Wh i t m o r e ` s , 4 Ha r d s c r a b b l e Ct , Ea s t Ha m p t o n , N Y
2.13112 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 3 3 7 )
        nature of the debtor's interest                                                                                                                          11937-2591

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wh i z - q St o n e , 4 5 0 1 Ea s t Lo o p 8 2 0 So u t h , Fo r t Wo r t h , T X
2.13113 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 4 4 )
                                                                                                                                                                 76119-5409
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi e g a n d s Nu r s e r y H& g s , 4 7 7 4 7 Ro m e o Pl a n k Rd , Ma c o m b , M I
2.13114 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 1 2 )
        nature of the debtor's interest                                                                                                                          48044-2819

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi e s e Ha r d w a r e St o r e , 5 2 7 Ma i n St r e e t , He n d e r s o n , M N 5 6 0 4 4
2.13115 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 4 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi f f l e Ba l l In c , 2 7 5 Br i d g e p o r t Av e , Sh e l t o n , C T 0 6 4 8 4
2.13116 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wi g w a m Mi l l s In c , Po Bo x 8 1 8 , Sh e b o y g a n , W I 5 3 0 8 2
2.13117 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wi g w a m Mi l l s In c , Po Bo x 8 1 8 , Sh e b o y g a n , W I 5 3 0 8 2
2.13118 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l b u r n Tr u e Va l u e Hd w e , 1 0 9 W Br o a d w a y, Le n o i r Ci t y, T N
2.13119 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 2 0 6 )
        nature of the debtor's interest                                                                                                                          37771-2914

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l c o Di s t r i b u t o r s In c , Po Bo x 2 9 1 , 1 2 0 0 We s t La u r e l Av e n u e ,
2.13120 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Lo m p o c , C A 9 3 4 3 8
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l c o Fa r m e r s - 0 1 Mc m i n n v i l l e , 2 7 4 1 N Hw y 9 9 w,
2.13121 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 1 8 )
        nature of the debtor's interest                                                                                                                          Mc m i n n v i l l e , O R 9 7 1 2 8 - 9 2 0 9

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l c o Fa r m e r s - 0 2 Co r n e l i u s , 6 6 4 Ba s e l i n e St , Co r n e l i u s , O R
2.13122 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 9 2 )
                                                                                                                                                                 97113-8306
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l c o Fa r m e r s - 0 3 Si l v e r t o n , 7 3 4 Mc c l a i n e St , Si l v e r t o n , O R
2.13123 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 2 )
        nature of the debtor's interest                                                                                                                          97381-1537

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi l c o Fa r m e r s - 0 4 Ne w b e r g , 2 3 0 0 Ea s t Ha n c o c k , Ne w b e r g ,
2.13124 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 7 3 )
                                                                                                                                                     OR 97132-2137
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 0 5 Gi g Ha r b o r , 3 4 0 8 Hu n t St r e e t Nw, Gi g
2.13125 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 3 5 )
                                                                                                                                                     Ha r b o r , WA 9 8 3 3 5 - 2 0 3 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 0 6 Ba t t l e Gr o u n d , Wi l c o Fa r m e r s - 0 6 Ba t t l e
2.13126 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 8 1 1 )
                                                                                                                                                     Gr o u , 8 1 5 W Ma i n St , Ba t t l e Gr o u n d , WA 9 8 6 0 4 - 9 1 7 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 0 7 Or e g o n Ci t y, 1 9 2 2 4 S Mo l a l l a Av e , Or e g o n
2.13127 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 0 4 )
                                                                                                                                                     Ci t y, O R 9 7 0 4 5 - 8 9 7 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 0 8 St a y t o n , 1 3 8 5 N Fi r s t Av e , St a y t o n , O R
2.13128 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 2 2 )
        nature of the debtor's interest                                                                                                              97383-1209

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 0 9 Ya k i m a , 5 8 0 1 Su m m i t v i e w Av e St e A,
2.13129 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 4 2 )
                                                                                                                                                     Ya k i m a , WA 9 8 9 0 8 - 3 0 4 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 0 Le b a n o n , 2 9 5 0 S Sa n t i a m Hw y, Le b a n o n ,
2.13130 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 8 2 3 )
        nature of the debtor's interest                                                                                                              OR 97355-2334

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 1 Sp r i n g f i e l d , 1 4 0 1 2 1 s t St r e e t , Sp r i n g f i e l d ,
2.13131 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 2 3 4 )
                                                                                                                                                     OR 97477-3478
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi l c o Fa r m e r s - 1 2 Ca n b y, 1 9 5 S Ha z e l De l l Wa y, Ca n b y, O R
2.13132 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 7 0 )
        nature of the debtor's interest                                                                                                              97013-7824

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 3 Ke l s o , 2 0 0 Ke l s o Dr i v e , Ke l s o , WA 9 8 6 2 6 -
2.13133 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 9 2 9 )
                                                                                                                                                     3112
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 5 Co r v a l l i s , 1 9 0 5 Ne Fo u r Ac r e Pl a c e ,
2.13134 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 0 8 )
                                                                                                                                                     Co r v a l l i s , O R 9 7 3 3 0 - 4 2 0 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 6 Be n d , 2 7 1 7 E Hi g h w a y 2 0 , Be n d , O R
2.13135 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 1 6 )
        nature of the debtor's interest                                                                                                              97701-9595

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 7 Va n c o u v e r , 1 9 0 1 c Ne 1 6 2 n d St r e e t ,
2.13136 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 8 3 )
                                                                                                                                                     Va n c o u v e r , WA 9 8 6 8 4 - 3 0 0 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 8 Pu y a l l u p , 1 0 4 0 9 E. Ca n y o n Ro a d ,
2.13137 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 7 8 7 )
        nature of the debtor's interest                                                                                                              Pu y a l l u p , WA 9 8 3 7 3 - 4 2 5 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 1 9 Sa l e m , 3 2 8 5 Co m m e r c i a l St Se , Sa l e m , O R
2.13138 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 9 1 5 )
                                                                                                                                                     97302-4535
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 2 0 Br e m e r t o n , 4 3 3 0 Wh e a t o n Wa y, Br e m e r t o n ,
2.13139 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 3 3 )
                                                                                                                                                     WA 9 8 3 1 0 - 3 0 6 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi l c o Fa r m e r s - 2 1 Re d m o n d , 1 6 4 9 Od e m Me d o Wa y,
2.13140 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 2 8 0 )
                                                                                                                                                     Re d m o n d , O R 9 7 7 5 6 - 9 5 7 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 2 2 La k e Os w e g o , 1 7 7 1 1 Je a n Wa y, La k e
2.13141 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 1 2 2 )
                                                                                                                                                     Os w e g o , O R 9 7 0 3 5 - 0 0 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 2 3 Pe t a l u m a , 1 3 9 0 N. Mc d o w e l l Bl v d . ,
2.13142 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 8 )
        nature of the debtor's interest                                                                                                              Pe t a l u m a , C A 9 4 9 5 4 - 1 1 8 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 2 4 So n o r a , 7 5 0 Mo n o Wa y, So n o r a , C A 9 5 3 7 0 -
2.13143 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 3 6 9 )
                                                                                                                                                     5233
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 2 5 Pa s c o , 6 7 0 5 Ch a p e l Hi l l Bl v d , Pa s c o , WA
2.13144 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 7 7 3 )
        nature of the debtor's interest                                                                                                              99301-4196

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s - 9 9 Do n a l d ( a u r o r a ) Dc , Wi l c o Fa r m e r s - 9 9
2.13145 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 3 9 )
                                                                                                                                                     Do n a l d ( a u r , 2 1 2 5 6 Bu t t e v i l l e Ro a d Ne , Au r o r a , O R 9 7 0 0 2 -
        nature of the debtor's interest
                                                                                                                                                     9999
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s St o r e - 2 7 Eu g e n e , 4 8 1 8 W 1 1 t h Av e n u e ,
2.13146 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 0 4 )
                                                                                                                                                     Eu g e n e , O R 9 7 4 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l c o Fa r m e r s St o r e - 7 5 Pr i n e v i l l e , 1 5 4 Ne Sa i n t Ch a r l e s
2.13147 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 9 )
                                                                                                                                                     Wa y, Pr i n e v i l l e , O R 9 7 7 5 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l c o x Br o t h e r s Tr u e Va l u e , 1 0 5 Ma i n St , Su g a r Gr o v e , PA
2.13148 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 8 )
                                                                                                                                                                 16350-1535
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d Wi n g s , Po Bo x 4 5 1 , 2 1 0 1 S Hw y 6 1 , La k e Ci t y, M N
2.13149 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 55041
        nature of the debtor's interest
         State the term remaining                         09/25/2008

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d ' s Tr u e Va l u e Ha r d w a r e , 6 2 3 1 W Ho u g h t o n La k e Dr ,
2.13150 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 7 3 )
                                                                                                                                                                 Ho u g h t o n La k e , M I 4 8 6 2 9 - 8 6 1 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d e To o l Co In c , 1 2 1 0 Po t t a w a t o m i e St , Hi a w a t h a , K S 6 6 4 3 4
2.13151 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d l i f e Re s e a r c h Ce n t e r In c , 1 4 4 8 5 Az u r i t e St Nw, Ra m s e y,
2.13152 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 MN 55303
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d l i f e Sc i e n c e s L L C, 1 1 4 0 0 K- Te l Dr i v e , Mi n n e t o n k a , M N
2.13153 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55343

         State the term remaining                         02/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d l i f e Wo r l d Lt d , Ma n o r Fa r m Ba r n , Nr Te t b u r y, G L8 8 X W, ,
2.13154 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Un i t e d Ki n g d o m
        nature of the debtor's interest
         State the term remaining                         03/29/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l d w o o d Fa r m s , 7 9 7 0 Sn o w Av e n u e Se , Al t o , M I 4 9 3 0 2
2.13155 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l e y X In c , 7 8 0 0 Pa t t e r s o n Pa s s Rd , Li v e r m o r e , C A 9 4 5 5 0
2.13156 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/11/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l h e l m s Pa i n t s Wa l l c o v e r i n g s , 6 7 6 Be l l e f o n t a i n e Av e ,
2.13157 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 9 3 1 )
                                                                                                                                                                 Ma r i o n , O H 4 3 3 0 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l k e Tr u e Va l u e , 2 0 4 Gr a n d Av e , Ra v e n n a , N E 6 8 8 6 9 - 1 3 2 0
2.13158 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l a r d Tr u e Va l u e , 6 5 8 Hu n t Rd , Wi l l a r d , M O 6 5 7 8 1 - 0 0 0 1
2.13159 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 4 1 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l e r t Ho m e Pr o d u c t s , 4 0 4 4 Pa r k Av e n u e , St Lo u i s , M O
2.13160 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 63110

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l e r t Ho m e Pr o d u c t s , 4 0 4 4 Pa r k Av e n u e , St Lo u i s , M O
2.13161 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 63110
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l e r t Ho m e Pr o d u c t s , 4 0 4 4 Pa r k Av e n u e , St Lo u i s , M O
2.13162 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 63110
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l e r t Ho m e Pr o d u c t s , 4 0 4 4 Pa r k Av e n u e , St Lo u i s , M O
2.13163 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          63110

         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l l e y s Tr u e Va l u e Hd w. , 7 Br e e z y Av e , Gr e e n s b o r o , V T
2.13164 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 0 6 0 )
                                                                                                                                                                 05841-8000
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m H Ha r v e y, 4 3 3 4 So u t h 6 7 Th St , Om a h a , N E 6 8 1 1 7
2.13165 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m H Ha r v e y, 4 3 3 4 So u t h 6 7 Th St , Om a h a , N E 6 8 1 1 7
2.13166 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m H Ha r v e y, 4 3 3 4 So u t h 6 7 Th St , Om a h a , N E 6 8 1 1 7
2.13167 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m H Ha r v e y, 4 3 3 4 So u t h 6 7 Th St , Om a h a , N E 6 8 1 1 7
2.13168 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m H Ha r v e y, 4 3 3 4 So u t h 6 7 Th St , Om a h a , N E 6 8 1 1 7
2.13169 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m Mc Ga n n , Ad d r e s s Re d a c t e d
2.13170 State what the contract or lease is for and the   Em p l o y e e Ag r e e m e n t s , Of f e r Le t t e r f o r Wi l l i a m Mc Ga n n
        nature of the debtor's interest
         State the term remaining                         02/02/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m Te l l Tr u e Va l u e Hd w, 8 2 7 Ro u t e 8 2 Su i t e 4 , Ho p e w e l l
2.13171 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 5 7 1 )
                                                                                                                                                                 Ju n c t i o n , N Y 1 2 5 3 3 - 7 3 5 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l l i a m s Ba y Pr o d u c t s In c , 4 2 5 Hu e h l Rd , No r t h b r o o k , I L
2.13172 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          60062

         State the term remaining                         09/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s Ba y Pr o d u c t s In c , 4 2 5 Hu e h l Rd , No r t h b r o o k , I L
2.13173 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 60062
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s Ha r d w a r e , 1 3 1 9 2 St a t e Ro u t e 1 2 4 , Pi k e t o n , O H 4 5 6 6 1
2.13174 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s Ha r d w a r e Pi k e t o n , 6 1 7 S W St , Pi k e t o n , O H 4 5 6 6 1
2.13175 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 3 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s Tr u e Va l u e Ha r d w a r e , 3 0 1 1 Br i d g e s St Mo r e h e a d Pl z ,
2.13176 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 1 2 )
        nature of the debtor's interest                                                                                                                          Mo r e h e a d Ci t y, N C 2 8 5 5 7 - 3 5 3 1

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Bu i l d i n g Su p p l y Ll c , 4 0 0 4 Ra i l r o a d Av e ,
2.13177 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 0 7 )
                                                                                                                                                                 Wi l l i a m s o n , N Y 1 4 5 8 9 - 0 1 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13178 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Gr e e n , K Y 4 2 1 0 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13179 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Gr e e n , K Y 4 2 1 0 3

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13180 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n , K Y 4 2 1 0 3
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13181 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Gr e e n , K Y 4 2 1 0 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13182 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Gr e e n , K Y 4 2 1 0 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13183 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Gr e e n , K Y 4 2 1 0 3

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s o n Di c k i e Mf g . , 1 5 4 7 St i l l w a t e r Co u r t , Bo w l i n g
2.13184 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Gr e e n , K Y 4 2 1 0 3
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i a m s t o n Tr u e Va l u e Ha r d w a r e , Wi l l i a m s t o n Tr u e Va l u e
2.13185 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 3 7 )
                                                                                                                                                                 Ha r d w a r , 1 3 9 S Pu t n a m , Wi l l i a m s t o n , M I 4 8 8 9 5 - 1 3 3 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i s To w e r s Wa t s o n ( Wt w ) , 7 1 So u t h Wa c k e r Dr i v e , Su i t e
2.13186 State what the contract or lease is for and the
                                                          Am e n d m e n t , W I L L I S T O W E R S WAT S O N R X
        nature of the debtor's interest                   C O L L A B O R AT I V E A U T H O R I Z AT I O N A G R E E M E N T                                    2 6 0 0 , Ch i c a g o , I L 6 0 6 0 6
                                                          AMENDMENT 3

         State the term remaining                         01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l l i s To w e r s Wa t s o n ( Wt w ) , 7 1 So u t h Wa c k e r Dr i v e , Su i t e
2.13187 State what the contract or lease is for and the   H R Se r v i c e s , To w e r s Wa t s o n M S A/ S O W 2 0 2 2
                                                                                                                                                                 2 6 0 0 , Ch i c a g o , I L 6 0 6 0 6
        nature of the debtor's interest
         State the term remaining                         09/22/2022

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


                                                                                                                                                      Wi l l i s To w e r s Wa t s o n ( Wt w ) , 7 1 So u t h Wa c k e r Dr i v e , Su i t e
2.13188 State what the contract or lease is for and the
                                                          St a t e m e n t o f Wo r k , Wi l l i s To w e r Wa t s o n S O W He a l t h &
        nature of the debtor's interest                   We l f a r e Br o k e r a g e Se r v i c e s 2 0 2 4                                        2 6 0 0 , Ch i c a g o , I L 6 0 6 0 6

         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                      Wi l l o Tr u e Va l u e Ha r d w a r e , 3 6 2 0 0 Eu c l i d Av e , Wi l l o u g h b y,
2.13189 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 6 7 )
                                                                                                                                                      OH 44094-4400
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Wi l l o w Tr u e Va l u e Ha r d w a r e , 3 0 9 8 8 W Pa r k s Hw y, Wi l l o w, A K
2.13190 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 0 6 )
        nature of the debtor's interest                                                                                                               99688-9800

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Wi l l o w b r o o k Nu r s e r i e s In c , 9 3 5 Vi c t o r i a Av e n u e R R # 4 ,
2.13191 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                      Fe n w i c k , O N L0 S 1 C0 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                      Wi l l s b o r o u g h Ha r d w a r e , Wi l l s b o r o Ha r d w a r e , 3 7 5 9 Ma i n St ,
2.13192 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 2 7 3 )
                                                                                                                                                      Wi l l s b o r o , N Y 1 2 9 9 6 - 3 7 3 4
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                      Wi l m a r Co r p o r a t i o n , 2 0 4 1 3 5 9 Th Pl a c e So u t h , Su i t e 1 6 0 , Ke n t ,
2.13193 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                      WA 9 8 0 3 2
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                      Wi l m a r Co r p o r a t i o n , 2 0 4 1 3 5 9 Th Pl a c e So u t h , Su i t e 1 6 0 , Ke n t ,
2.13194 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                      WA 9 8 0 3 2
        nature of the debtor's interest
         State the term remaining                         08/01/2022

         List the contract number of any government
         contract
                                                                                                                                                      Wi l m a r Co r p o r a t i o n , 2 0 4 1 3 5 9 Th Pl a c e So u t h , Su i t e 1 6 0 , Ke n t ,
2.13195 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                               WA 9 8 0 3 2

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi l s o n Ha r t Ha r d w a r e In c , 1 2 2 8 Op a Lo c k a Bl v d , Op a - Lo c k a ,
2.13196 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 3 1 )
                                                                                                                                                     FL 33054-3962
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n Sp t g Gd s Te n n i s , 8 7 5 0 W Br y n Ma w r Av e , Ch i c a g o , I L
2.13197 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              60631

         State the term remaining                         01/01/2013

         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n Su p p l y, 1 1 1 1 We s t Ar t e s i a Bl v d . , Co m p t o n , C A 9 0 2 2 0
2.13198 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n Te n n i s Ba l l s , 8 7 5 0 W Br y n Ma w r Av e , Ch i c a g o , I L
2.13199 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60631
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n Tr u e Va l u e Ha r d w a r e , 7 0 0 Ma i n St , P. o . Bo x 1 2 2 ,
2.13200 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 1 3 3 )
                                                                                                                                                     Ar m o u r , S D 5 7 3 1 3 - 2 1 2 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n ' s Ha r d w a r e & Lo c k s m i t h , Wi l s o n ` s Ha r d w a r e &
2.13201 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 1 4 )
                                                                                                                                                     Lo c k s m i t , 1 0 3 2 S Pa r k Av e , Ea g l e v i l l e , PA 1 9 4 0 3 - 2 0 7 0
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l s o n s 5 To $ 1 . 0 0 St o r e s In c , 1 4 2 8 La u r n s Rd , Gr e e n v i l l e , S C
2.13202 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 5 9 7 0 )
        nature of the debtor's interest                                                                                                              29607-2350

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi l t o n Ha r d w a r e , 2 0 0 Da n b u r y Ro a d 5 0 , Wi l t o n , C T 0 6 8 9 7 -
2.13203 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 3 4 )
                                                                                                                                                     4030
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi l t o n In d u s t r i e s , 5 3 5 E Di e h l Rd , Na p e r v i l l e , I L 6 0 5 6 3
2.13204 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n In d u s t r i e s , 5 3 5 E Di e h l Rd , Na p e r v i l l e , I L 6 0 5 6 3
2.13205 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         07/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n In d u s t r i e s , 5 3 5 E Di e h l Rd , Na p e r v i l l e , I L 6 0 5 6 3
2.13206 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n In d u s t r i e s , 5 3 5 E Di e h l Rd , Na p e r v i l l e , I L 6 0 5 6 3
2.13207 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n In d u s t r i e s , 5 3 5 E Di e h l Rd , Na p e r v i l l e , I L 6 0 5 6 3
2.13208 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n Sp r i n g s Tr u e Va l u e Ha r d w a r e , 3 0 3 Wi l t o n Sp r i n g s Rd ,
2.13209 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 1 7 )
        nature of the debtor's interest                                                                                                                          Ne w p o r t , T N 3 7 8 2 1 - 6 4 0 7

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi l t o n / Co p c o , 2 2 4 0 We s t 7 5 Th St , Wo o d r i d g e , I L 6 0 5 1 7
2.13210 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         05/10/2010

         List the contract number of any government
         contract
                                                                                                                                                                 Wi n Lo n g Oc e a n Ha r d w a r e , 1 5 5 6 Oc e a n Av e , Sa n Fr a n c i s c o ,
2.13211 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 5 4 8 )
        nature of the debtor's interest                                                                                                                          CA 94112-1716

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi n Lo n g Tr u e Va l u e Hd w & Sp l y, 2 2 4 4 Ir v i n g St , Sa n
2.13212 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 5 4 3 )
                                                                                                                                                     Fr a n c i s c o , C A 9 4 1 2 2 - 1 6 1 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n a m a c Ac e , 8 5 4 N. Pl y m o u t h Rd , Wi n a m a c , I N 4 6 9 9 6 - 1 1 2 4
2.13213 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 2 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n c h e s t e r Ha r d w a r e , Oh i o Mu l c h Su p p l y, 4 4 8 0 Wi n c h e s t e r
2.13214 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 6 )
                                                                                                                                                     Pi k e , Co l u m b u s , O H 4 3 2 3 2
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n d s o r In d u s t r i e s , 1 3 5 1 We s t St a n f o r s Av e n u e , En g l e w o o d ,
2.13215 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     CO 80110
        nature of the debtor's interest
         State the term remaining                         01/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wi n d s o r Tr u e Va l u e , 5 Jo y n e r Av e , Wi n d s o r , VA 2 3 4 8 7 - 9 4 4 7
2.13216 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 4 4 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n f e l d Br o o k s Co . , Wi n f e l d Br o o k s Co , 7 0 Co n n St r e e t ,
2.13217 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Wo b u r n , M A 0 1 8 0 1
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Wi n g En t e r p r i s e s In c , 1 1 9 8 N Sp r i n g s Cr e e k Pl a c e , Sp r i n g v i l l e ,
2.13218 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              UT 84663

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wi n l o c k Tr u e Va l u e Ha r d w a r e , 5 1 5 Ne 1 s t St , Wi n l o c k , WA
2.13219 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 3 1 3 )
                                                                                                                                                     98596-9495
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi n n e r Ha r d w a r e , 1 6 9 9 De w e y Av e , Wi l l i a m s p o r t , PA 1 7 7 0 1
2.13220 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 7 5 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n n e r In t ' l , Wi n n e r In t e r n a t i o n a l , 3 2 We s t St a t e St r e e t ,
2.13221 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Sh a r o n , PA 1 6 1 4 6
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wi n n e r Tr u e Va l u e , 2 0 5 Ma i n , Wi n n e r , S D 5 7 5 8 0 - 1 7 9 9
2.13222 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 4 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n n i n g h a m Tr u e Va l u e Ha r d w a r e , 3 0 3 W Ma i n St , Li v i n g s t o n ,
2.13223 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 4 0 9 2 )
                                                                                                                                                     TN 38570-1829
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n n s b o r o Ho m e Ce n t e r , 3 4 0 S Va n d e r h o r s t , Wi n n s b o r o , S C
2.13224 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 4 1 )
                                                                                                                                                     29180-1450
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wi n s l o w & Ro s s Db a Ni n g b o , 2 8 8 Gu a n g m i n g Rd , Zh u a n g s h i
2.13225 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              Ze h a i Di s t r i c t , Ni n g b o , Zh e j i a n g , Ch i n a

         State the term remaining                         08/01/2018

         List the contract number of any government
         contract
                                                                                                                                                     Wi p In c , 2 1 2 1 4 Th St , Or e g o n Ci t y, O R 9 7 0 4 5
2.13226 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2022 - 07/31/2024

         List the contract number of any government
         contract
                                                                                                                                                     Wi p r o Te c h n o l o g i e s , On e Li n c o l n Ce n t e r , 1 8 W 1 4 0
2.13227 State what the contract or lease is for and the
                                                          Co n s u l t i n g Fi r m , M S A
        nature of the debtor's interest                                                                                                              Bu t t e r f i e l d Rd , St e , 3 9 5 , Oa k b r o o k Te r r a c e , I L 6 0 1 8 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wi r e m o l d Co m p a n y, Co n s u m e r Pr o d u c t s Di v, We s t Ha r t f o r d ,
2.13228 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 CT 06110
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi s c o n s i n Ph a r m a c a l Co L L C, 1 Ph a r m a c a l Wa y, Po Bo x 1 9 8 ,
2.13229 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ja c k s o n , W I 5 3 0 3 7
        nature of the debtor's interest
         State the term remaining                         10/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wi s c o n s i n Ph a r m a c a l Co L L C, 1 Ph a r m a c a l Wa y, Po Bo x 1 9 8 ,
2.13230 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ja c k s o n , W I 5 3 0 3 7
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Wi s d o m In t e r t r a d e Co m p a n y Li m i t e d , Wi s d o m In t e r t r a d e
2.13231 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 0 0 5 )
                                                                                                                                                                 Co m p a n y Li m i , 5 0 / 5 1 0 M. 6 , Ba a n Ma i Pa k k r e d No n t h a b u r i , ,
        nature of the debtor's interest
                                                                                                                                                                 Th a i l a n d
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi s n e r Tr u e Va l u e Ha r d w a r e & Lu m b e r , Wi s n e r Tr u e Va l u e
2.13232 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 7 7 7 )
        nature of the debtor's interest                                                                                                                          Ha r d w a r e & L, 1 0 1 9 Av e n u e E, Wi s n e r , N E 6 8 7 9 1 - 2 2 4 8

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi t t ' s Ac e , 2 1 4 N Hw y. 1 4 1 , Cr i v i t z , W I 5 4 1 1 4 - 0 0 0 1
2.13233 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 5 3 1 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi t t e n b e r g Tr u e Va l u e , 3 0 1 S Ch e r r y St , Wi t t e n b e r g , W I
2.13234 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 3 3 7 )
        nature of the debtor's interest                                                                                                                          54499-9051

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wi t t u r & Co m p a n y, Wi t t u r & Co m p a n y, 1 2 0 2 Al l a n s o n Ro a d ,
2.13235 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mu n d e l e i n , I L 6 0 0 6 0
        nature of the debtor's interest
         State the term remaining                         02/03/2012

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wi z , In c , On e Ma n h a t t a n We s t , 5 7 Th Fl o o r , 5 7 Th Fl o o r , Ne w
2.13236 State what the contract or lease is for and the
                                                          Ma s t e r Se r v i c e s Ag r e e m e n t , Wi z , In c . - M S A
        nature of the debtor's interest                                                                                                              Yo r k , N Y 1 0 0 0 1

         State the term remaining                         04/01/2023 - 03/31/2028

         List the contract number of any government
         contract
                                                                                                                                                     Wj An d r i o t s , 1 8 5 7 Mi d l a n d Tr a i l , Sh e l b y v i l l e , K Y 4 0 0 6 5
2.13237 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 1 6 5 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wj n En t e r p r i s e s In c , 7 6 0 1 W 1 9 1 St St , Ti n l e y Pa r k , I L 6 0 4 8 7
2.13238 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         10/11/2010

         List the contract number of any government
         contract
                                                                                                                                                     Wl m d - Db a We l l m a d e Pr o d u c t s , 4 2 1 Pe n d e l t o n , Oa k l a n d , C A
2.13239 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              94621

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Wm W Me y e r & So n s In c , 1 7 0 0 Fr a n k l i n Bl v d , Li b e r t y v i l l e , I L
2.13240 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     60048
        nature of the debtor's interest
         State the term remaining                         06/01/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wn a , De p t 7 7 1 8 2 3 , Po Bo x 7 7 0 0 0 , De t r o i t , M I 4 8 2 7 7
2.13241 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Wo e r n e r Co m p a n i e s L L C, Th e , P. O. Bo x 1 9 4 6 , Fo l e y, A L 3 6 5 3 5
2.13242 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2019

         List the contract number of any government
         contract
                                                                                                                                                     Wo l c o t t Bu i l d i n g Su p p l y & Ho m e Ce n t e r , Wo l c o t t Bu i l d i n g
2.13243 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 3 7 8 )
                                                                                                                                                     Su p p l y & Ho , 1 1 8 3 8 We s t Ma i n St r e e t , Wo l c o t t , N Y 1 4 5 9 0 -
        nature of the debtor's interest
                                                                                                                                                     1026
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo l f ' s Tr u e Va l u e , Wo l f ` s Tr u e Va l u e , 3 1 5 S Ma i n St ,
2.13244 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 3 1 )
                                                                                                                                                                 Gr e e n w o o d , W I 5 4 4 3 7 - 9 7 1 7
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo l l e r Tr u e Va l u e , 4 5 5 E Ge n e v a St , El k h o r n , W I 5 3 1 2 1 - 1 9 3 9
2.13245 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 6 8 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo l v e r i n e Wo r l d w i d e , 9 3 4 1 Co u r t l a n d Dr i v e Ne , Ro c k f o r d , M I
2.13246 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 49351

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo n Ki m Co r p o r a t i o n , 2 2 5 6 2 Sc a t t e r s v i l l e Ga p Te r r a c ,
2.13247 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 As h b u r n , VA 2 0 1 4 8
        nature of the debtor's interest
         State the term remaining                         04/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wo n d e r l o k k i n g Co r p , 8 6 0 8 Th St S, Wi s c o n s i n Ra p i d s , W I
2.13248 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          54494-5270

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wo n d e r l o k k i n g Co r p , 8 6 0 8 Th St S, Wi s c o n s i n Ra p i d s , W I
2.13249 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 54494-5270
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d Ma r t Tr u e Va l u e , 2 0 0 0 N 1 2 t h St , Qu i n c y, I L 6 2 3 0 1 - 1 3 1 0
2.13250 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 4 3 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d Pr o d u c t s In t ' L, Po Bo x 9 9 2 8 , Sa v a n n a h , G A 3 1 4 1 2
2.13251 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         04/01/2013

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wo o d Pr o d u c t s Ma n u f a c t u r e r s , 2 4 9 4 Bo c a Ch i c a Bl v d , Su i t e B,
2.13252 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Br o w n s v i l l e , T X 7 8 5 2 1
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Wo o d b r i d g e Tr u e Va l u e , 2 1 9 Am i t y Rd , Wo o d b r i d g e , C T
2.13253 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 2 1 1 )
                                                                                                                                                     06525-2206
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a k e Ha r d w a r e , 1 7 3 N. Va l e n c i a , Wo o d l a k e , C A 9 3 2 8 6 -
2.13254 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 7 1 )
                                                                                                                                                     1434
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a n d Cr e a t i o n s & Ho m e Ce n t e r , Wo o d l a n d Cr e a t i o n s &
2.13255 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 8 4 5 )
        nature of the debtor's interest                                                                                                              Ho m e Ce n t , 4 2 1 We s t Su t t e r , Ph i l i p s b u r g , M T 5 9 8 5 8 - 0 3 2 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a n d To o l s Hq , Wo o d l a n d To o l s In c , 7 0 9 Po s t Ro a d ,
2.13256 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ma d i s o n , W I 5 3 7 1 3
        nature of the debtor's interest
         State the term remaining                         05/01/2022

         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a n d To o l s In c , 7 0 9 Po s t Ro a d , Ma d i s o n , W I 5 3 7 1 3
2.13257 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a n d To o l s In c , 7 0 9 Po s t Ro a d , Ma d i s o n , W I 5 3 7 1 3
2.13258 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                     Wo o d l a n d Tr u e Va l u e , 2 1 8 Da v i d s o n St , Wo o d l a n d , WA 9 8 6 7 4 -
2.13259 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 1 6 1 )
                                                                                                                                                     8479
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo o d l a n d Tr u e Va l u e Ho m e Ce n t e r , Wo o d l a n d Tr u e Va l u e
2.13260 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 8 6 3 )
                                                                                                                                                                 Ho m e Ce n t e , 3 4 5 W. Ma i n St r e e t , Wo o d l a n d , C A 9 5 6 9 5 - 6 8 0 1
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13261 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mo u n t Ay r , I A 5 0 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13262 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Mo u n t Ay r , I A 5 0 8 5 4

         State the term remaining                         03/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13263 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mo u n t Ay r , I A 5 0 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13264 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mo u n t Ay r , I A 5 0 8 5 4

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13265 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Mo u n t Ay r , I A 5 0 8 5 4
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13266 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Mo u n t Ay r , I A 5 0 8 5 4
        nature of the debtor's interest
         State the term remaining                         07/01/2022 - 07/21/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d l i n k , Wo o d l i n k Lt d , 1 5 0 0 Wo o d l i n k Dr i v e , P O Bo x 5 0 8 ,
2.13267 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 5 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mo u n t Ay r , I A 5 0 8 5 4
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo o d r u f f Ac e , 1 3 0 2 Hi g h w a y 4 7 , Wo o d r u f f , W I 5 4 5 6 8 - 9 4 8 8
2.13268 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 4 8 6 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s Ha r d w a r e Of Ci n c i n n a t i , 1 2 5 E 9 t h St r e e t , Ci n c i n n a t i ,
2.13269 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 7 )
        nature of the debtor's interest                                                                                                                          OH 45202-2127

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s Ha r d w a r e Of Lo c k l a n d , 1 0 9 So u t h Wa y n e Av e n u e ,
2.13270 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 4 5 9 )
                                                                                                                                                                 Lo c k l a n d , O H 4 5 2 1 5 - 4 5 1 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s Pa i n t Ce n t e r Ii In c , 2 9 9 4 8 Th r e e No t c h Rd . , Ch a r l o t t e
2.13271 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 0 5 )
        nature of the debtor's interest                                                                                                                          Ha l l , M D 2 0 6 2 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s f i e l d Tr u e Va l u e Ho m e Ce n t e r , 2 1 8 Le w i s v i l l e Rd ,
2.13272 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 2 7 )
                                                                                                                                                                 Wo o d s f i e l d , O H 4 3 7 9 3 - 9 2 2 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s h e d Re n e w a b l e s L L C, 1 1 6 In d u s t r i a l Dr i v e , Po Bo x 3 3 7 ,
2.13273 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Fi n l e y, N D 5 8 2 3 0
        nature of the debtor's interest
         State the term remaining                         01/20/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t o w n Ic e & Co a l Co . , 5 0 E Gr a n t St , Wo o d s t o w n , N J
2.13274 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 5 2 )
                                                                                                                                                                 08098-1416
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13275 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13276 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13277 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13278 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13279 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13280 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13281 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2023 - 11/30/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13282 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         12/01/2023 - 11/30/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13283 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13284 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13285 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13286 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13287 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13288 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13289 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13290 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13291 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


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2.13292 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13293 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13294 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13295 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13296 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 7 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d s t r e a m Co r p , 9 0 6 5 Th Av e n u e Ea s t , El l e n d a l e , M N 5 6 0 2 6
2.13297 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wo o d y Tr u e Va l u e , 1 8 0 2 Su b l e t t e Rd Of f La Mo i l l e , Su b l e t t e ,
2.13298 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 7 8 8 )
                                                                                                                                                                 IL 61367-9514
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo o l i e In c , Th e , 9 3 0 3 Pl y m o u t h Av e No r t h , Go l d e n Va l l e y, M N
2.13299 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          55427

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Wo o l l y Po c k e t Co r p o r a t i o n , 4 8 3 6 E Mc d o w e l l Rd , Su i t e 1 0 3 ,
2.13300 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ph o e n i x , A Z 8 5 0 0 8
        nature of the debtor's interest
         State the term remaining                         08/03/2011

         List the contract number of any government
         contract
                                                                                                                                                     Wo o s t e r Br u s h , Po Bo x 6 0 1 0 , 6 0 4 Ma d i s o n Av e , Wo o s t e r , O H
2.13301 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44691

         State the term remaining                         09/01/2022 - 09/01/2025

         List the contract number of any government
         contract
                                                                                                                                                     Wo o s t e r Br u s h , Po Bo x 6 0 1 0 , 6 0 4 Ma d i s o n Av e , Wo o s t e r , O H
2.13302 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     44691
        nature of the debtor's interest
         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                     Wo o s t e r Br u s h , Po Bo x 6 0 1 0 , 6 0 4 Ma d i s o n Av e , Wo o s t e r , O H
2.13303 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              44691

         State the term remaining                         05/01/2024 - 04/30/2025

         List the contract number of any government
         contract
                                                                                                                                                     Wo r c e s t e r Wr e a t h Co , 1 0 1 3 No r t h St , P. O. Bo x 2 1 4 ,
2.13304 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     Ha r r i n g t o n , M E 0 4 6 4 3
        nature of the debtor's interest
         State the term remaining                         03/25/2010

         List the contract number of any government
         contract
                                                                                                                                                     Wo r d l o c k In c , 3 2 4 A Ha l f Ac r e Rd , Cr a n b u r y, N J 0 8 5 1 2
2.13305 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                     Wo r k b e n c h Ma i n St , 6 5 2 Ma i n St , Pl e a s a n t o n , C A 9 4 5 6 6 - 6 6 0 3
2.13306 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 2 2 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Wo r k b e n c h Tr u e Va l u e Ha r d w a r e - Pl , Wo r k b e n c h Tr u e Va l u e
2.13307 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 5 2 )
                                                                                                                                                     Ha r d w a r e - p l , 1 8 0 7 Sa n t a Ri t a Rd St e N, Pl e a s a n t o n , C A 9 4 5 6 6 -
        nature of the debtor's interest
                                                                                                                                                     4774
         State the term remaining
         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r k b e n c h Tr u e Va l u e Ha r d w a r e - c v, Wo r k b e n c h Tr u e Va l u e
2.13308 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 9 6 5 )
        nature of the debtor's interest                                                                                                                          Ha r d w a r e - Cv, 1 9 6 4 0 Ce n t e r St , Ca s t r o Va l l e y, C A 9 4 5 4 6 - 4 7 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r k b e n c h Tr u e Va l u e Ha r d w a r e - p a t , Wo r k b e n c h Tr u e Va l u e
2.13309 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 7 5 3 6 )
                                                                                                                                                                 Ha r d w a r e , 1 0 4 0 W La s Pa l m a s L, Pa t t e r s o n , C A 9 5 3 6 3 - 8 8 6 3
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r k i n g Pr o d u c t s , 4 3 3 3 W 7 1 St St , In d i a n a p o l i s , I N 4 6 2 6 8
2.13310 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r k i n g Pr o d u c t s , 4 3 3 3 W 7 1 St St , In d i a n a p o l i s , I N 4 6 2 6 8
2.13311 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r k i n g Pr o d u c t s , 4 3 3 3 W 7 1 St St , In d i a n a p o l i s , I N 4 6 2 6 8
2.13312 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13313 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 08512

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13314 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 08512
        nature of the debtor's interest
         State the term remaining                         01/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13315 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          08512

         State the term remaining                         02/01/2022

         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13316 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 08512
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13317 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 08512

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d & Ma i n L L C, 3 2 4 - A Ha l f Ac r e Ro a d , Cr a n b u r y, N J
2.13318 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 08512
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Fa c t o r y, 5 4 2 Si l i c o n Dr i v e , Su i t e 1 0 1 , So u t h l a k e , T X
2.13319 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 76092
        nature of the debtor's interest
         State the term remaining                         03/01/2011

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Fa c t o r y, 5 4 2 Si l i c o n Dr i v e , Su i t e 1 0 1 , So u t h l a k e , T X
2.13320 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 76092
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Ki t c h e n - Py r e x / Co r e l l e , 4 8 2 5 N Sc o t t St , Su i t e 2 1 8 ,
2.13321 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Sc h i l l e r Pa r k , I L 6 0 1 7 6
        nature of the debtor's interest
         State the term remaining                         01/01/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Ma r k e t i n g o f Am e r i c a , Po Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l
2.13322 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Cr e e k , PA 1 7 0 6 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Ma r k e t i n g o f Am e r i c a , Po Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l
2.13323 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Cr e e k , PA 1 7 0 6 0
        nature of the debtor's interest
         State the term remaining                         06/10/2016

         List the contract number of any government
         contract
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                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r l d Ma r k e t i n g o f Am e r i c a , Po Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l
2.13324 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Cr e e k , PA 1 7 0 6 0

         State the term remaining                         04/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Ma r k e t i n g o f Am e r i c a , Po Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l
2.13325 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Cr e e k , PA 1 7 0 6 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Mk t g o f Am e r i c a / Im p o r t , Wo r l d Ma r k e t i n g Of Am e r i c a ,
2.13326 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
                                                                                                                                                                 P. O. Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l Cr e e k , PA 1 7 0 6 0
        nature of the debtor's interest
         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Mk t g o f Am e r i c a / Im p o r t , Wo r l d Ma r k e t i n g Of Am e r i c a ,
2.13327 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 P. O. Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l Cr e e k , PA 1 7 0 6 0
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Mk t g o f Am e r i c a / Im p o r t , Wo r l d Ma r k e t i n g Of Am e r i c a ,
2.13328 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 P. O. Bo x 1 9 2 , Ro u t e 2 2 We s t , Mi l l Cr e e k , PA 1 7 0 6 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d So u r c e Pa r t n e r s , 4 1 7 5 Ro y a l Dr i v e , Su i t e 7 0 0 ,
2.13329 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ke n n e s a w, G A 3 0 1 4 4

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Te c h To y s , 2 4 7 0 0 Ro c k e f e l l e r Av e , Va l e n c i a , C A 9 1 3 5 5
2.13330 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d Te c h To y s , 2 4 7 0 0 Ro c k e f e l l e r Av e , Va l e n c i a , C A 9 1 3 5 5
2.13331 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r l d Wi d e Im p o r t s , 2 2 4 N. Ge n e r a l s Bl v d , Li n c o l n t o n , N C
2.13332 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 9 7 2 )
                                                                                                                                                                 28092-3555
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r l d w i s e In c , 6 Ha m i l t o n La n d i n g , Su i t e 1 5 0 , No v a t o , C A
2.13333 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          94949

         State the term remaining                         11/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13334 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13335 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13336 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wo r t h i n g t o n , O H 4 3 0 8 5

         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13337 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13338 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wo r t h i n g t o n , O H 4 3 0 8 5

         State the term remaining                         01/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13339 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13340 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wo r t h i n g t o n , O H 4 3 0 8 5

         State the term remaining                         06/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13341 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest
         State the term remaining                         07/01/2023 - 06/30/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13342 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest
         State the term remaining                         07/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13343 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Wo r t h i n g t o n , O H 4 3 0 8 5

         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13344 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13345 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13346 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13347 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13348 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Wo r t h i n g t o n Cy l i n d e r Co r p , 2 0 0 Ol d Wi l s o n Br i d g e Rd ,
2.13349 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Wo r t h i n g t o n , O H 4 3 0 8 5
        nature of the debtor's interest
         State the term remaining                         09/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13350 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e Le a s e
                                                                                                                                                                 Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest
         State the term remaining                         12/31/2022 - 12/31/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13351 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 7 6 0 0 Jo n e s b o r o Ro a d Jo n e s b o r o , G A
                                                                                                                                                                 Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest                   18051

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13352 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e a t 2 6 0 1 Ea s t Hi g h w a y 3 1 Co r s i c a n a , T X
        nature of the debtor's interest                   75110                                                                                                  Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13353 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 1 4 9 0 0 U S Hi g h w a y 7 1 Ka n s a s Ci t y, M O
                                                                                                                                                                 Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest                   64147

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13354 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e a t 4 0 0 5 Mo h a v e Ai r p o r t Dr. Ki n g m a n , A Z
        nature of the debtor's interest                   86401                                                                                                  Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
                                                                                                                                                                 Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13355 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 2 1 5 0 Ol y m p i c Av e n u e Sp r i n g f i e l d , O R
                                                                                                                                                                 Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest                   97477

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


                                                                                                                                                             Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13356 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 2 1 5 N. Pi o n e e r Av e n u e Wo o d l a n d , C A
                                                                                                                                                             Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest                   95776

         State the term remaining                         12/31/2036

         List the contract number of any government
         contract
                                                                                                                                                             Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13357 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 2 6 0 2 5 Fi r s t St . We s t l a k e , O H 4 4 1 4 5
                                                                                                                                                             Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest
         State the term remaining                         08/31/2042

         List the contract number of any government
         contract
                                                                                                                                                             Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13358 State what the contract or lease is for and the   Le a s e , Re a l Es t a t e a t 2 4 1 5 3 r d Av e . Ma n k a t o , M N 5 6 0 0 1
                                                                                                                                                             Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1
        nature of the debtor's interest
         State the term remaining                         11/30/2041

         List the contract number of any government
         contract
                                                                                                                                                             Wp c Ho l d c o L L C, 1 Ma n h a t t a n We s t , 3 9 5 9 Th Av e n u e 5 8 Th
2.13359 State what the contract or lease is for and the
                                                          Le a s e , Re a l Es t a t e a t 2 0 1 - 2 0 3 Ja n d u s Rd . Ca r y, I L 6 0 0 1 3
        nature of the debtor's interest                                                                                                                      Fl o o r , Ne w Yo r k , N Y 1 0 0 0 1

         State the term remaining                         12/31/2041

         List the contract number of any government
         contract
                                                                                                                                                             Wp e n g i n e , In c . ( De l i c i o u s Br a i n s ) , 5 0 4 La v a c a St r e e t , Su i t e
2.13360 State what the contract or lease is for and the   Ho s t i n g , W P En g i n e En t e r p r i s e Wo r d Pr e s s Ho s t i n g Ag r e e m e n t
                                                                                                                                                             1 0 0 0 , Au s t i n , T X 7 8 7 0 1
        nature of the debtor's interest                   f o r T V. C O M

         State the term remaining                         03/01/2024 - 02/28/2025

         List the contract number of any government
         contract
                                                                                                                                                             Wp e n g i n e , In c . ( De l i c i o u s Br a i n s ) , 5 0 4 La v a c a St r e e t , Su i t e
2.13361 State what the contract or lease is for and the
                                                          So f t w a r e , W P En g i n e , In c . - ( De l i c i o u s Br a i n s ) Of f l o a d Me d i a
        nature of the debtor's interest                   Re n e w a l 2 0 2 4                                                                               1 0 0 0 , Au s t i n , T X 7 8 7 0 1

         State the term remaining                         07/25/2024 - 07/24/2025

         List the contract number of any government
         contract
                                                                                                                                                             Wr e n c h Mi n t s In c , 3 3 3 N Mi c h i g a n Av e , Su i t e 4 0 0 , Ch i c a g o ,
2.13362 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             IL 60601
        nature of the debtor's interest
         State the term remaining                         03/04/2009

         List the contract number of any government
         contract
                                                                                                                                                             Wr e n d a l e De s i g n s In c , 5 0 0 We s t o v e r Dr i v e , Sa n d o r d , N C
2.13363 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                             27330
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                    State the name and mailing address for all other parties with
                                                                                                                                                            whom the debtor has an executory contract or unexpired lease


                                                                                                                                                            Wy a n d o t t e Ha r d w a r e , 6 3 9 6 5 Qu i n d a r o Dr , Wy a n d o t t e , O K
2.13364 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 2 5 1 )
                                                                                                                                                            74370
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                            Wy m a n Ga r d e n Ce n t e r In c H& g s , 1 4 1 Sp r i n g St , Ha n s o n , M A
2.13365 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 7 3 )
                                                                                                                                                            02341-1025
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                            Wy o m a Sq u a r e Tr u e Va l u e , 3 1 4 Br o a d w a y, Ly n n , M A 0 1 9 0 4 -
2.13366 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 5 7 0 )
        nature of the debtor's interest                                                                                                                     2601

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                            X- Se e d In c , 1 4 5 8 5 3 1 St St r e e t , Cl e a r La k e , M N 5 5 3 1 9
2.13367 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2007

         List the contract number of any government
         contract
                                                                                                                                                            Xe c u r i f y In c , 1 6 2 1 Ce n t r a l Av e , Ch e y e n n e , W Y 8 2 0 0 1
2.13368 State what the contract or lease is for and the
                                                          So f t w a r e , Xe c u r i f y m i n i Or a n g e W P S A M L S S O En t e r p r i s e p l a n
        nature of the debtor's interest
         State the term remaining                         07/26/2024 - 08/26/2025

         List the contract number of any government
         contract
                                                                                                                                                            Xe c u r i f y In c , 1 6 2 1 Ce n t r a l Av e , Ch e y e n n e , W Y 8 2 0 0 1
2.13369 State what the contract or lease is for and the   So f t w a r e , Xe c u r i f y In c Mi g r a t e Pl u g i n Co n f i g u r a t i o n
        nature of the debtor's interest
         State the term remaining                         11/15/2023 - 11/14/2024

         List the contract number of any government
         contract
                                                                                                                                                            Xl In s u r a n c e Am e r i c a In c ( Ax a Xl ) ( 1 4 % ) , Re g u l a t o r y Of f i c e ,
2.13370 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Pr o p e r t y - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                            5 0 5 Ea g l e v i e w Bo u l e v a r d , Su i t e 1 0 0 , De p a r t m e n t : Re g u l a t o r y,
        nature of the debtor's interest                   U S0 0 1 2 9 7 5 5 P R2 4 A
                                                                                                                                                            Ex t o n , PA 1 9 3 4 1
         State the term remaining                         06/01/2024 - 06/01/2025

         List the contract number of any government
         contract
                                                                                                                                                            Xl Sp e c i a l t y In s u r a n c e Co m p a n y, Re g u l a t o r y Of f i c e , 5 0 5
2.13371 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Oc e a n Ca r g o - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                            Ea g l e v i e w Bo u l e v a r d , Su i t e 1 0 0 , De p a r t m e n t : Re g u l a t o r y,
        nature of the debtor's interest                   U M0 0 0 2 4 2 8 6 M A2 4 A
                                                                                                                                                            Ex t o n , PA 1 9 3 4 1
         State the term remaining                         01/01/2024 - 01/01/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Xl Sp e c i a l t y In s u r a n c e Co m p a n y, Re g u l a t o r y Of f i c e , 5 0 5
2.13372 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Ki d n a p & Ra n s o m - Po l i c y Nu m b e r ( s ) :
                                                                                                                                                                 Ea g l e v i e w Bo u l e v a r d , Su i t e 1 0 0 , De p a r t m e n t : Re g u l a t o r y,
        nature of the debtor's interest                   U M0 0 0 6 3 7 1 4 S P2 3 A
                                                                                                                                                                 Ex t o n , PA 1 9 3 4 1
         State the term remaining                         11/30/2023 - 11/30/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Xo d u s In n o v a t i o n s L L C, 2 0 2 5 Yo r e Av e , Be n t o n Ha r b o r , M I
2.13373 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 49022

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Xt e n d & Cl i m b / Co r e Di s t . In c , 2 1 2 No r t h 3 Rd Av e n u e , Su i t e
2.13374 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 5 1 5 , Mi n n e a p o l i s , M N 5 5 4 0 1
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Xy n y t h Mf g Co r p , 1 2 2 - 3 9 8 9 He n n i n g Dr i v e , Bu r n a b y, B C V5 J
2.13375 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          4 M2 , Ca n a d a

         State the term remaining                         11/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Y- b y Re n t a l , 1 0 9 0 Ma n t u a Pi k e , We n o n a h , N J 0 8 0 9 0 - 1 1 2 4
2.13376 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 5 0 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Y- Te x Co r p o r a t i o n , Po Bo x 1 4 5 0 , 1 8 2 5 Bi g Ho r n Av e , Co d y,
2.13377 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          WY 82414

         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Y- Te x Co r p o r a t i o n , Po Bo x 1 4 5 0 , 1 8 2 5 Bi g Ho r n Av e , Co d y,
2.13378 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WY 82414
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Y- Te x Co r p o r a t i o n , Po Bo x 1 4 5 0 , 1 8 2 5 Bi g Ho r n Av e , Co d y,
2.13379 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WY 82414
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Y- Te x Co r p o r a t i o n , Po Bo x 1 4 5 0 , 1 8 2 5 Bi g Ho r n Av e , Co d y,
2.13380 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 WY 82414
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ya c o l t Tr a d i n g Po s t , 3 1 5 N Am b o y Av e , Ya c o l t , WA 9 8 6 7 5 -
2.13381 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 1 4 9 3 )
                                                                                                                                                                 1111
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ya l e Ma t e r i a l s Ha n d l i n g , 1 4 0 0 Su l l i v a n Dr i v e , Gr e e n v i l l e , N C
2.13382 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          27834

         State the term remaining                         01/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Ya l e Se c u r i t y In c . , 1 9 0 2 Ai r p o r t Ro a d , Mo n r o e , N C 2 8 1 1 0
2.13383 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ya n k e e Ca n d l e Co . , Ya n k e e Ca n d l e Co , P. O. Bo x 1 1 0 , 1 6
2.13384 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ya n k e e Ca n d l e Wa y, So u t h De e r f i e l d , M A 0 1 3 7 3

         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ya n k e e Pu b l i s h i n g , P. O. Bo x 5 2 0 , Ma i n St r e e t , Du b l i n , N H
2.13385 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 03444
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ya r d i s t r y Li m i t e d , 7 5 Sh e r b o u r n e St , Su i t e 1 0 1 , To r o n t o , O N
2.13386 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 M5 A 2 P9 , Ca n a d a
        nature of the debtor's interest
         State the term remaining                         02/09/2009

         List the contract number of any government
         contract
                                                                                                                                                                 Ya y a Or g a n i c s , 6 3 3 Ma p l e St r e e t , Su i t e 1 , Co n t o o c o o k , N H
2.13387 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          03229

         State the term remaining                         07/01/2019

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Yc o Tr u e Va l u e Ha r d w a r e St o r e , Be a c h Ro a d , Ch a l a n Pi a o ,
2.13388 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 9 1 )
                                                                                                                                                                 Sa i p a n , Co m m o n w e a l t h Of Ma r i a n a s Is l a n d s
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ye a g e r Ha r d w a r e , 1 2 3 2 N 5 2 n d St , Ph i l a d e l p h i a , PA 1 9 1 3 1 -
2.13389 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 0 8 7 )
        nature of the debtor's interest                                                                                                                          4397

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ye l m Fa r m & Pe t , 1 1 2 4 2 Ba l d Hi l l Rd Se , Ye l m , WA 9 8 5 9 7 -
2.13390 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 6 5 1 )
                                                                                                                                                                 9503
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ye o m a n & Co m p a n y, Po Bo x 3 0 , 1 6 5 2 5 Ha r d s c r a b b l e Rd ,
2.13391 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Mo n t i c e l l o , I A 5 2 3 1 0

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ye o m a n & Co m p a n y, Po Bo x 3 0 , 1 6 5 2 5 Ha r d s c r a b b l e Rd ,
2.13392 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Mo n t i c e l l o , I A 5 2 3 1 0
        nature of the debtor's interest
         State the term remaining                         08/01/2012

         List the contract number of any government
         contract
                                                                                                                                                                 Ye r e c i c La b e l Co m p a n y, In c . , 7 0 1 Hu n t Va l l e y Ro a d , Ne w
2.13393 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ke n s i n g t o n , PA 1 5 0 6 8
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ye t i Co o l e r s In c , 5 3 0 1 So u t h w e s t Pk w y, Su i t e 2 0 0 , Au s t i n , T X
2.13394 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , Ve n d o r Bu y i n g Ag r e e m e n t
                                                                                                                                                                 78735
        nature of the debtor's interest
         State the term remaining                         07/22/2013

         List the contract number of any government
         contract
                                                                                                                                                                 Yo a s t , Do n Em a n u e l s t r a a t 3 , 6 6 0 2 Gx , Wi j c h e n , Wi j c h e n , 6 6 0 2
2.13395 State what the contract or lease is for and the   So f t w a r e , Yo a s t Wo o Co m m e r c e Pr e m i u m b u n d l e
                                                                                                                                                                 G X, Ne t h e r l a n d s
        nature of the debtor's interest
         State the term remaining                         11/15/2023 - 11/14/2024

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                State the name and mailing address for all other parties with
                                                                                                                                                        whom the debtor has an executory contract or unexpired lease


                                                                                                                                                        Yo a s t , Do n Em a n u e l s t r a a t 3 , 6 6 0 2 Gx , Wi j c h e n , Wi j c h e n , 6 6 0 2
2.13396 State what the contract or lease is for and the
                                                          So f t w a r e , Yo a s t Wo o Co m m e r c e Pr e m i u m Bu n d l e 2
        nature of the debtor's interest                                                                                                                 G X, Ne t h e r l a n d s

         State the term remaining                         02/15/2024 - 02/14/2025

         List the contract number of any government
         contract
                                                                                                                                                        Yo n k e r s Tr u e Va l u e Ha r d w a r e , 4 7 6 S Br o a d w a y, Yo n k e r s , N Y
2.13397 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 0 1 )
                                                                                                                                                        10705-3250
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Yo r k Tr u e Va l u e , 2 7 1 5 Ma i n St , Yo r k , N Y 1 4 5 9 2 - 0 2 0 4
2.13398 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 5 2 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Yo r k s h i r e Fe d e r a l , In c . , Po Bo x 1 0 4 , Su i t e 2 0 0 , Li n d a l e , T X
2.13399 State what the contract or lease is for and the   Bu i l d i n g Ma i n t e n a n c e & Se r v i c e s , Yo r k s h i r e Fe d e r a l In c -
                                                                                                                                                        75771
        nature of the debtor's interest                   Co r s i c a n a Ro o f w o r k 2 0 2 0

         State the term remaining                         09/16/2020

         List the contract number of any government
         contract
                                                                                                                                                        Yo u n g Br o t h e r s St a m p Wo r k , Po Bo x 7 5 , Mu s c a t i n e , I A 5 2 7 6 1
2.13400 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2009

         List the contract number of any government
         contract
                                                                                                                                                        Yo u n g Ma n u f a c t u r i n g L L C, Po Bo x 6 3 2 0 5 9 , Hi g h l a n d s Ra n c h ,
2.13401 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                        CO 80163
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                        Yo u n g ' s Tr u e Va l u e Ha r d w a r e , Yo u n g ` s Tr u e Va l u e Ha r d w a r e ,
2.13402 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 4 0 0 )
                                                                                                                                                        4 1 7 Ea s t St , Mo u n t a i n Vi e w, M O 6 5 5 4 8 - 8 5 6 5
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                        Yo u n g e r Br o s . Lu m b e r & Ha r d w a r e , 6 3 5 0 E 7 2 n d Pl , Co m m e r c e
2.13403 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 0 7 7 8 )
        nature of the debtor's interest                                                                                                                 Ci t y, C O 8 0 0 2 2 - 1 7 0 1

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Yo u r " Ot h e r " Wa r e h o u s e , , A Di v i s i o n Of Lc r Co r p , 6 2 3 2 Se i g e n
2.13404 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 La n e , Ba t o n Ro u g e , L A 7 0 8 0 9
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Yo u r Fa r m & Ga r d e n H& g s , 7 3 5 S. Be n e v a Rd . , Sa r a s o t a , F L
2.13405 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 9 1 7 1 )
        nature of the debtor's interest                                                                                                                          34232-2411

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Yo u r c h u c k Tr u e Va l u e Ha r d w a r e , 2 4 5 3 7 St a t e Ro a d 3 5 7 0 ,
2.13406 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 6 7 5 9 )
                                                                                                                                                                 Si r e n , W I 5 4 8 7 2 - 0 5 5 9
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Yr c Fr e i g h t , 1 0 9 9 0 Ro e Av e , Ov e r l a n d Pa r k , K S 6 6 2 1 1
2.13407 State what the contract or lease is for and the
                                                          So f t w a r e Ma i n t e n a n c e , Y R C Fr e i g h t - Tr a n s p o r t a t i o n
        nature of the debtor's interest                   Ag r e e m e n t s LT L

         State the term remaining                         07/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Yt l In t ' l In c , Yt l In t e r n a t i o n a l In c , 1 7 5 1 7 Fa b r i c a Wa y, Su i t e
2.13408 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 H, Ce r r i t o s , C A 9 0 7 0 3
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Yt l In t ' l In c , Yt l In t e r n a t i o n a l In c , 1 7 5 1 7 Fa b r i c a Wa y, Su i t e
2.13409 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 H, Ce r r i t o s , C A 9 0 7 0 3
        nature of the debtor's interest
         State the term remaining                         03/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Yt l In t ' l In c , Yt l In t e r n a t i o n a l In c , 1 7 5 1 7 Fa b r i c a Wa y, Su i t e
2.13410 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          H, Ce r r i t o s , C A 9 0 7 0 3

         State the term remaining                         05/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Yu m a Ha r d w a r e , 1 1 7 S Ma i n St , Yu m a , C O 8 0 7 5 9 - 0 0 0 1
2.13411 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 6 0 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                             State the name and mailing address for all other parties with
                                                                                                                                                     whom the debtor has an executory contract or unexpired lease


                                                                                                                                                     Yu m o n t Tr u e Va l u e Ha r d w a r e , 7 0 2 Ce n t r e St r e e t , Ja m a i c a
2.13412 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 1 8 7 9 6 )
        nature of the debtor's interest                                                                                                              Pl a i n , M A 0 2 1 3 0 - 2 5 1 6

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Yu n k e r , 3 1 0 O' Co n n o r Dr , El k h o r n , W I 5 3 1 2 1
2.13413 State what the contract or lease is for and the   Go o d s Pu r c h a s e , Yu n k e r In v e n t o r y Ag r e e m e n t _ 2 0 2 2
        nature of the debtor's interest
         State the term remaining                         10/12/2022

         List the contract number of any government
         contract
                                                                                                                                                     Yu n k e r In d u s t r i e s , In c . , Yu n k e r , 3 1 0 O' Co n n o r Dr , El k h o r n , W I
2.13414 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                              53121

         State the term remaining                         10/01/2020

         List the contract number of any government
         contract
                                                                                                                                                     Z Ba r Tr a d i n g Co . , 1 0 3 W Oa k St r e e t , Sa n d e r s o n , T X 7 9 8 4 8 -
2.13415 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 3 9 1 )
                                                                                                                                                     0001
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Z Sh a d e Co m p a n y Lt d , 1 3 4 5 1 Br o o k s Dr i v e , Ba l d w i n Pa r k , C A
2.13416 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     91706
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                     Za h n Fa r m s , 1 1 6 2 0 Co u n t y Rd H, Gi l l e t t , W I 5 4 1 2 4
2.13417 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 6 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                     Za k De s i g n s In c , 1 6 0 3 S Ga r f i e l d Rd , Ai w a y He i g h t s , WA
2.13418 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                     99001
        nature of the debtor's interest
         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                     Za m z o w s , 1 2 0 1 Fr a n k l i n Bl v d , Na m p a , I D 8 3 6 8 7 - 6 7 4 4
2.13419 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 5 8 7 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                   Za n g a Za n g a Ha r d w a r e , 2 8 2 8 Ca l i f o r n i a St r e e t , Sa n Fr a n c i s c o ,
2.13420 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 6 8 0 )
                                                                                                                                                                   CA 94115-2545
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Za y o Gr o u p , 4 7 2 2 Wa l n u t St r e e t , Su i t e 1 0 0 , Bo u l d e r , C O
2.13421 State what the contract or lease is for and the
                                                          Pr o f e s s i o n a l Se r v i c e s , Re n e w c u r r e n t p r o d u c t i o n d a t a c e n t e r
        nature of the debtor's interest                   services for 2 years in current data center space; 5 years for                                           80301-0000
                                                          s e c o n d e x p a n d e d d a t a c e n t e r s p a c e i n En g l e w o o d t o
                                                          accommodate new equipment, double our current rack space,
                                                          establish redundancy via high sp

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Za y o Gr o u p , 4 7 2 2 Wa l n u t St r e e t , Su i t e 1 0 0 , Bo u l d e r , C O
2.13422 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Za y o Gr o u p - Ma s t e r Cu s t o m e r
                                                                                                                                                                   80301-0000
        nature of the debtor's interest                   Ag r e e m e n t ( M C A)

         State the term remaining                         03/10/2022 - 03/09/2027

         List the contract number of any government
         contract
                                                                                                                                                                   Ze b u l o n Tr u e Va l u e , 4 1 2 W. Ga n n o n Av e 1 0 0 , Ze b u l o n , N C
2.13423 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 3 3 6 8 )
        nature of the debtor's interest                                                                                                                            27597

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Ze l l e r Di g i t a l In n o v a t i o n s In c , Db a Ro o m r e a d y, 2 2 0 0 N Ma i n
2.13424 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Ro o m Re a d y Pr e f e r r e d Su p p o r t
                                                                                                                                                                   St , No r m a l , I L 6 1 7 6 1
        nature of the debtor's interest                   Ma i n t e n a n c e Re n e w a l 2 0 2 4

         State the term remaining                         04/01/2024 - 03/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                   Ze m b o w e r Ha r d w a r e , Ze m b o w e r Tr u e Va l u e Ha r d w a r e , 2 3 9 N
2.13425 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 2 8 2 9 )
        nature of the debtor's interest                                                                                                                            Me c h a n i c St r e e t , Cu m b e r l a n d , M D 2 1 5 0 2

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                   Ze n d e j a s Tr u e Va l u e Ha r d w a r e , 1 1 8 E Ma i n St , Ca l i p a t r i a , C A
2.13426 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 8 0 1 1 )
                                                                                                                                                                   92233-9726
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ze n i t h Ho m e Co r p , 4 0 0 Lu k e n s Dr i v e , Ne w Ca s t l e , D E 1 9 7 2 0
2.13427 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         02/26/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h / Ba t h w a r e , Ze n i t h Ho m e Co r p , 4 0 0 Lu k e n s Dr i v e , Ne w
2.13428 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ca s t l e , D E 1 9 7 2 0
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h / Ba t h w a r e , Ze n i t h Ho m e Co r p , 4 0 0 Lu k e n s Dr i v e , Ne w
2.13429 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Ca s t l e , D E 1 9 7 2 0
        nature of the debtor's interest
         State the term remaining                         07/01/2020

         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h / Ba t h w a r e , Ze n i t h Ho m e Co r p , 4 0 0 Lu k e n s Dr i v e , Ne w
2.13430 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca s t l e , D E 1 9 7 2 0
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h / Ba t h w a r e , Ze n i t h Ho m e Co r p , 4 0 0 Lu k e n s Dr i v e , Ne w
2.13431 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca s t l e , D E 1 9 7 2 0
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h e n Li m i t e d , Ro o m B7 , 9 / F, Ma n n i n g In d u s t r i , 1 1 6 - 1 1 8
2.13432 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ho w Mi n g St r e e t , Ho n g Ko n g

         State the term remaining                         11/01/2019

         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h e n Li m i t e d , Ro o m B7 , 9 / F, Ma n n i n g In d u s t r i , 1 1 6 - 1 1 8
2.13433 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ho w Mi n g St r e e t , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h e n Li m i t e d , Ro o m B7 , 9 / F, Ma n n i n g In d u s t r i , 1 1 6 - 1 1 8
2.13434 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Ho w Mi n g St r e e t , Ho n g Ko n g

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1680 of 1687
Debtor                         Case L.L.C.
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ze n i t h e n Li m i t e d , Ro o m B7 , 9 / F, Ma n n i n g In d u s t r i , 1 1 6 - 1 1 8
2.13435 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Ho w Mi n g St r e e t , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze n i t h e n Us a L L C, Ro o m B7 , 9 / F, Ma n n i n g In d u s t r i , 1 1 6 - 1 1 8
2.13436 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest                                                                                                                          Ho w Mi n g St r e e t , Ho n g Ko n g

         State the term remaining                         05/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13437 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/15/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13438 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13439 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13440 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2022

         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13441 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023

         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13442 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         08/01/2023 - 07/31/2027

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13443 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13444 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13445 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13446 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13447 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13448 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13449 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         11/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Ze p In c , 6 0 0 Ga l l e r i a Pa r k w a y Se , St e 1 5 0 0 , At l a n t a , G A 3 0 3 3 9
2.13450 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2023 - 12/31/2026

         List the contract number of any government
         contract
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Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Ze r o Od o r L L C, Ze r o Od o r L L C, 4 9 9 Ba n t a m Rd , Li t c h f i e l d ,
2.13451 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 CT 06759
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Ze r o Te c h n o l o g i e s L L C, 7 Ne s h a m i n y In t e r p l e x , Su i t e 1 1 6 ,
2.13452 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Tr e v o s e , PA 1 9 0 5 3
        nature of the debtor's interest
         State the term remaining                         06/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                 Ze r o Te c h n o l o g i e s L L C, 7 Ne s h a m i n y In t e r p l e x , Su i t e 1 1 6 ,
2.13453 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
                                                                                                                                                                 Tr e v o s e , PA 1 9 0 5 3
        nature of the debtor's interest
         State the term remaining                         09/01/2022 - 08/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Ze v o , 1 Pr o c t e r & Ga m b l e Pl a z a , Ci n c i n n a t i , O H 4 5 2 0 2
2.13454 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2026

         List the contract number of any government
         contract
                                                                                                                                                                 Ze v o , 1 Pr o c t e r & Ga m b l e Pl a z a , Ci n c i n n a t i , O H 4 5 2 0 2
2.13455 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         09/01/2023 - 08/31/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g De q i n g Ru i d e In d u s t r i a l Co , 1 1 8 8 Bi n a n Ro a d ,
2.13456 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Bi n j i a n g Di s t r i c t , Ha n g z h o u , Ch i n a
        nature of the debtor's interest
         State the term remaining                         01/01/2016

         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g De q i n g Ru i d e In d u s t r i a l Co , 1 1 8 8 Bi n a n Ro a d ,
2.13457 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bi n j i a n g Di s t r i c t , Ha n g z h o u , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g De q i n g Ru i d e In d u s t r i a l Co , 1 1 8 8 Bi n a n Ro a d ,
2.13458 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bi n j i a n g Di s t r i c t , Ha n g z h o u , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Zh e j i a n g De q i n g Ru i d e In d u s t r i a l Co , 1 1 8 8 Bi n a n Ro a d ,
2.13459 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Bi n j i a n g Di s t r i c t , Ha n g z h o u , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g De q i n g Ru i d e In d u s t r i a l Co , 1 1 8 8 Bi n a n Ro a d ,
2.13460 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 Bi n j i a n g Di s t r i c t , Ha n g z h o u , Ch i n a
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g Ho n g c h e n Ir r i g a t i o n , Ar e a A, Bi n h a i In d u s t r y Pa k , J,
2.13461 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ta i z h o u , Zh e j i a n g , Ch i n a
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Zh e j i a n g Ya y i Me t a l Te c h n o l o g y Co , Ji a o d a o In d u s t r y Ar e a ,
2.13462 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )                                                                                 Wu y i , Zh e j i a n g , Ch i n a

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zh i l a n g In t ' l Co Lt d , Un i t 1 , 7 / F, Ro y a l Co m m e r c i a l , Ce n t r e ,
2.13463 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
                                                                                                                                                                 No 5 6 Pa r k e s St , Ko w l o o n , Ho n g Ko n g
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi f l o w Li m i t e d , 6 6 Th e Hi g h St r e e t , No r t h w o o d , Mi d d l e s e x
2.13464 State what the contract or lease is for and the
                                                          So f t w a r e , Zi Fl o w En t e r p r i s e Sa a S Su b s c r i p t i o n a n d Su p p o r t -
        nature of the debtor's interest                   Ma r k e t i n g 2 0 2 4                                                                               H A6 1 B L, Un i t e d Ki n g d o m

         State the term remaining                         04/25/2024 - 04/24/2025

         List the contract number of any government
         contract
                                                                                                                                                                 Zi f l o w Li m i t e d , 6 6 Th e Hi g h St r e e t , No r t h w o o d , Mi d d l e s e x
2.13465 State what the contract or lease is for and the   So f t w a r e , Zi f l o w Li m i t e d M S A
                                                                                                                                                                 H A6 1 B L, Un i t e d Ki n g d o m
        nature of the debtor's interest
         State the term remaining                         01/25/2023 - 01/24/2028

         List the contract number of any government
         contract
                                                                                                                                                                 Zi m m e r m a n Tr u e Va l u e Hd w e , Zi m m e r m a n Tv Ha r d w a r e , 3 4 8 S
2.13466 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 5 0 4 4 )
                                                                                                                                                                 Ma i n , Pe n d l e t o n , O R 9 7 8 0 1 - 2 2 4 6
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Zi p f y In c . , 2 7 3 0 Br i g h t o n Ro a d Un i t A, Oa k v i l l e , O N L6 H 5 T4 ,
2.13467 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
                                                                                                                                                                 Ca n a d a
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Zi p p Ha r d w a r e , 7 3 N Ma i n St , Do l g e v i l l e , N Y 1 3 3 2 9 - 1 3 3 8
2.13468 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 5 4 )
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi p p o Mf g Co , 3 3 Ba r b o u r St , Br a d f o r d , PA 1 6 7 0 1
2.13469 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 4 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         06/01/2021

         List the contract number of any government
         contract
                                                                                                                                                                 Zi p p o Mf g Co , 3 3 Ba r b o u r St , Br a d f o r d , PA 1 6 7 0 1
2.13470 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2015

         List the contract number of any government
         contract
                                                                                                                                                                 Zi p p o Mf g Co , 3 3 Ba r b o u r St , Br a d f o r d , PA 1 6 7 0 1
2.13471 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13472 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13473 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13474 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1685 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
                                                                                                                        Case number (if known) 1690    of 1692
                                                                                                                                                24-12337
                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                         State the name and mailing address for all other parties with
                                                                                                                                                                 whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13475 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13476 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 1 - Re t a i l Ma r k e t i n g Fu n d Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13477 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 6 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024

         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13478 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                 Zi r c o n Co r p o r a t i o n , 1 5 8 0 De l l Av e n u e , Ca m p b e l l , C A 9 5 0 0 8
2.13479 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 2 - Co n v e r s i o n Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2024 - 12/31/2027

         List the contract number of any government
         contract
                                                                                                                                                                 Zo e l l e r Co m p a n y, 3 6 4 9 Ca n e Ru n Rd , Lo u i s v i l l e , K Y 4 0 2 1 1
2.13480 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 2 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2007

         List the contract number of any government
         contract
                                                                                                                                                                 Zo m p e r s L L C, 1 4 8 8 E Ir o n Ea g l e Dr i v e , Ea g l e , I D 8 3 6 1 6
2.13481 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 3 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         03/01/2018

         List the contract number of any government
         contract
                                                                                                                                                                 Zo s e l ' s Tr u e Va l u e Ha r d w a r e , Zo s e l s Tr u e Va l u e Ha r d w a r e ,
2.13482 State what the contract or lease is for and the   Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 3 3 9 7 )
                                                                                                                                                                 1 2 2 1 Pa c i f i c Av e , Be n s o n , M N 5 6 2 1 5 - 1 8 3 8
        nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                              Page 1686 of 1687
Debtor                         Case L.L.C.
                   True Value Company, 24-12337-KBO                              Doc 623                        Filed 11/26/24       Page
                                                                                                                        Case number (if known) 1691    of 1692
                                                                                                                                                24-12337
                   Name


         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                          State the name and mailing address for all other parties with
                                                                                                                                                                  whom the debtor has an executory contract or unexpired lease


                                                                                                                                                                  Zu r i c h , 1 2 9 9 Zu r i c h Wa y, Sc h a u m b u r g , I L 6 0 1 9 6 - 1 0 5 6
2.13483 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Bu s i n e s s Tr a v e l Ac c i d e n t - Po l i c y Nu m b e r ( s ) :
        nature of the debtor's interest                   G T U5 4 6 6 2 3 1

         State the term remaining                         08/01/2024 - 08/01/2027

         List the contract number of any government
         contract
                                                                                                                                                                  Zu r i c h ( 7 0 % ) , 1 2 9 9 Zu r i c h Wa y, Sc h a u m b u r g , I L 6 0 1 9 6 - 1 0 5 6
2.13484 State what the contract or lease is for and the   In s u r a n c e Po l i c y, Pr o p e r t y - Po l i c y Nu m b e r ( s ) : E R P0 3 5 1 8 2 3 4 2 4
        nature of the debtor's interest
         State the term remaining                         06/01/2024 - 06/01/2025

         List the contract number of any government
         contract
                                                                                                                                                                  Zu r n Pe x , Hi g h w a y 1 1 Ea s t , Co m m e r c e , T X 7 4 5 2 8
2.13485 State what the contract or lease is for and the
                                                          Ve n d o r Co n t r a c t , 1 - Re u n i o n Ma r k e t Sp e c i a l / Re t a i l As s o r t m e n t
        nature of the debtor's interest                   Ag r e e m e n t ( s )

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                  Zu r n Pe x , Hi g h w a y 1 1 Ea s t , Co m m e r c e , T X 7 4 5 2 8
2.13486 State what the contract or lease is for and the   Ve n d o r Co n t r a c t , 4 - M S C Pr o g r a m Ag r e e m e n t ( s )
        nature of the debtor's interest
         State the term remaining                         01/01/2017

         List the contract number of any government
         contract
                                                                                                                                                                  Zy l s t r a Au t o & Ha r d w a r e , 1 8 9 5 5 E. Fr o n t St r e e t , Li n d e n , C A
2.13487 State what the contract or lease is for and the
                                                          Cu s t o m e r Co n t r a c t , Cu s t o m e r Ag r e e m e n t ( Me m b e r 2 0 5 9 1 )
        nature of the debtor's interest                                                                                                                           95236-0001

         State the term remaining
         List the contract number of any government
         contract
                                                                                                                                                                  Zy t e Gr o u p Lt d ( Sc r a p i n g Hu b Lt d ) , Cu i l Gr e i n e Ho u s e ,
2.13488 State what the contract or lease is for and the   Ch a n g e Or d e r , Zy t e S O W 2 0 2 4 - 1 Sc r a p i n g Hu b We e k l y
                                                                                                                                                                  Ba l l i n c o l l i g Co m m e r c i a l Pa r k , Li n k Ro a d , Ba l l i n c o l l i g , Co r k
        nature of the debtor's interest                   Co m p e t i t o r Da t a On De m a n d 2 0 2 4
                                                                                                                                                                  P3 1 D W6 6 , Ir e l a n d
         State the term remaining                         09/13/2024 - 09/12/2025

         List the contract number of any government
         contract
                                                                                                                                                                  Zy t e Gr o u p Lt d ( Sc r a p i n g Hu b Lt d ) , Cu i l Gr e i n e Ho u s e ,
2.13489 State what the contract or lease is for and the   Pr o f e s s i o n a l Se r v i c e s , Sc r a p i n g Hu b Lt d M S A
                                                                                                                                                                  Ba l l i n c o l l i g Co m m e r c i a l Pa r k , Li n k Ro a d , Ba l l i n c o l l i g , Co r k
        nature of the debtor's interest
                                                                                                                                                                  P3 1 D W6 6 , Ir e l a n d
         State the term remaining                         08/15/2020 - 08/14/2025

         List the contract number of any government
         contract
Official Form 206G                                                  Schedule G: Executory Contracts and Unexpired Leases                                                                                                   Page 1687 of 1687
                                   Case 24-12337-KBO
  Debtor name: True Value Company, L.L.C.
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  United States Bankruptcy Court for the Division, District of Delaware
  Case number (If known): 24-12337


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and
liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the individual's position
or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can
result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.

                    Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
      representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



               Schedule A/B: Assets-Real and Personal Property                                                 (Official Form 206 A/B)
               Schedule D: Creditors Who Have Claims Secured by Property                                       (Official Form 206 D)
               Schedule E/F: Creditors Who Have Claims Unsecured Claims                                        (Official Form 206 E/F)
        ✓ Schedule G: Executory Contracts and Unexpired Leases                                                 (Official Form 206 G)
               Schedule H: Codebtors                                                                           (Official Form 206 H)
               Summary of Assets and Liabilities for Non-Individuals                                           (Official Form 206Sum)
        ✓ Amended Schedule


               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

           I, the Chief Financial Officer of the True Value Company, L.L.C., declare under penalty of perjury that I have read the foregoing summary and schedules,
           consisting of 2926 sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Executed on:          11/26/2024                                           Signature         /s/ William McGann
                      MM / DD / YYYY
                                                                           Printed Name      William McGann
                                                                           Title             Chief Financial Officer
